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30.   CNN article - Death row inmate      News media article                                                                        0810 - 0812
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33.   November 27, 2017,                  BOP memorandum proposing one-drug protocol and draft Addendum to BOP Execution            0855 - 0861
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ADMINISTRATIVE RECORD SUMMARY
BOP USE OF SINGLE DRUG PROTOCOL

Introduction

The Federal Bureau of Prisons (“BOP”) is responsible for implementing federal death sentences.
See 28 C.F.R. Part 26. These regulations require the sentence be implemented by “intravenous
injection of a lethal substance or substances in a quantity sufficient to cause death, such
substance or substances to be determined by the Director of the Federal Bureau of Prisons . . . .”
See 28 C.F.R. § 26.3(a)(4).

The BOP carried out the executions of Timothy McVeigh (2001), Juan Garza (2001), and Louis
Jones (2003). At that time, the BOP lethal injection protocol consisted of three drugs: sodium
pentothal, pancuronium bromide, and potassium chloride. The BOP has since been unable to
acquire sodium pentothal.

In Baze v. Rees, 553 U.S. 35 (2008), the Supreme Court upheld Kentucky’s use (along with at
least 30 other states) of a three-drug combination, including sodium pentothal, pancuronium
bromide, and potassium chloride. While Baze provided clear approval of a specific protocol for
states to carry out the death penalty, practical obstacles soon emerged as pharmaceutical
companies began refusing to supply the drugs used to implement the death sentences. See
Glossip v. Gross, 135 S.Ct. 2726, 2733 (2015). Specifically, the sole American manufacturer of
sodium pentothal stopped producing the drug because of its use in the death penalty. Id. Unable
to obtain sodium thiopental, states explored alternatives and adopted use of pentobarbital, which
was used in all of the 43 executions carried out by the states in 2012. Id. at 2733 (citing the
Death Penalty Information Center online site at www.deathpenaltyinfo.org). However,
pentobarbital also became difficult to obtain as anti-death-penalty advocates lobbied
manufacturers to stop selling it for use in executions. Id.

States are unwilling to discuss or reveal the identity of entities that supply their lethal injection
drugs because those entities often stop supplying the drugs once their identity is disclosed. See
In re: Missouri Department of Corrections, 839 F.3d 732, 736 (8th Cir. 2016). Further, many
states have enacted legislation precluding disclosure of entities that supply drugs necessary to
carry out an execution and/or the identity of individuals who participate in executions. See e.g.
Ga. Code Ann. § 42-5-36 (Georgia Lethal Injection Secrecy Act); Tex. Code Ann. § 552.1081
and Tex. Code Crim. Proc. Art. 43.14(b); Ark. Code Ann. § 5-4-617; Miss. Code Ann. § 99-19-
51; Mo. Rev. Stat. § 546.720; Ohio Rev. Code Ann. § 2949.221; Okla. Stat. Ann. Title 22, §
1015; Tenn. Code Ann. § 10-7-504; S. D. Codified Laws § 23A-27A-31.2; and Va. Code Ann. §
53.1-234.

As sodium pentothal became unavailable, the BOP explored alternative drugs. The BOP
benchmarked with state practices, reviewed case law, consulted with medical professionals, and
reviewed available professional literature in this area. As a result of this review, the BOP has
determined that a single-drug protocol, using pentobarbital, would be adopted as the execution
protocol.
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Benchmark with States

BOP personnel visited several state execution sites and reviewed state lethal injection protocols.
The state lethal injection protocols were viewed on the corresponding state department of
corrections’ web sites and/or the Death Penalty Information Center website.

After the availability of sodium pentothal declined, states developed alternative drug
combinations that replaced sodium pentothal with pentobarbital. Glossip, 135 S.Ct. at 2733.
Some states incorporated pentobarbital as a one-drug protocol, and some states used
pentobarbital in a three-drug protocol.

However, the availability of pentobarbital declined and states implemented other protocols. Due
to challenges with availability of sodium pentothal and pentobarbital, several states have
changed their protocols or adopted more than one lethal injection protocol to overcome shifting
availability of various drugs. For example:

       In 2017, the State of Nevada adopted a three-drug execution protocol that includes
        fentanyl, diazepam, and cisatracurium. In June 2018, Nevada revised the protocol and
        replaced diazepam with midazolam, reportedly because Nevada’s inventory of diazepam
        expired.
       From 2011 to 2013, Florida executed 10 individuals using a three-drug protocol wherein
        pentobarbital was the first drug administered. However, pentobarbital became
        unavailable for use in executions. In October 2013, Florida became the first state to
        substitute midazolam for pentobarbital as part of a three-drug protocol. Glossip, 135
        S.Ct. at 2734. Florida executed 13 individuals using a lethal injection protocol with
        midazolam as the first drug without any reported problems. Arthur v. Alabama
        Department of Corrections, 840 F.3d 1268, 1304 (11th Cir. 2016). However, Florida
        encountered difficulties acquiring midazolam and in January 2017, Florida adopted a new
        three-drug protocol because it was unable to acquire midazolam. In that new protocol,
        Florida substituted etomidate for midazolam as the first drug, followed by rocuronium
        bromide and potassium acetate. The Florida Supreme Court upheld the use of etomidate
        as part of the lethal injection protocol. Asay v. State of Florida, 224 So.3d 695 (Fla.
        2017). Florida has executed two individuals using that protocol.

Fourteen states have used pentobarbital in their lethal injection protocol, either as part of a three-
drug combination or as a single-drug method. Georgia, Idaho, Missouri, South Dakota, and
Texas administer a single-drug pentobarbital protocol. Both Missouri and Texas have extensive
experience using the single-drug pentobarbital method, executing 20 and 78 inmates,
respectively, since approximately 2012. Since 2010, pentobarbital was used as part of a single or
three-drug combination in 208 executions. Of the ten executions in 2019, as of June 24, 2019,
five used a single-drug pentobarbital protocol. https://deathpenaltyinfo.org/executions/lethal-
injection/state-by-state-lethal-injection-protocols

Anticipating that the BOP would encounter the same obstacles that the states have encountered
in obtaining pentobarbital, it also considered other lethal injection protocols. One alternative
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protocol considered consists of three drugs: midazolam, sufentanil citrate, and potassium
chloride.

The BOP determined that a one-drug protocol is preferred for several reasons. First, there are
complications inherent in obtaining multiple drugs (availability obstacles) and navigating the
respective expiration dates. Second, acquiring and storing one drug is administratively more
efficient. Third, administering one drug reduces the risk of errors during administration, and
eliminates the need to orchestrate the pace and sequence of administering multiple drugs and IV
line management.

Professional Medical Expert Consultation

The BOP consulted with two medical experts to review whether the BOP’s proposed
pentobarbital protocol will produce a humane death. Both concluded that the protocol would
produce a humane death.

Publically available expert testimony was also reviewed by the BOP. First, in January 2017, the
expert addressed Ohio’s lethal injection protocol, which entails midazolam, pancuronium
bromide, and potassium chloride. Second, in February 2017, the expert provided testimony
addressing Missouri’s one drug lethal injection of pentobarbital.

In the Missouri case, the expert testified for the state on the efficacy of pentobarbital, and
secondarily the use of nitrogen gas. When asked which option is better, the expert testified, “I
don’t offer an opinion about one being better than the other.” The reason advanced was that
medical ethics prevent him from so opining. Similarly, the inmate’s expert declined to offer an
opinion in that regard.

In the Missouri case, the inmate’s attorney explored the expert’s prior testimony regarding the
efficacy of midazolam in the context of Ohio’s 3-drug protocol. The inmate’s attorney asked
questions about the effects of each drug without directly asking which is better (e.g., the 3-drug
protocol using midazolam vs pentobarbital). The expert testified that both are effective at
producing unconsciousness (the intended effect), and then stated that pentobarbital achieves
deeper levels of unconsciousness than midazolam.

In sum, the expert’s prior testimony opined that both pentobarbital and midazolam in their
respective protocols work to have the intended effect in this setting. He also testified that the
properties of pentobarbital achieve a “deeper level” of unconsciousness than midazolam.

Review of After Action Report

The BOP reviewed the after action report of the widely publicized Oklahoma execution in 2015
involving state inmate Clayton Locket, which used a three drug protocol using midazolam, a
paralytic agent, and then potassium chloride. As summarized by the Supreme Court in Glossip,
135 S.Ct. at 2734-35, that investigation concluded that the viability of the IV access point was
the single greatest factor that contributed to the difficulty in administering the execution drugs.
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Although various media outlets have reported complications with lethal injection executions,
none of those executions appear to have resulted from the use of single-drug pentobarbital. This
consideration included review of information provided by Death Penalty Information Center,
Botched Executions, https://deathpenaltyinfo.org/some-examples-post-furman-botched-
executions?scid=8&amp;did=478.

Review of Case Law

The BOP reviewed case law addressing lethal injection protocols. Courts have held that the use
of pentobarbital in executions does not violate the Eighth Amendment. See, e.g., Ladd v.
Livingston, 777 F.3d 286 (5th Cir. 2015); Zink v. Lombardi, 783 F.3d 1089, 1102 (8th Cir.
2015); Jackson v. Danberg, 656 F.3d 157 (3d Cir. 2011); DeYoung v. Owens, 646 F.3d 1319
(11th Cir. 2011); and Pavatt v. Jones, 627 F.3d 1336 (10th Cir. 2010). See also Bucklew, 139
S.Ct. at 1129-1132 (finding that death row inmate challenging Missouri’s method of execution
using a single-drug pentobarbital protocol failed to show a feasible and readily implemented
alternative method of execution that would significantly reduce a substantial risk of severe pain).

Challenges to state lethal injection protocols frequently propose a single dose of pentobarbital
rather than a three-drug protocol. See, e.g., McGehee v. Hutchinson, 854 F.3d 488 (8th Cir.
2017); In re Missouri Department of Corrections, 839 F.3d 732 (2016); Arthur v. Commissioner,
Alabama Department of Corrections, 840 F.3d 1268 (11th Cir. 2016); In re Ohio Execution
Protocol, 860 F.3d 881, 890-91 (6th Cir. 2017); and Glossip, 135 S.Ct. at 2738. The common
argument is that use of pentobarbital is an alternative method that would significantly reduce the
substantial risk of pain from the challenged method. Two U.S. Supreme Court Justices dissented
from denial of certirorari in two cases where the Petitioners’ argued that state lethal injection
protocols violated the Eighth Amendment. In both cases, the dissenting opinions indicated that
the proposed alternative of a single-drug protocol consisting of pentobarbital did not carry the
risks of the protocols being challenged. See Zagorski v. Parker, 139 S.Ct. 11 (2018) (challenge
to the Tennessee lethal injection protocol consisting of midazolam, vecuronium bromide, and
potassium chloride); and Arthur v. Dunn, 137 S.Ct. 725 (2017) (challenge to the Alabama lethal
injection protocol consisting of midazolam, vecuronium bromide, and potassium chloride).

Based on review of case law, it is evident that use of pentobarbital is litigation tested, and courts
across the country have held that the use of pentobarbital in executions does not violate the
Eighth Amendment. Further, inmates and their advocates frequently cite to pentobarbital as a
method that would significantly reduce the substantial risk of pain compared to the challenged
method.

Source for Pentobarbital

The BOP has a viable source for obtaining pentobarbital. The manufacturer is properly
registered as a bulk manufacturer of the active pharmaceutical ingredient (“API”) for
pentobarbital. The API was subjected to quality assurance testing, further supporting the
reliability and qualification of this manufacturer.
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The BOP has secured a compounding pharmacy to store the API and to convert the API into
injectable form as needed. The BOP conferred with DEA to ensure the compounding pharmacy
is properly registered. The compounding pharmacy has performed its own testing and the drug
further passed quality assurance testing conducted by two independent laboratories.

The BOP confirmed with DEA that the BOP facility in Terre Haute, Indiana, meets the
regulatory requirements for storage and handling of pentobarbital.

ATTACHMENTS

BENCHMARK

       Lethal Injection Protocol from:
           o Georgia
           o Idaho
           o Missouri
           o South Dakota
           o Texas

       State-by-state lethal injection summary from the Death Penalty Information Center
        website, https://deathpenaltyinfo.org/lethal-injection
       Internal talking points summarizing:
            o The State of Florida lethal injection protocol evolution
            o States that currently or previously used pentobarbital, and aggregated data.

CASE LAW

       Bucklew v. Precythe, 139 S.Ct. 1112 (2019)
       Zagorski v. Parker, 139 S.Ct. 11 (2018)
       Arthur v. Dunn, 137 S.Ct. 725 (2017)
       Glossip v. Gross, 135 S.Ct. 2726 (2015)
       Baze v. Rees, 553 U.S. 35 (2008)
       Ladd v. Livingston, 777 F.3d 286 (5th Cir. 2015)
       Zink v. Lombardi, 783 F.3d 1089 (8th Cir. 2015)
       Jackson v. Danberg, 656 F.3d 157 (3d Cir. 2011)
       DeYoung v. Owens, 646 F.3d 1319 (11th Cir. 2011)
       Pavatt v. Jones, 627 F.3d 1336 (10th Cir. 2010)
       Price v. Commissioner, Alabama Dep’t of Corrections, 920 F.3d 1317 (11th Cir.2019)
       Arthur v. Commissioner, Alabama Dep’t of Corrections, 840 F.3d 1268 (11th Cir. 2016)
       In Re: Ohio Execution Protocol, 860 F.3d 881 (6th Cir. 2017)
       McGehee v. Hutchinson, 854 F.3d 488 (8th Cir. 2017)
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MEDICAL EXPERT DEPOSITIONS/REPORTS

      Rule 26(a)(2) Expert Report Declaration of Joseph F. Antoginini, M.D. (in the case of
       Bucklew v. Lombardi, 2016 WL 11258099 (W.D.Mo.))
      Expert Deposition of Joseph Antoginini, M.D. (2017 WL 9471457 (W.D. Mo.))
      Expert Report of Craig W. Lindsley, Ph.D., dated May 26, 2017
      Transcript of Preliminary Injunction Hearing dated January 5, 2017, in In re: Ohio
       Execution Protocol Litigation, in the U.S. District Court for the Southern District of
       Ohio.

JOURNALS, MEDIA, AND REPORTS

      Deborah W. Denno, Lethal Injection Chaos Post-Baze, 102 GEO. L.J. 1331, 1382 (2014)
      Hospira, Press Release, Hospira Statement Regarding Pentothal (sodium thiopental)
       Market Exit (Jan. 21, 2011).
      CNN article - Death row inmate executed using pentobarbital in lethal injection,
       December 16, 2010, available at
       http://www.cnn.com/2010/CRIME/12/16/oklahoma.execution
      Death Penalty Information Center, Botched Executions,
       https://deathpenaltyinfo.org/some-examples-post-furman-botched-
       executions?scid=8&amp;did=478
      Oklahoma Department of Public Safety Report: The Execution of Clayton D. Lockett


BUREAU OF PRISONS AND DEPARTMENT OF JUSTICE CORRESPONDENCE

      November 27, 2017, memorandum from Director Mark S. Inch to the department
       (addressing proposed one-drug protocol).
      March 7, 2018, memorandum from Director Mark S. Inch to the department (addressing
       use of fentanyl).
      Addendum to BOP Execution Protocol (one drug pentobarbital).
      Draft memorandum from Acting Director to the department addressing anticipated
       adoption of one-drug protocol.
      Letter from various State Attorneys General dated January 25, 2011, to Attorney General
       Eric Holder, and the response letter from Attorney General Eric Holder dated March 4,
       2011.
      Op. Off. Legal Counsel Volume 43 (May 3, 2019).
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     GEORGIA DEPARTMENT OF CORRECTIONS

GEORGIA DIAGNOSTIC AND CLASSIFICATION PRISON

           LETHAL INJECTION PROCEDURES




                           July 17, 2012
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               GEORGIA DIAGNOSTIC AND CLASSIFICATION PRISON
                      LETHAL INJECTION PROCEDURES

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                            LETHAL INJECTION PROCEDURES

 I.    PRE-EXECUTION PROCEDURES

       A.   Designation and Notification of Staff

            The individuals listed below shall be present at each execution. At least twelve (12)
            hours prior to the execution, the Warden or the Warden’s designee will notify the
            following individuals of the time and date of execution and place to report for
            assignment. These individuals will then acknowledge receipt of the Warden’s
            notification. The Warden has the authority to waive the twelve (12) hour
            requirement on an emergency basis.

              1.   Warden or Deputy Warden who shall ensure that the court ordered execution
                   is carried out.

              2.   Two (2) Assistants or more as directed by the Warden.

              3.   Two (2) Physicians - to determine when death supervenes.

              4.   One (1) Physician - to provide medical assistance during the execution
                   process (may be one of the Physicians identified in I.A.3 above).

              5.   IV Team - to consist of two (2) or more trained personnel, including at least
                   one (1) Nurse, to provide intravenous access.

              6.   Six (6) Correctional Officers to serve as a Special Escort Team who will
                   apply restraints to the condemned during the execution process.

              7.   Injection Team to consist of three (3) trained staff members to inject
                   solutions into the intravenous port(s) during the execution process.

              8.   One (1) Chaplain to administer to the spiritual needs of the condemned and to
                   provide a prayer on the condemned’s behalf upon request.

              9.   Security personnel as appropriate.

       B.   Restrictions:

            No photographic, audio, video, recording, or computerized equipment will be
            permitted in the Execution Chamber or Execution Witness Room except as

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           specifically authorized by the Warden. Only pencils, note pads, or other writing
           materials issued and controlled by designated GDC staff will be permitted.

II.    DAY OF EXECUTION

       A. Within Three (3) Hours of Execution

             Within three (3) hours of the scheduled execution, the following tasks shall be
             performed:

             1. A communications check will be performed.

             2. Telephone circuits and private lines between the Command Center (CP1),
                Execution Chamber (CP2), and the Front Gate (CP3) will be checked.

             3. The Execution Chamber and Execution Witness Room will be inspected as
                directed by the Warden.

             4. A radio check between the Command Center, Execution Chamber, and Front
                Gate will be initiated.

       B. Within Two (2) Hours of Execution

             Within two (2) hours of the scheduled execution, the following tasks shall be
             performed:

             1. Chemicals will be delivered to the H-5 Chemical Room by the Deputy
                Warden of Security or Correctional Major.

             2. The IV Team will perform a check of all necessary equipment and
                instruments.

             3. Communications Check - The same procedure will be followed as at three (3)
                hours prior to the execution as specified in Paragraph II.A.

             4. The Execution Chamber and Execution Witness Room will be inspected as
                directed by Warden.

             5. The condemned will be prepared in accordance with prior responsibilities
                previously designated by Warden.

             6. The condemned may visit with clergy.


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          7. An opportunity for the condemned to make a last statement will be provided.
             Any such statement will be recorded by designated staff.

          8. A shower and clean clothing will be provided to the condemned.

          9. A designated staff member shall confirm the presence of witnesses required
             by O.C.G.A.§17-10-41 to attend the execution. Any final instructions will be
             issued by the Warden.

          10. A designated staff member shall confirm the presence of the witnesses
              designated and approved by the Commissioner. Instructions will be issued to
              the witnesses to assure an understanding of their conduct in the Execution
              Witness Room and while being escorted to and from the Execution Witness
              Room. All witnesses are to have previously acknowledged, in writing, their
              understanding and agreement to abide by the rules, regulations, and
              procedures of the GDC.

    C. Within One (1) Hour of Execution

          Within one (1) hour of the scheduled execution, the following tasks shall be
          performed:

          1. The IV Team will perform a check of all necessary equipment and
             instruments.

          2. The designated staff members will prepare lethal injection syringes.

          3. Medical staff will perform a test on the heart monitor.

          4. The condemned will be offered a mild sedative by a Physician.

          5. Special Escort Team members will ensure that all straps are in place and
             functional on the execution gurney.

          6. Communications Check: The same communications check procedures
             specified in Paragraph II.A. above will be repeated. In addition, the telephone
             lines between the Command Center (CP1), the Execution Chamber (CP2), and
             the Front Gate (CP3) are to remain open beginning thirty (30) minutes prior to
             the scheduled execution.

          7. The Execution Chamber and Execution Witness Room will be inspected as
             directed by the Warden.


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          8. Attendees and those required by O.C.G.A.§17-10-41 to attend executions will
             be issued additional instructions, and will be escorted to the Execution
             Chamber or Execution Witness Room as appropriate. Any witnesses for the
             condemned inmate, any media representatives, and the State’s witnesses will
             be processed, instructed, and transported separately.

          9. Upon arrival at the Execution Witness Room, witnesses and media
             representatives will be confirmed. The media representative designated to
             observe the preparation of the condemned will be identified and confirmed.
             The presence of witnesses requested by the condemned and those approved by
             the Commissioner, including media representatives, will be confirmed.

    D. Preparation of the Condemned

          1.   The condemned inmate will be escorted to the lethal injection gurney by
               member(s) of the Special Escort Team approximately twenty (20) minutes
               prior to the time of the execution. The Special Escort Team will securely
               control the movements of the condemned from the holding cell to the
               execution chamber.

          2.   The Special Escort Team will secure the condemned to the gurney by
               attaching restraints to the arms, legs, and body of the condemned.

          3.   The IV Team will provide two (2) intravenous accesses into the condemned.
               If the veins are such that intravenous access cannot be provided, a Physician
               will provide access by central venous cannulation or other medically
               approved alternative.

          4.   Heart monitor leads will be applied to the condemned by a Nurse from the
               IV Team.

          5.   Witnesses will be escorted to the Execution Witness Room.

          6.   The Warden will introduce himself to witnesses and issue final instructions
               regarding the execution.

          7.   The Warden will ask the condemned if he has anything to add to the final
               statement. Any additional statement will be limited to two (2) minutes. The
               statement will be recorded by designated staff. A prayer will be offered if
               requested by the condemned. The prayer will be limited to two (2) minutes.

          8.   The condemned will be read the Execution Order of the Court.


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            9.   Execution officials will take their places.

            10. The Attorney General, or the Attorney General’s designee, shall advise the
                Commissioner as to whether or not to proceed. The Commissioner then
                instructs the Warden as to whether or not to proceed.

    E. Execution Process

         Upon the Order of the Warden, the execution process will proceed as follows:

            1. A staff member designated by the Warden will monitor the time when the
               injection process begins.

            2. The first member of the Injection Team will inject one (1) syringe containing
               2.5 grams of Pentobarbital (labeled #1). The second member of the Injection
               Team will inject an additional syringe containing 2.5 grams of Pentobarbital
               (labeled #2). The third member of the Injection Team will inject one (1)
               syringe containing 60 cubic centimeters of Saline (labeled #3), ensuring a
               steady, even flow of the chemical.

            3. Throughout the lethal injection process, an IV Nurse will monitor the progress
               of the injection in the Execution Chamber to ensure proper delivery of
               chemicals and to monitor for any signs of consciousness. If the IV Nurse in
               the execution chamber observes a problem with intravenous flow, the Nurse
               will inform the attending Physician, who will inform the Warden as to
               whether or not using an alternative intravenous access is appropriate. The
               Warden will give the appropriate instructions to the Injection Team.

            4. If, after a sufficient time for death to have occurred, the condemned individual
               exhibits visible signs of life, the Warden shall instruct the Injection Team to
               administer an additional 5 grams of Pentobarbital followed by 60 cubic
               centimeters of Saline as outlined in Subsection 2 of Section E. above.

            5. Upon completion of the injection of the final syringe, the designated Physician
               will advise the Warden when the heart monitor indicates that the condemned
               inmate is deceased. The Warden and the two Physicians will then enter the
               Execution Chamber to determine if death has occurred.

            6. If the condemned shows residual signs of life within a reasonable period after
               all injections have been completed, steps 1 through 5 above will be repeated
               upon the order of the Warden.

            7. The Warden will then announce the fact of death to the witnesses. The

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              Execution Chamber curtains will then be closed.

    F. Post Execution

          1. The witnesses and media representatives will be escorted from the Execution
             Witness Room. Media representatives will be immediately escorted from the
             prison to the press area.

          2. The IV lines will be detached by the IV Team, the straps will be removed by
             the Special Escort Team, and the body will be removed from the gurney. The
             body will be placed in a body bag and placed on a stretcher provided by the
             State Crime Lab. The body will then be taken by van to the State Crime Lab
             for a postmortem examination.

          3. Press release: The Public Information Officer for the Department of
             Corrections will advise news media that the Order of the Court has been
             carried out.

    G. Interment of Condemned.

          1. The Warden or designee and attending physicians will prepare a certificate of
             execution and certify the fact of execution. The certificate will be forwarded
             to the Clerk of Superior Court of the county in which the sentence was
             pronounced. A copy shall be forwarded to the Commissioner.

          2. The last statement of the condemned will be forwarded to the Central Office,
             as appropriate.

          3. Interment: The body may be released to the relatives at their expense or
             should the nearest relative of the condemned so desire, the body will be
             carried to the former home of the person so executed, if in the State of
             Georgia. The expense of such transportation to the former home shall be paid
             by the Ordinary, County Commissioners, or person(s) having the charge of
             county funds in which the person was convicted. (O.C.G.A. § 17-10-43).

          4. If the relatives do not claim the body of the executed person, interment will be
             in accordance with Board of Corrections Rule 125-2-4.20.

    H. Critical Incident Debriefing

          1. Staff participants will be seen by the Critical Incident Debriefing Team within
             seventy-two (72) hours of each execution or as soon as possible.


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                                        APPENDIX I

                               IV TEAM - INSTRUCTIONS


SET UP PROCEDURE:

1.    The Warden or designee will have two (2) intravenous infusion devices placed in the
      veins of the condemned and a Saline solution available for an infusion medium. Those
      persons engaged in this activity will be referred to as the IV Team.

2.    An IV administration set will be inserted into the outlet of the bag of Normal Saline IV
      solution. Two (2) IV bags will be set up in this manner.

3.    The IV tubing shall be cleared of air and made ready for use.

4.    The standard procedure for providing IV access will be used.

5.    The IV tubing for both set-ups will be connected to the receiving port of the IV access;
      one for the primary vein, the other for the secondary vein.

6.    At this point, the administration sets shall be running at a slow rate of flow (KVO), and
      ready for the insertion of syringes containing the lethal agents. The Warden or his
      designee shall maintain observation of both set-ups to ensure that the rate of flow is
      uninterrupted. NO FURTHER ACTION shall be taken until the prearranged signal to
      start the injection of lethal agents is given by the Warden or designee.




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                                         APPENDIX II

   CONTROLLED CHEMICAL HANDLING PROCEDURES FOR EXECUTION BY
                      LETHAL INJECTION

The following procedures will be utilized to obtain controlled chemicals, transport the chemicals
to the Execution Chamber at the Georgia Diagnostic and Classification Prison (GDCP), dispose
of and/or return unused chemicals to the GDCP Pharmacy.

   A. The certificate issued by the Drug Enforcement Agency (DEA), United States
      Department of Justice will be posted in the medical room of the GDCP Execution
      Chamber. A copy of the certificate will be kept on file at the GDCP Pharmacy.

   B. All controlled materials, blank “Controlled Chemical Disposition Record” forms, and a
      lockable transport case will be kept in the GDCP Pharmacy.

   C. The designated key ring, located in the Tunnel Entrance Restricted Key Box, will be
      utilized to gain access to the chemical storage containers, transport case and the
      temporary chemical storage containers located in the Execution Chamber. Access to this
      key ring and the receipt and/or transportation of chemicals is restricted to: Deputy
      Warden for Security, Correctional Major, and designated Pharmacist. In an emergency,
      the Warden of GDCP may designate another official this duty.

   D. On the day of a scheduled execution, one of the authorized staff members will draw the
      proper keys, proceed to the pharmacy and procure the appropriate amount of chemicals.

   E. The appropriate amount of chemicals to be issued is as follows: Pentobarbital – a total of
      15 grams of the chemical.

   F. During the procedures outlined in step #4, the “Controlled Chemical Disposition Record”
      will be initiated at this time. The Pharmacy will keep a temporary copy upon issuance.
      The original will be kept with the chemicals in the transport case. The appropriate
      sections will be completed as needed.

   G. Chemicals will be delivered to the Execution Chamber and locked in the chemical
      storage container.

   H. Within one hour of the scheduled execution, the chemicals will be drawn into syringes to
      be used by the Injection Team by a trained staff member supervised by a nurse.

   I. Chemicals will be drawn up as follows:

               1. Pentobarbital – 2.5grams – Syringe #1 .
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             2. Pentobarbital – 2.5 grams – Syringe # 2.
             3. Saline Solution – 60 cubic centimeters each - Syringe # 3.

  J. A secondary set of Syringe Numbers 1, 2 and 3 will be prepared in the manner outlined
     above in section I if an additional dosage of Pentobarbital is needed. The secondary set of
     Pentobarbital will not be drawn into Syringe Numbers 1 and 2 prior to the execution, but
     will be immediately available, together with the appropriate syringes, if an additional
     dosage of Pentobarbital is needed.

  K. The remaining chemicals, along with appropriate syringes will be locked in the transport
     case and placed in the mechanical room in the event they are needed.

  L. At the conclusion of the execution, the amount of each chemical injected into the
     condemned inmate is to be recorded on the Controlled Chemical Disposition Record
     form, along with the date, time, inmate name and number.

  M. Any chemical loaded into a syringe that is not used will be destroyed by disposing of the
     chemicals in an appropriate manner. This must be witnessed and the section completed
     and signed on the Controlled Chemical Disposition form.

  N. Any unused chemicals will be returned to the pharmacy via the transport case and the
     remainder of the Controlled Chemical Disposition Record form will be completed.

  O. The original Controlled Chemical Disposition Record form will be retained by the
     Pharmacy. A copy will be sent to the Warden’s office for inclusion into the Execution
     file.

  P. An inventory will be kept by the Pharmacy of each chemical used and returned. The
     Controlled Chemical Disposition form and the inventory logs will be kept in a red binder
     attached to the chemical storage container.

  Q. The attachments 1 through 2 will be completed and submitted as required.

     Attachments:           (1) Controlled Chemical Disposition Form
                            (2) Inventory Log for Pentobarbital




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CONTROLLED CHEMICAL DISPOSITION RECORD                        APPENDIX II – ATTACHMENT 1
(LETHAL INJECTION)

GEORGIA DEPARTMENT OF CORRECTIONS – GDCP

CHEMICALS DISPENSED BY GDCP PHARMACY

  Name of Chemical – Amount                Date Issued      Lot #           Expiration              # of Vials
PENTOBARBITAL                 15
GRAMS




ISSUED BY: (SIGN AND PRINT NAME)       RECEIVED BY: (SIGN AND PRINT NAME)           DEPT/LOCATION




CHEMICALS ADMINISTERED BY INJECTION TEAM
 DATE          TIME          INMATE NAME/NUMBER                        CHEMICALS                       QTY

                                                                 PENTOBARBITAL




CHEMICALS DESTROYED
CHEMICALS DESTROYED                  QTY     # OF SYRINGES      DATE DESTROYED              DEPT/LOCATION

PENTOBARBITAL




DESTROYED BY: (SIGN AND PRINT NAME)           WITNESSED BY: (SIGN AND PRINT NAME)           DEPT/LOCATION


CHEMICALS RETURNED TO GDCP PHARMACY
 DATE RETURNED                CHEMICAL RETURNED                   QTY RETURNED                  # OF VIALS

                        PENTOBARBITAL




RETURNED BY: (SIGN AND PRINT NAME)            RECEIVED BY: (SIGN AND PRINT NAME)            DEPT/LOCATION




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CONTROLLED CHEMICAL INVENTORY LOG                                                           APPENDIX II – ATTACHMENT 2
                                                                                        CHEMICAL – PENTOBARBITAL
GEORGIA DEPARTMENT OF CORRECTIONS – GDCP

  DATE         PACKAGE   BEGINNING    AMOUNT        DATE     SUBTOTAL    AMOUNT       DATE         TOTAL      INITIALS
                 SIZE    INVENTORY   DISPENSED   DISPENSED              RETURNED    RETURNED     INVENTORY




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  Correction          Operating                                                  Adopted:
                      Procedure                                                  5-18-1998
                                                                                 Reviewed:
                     Operations        Title:
                                                                                 1-6-2012
                      Division
                                       Execution Procedures
                                                                                 Next Review:
                     General                                                     1-6-2014
                   Administration



           This document was approved by Kevin Kempf, chief of the Operations
                          Division, on 1/6/12 (signature on file).
Open to the general public:     Yes      No
If no, is there a redacted version available:   Yes    No

BOARD OF CORRECTION IDAPA RULE NUMBER 135
       C
  Executions

POLICY CONTROL NUMBER 135
  Executions

DEFINITIONS
                       O
  Standardized Terms and Definitions List
   None

PURPOSE
  The purpose of this standard operating procedure (SOP) is to establish specific procedures
                                         P
  for administration of capital punishment in accordance with the Idaho Code and the
  constitutions of the United States of America and the state of Idaho.

SCOPE
  This SOP applies to all Idaho Department of Correction (IDOC) staff members involved in
  the administration of capital punishment and to offenders who are under death warrant and
                                                      Y
  the execution of which has not been stayed.
   Note: This SOP is subject to revision at the discretion of the chief of the Operations Division
   or the director of the IDOC. Either person may revise, suspend, or rescind any procedural
   steps, at any time, at his sole discretion.

RESPONSIBILITY
   Director of the IDOC
      The director of the IDOC shall be responsible for:
           •   Exercising overall control of the administrative policy, SOP, field memorandum,
               and of the execution process itself;
           •   Communicating with Idaho governor’s office, Idaho Board of Correction,
               legislators, and Idaho Commission of Pardons and Parole;
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        •   Determining execution method and ensuring that applicable chemicals are
            obtained; and
        •   Approving news media representatives for media center access.
 Chief of the Operations Division
    The chief of the Operations Division shall be responsible for:
        •   Approving all SOPs, field memorandums, and post orders related to the
            execution process;
        •   Contacting/notifying members of the victim’s family;
        •   Contacting/notifying the state of Idaho’s witnesses;
        •   Briefing the victim’s family, the condemned offender’s family, and the state of
            Idaho’s witnesses before the execution; and
        •   Disseminating briefings as needed to staff following the issuance of a death
            warrant.
    C
 Deputy Chief of the Prisons Bureau
    The deputy chief of the Prisons Bureau shall be responsible for:
        •   Appointing one or more staff member(s) within the bureau to assist the Idaho
            Maximum Security Institution (IMSI) warden;
                    O
        •   Coordinating the IDOC’s south Boise complex activities as the Incident
            Command System (ICS) command center operations chief; and
        •   Activating the following teams and overseeing their activities:
              ♦ Command;
              ♦ Correctional Emergency Response Team (CERT);
                                     P
              ♦ Maintenance;
              ♦ Critical Incident Stress Management (CISM);
              ♦ Traffic Control Team;
              ♦ Idaho State Correctional Institution (ISCI) media center; and
                                                    Y
              ♦ South Idaho Correctional Institution (SICI) grounds and perimeter security.
 Administrative Team
   The Administrative Team consists of the deputy chiefs of the Prisons Bureau, the IMSI
   warden, and the backup to the IMSI warden for the purpose of serving as the execution
   director. The Administrative Team is responsible for:
    •   Providing, planning, directing, and implementing all pre-execution and post-execution
        activities;
    •   Coordinating all processes associated with specialty team (section 5) personnel
        selection, equipment, supply acquisition, training, rehearsal, and performance;
    •   Conducting preparatory steps in order to ensure that the execution process is
        conducted in accordance with this SOP;
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          •    Reviewing and ensuring that the department faithfully adheres to the letter and intent
               of Idaho Code, sections 19-2705, 19-2713, 19-2714, 19-2715, 19-2716, 19-2718;
          •    Selecting staff to serve on the Escort Team and Medical Team;
          •    Identifying a licensed physician to be on sight during the execution procedure;
          •    Ensuring that all of the equipment such as electrical, plumbing, heating and cooling
               units (HVAC) in the execution chamber are tested periodically to ensure they are in
               working order; and
          •    Ensuring that an annual training schedule is established and identifying dates for
               periodic for periodic on-site rehearsal sessions by the Escort Team, Medical Team,
               and command staff.
     Idaho Maximum Security Institution (IMSI) Warden
        The IMSI warden shall be responsible for:
               •     Serving the death warrant;
         C
               •     Assigning to the condemned offender a warden’s liaison;
               •     Creating and maintaining a log documenting the events leading up to the
                     execution date;
               •     Issuing all the orders to facilitate an execution at IMSI;
                                O
               •     Approving the spiritual advisor for the offender if one is requested; and
               •     Creating a permanent record of the execution activities.
     Idaho Maximum Security Institution (IMSI) Deputy Warden of Security
        The IMSI deputy warden of security shall be responsible for internal security at IMSI. In
        addition to the regular posts, the IMSI deputy warden of security shall be responsible for
                                                         P
        scheduling staff for additional security to begin 48 to 24 hours prior to the execution up
        to and including a ‘level C response’ in accordance with the ICS.
     Idaho State Correctional Institution (ISCI) Warden
        The ISCI warden shall be responsible for establishing a field memorandum to identify
        authority and guidelines to coordinate media activity and providing logistical and
                                                                              Y
        communication support at the IDOC’s south Boise complex.
          Note: The chief of the Operations Division must approve the field memorandum.
     South Idaho Correctional Institution (SICI) Warden
        The SICI warden shall be responsible for establishing a field memorandum to identify
        authority and guidelines to coordinate and implement external security measures,
        including guidelines for other law enforcement and support agencies operating on the
        IDOC’s south Boise complex.
          Note: The chief of the Operations Division must approve the field memorandum.

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GENERAL REQUIREMENTS

1. Introduction
   Execution of an offender under sentence of death is one of the most serious responsibilities
   of the agency and a high regard for the dignity of all involved must be maintained.
   An execution generates public debate and attention. IDOC staff must be aware of the
   pressures an execution places on themselves and offenders. Extra security precautions are
   necessary and staff must be prepared and able to meet the situations that might arise.
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   All execution procedures, for both male and female offenders, will be conducted at IMSI.
   No IDOC staff member or contractor, except as identified by Idaho Code or contract, will be
   forced to participate in an execution and can withdraw from the process at any time without
   prejudice.
   The IDOC shall make every effort in the planning and preparation of an execution to ensure
   that the execution process:
       •   Faithfully adheres to the letter and intent of Idaho Code, sections 19-2705, 19-2713,
           19-2714, 19-2715, 19-2716, and 19-2718;
       •   Is handled in a manner that minimizes its impact on the safety, security, and
           operational integrity of the prison in which it occurs;
       •   Reasonably addresses the right of the offender to not suffer cruelly during the
           execution;
       •   Accommodates the public’s right to obtain certain information concerning the
           execution and strives to minimize the impact on the community and the state of
      C
           Idaho;
       •   Reasonably addresses the privacy interests of victims and their families;
       •   Provides contingency planning to identify and address unforeseen problems;
       •   Maintains lines of communication for stays of execution, commutations, and other
                      O
           circumstances up to the time that the offender is executed;
       •   Provides opportunity for citizens to exercise their First Amendment rights to
           demonstrate for or against capital punishment in a lawful manner; and
       •   Ensures there is an appropriate response to unlawful civil disobedience, trespass
           and other violations of the law by any person attempting to impact the execution or
                                       P
           the operation of the prison.

2. Monitoring Appellate Activities
   The deputy chief of the Prisons Bureau, in conjunction with the deputy attorneys general
   (DAGs) who represent the IDOC, will monitor the appellate process of those offenders under
   the sentence of death. When it appears that an offender may be within one year or less of
                                                      Y
   exhausting his appeals, the deputy chief of the Prisons Bureau will notify the director of the
   IDOC, chief of the Operations Division, and the IMSI warden of the possibility of the
   issuance of a death warrant within the next year.
   The Administrative Team will begin the planning and preparation process when an offender
   is determined to be possibly within this one year timeframe.

3. Staff Conduct and Professionalism
   All IDOC staff and contractors are responsible to maintain a high degree of professionalism
   regarding the execution process, to include all IDOC and contract facilities that are not
   involved in the execution process. Expectations demonstrating professionalism include, but
   are not limited to, the following:
       •   Restraint and courtesy when interacting with offenders, witnesses, demonstrators,
           attorneys, news media, state of Idaho and local law enforcement and any member of
           the public regarding the implementation of the death penalty;
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       •   All assigned duties are performed proficiently and professionally; and
       •   Conduct that appropriately reflects the gravity of the execution process.
   The names of the individuals serving on the escort and medical teams (see section 5) and
   the name of the on-site licensed physician (see section 6) will be treated with the highest
   degree of confidentiality. Any staff member who is aware of the identities of the individual
   team members and/or the on-site physician must maintain strict confidentiality of those
   identities. Any staff member who discloses the identities of any individual team member or
   the on-site physician will receive disciplinary action up to and including dismissal. (See SOP
   205.07.01.001, Corrective and Disciplinary Action).

4. Attempted Disruption of Execution Process
   The IDOC is required by Idaho Code to carry out the execution of an offender under
   sentence of death. The IDOC will take those actions necessary to fulfill this requirement and
   prevent the disruption of an execution or disruption to the safe and orderly operation of its
   correctional facilities to include, but not limited to the following:
      C
       •   Filming, taping, broadcasting or otherwise electronically documenting the execution
           of an offender;
       •   Trespassing and otherwise entering upon IDOC property without authorization;
       •   Participating in unlawful demonstrations or unlawfully attempting to disrupt, prevent
           and otherwise interfere with an execution; and/or
                       O
       •   Unlawfully threatening, intimidating and otherwise attempting to influence authorized
           persons involved in the execution process.
   These prohibitions apply to the offender population, contractors, IDOC staff, and members
   of the general public.
   The IDOC will ensure that adequate law enforcement officers to include but not limited to the
                                        P
   Boise Police Department, Ada County Sheriff’s Department, and/or Idaho State Police are
   present to ensure the safe control of citizens on IDOC property, including officers stationed
   at the Execution Unit, if deemed necessary.

5. Specialty Teams and their Training and Practice Requirements
                                                        Y
   The execution process requires three (3) specialty teams: an Escort Team, a Medical Team,
   and an Administrative Team. The names of the individuals on the Escort Team and Medical
   Team will be treated with the highest degree of confidentiality (see section 3). The
   anonymity of all individuals (except those Administrative Team members who must
   participate as required by Idaho Code) participating in or performing any ancillary functions
   in the execution and any information contained in the records that could identify those
   individuals must remain confidential and are not subject to disclosure. The identities of
   escort and medical team members will be limited to the director of the IDOC, the chief of the
   Operations Division, and the Administrative Team.
   Escort Team Members – Criteria and Selection Requirements
      To serve on the Escort Team is strictly voluntary (staff may withdraw at any time without
      prejudice). Escort Team members must meet the following criteria:
           •   Has displayed a high degree of professionalism;
           •   Has displayed an ability to maintain confidentiality;
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        •   Has had no personnel disciplinary action in the past 12 months;
        •   Has at least one year of satisfactory employment with the IDOC;
        •   Has no blood relationship or legal relationship to the victim’s family; and
        •   Has no blood relationship or legal relationship to the condemned offender or
            offender’s family.
    The Administrative Team shall identify qualified personnel to serve on the Escort
    Team, verify their qualifications, and complete criminal background checks before
    approving their participation on the team.
    The deputy chief of the Prisons Bureau will designate an Escort Team leader and at
    least one alternate Escort Team leader.
    The Escort Team leader shall (a) report to and take direction from a designated
    Administrative Team member, and (b) ensure that all team members thoroughly
    understand all provisions of this SOP and are well-trained in the escort procedures.
    C
 Medical Team Members – Criteria and Selection Requirements
   The Medical Team shall consist of volunteers whose training and experience include
   administering intravenous (IV) drips. The Medical Team shall be responsible for inserting
   IV catheters, ensuring the line is functioning properly throughout the procedure, mixing
   the chemicals, preparing the syringes, monitoring the offender (including the level of
   consciousness), and administering the chemicals as described in appendix A, Execution
                    O
   Chemicals Preparation and Administration.
    The Medical Team can be comprised of any combination of the following disciplines:
        •   Emergency medical technician (EMT);
        •   Licensed practical nurse (LPN);
                                     P
        •   Military corpsman;
        •   Paramedic;
        •   Phlebotomist;
        •   Physician assistant;
                                                    Y
        •   Physician;
        •   Registered nurse (RN); or
        •   Other medically trained personnel including those trained in the United States
            military.
    To serve on the Medical Team, individuals must meet the following criteria:
        •   Must have at least three (3) years of medical experience as an EMT, LPN,
            military corpsman, paramedic, phlebotomist, physician assistant, physician, RN,
            or other medically trained personnel including those trained in the United States
            military;
        •   Has no blood relationship or legal relationship to the victim’s family; and
        •   Has no blood relationship or legal relationship to the condemned offender or
            offender’s family.
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       The Administrative Team shall identify qualified personnel to serve on the Medical
       Team; verify their professional qualifications (to include professional license[s] and
       certification[s]), training, and experience; complete criminal background checks; and
       conduct personal interviews before approving their participation on the team.
       Note: Licensing and/or certification, and criminal history reviews shall be conducted,
       prior to entering into an agreement. These reviews shall be conducted annually and
       upon the issuance of a death warrant.
       The Administrative Team shall ensure that all Medical Team members thoroughly
       understand all provisions of this SOP and are well-trained in the execution procedures.
       The deputy chief of the Prisons Bureau will designate a Medical Team leader and at
       least one alternate Medical Team leader.
       The Medical Team leader shall (a) have direct oversight over the Medical Team, and
       (b) report to and take direction from a designated Administrative Team member
   Training and Rehearsal Requirements
      C
      The Administrative Team shall (a) ensure an annual training schedule is established,
      and (b) identify dates for periodic on-site rehearsal sessions by the Escort Team,
      Medical Team, and command staff. All training and rehearsal sessions shall be
      documented and submitted to a designated Administrative Team member. The training
      schedule shall meet the following criteria:
           •
                      O
               The schedule shall include a minimum of 10 annual training sessions for the
               escort and medical teams;
           •   After receiving a death warrant, the Escort Team, Medical Team, and command
               staff will train weekly before the scheduled execution date;
           •   The Escort Team, Medical Team, and command staff members must participate
               in a minimum of four (4) training sessions prior to participating in an actual
                                       P
               execution;
           •   Prior to any scheduled execution, the Escort Team, Medical Team, and
               command staff shall conduct a minimum of two (2) rehearsal sessions during the
               48 hours before the scheduled execution; and
           •
                                                      Y
               Training and rehearsal sessions for the Medical Team shall include the placing of
               IV catheters and establishing an IV drip in a minimum of two (2) live volunteers
               prior to each execution.
       Note: If no execution is anticipated beyond the time required to assemble and
       adequately train the escort and medical teams, the director of the IDOC may suspend
       annual training.

6. Licensed Physician on Site during Execution
   A licensed physician will be on-site and staged in or near the Execution Unit. The
   Administrative Team will verify the physician’s professional licensure and will complete a
   criminal background check.
   Note: The on-site physician will not be a member of any teams described herein this SOP
   and will not participate in the execution in any way.
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   Note: The on-site physician’s identity shall remain anonymous and shall be protected from
   disclosure in the same manner described for the medical and escort team members. (See
   section 3 and section 4.)
   The on-site physician will have access to an on-site medical crash cart, including applicable
   medications, and defibrillator. The physician must be a medical doctor licensed by the Idaho
   Board of Medicine.
   The on-site physician will provide the following services:
       •   First Aid: Provide emergency care if needed to any person in the immediate area;
           and
       •   Resuscitation: Will assist in any necessary resuscitation effort of the offender should
           a problem occur with the execution process.
   Emergency Medical Personnel and Ambulance Service
     Emergency medical technicians and ambulance service will be staged near the
     Execution Unit as determined by the Administrative Team to provide emergency medical
       C
     assistance and transport to anyone requiring such care during the process.

7. Death Warrants and Pregnant Females
   If there is reason to believe that a female under death warrant is pregnant, the facility
   warden will require the offender to be examined by three (3) physicians. If the offender is
                       O
   found to be pregnant, the facility warden will immediately notify the prosecuting attorney of
   the county with jurisdiction, the Idaho governor's office, and the sentencing judge. The
   facility warden will suspend the execution, until the offender is no longer pregnant and the
   sentencing court has appointed a day for execution.

8. Stay of Execution
   Upon receipt of notification that the court has issued a stay of execution, the director of the
                                        P
   IDOC shall advise the chief of the Operations Division, deputy chief of the Prisons Bureau,
   and IMSI warden.
   If the stay of execution is received immediately prior to the execution, the IMSI warden will
   advise the witnesses that a stay of execution has been issued. If it is anticipated that the
   stay will be for an extended period of time, have the witnesses escorted back to their
                                                        Y
   specified staging areas.
   Director of the IDOC
      • Notify the state of Idaho governor’s office; and
       •   Notify the executive director of the Idaho Commission of Pardons and Parole.
   Chief of the Operations Division
      • Provide a briefing to the state of Idaho’s witnesses and the condemned offender’s
          witnesses; and
       •   Provide a briefing to IDOC staff.
   Administrative Team
     Ensure that all chemicals and medical supplies are handled in accordance with appendix
     A, Execution Chemicals Preparation and Administration.
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   Deputy Chief of the Prisons Bureau
      • Advise facilities that a stay of execution has been issued;
       •   Begin systematically deescalating the operation and when applicable instruct
           execution activities related operations to stand down; and
       •   When appropriate, return all IDOC and contract facilities to normal operations.
   IDOC Public Information Officer (PIO)
      Issue a press release to the media.
   IMSI Warden
      • If the stay is issued after the offender has been moved to the execution chamber and
         IV catheters have been inserted, and the stay is anticipated to be for more than two
         (2) hours, direct the Medical Team to remove the catheters;
       •   Direct the Escort Team to remove the offender from the Execution Unit and return
           him to a designated cell; and
      C
       •   If applicable, return offender’s property.

9. General Timelines
   The processes described in this SOP are based on a timeline; however, the timeline is
   subject to change as needed to accommodate unforeseen events.
                       O
   The timeline begins with issuance of a death warrant and concludes following the execution
   or stay of execution. The sequence of events is based on the following timeline:
       •   Issuance of the death warrant;
       •   30 days prior to the execution;
       •   21 days prior to the execution;
                                        P
       •   Seven (7) days prior to the execution;
       •   Two (2) days prior to the execution;
       •   24 hours prior to the execution;
       •
                                                        Y
           12 hours prior to the execution;
       •   Execution procedures; and
       •   Post-execution activities.

10. Public Information and Media Access
    The IDOC PIO is responsible to prepare and release information to the media. The IDOC
    PIO will clear each press release with the deputy chief of the Prisons Bureau before it is
    released to the media.
   The IDOC PIO will act as the IDOC’s liaison with all media agencies requesting access to
   the IDOC’s south Boise complex or information regarding the execution. The IDOC PIO will
   notify all news media of the following IDOC rules that must be adhered to:
       •   Tobacco is not allowed within any IDOC facility;
       •   Weapons of any kind are not allowed on IDOC property;
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    •   Cameras, video cameras, cellular telephones, and recording devices are not allowed
        inside IMSI or the execution chamber;
    •   Cameras, video cameras, and recording devices are allowed in the media center and
        at the area(s) designated for media on the IDOC’s south Boise complex;
    •   Are subject to search (metal detector and random pat search);
    •   Must arrive at the facility at the designated time; and
    •   Must enter IDOC property as instructed.
 Media Center
   A media center will be established and will be located on property at the IDOC’s south
   Boise complex.
    The term “news media representative” shall be defined as a person whose primary
    employment is gathering or reporting news for:
        •   A newspaper as defined in Idaho Code, section 60-106;
    C
        •   A news magazine having a national circulation being sold by newsstands and by
            mail circulation to the general public;
        •   Radio and television news programs of stations holding Federal Communication
            Commission licenses; and
                    O
        •   The Associated Press.
    Because advances in information technology have blurred the definition of the term
    ‘news media’, resulting in there being no commonly accepted definition of the term, and
    because IDOC has an obligation to assure the orderly operation of the media center by
    regulating access to center, news organizations which distribute content primarily via a
    website will be admitted on a case-by-case basis. The IDOC PIO will verify that each
                                     P
    web-based organization is a bona fide news media. The director of the IDOC will be the
    final authority to approve admittance of news media representatives from web-based
    news agencies.
 Media Witnesses to the Execution
   In addition to the media center where news media representatives will be provided
                                                     Y
   information and briefings, the IDOC has allotted four (4) seats for news media
   representatives to witness the execution. News media organizations wishing to have
   reporters witness the execution must submit their representatives’ names, birth dates
   and Social Security numbers at least 14 days prior to the scheduled execution for the
   purposes of undergoing a criminal background check and approval (see appendix B,
   Media Notification and Agreement). The four (4) media seats are comprised as follows:
        •   One media witness seat is allocated to the Associated Press. The Associated
            Press will select the reporter.
    The following media witness seats are selected by random drawings:
        •   One media witness seat is allocated to media representing the region that serves
            the county of conviction. The director of the IDOC will determine which media
            agencies provide substantial coverage to the residents in the county of conviction
            for admittance into the pool for this seat;
        •   One seat is allocated for local print/internet; and
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          •   One seat is allocated for local broadcast media.
       Note: Local media is defined as a print/internet or broadcast media whose primary
       mission is to cover and deliver local news to the residents of Idaho. Each media
       organization may submit no more than one person as a possible media witness.
   Random Drawing
      Approximately one week before the scheduled execution, the IDOC PIO will conduct the
      random drawing for three (3) media seats. The drawing shall include selecting
      alternative representatives should the primary representative withdraw prior to the
      execution.
       News media representatives requesting access to the media center must complete
       appendix B, Media Notification and Agreement, and agree to return directly to the media
       center following the execution and share their information with the other news media
       representatives. The IDOC PIO will facilitate that discussion and briefing.
   Media Staging
      C
     The deputy chief of the Prisons Bureau will determine the schedule and location for
     media vehicle staging and the schedule when news media representatives who are not
     participating in the witness pool must arrive.
       News media representatives who have been selected to witness the execution must
       arrive at the media center at the time designated by the IDOC PIO, which is
       approximately three (3) hours before the scheduled execution.
                        O
       News media representatives will sign in at the designated media center.
       ISCI will provide two (2) escort officers and a transport van to transport the news media
       representatives selected to be present at the execution from the media center to IMSI.
       The news media witnesses will join the other state of Idaho witnesses to be escorted to
       the Execution Unit.
                                       P
       The transport officers will remain in a pre-assigned area at IMSI until the execution is
       declared completed by the IMSI warden. The escort officers will then transport the media
       representatives back to the media center to participate in the news conference.

11. External Security
                                                      Y
   Temporary Flight Restriction
      In consultation with local law enforcement and home land security, the deputy chief of
      the Prisons Bureau will assess any security threat or risk posed by air craft. If a security
      or safety risk involving aircraft is perceived, before the execution the deputy chief of the
      Prisons Bureau will request through appropriate channels that the Federal Aviation
      Administration (FAA) place a temporary flight restriction (TFR) surrounding the IDOC’s
      south Boise complex consisting of the following (see section 16). An example of the TFR
      airspace would be as follows:
          •   Radius: Three (3) nautical miles
          •   Altitude: 500 feet from the surface
   IDOC’s South Boise Complex Security Zones
      The IDOC property south of Boise known as IMSI, ISCI, SICI, and South Boise Women’s
      Correctional Center (SBWCC) will be broken down into four (4) security areas:
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           •   Inner perimeter zone: the respective facilities fences
           •   Controlled perimeter zone: an extended perimeter around the four (4) facilities
           •   Restricted zones: areas designated for the media
           •   Extended zones: areas designated for observers/demonstrators.
       At the designated time, the SICI warden will control access to the IDOC’s south Boise
       complex to include IMSI, ISCI, SICI, and SBWCC.
       SBWCC will provide security staff as needed to the SICI warden to help support security
       of the controlled perimeter zone.
       The SICI warden is responsible for establishing posts at strategic access and
       checkpoints in the controlled perimeter zone surrounding the facilities.

12. Those Present at Execution
    The director of the IDOC (or designee) shall have the discretion to determine the number of
      C
    persons allowed in the Execution Unit during the execution procedure. In exercising this
    discretion, the director of the IDOC (or designee) shall consider the safe and orderly
    operation of IMSI, the interests of the victim’s family, and whether multiple death warrants
    are being executed concurrently. Persons allowed in the Execution Unit are as follows.
   Note: Individual placement of attendees in the Execution Unit is subject to change at the
   discretion of the IMSI warden.
                      O
       •   The Administrative Team;
       •   The Escort Team (up to four [4] members total);
       •   The Medical Team;
       •   The on-site physician (one total);
                                        P
       •   The director of the IDOC (or designee);
       •   An Idaho Board of Correction representative (one total);
       •   The chief of the Operations Division (or designee);
       •   The IMSI warden (or designee) (one total);
                                                        Y
       •   The Ada County coroner (one total);
       •   The prosecuting attorney from the county of conviction (one total);
       •   The sheriff from the county of conviction (one total);
       •   The sentencing judge (one total);
       •   The Idaho governor (or his representative) (one total);
       •   The Idaho attorney general (or his representative) (one total);
       •   Members of the victim’s family (two [2] total);
       •   A spiritual advisor of the offender’s choosing (one total);
       •   Friends (approved visitors) or members of the offender’s family (two [2] total);
       •   The offender’s attorney of record (one total); and
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       •   Members of the news media (up to four [4] total, see section 10).
   The Execution Unit includes witness areas, the execution chamber, the Medical Team room,
   and staging areas. The persons in each area are as follows:
   State of Idaho Witness Area
      • An Escort Team member (one total);
       •   The chief of the Operations Division;
       •   Members of the victim’s family (two [2] total);
       •   Members of the news media (up to four [4] total in accordance with section 10);
       •   The prosecuting attorney from the county of conviction (one total);
       •   The sheriff from the county of conviction (one total);
       •   The sentencing judge (one total);
       •   An Idaho Board of Correction representative (one total);
      C
       •   The Idaho governor (or his representative) (one total); and
       •   The Idaho attorney general (or his representative) (one total).
   Condemned Offender’s Witness Area
     • An Escort Team member (one total);
                       O
       •   IDOC liaison for offender’s family;
       •   Friends (approved visitors) or members of the offender’s family (two [2] total);
       •   The offender’s attorney of record (one total); and
       •   A spiritual advisor of the offender’s choosing (one total);
                                        P
   Execution Chamber
      Other than the offender, the other individuals authorized to be in the execution chamber
      are:
           •   Escort Team members (up to two [2] total);
                                                        Y
           •   Interpreter (if necessary):
           •   The director of the IDOC; and
           •   The IMSI warden (or designee).
   Note: The Ada County coroner and the on-site physician (see section 6) will be located in a
   staging area near the execution chamber as determined by the IMSI warden.
   Medical Team Room
     • Only the Medical Team; and
       •   Only the Administrative Team.

13. Upon Receipt of a Death Warrant
    Upon the receipt of a death warrant by the director of the IDOC, the following steps will be
    implemented.
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  Note: If the warrant is delivered to a facility warden instead of the director of the IDOC, the
  facility warden will implement step 4, and immediately notify the director, the chief of the
  Operations Division, and the deputy chief of the Prisons Bureau.

Functional Roles and
  Responsibilities         Step                                  Tasks
                                    • Immediately notify the warden of the facility in which
                                         the offender is housed and the IMSI warden; and
Director of the IDOC         1
                                    • Immediately forward the death warrant to the warden
                                         of the facility in which the offender is housed.
                                   Notify the:
                                    • Idaho Board of Correction;
                                    • Executive director of the Idaho Commission of
Director of the IDOC         2           Pardons and Parole;
                                    • Idaho governor’s office; and
     C
                                    • IDOC PIO.
                                   Begin a log to provide a comprehensive chronological
Facility Warden              3     history of every aspect of the execution procedure.
Facility Warden              4     Serve the death warrant on the offender.
                                   Immediately segregate the offender from the general
Facility Warden              5     offender population (see section 15).
                       O
                                   Place the offender under constant observation by two (2)
                                   staff members for 24 hours a day, seven (7) days a week.
                                   Note: An observation logbook will be immediately
                                   established to record staff’s observation of the offender’s
                                   activities and behavior until the offender is executed or a
Facility Warden                    stay of execution is received. Entries will be chronological.
                                       P
                             6
                                   Each day will be recorded beginning at midnight as
                                   M/DD/YYYY. During the final four (4) hours before the
                                   execution, staff shall record each entry noting the time in
                                   hours and minutes, and make entries a minimum of once
                                   every 30 minutes.
                                                      Y
                                   Notify the facility health authority and clinician that the
Facility Warden              7     offender has been placed in solitary confinement under a
                                   death warrant.
                                    • Notify the sentencing court that the death warrant has
                                         been served;
                                    • Retain the original death warrant;
                                    • Place a copy of the death warrant in the offender’s
Facility Warden              8           central file;
                                    • Provide the offender with a copy of the death warrant;
                                         and
                                    • Forward a copy of the death warrant to the lead DAG
                                         who represents the IDOC.
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  Functional Roles and
    Responsibilities         Step                               Tasks
                                    Within 24 hours after the death warrant is served, appoint a
                                    staff member (normally an IMSI deputy warden) to relieve
 Facility Warden               9    the warden of all duties except those duties related to the
                                    execution procedure until there is a stay of execution or the
                                    execution process has been completed.
                                    Appoint a staff member to serve as liaison between the
                                    condemned offender, the offender’s family, and the IMSI
 Facility Warden              10    warden (if the offender does not speak English ensure an
                                    interpreter is obtained and available to communicate with
                                    offender);

14. Briefing and/or Communication: After the Death Warrant is Served
    The facility warden shall ensure that at a minimum, a weekly briefing will occur for all
    involved staff commencing after the death warrant is served until the facility has returned to
       C
    normal operations. The CISM team members will be available to speak with interested and
    affected staff, individuals, or groups who have been identified by the facility warden or other
    staff.
   At a minimum, briefings and/or communication will be conducted as follows:
       •   Immediately after the death warrant is served;
                       O
       •   If any changes are made to the established execution timeline;
       •   As deemed necessary to keep staff well informed during the week prior to the
           execution; and
       •   The day after the execution.
                                        P
15. Conditions of Confinement
    Immediately following the service of a death warrant, the offender will be moved to a
    predetermined isolation cell in accordance with Idaho Code, section 19-2705. The isolation
    cell will be supplied a fresh mattress and pillow that has been thoroughly inspected, and
    clean bedding. An unclothed body search will be conducted and the offender will be given
                                                        Y
    clean clothes and different shoes.
   Identify any special accommodations that are required if the offender has a disability or
   other special need.
   Until the execution has been stayed or completed, any movement of the offender will require
   that he be escorted in full restraints, by two (2) correctional staff.
   The offender will be placed under 24-hour, constant observation by two (2) uniformed staff
   members until there is a stay of execution or the offender is transferred to the execution
   chamber.
   The offender will be allowed daily outdoor exercise, showers, and telephone access.
   The offender will be provided access to a television set.
   Property
      The offender’s personal property will be handled as provided in this section.
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     The offender’s personal property shall be inventoried. The offender will be allowed to
     keep not more than six (6) cubic feet of legal papers and religious materials, a pencil and
     paper, books or periodicals, and commissary food items. All remaining property will be
     boxed, sealed and removed from the cell. It will be stored pending receipt of written
     instructions from the offender regarding disposition of property or otherwise disposed of
     as outlined in directive 312.02.01.001, Death of an Inmate.
 Commissary
   The offender will be allowed to purchase food items from the commissary until the
   delivery date of commissary is within seven (7) days of the execution, the IMSI warden
   can extend this time frame at his discretion. Non-food purchases must be approved by
   the IMSI warden. The spending limit will be the same as established in SOP
   320.02.01.001, Property: State-issued and Offender Personal Property. However, the
   IMSI warden can increase or decrease this amount with approval of the deputy chief of
   the Prisons Bureau. The offender may retain consumable commissary items as
   approved by the IMSI warden until completion of the last meal.
    C
 Last Meal
    For the last meal, the offender can select a meal from the established IDOC menu. The
    last meal will be provided to the offender at approximately 1900 hours the day prior to
    the scheduled execution.
 Hygiene Items
    The offender shall receive limited hygiene supplies (bar soap, toothpaste and
                     O
    toothbrush) and a towel and washcloth. These items will be exchanged on a daily basis.
     The offender will be issued a clean set of clothing and bedding daily.
     The offender will be provided (issued by staff) a safety razor to shave. Staff will
     immediately remove the razor from the offender’s possession after he has finished
     shaving.
                                       P
 Access to the Offender
    Access will be limited to the following:
         •   Law enforcement personnel investigating matters within the scope of their duties;
         •   The offender’s attorney of record;
                                                     Y
         •   Agents of the offender’s attorney of record; and
         •   Attending physician/healthcare staff.
     Access is defined as those activities that are necessary for official business. Law
     enforcement personnel, attorneys of record and their agents, and attending
     physician/healthcare staff are considered as official business and such access will be a
     contact visit.
 Visitation
    Visitation will be limited to the following:
         •   Spiritual adviser of the offender's choosing;
         •   Approved visitors;
         •   Members of the offender's immediate family, specifically the offender’s:
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             ♦ Mother or father, including step parents;
             ♦ Brothers or sisters of whole or half (½) blood, by adoption or stepbrothers
               or stepsisters;
             ♦ Lawful spouse verified by marriage license or other operation of law;
             ♦ Natural children, adopted children, or stepchildren;
             ♦ Grandparents of blood relation; and
             ♦ Grandchildren of blood relation.
    All visitations must be in accordance with SOP 604.02.01.001, Visiting, and the
    guidelines established herein this SOP.
    The offender’s attorney of record and his agents will be provided contact visits. Such
    contact visits will be under staff visual observation, but so that the staff members cannot
    hear the conversation.
    C
    Note: For the purposes of this section, ‘agents of the attorney of record’ means
    employees of the attorneys of record including investigators, paralegals, legal interns
    and mitigation specialists but does not include retained experts or other independent
    contractors of the attorneys of record.
    Immediate family and approved visitors must be approved in accordance with SOP
    604.02.01.001, Visiting. Normally, minor children will not be allowed to visit and any
                   O
    exception must be approved by the deputy chief of the Prisons Bureau.
    Approved visitors and immediate family may be allowed non-contact visits until seven (7)
    days before the execution date. Any exception to this rule must be approved by the
    deputy chief of the Prisons Bureau. Between serving the death warrant until seven (7)
    days before the execution, all visits with immediate family, approved visitors, and
    spiritual advisor will be non-contact.
                                    P
    In the seven (7) days immediately before the execution, if there is no stay of execution,
    visits with approved visitors who are not immediate family will cease. This time frame
    can be extended by the IMSI warden in collaboration with the deputy chief of the Prisons
    Bureau.
    In the seven (7) days immediately before the execution, approved immediate family and
                                                    Y
    spiritual advisor may be granted contact visits with the offender. (The offender’s attorney
    of record will continue to have contact visiting during the seven [7] days immediately
    before the execution.)
    The IMSI warden shall establish the frequency and duration in which visits occur and
    shall have the authority to suspend or deny visits when public safety or the safe, secure
    and orderly operation of the prison could be compromised.
    Note: If there is a stay of execution, the IMSI warden will determine housing in
    accordance with SOP 319.02.01.001, Restrictive Housing, and visiting in accordance
    with SOP 604.02.01.001, Visiting.
 Spiritual Advisor
    The offender can request a spiritual advisor of his choosing. The spiritual advisor must
    be approved by the facility warden before visitation can occur. The spiritual advisor
    cannot be an IDOC staff member or the staff member of a contract facility. The spiritual
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       advisor will normally be an approved religious volunteer or member of the clergy. The
       spiritual advisor may be a contract provider for volunteer and religious activities in
       accordance with the requirement of that contract.
   Healthcare
      The IMSI warden shall request that the facility health authority review the condemned
      offender’s healthcare record and identify any prescribed medication(s) or health care
      issues.
       Facility healthcare services staff shall dispense all medications in unit doses and when
       available, in liquid form. No medication including over-the-counter medications shall be
       provided or maintained by the offender as keep-on-person.
       The facility health authority shall provide the offender an opportunity to complete an
       Idaho Physician Orders for Scope of Treatment form.
       Facility healthcare services staff will take necessary steps to maintain the offender’s
       health prior to the execution and shall respond appropriately to health care issues and
       emergencies including suicide attempts and will take reasonable steps to revive the
       C
       offender in medical distress at all times prior to the execution, unless the offender has a
       “do not resuscitate” request on file.
       Facility healthcare services staff will monitor the offender daily for significant changes in
       the offender’s medical or mental health and if the offender’s health changes, facility
       healthcare services staff must report the offender’s condition immediately to the IMSI
                       O
       warden.
       Note: All access, visits, etc. will be documented in the constant observation log.

16. Thirty (30) to 21 Days Prior to the Execution
    After serving the death warrant until 21 days prior to the execution, the following activities
    will occur. If any of the activities identified in this section cannot be achieved within this
                                        P
    timeframe, the responsible party will notify the director of the IDOC, chief of the Operations
    Division, and the deputy chief of the Prisons Bureau.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
                                                        Y
   Director of the IDOC
      • Continue communication with the Idaho Board of Correction;
       •   Continue communication with the Idaho governor (or his representative);
       •   Communicate as needed with the executive director of the Idaho Commission of
           Pardons and Parole; and
       •   Meet with the chief of the Operations Division, the deputy chief of the Prisons
           Bureau, and other members of the IDOC Leadership Team as needed.
   Chief of the Operations Division
      • Continue to provide briefings to IDOC staff;
       •   Send appendix C, State Witness Notification and Agreement, to the following and
           establish a deadline for the return of all forms:
              ♦ The Ada County Coroner;
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          ♦ The prosecuting attorney from the county of conviction;
          ♦ The sheriff from the county of conviction;
          ♦ The sentencing judge;
          ♦ The Idaho governor;
          ♦ The Idaho attorney general;
          ♦ The Idaho Board of Correction; and
    •   Monitor planning related to the scheduled execution.
 Administrative Team
   • Finalize arrangements with the Ada County coroner’s office for the disposition of the
       body, security for the Ada County medical examiner’s vehicle, and the custodial
       transfer of the body;
    •   Evaluate the candidates to serve on the escort and medical teams (see section 5),
    C
        approve or deny each candidate, review the current specialty team rosters, and
        make replacements if needed;
    •   Ensure the assigned Medical Team members physically evaluate the offender to
        predetermine appropriate venous access locations;
    •   Ensure that all of the equipment such as electrical, audio, plumbing, HVAC units in
                   O
        the execution chamber are tested periodically to ensure they are in working order;
    •   Contact licensed physician to ensure he is available to perform duties as identified
        herein;
    •   Assign a staff member to test and perform maintenance as needed to all utilities
        (HVAC units, plumbing, electrical etc.) in the Execution Unit and establish a schedule
                                    P
        for testing and reporting unit status during the time leading up to the execution date;
    •   Ensure the Medical Team room and execution chamber are equipped with one
        synchronized clock each. The synchronized clocks will be the official time keeping
        devices for the execution procedures;
    •   Ensure that execution chemicals and other medical supplies have been purchased
                                                    Y
        and/or that sources have been established. When chemicals are received,
        immediately start a chain of custody document, secure the chemicals, and monitor to
        ensure compliance with manufacturer specifications. Access to the chemicals must
        be limited the members of the Administrative Team;
    •   If chemicals are on site, check the expiration dates on each item to ensure they will
        not expire before the execution date. If any item will expire before the execution date,
        immediately dispose of it appropriately;
    •   Consult with Medical Team members regarding the equipment for the procedure and
        ensure all equipment necessary to properly conduct the procedure is on site,
        immediately available for use and functioning properly;
    •   Ensure that all backup medical equipment, including a backup electrocardiograph
        (EKG) machine and instruments, crash cart, and defibrillator are on site, immediately
        available for use and functioning properly;
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    •   Check applicable sterilization dates on medical supplies to ensure they are useable
        on the execution date;
    •   Ensure that the Escort Team, Medical Team, and command staff are conducting
        training (see section 5) in preparation for the execution; and
    •   Ensure that communication devices with inter-operability capability and restricted
        frequencies are available and will be on site before the execution date.
 Deputy Chief of the Prisons Bureau
    • Notify facility heads at all IDOC correctional facilities of the pending execution and
       provide instruction to the facility heads regarding staff briefings and expectations;
    •   Request that all IDOC facility heads develop incident action plans (IAP) for their
        respective facilities for facility management during the period leading up to and
        following the execution. The IAPs must be submitted to the deputy chief of the
        Prisons Bureau at least 21 days before the scheduled execution date;
    •   Contact the IDOC contract monitor and Correctional Alternative Placement Program
    C
        (CAPP) and Idaho Correctional Center (ICC) facility heads to discuss their respective
        IAPs for facility management during the period leading up to and following the
        execution. The CAPP and ICC facilities must submit their IAPs to the IDOC 21 days
        before the execution date;
    •   Identify and assign team leaders and members, and activate the teams;
                    O
    •   Establish the four (4) security areas of the IDOC’s south Boise complex and provide
        that information to facility heads and other staff as needed see section 11;
    •   Confirm with the IMSI warden that the training schedule has been activated ensuring
        that staff members participating in the execution have received adequate training,
        written instruction and practice, and that all training has been documented;
                                     P
    •   Discuss preparations at IMSI with the IMSI warden;
    •   Confirm with all IDOC south Boise complex facility wardens that the training
        schedule has been activated ensuring that staff members participating in the
        execution have received adequate training, written instruction and practice, and that
        all training has been documented;
                                                    Y
    •   Contact the CISM team;
    •   Notify the IDOC victim services coordinator of the court’s issuance of a death
        warrant;
    •   If warranted, request through the appropriate authority that the Federal Aviation
        Administration (FAA) place a 24 hour temporary flight restriction (TFR) surrounding
        the IDOC’s south Boise complex consisting of the following:
           ♦ Radius: Three (3) nautical miles
           ♦ Altitude: 500 feet from the surface
    •   Ensure state of Idaho and local law enforcement is periodically briefed and
        adequately prepared for the execution;
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    •   Establish the agenda, schedule meetings, and lead the discussion with state of Idaho
        and local law enforcement and applicable IDOC staff regarding community safety,
        traffic control, and crowd control;
    •   Ensure that personnel from law enforcement agencies who have not participated in
        training sessions or who have not previously been involved in the execution process
        are briefed and their responsibilities explained;
    •   Invite state of Idaho and local law enforcement liaisons to participate in periodic
        briefings about the execution and its impact on the community including access
        restrictions, crowd control, additional security precautions that may be warranted,
        and other pertinent information. Collaborate with each agency to determine each
        agency’s role and each jurisdiction’s responsibilities;
    •   Schedule tabletop and simulation exercises with state of Idaho and local law
        enforcement identifying areas and activities for improvement and incorporate the
        findings into future simulations; and
    •
    C
        If it is determined that any IDOC staff member, contractor, volunteer, or other
        offender under IDOC jurisdiction is a family member, has a legal or other significant
        relationship with the condemned offender, the condemned offenders’ family, the
        victim, or the victim’s family, contact the applicable manager to discuss potential
        issues and ensure that appropriate management and/or support plans are
        developed.
                    O
 IDOC PIO
    • Issue a news release announcing the date and time of the execution;
    •   Send appendix B, Media Notification and Agreement, to media liaisons and establish
        a deadline for the return of all forms; and
    •   Facilitate up to one telephone interview with the offender per day with Idaho media
                                     P
        from the day the death warrant is issued until the day before the execution (excluding
        weekends and state of Idaho and federal holidays). The offender and his attorney of
        record may select the order in which the interviews occur. The offender may refuse
        any or all media requests for interviews.
 IDOC Victim Services Coordinator
                                                     Y
    Determine if the IDOC has recorded victims who have requested notification. If such
    victims exist, obtain contact information for each victim (minor children will not be
    allowed to witness an execution). The victim service coordinator will provide the contact
    information to the chief of the Operations Division. If possible, the chief of the Operations
    Division will first make contact with the victim’s family by telephone.
        •   Send each victim who has identified themselves to the IDOC appendix D,
            Victim’s Family Witness Notification and Agreement using certified mail with a
            return receipt;
        •   The requests to be present at the execution must be received at least 14 days
            before the execution; and
        •   Notify the IDOC victim services coordinator in the county in which the crime
            originated.
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 IMSI Warden
    • Begin an execution log to be kept in the IMSI warden’s office. This log will provide a
       comprehensive and chronological history. The IMSI warden will document every
       aspect of the execution proceeding, including tasks and/or actions assigned to, or
       completed by an Administrative Team member, until the offender has been executed
       or has received a stay of execution order. When the process has been completed
       either by execution or stay, the log will be placed in the offender’s central file;
    •   Ensure that the facility health authority provides the offender an opportunity to
        complete an Idaho Physician Order for Scope of Treatment form;
    •   Ensure that the facility healthcare service is providing medications in unit doses and
        when available, in liquid form; that no medication, including over-the-counter
        medication, is being provided to the offender as keep-on-person; and that any
        medication the offender has requested be discontinued is no longer being provided;
    •   Discuss with the offender the options available for the disposition of his body after it
        has been released by the Ada County coroner. Advise the offender that he cannot
    C
        donate his body for organ donation;
    •   Inform the offender that he can request a spiritual advisor and ask if the offender
        would like to request a spiritual advisor now;
    •   Inform the offender that a total of two (2) adult family members or friends (approved
        visitors), his attorney of record, and a spiritual advisor may be present at the
                   O
        execution. The offender can decline any of these individuals who want to witness the
        execution. No minors (see section 16) or other offenders can witness the execution;
    •   Outline how conditions of confinement will be modified over the next 30 days and
        briefly describe the relevant aspects of the execution process;
    •   Offer the offender the opportunity to contact his attorney of record by phone and to
                                     P
        speak with a facility volunteer and religion coordinator (VRC) or spiritual advisor;
    •   Advise the offender he may request a last meal. The meal can be his choice from the
        IDOC standard food service menu;
    •   Provide the offender with a copy of appendix E, Summary of Procedures. (Attach the
        signed original to the IMSI warden’s execution log.);
                                                     Y
    •   Ensure that the offender’s file is reviewed thoroughly to determine if there are any
        IDOC staff members, contractors, or volunteers who are family members, have a
        legal relationship, or any other significant relationship with the condemned offender,
        the victim, or victim’s family; or if there are any offenders under IDOC jurisdiction
        who are family members, have a legal relationship, or any other significant
        relationship with the condemned offender, the victim, or victim’s family. If any such
        persons are identified, relay that information to the deputy chief of the Prisons
        Bureau;
    •   Notify the commissary provider of the restrictions placed on the offender’s
        commissary purchases;
    •   Contact the condemned offender’s family by telephone to inform them of the
        scheduled execution date, the name and contact information of the warden’s liaison,
        and any other related issues;
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       •   Within two (2) business days of receiving a death warrant, send appendix F,
           Offender’s Friend/Family Witness Notification and Agreement, to the offender’s
           family by certified mail citing the date of execution and informing them of their liaison
           person. The notification will inform them that if they choose to receive the remains
           that they are responsible for making arrangements for the offender’s burial, or the
           state of Idaho will have the remains cremated;
       •   Inform the offender and the offender’s family that disposition of remains information
           must be received seven (7) days before the execution date and that if the offender
           does not provide information for disposal of his remains, his remains will be disposed
           of in accordance with directive 312.02.01.001, Death of an Inmate. (Give the
           offender a copy of directive 312.02.01.001.);
       •   Request that the IDOC health authority develop a medical emergency response plan
           that provides adequate emergency response in the Execution Unit; and
       •   Ensure that healthcare services staff obtain the offender’s current weight and enter
           that information into the IMSI warden’s execution log.
       C
   IMSI Warden’s Offender Liaison
      Meet with the condemned offender at least once each working day and forward all of the
      offender’s questions and concerns directly to the IMSI warden.
   IMSI Deputy Warden (Acting as Facility Head)
      • Establish a management plan including staffing, meals, and contingency plans to
                       O
         ensure the safe and orderly operation of the facility during the time leading up to the
         execution;
       •   Brief the deputy chief of the Prisons Bureau on the management plan; and
       •   Monitor IMSI activities and brief the deputy chief of the Prisons Bureau if any
           concerns or problems arise.
                                         P
17. Twenty-one (21) to Seven (7) Days Prior to the Execution
    Twenty-one (21) to seven (7) days prior to the execution, the following activities will occur. If
    any of the activities identified in this section cannot be achieved within this timeframe, the
    responsible party will notify the director of the IDOC, chief of the Operations Division, and
                                                        Y
    the deputy chief of the Prisons Bureau.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Chief of the Operations Division
      • Continue to provide briefings to IDOC staff;
       •   Compile a list of state of Idaho and media witnesses including pool reporters, and
           submit the list and all completed state witness notification and agreements (appendix
           C) and media notification and agreements (appendix B) to the deputy chief of the
           Prisons Bureau; and
       •   Monitor planning related to the scheduled execution.
   Administrative Team
     • Ensure that the Escort Team, Medical Team, and command staff are conducting
         training (see section 5) in preparation of the execution;
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    •   Contact the Ada County coroner’s office and determine the protocol regarding the
        transfer of the offender’s body to the coroner’s possession following the execution
        and forward that information to the IMSI warden; and
    •   Take steps to resolve outstanding equipment and inventory issues.
 Deputy Chief of the Prisons Bureau
    • Brief director of the IDOC and chief of the Operations Division;
    •   Continue to conduct tabletop and live exercises with the previously identified teams;
    •   Review IDOC, CAPP, and ICC facility IAPs, and continue discussion and preparation
        with facility heads;
    •   Contact the CISM team leader and ensure the team is making appropriate
        preparations; and
    •   Convene a meeting with state of Idaho and local law enforcement agencies to
        discuss any changes or modifications to crowd control, traffic control, and community
    C
        safety.
 IDOC PIO
    • Address media-specific inquiries;
    •   Forward all completed media notification and agreements (appendix B) to the deputy
        chief of the Prisons Bureau (or designee) for a criminal background check;
                   O
    •   Arrange telephone interviews with the offender up to one day prior to the execution;
        and
    •   Notify members of the media regarding the status of their witness applications.
 IMSI Warden
    • Visit with the condemned offender as needed;
                                    P
    •   Retrieve the completed Offender’s Friend/Family Witness Notification and
        Agreement (appendix F) and answer any questions the offender may have;
    •   Ensure the offender has provided directions for the handling of his remains. (If the
        offender provides no information or the information is insufficient or incorrect, the
                                                    Y
        deceased shall be disposed of in accordance with directive 312.02.01.001, Death of
        an Inmate.);
    •   Ensure that the offender has had the opportunity to complete an Idaho Physician
        Orders for Scope of Treatment form;
    •   Ensure the offender has provided directions for the disposition of his property and
        offender trust fund; and
    •   Meet with the facility health authority and IDOC health authority to review plans for
        coverage and emergency response before and following the scheduled execution.
 IMSI Warden’s Offender Liaison
    • Continue daily contact with the offender;
    •   Stay in contact with the condemned offender’s family; and
    •   Update the IMSI warden on any issues, requests, or questions.
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   IMSI Deputy Warden (Acting as Facility Head)
      • Ensure that the necessary action steps have been taken regarding the IMSI
         management plan including staffing, meals, and contingency plans to ensure the
         safe and orderly operation of the facility during the time leading up to the execution;
       •   Brief the deputy chief of the Prisons Bureau on the status of the management plan;
           and
       •   Continue to monitor IMSI activities and brief the deputy chief of the Prisons Bureau if
           any concerns or problems arise.

18. Seven (7) to Two (2) Days Prior to the Execution
    Seven (7) to two (2) days prior to the execution, the following activities will occur. If any of
    the activities identified in this section cannot be achieved within this timeframe, the
    responsible party will notify the director of the IDOC, chief of the Operations Division, and
    the deputy chief of the Prisons Bureau.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
       C
   be completed in a specific order.
   Chief of the Operations Division
      • Continue to provide briefings to IDOC staff;
       •   Gather the names of those planning to be present in the Execution Unit; and
                        O
       •   Monitor planning related to the scheduled execution.
   Administrative Team
     • Ensure that the Escort Team, Medical Team, and command staff have completed
         adequate training sessions (see section 5);
       •   Confirm preventive maintenance of the execution chamber is current;
                                         P
       •   Test equipment, lighting, audio, HVAC units, etc. in the execution chamber;
       •   Ensure that audio/video equipment is ready and operational if needed;
       •   Confirm that the inventory of equipment, necessary supplies, and backup materials
           are on-site;
                                                         Y
       •   Recheck the medical supplies and chemicals to ensure that each item is ready,
           expiration dates have not been exceeded, items are properly packaged, and if
           applicable sterilized; and
       •   At least three (3) days before the scheduled execution date, obtain technical
           assistance for the purpose of reviewing the lethal substances, the amounts, the
           methods of delivery and injection, and the offender's physical and historical
           characteristics to evaluate compliance with this SOP. The individual(s) conducting
           the technical review will observe the Medical Team place IV catheters and establish
           an IV drip line in a live body. The individual(s) conducting the technical review will
           meet with the Administrative Team to review his findings. The director of the IDOC
           will make the final determination regarding compliance with this SOP.
   Deputy Chief of the Prisons Bureau
      • Brief director of the IDOC and chief of the Operations Division;
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    •   Stand up the ICS center;
    •   Continue tabletop and live exercises;
    •   Confirm staffing levels and necessary vehicles for regular operations and the
        execution are appropriate and ready;
    •   Ensure local law enforcement agencies are fully briefed;
    •   Gather all information regarding media, potential media witnesses, and those who
        will be present at the execution; and
    •   In conjunction with the IDOC Leadership Team, ISCI, and IMSI wardens, finalize the
        media plan, potential media witnesses, and those who will be present at the
        execution.
 IDOC PIO
    • Conduct the random drawing, approximately seven (7) days prior to the execution,
       for three (3) media seats, to include alternate representatives should the primary
    C
       representative withdraw prior to the execution;
    •   Complete a list of the media representatives that want to be on or near the IDOC’s
        south Boise complex and/or be in the media center, but not present at the execution;
    •   Forward the lists of media agencies, media staff members, and potential media
        witnesses to the director of the IDOC, chief of the Operations Division, deputy chief
                   O
        of the Prisons Bureau, and IMSI warden; and
    •   Conduct a preliminary briefing with potential media witnesses and media
        representatives serving as pool reporters.
 Medical Team Leader
   • Ensure serviceability of all medical equipment including EKG machines (to include
                                     P
       instruments) and/or defibrillator, and the availability of graph paper; and
    •   Ensure heart monitor lead lines are sufficient in length.
 IMSI Warden
    • Meet with the condemned offender as needed; and
                                                    Y
    •   Address any unresolved questions or issues.
 IMSI Warden’s Offender Liaison
    • Continue daily contact with the offender;
    •   Have the offender complete a withdrawal slip for any remaining funds in his trust
        account and designate to whom the funds should be sent;
    •   Stay in contact with the condemned’s family; and
    •   Update the IMSI warden on any issues, requests, or questions.
 IMSI Deputy Warden (Acting as Facility Head)
    • Review staffing to ensure there is adequate coverage near the execution date;
    •   Review use of force inventories, less than lethal weapons and munitions to ensure
        that adequate supplies are in place if needed for emergency response;
    •   Brief shift commanders, unit sergeants, and case managers;
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       •   Ensure that proper tool and key control procedures are being followed;
       •   Ensure that transportation vehicles that are not assigned to the execution process
           are available if needed for IMSI operational needs;
       •   Meet with maintenance staff to review any problems or concerns with infrastructure;
       •   Meet with the facility health authority to ensure that an adequate emergency
           response plan is in place for the time frame near the execution; and
       •   Brief the IMSI warden and the deputy chief of the Prisons Bureau regarding the
           emergency plan preparedness and any issues or concerns.

19. Two (2) Days Prior to the Execution
    Two (2) days prior to the execution, the following activities will occur. If any of the activities
    identified in this section cannot be achieved within this timeframe, the responsible party will
    notify the director of the IDOC, chief of the Operations Division, and the deputy chief of the
    Prisons Bureau.
       C
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Chief of the Operations Division
      • Continue to provide briefings to IDOC staff; and
       •   Monitor planning related to the scheduled execution.
                        O
   Administrative Team
     • Conduct at least two (2) rehearsal sessions with the Escort Team, Medical Team,
         and command staff (see section 5);
       •   Confirm that escort and medical teams, a licensed physician (see section 6),
           emergency medical personnel, and the Ada County coroner are scheduled and will
                                          P
           be on-site at the established time;
       •   Restrict access to the execution chamber to those with expressly assigned duties;
       •   Ready the execution chamber for the offender; and
       •   Verify execution inventory and equipment checks are completed and open issues
                                                          Y
           resolved.
   Deputy Chief of the Prisons Bureau
      • Schedule and conduct IDOC south Boise complex simulation exercises, as
         necessary and modify practices if warranted;
       •   Ensure that contracted services have planned their activities to coincide with the
           incident action plans for modified operational status related to the scheduled
           execution;
       •   Contact IDOC, CAPP, and ICC facility heads to monitor their preparation and status;
       •   and
       •   Confirm adequate staffing, equipment, and materials are in place for regular
           operations and the execution.
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20. Twenty-Four (24) to 12 Hours Prior To the Execution
    Twenty-four (24) to 12 hours prior to the execution, the following activities will occur. If any
    of the activities identified in this section cannot be achieved within this timeframe, the
    responsible party will notify the director of the IDOC, chief of the Operations Division, and
    the deputy chief of the Prisons Bureau.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Administrative Team
     • Ensure the final preparation of Execution Unit is complete. Each room receives a
         final evaluation specific to its functions including security, climate control, lighting,
         sound and sanitation;
       •   Ensure that video monitoring and intercom systems are functioning properly;
       •   Ensure the Medical Team room and execution chamber clocks are accurately set
           and working;
       C
       •   Ensure that appropriate restraints are ready;
       •   Ensure that communication devices are ready;
       •   Ensure that the Medical Team leader checks the EKG machine instruments to
           confirm they are functioning properly;
                       O
       •   Ensure that the crash cart and defibrillator are in place and functioning properly; and
       •   Check medical supply and chemical inventory.
   Deputy Chief of the Prisons Bureau
      • Activate the following teams:
              ♦ Command
                                         P
              ♦ CERT
              ♦ Maintenance
              ♦ CISM
                                                         Y
              ♦ Traffic Control Team
       •   Ensure CISM is activated state-wide;
       •   Modify operation of the IDOC’s south Boise complex;
       •   Contact IDOC, CAPP, and ICC facility heads to ensure they are prepared to activate
           their IAPs for modified operation; and
       •   Establish the ICS command center.
   IDOC PIO
      Establish the media center.
   IDOC Health Authority
      Conduct a review of the offender’s healthcare.
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   IMSI Warden
      • Ensure that all the offender’s remaining property, except one religious item, is
         removed and inventoried, and that the offender has completed a disposition sheet for
         his property;
       •   Ensure that witness areas are in order;
       •   Ensure that transportation vehicles are ready; and
       •   Ensure that food service is prepared to serve offender his last meal request.
   IMSI Deputy Warden (Acting as Facility Head)
      • Activate the IMSI management plan;
           Note: the plan can be activated earlier if activities, behaviors, or other issues indicate
           it prudent to do so.
       •   Ensure that detailed staff briefings are provided; and
       C
       •   Ensure that CISM is on-site at IMSI.

21. Twelve (12) Hours Prior To the Execution
    Twelve (12) hours prior to the execution, the following activities will occur. If any of the
    activities identified in this section cannot be achieved within this timeframe, the responsible
    party will notify the director of the IDOC, chief of the Operations Division, and the
                       O
    Administrative Team.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Deputy Chief of the Prisons Bureau
      Contact IDOC, CAPP, and ICC facility heads to ensure they have activated their incident
                                        P
      action plans for modified operation.
   Restricting Access to IDOC Property
      During the final twelve hours prior to the execution, access to the IDOC’s south Boise
      complex is limited. Restrictions shall remain in effect until normal operations resume
      after the execution or a stay of execution is issued.
                                                        Y
       Access is limited to the following:
           •   On-duty personnel;
           •   On-duty contract personnel;
           •   Volunteers deemed necessary by the facility wardens;
           •   Approved delivery vehicles;
           •   Approved media;
           •   Approved execution witnesses;
           •   Law enforcement personnel on business-related matters; and
           •   Others as approved by the ICS operations chief.
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   Population Management
      • The IDOC’s south Boise complex and CAPP and ICC facilities shall go on secure
         status as defined and ordered by the ICS operations chief at conclusion of a formal
         count and not less than nine (9) hours prior to the scheduled execution; and
       •   After the conclusion of the execution or stay of execution, all IDOC and contract
           prison facilities shall return to regular operations at the direction of the ICS
           operations chief.
   Condemned Offender Activities
     • Ensure the offender receives the last meal by approximately 1900 hours prior to the
        scheduled execution. (All eating utensils and remaining food and beverage shall be
        removed upon completion of the meal.);
       •   Phone calls are concluded by 2100 hours. (Telephone calls shall be terminated at
           2100 hours the day prior to the execution, excluding calls with the offender’s attorney
           of record and others approved by the IMSI warden.);
       C
       •   Visitation shall be terminated at 2100 hours the night prior to the execution,
           excluding visits from the offender’s attorney of record and others as approved by the
           IMSI warden;
       •   No later than 2300 hours the night before the execution, the facility healthcare
           services staff will offer the offender a mild sedative;
                       O
       •   No later than five (5) hours prior to the execution, the offender shall be offered a light
           snack. (All eating utensils and remaining food, to include any remaining consumable
           commissary, shall be removed upon completion of the meal.); and
       •   No later than four (4) hours prior to the execution, the facility healthcare services
           staff will offer the offender another mild sedative.
                                        P
22. Final Preparations
    During the final preparations, the IMSI warden will be unavailable to address issues not
    directly related to the execution process. All other inquiries shall be directed to a member of
    the Administrative Team.
   Witness Briefing
                                                        Y
      Prior to entering the execution witness area, the chief of the Operations Division will
      provide briefings of the execution process to those who will be present at the execution.
      The victim’s family and offender’s family will receive separate briefings.
   Procedures to Carry out the Execution
      The procedures for carrying out the execution are found in appendix A, Execution
      Chemicals Preparation and Administration.
       Note: Total anonymity of personnel in the Medical Team room must be maintained. At
       no time will the personnel be addressed by name or asked anything that would require
       an oral response.

23. Pronouncement of Death
    Idaho Code, section 19-2716, requires that the death of a condemned offender be
    pronounced by the Ada County coroner (or deputy coroner).
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   The Ada County coroner (or deputy coroner) will be staged in or near the Execution Unit
   during the execution process. When the execution process has been completed, the coroner
   will enter the execution chamber, examine the offender, and pronounce the offender’s death
   to the IMSI warden. The IMSI warden will announce that the sentence of death has been
   carried out as ordered by the court and the execution has been completed.

24. Return of Service on the Death Warrant
    After the execution, the IMSI warden must complete a return of service of the death warrant,
    showing the date, time, mode, and manner in which it was executed. The original death
    warrant will be returned to the sentencing court. A copy of the death warrant with the return
    of service information will be filed in the offender’s central file. A copy of the original death
    warrant shall be forwarded to the DAG office.

25. Following the Execution
   Administrative Team
     • Ensure that the assigned members of the Medical Team will return all unused
       C
         materials to the safe in the execution chamber;
       •   Gather all documents, logs, recordings, sequence of chemical forms (see
           appendixes A1 thru A4), EKG machine tape, list of identifiers, etc. and deliver them
           to the DAG who represents the IDOC for storage;
       •   Upon completion or long-term stay, inventory the items, complete the chain of
                       O
           custody, and secure the items in the administration safe;
       •   Retrieve all secured materials; and
       •   Destroy all used materials in accordance with safe disposal practices and document
           the disposition of each drug on the inventory sheet.
   Deputy Chief of the Prisons Bureau
                                         P
      Contact all facility heads and determine each facilities’ status and any issues that were
      experienced related to the execution process.
   Execution Chamber and Condemned Isolation Cell Cleaning
      Under the supervision of a person designated by the designated Administrative Team
                                                        Y
      member, the execution chamber and condemned isolation cell shall be cleaned and
      secured. Facility staff trained in infectious diseases preventive practices will utilize
      appropriate precautions in cleaning the execution chamber.
   Resuming Normal Operations
      ICS command center shall determine when the prisons resume normal operations after
      receiving assessments from all facility wardens.
       IDOC staff shall be deactivated at the direction of ICS command center.
   Debriefing
      Within 48 hours, the deputy chief of the Prisons Bureau and IMSI warden will debrief the
      director of the IDOC and chief of the Operations Division and other Leadership Team
      staff as the director deems appropriate regarding the process and if applicable make
      recommendations to revise the standard operation procedure or other related processes
      or documents.
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REFERENCES
  Appendix A, Execution Chemicals Preparation and Administration
   Appendix A1, Sequence of Chemical Form- Method 1
   Appendix A2, Sequence of Chemical Form- Method 2
   Appendix A3, Sequence of Chemical Form- Method 3
   Appendix A4, Sequence of Chemical Form- Method 4
   Appendix B, Media Notification and Agreement
      •   Appendix B (Fill-in version)
   Appendix C, State Witness Notification and Agreement
      •   Appendix C (Fill-in version)
   Appendix D, Victim’s Family Witness Notification and Agreement
      •   Appendix D (Fill-in version)
      C
   Appendix E, Summary of Procedures
      •   Appendix E (Fill-in version)
   Appendix F, Offender’s Friend/Family Witness Notification and Agreement
      •   Appendix F (Fill-in version)
                     O
   Directive 312.02.01.001, Death of an Inmate
   Idaho Code, Title 19, Chapter 27, Section 19-2705, Death Sentence or Death Warrant and
   Confinement There under – Access to Condemned Person
   Idaho Code, Title 19, Chapter 27, Section 19-2713, Proceedings When Female Supposed to
                                         P
   be Pregnant
   Idaho Code, Title 19, Chapter 27, Section 19-2714, Findings in Case of Pregnancy
   Idaho Code, Title 19, Chapter 27, Section 19-2715, Ministerial Actions Relating to Stays of
   Execution, Resetting Execution Dates, and Order of Execution of Judgment of Death
   Idaho Code, Title 19, Chapter 27, Section 19-2716, Infliction of Death Penalty
                                                     Y
   Idaho Code, Title 19, Chapter 27, Section 19-2718, Return of Death Warrant
   Idaho Code, Title 60, Chapter 1, Section 60-106, Qualifications of Newspapers Printing
   Legal Notices
   Standard Operating Procedure 205.07.01.001, Corrective and Disciplinary Action
   Standard Operating Procedure 319.02.01.001, Restrictive Housing
   Standard Operating Procedure 320.02.01.001, Property: State-issued and Offender
   Personal Property
   Standard Operating Procedure 604.02.01.001, Visiting
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                                                                                                  0055
                              IDAHO DEPARTMENT OF CORRECTION
                         Execution Chemicals Preparation and Administration

   A. Modifications to Protocols and Procedures
   There shall be no deviation from the procedures, protocols, and chemicals in this procedure without
   prior consent from the director of the IDOC. A member of the Administrative Team shall monitor and
   ensure compliance with protocols and procedures related to the preparation and administration of
   chemicals.

   B. Preparation of Chemicals
   At the appropriate time, the IMSI warden shall transfer custody of the chemicals to the Medical Team
   leader so the Medical Team can complete chemical and syringe preparation.
   The Medical Team leader will supervise the syringe preparation, assigning a Medical Team member to
   prepare each chemical and the corresponding syringe. The assigned Medical Team members shall
   prepare their designated chemical and syringes for two (2) complete sets of chemicals to be used in the
   implementation of the death sentence. A third set of syringes shall be available and ready for use as
   backup.
   The assigned Medical Team member shall be responsible for preparing and labeling the assigned sterile
   syringes in a distinctive manner identifying the specific chemical contained in each syringe by (a)
   assigned number, (b) chemical name, (c) chemical amount and (d) the designated color, as set forth in
   the chemical chart below. This information shall be preprinted on a label, with two (2) labels affixed to
   each syringe to ensure a label remains visible.
   There shall be sufficient lighting and physical space in the Medical Team room and the execution
   chamber to enable team members to function properly and to observe the offender. The offender will be
   positioned to enable the Medical Team leader to view the offender, the offender’s arms (or other
   designated intravenous [IV] location) and face with the aid of a color camera and a color monitor.
   After the Medical Team prepares all syringes with the proper chemicals and labels as provided in the
   applicable chemical chart, the Medical Team leader shall place three (3) complete sets of the prepared
   and labeled syringes in the color-coded and labeled syringe trays in the order in which the chemicals are
   to be administered. The syringes will be placed in the color-coded and labeled syringe trays in a manner
   to ensure there is no crowding, with each syringe resting in its corresponding place in the shadow box
   which is labeled with the name of the chemical, color, chemical amount and the designated syringe
   number.
   The syringes shall be placed in such a manner to ensure the syringe labels are clearly visible. Prior to
   placing the syringes in the color-coded and labeled syringe trays, the flow shall be checked by the
   Medical team leader running heparin/saline solution through the line to confirm there is no obstruction.
   After all syringes are prepared and placed in color-coded and labeled syringe trays in proper order, the
   Medical Team leader shall confirm that all syringes are properly labeled and placed in the color-coded
   and labeled syringe trays in the order in which the chemicals are to be administered as designated by
   the applicable chemical chart. Each chemical shall be administered in the predetermined order in which
   the syringes are placed in the tray.

   C. Approved Chemicals
   The IDOC has four (4) options for lethal injection methods. Which option is used is dependent upon the
   availability of chemicals.
   The director of the IDOC has approved the following lethal injection chemicals and methods as
   described in Chemical Chart 1, Chemical Chart 2, Chemical Chart 3, and Chemical Chart 4:


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   Method 1
                                                CHEMICAL CHART 1
                                                  Primary SET A
                          Syringe No.            Label
                          1A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                          2A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                          3A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                          4A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                          5A (flush)             60mL Heparin/Saline, BLACK
                          6A (complete 6-7)      60mg Pancuronium Bromide, BLUE
                          7A (complete 6-7)      60mg Pancuronium Bromide, BLUE
                          8A (flush)             60mL Heparin/Saline, BLACK
                          9A (complete 9-10)     120mEq Potassium Chloride, RED
                          10A (complete 9-10)    120mEq Potassium Chloride, RED
                          11A (flush)            60mL Heparin/Saline, BLACK

                     CHEMICAL CHART 1                                      CHEMICAL CHART 1
                       Backup Set B                                          Backup Set C
   Syringe No.         Label                            Syringe No.           Label
   1B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   1C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
   2B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   2C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
   3B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   3C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
   4B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   4C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
   5B (flush)          60mL Heparin/Saline, BLACK       5C (flush)            60mL Heparin/Saline, BLACK
   6B (complete 6-7)   60mg Pancuronium Bromide, BLUE   6C (complete 6-7)     60mg Pancuronium Bromide, BLUE
   7B (complete 6-7)   60mg Pancuronium Bromide, BLUE   7C (complete 6-7)     60mg Pancuronium Bromide, BLUE
   8B (flush)          60mL Heparin/Saline, BLACK       8C (flush)            60mL Heparin/Saline, BLACK
   9B (complete 9-10) 120mEq Potassium Chloride, RED    9C (complete 9-10)    120mEq Potassium Chloride, RED
   10B (complete 9-10 120mEq Potassium Chloride, RED    10C (complete 9-10)   120mEq Potassium Chloride, RED
   11B (flush)         60mL Heparin/Saline, BLACK       11C (flush)           60mL Heparin/Saline, BLACK

       Syringe Preparation (Method 1)
       Syringes 1A, 2A, 3A, 4A, 1B, 2B, 3B, 4B, 1C, 2C, 3C and 4C each contain 1.25 gm/50ml. of sodium
       pentothal / 1 in 50 ml. of sterile water in four (4) 60 ml. syringes for a total dose of 5 grams of sodium
       pentothal in each set. Each syringe containing sodium pentothal shall have a GREEN label which
       contains the name of chemical, chemical amount, and the designated syringe number.
       Syringes 5A, 8A, 11A, 5B, 8B, 11B, 5C, 8C and 11C each contain 60 ml. of a heparin/saline
       solution, at a concentration of 10 units of heparin per milliliter, and shall have a BLACK label which
       contains the name of the chemical, chemical amount, and the designated syringe number.
       Syringes 6A, 7A, 6B, 7B, 6C and 7C each contain 60 mg of pancuronium bromide for a total of 120
       mg of pancuronium bromide in each set. Each syringe containing pancuronium bromide shall have a
       BLUE label which contains the name of the chemical, chemical amount, and the designated syringe
       number.
       Syringes 9A, 10A, 9B, 10B, 9C and 10C each contain 120 milliequivalents of potassium chloride for
       a total of 240 milliequivalents of potassium chloride in each set. Each syringe containing potassium
       chloride shall have a RED label which contains the name of the chemical, chemical amount, and the
       designated syringe number.
       After the Medical Team prepares all syringes with the proper chemicals and labels as provided in the
       applicable chemical chart, the Medical Team leader shall ensure the IV setup is completed.




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       Method 2
                                             CHEMICAL CHART 2
                                               Primary SET A
                         Syringe No.           Label
                         1A (compete 1-2)      2.5 g Pentobarbital GREEN
                         2A (complete 1-2)     2.5 g Pentobarbital GREEN
                         3A (flush)            60mL Heparin/Saline, BLACK
                         4A (complete 4-5)     60mg Pancuronium Bromide, BLUE
                         5A (complete 4-5)     60mg Pancuronium Bromide, BLUE
                         6A (flush)            60mL Heparin/Saline, BLACK
                         7A (complete 7-8)     120mEq Potassium Chloride, RED
                         8A (complete 7-8)     120mEq Potassium Chloride, RED
                         9A (flush)            60mL Heparin/Saline, BLACK
                     CHEMICAL CHART 2                                     CHEMICAL CHART 2
                       Backup Set B                                         Backup Set C
   Syringe No.         Label                            Syringe No.          Label
   1B (complete 1-2)   2.5 g Pentobarbital GREEN        1C (complete 1-2)    2.5 g Pentobarbital GREEN
   2B (complete 1-2)   2.5 g Pentobarbital GREEN        2C (complete 1-2)    2.5 g Pentobarbital GREEN
   3B (flush)          60mL Heparin/Saline, BLACK       3C (flush)           60mL Heparin/Saline, BLACK
   4B (complete 4-5)   60mg Pancuronium Bromide, BLUE   4C (complete 4-5)    60mg Pancuronium Bromide, BLUE
   5B (complete 4-5)   60mg Pancuronium Bromide, BLUE   5C (complete 4-5)    60mg Pancuronium Bromide, BLUE
   6B (flush)          60mL Heparin/Saline, BLACK       6C (flush)           60mL Heparin/Saline, BLACK
   7B (complete 7-8)   120mEq Potassium Chloride, RED   7C (complete 7-8)    120mEq Potassium Chloride, RED
   8B (complete 7-8)   120mEq Potassium Chloride, RED   8C (complete 7-8)    120mEq Potassium Chloride, RED
   9B (flush)          60mL Heparin/Saline, BLACK       9C (flush)           60mL Heparin/Saline, BLACK

       Syringe Preparation (Method 2)
       Syringes 1A, 2A, 1B, 2B, 1C, and 2C each contain 2.5 gm of pentobarbital for a total of 5 grams in
       each set. Each syringe containing pentobarbital shall have a GREEN label which contains the name
       of chemical, chemical amount and the designated syringe number.
       Syringes 3A, 6A, 9A, 3B, 6B, 9B, 3C, 6C and 9C each contain 60 ml. of a heparin/saline solution, at
       a concentration of 10 units of heparin per milliliter, and shall have a BLACK label which contains the
       name of the chemical, chemical amount and the designated syringe number.
       Syringes 4A, 5A, 4B, 5B, 4C and 5C each contain 60 mg of pancuronium bromide for a total of 120
       mg of pancuronium bromide in each set. Each syringe containing pancuronium bromide shall have a
       BLUE label which contains the name of the chemical, chemical amount and the designated syringe
       number.
       Syringes 7A, 8A, 7B, 8B, 7C and 8C each contain 120 milliequivalents of potassium chloride for a
       total of 240 milliequivalents of potassium chloride in each set. Each syringe containing potassium
       chloride shall have a RED label which contains the name of the chemical, chemical amount and the
       designated syringe number.
       After the Medical Team prepares all syringes with the proper chemicals and labels as provided in the
       applicable chemical chart, the Medical Team leader shall ensure the IV setup is completed.




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       Method 3
                                                  CHEMICAL CHART 3
                                                     Primary Set A
                              Syringe No.              Label
                              1A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                              2A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                              3A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                              4A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                              5A (flush)               60mL Heparin/Saline, BLACK
                     CHEMICAL CHART 3                                          CHEMICAL CHART 3
                        Backup Set B                                             Backup Set C
   Syringe No.         Label                               Syringe No.            Label
   1B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      1C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
   2B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      2C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
   3B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      3C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
   4B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      4C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
   5B (flush)          60mL Heparin/Saline, BLACK          5C (flush)             60mL Heparin/Saline, BLACK

       Syringe Preparation (Method 3)
       Syringes 1A, 2A, 3A, 4A, 1B, 2B, 3B, 4B, 1C, 2C, 3C, and 4C each contain 1.25 gm/50ml. of sodium
       pentothal / 1 in 50 ml. of sterile water in four (4) 60 ml. syringes for a total dose of 5 grams of sodium
       pentothal in each set. Each syringe containing sodium pentothal shall have a GREEN label which
       contains the name of chemical, chemical amount, and the designated syringe number.
       Syringes 5A, 5B, and 5C each contain 60 ml. of a heparin/saline solution, at a concentration of 10
       units of heparin per milliliter, and shall have a BLACK label which contains the name of the
       chemical, chemical amount, and the designated syringe number.
       After the Medical Team prepares all syringes with the proper chemicals and labels as provided in the
       applicable chemical chart, the Medical Team leader shall ensure the IV setup is completed.




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       Method 4
                                                CHEMICAL CHART 4
                                                  Primary Set A
                              Syringe No.          Label
                              1A (complete 1-2)    2.5 g Pentobarbital GREEN
                              2A (complete 1-2)    2.5 g Pentobarbital GREEN
                              3A (flush)           60mL Heparin/Saline, BLACK
                     CHEMICAL CHART 4                                     CHEMICAL CHART 4
                       Backup Set B                                         Backup Set C
   Syringe No.         Label                            Syringe No.          Label
   1B (complete 1-2)   2.5 g Pentobarbital GREEN        1C (complete 1-2)    2.5 g Pentobarbital GREEN
   2B (complete 1-2)   2.5 g Pentobarbital GREEN        2C (complete 1-2)    2.5 g Pentobarbital GREEN
   3B (flush)          60mL Heparin/Saline, BLACK       3C (flush)           60mL Heparin/Saline, BLACK

       Syringe Preparation (Method 4)
       Syringes 1A, 2A 1B, 2B, 1C, and 2C each contain 2.5 gm of pentobarbital for a total of 5 grams in
       each set. Each syringe containing pentobarbital shall have a GREEN label which contains the name
       of chemical, chemical amount and the designated syringe number.
       Syringes 3A, 3B, and 3C each contain 60 ml. of a heparin/saline solution, at a concentration of 10
       units of heparin per milliliter, and shall have a BLACK label which contains the name of the
       chemical, chemical amount and the designated syringe number.
       After the Medical Team prepares all syringes with the proper chemicals and labels as provided in the
       applicable chemical chart, the Medical Team leader shall ensure the IV setup is completed.
       Note: The chemical amounts as set forth in chemical charts 1, 2, 3, and 4 are designated for the
       execution of persons weighing 500 pounds or less. The chemical amounts will be reviewed and may
       be revised as necessary for an offender exceeding this body weight.
       Note: The quantities of chemicals prepared and administered may not be changed in any manner
       without prior approval of the director of the IDOC.
       Note: The full dose contained in each syringe shall be administered to the offender and
       subsequently documented by the designated recorder. The quantities of the chemicals prepared and
       administered may not be changed in any manner without prior approval of the director of the IDOC
       after consultation with the Medical Team leader. If all electrical activity of the heart ceases prior to
       administering all of the chemicals, the Medical Team members shall continue to follow this protocol
       and administer all remaining chemicals in the order and amounts set forth in the applicable chemical
       chart.




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       IV Setup Procedure
       After all syringes are prepared and placed in proper order, the Medical Team leader shall confirm
       that all syringes are properly labeled and placed in the order in which the chemicals are to be
       administered as designated by the chemical chart. Each chemical shall be administered in the
       predetermined order in which the syringes are placed in the color-coded and labeled syringe trays.
       Note: All of the prepared chemicals shall be used or properly disposed of no later than 24 hours
       after the time designated for the execution to occur.
       Note: Should a stay delay the execution beyond 24 hours of the scheduled execution, another
       primary set of syringes shall be prepared when the execution is rescheduled in accordance with the
       process set forth in this procedure.

   D. Chemical Delivery Procedures
   The Medical Team recorder is responsible for completing the applicable sequence of chemical form (see
   appendixes A1 thru A4). The recorder shall document on the form the amount of each chemical
   administered and confirm that it was administered in the order set forth in the chemical chart. Any
   deviation from the written procedure shall be noted and explained on the form.

   E. Preparation, Movement, and Monitoring of Offender
   Prior to moving the offender from the isolation cell to the execution table, the director of the IDOC will
   confer with the Idaho attorney general (or designee) and the Idaho governor (or designee) to confirm
   there is no legal impediment to proceeding with the lawful execution and there are no motions pending
   before a court which may stay further proceedings.
   The offender will be offered a mild sedative based on the offender’s need. The sedative shall be
   provided to the offender no later than four (4) hours prior to the execution, unless it is determined
   medically necessary.
   At the designated time, the Escort Team will escort the offender to the execution room secured on the
   table by the prescribed means with the offender’s arms positioned at an angle away from the offender’s
   side.
   After the offender has been secured to the execution table, the Escort Team leader will personally check
   the restraints which secure the offender to the table to ensure they are not so restrictive as to impede
   the offender’s circulation, yet sufficient to prevent the offender from manipulating the catheters and IV
   lines.
   Once the offender is secured, the Medical Team leader will attach the leads from the electrocardiograph
   (EKG) machine to the offender’s chest and confirm that the EKG machine is functioning properly and
   that the proper graph paper is used. A backup EKG machine shall be on site and readily available if
   necessary.
   A Medical Team member shall be assigned to monitor the EKG machine, and mark the EKG graph
   paper at the commencement and completion of the administration of each chemical. The assigned
   identifier of the Medical Team member monitoring the EKG machine shall be noted at each juncture.
   Throughout the procedure, the Medical Team members shall continually monitor the offender’s level of
   consciousness and EKG machine readings, maintaining constant observation of the offender using one
   or more of the following methods: direct observation, audio equipment, camera, and television monitor
   as well as any other medically approved method(s) deemed necessary by the Medical Team leader. The
   Medical Team leader shall be responsible for monitoring the offender’s level of consciousness.
   The assigned Medical Team members will insert the catheters and attach the IV lines.
   The witnesses will be brought in to the applicable witness areas.
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   Once all witnesses are secured in the witness rooms, the IMSI warden shall read aloud a summary of
   the death warrant.
   A microphone will be positioned to enable the Medical Team leader to hear any utterances or noises
   made by the offender throughout the procedure. The Medical Team leader will confirm the microphone
   is functioning properly, and that the offender can be heard in the Medical Team room.
   The IMSI warden shall ensure there is a person present in the execution chamber throughout the
   execution who is able to communicate with the offender in the offender’s primary language. This person
   will be positioned to clearly see, hear and speak to the offender throughout the execution. If the IMSI
   warden can communicate with the offender in the offender’s primary language, he may serve in that
   capacity.
   The IMSI warden will ask the offender if he wishes to make a last statement and provide an opportunity
   to do so.
   The IMSI warden will offer the offender an eye covering.

   F. Intravenous Lines
   The assigned Medical Team members shall determine the best sites on the offender to insert a primary
   IV catheter and a backup IV catheter in two (2) separate locations in the peripheral veins utilizing
   appropriate medical procedures. The insertion sites in order of preference shall be: arms, hands, ankles
   and feet, as determined medically appropriate by the Medical Team leader. Both primary and backup IV
   lines will be placed unless in the opinion of the Medical Team leader it is not possible to reliably place
   two (2) peripheral lines. In the event that it is not possible to reliably place two (2) peripheral lines, the
   Medical Team leader will direct Medical Team members to place an IV catheter in a central line for the
   purpose of administering the chemicals.
   At the discretion of the Medical Team leader, a localized anesthetic may be used to numb the venous
   access site.
   To ensure proper insertion in the vein, the assigned Medical Team members should watch for the
   flashback of blood at the catheter hub in compliance with medical procedures.
   The assigned Medical Team members shall ensure the catheter is properly secured with the use of tape
   or adhesive material, properly connected to the IV line and out of reach of the offender’s hands. A flow
   of heparin/saline shall be started in each line and administered at a slow rate to keep the line open.
   The primary IV catheter will be used to administer the chemicals and the backup catheter will be
   reserved in the event of the failure of the first line. Any failure of a venous access line shall be
   immediately reported to the IMSI warden.
   The IV catheter in use shall not be covered and shall remain visible throughout the procedure.
   The IMSI warden shall physically remain in the execution chamber with the offender throughout the
   administration of the chemicals in a position sufficient to clearly observe the offender and the primary
   and backup IV sites for any potential problems and shall immediately notify the Medical Team leader
   and director of the IDOC should any issue occur. Upon receipt of such notification, the director of the
   IDOC will stop the proceedings and take all steps necessary in consultation with the Medical Team
   leader prior to proceeding further with the execution.
   Should it be determined that the use of the backup IV catheter is necessary, a complete set of backup
   chemicals will be administered in the backup IV as set forth in the applicable chemical chart.
   Should it become necessary to use an alternate means of establishing an IV line because, in the opinion
   of the Medical Team leader, it is not possible to reliably place a peripheral line in the offender, a Medical
   Team member may utilize a central line catheter if, in the opinion of the Medical Team leader, such a
   line may be reasonably placed. The Medical Team member responsible for placing a central line
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   catheter shall have at least one year of regular and current professional experience conducting that
   procedure. The Medical Team member will place the central line catheter utilizing appropriate medical
   procedures. The Medical Team member shall ensure the catheter is properly secured with the use of
   tape or adhesive material, properly connected to the IV line and out of reach of the offender’s hands.
   This line shall be utilized for the administering of all chemicals.
   Upon successful insertion of the catheter into a central line, a Medical Team member will inject a
   solution of heparin/saline into the catheter to ensure patency of the catheter.

   G. Administration of Chemicals Methods 1 and 2
   At the time the execution is to commence and prior to administering the chemicals, the director of the
   IDOC will reconfirm with the Idaho attorney general (or designee) and the Idaho governor (or designee)
   that there is no legal impediment to proceeding with the execution. Upon receipt of oral confirmation that
   there is no legal impediment, the director of the IDOC will instruct the IMSI warden to commence the
   process to carry out the sentence of death. The IMSI warden will then order the administration of the
   chemicals to begin. If there is a legal impediment to the execution, the director of the IDOC shall instruct
   the IMSI warden to stop the process, and to notify the offender and witnesses that the execution has
   been stayed or delayed. The IMSI warden (or designee) shall also notify the IDOC PIO and other
   pertinent staff.
   Upon receiving the order to commence the execution process from the director of the IDOC, the IMSI
   warden will instruct the Medical Team leader to begin administrating the chemicals. The Medical Team
   leader will instruct the assigned Medical Team member to begin dispensing the first chemical.
   Upon direction from the Medical Team leader, the assigned Medical Team member will visually and
   verbally confirm the chemical name on the syringe and then administer the full dose of sodium
   pentothal/or pentobarbital immediately followed by the heparin/saline flush. The heparin/saline is
   administered as a secondary precaution to further ensure the line is functioning properly and flushed
   between each chemical.
   After the sodium pentothal/or pentobarbital and heparin/saline have been administered and before the
   Medical Team members begin administering the pancuronium bromide, the Medical Team leader shall
   confirm the offender is unconscious by direct examination of the offender. The Medical Team leader,
   dressed in a manner to preserve his anonymity, will enter into the room where the IMSI warden and
   offender are located to physically confirm the offender is unconscious by using all necessary medically
   appropriate techniques such as giving verbal stimulus, soliciting an auditory response, touching the
   eyelashes, and/or conducting a sternal rub. The Medical Team leader will also confirm that the IV line
   remains affixed and functioning properly.
   No further chemicals shall be administered until the Medical Team leader has confirmed the offender is
   unconscious. After three (3) minutes have elapsed since the administration of the sodium pentothal/or
   pentobarbital, the Medical Team leader will assess and confirm that the offender is unconscious. The
   Medical Team leader will verbally advise the IMSI warden of the offender’s status.
   In the unlikely event that the offender is conscious, the Medical Team shall assess the situation to
   determine why the offender is conscious. The Medical Team leader shall communicate this information
   to the IMSI warden, along with all Medical Team input. The IMSI warden will determine how to proceed
   or, if necessary, to start the procedure over at a later time or stand down. The IMSI warden may direct
   the curtains to the witness viewing room be closed, and, if necessary, for witnesses to be removed from
   the execution unit.
   If deemed appropriate, the IMSI warden may instruct the Medical Team to administer an additional 5
   grams of sodium pentothal/or pentobarbital followed by the heparin/saline flush from backup set B.
   Upon administering the sodium pentothal/or pentobarbital and heparin/saline from backup set B, the
   Medical Team leader will again physically confirm the offender is unconscious using proper medical
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   procedures and verbally advise the IMSI warden of the same. Throughout the entire procedure, the
   Medical Team members and the IMSI warden shall continually monitor the offender using all available
   means to ensure that the offender remains unconscious and that there are no complications.
   Only after receiving oral confirmation from the Medical Team leader that the offender is unconscious
   and three (3) minutes have elapsed since commencing the administration of the sodium pentothal/or
   pentobarbital and heparin/saline from backup set B, will the IMSI warden instruct the Medical Team
   leader to proceed with administering the next chemicals.
   When instructed, the Medical Team leader will instruct the assigned Medical Team members to begin
   administering the full doses of the remaining chemicals (pancuronium bromide and potassium chloride),
   each followed by a heparin/saline flush as set forth in the applicable chemical chart.
   If after administering the potassium chloride and subsequent heparin/saline flush, the electrical activity
   of the offender’s heart has not ceased, the additional potassium chloride and heparin/saline flush
   contained in backup set B shall be administered.
   The full dose contained in each syringe shall be administered to the offender and subsequently
   documented by the designated recorder. The quantities of the chemicals prepared and administered
   may not be changed in any manner without prior approval of the director of the IDOC after consultation
   with the Medical Team leader.
   If all electrical activity of the heart ceases prior to administering all the chemicals, the Medical Team
   members shall continue to follow this protocol and administer all remaining chemicals in the order and
   amounts set forth in the applicable chemical chart.
   When all electrical activity of the heart has ceased as shown by the EKG machine, the Medical Team
   leader will advise the Ada County coroner and the IMSI warden that the procedure has been completed.
   The Medical Team leader will ensure that the EKG machine runs a print-out strip for two (2) minutes
   after the last chemical injection.
   The Ada County coroner will enter the execution chamber, examine the offender, and pronounce the
   offender’s death to the IMSI warden. The IMSI warden will then announce that the sentence of death as
   been carried out as ordered by the court.
   The witnesses will be escorted from the Execution Unit back to the respective staging and/or exit
   locations.
   Note: Backup set C will be used if (1) electrical activity of the heart has not ceased after administration
   of sets A and B, or (2) either primary set A or backup set B are damaged or otherwise deemed
   unusable.

   H. Administration of Chemicals Methods 3 and 4
   At the time the execution is to commence and prior to administering the chemicals, the director of the
   IDOC will reconfirm with the Idaho attorney general (or designee) and the Idaho governor (or designee)
   that there is no legal impediment to proceeding with the execution. Upon receipt of oral confirmation that
   there is no legal impediment, the director of the IDOC will instruct the IMSI warden to commence the
   process to carry out the sentence of death. The IMSI warden will then order the administration of the
   chemicals to begin. If there is a legal impediment to the execution, the director of the IDOC shall instruct
   the IMSI warden to stop the process, and to notify the offender and witnesses that the execution has
   been stayed or delayed. The IMSI warden (or designee) shall also notify the IDOC PIO and other
   pertinent staff.
   Upon receipt of the director of the IDOC’s order and under observation of the Medical Team leader, the
   IMSI warden will advise the Medical Team leader to begin the administration of chemicals. The Medical
   Team leader will instruct the assigned Medical Team member to begin dispensing the first chemical.

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   Upon direction from the Medical Team leader, the assigned Medical Team member will visually and
   verbally confirm the chemical name on the syringe and then administer the full dose of sodium
   pentothal/or pentobarbital immediately followed by the heparin/saline flush.
   If after administering the sodium pentothal/or pentobarbital, subsequent heparin/saline flush, and 10
   minutes have elapsed, and the electrical activity of the offender’s heart has not ceased, the additional
   sodium pentothal/or pentobarbital and heparin/saline flush contained in backup set B shall be
   administered.
   The full dose contained in each syringe shall be administered to the offender and subsequently
   documented by the designated recorder. The quantities of the chemicals prepared and administered
   may not be changed in any manner without prior approval of the director of the IDOC after consultation
   with the Medical Team leader.
   If all electrical activity of the heart ceases prior to administering all the chemicals, the Medical Team
   members shall continue to follow this protocol and administer all remaining chemicals in the order and
   amounts set forth in the applicable chemical chart.
   When all electrical activity of the heart has ceased as shown by the EKG machine, the Medical Team
   leader will advise the Ada County coroner that the procedure has been completed. The Medical Team
   leader will ensure that the EKG machine runs a print-out strip for two (2) minutes after the last chemical
   injection.
   The Ada County coroner will enter the execution chamber, examine the offender, and pronounce the
   offender’s death to the IMSI warden. The IMSI warden will then announce that the sentence of death as
   been carried out as ordered by the court.
   The witnesses will be escorted from the Execution Unit back to the respective staging and/or exit
   locations.
   Note: Backup set C will be used if (1) electrical activity of the heart has not ceased after administration
   of sets A and B, or (2) either primary set A or backup set B are damaged or otherwise deemed
   unusable.

   I. Documentation of Chemicals and Stay
   In the event that a pending stay results in more than a two (2) hour delay, the catheter will be removed,
   if applicable, and the offender shall be returned to the isolation cell until further notice.
   The Medical Team recorder shall account for all chemicals that were not administered and document, in
   the applicable sequence of chemical form (see appendixes A1 thru A4), the chemical name, syringe
   identification code, amount, date, and the time. Time will be marked based on the approved Medical
   Team room clock. The Medical Team leader and the Medical Team recorder each will sign the
   applicable sequence of chemical form (see appendixes A1 thru A4). And will give the unused chemicals
   to a member of the Administrative Team.
   All logs, the applicable sequence of chemical forms (see appendixes A1 thru A4), the list of identifiers,
   and the EKG machine tape shall be submitted to the deputy attorney general who represents the IDOC
   for storage.
   Upon completion of the execution or when a stay exceeding 24 hours is granted the Administrative
   Team shall be responsible for the appropriate disposal of all medical waste and supplies to include
   unused, drawn chemicals in accordance with state of Idaho and federal law.

   J. Contingency Procedure
   A portable cardiac monitor/defibrillator will be readily available on site in the event that the offender goes
   into cardiac arrest at any time prior to dispensing the chemicals; trained medical staff shall make every

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   effort to revive the offender should this occur, unless the offender has signed a do not resuscitate
   (DNR).
   Trained medical personnel and emergency transportation, neither of which is involved in the execution
   process, shall be available in proximity to respond to the offender should any medical emergency arise
   at any time before the order to proceed with the execution is issued by the director of the IDOC.
   If at any point any Medical Team members determine that any part of the execution process is not going
   according to procedure, they shall advise the Medical Team leader who shall immediately notify the
   IMSI warden. The IMSI warden, in consultation with the director of the IDOC may consult with persons
   deemed appropriate and will determine to go forward with the procedure, start the procedure over at a
   later time within the 24-hour day, or stand down.




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                                 IDAHO DEPARTMENT OF CORRECTION
                                  Sequence of Chemical Form- Method 1

Offender:                                               Number:
Court Case #:
Warrant of Death Issued By:

                                    Chemical Chart 1: PRIMARY SET A
     Syringe No.                 Label                   Date and Time   Comments
                                                          Administered
          1A       1.25 g Sodium Pentothal, GREEN
          2A       1.25 g Sodium Pentothal, GREEN
          3A       1.25 g Sodium Pentothal, GREEN
          4A       1.25 g Sodium Pentothal, GREEN
          5A       60mL Heparin/Saline, BLACK
          6A       60mg Pancuronium Bromide, BLUE
          7A       60mg Pancuronium Bromide, BLUE
          8A       60mL Heparin/Saline, BLACK
          9A       120mEq Potassium Chloride, RED
         10A       120mEq Potassium Chloride, RED
         11A       60mL Heparin/Saline, BLACK

                                    Chemical Chart 1: BACKUP SET B
     Syringe No.                 Label                   Date and Time   Comments
                                                         Administered
          1B       1.25 g Sodium Pentothal, GREEN
          2B       1.25 g Sodium Pentothal, GREEN
          3B       1.25 g Sodium Pentothal, GREEN
          4B       1.25 g Sodium Pentothal, GREEN
          5B       60mL Heparin/Saline, BLACK
          6B       60mg Pancuronium Bromide, BLUE
          7B       60mg Pancuronium Bromide, BLUE
          8B       60mL Heparin/Saline, BLACK
          9B       120mEq Potassium Chloride, RED
         10B       120mEq Potassium Chloride, RED
         11B       60mL Heparin/Saline, BLACK

                                    Chemical Chart 1: BACKUP SET C
     Syringe No.                 Label                   Date and Time   Comments
                                                         Administered
          1C       1.25 g Sodium Pentothal, GREEN
          2C       1.25 g Sodium Pentothal, GREEN
          3C       1.25 g Sodium Pentothal, GREEN
          4C       1.25 g Sodium Pentothal, GREEN
          5C       60mL Heparin/Saline, BLACK
          6C       60mg Pancuronium Bromide, BLUE
          7C       60mg Pancuronium Bromide, BLUE
          8C       60mL Heparin/Saline, BLACK
          9C       120mEq Potassium Chloride, RED
         10C       120mEq Potassium Chloride, RED
         11C       60mL Heparin/Saline, BLACK




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                                 IDAHO DEPARTMENT OF CORRECTION
                                  Sequence of Chemical Form- Method 2

Offender:                                                 Number:
Court Case #:
Warrant of Death Issued By:

                                     Chemical Chart 2: PRIMARY SET A
     Syringe No.                  Label                   Date and Time    Comments
                                                           Administered
          1A       2.5 g Pentobarbital GREEN
          2A       2.5 g Pentobarbital GREEN
          3A       60mL Heparin/Saline, BLACK
          4A       60mg Pancuronium Bromide, BLUE
          5A       60mg Pancuronium Bromide, BLUE
          6A       60mL Heparin/Saline, BLACK
          7A       120mEq Potassium Chloride, RED
          8A       120mEq Potassium Chloride, RED
          9A       60mL Heparin/Saline, BLACK

                                      Chemical Chart 2: BACKUP SET B
     Syringe No.                  Label                    Date and Time   Comments
                                                           Administered
          1B       2.5 g Pentobarbital GREEN
          2B       2.5 g Pentobarbital GREEN
          3B       60mL Heparin/Saline, BLACK
          4B       60mg Pancuronium Bromide, BLUE
          5B       60mg Pancuronium Bromide, BLUE
          6B       60mL Heparin/Saline, BLACK
          7B       120mEq Potassium Chloride, RED
          8B       120mEq Potassium Chloride, RED
          9B       60mL Heparin/Saline, BLACK

                                      Chemical Chart 2: BACKUP SET C
     Syringe No.                  Label                    Date and Time   Comments
                                                           Administered
          1C       2.5 g Pentobarbital GREEN
          2C       2.5 g Pentobarbital GREEN
          3C       60mL Heparin/Saline, BLACK
          4C       60mg Pancuronium Bromide, BLUE
          5C       60mg Pancuronium Bromide, BLUE
          6C       60mL Heparin/Saline, BLACK
          7C       120mEq Potassium Chloride, RED
          8C       120mEq Potassium Chloride, RED
          9C       60mL Heparin/Saline, BLACK




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                                 IDAHO DEPARTMENT OF CORRECTION
                                  Sequence of Chemical Form- Method 3

Offender:                                               Number:
Court Case #:
Warrant of Death Issued By:

                                    Chemical Chart 3: PRIMARY SET A
     Syringe No.                 Label                   Date and Time   Comments
                                                          Administered
          1A       1.25 g Sodium Pentothal, GREEN
          2A       1.25 g Sodium Pentothal, GREEN
          3A       1.25 g Sodium Pentothal, GREEN
          4A       1.25 g Sodium Pentothal, GREEN
          5A       60mL Heparin/Saline, BLACK

                                    Chemical Chart 3: BACKUP SET B
     Syringe No.                 Label                   Date and Time   Comments
                                                         Administered
          1B       1.25 g Sodium Pentothal, GREEN
          2B       1.25 g Sodium Pentothal, GREEN
          3B       1.25 g Sodium Pentothal, GREEN
          4B       1.25 g Sodium Pentothal, GREEN
          5B       60mL Heparin/Saline, BLACK

                                    Chemical Chart 3: BACKUP SET C
     Syringe No.                 Label                   Date and Time   Comments
                                                         Administered
          1C       1.25 g Sodium Pentothal, GREEN
          2C       1.25 g Sodium Pentothal, GREEN
          3C       1.25 g Sodium Pentothal, GREEN
          4C       1.25 g Sodium Pentothal, GREEN
          5C       60mL Heparin/Saline, BLACK




Appendix A3
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                                 IDAHO DEPARTMENT OF CORRECTION
                                  Sequence of Chemical Form- Method 4


Offender:                                                 Number:
Court Case #:
Warrant of Death Issued By:

                                     Chemical Chart 4: PRIMARY SET A
     Syringe No.                  Label                   Date and Time    Comments
                                                           Administered
          1A       2.5 g Pentobarbital GREEN
          2A       2.5 g Pentobarbital GREEN
          3A       60mL Heparin/Saline, BLACK

                                      Chemical Chart 4: BACKUP SET B
     Syringe No.                  Label                    Date and Time   Comments
                                                           Administered
          1B       2.5 g Pentobarbital GREEN
          2B       2.5 g Pentobarbital GREEN
          3B       60mL Heparin/Saline, BLACK

                                      Chemical Chart 4: BACKUP SET C
     Syringe No.                  Label                    Date and Time   Comments
                                                           Administered
          1C       2.5 g Pentobarbital GREEN
          2C       2.5 g Pentobarbital GREEN
          3C       60mL Heparin/Saline, BLACK




Appendix A4
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                     MISSOURI DEPARTMENT OF CORRECTIONS
                 PREPARATION AND ADMINISTRATION OF CHEMICALS
                            FOR LETHAL INJECTION


A. Execution Team Members

      The execution team consists of department employees and contracted medical personnel
      including a physician, nurse, and pharmacist. The execution team also consists of anyone
      selected by the department director who provides direct support for the administration of lethal
      chemicals, including individuals who prescribe, compound, prepare, or otherwise supply the
      chemicals for use in the lethal injection procedure.

B. Preparation of Chemicals

      Medical personnel shall prepare the lethal chemicals. The quantities of these chemicals may not
      be changed without prior approval of the department director. The chemicals shall be prepared
      and labeled as follows:

      1. Syringes 1 and 2: Five (5) grams of pentobarbital (under whatever name it may be available
         from a manufacturer, distributor or compounding pharmacy), 100 ml of a 50 mg/mL solution,
         shall be withdrawn and divided into syringes labeled “1” and “2.”

      2. Syringe 3: 30 cc of saline solution.

      3. Syringes 4 and 5: Five (5) additional grams of pentobarbital (under whatever name it may be
         available from a manufacturer, distributor or compounding pharmacy), 100 ml of a 50
         mg/mL solution, shall be withdrawn into syringes labeled “4” and “5.”

      4. Syringe 6: 30 cc of saline solution. This syringe is prepared in the event that additional flush
         is required.


C. Intravenous lines

   1. Medical personnel shall determine the most appropriate locations for intravenous (IV) lines.
      Both a primary IV line and a secondary IV line shall be inserted unless the prisoner’s physical
      condition makes it unduly difficult to insert more than one IV. Medical personnel may insert the
      primary IV line as a peripheral line or as a central venous line (e.g., femoral, jugular, or
      subclavian) provided they have appropriate training, education, and experience for that
      procedure. The secondary IV line is a peripheral line.

   2. A sufficient quantity of saline solution shall be injected to confirm that the IV lines have been
      properly inserted and that the lines are not obstructed.




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D. Monitoring of Prisoner

   1. The gurney shall be positioned so that medical personnel can observe the prisoner’s face directly
      or with the aid of a mirror.

   2. Medical personnel shall monitor the prisoner during the execution.

E. Administration of Chemicals

   1. Upon order of the department director, the chemicals shall be injected into the prisoner by the
      execution team members under the observation of medical personnel. The lights in the execution
      support room shall be maintained at a sufficient level to permit proper administration of the
      chemicals.

   2. The pentobarbital from syringes 1 and 2 shall be injected.

   3. The saline solution from syringe 3 shall be injected.

   4. Following a sufficient amount of time for death to occur after the injection of syringe 3, medical
      personnel shall examine the prisoner to determine if death has occurred. If the prisoner is still
      breathing, the additional five grams of pentobarbital will injected from syringes 4 and 5 followed
      by the saline from syringe 6.

   5. At the completion of the process and after a sufficient time for death to have occurred, medical
      personnel shall evaluate the prisoner to confirm death. In the event that the appropriate medical
      personnel cannot confirm that death has occurred, the curtain shall be reopened until an
      appropriate amount of time has passed to reevaluate the prisoner.

F. Documentation of Chemicals

   1. Medical personnel shall properly dispose of unused chemicals.

   2. Before leaving ERDCC, all members of the execution team present at the execution shall
      complete and sign the “Sequence of Chemicals” form thereby verifying that the chemicals were
      given in the order specified in this protocol.

   3. Before leaving ERDCC, one of the medical personnel present at the execution shall complete
      and sign the “Chemical Log” indicating the quantities of the chemicals used and the quantities of
      the chemicals discarded during the execution.

   4. Within three days of the execution, the ERDCC warden shall submit the Sequence of Chemicals
      and the Chemical Log to the director of the Division of Adult Institutions (DAI). The DAI
      division director and the department director shall review the records. If they do not detect any
      irregularities, they shall approve the two documents. If any irregularities are noted, the DAI
      division director shall promptly determine whether there were any deviations from this protocol
      and shall report his findings to the department director.

Missouri Department of Corrections
Revised October 18, 2013


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1.3.D.3 Execution of an Inmate
I    Policy Index:
                                                            Date Signed:        07/27/2018
                                                            Distribution:       Public
                                                        Replaces Policy:        N/A
                                               Supersedes Policy Dated:         02/09/2017
                                                          Affected Units:       All Institutions
                                                          Effective Date:       07/31/2018
                                               Scheduled Revision Date:         July 2019
                                                       Revision Number:         14
                                        Office of Primary Responsibility:       DOC Administration



II Policy:
     The Department of Corrections (DOC) will carry out the execution of an inmate in accordance with
     SDCL Chapter § 23A-27A. The execution will be conducted in a professional, humane and dignified
     manner.

III Definitions:
     Lethal Injection:
     The intravenous injection (IV) of a substance or substances in a lethal quantity
     (See SDCL § 23A-27A-32).

     Witnesses:
     People authorized to attend an execution as referenced in SDCL §§ 23A-27A-34 and 23A-27A-34.2.

     Staff Member:
     For the purposes of this policy, a staff member is any person employed by the Department of
     Corrections (DOC), full or part time, including an individual under contract assigned to the DOC or
     an employee of another State agency assigned to the DOC.


IV Procedures:
     1. General Provisions:
     A. Inmate executions are carried out by means of lethal injection (See SDCL § 23A-27A-32).

         1. At no time will any medical professional(s) employed at a South Dakota Department of
            Corrections facility participate in the execution process.

         2. Lethal injection is not the practice of medicine in South Dakota (See SDCL § 23A-27A-32).

         3. The inmate who is to be executed will be connected to two (2) IV lines, normally one (1) in
            each arm. One (1) IV line will be the primary line for the lethal injection and the other IV line is
            designated as a backup.




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       4. The lethal injection process involves the administration of drugs, each in a lethal quantity,
          pursuant to a 3-Drug, 2-Drug, or 1-Drug protocol, depending on the date of the inmate’s
          conviction and the availability of the necessary drugs:

           a. 3-Drug Protocol

                1) The first drug, Sodium Pentothal (aka Sodium Thiopental) or Pentobarbital, is
                   administered in a quantity sufficient to ensure the inmate is not subjected to the
                   unnecessary and wanton infliction of pain.
                2) The second drug, Pancuronium Bromide, stops the inmate’s breathing.
                3) The third drug, Potassium Chloride, stops the inmate’s heart.

           b. 2- Drug Protocol
              1) The first drug, Sodium Pentothal, (aka Sodium Thiopental) or Pentobarbital, is
                  administered in a quantity sufficient to ensure the inmate is not subjected to the
                  unnecessary and wanton infliction of pain.
              2) The second drug, Pancuronium Bromide, stops the inmate’s breathing.

           c.   1- Drug Protocol- Sodium Pentothal (aka Sodium Thiopental) or Pentobarbital is
                administered in a lethal quantity sufficient to ensure the inmate is not subjected to
                 the unnecessary and wanton infliction of pain.

       5. Any person convicted of a capital offense or sentenced to death prior to July 1, 2007, may
          choose to be executed in the manner provided in this policy, or in the manner provided by
          South Dakota law at the time of the person’s conviction or sentence (SDCL § 23A-27A-32.1).

           a. The inmate will indicate his/her choice in writing to the Warden of either the South Dakota
              State Penitentiary (SDSP) or the South Dakota Women’s Prison (SDWP), not less than
              seven (7) days prior to the scheduled week of execution.

           b. If the inmate fails or refuses to choose a manner of execution in the time provided, the
              inmate will be executed as provided in SDCL § 23A-27A-32 (See SDCL § 23A-27A-32.1).

   B. Executions are conducted under the direction of the Warden of either the SDSP or the SDWP.

       1. The Warden will select qualified staff to participate in the execution.

       2. The Warden will identify one (1) or more individuals trained to administer intravenous
          injections to carry out the lethal injection.

           a. The Warden will present information regarding the individual’s(s’) qualifications to the
              Secretary of Corrections for final approval (See SDCL § 23A-27A-32).

           b. The individual’s(s’) qualifications must demonstrate adequate training to competently carry
              out each technical step of the lethal injection (See Baze v. Rees, 553 U.S. 35 (2008) and
              Taylor v. Crawford, 487 F. 3d 1072 (8th Cir. 2007).

           c.   The name, address, qualifications and other identifying information relating to the identity
                of any person or entity supplying drugs for use in intravenous injections under SDCL §
                23A-27A is confidential. Disclosure of such information is a Class 1 Misdemeanor under
                state law (See SDCL § 23A-27A-31.2).

           d. The name, address, qualifications and other identifying information relating to the identity
              of any person administering the intravenous injections under SDCL § 23A-27A is
              confidential. Disclosure of such information may not be authorized or ordered. Disclosure




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                of such information is a Class 1 Misdemeanor under state law (See, SDCL § 23A-27A-
                31.2).

   C. Male inmates sentenced to death will be housed in the South Dakota State Penitentiary (SDSP) or
      Jameson Prison Annex. Female inmates sentenced to death will be housed in the South Dakota
      Women’s Prison (See DOC policy 1.3.D.2 - Capital Punishment Housing).

        1. Inmates sentenced to death are segregated from other inmates and single-celled (See SDCL
           § 23A-27A-31.1).

        2. Physical access to an inmate sentenced to death is limited to staff members, the inmate’s
           legal counsel, members of the clergy if requested by the inmate, and members of the inmate’s
           family approved to access the facility. No other person may be allowed access to the inmate
           without an order of the trial court (See SDCL § 23A-27A-31.1).

        3. If the inmate to be executed is female, the Warden of SDWP will notify the Warden of SDSP to
           arrange for the transfer of the female inmate when the execution date is set.

   D. The Governor may investigate the circumstances of the case of the inmate sentenced to death in a
      manner he/she deems appropriate and may require the assistance of the Attorney General (See
      SDCL § 23A-27A-19). The Governor has the power to reprieve or suspend the execution for up to
      ninety (90) days to complete his/her investigation (See SDCL § 23A-27A-20).

   E. If there is a question on an inmate’s mental competence to proceed with the execution, the
      Warden of the state penitentiary will notify the Governor, Secretary of Corrections and the
      sentencing court. If the sentencing court determines there is a substantial threshold showing of
      incompetence to be executed, the sentencing court will conduct hearings and order mental
      examinations. (See SDCL § 23A-27A-22, through § 23A-27A-26). As long as the inmate is
      considered incompetent, the inmate may not be executed (See SDCL §§ 23A-27A-24 and 23A-
      27A-26).

   F. The death penalty cannot be imposed on a inmate who was mentally retarded at the time of
      the commission of the offense and whose condition was manifested and documented before
      the age of eighteen (18) (See SDCL §§ 23A-27A-26.1 through 23A-27A-26.7).

   G. A pregnant inmate may not be executed (See SDCL §§ 23A-27A-27 through 23A-27A-29).

   H. The death penalty cannot be imposed on an inmate who committed an act punishable by death
      while under eighteen (18) years of age (See SDCL § 23A-27A-42).

   I.   Inmate appeals regarding the death penalty are outside the responsibility of the DOC. Inquiries on
        the status of any inmate appeal(s) should be directed to the Office of the Attorney General or the
        defense attorney(s).

   2. Warrant of Execution:
   A. The sentencing judge (or his/her successor in office) will have a signed and certified Warrant of
      Death Sentence and Execution provided to the Warden of the state penitentiary (See SDCL §§
      23A-27A-15 and 23A-27A-16).

   B. The Warrant of Death Sentence and Execution will set the week within which the inmate is to be
      executed (See SDCL § 23A-27A-15).

   C. The Warden of the state penitentiary may carry out the execution at any time within the week
      stated in the Warrant of Death Sentence and Execution. (See, SDCL §§ 23A-27A-15 and
      23A-27A-16).


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   3. Time and Place of Execution:
   A. All executions will take place at the SDSP (See SDCL § 23A-27A-32).

   B. Advance notice of the day and hour set by the Warden of the state penitentiary for the execution
      will be kept secret and only divulged to those invited or requested to be present at the execution
      (See SDCL § 23A-27A-37).

   C. No person may divulge the day and hour set for the execution prior to the Warden’s public
      announcement (See SDCL § 23A-27A-37).

   D. The Warden of the state penitentiary will publicly announce the day and hour of the execution not
      less than forty-eight (48) hours in advance (See SDCL § 23A-27A-17). The release of information
      to the media outlets shall be coordinated with the DOC Communications and Information manager.
      All other DOC staff is expressly prohibited from providing information about the execution not
      readily available in the public domain.

   4. Selection of Witnesses:
   A. No person under the age of eighteen (18) will be allowed to witness an execution (See SDCL §
      23A-27A-36).

   B. Only persons authorized by the Warden of the state penitentiary, and those authorized by SDCL
      §§ 23A-27A-32, 23A-27A-34, 23A-27A-34.1, 23A-27A-34.2 and 23A-27A-36 are allowed to attend
      the execution.

       1. The following witnesses are required to be invited to witness the execution by state law (See
          SDCL § 23A-27A-34):

           a. The Attorney General of South Dakota.

           b. The trial judge before whom the conviction was had or his /her successor in office.

           c.   The State’s Attorney of the county where the crime was committed.

           d. The Sheriff of the county where the crime was committed.

           e. Representatives of the victim.
              1) There are no specific statutory requirements for how the Warden selects which
                  representatives of the victim(s) may witness the execution.
              2) The victim’s(s’) family(ies) may suggest the names of individuals who they would
                  like to attend.
              3) In the event the victim’s(s’) family(ies) cannot or will not prioritize their list of
                 individuals, the Warden will make the choice in the following manner:

                       i.      Close relatives of the victim(s) will be given preference to witness the
                               execution. The order of preference is: spouse, parents/stepparents, adult
                               children/stepchildren, siblings, and other family members (grandparents,
                               aunts, uncles, nieces, nephews, cousins, etc.)

                       ii.     Friends of the victim(s)

           f.   At least one member of the news media.
                1)       The Warden will select two (2) members of the media. (See section on Media
                         Relations).



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           g. A number of reputable citizens to be determined by the warden.

   C. Space and seating for witnesses is limited by the size of the rooms, the viewing windows, and
      concerns for the safety and security of the witnesses.

   D. Preference will be given to accommodating as many representatives of the victim as possible,
      given the space constraints and the requirements in state law that other persons also serve as
      witnesses.

   E. The Warden of the state penitentiary has final approval of all witnesses not specifically required by
      law to be invited.

   F. All witnesses other than the Attorney General, trial judge, States Attorney and Sheriff are subject
      to the same background check as a regular visitor to the facility, unless exempted by the Warden
      of the state penitentiary.

   G. The inmate is allowed to request the attendance of up to five (5) persons to serve as witnesses.
      These persons may include but are not limited to legal counsel, members of the clergy, relatives or
      friends (See SDCL § 23A-27A-34.2). All the requested witnesses shall be on the inmate’s visit list
      and at least eighteen (18) years of age (See DOC policy 1.5.D.1 Inmate Visiting).

   5. Witness Behavior:
   A. Because the execution will take place inside a facility where many other inmates and staff will be
      present or in close proximity, all witnesses are expected to follow the rules and procedures of the
      SDSP and the orders of escorting staff for the safety and security of all involved.

       1. Failure by a witness to comply with the rules and procedures of SDSP or the orders of
          escorting staff may result in denial of entry or removal of the witness from the facility.

       2. Witnesses shall follow the approved dress code for visitation. The witnesses will be provided
          this specific dress code information in advance of the execution (See DOC policy 1.5.D.1
          Inmate Visiting).

       3. Witnesses are subject to search by electroninc device and/or a hand-held metal detector and
          pat searches by DOC staff (See DOC policy 1.3.A.5 Searches - Institutions).

           a. Witnesses may be searched more than one (1) time prior to the execution.

       4. Most personal property items are not allowed inside the SDSP.

           a. For example, purses, cameras, pictures, pocketknives, pagers, watches, cell phones,
              signs, recording devices, other electronic equipment, etc. are not permitted. These items
              should be left in the vehicle or lockers that are available for storage of personal property in
              the SDSP lobby.

           b. No drugs, alcohol, tobacco products or firearms are allowed inside SDSP. Anyone
              suspected of being under the influence of drugs or alcohol will be denied entry or removed
              from the facility.

   B. All witnesses are cautioned to refrain from verbal outbursts or inappropriate action while inside the
      SDSP.

   C. No cameras or recording devices of any type are allowed inside the SDSP, the witness area or the
      area surrounding the execution chamber (See DOC policy 1.1.A.4 Relationship with News Media,
      Public and Other Agencies).



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   6. Media Relations:
   A. Requests for execution information (other than appeal issues) or interviews from media
      representatives are to be made to the DOC Communications and Information Manager or
      respective Warden (See DOC policy 1.1.A.4 Relationship with News Media, Public and Other
      Agencies). Reasonable efforts will be made to accommodate representatives of the news media
      before, during and after a scheduled execution; however, the DOC reserves the right to regulate
      media access to ensure the orderly and safe operations of the facility.

       1. The Warden of the state penitentiary (or his/her designee) can discuss procedures under the
          control of SDSP that affect an execution. Examples of procedures which may be discussed:

           a. The timelines of the execution, from issuance of the warrant of execution to the certificate
              of execution, return of the deceased inmate’s body and the burial.

           b. The various steps that go along with the execution; i.e. sequence of events, last meal, last
              words, etc.

           c.   Witness information (See sections on Selection of Witnesses and Witness Behavior).

           d. A description of the regular visit procedures inside the security perimeter.

       2. Questions regarding the process for the Governor to investigate the circumstances of the case
          will be directed to the Governor’s Office or Attorney General’s Office.

   B. The decision to grant tours of the execution chamber is at the discretion of the Warden of the state
      penitentiary.

   C. The decision to grant photo/video of the execution chamber is subject to the approval of the
      Secretary of DOC.

   D. Two (2) media witnesses will be selected to attend the execution.

       1. The first media representative will be selected from the Associated Press.

       2. The second media representative will be selected from a media outlet located in the proximity
          of where the crime took place.

   E. Media witnesses shall not possess cameras or recording devices of any type while in the witness
      area or surrounding area of the execution chamber.

       1. Each media witness attending the execution may have writing material in the waiting area but
          must leave those materials behind when moved to the witness area.

       2. Each media witness attending the execution will be given paper and a pencil by a DOC official
          when he/she arrives in the witness area.

   7. Final Visit Arrangements:
   A. Reasonable accommodations for visits by immediate family will be made after the inmate has
      been moved to a holding cell near the execution chamber.

       1. Visits are allowed between 8:00 AM and 8:00 PM, except for the day of the execution (See
          item “E” in this section).

       2. All personal visits will be Class II (non-contact) (See DOC policy 1.5.D.1 Inmate Visiting).

       3. Telephone calls may be substituted for personal visits.


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   B. Visits will be supervised by DOC staff and must be arranged in advance through the Warden of the
      state penitentiary or Deputy Warden of the state penitentiary.

       1. Visitors are subject to search by both a stationary and hand-held metal detector, and pat
          searches at any time (See DOC policy 1.3.A.5 Searches - Institutions).

       2. Visitors must abide by the rules and regulations of the SDSP and the DOC.

       3. Failure to abide by the rules and regulations of the SDSP and the DOC may result in
          termination of a current visit and denial of future visits.

   C. Visitors will be escorted and supervised at all times.

   D. The following members of the inmate’s immediate family are allowed Class II visits with the
      inmate: father, mother, stepfather, stepmother, brother(s), sister(s), stepbrother(s), stepsister(s),
      biological/legally adopted children and spouse.

   E. Visits with immediate family will cease at least six (6) hours prior to the scheduled time of
      execution.

   F. Attorney access will be accommodated as much as possible.

       1. Attorneys are subject to all the visit arrangements/restrictions listed in this section.

       2. Any documents to be shared with the inmate will be passed to SDSP staff and inspected for
          contraband. Approved documents will be given to the inmate.

       3. Attorney(s) must leave the holding cell area at least one (1) hour before the scheduled
          execution time.

   G. Clergy will be allowed additional visits with the inmate until one (1) hour before the scheduled
      execution time.

   8. The Execution:
   A. An execution involves strict security procedures that are intended to protect the witnesses, staff,
      other inmates and the public at large. These security procedures are confidential and will not be
      discussed.

   B. The Governor, Attorney General and Chief Justice of the State Supreme Court or designee will be
      provided with the telephone numbers of the Warden’s Office, the chemical room and multiple
      backup telephone numbers, including personal cell phone numbers of the Warden of the state
      penitentiary and Deputy Warden of the state penitentiary for the purpose of emergency or last
      minute notification. The Warden of the state penitentiary and Deputy Warden of the state
      penitentiary will also be equipped with SDSP-issued radios.

   C. After confirming with the Governor’s Office, the Attorney General and the Chief Justice of the State
      Supreme Court that no last minute appeals have been initiated and no stays have been ordered,
      the inmate will be moved to the execution chamber and secured to the table.

   D. Two (2) intravenous injection (IV) sites will be prepared and inserted, normally one (1) in each of
      the inmate’s arms.

   E. A bag of sterile saline solution will be connected to each IV site. Each IV will be checked and
      verified as running properly before witnesses are escorted into the viewing rooms.

   F. The witnesses will be brought into the respective witness rooms one (1) group at a time.



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   G. The curtains outside the witness rooms will remain closed until the Warden of the state
      penitentiary is satisfied everything is ready and orders them opened.

   H. The Warden of the state penitentiary will give the inmate an opportunity to make a final statement.
      A transcript will be made of the inmate’s statement and the transcript will be made public.

   I.   For 3-Drug or 2-Drug protocol executions, the Sodium Pentothal or Pentobarbital will be
        administered and allowed to take effect prior to administering the subsequent drugs.

   J.   After the lethal injections have been administered, the Warden will wait a brief period before
        summoning a person capable of examining the inmate for the presence of respirations and
        heartbeat and, if appropriate, to pronounce death, including the time of death.

        1. If the county coroner is on the premises, the Warden of the state penitentiary will ask the
           county coroner to certify death, including the time of death and then take charge of the body.

        2. If the county coroner is not on the premises, the Warden will direct the inmate’s body to be
           taken to a nearby morgue, where the county coroner will be summoned to examine it and
           certify death.

   K. After death has been pronounced, the curtains of the witness rooms will be closed and the witness
      groups will be escorted away from the area separately.

   9. Post-Execution Procedures:
   A. The certificate of execution will be prepared and signed by the Warden. The certificate of
      execution document shall also be signed by each of the witnesses of the execution attending as
      allowed in § 23A-27A-34 and § 23A-27A-34.2. (See SDCL §§ 23A-27A-34, 23A-27A-34.2 and
      23A-27A-40.1).

   B. The Warden will ensure the county coroner is permitted to investigate the death pursuant to SDCL
      §§ 23-14-18(3) and 24-1-27

        1. If the county coroner is on the premises, the body of the executed inmate will not be removed
           from the execution chamber until after the county coroner has certified the death of the inmate.

   C. After the county coroner has completed the investigation, the body of the executed inmate (unless
      claimed by a relative or personal representative), will be interred in a cemetery within Minnehaha
      County (Also see SDCL § 23A-27A-39 and DOC policy 1.4.E.6 Death of an Offender or
      Unresponsive Offender).

   D. After the execution has been completed, the DOC Communication and Information Manager
      will announce the fact in a press briefing that will be conducted on the SDSP grounds.

   E. Media representatives present at the execution are required to attend the post-execution press
      conference to share information about the execution with other media.

   F. Within ten (10) days following the execution, the certificate of execution and return will be filed with
      the Clerk of Courts of the county where the offense occurred. (See SDCL § 23A-27A-40.1)
V Related Directives:
   SDCL chapter 23-14, chapter 23A-27A and 24-1-27
   Baze v. Rees, 217 S. W. 3d 207, (May 7, 2008)
   Taylor v. Crawford, 487 F. 3d 1072 (8th Cir. 2007)
   DOC policy 1.1.A.4 Relationship with News Media, Public and Other Agencies
   DOC policy 1.3.A.5 -- Searches - Institutions
   DOC policy 1.3.D.2 – Capital Punishment Housing


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   DOC policy 1.5.D.1 -- Inmate Visiting
   DOC policy 1.4.E.6 – Death of an Offender or Unresponsive Offender

VI Revision Log:
   August 2006: New policy.
   June 2007: Revised the policy statement. Revised the definition of lethal injection. Removed
   medical doctors as witnesses required to be invited to the execution. Deleted references and
   procedures related to SDCL § 23A-27A-38. Revised the post-execution procedures. Moved some
   information from the section on Media Relations and placed it in a new section titled The Execution.
   Added a reference to DOC policy 1.3.A.10. Added language about death penalty appeals. Added a
   statement regarding security measures. Added the circumstances in which an inmate may choose
   the current lethal injection procedures or revert back to existing law at the time of conviction or
   sentence. Clarified which individuals the victim’s family may request as witnesses. Added a
   statement on the trained individuals’ experience and qualifications. Added more specific procedures
   on administering the lethal dosages. Added a reference to Taylor v. Crawford.
   August 2007: Changed “medical procedure” to “technical procedure” to avoid any possibility of
   confusion regarding an execution being considered the practice of medicine. Updated the procedures
   involving the county coroner in the section on The Execution.
   June 2008: Revised formatting of policy in accordance with 1.1.A.2. Changed policy because of
   recent law changes to the capital punishment chapter, SDCL 23A-27A by the SD Legislature, 2008,
   SB 53 and the United States Supreme Court in Baze v. Rees, ___ US _____, (2008). Revised
   definition of Lethal Injection. Changed “through” to “and” and “36” to “34-2” in definition of Witnesses.
   Deleted reference to DOH policy in subsection (ss) (A1), revised wording in ss (A2), added “each in a
   lethal quantity” in ss (A4), deleted comment about remaining unconscious in ss (A4a), replaced
   “person” with “inmate” in ss (5A and B), added comment about state statue and statute 32-1 in ss
   (5B), replaced “at least two (2)” to “one (1) or more” in ss (B2), revised section reading properly
   trained to read adequately trained and referenced court cases in ss (B2b), clarified on the information
   that is to remain confidential for those assisting with administering the intravenous injection in ss (b2c),
   revised wording of how inmates are housed and replaced statute 16 with 31.1 in ss (C1), replaced
   statute 16 with 31.1 in ss (C2), added that the Secretary of DOC and sentencing court will be notified
   regarding any question regarding an inmate’s mental competence and replaced statement regarding a
   commission may be appointed with language from statute 22 through 26, and replaced statutes in ss
   (E) and deleted “/exaction” and “and/” in ss (I), of General Provisions section. Revised statement
   regarding sentencing judge in ss (A), replaced “delivered” with “provided in ss (A), added “Death
   Sentence and” to “Execution” regarding the certified Warrant in ss (A, B and C) and added statute 16
   in ss (A and C) of Warrant of Execution section. Replaced “the witnesses” with “those” in ss (B),
   revised ss (C) to state no person will divulge within Time and Place of Execution section. Added
   statute 36 in ss (A), replaced “DOC staff, law enforcement officers” with “persons”, added statute 32,
   24-2, 36 and replaced 35 with 34.1 in ss (B), deleted former ss (B2), replaced “no more than ten
   (10)” with “a number of” in ss (C), deleted ss (C1), moved ss (C2) to above ss (C), added new ss (C1
   and C2), revised wording regarding selection of witnesses in ss (D, D1, D2 and D2a), deleted former
   ss ( D2c) regarding multiple victims, deleted “(Attorney General, trial judge, states attorney and
   sheriff)” in ss (E) and added ss (G) in Selection of Witnesses section Clarified that no cameras or
   recording devices are allowed inside SDSP or area surrounding the execution chamber in ss (C) of
   Witness Behavior section. Revised wording in ss (A), deleted statement regarding photo requests of
   the execution chamber in ss (B) and added a new ss (C) regarding requests to take photos of the
   execution chamber, of the Media Relations section Deleted statement regarding pursuant to SDCL
   23A-27A-35 in ss (G) of Final Visit Arrangements section. Revised ss (D) to include two intravenous
   injection (IV) sites will be prepared and inserted, added “site” when referencing IV in ss (E), added
   “the transcript” in ss (H), deleted “to render the inmate unconscious” in ss (I), replaced “EMT” with “a
   person capable of examining” and added “for the presence of respirations and heartbeat and if
   appropriate” to ss (J), deleted statement about county coroner examining the inmate and added
   statement about taking charge of the body in ss (J2) and deleted statement regarding EMT and
   county coroner and added statement about death being pronounced ss (K) of The Execution section.


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   Replaced “persons” with “witnesses”, deleted statute 40, added statutes 34, 34.2, 40.1 in ss (A),
   added statute 24-1-27 in ss (B), replaced “declared” with “certified” in ss (B1) added statute 40.1 in ss
   (F) and revised bullets to read accordingly within the Post-Execution Procedures section. Added
   Baze v. Rees, _____ US _____, (May 7, 2008), Taylor v. Crawford, 487 F. 3d 1072 (8th Cir., 2007) and
   DOC policy when referencing policies throughout policy Revised other grammatical, spacing and
   sentence structure throughout policy.
   July 2009: Added site code to Baze v Rees throughout policy Added hyperlinks throughout policy.
   Deleted SDCL 23A-27A-30 in ss (G of General Provisions).
   July 2010: Revised formatting of Section 1 Replaced SDSP with SD DOC in ss (A1 of General
   Provisions.
   September 2011: Reviewed with no changes.
   October 2011: Deleted “a” in IV.1.A. Added 3-Drug, 2-Drug, and 1-Drug protocol descriptions in
   Part IV.1.A.4.Added IV.1.B.1.c. moved former IV.1.B.2.c. to IV.1.B.2.d. Updated Baze cites to
   published U.S. citation throughout. Deleted “Pancuronium Bromide” and “Potassium Chloride” from
   IV.8.1 and added “For 3-Drug or 2-Drug protocol executions” and “subsequent drugs.” Deleted
   “dosages of Sodium Pentothal, Pancuronium Bromide and Potassium Chloride” from IV.8.J and added
   “injections”.
   February 2013: Added “the Warden, subject to the approval of the Secretary of Corrections, shall
   determine the substances and the quantity of substances to be used for the execution” in Section 1 A.
   5. b. Deleted “warden” and Replaced with “Warden of the state penitentiary” within the policy. Deleted
   “may not be authorized except pursuant to the terms of a court order” and Replaced with “is a class 1
   misdemeanor under state law” in Section 1 B. 2. c. Deleted “Class 2” and Replaced with “Class 1” in
   Section 1 B. 2. d. Deleted “attorney’s, clergy, DOC staff, other state or contractual staff stationed at
   the respective prison, people authorized by the respective Warden or any other person authorized to
   access the inmate through a court order” and Replaced with “penitentiary staff, Department of
   Corrections staff, inmate’s counsel, member of the clergy if requested by the inmate, and members of
   the inmate’s family. No other person may be allowed access to the inmate without an order of the trial
   court.” in Section 1 C. 2. Added 3. to Section 1 C. Added “The release of information to the media
   outlets shall be coordinated with the DOC Communications and Information manager. All other DOC
   staff are expressly prohibited from providing information about the execution not readily available in
   the public domain” in Section 3 D. Added “Reasonable efforts will be made to accommodate
   representatives of the news media before, during and after a scheduled execution however; the DOC
   reserves the right to regulate media access to ensure the orderly and safe operations of its facilities.”
   to Section 6 A.
   July 2013: Deleted “the state penitentiary” and Replaced with “either the South Dakota State
   Penitentiary or the South Dakota Women’s Prison” in Section 1 A. 5. a. Deleted “by state law at the
   time of the execution, the Warden, subject to the approval of the Secretary of Corrections, shall
   determine the substances and the quality of substances to be used for the execution” and Replaced
   with “in SDCL 23A027A-32) in Section 1 A.5 b. Deleted “the state penitentiary” and Replaced with
   either the SDSP or SDWP” in Section 1 B. Added e. “Representatives of the victim” to Section 4.
   Added 1)-3) and 3) a. to Section 4 B. 1.Added F. “At least one member of the news media” to Section
   4 B. 1. Added G. “A number of reputable citizens to be determined by the Warden” to Section 4 B. 1.
   Deleted The Warden of the state penitentiary will select a number of reputable adult citizens to
   witness the execution and two (2) members of the media (See section on Media Relations).” in Section
   1 C. Deleted “ 1. Space and seating for witnesses is limited by the size of the rooms, the viewing
   windows and concerns for the safety and security of the witnesses” in Section 4 C. Deleted 2.
   “Preference will be given to accommodating as many representatives of the victim as possible give the
   space constraints and the requirements in state law that other persons also serves as witnesses” in
   Section 4. Deleted “There are no specific statutory requirements for how the Warden of the state
   penitentiary selects which representatives of the victim(s) may witness the execution” in Section 4.
   Deleted 1. “The victims family or families may suggest the names of the individuals who should
   attend” in Section 4 D. Deleted 2. “In the event the victim’s family or families cannot or will not
   prioritize their list of individuals, the Warden of the state penitentiary will make the choice in the
   following manner:” and Deleted 1 (1-6) referencing the list of family in Section 4 D. Renumbered


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   items that followed Added new C. “Spaced and seating for witnesses is limited by the size of the
   rooms, the viewing windows and concerns for the safety and security of the witnesses” in Section 4
   Added new D. “Preference will be given to accommodating as many representatives of the victim as
   possible given the space constraints and the requirements in state law that other persons also service
   as witnesses” in Section 4.
   July 2014: Reviewed with no changes.
   July 2015: Added definition of “Staff Members”. Added “approved to access the facility” in Section 1
   C. 1. Deleted “Department of Corrections staff” and Replaced with “staff members” in Section 1 C. 2.
   January 2017: Reveiwed with no changes.
   July 2018: Reveiwed with no changes.




         Denny Kaemingk (original signature on file)                                07/27/2018
            Denny Kaemingk, Secretary of Corrections                                     Date




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  State by State Lethal Injection

                                                       Until 2009, most states used a three-drug combination for lethal injections: an anesthetic (usually sodium
                                                       thiopental, until pentobarbital was introduced at the end of 2010), pancuronium bromide (a paralytic
                                                       agent, also called Pavulon), and potassium chloride (stops the heart and causes death). Due to drug
                                                       shortages, states have adopted new lethal-injection methods, including:

                                                       ONE DRUG: Eight states have used a single-drug method for executions--a lethal dose of an anesthetic
                                                       (Arizona, Georgia, Idaho, Missouri, Ohio, South Dakota, Texas, and Washington). Six other states have
                                                       at one point or another announced plans to use a one-drug protocol, but have not carried out such an
                                                       execution (Arkansas, California, Kentucky, Louisiana, North Carolina, and Tennessee).

                                                       PENTOBARBITAL: Fourteen states have used pentobarbital in executions: Alabama, Arizona,
                                                       Delaware, Florida, Georgia, Idaho, Mississippi, Missouri, Ohio, Oklahoma, South Carolina, South
                                                       Dakota, Texas, and Virginia. Five additional states plan to use pentobarbital: Kentucky, Louisiana,
                                                       Montana, North Carolina, and Tennessee. Colorado includes pentobarbital as a backup drug in its lethal-
                                                       injection procedure.

                                                       MIDAZOLAM: Seven states have used midazolam as the first drug in the three-drug protocol: Florida,
                                                       Ohio, Oklahoma, Alabama, Virginia, Arkansas, and Tennessee. Oklahoma used midazolam in the
                                                       botched execution fo Clayton Lockett in April 2014, and Lockett died after the procedure was halted.
                                                       Alabama's use of midazolam in the execution of Ronald Smith in December 2016, resulted in nearly
                                                       fifteen minutes of Smith heaving and gasping for breath. Arkansas's use of use midazolam in
                                                       four executions in April 2017 raised concerns and in the execution of Kenneth Williams, witnesses
                                                       reported coughing, convulsing, lurching and jerking. In January 2017, Florida abandoned its use
                                                       of midazolam as the first drug in its three-drug protocol and replaced it with etomidate. Two states have




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                                                            used midazolam in a two-drug protocol consisting of midazolam and hydromorphone: Ohio (Dennis
                                                            McGuire) and Arizona (Joseph Wood). Both of those executions, which were carried out in 2014, were
  prolonged and accompanied by the prisoners' gasping for breath. After its botched execution of McGuire, Ohio abandoned its use of midazolam in a two-drug
  protocol, but then in October 2016 decided to keep midazolam in a three-drug protocol. In December 2016, Arizona abandoned its use of midazolam in either a
  two-drug or a three-drug protocol. Three states have, at some point, proposed using midazolam in a two-drug protocol (Louisiana, Kentucky, and Oklahoma) but
  none of those states has followed through with that formula. Some states have proposed multiple protocols. Missouri administered midazolam to inmates as a
  sedative before the official execution protocol began.

  FENTANYL: Nebraska first used fentanyl in the August 14, 2018 execution of Carey Dean Moore. Nevada has also announced that it will use fentanyl in
  combination with other drugs to carry out executions.

  COMPOUNDING PHARMACIES: At least ten states have either used or intend to use compounding pharmacies to obtain their drugs for lethal injection. South
  Dakota carried out 2 executions in October 2012, obtaining drugs from compounders. Missouri first used pentobarbital from a compounding pharmacy in the
  November 20, 2013 execution of Joseph Franklin. Texas first used pentobarbital from a compounding pharmacy in the execution of Michael Yowell on October 9,
  2013. Georgia used drugs from an unnamed compounding pharmacy for an execution on June 17, 2014. Oklahoma has used drugs from compounding
  pharmacies in executions, including in the botched execution of Lockett. Virginia first used compounded pentobarbital obtained through the Texas Department of
  Criminal Justice in the execution of Alfredo Prieto on October 1, 2015. Ohio announced plans to obtain drugs from compounding pharmacies in October, 2013. In
  March 2014, Mississippi announced plans to use pentobarbital from a compounding pharmacy. Documents released in January 2014, show that Louisiana had
  contacted a compounding pharmacy regarding execution drugs, but it is unclear whether the drugs were obtained there. Pennsylvania may have obtained drugs
  from a compounder, but has not used them. Colorado sent out inquiries to compounding pharmacies for lethal injection drugs, but all executions are on hold.

  ALTERNATE METHODS: Six states have laws allowing for alternative execution methods if lethal-injection drugs are unavailable. Alabama (effective July 2018),
  Mississippi (effective April 2017), and Oklahoma (effective November 2015) all have laws that allow for use of nitrogen hypoxia. Tennessee's law allows for the
  use of the electric chair. Utah's law allows the firing squad to be used if the state cannot obtain lethal-injection drugs 30 days before an execution. New
  Hampshire allows for hanging "if for any reason the commissioner [of corrections] finds it to be impractical to carry out the punishment of death by administration
  of the required lethal substance or substances." For detailed information about states' methods of executions, see Methods of Execution.

  In federal executions, the method is lethal injection, which was the method used in all three of the federal executions in the modern era have been by lethal
  injection carried out in a federal facility in Indiana. Apparently, a three-drug combination was used, though prison officials did not reveal the exact ingredients.
  (See Washington Post, Dec. 5, 2000). The U.S. Military has not carried out any executions since reinstatement. It plans to use lethal injection.

 LETHAL INJECTION "FIRSTS"

  First state to use lethal injection: Texas, December 7, 1982

  First state to use one-drug method: Ohio, December 8, 2009 (single drug was sodium thiopental)

  First state to use pentobarbital in three-drug protocol: Oklahoma, December 16, 2010




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  First state to use pentobarbital in one-drug protocol: Ohio, March 10, 2011

  First state to use midazolam in three-drug protocol: Florida, October 15, 2013

  First state to use midazolam in two-drug protocol: Ohio, January 16, 2014

  First state to use etimodate in three-drug protocol: Florida, August 24, 2017

  First state to use fentanyl in four-drug protocol: Nebraska, August 14, 2018

  For the specific drug formulas used in individual executions, see: Executions in 2009, Executions in 2010, Executions in 2011, Executions in
  2012, Executions in 2013, Executions in 2014, Executions in 2015, Executions in 2016, Executions in 2017, Executions in 2018, and Executions in 2019.

        State         Link to current        Most recently-used            Previous protocols       Status of                Secrecy policies or statutes
                         protocol            execution protocol             (Dates used, # of       protocol
                                                                              executions)


    Alabama          Not publicly        3-drug, beginning with         3-drug, beginning with   Litigation        There is no statute that requires secrecy, but it
                     available           midazolam (1/21/16-2/7/19,     pentobarbital            ongoing, but      is the position of the Department generally that
                                         8 executions)                  (5/19/11-7/25/13, 5      executions may    the lethal-injection protocol is confidential and
                                                                                                 proceed           outside the purview of a public records request.
                                                                        executions)

                                                                        3-drug, beginning with
                                                                        sodium thiopental
                                                                        (12/12/02-3/31/11, 27
                                                                        executions)


    Arizona          Eff. June 17,       2-drug, midazolam and                                                     The protocol states, in part: "The anonymity of
                     2017                hydromorphone (7/23/14, 1      1-drug pentobarbital      Lawsuit          any person, as defined in A.R.S. § 1-215(28)
                                         execution)                     (2/29/12-10/23/13, 8      settled, and     and A.R.S. § 13-105(30), who participates in or
                                                                        executions)               court            performs any ancillary function(s) in the
                                                                                                  dismissed case   execution, including the source of the execution
                                                                        3-drug, beginning with                     chemicals, and any information contained in
                                                                                                  on June 22,
                                                                                                                   records that would identify those persons are, as
                                                                        pentobarbital             2017.            required by statute, to remain confidential and
                                                                        (5/25/11-7/19/11, 3
                                                                                                                   are not subject to disclosure. A.R.S. § 13-757
                                                                        executions)                                (C)." (First appeared in protocol dated March
                                                                                                                   26, 2014)




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        State        Link to current      Most recently-used        Previous protocols          Status of                  Secrecy policies or statutes
                        protocol          execution protocol         (Dates used, # of          protocol
                                                                       executions)
                                                                  3-drug, beginning with
                                                                  sodium thiopental
                                                                  (3/3/93-3/29/11, 24
                                                                  executions)


    Arkansas       Eff. Aug. 6, 2015   3-drug, beginning with    3-drug, beginning with      Litigation          Ark. Code Ann. §5-4-617 states, in part: "(i)(1)
                                       midazolam                 sodium thiopental (6/25/90- ongoing, but        The procedures under subdivision (g)(1) of this
                                       (4/20/17-4/27/17, 4       11/28/05, 26 executions)    executions may      section, the implementation of the procedures
                                       executions)                                           proceed             under subdivision (g)(1) of this section, and the
                                                                                                                 identities of the entities and persons who
                                                                                                                 participate in the execution process or
                                                                                                                 administer the lethal injection are not subject to
                                                                                                                 disclosure under the Freedom of Information Act
                                                                                                                 of 1967, § 25-19-101 et seq."


    California     Eff. March 2018     3-drug, beginning with    None                       Litigation ongoing
                                       sodium thiopental
                                       (2/23/96-1/17/06, 11
                                       executions)


    Colorado       Eff. May 2013       3-drug, beginning with    None                       Executions on
                                       sodium thiopental                                    hold
                                       (10/13/97, 1 execution)

    Florida        Eff. Jan. 4, 2017   3-drug beginning with                                Florida Supreme      Fla. Stat. Ann. §945.10 states, in part: "(1)
                                       etomidate (8/24/17-        3-drug, beginning with    Court upheld the     Except as otherwise provided by law or in this
                                       12/13/18, 5 executions)    midazolam                 use of January 4,    section, the following records and information
                                                                  (10/15/13-1/7/16, 13      2017 protocol,       held by the Department of Corrections are
                                                                  executions)               which uses the       confidential and exempt from the provisions [of
                                                                                            drug etomidate       public records act]. . . (g) Information which
                                                                                                                 identifies an executioner, or any person
                                                                  3-drug, beginning with
                                                                                                                 prescribing, preparing, compounding,
                                                                  pentobarbital (9/28/11-
                                                                                                                 dispensing, or administering a lethal injection."
                                                                  10/1/13, 10 executions)




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        State        Link to current       Most recently-used       Previous protocols           Status of                Secrecy policies or statutes
                        protocol           execution protocol        (Dates used, # of           protocol
                                                                       executions)
                                                                  3-drug, beginning with
                                                                  sodium thiopental
                                                                  (2/23/00-2/16/10, 25
                                                                  executions)



    Georgia        Eff. July 17, 2012   1-drug pentobarbital      3-drug, beginning with                        Ga. Code Ann. §42-5-36(d)(2) states, in part:
                                        (2/21/13-5/4/18, 20       pentobarbital                                 "The identifying information of any person or
                                        executions)               (6/23/11-9/21/11, 3                           entity who participates in or administers the
                                                                                                                execution of a death sentence and the
                                                                  executions)
                                                                                                                identifying information of any person or entity
                                                                                                                that manufactures, supplies, compounds, or
                                                                  3-drug, beginning with
                                                                                                                prescribes the drugs, medical supplies, or
                                                                  sodium thiopental                             medical equipment utilized in the execution of a
                                                                  (10/25/01-1/25/11, 26                         death sentence shall be confidential and shall
                                                                  executions)                                   not be subject to disclosure under Article 4 of
                                                                                                                Chapter 18 of Title 50 or under judicial process.
                                                                                                                Such information shall be classified as a
                                                                                                                confidential state secret."


    Idaho          Eff. Jan 6, 2012     1-drug pentobarbital      3-drug, beginning with                        Idaho Administrative Code 06.01.01.135 states,
                                        (6/12/12, 1 execution)    pentobarbital (11/18/11,                      in part: "The Department will not disclose (under
                                                                  1 execution)                                  any circumstance) the identity of the on-site
                                                                                                                physician; or staff, contractors, consultants, or
                                                                  3-drug, beginning with                        volunteers serving on escort or medical teams;
                                                                                                                nor will the Department disclose any other
                                                                  sodium thiopental
                                                                                                                information wherein the disclosure of such
                                                                  (1/6/94, 1 execution)                         information could jeopardize the Department's
                                                                                                                ability to carry out an execution."

    Indiana        Eff. Jan. 22, 2014 3-drug, beginning with      None                       On February 13,    Ind. Code §35-38-6-1 states, in part: "(f)The
                                      sodium thiopental (7/18/96-                            2018,              following are confidential, are not subject to
                                      12/11/09, 17 executions)                               the Indiana        discovery, and may not be introduced as
                                                                                             Supreme            evidence in any civil or criminal proceeding: (1)
                                                                                             Court ruled that   The identity of [a pharmacist, a pharmacy, a
                                                                                             the Department     wholesale drug distributor, or an outsourcing
                                                                                             of Corrections     facility that provides a lethal substance to the




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        State        Link to current      Most recently-used          Previous protocols       Status of                  Secrecy policies or statutes
                        protocol          execution protocol           (Dates used, # of       protocol
                                                                         executions)
                                                                                           can make             department of correction] . . . necessary to carry
                                                                                           changes to drugs     out an execution by lethal injection. (2) The
                                                                                           used in lethal-      identity of an officer, an employee, or a
                                                                                           injection protocol   contractor of a person described in subdivision
                                                                                           without having to    (1). (3) The identity of a person contracted by a
                                                                                           follow rules under   person described in subdivision (1) to obtain
                                                                                           the                  equipment or a substance to facilitate the
                                                                                           Administrative       compounding of a lethal substance described...
                                                                                           Procedures Act,      (4) Information reasonably calculated to lead to
                                                                                            which would         the identity of a person described in this
                                                                                           require—among        subsection"
                                                                                           other
                                                                                           things—public
                                                                                           comment before
                                                                                           a new protocol
                                                                                           could take effect.

    Kansas         No current          No executions carried out.   None                                        Kan. Stat. Ann. §22-4001 states, in part: "The
                   protocol in place                                                                            identity of executioners and other persons
                                                                                                                designated to assist in carrying out the sentence
                                                                                                                of death shall be confidential."

    Kentucky       Proposed            3-drug, beginning with      None                    Litigation ongoing Ky. Rev. Stat. §45A.720 states, in
                   Protocol Jan. 12.   sodium thiopental (5/25/99-                                            part: "Agreements with an individual to provide
                   2018 (subject to    11/21/08, 2 executions)                                                the services of executioner for the Department
                   approval)                                                                                  of Corrections shall not be subject to the
                                                                                                              provisions of KRS 45A.690 to 45A.725. The
                                                                                                              identity of an individual performing the services
                                                                                                              of executioner shall remain confidential and
                                                                                                              shall not be considered as public record for the
                                                                                                              purposes of KRS 61.870 to 61.884."

    Louisiana      Not publicly        3-drug, beginning with       None                   Litigation           La. Rev. Stat. §15:570 states, in part: "G. The
                   available           sodium thiopental                                   ongoing; court       identity of any persons other than the persons
                                       (3/5/93-1/7/10, 8                                   order blocking       specified in Subsection F of this Section who
                                       executions)                                         executions           participate or perform ancillary functions in an
                                                                                           extended             execution of the death sentence, either directly
                                                                                           indefinitely on      or indirectly, shall remain strictly confidential and
                                                                                           January 5, 2018.     the identities of those persons and information




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        State        Link to current       Most recently-used       Previous protocols        Status of                 Secrecy policies or statutes
                        protocol           execution protocol        (Dates used, # of        protocol
                                                                       executions)
                                                                                                              about those persons which could lead to the
                                                                                                              determination of the identities of those persons
                                                                                                              shall not be subject to public disclosure in any
                                                                                                              manner. Any information contained in records
                                                                                                              that could identify any person other than the
                                                                                                              persons specified in Subsection F of this Section
                                                                                                              shall remain confidential, shall not be subject to
                                                                                                              disclosure, and shall not be admissible as
                                                                                                              evidence nor discoverable in any proceeding
                                                                                                              before any court, tribunal, board, agency, or
                                                                                                              person."

    Mississippi    Eff. Nov. 15,        3-drug, beginning with   3-drug, beginning with   Litigation ongoing Miss. Code Ann. §99-19-51 states, in part: "The
                   2017                 pentobarbital            sodium thiopental                           identities of all members of the execution team,
                                        (5/10/11-6/20/12, 8      (7/17/02-7/21/10, 9                         a supplier of lethal injection chemicals, and the
                                        executions)              executions)                                 identities of those witnesses listed in Section 99-
                                                                                                             19-55(2) who attend as members of the victim's
                                                                                                             or the condemned person's immediate family
                                                                                                             shall at all times remain confidential, and the
                                                                                                             information is exempt from disclosure under the
                                                                                                             provisions of the Mississippi Public Records Act
                                                                                                             of 1983.1"

    Missouri       Eff. Oct. 18, 2013   1-drug pentobarbital     3-drug, beginning with
                                        (11/20/13-1/31/17, 20    sodium thiopental                             Mo. Rev. Stat. 546.720 states, in part: "The
                                        executions)              (1/6/89-2/9/11, 68                            identities of members of the execution team,
                                                                 executions)                                   as defined in the execution protocol of the
                                                                                                               department of corrections, shall be kept
                                                                                                               confidential. Notwithstanding any provision of
                                                                                                               law to the contrary, any portion of a record
                                                                                                               that could identify a person as being a current
                                                                                                               or former member of an execution team shall
                                                                                                               be privileged and shall not be subject to
                                                                                                               discovery, subpoena, or other means of legal
                                                                                                               compulsion for disclosure to any person or
                                                                                                               entity, the remainder of such record shall not
                                                                                                               be privileged or closed unless protected from
                                                                                                               disclosure by law."




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        State        Link to current      Most recently-used          Previous protocols       Status of                    Secrecy policies or statutes
                        protocol          execution protocol           (Dates used, # of       protocol
                                                                         executions)


                                                                                                                   Protocol was amended in October 2013 to
                                                                                                                   expand the definition of execution team: "The
                                                                                                                   execution team consists of department
                                                                                                                   employees and contracted medical personnel
                                                                                                                   including a physician, nurse, and pharmacist.
                                                                                                                   The execution team also consists of anyone
                                                                                                                   selected by the department director who
                                                                                                                   provides direct support for the administration
                                                                                                                   of lethal chemicals, including individuals who
                                                                                                                   prescribe, compound, prepare, or otherwise
                                                                                                                   supply the chemicals for use in the lethal
                                                                                                                   injection procedure."


    Montana        Eff. Jan. 16,       3-drug, beginning with       None                   In October 2015,       Mont. Code Ann. § 46-19-103 states, in
                   2013                sodium thiopental                                   judge found the        part: "The identity of the executioner must
                                       (5/10/95-8/11/06, 3                                 2013 protocol          remain anonymous. Facts pertaining to the
                                       executions)                                         violated state         selection and training of the executioner must
                                                                                           law. No updated        remain confidential."
                                                                                           protocol; litigation
                                                                                           ongoing.

    Nebraska       2016; announced     4-drug: diazepam, fentanyl   None                                          Neb. Rev. St. § 83-967 states, in part: "(2) The
                   4-drug protocol     citrate, cisatracurium                                                     identity of all members of the execution team,
                   on Nov. 9, 2017     besylate, potassium                                                        and any information reasonably calculated to
                                       chloride (8/14/18, one                                                     lead to the identity of such members, shall be
                                       execution)                                                                 confidential and exempt from disclosure
                                                                                                                  pursuant to sections 84-712 to 84-712.09 and
                                                                                                                  shall not be subject to discovery or introduction
                                                                                                                  as evidence in any civil proceeding unless
                                                                                                                  extraordinary good cause is shown and a
                                                                                                                  protective order is issued by a district court
                                                                                                                  limiting dissemination of such information."

    Nevada                             3-drug, beginning with       None                   Litigation
                    Eff. June 11,      sodium thiopental                                   challenging
                    2018.                                                                  protocol ongoing




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        State        Link to current       Most recently-used           Previous protocols           Status of                 Secrecy policies or statutes
                        protocol           execution protocol            (Dates used, # of           protocol
                                                                           executions)
                                        (12/6/85-4/26/06, 11
                                        executions)


    New                                 No executions carried out.    None
    Hampshire


    New Mexico                          3-drug, beginning with        None
                                        sodium thiopental (11/6/01,
                                        1 execution)

    North          Eff. Oct. 24, 2013   3-drug, beginning with        None                       Litigation ongoing N.C. Gen Stat. Ann. § 132-1.2 states, in
    Carolina                            sodium thiopental                                                           part: "Nothing in this Chapter shall be construed
                                        (3/16/84-8/18/06, 41                                                        to require or authorize a public agency or its
                                        executions)                                                                 subdivision to disclose any information that: . . .
                                                                                                                    (7) Reveals name, address, qualifications, and
                                                                                                                    other identifying information of any person or
                                                                                                                    entity that manufactures, compounds, prepares,
                                                                                                                    prescribes, dispenses, supplies, or administers
                                                                                                                    the drugs or supplies obtained for any purpose
                                                                                                                    authorized by Article 19 of Chapter 15 of the
                                                                                                                    General Statutes."

    Ohio           Eff. Oct. 7, 2016    3-drug, beginning with                                   Litigation          Ohio Rev. Code Ann. § 2949.221 states, in
                                        midazolam                     2-drug, midazolam and      ongoing; On         part: "(B) If, at any time prior to the day that is
                                        (7/27/17-7/18/18, 3           hydromorphone              6/28/2017,          twenty-four months after the effective date of
                                        executions)                   (1/16/14, 1 execution)     the Sixth Circuit   this section, a person manufactures,
                                                                                                 Court of Appeals    compounds, imports, transports, distributes,
                                                                      1-drug pentobarbital       (en banc)           supplies, prescribes, prepares, administers,
                                                                                                 reversed the        uses, or tests any of the compounding
                                                                      (3/10/11-9/25/13, 10
                                                                                                 lower court's       equipment or components, the active
                                                                      executions)
                                                                                                 issuance of a       pharmaceutical ingredients, the drugs or
                                                                                                 preliminary         combination of drugs, the medical supplies, or
                                                                      1-drug sodium thiopental   injunction          the medical equipment used in the application of
                                                                      (12/8/09-2/17/11, 10       regarding lethal-   a lethal injection of a drug or combination of
                                                                      executions)                injection           drugs in the administration of a death sentence
                                                                                                 protocol.           by lethal injection as provided for in division (A)
                                                                      3-drug, beginning with                         of section 2949.22 of the Revised Code,
                                                                      sodium thiopental                              notwithstanding any provision of law to the




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        State        Link to current      Most recently-used      Previous protocols         Status of              Secrecy policies or statutes
                        protocol          execution protocol       (Dates used, # of         protocol
                                                                     executions)
                                                                (2/19/99-8/18/09, 32                      contrary, all of the following apply regarding any
                                                                executions)                               information or record in the possession of any
                                                                                                          public office that identifies or reasonably leads
                                                                                                          to the identification of the person and the
                                                                                                          person's participation in any activity described in
                                                                                                          this division: (1) The information or record shall
                                                                                                          be classified as confidential, is privileged under
                                                                                                          law, and is not subject to disclosure by any
                                                                                                          person, state agency, governmental entity,
                                                                                                          board, or commission or any political subdivision
                                                                                                          as a public record under section 149.43 of the
                                                                                                          Revised Code or otherwise."


    Oklahoma       No current          3-drug:                  3-drug, beginning with   Executions       Okla. Stat. Ann. tit. 22, §1015 states: "(B) . . . .
                   protocol in place   midazolam, pancuronium   midazolam (4/29/14, 1    placed on        The identity of all persons who participate in or
                                       bromide, potassium       execution)               hold per court   administer the execution process and persons
                                       acetate (1/15/15, 1                               order during     who supply the drugs, medical supplies or
                                       execution)               3-drug, beginning with   pending lethal   medical equipment for the execution shall be
                                                                                         injection        confidential and shall not be subject to discovery
                                                                pentobarbital
                                                                                         litigation.      in any civil or criminal proceedings. The
                                                                (12/16/10-1/23/14, 16                     purchase of drugs, medical supplies or medical
                                                                executions)                               equipment necessary to carry out the execution
                                                                                                          shall not be subject to the provisions of the
                                                                3-drug, beginning with                    Oklahoma Central Purchasing Act."
                                                                sodium thiopental
                                                                (9/10/90-10/14/10, 93
                                                                executions)



    Oregon         Eff. March 2017     3-drug, beginning with   None                     Governor-         "(3) Selection of Executioner(s): The selection
                                       sodium thiopental                                 imposed           of the executioner(s) will be the responsibility
                                       (9/6/96-5/16/97, 2                                moratorium        of the Superintendent. The identity of the
                                       executions)
                                                                                                           executioner(s) will remain confidential."
                                                                                                           Oregon Admin. Rule 291-024-0016


    Pennsylvania                                                None




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        State        Link to current       Most recently-used         Previous protocols            Status of            Secrecy policies or statutes
                        protocol           execution protocol          (Dates used, # of            protocol
                                                                         executions)
                   Eff. Aug. 28,        3-drug, beginning with                                   Governor-       "(c) Confidentiality.--The identity of
                   2012; revision       sodium thiopental                                        imposed         department employees, department
                   Eff. Nov. 7, 2012    (5/2/95-7/6/99, 3                                        moratorium      contractors or victims who participate in the
                                        executions)
                                                                                                                 administration of an execution pursuant to this
                                                                                                                 section shall be confidential." 61 Pa. Stat. and
                                                                                                                 Cons. Stat. Ann. § 4305


    South          Not publicly         3-drug, beginning with     3-drug, beginning with                       S.C. Code §24-3-580 states, in part: "A person
    Carolina       available            pentobarbital (5/6/11, 1   sodium thiopental                            may not knowingly disclose the identity of a
                                        execution)                 (8/18/95-5/8/09, 35                          current or former member of an execution team
                                                                   executions)                                  or disclose a record that would identify a person
                                                                                                                as being a current or former member of an
                                                                                                                execution team."

    South          Eff. Oct. 15, 2015   1-drug pentobarbital       3-drug, beginning with                       S.D. Codified Law §23A-27A-31.2 states, in
    Dakota                              (10/15/12-10/29/18, 3      sodium thiopental (7/11/07,                  part: "The name, address, qualifications, and
                                        executions)                1 execution)                                 other identifying information relating to the
                                                                                                                identity of any person or entity supplying or
                                                                                                                administering the intravenous injection
                                                                                                                substance or substances under chapter 23A-
                                                                                                                27A are confidential. Disclosure of the foregoing
                                                                                                                information may not be authorized or ordered."

    Tennessee      Eff. Jan. 8, 2018    3-drug, beginning with     3-drug, beginning with      Litigation       Tenn. Code Ann. §10-7-504 states, in part: "(h)
                                        midazolam (8/9/18, one     sodium thiopental (4/19/00- ongoing.         (1) Notwithstanding any other law to the
                                        execution)                 12/02/09, 5 executions)                      contrary, those parts of the record identifying an
                                                                                                                individual or entity as a person or entity who or
                                                                                                                that has been or may in the future be directly
                                                                                                                involved in the process of executing a sentence
                                                                                                                of death shall be treated as confidential and
                                                                                                                shall not be open to public inspection. For the
                                                                                                                purposes of this section “person or entity”
                                                                                                                includes, but is not limited to, an employee of
                                                                                                                the state who has training related to direct
                                                                                                                involvement in the process of executing a
                                                                                                                sentence of death, a contractor or employee of a
                                                                                                                contractor, a volunteer who has direct
                                                                                                                involvement in the process of executing a




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        State        Link to current      Most recently-used         Previous protocols      Status of             Secrecy policies or statutes
                        protocol          execution protocol          (Dates used, # of      protocol
                                                                        executions)
                                                                                                         sentence of death, or a person or entity involved
                                                                                                         in the procurement or provision of chemicals,
                                                                                                         equipment, supplies and other items for use in
                                                                                                         carrying out a sentence of death."


    Texas          Eff. July 2012      1-drug pentobarbital        3-drug, beginning with                Tex. Crim. Proc. Code Ann. art. 43.14 states, in
                                       (7/18/12-2/28/19, 78        pentobarbital                         part: "(b) The name, address, and other
                                       executions)                 (5/3/11-4/26/12, 16                   identifying information of the following is
                                                                                                         confidential and excepted from disclosure under
                                                                   executions)
                                                                                                         Section 552.021, Government Code:
                                                                                                         (1) any person who participates in an execution
                                                                   3-drug, beginning with
                                                                                                         procedure described by Subsection (a),
                                                                   sodium thiopental                     including a person who uses, supplies, or
                                                                   (12/7/82-2/22/11, 466                 administers a substance during the execution;
                                                                   executions)                           and
                                                                                                         (2) any person or entity that manufactures,
                                                                                                         transports, tests, procures, compounds,
                                                                                                         prescribes, dispenses, or provides a substance
                                                                                                         or supplies used in an execution."

    Utah           Eff. June 10,       3-drug, beginning with      None                                  There is no statute that requires secrecy, but it
                   2010                sodium thiopental (8/28/87-                                       is the position of the Department generally that
                                       10/15/99, 4 executions)                                           the lethal-injection protocol is confidential and
                                                                                                         outside the purview of a public records request.

    Virginia       Eff. Feb. 7, 2017   3-drug, beginning with                                            Va. Code. §53.1-234 states, in part: "The
                                       midazolam (1/18/17-         3-drug, beginning with                identities of any pharmacy or outsourcing facility
                                       7/6/17, 2 executions)       pentobarbital (8/18/11-               that enters into a contract with the Department
                                                                   10/1/15, 2 executions)                for the compounding of drugs necessary to carry
                                                                                                         out an execution by lethal injection, any officer
                                                                   3-drug, beginning with                or employee of such pharmacy or outsourcing
                                                                                                         facility, and any person or entity used by such
                                                                   sodium thiopental
                                                                                                         pharmacy or outsourcing facility to obtain
                                                                   (1/24/95-9/23/10, 78
                                                                                                         equipment or substances to facilitate the
                                                                   executions)                           compounding of such drugs and any information
                                                                                                         reasonably calculated to lead to the identities of
                                                                                                         such persons or entities, including their names,
                                                                                                         residential and office addresses, residential and
                                                                                                         office telephone numbers, social security




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        State        Link to current       Most recently-used            Previous protocols       Status of            Secrecy policies or statutes
                        protocol           execution protocol             (Dates used, # of       protocol
                                                                            executions)
                                                                                                              numbers, and tax identification numbers, shall
                                                                                                              be confidential, shall be exempt from the
                                                                                                              Freedom of Information Act (§ 2.2-3700 et seq.),
                                                                                                              and shall not be subject to discovery or
                                                                                                              introduction as evidence in any civil proceeding
                                                                                                              unless good cause is shown."


    Washington                          1-drug sodium thiopental      3-drug, beginning with   Governor-
                                        (9/10/10, 1 execution)        sodium thiopental        imposed
                                                                      (10/13/98-8/28/01, 2     moratorium
                                                                      executions)




    Wyoming                             3-drug, beginning with        None                                     Wyo. Code § 7-13-916 (2015): “The identities
                                        sodium thiopental (1/22/92,                                            of all persons who participate in the execution
                                        1 execution)                                                           of a death sentence as a member of the
                                                                                                               execution team or by supplying or
                                                                                                               manufacturing the equipment and substances
                                                                                                               used for the execution are confidential.
                                                                                                               Disclosure of the identities made confidential
                                                                                                               by this section may not be authorized or
                                                                                                               ordered.”



    U.S.            No current          3-drug, beginning with        None
    Government      protocol in place   sodium thiopental
                                        (6/11/01-3/18/03, 3
                                        executions)


    U.S. Military   Eff. Jan. 2007      No executions carried out     None



  Prior Protocols




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    • Arizona: Jan. 11, 2017 protocol

    • California: May 15, 2007 proposed protocol

    • Delaware: Aug. 31, 2007 protocol

    • Florida: Sept. 9, 2013 protocol; May 9, 2007 protocol

    • Georgia: June 7, 2007 protocol

    • Louisiana: June 17, 2013 protocol

    • Oklahoma: Sept. 30, 2014 protocol

    • Ohio: June 29, 2015 protocol; Sept. 18, 2011 protocol; Nov. 30, 2009 protocol

    • Kentucky's execution protocol, issued in three parts: pre-execution procedures, protocol for medical and psychological evaluations prior to an execution,
      and change to one-drug protocol, allowing for use of either sodium thiopental or pentobarbital (July 20, 2012, public hearing to be held September 25, 2012)

    • Missouri: May 15, 2012 protocol

    • Montana: Jan. 16, 2013 protocol

    • Nevada: Nov. 7, 2017 protocol

    • Tennessee: June 25, 2015 protocol; Apr. 30, 2007 protocol

    • U.S. Military: Jan. 2007 protocol

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                                           FLORIDA
Current Protocol

Florida’s current three-drug protocol:
    1. etomidate,
    2. rocuronium bromide, and
    3. potassium acetate.

Etomidate is administered by intravenous injection for the induction of general anesthesia and
sedation. In this context, it sedates the individual rendering them unconscious. Etomidate is also
known by its brand name “Amidate.”

Context

From 2000 to 2010, Florida executed 25 individuals using a three-drug protocol whereby the first
drug used was sodium thiopental. However, that drug became unavailable as anti-death-penalty
advocates pressured pharmaceutical companies to refuse to supply the drugs for use in
executions.

Florida and other states then replaced sodium thiopental with pentobarbital. From 2011 to 2013,
Florida executed 10 individuals using a three-drug protocol wherein pentobarbital was the first
drug administered. However, pentobarbital became unavailable for use in executions.

In October 2013, Florida became the first state to substitute midazolam for pentobarbital as part
of a three-drug protocol. Florida executed 13 individuals using a lethal injection protocol with
midazolam as the first drug without any reported problems. Arthur v. Alabama Department of
Corrections, 840 F.3d 1268, 1304 (11th Cir. 2016). However, Florida encountered difficulties
acquiring midazolam.

In January 2017, Florida adopted a new three-drug protocol because it was unable to acquire
midazolam. In its new protocol, Florida substituted etomidate for midazolam as the first drug,
followed by rocuronium bromide and potassium acetate. The Florida Supreme Court upheld the
use of etomidate as part of the lethal injection protocol. Asay v. State of Florida, 224 So.3d 695
(Fla. 2017). Florida has executed two individuals using this protocol.
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   •   Fourteen states have used pentobarbital in their lethal injection protocol, either as part of
       a three-drug combination or as a single-drug method.

   •   The following states currently use a single-drug pentobarbital protocol:

           o   Georgia
           o   Idaho
           o   Missouri
           o   South Dakota
           o   Texas

   •   The following states currently have lethal injection protocols that use pentobarbital as
       part of a three-drug combination:

           o Mississippi
           o South Carolina

   •   The following states previously used pentobarbital, either as part of a three-drug
       combination or by itself, in executions:

           o   Alabama
           o   Arizona
           o   Delaware (state declared death penalty unconstitutional in 2016)
           o   Florida
           o   Ohio
           o   Oklahoma
           o   Virginia

   •   Since 2010, pentobarbital was used as part of a single or three-drug combination in 208
       executions.

   •   Of the 25 executions in 2018, 16 used a single-drug pentobarbital protocol.

   •   Of the ten executions thus far in 2019, five used a single-drug pentobarbital protocol.

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                                                                     [3] inmate failed to offer evidence that his proposed
                                                                     alternative method of execution would significantly
     KeyCite Yellow Flag - Negative Treatment                        reduce the allegedly substantial risk of severe pain.
Distinguished by Price v. Commissioner, Department of Corrections,
11th Cir.(Ala.), April 10, 2019
                    139 S.Ct. 1112                                   Affirmed.
           Supreme Court of the United States.
                                                                     Justice Thomas filed a concurring opinion.
             Russell BUCKLEW, Petitioner
                          v.
                                                                     Justice Kavanaugh filed a concurring opinion.
         Anne L. PRECYTHE, Director, Missouri
            Department of Corrections, et al.                        Justice Breyer filed a dissenting opinion, in which Justices
                                                                     Ginsburg, Sotomayor, and Kagan joined in part.
                        No. 17-8151
                             |
                                                                     Justice Sotomayor filed a dissenting opinion.
                  Argued November 6, 2018
                             |
                    Decided April 1, 2019
                                                                      West Headnotes (24)
Synopsis
Background: State death-row inmate brought § 1983
action challenging the constitutionality of Missouri's                [1]    Constitutional Law
lethal injection method of execution, a single-drug                              Capital Punishment; Death Penalty
protocol using the sedative pentobarbital. The United                        Sentencing and Punishment
States District Court for the Western District of Missouri,                      Constitutionality of death penalty
Beth Phillips, J., 2014 WL 2736014, denied inmate's                          The Constitution allows capital punishment,
motion for a preliminary injunction and stay of execution,                   because death was the standard penalty for
and dismissed his complaint for failure to state a claim.                    all serious crimes at the time of the founding,
Inmate appealed. On rehearing en banc, the United                            the later addition of the Eighth Amendment
States Court of Appeals for the Eighth Circuit, Loken,                       did not outlaw the practice, and the Fifth
Circuit Judge, 783 F.3d 1120, reversed and remanded.                         Amendment, added to the Constitution at
On remand, the District Court, Beth Phillips, J., granted                    the same time as the Eighth Amendment,
summary judgment in favor of defendants. Inmate                              expressly contemplates that a defendant may
appealed. The Court of Appeals, Loken, Circuit Judge,                        be tried for a capital crime and deprived of life
883 F.3d 1087, affirmed. Certiorari was granted.                             as a penalty, so long as proper procedures are
                                                                             followed. U.S. Const. Amends. 5, 8.

                                                                             Cases that cite this headnote
Holdings: The Supreme Court, Justice Gorsuch, held that:

[1] a state death-row inmate asserting an as-applied                  [2]    Constitutional Law
constitutional challenge to a State's method of execution                        Capital Punishment; Death Penalty
must meet the same standard that would apply to a facial                     Sentencing and Punishment
challenge;                                                                       Constitutionality of death penalty
                                                                             The same Constitution that permits States to
[2] inmate failed to offer evidence that his proposed
                                                                             authorize capital punishment also allows them
alternative method of execution, which would use
                                                                             to outlaw it, and that means that the judiciary
nitrogen hypoxia as a lethal gas, was feasible and readily
                                                                             bears no license to end a debate reserved
implemented; and
                                                                             for the people and their representatives. U.S.
                                                                             Const. Amends. 5, 8.



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        Cases that cite this headnote                                 Cases that cite this headnote


 [3]    Sentencing and Punishment                              [7]    Sentencing and Punishment
            Mode of execution                                             Mode of execution
        “Cruel and unusual punishments,” which are                    Where the question in dispute is whether the
        prohibited by the Eighth Amendment, include                   State’s chosen method of execution cruelly
        dragging a prisoner to the place of execution,                superadds pain to the death sentence, a
        disemboweling, quartering, public dissection,                 prisoner must show a feasible and readily
        and burning alive. U.S. Const. Amend. 8.                      implemented alternative method of execution
                                                                      that would significantly reduce a substantial
        Cases that cite this headnote                                 risk of severe pain, which the State has refused
                                                                      to adopt without a legitimate penological
 [4]    Sentencing and Punishment                                     reason. U.S. Const. Amend. 8.
            Death penalty as cruel or unusual
                                                                      3 Cases that cite this headnote
        punishment
        The punishment of death is not “cruel,”
        within the meaning of that word as used                [8]    Sentencing and Punishment
        in the Eighth Amendment, because cruelty                          Mode of execution
        implies something inhuman and barbarous,                      The Eighth Amendment does not demand
        something more than the mere extinguishment                   the avoidance of all risk of pain in carrying
        of life. U.S. Const. Amend. 8.                                out executions, and to the contrary, the
                                                                      Constitution affords a measure of deference
        Cases that cite this headnote                                 to a State’s choice of execution procedures
                                                                      and does not authorize courts to serve as
 [5]    Sentencing and Punishment                                     boards of inquiry charged with determining
            Mode of execution                                         best practices for executions. U.S. Const.
                                                                      Amend. 8.
        The Eighth Amendment's prohibition of cruel
        and unusual punishments does not guarantee                    Cases that cite this headnote
        a death-row inmate a painless death, which
        is something that is not guaranteed to many
        people, including most victims of capital              [9]    Sentencing and Punishment
        crimes. U.S. Const. Amend. 8.                                     Mode of execution
                                                                      The traditionally accepted methods of
        Cases that cite this headnote                                 execution, such as hanging, the firing squad,
                                                                      electrocution, and lethal injection, are not
 [6]    Sentencing and Punishment                                     necessarily rendered unconstitutional as soon
            Mode of execution                                         as an arguably more humane method becomes
                                                                      available, because there are many legitimate
        What unites the punishments the Eighth
                                                                      reasons why a State might choose, consistent
        Amendment was understood to forbid,
                                                                      with the Eighth Amendment, not to adopt
        and distinguishes them from those it was
                                                                      a prisoner’s preferred method of execution.
        understood to allow, is that the former were
                                                                      U.S. Const. Amend. 8.
        long disused, or unusual, forms of punishment
        that intensified the sentence of death with                   Cases that cite this headnote
        a cruel superaddition of terror, pain, or
        disgrace. U.S. Const. Amend. 8.
                                                               [10]   Sentencing and Punishment
                                                                          Mode of execution


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        A state death-row inmate asserting an as-                     A facial constitutional challenge is really
        applied constitutional challenge, under the                   just a claim that the law or policy at issue
        Eighth Amendment's prohibition of cruel and                   is unconstitutional in all its applications,
        unusual punishments, to a State's method of                   and thus, classifying a lawsuit as facial or
        execution must meet the same standard that                    as-applied affects the extent to which the
        would apply to a facial challenge under Baze                  invalidity of the challenged law must be
        v. Rees, 128 S.Ct. 1520, and Glossip v. Gross,                demonstrated and the corresponding breadth
        135 S.Ct. 2726, by showing an alternative that                of the remedy, but it does not speak at all
        is feasible and readily implemented and that                  to the substantive rule of law necessary to
        in fact significantly reduces a substantial risk              establish a constitutional violation; surely it
        of severe pain, which the State has refused to                would be strange for the same words of
        adopt without a legitimate penological reason.                the Constitution to bear entirely different
        U.S. Const. Amend. 8.                                         meanings depending only on how broad a
                                                                      remedy the plaintiff chooses to seek.
        2 Cases that cite this headnote
                                                                      1 Cases that cite this headnote

 [11]   Sentencing and Punishment
            Mode of execution                                  [14]   Sentencing and Punishment
        Distinguishing between constitutionally                           Mode of execution
        permissible and impermissible degrees of                      An inmate seeking to identify an alternative
        pain for an execution, under the Eighth                       method of execution, when alleging that a
        Amendment's prohibition of cruel and                          State's method of execution is cruel and
        unusual punishments, is a necessarily                         unusual punishment in violation of the Eighth
        comparative exercise, and to decide whether                   Amendment, is not limited to choosing among
        the State has cruelly superadded pain to                      those presently authorized by a particular
        the punishment of death is not something                      State’s law, and so, for example, a prisoner
        that can be accomplished by examining the                     may point to a well-established protocol in
        State’s proposed method in a vacuum, but                      another State as a potentially viable option.
        only by comparing that method with a viable                   U.S. Const. Amend. 8.
        alternative. U.S. Const. Amend. 8.
                                                                      2 Cases that cite this headnote
        Cases that cite this headnote

                                                               [15]   Sentencing and Punishment
 [12]   Sentencing and Punishment                                         Mode of execution
            Mode of execution                                         State death-row inmate failed to offer
        The Eighth Amendment standard for whether                     evidence that his proposed alternative method
        a method of execution is cruel and unusual                    of execution, which would use nitrogen
        punishment is not that executions must always                 hypoxia as a lethal gas instead of Missouri's
        be carried out painlessly if they can be carried              single-drug protocol for lethal injection
        out painlessly most of the time. U.S. Const.                  using the sedative pentobarbital, was feasible
        Amend. 8.                                                     and readily implemented, in § 1983 action
                                                                      asserting as-applied challenge under Eighth
        Cases that cite this headnote                                 Amendment's prohibition of cruel and
                                                                      unusual punishments; inmate offered no
 [13]   Constitutional Law                                            evidence on essential questions like how
            Facial invalidity                                         nitrogen gas should be administered, in what
                                                                      concentration, how quickly and how long
        Constitutional Law
                                                                      it should be introduced, or how the State
            Invalidity as applied



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        might ensure the safety of the execution team,                single-drug protocol for lethal injection using
        including protecting them against the risk of                 the sedative pentobarbital, would significantly
        gas leaks. U.S. Const. Amend. 8; 42 U.S.C.A.                  reduce the allegedly substantial risk of
        § 1983.                                                       severe pain, in § 1983 action asserting as-
                                                                      applied challenge under Eighth Amendment's
        Cases that cite this headnote                                 prohibition of cruel and unusual punishments,
                                                                      alleging that inmate's medical condition from
 [16]   Sentencing and Punishment                                     the disease cavernous hemangioma, which
            Mode of execution                                         caused vascular tumors, i.e., clumps of
                                                                      blood vessels, to grow in his head, neck,
        For a state death-row inmate's proposed
                                                                      and throat, could cause him to experience
        alternative method of execution to be readily
                                                                      pain during a semiconscious twilight stage
        implemented, the inmate’s proposal must be
                                                                      between the pentobarbital starting to take
        sufficiently detailed to permit a finding that
                                                                      effect and the pentobarbital rendering him
        the State could carry it out relatively easily
                                                                      fully unconscious. U.S. Const. Amend. 8; 42
        and reasonably quickly. U.S. Const. Amend.
                                                                      U.S.C.A. § 1983.
        8.
                                                                      Cases that cite this headnote
        Cases that cite this headnote

                                                               [20]   Sentencing and Punishment
 [17]   Sentencing and Punishment
                                                                          Mode of execution
            Mode of execution
                                                                      For a state death-row inmate's proposed
        When a state death-row inmate proposes an
                                                                      alternative method of execution to
        alternative method of execution, in an Eighth
                                                                      significantly reduce a substantial risk of severe
        Amendment challenge to a State's method of
                                                                      pain, a minor reduction in risk is insufficient;
        execution, the State's choice not to be the first
                                                                      the difference must be clear and considerable.
        to experiment with a new method of execution
                                                                      U.S. Const. Amend. 8.
        is a legitimate reason to reject the inmate's
        proposal. U.S. Const. Amend. 8.                               2 Cases that cite this headnote
        2 Cases that cite this headnote
                                                               [21]   Federal Civil Procedure
                                                                          Scope
 [18]   Sentencing and Punishment
            Mode of execution                                         Federal Civil Procedure
                                                                          Identity and location of witnesses and
        The Eighth Amendment prohibits States from
                                                                      others
        dredging up archaic cruel punishments or
        perhaps inventing new ones, but it does not                   Federal Civil Procedure
        compel a State to adopt untried and untested,                     Persons Whose Depositions May Be
        and thus unusual in the constitutional sense,                 Taken
        methods of execution. U.S. Const. Amend. 8.                   Refusal to allow state death-row inmate
                                                                      to conduct discovery in order to learn the
        Cases that cite this headnote                                 identities of members of the lethal injection
                                                                      execution team, to depose team members,
 [19]   Sentencing and Punishment                                     or to inquire into their qualifications,
            Mode of execution                                         training, and experience, was not an abuse
                                                                      of discretion, in prisoner's § 1983 action
        State death-row inmate failed to offer
                                                                      asserting Eighth Amendment challenge to
        evidence that his proposed alternative method
                                                                      state's lethal injection protocol; discovery
        of execution, which involved using nitrogen
                                                                      into such granular matters was not relevant
        hypoxia as a lethal gas instead of Missouri's


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        because prisoner argued that there was no
        way he could be constitutionally executed by
        lethal injection, even with modifications to the
        State’s lethal injection protocol. U.S. Const.                                 Syllabus *
        Amend. 8; 42 U.S.C.A. § 1983.
                                                               **1 In Baze v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170
        Cases that cite this headnote                         L.Ed.2d 420, a plurality of this Court concluded that a
                                                              State's refusal to alter its execution protocol could violate
                                                              the Eighth Amendment only if an inmate first identified
 [22]   Sentencing and Punishment                             a “feasible, readily implemented” alternative procedure
            Execution of Sentence                             that would “significantly reduce a substantial risk of
        Both the State and the victims of crime               severe pain.” Id., at 52, 128 S.Ct. 1520. A majority of the
        have an important interest in the timely              Court subsequently held Baze's plurality opinion to be
        enforcement of a sentence.                            controlling. See Glossip v. Gross, 576 U.S. ––––, 135 S.Ct.
                                                              2726, 192 L.Ed.2d 761.
        Cases that cite this headnote
                                                              Petitioner Russell Bucklew was convicted of murder and
 [23]   Sentencing and Punishment                             sentenced to death. The State of Missouri plans to execute
            Mode of execution                                 him by lethal injection using a single drug, pentobarbital.
                                                              Mr. Bucklew presented an as-applied Eighth Amendment
        Sentencing and Punishment
                                                              challenge to the State's lethal injection protocol, alleging
            Stay of execution
                                                              that, regardless whether it would cause excruciating pain
        The proper role of courts is to ensure that
                                                              for all prisoners, it would cause him severe pain because of
        method-of-execution challenges to lawfully
                                                              his particular medical condition.
        issued death sentences are resolved fairly
        and expeditiously, and courts should police
                                                              The District Court dismissed his challenge. The Eighth
        carefully against attempts to use such
                                                              Circuit, applying the Baze-Glossip test, remanded the
        challenges as tools to interpose unjustified
                                                              case to allow Mr. Bucklew to identify a feasible,
        delay; last-minute stays should be the extreme
                                                              readily implemented alternative procedure that would
        exception, not the norm, and the last-minute
                                                              significantly reduce his alleged risk of pain. Eventually,
        nature of a stay application that could have
                                                              Mr. Bucklew identified nitrogen hypoxia, but the District
        been brought earlier, or an applicant’s attempt
                                                              Court found the proposal lacking and granted the
        at manipulation, may be grounds for denial of
                                                              State's motion for summary judgment. The Eighth Circuit
        a stay. U.S. Const. Amend. 8.
                                                              affirmed.
        2 Cases that cite this headnote
                                                              Held:

 [24]   Sentencing and Punishment                             1. Baze and Glossip govern all Eighth Amendment
            Mode of execution                                 challenges, whether facial or as-applied, alleging that a
        If method-of-execution litigation by a state          method of execution *1117 inflicts unconstitutionally
        death-row inmate is allowed to proceed,               cruel pain. Pp. 1122 – 1129.
        federal courts can and should protect settled
        state judgments from undue interference by            (a) The Eighth Amendment forbids “cruel and unusual”
        invoking their equitable powers to dismiss or         methods of capital punishment but does not guarantee a
        curtail suits that are pursued in a dilatory          prisoner a painless death. See Glossip, 576 U.S., at ––––,
        fashion or that are based on speculative              135 S.Ct., at 2731–2732. As originally understood, the
        theories.                                             Eighth Amendment tolerated methods of execution, like
                                                              hanging, that involved a significant risk of pain, while
        Cases that cite this headnote                         forbidding as cruel only those methods that intensified
                                                              the death sentence by “superadding” terror, pain, or


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disgrace. To establish that a State's chosen method cruelly
“superadds” pain to the death sentence, a prisoner must         (a) He fails for two independent reasons to present a
show a feasible and readily implemented alternative             triable question on the viability of nitrogen hypoxia as an
method that would significantly reduce a substantial risk       alternative to the State's lethal injection protocol. First, an
of severe pain and that the State has refused to adopt          inmate must show that his proposed alternative method
without a legitimate penological reason. Baze, 553 U.S. at      is not just theoretically “feasible” but also “ ‘readily
52, 128 S.Ct. 1520; Glossip, 576 U.S., at ––––, 135 S.Ct., at   implemented,’ ” Glossip, 576 U.S., at –––– – ––––, 135
2732–2738. And Glossip left no doubt that this standard         S.Ct., at 2737–2738. This means the inmate's proposal
governs “all Eighth Amendment method-of-execution               must be sufficiently detailed to permit a finding that the
claims.” Id., at ––––, 135 S.Ct., at 2731. Baze and Glossip     State could carry it out relatively easily and reasonably
recognized that the Constitution affords a “measure of          quickly. Mr. Bucklew's proposal falls well short of
deference to a State's choice of execution procedures” and      that standard. He presented no evidence on numerous
does not authorize courts to serve as “boards of inquiry        questions essential to implementing his preferred method;
charged with determining ‘best practices’ for executions.”      instead, he merely pointed to reports from correctional
Baze, 553 U.S. at 51–52, 128 S.Ct. 1520. Nor do they            authorities in *1118 other States indicating the need for
suggest that traditionally accepted methods of execution        additional study to develop a nitrogen hypoxia protocol.
are necessarily rendered unconstitutional as soon as an         Second, the State had a “legitimate” reason for declining
arguably more humane method becomes available. Pp.              to switch from its current method of execution as a matter
1122 – 1126.                                                    of law, Baze, 553 U.S. at 52, 128 S.Ct. 1520, namely,
                                                                choosing not to be the first to experiment with a new,
(b) Precedent forecloses Mr. Bucklew's argument that            “untried and untested” method of execution. Id., at 41, 128
methods posing a “substantial and particular risk of            S.Ct. 1520. Pp. 1128 – 1130.
grave suffering” when applied to a particular inmate due
to his “unique medical condition” should be considered          (b) Even if nitrogen hypoxia were a viable alternative,
“categorically” cruel. Because distinguishing between           neither of Mr. Bucklew's theories shows that nitrogen
constitutionally permissible and impermissible degrees          hypoxia would significantly reduce a substantial risk
of pain is a necessarily comparative exercise, the Court        of severe pain. First, his contention that the State
held in Glossip, identifying an available alternative is        may use painful procedures to administer the lethal
“a requirement of all Eighth Amendment method-of-               injection, including forcing him to lie flat on his back
execution claims” alleging cruel pain. 576 U.S., at ––––,       (which he claims could impair his breathing even before
135 S.Ct., at 2731. Mr. Bucklew's argument is also              the pentobarbital is administered), rests on speculation
inconsistent with the original and historical understanding     unsupported, if not affirmatively contradicted, by the
of the Eighth Amendment on which Baze and Glossip               record. And to the extent the record is unclear,
rest: When it comes to determining whether a punishment         he had ample opportunity to conduct discovery and
is unconstitutionally cruel because of the pain involved,       develop a factual record concerning the State's planned
the law has always asked whether the punishment                 procedures. Second, Mr. Bucklew contends that while
superadds pain well beyond what's needed to effectuate a        either method will cause him to experience feelings
death sentence. And answering that question has always          of suffocation for some period of time before he is
involved a comparison with available alternatives, not          rendered fully unconscious, the duration of that period
an abstract exercise in “categorical” classification. The       will be shorter with nitrogen than with pentobarbital. But
substantive meaning of the Eighth Amendment does not            nothing in the record suggests that he will be capable
change depending on how broad a remedy the plaintiff            of experiencing pain for significantly more time after
chooses to seek. Mr. Bucklew's solution also invites            receiving pentobarbital than he would after receiving
pleading games, and there is little likelihood that an          nitrogen. His claim to the contrary rested on his expert's
inmate facing a serious risk of pain will be unable to          testimony regarding a study of euthanasia in horses
identify an available alternative. Pp. 1125 – 1129.             that everyone now agrees the expert misunderstood or
                                                                misremembered. Pp. 1130 – 1133.
 **2 2. Mr. Bucklew has failed to satisfy the Baze-Glossip
test. Pp. 1128 – 1133.                                          883 F.3d 1087, affirmed.



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                                                                **3 In 1996, when Stephanie Ray announced that she
GORSUCH, J., delivered the opinion of the Court,               wanted to end their relationship, Mr. Bucklew grew
in which ROBERTS, C.J., and THOMAS, ALITO,                     violent. He cut her jaw, punched her in the face, and
and KAVANAUGH, JJ., joined. THOMAS, J., and                    threatened her with a knife. Frightened to remain in the
KAVANAUGH, J., filed concurring opinions. BREYER,              home they had shared, Ms. Ray sought refuge with her
J., filed a dissenting opinion, in which GINSBURG,             children in Michael Sanders' nearby residence. But then
SOTOMAYOR, and KAGAN, JJ., joined as to all but                one night Mr. Bucklew invaded that home. Bearing a
Part III. SOTOMAYOR, J., filed a dissenting opinion.           pistol in each hand, he shot Mr. Sanders in the chest; fired
                                                               at Mr. Sanders' 6-year-old son (thankfully, he missed);
                                                               and pistol-whipped Ms. Ray, this time breaking her jaw.
Attorneys and Law Firms                                        Then Mr. Bucklew handcuffed Ms. Ray, drove her to a
                                                               secluded spot, and raped her at gunpoint. After a trooper
 *1116 Cheryl A. Pilate, Morgan Pilate LLC, Kansas
                                                               spotted Mr. Bucklew, a shootout followed and he was
City, MO, Robert N. Hochman, Lawrence P. Fogel,
                                                               finally arrested. While all this played out, Mr. Sanders
Steven J. Horowitz, Kelly J. Huggins, Suzanne B. Notton,
                                                               bled to death. As a coda, Mr. Bucklew escaped from jail
Matthew J. Saldaña, Heather B. Sultanian, Sidley Austin
                                                               while awaiting trial and attacked Ms. Ray's mother with a
LLP, Chicago, IL, for Petitioner.
                                                               hammer before he could be recaptured.
Joshua D. Hawley, Attorney General, Office of the
Missouri, Attorney General, Jefferson City, MO, D. John        After a decade of litigation, Mr. Bucklew was seemingly
Sauer, State Solicitor, Joshua M. Divine, Julie Marie          out of legal options. A jury had convicted him of murder
Blake, Peter T. Reed, Deputy Solicitors, Michael Joseph        and other crimes and recommended a death sentence,
Spillane, Assistant Attorney General, for Respondents.         which the court had imposed. His direct appeal had
                                                               proved unsuccessful. State v. Bucklew, 973 S.W.2d 83
Opinion                                                        (Mo. 1998), cert. denied, 525 U.S. 1082, 119 S.Ct. 826, 142
                                                               L.Ed.2d 683 (1999). Separate rounds of state and federal
Justice GORSUCH delivered the opinion of the Court.            post-conviction proceedings also had failed to yield relief.
                                                               Bucklew v. State, 38 S.W.3d 395 (Mo.), cert. denied, 534
Russell Bucklew concedes that the State of Missouri
                                                               U.S. 964, 122 S.Ct. 374, 151 L.Ed.2d 284 (2001); Bucklew
lawfully convicted him of murder and a variety of other
                                                               v. Luebbers, 436 F.3d 1010 (CA8), cert. denied, 549 U.S.
crimes. He acknowledges that the U.S. Constitution
                                                               1079, 127 S.Ct. 725, 166 L.Ed.2d 565 (2006).
permits a sentence of execution for his crimes. He
accepts, too, that the State's lethal injection protocol is
constitutional in most applications. But because of his
unusual medical condition, he contends the protocol is                                      B
unconstitutional as applied to him. Mr. Bucklew raised
this claim for the first time less than two weeks before his   As it turned out, though, Mr. Bucklew's case soon became
scheduled execution. He received a stay of execution and       caught up in a wave of litigation over lethal injection
five years to pursue the argument, but in the end neither      procedures. Like many States, Missouri has periodically
the district court nor the Eighth Circuit found it *1119       sought to improve its administration of the death penalty.
supported by the law or evidence. Now, Mr. Bucklew asks        Early in the 20th century, the State replaced hanging
us to overturn those judgments. We can discern no lawful       with the gas chamber. Later in the century, it authorized
basis for doing so.                                            the use of lethal injection as an alternative to lethal gas.
                                                               By the time Mr. Bucklew's post-conviction proceedings
                                                               ended, Missouri's protocol called for lethal injections
                                                               to be carried out using three drugs: sodium thiopental,
                             I                                 pancuronium bromide, and potassium chloride. And by
                                                               that time, too, various inmates were in the process of
                             A                                 challenging the constitutionality of the State's protocol
                                                               and others like it around the country. See Taylor v.
                                                               Crawford, 457 F.3d 902 (CA8 2006); Note, A New



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Test for Evaluating Eighth Amendment Challenges to
Lethal Injections, 120 Harv. L. Rev. 1301, 1304 (2007)            **4 While all this played out, pressure from anti-
(describing flood of lethal injection lawsuits around 2006       death-penalty advocates induced the company that
that “severely constrained states' ability to carry out          manufactured sodium thiopental to stop supplying it for
executions”); Denno, The Lethal Injection Quandary:              use in executions. As a result, the State was unable to
How Medicine Has Dismantled the Death Penalty, 76                proceed with executions until it could change its lethal
Ford. L. Rev. 49, 102–116 (2007).                                injection protocol again. This it did in 2012, prescribing
                                                                 the use of a single drug, the sedative propofol. Soon after
Ultimately, this Court answered these legal challenges           that, Mr. Bucklew and other inmates sued to invalidate
in Baze v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170                this new protocol as well, alleging that it would produce
L.Ed.2d 420 (2008). Addressing Kentucky's similar three-         excruciating pain and violate the Eighth Amendment on
drug protocol, THE CHIEF JUSTICE, joined by Justice              its face. After the State revised the protocol in 2013 to use
ALITO and Justice Kennedy, concluded that a State's              the sedative pentobarbital instead of propofol, the inmates
refusal to alter its lethal injection protocol could violate     amended their complaint to allege that pentobarbital
the Eighth Amendment only if an inmate first identified          would likewise violate the Constitution.
a “feasible, readily implemented” alternative procedure
that would “significantly reduce a substantial risk of
severe pain.” Id., at 52, 128 S.Ct. 1520. Justice *1120
                                                                                              C
THOMAS, joined by Justice Scalia, thought the protocol
passed muster because it was not intended “to add                Things came to a head in 2014. With its new protocol
elements of terror, pain, or disgrace to the death penalty.”     in place and the necessary drugs now available, the State
Id., at 107, 128 S.Ct. 1520. Justice BREYER reached the          scheduled Mr. Bucklew's execution for May 21. But 12
same result because he saw no evidence that the protocol         days before the execution Mr. Bucklew filed yet another
created “a significant risk of unnecessary suffering.” Id., at   lawsuit, the one now before us. In this case, he presented
113, 128 S.Ct. 1520. And though Justice Stevens objected         an as-applied Eighth Amendment challenge to the State's
to the continued use of the death penalty, he agreed that        new protocol. Whether or not it would cause excruciating
petitioners' evidence was insufficient. Id., at 87, 128 S.Ct.    pain for all prisoners, as his previous lawsuit alleged, Mr.
1520. After this Court decided Baze, it denied review in a       Bucklew now contended that the State's protocol would
case seeking to challenge Missouri's similar lethal injection    cause him severe pain because of his particular medical
protocol. Taylor v. Crawford, 487 F.3d 1072 (CA8 2007),          condition. Mr. Bucklew suffers from a disease called
cert. denied, 553 U.S. 1004, 128 S.Ct. 2047, 170 L.Ed.2d         cavernous hemangioma, which causes vascular tumors—
793 (2008).                                                      clumps of blood vessels—to grow in his head, neck, and
                                                                 throat. His complaint alleged that this condition could
But that still was not the end of it. Next, Mr. Bucklew          prevent the pentobarbital from circulating properly in
and other inmates unsuccessfully challenged Missouri's           his body; that the use of a chemical dye to flush the
protocol in state court, alleging that it had been adopted       intravenous line could cause his blood pressure to spike
in contravention of Missouri's Administrative Procedure          and his tumors to rupture; and that pentobarbital could
Act. Middleton v. Missouri Dept. of Corrections, 278             interact adversely with his other medications.
S.W.3d 193 (Mo.), cert. denied, 556 U.S. 1255, 129 S.Ct.
2430, 173 L.Ed.2d 1331 (2009). They also unsuccessfully          These latest protocol challenges yielded mixed results. The
challenged the protocol in federal court, this time              district court dismissed both the inmates' facial challenge
alleging it was pre-empted by various federal statutes.          and Mr. Bucklew's as-applied challenge. But, at Mr.
Ringo v. Lombardi, 677 F.3d 793 (CA8 2012). And                   *1121 Bucklew's request, this Court agreed to stay his
Mr. Bucklew sought to intervene in yet another lawsuit           execution until the Eighth Circuit could hear his appeal.
alleging that Missouri's protocol violated the Eighth            Bucklew v. Lombardi, 572 U.S. 1131, 134 S.Ct. 2333,
Amendment because unqualified personnel might botch              189 L.Ed.2d 206 (2014). Ultimately, the Eighth Circuit
its administration. That lawsuit failed too. Clemons v.          affirmed the dismissal of the facial challenge. Zink v.
Crawford, 585 F.3d 1119 (CA8 2009), cert. denied, 561            Lombardi, 783 F.3d 1089 (en banc) (per curiam), cert.
U.S. 1026, 130 S.Ct. 3507, 177 L.Ed.2d 1092 (2010).              denied, 576 U.S. ––––, 135 S.Ct. 2941, 192 L.Ed.2d 976



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(2015). Then, turning to the as-applied challenge and            clarified that the lethal gas he had in mind was nitrogen,
seeking to apply the test set forth by the Baze plurality,       which neither Missouri nor any other State had ever used
the court held that Mr. Bucklew's complaint failed as a          to carry out an execution.
matter of law to identify an alternative procedure that
would significantly reduce the risks he alleged would flow       The district court allowed Mr. Bucklew “extensive
from the State's lethal injection protocol. Yet, despite this    discovery” on his new proposal. 883 F.3d 1087, 1094 (CA8
dispositive shortcoming, the court of appeals decided to         2018). But even at the close of discovery in 2017, the
give Mr. Bucklew another chance to plead his case. The           district court still found the proposal lacking and granted
court stressed that, on remand before the district court,        the State's motion for summary judgment. By this point
Mr. Bucklew had to identify “at the earliest possible time”      in the proceedings, Mr. Bucklew's contentions about the
a feasible, readily implemented alternative procedure that       pain he might suffer had evolved considerably. He no
would address those risks. Bucklew v. Lombardi, 783 F.3d         longer complained about circulation of the drug, the use
1120, 1127–1128 (2015) (en banc).                                of dye, or adverse drug interactions. Instead, his main
                                                                 claim now was that he would experience pain during the
Shortly after the Eighth Circuit issued its judgment, this       period after the pentobarbital started to take effect but
Court decided Glossip v. Gross, 576 U.S. ––––, 135 S.Ct.         before it rendered him fully unconscious. According to
2726, 192 L.Ed.2d 761 (2015), rejecting a challenge to           his expert, Dr. Joel Zivot, while in this semiconscious
Oklahoma's lethal injection protocol. There, the Court           “twilight stage” Mr. *1122 Bucklew would be unable
clarified that THE CHIEF JUSTICE's plurality opinion             to prevent his tumors from obstructing his breathing,
in Baze was controlling under Marks v. United States, 430        which would make him feel like he was suffocating. Dr.
U.S. 188, 97 S.Ct. 990, 51 L.Ed.2d 260 (1977). In doing so,      Zivot declined to say how long this twilight stage would
it reaffirmed that an inmate cannot successfully challenge       last. When pressed, however, he referenced a study on
a method of execution under the Eighth Amendment                 euthanasia in horses. He claimed that the horses in the
unless he identifies “an alternative that is ‘feasible,          study had displayed some amount of brain activity, as
readily implemented, and in fact significantly reduces           measured with an electroencephalogram (or EEG), for
a substantial risk of severe pain.’ ” 576 U.S., at ––––          up to four minutes after they were given a large dose of
– ––––, 135 S.Ct., at 2737. Justice THOMAS, joined               pentobarbital. Based on Dr. Zivot's testimony, the district
by Justice Scalia, reiterated his view that the Eighth           court found a triable issue as to whether there was a
Amendment “prohibits only those methods of execution             “substantial risk” that Mr. Bucklew would “experience
that are deliberately designed to inflict pain,” but he joined   choking and an inability to breathe for up to four minutes”
the Court's opinion because it correctly explained why           if he were executed by lethal injection. App. 827. Even
petitioners' claim failed even under the controlling opinion     so, the court held, Mr. Bucklew's claim failed because he
in Baze. Glossip, 576 U.S., at ––––, 135 S.Ct., at 2750          had produced no evidence that his proposed alternative,
(internal quotation marks and alterations omitted).              execution by nitrogen hypoxia, would significantly reduce
                                                                 that risk.

                                                                 This time, a panel of the Eighth Circuit affirmed. The
                             D
                                                                 panel held that Mr. Bucklew had produced no evidence
 **5 Despite the Eighth Circuit's express instructions,          that the risk of pain he alleged “would be substantially
when Mr. Bucklew returned to the district court in 2015          reduced by use of nitrogen hypoxia instead of lethal
he still refused to identify an alternative procedure that       injection as the method of execution.” 883 F.3d at 1096.
would significantly reduce his alleged risk of pain. Instead,    Judge Colloton dissented, arguing that the evidence raised
he insisted that inmates should have to carry this burden        a triable issue as to whether nitrogen gas would “render
only in facial, not as-applied, challenges. Finally, after the   Bucklew insensate more quickly than pentobarbital.” Id.,
district court gave him “one last opportunity,” App. 30,         at 1099. The full court denied rehearing en banc over
Mr. Bucklew filed a fourth amended complaint in which            a dissent by Judge Kelly, who maintained that, while
he claimed that execution by “lethal gas” was a feasible         prisoners pursuing facial challenges to a state execution
and available alternative method that would significantly        protocol must plead and prove an alternative method
reduce his risk of pain. Id., at 42. Mr. Bucklew later           of execution under Baze and Glossip, prisoners like Mr.



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Bucklew who pursue as-applied challenges should not            While the Eighth Amendment doesn't forbid capital
have to bear that burden. 885 F.3d 527, 528 (2018).            punishment, it does speak to how States may carry out
                                                               that punishment, prohibiting methods that are “cruel
On the same day Mr. Bucklew was scheduled to be                and unusual.” What does this term mean? At the time
executed, this Court granted him a second stay of              of the framing, English law still formally tolerated
execution. 583 U.S. ––––, 138 S.Ct. 1323, 200 L.Ed.2d 510      certain punishments even though they had largely fallen
(2018). We then agreed to hear his case to clarify the legal   into disuse—punishments in which “terror, pain, or
standards that govern an as-applied Eighth Amendment           disgrace [were] superadded” to the penalty of death. 4
challenge to a State's method of carrying out a death          W. Blackstone, Commentaries on the Laws of England
sentence. 584 U.S. –––– (2018).                                370 (1769). These included such “[d]isgusting” practices
                                                               as dragging the prisoner to the place of execution,
                                                               disemboweling, quartering, public dissection, and burning
                                                               alive, all of which Blackstone observed “savor[ed] of
                             II
                                                               torture or cruelty.” Ibid.
We begin with Mr. Bucklew's suggestion that the test for
lethal injection protocol challenges announced in Baze        [3] Methods of execution like these readily qualified as
and Glossip should govern only facial challenges, not as-    “cruel and unusual,” as a reader at the time of the
applied challenges like his. In evaluating this argument,    Eighth Amendment's adoption would have understood
we first examine the original and historical understanding   those words. They were undoubtedly “cruel,” a term often
of the Eighth Amendment and our precedent in Baze            defined to mean “[p]leased with hurting others; inhuman;
and Glossip. We then address whether, in light of those      hard-hearted; void of pity; wanting compassion; savage;
authorities, it would be appropriate to adopt a different    barbarous; unrelenting,” 1 S. Johnson, A Dictionary of
constitutional test for as-applied claims.                   the English Language (4th ed. 1773), or “[d]isposed to
                                                             give pain to others, in body or mind; willing or pleased
                                                             to torment, vex or afflict; inhuman; destitute of pity,
                                                             compassion or kindness,” 1 N. Webster, An American
                             A                               Dictionary of the English Language (1828). And by the
 **6 [1] [2] The Constitution allows capital punishment. time of the founding, these methods had long fallen
                                                             out of use and so had become “unusual.” 4 Blackstone,
See Glossip, 576 U.S., at –––– – ––––, 135 S.Ct., at 2731–
                                                             supra, at 370; Banner 76; Baze, 553 U.S. at 97, 128 S.Ct.
2733; Baze, 553 U.S. at 47, 128 S.Ct. 1520. In fact, death
                                                             1520 (THOMAS, J., concurring in judgment); see also
was “the standard penalty for all serious crimes” at the
                                                             Stinneford, The Original Meaning of “Unusual”: The
time of the founding. S. Banner, The Death Penalty: An
                                                             Eighth Amendment as a Bar to Cruel Innovation, 102
American History 23 (2002) (Banner). Nor did the later
                                                             Nw. U. L. Rev. 1739, 1770–1771, 1814 (2008) (observing
addition of the Eighth Amendment outlaw the practice.
                                                             that Americans in the late 18th and early 19th centuries
On the contrary—the Fifth Amendment, added to the
                                                             described as “unusual” governmental actions that had
Constitution at the same time as the Eighth, expressly
                                                             “fall[en] completely out of usage for a long period of
contemplates that a defendant may be tried for a “capital”
                                                             time”).
crime and “deprived of life” as a penalty, so long as proper
procedures are followed. And the First Congress, which
                                                             Contemporary evidence confirms that the people who
proposed both Amendments, made a number of crimes
                                                             ratified the Eighth Amendment would have understood it
punishable by death. See Act of Apr. 30, 1790, 1 Stat. 112.
                                                             in just this way. Patrick Henry, for one, warned that unless
Of course, that doesn't mean the American people must
                                                             the Constitution was amended to prohibit “cruel and
continue to use the death penalty. The same Constitution
                                                             unusual punishments,” Congress would be free to inflict
that permits States to authorize capital punishment also
                                                             “tortures” and “barbarous” punishments. 3 Debates on
allows them to outlaw *1123 it. But it does mean that the
                                                             the Federal Constitution 447–448 (J. Elliot 2d ed. 1891).
judiciary bears no license to end a debate reserved for the
                                                             Many early commentators likewise described the Eighth
people and their representatives.
                                                             Amendment as ruling out “the use of the rack or the
                                                             stake, or any of those horrid modes of torture devised by



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human ingenuity for the gratification of fiendish passion.”     could produce unconsciousness usually within seconds,
J. Bayard, A Brief Exposition of the Constitution of the        or suffocation, which could take several minutes. Id., at
United States 140 (1833); see B. Oliver, The Rights of          46–47; J. Laurence, The History of Capital Punishment
an American Citizen 186 (1832) (the Eighth Amendment            44–46 (1960); Gardner, Executions and Indignities: An
prohibits such “barbarous and cruel punishments” as             Eighth Amendment Assessment of Methods of Inflicting
“[b]reaking on the wheel, flaying alive, rending asunder        Capital Punishment, 39 Ohio St. L.J. 96, 120 (1978). But
with horses, ... maiming, mutilating and scourging to           while hanging could and often did result in significant
death”). Justice Story even remarked that he thought            pain, its use “was virtually never questioned.” Banner 170.
the prohibition of cruel and unusual punishments likely         Presumably that was because, in contrast to punishments
“unnecessary” because no “free government” would ever           like burning and disemboweling, hanging wasn't “intended
authorize “atrocious” methods of execution like these. 3        to be painful” and the risk of pain involved was considered
J. Story, Commentaries on the Constitution of the United        “unfortunate but inevitable.” Ibid.; see also id., at 48.
States § 1896, p. 750 (1833).
                                                                 [5] [6] What does all this tell us about how the Eighth
 **7 [4] Consistent with the Constitution's original            Amendment applies to methods of execution? For one
understanding, this Court in Wilkerson v. Utah, 99 U.S.         thing, it tells us that the Eighth Amendment does not
130, 25 L.Ed. 345 (1879), permitted an execution by             guarantee a prisoner a painless death—something that, of
firing squad while observing that the Eighth Amendment          course, isn't guaranteed to many people, including most
forbade the gruesome methods of execution described by          victims of capital crimes. Glossip, 576 U.S., at ––––, 135
Blackstone “and all others in the same line of unnecessary      S.Ct., at 2732–2733 Instead, what unites the punishments
cruelty.” Id., at 135–136. A few years later, the Court         the Eighth Amendment was understood to forbid, and
upheld a sentence of death *1124 by electrocution while         distinguishes them from those it was understood to allow,
observing that, though electrocution was a new mode of          is that the former were long disused (unusual) forms of
punishment and therefore perhaps could be considered            punishment that intensified the sentence of death with a
“unusual,” it was not “cruel” in the constitutional sense:      (cruel) “ ‘superadd[ition]’ ” of “ ‘terror, pain, or disgrace.’
“[T]he punishment of death is not cruel, within the             ” Baze, 553 U.S. at 48, 128 S.Ct. 1520; accord, id., at 96,
meaning of that word as used in the Constitution.               128 S.Ct. 1520 (THOMAS, J., concurring in judgment).
[Cruelty] implies ... something inhuman and barbarous,
something more than the mere extinguishment of life.” In        This Court has yet to hold that a State's method of
re Kemmler, 136 U.S. 436, 447, 10 S.Ct. 930, 34 L.Ed. 519       execution qualifies as cruel and unusual, and perhaps
(1890).                                                         understandably so. Far from seeking to superadd terror,
                                                                pain, or disgrace to their executions, the States have
It's instructive, too, to contrast the modes of execution the   often sought more nearly the opposite, exactly as Justice
Eighth Amendment was understood to forbid with those it         Story predicted. Through much of the 19th century, States
was understood to permit. At the time of the Amendment's        experimented with technological innovations aimed at
adoption, the predominant method of execution in this           making hanging less painful. See Banner 170–177. In the
country was hanging. Glossip, 576 U.S., at ––––, 135            1880s, following the recommendation of a commission
S.Ct., at 2731–2732. While hanging was considered more          tasked with finding “ ‘the most humane and practical
humane than some of the punishments of the Old World,           method known to modern science of carrying into effect
it was no guarantee of a quick and painless death. “Many        the sentence of death,’ ” the State of New York replaced
and perhaps most hangings were evidently painful for the        hanging with electrocution. Glossip, 576 U.S., at ––––, 135
condemned person because they caused death slowly,”             S.Ct., at 2731. Several States followed suit in the “ ‘ “belief
and “[w]hether a hanging was painless or painful seems          that electrocution is less painful *1125 and more humane
to have been largely a matter of chance.” Banner 48,            than hanging.” ’ ” Ibid. Other States adopted lethal gas
170. The force of the drop could break the neck and             after concluding it was “ ‘the most humane [method
sever the spinal cord, making death almost instantaneous.       of execution] known to modern science.’ ” Ibid. And
But that was hardly assured given the techniques that           beginning in the 1970s, the search for less painful modes
prevailed at the time. More often it seems the prisoner         of execution led many States to switch to lethal injection.
would die from loss of blood flow to the brain, which           Id., at ––––, 135 S.Ct., at 2732; Baze, 553 U.S. at 42, 62,



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128 S.Ct. 1520; see also Banner 178–181, 196–197, 297.          1520 (a State has a legitimate interest in selecting a method
Notably, all of these innovations occurred not through          it regards as “preserving the dignity of the procedure”);
this Court's intervention, but through the initiative of the    id., at 66, 128 S.Ct. 1520 (ALITO, J., concurring) (a State
people and their representatives.                               isn't required to modify its protocol in ways that would
                                                                require the involvement of “persons whose professional
 **8 [7] Still, accepting the possibility that a State might    ethics rules or traditions impede their participation”).
try to carry out an execution in an impermissibly cruel and
unusual manner, how can a court determine when a State        As we've seen, two Members of the Court whose
has crossed the line? THE CHIEF JUSTICE's opinion in          votes were essential to the judgment in Glossip argued
Baze, which a majority of the Court held to be controlling    that establishing cruelty consistent with the Eighth
in Glossip, supplies critical guidance. It teaches that where Amendment's original meaning demands slightly more
(as here) the question in dispute is whether the State's      than the majority opinion there (or the Baze plurality
chosen method of execution cruelly superadds pain to the      opinion it followed) suggested. Instead of requiring an
death sentence, a prisoner must show a feasible and readily   inmate to establish that a State has unreasonably refused
implemented alternative method of execution that would        to alter its method of execution to avoid a risk of
significantly reduce a substantial risk of severe pain and    unnecessary pain, *1126 Justice THOMAS and Justice
that the State has refused to adopt without a legitimate      Scalia contended that an inmate must show that the
penological reason. See Glossip, 576 U.S., at –––– – ––––,    State intended its method to inflict such pain. See Glossip,
135 S.Ct., 2732–2738; Baze, 553 U.S. at 52, 128 S.Ct. 1520.   576 U.S., at ––––, 135 S.Ct., at 2750 (THOMAS, J.,
Glossip left no doubt that this standard governs “all Eighth  concurring); Baze, 553 U.S. at 94–107, 128 S.Ct. 1520
Amendment method-of-execution claims.” 576 U.S., at           (THOMAS, J., concurring in judgment). But revisiting
––––, 135 S.Ct., at 2731.                                     that debate isn't necessary here because, as we'll see, the
                                                              State was entitled to summary judgment in this case even
 [8]   [9] In reaching this conclusion, Baze and Glossip under the more forgiving Baze-Glossip test. See Part III,
recognized that the Eighth Amendment “does not demand         infra.
the avoidance of all risk of pain in carrying out
executions.” Baze, 553 U.S. at 47, 128 S.Ct. 1520. To
the contrary, the Constitution affords a “measure of
                                                                                             B
deference to a State's choice of execution procedures”
and does not authorize courts to serve as “boards of           [10] Before turning to the application of Baze and Glossip,
inquiry charged with determining ‘best practices’ for         however, we must confront Mr. Bucklew's argument that
executions.” Id., at 51–52, and nn. 2–3, 128 S.Ct. 1520.      a different standard entirely should govern as-applied
The Eighth Amendment does not come into play unless           challenges like his. He admits that Baze and Glossip supply
the risk of pain associated with the State's method is        the controlling test in facial challenges to a State's chosen
“substantial when compared to a known and available           method of execution. But he suggests that he should
alternative.” Glossip, 576 U.S., at ––––, 135 S.Ct., at       not have to prove an alternative method of execution
2738; see Baze, 553 U.S. at 61, 128 S.Ct. 1520. Nor           in his as-applied challenge because “certain categories”
do Baze and Glossip suggest that traditionally accepted       of punishment are “manifestly cruel ... without reference
methods of execution—such as hanging, the firing              to any alternative methods.” Brief for Petitioner 41–
squad, electrocution, and lethal injection—are necessarily    42 (internal quotation marks omitted). He points to “
rendered unconstitutional as soon as an arguably more         ‘burning at the stake, crucifixion, [and] breaking on the
humane method like lethal injection becomes available.        wheel’ ” as examples of “categorically” cruel methods.
There are, the Court recognized, many legitimate reasons      Ibid. And, he says, we should use this case to add to the
why a State might choose, consistent with the Eighth          list of “categorically” cruel methods any method that, as
Amendment, not to adopt a prisoner's preferred method         applied to a particular inmate, will pose a “substantial
of execution. See, e.g., Glossip, 576 U.S., at –––– – ––––,   and particular risk of grave suffering” due to the inmate's
135 S.Ct., at 2737–2738 (a State can't be faulted for failing “unique medical condition.” Id., at 44.
to use lethal injection drugs that it's unable to procure
through good-faith efforts); Baze, 553 U.S. at 57, 128 S.Ct.



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 **9 [11] The first problem with this argument is that          methods—they went so far beyond what was needed
it's foreclosed by precedent. Glossip expressly held that       to carry out a death sentence that they could only be
identifying an available alternative is “a requirement of all   explained as reflecting the infliction of pain for pain's sake.
Eighth Amendment method-of-execution claims” alleging           Meanwhile, hanging carried with it an acknowledged and
cruel pain. 576 U.S., at ––––, 135 S.Ct., at 2731 (emphasis     substantial risk of pain but was not considered cruel
added). And just as binding as this holding is the reasoning    because that risk was thought—by comparison to other
underlying it. Distinguishing between constitutionally          known methods—to involve no more pain than was
permissible and impermissible degrees of pain, Baze and         reasonably necessary to impose a lawful death sentence.
Glossip explained, is a necessarily comparative exercise. To    See supra, at 1122 – 1125.
decide whether the State has cruelly “superadded” pain
to the punishment of death isn't something that can be          What does the principal dissent have to say about
accomplished by examining the State's proposed method           all this? It acknowledges that Glossip's comparative
in a vacuum, but only by “compar[ing]” that method              requirement helps prevent facial method-of-execution
with a viable alternative. Glossip, 576 U.S., at ––––, 135      claims from becoming a “backdoor means to abolish” the
S.Ct., at 2737–2738; see Baze, 553 U.S. at 61, 128 S.Ct.        death penalty. Post, at 1140 (opinion of BREYER, J.).
1520. As Mr. Bucklew acknowledges when speaking of              But, the dissent assures us, there's no reason to worry
facial challenges, this comparison “provides the needed         that as-applied method-of-execution challenges might be
metric” to measure whether the State is lawfully carrying       used that way. This assurance misses the point. As
out an execution or inflicting “gratuitous” pain. Brief         we've explained, the alternative-method requirement is
for Petitioner 42–43. Yet it is that very comparison and        compelled by our understanding of the Constitution, not
needed metric Mr. Bucklew would now have us discard.            by mere policy concerns.
Nor does he offer some persuasive reason for overturning
our precedent. To the contrary, Mr. Bucklew simply               [12] With that, the dissent is left only to rehash the same
repeats the same argument the principal dissent offered         argument that Mr. Bucklew offers. The dissent insists that
and the Court expressly and thoughtfully rejected in            some forms of execution are just categorically cruel. Post,
Glossip. Just as Mr. Bucklew argues here, the dissent           at 1141 – 1142. At first and like others who have made this
there argued that “certain methods of execution” like           argument, the dissent offers little more than intuition to
“burning at the stake” should be declared “categorically        support its conclusion. Ultimately, though, even it bows
off-limits.” And just as Mr. Bucklew submits here, the          to the necessity of something firmer. If a “comparator
dissent there argued that any other “intolerably painful”       is needed” to assess whether an execution is cruel, the
method of execution should be added to this list. 576 U.S.,     dissent tells us, we should compare the pain likely to follow
at –––– – ––––, 135 S.Ct., at 2792–2793 (SOTOMAYOR,             from the use of a lethal injection in this case with the
J., dissenting). Mr. Bucklew's submission, thus, amounts        pain-free use of lethal injections in mine-run cases. Post,
to no more than a headlong attack on precedent.                 at 1141. But that's just another way of saying executions
                                                                must always be carried out painlessly because they can
Mr. Bucklew's argument fails for another independent            be carried out painlessly most of the time, a standard
reason: It is inconsistent with the original and historical     the Constitution has never required and this Court has
understanding of the Eighth Amendment on which                  rejected time and time again. Supra, at 1124 – 1125.
Baze and Glossip rest. As we've seen, when it                   To determine whether the State is cruelly superadding
comes to determining whether *1127 a punishment is              pain, our precedents and history require asking whether
unconstitutionally cruel because of the pain involved,          the State had some other feasible and readily available
the law has always asked whether the punishment                 method to carry out its lawful sentence that would have
“superadds” pain well beyond what's needed to effectuate        significantly reduced a substantial risk of pain.
a death sentence. And answering that question has always
involved a comparison with available alternatives, not           **10 That Mr. Bucklew and the dissent fail to
some abstract exercise in “categorical” classification.         respect the force of our precedents—or to grapple with
At common law, the ancient and barbaric methods of              the understanding of the Constitution on which our
execution Mr. Bucklew cites were understood to be               precedents rest—is more than enough reason to reject
cruel precisely because—by comparison to other available        their view that as-applied and facial challenges should



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be treated differently. But it turns out their position on     law] in all its applications” nor was “limited to plaintiff's
this score suffers from further problems too—problems          particular case”—by concluding that “[t]he label is not
that neither Mr. Bucklew nor the dissent even attempts to      what matters.” Doe v. Reed, 561 U.S. 186, 194, 130 S.Ct.
address.                                                       2811, 177 L.Ed.2d 493 (2010). To hold now, for the
                                                               first time, that choosing a label changes the meaning of
 [13] Take this one. A facial challenge is really just a       the Constitution would only guarantee a good deal of
claim that the law or policy at issue is unconstitutional      litigation over labels, with lawyers on each side seeking to
in all its applications. So classifying a lawsuit as facial    classify cases to maximize their tactical advantage. Unless
or as-applied affects the extent to which the invalidity       increasing the delay and cost involved in carrying out
of the challenged law must be demonstrated and the             executions is the point of the exercise, it's hard to see
corresponding “breadth of the remedy,” but it does not         the benefit in placing so much weight on what can be an
speak at all to the substantive rule of law necessary to       abstruse exercise.
establish a constitutional violation. Citizens United v.
Federal Election Comm'n, 558 U.S. 310, 331, 130 S.Ct.           [14] Finally, the burden Mr. Bucklew must shoulder
876, 175 L.Ed.2d 753 (2010). Surely it would be strange        under the Baze-Glossip test can be overstated. An inmate
for the same words of the Constitution *1128 to bear           seeking to identify an alternative method of execution is
entirely different meanings depending only on how broad        not limited to choosing among those presently authorized
a remedy the plaintiff chooses to seek. See Gross v.           by a particular State's law. Missouri itself seemed to
United States, 771 F.3d 10, 14–15 (CADC 2014) (“ ‘[T]he        acknowledge as much at oral argument. Tr. of Oral Arg.
substantive rule of law is the same for both [facial and       65. So, for example, a prisoner may point to a well-
as-applied] challenges’ ”); Brooklyn Legal Servs. Corp. v.     established protocol in another State as a potentially
Legal Servs. Corp., 462 F.3d 219, 228 (CA2 2006) (the          viable option. Of course, in a case like that a court
facial/as-applied distinction affects “the extent to which     would have to inquire into the possibility that one State
the invalidity of a statute need be demonstrated,” not         possessed a legitimate reason for declining to adopt the
“the substantive rule of law to be used”). And surely,         protocol of another. See supra, at 1125 – 1126. And
too, it must count for something that we have found            existing state law might be relevant to determining the
not a single court decision in over 200 years suggesting       proper procedural vehicle for the inmate's claim. See
that the Eighth Amendment's meaning shifts in this             Hill v. McDonough, 547 U.S. 573, 582–583, 126 S.Ct.
way. To the contrary, our precedent suggests just the          2096, 165 L.Ed.2d 44 (2006) (if the relief sought in a
opposite. In the related context of an Eighth Amendment        42 U.S.C. § 1983 action would “foreclose the State from
challenge to conditions of confinement, we have seen “no       implementing the [inmate's] sentence under present law,”
basis whatever” for applying a different legal standard        then “recharacterizing a complaint as an action for habeas
to “deprivations inflicted upon all prisoners” and those       corpus might be proper”). But the Eighth Amendment
“inflicted upon particular prisoners.” Wilson v. Seiter, 501   is the supreme law of the land, and the comparative
U.S. 294, 299, n. 1, 111 S.Ct. 2321, 115 L.Ed.2d 271 (1991).   assessment it requires can't be controlled by the State's
                                                               choice of which methods to authorize in its statutes. In
Here's yet another problem with Mr. Bucklew's argument:        light of this, we see little likelihood that an inmate facing
It invites pleading games. The line between facial and         a serious risk of pain will be unable *1129 to identify
as-applied challenges can sometimes prove “amorphous,”         an available alternative—assuming, of course, that the
Elgin v. Department of Treasury, 567 U.S. 1, 15, 132 S.Ct.     inmate is more interested in avoiding unnecessary pain
2126, 183 L.Ed.2d 1 (2012), and “not so well defined,”         than in delaying his execution.
Citizens United, 558 U.S. at 331, 130 S.Ct. 876. Consider
an example. Suppose an inmate claims that the State's
lethal injection protocol violates the Eighth Amendment
                                                                                            III
when used to execute anyone with a very common but not
quite universal health condition. Should such a claim be        **11 Having (re)confirmed that anyone bringing a
regarded as facial or as-applied? In another context, we       method of execution claim alleging the infliction of
sidestepped a debate over how to categorize a comparable       unconstitutionally cruel pain must meet the Baze-Glossip
claim—one that neither sought “to strike [the challenged       test, we can now turn to the question whether Mr. Bucklew



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is able to satisfy that test. Has he identified a feasible     Mr. Bucklew (and the principal dissent) point to reports
and readily implemented alternative method of execution        from correctional authorities in other States indicating
the State refused to adopt without a legitimate reason,        that additional study is needed to develop a protocol for
even though it would significantly reduce a substantial        execution by nitrogen hypoxia. See App. 697 (Oklahoma
risk of severe pain? Because the case comes to us after the    grand jury report recommending that the State “retain
entry of summary judgment, this appeal turns on whether        experts” and conduct “further research” to “determine
Mr. Bucklew has shown a genuine issue of material fact         how to carry out the sentence of death by this method”);
warranting a trial.                                            id., at 736 (report of Louisiana Dept. of Public Safety
                                                               & Corrections stating that “[r]esearch ... is ongoing” to
                                                               develop a nitrogen hypoxia protocol). That is a proposal
                                                               for more research, not the readily implemented alternative
                            A
                                                               that Baze and Glossip require.
 [15] We begin with the question of a proposed alternative
method. Through much of this case and despite many              [17]     [18] Second, and relatedly, the State had a
opportunities, Mr. Bucklew refused to identify any             “legitimate” reason for declining to switch from its current
alternative method of execution, choosing instead to           method of *1130 execution as a matter of law. Baze, 553
stand on his argument that Baze and Glossip's legal            U.S. at 52, 128 S.Ct. 1520. Rather than point to a proven
standard doesn't govern as-applied challenges like his         alternative method, Mr. Bucklew sought the adoption of
(even after the Eighth Circuit rejected that argument).        an entirely new method—one that had “never been used
Only when the district court warned that his continued         to carry out an execution” and had “no track record of
refusal to abide this Court's precedents would result in       successful use.” McGehee, 854 F.3d at 493. But choosing
immediate dismissal did Mr. Bucklew finally point to           not to be the first to experiment with a new method of
nitrogen hypoxia. The district court then afforded Mr.         execution is a legitimate reason to reject it. In Baze we
Bucklew “extensive discovery” to explore the viability of      observed that “no other State ha[d] adopted” the one-
that alternative. 883 F.3d at 1094. But even after all that,   drug protocol the inmates sought and they had “proffered
we conclude Mr. Bucklew has failed for two independent         no study showing” their one-drug protocol would be as
reasons to present a triable question on the viability of      effective and humane as the State's existing three-drug
nitrogen hypoxia as an alternative to the State's lethal       protocol. 553 U.S. at 57, 128 S.Ct. 1520. Under those
injection protocol.                                            circumstances, we held as a matter of law that Kentucky's
                                                               refusal to adopt the inmates' proffered protocol could not
 [16] First, an inmate must show that his proposed             “constitute a violation of the Eighth Amendment.” Ibid.
alternative method is not just theoretically “ ‘feasible’ ”    The Eighth Amendment prohibits States from dredging
but also “ ‘readily implemented.’ ” Glossip, 576 U.S., at      up archaic cruel punishments or perhaps inventing new
–––– – ––––, 135 S.Ct., at 2737–2738. This means the           ones, but it does not compel a State to adopt “untried and
inmate's proposal must be sufficiently detailed to permit a    untested” (and thus unusual in the constitutional sense)
finding that the State could carry it out “relatively easily   methods of execution. Id., at 41, 128 S.Ct. 1520. 1
and reasonably quickly.” McGehee v. Hutchinson, 854
F.3d 488, 493 (CA8 2017); Arthur v. Commissioner, Ala.
Dept. of Corrections, 840 F.3d 1268, 1300 (CA11 2016).
                                                                                            B
Mr. Bucklew's bare-bones proposal falls well short of
that standard. He has presented no evidence on essential        **12 [19] [20] Even if a prisoner can carry his burden
questions like how nitrogen gas should be administered         of showing a readily available alternative, he must still
(using a gas chamber, a tent, a hood, a mask, or some other    show that it would significantly reduce a substantial risk
delivery device); in what concentration (pure nitrogen or      of severe pain. Glossip, 576 U.S., at ––––, 135 S.Ct., at
some mixture of gases); how quickly and for how long           2737–2738; Baze, 553 U.S. at 52, 128 S.Ct. 1520. A minor
it should be introduced; or how the State might ensure         reduction in risk is insufficient; the difference must be clear
the safety of the execution team, including protecting         and considerable. Over the course of this litigation, Mr.
them against the risk of gas leaks. Instead of presenting      Bucklew's explanation why nitrogen hypoxia meets this
the State with a readily implemented alternative method,       standard has evolved significantly. But neither of the two


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theories he has advanced in this Court turns out to be        execute him via lethal injection would be unconstitutional,
supported by record evidence.                                 regardless of the specific procedures the State might use.
                                                              As the court of appeals explained: “Having taken the
First, Mr. Bucklew points to several risks that he alleges    position that any lethal injection procedure would violate
could result from use of the State's lethal injection         the Eighth Amendment,” Mr. Bucklew “made no effort
protocol that would not be present if the State used          to determine what changes, if any, the [State] would make
nitrogen gas. For example, he says the execution team         in applying its lethal injection protocol” to him, and he
might try to insert an IV into one of his peripheral veins,   “never urged the district court to establish a suitable
which could cause the vein to rupture; or the team might      fact-finding procedure ... to define the as-applied lethal
instead use an allegedly painful “cut-down” procedure to      injection protocol [the State] intends to use.” 883 F.3d at
access his femoral vein. He also says that he might be        1095–1096. 2
forced to lie flat on his back during the execution, which
could impair his breathing even before the pentobarbital       **13 Second, Mr. Bucklew contends that the lethal
is administered. And he says the stress from all this         injection itself will expose him to a substantial risk
could cause his tumors to bleed, further impairing his        of severe pain that could be eliminated by adopting
breathing. These risks, we may assume, would not exist        his preferred method. He claims that once the sedative
if Mr. Bucklew were executed by his preferred method of       pentobarbital is injected he will “lose the ability to
nitrogen hypoxia.                                             manage” the tumors in his airway and, as a result,
                                                              will experience a “sense of suffocation” for some period
The problem with all of these contentions is that they        of time before the State's sedative renders him fully
rest on speculation unsupported, if not affirmatively         unconscious. Brief for Petitioner 12–13. “It is during this
contradicted, by the evidence in this case. Nor does          in-between twilight stage,” according to his expert, Dr.
the principal dissent contend otherwise. *1131 So, for        Zivot, “that Mr. Bucklew is likely to experience prolonged
example, uncontroverted record evidence indicates that        feelings of suffocation and excruciating pain.” App. 234.
the execution team will have discretion to adjust the         Mr. Bucklew admits that similar feelings of suffocation
gurney to whatever position is in Mr. Bucklew's best          could occur with nitrogen, the only difference being the
medical interests. 883 F.3d at 1092, n. 3; App. 531.          potential duration of the so-called “twilight stage.” He
Moreover, the State agreed in the district court that         contends that with nitrogen the stage would last at most
it would not try to place an IV in Mr. Bucklew's              20 to 30 seconds, while with pentobarbital it could last up
compromised peripheral veins. Id., at 820; see Brief for      to several minutes.
Appellant in No. 17–3052 (CA8), p. 7. And, assuming
without granting that using a cut-down would raise issues     But here again the record contains insufficient evidence
under the Eighth Amendment—but see Nooner v. Norris,          to permit Mr. Bucklew to avoid summary judgment. For
594 F.3d 592, 604 (CA8 2010) (holding otherwise)—the          starters, in the courts below Mr. Bucklew maintained he
State's expert, Dr. Michael Antognini, testified without      would have trouble managing his airway only if he were
contradiction that it should be possible to place an IV       forced to lie supine, *1132 which (as we've explained)
in Mr. Bucklew's femoral vein without using a cut-down        the evidence shows he won't be. (The dissenters don't
procedure, App. 350. Mr. Bucklew responds by pointing         address this point.) But even indulging his new claim
to the warden's testimony that he once saw medical staff      that he will have this difficulty regardless of position,
perform a cut-down as part of an execution; but there's       he still has failed to present colorable evidence that
no evidence that what the warden saw was an attempt to        nitrogen would significantly reduce his risk of pain.
access a femoral vein, as opposed to some other vein.         We can assume for argument's sake that Mr. Bucklew
                                                              is correct that with nitrogen the twilight stage would
 [21] Moreover, to the extent the record is unclear on        last 20 to 30 seconds. The critical question, then, is
any of these issues, Mr. Bucklew had ample opportunity        how long that period might last with pentobarbital. The
to conduct discovery and develop a factual record             State's expert, Dr. Antognini, testified that pentobarbital,
concerning exactly what procedures the State planned          too, would render Mr. Bucklew fully unconscious and
to use. He failed to do so—presumably because the             incapable of experiencing pain within 20 to 30 seconds.
thrust of his constitutional claim was that any attempt to    Id., at 299–301, 432–433. Dr. Zivot disagreed; but when



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he was asked how long he thought the twilight stage           more suffering from nitrogen gas than you would have”
would last with pentobarbital, his testimony was evasive.     from the State's current protocol. Id., at 460–461.
Eventually, he said his “number would be longer than”
20 to 30 seconds, but he declined to say how much              **14 Of course, the principal dissent maintains that Dr.
longer. Id., at 195. Instead, he referenced a 2015 study on   Zivot's testimony supports an inference that pentobarbital
euthanasia in horses. He said the study found that when       might cause Mr. Bucklew to suffer for a prolonged period.
horses were given a large dose of pentobarbital (along        But its argument rests on a number of mistakes about
with other drugs), they exhibited “isoelectric EEG”—          the record. For example, the dissent points to Dr. Zivot's
a complete absence of detectable brain activity—after         remark that, with pentobarbital, *1133 “ ‘the period
52 to 240 seconds. Id., at 194–196. The district court        of time between receiving the injection and death could
assumed Dr. Zivot meant that “pain might be felt until        range over a few minutes to many minutes.’ ” Post, at
measurable brain activity ceases” and that, extrapolating     1138, –––– (quoting App. 222). From this, the dissent
from the horse study, it might take up to four minutes for    concludes that Mr. Bucklew may suffer for “up to several
pentobarbital to “induc[e] a state in which [Mr. Bucklew]     minutes.” Post, at 1136, 1139, 1140 – 1141. But everyone
could no longer sense that he is choking or unable to         agrees that the relevant question isn't how long it will
breathe.” The district court acknowledged, however, that      take for Mr. Bucklew to die, but how long he will be
this might be “a generous interpretation of Dr. Zivot's       capable of feeling pain. Seeking to address the problem,
testimony.” Id., at 822, and n. 5.                            the dissent next points to another part of Dr. Zivot's
                                                              testimony and says it means Mr. Bucklew could experience
In fact, there's nothing in the record to suggest that        pain during the entire time between injection and death.
Mr. Bucklew will be capable of experiencing pain for          Post, at 1139, 1142 – 1143 (quoting App. 222). But the
significantly more than 20 to 30 seconds after being          dissent clips the relevant quotation. As the full quotation
injected with pentobarbital. For one thing, Mr. Bucklew's     makes clear, Dr. Zivot claimed that Mr. Bucklew might
lawyer now admits that Dr. Zivot “crossed up the              be unable to “maintain the integrity of his airway” until
numbers” from the horse study. Tr. of Oral Arg. 7–8, 11–      he died—but he carefully avoided claiming that Mr.
12. The study actually reported that the horses displayed     Bucklew would be capable of feeling pain until he died. 3
isoelectric EEG between 2 and 52 seconds after infusion of    To avoid this problem, the dissent quotes Dr. Zivot's
pentobarbital was completed, with an average time of less     assertions that pentobarbital might not produce “ ‘rapid
than 24 seconds. App. 267. So if anything, the horse study    unconsciousness’ ” and that Mr. Bucklew's suffering with
appears to bolster Dr. Antognini's time estimate. For         pentobarbital could be “ ‘prolonged.’ ” Post, at 1138 –
another thing, everyone now also seems to acknowledge         1139, 1142 – 1143 (quoting App. 233–234). But Dr. Zivot's
that isoelectric EEG is the wrong measure. Dr. Zivot          statements here, too, fail to specify how long Mr. Bucklew
never claimed the horses were capable of experiencing pain    is likely to be able to feel pain. The hard fact is that,
until they reached isoelectric EEG. And Mr. Bucklew's         when Dr. Zivot was finally compelled to offer a view on
lawyer now concedes that doctors perform major surgery        this question, his only response was to refer to the horse
on human patients with measurable EEG readings, which         study. Id., at 195–196. The dissent's effort to suggest that
strongly suggests that Mr. Bucklew will be insensible to      Dr. Zivot “did not rely exclusively or even heavily on
pain before reaching isoelectric EEG. Tr. of Oral Arg. 9.     that study,” post, at 1139 – 1140, is belied by (among
Finally, the record evidence even allows the possibility      other things) Mr. Bucklew's own brief in this Court, which
that nitrogen could increase the risk of pain. Because        asserted that the twilight stage during which he might
Dr. Zivot declined to testify about the likely effects of     feel pain could last “between 52 and 240 seconds,” based
nitrogen gas, Mr. Bucklew must rely on Dr. Antognini's        entirely on a citation of Dr. Zivot's incorrect testimony
testimony. And while Dr. Antognini did say he thought         about the horse study. Brief for Petitioner 13.
nitrogen's “onset of action” could be “relatively fast,”
App. 458, he added that the effects of nitrogen could         In sum, even if execution by nitrogen hypoxia were a
vary depending on exactly how it would be administered        feasible and readily implemented alternative to the State's
—information Mr. Bucklew hadn't provided. Indeed, he          chosen method, Mr. Bucklew has still failed to present
stated that “depending on ... how it's used, you might get    any evidence suggesting that it would significantly reduce
                                                              his risk of pain. For that reason as well, the State was



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entitled to summary judgment on Mr. Bucklew's Eighth            scheduled execution for a murder he had committed 24
Amendment claim.    4                                           years earlier. See Dunn v. Ray, 586 U.S. ––––, 139 S.Ct.
                                                                661, ––– L.Ed.2d –––– (2019). 5 If litigation is allowed to
                                                                proceed, federal courts “can and should” protect settled
                                                                state judgments from “undue interference” by invoking
                            IV
                                                                their “equitable powers” to dismiss or curtail suits that are
 [22] “Both the State and the victims of crime have             pursued in a “dilatory” fashion or based on “speculative”
an important interest in the timely enforcement of a            theories. Id., at 584–585, 126 S.Ct. 2096.
sentence.” Hill, 547 U.S. at 584, 126 S.Ct. 2096. Those
interests have been frustrated in this case. Mr. Bucklew                                     *
committed his crimes more than two decades ago. He
exhausted his appeal and separate state and federal habeas      **15 The judgment of the court of appeals is
challenges more than a decade ago. Yet since then he has
managed to secure *1134 delay through lawsuit after             Affirmed.
lawsuit. He filed his current challenge just days before his
scheduled execution. That suit has now carried on for five
                                                            Justice THOMAS, concurring.
years and yielded two appeals to the Eighth Circuit, two
                                                             *1135 I adhere to my view that “a method of execution
11th-hour stays of execution, and plenary consideration in
                                                            violates the Eighth Amendment only if it is deliberately
this Court. And despite all this, his suit in the end amounts
                                                            designed to inflict pain.” Baze v. Rees, 553 U.S. 35, 94, 128
to little more than an attack on settled precedent, lacking
                                                            S.Ct. 1520, 170 L.Ed.2d 420 (2008) (opinion concurring
enough evidence even to survive summary judgment—and
                                                            in judgment); ante, at 1125 – 1126. Because there is no
on not just one but many essential legal elements set forth
                                                            evidence that Missouri designed its protocol to inflict pain
in our case law and required by the Constitution's original
                                                            on anyone, let alone Russell Bucklew, I would end the
meaning.
                                                            inquiry there. Nonetheless, I join the Court's opinion in
                                                            full because it correctly explains why Bucklew's claim fails
 [23] [24] The people of Missouri, the surviving victims
                                                            even under the Court's precedents.
of Mr. Bucklew's crimes, and others like them deserve
better. Even the principal dissent acknowledges that “the
                                                            I write separately to explain why Justice BREYER's
long delays that now typically occur between the time
                                                            dissenting opinion does not cast doubt on this standard.
an offender is sentenced to death and his execution”
                                                            Post, at 1143 – 1144. As I explained in Baze, “the evil
are “excessive.” Post, at 1144. The answer is not, as
                                                            the Eighth Amendment targets is intentional infliction
the dissent incongruously suggests, to reward those who
                                                            of gratuitous pain.” 553 U.S. at 102, 128 S.Ct. 1520
interpose delay with a decree ending capital punishment
                                                            (opinion concurring in judgment). The historical evidence
by judicial fiat. Post, at 1145. Under our Constitution,
                                                            shows that the Framers sought to disable Congress
the question of capital punishment belongs to the people
                                                            from imposing various kinds of torturous punishments,
and their representatives, not the courts, to resolve. The
                                                            such as “ ‘gibbeting,’ ” “burning at the stake,” and “
proper role of courts is to ensure that method-of-execution
                                                            ‘embowelling alive, beheading, and quartering.’ ” Id.,
challenges to lawfully issued sentences are resolved fairly
                                                            at 95–98, 128 S.Ct. 1520 (quoting 4 W. Blackstone,
and expeditiously. Courts should police carefully against
                                                            Commentaries *376 (Blackstone), and S. Banner, The
attempts to use such challenges as tools to interpose
                                                            Death Penalty: An American History 71–72 (2002)). In
unjustified delay. Last-minute stays should be the extreme
                                                            England, these aggravated forms of capital punishment
exception, not the norm, and “the last-minute nature of
                                                            were “ ‘superadded’ ” to increase terror and disgrace for
an application” that “could have been brought” earlier,
                                                            “ ‘very atrocious crimes,’ ” such as treason and murder.
or “an applicant's attempt at manipulation,” “may be
                                                            See Baze, supra, at 96–97, 128 S.Ct. 1520 (quoting 4
grounds for denial of a stay.” Hill, 547 U.S. at 584,
                                                            Blackstone *376). The founding generation ratified the
126 S.Ct. 2096 (internal quotation marks omitted). So,
                                                            Eighth Amendment to reject that practice, contemplating
for example, we have vacated a stay entered by a lower
                                                            that capital punishment would continue, but without
court as an abuse of discretion where the inmate waited
                                                            those punishments deliberately designed to superadd pain.
to bring an available claim until just 10 days before his


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See Baze, 553 U.S. at 97–98, 128 S.Ct. 1520. Under this        today agree on that point. Ante, at 1143; post, at 1128
view, the constitutionality of a particular execution thus     (BREYER, J., dissenting).
turns on whether the Government “deliberately designed”
the method of execution “to inflict pain,” id., at 94, 128     As the Court notes, it follows from that additional holding
S.Ct. 1520, without regard to the subjective intent of the     that the burden of the alternative-method requirement
executioner.                                                   “can be overstated.” Ante, at 1128. Indeed, the Court
                                                               states: “[W]e see little likelihood that an inmate facing a
Contrary to Justice BREYER's suggestion, my view does          serious risk of pain will be unable to identify an available
not render the Eighth Amendment “a static prohibition”         alternative.” Ante, at 1128 – 1129.
proscribing only “the same things that it proscribed in
the 18th century.” Post, at 1143 – 1144. A method of           In other words, an inmate who contends that a particular
execution not specifically contemplated at the founding        method of execution is very likely to cause him severe
could today be imposed to “superad[d]” “terror, pain, or       pain should ordinarily be able to plead some alternative
disgrace.” 4 Blackstone *376. Thankfully—and consistent        method of execution that would significantly reduce the
with Justice Story's view that the Eighth Amendment            risk of severe pain. At oral argument in this Court, the
is “wholly unnecessary in a free government,” 3 J.             State suggested that the firing squad would be such an
Story, Commentaries on the Constitution of the United          available alternative, if adequately pleaded. Tr. of Oral
States 750 (1833)—States do not attempt to devise              Arg. 63–64 (“He can plead firing squad.... Of course,
such diabolical punishments. E.g., Baze, supra, at 107,        if he had ... pleaded firing squad, it's possible that
128 S.Ct. 1520 (“Kentucky adopted its lethal injection         Missouri could have executed him by firing squad”).
protocol in an effort to make capital punishment more          Justice SOTOMAYOR has likewise explained that the
humane”). It is therefore unsurprising that, despite Justice   firing squad is an alternative method of execution that
BREYER's qualms about the death penalty, e.g., post, at        generally causes an immediate and certain death, with
1145, this Court has never held a method of execution          close to zero risk of a botched execution. See Arthur,
unconstitutional. Because the Court correctly declines to      580 U.S., at –––– – ––––, 137 S.Ct., at 733–734. I do
do so again today, I join in full.                             not here prejudge the question whether the firing squad,
                                                               or any other alternative method of execution, would be
                                                               a feasible and readily implemented alternative for every
Justice KAVANAUGH, concurring.                                 State. See McGehee v. Hutchinson, 854 F.3d 488, 493–
When an inmate raises an as-applied constitutional             494 (CA8 2017). Rather, I simply emphasize the Court's
challenge to a particular method of execution—that is, a       statement that “we see little likelihood that an inmate
challenge to a method of execution that is constitutional      facing a serious risk of pain will be unable to identify an
in general but that the inmate says is very likely to cause    available alternative.” Ante, at 1128 – 1129.
him severe pain—one question is whether the inmate
must identify an available alternative method of execution
that would significantly reduce the risk of severe pain.
Applying our recent decisions in Glossip v. Gross, 576 U.S.    Justice BREYER, with whom Justice GINSBURG,
––––, 135 S.Ct. 2726, 192 L.Ed.2d 761 (2015), and Baze         Justice SOTOMAYOR, and Justice KAGAN join as to
v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170 L.Ed.2d 420          all but Part III, dissenting.
(2008) (plurality *1136 opinion), the Court's answer to        The Court's decision in this case raises three questions.
that question is yes. Under those precedents, I agree with     The first is primarily a factual question, namely, whether
the Court's holding and join the Court's opinion.              Bucklew has established genuine issues of material fact
                                                               concerning whether executing him by lethal injection
 **16 I write to underscore the Court's additional holding     would cause him excessive suffering. The second is
that the alternative method of execution need not be           primarily a legal question, namely, whether a prisoner like
authorized under current state law—a legal issue that          Bucklew with a rare medical condition must identify an
had been uncertain before today's decision. See Arthur v.      alternative method by which the State may execute him.
Dunn, 580 U.S. ––––, –––– – ––––, 137 S.Ct. 725, 729–731,      And the third is a more general question, namely, how
197 L.Ed.2d 225 (2017) (SOTOMAYOR, J., dissenting              to minimize delays in executing offenders who have been
from denial of certiorari). Importantly, all nine Justices     condemned to death.


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                                                                 that causes tumors filled with blood vessels to grow
I disagree with the majority's answers to all three              throughout his body, including in his head, face, neck,
questions. Bucklew cites evidence that executing him by          and oral cavity. The condition is rare. One study estimates
lethal injection will cause the tumors that grow in his          that hemangiomas in the oral cavity occur in less than
throat to rupture during his execution, causing him to           one percent of the population, and that hemangiomas like
sputter, choke, and suffocate on his own blood for up to         Bucklew's have been identified in five cases. See Wang,
several minutes before he dies. That evidence establishes        Chen, Mojica, & Chen, Cavernous Hemangioma of the
at this stage of the proceedings that executing Bucklew          Uvula, 8 N. Am. J. Med. & Sci. 56, 56–59 (2015).
by lethal injection risks subjecting him to constitutionally
impermissible suffering. The majority holds that the State       Tumors grow out of Bucklew's lip and over his mouth, as
may execute him anyway. In my view, that holding                 well as on his hard and soft palates. One tumor also grows
violates the clear command of the Eighth Amendment.              directly on Bucklew's uvula, which has become “grossly
                                                                 enlarged” as a result. App. 225. (The uvula is the “pendent
                                                                 fleshy lobe” that hangs from the back of the throat.
                                                                 Merriam-Webster's Collegiate Dictionary 1379 (11th ed.
                           *1137 I
                                                                 2003).) Bucklew's tumors obstruct his airway and make
I begin with a factual question: whether Bucklew has             it difficult for him to breathe. His difficulty breathing is
established that, because of his rare medical condition,         chronic, but is particularly acute when he lies flat and
the State's current method of execution risks subjecting         gravity pulls his engorged uvula into his airway. He often
him to excessive suffering. See Glossip v. Gross, 576 U.S.       has to adjust the positioning of his head to prevent his
––––, ––––, 135 S.Ct. 2726, 2737, 192 L.Ed.2d 761 (2015)         uvula from obstructing his breathing. He sleeps at a 45-
(requiring “a demonstrated risk of severe pain”); see also       degree angle to facilitate breathing, and he often wakes up
Baze v. Rees, 553 U.S. 35, 50, 128 S.Ct. 1520, 170 L.Ed.2d       in the middle of the night gasping for air.
420 (2008) (plurality opinion) (requiring “a substantial
risk of serious harm” (internal quotation marks omitted)).       Due to the sensitivity of his tumors, even minimal contact
                                                                 may cause them to hemorrhage. He has described past
 **17 There is no dispute as to the applicable summary           hemorrhages as “ ‘squirting’ ” or “leaking” blood, and he
judgment standard. Because the State moved for summary           states that the first thing he does each morning is to wipe
judgment, it can prevail if, but only if, it “shows that         the blood off his face that leaked from his nose and mouth
there is no genuine dispute as to any material fact.” Fed.       as he slept. Bucklew's condition is progressive and, due to
Rule Civ. Proc. 56(a); see also Anderson v. Liberty Lobby,       the risk of significant blood loss caused by the sensitivity
Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202          of his tumors, cannot be treated by surgery.
(1986). On review, we examine the record as a whole,
which includes “depositions, documents, [and] affidavits         Bucklew maintains that, as a result of this medical
or declarations.” Rule 56(c). And we must construe the           condition, executing him by lethal injection would prove
evidence in the light most favorable to Bucklew and draw         excruciatingly painful. In support of this claim, Bucklew
every justifiable inference in his favor. See Tolan v. Cotton,   submitted sworn declarations and deposition testimony
572 U.S. 650, 651, 134 S.Ct. 1861, 188 L.Ed.2d 895 (2014)        from an expert witness, Dr. Joel Zivot, an anesthesiologist.
(per curiam).                                                    Dr. Zivot provided extensive testimony regarding the pain
                                                                 that Bucklew would likely endure in an execution by lethal
                                                                 injection:

                              A                                     *1138 • Dr. Zivot testified that in light of “the degree
                                                                   to which Mr. Bucklew's airway is compromised by the
Bucklew has easily established a genuine issue of material
                                                                   hemangiomas” and “the particular psychological and
fact regarding whether an execution by lethal injection            physical effects of lethal injection, it is highly likely that
would subject him to impermissible suffering.                      Mr. Bucklew would be unable to maintain the integrity
                                                                   of his airway during the time after receiving the lethal
The record indicates that Bucklew suffers from a                   injection and before death.” App. 221.
congenital condition known as cavernous hemangioma


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                                                               concluded that the dispute between the experts was “a
  • Dr. Zivot explained that, as a result of “the highly       factual dispute that the Court cannot resolve on summary
  friable and fragile state of the tissue of Mr. Bucklew's     judgment, and would have to be resolved at trial.” Ibid.
  mouth and airway,” Bucklew “will likely experience
  hemorrhaging and/or the possible rupture of the tumor”       The District Court was right. The evidence, taken in the
  on his uvula during his execution. Id., at 222.              light most favorable to Bucklew, creates a genuine factual
                                                               issue as to whether Missouri's lethal injection protocol
   **18 • Dr. Zivot added that the “hemorrhaging will
                                                               would subject him to several minutes of “severe pain
  further impede Mr. Bucklew's airway by filling his
                                                               and suffering,” Glossip, 576 U.S., at ––––, 135 S.Ct.,
  mouth and airway with blood, causing him to choke and
                                                               at 2738, during which he would choke and suffocate
  cough on his own blood.” Ibid.
                                                               on his own blood. In my view, executing Bucklew by
  • Dr. Zivot concluded that “it is highly likely that         forcing him to choke on his grossly enlarged uvula and
  Mr. Bucklew, given his specific congenital medical           suffocate on his blood would exceed “the limits of civilized
  condition, cannot undergo lethal injection without           standards.” Kennedy v. Louisiana, 554 U.S. 407, 435, 128
  experiencing the excruciating pain and suffering” of         S.Ct. 2641, 171 L.Ed.2d 525 (2008) (internal quotation
  “suffocation, convulsions, and visible hemorrhaging.”        marks omitted); see also Trop v. Dulles, 356 U.S. 86, 100–
  Id., at 223.                                                 101, 78 S.Ct. 590, 2 L.Ed.2d 630 (1958) (plurality opinion).
                                                               The experts dispute whether Bucklew's execution will
Dr. Zivot also testified about the duration of pain to which   prove as *1139 unusually painful as he claims, but
an execution by lethal injection would subject Bucklew,        resolution of that dispute is a matter for trial.
describing it as “prolonged.” Id., at 234.

  • Dr. Zivot stated that the effects of a pentobarbital
                                                                                            B
  injection “are highly unlikely to be instantaneous and
  the period of time between receiving the injection and       The majority, while characterizing the matter as “critical,”
  death could range over a few minutes to many minutes.”       says that there is “nothing in the record to suggest
  Id., at 222 (emphasis added).                                that Mr. Bucklew will be capable of experiencing
                                                               pain for significantly more than 20 to 30 seconds
  • Dr. Zivot “strongly disagree[d] with [the State's
                                                               after being injected with pentobarbital.” Ante, at 1133.
  expert's] repeated claim that the pentobarbital injection
                                                               But what about Dr. Zivot's testimony that the time
  would result in ‘rapid unconsciousness.’ ” Id., at 233.
                                                               between injection and death “could range over a few
  • Dr. Zivot explained that Bucklew “would likely             minutes to many minutes”? App. 222. What about
  experience unconsciousness that sets in progressively as     Dr. Zivot's characterization of the pain involved as
  the chemical circulates through his system” and that         “prolonged”? Id., at 234. What about Dr. Zivot's “stron[g]
  it was during this period that Bucklew was “likely           disagree[ment] with [the State's expert's] repeated claim
  to experience prolonged feelings of suffocation and          that the pentobarbital injection would result in ‘rapid
  excruciating pain.” Id., at 233–234.                         unconsciousness’ ”? Id., at 233.

The State asked the District Court to grant summary             **19 The majority construes Dr. Zivot's testimony to
judgment in its favor on the theory that Bucklew failed        show only that Bucklew might remain alive for several
to identify a genuine factual issue regarding whether          minutes after the injection, not that he will be capable of
an execution by lethal injection would be impermissibly        feeling pain for several minutes after the injection. Ante,
painful. The District Court refused. The court believed        at 1132 – 1133. But immediately following his prediction
that Bucklew had adequately shown that for up to several       that the time between injection and death could range
minutes he “could be aware that he is choking or unable to     up to many minutes, Dr. Zivot stated that “beginning
breathe but be unable to ‘adjust’ his breathing to remedy      with the injection of the Pentobarbital solution and ending
the situation.” Id., at 827. Recognizing that the State's      with Mr. Bucklew's death several minutes to as long as
evidence suggested that Bucklew would experience this          many minutes later, Mr. Bucklew would be highly likely to
choking sensation for a shorter period, the District Court     experience feelings of ‘air hunger’ and the excruciating pain



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of prolonged suffocation.” App. 222 (emphasis added). Dr.         substantial risk of severe pain.” Id., at –––– – ––––, 135
Zivot thus testified both that lethal injection would take        S.Ct., at 2737 (internal quotation marks omitted).
up to several minutes to kill Bucklew and that Bucklew
would experience excruciating pain during this period.            I joined the dissent in Glossip, but for present purposes
And it is not the case, as the majority believes, that            I accept the Glossip majority opinion as governing.
Dr. Zivot “carefully avoided claiming that Mr. Bucklew            I nonetheless do not believe its “alternative method”
would be capable of feeling pain until he died,” ante, at         requirement applies in this case. We “often read general
1133, particularly given that the record must be construed        language in judicial opinion[s] as referring in context to
in the light most favorable to Bucklew.                           circumstances similar to the circumstances then before the
                                                                  Court and not referring to quite different circumstances
The majority also justifies its refusal to credit Dr. Zivot's     that the Court was not then considering.” Illinois v.
testimony on the ground that Dr. Zivot gave a response            Lidster, 540 U.S. 419, 424, 124 S.Ct. 885, 157 L.Ed.2d
during his deposition suggesting that he misinterpreted           843 (2004). And while I acknowledge that the Court in
a study of euthanasia in horses. Ante, at 1132 – 1133.            Glossip spoke in unqualified terms, the circumstances in
Bucklew's expert, however, did not rely exclusively or even       Glossip were indeed “different” in relevant respects from
heavily upon that study; he mentioned it only in response         the circumstances presented here.
to a question posed in his deposition. To the contrary, Dr.
Zivot explained that his testimony regarding the pain to
which Bucklew would be subjected was “supported both
                                                                                              A
by [his] own professional knowledge of how chemicals of
this type are likely to exert their effects in the body as well   The plaintiffs in Glossip undertook an across-the-board
as by the terms of Missouri's Execution Procedure.” App.          attack against the use of a particular execution method,
222.                                                              which they maintained violated the Eighth Amendment
                                                                  categorically. In this case, by contrast, Bucklew does not
Whether any mistake about the importance of a single              attack Missouri's lethal injection protocol categorically,
study makes all the difference to Bucklew's case is               or even in respect to any execution other than his own.
a matter not for this Court to decide at summary                  Instead, he maintains that he is special; that he suffers
judgment, but for the factfinder to resolve at trial. As          from a nearly unique illness; and that, by virtue of that
Judge Colloton pointed out in dissent below, attacks on           illness, Missouri's execution method will be excruciatingly
the “reliability and credibility of Dr. Zivot's opinion,”         painful for him even though it would not affect others in
including “his possible misreading of the horse study on          the same way. These differences make a difference.
which he partially relied,” give rise to factual disputes.
See 883 F.3d 1087, 1099 (CA8 2018). Judge Colloton                 **20 First, these differences show that the reasons that
therefore concluded that “[t]he district court did not err in     underlie Glossip's “alternative method” requirement do
concluding that it could not resolve the dispute between          not apply here.
the experts on summary judgment.” Ibid. I agree.
                                                                  The Glossip Court stressed the importance of preventing
                                                                  method-of-execution challenges from becoming a
                              II                                  backdoor means to abolish capital punishment in general.
                                                                  The Court wrote that “because it is settled that capital
This case next presents a legal question. The Court in            punishment is constitutional, it necessarily follows that
Glossip held in the context of a facial challenge to a            there must be a constitutional means of carrying it out.”
State's execution protocol that the plaintiffs were required      Glossip, 576 U.S., at ––––, 135 S.Ct., at 2732–2733
not only to establish that the execution method gave              (alterations omitted). The Court added that “we have
rise to a “demonstrated risk of severe pain,” but also            time and again reaffirmed that capital punishment is not
to identify a “known and available” alternative method.           per se unconstitutional.” Id., at ––––, 135 S.Ct., at 2739.
 *1140 576 U.S., at ––––, 135 S.Ct., at 2737–2738.                And the Court feared that allowing prisoners to invalidate
The Court added that the alternative must be “feasible,           a State's method of execution without identifying an
readily implemented, and in fact significantly reduc[e] a         alternative would “effectively overrule these decisions.”



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Ibid. But there is no such risk here. Holding Missouri's        without subjecting prisoners to undue pain. See Brief for
lethal injection protocol unconstitutional as applied to        Respondents 5. To the extent that any comparator is
Bucklew—who has a condition that has been identified            needed, those executions provide a readymade, built-in
in only five people, see supra, at 1137 – 1138—would            comparator against which a court can measure the degree
not risk invalidating the death penalty in Missouri. And,       of excessive pain Bucklew will suffer.
because the State would remain free to execute prisoners
by other permissible means, declining to extend Glossip's        **21 Second, precedent counsels against extending
“alternative method” requirement in this context would          Glossip. Neither this Court's oldest method-of-execution
be unlikely to exempt Bucklew or any other prisoner from        case, Wilkerson v. Utah, 99 U.S. 130, 25 L.Ed. 345 (1879),
the death penalty. Even in the unlikely event that the State    nor any subsequent decision of this Court until Glossip,
could not identify a permissible alternative in a particular    held that prisoners who challenge a State's method of
case, it would be perverse to treat that as a reason to         execution must identify an alternative means by which
execute a prisoner by the method he has shown to involve        the State may execute them. To the contrary, in Hill v.
excessive suffering.                                            McDonough, 547 U.S. 573, 126 S.Ct. 2096, 165 L.Ed.2d 44
                                                                (2006), the Court squarely and unanimously rejected the
The Glossip Court, in adopting the “alternative                 argument that a prisoner must “identif[y] an alternative,
method” requirement, relied on THE CHIEF JUSTICE's              authorized method of execution.” Id., at 582, 126 S.Ct.
plurality opinion in Baze, which discussed the need to          2096. The Court noted that any such requirement would
avoid “intrud[ing] on the role of state legislatures in         “change the traditional pleading requirements for § 1983
implementing their execution procedures.” 553 U.S. at           actions,” which we were not at liberty to do. Ibid. It
51, 128 S.Ct. 1520; see also ante, at 1125 (we owe “a           is thus difficult to see how the “alternative-method”
measure of deference to a State's choice of execution           requirement could be “compelled by our understanding
procedures” (internal quotation marks omitted)). But no         of the Constitution,” ante, at 1127, even though the
such intrusion problem exists in a case like this one.          Constitution itself never hints at such a requirement, even
 *1141 When adopting a method of execution, a state             though we did not apply such a requirement in more
legislature will rarely consider the method's application       than a century of method-of-execution cases, and even
to an individual who, like Bucklew, suffers from a              though we unanimously rejected such a requirement in
rare disease. It is impossible to believe that Missouri's       Hill. And while the Court in Glossip did not understand
legislature, when adopting lethal injection, considered the     itself to be bound by Hill, see Glossip, 576 U.S., at
possibility that it would cause prisoners to choke on their     ––––, 135 S.Ct., at 2738–2739 (distinguishing Hill on the
own blood for up to several minutes before they die.            theory that Hill merely rejected a heightened pleading
Exempting a prisoner from the State's chosen method of          requirement for § 1983 suits), the two decisions remain
execution in these circumstances does not interfere with        in considerable tension. Confining Glossip's “alternative
any legislative judgment.                                       method” requirement to facial challenges would help to
                                                                reconcile them.
The Court in Glossip may have also believed that the
identification of a permissible alternative method of           Third, the troubling implications of today's ruling
execution would provide a reference point to assist in          provide the best reason for declining to extend
determining how much pain in an execution is too much           Glossip's “alternative method” requirement. The majority
pain. See 576 U.S., at –––– – ––––, 135 S.Ct., at 2737–2738;    acknowledges that the Eighth Amendment prohibits
Baze, 553 U.S. at 47, 51, 128 S.Ct. 1520 (plurality opinion);   States from executing prisoners by “ ‘horrid modes of
see also ante, at 1126 (arguing that determining the            torture’ ” such as burning at the stake. Ante, at 1123
constitutionality of a method of execution “is a necessarily    – 1124. But the majority's decision permits a State to
comparative exercise”). But there is no need for any such       execute a prisoner who suffers from a medical condition
reference point in a case like this. Bucklew accepts the        that would render his execution no less painful. Bucklew
constitutionality of Missouri's chosen execution method         has provided evidence of a serious risk that his execution
as to prisoners who do not share his medical condition.         will be excruciating and grotesque. The majority holds
See Brief for Petitioner 36. We are informed that this          that the State may execute him anyway. That decision
method has been used in 20 executions, apparently                *1142 confirms the warning leveled by the Glossip dissent



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—that the Court has converted the Eighth Amendment's          “quick and painless” and would take effect in 20 to 30
“categorical prohibition into a conditional one.” 576 U.S.,   seconds. The majority instead believes that “nothing in the
at ––––, 135 S.Ct., at 2739 (opinion of SOTOMAYOR, J.).       record” suggests that lethal injection would take longer
                                                              than nitrogen gas to take effect. Ante, at 1132. As I have
                                                              already explained, the majority reaches this conclusion
                                                              by overlooking considerable evidence to the contrary—
                            B
                                                              such as Dr. Zivot's testimony that Bucklew's pain would
Even assuming for argument's sake that Bucklew must           likely prove “prolonged,” App. 234, that lethal injection
bear the burden of showing the existence of a “known          would not “result in ‘rapid unconsciousness,’ ” id., at 233,
and available” alternative method of execution that           and that from the time of injection to “Mr. Bucklew's
“significantly reduces a substantial risk of severe pain,”    death several minutes to as long as many minutes later,
id., at ––––, 135 S.Ct., at 2737 (majority opinion)           Mr. Bucklew would be highly likely to experience ... the
(alteration and internal quotation marks omitted),            excruciating pain of prolonged suffocation,” id., at 222.
Bucklew has satisfied that burden. The record contains        In discounting this evidence, the majority simply fails
more than enough evidence on the point to raise               “to adhere to the axiom that in ruling on a motion for
genuine and material factual issues that preclude summary     summary judgment, the evidence of the nonmovant is to
judgment.                                                     be believed, and all justifiable inferences are to be drawn in
                                                              his favor.” Tolan, 572 U.S. at 651, 134 S.Ct. 1861 (internal
Bucklew identified as an alternative method of execution      quotation marks and alteration omitted).
the use of nitrogen hypoxia, which is a form of execution
by lethal gas. Missouri law permits the use of this method     **22 The majority additionally believes that Bucklew's
of execution. See Mo. Rev. Stat. § 546.720 (2002). Three      evidence fails to show that nitrogen hypoxia would
other States—Alabama, Mississippi, and Oklahoma—              be easy to implement. Ante, at 1129. But the reports
have specifically authorized nitrogen hypoxia as a method     from Oklahoma and Louisiana tell a different story.
of execution. See ante, at 1130, n. 1. And Bucklew            The Louisiana report states that *1143 nitrogen
introduced into the record reports from Oklahoma              hypoxia would be “simple to administer.” App. 737.
and Louisiana indicating that nitrogen hypoxia would          The Oklahoma report similarly concludes that “[d]eath
be simple and painless. These reports summarized the          sentences carried out by nitrogen inhalation would be
scientific literature as indicating that there is “no         simple to administer.” Id., at 746; see also id., at 696.
reported physical discom[fort] associated with inhaling       The reports explain that nitrogen hypoxia would “not
pure nitrogen,” App. 742, that the “onset of hypoxia          require the use of a complex medical procedure or
is typically so subtle that it is unnoticeable to the         pharmaceutical products,” id., at 747, would “not require
subject,” id., at 745, and that nitrogen hypoxia would take   the assistance of licensed medical professionals,” id.,
an estimated “seventeen-to-twenty seconds” to render a        736, and would require only materials that are “readily
subject unconscious, id., at 746–747. The Oklahoma study      available for purchase,” id., at 739. Further, “[b]ecause
concluded that nitrogen hypoxia is “the most humane           the protocol involved in nitrogen induced hypoxia is so
method” of execution available. Id., at 736. And the          simple, mistakes are unlikely to occur.” Id., at 748. And
Louisiana study stated that the “[u]se of nitrogen as a       both studies recommend the development of protocols for
method of execution can assure a quick and painless death     actual implementation. See id., at 697 (Oklahoma report
of the offender.” Id., at 746.                                recommending development of “a nitrogen hypoxia
                                                              protocol”); id., at 736 (Louisiana report noting that
How then can the majority conclude that Bucklew has           although “the exact protocol” has not been finalized,
failed to identify an alternative method of execution?        the report recommends “that hypoxia induced by the
The majority finds Bucklew's evidence inadequate in part      inhalation of nitrogen be considered for adoption”); see
because, in the majority's view, it does not show that        also Murphy, Oklahoma Says It Plans To Use Nitrogen
nitrogen hypoxia will “significantly reduce” Bucklew's        for Executions, USA Today, Mar. 15, 2018 (quoting the
risk of pain as compared with lethal injection. Ante,         Oklahoma attorney general's statement that nitrogen “will
at 1130 – 1131. But the majority does not dispute             be effective, simple to administer, easy to obtain and
the evidence suggesting that nitrogen hypoxia would be



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requires no complex medical procedures”); but cf. ante, at     (concurring opinion) (quoting Baze, 553 U.S. at 94, 128
1129.                                                          S.Ct. 1520 (THOMAS, J., concurring in judgment)). But
                                                               that is not the proper standard.
Presented with evidence such as Bucklew's, I believe a
State should take at least minimal steps to determine the       *1144 For one thing, Justice THOMAS' view would
feasibility of the proposed alternative. The responsible       make the constitutionality of a particular execution turn
state official in this case, however, acknowledged that he     on the intent of the person inflicting it. But it is not correct
“did not conduct research concerning the feasibility of        that concededly torturous methods of execution such as
lethal gas as a method of execution in Missouri.” Id.,         burning alive are impermissible when imposed to inflict
at 713; see also Record in No. 14–800 (WD Mo.), Doc.           pain but not when imposed for a subjectively different
182–6, p. 16 (different official acknowledging that, “to be    purpose. To the prisoner who faces the prospect of a
candid, no, I did not go out and try to find answers to        torturous execution, the intent of the person inflicting the
those questions”).                                             punishment makes no difference.

The majority sensibly recognizes that an inmate seeking        For another thing, we have repeatedly held that the Eighth
to identify an alternative method of execution “is not         Amendment is not a static prohibition that proscribes the
limited to choosing among those presently authorized by        same things that it proscribed in the 18th century. Rather,
a particular State's law.” Ante, at 1128. But the majority     it forbids punishments that would be considered cruel and
faults Bucklew for failing to provide guidance about           unusual today. The Amendment prohibits “unnecessary
the administration of nitrogen hypoxia down to the last        suffering” in the infliction of punishment, which this
detail. The majority believes that Bucklew failed to present   Court has understood to prohibit punishments that are
evidence “on essential questions” such as whether the          “grossly disproportionate to the severity of the crime” as
nitrogen should be administered “using a gas chamber,          well as punishments that do not serve any “penological
a tent, a hood, [or] a mask”; or “in what concentration        purpose.” Estelle v. Gamble, 429 U.S. 97, 103, and n. 7,
(pure nitrogen or some mixture of gases)” it should be         97 S.Ct. 285, 50 L.Ed.2d 251 (1976). The Constitution
administered; or even how the State might “protec[t the        prohibits gruesome punishments even though they may
execution team] against the risk of gas leaks.” Ante, at       have been common at the time of the founding. Few would
1129.                                                          dispute, for example, the unconstitutionality of “a new
                                                               law providing public lashing, or branding of the right
Perhaps Bucklew did not provide these details. But Glossip     hand, as punishment ... [e]ven if it could be demonstrated
did not refer to any of these requirements; today's majority   unequivocally that these were not cruel and unusual
invents them. And to insist upon them is to create what, in    measures in 1791.” Scalia, Originalism: The Lesser Evil,
a case like this one, would amount to an insurmountable        57 U. Cin. L. Rev. 849, 861 (1989). The question is not,
hurdle for prisoners like Bucklew. That hurdle, I fear,        as Justice THOMAS maintains, whether a punishment is
could permit States to execute even those who will endure      deliberately inflicted to cause unnecessary pain, but rather
the most serious pain and suffering, irrespective of how       whether we would today consider the punishment to cause
exceptional their case and irrespective of how thoroughly      excessive suffering.
they prove it. I cannot reconcile the majority's decision
with a constitutional Amendment that forbids all “cruel
and unusual punishments.” Amdt. 8.
                                                                                             III

                                                                **23 Implicitly at the beginning of its opinion and
                             C                                 explicitly at the end, the majority invokes the long delays
                                                               that now typically occur between the time an offender
Justice THOMAS concurs in the majority's imposition            is sentenced to death and his execution. Bucklew was
of an “alternative method” requirement, but would also         arrested for the crime that led to his death sentence
permit Bucklew's execution on the theory that a method         more than 20 years ago. And Bucklew's case is not
of execution violates the Eighth Amendment “ ‘only if it       an anomaly. The average time between sentencing and
is deliberately designed to inflict pain.’ ” Ante, at 1135     execution approaches 18 years and in some instances rises



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to more than 40 years. See Glossip, 576 U.S., at ––––,           as “profoundly wrong”). And therein lies the problem. It
135 S.Ct., at 2764 (BREYER, J., dissenting); Reynolds v.         might be possible to end delays by limiting constitutional
Florida, 586 U.S. ––––, ––––, 139 S.Ct. 27, 28, 202 L.Ed.2d      protections for prisoners on death row. But to do so would
389 (2018) (BREYER, J., statement respecting denial of           require us to pay too high a constitutional price.
certiorari).
                                                                 Today's majority appears to believe that because “[t]he
I agree with the majority that these delays are excessive.       Constitution allows capital punishment,” ante, at 1122,
Undue delays in death penalty cases frustrate the                the Constitution must allow capital punishment to occur
interests of the State and of surviving victims, who have        quickly. In reaching that conclusion the majority echoes
“an important interest” in seeing justice done quickly.          an argument expressed by the Court in Glossip, namely,
Hill, 547 U.S. at 584, 126 S.Ct. 2096. Delays also               that “because it is settled that capital punishment is
exacerbate the suffering that accompanies an execution           constitutional, it necessarily follows that there must be a
itself. Glossip, 576 U.S., at –––– – ––––, 135 S.Ct., at 2764–   constitutional means of carrying it out.” 576 U.S., at ––––,
2767 (BREYER, J., dissenting). Delays can “aggravate             135 S.Ct., at 2732–2733 (emphasis added; alterations and
the cruelty of capital punishment” by subjecting the             internal quotation marks omitted).
offender to years in solitary confinement, and delays
also “undermine [capital punishment's] jurisprudential            **24 These conclusions do not follow. It may be that
rationale” by reducing its deterrent effect and retributive      there is no way to execute a prisoner quickly while
value. Id., at ––––, ––––, 135 S.Ct., at 2769, 2772.             affording him the protections that our Constitution
                                                                 guarantees to those who have been singled out for our
The majority responds to these delays by curtailing              law's most severe sanction. And it may be that, as our
the constitutional guarantees afforded to prisoners like         Nation comes to place ever greater importance upon
Bucklew who have been sentenced to death. By adopting            ensuring that we accurately identify, through procedurally
elaborate new rules regarding the need to show an                fair methods, those who may lawfully be put to death,
alternative method of execution, the majority places             there simply is no constitutional way to implement the
unwarranted obstacles in the path of prisoners who               death penalty.
assert that an execution would subject them to cruel and
unusual punishment. These obstacles in turn give rise            I have elsewhere written about these problems. See id.,
to an unacceptable risk that Bucklew, or others in yet           at –––– – ––––, 135 S.Ct., at 2770–2773 (BREYER, J.,
more difficult *1145 circumstances, may be executed in           dissenting). And I simply conclude here that the law
violation of the Eighth Amendment. Given the rarity with         entitles Bucklew to an opportunity to prove his claim at
which cases like this one will arise, an unfortunate irony       trial. I note, however, that this case adds to the mounting
of today's decision is that the majority's new rules are not     evidence that we can either have a death penalty that
even likely to improve the problems of delay at which they       avoids excessive delays and “arguably serves legitimate
are directed.                                                    penological purposes,” or we can have a death penalty
                                                                 that “seeks reliability and fairness in the death penalty's
In support of the need to end delays in capital cases, the       application” and avoids the infliction of cruel and unusual
majority refers to Dunn v. Ray, 586 U.S. ––––, 139 S.Ct.         punishments. Id., at ––––, 135 S.Ct., at 2772. It may well
661, ––– L.Ed.2d –––– (2019). In that case, the Court            be that we “cannot have both.” Ibid.
vacated a stay of execution on the ground that the prisoner
brought his claim too late. The prisoner in that case,                                      ***
however, brought his claim only five days after he was
notified of the policy he sought to challenge. See id., at       I respectfully dissent.
––––, 139 S.Ct., at 662 (KAGAN, J., dissenting). And in
the view of some of us, the prisoner's claim—that prisoners
of some faiths were entitled to have a minister present
                                                                 Justice SOTOMAYOR, dissenting.
at their executions while prisoners of other faiths were
                                                                 As I have maintained ever since the Court started down
not—raised a serious constitutional question. See id., at
                                                                 this wayward path in Glossip v. Gross, 576 U.S. ––––,
––––, 139 S.Ct., at 661 (characterizing the Court's decision
                                                                 135 S.Ct. 2726, 192 L.Ed.2d 761 (2015), there is no


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sound basis in the Constitution for requiring condemned         an especially jaundiced eye. See ante, at 1134. Were those
inmates to identify an available means for their own            comments to be mistaken for a new governing standard,
executions. Justice BREYER ably explains why today's            they would effect a radical reinvention of established law
extension of Glossip's alternative-method requirement is        and the judicial role.
misguided (even on that precedent's own terms), and why
(with or without that requirement) a trial is needed to          **25 Courts' equitable discretion in handling stay
determine whether Missouri's *1146 planned means of             requests is governed by well-established principles. See
executing Russell Bucklew creates an intolerable risk of        Nken v. Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173
suffering in light of his rare medical condition. I join        L.Ed.2d 550 (2009). Courts examine the stay applicant's
Justice BREYER's dissent, except for Part III. I write          likelihood of success on the merits, whether the applicant
separately to address the troubling dicta with which the        will suffer irreparable injury without a stay, whether other
Court concludes its opinion.                                    parties will suffer substantial injury from a stay, and
                                                                public interest considerations. Ibid.

                                                                It is equally well established that “[d]eath is a punishment
                              I
                                                                different from all other sanctions in kind rather than
Given the majority's ominous words about late-arising           degree.” Woodson v. North Carolina, 428 U.S. 280, 303–
death penalty litigation, ante, at 1133 – 1134, one might       304, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976). For that
assume there is some legal question before us concerning        reason, the equities in a death penalty case will almost
delay. Make no mistake: There is not. The majority's            always favor the prisoner so long as he or she can
commentary on once and future stay applications is not          show a reasonable probability of success on the merits.
only inessential but also wholly irrelevant to its resolution   See Nken, 556 U.S. at 434, 129 S.Ct. 1749 (noting that
of any issue before us.                                         success on the merits and irreparable injury “are the
                                                                most critical” factors); cf. Glossip, 576 U.S., at ––––,
The majority seems to imply that this litigation has            135 S.Ct., at 2737 (observing, in a preliminary-injunction
been no more than manipulation of the judicial process          posture, that “[t]he parties agree that this case turns on
for the purpose of delaying Bucklew's execution. Ante,          whether petitioners are able to establish a likelihood of
at 1133 – 1134. When Bucklew commenced this case,               success on the merits” and analyzing the case accordingly);
however, there was nothing “settled,” ibid., about whether      accord, id., at ––––, 135 S.Ct., at 2792 (SOTOMAYOR,
the interaction of Missouri's lethal-injection protocol and     J., dissenting). This accords with each court's “ ‘duty to
his rare medical condition would be tolerable under the         search for constitutional error with painstaking care’ ” in
Eighth Amendment. At that time, Glossip had not yet been        capital cases. Kyles v. Whitley, 514 U.S. 419, 422, 115 S.Ct.
decided, much less extended to any as-applied challenge         1555, 131 L.Ed.2d 490 (1995).
like Bucklew's. In granting prior stay requests in this
case, we acted as necessary to ensure sufficient time for        *1147 It is of course true that a court may deny relief
sober review of Bucklew's claims. The majority laments          when a party has “unnecessarily” delayed seeking it,
those decisions, but there is nothing unusual—and               Nelson v. Campbell, 541 U.S. 637, 649–650, 124 S.Ct.
certainly nothing untoward—about parties pressing, and          2117, 158 L.Ed.2d 924 (2004), and that courts should
courts giving full consideration to, potentially meritorious    not grant equitable relief on clearly “ ‘dilatory,’ ” “
constitutional claims, even when those claims do not            ‘speculative,’ ” or meritless grounds, ante, at 1134 (quoting
ultimately succeed.                                             Hill v. McDonough, 547 U.S. 573, 584–585, 126 S.Ct.
                                                                2096, 165 L.Ed.2d 44 (2006)); see also Gomez v. United
                                                                States Dist. Court for Northern Dist. of Cal., 503 U.S.
                                                                653, 654, 112 S.Ct. 1652, 118 L.Ed.2d 293 (1992) (per
                             II                                 curiam) (vacating a stay where an inmate's unjustified 10-
                                                                year delay in bringing a claim was an “obvious attempt at
I am especially troubled by the majority's statement that
                                                                manipulation”). That is hardly the same thing as treating
“[l]ast-minute stays should be the extreme exception,”
which could be read to intimate that late-occurring stay        late-arising claims as presumptively suspect. 1
requests from capital prisoners should be reviewed with


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                                                                     of execution before later being exonerated”). A delay,
The principles of federalism and finality that the majority
                                                                     moreover, may be entirely beyond a prisoner's control.
invokes are already amply served by other constraints
                                                                     Execution methods, for example, have been moving
on our review of state judgments—most notably the
                                                                     targets subject to considerable secrecy in recent years,
Antiterrorism and Effective Death Penalty Act of 1996,
                                                                     which means that constitutional concerns may surface
but also statutes of limitations and other standard
                                                                     only once a State settles on a procedure and communicates
filters for dilatory claims. We should not impose further
constraints on judicial discretion in this area based on             its choice to the prisoner. 2 In other contexts, too, fortuity
little more than our own policy impulses. Finality and               or the imminence of an execution may *1148 shake
federalism need no extra thumb on the scale from this                loose constitutionally significant information when time is
Court, least of all with a human life at stake.                      short. 3

 **26 The only sound approach is for courts to continue              There are higher values than ensuring that executions run
to afford each request for equitable relief a careful hearing        on time. If a death sentence or the manner in which it is
on its own merits. That responsibility is never graver than          carried out violates the Constitution, that stain can never
when the litigation concerns an impending execution. See,            come out. Our jurisprudence must remain one of vigilance
e.g., Kyles, 514 U.S. at 422, 115 S.Ct. 1555; Woodson,               and care, not one of dismissiveness.
428 U.S. at 303–304, 96 S.Ct. 2978. Meritorious claims
can and do come to light even at the eleventh hour,
and the cost of cursory review in such cases would be                All Citations
unacceptably high. See Glossip, 576 U.S., at –––– – ––––,
                                                                     139 S.Ct. 1112, 2019 WL 1428884, 19 Cal. Daily Op. Serv.
135 S.Ct., at 2766 (BREYER, J., dissenting) (collecting
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examples of inmates who came “within hours or days


Footnotes
*      The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions for the
       convenience of the reader. See United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337, 26 S.Ct. 282, 50
       L.Ed. 499.
1      While this case has been pending, a few States have authorized nitrogen hypoxia as a method of execution. See 2018
       Ala. Acts no. 2018–353 (allowing condemned inmates to elect execution by nitrogen hypoxia); 2017 Miss. Laws ch.
       406, p. 905 (authorizing execution by nitrogen hypoxia only if lethal injection is held unconstitutional or is otherwise
       unavailable); 2015 Okla. Sess. Laws ch. 75, p. 244 (same). In March 2018, officials in Oklahoma announced that, due to
       the unavailability of lethal injection drugs, the State would use nitrogen gas for its executions going forward. See Williams,
       Oklahoma Proposes To Use Nitrogen Gas for Executions by Asphyxiation, N. Y. Times, Mar. 15, 2018, p. A22. But
       Oklahoma has so far been unable to find a manufacturer willing to sell it a gas delivery device for use in executions. See
       Clay, State Not Ready for Executions, The Oklahoman, Jan. 27, 2019, p. A1. To date, no one in this case has pointed
       us to an execution in this country using nitrogen gas.
2      While the district court allowed discovery on many other matters, Mr. Bucklew protests that it did not permit him to learn
       the identities of the lethal injection execution team members, to depose them, or to inquire into their qualifications, training,
       and experience. Like the Eighth Circuit, we see no abuse of discretion in the district court's discovery rulings. As the
       district court explained, Mr. Bucklew argues that there is no way he may be constitutionally executed by lethal injection,
       even with modifications to the State's lethal injection protocol. And in a case like that, discovery into such granular matters
       as who administers the protocol simply is not relevant.
3      Here's the full quotation, with the portion quoted by the dissent underlined:
       “As a result of his inability to maintain the integrity of his airway for the period of time beginning with the injection of
       the Pentobarbital solution and ending with Mr. Bucklew's death several minutes to as long as many minutes later, Mr.
       Bucklew would be highly likely to experience feelings of ‘air hunger’ and the excruciating pain of prolonged suffocation
       resulting from the complete obstruction of his airway by the large vascular tumor.” App. 222.
4      The State contends that Mr. Bucklew's claim should fail for yet another reason: because, in the State's view, the evidence
       does not show that he is very likely to suffer “ ‘severe pain’ ” cognizable under the Eighth Amendment. Glossip v. Gross,
       576 U.S. ––––, ––––, 135 S.Ct. 2726, 2737–2738, 192 L.Ed.2d 761 (2015) (quoting Baze v. Rees, 553 U.S. 35, 52, 128



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       S.Ct. 1520, 170 L.Ed.2d 420 (2008); emphasis added). We have no need, however, to address that argument because
       (as explained above) Mr. Bucklew fails even to show that a feasible and readily available alternative could significantly
       reduce the pain he alleges.
5      Seeking to relitigate Dunn v. Ray, the principal dissent asserts that that case involved no undue delay because the inmate
       “brought his claim only five days after he was notified” that the State would not allow his spiritual adviser to be present with
       him in the execution chamber itself, although it would allow the adviser to be present on the other side of a glass partition.
       Post, at 1144 – 1145. But a state statute listed “[t]he spiritual adviser of the condemned” as one of numerous individuals
       who would be allowed to “be present at an execution,” many of whom—such as “newspaper reporters,” “relatives or
       friends of the condemned person,” and “the victim's immediate family members”—obviously would not be allowed into
       the chamber itself. Ala. Code § 15–18–83 (2018). The inmate thus had long been on notice that there was a question
       whether his adviser would be allowed into the chamber or required to remain on the other side of the glass. Yet although
       he had been on death row since 1999, and the State had set a date for his execution on November 6, 2018, he waited
       until January 23, 2019—just 15 days before the execution—to ask for clarification. He then brought a claim 10 days
       before the execution and sought an indefinite stay. This delay implicated the “strong equitable presumption” that no stay
       should be granted “where a claim could have been brought at such a time as to allow consideration of the merits without
       requiring entry of a stay.” Hill v. McDonough, 547 U.S. 573, 584, 126 S.Ct. 2096, 165 L.Ed.2d 44 (2006).
1      A skewed view of the facts caused the majority to misapply these principles and misuse its “equitable powers,” see ante,
       at 1134, and n. 5, in vacating the Court of Appeals' unanimous stay in Dunn v. Ray, 586 U.S. ––––, 139 S.Ct. 661, –––
       L.Ed.2d –––– (2019). Even today's belated explanation from the majority rests on the mistaken premise that Domineque
       Ray could have figured out sooner that Alabama planned to deny his imam access to the execution chamber. But see
       id., at ––––, 139 S.Ct., at 662 (KAGAN, J., dissenting) (noting that the governing statute authorized both the inmate's
       imam and the prison's Christian chaplain to attend the execution, and that “the prison refused to give Ray a copy of its
       own practices and procedures” that would have clarified the two clergymen's degrees of access); Ray v. Commissioner,
       Ala. Dept. of Corrections, 915 F.3d 689, 701–703 (CA11 2019).
2      See Zagorski v. Parker, 586 U.S. ––––, –––– – ––––, 139 S.Ct. 11, 202 L.Ed.2d 258 (2018) (SOTOMAYOR, J.,
       dissenting from denial of application for stay and denial of certiorari) (describing Tennessee's recent equivocation about
       the availability of its preferred lethal injection protocol); Glossip, 576 U.S., at ––––, 135 S.Ct., at 2796 (SOTOMAYOR,
       J., dissenting) (noting States' “scramble” to formulate “new and untested” execution methods); Sepulvado v. Jindal, 739
       F.3d 716, 717–718 (CA5 2013) (Dennis, J., dissenting from denial of rehearing en banc) (describing Louisiana's refusal
       to inform a prisoner of the drugs that would be used to execute him); Denno, Lethal Injection Chaos Post-Baze, 102 Geo.
       L.J. 1331, 1376–1380 (2014) (describing increased secrecy around execution procedures).
3      See Connick v. Thompson, 563 U.S. 51, 55–56, and n. 1, 131 S.Ct. 1350, 179 L.Ed.2d 417 (2011) (intentionally
       suppressed exculpatory crime lab report discovered a month before a scheduled execution); Ex parte Braziel, No. WR–
       72,186–01 (Tex. Crim. App., Dec. 11, 2018), pp. 1–2 (Alcala, J., dissenting) (disclosure by the State of “new information
       about possible prosecutorial misconduct” the same day as an execution).


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                                                              petition for certiorari to consider what suffices for a
                                                              prisoner to prove “a known and available alternative
                    139 S.Ct. 11
                                                              method of execution.” See Glossip, 576 U.S., at ––––, 135
          Supreme Court of the United States
                                                              S.Ct., at 2737–2738. 1
                Edmund ZAGORSKI
                         v.                                   For several years, Tennessee has provided for the
       Tony PARKER, Commissioner, Tennessee                   execution of capital prisoners via a single drug called
           Department of Corrections, et al.                  pentobarbital. See Abdur'Rahman v. Parker, No. M2018–
                                                              01385–SC–RDO–CV, ––– S.W.3d ––––, –––– – ––––,
                  No. 18–6238 (18A376).                       2018 WL 4858002 (Sup. Ct. Tenn., Oct. 8, 2018), pp. 3–
                              |                               4. Pentobarbital, a barbiturate, does not carry the risks
                       Oct. 11, 2018.                         described above; unlike midazolam (a benzodiazepine),
                                                              pentobarbital is widely conceded to be able to render a
Opinion                                                       person fully *12 insensate. See, e.g., Glossip, 576 U.S., at
The application for stay of execution of sentence of death    ––––, 135 S.Ct., at 2733.
presented to Justice KAGAN and by her referred to the
Court is denied. The petition for a writ of certiorari is     In January 2018, Tennessee Department of Corrections
denied.                                                       (TDOC) adopted an alternative to pentobarbital: Protocol
                                                              B, a three-drug sequence beginning with midazolam
                                                              (the drug whose sedative properties are dubious), to
Justice SOTOMAYOR, with whom Justice BREYER                   be followed by vecuronium bromide (to paralyze the
joins, dissenting from denial of application for stay and     prisoner) and then potassium chloride (to stop the
denial of certiorari.                                         prisoner's heart). 2 No. M2018–01385–SC–RDO–CV, at
Once again, a State hastens to kill a prisoner despite        4, ––– S.W.3d at ––––. The pentobarbital option—
mounting evidence that the sedative to be used,               Protocol A—remained, meanwhile, in effect. Ibid. In
midazolam, will not prevent the prisoner from feeling         February 2018, the State set execution dates for several
as if he is “drowning, suffocating, and being burned          prisoners, including Zagorski, and Zagorski and others
alive from the inside out” during a process that could        soon thereafter filed suit challenging Protocol B and
last as long as 18 minutes. Irick v. Tennessee, 585 U.S.      pointing to Protocol A, pentobarbital, as the available,
––––, ––––, 139 S.Ct. 1, ––––, ––– L.Ed.2d ––––, 2018         significantly less risky alternative. See id., at 4–5, –––
WL 3767151 (2018) (SOTOMAYOR, J., dissenting from             S.W.3d, at –––– – ––––. The State, however, was
denial of application for stay); see also Arthur v. Dunn,     noncommittal about pentobarbital's availability. At a
580 U.S. ––––, ––––, 137 S.Ct. 725, 725, 197 L.Ed.2d          pretrial hearing in April 2018, as Justice Lee explained in
225 (2017) (SOTOMAYOR, J., dissenting from denial of          dissent below, the trial court “zeroed in on the problem
certiorari). And once again the State claims the right to     and repeatedly questioned counsel about the availability
do so under the Eighth Amendment not because a court          of pentobarbital,” emphasizing that an answer to this
has concluded that these risks are overblown, but rather      question was “ ‘essential.’ ” Id., at 4, ––– S.W.3d, at
because of the “perverse requirement that inmates offer       ––––. “The State's response to the trial court's direct
alternative methods for their own executions.” McGehee v.     question—‘will [Protocol A] be available for the August
Hutchinson, 581 U.S. ––––, ––––, 137 S.Ct. 1275, 1276, 197    9th execution?’—was ‘I can't answer that question, Your
L.Ed.2d 746 (2017) (SOTOMAYOR, J., dissenting from            Honor.’ ” Id., at 5, ––– S.W.3d, at ––––.
denial of application for stay and denial of certiorari);
see also Glossip v. Gross, 576 U.S. ––––, –––– – ––––,        Then, “[j]ust a few hours before the parties filed their trial
135 S.Ct. 2726, 2737–2739, 192 L.Ed.2d 761 (2015). This       briefs on July 5, 2018, [TDOC] adopted a revised execution
requirement was legally and morally wrong when it was         protocol that abandoned [pentobarbital], leaving only
promulgated, and it has been proved even crueler in light     Protocol B”—the midazolam option. Id., at 4, ––– S.W.3d,
of the obstacles that have prevented capital prisoners from   at ––––. Trial commenced a few days later. Working on
satisfying this precondition. I would therefore grant a       a highly expedited timeline, the trial court ruled against
stay of execution and grant petitioner Edmund Zagorski's      the prisoners later that month, concluding that they had


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failed to prove the availability of pentobarbital—the very      and the Tennessee Supreme Court based its affirmance in
                                                                significant part on these “credibility determinations,” see
method that TDOC had retained as Protocol A until just
                                                                No. M2018–01385–SC–RDO–CV, at 21–22, ––– S.W.3d,
before trial started. 3 See Abdur'Rahman v. Parker, No.
                                                                at –––– – ––––. But these senior officials were not
18–183–II(III) (Ch. Ct. Davidson Cty., Tenn., July 26,
                                                                the individuals who actually undertook the search for
2018), pp. 2, 34. The Tennessee Supreme Court affirmed
                                                                pentobarbital, see id., at 12, ––– S.W.3d, at ––––; the actual
on that ground, while declining to “address the Plaintiffs'
                                                                procurers, by contrast, were unavailable to the prisoners
claim that the three-drug protocol creates a demonstrated
                                                                because of the State's secrecy laws. When the prisoners
risk of severe pain.” No. M2018–01385–SC–RDO–CV, at
                                                                tasked with asking the State to kill them another way are
22, ––– S.W.3d, at ––––.
                                                                denied by the State information crucial to establishing the
                                                                availability of that other means of killing, a grotesque
The circumstances surrounding Zagorski and his fellow
                                                                requirement has become Kafkaesque as well.
prisoners' attempts to *13 prove that pentobarbital
was “available” demonstrate how unfairly this already
                                                                Such barriers are not the only ways in which prisoners
perverse requirement is being applied. For one, the
                                                                proposing a more humane means of execution may be
prisoners' ability to prove the drug's availability was
                                                                thwarted. In other instances, courts have rejected claims
severely constrained by rules of secrecy surrounding
                                                                by petitioners proposing means of execution that are
individuals involved in the execution process. See id.,
                                                                unavailable under state law. See, e.g., Arthur, 580 U.S.,
at 3, ––– S.W.3d, at –––– (Lee, J., dissenting); see also
                                                                at ––––, 137 S.Ct., at 725 (SOTOMAYOR, J., dissenting
Tenn. Code Ann. § 10–7–504(h) (2018). The prisoners
                                                                from denial of certiorari). Such rejections are likewise
were unable to depose individuals with direct knowledge
                                                                troubling, because they suggest that “all a State has to do
of the State's efforts to obtain pentobarbital. Nor were
                                                                to execute [a person] through an unconstitutional method
the prisoners allowed to learn which potential sellers the
                                                                is to pass a statute declining to authorize any alternative
State ostensibly approached to try to obtain pentobarbital.
                                                                method,” id., at 729, and they likewise show the need for
Short of cold-calling every pharmacy in the country and
                                                                us to address in more detail what Glossip actually requires.
asking for pentobarbital, it is anyone's guess how the
                                                                In any event, the prisoners here sought only the State's
prisoners were supposed to challenge meaningfully the
                                                                own Protocol A, which the State itself had held out as
State's claim that it could not obtain the drug. Yet they
                                                                a seemingly available method before eliminating it “on
were faulted below for failing to offer “direct proof.” No.
                                                                the eve of trial.” No. M2018–01385–SC–RDO–CV, at 5,
M2018–01385–SC–RDO–CV, at 21, ––– S.W.3d, at ––––.
                                                                ––– S.W.3d, at –––– (Lee, J., dissenting). That is hardly
                                                                an extravagant request, particularly when the State's own
Moreover, it is not as if pentobarbital has vanished from
                                                                evidence discloses that there had been opportunities to
the Earth, for purposes of execution or otherwise. As
                                                                 *14 purchase pentobarbital both in smaller quantities and
Justice Lee noted in dissent, Texas and Georgia have each
                                                                in bulk.
used it multiple times in executions this year alone. See No.
M2018–01385–SC–RDO–CV, at 5, ––– S.W.3d, at ––––.
                                                                I accordingly would grant Zagorski's request for a stay
Missouri also appears to be prepared to use it in upcoming
                                                                and grant certiorari to address what renders a method
executions. See, e.g., Brief for Respondent in Bucklew v.
                                                                of execution “available” under Glossip. Capital prisoners
Precythe, O.T. 2018, No. 17–8151, p. 1. Moreover, what
                                                                are not entitled to pleasant deaths under the Eighth
discovery the prisoners did obtain below indicates that
                                                                Amendment, but they are entitled to humane deaths.
roughly 10 of the 100 suppliers that TDOC reached out
                                                                The longer we stand silent amid growing evidence of
to in 2017 did have pentobarbital for sale—just not the
                                                                inhumanity in execution methods like Tennessee's, the
number of doses that the State had requested. No. 18–183–
                                                                longer we extend our own complicity in state-sponsored
II(III), at 13. And at least one supplier around this time
                                                                brutality. I dissent.
evidently quoted a price and discussed a “bulk $ option.”
App. to Pet. for Cert. 197a.
                                                                All Citations
The trial court found credible the senior TDOC officials
who testified to having delegated a search for pentobarbital    139 S.Ct. 11 (Mem), 202 L.Ed.2d 258
to their subordinates, see No. 18–183–II(III), at 11–12,


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Footnotes
1      The State's refusal to allow Zagorski's attorneys to access a telephone during Zagorski's scheduled execution is also
       troubling. For reasons expressed before, I would grant review of this question as well. See Arthur v. Dunn, 581 U.S. ––––,
       –––– – ––––, 137 S.Ct. 725, 725–726, 197 L.Ed.2d 225 (2017) (SOTOMAYOR, J., dissenting from denial of application
       for stay and denial of certiorari).
2      “The first drug [midazolam] is critical; without it, the prisoner faces the unadulterated agony of the second and third drugs.”
       Arthur v. Dunn, 580 U.S. ––––, ––––, 137 S.Ct. 725, 726, 197 L.Ed.2d 225 (2017) (SOTOMAYOR, J., dissenting from
       denial of certiorari). This Court in Glossip concluded that a district court did not clearly err in finding that midazolam could
       render a prisoner sufficiently insensate to the excruciating effects of the second and third drugs. See 576 U.S., at ––––,
       135 S.Ct., at 2740–2741. Any confidence in that conclusion has since eroded in the face of growing contrary medical
       evidence and worrisome results from executions themselves. See, e.g., Abdur'Rahman v. Parker, No. 18–183–II(III)
       (Ch. Ct. Davidson Cty., Tenn., July 26, 2018), pp. 21–22, 27–28. Because the opinions below do not defend the use of
       midazolam on the merits, midazolam's inadequacy is not the focus here.
3      The trial court also concluded that the prisoners' experts “established that midazolam does not elicit strong analgesic
       effects and the inmate being executed may be able to feel pain from the administration of the second and third drugs.”
       Abdur'Rahman v. Parker, No. 18-183-II(III), at 21. But it nevertheless concluded, without expressing any countervailing
       confidence in midazolam's anesthetic properties, that this Court “would not find the facts established in this case to violate
       the Constitution.” Id., at 22; see also Irick v. Tennessee, 585 U.S. ––––, –––– – ––––, 139 S.Ct. 1, –––– – ––––, –––
       L.Ed.2d ––––, 2018 WL 3767151 (2018) (SOTOMAYOR, J., dissenting from denial of certiorari).


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                    137 S.Ct. 725                                                              I
           Supreme Court of the United States

                 Thomas D. ARTHUR                                                              A
                          v.
                                                                  Execution by lethal injection is generally accomplished
          Jefferson S. DUNN, Commissioner,                        through serial administration of three drugs. First, a
       Alabama Department of Corrections, et al.                  fast-acting sedative such as sodium thiopental induces
                                                                  “a deep, comalike unconsciousness.” Baze v. Rees, 553
                        No. 16–602.
                                                                  U.S. 35, 44, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008)
                              |
                                                                  (plurality opinion). Second, a paralytic agent—most often
                        Feb. 21, 2017.
                                                                  pancuronium bromide—“inhibits all muscular-skeletal
Opinion                                                           movements and, by paralyzing the diaphragm, stops
The motion of Certain Medical Professionals and Medical           respiration.” Ibid. Third, potassium chloride induces fatal
Ethicists for leave to file a brief as amici curiae is granted.   cardiac arrest. Ibid.
The petition for a writ of certiorari is denied.
                                                                  The first drug is critical; without it, the prisoner faces
                                                                  the unadulterated agony of the second and third drugs.
                                                                  The second drug causes “an extremely painful sensation of
Justice SOTOMAYOR, with whom Justice BREYER                       crushing and suffocation,” see Denno, When Legislatures
joins, dissenting from the denial of certiorari.                  Delegate Death: The Troubling Paradox Behind State
Nearly two years ago in Glossip v. Gross, 576 U.S. ––––,          Uses of Electrocution and Lethal Injection and What It
135 S.Ct. 2726, 192 L.Ed.2d 761 (2015), the Court issued a        Says About Us, 63 Ohio St. L.J. 63, 109, n. 321 (2002); but
macabre challenge. In order to successfully attack a State's      paralyzes the prisoner so as to “mas[k] any outward sign
method of execution as cruel and unusual under the Eighth         of distress,” thus serving States' interest “ ‘in preserving
Amendment, a condemned prisoner must not only prove               the dignity of the procedure,’ ” Baze, 553 U.S., at 71, 73,
that the State's chosen method risks severe pain, but must        128 S.Ct. 1520 (Stevens, J., concurring in judgment). And
also propose a “known and available” alternative method           the third drug causes an “excruciating burning sensation”
for his own execution. Id., at ––––, ––––, 135 S.Ct., at 2737,    that is “equivalent to the sensation of a hot poker being
2739.                                                             inserted into the arm” and traveling “with the chemical up
                                                                  the prisoner's arm and ... across his chest until it reaches
Petitioner Thomas Arthur, a prisoner on Alabama's death           his heart.” Denno, supra, at 109, n. 321.
row, has met this challenge. He has amassed significant
evidence that Alabama's current lethal-injection protocol          *726 Execution absent an adequate sedative thus
will result in intolerable and needless agony, and he             produces a nightmarish death: The condemned prisoner
has proposed an alternative—death by firing squad. The            is conscious but entirely paralyzed, unable to move or
Court of Appeals, without considering any of the evidence         scream his agony, as he suffers “what may well be the
regarding the risk posed by the current protocol, denied          chemical equivalent of being burned at the stake.” Glossip,
Arthur's claim because Alabama law does not expressly             576 U.S., at ––––, 135 S.Ct., at 2781 (SOTOMAYOR, J.,
permit execution by firing squad, and so it cannot be a           dissenting).
“known and available” alternative under Glossip. Because
this decision permits States to immunize their methods of
execution—no matter how cruel or how unusual—from
judicial review and thus permits state law to subvert the                                      B
Federal Constitution, I would grant certiorari and reverse.
                                                                  For many years, the barbiturate sodium thiopental
I dissent from my colleagues' decision not to do so.
                                                                  seemed up to this task. 1 In 2009, however, the sole
                                                                  American manufacturer of sodium thiopental suspended
                                                                  domestic production and later left the market altogether.



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Id., at –––– – ––––, 135 S.Ct., at 2732–2733 (majority          unconscious and insensate to pain during lethal injection,
opinion). States then began to use another barbiturate,         Oklahoma's intended use of the drug in their executions
pentobarbital. Id., at ––––, 135 S.Ct., at 2733. But in 2013,   would violate the Eighth Amendment. The Court rejected
it also became unavailable. Id., at –––– – ––––, 135 S.Ct.,     this claim for two reasons.
at 2733–2734. Only then did States turn to midazolam, the
drug at the center of this case.                                First, the Court found that the District Court had not
                                                                clearly erred in determining that “midazolam is highly
Midazolam, like Valium and Xanax, belongs to a class            likely to render a person unable to feel pain during an
of medicines known as benzodiazepines and has some              execution.” Id., at ––––, 135 S.Ct., at 2739. Second, the
anesthetic effect. Id., at ––––, 135 S.Ct., at 2782–2783        Court held that the petitioners had failed to satisfy the
(SOTOMAYOR, J., dissenting). Generally, anesthetics             novel requirement of pleading and proving a “known and
can cause a level of sedation and depression of electrical      available alternative” method of execution. Id., at ––––,
brain activity sufficient to block all sensation, including     135 S.Ct., at 2739.
pain. App. to Pet. for Cert. 283a–290a. But it is not
clear that midazolam adequately serves this purpose.            Post-Glossip, in order to prevail in an Eighth Amendment
This is because midazolam, unlike barbiturates such as          challenge to a State's method of execution, prisoners
pentobarbital, has no analgesic—pain-relieving—effects.         first must prove the State's current method “entails a
Id., at 307a; see also Glossip, 576 U.S., at ––––, 135 S.Ct.,   substantial risk of severe pain,” id., at ––––, 135 S.Ct., at
at 2782–2783 (SOTOMAYOR, J., dissenting). Thus,                 2731, and second, must “identify a known and available
“for midazolam to maintain unconsciousness through              alternative method of execution that entails a lesser risk of
application of a particular stimulus, it would need to          pain,” id., at ––––, 135 S.Ct., at 2731.
depress electrical activity to a deeper level than would
be required of, for example, pentobarbital.” App. to Pet.
for Cert. 307a. 2 Although it can be used to render                                          II
individuals unconscious, midazolam is not used on its
own to maintain anesthesia—complete obliviousness to            This case centers on whether Thomas Arthur has met these
physical sensation—in surgical procedures, and indeed,          requirements with respect to Alabama's lethal-injection
the Food and Drug Administration has not approved the           protocol.
drug for this purpose. Glossip, 576 U.S., at ––––, 135 S.Ct.,
at 2782–2783 (SOTOMAYOR, J., dissenting).
                                                                                             A
Like the experts in Glossip, the experts in this case agree
that midazolam is subject to a ceiling effect, which means      Alabama adopted lethal injection as its default method
that *727 there is a point at which increasing the dose         of execution in 2002. Ala.Code § 15–18–82.1(a) (2011);
of the drug does not result in any greater effect. Ibid. The    see also Ex parte Borden, 60 So.3d 940, 941 (Ala.2007).
main dispute with respect to midazolam relates to how           The State's capital punishment statute delegates the task
this ceiling effect operates—if the ceiling on midazolam's      of prescribing the drugs necessary to compound a lethal
sedative effect is reached before complete unconsciousness      injection to the Department of Corrections. § 15–18–
can be achieved, it may be incapable of keeping individuals     82.1(f). Consistent with the practice in other States
insensate to the extreme pain and discomfort associated         following the national shortage of sodium thiopental and
with administration of the second and third drugs in            pentobarbital, the department has adopted a protocol
lethal-injection protocols. Ibid.                               involving the same three drugs considered in Glossip. See
                                                                Brooks v. Warden, 810 F.3d 812, 823 (C.A.11 2016).
After the horrific execution of Clayton Lockett, who,
notwithstanding administration of midazolam, awoke              Perhaps anticipating constitutional challenges, Alabama's
during his execution and appeared to be in great pain, we       legislature enacted a contingency plan: The statute
agreed to hear the case of death row inmates seeking to         provides that “[i]f electrocution or lethal injection is held
avoid the same fate. In Glossip, these inmates alleged that     to be unconstitutional ... all persons sentenced to death
because midazolam is incapable of rendering prisoners



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for a capital crime shall be executed by any constitutional    In a separate order, the District Court considered Arthur's
method of execution.” § 15–18–82.1(c).                         as-applied challenge. Arthur alleged, based on the expert
                                                               opinion of Dr. Jack Strader, that “his cardiovascular
                                                               issues, combined with his age and emotional makeup,
                                                               create a constitutionally unacceptable risk of pain that
                             B
                                                               will result in a violation of the Eighth Amendment if
Thomas Douglas Arthur killed his paramour's husband in         he is executed under the [midazolam] protocol.” Id., at
1982. 840 F.3d 1268, 1272–1273 (C.A.11 2016). Over the         151a. Echoing its rationale with respect to Arthur's facial
next decade, two juries found Arthur guilty of murder, and     challenge, the District Court found that Arthur failed
each time, Arthur's conviction was overturned on appeal.       to prove the existence of a feasible, readily available
Ibid. After a third trial in 1992, Arthur was convicted        alternative.
and sentenced to death. Ibid. Since then, Arthur has been
scheduled to die on six separate occasions, and each time,     The court then turned to the question it had avoided in
his execution was stayed. Id., at 1275, n. 2. After 34 years   the facial challenge: whether Alabama's lethal-injection
of legal challenges, Arthur has *728 accepted that he will     protocol created a risk of serious illness or needless
die for his crimes. He now challenges only how the State       suffering. But because the District Court considered
will be permitted to kill him.                                 the question as part of Arthur's as-applied challenge,
                                                               it focused on the protocol as applied to Arthur's
Arthur asserted two distinct claims in the District            personal physical condition. The court rejected Dr.
Court. First, Arthur asserted a facial challenge, arguing      Strader's opinion that the dose of midazolam required
that midazolam is generally incapable of performing            by Alabama's protocol “will likely induce a rapid and
as intended during Alabama's three-drug lethal-injection       dangerous reduction in blood pressure more quickly than
procedure. Second, Arthur asserted an as-applied               it results in sedation,” and that during this time gap,
challenge, arguing that because of his individual health       Arthur—whom he believed to suffer from heart disease—
attributes, midazolam creates a substantial risk of severe     would suffer a painful heart attack. Id., at 169a. Because
pain for him during the procedure.                             Dr. Strader's experience was limited to clinical doses of
                                                               midazolam, which typically range from 2 to 5 mg, the
The District Court considered these two claims separately.     court concluded that he had no basis to extrapolate his
With respect to the facial challenge, the District Court       experience to non-clinical, lethal doses, such as the 500–
ordered bifurcated proceedings, with the first hearing         mg bolus required by Alabama's lethal-injection protocol.
limited to the availability of a feasible alternative method   Id., at 177a.
of execution. App. to Pet. for Cert. 189a, and n. 2.
Arthur's initial complaint proposed a single dose either       The District Court expressly refused to consider the
of pentobarbital or sodium thiopental rather than a three-     expert opinions that Arthur proffered as part of his facial
drug protocol, but the District Court found that those         challenge, noting that they “are untested in court, due to
methods were unavailable given the elimination of both         Arthur's inability to provide a[n alternative] remedy in his
drugs from the domestic market. Id., at 203a–205a.             facial, and now as-applied, challenges.” Id., at 167a, n. 16.

Arthur then moved to amend his complaint to allege the         The District Court therefore concluded that Arthur failed
firing squad as an alternative method of execution. The        to meet the Glossip standard and entered judgment in
District Court denied the motion, holding that “execution      favor of the State. App. to Pet. for Cert. 238a.
by firing squad is not permitted by statute and, therefore,
is not a method of execution that could be considered
either feasible or readily implemented by Alabama at this                                *729 C
time.” Id., at 241a. Because Arthur's claim failed on this
ground, the court never considered Arthur's evidence with      The Eleventh Circuit affirmed. In a 111–page slip opinion
respect to midazolam, despite later observing that it was      issued the day before Arthur's scheduled execution, the
“impressive.” Id., at 166a.                                    court first found that “Arthur never showed Alabama's
                                                               current lethal injection protocol, per se or as applied to



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him, violates the Constitution.” 840 F.3d, at 1315. The      128 S.Ct. 1520 (plurality opinion). The Court did not
court based this finding on Arthur's failure to “satisfy     mention—or even imply—that a State must authorize
the first [Glossip ] prong as to midazolam” as part of       the alternative by statute. To the contrary, Baze held
his as-applied challenge, ibid., and the fact that this      that “[i]f a State refuses to adopt such an alternative in
Court “upheld the midazolam-based execution protocol”        the face of these documented advantages,” its “refusal
in Arthur, 840 F.3d, at 1315. Like the District Court,       to change its method can be viewed as ‘cruel and
the Eleventh Circuit never considered the evidence Arthur    unusual’ under the Eighth Amendment.” Ibid. (emphasis
introduced in support of his facial challenge to the         added). The decision below turns this language on its
protocol. Then, “[a]s an alternative and independent         head, holding that if the State refuses to adopt the
ground,” ibid., the Court of Appeals found that the firing   alternative legislatively, the inquiry ends. That is an
squad is not an available alternative because that method    alarming misreading of Baze.
is “beyond [the Department of Corrections'] statutory
authority,” id., at 1320. Finally, and as yet another        Even more troubling, by conditioning federal
independent ground for denying relief, the court held        constitutional rights on the operation of state statutes,
Arthur's motion regarding the firing squad barred by         the decision below contravenes basic constitutional
the doctrine of laches. Ibid., n. 35. According to the       principles. The Constitution is the “supreme law of the
Eleventh Circuit, the “known and available” alternative      land”—irrespective of contrary state laws. Art. VI, cl. 2.
requirement was made clear in Baze—not Glossip—and           And for more than two centuries it has been axiomatic that
because Arthur failed to amend his complaint in 2008         this Court—not state courts or legislatures—is the final
when Baze was decided, his claim was barred by laches.       arbiter of the Federal Constitution. See *730 Marbury
                                                             v. Madison, 1 Cranch 137, 177, 2 L.Ed. 60 (1803). Acting
On the day of his scheduled execution, Arthur filed a        within our exclusive “province and duty” to “say what the
petition for certiorari and an application to stay his       law is,” ibid., we have interpreted the Eighth Amendment
execution. The Court granted the stay, 580 U.S. ––––,        to entitle prisoners to relief when they succeed in proving
137 S.Ct. 14, 196 L.Ed.2d 326 (2016), but now denies         that a State's chosen method of execution poses a
certiorari.                                                  substantial risk of severe pain and that a constitutional
                                                             alternative is “known and available,” Glossip, 576 U.S.,
                                                             at –––– – ––––, 135 S.Ct., at 2731–2732. The States have
                                                             no power to override this constitutional guarantee. While
                           III
                                                             States are free to define and punish crimes, “state laws
                                                             respecting crimes, punishments, and criminal procedure
                            A                                are ... subject to the overriding provisions of the United
                                                             States Constitution.” Payne v. Tennessee, 501 U.S. 808,
The decision below permits a State, by statute, to bar
                                                             824, 111 S.Ct. 2597, 115 L.Ed.2d 720 (1991).
a death-row inmate from vindicating a right guaranteed
by the Eighth Amendment. Under this view, even if a          Equally untenable are the differing interpretations of
prisoner can prove that the State plans to kill him in an    the Eighth Amendment that would result from the
intolerably cruel manner, and even if he can prove that      Eleventh Circuit's rule. Under the Eleventh Circuit's view,
there is a feasible alternative, all a State has to do to    whether an inmate who will die in an intolerably cruel
execute him through an unconstitutional method is to pass    manner can obtain relief under Glossip depends not
a statute declining to authorize any alternative method.     on the Constitution but on vagaries of state law. The
This cannot be right.                                        outcome of this case, for instance, would turn on whether
                                                             Arthur had been sentenced in Oklahoma, where state
To begin with, it contradicts the very decisions it          law expressly permits the firing squad, see Okla. Stat.,
purports to follow—Baze and Glossip. Glossip based           Tit. 22, § 1014 (Supp.2016), rather than in Alabama,
its “known and available alternative” requirement on
                                                             which—according to the Eleventh Circuit 3 —does not,
the plurality opinion in Baze. Baze, in turn, states that
                                                             see Ala.Code § 15–18–82.1. But since the very beginning
“[t]o qualify, the alternative procedure must be feasible,
                                                             of our Nation, we have emphasized the “necessity of
readily implemented, and in fact significantly reduce
                                                             uniformity” in constitutional interpretation “throughout
a substantial risk of severe pain.” 553 U.S., at 52,


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the whole United States, upon all subjects within the            Finally, the court's laches finding faults Arthur for failing
purview of the constitution.” Martin v. Hunter's Lessee,         to act immediately after Baze, which, according to the
1 Wheat. 304, 347–348, 4 L.Ed. 97 (1816) (emphasis               panel, “made clear in 2008 ... that a petitioner-inmate
deleted). Nowhere is the need for uniformity more                had the burden to show that a proffered alternative was
pressing than the rules governing States' imposition of          ‘feasible, readily implemented, and in fact significantly
death.                                                           reduced a substantial risk of pain.’ ” 840 F.3d, at 1320,
                                                                 n. 35 (quoting Baze, 553 U.S., at 41, 128 S.Ct. 1520).
                                                                 But the District Court in this case—not to mention at
                                                                 least four Justices of this Court, see Glossip, 576 U.S., at
                              B
                                                                 –––– – ––––, 135 S.Ct., at 2793–2795 (SOTOMAYOR, J.,
The Eleventh Circuit's alternative holdings are unavailing.      dissenting)—did not read Baze as requiring an alternative.
                                                                 See Record in Arthur v. Myers, No. 2:11–cv–438 (MD
First, the court erroneously concluded that Arthur failed        Ala.), Doc. 195, p. 11 (“[T]he court does not accept the
to carry his burden on the first Glossip requirement             State's argument that [a known and available alternative
—proving that Alabama's midazolam-centered protocol              method of execution] is a specific pleading requirement
poses a substantial risk of severe pain. The court used          set forth by Baze that must be properly alleged before
the District Court's finding that Arthur failed to meet          a case can survive a motion to dismiss”). Arthur filed
this prong with respect to his as-applied challenge to hold      a statement within 14 days of our decision in Glossip
that Arthur's facial challenge likewise failed. But it is        informing the District Court of his belief that our decision
undisputed that Arthur put forth “impressive” evidence           would impact his case, see id., Doc. 245, and moved to
to support his facial challenge that neither the District        amend his complaint a few weeks later, see id., Doc. 256.
Court nor the Court of Appeals considered. This evidence
included the expert testimony of Dr. Alan Kaye, chairman         In sum, the Eleventh Circuit's opinion rests on quicksand
of the Department of Anesthesiology at Louisiana State           foundations and flouts the Constitution, as well as the
University's Health Sciences Center, who found the               Court's decisions in Baze and Glossip. These errors alone
dose of midazolam prescribed in Alabama's protocol               counsel in favor of certiorari.
insufficient to “cure ... the fundamental unsuitability of
midazolam as the first drug in [Alabama's lethal-injection]
protocol.” *731 App. to Pet. for Cert. 302a (emphasis                                         IV
added). Dr. Kaye concluded that “the chemical properties
of midazolam limit its ability to depress electrical activity    The decision below is all the more troubling because it
in the brain. The lack of another chemical property—             would put an end to an ongoing national conversation
analgesia—renders midazolam incapable of maintaining             —between the legislatures and the courts—around the
even that limited level of depressed electrical activity under   methods of execution the Constitution tolerates. The
the undiminished pain of the second and third lethal             meaning of the Eighth Amendment's prohibition on cruel
injection drugs.” Id., at 311a.                                  and unusual punishments “is determined not by the
                                                                 standards that prevailed when the Eighth Amendment was
The court next read Glossip as categorically “uph[olding]        adopted in 1791” but instead derives from “ ‘the evolving
the midazolam-based execution protocol.” 840 F.3d, at            standards of decency that mark the progress of a maturing
1315. Glossip did no such thing. The majority opinion            society.’ ” Kennedy v. Louisiana, 554 U.S. 407, 419, 128
in Glossip concluded that, based on the facts presented          S.Ct. 2641, 171 L.Ed.2d 525 (2008) (quoting Trop v.
in that case, “[t]he District Court did not commit clear         Dulles, 356 U.S. 86, 101, 78 S.Ct. 590, 2 L.Ed.2d 630 (1958)
error when it found that midazolam is highly likely to           (plurality opinion)). Evolving standards have yielded a
render a person unable to feel pain during an execution.”        familiar cycle: States develop a method of execution, which
576 U.S., at ––––, 135 S.Ct., at 2739. The opinion made          is generally accepted for a time. Science then reveals
no determination whether midazolam-centered lethal               that—unknown to the previous generation—the States'
injection represents a constitutional method of execution.       chosen method of execution causes unconstitutional levels
                                                                 of suffering. A new method of execution is devised, and the
                                                                 dialogue continues. The Eighth Amendment requires this



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conversation. States should not be permitted to silence it     prison chaplain marveled: “ ‘It's extremely sanitary.... The
by statute.                                                    guy just goes to sleep. That's all there is to it.’ ” Ibid. What
                                                               cruel irony that the method that appears most humane
                                                               may turn out to be our most cruel experiment yet.

                             A

From the time of the founding until the early 20th century,                                   B
hanging was the preferred *732 practice. Gardner,
Executions and Indignities—An Eighth Amendment                 Science and experience are now revealing that, at least
Assessment of Methods of Inflicting Capital Punishment,        with respect to midazolam-centered protocols, prisoners
39 Ohio St. L.J. 96, 119 (1978). After several grotesque       executed by lethal injection are suffering horrifying deaths
failures at the gallows—including slow asphyxiation and        beneath a “medically sterile aura of peace.” Denno, supra,
violent decapitation—revealed the “crude and imprecise”        at 66. Even if we sweep aside the scientific evidence,
nature of the practice, Campbell v. Wood, 511 U.S. 1119,       we should not blind ourselves to the mounting firsthand
1122, 114 S.Ct. 2125, 128 L.Ed.2d 682 (1994) (Blackmun,        evidence that midazolam is simply unable to render
J., dissenting from denial of certiorari), States sought       prisoners insensate to the pain of execution. The examples
to execute condemned prisoners “ ‘in a less barbarous          abound.
manner’ ” and settled on electrocution. See In re Kemmler,
136 U.S. 436, 444, 10 S.Ct. 930, 34 L.Ed. 519 (1890).          After Ohio administered midazolam during the execution
                                                               of Dennis McGuire in January 2014, he “strained against
New York carried out the world's first electrocution           the restraints around his body, and ... repeatedly gasped
in ghastly fashion, 4 leading the New York Times to            for air, making snorting and choking sounds for about
declare it “a disgrace to civilization.” See Far Worse Than    10 minutes.” Johnson, Inmate's Death Called ‘Horrific’,
Hanging, N.Y. Times, Aug. 7, 1890, p. 1. Electrocution         Columbus Dispatch, Jan. 17, 2014, pp. A1, A10.
nonetheless remained the dominant mode of execution
for more than a century, until the specter of charred and      The scene was much the same during Oklahoma's
grossly disfigured bodies proved too much for the public,      execution of Clayton Lockett in April 2014. After
                                                               executioners administered midazolam and declared him
and the courts, to bear. 5 See, e.g., Dawson v. State, 274
                                                               unconscious, Lockett began to writhe against his
Ga. 327, 335, 554 S.E.2d 137, 144 (2001) (“[W]e hold that
                                                               restraints, saying, “[t]his s* * * is f* * *ing with my
death by electrocution, with its specter of excruciating
                                                               mind,” “something is wrong,” and “[t]he drugs aren't
pain and its certainty of cooked brains and blistered
                                                               working.” Glossip, 576 U.S., at ––––, 135 S.Ct., at 2781–
bodies, violates the prohibition against cruel and unusual
                                                               2782 (SOTOMAYOR, J., dissenting).
punishment”).

                                                               When Arizona executed Joseph Rudolph Wood in July
The States then tried lethal gas. Although the gas chamber
                                                               2014 using a midazolam-based protocol, he “gulped like
was initially believed to produce relatively painless death,
                                                               a fish on land.” Kiefer, Botched Execution, Arizona
it ultimately became clear that it exacted “exquisitely
                                                               Dispatch, July 24, 2014, pp. A1, A9. A witness reported
painful” sensations of “anxiety, panic, [and] terror,”
                                                               more than 640 gasps as Woods convulsed on the gurney
leading courts to declare it unconstitutional. See, e.g.,
                                                               for more than an hour and a half before being declared
Fierro v. Gomez, 77 F.3d 301, 308 (C.A.9 1996) (internal
                                                               dead. Ibid.
quotation marks omitted). 6
                                                               Finally, and just over a month after this Court stayed
Finally, States turned to a “more humane and palatable”        Thomas Arthur's execution, Alabama executed Ronald
method of execution: *733 lethal injection. Denno, 63          Bert Smith. Following the dose of midazolam, Smith
Ohio St. L. J., at 92. Texas performed the first lethal        “clenched his fist” and was “apparently struggling
injection in 1982 and, impressed with the apparent ease of     for breath as he heaved and coughed for about 13
the process, other States quickly followed suit. S. Banner,    minutes.” Berman & Barnes, Alabama Inmate was
The Death Penalty: An American History 297 (2002). One



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Heaving, Coughing During Lethal–Injection Execution,               own dignity, but they should not be permitted to shield
                                                                   the true horror of executions from official and public
Washington Post, Dec. 10, 2016, p. A3.
                                                                   view. Condemned prisoners, like Arthur, might find more
                                                                   dignity in an instantaneous death rather than prolonged
It may well be that as originally designed, lethal injection
                                                                   torture on a medical gurney.
can be carried out in a humane fashion that comports with
the Eighth Amendment. But our lived experience belies
                                                                   To be clear, this is not a matter of permitting inmates
any suggestion that midazolam reliably renders prisoners
                                                                   to choose the manner of death that best suits their
entirely unconscious to the searing pain of the latter two
                                                                   desires. It is a matter of permitting a death row inmate
drugs. These accounts are especially terrifying considering
                                                                   to make the showing Glossip requires in order to prove
that each of these men received doses of powerful paralytic
                                                                   that the Constitution demands something less cruel and
agents, which likely masked the full extent of their pain.
                                                                   less unusual than what the State has offered. Having met
Like a hangman's poorly tied noose or a malfunctioning
                                                                   the challenge set forth in Glossip, Arthur deserves the
electric chair, midazolam might render our latest method
                                                                   opportunity to have his claim fairly reviewed in court.
of execution too much for our conscience—and the
Constitution—to bear.                                              The Eleventh Circuit denied him this opportunity, and in
                                                                   doing so, thwarted the Court's decision in Glossip, as well
                                                                   as basic constitutional principles.

                              C                                    ***

As an alternative to death by midazolam, Thomas
                                                                   Twice in recent years, this Court has observed that it “has
Arthur has proposed death by firing squad. Some might
                                                                   never invalidated a State's chosen procedure for carrying
find this choice regressive, but the available evidence
                                                                   out a sentence of death as the infliction of cruel and
suggests “that a competently performed shooting may
                                                                   unusual punishment.” Baze, 553 U.S., at 48, 128 S.Ct.
cause nearly instant death.” Denno, Is Electrocution
                                                                   1520 (plurality opinion); Glossip, 576 U.S., at ––––, 135
An Unconstitutional *734 Method of Execution? The
                                                                   S.Ct., at 2732 (same). In Glossip, the majority opinion
Engineering of Death Over the Century, 35 Wm. & Mary
                                                                   remarked that the Court “did not retreat” from this
L.Rev. 551, 688 (1994). In addition to being near instant,
                                                                   nonintervention strategy even after Louisiana strapped a
death by shooting may also be comparatively painless.
                                                                   17–year–old boy to its electric chair and, having failed to
See Banner, supra, at 203. And historically, the firing
                                                                   kill him the first time, argued for a second try—which this
squad has yielded significantly fewer botched executions.
                                                                   Court permitted. Id., at –––– – ––––, 135 S.Ct., at 2732–
See A. Sarat, Gruesome Spectacles: Botched Executions
                                                                   2733. We should not be proud of this history. Nor should
and America's Death Penalty, App. A, p. 177 (2014)
                                                                   we rely on it to excuse our current inaction.
(calculating that while 7.12% of the 1,054 executions by
lethal injection between 1900 and 2010 were “botched,”
                                                                   I dissent.
none of the 34 executions by firing squad had been).

Chief Justice Warren famously wrote that “[t]he basic              All Citations
concept underlying the Eighth Amendment is nothing less
than the dignity of man.” Trop, 356 U.S., at 100, 78               137 S.Ct. 725 (Mem), 197 L.Ed.2d 225, 85 USLW 3385, 85
S.Ct. 590 (plurality opinion). States have designed lethal-        USLW 3392, 85 USLW 3393, 17 Cal. Daily Op. Serv. 1542
injection protocols with a view toward protecting their


Footnotes
1      We examined the constitutionality of lethal injection in Baze v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170 L.Ed.2d 420
       (2008). There, the parties did not dispute that “proper administration of ... sodium thiopental ... eliminates any meaningful
       risk that a prisoner would experience pain” and results in a humane death. Id., at 49, 128 S.Ct. 1520 (plurality opinion).
       The petitioners nonetheless challenged Kentucky's three-drug protocol on the ground that, if prison executioners failed
       to follow the mandated procedures, an unconstitutional risk of significant pain would result. Ibid. A plurality of the Court
       concluded that “petitioners ha[d] not carried their burden of showing that the risk of pain from maladministration of a


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      concededly humane lethal injection protocol” would violate the prohibition on cruel and unusual punishments. Id., at 41,
      128 S.Ct. 1520.
2     Because “midazolam is not an analgesic drug, any painful stimulus applied to an inmate will generate and transmit full
      intensity pain signals to the brain without interference.” App. to Pet. for Cert. 309a. Arthur's expert witness provides “a
      rough analogy”:
      “[I]f being sedated is like being asleep, analgesia is like wearing earplugs. If two people are sleeping equally deeply, but
      only one is wearing earplugs, it will be much easier to shout and wake the person who is not wearing earplugs. If two
      people are sedated to equivalent levels of electrical brain activity, but only one has analgesia, the person sedated without
      analgesia will be much more easily aroused to consciousness by the application of pain.” Ibid.
3     I question the Eleventh Circuit's conclusion that the statute does not authorize the firing squad as an available means of
      execution. In my view, the Alabama statute unambiguously reads as a codification of Glossip. If either of the specified
      methods—lethal injection or electrocution—is declared unconstitutional, the statute authorizes the State to execute
      prisoners by “any constitutional method of execution.” Ala.Code § 15–18–82.1(c) (2016) (emphasis added). The state
      statute thus permits exactly what the Court required in Glossip—if a condemned prisoner can prove that the lethal-injection
      protocol presents an unconstitutional risk of needless suffering, he may propose an alternative, constitutional means of
      execution, which may include the firing squad. Even assuming, however, that the Eleventh Circuit properly interpreted
      Alabama's statute, the question remains whether States may legislatively determine what the Eighth Amendment requires
      or prohibits. That question is worthy of our review.
4     New York executed William Kemmler on August 6, 1890. According to the New York Times, “[p]robably no convicted
      murderer of modern times has been made to suffer as Kemmler suffered.” Far Worse Than Hanging, N.Y. Times, Aug.
      7, 1890, p. 1. Witnesses recounted the execution:
      “After the first convulsion there was not the slightest movement of Kemmler's body.... Then the eyes that had been
      momentarily turned from Kemmler's body returned to it and gazed with horror on what they saw. The men rose from
      their chairs impulsively and groaned at the agony they felt. ‘Great God! [H]e is alive!’ [S]omeone said[.] ‘Turn on the
      current,’ said another....
      “Again came that click as before, and again the body of the unconscious wretch in the chair became as rigid as one of
      bronze. It was awful, and the witnesses were so horrified by the ghastly sight that they could not take their eyes off it.
      The dynamo did not seem to run smoothly. The current could be heard sharply snapping. Blood began to appear on the
      face of the wretch in the chair. It stood on the face like sweat....
      “An awful odor began to permeate the death chamber, and then, as though to cap the climax of this fearful sight, it was
      seen that the hair under and around the electrode on the head and the flesh under and around the electrode at the base
      of the spine was singeing. The stench was unbearable.” Ibid. (paragraph break omitted).
5     After a particularly gruesome electrocution in Florida, this Court granted certiorari on the question whether electrocution
      creates a constitutionally unacceptable risk of physical suffering in violation of the Eighth Amendment, see Bryan v.
      Moore, 528 U.S. 960, 120 S.Ct. 394, 145 L.Ed.2d 306 (1999), but later dismissed the writ as improvidently granted in
      light of an amendment to the State's execution statute that permitted prisoners to choose lethal injection rather than
      electrocution, see Bryan v. Moore, 528 U.S. 1133, 120 S.Ct. 1003, 145 L.Ed.2d 927 (2000). See also Fla. Stat. Ann.
      § 922.10 (West 2001).
6     This Court granted certiorari in Fierro, vacated the judgment, and remanded for consideration in light of the California
      Legislature's adoption of lethal injection as the State's primary method of execution. See Gomez v. Fierro, 519 U.S. 918,
      117 S.Ct. 285, 136 L.Ed.2d 204 (1996).


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                                                                     Justice Breyer filed a dissenting opinion in which Justice
                                                                     Ginsburg joined.
     KeyCite Yellow Flag - Negative Treatment
Distinguished by Adams v. Bradshaw, 6th Cir.(Ohio), March 15, 2016
                                                                     Justice Sotomayor filed a dissenting opinion in which
                     135 S.Ct. 2726
                                                                     Justices Ginsburg, Breyer, and Kagan joined.
            Supreme Court of the United States

          Richard E. GLOSSIP, et al., Petitioners
                            v.                                        West Headnotes (11)
                  Kevin J. GROSS, et al.

                        No. 14–7955.                                  [1]    Injunction
                              |                                                   Grounds in general; multiple factors
                    Argued April 29, 2015.                                   A plaintiff seeking a preliminary injunction
                              |                                              must establish that he is likely to succeed on
                    Decided June 29, 2015.                                   the merits, that he is likely to suffer irreparable
                                                                             harm in the absence of preliminary relief, that
Synopsis                                                                     the balance of equities tips in his favor, and
Background: State death-row inmates brought § 1983                           that an injunction is in the public interest.
action alleging that Oklahoma's three-drug lethal injection
protocol created an unacceptable risk of severe pain                         48 Cases that cite this headnote
in violation of Eighth Amendment. The United States
District Court for the Western District of Oklahoma,
                                                                      [2]    Sentencing and Punishment
Stephen P. Friot, J., 2014 WL 7671680, entered an order
                                                                                 Mode of execution
denying inmates' motion for a preliminary injunction, and
they appealed. The United States Court of Appeals for                        Prisoners cannot successfully challenge a
the Tenth Circuit, Briscoe, Chief Judge, 776 F.3d 721,                       method of execution under the Eighth
affirmed. Certiorari was granted.                                            Amendment's prohibition of cruel and
                                                                             unusual punishment unless they establish that
                                                                             the method presents a risk that is sure or
                                                                             very likely to cause serious illness and needless
Holdings: The Supreme Court, Justice Alito, held that:                       suffering and give rise to sufficiently imminent
                                                                             dangers. U.S.C.A. Const.Amend. 8.
[1] inmates failed to establish that any risk of harm was
substantial when compared to a known and available                           68 Cases that cite this headnote
method of execution, and
                                                                      [3]    Sentencing and Punishment
[2] district court did not commit clear error in finding that
                                                                                 Mode of execution
midazolam was likely to render an inmate unable to feel
pain.                                                                        To prevail on a method-of-execution claim
                                                                             under the Eighth Amendment's prohibition
                                                                             of cruel and unusual punishment, there must
Affirmed.                                                                    be a substantial risk of serious harm, that
                                                                             is, an objectively intolerable risk of harm
Justice Scalia filed a concurring opinion in which Justice                   that prevents prison officials from pleading
Thomas joined.                                                               that they were subjectively blameless for
                                                                             purposes of the Eighth Amendment. U.S.C.A.
Justice Thomas filed a concurring opinion in which Justice                   Const.Amend. 8.
Scalia joined.
                                                                             67 Cases that cite this headnote




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                                                                        The clear error standard for reviewing a
 [4]    Sentencing and Punishment                                       district court's factual findings does not entitle
            Mode of execution                                           the Supreme Court to overturn a finding
        Prisoners cannot successfully challenge a                       simply because the Court is convinced that it
        state's method of execution under the                           would have decided the case differently.
        Eighth Amendment's prohibition of cruel
        and unusual punishment merely by showing                        6 Cases that cite this headnote
        a slightly or marginally safer alternative;
        instead, the prisoners must identify an                  [8]    Federal Courts
        alternative that is feasible and readily                            Scope and Extent of Review
        implemented, and that in fact significantly
                                                                        Where an intermediate court reviews, and
        reduces a substantial risk of severe pain.
                                                                        affirms, a trial court's factual findings, the
        U.S.C.A. Const.Amend. 8.
                                                                        Supreme Court will not lightly overturn the
        81 Cases that cite this headnote                                concurrent findings of the two lower courts,
                                                                        and the Court's review is even more deferential
                                                                        where multiple trial courts have reached the
 [5]    Sentencing and Punishment                                       same finding, and multiple appellate courts
            Mode of execution                                           have affirmed those findings.
        State death-row inmates failed to establish
        that any risk of harm from Oklahoma's                           1 Cases that cite this headnote
        three-drug lethal injection protocol, which
        used midazolam to induce a coma-like state               [9]    Civil Rights
        and render inmate insensate to pain, was                             Criminal law enforcement; prisons
        substantial when compared to a known and
                                                                        Evidence
        available method of execution, as required to
                                                                            Nature of Subject
        prevail on their claim that protocol amounted
        to cruel and unusual punishment in violation                    In § 1983 action alleging that Oklahoma's
        of Eighth Amendment, where inmates did                          three-drug lethal injection protocol created an
        not identify any drugs that could be used                       unacceptable risk of severe pain in violation
        in place of midazolam and were available to                     of Eighth Amendment, district court did not
        Oklahoma Department of Corrections, and                         commit clear error in finding that midazolam
        they did not show a risk of pain so great that                  was likely to render an inmate unable to feel
        other available methods of execution were                       pain associated with administration of second
        required to be used. U.S.C.A. Const.Amend.                      and third drugs, where State's expert testified
        8.                                                              that a 500-milligram dose of midazolam
                                                                        would make it a virtual certainty that an
        91 Cases that cite this headnote                                inmate would not feel pain associated with
                                                                        other drugs, inmates' experts acknowledged
                                                                        that they had no contrary scientific proof,
 [6]    Federal Courts
                                                                        and there was no probative evidence as to
            Review of federal district courts
                                                                        whether midazolam's ceiling effect occurred
        The Supreme Court reviews a district court's                    below 500-milligram dosage level. U.S.C.A.
        factual findings under the deferential clear                    Const.Amend. 8; 42 U.S.C.A. § 1983.
        error standard.
                                                                        14 Cases that cite this headnote
        10 Cases that cite this headnote

                                                                 [10]   Sentencing and Punishment
 [7]    Federal Courts                                                      Mode of execution
            Review of federal district courts



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        The mere fact that a method of execution                 another barbiturate called pentobarbital) from being used
        might result in some unintended side effects             in executions. Unable to obtain either sodium thiopental
        does not amount to an Eighth Amendment                   or pentobarbital, Oklahoma decided to use a 500–
        violation, since the Constitution does not               milligram dose of midazolam, a sedative, as the first drug
        demand the avoidance of all risk of pain.                in its three-drug protocol.
        U.S.C.A. Const.Amend. 8.
                                                                 Oklahoma death-row inmates filed a 42 U.S.C. § 1983
        5 Cases that cite this headnote                          action claiming that the use of midazolam violates the
                                                                 Eighth Amendment. Four of those inmates filed a motion
 [11]   Evidence                                                 for a preliminary injunction and argued that a 500–
            Medical testimony                                    milligram dose of midazolam will not render them unable
                                                                 to feel pain associated with administration of the second
        In § 1983 action alleging that Oklahoma's
                                                                 and third drugs. After a three-day evidentiary hearing, the
        three-drug lethal injection protocol created an
                                                                 District Court denied the motion. It held that the prisoners
        unacceptable risk of severe pain in violation
                                                                 failed to identify a known and available alternative
        of Eighth Amendment, expert's testimony as
                                                                 method of execution that presented a substantially less
        to effectiveness of midazolam in inducing
                                                                 severe risk of pain. It also held that the prisoners failed
        a coma-like state and rendering an inmate
                                                                 to establish a likelihood of showing that the use of
        insensate to pain could not be disqualified
                                                                 midazolam created a demonstrated risk of severe pain.
        simply because one source on which he
                                                                 The Tenth Circuit affirmed.
        relied warned that it was not intended for
        medical advice and another source stated
                                                                 Held : Petitioners have failed to establish a likelihood
        that its information was provided without
                                                                 of success on the merits of their claim that the use of
        any warranty regarding its correctness, where
                                                                 midazolam violates the Eighth Amendment. Pp. 2736 –
        expert relied on multiple sources and his
                                                                 2746.
        own expertise, and both parties' experts relied
        on sources containing similar disclaimers.
                                                                 (a) To obtain a preliminary injunction, petitioners must
        U.S.C.A. Const.Amend. 8; 42 U.S.C.A. §
                                                                 establish, among other things, a likelihood of success on
        1983.
                                                                 the merits of their claim. See Winter v. Natural Resources
        1 Cases that cite this headnote                          Defense Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365,
                                                                 172 L.Ed.2d 249. To succeed on an Eighth Amendment
                                                                 method-of-execution claim, a prisoner must establish that
                                                                 the method creates a demonstrated risk of severe pain and
                                                                 that the risk is substantial when compared to the known
                    *2728 Syllabus *                             and available alternatives. Baze, supra, at 61, 128 S.Ct.
                                                                 1520 (plurality opinion). Pp. 2736 – 2738.
Because capital punishment is constitutional, there must
be a constitutional means of carrying it out. After              (b) Petitioners failed to establish that any risk of
Oklahoma adopted lethal injection as its method of               harm was substantial when compared to a known and
execution, it settled on a three-drug protocol of (1)            available alternative method of execution. Petitioners
sodium thiopental (a barbiturate) to induce a state of           have suggested that Oklahoma could execute them using
unconsciousness, (2) a paralytic agent to inhibit all            sodium thiopental or pentobarbital, but the District
muscular-skeletal movements, and (3) potassium chloride          Court did not commit a clear error when it found that
to induce cardiac arrest. In Baze v. Rees, 553 U.S. 35,          those drugs are unavailable to the State. Petitioners
128 S.Ct. 1520, 170 L.Ed.2d 420, the Court held that this        argue that the Eighth Amendment does not require them
protocol *2729 does not violate the Eighth Amendment's           to identify such an alternative, but their argument is
prohibition against cruel and unusual punishments. Anti-         inconsistent with the controlling opinion in Baze, which
death-penalty advocates then pressured pharmaceutical            imposed a requirement that the Court now follows.
companies to prevent sodium thiopental (and, later,              Petitioners also argue that the requirement to identify



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an alternative is inconsistent with the Court's pre-Baze         Court did not err in concluding that the safeguards
decision in Hill v. McDonough, 547 U.S. 573, 126 S.Ct.           adopted by Oklahoma to ensure proper administration of
2096, 165 L.Ed.2d 44, but they misread that decision. Hill       midazolam serve to minimize any risk that the drug will
concerned a question of civil procedure, not a substantive       not operate as intended. Pp. 2740 – 2743.
Eighth Amendment question. That case held that § 1983
alone does not require an inmate asserting a method-of-          (3)    Petitioners'   speculative    evidence    regarding
execution claim to plead an acceptable alternative. Baze,        midazolam's “ceiling effect” does not establish that the
on the other hand, made clear that the Eighth Amendment          District Court's findings were clearly erroneous. The mere
requires a prisoner to plead and prove a known and               fact that midazolam has a ceiling above which an increase
available alternative. Pp. 2738 – 2739.                          in dosage produces no effect cannot be dispositive,
                                                                 and petitioners provided little probative evidence on the
(c) The District Court did not commit clear error when it        relevant question, i.e., whether midazolam's ceiling effect
found that midazolam is likely to render a person unable         occurs below the level of a 500–milligram dose and at
to feel pain associated with administration of the paralytic     a point at which the drug does not have the effect of
agent and potassium chloride. Pp. 2739 – 2746.                   rendering a person insensate to pain caused by the second
                                                                 and third drugs. Petitioners attempt to deflect attention
(1) Several initial considerations bear emphasis. First,         from their failure of proof on this point by criticizing
the District Court's factual findings are reviewed under         the testimony of the State's expert. They emphasize an
the deferential “clear error” standard. Second, petitioners      apparent conflict between the State's expert and their
have the burden of persuasion on the question whether            own expert regarding the biological process that produces
midazolam is effective. *2730 Third, the fact that               midazolam's ceiling effect. But even if petitioners' expert
numerous courts have concluded that midazolam is likely          is correct regarding that biological process, it is largely
to render an inmate insensate to pain during execution           beside the point. What matters for present purposes is
heightens the deference owed to the District Court's             the dosage at which the ceiling effect kicks in, not the
findings. Finally, challenges to lethal injection protocols      biological process that produces the effect. Pp. 2742 –
test the boundaries of the authority and competency of           2744.
federal courts, which should not embroil themselves in
ongoing scientific controversies beyond their expertise.         (4) Petitioners' remaining arguments—that an expert
Baze, supra, at 51, 128 S.Ct. 1520. Pp. 2739 – 2740.             report presented in the District Court should have been
                                                                 rejected because it referenced unreliable sources and
(2) The State's expert presented persuasive testimony            contained an alleged mathematical error, that only four
that a 500–milligram dose of midazolam would make                States have used midazolam in an execution, and that
it a virtual certainty that an inmate will not feel              difficulties during two recent executions suggest that
pain associated with the second and third drugs, and             midazolam is ineffective—all lack merit. Pp. 2744 – 2746.
petitioners' experts acknowledged that they had no
contrary scientific proof. Expert testimony presented            776 F.3d 721, affirmed.
by both sides lends support to the District Court's
conclusion. Evidence suggested that a 500–milligram dose         ALITO, J., delivered the opinion of the Court, in
of midazolam will induce a coma, and even one of                 which ROBERTS, C.J., and SCALIA, KENNEDY, and
petitioners' experts agreed that as the dose of midazolam        THOMAS, JJ., joined. SCALIA, J., filed a concurring
increases, it is expected to produce a lack of response          opinion, in which THOMAS, J., joined. THOMAS,
to pain. It is not dispositive that midazolam is not             J., filed a concurring opinion, in which SCALIA, J.,
recommended or approved for use as the sole anesthetic           joined. BREYER, J., filed a dissenting opinion, in
during painful surgery. First, the 500–milligram dose at         which GINSBURG, J., joined. SOTOMAYOR, J., filed
issue here is many times higher than a normal therapeutic        a dissenting opinion, in which *2731 GINSBURG,
dose. Second, the fact that a low dose of midazolam is not       BREYER, and KAGAN, JJ., joined.
the best drug for maintaining unconsciousness says little
about whether a 500–milligram dose is constitutionally
adequate to conduct an execution. Finally, the District



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                                                                 Oklahoma's use of a massive dose of midazolam in its
Attorneys and Law Firms                                          execution protocol entails a substantial risk of severe pain.

Robin C. Konrad, Washington, D.C., for Petitioners.

Patrick R. Wyrick, Solicitor General, for Respondents.                                         I

Susan Otto, Fed. Public Defender, W. District of
Oklahoma, Patti Palmer Ghezzi, Randy A. Bauman,                                               A
Oklahoma City, OK, Mark E. Haddad, Alycia A. Degen,
Collin P. Wedel, Sidley Austin LLP, Los Angeles, CA,             The death penalty was an accepted punishment at the
Jon M. Sands, Fed. Public Defender, District of Arizona,         time of the adoption of the Constitution and the Bill of
Dale A. Baich, Robin C. Konrad, Phoenix, AZ, Peter D.            Rights. In that era, death sentences were usually carried
Keisler, Jeffrey T. Green, Jacqueline G. Cooper, Sidley          out by hanging. The Death Penalty in America: Current
Austin LLP, Washington, D.C., for Petitioners.                   Controversies 4 (H. Bedau ed. 1997). Hanging remained
                                                                 the standard method of execution through much of the
David B. Rivkin, Jr., Baker & Hostetler LLP,                     19th century, but that began to change in the century's
Washington, D.C., E. Scott Pruitt, Attorney General,             later years. See Baze, supra, at 41–42, 128 S.Ct. 1520.
Patrick R. Wyrick, Solicitor General, Counsel of Record,         In the 1880's, the Legislature of the State of New York
Mithun Mansinghani, Deputy Solicitor General, Jared              appointed a commission to find “ ‘the most humane and
Haines, Assistant Solicitor General, John D. Hadden,             practical method known to modern science of carrying
Jeb Joseph, Aaron Stewart, Assistant Attorneys General,          into effect the sentence of death in capital cases.’ ”
Oklahoma Attorney General's Office, Oklahoma City,               In re Kemmler, 136 U.S. 436, 444, 10 S.Ct. 930, 34
OK, for Respondents.                                             L.Ed. 519 (1890). *2732 The commission recommended
                                                                 electrocution, and in 1888, the Legislature enacted a law
Opinion                                                          providing for this method of execution. Id., at 444–445,
                                                                 10 S.Ct. 930. In subsequent years, other States followed
Justice ALITO delivered the opinion of the Court.
                                                                 New York's lead in the “ ‘belief that electrocution is less
Prisoners sentenced to death in the State of Oklahoma            painful and more humane than hanging.’ ” Baze, 553 U.S.,
filed an action in federal court under Rev. Stat. § 1979, 42     at 42, 128 S.Ct. 1520 (quoting Malloy v. South Carolina,
U.S.C. § 1983, contending that the method of execution           237 U.S. 180, 185, 35 S.Ct. 507, 59 L.Ed. 905 (1915)).
now used by the State violates the Eighth Amendment
because it creates an unacceptable risk of severe pain.          In 1921, the Nevada Legislature adopted another new
They argue that midazolam, the first drug employed in the        method of execution, lethal gas, after concluding that
State's current three-drug protocol, fails to render a person    this was “the most humane manner known to modern
insensate to pain. After holding an evidentiary hearing,         science.” State v. Jon, 46 Nev. 418, 437, 211 P. 676, 682
the District Court denied four prisoners' application for        (1923). The Nevada Supreme Court rejected the argument
a preliminary injunction, finding that they had failed to        that the use of lethal gas was unconstitutional, id., at
prove that midazolam is ineffective. The Court of Appeals        435–437, 211 P., at 681–682, and other States followed
for the Tenth Circuit affirmed and accepted the District         Nevada's lead, see, e.g., Ariz. Const., Art. XXII, § 22
Court's finding of fact regarding midazolam's efficacy.          (1933); 1937 Cal. Stats. ch. 172, § 1; 1933 Colo. Sess. Laws
                                                                 ch. 61, § 1; 1955 Md. Laws ch. 625, § 1, p. 1017; 1937
For two independent reasons, we also affirm. First,              Mo. Laws p. 222, § 1. Nevertheless, hanging and the firing
the prisoners failed to identify a known and available           squad were retained in some States, see, e.g., 1961 Del.
alternative method of execution that entails a lesser risk       Laws ch. 309, § 2 (hanging); 1935 Kan. Sess. Laws ch. 155,
of pain, a requirement of all Eighth Amendment method-           § 1 (hanging); Utah Code Crim. Proc. § 105–37–16 (1933)
of-execution claims. See Baze v. Rees, 553 U.S. 35, 61, 128      (hanging or firing squad), and electrocution remained the
S.Ct. 1520, 170 L.Ed.2d 420 (2008) (plurality opinion).          predominant method of execution until the 9–year hiatus
Second, the District Court did not commit clear error            in executions that ended with our judgment in Gregg v.
when it found that the prisoners failed to establish that        Georgia, 428 U.S. 153, 96 S.Ct. 2909, 49 L.Ed.2d 859
                                                                 (1976). See Baze, supra, at 42, 128 S.Ct. 1520.


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                                                                 that good fortune. Holding that the Eighth Amendment
After Gregg reaffirmed that the death penalty does               demands the elimination of essentially all risk of pain
not violate the Constitution, some States once again             would effectively outlaw the death penalty altogether.
sought a more humane way to carry out death sentences.
They eventually adopted lethal injection, which today
is “by far the most prevalent method of execution in
                                                                                              B
the United States.” Baze, supra, at 42, 128 S.Ct. 1520.
Oklahoma adopted lethal injection in 1977, see 1977              Baze cleared any legal obstacle to use of the most common
Okla. Sess. Laws p. 89, and it eventually settled on             three-drug protocol that had enabled States to carry out
a protocol that called for the use of three drugs: (1)           the death penalty in a quick and painless fashion. But
sodium thiopental, “a fast-acting barbiturate sedative that      a practical obstacle soon emerged, as anti-death-penalty
induces a deep, comalike unconsciousness when given in           advocates pressured pharmaceutical companies to refuse
the amounts used for lethal injection,” (2) a paralytic          to supply the drugs used to carry out death sentences.
agent, which “inhibits all muscular-skeletal movements           The sole American manufacturer of sodium thiopental,
and, by paralyzing the diaphragm, stops respiration,”            the first drug used in the standard three-drug protocol,
and (3) potassium chloride, which “interferes with the           was persuaded to cease production of the drug. After
electrical signals that stimulate the contractions of the        suspending domestic production in 2009, the company
heart, inducing cardiac arrest.” Baze, supra, at 44, 128         planned to resume production in Italy. Koppel, Execution
S.Ct. 1520; see also Brief for Respondents 9. By 2008, at        Drug Halt Raises Ire of Doctors, Wall Street Journal, Jan.
least 30 of the 36 States that used lethal injection employed    25, 2011, p. A6. Activists then pressured both the company
that particular three-drug protocol. 553 U.S., at 44, 128        and the Italian Government to stop the sale of sodium
S.Ct. 1520.                                                      thiopental for use in lethal injections in this country.
                                                                 Bonner, Letter from Europe: Drug Company in Cross
While methods of execution have changed over the                 Hairs of Death Penalty Opponents, N.Y. Times, Mar.
years, “[t]his Court has never invalidated a State's chosen      30, 2011; Koppel, Drug Halt Hinders Executions in the
procedure for carrying out a sentence of death as the            U.S., Wall Street Journal, Jan. 22, 2011, p. A1. That effort
infliction of cruel and unusual punishment.” Id., at 48,         proved successful, and in January 2011, the company
128 S.Ct. 1520. In Wilkerson v. Utah, 99 U.S. 130, 134–          announced that it would exit the sodium thiopental
135, 25 L.Ed. 345 (1879), the Court upheld a sentence of         market entirely. See Hospira, Press Release, Hospira
death by firing squad. In In re Kemmler, supra, at 447–449,      Statement Regarding Pentothal ™ (sodium thiopental)
10 S.Ct. 930, the Court rejected a challenge to the use of       Market Exit (Jan. 21, 2011).
the electric chair. And the Court did not retreat from that
holding even when presented with a case in which a State's       After other efforts to procure sodium thiopental proved
initial attempt to execute a prisoner by electrocution was       unsuccessful, States sought an alternative, and they
unsuccessful. Louisiana ex rel. Francis v. Resweber, 329         eventually replaced sodium thiopental with pentobarbital,
U.S. 459, 463–464, 67 S.Ct. 374, 91 L.Ed. 422 (1947)             another barbiturate. In December 2010, Oklahoma
(plurality opinion). Most recently, in Baze, supra, seven        became the first State to execute an inmate using
Justices agreed that the three-drug protocol just discussed      pentobarbital. See Reuters, Chicago Tribune, New Drug
does not violate the Eighth Amendment.                           Mix Used in Oklahoma Execution, Dec. 17 2010,
                                                                 p. 41. That execution occurred without incident, and
Our decisions in this area have been animated in part            States gradually shifted to pentobarbital as their supplies
by the recognition that because it is settled that capital       of sodium thiopental ran out. It is reported that
punishment is constitutional, “[i]t necessarily follows that     pentobarbital was used in all of the 43 executions carried
there must be a [constitutional] *2733 means of carrying         out in 2012. The Death Penalty Institute, Execution List
it out.” Id., at 47, 128 S.Ct. 1520. And because some            2012, online at www.deathpenalty info.org/execution–
risk of pain is inherent in any method of execution, we          list–2012 (all Internet materials as visited June 26, 2015,
have held that the Constitution does not require the             and available in Clerk of Court's case file). Petitioners
avoidance of all risk of pain. Ibid. After all, while most       concede that pentobarbital, like sodium thiopental,
humans wish to die a painless death, many do not have            can “reliably induce and maintain a comalike state



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that renders a person insensate to pain” caused by               midazolam, as compared to the 500 milligrams that are
administration of the second and third drugs in the              currently required. On the morning of his execution,
protocol. Brief for Petitioners 2. And courts across             Lockett cut himself twice at “ ‘the bend of the
the country have held that the use of pentobarbital in           elbow.’ ” App. 50. That evening, the execution team
executions does not violate the Eighth Amendment. See,           spent nearly an hour making at least one dozen
e.g., Jackson v. Danberg, 656 F.3d 157 (C.A.3 2011); Beaty       attempts to establish intravenous (IV) access to Lockett's
v. Brewer, 649 F.3d 1071 (C.A.9 2011); DeYoung v. Owens,         cardiovascular system, including at his arms and elsewhere
646 F.3d 1319 (C.A.11 2011); Pavatt v. Jones, 627 F.3d           on his body. The team eventually believed that it had
1336 (C.A.10 2010).                                              established intravenous access through Lockett's right
                                                                 femoral vein, and it covered the injection access point
Before long, however, pentobarbital also became                  with a sheet, in part to preserve Lockett's dignity
unavailable. Anti-death-penalty advocates lobbied the            during the execution. After the team administered the
Danish manufacturer of the drug to stop selling it for           midazolam and a physician determined that Lockett was
use in executions. See Bonner, supra. That manufacturer          unconscious, the team next administered the paralytic
opposed the death penalty and took steps to block the            agent (vecuronium bromide) and most of the potassium
shipment of pentobarbital for use in executions in the           chloride. Lockett began to move and speak, at which
United States. Stein, New Obstacle to Death Penalty in           point the physician lifted the sheet and determined that
U.S., Washington Post, July 3, 2011, p. A4. Oklahoma             the IV had “infiltrated,” which means that “the IV fluid,
eventually became unable to acquire the drug through any         rather than entering Lockett's blood stream, had leaked
means. The District Court *2734 below found that both            into the tissue surrounding the IV access point.” Warner
sodium thiopental and pentobarbital are now unavailable          v. Gross, 776 F.3d 721, 725 (C.A.10 2015) (case below).
to Oklahoma. App. 67–68.                                         The execution team stopped administering the remaining
                                                                 potassium chloride and terminated the execution about 33
                                                                 minutes after the midazolam was first injected. About 10
                                                                 minutes later, Lockett was pronounced dead.
                            C

Unable to acquire either sodium thiopental or                    An investigation into the Lockett execution concluded
pentobarbital, some States have turned to midazolam,             that “the viability of the IV access point was the
a sedative in the benzodiazepine family of drugs. In             single greatest factor that contributed to the difficulty
October 2013, Florida became the first State to substitute       in administering the execution drugs.” App. 398. The
midazolam for pentobarbital as part of a three-drug lethal       investigation, which took five months to complete,
injection protocol. Fernandez, Executions Stall As States        recommended several changes to Oklahoma's execution
Seek Different Drugs, N.Y. Times, Nov. 9, 2013, p.               protocol, and Oklahoma adopted a new protocol with an
A1. To date, Florida has conducted 11 executions using           effective date of September 30, 2014. That protocol allows
that protocol, which calls for midazolam followed by a           the Oklahoma Department of Corrections to choose
paralytic agent and potassium chloride. See Brief for State      among four different drug combinations. The option that
of Florida as Amicus Curiae 2–3; Chavez v. Florida SP            Oklahoma plans to use to execute petitioners calls for the
Warden, 742 F.3d 1267, 1269 (C.A.11 2014). In 2014,              administration of 500 milligrams of midazolam followed
Oklahoma also substituted midazolam for pentobarbital            by a paralytic agent and potassium chloride. 1 *2735
as part of its three-drug protocol. Oklahoma has already         The paralytic agent may be pancuronium bromide,
used this three-drug protocol twice: to execute Clayton          vecuronium bromide, or rocuronium bromide, three drugs
Lockett in April 2014 and Charles Warner in January              that, all agree, are functionally equivalent for purposes
2015. (Warner was one of the four inmates who moved for          of this case. The protocol also includes procedural
a preliminary injunction in this case.)                          safeguards to help ensure that an inmate remains insensate
                                                                 to any pain caused by the administration of the paralytic
The Lockett execution caused Oklahoma to implement               agent and potassium chloride. Those safeguards include:
new safety precautions as part of its lethal injection           (1) the insertion of both a primary and backup IV catheter,
protocol. When Oklahoma executed Lockett, its protocol           (2) procedures to confirm the viability of the IV site, (3) the
called for the administration of 100 milligrams of               option to postpone an execution if viable IV sites cannot



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be established within an hour, (4) a mandatory pause             postconviction and federal habeas corpus relief. Having
between administration of the first and second drugs,            exhausted the avenues for challenging their convictions
(5) numerous procedures for monitoring the offender's            and sentences, they moved for a preliminary injunction
consciousness, including the use of an electrocardiograph        against Oklahoma's lethal injection protocol.
and direct observation, and (6) detailed provisions with
respect to the training and preparation of the execution
team. In January of this year, Oklahoma executed Warner
                                                                                               B
using these revised procedures and the combination of
midazolam, a paralytic agent, and potassium chloride.            In December 2014, after discovery, the District Court
                                                                 held a 3–day evidentiary hearing on the preliminary
                                                                 injunction motion. The District Court heard testimony
                             II                                  from 17 witnesses and reviewed numerous exhibits. Dr.
                                                                 David Lubarsky, an anesthesiologist, and Dr. Larry
                                                                 Sasich, a doctor of pharmacy, provided expert testimony
                             A                                   about midazolam for petitioners, and Dr. Roswell Evans,
                                                                 a doctor of pharmacy, provided expert testimony for
In June 2014, after Oklahoma switched from
                                                                 respondents.
pentobarbital to midazolam and executed Lockett, 21
Oklahoma death row inmates filed an action under 42
                                                                  *2736 After reviewing the evidence, the District Court
U.S.C. § 1983 challenging the State's new lethal injection
                                                                 issued an oral ruling denying the motion for a preliminary
protocol. The complaint alleged that Oklahoma's use of
                                                                 injunction. The District Court first rejected petitioners'
midazolam violates the Eighth Amendment's prohibition
                                                                 challenge under Daubert v. Merrell Dow Pharmaceuticals,
of cruel and unusual punishment.
                                                                 Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469
                                                                 (1993), to the testimony of Dr. Evans. It concluded that
In November 2014, four of those plaintiffs—Richard
                                                                 Dr. Evans, the Dean of Auburn University's School of
Glossip, Benjamin Cole, John Grant, and Warner—filed
                                                                 Pharmacy, was well qualified to testify about midazolam's
a motion for a preliminary injunction. All four men had
                                                                 properties and that he offered reliable testimony. The
been convicted of murder and sentenced to death by
                                                                 District Court then held that petitioners failed to establish
Oklahoma juries. Glossip hired Justin Sneed to kill his
                                                                 a likelihood of success on the merits of their claim that
employer, Barry Van Treese. Sneed entered a room where
                                                                 the use of midazolam violates the Eighth Amendment.
Van Treese was sleeping and beat him to death with
                                                                 The court provided two independent reasons for this
a baseball bat. See Glossip v. State, 2007 OK CR 12,
                                                                 conclusion. First, the court held that petitioners failed to
157 P.3d 143, 147–149. Cole murdered his 9–month–old
                                                                 identify a known and available method of execution that
daughter after she would not stop crying. Cole bent her
                                                                 presented a substantially less severe risk of pain than the
body backwards until he snapped her spine in half. After
                                                                 method that the State proposed to use. Second, the court
the child died, Cole played video games. See Cole v. State,
                                                                 found that petitioners failed to prove that Oklahoma's
2007 OK CR 27, 164 P.3d 1089, 1092–1093. Grant, while
                                                                 protocol “presents a risk that is ‘sure or very likely to
serving terms of imprisonment totaling 130 years, killed
                                                                 cause serious illness and needless suffering,’ amounting
Gay Carter, a prison food service supervisor, by pulling
                                                                 to ‘an objectively intolerable risk of harm.’ ” App. 96
her into a mop closet and stabbing her numerous times
                                                                 (quoting Baze, 553 U.S., at 50, 128 S.Ct. 1520). The
with a shank. See Grant v. State, 2002 OK CR 36, 58
                                                                 court emphasized that the Oklahoma protocol featured
P.3d 783, 789. Warner anally raped and murdered an 11–
                                                                 numerous safeguards, including the establishment of two
month–old girl. The child's injuries included two skull
                                                                 IV access sites, confirmation of the viability of those sites,
fractures, internal brain injuries, two fractures to her jaw,
                                                                 and monitoring of the offender's level of consciousness
a lacerated liver, and a bruised spleen and lungs. See
                                                                 throughout the procedure.
Warner v. State, 2006 OK CR 40, 144 P.3d 838, 856–857.

                                                                 The District Court supported its decision with findings of
The Oklahoma Court of Criminal Appeals affirmed the
                                                                 fact about midazolam. It found that a 500–milligram dose
murder conviction and death sentence of each offender.
                                                                 of midazolam “would make it a virtual certainty that any
Each of the men then unsuccessfully sought both state


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individual will be at a sufficient level of unconsciousness      infliction of “cruel and unusual punishments.” The
to resist the noxious stimuli which could occur from the         controlling opinion in Baze outlined what a prisoner must
application of the second and third drugs.” App. 77.             establish to succeed on an Eighth Amendment method-of-
Indeed, it found that a 500–milligram dose alone would           execution claim. Baze involved a challenge by Kentucky
likely cause death by respiratory arrest within 30 minutes       death row inmates to that State's three-drug lethal
or an hour.                                                      injection protocol of sodium thiopental, pancuronium
                                                                 bromide, and potassium chloride. The inmates conceded
The Court of Appeals for the Tenth Circuit affirmed.             that the protocol, if properly administered, would result
776 F.3d 721. The Court of Appeals explained that                in a humane and constitutional execution because sodium
our decision in Baze requires a plaintiff challenging a          thiopental would render an inmate oblivious to any pain
lethal injection protocol to demonstrate that the risk           caused by the second and third drugs. 553 U.S., at
of severe pain presented by an execution protocol is             49, 128 S.Ct. 1520. But they argued that there was an
substantial “ ‘when compared to the known and available          unacceptable risk that sodium thiopental would not be
alternatives.’ ” Id., at 732 (quoting Baze, supra, at 61,        properly administered. Ibid. The inmates also maintained
128 S.Ct. 1520). And it agreed with the District Court           that a significant risk of harm could be eliminated if
that petitioners had not identified any such alternative.        Kentucky adopted a one-drug protocol and additional
The Court of Appeals added, however, that this holding           monitoring by trained personnel. Id., at 51, 128 S.Ct. 1520.
was “not outcome-determinative in this case” because
petitioners additionally failed to establish that the use of      [2]     [3]    [4] The controlling opinion in Baze first
midazolam creates a demonstrated risk of severe pain.            concluded that prisoners cannot successfully challenge a
776 F.3d, at 732. The Court of Appeals found that the            method of execution unless they establish that the method
District Court did not abuse its discretion by relying on        presents a risk that is “ ‘sure or very likely to cause
Dr. Evans' testimony, and it concluded that the District         serious illness and needless suffering,’ and give rise to
Court's factual findings about midazolam were not clearly        ‘sufficiently imminent dangers.’ ” Id., at 50, 128 S.Ct.
erroneous. It also held that alleged errors in Dr. Evans'        1520 (quoting Helling v. McKinney, 509 U.S. 25, 33, 34–
testimony did not render his testimony unreliable or the         35, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993)). To prevail
District Court's findings clearly erroneous.                     on such a claim, “there must be a ‘substantial risk of
                                                                 serious harm,’ an ‘objectively intolerable risk of harm’
Oklahoma executed Warner on January 15, 2015, but                that prevents prison officials from pleading that they
we subsequently voted to grant review and then stayed            were ‘subjectively blameless for purposes of the Eighth
the executions of Glossip, Cole, and Grant pending the           Amendment.’ ” 553 U.S., at 50, 128 S.Ct. 1520 (quoting
resolution of this case. 574 U.S. ––––, 135 S.Ct. 1173, 190      Farmer v. Brennan, 511 U.S. 825, 846, and n. 9, 114 S.Ct.
L.Ed.2d 929 (2015).                                              1970, 128 L.Ed.2d 811 (1994)). The controlling opinion
                                                                 also stated that prisoners “cannot successfully challenge a
                                                                 State's method of execution merely by showing a slightly
                                                                 or marginally safer alternative.” 553 U.S., at 51, 128 S.Ct.
                            III
                                                                 1520. Instead, prisoners must identify an alternative that
 [1] “A plaintiff seeking a preliminary injunction must          is “feasible, readily implemented, and in fact significantly
establish that he is likely to succeed on the merits, that       reduce[s] a substantial risk of severe pain.” Id., at 52, 128
he is likely to suffer irreparable harm in the absence of        S.Ct. 1520.
preliminary relief, that the balance of equities tips in his
favor, and that an injunction is in the public interest.”        The controlling opinion summarized the requirements
Winter *2737 v. Natural Resources Defense Council, Inc.,         of an Eighth Amendment method-of-execution claim
555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008). The       as follows: “A stay of execution may not be granted
parties agree that this case turns on whether petitioners are    on grounds such as those asserted here unless the
able to establish a likelihood of success on the merits.         condemned prisoner establishes that the State's lethal
                                                                 injection protocol creates a demonstrated risk of severe
The Eighth Amendment, made applicable to the States              pain. [And] [h]e must show that the risk is substantial when
through the Fourteenth Amendment, prohibits the                  compared to the known and available alternatives.” Id.,



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at 61, 128 S.Ct. 1520. The preliminary injunction posture           the controlling opinion in Baze, 553 U.S., at 61, 128 S.Ct.
of the present case thus requires petitioners to establish a        1520, which imposed a requirement that the Court now
likelihood that they can establish both that Oklahoma's             follows. 2
lethal injection protocol creates a demonstrated risk of
severe pain and that the risk is substantial when compared          Petitioners contend that the requirement to identify an
to the known and available alternatives.                            alternative method of execution contravenes our pre-Baze
                                                                    decision in Hill v. McDonough, 547 U.S. 573, 126 S.Ct.
The challenge in Baze failed both because the Kentucky              2096, 165 L.Ed.2d 44 (2006), but they misread that
inmates did not show that the risks they identified were            decision. The portion of the opinion in Hill on which
substantial and imminent, id., at 56, 128 S.Ct. 1520, and           they rely concerned a question of civil procedure, not
because they did not establish the existence of a known             a substantive Eighth Amendment question. In Hill, the
and available alternative method of execution that would            issue was whether a challenge to a method of execution
entail a significantly less severe risk, id., at 57–60, 128 S.Ct.   must be brought by means of an application for a writ
1520. Petitioners' arguments here fail for similar reasons.         of habeas corpus or a civil action under § 1983. Id., at
First, petitioners have not proved that any risk posed              576, 126 S.Ct. 2096. We held that a method-of-execution
by midazolam is substantial *2738 when compared to                  claim must be brought under § 1983 because such a claim
known and available alternative methods of execution.               does not attack the validity of the prisoner's conviction or
Second, they have failed to establish that the District             death sentence. Id., at 579–580, 126 S.Ct. 2096. The United
Court committed clear error when it found that the use of           States as amicus curiae argued that we should adopt a
midazolam will not result in severe pain and suffering. We          special pleading requirement to stop inmates from using
address each reason in turn.                                        § 1983 actions to attack, not just a particular means of
                                                                    execution, but the death penalty itself. To achieve this
                                                                    end, the United States proposed that an inmate asserting
                               IV                                   a method-of-execution claim should be required to plead
                                                                    an acceptable alternative method of execution. Id., at
Our first ground for affirmance is based on petitioners'            582, 126 S.Ct. 2096. We rejected that argument because
failure to satisfy their burden of establishing that any            “[s]pecific pleading requirements are mandated *2739
risk of harm was substantial when compared to a known               by the Federal Rules of Civil Procedure, and not, as a
and available alternative method of execution. In their             general rule, through case-by-case determinations of the
amended complaint, petitioners proffered that the State             federal courts.” Ibid. Hill thus held that § 1983 alone
could use sodium thiopental as part of a single-drug                does not impose a heightened pleading requirement. Baze,
protocol. They have since suggested that it might also              on the other hand, addressed the substantive elements
be constitutional for Oklahoma to use pentobarbital. But            of an Eighth Amendment method-of-execution claim,
the District Court found that both sodium thiopental                and it made clear that the Eighth Amendment requires
and pentobarbital are now unavailable to Oklahoma's                 a prisoner to plead and prove a known and available
Department of Corrections. The Court of Appeals                     alternative. Because petitioners failed to do this, the
affirmed that finding, and it is not clearly erroneous. On          District Court properly held that they did not establish a
the contrary, the record shows that Oklahoma has been               likelihood of success on their Eighth Amendment claim.
unable to procure those drugs despite a good-faith effort
to do so.                                                           Readers can judge for themselves how much distance
                                                                    there is between the principal dissent's argument against
 [5] Petitioners do not seriously contest this factual              requiring prisoners to identify an alternative and the view,
finding, and they have not identified any available drug or         now announced by Justices BREYER and GINSBURG,
drugs that could be used in place of those that Oklahoma            that the death penalty is categorically unconstitutional.
is now unable to obtain. Nor have they shown a risk of              Post, p. 2759 (BREYER, J., dissenting). The principal
pain so great that other acceptable, available methods              dissent goes out of its way to suggest that a State would
must be used. Instead, they argue that they need not                violate the Eighth Amendment if it used one of the
identify a known and available method of execution that             methods of execution employed before the advent of
presents less risk. But this argument is inconsistent with          lethal injection. Post, at 2770 – 2772. And the principal



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dissent makes this suggestion even though the Court
held in Wilkerson that this method (the firing squad)             [8] Third, numerous courts have concluded that the use
is constitutional and even though, in the words of the           of midazolam as the first drug in a three-drug protocol is
principal dissent, “there is some reason to think that it        likely to render an inmate insensate to pain that *2740
is relatively quick and painless.” Post, at 2796. Tellingly      might result from administration of the paralytic agent
silent about the methods of execution most commonly              and potassium chloride. See, e.g., 776 F.3d 721 (case
used before States switched to lethal injection (the electric    below affirming the District Court); Chavez v. Florida SP
chair and gas chamber), the principal dissent implies that       Warden, 742 F.3d 1267 (affirming the District Court);
it would be unconstitutional to use a method that “could         Banks v. State, 150 So.3d 797 (Fla.2014) (affirming the
be seen as a devolution to a more primitive era.” Ibid.          lower court); Howell v. State, 133 So.3d 511 (Fla.2014)
If States cannot return to any of the “more primitive”           (same); Muhammad v. State, 132 So.3d 176 (Fla.2013)
methods used in the past and if no drug that meets with the      (same). (It is noteworthy that one or both of the two key
principal dissent's approval is available for use in carrying    witnesses in this case—Dr. Lubarsky for petitioners and
out a death sentence, the logical conclusion is clear. But we    Dr. Evans for respondents—were witnesses in the Chavez,
have time and again reaffirmed that capital punishment is        Howell, and Muhammad cases.) “Where an intermediate
not per se unconstitutional. See, e.g., Baze, 553 U.S., at       court reviews, and affirms, a trial court's factual findings,
47, 128 S.Ct. 1520; id., at 87–88, 128 S.Ct. 1520 (SCALIA,       this Court will not ‘lightly overturn’ the concurrent
J., concurring in judgment); Gregg, 428 U.S., at 187, 96         findings of the two lower courts.” Easley v. Cromartie, 532
S.Ct. 2909 (joint opinion of Stewart, Powell, and Stevens,       U.S. 234, 242, 121 S.Ct. 1452, 149 L.Ed.2d 430 (2001). Our
JJ.); id., at 226, 96 S.Ct. 2909 (White, J., concurring in       review is even more deferential where, as here, multiple
judgment); Resweber, 329 U.S., at 464, 67 S.Ct. 374; In          trial courts have reached the same finding, and multiple
re Kemmler, 136 U.S., at 447, 10 S.Ct. 930; Wilkerson, 99        appellate courts have affirmed those findings. Cf. Exxon
U.S., at 134–135. We decline to effectively overrule these       Co., U.S.A. v. Sofec, Inc., 517 U.S. 830, 841, 116 S.Ct.
decisions.                                                       1813, 135 L.Ed.2d 113 (1996) (explaining that this Court
                                                                 “ ‘cannot undertake to review concurrent findings of fact
                                                                 by two courts below in the absence of a very obvious and
                                                                 exceptional showing of error’ ” (quoting Graver Tank &
                             V
                                                                 Mfg. Co. v. Linde Air Products Co., 336 U.S. 271, 275, 69
We also affirm for a second reason: The District Court did       S.Ct. 535, 93 L.Ed. 672 (1949))).
not commit clear error when it found that midazolam is
highly likely to render a person unable to feel pain during Fourth, challenges to lethal injection protocols test the
an execution. We emphasize four points at the outset of     boundaries of the authority and competency of federal
our analysis.                                               courts. Although we must invalidate a lethal injection
                                                            protocol if it violates the Eighth Amendment, federal
 [6]   [7] First, we review the District Court's factual courts should not “embroil [themselves] in ongoing
findings under the deferential “clear error” standard. This scientific controversies beyond their expertise.” Baze,
standard does not entitle us to overturn a finding “simply  supra, at 51, 128 S.Ct. 1520. Accordingly, an inmate
because [we are] convinced that [we] would have decided     challenging  a protocol bears the burden to show, based on
the case differently.” Anderson v. Bessemer City, 470 U.S.  evidence presented to the court, that there is a substantial
564, 573, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985).            risk of severe pain.


Second, petitioners bear the burden of persuasion on
this issue. Baze, supra, at 41, 128 S.Ct. 1520. Although                                     A
petitioners expend great effort attacking peripheral
aspects of Dr. Evans' testimony, they make little attempt        [9]     [10]    Petitioners attack the District Court's
to prove what is critical, i.e., that the evidence they          findings of fact on two main grounds. 3 First, they
presented to the District Court establishes that the use         argue that even if midazolam is powerful enough to
of midazolam is sure or very likely to result in needless        induce unconsciousness, it is too weak to maintain
suffering.                                                       unconsciousness and insensitivity to pain once the second


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and third drugs are administered. Second, while conceding        [ions]’ ” from studies done about much lower therapeutic
that the 500–milligram dose of midazolam is much higher          doses of midazolam. See Brief for Petitioners 34 (citing Tr.
than the normal therapeutic dose, they contend that              667–668; emphasis deleted). But because a 500–milligram
this fact is irrelevant because midazolam has a “ceiling         dose is never administered for a therapeutic purpose,
effect”—that is, at a certain point, an increase in the          extrapolation was reasonable. And the conclusions of
dose administered will not have any greater effect on the        petitioners' experts were also based on extrapolations
inmate. Neither argument succeeds.                               and assumptions. For example, Dr. Lubarsky relied on
                                                                 “extrapolation of the ceiling effect data.” App. 177.
The District Court found that midazolam is capable of
placing a person “at a sufficient level of unconsciousness       Based on the evidence that the parties presented to the
to resist the noxious stimuli which could occur from             District Court, we must affirm. Testimony from both sides
the application of the second and third drugs.” App.             supports the District Court's conclusion that midazolam
77. This conclusion was not clearly *2741 erroneous.             can render a person insensate to pain. Dr. Evans
Respondents' expert, Dr. Evans, testified that the proper        testified that although midazolam is not an analgesic,
administration of a 500–milligram dose of midazolam              it can nonetheless “render the person unconscious and
would make it “a virtual certainty” that any individual          ‘insensate’ during the remainder of the procedure.” Id.,
would be “at a sufficient level of unconsciousness to resist     at 294. In his discussion about the ceiling effect, Dr.
the noxious stimuli which could occur from application of        Sasich agreed that as the dose of midazolam increases, it is
the 2nd and 3rd drugs” used in the Oklahoma protocol.            “expected to produce sedation, amnesia, and finally lack
Id., at 302; see also id., at 322. And petitioners' experts      of response to stimuli such as pain (unconsciousness).”
acknowledged that they had no contrary scientific proof.         Id., at 243. Petitioners argue that midazolam is not
See id., at 243–244 (Dr. Sasich stating that the ability of      powerful enough to keep a person insensate to pain
midazolam to render a person insensate to the second and         after the administration of the second and third drugs,
third drugs “has not been subjected to scientific testing”);     but Dr. Evans presented creditable testimony to the
id., at 176 (Dr. Lubarsky stating that “there is no scientific   contrary. See, e.g., Tr. 661 (testifying that a 500–milligram
literature addressing the use of midazolam as a manner to        dose of midazolam will induce a coma). 4 Indeed, low
administer lethal injections in humans”).                        doses of midazolam *2742 are sufficient to induce
                                                                 unconsciousness and are even sometimes used as the sole
In an effort to explain this dearth of evidence, Dr. Sasich      relevant drug in certain medical procedures. Dr. Sasich
testified that “[i]t's not my responsibility or the [Food        conceded, for example, that midazolam might be used for
and Drug Administration's] responsibility to prove that          medical procedures like colonoscopies and gastroscopies.
the drug doesn't work or is not safe.” Tr. of Preliminary
                                                                 App. 267–268; see also Brief for Respondents 6–8. 5
Injunction Hearing 357 (Tr.). Instead, he stated, “it's the
responsibility of the proponent to show that the drug is
                                                                 Petitioners emphasize that midazolam is not
safe and effective.” Ibid. Dr. Sasich confused the standard
                                                                 recommended or approved for use as the sole anesthetic
imposed on a drug manufacturer seeking approval of a
                                                                 during painful surgery, but there are two reasons why this
therapeutic drug with the standard that must be borne
                                                                 is not dispositive. First, as the District Court found, the
by a party challenging a State's lethal injection protocol.
                                                                 500–milligram dose at issue here “is many times higher
When a method of execution is authorized under state law,
                                                                 than a normal therapeutic dose of midazolam.” App. 76.
a party contending that this method violates the Eighth
                                                                 The effect of a small dose of midazolam has minimal
Amendment bears the burden of showing that the method
                                                                 probative value about the effect of a 500–milligram dose.
creates an unacceptable risk of pain. Here, petitioners'
                                                                 Second, the fact that a low dose of midazolam is not
own experts effectively conceded that they lacked evidence
                                                                 the best drug for maintaining unconsciousness during
to prove their case beyond dispute.
                                                                 surgery says little about whether a 500–milligram dose
                                                                 of midazolam is constitutionally adequate for purposes
Petitioners attempt to avoid this deficiency by criticizing
                                                                 of conducting an execution. We recognized this point
respondents' expert. They argue that the District Court
                                                                 in Baze, where we concluded that although the medical
should not have credited Dr. Evans' testimony because
                                                                 standard of care might require the use of a blood pressure
he admitted that his findings were based on “ ‘extrapolat
                                                                 cuff and an electrocardiogram during surgeries, this does


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not mean those procedures are required for an execution           have the effect of rendering a person insensate to pain
to pass Eighth Amendment scrutiny. 553 U.S., at 60, 128           caused by the second and third drugs.
S.Ct. 1520.
                                                                  Petitioners provided little probative evidence on this
Oklahoma has also adopted important safeguards                    point, and the speculative evidence that they did present
to ensure that midazolam is properly administered.                to the District Court does not come close to establishing
The District Court emphasized three requirements in               that its factual findings were clearly erroneous. Dr. Sasich
particular: The execution team must secure both a primary         stated in his expert report that the literature “indicates”
and backup IV access site, it must confirm the viability          that midazolam has a ceiling effect, but he conceded that
of the IV sites, and it must continuously monitor the             he “was unable to determine the midazolam dose for
offender's level of consciousness. The District Court did         a ceiling effect on unconsciousness because there is no
not commit clear error in concluding that these safeguards        literature in which such testing has been done.” App. 243–
help to minimize any risk that might occur in the event           244. Dr. Lubarsky's report was similar, id., at 171–172,
that midazolam does not operate as intended. Indeed,              and the testimony of petitioners' experts at the hearing
we concluded in Baze that many of the safeguards that             was no more compelling. Dr. Sasich frankly admitted that
Oklahoma employs—including the establishment of a                 he did a “search to try and determine at what dose of
primary and backup IV and the presence of personnel               midazolam you would get a ceiling effect,” but concluded:
to monitor an inmate—help in significantly reducing the           “I could not find one.” Tr. 344. The closest petitioners
risk that an execution protocol will violate the Eighth           came was Dr. Lubarsky's suggestion that the ceiling effect
Amendment. Id., at 55–56, 128 S.Ct. 1520. And many                occurs “[p]robably after about ... 40 to 50 milligrams,”
other safeguards that Oklahoma has adopted mirror those           but he added that he had not actually done the relevant
that the dissent in Baze complained were absent from              calculations, and he admitted: “I can't tell you right now”
Kentucky's protocol in that case. For example, the dissent        at what dose the ceiling effect occurs. App. 225. We cannot
argued that because a consciousness check before injection        conclude that the District Court committed clear error in
of the second drug “can reduce a risk of dreadful pain,”          declining to find, based on such speculative evidence, that
Kentucky's failure to include that step in its procedure          the ceiling effect negates midazolam's ability to render an
was unconstitutional. Id., at 119, 128 S.Ct. 1520 (opinion        inmate insensate to pain caused by the second and third
of GINSBURG, J.). The dissent also complained that                drugs in the protocol.
Kentucky did not monitor the effectiveness of the first
drug or pause between injection of the first and second           The principal dissent discusses the ceiling effect at
drugs. Id., at 120–121, 128 S.Ct. 1520. Oklahoma has              length, but it studiously avoids suggesting that petitioners
accommodated each of those concerns.                              presented probative evidence about the dose at which the
                                                                  ceiling effect occurs or about whether the effect occurs
                                                                  before a person becomes insensate to pain. The principal
                                                                  dissent avoids these critical issues by suggesting that such
                              B
                                                                  evidence is “irrelevant if there is no dose at which the
Petitioners assert that midazolam's “ceiling effect”              drug can ... render a person ‘insensate to pain.’ ” Post, at
undermines the District Court's *2743 finding about               2789. But the District Court heard evidence that the drug
the effectiveness of the huge dose administered in the            can render a person insensate to pain, and not just from
Oklahoma protocol. Petitioners argue that midazolam has           Dr. Evans: Dr. Sasich (one of petitioners' own experts)
a “ceiling” above which any increase in dosage produces           testified that higher doses of midazolam are “expected to
no effect. As a result, they maintain, it is wrong to assume      produce ... lack of response to stimuli such as pain.” App.
that a 500–milligram dose has a much greater effect than a        243. 6
therapeutic dose of about 5 milligrams. But the mere fact
that midazolam has such a ceiling cannot be dispositive.          In their brief, petitioners attempt to deflect attention from
Dr. Sasich testified that “all drugs essentially have a ceiling   their failure of proof regarding midazolam's ceiling effect
effect.” Tr. 343. The relevant question here is whether           by criticizing Dr. Evans' testimony. But it was petitioners'
midazolam's ceiling effect occurs below the level of a 500–       burden to establish that midazolam's ceiling occurred at
milligram dose and at a point at which the drug does not          a dosage below the massive 500–milligram dose employed



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in the Oklahoma protocol and at a point at which the             Court's findings clearly erroneous with respect to that
drug failed to render the recipient insensate to pain. They      critical issue.
did *2744 not meet that burden, and their criticisms
do not undermine Dr. Evans' central point, which the
District Court credited, that a properly administered 500–
                                                                                              C
milligram dose of midazolam will render the recipient
unable to feel pain.                                              [11] Petitioners' remaining arguments about midazolam
                                                                 all lack merit. First, we are not persuaded by petitioners'
One of petitioners' criticisms of Dr. Evans' testimony           argument that Dr. Evans' testimony should have been
is little more than a quibble about the wording chosen           rejected because of some of the sources listed in his
by Dr. Evans at one point in his oral testimony.                 report. Petitioners criticize two of the “selected references”
Petitioners' expert, Dr. Lubarsky, stated in his report          that Dr. Evans cited in his expert report: the Web site
that midazolam “increases effective binding of [gamma-           drugs.com and a material safety data sheet (MSDS) about
aminobutyric acid (GABA) ] to its receptor to induce             midazolam. Petitioners' argument is more of a Daubert
unconsciousness.” 7 App. 172. Dr. Evans' report provided         challenge to Dr. Evans' testimony than an argument
a similar explanation of the way in which midazolam              that the District Court's findings were clearly erroneous.
works, see id., at 293–294, and Dr. Lubarsky did not             The District Court concluded that Dr. Evans was “well-
dispute the accuracy of that explanation when he testified       qualified to give the expert testimony that he gave” and
at the hearing. Petitioners contend, however, that Dr.           that “his testimony was the product of reliable principles
Evans erred when he said at the hearing that “[m]idazolam        and methods reliably applied to the facts of this case.”
attaches to GABA receptors, inhibiting GABA.” Id.,               App. 75–76. To the extent that the reliability of Dr.
at 312 (emphasis added). Petitioners contend that this           Evans' testimony is even before us, the District Court's
statement was incorrect because “far from inhibiting             conclusion that his testimony was based on reliable
GABA, midazolam facilitates its binding to GABA                  sources is reviewed under the deferential *2745 “abuse-
receptors.” Brief for Petitioners 38.                            of-discretion” standard. General Elec. Co. v. Joiner, 522
                                                                 U.S. 136, 142–143, 118 S.Ct. 512, 139 L.Ed.2d 508
In making this argument, petitioners are simply                  (1997). Dr. Evans relied on multiple sources and his
quarrelling with the words that Dr. Evans used during oral       own expertise, and his testimony may not be disqualified
testimony in an effort to explain how midazolam works            simply because one source (drugs.com) warns that it
in terms understandable to a layman. Petitioners do not          “ ‘is not intended for medical advice’ ” and another
suggest that the discussion of midazolam in Dr. Evans'           (the MSDS) states that its information is provided “
expert report was inaccurate, and as for Dr. Evans' passing      ‘without any warranty, express or implied, regarding
use of the term “inhibiting,” Dr. Lubarsky's own expert          its correctness.’ ” Brief for Petitioners 36. Medical
report states that GABA's “inhibition of brain activity is       journals that both parties rely upon typically contain
accentuated by midazolam.” App. 232 (emphasis added).            similar disclaimers. See, e.g., Anesthesiology, Terms
Dr. Evans' oral use of the word “inhibiting”—particularly        and Conditions of Use, online at http://anesthesiology.
in light of his written testimony—does not invalidate the        pubs.asahq.org/ss/terms.aspx (“None of the information
District Court's decision to rely on his testimony.              on this Site shall be used to diagnose or treat any health
                                                                 problem or disease”). Dr. Lubarsky—petitioners' own
Petitioners also point to an apparent conflict between           expert—relied on an MSDS to argue that midazolam
Dr. Evans' testimony and a declaration by Dr. Lubarsky           has a ceiling effect. And petitioners do not identify any
(submitted after the District Court ruled) regarding             incorrect statements from drugs.com on which Dr. Evans
the biological process that produces midazolam's ceiling         relied. In fact, although Dr. Sasich submitted a declaration
effect. But even if Dr. Lubarsky's declaration is correct,       to the Court of Appeals criticizing Dr. Evans' reference
it is largely beside the point. What matters for present         to drugs.com, that declaration does not identify a single
purposes is the dosage at which the ceiling effect kicks in,     fact from that site's discussion of midazolam that was
not the biological process that produces the effect. And         materially inaccurate.
Dr. Lubarsky's declaration does not render the District




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Second, petitioners argue that Dr. Evans' expert report          drug protocol at issue here, and those appear to have been
contained a mathematical error, but we find this argument        conducted without any significant problems. See Brief
insignificant. Dr. Evans stated in his expert report             for Respondents 32; Brief for State of Florida as Amicus
that the lowest dose of midazolam resulting in human             Curiae 1. Moreover, Lockett was administered only 100
deaths, according to an MSDS, is 0.071 mg/kg delivered           milligrams of midazolam, and Oklahoma's investigation
intravenously. App. 294. Dr. Lubarsky agreed with this           into that execution concluded that the difficulties were due
statement. Specifically, he testified that fatalities have       primarily to the execution team's inability to obtain an
occurred in doses ranging from 0.04 to 0.07 mg/kg, and           IV access site. And the Wood execution did not involve
he stated that Dr. Evans' testimony to that effect was “a        the protocol at issue here. Wood did not receive a single
true statement” (though he added those fatalities occurred       dose of 500 milligrams of midazolam; instead, he received
among the elderly). Id., at 217. We do not understand            fifteen 50–milligram doses over the span of two hours. 8
petitioners to dispute the testimony of Dr. Evans and            Brief for Respondents 12, n. 9. And Arizona used a
their own expert that 0.071 mg/kg is a potentially fatal         different two-drug protocol that paired midazolam with
dose of midazolam. Instead, they make much of the fact           hydromorphone, a drug that is not at issue in this case.
that the MSDS attached to Dr. Evans' report apparently           Ibid. When all of the circumstances are considered, the
contained a typographical error and reported the lowest          Lockett and Wood executions have little probative value
toxic dose as 71 mg/kg. That Dr. Evans did not repeat            for present purposes.
that incorrect figure but instead reported the correct dose
supports rather than undermines his testimony. In any            Finally, we find it appropriate to respond to the
event, the alleged error in the MSDS is irrelevant because       principal dissent's groundless suggestion that our decision
the District Court expressly stated that it did not rely on      is tantamount to allowing prisoners to be “drawn and
the figure in the MSDS. See id., at 75.                          quartered, slowly tortured to death, or actually burned at
                                                                 the stake.” Post, at 2795. That is simply not true, and the
Third, petitioners argue that there is no consensus among        principal dissent's resort to this outlandish rhetoric reveals
the States regarding midazolam's efficacy because only           the weakness of its legal arguments.
four States (Oklahoma, Arizona, Florida, and Ohio) have
used midazolam as part of an execution. Petitioners rely
on the plurality's statement in Baze that “it is difficult
to regard a practice as ‘objectively intolerable’ when it                                     VI
is in fact widely tolerated,” and the plurality's emphasis
                                                                 For these reasons, the judgment of the Court of Appeals
on the fact that 36 States had adopted lethal injection
                                                                 for the Tenth Circuit is affirmed.
and 30 States used the particular three-drug protocol at
issue in that case. 553 U.S., at 53, 128 S.Ct. 1520. But
                                                                 It is so ordered.
while the near-universal use of the particular protocol at
issue in Baze supported our conclusion that this protocol
did not violate the Eighth Amendment, we did not say
that the converse was true, i.e., that other protocols or        Justice SCALIA, with whom Justice THOMAS joins,
methods of execution are of doubtful constitutionality.          concurring.
That argument, if accepted, would hamper the adoption of         I join the opinion of the Court, and write to respond to
new and potentially more humane methods of execution             Justice BREYER's plea for judicial abolition of the death
and would prevent States from adapting to changes in the         penalty.
availability of suitable drugs.
                                                                 Welcome to Groundhog Day. The scene is familiar:
Fourth, petitioners argue that difficulties with                 Petitioners, sentenced to die for the crimes they committed
Oklahoma's execution of Lockett and Arizona's July 2014          (including, in the case of one petitioner since put to death,
execution of Joseph Wood establish that midazolam is             raping and murdering an 11–month–old baby), come
sure or very likely to cause serious pain. We are not            before this Court asking us to nullify their sentences as
persuaded. Aside from the *2746 Lockett execution, 12            “cruel and unusual” under the Eighth Amendment. They
other executions have been conducted using the three-            rely on this provision because it is the only provision



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they can rely on. They were charged by a sovereign               Moreover, the “pressure on police, prosecutors, and
State with murder. They were afforded counsel and tried          jurors to secure a conviction,” which he claims increases
before a jury of their peers—tried twice, once to determine      the risk of wrongful convictions in capital cases, flows
 *2747 whether they were guilty and once to determine            from the nature of the crime, not the punishment that
whether death was the appropriate sentence. They were            follows its commission. Post, at 2757 – 2758. Justice
duly convicted and sentenced. They were granted the              BREYER acknowledges as much: “[T]he crimes at issue
right to appeal and to seek postconviction relief, first in      in capital cases are typically horrendous murders, and
state and then in federal court. And now, acknowledging          thus accompanied by intense community pressure.” Ibid.
that their convictions are unassailable, they ask us for         That same pressure would exist, and the same risk of
clemency, as though clemency were ours to give.                  wrongful convictions, if horrendous death-penalty cases
                                                                 were converted into equally horrendous life-without-
The response is also familiar: A vocal minority of the           parole cases. The reality is that any innocent defendant
Court, waving over their heads a ream of the most recent         is infinitely better off appealing a death sentence than
abolitionist studies (a superabundant genre) as though           a sentence of life imprisonment. (Which, again, Justice
they have discovered the lost folios of Shakespeare, insist      BREYER acknowledges: “[C]ourts (or State Governors)
that now, at long last, the death penalty must be abolished      are 130 times more likely to exonerate a defendant
for good. Mind you, not once in the history of the               where a death sentence is at issue,” post, at 2757.) The
American Republic has this Court ever suggested the              capital convict will obtain endless legal assistance from
death penalty is categorically impermissible. The reason         the abolition lobby (and legal favoritism from abolitionist
is obvious: It is impossible to hold unconstitutional that       judges), while the lifer languishes unnoticed behind bars.
which the Constitution explicitly contemplates. The Fifth
Amendment provides that “[n]o person shall be held to            Justice BREYER next says that the death penalty is
answer for a capital ... crime, unless on a presentment          cruel because it is arbitrary. To prove this point, he
or indictment of a Grand Jury,” and that no person               points to a study of 205 cases that “measured the
shall be “deprived of life ... without due process of law.”      ‘egregiousness' of the murderer's conduct” *2748 with “a
Nevertheless, today Justice BREYER takes on the role of          system of metrics,” and then “compared the egregiousness
the abolitionists in this long-running drama, arguing that       of the conduct of the 9 defendants sentenced to death
the text of the Constitution and two centuries of history        with the egregiousness of the conduct of defendants
must yield to his “20 years of experience on this Court,”        in the remaining 196 cases [who were not sentenced
and inviting full briefing on the continued permissibility       to death],” post, at 2760. If only Aristotle, Aquinas,
of capital punishment, post, at 2781 (dissenting opinion).       and Hume knew that moral philosophy could be so
                                                                 neatly distilled into a pocket-sized, vade mecum “system
Historically, the Eighth Amendment was understood                of metrics.” Of course it cannot: Egregiousness is a
to bar only those punishments that added “ ‘terror,              moral judgment susceptible of few hard-and-fast rules.
pain, or disgrace’ ” to an otherwise permissible capital         More importantly, egregiousness of the crime is only
sentence. Baze v. Rees, 553 U.S. 35, 96, 128 S.Ct. 1520,         one of several factors that render a punishment condign
170 L.Ed.2d 420 (2008) (THOMAS, J., concurring in                —culpability, rehabilitative potential, and the need for
judgment). Rather than bother with this troubling detail,        deterrence also are relevant. That is why this Court has
Justice BREYER elects to contort the constitutional text.        required an individualized consideration of all mitigating
Redefining “cruel” to mean “unreliable,” “arbitrary,” or         circumstances, rather than formulaic application of some
causing “excessive delays,” and “unusual” to include a           egregiousness test.
“decline in use,” he proceeds to offer up a white paper
devoid of any meaningful legal argument.                         It is because these questions are contextual and admit of
                                                                 no easy answers that we rely on juries to make judgments
Even accepting Justice BREYER's rewriting of the                 about the people and crimes before them. The fact that
Eighth Amendment, his argument is full of internal               these judgments may vary across cases is an inevitable
contradictions and (it must be said) gobbledy-gook. He           consequence of the jury trial, that cornerstone of Anglo–
says that the death penalty is cruel because it is unreliable;   American judicial procedure. But when a punishment
but it is convictions, not punishments, that are unreliable.     is authorized by law—if you kill you are subject to



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death—the fact that some defendants receive mercy from           (2003) (“[E]ach execution results, on average, in eighteen
their jury no more renders the underlying punishment             fewer murders” per year); Sunstein & Vermeule, Is Capital
“cruel” than does the fact that some guilty individuals are      Punishment Morally Required? Acts, Omissions, and
never apprehended, are never tried, are acquitted, or are        Life–Life Tradeoffs, 58 Stan. L. Rev. 703, 713 (2005) (“All
pardoned.                                                        in all, the recent evidence of a deterrent effect from capital
                                                                 punishment seems impressive, especially in light of its
Justice BREYER's third reason that the death penalty is          ‘apparent power and unanimity’ ”). But we federal judges
cruel is that it entails delay, thereby (1) subjecting inmates   live in a world apart from the vast majority of Americans.
to long periods on death row and (2) undermining the             After work, we retire to homes in placid suburbia or to
penological justifications of the death penalty. The first       high-rise co-ops with guards at the door. We are not
point is nonsense. Life without parole is an even lengthier      confronted with the threat of violence that is ever present
period than the wait on death row; and if the objection          in many Americans' everyday lives. The suggestion that
is that death row is a more confining environment, the           the incremental deterrent effect of capital punishment
solution should be modifying the environment rather than         does not seem “significant” reflects, it seems to me, a let-
abolishing the death penalty. As for the argument that           them-eat-cake obliviousness to the needs of others. Let
delay undermines the penological rationales for the death        the People decide how much incremental deterrence is
penalty: In insisting that “the major alternative to capital     appropriate.
punishment—namely, life in prison without possibility
of parole—also incapacitates,” post, at 2767, Justice            Of course, this delay is a problem of the Court's
BREYER apparently forgets that one of the plaintiffs in          own making. As Justice BREYER concedes, for more
this very case was already in prison when he committed the       than 160 years, capital sentences were carried out in
murder that landed him on death row. Justice BREYER              an average of two years or less. Post, at 2764. But
further asserts that “whatever interest in retribution might     by 2014, he tells us, it took an average of 18 years
be served by the death penalty as currently administered,        to carry out a death sentence. Id., at 2764 – 2765.
that interest can be served almost as well by a sentence of      What happened in the intervening years? Nothing other
life in prison without parole,” post, at 2769. My goodness.      than the proliferation of labyrinthine restrictions on
If he thinks the death penalty not much more harsh (and          capital punishment, promulgated by this Court under an
hence not much more retributive), why is he so keen to get       interpretation of the Eighth Amendment that empowered
rid of it? With all due respect, whether the death penalty       it to divine “the evolving standards of decency that mark
and life imprisonment constitute more-or-less equivalent         the progress of a maturing society,” Trop v. Dulles, 356
retribution is a question far above the judiciary's pay          U.S. 86, 101, 78 S.Ct. 590, 2 L.Ed.2d 630 (1958) (plurality
grade. Perhaps Justice BREYER is more forgiving—or               opinion)—a task for which we are eminently ill suited.
more enlightened—than those who, like Kant, believe              Indeed, for the past two decades, Justice BREYER has
that death is the only just punishment for taking a life.        been the Drum Major in this parade. His invocation
I would not presume to tell parents whose life has been          of the resultant delay as grounds for abolishing the
forever altered by the brutal murder of a child that life        death penalty calls to mind the man sentenced to death
imprisonment is punishment enough.                               for killing his parents, who pleads for mercy on the
                                                                 ground that he is an orphan. Amplifying the surrealism
And finally, Justice BREYER speculates that it does not          of his argument, Justice BREYER uses the fact that
“seem likely” that the death penalty has a “significant”         many States have abandoned capital punishment—have
deterrent effect. Post, at 2768. It seems very likely to         abandoned it precisely because of the costs those suspect
me, and there are statistical studies that say so. See,          decisions have imposed—to conclude that it is now
e.g., Zimmerman, State Executions, Deterrence, and               “unusual.” Post, at 2772 – 2776. (A caution to the
the Incidence of Murder, 7 J. Applied Econ. 163, 166             reader: Do not use the creative arithmetic that Justice
(2004) (“[I]t is estimated that each state execution deters      BREYER employs in counting the number of States
approximately fourteen murders per year on average”);            that use the death penalty when you prepare your next
Dezhbakhsh, Rubin, & Shepherd, *2749 Does Capital                tax return; outside the world of our Eighth Amendment
Punishment Have a Deterrent Effect? New Evidence from            abolitionist-inspired jurisprudence, it will be regarded as
Postmoratorium Panel Data, 5 Am. L. & Econ. Rev. 344             more misrepresentation than math.)



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                                                                 Eighth Amendment advanced in the plurality opinion in
If we were to travel down the path that Justice                  Baze is erroneous, I join the Court's opinion in full because
BREYER sets out for us and once again consider the               it correctly explains why petitioners' claim fails even under
constitutionality of the death penalty, I would ask that         that controlling opinion.
counsel also brief whether our cases that have abandoned
the historical understanding of the Eighth Amendment,            I write separately to respond to Justice BREYER's dissent
beginning with Trop, should be overruled. That case has          questioning the constitutionality of the death penalty
caused more mischief to our jurisprudence, to our federal        generally. No more need be said about the constitutional
system, and to our society than any other that comes to          arguments on which Justice BREYER relies, as my
mind. Justice BREYER's dissent is the living refutation          colleagues and I have elsewhere refuted them. 1 But
of Trop 's assumption that this Court has the capacity           Justice *2751 BREYER's assertion, post, at 2760, that
to recognize “evolving standards of decency.” Time and           the death penalty in this country has fallen short of
again, the People have voted to exact the death penalty          the aspiration that capital punishment be reserved for
as punishment for the most serious of crimes. Time and           the “worst of the worst”—a notion itself based on an
again, this Court has upheld that decision. And time and         implicit proportionality principle that has long been
again, a vocal minority of this Court has insisted that          discredited, see Harmelin v. Michigan, 501 U.S. 957,
things have “changed radically,” post, at 2755, and has          966, 111 S.Ct. 2680, 115 L.Ed.2d 836 (1991) (opinion of
sought to replace the judgments of the People with their         SCALIA, J.)—merits further comment. His conclusion is
own standards of decency.                                        based on an analysis that itself provides a powerful case
                                                                 against enforcing an imaginary constitutional rule against
Capital punishment presents moral questions that                 “arbitrariness.”
philosophers, theologians, *2750 and statesmen have
grappled with for millennia. The Framers of our                  The thrust of Justice Breyer's argument is that empirical
Constitution disagreed bitterly on the matter. For that          studies performed by death penalty abolitionists reveal
reason, they handled it the same way they handled many           that the assignment of death sentences does not necessarily
other controversial issues: they left it to the People to        correspond to the “egregiousness” of the crimes, but
decide. By arrogating to himself the power to overturn           instead appears to be correlated to “arbitrary” factors,
that decision, Justice BREYER does not just reject the           such as the locality in which the crime was committed.
death penalty, he rejects the Enlightenment.                     Relying on these studies to determine the constitutionality
                                                                 of the death penalty fails to respect the values implicit
                                                                 in the Constitution's allocation of decisionmaking in this
Justice THOMAS, with whom Justice SCALIA joins,
                                                                 context. The Donohue study, on which Justice BREYER
concurring.
                                                                 relies most heavily, measured the “egregiousness” (or
I agree with the Court that petitioners' Eighth Amendment
                                                                 “deathworthiness”) of murders by asking lawyers to
claim fails. That claim has no foundation in the Eighth
                                                                 identify the legal grounds for aggravation in each case, and
Amendment, which prohibits only those “method[s] of
                                                                 by asking law students to evaluate written summaries of
execution” that are “deliberately designed to inflict pain.”
                                                                 the murders and assign “egregiousness” scores based on
Baze v. Rees, 553 U.S. 35, 94, 128 S.Ct. 1520, 170 L.Ed.2d
                                                                 a rubric designed to capture and standardize their moral
420 (2008) (THOMAS, J., concurring in judgment).
                                                                 judgments. Donohue, An Empirical Evaluation of the
Because petitioners make no allegation that Oklahoma
                                                                 Connecticut Death Penalty System Since 1973, Are There
adopted its lethal injection protocol “to add elements of
                                                                 Unlawful Racial, Gender, and Geographic Disparities?
terror, pain, or disgrace to the death penalty,” they have
                                                                 11 J. of Empirical Legal Studies 637, 644–645 (2014).
no valid claim. Id., at 107, 128 S.Ct. 1520. That should
                                                                 This exercise in some ways approximates the function
have been the end of this case, but our precedents have
                                                                 performed by jurors, but there is at least one critical
predictably transformed the federal courts “into boards
                                                                 difference: The law students make their moral judgments
of inquiry charged with determining the ‘best practices'
                                                                 based on written summaries—they do not sit through
for executions,” id., at 101, 128 S.Ct. 1520 (internal
                                                                 hours, days, or weeks of evidence detailing the crime; they
quotation marks omitted), necessitating the painstaking
                                                                 do not have an opportunity to assess the credibility of
factual inquiry the Court undertakes today. Although I
                                                                 witnesses, to see the remorse of the defendant, to feel the
continue to believe that the broader interpretation of the


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impact of the crime on the victim's family; they do not           “blameworth[iness]” of the action associated with it. Id.,
bear the burden of deciding the fate of another human             at 830. Killing a prison guard, for instance, earned a
being; and they are not drawn from the community whose            defendant three “depravity points” because it improved
sense of security and justice may have been torn asunder          the case for complete incapacitation, while killing a
by an act of callous disregard for human life. They are           police officer merited only two, because, “considered
like appellate judges and justices, reviewing only a paper        dispassionately,” such acts do “not seem be a sine qua non
record of each side's case for life or death.                     of the worst criminals.” Id., at 834–836. (Do not worry,
                                                                  the author reassures us, “many killers of police officers
There is a reason the choice between life and death,              accrue depravity points in other ways that clearly put
within legal limits, is left to the jurors and judges who sit     them among the worst criminals.” Id., at 836.) Killing a
through the trial, and not to legal elites (or law students). 2   child under the age of 12 was worth two depravity points,
That reason is memorialized not once, but twice, in our           because such an act “seems particularly heartless,” but
Constitution: Article III guarantees that “[t]he Trial of all     killing someone over the age of 70 earned the murderer
 *2752 Crimes, except in cases of Impeachment, shall be           only one, for although “elderly victims tug at our hearts,”
by Jury” and that “such Trial shall be held in the State          they do so “less” than children “because the promise of a
where the said Crimes shall have been committed.” Art.            long life is less.” Id., at 836, 838. Killing to make a political
III, § 2, cl. 3. And the Sixth Amendment promises that            statement was worth three depravity points; killing out of
“[i]n all criminal prosecutions, the accused shall enjoy the      racial hatred, only two. Id., at 835, 837. It goes on, but this
right to a ... trial, by an impartial jury of the State and       small sample of the moral judgments on which this study
district wherein the crime shall have been committed.”            rested shows just how unsuitable this evidence is to serve
Those provisions ensure that capital defendants are given         as a basis for a judicial decision declaring unconstitutional
the option to be sentenced by a jury of their peers               a punishment duly enacted in more than 30 States, and by
who, collectively, are better situated to make the moral          the Federal Government.
judgment between life and death than are the products of
contemporary American law schools.                                We owe victims more than this sort of pseudoscientific
                                                                  assessment of their lives. It is bad enough to tell a
It should come as no surprise, then, that the primary             mother that her child's murder is not “worthy” of society's
explanation a regression analysis revealed for the gap            ultimate expression of moral condemnation. But to do
between the egregiousness scores and the actual sentences         so based on cardboard stereotypes or cold mathematical
was not the race or sex of the offender or victim,                calculations is beyond my comprehension. In my decades
but the locality in which the crime was committed.                on the Court, I have not seen a capital crime that could
Donohue, supra, at 640; see also post, at 2761 (BREYER,           not be considered sufficiently “blameworthy” to merit a
J., dissenting). What is more surprising is that Justice          death sentence (even when genuine constitutional errors
BREYER considers this factor to be evidence of                    justified a vacatur of that sentence). 3
arbitrariness. See ibid. The constitutional provisions just
quoted, which place such decisions in the hands of jurors          *2753 A small sample of the applications for a stay of
and trial courts located where “the crime shall have been         execution that have come before the Court this Term alone
committed,” seem deliberately designed to introduce that          proves my point. Mark Christeson was due to be executed
factor.                                                           in October 2014 for his role in the murder of Susan Brouk
                                                                  and her young children, Adrian and Kyle. After raping
In any event, the results of these studies are                    Ms. Brouk at gunpoint, he and his accomplice drove
inherently unreliable because they purport to control for         the family to a remote pond, where Christeson cut Ms.
egregiousness by quantifying moral depravity in a process         Brouk's throat with a bone knife. State v. Christeson,
that is itself arbitrary, not to mention dehumanizing.            50 S.W.3d 251, 257–258 (Mo.2001). Although bleeding
One such study's explanation of how the author assigned           profusely, she stayed alive long enough to tell her children
“depravity points” to identify the “worst of the worst”           she loved them and to watch as Christeson murdered them
murderers proves the point well. McCord, Lightning Still          —her son, by cutting his throat twice and drowning him;
Strikes, 71 Brooklyn L. Rev. 797, 833–834 (2005). Each            her daughter, by pressing down on her throat until she
aggravating factor received a point value based on the            suffocated. Ibid. Christeson and his accomplice then threw



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Ms. Brouk—alive but barely breathing—into the pond               her rectum to protrude into the vaginal structure,” and
to drown on top of her dead children. Ibid. This Court           tore her “entire perineum ... from the posterior fourchette
granted him a stay of execution. Christeson v. Roper,            to the anus.” Id., at 414, 128 S.Ct. 2641. The evidence
574 U.S. ––––, 135 S.Ct. 14, 190 L.Ed.2d 322 (2014).             indicated that the petitioner spent at least an hour and
Lisa Ann Coleman was not so lucky. She was executed              half attempting to destroy the evidence of his crime before
on September 17, 2014, for murdering her girlfriend's            seeking emergency assistance, even as his stepdaughter
son, 9–year–old Davontae Williams, by slowly starving            bled profusely from her injuries. Id., at 415, 128 S.Ct.
him to death. Coleman v. State, 2009 WL 4696064, *1              2641. And in Coker v. Georgia, 433 U.S. 584, 97 S.Ct.
(Tex.Crim.App., Dec. 9, 2009). When he died, Davontae            2861, 53 L.Ed.2d 982 (1977) (plurality opinion), the Court
had over 250 distinct injuries—including cigarette burns         granted relief to a petitioner who had escaped from prison,
and ligature marks—on his 36–pound frame. Id., at *2.            broken into the home of a young married couple and their
Infections from untreated wounds contributed to his other        newborn, forced the wife to bind her husband, gagged her
cause of death: pneumonia. Id., at *1–*2. And Johnny             husband with her underwear, raped her (even after being
Shane Kormondy, who met his end on January 15, 2015,             told that she was recovering from a recent childbirth),
did so after he and his two accomplices invaded the              and then kidnaped her after threatening her husband,
home of a married couple, took turns raping the wife             Coker v. State, 234 Ga. 555, 556–557, 216 S.E.2d 782,
and forcing her to perform oral sex at gunpoint—at one           786–787 (1975). In each case, the Court crafted an Eighth
point, doing both simultaneously—and then put a bullet           Amendment right to be free from execution for the crime
in her husband's head during the final rape. Kormondy v.         of rape—whether it be of an adult, Coker, 433 U.S., at 592,
Secretary, Fla. Dept. of Corrections, 688 F.3d 1244, 1247–       97 S.Ct. 2861, or a child, Kennedy, supra, at 413, 128 S.Ct.
1248 (C.A.11 2012).                                              2641.

Some of our most “egregious” cases have been those in            The Court's recent decision finding that the Eighth
which we have granted relief based on an unfounded               Amendment prohibits the execution of those who
Eighth Amendment claim. For example, we have granted             committed their crimes as juveniles is no different. See
relief in a number of egregious cases based on this Court's      Roper v. Simmons, 543 U.S. 551, 125 S.Ct. 1183, 161
decision in Atkins v. Virginia, 536 U.S. 304, 122 S.Ct. 2242,    L.Ed.2d 1 (2005). Although the Court had rejected the
153 L.Ed.2d 335 (2002), exempting certain “mentally              claim less than two decades earlier, Stanford v. Kentucky,
retarded” offenders from the death penalty. Last Term,           492 U.S. 361, 109 S.Ct. 2969, 106 L.Ed.2d 306 (1989), it
the Court granted relief to a man who kidnaped, beat,            decided to revisit the issue for a petitioner who had slain
raped, and murdered a 21–year–old pregnant newlywed,             his victim because “he wanted to murder someone” and
Karol Hurst, also murdering her unborn child, and then,          believed he could “get away with it” because he was a
on the same day, murdered a sheriff's deputy *2754               few months shy of his 18th birthday. 543 U.S., at 556,
acting in the line of duty. Hall v. Florida, 572 U.S. ––––,      125 S.Ct. 1183. His randomly chosen victim was Shirley
––––, 134 S.Ct. 1986, 1990, 188 L.Ed.2d 1007 (2014). And         Crook, whom he and his friends kidnaped in the middle
in Atkins itself, the Court granted relief to a man who          of the night, bound with duct tape and electrical wire, and
carjacked Eric Michael Nesbitt, forced him to withdraw           threw off a bridge to drown in the river below. Id., at 556–
money from a bank, drove him to a secluded area, and             557, 125 S.Ct. 1183. The State of Alabama's brief in that
then shot him multiple times before leaving him to bleed         case warned the Court that its decision would free from
to death. Atkins v. Commonwealth, 257 Va. 160, 166–167,          death row a number of killers who had been sentenced for
510 S.E.2d 445, 449–450 (1999).                                  crimes committed as juveniles. Brief for State of Alabama
                                                                 et al. as Amici Curiae in Roper v. Simmons, O.T. 2014, No.
The Court has also misinterpreted the Eighth Amendment           03–633. Mark Duke, for example, murdered his father for
to grant relief in egregious cases involving rape. In            refusing to loan him a truck, and his father's girlfriend and
Kennedy v. Louisiana, 554 U.S. 407, 128 S.Ct. 2641,              her two young daughters because he wanted no witnesses
171 L.Ed.2d 525 (2008), the Court granted relief to a            to the crime. Id., at 4. He shot his father and his father's
man who had been sentenced to death for raping his 8–            girlfriend pointblank in the face as they pleaded for their
year–old stepdaughter. The rape was so violent that it           lives. Id., at 5–6. He then tracked the girls down in their
“separated her cervix from the back of her vagina, causing       hiding places and slit their throats, leaving them alive for



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several minutes as they drowned in their own blood. Id.,         49 L.Ed.2d 913 (1976) (joint opinion of Stewart, Powell,
at 6–7.                                                          and Stevens, JJ.); Jurek v. Texas, 428 U.S. 262, 268,
                                                                 96 S.Ct. 2950, 49 L.Ed.2d 929 (1976) (joint opinion of
Whatever one's views on the permissibility or wisdom of          Stewart, Powell, and Stevens, JJ.); but cf. Woodson v.
the death penalty, I doubt anyone would disagree that            North Carolina, 428 U.S. 280, 303, 96 S.Ct. 2978, 49
each of these crimes was egregious enough to merit the           L.Ed.2d 944 (1976) (plurality opinion) (striking down
severest condemnation that society has to *2755 offer.           mandatory death penalty); Roberts v. Louisiana, 428 U.S.
The only constitutional problem with the fact that these         325, 331, 96 S.Ct. 3001, 49 L.Ed.2d 974 (1976) (plurality
criminals were spared that condemnation, while others            opinion) (similar). The circumstances and the evidence
were not, is that their amnesty came in the form of              of the death penalty's application have changed radically
unfounded claims. Arbitrariness has nothing to do with           since then. Given those changes, I believe that it is now
it. 4 To the extent that we are ill at ease with these           time to reopen the question.
disparate outcomes, it seems to me that the best solution
is for the Court to stop making up Eighth Amendment              In 1976, the Court thought that the constitutional
claims in its ceaseless quest to end the death penalty           infirmities in the death penalty could be healed; the
through undemocratic means.                                      Court in effect delegated significant responsibility to the
                                                                 States to develop procedures that would protect against
                                                                 those constitutional problems. Almost 40 years of studies,
                                                                 surveys, and experience strongly indicate, however, that
Justice BREYER, with whom Justice GINSBURG joins,                this effort has failed. Today's administration of the
dissenting.                                                      death penalty involves three fundamental constitutional
For the reasons stated in Justice SOTOMAYOR's                    defects: *2756 (1) serious unreliability, (2) arbitrariness
opinion, I dissent from the Court's holding. But rather          in application, and (3) unconscionably long delays
than try to patch up the death penalty's legal wounds            that undermine the death penalty's penological purpose.
one at a time, I would ask for full briefing on a more           Perhaps as a result, (4) most places within the United
basic question: whether the death penalty violates the           States have abandoned its use.
Constitution.
                                                                 I shall describe each of these considerations, emphasizing
The relevant legal standard is the standard set forth in         changes that have occurred during the past four decades.
the Eighth Amendment. The Constitution there forbids             For it is those changes, taken together with my own
the “inflict[ion]” of “cruel and unusual punishments.”           20 years of experience on this Court, that lead me to
Amdt. 8. The Court has recognized that a “claim that             believe that the death penalty, in and of itself, now
punishment is excessive is judged not by the standards           likely constitutes a legally prohibited “cruel and unusual
that prevailed in 1685 when Lord Jeffreys presided over          punishmen[t].” U.S. Const., Amdt. 8.
the ‘Bloody Assizes' or when the Bill of Rights was
adopted, but rather by those that currently prevail.”
Atkins v. Virginia, 536 U.S. 304, 311, 122 S.Ct. 2242, 153
L.Ed.2d 335 (2002). Indeed, the Constitution prohibits                                        I
various gruesome punishments that were common in
Blackstone's day. See 4 W. Blackstone, Commentaries on                         “Cruel”—Lack of Reliability
the Laws of England 369–370 (1769) (listing mutilation
and dismembering, among other punishments).                      This Court has specified that the finality of death creates
                                                                 a “qualitative difference” between the death penalty and
Nearly 40 years ago, this Court upheld the death penalty         other punishments (including life in prison). Woodson,
under statutes that, in the Court's view, contained              428 U.S., at 305, 96 S.Ct. 2978 (plurality opinion).
safeguards sufficient to ensure that the penalty would           That “qualitative difference” creates “a corresponding
be applied reliably and not arbitrarily. See Gregg v.            difference in the need for reliability in the determination
Georgia, 428 U.S. 153, 187, 96 S.Ct. 2909, 49 L.Ed.2d            that death is the appropriate punishment in a specific
859 (1976) (joint opinion of Stewart, Powell, and Stevens,       case.” Ibid. There is increasing evidence, however, that
JJ.); Proffitt v. Florida, 428 U.S. 242, 247, 96 S.Ct. 2960,     the death penalty as now applied lacks that requisite


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reliability. Cf. Kansas v. Marsh, 548 U.S. 163, 207–              exonerations in capital cases. Atkins, 536 U.S., at 320, n.
211, 126 S.Ct. 2516, 165 L.Ed.2d 429 (2006) (Souter, J.,          25, 122 S.Ct. 2242; National Registry of Exonerations,
dissenting) (DNA exonerations constitute “a new body              online at http://www.law.umich.edu/special/exoneration/
of fact” when considering the constitutionality of capital        Pages/about.aspx (all Internet materials as visited June
punishment).                                                      25, 2015, and available in Clerk of Court's case file).
                                                                  (I use “exoneration” to refer to relief from all legal
For one thing, despite the difficulty of investigating the        consequences of a capital conviction through a decision
circumstances surrounding an execution for a crime that           by a prosecutor, a Governor or a court, after new
took place long ago, researchers have found convincing            evidence of the defendant's innocence was discovered.)
evidence that, in the past three decades, innocent people         Since 2002, the number of exonerations in capital
have been executed. See, e.g., Liebman, Fatal Injustice;          cases has risen to 115. Ibid.; National Registry of
Carlos DeLuna's Execution Shows That a Faster, Cheaper            Exonerations, Exonerations in the United States, 1989–
Death Penalty is a Dangerous Idea, L.A. Times, June 1,            2012, pp. 6–7 (2012) (Exonerations 2012 Report) (defining
2012, p. A19 (describing results of a 4–year investigation,       exoneration); accord, Death Penalty Information Center
later published as The Wrong Carlos: Anatomy of                   (DPIC), Innocence: List of Those Freed from Death Row,
a Wrongful Execution (2014), that led its authors to              online at http://www.deathpenaltyinfo.org/innocence-
conclude that Carlos DeLuna, sentenced to death and               and-death-penalty (DPIC Innocence List) (calculating,
executed in 1989, six years after his arrest in Texas for         under a slightly different definition of exoneration, the
stabbing a single mother to death in a convenience store,         number of exonerations since 1973 as 154). Last year,
was innocent); Grann, Trial By Fire: Did Texas Execute            in 2014, six death row inmates were exonerated based
An Innocent Man? The New Yorker, Sept. 7, 2009, p.                on actual innocence. All had been imprisoned for more
42 (describing evidence that Cameron Todd Willingham              than 30 years (and one for almost 40 years) at the time
was convicted, and ultimately executed in 2004, for the           of their exonerations. National Registry of Exonerations,
apparently motiveless murder of his three children as the         Exonerations in 2014, p. 2 (2015).
result of invalid scientific analysis of the scene of the house
fire that killed his children). See also, e.g., Press Release:    The stories of three of the men exonerated within the last
Gov. Ritter Grants Posthumous Pardon in Case Dating               year are illustrative. DNA evidence showed that Henry
Back to 1930s, Jan. 7, 2011, p. 1 (Colorado Governor              Lee McCollum did not commit the rape and murder for
granted full and unconditional posthumous pardon to Joe           which he had been sentenced to death. Katz & Eckholm,
Arridy, a man with an IQ of 46 who was executed in 1936,          DNA Evidence Clears Two Men in 1983 Murder, N.Y.
because, according to the Governor, “an overwhelming              Times, Sept. 3, 2014, p. A1. Last Term, this Court ordered
body of evidence indicates the 23–year–old Arridy was             that Anthony Ray Hinton, who had been convicted of
innocent, including false and coerced confessions, the            murder, receive further hearings in state court; he was
likelihood that Arridy was not in Pueblo at the time of           exonerated earlier this year because the forensic evidence
the killing, and an admission of guilt by someone else”);         used against him was flawed. Hinton v. Alabama, 571
R. Warden, Wilkie Collins's The Dead Alive: The Novel,            U.S. ––––, 134 S.Ct. 1081, 188 L.Ed.2d 1 (2014) (per
the Case, and Wrongful Convictions 157–158 (2005) (in             curiam ); Blinder, Alabama Man on Death Row for Three
1987, Nebraska Governor Bob Kerrey pardoned William               Decades Is Freed as State's Case Erodes, N.Y. Times, Apr.
Jackson Marion, who had been executed a century earlier           4, 2014, p. A11. And when Glenn Ford, also convicted
for the murder of John Cameron, a man who later turned            of murder, was exonerated, the prosecutor admitted that
up alive; the alleged victim, Cameron, had gone to Mexico         even “[a]t the time this case was tried there was evidence
to avoid a shotgun wedding).                                      that would have cleared Glenn Ford.” Stroud, Lead
                                                                  Prosecutor Apologizes for Role in Sending Man to Death
For another, the evidence that the death penalty has been         Row, Shreveport Times, Mar. 27, 2015. All three of these
wrongly imposed (whether or not it was carried out), is           men spent 30 years on death row before being exonerated.
striking. As of 2002, this Court used the word “disturbing”       I return to these examples infra.
to describe the number of instances in which individuals
had been sentenced *2757 to death but later exonerated.           Furthermore, exonerations occur far more frequently
At that time, there was evidence of approximately 60              where capital convictions, rather than ordinary criminal



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convictions, are at issue. Researchers have calculated that      Other factors may also play a role. One is the practice of
courts (or State Governors) are 130 times more likely to         death-qualification; no one can serve on a capital jury who
exonerate a defendant where a death sentence is at issue.        is not willing to impose the death penalty. See Rozelle,
They are nine times more likely to exonerate where a             The Principled Executioner: Capital Juries' Bias and the
capital murder, rather than a noncapital murder, is at           Benefits of True Bifurcation, 38 Ariz. S.L.J. 769, 772–
issue. Exonerations 2012 Report 15–16, and nn. 24–26.            793, 807 (2006) (summarizing research and concluding
                                                                 that “[f]or over fifty years, empirical investigation has
Why is that so? To some degree, it must be because               demonstrated that death qualification skews juries toward
the law that governs capital cases is more complex.              guilt and death”); Note, Mandatory Voir Dire Questions
To some degree, it must reflect the fact that courts             in Capital Cases: A Potential Solution to the Biases of
scrutinize capital cases more closely. But, to some degree,      Death Qualification, 10 Roger Williams Univ. L. Rev.
it likely also reflects a greater likelihood of an initial       211, 214–223 (2004) (similar).
wrongful conviction. How could that be so? In the view
of researchers who have conducted these studies, it could        Another is the more general problem of flawed forensic
be so because the crimes at issue in capital cases are           testimony. See Garrett, supra, at 7. The Federal Bureau
typically horrendous murders, and thus accompanied by            of Investigation (FBI), for example, recently found that
intense community pressure on police, prosecutors, and           flawed microscopic hair analysis was used in 33 of 35
jurors to secure a conviction. This pressure creates a           capital cases under review; 9 of the 33 had already been
greater likelihood of convicting the wrong person. See           executed. FBI, National Press Releases, FBI Testimony
Gross, Jacoby, Matheson, Montgomery, & Patil, *2758              on Microscopic Hair Analysis Contained Errors in at
Exonerations in the United States 1989 Through 2003,             Least 90 Percent of Cases in Ongoing Review, Apr. 20,
95 J. Crim. L. & C. 523, 531–533 (2005); Gross &                 2015. See also Hsu, FBI Admits Errors at Trials: False
O'Brien, Frequency and Predictors of False Conviction:           Matches on Crime–Scene Hair, Washington Post, Apr.
Why We Know So Little, and New Data on Capital                   19, 2015, p. A1 (in the District of Columbia, which does
Cases, 5 J. Empirical L. Studies 927, 956–957 (2008)             not have the death penalty, five of seven defendants in
(noting that, in comparing those who were exonerated             cases with flawed hair analysis testimony were eventually
from death row to other capital defendants who were              exonerated).
not so exonerated, the initial police investigations
tended to be shorter for those exonerated); see also             In light of these and other factors, researchers estimate
B. Garrett, Convicting the Innocent: Where Criminal              that about 4% of those sentenced to death are actually
Prosecutions Go Wrong (2011) (discussing other common            innocent. See Gross, O'Brien, Hu, & Kennedy, Rate
causes of wrongful convictions generally including false         of False Conviction of Criminal Defendants Who Are
confessions, mistaken eyewitness testimony, untruthful           Sentenced to Death, 111 Proceeding of the National
jailhouse informants, and ineffective defense counsel).          Academy of Sciences 7230 (2014) (full-scale study of all
                                                                 death sentences from 1973 through 2004 estimating that
In the case of Cameron Todd Willingham, for example,             4.1% of those sentenced to death are actually innocent);
who (as noted earlier) was executed despite likely               Risinger, Innocents Convicted: An Empirically Justified
innocence, the State Bar of Texas recently filed formal          Factual Wrongful Conviction Rate, 97 J. Crim. L. & C.
misconduct charges against the lead prosecutor for               761 (2007) (examination of DNA exonerations in death
his actions—actions that may have contributed to                 penalty cases for murder-rapes between 1982 and 1989
Willingham's conviction. Possley, Prosecutor Accused of          suggesting an analogous rate of between 3.3% and 5%).
Misconduct in Death Penalty Case, Washington Post,
Mar. 19, 2015, p. A3. And in Glenn Ford's case, the              Finally,    if    we    expand     our      definition   of
prosecutor admitted that he was partly responsible for           “exoneration” (which we limited to errors suggesting
Ford's wrongful conviction, issuing a public apology to          the defendant was actually innocent) and thereby also
Ford and explaining that, at the time of Ford's conviction,      categorize as “erroneous” instances in which courts
he was “not as interested in justice as [he] was in winning.”    failed *2759 to follow legally required procedures, the
Stroud, supra.                                                   numbers soar. Between 1973 and 1995, courts identified
                                                                 prejudicial errors in 68% of the capital cases before them.



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Gelman, Liebman, West, & Kiss, A Broken System: The              (1972) (per curiam ), and Gregg ) found the death penalty
Persistent Patterns of Reversals of Death Sentences in           unconstitutional as administered in 1972:
the United States, 1 J. Empirical L. Studies 209, 217
(2004). State courts on direct and postconviction review           “These death sentences are cruel and unusual in the
overturned 47% of the sentences they reviewed. Id., at 232.        same way that being struck by lightning is cruel and
Federal courts, reviewing capital cases in habeas corpus           unusual. For, of all the people convicted of [death-
proceedings, found error in 40% of those cases. Ibid.              eligible crimes], many just as reprehensible as these,
                                                                   the[se] petitioners are among a capriciously selected
This research and these figures are likely controversial.          random handful upon which the sentence of death has
Full briefing would allow us to scrutinize them with               in fact been imposed.” Furman, 408 U.S., at 309–310, 92
more care. But, at a minimum, they suggest a serious               S.Ct. 2726 (concurring opinion).
problem of reliability. They suggest that there are too
                                                                 See also id., at 310, 92 S.Ct. 2726 (“[T]he Eighth and
many instances in which courts sentence defendants to
                                                                 Fourteenth Amendments cannot tolerate the infliction
death without complying with the necessary procedures;
                                                                 of a sentence of death under legal systems that permit
and they suggest that, in a significant number of cases,
                                                                 this unique penalty to be so wantonly and so freakishly
the death sentence is imposed on a person who did not
                                                                 imposed”); id., at 313, 92 S.Ct. 2726 (White, J.,
commit the crime. See Earley, A Pink Cadillac, An IQ
                                                                 concurring) (“[T]he death penalty is exacted with great
of 63, and A Fourteen–Year–Old from South Carolina:
                                                                 infrequency even for the most atrocious crimes and ...
Why I Can No Longer Support the Death Penalty,
                                                                 there is no meaningful basis for distinguishing the few
49 U. Rich. L. Rev. 811, 813 (2015) (“I have come
                                                                 cases in which it is imposed from the many cases in which
to the conclusion that the death penalty is based on
                                                                 it is not”).
a false utopian premise. That false premise is that we
have had, do have, will have 100% accuracy in death
                                                                 When the death penalty was reinstated in 1976, this Court
penalty convictions and executions”); Earley, I Oversaw
                                                                 acknowledged that the death penalty is (and would be)
36 Executions. Even Death Penalty Supporters Can Push
                                                                 unconstitutional *2760 if “inflicted in an arbitrary and
for Change, Guardian, May 12, 2014 (Earley presided
                                                                 capricious manner.” Gregg, 428 U.S., at 188, 96 S.Ct.
over 36 executions as Virginia Attorney General from
                                                                 2909 (joint opinion of Stewart, Powell, and Stevens, JJ.);
1998–2001); but see ante, at 2747 – 2748 (SCALIA, J.,
                                                                 see also id., at 189, 96 S.Ct. 2909 (“[W]here discretion is
concurring) (apparently finding no special constitutional
                                                                 afforded a sentencing body on a matter so grave as the
problem arising from the fact that the execution of an
                                                                 determination of whether a human life should be taken
innocent person is irreversible). Unlike 40 years ago, we
                                                                 or spared, that discretion must be suitably directed and
now have plausible evidence of unreliability that (perhaps
                                                                 limited so as to minimize the risk of wholly arbitrary and
due to DNA evidence) is stronger than the evidence we
                                                                 capricious action”); Godfrey v. Georgia, 446 U.S. 420, 428,
had before. In sum, there is significantly more research-
                                                                 100 S.Ct. 1759, 64 L.Ed.2d 398 (1980) (plurality opinion)
based evidence today indicating that courts sentence to
                                                                 (similar).
death individuals who may well be actually innocent or
whose convictions (in the law's view) do not warrant the
                                                                 The Court has consequently sought to make the
death penalty's application.
                                                                 application of the death penalty less arbitrary by
                                                                 restricting its use to those whom Justice Souter called “
                                                                 ‘the worst of the worst.’ ” Kansas v. Marsh, 548 U.S., at
                            II                                   206, 126 S.Ct. 2516 (dissenting opinion); see also Roper
                                                                 v. Simmons, 543 U.S. 551, 568, 125 S.Ct. 1183, 161
                                                                 L.Ed.2d 1 (2005) (“Capital punishment must be limited
                 “Cruel”—Arbitrariness
                                                                 to those offenders who commit a narrow category of the
The arbitrary imposition of punishment is the antithesis         most serious crimes and whose extreme culpability makes
of the rule of law. For that reason, Justice Potter Stewart      them the most deserving of execution” (internal quotation
(who supplied critical votes for the holdings in Furman          marks omitted)); Kennedy v. Louisiana, 554 U.S. 407, 420,
v. Georgia, 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346          128 S.Ct. 2641, 171 L.Ed.2d 525 (2008) (citing Roper,
                                                                 supra, at 568, 125 S.Ct. 1183).


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                                                                 the Senate and House Committees on the Judiciary: Death
Despite the Gregg Court's hope for fair administration           Penalty Sentencing 5 (GAO/GGD–90–57, 1990) (82% of
of the death penalty, 40 years of further experience             the 28 studies conducted between 1972 and 1990 found
make it increasingly clear that the death penalty                that race of victim influences capital murder charge or
is imposed arbitrarily, i.e., without the “reasonable            death sentence, a “finding ... remarkably consistent across
consistency” legally necessary to reconcile its use with the     data sets, states, data collection methods, and analytic
Constitution's commands. Eddings v. Oklahoma, 455 U.S.           techniques”); Shatz & Dalton, Challenging the Death
104, 112, 102 S.Ct. 869, 71 L.Ed.2d 1 (1982).                    Penalty with Statistics: Furman, McCleskey, and a Single
                                                                 County Case Study, 34 Cardozo L. Rev. 1227, 1245–
Thorough studies of death penalty sentences support              1251 (2013) (same conclusion drawn from 20 plus studies
this conclusion. A recent study, for example, examined           conducted between 1990 and 2013).
all death penalty sentences imposed between 1973 and
2007 in Connecticut, a State that abolished the death            Fewer, but still many, studies have found that the gender
penalty in 2012. Donohue, An Empirical Evaluation                of the defendant or the gender of the victim makes a not-
of the Connecticut Death Penalty System Since 1973:              otherwise-warranted difference. Id., at 1251–1253 (citing
Are There Unlawful Racial, Gender, and Geographic                many studies).
Disparities? 11 J. Empirical Legal Studies 637 (2014).
The study reviewed treatment of all homicide defendants.         Geography also plays an important role in determining
It found 205 instances in which Connecticut law made             who is sentenced to death. See id., at 1253–1256. And
the defendant eligible for a death sentence. Id., at 641–        that is not simply because some States permit the death
643. Courts imposed a death sentence in 12 of these              penalty while others do not. Rather within a death penalty
205 cases, of which 9 were sustained on appeal. Id., at          State, the imposition of the death penalty heavily depends
641. The study then measured the “egregiousness” of              on the county in which a defendant is tried. Smith, The
the murderer's conduct in those 9 cases, developing a            Geography of the Death Penalty and its Ramifications, 92
system of metrics designed to do so. Id., at 643–645. It         B. U. L. Rev. 227, 231–232 (2012) (hereinafter Smith); see
then compared the egregiousness of the conduct of the            also Donohue, supra, at 673 (“[T]he single most important
9 defendants sentenced to death with the egregiousness           influence from 1973–2007 explaining whether a death-
of the conduct of defendants in the remaining 196 cases          eligible defendant [in Connecticut] would be sentenced
(those in which the defendant, though found guilty of            to death was whether the crime occurred in Waterbury
a death-eligible offense, was ultimately not sentenced to        [County]”). Between 2004 and 2009, for example, just
death). Application of the studies' metrics made clear that      29 counties (fewer than 1% of counties in the country)
only 1 of those 9 defendants was indeed the “worst of            accounted for approximately half of all death sentences
the worst” (or was, at least, within the 15% considered          imposed nationwide. Smith 233. And in 2012, just 59
most “egregious”). The remaining eight were not. Their           counties (fewer than 2% of counties in the country)
behavior was no worse than the behavior of at least 33 and       accounted for all death sentences imposed nationwide.
as many as 170 other defendants (out of a total pool of          DPIC, The 2% Death Penalty: How A Minority of
205) who had not been sentenced to death. Id., at 678–679.       Counties Produce Most Death Cases At Enormous Costs
                                                                 to All 9 (Oct. 2013).
Such studies indicate that the factors that most clearly
ought to affect application of the death penalty—namely,         What accounts for this county-by-county disparity?
comparative egregiousness of the crime—often do not.             Some studies indicate that the disparity reflects the
Other studies show that circumstances that ought not             decisionmaking authority, the legal discretion, and
to affect application of the death penalty, such as race,        ultimately the power of the local prosecutor. See, e.g.,
gender, or geography, often do.                                  Goelzhauser, Prosecutorial Discretion Under Resource
                                                                 Constraints: Budget Allocations and Local Death–
Numerous studies, for example, have concluded that               Charging Decisions, 96 Judicature 161, 162–163 (2013);
individuals accused of murdering white victims, as               Barnes, Sloss, & Thaman, Place Matters (Most): An
opposed to black or other minority victims, are more likely      Empirical Study of Prosecutorial Decision–Making in
to receive the death penalty. See GAO, *2761 Report to           Death–Eligible Cases, 51 Ariz. L. Rev. 305 (2009)



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(analyzing Missouri); Donohue, An Empirical Evaluation
of the Connecticut Death Penalty System, at 681                  Thus, whether one looks at research indicating that
(Connecticut); Marceau, Kamin, & Foglia, Death                   irrelevant or improper factors—such as race, gender, local
Eligibility in Colorado: Many Are Called, Few Are                geography, and resources—do significantly determine
Chosen, 84 U. Colo. L. Rev. 1069 (2013) (Colorado);              who receives the death penalty, or whether one looks
Shatz & Dalton, supra, at 1260–1261 (Alameda County).            at research indicating that proper factors—such as
                                                                 “egregiousness”—do not determine who receives the death
Others suggest that the availability of resources for            penalty, the legal conclusion must be the same: The
defense counsel (or the lack thereof) helps explain              research strongly suggests that the death penalty is
geographical differences. See, e.g., Smith 258–265               imposed arbitrarily.
(counties with higher death-sentencing rates tend to
have weaker public defense programs); Liebman &                  Justice THOMAS catalogues the tragic details of various
Clarke, Minority Practice, Majority's Burden: The Death          capital cases, ante, at 2752 – 2755 (concurring opinion),
Penalty Today, 9 Ohio S. J. Crim. L. 255, 274 (2011)             but this misses my point. Every murder is tragic, but unless
(hereinafter Liebman & Clarke) (similar); see generally          we return to the mandatory death penalty struck down
Bright, Counsel for the Poor: The Death Sentence Not for         in Woodson, 428 U.S., at 304–305, 96 S.Ct. 2978, the
the Worst Crime but for the Worst Lawyer, 103 Yale L.            constitutionality of capital punishment rests on its limited
J. 1835 (1994).                                                  application to the worst of the worst, supra, at 2759 – 2760.
                                                                 And this extensive body of evidence suggests that it is not
Still others indicate that the racial composition of and         so limited.
distribution within a county plays an important role. See,
e.g., Levinson, Smith, & Young, Devaluing Death: An              Four decades ago, the Court believed it possible to
Empirical Study of Implicit Racial Bias on Jury–Eligible         interpret the Eighth Amendment in ways that would
Citizens in Six Death Penalty States, 89 N.Y.U. L. Rev.          significantly limit the arbitrary application of the death
513, 533–536 (2014) (summarizing research on *2762 this          sentence. See Gregg, 428 U.S., at 195, 96 S.Ct. 2909
point); see also Shatz & Dalton, supra, at 1275 (describing      (joint opinion of Stewart, Powell, and Stevens, JJ.) (“[T]he
research finding that death-sentencing rates were lowest in      concerns expressed in Furman that the penalty of death
counties with the highest nonwhite population); cf. Cohen        not be imposed in an arbitrary or capricious manner can
& Smith, The Racial Geography of the Federal Death               be met”). But that no longer seems likely.
Penalty, 85 Wash. L. Rev. 425 (2010) (arguing that the
federal death penalty is sought disproportionately where         The Constitution does not prohibit the use of
the federal district, from which the jury will be drawn, has     prosecutorial discretion. Id., at 199, and n. 50, 96 S.Ct.
a dramatic racial difference from the county in which the        2909 (joint opinion of Stewart, Powell, and Stevens, JJ.);
federal crime occurred).                                         McCleskey v. Kemp, 481 U.S. 279, 307–308, and n. 28,
                                                                 311–312, 107 S.Ct. 1756, 95 L.Ed.2d 262 (1987). It has
Finally, some studies suggest that political pressures,          not proved possible to increase capital defense funding
including pressures on judges who must stand for election,       significantly. Smith, The Supreme Court and the Politics
can make a difference. See Woodward v. Alabama, 571              of Death, 94 Va. L. Rev. 283, 355 (2008) (“Capital
U.S. ––––, ––––, 134 S.Ct. 405, 408, 187 L.Ed.2d 449             defenders are notoriously underfunded, particularly in
(2013) (SOTOMAYOR, J., dissenting from denial of                 states ... that lead the nation in executions”); American
certiorari) (noting that empirical evidence suggests that,       Bar Assn. (ABA) Guidelines for the Appointment and
when Alabama judges reverse jury recommendations,                Performance of Defense Counsel in Death Penalty Cases,
these “judges, who are elected in partisan proceedings,          Guideline 9.1, Commentary (rev. ed. Feb. 2003), in
appear to have succumbed to electoral pressures”); Harris        31 Hofstra L. Rev. 913, 985 (2003) ( “[C]ompensation
v. Alabama, 513 U.S. 504, 519, 115 S.Ct. 1031, 130 L.Ed.2d       of attorneys for death penalty representation remains
1004 (1995) (Stevens, J., dissenting) (similar); Gelman, 1       notoriously inadequate”). And courts cannot easily
J. Empirical L. Studies, at 247 (elected state judges are less   inquire into judicial motivation. See, e.g., Harris, supra.
likely to reverse flawed verdicts in capital cases in small
towns than in larger communities).



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Moreover, racial and gender biases may, unfortunately,           online at http://www.wral.com/news/local/story/109648.
reflect deeply rooted community biases (conscious                Why does one defendant who committed a single-victim
or unconscious), *2763 which, despite their legal                murder receive the death penalty (due to aggravators of
irrelevance, may affect a jury's evaluation of mitigating        a prior felony conviction and acting recklessly with a
evidence, see Callins v. Collins, 510 U.S. 1141, 1153,           gun), while another defendant does not, despite having
114 S.Ct. 1127, 127 L.Ed.2d 435 (1994) (Blackmun, J.,            committed a “triple murder” by killing a young man and
dissenting from denial of certiorari) (“Perhaps it should        his pregnant wife? Compare Commonwealth v. Boxley, 596
not be surprising that the biases and prejudices that infect     Pa. 620, 948 A.2d 742 (2008), and Pet. for Cert., O.T.
society generally would influence the determination of           2008, No. 08–6172, with Shea, Judge Gives Consecutive
who is sentenced to death”). Nevertheless, it remains            Life Sentences for Triple Murder, Philadelphia Inquirer,
the jury's task to make the individualized assessment of         June 29, 2004, p. B5. For that matter, why does one
whether the defendant's mitigation evidence entitles him         defendant who participated in a single-victim murder-
to mercy. See, e.g., Penry v. Lynaugh, 492 U.S. 302, 319,        for-hire scheme (plus an after-the-fact robbery) receive
109 S.Ct. 2934, 106 L.Ed.2d 256 (1989); Lockett v. Ohio,         the death penalty, while another defendant does not,
438 U.S. 586, 604–605, 98 S.Ct. 2954, 57 L.Ed.2d 973             despite having stabbed his wife 60 times and killed his 6–
(1978) (opinion of Burger, C.J.); Woodson, 428 U.S., at          year–old daughter and 3–year–old son while they slept?
304–305, 96 S.Ct. 2978 (plurality opinion).                      See Donohue, Capital Punishment in Connecticut, 1973–
                                                                 2007: A Comprehensive Evaluation from 4686 Murders
Finally, since this Court held that comparative                  to One Execution, pp. 128–134 (2013), online at http://
proportionality review is not constitutionally required,         works.bepress.com/john_ donohue/87. In each instance,
Pulley v. Harris, 465 U.S. 37, 104 S.Ct. 871, 79                 the sentences compared were imposed in the same State at
L.Ed.2d 29 (1984), it seems unlikely that appeals can            about the same time.
prevent the arbitrariness I have described. See Kaufman–
Osborn, Capital Punishment, Proportionality Review,              The question raised by these examples (and the many more
and Claims of Fairness (with Lessons from Washington             I could give but do not), as well as by the research to
State), 79 Wash. L. Rev. 775, 791–792 (2004) (after              which I *2764 have referred, is the same question Justice
Pulley, many States repealed their statutes requiring            Stewart, Justice Powell, and others raised over the course
comparative proportionality review, and most state high          of several decades: The imposition and implementation
courts “reduced proportionality review to a perfunctory          of the death penalty seems capricious, random, indeed,
exercise” (internal quotation marks omitted)).                   arbitrary. From a defendant's perspective, to receive that
                                                                 sentence, and certainly to find it implemented, is the
The studies bear out my own view, reached after                  equivalent of being struck by lightning. How then can
considering thousands of death penalty cases and last-           we reconcile the death penalty with the demands of a
minute petitions over the course of more than 20 years.          Constitution that first and foremost insists upon a rule of
I see discrepancies for which I can find no rational             law?
explanations. Cf. Godfrey, 446 U.S., at 433, 100 S.Ct.
1759 (plurality opinion) (“There is no principled way
to distinguish this case, in which the death penalty was
                                                                                             III
imposed, from the many cases in which it was not”). Why
does one defendant who committed a single-victim murder
receive the death penalty (due to aggravators of a prior                        “Cruel”—Excessive Delays
felony conviction and an after-the-fact robbery), while
another defendant does not, despite having kidnapped,            The problems of reliability and unfairness almost
raped, and murdered a young mother while leaving her             inevitably lead to a third independent constitutional
infant baby to die at the scene of the crime. Compare State      problem: excessively long periods of time that individuals
v. Badgett, 361 N.C. 234, 644 S.E.2d 206 (2007), and Pet.        typically spend on death row, alive but under sentence
for Cert. in Badgett v. North Carolina, O.T. 2006, No. 07–       of death. That is to say, delay is in part a problem that
6156, with Charbonneau, Andre Edwards Sentenced to               the Constitution's own demands create. Given the special
Life in Prison for 2001 Murder, WRAL, Mar. 26, 2004,             need for reliability and fairness in death penalty cases,
                                                                 the Eighth Amendment does, and must, apply to the


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death penalty “with special force.” Roper, 543 U.S., at          average had risen to about 18 years. DPIC, Execution List
568, 125 S.Ct. 1183. Those who face “that most severe            2014, supra. Nearly half of the 3,000 inmates now on death
sanction must have a fair opportunity to show that the           row have been *2765 there for more than 15 years. And,
Constitution prohibits their execution.” Hall v. Florida,        at present execution rates, it would take more than 75
572 U.S. ––––, ––––, 134 S.Ct. 1986, 2001, 188 L.Ed.2d           years to carry out those 3,000 death sentences; thus, the
1007 (2014). At the same time, the Constitution insists that     average person on death row would spend an additional
“every safeguard” be “observed” when “a defendant's life         37.5 years there before being executed. BJS 2013 Stats, at
is at stake.” Gregg, 428 U.S., at 187, 96 S.Ct. 2909 (joint      14, 18 (Tables 11 and 15).
opinion of Stewart, Powell, and Stevens, JJ.); Furman, 408
U.S., at 306, 92 S.Ct. 2726 (Stewart, J., concurring) (death     I cannot find any reasons to believe the trend will soon be
“differs from all other forms of criminal punishment, not        reversed.
in degree but in kind”); Woodson, supra, at 305, 96 S.Ct.
2978 (plurality opinion) (“Death, in its finality, differs
more from life imprisonment than a 100–year prison term
                                                                                             B
differs from one of only a year or two”).
                                                                 These lengthy delays create two special constitutional
These procedural necessities take time to implement.             difficulties. See Johnson v. Bredesen, 558 U.S. 1067,
And, unless we abandon the procedural requirements that          1069, 130 S.Ct. 541, 175 L.Ed.2d 552 (2009) (Stevens,
assure fairness and reliability, we are forced to confront       J., statement respecting denial of certiorari). First, a
the problem of increasingly lengthy delays in capital cases.     lengthy delay in and of itself is especially cruel because
Ultimately, though these legal causes may help to explain,       it “subjects death row inmates to decades of especially
they do not mitigate the harms caused by delay itself.           severe, dehumanizing conditions of confinement.” Ibid.;
                                                                 Gomez v. Fierro, 519 U.S. 918, 117 S.Ct. 285, 136 L.Ed.2d
                                                                 204 (1996) (Stevens, J., dissenting) (excessive delays
                              A                                  from sentencing to execution can themselves “constitute
                                                                 cruel and unusual punishment prohibited by the Eighth
Consider first the statistics. In 2014, 35 individuals were      Amendment”); see also Lackey v. Texas, 514 U.S. 1045,
executed. Those executions occurred, on average, nearly          115 S.Ct. 1421, 131 L.Ed.2d 304 (1995) (memorandum
18 years after a court initially pronounced its sentence         of Stevens, J., respecting denial of certiorari); Knight v.
of death. DPIC, Execution List 2014, online at http://           Florida, 528 U.S. 990, 993, 120 S.Ct. 459, 145 L.Ed.2d 370
www.deathpenaltyinfo.org/execution–list–2014 (showing            (1999) (BREYER, J., dissenting from denial of certiorari).
an average delay of 17 years, 7 months). In some death           Second, lengthy delay undermines the death penalty's
penalty States, the average delay is longer. In an oral          penological rationale. Johnson, supra, at 1069, 130 S.Ct.
argument last year, for example, the State admitted that         541; Thompson v. McNeil, 556 U.S. 1114, 1115, 129 S.Ct.
the last 10 prisoners executed in Florida had spent an           1299, ––– L.Ed.2d –––– (2009) (statement of Stevens, J.,
average of nearly 25 years on death row before execution.        respecting denial of certiorari).
Tr. of Oral Arg. in Hall v. Florida, O.T. 2013, No. 12–
10882, p. 46.

                                                                                             1
The length of the average delay has increased dramatically
over the years. In 1960, the average delay between               Turning to the first constitutional difficulty, nearly
sentencing and execution was two years. See Aarons,              all death penalty States keep death row inmates in
Can Inordinate Delay Between a Death Sentence and                isolation for 22 or more hours per day. American Civil
Execution Constitute Cruel and Unusual Punishment? 29            Liberties Union (ACLU), A Death Before Dying: Solitary
Seton Hall L. Rev. 147, 181 (1998). Ten years ago (in            Confinement on Death Row 5 (July 2013) (ACLU
2004) the average delay was about 11 years. See Dept. of         Report). This occurs even though the ABA has suggested
Justice, Bureau of Justice Statistics (BJS), T. Snell, Capital   that death row inmates be housed in conditions similar to
Punishment, 2013—Statistical Tables 14 (Table 10) (rev.          the general population, and the United Nations Special
Dec. 2014) (hereinafter BJS 2013 Stats). By last year the        Rapporteur on Torture has called for a global ban on


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solitary confinement longer than 15 days. See id., at 2,         Governor       Corbett   (Aug.    18,   2014),     online
4; ABA Standards for Criminal Justice: Treatment of              at http:// www.wfmz.com/news/Regional-Poconos-Coal/
Prisoners 6 (3d ed. 2011). And it is well documented that        Local/michael-john-parrishs-execution-warrant-signed-
such prolonged solitary confinement produces numerous            by-governor-corbett/27595356 (former Pennsylvania
deleterious harms. See, e.g., Haney, Mental Health Issues        Governor signed 36 death warrants in his first 3.5 years
in Long–Term Solitary and “Supermax” Confinement, 49             in office even though Pennsylvania has not carried out an
Crime & Delinquency 124, 130 (2003) (cataloguing studies         execution since 1999).
finding that solitary confinement can cause prisoners
to experience “anxiety, panic, rage, loss of control,            Several inmates have come within hours or days of
paranoia, hallucinations, and self-mutilations,” among           execution before later being exonerated. Willie Manning
many other symptoms); Grassian, Psychiatric Effects of           was four hours from his scheduled execution before the
Solitary Confinement, 22 Wash U. J. L. & Policy 325,             Mississippi Supreme Court stayed the execution. See
331 (2006) (“[E]ven a few days of solitary confinement           Robertson, With Hours to Go, Execution is Postponed,
will predictably shift the [brain's] electroencephalogram        N.Y. Times, Apr. 8, 2015, p. A17. Two years later,
(EEG) pattern toward an abnormal pattern characteristic          Manning was exonerated after the evidence against him,
of stupor and delirium”); accord, In re Medley, 134 U.S.         including flawed testimony from an FBI hair examiner,
160, 167–168, 10 S.Ct. 384, 33 L.Ed. 835 (1890); see also        was severely undermined. Nave, Why Does the State Still
Davis v. Ayala, ––– U.S. ––––, 135 S.Ct. 2187, ––– L.Ed.2d       Want to Kill Willie Jerome Manning? Jackson Free Press,
–––– (2015) (KENNEDY, J., concurring).                           Apr. 29, 2015. Nor is Manning an outlier case. See, e.g.,
                                                                 Martin, Randall Adams, 61, Dies; Freed With Help of
The dehumanizing effect of solitary confinement is               Film, N.Y. Times, June 26, 2011, p. 24 (Randall Adams:
aggravated by uncertainty as to whether a death sentence         stayed by this Court three days before execution; later
will in fact be carried out. In 1890, this Court recognized      exonerated); N. Davies, White Lies 231, 292, 298, 399
that, “when a prisoner sentenced by a court to death is          (1991) (Clarence Lee Brandley: execution stayed twice,
confined in the penitentiary awaiting the execution of the       once 6 days and once 10 days before; later exonerated); M.
sentence, one of the most horrible feelings to which he can      Edds, An Expendable Man 93 (2003) (Earl Washington,
be subjected during that time is the uncertainty during the      Jr.: stayed 9 days before execution; later exonerated).
whole of it.” Medley, supra, at 172, 10 S.Ct. 384. The Court
was there describing a delay of a *2766 mere four weeks.         Furthermore, given the negative effects of confinement
In the past century and a quarter, little has changed in         and uncertainty, it is not surprising that many inmates
this respect—except for duration. Today we must describe         volunteer to be executed, abandoning further appeals.
delays measured, not in weeks, but in decades. Supra, at         See, e.g., ACLU Report 8; Rountree, Volunteers for
2764 – 2765.                                                     Execution: Directions for Further Research into Grief,
                                                                 Culpability, and Legal Structures, 82 UMKC L. Rev.
Moreover, we must consider death warrants that have              295 (2014) (11% of those executed have dropped appeals
been issued and revoked, not once, but repeatedly. See,          and volunteered); ACLU Report 3 (account of “ ‘guys
e.g., Pet. for Cert. in Suárez Medina v. Texas, O.T.             who dropped their appeals because of the intolerable
2001, No. 02–5752, pp. 35–36 (filed Aug. 13, 2002) (“On          conditions' ”). Indeed, one death row inmate, who was
fourteen separate occasions since Mr. Suárez Medina's            later exonerated, still said he would have preferred to
death sentence was imposed, he has been informed of              die rather than to spend years on death row pursuing
the time, date, and manner of his death. At least eleven         his exoneration. Strafer, Volunteering for Execution:
times, he has been asked to describe the disposal of his         Competency, Voluntariness and the Propriety of Third
bodily remains”); Lithwick, Cruel but not Unusual, Slate,        Party Intervention, 74 J. Crim. L. & C. 860, 869 (1983).
Apr. 1, 2011, online at http://www.slate.com/articles/           Nor is it surprising that many inmates consider, or
news_and_politics/jurisprudence/2011/04/cruel_                   commit, suicide. Id., at 872, n. 44 (35% of those confined
but_not_unusual.html (John Thompson had seven                    on death row in Florida attempted suicide).
death warrants signed before he was exonerated);
see also, e.g., WFMZ–TV 69 News, Michael                         Others have written at great length about the
John Parrish's Execution Warrant Signed by                       constitutional problems that delays create, and, rather



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than repeat their facts, arguments, and conclusions,             so. The rationale for capital punishment, as for any
I simply refer to some of their writings. See, e.g.,             punishment, classically rests upon society's need to secure
Johnson, 558 U.S., at 1069, 130 S.Ct. 541 (statement of          deterrence, incapacitation, retribution, or rehabilitation.
Stevens, J.) (delay “subjects *2767 death row inmates            Capital punishment by definition does not rehabilitate. It
to decades of especially severe, dehumanizing conditions         does, of course, incapacitate the offender. But the major
of confinement”); Furman, 408 U.S., at 288, 92 S.Ct.             alternative to capital punishment—namely, life in prison
2726 (Brennan, J., concurring) (“long wait between the           without possibility of parole—also incapacitates. See Ring
imposition of sentence and the actual infliction of death”       v. Arizona, 536 U.S. 584, 615, 122 S.Ct. 2428, 153 L.Ed.2d
is “inevitable” and often “exacts a frightful toll”); Solesbee   556 (2002) (BREYER, J., concurring in judgment).
v. Balkcom, 339 U.S. 9, 14, 70 S.Ct. 457, 94 L.Ed. 604
(1950) (Frankfurter, J., dissenting) (“In the history of         Thus, as the Court has recognized, the death penalty's
murder, the onset of insanity while awaiting execution of        penological rationale in fact rests almost exclusively upon
a death sentence is not a rare phenomenon”); People v.           a belief in its tendency to deter and upon its ability to
Anderson, 6 Cal.3d 628, 649, 493 P.2d 880, 894 (1972)            satisfy a community's interest in retribution. See, e.g.,
(collecting sources) (“[C]ruelty of capital punishment lies      Gregg, 428 U.S., at 183, 96 S.Ct. 2909 (joint opinion of
not only in the execution itself and the pain incident           Stewart, Powell, and Stevens, JJ.). Many studies have
thereto, but also in the dehumanizing effects of the             examined the death penalty's deterrent effect; some have
lengthy imprisonment prior to execution during which             found such an effect, whereas others have found a
the judicial and administrative procedures essential to          lack of evidence that it deters crime. Compare ante, at
due process of law are carried out” (footnote omitted));         2748 – 2749 (SCALIA, J., concurring) (collecting studies
District Attorney for Suffolk Dist. v. Watson, 381 Mass.         finding deterrent effect), with e.g., Sorensen, Wrinkle,
648, 673, 411 N.E.2d 1274, 1287 (1980) (Braucher, J.,            Brewer, & Marquart, Capital Punishment and Deterrence:
concurring) (death penalty unconstitutional under State          Examining the Effect of Executions on Murder in Texas,
Constitution in part because “[it] will be carried out           45 Crime & Delinquency 481 (1999) (no evidence of
only after agonizing months and years of uncertainty”);          a deterrent effect); Bonner & Fessenden, Absence of
see also Riley v. Attorney General of Jamaica, [1983] 1          Executions: A Special Report, *2768 States With No
A.C. 719, 734–735 (P.C. 1982) (Lord Scarman, joined by           Death Penalty Share Lower Homicide Rates, N.Y. Times,
Lord Brightman, dissenting) (“execution after inordinate         Sept. 22, 2000, p. A1 (from 1980–2000, homicide rate in
delay” would infringe prohibition against “cruel and             death-penalty States was 48% to 101% higher than in non-
unusual punishments” in § 10 of the “Bill of Rights of           death-penalty States); Radelet & Akers, Deterrence and
1689,” the precursor to our Eighth Amendment); Pratt v.          the Death Penalty: The Views of the Experts, 87 J. Crim.
Attorney Gen. of Jamaica, [1994] 2 A.C. 1, 4 (P.C. 1993);        L. & C. 1, 8 (1996) (over 80% of criminologists believe
id., at 32–33 (collecting cases finding inordinate delays        existing research fails to support deterrence justification);
unconstitutional or the equivalent); State v. Makwanyane         Donohue & Wolfers, Uses and Abuses of Empirical
1995 (3) SA391 (CC) (S. Afr.); Catholic Commission for           Evidence in the Death Penalty Debate, 58 Stan. L. Rev.
Justice & Peace in Zimbabwe v. Attorney–General, [1993] 1        791, 794 (2005) (evaluating existing statistical evidence
Zim. L. R. 242, 282 (inordinate delays unconstitutional);        and concluding that there is “profound uncertainty”
Soering v. United Kingdom, 11 Eur. Ct. H. R. (ser. A),           about the existence of a deterrent effect).
p. 439 (1989) (extradition of murder suspect to United
States would violate the European Convention on Human            Recently, the National Research Council (whose members
Rights in light of risk of delay before execution); United       are drawn from the councils of the National Academy
States v. Burns, [2001] 1 S.C.R. 283, 353, ¶ 123 (similar).      of Sciences, the National Academy of Engineering, and
                                                                 the Institute of Medicine) reviewed 30 years of empirical
                                                                 evidence and concluded that it was insufficient to establish
                                                                 a deterrent effect and thus should “not be used to inform”
                              2
                                                                 discussion about the deterrent value of the death penalty.
The second constitutional difficulty resulting from              National Research Council, Deterrence and the Death
lengthy delays is that those delays undermine the                Penalty 2 (D. Nagin & J. Pepper eds. 2012); accord, Baze
death penalty's penological rationale, perhaps irreparably       v. Rees, 553 U.S. 35, 79, 128 S.Ct. 1520, 170 L.Ed.2d 420



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(2008) (Stevens, J., concurring in judgment) (“Despite 30        92 S.Ct. 2726 (White, J., concurring) (It cannot “be said
years of empirical research in the area, there remains no        with confidence that society's need for specific deterrence
reliable statistical evidence that capital punishment in fact     *2769 justifies death for so few when for so many in like
deters potential offenders”).                                    circumstances life imprisonment or shorter prison terms
                                                                 are judged sufficient”).
I recognize that a “lack of evidence” for a proposition does
not prove the contrary. See Ring, supra, at 615, 122 S.Ct.       But what about retribution? Retribution is a valid
2428 (one might believe the studies “inconclusive”). But         penological goal. I recognize that surviving relatives
suppose that we add to these studies the fact that, today,       of victims of a horrendous crime, or perhaps the
very few of those sentenced to death are actually executed,      community itself, may find vindication in an execution.
and that even those executions occur, on average, after          And a community that favors the death penalty has an
nearly two decades on death row. DPIC, Execution List            understandable interest in representing their voices. But
2014, supra. Then, does it still seem likely that the death      see A. Sarat, Mercy on Trial: What It Means To Stop
penalty has a significant deterrent effect?                      an Execution 130 (2005) (Illinois Governor George Ryan
                                                                 explained his decision to commute all death sentences on
Consider, for example, what actually happened to the 183         the ground that it was “cruel and unusual” for “family
inmates sentenced to death in 1978. As of 2013 (35 years         members to go through this ... legal limbo for [20] years”).
later), 38 (or 21% of them) had been executed; 132 (or
72%) had had their convictions or sentences overturned or        The relevant question here, however, is whether a
commuted; and 7 (or 4%) had died of other (likely natural)       “community's sense of retribution” can often find
causes. Six (or 3%) remained on death row. BJS 2013 Stats,       vindication in “a death that comes,” if at all, “only several
at 19 (Table 16).                                                decades after the crime was committed.” Valle v. Florida,
                                                                 564 U.S. ––––, ––––, 132 S.Ct. 1, 2, 180 L.Ed.2d 940 (2011)
The example illustrates a general trend. Of the 8,466            (BREYER, J., dissenting from denial of stay). By then the
inmates under a death sentence at some point between             community is a different group of people. The offenders
1973 and 2013, 16% were executed, 42% had their                  and the victims' families have grown far older. Feelings
convictions or sentences overturned or commuted, and             of outrage may have subsided. The offender may have
6% died by other causes; the remainder (35%) are                 found himself a changed human being. And sometimes
still on death row. Id., at 20 (Table 17); see also              repentance and even forgiveness can restore meaning to
Baumgartner & Dietrich, Most Death Penalty Sentences             lives once ruined. At the same time, the community and
Are Overturned: Here's Why That Matters, Washington              victims' families will know that, even without a further
Post Blog, Monkey Cage, Mar. 17, 2015 (similar).                 death, the offender will serve decades in prison under a
                                                                 sentence of life without parole.
Thus an offender who is sentenced to death is two or
three times more likely to find his sentence overturned          I recognize, of course, that this may not always be the
or commuted than to be executed; and he has a good               case, and that sometimes the community believes that an
chance of dying from natural causes before any execution         execution could provide closure. Nevertheless, the delays
(or exoneration) can take place. In a word, executions           and low probability of execution must play some role in
are rare. And an individual contemplating a crime but            any calculation that leads a community to insist on death
evaluating the potential punishment would know that, in          as retribution. As I have already suggested, they may well
any event, he faces a potential sentence of life without         attenuate the community's interest in retribution to the
parole.                                                          point where it cannot by itself amount to a significant
                                                                 justification for the death penalty. Id., at ––––, 132 S.Ct.,
These facts, when recurring, must have some offsetting           at 2. In any event, I believe that whatever interest in
effect on a potential perpetrator's fear of a death penalty.     retribution might be served by the death penalty as
And, even if that effect is no more than slight, it makes        currently administered, that interest can be served almost
it difficult to believe (given the studies of deterrence         as well by a sentence of life in prison without parole
cited earlier) that such a rare event significantly deters       (a sentence that every State now permits, see ACLU,
horrendous crimes. See Furman, 408 U.S., at 311–312,



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A Living Death: Life Without Parole for Nonviolent               up to individual States to determine. Furman, supra, at
Offenses 11, and n. 10 (2013)).                                  431–432, 92 S.Ct. 2726 (Powell, J., dissenting); see also
                                                                 J. Jeffries, Justice Lewis F. Powell, Jr., p. 409 (2001)
Finally, the fact of lengthy delays undermines any effort        (describing Powell, during his time on the Court, as
to justify the death penalty in terms of its prevalence when     a “fervent partisan” of “the constitutionality of capital
the Founders wrote the Eighth Amendment. When the                punishment”).
Founders wrote the Constitution, there were no 20– or 30–
year delays. Execution took place soon after sentencing.         Soon after Justice Powell's retirement, Chief Justice
See P. Mackey, Hanging in the Balance: The Anti–Capital          Rehnquist appointed him to chair a committee addressing
Punishment Movement in New York State, 1776–1861, p.             concerns about delays in capital cases, the Ad Hoc
17 (1982); T. Jefferson, A Bill for Proportioning Crimes         Committee on Federal Habeas Corpus in Capital Cases
and Punishments (1779), reprinted in The Complete                (Committee). The Committee presented a report to
Jefferson 90, 95 (S. Padover ed. 1943); 2 Papers of John         Congress, and Justice Powell testified that “[d]elay robs
Marshall 207–209 (C. Cullen & H. Johnson eds. 1977)              the penalty of much of its deterrent value.” Habeas
(describing petition for commutation based in part on 5–         Corpus Reform, Hearings before the Senate Committee
month delay); Pratt v. Attorney Gen. of Jamaica, [1994] 2        on the Judiciary, 100th Cong., 1st and 2d Sess., 35
A. C., at 17 (same in United Kingdom) (collecting cases).        (1989 and 1990). Justice Powell, according to his official
And, for reasons I shall describe, infra, at 2770 – 2773, we     biographer, ultimately concluded that capital punishment:
cannot return to the quick executions in the founding era.
                                                                   “ ‘serves no useful purpose.’ The United States was
                                                                   ‘unique among the industrialized nations of the West
                                                                   in maintaining the death penalty,’ and it was enforced
                             3                                     so rarely that it could not deter. More important, the
                                                                   haggling and delay and seemingly endless litigation in
The upshot is that lengthy delays both aggravate
                                                                   every capital case brought the law itself into disrepute.”
the cruelty of the death penalty and undermine its
                                                                   Jeffries, supra, at 452.
jurisprudential rationale. And this Court has said that, if
the death penalty does not fulfill the goals of deterrence       In short, the problem of excessive delays led Justice
or retribution, “it is nothing more than the purposeless         Powell, at least in part, to conclude that the death penalty
and needless imposition of pain and suffering and hence          was unconstitutional.
 *2770 an unconstitutional punishment.” Atkins, 536
U.S., at 319, 122 S.Ct. 2242 (quoting Enmund v. Florida,         As I have said, today delays are much worse. When
458 U.S. 782, 798, 102 S.Ct. 3368, 73 L.Ed.2d 1140 (1982);       Chief Justice Rehnquist appointed Justice Powell to the
internal quotation marks omitted); see also Gregg, 428           Committee, the average delay between sentencing and
U.S., at 183, 96 S.Ct. 2909 (joint opinion of Stewart,           execution was 7 years and 11 months, compared with 17
Powell, and Stevens, JJ.) (“sanction imposed cannot be           years and 7 months today. Compare BJS, L. Greenfeld,
so totally without penological justification that it results     Capital Punishment, 1990, p. 11 (Table 12) (Sept. 1991)
in the gratuitous infliction of suffering”); Furman, supra,      with supra, at 18–19.
at 312, 92 S.Ct. 2726 (White, J., concurring) (a “penalty
with such negligible returns to the State would be patently
excessive and cruel and unusual punishment violative of
the Eighth Amendment”); Thompson, 556 U.S., at 1115,                                          C
129 S.Ct. 1299 (statement of Stevens, J., respecting denial
                                                                 One might ask, why can Congress or the States not deal
of certiorari) (similar).
                                                                 directly with the delay problem? Why can they not take
                                                                 steps to shorten the time between sentence and execution,
Indeed, Justice Lewis Powell (who provided a crucial vote
                                                                 and thereby mitigate the problems just raised? The answer
in Gregg ) came to much the same conclusion, albeit after
                                                                 is that shortening delay is much more difficult than one
his retirement from this Court. Justice Powell had come
                                                                 might think. And that is in part because efforts to do so
to the Court convinced that the Federal Constitution did
                                                                 risk causing procedural harms that also undermine the
not outlaw the death penalty but rather left the matter
                                                                 death penalty's constitutionality.


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                                                                 necessary to impose the death penalty, Ring, 536 U.S.
For one thing, delays have helped to make application of         584, 122 S.Ct. 2428, 153 L.Ed.2d 556; see also id., at 614,
the death penalty more reliable. Recall the case of Henry        122 S.Ct. 2428 (BREYER, J., concurring in judgment)?
Lee McCollum, whom DNA evidence exonerated 30 years              Should we no longer ensure that the State does not execute
after his conviction. Katz & Eckholm, N.Y. Times, at A1.         those who are seriously intellectually disabled, Atkins, 536
If McCollum had been executed earlier, he would not have         U.S. 304, 122 S.Ct. 2242, 153 L.Ed.2d 335? Should we
lived to see the day when DNA evidence exonerated him            eliminate the requirement that the manner of execution
and implicated *2771 another man; that man is already            be constitutional, Baze, 553 U.S. 35, 128 S.Ct. 1520,
serving a life sentence for a rape and murder that he            170 L.Ed.2d 420, or the requirement that the inmate be
committed just a few weeks after the murder McCollum             mentally competent at the time of his execution, Ford v.
was convicted of. Ibid. In fact, this Court had earlier          Wainwright, 477 U.S. 399, 106 S.Ct. 2595, 91 L.Ed.2d 335
denied review of McCollum's claim over the public dissent        (1986)? Or should we get rid of the criminal protections
of only one Justice. McCollum v. North Carolina, 512 U.S.        that all criminal defendants receive—for instance, that
1254, 114 S.Ct. 2784, 129 L.Ed.2d 895 (1994). And yet            defendants claiming violation of constitutional guarantees
a full 20 years after the Court denied review, McCollum          (say “due process of law”) may seek a writ of habeas
was exonerated by DNA evidence. There are a significant          corpus in federal courts? See, e.g., O'Neal v. McAninch,
number of similar cases, some of which I have discussed          513 U.S. 432, 115 S.Ct. 992, 130 L.Ed.2d 947 (1995). My
earlier. See also DPIC Innocence List, supra (Nathson            answer to these questions is “surely not.” But see ante, at
Fields, 23 years; Paul House, 23 years; Nicholas Yarris,         2748 – 2750 (SCALIA, J., concurring).
21 years; Anthony Graves, 16 years; Damon Thibodeaux,
15 years; Ricky Jackson, Wiley Bridgeman, and Kwame              One might, of course, argue that courts, particularly
Ajamu, all exonerated for the same crime 39 years after          federal courts providing additional layers of review, apply
their convictions).                                              these and other requirements too strictly, and that causes
                                                                 delay. But, it is difficult for judges, as it would be difficult
In addition to those who are exonerated on the ground            for anyone, not to apply legal requirements punctiliously
that they are innocent, there are other individuals whose        when the consequence of failing to do so may well be
sentences or convictions have been overturned for other          death, particularly the death of an innocent person. See,
reasons (as discussed above, state and federal courts found      e.g., *2772 Zant v. Stephens, 462 U.S. 862, 885, 103
error in 68% of the capital cases they reviewed between          S.Ct. 2733, 77 L.Ed.2d 235 (1983) (“[A]lthough not every
1973 and 1995). See Part I, supra. In many of these cases,       imperfection in the deliberative process is sufficient, even
a court will have found that the individual did not merit        in a capital case, to set aside a state-court judgment,
the death penalty in a special sense—namely, he failed to        the severity of the sentence mandates careful scrutiny in
receive all the procedural protections that the law requires     the review of any colorable claim of error”); Kyles v.
for the death penalty's application. By eliminating some of      Whitley, 514 U.S. 419, 422, 115 S.Ct. 1555, 131 L.Ed.2d
these protections, one likely could reduce delay. But which      490 (1995) (“[O]ur duty to search for constitutional error
protections should we eliminate? Should we eliminate the         with painstaking care is never more exacting than it is
trial-related protections we have established for capital        in a capital case” (internal quotation marks omitted));
defendants: that they be able to present to the sentencing       Thompson, 556 U.S., at 1116, 129 S.Ct. 1299 (statement
judge or jury all mitigating circumstances, Lockett v. Ohio,     of Stevens, J.) (“Judicial process takes time, but the error
438 U.S. 586, 98 S.Ct. 2954, 57 L.Ed.2d 973; that the State      rate in capital cases illustrates its necessity”).
provide guidance adequate to reserve the application of
the death penalty to particularly serious murders, Gregg,        Moreover, review by courts at every level helps to ensure
428 U.S. 153, 96 S.Ct. 2909, 49 L.Ed.2d 859; that the            reliability; if this Court had not ordered that Anthony Ray
State provide adequate counsel and, where warranted,             Hinton receive further hearings in state court, see Hinton
adequate expert assistance, Powell v. Alabama, 287 U.S.          v. Alabama, 571 U.S. ––––, 134 S.Ct. 1081, 188 L.Ed.2d 1,
45, 53 S.Ct. 55, 77 L.Ed. 158 (1932); Wiggins v. Smith,          he may well have been executed rather than exonerated.
539 U.S. 510, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003); Ake        In my own view, our legal system's complexity, our
v. Oklahoma, 470 U.S. 68, 105 S.Ct. 1087, 84 L.Ed.2d 53          federal system with its separate state and federal courts,
(1985); or that a jury must find the aggravating factors         our constitutional guarantees, our commitment to fair



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procedure, and, above all, a special need for reliability
and fairness in capital cases, combine to make significant       An appropriate starting point concerns the trajectory of
procedural “reform” unlikely in practice to reduce delays        the number of annual death sentences nationwide, from
to an acceptable level.                                          the 1970's to present day. In 1977—just after *2773
                                                                 the Supreme Court made clear that, by modifying their
And that fact creates a dilemma: A death penalty system          legislation, States could reinstate the death penalty—137
that seeks procedural fairness and reliability brings with       people were sentenced to death. BJS 2013 Stats, at 19
it delays that severely aggravate the cruelty of capital         (Table 16). Many States having revised their death penalty
punishment and significantly undermine the rationale for         laws to meet Furman' s requirements, the number of
imposing a sentence of death in the first place. See Knight,     death sentences then increased. Between 1986 and 1999,
528 U.S., at 998, 120 S.Ct. 459 (BREYER, J., dissenting          286 persons on average were sentenced to death each
from denial of certiorari) (one of the primary causes of         year. BJS 2013 Stats, at 14, 19 (Tables 11 and 16). But,
the delay is the States' “failure to apply constitutionally      approximately 15 years ago, the numbers began to decline,
sufficient procedures at the time of initial [conviction or]     and they have declined rapidly ever since. See Appendix
sentencing”). But a death penalty system that minimizes          A, infra (showing sentences from 1977–2014). In 1999,
delays would undermine the legal system's efforts to secure      279 persons were sentenced to death. BJS 2013 Stats, at
reliability and procedural fairness.                             19 (Table 16). Last year, just 73 persons were sentenced
                                                                 to death. DPIC, The Death Penalty in 2014: Year End
In this world, or at least in this Nation, we can have a death   Report 1 (2015).
penalty that at least arguably serves legitimate penological
purposes or we can have a procedural system that at              That trend, a significant decline in the last 15 years,
least arguably seeks reliability and fairness in the death       also holds true with respect to the number of annual
penalty's application. We cannot have both. And that             executions. See Appendix B, infra (showing executions
simple fact, demonstrated convincingly over the past 40          from 1977–2014). In 1999, 98 people were executed. BJS,
years, strongly supports the claim that the death penalty        Data Collection: National Prisoner Statistics Program
violates the Eighth Amendment. A death penalty system            (BJS Prisoner Statistics) (available in Clerk of Court's case
that is unreliable or procedurally unfair would violate          file). Last year, that number was only 35. DPIC, The
the Eighth Amendment. Woodson, 428 U.S., at 305, 96              Death Penalty in 2014, supra, at 1.
S.Ct. 2978 (plurality opinion); Hall, 572 U.S., at ––––, 134
S.Ct., at 2001; Roper, 543 U.S., at 568, 125 S.Ct. 1183.         Next, one can consider state-level data. Often
And so would a system that, if reliable and fair in its          when deciding whether a punishment practice is,
application of the death penalty, would serve no legitimate      constitutionally speaking, “unusual,” this Court has
penological purpose. Furman, 408 U.S., at 312, 92 S.Ct.          looked to the number of States engaging in that practice.
2726 (White, J., concurring); Gregg, supra, at 183, 96 S.Ct.     Atkins, 536 U.S., at 313–316, 122 S.Ct. 2242; Roper,
2909 (joint opinion of Stewart, Powell, and Stevens, JJ.);       supra, at 564–566, 125 S.Ct. 1183. In this respect,
Atkins, supra, at 319, 122 S.Ct. 2242.                           the number of active death penalty States has fallen
                                                                 dramatically. In 1972, when the Court decided Furman,
                                                                 the death penalty was lawful in 41 States. Nine States
                                                                 had abolished it. E. Mandery, A Wild Justice: The Death
                             IV
                                                                 and Resurrection of Capital Punishment in America
                                                                 145 (2013). As of today, 19 States have abolished the
     “Unusual”—Decline in Use of the Death Penalty               death penalty (along with the District of Columbia),
                                                                 although some did so prospectively only. See DPIC,
The Eighth Amendment forbids punishments that are                States With and Without the Death Penalty, online
cruel and unusual. Last year, in 2014, only seven States         at http://www.deathpenalty info.org/states-and-without-
carried out an execution. Perhaps more importantly, in           death-penalty. In 11 other States that maintain the death
the last two decades, the imposition and implementation          penalty on the books, no execution has taken place
of the death penalty have increasingly become unusual. I         for more than eight years: Arkansas (last execution
can illustrate the significant decline in the use of the death   2005); California (2006); Colorado (1997); Kansas (no
penalty in several ways.


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executions since the death penalty was reinstated in 1976);      approximately one per year. See Appendix D, infra (such
Montana (2006); Nevada (2006); New Hampshire (no                 counties colored in red) (citing Ford, The Death Penalty's
executions since the death penalty was reinstated in 1976);      Last Stand, The Atlantic, Apr. 21, 2015). And more recent
North Carolina (2006); Oregon (1997); Pennsylvania               data show that the practice has diminished yet further:
(1999); and Wyoming (1992). DPIC, Executions by State            between 2010 and 2015 (as of June 22), only 15 counties
and Year, online at http://www.death penaltyinfo.org/            imposed five or more death sentences. See Appendix E,
node/5741.                                                       infra. In short, the number of active death penalty counties
                                                                 is small and getting smaller. And the overall statistics
Accordingly, 30 States have either formally abolished            on county-level executions bear this out. Between 1976
the death penalty or have not conducted an execution             and 2007, there were no executions in 86% of America's
in more than eight years. Of the 20 States that have             counties. Liebman & Clarke 265–266, and n. 47; cf. ibid.
conducted at least one execution in the past eight years,        (counties with less than 5% of the Nation's population
9 have conducted fewer than five in that time, making            carried out over half of its executions from 1976–2007).
an execution in those States a fairly rare event. BJS
Prisoner Statistics (Delaware, Idaho, Indiana, Kentucky,         In sum, if we look to States, in more than 60% there
Louisiana, South Dakota, Tennessee, Utah, Washington).           is effectively no death penalty, in an additional 18%
That leaves 11 States in which it is fair to say that            an execution is rare and unusual, and 6%, i.e., three
capital punishment is not “unusual.” And just three of           States, account for 80% of all executions. If we look to
those States (Texas, Missouri, and Florida) accounted for        population, about 66% of the Nation lives in a State that
80% of the executions nationwide (28 of the 35) in 2014.         has not carried out an execution in the last three years.
See DPIC, Number of Executions by State and Region               And if we look to counties, in 86% there is effectively no
Since 1976, online at http://www.deathpenalty info.org/          death penalty. It seems fair to say that it is now unusual
number–executions–state–and–region–1976. Indeed, last            to find capital punishment in the United States, at least
year, only seven States conducted an execution. DPIC,            when we consider the Nation as a whole. See Furman, 408
Executions by State and Year, supra ; DPIC, Death                U.S., at 311, 92 S.Ct. 2726 (1972) (White, J., concurring)
Sentences in the United States From 1977 by State and by         (executions could be so infrequently carried out that they
Year, online at http://www.deathpenaltyinfo.org/death–           “would cease to be a credible deterrent or measurably to
sentences–united–states–1977–2008. In *2774 other                contribute to any other end of punishment in the criminal
words, in 43 States, no one was executed.                        justice system ... when imposition of the penalty reaches
                                                                 a certain degree of infrequency, it would be very doubtful
In terms of population, if we ask how many Americans live        that any existing general need for retribution would be
in a State that at least occasionally carries out an execution   measurably satisfied”).
(at least one within the prior three years), the answer two
decades ago was 60% or 70%. Today, that number is 33%.           Moreover, we have said that it “ ‘is not so much
See Appendix C, infra.                                           the number of these States that is significant, but the
                                                                 consistency of the direction of change.’ ” Roper, 543
At the same time, use of the death penalty has become            U.S., at 566, 125 S.Ct. 1183 (quoting Atkins, supra, at
increasingly concentrated geographically. County-by-             315, 122 S.Ct. 2242) (finding significant that five States
county figures are relevant, for decisions to impose the         had abandoned the death penalty for juveniles, four
death penalty typically take place at a county level. See        legislatively and one judicially, since the Court's decision
supra, at 2761 – 2762. County-level sentencing figures           in Stanford v. Kentucky, 492 U.S. 361, 109 S.Ct. 2969,
show that, between 1973 and 1997, 66 of America's 3,143          106 L.Ed.2d 306 (1989)). Judged in that way, capital
counties accounted for approximately 50% of all death            punishment has indeed become unusual. Seven States
sentences imposed. Liebman & Clarke 264–265; cf. id.,            have abolished the death penalty in the last decade,
at 266. (counties with 10% of the Nation's population            including (quite recently) Nebraska. DPIC, States With
imposed 43% of its death sentences). By the early 2000's,        and Without the Death Penalty, supra. And several States
the death penalty was only actively practiced in a very          have come within a single vote of eliminating the death
small number of counties: between 2004 and 2009, only            penalty. Seelye, Measure to Repeal Death Penalty Fails
35 counties imposed 5 or more death sentences, i.e.,             by a Single Vote in New Hampshire Senate, N.Y. Times,



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Apr. 17, 2014, p. A12; Dennison, House Deadlocks on              punishment section from the Code, in part because
Bill To Abolish *2775 Death Penalty in Montana,                  of doubts that the American Law Institute could
Billings Gazette, Feb. 23, 2015; see also Offredo, Delaware      “recommend procedures that would” address concerns
Senate Passes Death Penalty Repeal Bill, Delaware News           about the administration of the death penalty); cf. Gregg,
Journal, Apr. 3, 2015. Eleven States, as noted earlier,          428 U.S., at 193–194, 96 S.Ct. 2909 (joint opinion of
have not executed anyone in eight years. Supra, at               Stewart, Powell, and Stevens, JJ.) (relying in part on
2773 – 2774. And several States have formally stopped            Model Penal Code to conclude that a “carefully drafted
executing inmates. See Yardley, Oregon's Governor Says           statute” can satisfy the arbitrariness concerns expressed in
He Will Not Allow Executions, N.Y. Times, Nov. 23,               Furman ).
2011, p. A14 (Oregon); Governor of Colorado, Exec.
Order No. D2013–006, May 22, 2013 (Colorado); Lovett,            I rely primarily upon domestic, not foreign events, in
Executions Are Suspended by Governor in Washington,              pointing to changes and circumstances that tend to
N.Y. Times, Feb. 12, 2014, p. A12 (Washington); Begley,          justify the claim that the death penalty, constitutionally
Pennsylvania Stops Using the Death Penalty, Time,                speaking, is “unusual.” Those circumstances are
Feb. 13, 2015 (Pennsylvania); see also Welsh–Huggins,            sufficient to warrant our reconsideration of the death
Associated Press, Ohio Executions Rescheduled, Jan. 30,          penalty's constitutionality. I note, however, that many
2015 (Ohio).                                                     nations—indeed, 95 of the 193 members of the
                                                                 United Nations—have formally abolished the death
Moreover, the direction of change is consistent. In the past     penalty and an additional 42 have abolished it in
two decades, no State without a death penalty has passed         practice. Oakford, UN Vote Against Death Penalty
legislation to reinstate the penalty. See Atkins, supra, at      Highlights Global Abolitionist Trend-and Leaves the
315–316, 122 S.Ct. 2242; DPIC, States With and Without           U.S. Stranded, Vice News, Dec. 19, 2014, online
the Death Penalty, supra. Indeed, even in many States            at    https://news.vice.com/article/un-vote-against-death-
most associated with the death penalty, remarkable shifts        penalty-highlights-global-abolitionist-trend-and-leaves-
have occurred. In Texas, the State that carries out the          the-us-stranded. In 2013, only 22 countries in the world
most executions, the number of executions fell from 40 in        carried out an execution. International Commission
2000 to 10 in 2014, and the number of death sentences            Against *2776 Death Penalty, Review 2013, pp. 2–3.
fell from 48 in 1999 to 9 in 2013 (and 0 thus far in 2015).      No executions were carried out in Europe or Central
DPIC, Executions by State and Year, supra ; BJS, T.              Asia, and the United States was the only country in the
Snell, Capital Punishment, 1999, p. 6 (Table 5) (Dec. 2000)      Americas to execute an inmate in 2013. Id., at 3. Only
(hereinafter BJS 1999 Stats); BJS 2013 Stats, at 19 (Table       eight countries executed more than 10 individuals (the
16); von Drehle, Bungled Executions, Backlogged Courts,          United States, China, Iran, Iraq, Saudi Arabia, Somalia,
and Three More Reasons the Modern Death Penalty Is               Sudan, Yemen). Id., at 2. And almost 80% of all known
a Failed Experiment, Time, June 8, 2015, p. 26. Similarly        executions took place in three countries: Iran, Iraq, and
dramatic declines are present in Virginia, Oklahoma,             Saudi Arabia. Amnesty International, Death Sentences
Missouri, and North Carolina. BJS 1999 Stats, at 6 (Table        and Executions 2013, p. 3 (2014). (This figure does not
5); BJS 2013 Stats, at 19 (Table 16).                            include China, which has a large population, but where
                                                                 precise data cannot be obtained. Id., at 2.)
These circumstances perhaps reflect the fact that
a majority of Americans, when asked to choose
between the death penalty and life in prison
                                                                                              V
without parole, now choose the latter. Wilson,
Support for Death Penalty Still High, But Down,                  I recognize a strong counterargument that favors
Washington Post, GovBeat, June 5, 2014, online at                constitutionality. We are a court. Why should we not
www. washingtonpost.com/blogs/govbeat/wp/2014/06/05/             leave the matter up to the people acting democratically
support-for-death-penalty-still-high-but-down; see also          through legislatures? The Constitution foresees a country
ALI, Report of the Council to the Membership on                  that will make most important decisions democratically.
the Matter of the Death Penalty 4 (Apr. 15, 2009)                Most nations that have abandoned the death penalty
(withdrawing Model Penal Code section on capital                 have done so through legislation, not judicial decision.



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And legislators, unlike judges, are free to take account         For the reasons I have set forth in this opinion, I believe
of matters such as monetary costs, which I do not                it highly likely that the *2777 death penalty violates the
claim are relevant here. See, e.g., Berman, Nebraska             Eighth Amendment. At the very least, the Court should
Lawmakers Abolish the Death Penalty, Narrowly                    call for full briefing on the basic question.
Overriding Governor's Veto, Washington Post Blog,
Post Nation, May 27, 2015 (listing cost as one of the            With respect, I dissent.
reasons why Nebraska legislators recently repealed the
death penalty in that State); cf. California Commission
on the Fair Administration of Justice, Report and                Appendix A
Recommendations on the Administration of the Death
Penalty in California 117 (June 30, 2008) (death penalty                              APPENDICES
costs California $137 million per year; a comparable
system of life imprisonment without parole would cost
                                                                                             A
$11.5 million per year), online at http://www.ccfaj.org/rr-
dp-official.html; Dáte, The High Price of Killing Killers,
Palm Beach Post, Jan. 4, 2000, p. 1A (cost of each                         Death Sentences Imposed 1977–2014
execution is $23 million above cost of life imprisonment
without parole in Florida).

The answer is that the matters I have discussed, such
as lack of reliability, the arbitrary application of a
serious and irreversible punishment, individual suffering
caused by long delays, and lack of penological purpose
are quintessentially judicial matters. They concern the
infliction—indeed the unfair, cruel, and unusual infliction
—of a serious punishment upon an individual. I recognize
that in 1972 this Court, in a sense, turned to Congress          Appendix B
and the state legislatures in its search for standards that
would increase the fairness and reliability of imposing a                                    B
death penalty. The legislatures responded. But, in the last
four decades, considerable evidence has accumulated that
those responses have not worked.                                                   Executions 1977–2014


Thus we are left with a judicial responsibility. The Eighth
Amendment sets forth the relevant law, and we must
interpret that law. See Marbury v. Madison, 1 Cranch
137, 177, 2 L.Ed. 60 (1803); Hall, 572 U.S., at ––––, 134
S.Ct., at 2000 (“That exercise of independent judgment
is the Court's judicial duty”). We have made clear that
“ ‘the Constitution contemplates that in the end our
own judgment will be brought to bear on the question
of the acceptability of the death penalty under the              *2778 Appendix C
Eighth Amendment.’ ” Id., at ––––, 134 S.Ct., at 1999
(quoting Coker v. Georgia, 433 U.S. 584, 597, 97 S.Ct.
2861, 53 L.Ed.2d 982 (1977) (plurality opinion)); see also                                   C
Thompson v. Oklahoma, 487 U.S. 815, 833, n. 40, 108 S.Ct.
2687, 101 L.Ed.2d 702 (1988) (plurality opinion).                      Percentage of U.S. population in States that
                                                                       conducted an execution within prior 3 years




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                                                                 Justice SOTOMAYOR, with whom Justice GINSBURG,
                                                                 Justice BREYER, and Justice KAGAN join, dissenting.
                                                                 Petitioners, three inmates on Oklahoma's death row,
                                                                 challenge the constitutionality of the State's lethal
                                                                 injection protocol. The State plans to execute petitioners
                                                                 using three drugs: midazolam, rocuronium bromide, and
                                                                 potassium chloride. The latter two drugs are intended to
                                                                 paralyze the inmate and stop his heart. *2781 But they
                                                                 do so in a torturous manner, causing burning, searing
                                                                 pain. It is thus critical that the first drug, midazolam, do
                                                                 what it is supposed to do, which is to render and keep
                                                                 the inmate unconscious. Petitioners claim that midazolam
                                                                 cannot be expected to perform that function, and they
                                                                 have presented ample evidence showing that the State's
                                                                 planned use of this drug poses substantial, constitutionally
*2779 Appendix D
                                                                 intolerable risks.

                                                                 Nevertheless, the Court today turns aside petitioners' plea
                                                                 that they at least be allowed a stay of execution while
                                                                 they seek to prove midazolam's inadequacy. The Court
                                                                 achieves this result in two ways: first, by deferring to
                                                                 the District Court's decision to credit the scientifically
                                                                 unsupported and implausible testimony of a single expert
                                                                 witness; and second, by faulting petitioners for failing
                                                                 to satisfy the wholly novel requirement of proving
                                                                 the availability of an alternative means for their own
                                                                 executions. On both counts the Court errs. As a result,
                                                                 it leaves petitioners exposed to what may well be the
                                                                 chemical equivalent of being burned at the stake.


*2780 Appendix E
                                                                                              I




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                                                                 For many years, Oklahoma performed executions using
                                                                 the same three drugs at issue in Baze. After Baze
                             A
                                                                 was decided, however, the primary producer of sodium
The Eighth Amendment succinctly prohibits the infliction         thiopental refused to continue permitting *2782 the drug
of “cruel and unusual punishments.” Seven years ago, in          to be used in executions. Ante, at 2756 – 2757. Like a
Baze v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170 L.Ed.2d           number of other States, Oklahoma opted to substitute
420 (2008), the Court addressed the application of this          pentobarbital, another barbiturate, in its place. But in
mandate to Kentucky's lethal injection protocol. At that         March 2014, shortly before two scheduled executions,
time, Kentucky, like at least 29 of the 35 other States          Oklahoma found itself unable to secure this drug. App.
with the death penalty, utilized a series of three drugs         144.
to perform executions: (1) sodium thiopental, a “fast-
acting barbiturate sedative that induces a deep, comalike        The State rescheduled the executions for the following
unconsciousness when given in the amounts used for lethal        month to give it time to locate an alternative anesthetic. In
injection”; (2) pancuronium bromide, “a paralytic agent          less than a week, a group of officials from the Oklahoma
that inhibits all muscular-skeletal movements and ... stops      Department of Corrections and the Attorney General's
respiration”; and (3) potassium chloride, which “interferes      office selected midazolam to serve as a replacement for
with the electrical signals that stimulate the contractions      pentobarbital. Id., at 145, 148–149.
of the heart, inducing cardiac arrest.” Id., at 44, 128 S.Ct.
1520 (plurality opinion of ROBERTS, C.J.).                       Soon thereafter, Oklahoma used midazolam for the first
                                                                 time in its execution of Clayton Lockett. That execution
In Baze, it was undisputed that absent a “proper dose            did not go smoothly. Ten minutes after an intravenous
of sodium thiopental,” there would be a “substantial,            (IV) line was set in Lockett's groin area and 100 milligrams
constitutionally unacceptable risk of suffocation from           of midazolam were administered, an attending physician
the administration of pancuronium bromide and pain               declared Lockett unconscious. Id., at 392–393. When
from the injection of potassium chloride.” Id., at 53,           the paralytic and potassium chloride were administered,
128 S.Ct. 1520. That is because, if given to a conscious         however, Lockett awoke. Ibid. Various witnesses reported
inmate, pancuronium bromide would leave him or her               that Lockett began to writhe against his restraints, saying,
asphyxiated and unable to demonstrate “any outward               “[t]his s* * * is f* * *ing with my mind,” “something
sign of distress,” while potassium chloride would cause          is wrong,” and “[t]he drugs aren't working.” Id., at 53
“excruciating pain.” Id., at 71, 128 S.Ct. 1520 (Stevens,        (internal quotation marks omitted). State officials ordered
J., concurring in judgment). But the Baze petitioners            the blinds lowered, then halted the execution. Id., at 393,
conceded that if administered as intended, Kentucky's            395. But 10 minutes later—approximately 40 minutes after
method of execution would nevertheless “result in a              the execution began—Lockett was pronounced dead. Id.,
humane death,” id., at 41, 128 S.Ct. 1520 (plurality             at 395.
opinion), as the “proper administration” of sodium
thiopental “eliminates any meaningful risk that a prisoner       The State stayed all future executions while it sought to
would experience pain from the subsequent injections of          determine what had gone wrong in Lockett's. Five months
pancuronium and potassium chloride,” id., at 49, 128             later, the State released an investigative report identifying
S.Ct. 1520. Based on that premise, the Court ultimately          a flaw in the IV line as the principal difficulty: The IV had
rejected the challenge to Kentucky's protocol, with the          failed to fully deliver the lethal drugs into Lockett's veins.
plurality opinion concluding that the State's procedures         Id., at 398. An autopsy determined, however, that the
for administering these three drugs ensured there was no         concentration of midazolam in Lockett's blood was more
“objectively intolerable risk” of severe pain. Id., at 61–62,    than sufficient to render an average person unconscious.
128 S.Ct. 1520 (internal quotation marks omitted).               Id., at 397, 405.

                                                                 In response to this report, the State modified its lethal
                                                                 injection protocol. The new protocol contains a number
                             B                                   of procedures designed to guarantee that members of
                                                                 the execution team are able to insert the IV properly,



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and charges them with ensuring that the inmate is                there is a point at which increasing the dose of the drug
unconscious. Id., at 57–66, 361–369. But the protocol            does not result in any greater effect. Id., at 172 (Lubarsky),
continues to authorize the use of the same three-drug            243 (Sasich), 331 (Evans).
formula used to kill Lockett—though it does increase the
intended dose of midazolam from 100 milligrams to 500            The experts' opinions diverged, however, on the crucial
milligrams. Id., at 61. The State has indicated that it plans    questions of how this ceiling effect operates, and whether
to use this drug combination in all upcoming executions,         it will prevent midazolam from keeping a condemned
subject to only an immaterial substitution of paralytic          inmate unconscious when the second and third lethal
agents. Ante, at 2758 – 2759.                                    injection drugs are administered. Dr. Lubarsky testified
                                                                 that while benzodiazepines such as midazolam may,
                                                                 like barbiturate drugs such as sodium thiopental and
                                                                 pentobarbital, induce unconsciousness by inhibiting
                             C
                                                                 neuron function, they do so in a materially different
In June 2014, inmates on Oklahoma's death row filed a            way. Id., at 207. More specifically, Dr. Lubarsky
42 U.S.C. § 1983 suit against respondent prison officials        explained that both barbiturates and benzodiazepines
challenging the constitutionality of Oklahoma's method           initially cause sedation by facilitating the binding of a
of execution. After the State released its revised execution     naturally occurring chemical called gamma-aminobutyric
protocol, the four inmates whose executions were                 acid (GABA) with GABA receptors, which then impedes
most imminent—Charles Warner, along with petitioners             the flow of electrical impulses through the neurons in
Richard Glossip, John Grant, and Benjamin Cole—                  the central nervous system. Id., at 206. But at higher
moved for a preliminary injunction. They contended,              doses, barbiturates also act as a GABA substitute and
among other things, that the State's intended use of             mimic its neuron-suppressing effects. Ibid. By contrast,
midazolam would violate the Eighth Amendment because,            benzodiazepines lack this mimicking function, which
unlike sodium thiopental or pentobarbital, the drug “is          means their effect is capped at a lower level of sedation.
incapable of producing a state of unawareness that will          Ibid. Critically, according to Dr. Lubarsky, this ceiling
be reliably maintained after either of the other two pain-       on midazolam's sedative effect is reached before full
producing drugs ... is injected.” Amended Complaint ¶            anesthesia can be achieved. Ibid. Thus, in his view, while
101.                                                             “midazolam unconsciousness is ... sufficient” for “minor
                                                                 procedure[s],” Tr. of Preliminary Injunction Hearing 132–
The District Court held a 3–day evidentiary hearing, at          133 (Tr.), it is incapable of keeping someone “insensate
which petitioners relied principally on the testimony of         and immobile in the face of [more] noxious stimuli,”
two experts: Dr. David Lubarsky, an anesthesiologist,            including the extreme pain and discomfort associated
 *2783 and Dr. Larry Sasich, a doctor of pharmacy. The           with administration of the second and third drugs in
State, in turn, based its case on the testimony of Dr.           Oklahoma's lethal injection protocol, App. 218. Dr.
Roswell Evans, also a doctor of pharmacy.                        Sasich endorsed Dr. Lubarsky's description of the ceiling
                                                                 effect, and offered similar reasons for reaching the same
To a great extent, the experts' testimony overlapped. All        conclusion. See id., at 243, 248, 262.
three experts agreed that midazolam is from a class of
sedative drugs known as benzodiazepines (a class that            In support of these assertions, both experts cited a variety
includes Valium and Xanax), and that it has no analgesic         of evidence. Dr. Lubarsky emphasized, in particular,
—or pain-relieving—effects. App. 205 (Lubarsky), 260–            Arizona's 2014 execution of Joseph Wood, which had been
261 (Sasich), 311 (Evans). They further agreed that while        conducted using midazolam and the drug hydromorphone
midazolam can be used to render someone unconscious,             rather than the three-drug cocktail Oklahoma intends
it is not approved by the Federal Drug Administration            to employ. 1 Id., at 176. Despite being administered
(FDA) for use as, and is not in fact used as, a “sole drug to    750 milligrams of midazolam, Wood had continued
produce and maintain anesthesia in surgical proceedings.”        breathing and moving for nearly two hours—which,
Id., at 307, 327 (Evans); see id., at 171 (Lubarsky); id.,       according to Dr. Lubarsky, would not have occurred
at 262 (Sasich). Finally, all three experts recognized that      “during extremely deep levels of anesthesia.” Id., at 177.
midazolam is subject to a ceiling effect, which means that       Both experts also cited various scientific articles and



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textbooks to support their conclusions. For instance,            at the “higher level of [the] brain.” Id., at 311–312.
 *2784 Dr. Lubarsky relied on a study measuring the              Consequently, in his view, “as you increase the dose of
brain activity of rats that were administered midazolam,         midazolam, it's a linear effect, so you're going to continue
which showed that the drug's impact significantly tailed         to get an impact from higher doses of the drug,” id., at
off at higher doses. See Hovinga et al., Pharmacokinetic–        332, until eventually “you're paralyzing the brain,” id.,
EEG Effect Relationship of Midazolam in Aging BN/                at 314. Dr. Evans also understood the chemical source
BiRij Rats, 107 British J. Pharmacology 171, 173, Fig.           of midazolam's ceiling effect somewhat differently from
2 (1992). He also pointed to a pharmacology textbook             petitioners' experts. Although he agreed that midazolam
that confirmed his description of how benzodiazepines            produces its effect by “binding to [GABA] receptors,” id.,
and barbiturates produce their effects, see Stoelting            at 293, he appeared to believe that midazolam produced
& Hillier 127–128, 140–144, and a survey article                 sedation by “inhibiting GABA” from attaching to GABA
concluding that “[m]idazolam cannot be used alone ...            receptors, not by promoting GABA's sedative effects,
to maintain adequate anesthesia,” Reves, Fragen, Vinik,          id., at 312. Thus, when asked about Dr. Lubarsky's
& Greenblatt, Midazolam: Pharmacology and Uses,                  description of the ceiling effect, Dr. Evans characterized
62 Anesthesiology 310, 318 (1985) (Reves). For his               the phenomenon as stemming from “the competitive
part, Dr. Sasich referred to a separate survey article,          nature of substances trying to attach to GABA receptors.”
which similarly recognized and described the ceiling             Id., at 313.
effect to which benzodiazepines are subject. See Saari,
Uusi–Oukari, Ahonen, & Olkkola, Enhancement of                   Dr. Evans cited no scholarly research in support of
GABAergic Activity: Neuropharmacological Effects of              his opinions. Instead, he appeared to rely primarily
Benzodiazepines and Therapeutic Use in Anesthesiology,           on two sources: the Web site www.drugs.com, and a
63 Pharamacological Rev. 243, 244, 250 (2011) (Saari).           “Material Safety Data Sheet” produced by a midazolam
                                                                 manufacturer. See id., at 303. Both simply contained
By contrast, Dr. Evans, the State's expert, asserted that        general information that covered the experts' areas of
a 500–milligram dose of midazolam would “render the              agreement.
person unconscious and ‘insensate’ during the remainder
of the [execution] procedure.” App. 294. He rested this
conclusion on two interrelated propositions.
                                                                                          *2785 D

First, observing that a therapeutic dose of midazolam to         The District Court denied petitioners' motion for a
treat anxiety is less than 5 milligrams for a 70–kilogram        preliminary injunction. It began by making a series
adult, Dr. Evans emphasized that Oklahoma's planned              of factual findings regarding the characteristics of
administration of 500 milligrams of the drug was “at             midazolam and its use in Oklahoma's execution protocol.
least 100 times the normal therapeutic dose.” Ibid. While        Most relevant here, the District Court found that “[t]he
he acknowledged that “[t]here are no studies that have           proper administration of 500 milligrams of midazolam ...
been done ... administering that much ... midazolam ...          would make it a virtual certainty that an individual will
to anybody,” he noted that deaths had occurred in doses          be at a sufficient level of unconsciousness to resist the
as low as 0.04 to 0.07 milligrams per kilogram (2.8 to           noxious stimuli which could occur from the application
4.9 milligrams for a 70–kilogram adult), and contended           of the second and third drugs.” Id., at 77. Respecting
that a 500–milligram dose would itself cause death within        petitioners' contention that there is a “ceiling effect
less than an hour—a conclusion he characterized as               which prevents an increase in dosage from having a
“essentially an extrapolation from a toxic effect.” Id., at      corresponding incremental effect on anesthetic depth,” the
327; see id., at 308.                                            District Court concluded:

Second, in explaining how he reconciled his opinion with           “Dr. Evans testified persuasively ... that whatever the
the evidence of midazolam's ceiling effect, Dr. Evans              ceiling effect of midazolam may be with respect to
testified that while “GABA receptors are found across              anesthesia, which takes effect at the spinal cord level,
the entire body,” midazolam's ceiling effect is limited            there is no ceiling effect with respect to the ability of a
to the “spinal cord” and there is “no ceiling effect”              500 milligram dose of midazolam to effectively paralyze



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  the brain, a phenomenon which is not anesthesia but            not demonstrate a likelihood of showing that Oklahoma's
  does have the effect of shutting down respiration and          execution protocol poses an unconstitutional risk of
  eliminating the individual's awareness of pain.” Id., at       pain. In reaching this conclusion, the Court sweeps aside
  78.                                                            substantial evidence showing that, while midazolam may
                                                                 be able to induce unconsciousness, it cannot be utilized to
Having made these findings, the District Court held              maintain unconsciousness in the face of agonizing stimuli.
that petitioners had shown no likelihood of success on           Instead, like the District *2786 Court, the Court finds
the merits of their Eighth Amendment claim for two               comfort in Dr. Evans' wholly unsupported claims that 500
independent reasons. First, it determined that petitioners       milligrams of midazolam will “paralyz[e] the brain.” In
had “failed to establish that proceeding with [their]            so holding, the Court disregards an objectively intolerable
execution[s] ... on the basis of the revised protocol            risk of severe pain.
presents ... ‘an objectively intolerable risk of harm.’ ” Id.,
at 96. Second, the District Court held that petitioners were
unlikely to prevail because they had not identified any “
                                                                                              A
‘known and available alternative’ ” means by which they
could be executed—a requirement it understood Baze to            Like the Court, I would review for clear error the District
impose. Id., at 97. The District Court concluded that the        Court's finding that 500 milligrams of midazolam will
State “ha[d] affirmatively shown that sodium thiopental          render someone sufficiently unconscious “ ‘to resist the
and pentobarbital, the only alternatives to which the            noxious stimuli which could occur from the application of
[petitioners] have even alluded, are not available to the        the second and third drugs.’ ” Ante, at 2740 (quoting App.
[State].” Id., at 98.                                            77). Unlike the Court, however, I would do so without
                                                                 abdicating our duty to examine critically the factual
The Court of Appeals for the Tenth Circuit affirmed.             predicates for the District Court's finding—namely, Dr.
Warner v. Gross, 776 F.3d 721 (2015). It, like the District      Evans' testimony that midazolam has a “ceiling effect”
Court, held that petitioners were unlikely to prevail on         only “at the spinal cord level,” and that a “500 milligram
the merits because they had failed to prove the existence        dose of midazolam” can therefore “effectively paralyze the
of “ ‘known and available alternatives.’ ” Id., at 732.          brain.” Id., at 78. To be sure, as the Court observes, such
“In any event,” the court continued, it was unable to            scientific testimony may at times lie at the boundaries of
conclude that the District Court's factual findings had          federal courts' expertise. See ante, at 2739 – 2740. But just
been clearly erroneous, and thus petitioners had also            because a purported expert says something does not make
“failed to establish that the use of midazolam in their          it so. Especially when important constitutional rights are
executions ... creates a demonstrated risk of severe pain.”      at stake, federal district courts must carefully evaluate the
Ibid.                                                            premises and evidence on which scientific conclusions are
                                                                 based, and appellate courts must ensure that the courts
Petitioners and Charles Warner filed a petition for              below have in fact carefully considered all the evidence
certiorari and an application to stay their executions.          presented. Clear error exists “when although there is
The Court denied the stay application, and Charles               evidence to support” a finding, “the reviewing court on the
Warner was executed on January 15, 2015. See Warner              entire evidence is left with the definite and firm conviction
v. Gross, 574 U.S. ––––, 135 S.Ct. 824, 190 L.Ed.2d              that a mistake has been committed.” United States v.
903 (2015) (SOTOMAYOR, J., dissenting from denial                United States Gypsum Co., 333 U.S. 364, 395, 68 S.Ct. 525,
of certiorari). The Court subsequently granted certiorari        92 L.Ed. 746 (1948). Here, given the numerous flaws in Dr.
and, at the request of the State, stayed petitioners' pending    Evans' testimony, there can be little doubt that the District
executions.                                                      Court clearly erred in relying on it.

                                                                 To begin, Dr. Evans identified no scientific literature to
                              II                                 support his opinion regarding midazolam's properties at
                                                                 higher-than-normal doses. Apart from a Material Safety
I begin with the second of the Court's two holdings: that        Data Sheet that was relevant only insofar as it suggests
the District Court properly found that petitioners did           that a low dose of midazolam may occasionally be toxic,



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see ante, at 2745—an issue I discuss further below—                because discerning the rationale underlying Dr. Evans'
Dr. Evans' testimony seems to have been based on the               testimony is difficult. His spinal-cord theory might,
Web site www.drugs.com. The Court may be right that                however, be explained at least in part by his apparent
“petitioners do not identify any incorrect statements              belief that rather than promoting GABA's inhibitory
from drugs.com on which Dr. Evans relied.” Ante, at                effects, midazolam produces sedation by “compet[ing]”
2745. But that is because there were no statements from            with GABA and thus “inhibit[ing]” GABA's effect. App.
drugs.com that supported the critically disputed aspects of        312–313. 2 Regardless, I need not delve too deeply into
Dr. Evans' opinion. If anything, the Web site supported            Dr. Evans' alternative scientific reality. It suffices to
petitioners' contentions, as it expressly cautioned that           say that to the extent that Dr. Evans' testimony was
midazolam “[s]hould not be used alone for maintenance of           based on his understanding of the source of midazolam's
anesthesia,” App. H to Pet. for Cert. 6159, and contained          pharmacological properties, that understanding was
no warning that an excessive dose of midazolam could               wrong.
“paralyze the brain,” see id., at 6528–6529.
                                                                   These inconsistencies and inaccuracies go to the very
Most importantly, nothing from drugs.com—or, for that              heart of Dr. Evans' expert opinion, as they were the
matter, any other source in the record—corroborated Dr.            key components of his professed belief that one can
Evans' key testimony that midazolam's ceiling effect is            extrapolate from what is known about midazolam's effect
limited to the spinal cord and does not pertain to the brain.      at low doses to conclude that the drug would “paralyz[e]
Indeed, the State appears to have disavowed Dr. Evans'             the brain” at Oklahoma's planned dose. Id., at 314.
spinal-cord theory, refraining from even mentioning it in          All three experts recognized that there had been no
its brief despite the fact that the District Court expressly       scientific testing on the use of this amount of midazolam
relied on this testimony as the basis for finding that larger      in conjunction with these particular lethal injection
doses of midazolam will have greater anesthetic effects.           drugs. See ante, at 2740 – 2741; App. 176 (Lubarsky),
App. 78. The Court likewise assiduously avoids defending           243–244 (Sasich), 327 (Evans). For this reason, as the
this theory.                                                       Court correctly observes, “extrapolation was reasonable.”
                                                                   Ante, at 2741. But simply because extrapolation may be
That is likely because this aspect of Dr. Evans' testimony         reasonable or even required does not mean that every
was not just unsupported, but was directly refuted by the          conceivable method of extrapolation can be credited, or
studies and articles cited by Drs. Lubarsky and Sasich.            that all estimates stemming from purported extrapolation
Both of these experts relied on *2787 academic texts               are worthy of belief. Dr. Evans' view was that because
describing benzodiazepines' ceiling effect and explaining          40 milligrams of midazolam could be used to induce
why it prevents these drugs from rendering a person                unconsciousness, App. 294, and because more drug will
completely insensate. See Stoelting & Hillier 141, 144             generally produce more effect, a significantly larger dose
(describing midazolam's ceiling effect and contrasting             of 500 milligrams would not just induce unconsciousness
the drug with barbiturates); Saari 244 (observing that             but allow for its maintenance in the face of extremely
“abolishment of perception of environmental stimuli                painful stimuli, and ultimately *2788 even cause death
cannot usually be generated”). One study further made              itself. In his words: “[A]s you increase the dose of
clear that the ceiling effect is apparent in the brain. See id.,   midazolam, it's a linear effect, so you're going to continue
at 250.                                                            to get an impact from higher doses of the drug.” Id., at 332.
                                                                   If, however, there is a ceiling with respect to midazolam's
These scientific sources also appear to demonstrate that           effect on the brain—as petitioners' experts established
Dr. Evans' spinal-cord theory—i.e., that midazolam's               there is—then such simplistic logic is not viable. In this
ceiling effect is limited to the spinal cord—was premised          context, more is not necessarily better, and Dr. Evans was
on a basic misunderstanding of midazolam's mechanism               plainly wrong to presume it would be.
of action. I say “appear” not because the sources
themselves are unclear about how midazolam operates:               If Dr. Evans had any other basis for the “extrapolation”
They plainly state that midazolam functions by promoting           that led him to conclude 500 milligrams of midazolam
GABA's inhibitory effects on the central nervous system.           would “paralyz[e] the brain,” id., at 314, it was even
See, e.g., Stoelting & Hillier 140. Instead, I use “appear”        further divorced from scientific evidence and logic.



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Having emphasized that midazolam had been known to               “objectively intolerable risk” of severe pain. See Baze, 553
cause approximately 80 deaths, Dr. Evans asserted that           U.S., at 50, 128 S.Ct. 1520 (plurality opinion) (internal
his opinion regarding the efficacy of Oklahoma's planned         quotation marks omitted). I would hold that they made
use of the drug represented “essentially an extrapolation        this showing. That is because, in stark contrast to Dr.
from a toxic effect.” Id., at 327 (emphasis added); see          Evans, petitioners' experts were able to point to objective
id., at 308. Thus, Dr. Evans appeared to believe—and             evidence indicating that midazolam cannot serve as an
again, I say “appeared” because his rationale is not clear       effective anesthetic that “render[s] a person insensate to
—that because midazolam caused some deaths, it would             pain caused by the second and third [lethal injection]
necessarily cause complete unconsciousness and then              drugs.” Ante, at 2743.
death at especially high doses. But Dr. Evans also thought,
and Dr. Lubarsky confirmed, that these midazolam                 As observed above, these experts cited multiple sources
fatalities had occurred at very low doses—well below what        supporting the existence of midazolam's ceiling effect.
any expert said would produce unconsciousness. See id.,          That evidence alone provides ample reason to doubt
at 207, 308. These deaths thus seem to represent the rare,       midazolam's efficacy. Again, to prevail on their claim,
unfortunate side effects that one would expect to see with       petitioners need only establish an intolerable risk of pain,
any drug at normal therapeutic doses; they provide no            not a certainty. See Baze, 553 U.S., at 50, 128 S.Ct. 1520.
indication of the effect one would expect midazolam to           Here, the State is attempting to use midazolam to produce
have on the brain at substantially higher doses. Deaths          an effect the drug has never previously been demonstrated
occur with almost any product. One might as well say             to produce, and despite studies indicating that at some
that because some people occasionally die from eating one        point increasing the dose will not actually increase the
peanut, one hundred peanuts would necessarily induce a           drug's effect. The State is thus proceeding in the face of a
coma and death in anyone. 3                                      very real risk that the drug will not work in the manner
                                                                 it claims.
In sum, then, Dr. Evans' conclusions were entirely
unsupported by any study or third-party source,                  Moreover, and perhaps more importantly, the record
contradicted by the extrinsic evidence proffered by              provides good reason to think this risk is substantial. The
petitioners, inconsistent with the scientific understanding      Court insists that petitioners failed to provide “probative
of midazolam's properties, and apparently premised on            evidence” as to whether “midazolam's ceiling effect occurs
basic logical errors. Given these glaring flaws, the District    below the level of a 500–milligram dose and at a point
Court's acceptance of Dr. Evans' claim that 500 milligrams       at which the drug does not have the effect of rendering
of midazolam would “paralyz[e] the brain” cannot be              a person insensate to pain.” Ante, at 2743. It emphasizes
credited. This is not a case “[w]here there are two              that Dr. Lubarsky was unable to say “at what dose the
permissible views of the evidence,” and the District Court       ceiling effect occurs,” and could only estimate that it was
chose one; rather, it is one where the trial judge credited      “ ‘[p]robably after about ... 40 to 50 milligrams.’ ” Ante,
“one of two or more witnesses” even though that witness          at 2743 (quoting App. 225).
failed to tell “a coherent and facially plausible story that
is not contradicted by extrinsic evidence.” Anderson v.          But the precise dose at which midazolam reaches its ceiling
Bessemer City, 470 U.S. 564, 574–575, 105 S.Ct. 1504, 84         effect is irrelevant if there is no dose at which the drug
L.Ed.2d 518 (1985). In other words, this is a case in which      can, in the Court's words, render a person “insensate to
the District Court clearly erred. See ibid.                      pain.” Ante, at 2743. On this critical point, Dr. Lubarsky
                                                                 was quite clear. 4 He explained that the drug “does not
                                                                 work to produce” a “lack of consciousness as noxious
                                                                 stimuli are applied,” and is “not sufficient to produce
                             B
                                                                 a surgical plane of anesthesia in human beings.” App.
Setting aside the District Court's erroneous factual             204. He also noted that “[t]he drug would never be used
finding that 500 milligrams of midazolam will necessarily        and has never been used as a sole anesthetic to give
“paralyze the brain,” the question is whether the Court          anesthesia during a surgery,” id., at 223, and asserted
is nevertheless correct to hold that petitioners *2789           that “the drug was not approved by the FDA as a sole
failed to demonstrate that the use of midazolam poses an         anesthetic because after the use of fairly large doses that



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were sufficient to reach the ceiling effect and produce          flaws that marred the Lockett execution created the
induction of unconsciousness, the patients responded to          conditions for an unintended (and grotesque) experiment
the surgery,” id., at 219. Thus, Dr. Lubarsky may not have       on midazolam's efficacy. Due to problems with the IV
been able to *2790 identify whether this effect would            line, Lockett was not fully paralyzed after the second and
be reached at 40, 50, or 60 milligrams or some higher            third drugs were administered. He had, however, been
threshold, but he could specify that at no level would           administered more than enough midazolam to “render
midazolam reliably keep an inmate unconscious once the           an average person unconscious,” as the District Court
second and third drugs were delivered. 5                         found. App. 57. When Lockett awoke and began to writhe
                                                                 and speak, he demonstrated the critical difference between
These assertions were amply supported by the evidence            midazolam's ability to render an inmate unconscious
of the manner in which midazolam is and can be                   and its ability to maintain the inmate in that state. The
used. All three experts agreed that midazolam is utilized        Court insists that Lockett's execution involved “only 100
as the sole sedative only in minor procedures. Dr.               milligrams of midazolam,” ante, at 2746, but as *2791
Evans, for example, acknowledged that while midazolam            explained previously, more is not necessarily better given
may be used as the sole drug in some procedures                  midazolam's ceiling effect.
that are not “terribly invasive,” even then “you would
[generally] see it used in combination with a narcotic.”         The Wood execution is perhaps even more probative.
Id., at 307. And though, as the Court observes, Dr.              Despite being given over 750 milligrams of midazolam,
Sasich believed midazolam could be “used for medical             Wood gasped and snorted for nearly two hours. These
procedures like colonoscopies and gastroscopies,” ante,          reactions were, according to Dr. Lubarsky, inconsistent
at 2742, he insisted that these procedures were not              with Wood being fully anesthetized, App. 177–178, and
necessarily painful, and that it would be a “big jump” to        belie the claim that a lesser dose of 500 milligrams
conclude that midazolam would be effective to maintain           would somehow suffice. The Court attempts to distinguish
unconsciousness throughout an execution. Tr. 369–370.            the Wood execution on the ground that the timing of
Indeed, the record provides no reason to think that these        Arizona's administration of midazolam was different.
procedures cause excruciating pain remotely comparable           Ante, at 2745 – 2746. But as Dr. Lubarsky testified,
to that produced by the second and third lethal injection        it did not “matter” whether in Wood's execution the
drugs Oklahoma intends to use.                                   “midazolam was introduced all at once or over ... multiple
                                                                 doses,” because “[t]he drug has a sufficient half life that
As for more painful procedures, the consensus was also           the effect is cumulative.” App. 220; see also Saari 253
clear: Midazolam is not FDA-approved for, and is not             (midazolam's “elimination half-life ranges from 1.7 to
used as, a sole drug to maintain unconsciousness. See            3.5 h [ours]”). 6 Nor does the fact that Wood's dose of
App. 171 (Lubarsky), 262 (Sasich), 327 (Evans). One              midazolam was paired with hydromorphone rather than
might infer from the fact that midazolam is not used as          a paralytic and potassium chromide, see ante, at 2746,
the sole anesthetic for more serious procedures that it          appear to have any relevance—other than that the use of
cannot be used for them. But drawing such an inference           this analgesic drug may have meant that Wood did not
is unnecessary, as petitioners' experts invoked sources          experience the same degree of searing pain that an inmate
expressly stating as much. In particular, Dr. Lubarsky           executed under Oklahoma's protocol may face.
pointed to a survey article that cited four separate
authorities and declared that “[m]idazolam cannot be             By contrast, Florida's use of this same three-drug protocol
used alone ... to maintain adequate anesthesia.” Reves           in 11 executions, see ante, at 2745 – 2746 (citing Brief
318; see also Stoelting & Hillier 145 (explaining that           for State of Florida as Amicus Curiae 1), tells us virtually
midazolam is used for “induction of anesthesia,” and that,       nothing. Although these executions have featured no
“[i]n combination with other drugs, [it] may be used for         obvious mishaps, the key word is “obvious.” Because
maintenance of anesthesia” (emphasis added)).                    the protocol involves the administration of a powerful
                                                                 paralytic, it is, as Drs. Sasich and Lubarsky explained,
This evidence was alone sufficient, but if one wanted            impossible to tell whether the condemned inmate in fact
further support for these conclusions it was provided            remained unconscious. App. 218, 273; see also Baze, 553
by the Lockett and Wood executions. The procedural               U.S., at 71, 128 S.Ct. 1520 (Stevens, J., concurring in



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judgment). Even in these executions, moreover, there have
been indications of the inmates' possible awareness. See         Perhaps the State could prevail after a full hearing, though
Brief for State of Alabama et al. as Amici Curiae 9–13           this would require more than Dr. Evans' unsupported
(describing the 11 Florida executions, and noting that           testimony. At the preliminary injunction stage, however,
some allegedly involved blinking and other movement              petitioners presented compelling evidence suggesting that
after administration of the three drugs). 7                      midazolam will not work as the State intends. The State,
                                                                 by contrast, offered absolutely no contrary evidence worth
Finally, none of the State's “safeguards” for administering      crediting. Petitioners are thus at the very least likely
these drugs would seem to mitigate the substantial risk          to prove that, due to midazolam's inherent deficiencies,
that midazolam will not work, as the Court contends.             there is a constitutionally intolerable risk that they will
See ante, at 2742 – 2743. Protections ensuring that              be awake, yet unable to move, while chemicals known
officials have properly secured a viable IV site will not        to cause “excruciating pain” course through their veins.
enable midazolam to have an effect that it is chemically         Baze, 553 U.S., at 71, 128 S.Ct. 1520 (Stevens, J.,
incapable of having. Nor is there any indication that            concurring in judgment).
the State's monitoring of the inmate's consciousness
will be able to anticipate whether the inmate will
remain unconscious while the second and third drugs                                            III
are administered. No one questions whether midazolam
can induce unconsciousness. The problem, as Lockett's            The Court's determination that the use of midazolam
execution vividly illustrates, is that an unconscious inmate     poses no objectively intolerable risk of severe pain is
may be awakened by the pain and respiratory distress             factually wrong. The Court's conclusion that petitioners'
caused by administration of the second and third *2792           challenge also fails because they identified no available
drugs. At that point, even if it were possible to determine      alternative means by which the State may kill them is
whether the inmate is conscious—dubious, given the use           legally indefensible.
of a paralytic—it is already too late. Presumably for
these reasons, the Tenth Circuit characterized the District
Court's reliance on these procedural mechanisms as “not
                                                                                               A
relevant to its rejection of [petitioners'] claims regarding
the inherent characteristics of midazolam.” Warner, 776          This Court has long recognized that certain methods
F.3d, at 733.                                                    of execution are categorically off-limits. The Court first
                                                                 confronted an Eighth Amendment challenge to a method
                                                                 of execution in Wilkerson v. Utah, 99 U.S. 130, 25
                             C                                   L.Ed. 345 (1879). Although Wilkerson approved the
                                                                 particular method at issue—the firing squad—it made
The Court not only disregards this record evidence               clear that “public dissection,” “burning alive,” and other
of midazolam's inadequacy, but also fails to fully               “punishments of torture ... in the same line of unnecessary
appreciate the procedural posture in which this case arises.     cruelty, are forbidden by [the Eighth A]mendment to
Petitioners have not been accorded a full hearing on             the Constitution.” Id., at 135–136. Eleven years later, in
the merits of their claim. They were granted only an             rejecting a challenge to the first proposed use of the electric
abbreviated evidentiary proceeding that began less than          chair, the Court again reiterated that “if the punishment
three months after the State issued its amended execution        prescribed for an offense against the laws of the State
protocol; they did not even have the opportunity to              were manifestly cruel and unusual, as burning at the stake,
present rebuttal evidence after Dr. Evans testified. They        crucifixion, breaking on the wheel, or the like, it would
sought a preliminary injunction, and thus were not               be the duty of the courts to adjudge such penalties to be
required to prove their claim, but only to show that they        within the constitutional prohibition.” In re Kemmler, 136
were likely to succeed on the merits. See Winter v. Natural      U.S. 436, 446, 10 S.Ct. 930, 34 L.Ed. 519 (1890).
Resources Defense Council, Inc., 555 U.S. 7, 20, 129 S.Ct.
365, 172 L.Ed.2d 249 (2008); Hill v. McDonough, 547 U.S.         In the more than a century since, the Members of this
573, 584, 126 S.Ct. 2096, 165 L.Ed.2d 44 (2006).                 Court have often had cause to debate the full scope of


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the Eighth Amendment's prohibition of cruel *2793 and            And as the Court observes, ante, at 2738, n. 2, the opinion
unusual punishment. See, e.g., Furman v. Georgia, 408            of Justice THOMAS, joined by Justice SCALIA, took
U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972). But there        the broadest position with respect to the degree of intent
has been little dispute that it at the very least precludes      that state officials must have in order to have violated
the imposition of “barbarous physical punishments.”              the Eighth Amendment, concluding that only a method
Rhodes v. Chapman, 452 U.S. 337, 345, 101 S.Ct. 2392,            of execution deliberately designed to inflict pain, and
69 L.Ed.2d 59 (1981); see, e.g., Solem v. Helm, 463 U.S.         not one simply designed with deliberate indifference to
277, 284, 103 S.Ct. 3001, 77 L.Ed.2d 637 (1983); id.,            the risk of severe pain, would be unconstitutional. 553
at 312–313, 103 S.Ct. 3001 (Burger, C.J., dissenting);           U.S., at 94, 128 S.Ct. 1520 (THOMAS, J., concurring
Baze, 553 U.S., at 97–99, 128 S.Ct. 1520 (THOMAS,                in judgment). But this understanding of the Eighth
J., concurring in judgment); Harmelin v. Michigan, 501           Amendment's intent requirement is unrelated to, and thus
U.S. 957, 976, 111 S.Ct. 2680, 115 L.Ed.2d 836 (1991)            not any broader or narrower than, the requirement the
(opinion of SCALIA, J.). Nor has there been any question         Court now divines from Baze. Because the position that
that the Amendment prohibits such “inherently barbaric           a plaintiff challenging a method of execution under the
punishments under all circumstances.” Graham v. Florida,         Eighth Amendment must prove the availability of an
560 U.S. 48, 59, 130 S.Ct. 2011, 176 L.Ed.2d 825 (2010)          alternative means of execution did not “represent the
(emphasis added). Simply stated, the “Eighth Amendment           views of a majority of the Court,” it was not the holding of
categorically prohibits the infliction of cruel and unusual      the Baze Court. CTS Corp. v. Dynamics Corp. of America,
punishments.” Penry v. Lynaugh, 492 U.S. 302, 330, 109           481 U.S. 69, 81, 107 S.Ct. 1637, 95 L.Ed.2d 67 (1987).
S.Ct. 2934, 106 L.Ed.2d 256 (1989) (emphasis added).
                                                                 In any event, even the Baze plurality opinion provides
                                                                 no support for the Court's proposition. To be sure,
                                                                 that opinion contains the following sentence: “[The
                             B
                                                                 condemned] must show that the risk is substantial *2794
The Court today, however, would convert this categorical         when compared to the known and available alternatives.”
prohibition into a conditional one. A method of execution        553 U.S., at 61, 128 S.Ct. 1520. But the meaning of
that is intolerably painful—even to the point of being           that key sentence and the limits of the requirement it
the chemical equivalent of burning alive—will, the Court         imposed are made clear by the sentence directly preceding
holds, be unconstitutional if, and only if, there is a “known    it: “A stay of execution may not be granted on grounds
and available alternative” method of execution. Ante, at         such as those asserted here unless the condemned prisoner
2762 – 2763. It deems Baze to foreclose any argument to          establishes that the State's lethal injection protocol creates
the contrary. Ante, at 2762.                                     a demonstrated risk of severe pain.” Ibid. (emphasis
                                                                 added). In Baze, the very premise of the petitioners'
Baze held no such thing. In the first place, the Court           Eighth Amendment claim was that they had “identified
cites only the plurality opinion in Baze as support for          a significant risk of harm [in Kentucky's protocol] that
its known-and-available-alternative requirement. See ibid.       [could] be eliminated by adopting alternative procedures.”
Even assuming that the Baze plurality set forth such a           Id., at 51, 128 S.Ct. 1520. Their basic theory was that
requirement—which it did not—none of the Members of              even if the risk of pain was only, say, 25%, that risk
the Court whose concurrences were necessary to sustain           would be objectively intolerable if there was an obvious
the Baze Court's judgment articulated a similar view.            alternative that would reduce the risk to 5%. See Brief
See 553 U.S., at 71–77, 87, 128 S.Ct. 1520 (Stevens, J.,         for Petitioners in Baze v. Rees, O.T. 2007, No. 07–5439,
concurring in judgment); id., at 94, 99–107, 128 S.Ct.           p. 29 (“In view of the severity of the pain risked and the
1520 (THOMAS, J., concurring in judgment); id., at 107–          ease with which it could be avoided, Petitioners should
108, 113, 128 S.Ct. 1520 (BREYER, J., concurring in              not have been required to show a high likelihood that
judgment). In general, “the holding of the Court may             they would suffer such pain ...”). Thus, the “grounds ...
be viewed as that position taken by those Members who            asserted” for relief in Baze were that the State's protocol
concurred in the judgments on the narrowest grounds.”            was intolerably risky given the alternative procedures the
Marks v. United States, 430 U.S. 188, 193, 97 S.Ct. 990,         State could have employed.
51 L.Ed.2d 260 (1977) (internal quotation marks omitted).



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Addressing this claim, the Baze plurality clarified that         so carelessly tossed aside Hill 's underlying premise less
“a condemned prisoner cannot successfully challenge a            than two years later.
State's method of execution merely by showing a slightly
or marginally safer alternative,” 553 U.S., at 51, 128 S.Ct.
1520; instead, to succeed in a challenge of this type, the
                                                                                              C
comparative risk must be “substantial,” id., at 61, 128
S.Ct. 1520. Nowhere did the plurality suggest that all           In reengineering Baze to support its newfound rule, the
challenges to a State's method of execution would require        Court appears to rely on a flawed syllogism. If the death
this sort of comparative-risk analysis. Recognizing the          penalty is constitutional, the Court reasons, then there
relevance of available alternatives is not at all the same       must be a means of accomplishing it, and thus some
as concluding that their absence precludes a claimant            available method of execution must be constitutional. See
from showing that a chosen method carries objectively            ante, at 2732 – 2733, 2738 – 2739. But even accepting
intolerable risks. If, for example, prison officials chose a     that the death penalty is, in the abstract, consistent with
method of execution that has a 99% chance of causing             evolving standards of decency, but see ante, p. 2760 –
lingering and excruciating pain, certainly that risk would       2761 (BREYER, J., dissenting), the Court's conclusion
be objectively intolerable whether or not the officials          does not follow. The constitutionality of the death
ignored other methods in making this choice. Irrespective        penalty may inform our conception of the degree of pain
of the existence of alternatives, there are some risks           that would render a particular method of imposing it
“so grave that it violates contemporary standards of             unconstitutional. See Baze, 553 U.S., at 47, 128 S.Ct.
decency to expose anyone unwillingly to” them. Helling v.        1520 (plurality opinion) (because “[s]ome risk of pain is
McKinney, 509 U.S. 25, 36, 113 S.Ct. 2475, 125 L.Ed.2d           inherent in any method of execution,” “[i]t is clear ... the
22 (1993) (emphasis in original).                                Constitution does not demand the avoidance of all risk
                                                                 of pain”). But a method of execution that is “barbarous,”
That the Baze plurality's statement regarding a                  Rhodes, 452 U.S., at 345, 101 S.Ct. 2392, or “involve[s]
condemned inmate's ability to point to an available              torture or a lingering death,” Kemmler, 136 U.S., at 447,
alternative means of execution pertained only to                 10 S.Ct. 930, does not become less so just because it is the
challenges premised on the existence of such alternatives        only method currently available to a State. If all available
is further evidenced by the opinion's failure to distinguish     means of conducting an execution constitute cruel and
or even mention the Court's unanimous decision in                unusual punishment, then conducting the execution will
Hill v. McDonough, 547 U.S. 573, 126 S.Ct. 2096, 165             constitute cruel and usual punishment. Nothing compels
L.Ed.2d 44. Hill held that a § 1983 plaintiff challenging        a State to perform an execution. It does not get a
a State's method of execution need not “identif[y] an            constitutional free pass simply because it desires to deliver
alternative, authorized method of execution.” Id., at 582,       the ultimate penalty; its ends do not justify any and all
126 S.Ct. 2096. True, as the Court notes, ante, at 2738          means. If a State wishes to carry out an execution, it
– 2739, Hill did so in the context of addressing § 1983'         must do so subject to the constraints that our Constitution
s pleading standard, rejecting the proposed alternative-         imposes on it, including the obligation to ensure that its
means requirement because the Court saw no basis for             chosen method is not cruel and unusual. Certainly the
the “[i]mposition of heightened pleading requirements.”          condemned has no duty to devise or pick a constitutional
547 U.S., at 582, 126 S.Ct. 2096. But that only confirms         instrument of his or her own death.
that the Court in Hill did not view the availability of
an alternative means of execution as an element of an            For these reasons, the Court's available-alternative
Eighth Amendment claim: If it had, then requiring the            requirement leads to patently absurd consequences.
plaintiff to plead this element would not have meant             Petitioners contend that Oklahoma's current protocol
imposing a heightened standard at all, but rather would          is a barbarous method of punishment—the chemical
have been entirely consistent with “traditional pleading         equivalent of being burned alive. But under the Court's
requirements.” *2795 Ibid.; see Ashcroft v. Iqbal, 556           new rule, it would not matter whether the State intended
U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). The       to use midazolam, or instead to have petitioners drawn
Baze plurality opinion should not be understood to have          and quartered, slowly tortured to death, or actually
                                                                 burned at the stake: because petitioners failed to prove



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the availability of sodium thiopental or pentobarbital,          when States are engaged in what is in effect human
the State could execute them using whatever means it             experimentation.
designated. But see Baze, 553 U.S., at 101–102, 128
S.Ct. 1520 (THOMAS, J., concurring in judgment) (“It             It is also worth noting that some condemned inmates may
strains credulity to suggest that the defining characteristic    read the Court's surreal requirement that they identify the
of burning at the stake, disemboweling, drawing and              means of their death as an invitation to propose methods
quartering, beheading, and the like was that they involved       of executions less consistent with modern sensibilities.
risks of pain that could be eliminated by using alternative      Petitioners here failed to meet the Court's new test because
methods of execution”). 8 The Eighth Amendment cannot            of their assumption that the alternative drugs to which
possibly countenance such a result.                              they pointed, pentobarbital and sodium thiopental, were
                                                                 available to the State. See ante, at 2737 – 2738. This
                                                                 was perhaps a reasonable assumption, especially given
                                                                 that neighboring Texas and Missouri still to this day
                             D                                   continue to use pentobarbital in executions. See The
                                                                 Death Penalty Institute, Execution List 2015, online at
In concocting this additional requirement, the Court
                                                                 www.deathpenaltyinfo.org/execution–list–2015 (as visited
is motivated by a desire to preserve States' ability to
                                                                 June 26, 2015, and available in the Clerk of the Court's
conduct executions *2796 in the face of changing
                                                                 case file).
circumstances. See ante, at 2732 – 2734, 2745 – 2746.
It is true, as the Court details, that States have faced
                                                                 In the future, however, condemned inmates might well
“practical obstacle[s]” to obtaining lethal injection drugs
                                                                 decline to accept States' current reliance on lethal
since Baze was decided. Ante, at 2732 – 2733. One study
                                                                 injection. In particular, some inmates may suggest the
concluded that recent years have seen States change their
                                                                 firing squad as an alternative. Since the 1920's, only Utah
protocols “with a frequency that is unprecedented among
                                                                 has utilized this method of execution. See S. Banner, The
execution methods in this country's history.” Denno,
                                                                 Death Penalty 203 (2002); Johnson, Double Murderer
Lethal Injection Chaos Post–Baze, 102 Geo. L. J. 1331,
                                                                 Executed by Firing Squad in Utah, N.Y. Times, June
1335 (2014).
                                                                 19, 2010, p. A12. But there is evidence to suggest that
                                                                 the firing squad is significantly more reliable than other
But why such developments compel the Court's
                                                                 methods, including lethal injection using the various
imposition of further burdens on those facing execution
                                                                 combinations of drugs thus far developed. See A. Sarat,
is a mystery. Petitioners here had no part in creating the
                                                                 Gruesome Spectacles: Botched Executions and America's
shortage of execution drugs; it is odd to punish them for
                                                                 Death Penalty, App. A, p. 177 (2014) (calculating that
the actions of pharmaceutical companies and others who
                                                                 while 7.12% of the 1,054 executions by lethal injection
seek to disassociate themselves from the death penalty—
                                                                 between 1900 and 2010 were “botched,” none of the 34
actions which are, of course, wholly lawful. Nor, certainly,
                                                                 executions by firing squad had been). Just as important,
should these rapidly changing circumstances give us any
                                                                 there is some reason to think that it is relatively quick and
greater confidence that the execution methods ultimately
                                                                 painless. See Banner, supra, at 203.
selected will be sufficiently humane to satisfy the Eighth
Amendment. Quite the contrary. The execution protocols
                                                                 Certainly, use of the firing squad could be seen as
States hurriedly devise as they scramble to locate new
                                                                 a devolution to a more primitive era. See Wood v.
and untested drugs, see supra, at 2781 – 2782, are all the
                                                                 Ryan, 759 F.3d 1076, 1103 (C.A.9 2014) (Kozinski, C.J.,
more likely to be cruel and unusual—presumably, these
                                                                 dissenting from denial of rehearing en banc). *2797
drugs would have been the States' first choice were they in
                                                                 That is not to say, of course, that it would therefore
fact more effective. But see Denno, The Lethal Injection
                                                                 be unconstitutional. But lethal injection represents just
Quandry: How Medicine Has Dismantled the Death
                                                                 the latest iteration of the States' centuries-long search
Penalty, 76 Ford. L. Rev. 49, 65–79 (2007) (describing
                                                                 for “neat and non-disfiguring homicidal methods.” C.
the hurried and unreasoned process by which States first
                                                                 Brandon, The Electric Chair: An Unnatural American
adopted the original three-drug protocol). Courts' review
                                                                 History 39 (1999) (quoting Editorial, New York Herald,
of execution methods should be more, not less, searching
                                                                 Aug. 10, 1884); see generally Banner, supra, at 169–



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207. A return to the firing squad—and the blood and
                                                                   “By protecting even those convicted of heinous crimes, the
physical violence that comes with it—is a step in the
                                                                   Eighth Amendment reaffirms the duty of the government
opposite direction. And some might argue that the visible
                                                                   to respect the dignity of all persons.” Roper v. Simmons,
brutality of such a death could conceivably give rise to
                                                                   543 U.S. 551, 560, 125 S.Ct. 1183, 161 L.Ed.2d 1
its own Eighth Amendment concerns. See Campbell v.
                                                                   (2005). Today, however, the Court absolves the State of
Wood, 511 U.S. 1119, 1121–1123, 114 S.Ct. 2125, 128
                                                                   Oklahoma of this duty. It does so by misconstruing and
L.Ed.2d 682 (1994) (Blackmun, J., dissenting from denial
                                                                   ignoring the record evidence regarding the constitutional
of stay of execution and certiorari); Glass v. Louisiana,
                                                                   insufficiency of midazolam as a sedative in a three-
471 U.S. 1080, 1085, 105 S.Ct. 2159, 85 L.Ed.2d 514
                                                                   drug lethal injection cocktail, and by imposing a wholly
(1985) (Brennan, J., dissenting from denial of certiorari).
                                                                   unprecedented obligation on the condemned inmate to
At least from a condemned inmate's perspective, however,
                                                                   identify an available means for his or her own execution.
such visible yet relatively painless violence may be vastly
                                                                   The contortions necessary to save this particular lethal
preferable to an excruciatingly painful death hidden
                                                                   injection protocol are not worth the price. I dissent.
behind a veneer of medication. The States may well be
reluctant to pull back the curtain for fear of how the rest
of us might react to what we see. But we deserve to know           All Citations
the price of our collective comfort before we blindly allow
a State to make condemned inmates pay it in our names.             135 S.Ct. 2726, 192 L.Ed.2d 761, 83 USLW 4656, 15 Cal.
                                                                   Daily Op. Serv. 6950, 2015 Daily Journal D.A.R. 7481, 25
***                                                                Fla. L. Weekly Fed. S 494


Footnotes
*      The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions for the
       convenience of the reader. See United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337, 26 S.Ct. 282, 50
       L.Ed. 499.
1      The three other drug combinations that Oklahoma may administer are: (1) a single dose of pentobarbital, (2) a single
       dose of sodium thiopental, and (3) a dose of midazolam followed by a dose of hydromorphone.
2      Justice SOTOMAYOR's dissent (hereinafter principal dissent), post, at 2793 – 2794, inexplicably refuses to recognize
       that THE CHIEF JUSTICE's opinion in Baze sets out the holding of the case. In Baze, the opinion of THE CHIEF JUSTICE
       was joined by two other Justices. Justices SCALIA and THOMAS took the broader position that a method of execution
       is consistent with the Eighth Amendment unless it is deliberately designed to inflict pain. 553 U.S., at 94, 128 S.Ct. 1520
       (THOMAS, J. concurring in judgment). Thus, as explained in Marks v. United States, 430 U.S. 188, 193, 97 S.Ct. 990, 51
       L.Ed.2d 260 (1977), THE CHIEF JUSTICE's opinion sets out the holding of the case. It is for this reason that petitioners
       base their argument on the rule set out in that opinion. See Brief for Petitioners 25, 28.
3      Drs. Lubarsky and Sasich, petitioners' key witnesses, both testified that midazolam is inappropriate for a third reason,
       namely, that it creates a risk of “paradoxical reactions” such as agitation, hyperactivity, and combativeness. App. 175
       (expert report of Dr. Lubarsky); id., at 242, 244 (expert report of Dr. Sasich). The District Court found, however, that the
       frequency with which a paradoxical reaction occurs “is speculative” and that the risk “occurs with the highest frequency
       in low therapeutic doses.” Id., at 78. Indeed, Dr. Sasich conceded that the incidence or risk of paradoxical reactions with
       midazolam “is unknown” and that reports estimate the risk to vary only “from 1% to above 10%.” Id., at 244. Moreover,
       the mere fact that a method of execution might result in some unintended side effects does not amount to an Eighth
       Amendment violation. “[T]he Constitution does not demand the avoidance of all risk of pain.” Baze, 553 U.S., at 47, 128
       S.Ct. 1520 (plurality opinion).
4      The principal dissent misunderstands the record when it bizarrely suggests that midazolam is about as dangerous as a
       peanut. Post, at 2788. Dr. Evans and Dr. Lubarsky agreed that midazolam has caused fatalities in doses as low as 0.04 to
       0.07 milligrams per kilogram. App. 217, 294. Even if death from such low doses is a “rare, unfortunate side effec[t],” post,
       at 2788, the District Court found that a massive 500–milligram dose—many times higher than the lowest dose reported
       to have produced death—will likely cause death in under an hour. App. 76–77.
5      Petitioners' experts also declined to testify that a 500–milligram dose of midazolam is always insufficient to place a person
       in a coma and render him insensate to pain. Dr. Lubarsky argued only that the 500–milligram dose cannot “reliably”



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       produce a coma. Id., 228. And when Dr. Sasich was asked whether he could say to a reasonable degree of certainty that
       a 500–milligram dose of midazolam would not render someone unconscious, he replied that he could not. Id., at 271–
       272. A product label for midazolam that Dr. Sasich attached to his expert report also acknowledged that an overdose of
       midazolam can cause a coma. See Expert Report of Larry D. Sasich, in No. 14–6244 (CA10), p. 34.
6      The principal dissent emphasizes Dr. Lubarsky's supposedly contrary testimony, but the District Court was entitled to
       credit Dr. Evans (and Dr. Sasich) instead of Dr. Lubarsky on this point. And the District Court had strong reasons not to
       credit Dr. Lubarsky, who even argued that a protocol that includes sodium thiopental is “constructed to produce egregious
       harm and suffering.” App. 227.
7      GABA is “an amino acid that functions as an inhibitory neurotransmitter in the brain and spinal cord.” Mosby's Medical
       Dictionary 782 (7th ed. 2006).
8      The principal dissent emphasizes Dr. Lubarsky's testimony that it is irrelevant that Wood was administered the drug over
       a 2–hour period. Post, at 2790 – 2791. But Dr. Evans disagreed and testified that if a 750–milligram dose “was spread
       out over a long period of time,” such as one hour (i.e., half the time at issue in the Wood execution), the drug might not
       be as effective as if it were administered all at once. Tr. 667. The principal dissent states that this “pronouncement was
       entirely unsupported,” post, at 2791, n. 6, but it was supported by Dr. Evans' expertise and decades of experience. And
       it would be unusual for an expert testifying on the stand to punctuate each sentence with citation to a medical journal.
          After the Wood execution, Arizona commissioned an independent assessment of its execution protocol and the Wood
          execution. According to that report, the IV team leader, medical examiner, and an independent physician all agreed that
          the dosage of midazolam “would result in heavy sedation.” Ariz. Dept. of Corrections, Assessment and Review of the
          Ariz. Dept. of Corrections Execution Protocols 46, 48 (Dec. 15, 2014), online at https:// corrections.az.gov/sites/default/
          files/documents/PDFs/arizona_final_report_ 12_15_14_w_cover.pdf. And far from blaming midazolam for the Wood
          execution, the report recommended that Arizona replace its two-drug protocol with Oklahoma's three-drug protocol
          that includes a 500–milligram dose of midazolam as the first drug. Id., at 49.
1      Generally: Baze v. Rees, 553 U.S. 35, 94–97, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008) (THOMAS, J., concurring in
       judgment) (explaining that the Cruel and Unusual Punishments Clause does not prohibit the death penalty, but only
       torturous punishments); Graham v. Collins, 506 U.S. 461, 488, 113 S.Ct. 892, 122 L.Ed.2d 260 (1993) (THOMAS, J.,
       concurring); Gardner v. Florida, 430 U.S. 349, 371, 97 S.Ct. 1197, 51 L.Ed.2d 393 (1977) (Rehnquist, J., dissenting)
       (“The prohibition of the Eighth Amendment relates to the character of the punishment, and not to the process by which it
       is imposed”). On reliability: Kansas v. Marsh, 548 U.S. 163, 181, 126 S.Ct. 2516, 165 L.Ed.2d 429 (2006) (noting that the
       death penalty remains constitutional despite imperfections in the criminal justice system); McGautha v. California, 402
       U.S. 183, 221, 91 S.Ct. 1454, 28 L.Ed.2d 711 (1971) (“[T]he Federal Constitution, which marks the limits of our authority
       in these cases, does not guarantee trial procedures that are the best of all worlds, or that accord with the most enlightened
       ideas of students of the infant science of criminology, or even those that measure up to the individual predilections of
       members of this Court”). On arbitrariness: Ring v. Arizona, 536 U.S. 584, 610, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002)
       (SCALIA, J., concurring) (explaining that what compelled States to specify “ ‘aggravating factors' ” designed to limit the
       death penalty to the worst of the worst was this Court's baseless jurisprudence concerning juror discretion); McCleskey
       v. Kemp, 481 U.S. 279, 308–312, 107 S.Ct. 1756, 95 L.Ed.2d 262 (1987) (noting that various procedures, including the
       right to a jury trial, constitute a defendant's protection against arbitrariness in the application of the death penalty). On
       excessive delays: Knight v. Florida, 528 U.S. 990, 120 S.Ct. 459, 145 L.Ed.2d 370 (1999) (THOMAS, J., concurring in
       denial of certiorari) (“I am unaware of any support in the American constitutional tradition or in this Court's precedent for
       the proposition that a defendant can avail himself of the panoply of appellate and collateral procedures and then complain
       when his execution is delayed”); see also Johnson v. Bredesen, 558 U.S. 1067, 1070, 130 S.Ct. 541, 175 L.Ed.2d 552
       (2009) (THOMAS, J., concurring in denial of certiorari). And on the decline in use of the death penalty: Atkins v. Virginia,
       536 U.S. 304, 345, 122 S.Ct. 2242, 153 L.Ed.2d 335 (2002) (SCALIA, J., dissenting); Woodson v. North Carolina, 428
       U.S. 280, 308–310, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976) (Rehnquist, J., dissenting).
2      For some, a faith in the jury seems to be correlated to that institution's likelihood of preventing imposition of the death
       penalty. See, e.g., Ring v. Arizona, 536 U.S. 584, 614, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002) (BREYER, J., concurring
       in judgment) (arguing that “the Eighth Amendment requires that a jury, not a judge, make the decision to sentence a
       defendant to death”); Wainwright v. Witt, 469 U.S. 412, 440, n. 1, 105 S.Ct. 844, 83 L.Ed.2d 841 (1985) (Brennan, J.,
       dissenting) (“However heinous Witt's crime, the majority's vivid portrait of its gruesome details has no bearing on the
       issue before us. It is not for this Court to decide whether Witt deserves to die. That decision must first be made by a
       jury of his peers”).




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3      For his part, Justice BREYER explains that his experience on the Court has shown him “discrepancies for which [he]
       can find no rational explanations.” Post, at 2763. Why, he asks, did one man receive death for a single-victim murder,
       while another received life for murdering a young mother and nearly killing her infant? Ibid. The outcomes in those two
       cases may not be morally compelled, but there was certainly a rational explanation for them: The first man, who had
       previously confessed to another murder, killed a disabled man who had offered him a place to stay for the night. State v.
       Badgett, 361 N.C. 234, 239–240, 644 S.E.2d 206, 209–210 (2007). The killer stabbed his victim's throat and prevented
       him from seeking medical attention until he bled to death. Ibid. The second man expressed remorse for his crimes and
       claimed to suffer from mental disorders. See Charbonneau, Andre Edwards Sentenced to Life in Prison for 2001 Murder,
       WRAL, Mar. 26, 2004, online at http://www.wral. com/news/local/story/109648 (all Internet materials as visited June 25,
       2015, and available in Clerk of Court's case file); Charbonneau, Jury Finds Andre Edwards Guilty of First–Degree Murder,
       WRAL, Mar. 23, 2004, online at http://www.wral.com/news/local/story/109563. The other “discrepancies” similarly have
       “rational” explanations, even if reasonable juries could have reached different results.
4      Justice BREYER appears to acknowledge that our decision holding mandatory death penalty schemes unconstitutional,
       Woodson v. North Carolina, 428 U.S. 280, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976) (plurality opinion), may have introduced
       the problem of arbitrary application. Post, at 2762. I agree that Woodson eliminated one reliable legislative response to
       concerns about arbitrariness. Graham v. Collins, 506 U.S. 461, 486, 113 S.Ct. 892, 122 L.Ed.2d 260 (1993) (THOMAS,
       J., concurring). Because that decision was also questionable on constitutional grounds, id., at 486–488, 113 S.Ct. 892,
       I would be willing to revisit it in a future case.
1      Hydromorphone is a powerful analgesic similar to morphine or heroin. See R. Stoelting & S. Hillier, Pharmacology &
       Physiology in Anesthetic Practice 87–88 (4th ed. 2006) (Stoelting & Hillier).
2      The Court disputes this characterization of Dr. Evans' testimony, insisting that Dr. Evans accurately described
       midazolam's properties in the written report he submitted prior to the hearing below, and suggesting that petitioners'
       experts would have “dispute[d] the accuracy” of this explanation were it in fact wrong. Ante, at 2744. But Dr. Evans' written
       report simply said midazolam “produces different levels of central nervous system (CNS) depression through binding
       to [GABA] receptors.” App. 293. That much is true. Only after Drs. Sasich and Lubarsky testified did Dr. Evans further
       claim that midazolam produced CNS depression by binding to GABA receptors and thereby preventing GABA itself from
       binding to those receptors—which is where he went wrong. The Court's further observation that Dr. Lubarsky also used
       a variant on the word “inhibiting” in his testimony—in saying that GABA's “ ‘inhibition of brain activity is accentuated by
       midazolam,’ ” ante, at 2744 (quoting App. 232)—is completely nonresponsive. “Inhibiting” is a perfectly good word; the
       problem here is the manner in which Dr. Evans used it in a sentence.
3      For all the reasons discussed in Part II–B, infra, and contrary to the Court's claim, see ante, at 2741 – 2742, n. 4, there
       are good reasons to doubt that 500 milligrams of midazolam will, in light of the ceiling effect, inevitably kill someone. The
       closest the record comes to providing support for this contention is the fleeting mention in the FDA-approved product
       label that one of the possible consequences of midazolam overdosage is coma. See ante, at 2742, n. 5. Moreover, even
       if this amount of the drug could kill some people in “under an hour,” ante, at 2742, n. 4, that would not necessarily mean
       that the condemned would be insensate during the approximately 10 minutes it takes for the paralytic and potassium
       chloride to do their work.
4      Dr. Sasich, as the Court emphasizes, was perhaps more hesitant to reach definitive conclusions, see ante, at 2742, and
       n. 5, 2743 – 2744, but the statements highlighted by the Court largely reflect his (truthful) observations that no testing has
       been done at doses of 500 milligrams, and his inability to pinpoint the precise dose at which midazolam's ceiling effect
       might be reached. Dr. Sasich did not, as the Court suggests, claim that midazolam's ceiling effect would be reached
       only after a person became fully insensate to pain. Ante, at 2743 – 2744. What Dr. Sasich actually said was: “As the
       dose increases, the benzodiazepines are expected to produce sedation, amnesia, and finally lack of response to stimuli
       such as pain (unconsciousness).” App. 243. In context, it is clear that Dr. Sasich was simply explaining that a drug like
       midazolam can be used to induce unconsciousness—an issue that was and remains undisputed—not that it could render
       an inmate sufficiently unconscious to resist all noxious stimuli. Indeed, it was midazolam's possible inability to serve the
       latter function that led Dr. Sasich to conclude that “it is not an appropriate drug to use when administering a paralytic
       followed by potassium chloride.” Id., at 248.
5      The Court claims that the District Court could have properly disregarded Dr. Lubarsky's testimony because he asserted
       that a protocol with sodium thiopental would “ ‘produce egregious harm and suffering.’ ” Ante, at 2743, n. 6 (quoting App.
       227). But Dr. Lubarsky did not testify that, like midazolam, sodium thiopental would not render an inmate fully insensate
       even if properly administered; rather, he simply observed that he had previously contended that protocols using that drug
       were ineffective. See App. 227. He was presumably referring to an article he coauthored that found many condemned



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       inmates were not being successfully delivered the dose of sodium thiopental necessary to fully anesthetize them. See
       Baze, 553 U.S., at 67, 128 S.Ct. 1520 (ALITO, J., concurring) (discussing this study).
6      The Court asserts that the State refuted these contentions, pointing to Dr. Evans' testimony that 750 milligrams of the
       drug “might not have the effect that was sought” if administered over an hour. Tr. 667; see ante, at 2745 – 2746, n. 6.
       But as has been the theme here, this pronouncement was entirely unsupported, and appears to be contradicted by the
       secondary sources cited by petitioners' experts.
7      The fact that courts in Florida have approved the use of midazolam in this fashion is arguably slightly more relevant,
       though it is worth noting that the majority of these decisions were handed down before the Lockett and Wood executions,
       and that some relied, as here, on Dr. Evans' testimony. See ante, at 2739 – 2740.
8      The Court protests that its holding does not extend so far, deriding this description of the logical implications of its legal
       rule as “simply not true” and “outlandish rhetoric.” Ante, at 2746. But presumably when the Court imposes a “requirement
       o[n] all Eighth Amendment method-of-execution claims,” that requirement in fact applies to “all ” methods of execution,
       without exception. Ante, at 2731 (emphasis added).


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                                                                        Justice Thomas filed opinion concurring in the judgment,
     KeyCite Yellow Flag - Negative Treatment                           joined by Justice Scalia.
Declined to Extend by The Estate of Lockett by and through Lockett v.
Fallin, 10th Cir.(Okla.), November 15, 2016
                                                                        Justice Breyer filed opinion concurring in the judgment.
                     128 S.Ct. 1520
            Supreme Court of the United States
                                                                        Justice Ginsburg filed dissenting opinion, joined by Justice
   Ralph BAZE and Thomas C. Bowling, Petitioners,                       Souter.
                        v.
       John D. REES, Commissioner, Kentucky
          Department of Corrections, et al.                              West Headnotes (4)

                         No. 07–5439.
                               |                                         [1]    Sentencing and Punishment
                      Argued Jan. 7, 2008.                                          Death penalty as cruel or unusual
                               |                                                punishment
                     Decided April 16, 2008.                                    Capital punishment is constitutional, i.e. does
                                                                                not violate Eighth Amendment's prohibition
Synopsis
                                                                                of cruel and unusual punishments. U.S.C.A.
Background: State death row inmates brought declaratory
                                                                                Const.Amend. 8.
judgment action against Commissioner of Kentucky
Department of Corrections and others, alleging that                             110 Cases that cite this headnote
state's three-drug lethal injection method of capital
punishment posed unacceptable risk of significant pain
                                                                         [2]    Sentencing and Punishment
and was cruel and unusual under Eighth Amendment.
                                                                                    Mode of execution
The Franklin Circuit Court, Roger Crittenden, J., denied
relief. The Supreme Court of Kentucky, 217 S.W.3d 207,                          Eighth Amendment's prohibition of cruel
affirmed. Certiorari was granted.                                               and unusual punishments does not demand
                                                                                avoidance of all risk of pain in carrying out
                                                                                executions. U.S.C.A. Const.Amend. 8.

Holdings: The United States Supreme Court, Chief Justice                        256 Cases that cite this headnote
Roberts, held that:

                                                                         [3]    Sentencing and Punishment
[1] risk of improper administration of initial drug did not
                                                                                    Mode of execution
render three-drug protocol cruel and unusual, and
                                                                                Risk of improper administration of
[2] state's failure to adopt proposed, allegedly more                           sodium thiopental, the initial anesthetizing
humane alternatives to three-drug protocol did not                              drug in state's three-drug lethal injection
constitute cruel and unusual punishment.                                        protocol that also included pancuronium
                                                                                bromide and potassium chloride, did not
                                                                                render protocol cruel and unusual in
Affirmed.                                                                       violation of Eighth Amendment; protocol
                                                                                incorporated several safeguards including
Justice Alito filed concurring opinion.                                         minimum level of professional experience
                                                                                for individuals who inserted intravenous
Justice Stevens filed opinion concurring in the judgment.                       (IV) catheters, requirement for practice
                                                                                sessions, establishment of backup IV lines and
Justice Scalia filed opinion concurring in the judgment,                        other redundancies, and warden's presence
joined by Justice Thomas.                                                       in execution chamber. (Per Chief Justice



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        Roberts, with two Justices concurring and              administers the drugs from another room; and mandates
        four Justices concurring in the judgment.)             that if, as determined by the warden and deputy, the
        U.S.C.A. Const.Amend. 8; KRS 431.220(1)                prisoner is not unconscious within 60 seconds after the
        (a).                                                   sodium thiopental's delivery, a new dose will be given at a
                                                               secondary injection site before the second and third drugs
        377 Cases that cite this headnote                      are administered.


 [4]    Sentencing and Punishment                              Petitioners, convicted murderers sentenced to death
            Mode of execution                                  in Kentucky state court, filed suit asserting that
                                                               the Commonwealth's lethal injection protocol violates
        State's failure to adopt proposed, allegedly
                                                               the Eighth Amendment's ban on “cruel and unusual
        more humane, alternatives to its three-drug
                                                               punishments.” The state trial court held extensive hearings
        lethal injection protocol, which comprised
                                                               and entered detailed factfindings and conclusions of law,
        injections of sodium thiopental, pancuronium
                                                               ruling that there was minimal risk of various of petitioners'
        bromide and potassium chloride, did not
                                                               claims of improper administration of the protocol, and
        constitute cruel and unusual punishment in
                                                               upholding it as constitutional. The Kentucky Supreme
        violation of Eighth Amendment. (Per Chief
                                                               Court affirmed, holding that the protocol does not violate
        Justice Roberts, with two Justices concurring
                                                               the Eighth Amendment because it does not create a
        and four Justices concurring in the judgment.)
                                                               substantial risk of wanton and unnecessary infliction of
        U.S.C.A. Const.Amend. 8; KRS 431.220(1)
                                                               pain, torture, or lingering death.
        (a).

        498 Cases that cite this headnote                      Held: The judgment is affirmed.

                                                               217 S.W.3d 207, affirmed.


West Codenotes                                                 Chief Justice ROBERTS, joined by Justice KENNEDY
                                                               and Justice ALITO, concluded that Kentucky's lethal
Recognized as Unconstitutional                                 injection protocol satisfies the Eighth Amendment. Pp.
Neb.Rev.St. § 29–2532McKinney's CPL § 400.27, subd. 10         1529 – 1538.

                                                               1. To constitute cruel and unusual punishment, an
                    **1521 Syllabus *                          execution method must present a “substantial” or
                                                               “objectively intolerable” risk of serious harm. A State's
Lethal injection is used for capital punishment by
                                                               refusal to adopt proffered alternative procedures may
the Federal Government **1522 and 36 States, at
                                                               violate the Eighth Amendment only where the alternative
least 30 of which (including Kentucky) use the same
                                                               procedure is feasible, readily implemented, and in fact
combination of three drugs: The first, sodium thiopental,
                                                               significantly reduces a substantial risk of severe pain. Pp.
induces unconsciousness when given in the specified
                                                               1529 – 1532.
amounts and thereby ensures that the prisoner does
not experience any pain associated with the paralysis
                                                               (a) This Court has upheld capital punishment as
and cardiac arrest caused by the second and third
                                                               constitutional. See Gregg v. Georgia, 428 U.S. 153, 177,
drugs, pancuronium bromide and potassium chloride.
                                                               96 S.Ct. 2909, 49 L.Ed.2d 859. Because some risk of
Among other things, Kentucky's lethal injection protocol
                                                               pain is inherent in even the most humane execution
reserves to qualified personnel having at least one year's
                                                               method, if only from the prospect of error in following
professional experience the responsibility for inserting the
                                                               the required procedure, the Constitution does not demand
intravenous (IV) catheters into the prisoner, leaving it
                                                               the avoidance of all risk of pain. Petitioners contend that
to others to mix the drugs and load them into syringes;
                                                               the Eighth Amendment prohibits procedures that create
specifies that the warden and deputy warden will remain
                                                               an “unnecessary risk” of pain, while Kentucky urges the
in the execution chamber to observe the prisoner and
watch for any IV problems while the execution team


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Court to approve the “ ‘substantial risk’ ” test used below.   expertise, and would substantially intrude on the role of
Pp. 1529 – 1530.                                               state legislatures in implementing execution procedures,
                                                               petitioners' proposed “unnecessary risk” standard is
(b) This Court has held that the Eighth Amendment              rejected in favor of Farmer's “substantial risk of serious
forbids “punishments of torture, ... and all others in the     harm” test. To effectively address such a substantial
same line of unnecessary cruelty,” Wilkerson v. Utah,          risk, a proffered alternative procedure must be feasible,
99 U.S. 130, 136, 25 L.Ed. 345, such as disemboweling,         readily implemented, and in fact significantly reduce a
beheading, quartering, dissecting, and burning alive, all of   substantial risk of severe pain. A State's refusal to adopt
which share the deliberate infliction of pain for the sake     such an alternative in the face of these documented
of pain, id., at 135. Observing also that “[p]unishments are   advantages, without a legitimate penological justification
cruel when they involve torture or a lingering death[,] ...    for its current execution method, can be viewed as “cruel
something inhuman and barbarous [and] ... more than the        and unusual.” Pp. 1531 – 1532.
mere extinguishment of life,” the Court has emphasized
 **1523 that an electrocution statute it was upholding         2. Petitioners have not carried their burden of showing
“was passed in the effort to devise a more humane method       that the risk of pain from maladministration of a
of reaching the result.” In re Kemmler, 136 U.S. 436, 447,     concededly humane lethal injection protocol, and the
10 S.Ct. 930, 34 L.Ed. 519. P. 1530.                           failure to adopt untried and untested alternatives,
                                                               constitute cruel and unusual punishment. Pp. 1532– 1538.
(c) Although conceding that an execution under
Kentucky's procedures would be humane and                      (a) It is uncontested that failing a proper dose of
constitutional if performed properly, petitioners claim        sodium thiopental to render the prisoner unconscious,
that there is a significant risk that the procedures will      there is a substantial, constitutionally unacceptable risk
not be properly followed—particularly, that the sodium         of suffocation from the administration of pancuronium
thiopental will not be properly administered to achieve        bromide and of pain from potassium chloride. It is,
its intended effect—resulting in severe pain when the          however, difficult to regard a practice as “objectively
other chemicals are administered. Subjecting individuals       intolerable” when it is in fact widely tolerated. Probative
to a substantial risk of future harm can be cruel and          but not conclusive in this regard is the consensus among
unusual punishment if the conditions presenting the risk       the Federal Government and the States that have adopted
are “sure or very likely to cause serious illness and          lethal injection and the specific three-drug combination
needless suffering” and give rise to “sufficiently imminent    Kentucky uses. Pp. 1533 – 1534.
dangers.” Helling v. McKinney, 509 U.S. 25, 33, 34–35,
113 S.Ct. 2475, 125 L.Ed.2d 22. To prevail, such a claim       (b) In light of the safeguards Kentucky's protocol puts
must present a “substantial risk of serious harm,” an          in place, the risks of administering an inadequate sodium
“objectively intolerable risk of harm.” Farmer v. Brennan,     thiopental dose identified by petitioners are not so
511 U.S. 825, 842, 846, and n. 9, 114 S.Ct. 1970, 128          substantial or imminent as to amount to an Eighth
L.Ed.2d 811. For example, the Court has held that              Amendment violation. The charge that Kentucky employs
an isolated mishap alone does not violate the Eighth            **1524 untrained personnel unqualified to calculate
Amendment, Louisiana ex rel. Francis v. Resweber, 329          and mix an adequate dose was answered by the state
U.S. 459, 463–464, 67 S.Ct. 374, 91 L.Ed. 422, because         trial court's finding, substantiated by expert testimony,
such an event, while regrettable, does not suggest cruelty     that there would be minimal risk of improper mixing if
or a “substantial risk of serious harm.” Pp. 1530 – 1531.      the manufacturers' thiopental package insert instructions
                                                               were followed. Likewise, the IV line problems alleged by
(d) Petitioners' primary contention is that the risks they     petitioners do not establish a sufficiently substantial risk
have identified can be eliminated by adopting certain          because IV team members must have at least one year
alternative procedures. Because allowing a condemned           of relevant professional experience, and the presence of
prisoner to challenge a State's execution method merely        the warden and deputy warden in the execution chamber
by showing a slightly or marginally safer alternative          allows them to watch for IV problems. If an insufficient
finds no support in this Court's cases, would embroil the      dose is initially administered through the primary IV site,
courts in ongoing scientific controversies beyond their



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an additional dose can be given through the secondary site      precedents upholding the death penalty and establishing
before the last two drugs are injected. Pp. 1533 – 1534.        a framework for evaluating the constitutionality of
                                                                particular execution methods, under which petitioners'
(c) Nor does Kentucky's failure to adopt petitioners'           evidence fails to prove that Kentucky's protocol violates
proposed alternatives demonstrate that the state execution      the Eighth Amendment. Pp. 1542 – 1552.
procedure is cruel and unusual. Kentucky's continued
use of the three-drug protocol cannot be viewed                 Justice THOMAS, joined by Justice SCALIA, concluded
as posing an “objectively intolerable risk” when no             that the plurality's formulation of the governing standard
other State has adopted the one-drug method and                 finds no support in the original understanding of the
petitioners have proffered no study showing that it             Cruel and Unusual Punishments Clause or in this Court's
is an equally effective manner of imposing a death              previous method-of-execution cases; casts constitutional
sentence. Petitioners contend that Kentucky should omit          **1525 doubt on long-accepted methods of execution;
pancuronium bromide because it serves no therapeutic            and injects the Court into matters it has no institutional
purpose while suppressing muscle movements that could           capacity to resolve. The historical practices leading to
reveal an inadequate administration of sodium thiopental.       the Clause's inclusion in the Bill of Rights, the views of
The state trial court specifically found that pancuronium       early commentators on the Constitution, and this Court's
bromide serves two purposes: (1) preventing involuntary         cases, see, e.g., Wilkerson v. Utah, 99 U.S. 130, 135–136,
convulsions or seizures during unconsciousness, thereby         25 L.Ed. 345, all demonstrate that an execution method
preserving the procedure's dignity, and (2) hastening           violates the Eighth Amendment only if it is deliberately
death. Petitioners assert that their barbiturate-only           designed to inflict pain. Judged under that standard, this
protocol is used routinely by veterinarians for putting         is an easy case: Because it is undisputed that Kentucky
animals to sleep and that 23 States bar veterinarians from      adopted its lethal injection protocol in an effort to make
using a neuromuscular paralytic agent like pancuronium          capital punishment more humane, not to add elements of
bromide. These arguments overlook the States' legitimate        terror, pain, or disgrace to the death penalty, petitioners'
interest in providing for a quick, certain death, and in any    challenge must fail. Pp. 1556 – 1563.
event, veterinary practice for animals is not an appropriate
guide for humane practices for humans. Petitioners charge       Justice BREYER concluded that there cannot be found,
that Kentucky's protocol lacks a systematic mechanism,          either in the record or in the readily available literature,
such as a Bispectral Index monitor, blood pressure              sufficient grounds to believe that Kentucky's lethal
cuff, or electrocardiogram, for monitoring the prisoner's       injection method creates a significant risk of unnecessary
“anesthetic depth.” But expert testimony shows both that        suffering. Although the death penalty has serious risks
a proper thiopental dose obviates the concern that a            —e.g., that the wrong person may be executed, that
prisoner will not be sufficiently sedated, and that each of     unwarranted animus about the victims' race, for example,
the proposed alternatives presents its own concerns. Pp.        may play a role, and that those convicted will find
1533 – 1534.                                                    themselves on death row for many years—the penalty's
                                                                lawfulness is not before the Court. And petitioners' proof
Justice STEVENS concluded that instead of ending the            and evidence, while giving rise to legitimate concern, do
controversy, this case will generate debate not only            not show that Kentucky's execution method amounts to
about the constitutionality of the three-drug protocol,         “cruel and unusual punishmen[t].” Pp. 1563 – 1567.
and specifically about the justification for the use of
pancuronium bromide, but also about the justification           ROBERTS, C. J., announced the judgment of the
for the death penalty itself. States wishing to decrease        Court and delivered an opinion, in which KENNEDY
the risk that future litigation will delay executions or        and ALITO, JJ., joined. ALITO, J., filed a concurring
invalidate their protocol would do well to reconsider           opinion, post, pp. 1538 – 1542. STEVENS, J., filed an
their continued use of pancuronium bromide. Moreover,           opinion concurring in the judgment, post, pp. 1542 –
although experience demonstrates that imposing that             1552. SCALIA, J., filed an opinion concurring in the
penalty constitutes the pointless and needless extinction       judgment, in which THOMAS, J., joined, post, pp. 1552
of life with only negligible social or public returns, this     – 1556. THOMAS, J., filed an opinion concurring in the
conclusion does not justify a refusal to respect this Court's   judgment, in which SCALIA, J., joined, post, pp. 1556



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– 1563. BREYER, J., filed an opinion concurring in the        propose an alternative protocol, one that they concede has
judgment, post, pp. 1563 – 1567. GINSBURG, J., filed a        not been adopted by any State and has never been tried.
dissenting opinion, in which SOUTER, J., joined, post, pp.
1567 – 1572.                                                  The trial court held extensive hearings and entered
                                                              detailed findings of fact and conclusions of law. It
                                                              recognized that “[t]here are no methods of legal execution
Attorneys and Law Firms                                       that are satisfactory to those who oppose the death
                                                              penalty on moral, religious, or societal grounds,” but
Donald B. Verrilli, Jr., for petitioners.
                                                              concluded that Kentucky's procedure “complies with the
Roy T. Englert, Jr., for respondents.                         constitutional requirements against cruel and unusual
                                                              punishment.” App. 769. The State Supreme Court
Gregory G. Garre, for the United States as amicus curiae,     affirmed. We too agree that petitioners have not
by special leave of the Court, supporting the respondents.    carried their burden of showing that the risk of pain
                                                              from maladministration of a concededly humane lethal
Donald B. Verrilli, Jr., Matthew S. Hellman, Ginger           injection protocol, and the failure to adopt untried
D. Anders, Carrie F. Apfel, Jenner & Block LLP,               and untested alternatives, constitute cruel and unusual
Washington, DC, David M. Barron, Counsel of Record,           punishment. The judgment below is affirmed.
John Anthony Palombi, Assistant Public Advocates,
Kentucky Department of Public Advocacy, Frankfort,
KY, for petitioners.
                                                                                            I
Jeffrey T. Middendorf, Counsel of Record, John C.
Cummings, Justice & Public Safety Cabinet, Office of
                                                                                           A
Legal Services, Frankfort, KY, Gregory D. Stumbo,
Attorney General of Kentucky, David A. Smith, Assistant       By the middle of the 19th century, “hanging was the
Attorney General Office of Crimlnal Appeals, Office of        ‘nearly universal form of execution’ in the United States.”
the Attorney General, Frankfort, KY, for Respondents.         Campbell v. Wood, 511 U.S. 1119, 114 S.Ct. 2125,
                                                              128 L.Ed.2d 682 (1994) (Blackmun, J., dissenting from
Opinion
                                                              denial of certiorari) (quoting State v. Frampton, 95
Chief Justice ROBERTS announced the judgment of               Wash.2d 469, 492, 627 P.2d 922, 934 (1981)); Denno,
the Court and delivered an opinion, in which Justice           *42 Getting to Death: Are Executions Constitutional?
KENNEDY and Justice ALITO join.                               82 Iowa L.Rev. 319, 364 (1997) (counting 48 States
                                                              and Territories that employed hanging as a method of
 *40 Like 35 other States and the Federal Government,         execution). In 1888, following the recommendation of a
Kentucky has chosen to impose capital punishment for          commission empaneled by the Governor to find “ ‘the
certain crimes. As is true with respect to each of these      most humane and practical method known to modern
States and the Federal Government, Kentucky has altered       science of carrying into effect the sentence of death,’ ” New
its method *41 of execution over time to more humane          York became the first State to authorize electrocution as
means of carrying out the sentence. That progress has led     a form of capital punishment. Glass v. Louisiana, 471 U.S.
to the use of lethal injection by every **1526 jurisdiction   1080, 1082, and n. 4, 105 S.Ct. 2159, 85 L.Ed.2d 514 (1985)
that imposes the death penalty.                               (Brennan, J., dissenting from denial of certiorari); Denno,
                                                              supra, at 373. By 1915, 11 other States had followed suit,
Petitioners in this case—each convicted of double             motivated by the “well-grounded belief that electrocution
homicide—acknowledge that the lethal injection                is less painful and more humane than hanging.” Malloy v.
procedure, if applied as intended, will result in a           South Carolina, 237 U.S. 180, 185, 35 S.Ct. 507, 59 L.Ed.
humane death. They nevertheless contend that the lethal       905 (1915).
injection protocol is unconstitutional under the Eighth
Amendment's ban on “cruel and unusual punishments,”           Electrocution remained the predominant mode of
because of the risk that the protocol's terms might not       execution for nearly a century, although several methods,
be properly followed, resulting in significant pain. They     including hanging, firing squad, and lethal gas were in


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use at one time. Brief for Fordham University School of       categories of drugs to be used during an execution, instead
Law, Louis Stein Center for Law and Ethics, as Amicus         mandating that “every death sentence shall be executed
Curiae 5–9 (hereinafter Fordham Brief). Following the         by continuous intravenous injection of a substance or
9–year hiatus in executions that ended with our decision      combination of substances sufficient to cause death.”
in Gregg v. Georgia, 428 U.S. 153, 96 S.Ct. 2909, 49          Ky.Rev.Stat. Ann. § 431.220(1)(a) (West 2006). Prisoners
L.Ed.2d 859 (1976), however, state legislatures began         sentenced before 1998 have the option of electing either
responding to public calls to reexamine electrocution as      electrocution or lethal injection, but lethal injection
a means of ensuring a humane death. See S. Banner, The        is the default if—as is the case with petitioners—the
Death Penalty: An American History 192–193, 296–297           prisoner refuses to make a choice at least 20 days
(2002). In 1977, legislators in Oklahoma, after consulting    before the scheduled execution. § 431.220(1)(b). If a court
with the head of the anesthesiology department at the         invalidates Kentucky's lethal injection method, Kentucky
University of Oklahoma College of Medicine, introduced        law provides that the method of execution will revert to
the first bill proposing lethal injection as the State's      electrocution. § 431.223.
method of execution. See Brief for Petitioners 4; Fordham
Brief 21–22. A total of 36 States have now adopted            Shortly after the adoption of lethal injection, officials
lethal injection as the exclusive or primary means of         working for the Kentucky Department of Corrections
implementing **1527 the death penalty, making it by           set *45 about developing a written protocol to comply
far the most prevalent method of execution in the United      with the requirements of § 431.220(1)(a). Kentucky's
States. 1 It is also the method used by the *43 Federal       protocol called for the injection of 2 grams of sodium
Government. See 18 U.S.C. § 3591 et seq. (2000 ed. and        thiopental, 50 milligrams of pancuronium bromide, and
Supp. V); App. to Brief for United States as Amicus           240 milliequivalents of potassium chloride. In 2004, as a
Curiae 1a–6a (lethal injection protocol used by the Federal   result of this litigation, the department chose to increase
Bureau of Prisons).                                           the amount of sodium thiopental from 2 grams to 3
                                                              grams. App. 762–763, 768. Between injections, members
 *44 Of these 36 States, at least 30 (including Kentucky)     of the execution team flush the intravenous (IV) lines
use the same combination of three drugs in their lethal       with 25 milligrams of saline to prevent clogging of the
injection protocols. See Workman v. Bredesen, 486 F.3d        lines by precipitates that may form when residual sodium
896, 902 (C.A.6 2007). The first drug, sodium thiopental      thiopental comes into contact with pancuronium bromide.
(also known as Pentothol), is a fast-acting barbiturate       Id., at 761, 763–764. The protocol reserves responsibility
sedative that induces a deep, comalike unconsciousness        for inserting the IV catheters to qualified personnel having
when given in the amounts used for lethal injection.          at least one year of professional experience. Id., at 984.
App. 762–763, 631–632. The second drug, pancuronium           Currently, Kentucky uses a certified phlebotomist and
bromide (also known as Pavulon), is a paralytic agent         an emergency medical technician (EMT) to perform the
that inhibits all muscular-skeletal movements and, by         venipunctures necessary for the catheters. Id., at 761–762.
paralyzing the diaphragm, stops respiration. Id., at          They have up to one hour to establish both primary and
763. Potassium chloride, the third drug, interferes with      secondary peripheral IV sites in the arm, hand, leg, or
the electrical signals that stimulate the contractions of     foot of the inmate. Id., at 975–976. Other personnel are
the heart, inducing cardiac arrest. Ibid. The proper          responsible for mixing the solutions containing the three
administration of the first drug ensures that the prisoner    drugs and loading them into syringes. Id., at 761.
does not experience any pain associated with the paralysis
and cardiac arrest caused by the second and third drugs.      Kentucky's execution facilities consist of the execution
Id., at 493–494, 541, 558–559.                                chamber, a control room separated by a one-way window,
                                                              and a witness room. Id., at 203. The warden and
                                                              deputy warden remain in the execution chamber with
                                                              the prisoner, who is strapped to a gurney. The execution
                            B                                 team administers the drugs remotely from the control
                                                              room through five feet of IV tubing. Id., at 286. If, as
Kentucky replaced electrocution with lethal injection
                                                              determined by the warden and deputy warden through
in 1998. 1998 Ky. Acts **1528 ch. 220, p. 777.
                                                              visual inspection, the prisoner is not unconscious within
The Kentucky statute does not specify the drugs or


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60 seconds following the delivery of the sodium thiopental       *47 We granted certiorari to determine whether
to the primary IV site, a new 3–gram dose of thiopental         Kentucky's lethal injection protocol satisfies the Eighth
is administered to the secondary site before injecting the      Amendment. 551 U.S. 1192, 128 S.Ct. 34, 168 L.Ed.2d
pancuronium and potassium chloride. Id., at 978–979. In         809, amended, 552 U.S. 945, 128 S.Ct. 372, 169 L.Ed.2d
addition to ensuring that the first dose of thiopental is       256 (2007). We hold that it does.
successfully administered, the warden *46 and deputy
warden also watch for any problems with the IV catheters
and tubing.
                                                                                            II

A physician is present to assist in any effort to revive the     [1]    [2] The Eighth Amendment to the Constitution,
prisoner in the event of a last-minute stay of execution.       applicable to the States through the Due Process Clause
Id., at 764. By statute, however, the physician is prohibited   of the Fourteenth Amendment, see Robinson v. California,
from participating in the “conduct of an execution,”            370 U.S. 660, 666, 82 S.Ct. 1417, 8 L.Ed.2d 758 (1962),
except to certify the cause of death. Ky.Rev.Stat. Ann.         provides that “[e]xcessive bail shall not be required,
§ 431.220(3). An electrocardiogram (EKG) verifies the           nor excessive fines imposed, nor cruel and unusual
death of the prisoner. App. 764. Only one Kentucky              punishments inflicted.” We begin with the principle,
prisoner, Eddie Lee Harper, has been executed since the         settled by Gregg, that capital punishment is constitutional.
Commonwealth adopted lethal injection. There were no            See 428 U.S., at 177, 96 S.Ct. 2909 (joint opinion
reported problems at Harper's execution.                        of Stewart, Powell, and STEVENS, JJ.). It necessarily
                                                                follows that there must be a means of carrying it out. Some
                                                                risk of pain is inherent in any method of execution—no
                             C                                  matter how humane—if only from the prospect of error in
                                                                following the required procedure. It is clear, then, that the
Petitioners Ralph Baze and Thomas C. Bowling were each          Constitution does not demand the avoidance of all risk of
convicted of two counts **1529 of capital murder and            pain in carrying out executions.
sentenced to death. The Kentucky Supreme Court upheld
their convictions and sentences on direct appeal. See Baze      Petitioners do not claim that it does. Rather, they contend
v. Commonwealth, 965 S.W.2d 817, 819–820, 826 (1997),           that the Eighth Amendment prohibits procedures that
cert. denied, 523 U.S. 1083, 118 S.Ct. 1536, 140 L.Ed.2d        create an “unnecessary risk” of pain. Brief for Petitioners
685 (1998); Bowling v. Commonwealth, 873 S.W.2d 175,            38. Specifically, they argue that courts must evaluate “(a)
176–177, 182 (1993), cert. denied, 513 U.S. 862, 115 S.Ct.      the severity of pain risked, (b) the likelihood of that
176, 130 L.Ed.2d 112 (1994).                                    pain occurring, and (c) the extent to which alternative
                                                                means are feasible, either by modifying existing execution
After exhausting their state and federal collateral             procedures or adopting alternative procedures.” Ibid.
remedies, Baze and Bowling sued three state officials in        Petitioners envision that the quantum of risk necessary
the Franklin Circuit Court for the Commonwealth of              to make out an Eighth Amendment claim will vary
Kentucky, seeking to have Kentucky's lethal injection           according to the severity of the pain and the availability
protocol declared unconstitutional. After a 7–day bench         of alternatives, Reply Brief for Petitioners 23–24, n. 9,
trial during which the trial court received the testimony of    but that the risk must be “significant” to trigger Eighth
approximately 20 witnesses, including numerous experts,         Amendment scrutiny, see Brief for Petitioners 39–40;
the court upheld the protocol, finding there to be minimal      Reply Brief for Petitioners 25–26.
risk of various claims of improper administration of
the protocol. App. 765–769. On appeal, the Kentucky             Kentucky responds that this “unnecessary risk” standard
Supreme Court stated that a method of execution violates        is tantamount to a requirement that States adopt the
the Eighth Amendment when it “creates a substantial risk        “ ‘least risk’ ” alternative in carrying out an execution,
of wanton and unnecessary infliction of pain, torture or        a standard *48 the Commonwealth contends will cast
lingering death.” 217 S.W.3d 207, 209 (2006). Applying          recurring constitutional doubt on any procedure adopted
that standard, the court affirmed. Id., at 212.                 by the States. Brief for Respondents 29, 35. Instead,




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Kentucky urges the Court to approve the “ ‘substantial
risk’ ” test used by the courts below. Id., at 34–35.

                                                                                            B

                         **1530 A                              Petitioners do not claim that lethal injection or the proper
                                                               administration of the particular protocol adopted by
This Court has never invalidated a State's chosen              Kentucky by themselves constitute the cruel or wanton
procedure for carrying out a sentence of death as the          infliction of pain. Quite the contrary, they concede
infliction of cruel and unusual punishment. In Wilkerson       that “if performed properly,” an execution carried
v. Utah, 99 U.S. 130, 25 L.Ed. 345 (1879), we upheld           out under Kentucky's procedures would be “humane
a sentence to death by firing squad imposed by a               and constitutional.” Brief for Petitioners 31. That is
territorial court, rejecting the argument that such a          because, as counsel for petitioners admitted at oral
sentence constituted cruel and unusual punishment. Id., at     argument, proper administration of the first drug, sodium
134–135. We noted there the difficulty of “defin[ing] with     thiopental, eliminates any meaningful risk that a prisoner
exactness the extent of the constitutional provision which     would experience pain from the subsequent injections of
provides that cruel and unusual punishments shall not be       pancuronium and potassium chloride. See Tr. of Oral Arg.
inflicted.” Id., at 135–136. Rather than undertake such an     5; App. 493–494 (testimony of petitioners' expert that, if
effort, the Wilkerson Court simply noted that “it is safe      sodium thiopental is “properly administered” under the
to affirm that punishments of torture, ... and all others in   protocol, “[i]n virtually every case, then that would be a
the same line of unnecessary cruelty, are forbidden” by        humane death”).
the Eighth Amendment. Id., at 136. By way of example,
the Court cited cases from England in which “terror,           Instead, petitioners claim that there is a significant risk
pain, or disgrace were sometimes superadded” to the            that the procedures will not be properly followed—in
sentence, such as where the condemned was “embowelled          particular, that the sodium thiopental will not be properly
alive, beheaded, and quartered,” or instances of “public       administered to achieve its intended effect—resulting in
dissection in murder, and burning alive.” Id., at 135. In      severe pain when the other chemicals are administered.
contrast, we observed that the firing squad was routinely      Our cases recognize that subjecting individuals to a risk
used as a method of execution for military officers. Id.,      of future harm—not simply actually inflicting pain—can
at 134. What each of the forbidden punishments had             qualify as cruel and unusual punishment. To establish
in common was the deliberate infliction of pain for the        that such exposure violates *50 the Eighth Amendment,
sake of pain—“superadd [ing]” pain to the death sentence       however, the conditions presenting **1531 the risk
through torture and the like.                                  must be “sure or very likely to cause serious illness and
                                                               needless suffering,” and give rise to “sufficiently imminent
We carried these principles further in In re Kemmler,          dangers.” Helling v. McKinney, 509 U.S. 25, 33, 34–35, 113
136 U.S. 436, 10 S.Ct. 930, 34 L.Ed. 519 (1890). There         S.Ct. 2475, 125 L.Ed.2d 22 (1993) (emphasis added). We
we rejected an opportunity to incorporate the Eighth           have explained that to prevail on such a claim there must
Amendment against the States in a challenge to the             be a “substantial risk of serious harm,” an “objectively
first execution by electrocution, to be carried *49 out        intolerable risk of harm” that prevents prison officials
by the State of New York. Id., at 449, 10 S.Ct. 930.           from pleading that they were “subjectively blameless for
In passing over that question, however, we observed:           purposes of the Eighth Amendment.” Farmer v. Brennan,
“Punishments are cruel when they involve torture or            511 U.S. 825, 842, 846, and n. 9, 114 S.Ct. 1970, 128
a lingering death; but the punishment of death is not          L.Ed.2d 811 (1994).
cruel, within the meaning of that word as used in the
Constitution. It implies there something inhuman and           Simply because an execution method may result in pain,
barbarous, something more than the mere extinguishment         either by accident or as an inescapable consequence
of life.” Id., at 447, 10 S.Ct. 930. We noted that the         of death, does not establish the sort of “objectively
New York statute adopting electrocution as a method            intolerable risk of harm” that qualifies as cruel and
of execution “was passed in the effort to devise a more        unusual. In Louisiana ex rel. Francis v. Resweber, 329 U.S.
humane method of reaching the result.” Ibid.                   459, 67 S.Ct. 374, 91 L.Ed. 422 (1947), a plurality of the



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Court upheld a second attempt at executing a prisoner         and would substantially intrude on the role of state
by electrocution after a mechanical malfunction had           legislatures in implementing their execution procedures—
interfered with the first attempt. The principal opinion      a role that by all accounts the States have fulfilled with an
noted that “[a]ccidents happen for which no man is to         earnest desire to provide for a progressively more humane
blame,” id., at 462, 67 S.Ct. 374, and concluded that         manner of death. See Bell v. Wolfish, 441 U.S. 520, 562,
such “an accident, with no suggestion of malevolence,”        99 S.Ct. 1861, 60 L.Ed.2d 447 (1979) (“The wide range
id., at 463, 67 S.Ct. 374, did not give rise to an Eighth     of ‘judgment calls' that meet constitutional and statutory
Amendment violation, id., at 463–464, 67 S.Ct. 374.           requirements are confided to **1532 officials outside of
                                                              the Judicial Branch of Government”). Accordingly, we
As Justice Frankfurter noted in a separate opinion based      reject petitioners' proposed “unnecessary risk” standard,
on the Due Process Clause, however, “a hypothetical           as well as the dissent's “untoward” risk variation. See post,
situation” involving “a series of abortive attempts at        at 1567, 1572 (opinion of GINSBURG, J.). 2
electrocution” would present a different case. Id., at 471,
67 S.Ct. 374 (concurring opinion). In terms of our present     *52 Instead, the proffered alternatives must effectively
Eighth Amendment analysis, such a situation—unlike            address a “substantial risk of serious harm.” Farmer,
an “innocent misadventure,” id., at 470, 67 S.Ct. 374—        supra, at 842, 114 S.Ct. 1970. To qualify, the alternative
would demonstrate an “objectively intolerable risk of         procedure must be feasible, readily implemented, and
harm” that officials may not ignore. See Farmer, 511          in fact significantly reduce a substantial risk of severe
U.S., at 846, and n. 9, 114 S.Ct. 1970. In other words,       pain. If a State refuses to adopt such an alternative
an isolated mishap alone does not give rise to an Eighth      in the face of these documented advantages, without a
Amendment violation, precisely because such an event,         legitimate penological justification for adhering to its
while regrettable, does not suggest cruelty, or that the      current method of execution, then a State's refusal to
procedure at issue gives rise to a “substantial risk of       change its method can be viewed as “cruel and unusual”
serious harm.” Id., at 842, 114 S.Ct. 1970.
                                                              under the Eighth Amendment. 3



                          *51 C
                                                                                         *53 III
Much of petitioners' case rests on the contention that
                                                              In applying these standards to the facts of this case, we
they have identified a significant risk of harm that can
                                                              note at the outset that it is difficult to regard a practice as
be eliminated by adopting alternative procedures, such
                                                              “objectively intolerable” when it is in fact widely tolerated.
as a one-drug protocol that dispenses with the use of
                                                              Thirty-six States that sanction capital punishment have
pancuronium and potassium chloride, and additional
                                                              adopted lethal injection as the preferred method of
monitoring by trained personnel to ensure that the first
                                                              execution. The Federal Government uses lethal injection
dose of sodium thiopental has been adequately delivered.
                                                              as well. See supra, at 1527, and n. 1. This broad consensus
Given what our cases have said about the nature of the risk
                                                              goes not just to the method of execution, but also to the
of harm that is actionable under the Eighth Amendment,
                                                              specific three-drug combination used by Kentucky. Thirty
a condemned prisoner cannot successfully challenge a
                                                              States, as well as the Federal Government, use a series of
State's method of execution merely by showing a slightly
                                                              sodium thiopental, pancuronium bromide, and potassium
or marginally safer alternative.
                                                              chloride, in varying amounts. See supra, at 1527. No State
                                                              uses or has ever used the alternative one-drug protocol
Permitting an Eighth Amendment violation to be
                                                              belatedly urged by petitioners. This **1533 consensus is
established on such a showing would threaten to
                                                              probative but not conclusive with respect to that aspect of
transform courts into boards of inquiry charged with
                                                              the alternatives proposed by petitioners.
determining “best practices” for executions, with each
ruling supplanted by another round of litigation touting
                                                              In order to meet their “heavy burden” of showing
a new and improved methodology. Such an approach
                                                              that Kentucky's procedure is “cruelly inhumane,” Gregg,
finds no support in our cases, would embroil the courts
                                                              428 U.S., at 175, 96 S.Ct. 2909 (joint opinion of
in ongoing scientific controversies beyond their expertise,
                                                              Stewart, Powell, and STEVENS, JJ.), petitioners point


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to numerous aspects of the protocol that they contend           You take a liquid, you inject it into a vial with the powder,
create opportunities for error. Their claim hinges on           then you shake it up until the powder dissolves and, you're
the improper administration of the first drug, sodium           done. The instructions are on the package insert.” 5 Tr.
thiopental. It is uncontested that, failing a proper dose       695 (Apr. 19, 2005).
of sodium thiopental that would render the prisoner
unconscious, there is a substantial, constitutionally            *55 Likewise, the asserted problems related to the IV
unacceptable risk of suffocation from the administration        lines do not establish a sufficiently substantial risk of
of pancuronium bromide and pain from the injection of           harm to meet the requirements of the Eighth Amendment.
potassium chloride. See Tr. of Oral Arg. 27. We agree with      Kentucky has put in place several important safeguards
the state trial court and State Supreme Court, however,         to ensure that an adequate dose of sodium thiopental
that petitioners *54 have not shown that the risk of an         is delivered to the condemned prisoner. The most
inadequate dose of the first drug is substantial. And we        significant of these is the written protocol's requirement
reject the argument that the Eighth Amendment requires          that members of the IV team must have at least one year
Kentucky to adopt the untested alternative procedures           of professional experience as a certified medical assistant,
petitioners have identified.                                    phlebotomist, EMT, paramedic, or military corpsman.
                                                                App. 984. Kentucky currently uses a phlebotomist and an
                                                                EMT, personnel who have daily experience establishing
                                                                IV catheters for inmates in Kentucky's prison population.
                             A
                                                                 **1534 Id., at 273–274; Tr. of Oral Arg. 27–28.
 [3] Petitioners contend that there is a risk of improper       Moreover, these IV team members, along with the rest
administration of thiopental because the doses are              of the execution team, participate in at least 10 practice
difficult to mix into solution form and load into syringes;     sessions per year. App. 984. These sessions, required by
because the protocol fails to establish a rate of injection,    the written protocol, encompass a complete walk-through
which could lead to a failure of the IV; because it             of the execution procedures, including the siting of IV
is possible that the IV catheters will infiltrate into          catheters into volunteers. Ibid. In addition, the protocol
surrounding tissue, causing an inadequate dose to be            calls for the IV team to establish both primary and
delivered to the vein; because of inadequate facilities and     backup lines and to prepare two sets of the lethal injection
training; and because Kentucky has no reliable means            drugs before the execution commences. Id., at 975. These
of monitoring the anesthetic depth of the prisoner after        redundant measures ensure that if an insufficient dose of
the sodium thiopental has been administered. Brief for          sodium thiopental is initially administered through the
Petitioners 12–20.                                              primary line, an additional dose can be given through the
                                                                backup line before the last two drugs are injected. Id., at
As for the risk that the sodium thiopental would be             279–280, 337–338, 978–979.
improperly prepared, petitioners contend that Kentucky
employs untrained personnel who are unqualified to              The IV team has one hour to establish both the primary
calculate and mix an adequate dose, especially in light of      and backup IVs, a length of time the trial court found
the omission of volume and concentration amounts from           to be “not excessive but rather necessary,” id., at 762,
the written protocol. Id., at 45–46. The state trial court,     contrary to petitioners' claim that using an IV inserted
however, specifically found that “[i]f the manufacturers'       after any “more than ten or fifteen minutes of unsuccessful
instructions for reconstitution of Sodium Thiopental are        attempts is dangerous because the IV is almost certain to
followed, ... there would be minimal risk of improper           be unreliable,” Brief for Petitioners 47. And, in any event,
mixing, despite converse testimony that a layperson would       merely because the protocol gives the IV team one hour
have difficulty performing this task.” App. 761. We             to establish intravenous access does not mean that team
cannot say that this finding is clearly erroneous, see          members are required to spend the entire hour in a futile
Hernandez v. New York, 500 U.S. 352, 366, 111 S.Ct. 1859,       attempt to do so. The *56 qualifications of the IV team
114 L.Ed.2d 395 (1991) (plurality opinion), particularly        also substantially reduce the risk of IV infiltration.
when that finding is substantiated by expert testimony
describing the task of reconstituting powder sodium             In addition, the presence of the warden and deputy warden
thiopental into solution form as “[n]ot difficult at all. ...   in the execution chamber with the prisoner allows them



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to watch for signs of IV problems, including infiltration.       (Appendix A, ¶(A)(3)). We need not endorse the accuracy
Three of the Commonwealth's medical experts testified            of those conclusions to note simply that the comparative
that identifying signs of infiltration would be “very            efficacy of a one-drug method of execution is not so well
obvious,” even to the average person, because of the             established that Kentucky's failure to adopt it constitutes
swelling that would result. App. 385–386. See id., at 353,       a violation of the Eighth Amendment.
600–601. Kentucky's protocol specifically requires the
warden to redirect the flow of chemicals to the backup           Petitioners also contend that Kentucky should omit the
IV site if the prisoner does not lose consciousness within       second drug, pancuronium bromide, because it serves no
60 seconds. Id., at 978–979. In light of these safeguards,       therapeutic purpose while suppressing muscle movements
we cannot say that the risks identified by petitioners are       that could reveal an inadequate administration of the first
so substantial or imminent as to amount to an Eighth             drug. The state trial court, however, specifically found
Amendment violation.                                             that pancuronium serves two purposes. First, it prevents
                                                                 involuntary physical movements during unconsciousness
                                                                 that may accompany the injection of potassium chloride.
                                                                 App. 763. The Commonwealth has an interest in
                              B
                                                                 preserving the dignity of the procedure, especially where
 [4]    Nor does Kentucky's failure to adopt                     convulsions or seizures could be misperceived as signs
petitioners' proposed alternatives demonstrate that the          of consciousness or distress. Second, pancuronium stops
Commonwealth's execution procedure is cruel and                  respiration, hastening death. *58 Ibid. Kentucky's
unusual.                                                         decision to include the drug does not offend the Eighth
                                                                 Amendment. 5
First, petitioners contend that Kentucky could switch
from a three-drug protocol to a one-drug protocol                Petitioners' barbiturate-only protocol, they contend, is
by using a single dose of sodium thiopental or other             not untested; it is used routinely by veterinarians in
barbiturate. Brief for Petitioners 51–57. That alternative       putting animals to sleep. Moreover, 23 States, including
was not proposed to the state courts below. 4 As a result,       Kentucky, bar veterinarians from using a neuromuscular
we are left without any findings on the effectiveness            paralytic agent like pancuronium bromide, either
of petitioners' barbiturate-only *57 protocol, despite           expressly or, like Kentucky, by specifically directing the
scattered references in the trial testimony to the sole use of   use of a drug like sodium pentobarbital. See Brief for
sodium thiopental or pentobarbital as a preferred method         Dr. Kevin Concannon et al. as Amici Curiae 18, n. 5.
of **1535 execution. See Reply Brief for Petitioners 18,         If pancuronium is too cruel for animals, the argument
n. 6.                                                            goes, then it must be too cruel for the condemned
                                                                 inmate. Whatever rhetorical force the argument carries,
In any event, the Commonwealth's continued use of                see Workman, supra, at 909 (describing the comparison
the three-drug protocol cannot be viewed as posing an            to animal euthanasia as “more of a debater's point”), it
“objectively intolerable risk” when no other State has           overlooks the States' legitimate interest in providing for
adopted the one-drug method and petitioners proffered            a quick, certain death. In the Netherlands, for example,
no study showing that it is an equally effective manner          where physician-assisted euthanasia is permitted, the
of imposing a death sentence. See App. 760–761, n.               Royal Dutch Society for the Advancement of Pharmacy
8 (“Plaintiffs have not presented any scientific study           recommends the use of a muscle relaxant (such as
indicating a better method of execution by lethal                pancuronium dibromide) in addition to thiopental in
injection”). Indeed, the State of Tennessee, after reviewing     order to prevent a prolonged, undignified death. See
its execution procedures, rejected a proposal to adopt           Kimsma, Euthanasia and Euthanizing Drugs in The
a one-drug protocol using sodium thiopental. The State           Netherlands, reprinted in Drug Use in Assisted Suicide
concluded that the one-drug alternative would take longer        and Euthanasia 193, 200, 204 (M. Battin & A. Lipman
than the three-drug method and that the “required dosage         eds.1996). That concern may be less compelling in the
of sodium thiopental would be less predictable and               veterinary context, and in any event other methods
more variable when it is used as the sole mechanism              approved by veterinarians **1536 —such as stunning
for producing death....” Workman, 486 F.3d, at 919               the animal or severing its spinal cord, see 6 Tr. 758–759



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(Apr. 20, 2005)—make clear that veterinary practice for        of care in surgery requiring anesthesia,” as the dissent
animals is not an appropriate guide to humane practices        points out. Post, at 1570. Petitioners have not shown that
for humans.                                                    these supplementary procedures, drawn from a different
                                                               context, are necessary to avoid a substantial risk of
Petitioners also fault the Kentucky protocol for lacking       suffering.
a systematic mechanism for monitoring the “anesthetic
depth” *59 of the prisoner. Under petitioners' scheme,         The dissent believes that rough-and-ready tests for
qualified personnel would employ monitoring equipment,         checking consciousness—calling the inmate's name,
such as a Bispectral Index (BIS) monitor, blood pressure       brushing his eyelashes, or presenting him with strong,
cuff, or EKG to verify that a prisoner has achieved            noxious odors—could materially decrease the risk of
sufficient unconsciousness before injecting the final two      administering the second and third drugs before the
drugs. The visual inspection performed by the warden and       sodium thiopental has taken effect. See ibid. Again,
deputy warden, they maintain, is an inadequate substitute      the risk at issue is already attenuated, given the steps
for the more sophisticated procedures they envision. Brief     Kentucky has taken to ensure the proper administration
for Petitioners 19, 58.                                        of the first drug. Moreover, the scenario the dissent posits
                                                               involves a level of unconsciousness allegedly sufficient
At the outset, it is important to reemphasize that a proper    to avoid detection of improper administration of the
dose of thiopental obviates the concern that a prisoner will   anesthesia under Kentucky's procedure, but not sufficient
not be sufficiently sedated. All the experts who testified     to prevent pain. See post, at 1570 – 1571. There is no
at trial agreed on this point. The risks of failing to adopt   indication that the basic tests the dissent advocates can
additional monitoring procedures are thus even more            make such fine distinctions. If these tests are effective only
“remote” and attenuated than the risks posed by the            in determining whether the sodium thiopental has entered
alleged inadequacies of Kentucky's procedures designed         the inmate's bloodstream, see post, at 1570, the record
to ensure the delivery of thiopental. See Hamilton v. Jones,   confirms **1537 that the visual inspection of the IV site
472 F.3d 814, 817 (C.A.10 2007) (per curiam); Taylor v.        under Kentucky's procedure achieves that objective. See
Crawford, 487 F.3d 1072, 1084 (C.A.8 2007).                    supra, at 1534. 6

But more than this, Kentucky's expert testified that           The dissent would continue the stay of these executions
a blood pressure cuff would have no utility in                 (and presumably the many others held in abeyance
assessing the level of the prisoner's unconsciousness          pending decision in this case) and send the case back to the
following the introduction of sodium thiopental, which         lower courts to determine whether such added measures
depresses circulation. App. 578. Furthermore, the              redress an “untoward” risk of pain. Post, at 1572. But an
medical community has yet to endorse the use of a              inmate *61 cannot succeed on an Eighth Amendment
BIS monitor, which measures brain function, as an              claim simply by showing one more step the State could
indication of anesthetic awareness. American Society of        take as a failsafe for other, independently adequate
Anesthesiologists, Practice Advisory for Intraoperative        measures. This approach would serve no meaningful
Awareness and Brain Function Monitoring, 104                   purpose and would frustrate the State's legitimate interest
Anesthesiology 847, 855 (Apr.2006); see Brown v.               in carrying out a sentence of death in a timely manner. See
Beck, 445 F.3d 752, 754–755 (C.A.4 2006) (Michael,             Baze v. Parker, 371 F.3d 310, 317 (C.A.6 2004) (petitioner
J., dissenting). The asserted need for a professional          Baze sentenced to death in 1994); Bowling v. Parker, 138
anesthesiologist to interpret the BIS monitor readings         F.Supp.2d 821, 840 (E.D.Ky.2001) (petitioner Bowling
is nothing more than an argument against the                   sentenced to death in 1991).
entire procedure, given that both Kentucky law, see
Ky.Rev.Stat. Ann. § 431.220(3), and the American Society       Justice STEVENS suggests that our opinion leaves the
of Anesthesiologists' own ethical guidelines, see Brief        disposition of other cases uncertain, see post, at 1542 –
for American Society of Anesthesiologists as Amicus            1543, but the standard we set forth here resolves more
Curiae 2–3, prohibit anesthesiologists from participating      challenges than he acknowledges. A stay of execution may
in capital *60 punishment. Nor is it pertinent that the        not be granted on grounds such as those asserted here
use of a blood pressure cuff and EKG is “the standard          unless the condemned prisoner establishes that the State's



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lethal injection protocol creates a demonstrated risk of        of carrying out capital punishment. The firing squad,
severe pain. He must show that the risk is substantial when     hanging, the electric chair, and the gas chamber have each
compared to the known and available alternatives. A State       in turn given way to more humane methods, culminating
with a lethal injection protocol substantially similar to the   in today's consensus on lethal injection. Gomez v. United
protocol we uphold today would not create a risk that           States Dist. Court for Northern Dist. of Cal., 503 U.S. 653,
meets this standard.                                            657, 112 S.Ct. 1652, 118 L.Ed.2d 293 (1992) (STEVENS,
                                                                J., dissenting); App. 755. The broad framework of the
                                                                Eighth Amendment has accommodated this progress
                                                                toward more humane methods of execution, and our
                           ***
                                                                approval of a particular method in the past has not
Reasonable people of good faith disagree on the morality        precluded legislatures from taking the steps they deem
and efficacy of capital punishment, and for many                appropriate, in light of new developments, to ensure
who oppose it, no method of execution would ever                humane capital punishment. There is no reason to suppose
be acceptable. But as Justice Frankfurter stressed in           that today's decision will be any different. 7
Resweber, “[o]ne must be on guard against finding in
personal disapproval a reflection of more or less prevailing     *63 The judgment below concluding that Kentucky's
condemnation.” 329 U.S., at 471, 67 S.Ct. 374 (concurring       procedure is consistent with the Eighth Amendment is,
opinion). This Court has ruled that capital punishment          accordingly, affirmed.
is not prohibited under our Constitution, and that the
States may enact laws specifying that sanction. “[T]he          It is so ordered.
power of a State to pass laws means little if the State
cannot enforce them.” McCleskey v. Zant, 499 U.S. 467,
491, 111 S.Ct. 1454, 113 L.Ed.2d 517 (1991). State efforts
                                                                Justice ALITO, concurring.
to implement capital punishment must certainly comply
                                                                I join the plurality opinion but write separately to explain
with the Eighth Amendment, but what that Amendment
                                                                my view of how the holding should be implemented. The
prohibits is wanton exposure to “objectively intolerable
                                                                opinion concludes that “a State's refusal to change its
 *62 risk,” Farmer, 511 U.S., at 846, and n. 9, 114 S.Ct.
                                                                method [of execution] can be viewed as ‘cruel and unusual’
1970, not simply the possibility of pain.
                                                                under the Eighth Amendment” if the State, “without a
                                                                legitimate penological justification,” rejects an alternative
Kentucky has adopted a method of execution believed
                                                                method that is “feasible” and “readily” available and that
to be the most humane available, one it shares with 35
                                                                would “significantly reduce a substantial risk of severe
other States. Petitioners agree that, if administered as
                                                                pain.” Ante, at 1532. Properly understood, this standard
intended, that procedure will result in a painless death.
                                                                will not, as Justice THOMAS predicts, lead to litigation
The risks of maladministration they have suggested—such
                                                                that enables “those seeking to abolish the death penalty ...
as improper mixing of chemicals and improper setting
                                                                to embroil the States in never-ending litigation concerning
of IVs by trained and experienced personnel—cannot
                                                                the adequacy of their execution procedures.” Post, at 1562
remotely be characterized as “objectively intolerable.”
                                                                (opinion concurring in judgment).
Kentucky's decision to adhere to its protocol despite
these asserted risks, while adopting safeguards to protect
against them, cannot be viewed as probative of the wanton
infliction of pain under the Eighth **1538 Amendment.                                         I
Finally, the alternative that petitioners belatedly propose
has problems of its own, and has never been tried by a          As the plurality opinion notes, the constitutionality of
single State.                                                   capital punishment is not before us in this case, and
                                                                therefore we proceed on the assumption that the death
Throughout our history, whenever a method of execution          penalty is constitutional. Ante, at 1530. From that
has been challenged in this Court as cruel and unusual,         assumption, it follows that there must be a constitutional
the Court has rejected the challenge. Our society has           means of carrying out a death sentence.
nonetheless steadily moved to more humane methods



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We also proceed in this case on the assumption that
lethal injection is a constitutional means of execution.          “Physician participation in an execution includes, but
See Gregg v. Georgia, 428 U.S. 153, 175, 96 S.Ct. 2909,           is not limited to, the following actions: prescribing
49 L.Ed.2d 859 (1976) (joint opinion of Stewart, Powell,          or administering tranquilizers and other psychotropic
and STEVENS, JJ.) (“[I]n assessing a punishment selected          agents and medications that are part of the execution
by a democratically elected legislature against the *64           procedure; monitoring vital signs on site or remotely
constitutional measure, we presume its validity”). Lethal         (including monitoring electrocardiograms); attending
injection was adopted by the Federal Government and               or observing an execution as a physician; and rendering
36 States because it was thought to be the most humane            of technical advice regarding execution.” Ibid.
method of execution, and petitioners here do not contend
that lethal **1539 injection should be abandoned in             The head of ethics at the AMA has reportedly opined that
favor of any of the methods that it replaced—execution          “[e]ven helping to design a more humane protocol would
by electric chair, the gas chamber, hanging, or a firing        disregard the AMA code.” Marris, Will Medics' Qualms
squad. Since we assume for present purposes that lethal         Kill the Death Penalty? 441 Nature 8–9 (May 4, 2006).
injection is constitutional, the use of that method by the
Federal Government and the States must not be blocked           The American Nurses Association (ANA) takes
by procedural requirements that cannot practicably be           the position that participation in an execution
satisfied.                                                      “is a breach of the ethical traditions of
                                                                nursing, and the Code for Nurses.” ANA,
Prominent among the practical constraints that must             Position Statement: Nurses' Participation in Capital
be taken into account in considering the feasibility and        Punishment (1994), online at http://nursingworld.org/
availability of any suggested modification of a lethal          Main     menu     Categories/HealthcareandPolicyIssues/
injection protocol are the ethical restrictions applicable to   ANAPositionStatements/EthicsandHuman Rights.aspx.
medical professionals. The first step in the lethal injection   This means, the ANA explains, that a nurse must not
protocols currently in use is the anesthetization of the        “take part in assessment, supervision or monitoring of
prisoner. If this step is carried out properly, it is agreed,   the procedure or the prisoner; procuring, prescribing
the prisoner will not experience pain during the remainder      or preparing medications or solutions; inserting the
of the procedure. Every day, general anesthetics are            intravenous catheter; injecting the lethal solution; and
administered to surgical patients in this country, and if the   attending or witnessing the execution as a nurse.” Ibid.
medical professionals who participate in these surgeries
also participated in the anesthetization of prisoners facing    The National Association of Emergency Medical
execution by lethal injection, the risk of pain would be        Technicians (NAEMT) holds that “[p]articipation in
minimized. But the ethics rules of medical professionals—       capital punishment is inconsistent with the ethical
for reasons that I certainly do not question here—prohibit      precepts and goals of the [Emergency Medical Services]
their participation in executions.                              profession.” NAEMT, Position Statement on EMT and
                                                                Paramedic Participation in Capital Punishment (June
Guidelines issued by the American Medical Association           9, 2006), online at http://www.naemt.org/aboutNAEMT/
(AMA) state that “[a]n individual's opinion on capital           **1540 capital punishment.htm. The NAEMT's Position
punishment is the personal moral decision of the                Statement advises that emergency medical *66
individual,” but that “[a] physician, as a member of            technicians and paramedics should refrain from the same
a profession dedicated to preserving life when there is         activities outlined in the ANA statement. Ibid.
hope of doing so, should not be a participant in a
legally authorized execution.” AMA, Code of Medical             Recent litigation in California has demonstrated the
Ethics, Policy E–2.06 Capital Punishment (2000), online         effect of such ethics rules. Michael Morales, who was
at http://www.ama-assn.org/ ama1/pub/upload/mm/369/             convicted and sentenced to death for a 1981 murder,
e206capitalpunish.pdf (all Internet materials as visited        filed a federal civil rights action challenging California's
 *65 Apr. 14, 2008, and available in Clerk of Court's case      lethal injection protocol, which, like Kentucky's, calls
file). The guidelines explain:                                  for the sequential administration of three drugs:
                                                                sodium pentothal, pancuronium bromide, and potassium
                                                                chloride. The District Court enjoined the State from


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proceeding with the execution unless it either (1) used       The present case well illustrates the need for this type
only sodium pentothal or another barbiturate or (2)           of evidence. Although there has been a proliferation of
ensured that an anesthesiologist was present to ensure        litigation challenging current lethal injection protocols,
that Morales remained unconscious throughout the              evidence regarding alleged defects in these protocols
process. Morales v. Hickman, 415 F.Supp.2d 1037, 1047         and the supposed advantages of alternatives is strikingly
(N.D.Cal.2006). The Ninth Circuit affirmed the District       haphazard and unreliable. As THE CHIEF JUSTICE
Court's order, Morales v. Hickman, 438 F.3d 926, 931          and Justice BREYER both note, the much-discussed
(2006), and the State arranged for two anesthesiologists to   Lancet article, Koniaris, Zimmers, Lubarsky, & Sheldon,
be present for the execution. However, they subsequently      Inadequate Anaesthesia in Lethal Injection for Execution,
concluded that “they could not proceed for reasons of         365 Lancet 1412 (Apr.2005), that prompted criticism of
medical ethics,” Morales v. Tilton, 465 F.Supp.2d 972,        the three-drug protocol has now been questioned, see
976 (N.D.Cal.2006), and neither Morales nor any other         Groner, Inadequate Anaesthesia in Lethal Injection for
prisoner in California has since been executed, see Denno,    Execution, 366 Lancet **1541 1073, 1073 (Sept.2005).
The Lethal Injection Quandary: How Medicine Has               And the lack of clear guidance in the currently
Dismantled the Death Penalty, 76 Ford. L.Rev. 49 (2007).      available scientific literature is dramatically illustrated
                                                              by the conclusions reached by petitioners and by
Objections to features of a lethal injection protocol         Justice STEVENS regarding what they view as superior
must be considered against the backdrop of the ethics         alternatives to the three-drug protocol.
rules of medical professionals and related practical
constraints. Assuming, as previously discussed, that lethal   Petitioners' chief argument is that Kentucky's procedure
injection is not unconstitutional per se, it follows that     violates the Eighth Amendment because it does not
a suggested modification of a lethal injection protocol       employ *68 a one-drug protocol involving a lethal dose
cannot be regarded as “feasible” or “readily” available       of an anesthetic. By “relying ... on a lethal dose of
if the modification would require participation—either in     an anesthetic,” petitioners contend, Kentucky “would
carrying out the execution or in training those who carry     virtually eliminate the risk of pain.” Brief for Petitioners
out the execution—by persons whose professional ethics        51. Petitioners point to expert testimony in the trial court
rules or traditions impede their participation.               that “a three-gram dose of thiopental would cause death
                                                              within three minutes to fifteen minutes.” Id., at 54, n. 16.

                                                              The accuracy of that testimony is not universally accepted.
                          *67 II
                                                              Indeed, the medical authorities in the Netherlands, where
In order to show that a modification of a lethal              assisted suicide is legal, have recommended against the use
injection protocol is required by the Eighth Amendment,       of a lethal dose of a barbiturate. An amicus supporting
a prisoner must demonstrate that the modification would       petitioners, Dr. Robert D. Truog, Professor of Medical
“significantly reduce a substantial risk of severe pain.”     Ethics and Anesthesiology at Harvard Medical School,
Ante, at 1532 (emphasis added). Showing merely that           has made the following comments about the use of a lethal
a modification would result in some reduction in risk         dose of a barbiturate:
is insufficient. Moreover, an inmate should be required
                                                                 “A number of experts have said that 2 or 3 or 5 g[rams]
to do more than simply offer the testimony of a few
                                                                 of pentothal is absolutely going to be lethal. The fact
experts or a few studies. Instead, an inmate challenging
                                                                 is that, at least in this country, none of us have any
a method of execution should point to a well-established
                                                                 experience with this ....
scientific consensus. Only if a State refused to change its
method in the face of such evidence would the State's            “If we go to Holland, where euthanasia is legal, and [we]
conduct be comparable to circumstances that the Court            look at a study from 2000 of 535 cases of euthanasia, in
has previously held to be in violation of the Eighth             69% of those cases, they used a paralytic agent. Now,
Amendment. See Farmer v. Brennan, 511 U.S. 825, 836,             what do they know that we haven't figured out yet? I
114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).                          think what they know is that it's actually very difficult to
                                                                 kill someone with just a big dose of a barbiturate. And,
                                                                 in fact, they report that in 6% of those cases, there were


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  problems with completion. And in I think five of those,         process, and particularly to address the problem of delay
  the person actually woke up, came back out of coma.”            and repetitive litigation in capital cases”).
  Perspective Roundtable: Physicians and Execution—
  Highlights from a Discussion of Lethal Injection, 358           Misinterpretation of the standard set out in the plurality
  New England J. Med. 448 (2008).                                 opinion or adoption of the standard favored by the
                                                                  dissent and Justice BREYER would create a grave
Justice STEVENS does not advocate a one-drug protocol             danger of extended delay. The dissenters and Justice
but argues that “States wishing to decrease the risk that         BREYER would hold that the protocol used in carrying
future litigation will delay executions or invalidate their       out an execution by lethal injection violates the Eighth
protocols would do well to reconsider their continued use         Amendment if it creates an “untoward, readily avoidable
of *69 pancuronium bromide” in the second step of the             risk of inflicting severe and unnecessary pain.” See post,
three-drug protocol. * Post, at 1546 (opinion concurring          at 1572 (GINSBURG, J., dissenting) (emphasis added);
in judgment). But this very drug, pancuronium bromide,            post, at 1563 (BREYER, J., concurring in judgment).
is recommended by the Royal Dutch Society for the                 Determining whether a risk is “untoward,” we are told,
Advancement of Pharmacy as the second of the two drugs            requires a weighing of three factors—the severity of the
to be used in cases of euthanasia. See Kimsma, Euthanasia         pain that may occur, the likelihood of this pain, and
and Euthanizing Drugs in The Netherlands, reprinted in            the availability of alternative methods. Post, at 1568
Drug Use in Assisted Suicide and Euthanasia 193, 200, 204         (GINSBURG, J., dissenting). We are further informed
(M. Battin & A. Lipman eds.1996).                                 that “[t]he three factors are interrelated; a strong showing
                                                                  on one reduces the importance of the others.” Ibid.
My point in citing the Dutch study is not that a multidrug
protocol is in fact better than a one-drug protocol or            An “untoward” risk is presumably a risk that is
that it is advisable to use pancuronium bromide. Rather,          “unfortunate” or “marked by or causing trouble
my point is that public policy on the death penalty, an           or unhappiness.” Webster's Third New International
issue that stirs deep emotions, cannot be dictated by the         Dictionary 2513 (1971); Random House Dictionary of the
testimony **1542 of an expert or two or by judicial               English Language 1567 (1967). This vague and malleable
findings of fact based on such testimony.                         standard would open the gates for a flood of litigation that
                                                                  would go a long way toward bringing about the end of the
                                                                  death penalty as a practical matter. While I certainly do
                                                                  not suggest that this is the intent of the Justices who favor
                              III                                 this test, the likely consequences are predictable.
The seemingly endless proceedings that have characterized
                                                                  The issue presented in this case—the constitutionality of
capital litigation during the years following Gregg are
                                                                  a method of execution—should be kept separate from
well documented. In 1989, the Report of the Judicial
                                                                  the controversial issue of the death penalty itself. If the
Conference's Ad Hoc Committee on Federal Habeas
                                                                  Court wishes to reexamine the latter issue, it should do so
Corpus in Capital Cases, chaired by Justice Powell, noted
                                                                  directly, *71 as Justice STEVENS now suggests. Post, at
the lengthy delays produced by collateral litigation in
                                                                  1548 – 1549. The Court should not produce a de facto ban
death penalty cases. See Committee Report and Proposal
                                                                  on capital punishment by adopting method-of-execution
2–4. The Antiterrorism and Effective Death Penalty Act of
                                                                  rules that lead to litigation gridlock.
1996 (AEDPA) was designed to address this problem. See,
e.g., Woodford v. Garceau, 538 U.S. 202, 206, 123 S.Ct.
1398, 155 L.Ed.2d 363 (2003) (“Congress enacted AEDPA             Justice STEVENS, concurring in the judgment.
to reduce delays in the execution of *70 state and federal        When we granted certiorari in this case, I assumed
criminal sentences, particularly in capital cases ... ” (citing   that our decision would bring the debate about lethal
Williams v. Taylor, 529 U.S. 362, 386, 120 S.Ct. 1495,            injection as a method of execution to a close. It now
146 L.Ed.2d 389 (2000) (opinion of STEVENS, J.)));                seems clear that it will not. The question whether a
H.R.Rep. No. 104–23, p. 8 (1995) (stating that AEDPA              similar three-drug protocol may be used in other States
was “designed to curb the abuse of the habeas corpus              remains open, and may well be answered differently in
                                                                  a future case on the basis of a more complete record.


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Instead of ending the controversy, I am now convinced          to inhibit respiration when it is immediately followed
that this case will **1543 generate debate not only            by potassium chloride, which causes death quickly by
about the constitutionality of the three-drug protocol,        stopping the inmate's heart.
and specifically about the justification for the use of the
paralytic agent, pancuronium bromide, but also about the        *74 Moreover, there is no nationwide endorsement
justification for the death penalty itself.                    of the use of pancuronium bromide that merits any
                                                               special presumption of respect. While state legislatures
                                                               have approved lethal injection as a humane method
                                                               of execution, the majority have not enacted legislation
                             I
                                                               specifically approving the use of pancuronium bromide,
Because it masks any outward sign of distress,                 or any given combination of drugs. 4 And when the
pancuronium bromide creates a risk that the inmate will        Colorado Legislature focused on the issue, it specified a
suffer excruciating pain before death occurs. There is         one-drug protocol consisting solely of sodium thiopental.
a general understanding among veterinarians that the           See Colo.Rev.Stat. Ann. § 18–1.3–1202 (2007). 5 **1545
risk of pain is sufficiently serious that the use of the       In the majority of States that use the three-drug protocol,
drug should be proscribed when an animal's life is being       the drugs were selected by unelected department of
terminated. 1 As a *72 result of this understanding            correction *75 officials with no specialized medical
among knowledgeable professionals, several States—             knowledge and without the benefit of expert assistance or
including Kentucky—have enacted legislation prohibiting        guidance. As such, their drug selections are not entitled to
use of the drug in animal euthanasia. See 2 Ky. Admin.         the kind of deference afforded legislative decisions.
Regs., tit. 201, ch. 16:090, § 5(1) (2004). 2 It is unseemly
—to say the least—that Kentucky may well kill *73              Nor should the failure of other state legislatures, or of
petitioners using a drug that it would not permit to be used   Congress, to outlaw the use of the drug on condemned
on their pets.                                                 prisoners be viewed as a nationwide endorsement of an
                                                               unnecessarily dangerous practice. Even in those States
Use of pancuronium bromide is particularly disturbing          where the legislature specifically approved the use of a
because—as the trial court specifically found in this case—    paralytic agent, review of the decisions that led to the
it serves “no therapeutic purpose.” App. 763. The **1544       adoption of the three-drug protocol has persuaded me
drug's primary use is to prevent involuntary muscle            that they are the product of “ ‘administrative convenience’
movements, and its secondary use is to stop respiration. In    ” and a “stereotyped reaction” to an issue, rather than
my view, neither of these purposes is sufficient to justify    a careful analysis of relevant considerations favoring or
the risk inherent in the use of the drug.                      disfavoring a conclusion. See Mathews v. Lucas, 427
                                                               U.S. 495, 519, 520–521, 96 S.Ct. 2755, 49 L.Ed.2d 651
The plurality believes that preventing involuntary             (1976) (STEVENS, J., dissenting). Indeed, the trial court
movement is a legitimate justification for using               found that “the various States simply fell in line” behind
pancuronium bromide because “[t]he Commonwealth has            Oklahoma, adopting the protocol without any critical
an interest in preserving the dignity of the procedure,        analysis of whether it was the best available alternative. 6
especially where convulsions or seizures could be              App. 756; see also post, at 1569 (GINSBURG, J.,
misperceived as signs of consciousness or distress.” Ante,     dissenting).
at 1535. This is a woefully inadequate justification.
Whatever minimal interest there may be in ensuring that        New Jersey's experience with the creation of a lethal
a condemned inmate dies a dignified death, and that            injection protocol is illustrative. When New Jersey
witnesses to the execution are not made uncomfortable          restored the death penalty in 1983, its legislature “fell
by an incorrect belief (which could easily be corrected)       in line” and enacted a statute that called for inmates to
that the inmate is in pain, is vastly outweighed by the        be executed by “continuous, intravenous administration
risk that the inmate is actually experiencing excruciating     until the person is dead of a lethal quantity of an
pain that no one can detect. 3 Nor is there any necessity      ultrashort-acting barbiturate in combination with a
for pancuronium bromide to be included in the cocktail         chemical paralytic agent in a quantity sufficient to cause



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death.” N.J. Stat. Ann. § 2C:49–2 (West 2005). New Jersey
Department of Corrections (DOC) officials, including           It is striking that when this state agency—with some
doctors and administrators, immediately expressed *76          specialized medical knowledge and with the benefit of
concern. The capital sentencing unit's chief doctor, for       some expert assistance and guidance—focused on the
example, warned the assistant commissioner that he had         issue, it disagreed with the legislature's “stereotyped
“ ‘concerns ... in regard to the chemical substance classes    reaction,” Mathews, 427 U.S., at 520, 521, 96 S.Ct. 2755
from which the lethal substances may be selected.’ ”           (STEVENS, J., dissenting), and specified a two-drug
Edwards, New Jersey's Long Waltz With Death, 170               protocol that omitted pancuronium bromide. 8
                          7
N.J.L.J. 657, 673 (2002). Based on these concerns, the
former DOC Commissioner lobbied the legislature to             In my view, therefore, States wishing to decrease the risk
amend the lethal injection statute to provide DOC with         that future litigation will delay executions or invalidate
discretion to select more humane drugs: “ ‘[We wanted]         their protocols would do well to reconsider their continued
a generic statement, like ‘drugs to be determined and          use of pancuronium bromide. 9
identified by the commissioner, or the attorney general, or
the Department of Health’ .... ‘Who knew what the future
was going to bring?’ ” Ibid. And these concerns likely
motivated the DOC's decision to adopt a protocol that                                     *78 II
omitted pancuronium bromide—despite the legislature's
                                                               The thoughtful opinions written by THE CHIEF
failure to act on the proposed **1546 amendment.
                                                               JUSTICE and by Justice GINSBURG have persuaded
See Denno, When Legislatures Delegate Death: The
                                                               me that current decisions by state legislatures, by the
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                                                               Congress of the United States, and by this Court to
and Lethal Injection and What It Says About Us, 63
                                                               retain the death penalty as a part of our law are the
Ohio St. L.J. 63, 117–118, 233 (2002) (explaining that the
                                                               product of habit and inattention rather than an acceptable
New Jersey protocol in effect in 2002 called for use of
                                                               deliberative process that weighs the costs and risks of
a two-drug cocktail consisting of sodium thiopental and
                                                               administering that penalty against its identifiable benefits,
potassium chloride).
                                                               and rest in part on a faulty assumption about the
                                                               retributive force of the death penalty.
Indeed, DOC officials seemed to harbor the same concerns
when they undertook to revise New Jersey's lethal
                                                               In Gregg v. Georgia, 428 U.S. 153, 96 S.Ct. 2909,
injection protocol in 2005. At a public hearing on the
                                                               49 L.Ed.2d 859 (1976), we explained **1547 that
proposed amendment, the DOC supervisor of legal and
                                                               unless a criminal sanction serves a legitimate penological
legislative affairs told attendees that the drugs to be used
                                                               function, it constitutes “gratuitous infliction of suffering”
in the lethal injection protocol were undetermined:
                                                               in violation of the Eighth Amendment. We then
  “Those substances have not been determined at this           identified three societal purposes for death as a sanction:
  point because when and if an execution is scheduled          incapacitation, deterrence, and retribution. See id., at 183,
  the *77 [DOC] will be doing research and determining         and n. 28, 96 S.Ct. 2909 (joint opinion of Stewart, Powell,
  the state-of-the-art drugs at that point in time .... We     and STEVENS, JJ.). In the past three decades, however,
  have not made a decision on which specific drugs             each of these rationales has been called into question.
  because we will have several months once we know that
  somebody is going to be executed and it will give us the     While incapacitation may have been a legitimate rationale
  opportunity at that point to decide which would be the       in 1976, the recent rise in statutes providing for
  most humane.                                                 life imprisonment without the possibility of parole
                                                               demonstrates that incapacitation is neither a necessary
  “And things change. We understand that the state-of-         nor a sufficient justification for the death penalty. 10
  the-art is changing daily so to say we are going to use      Moreover, a recent poll indicates that support for the
  something today when something may be more humane            death penalty drops significantly when life without
  becomes known later wouldn't make sense for us.” Tr.         the possibility of parole is presented as an *79
  of Public Hearing on Proposed Amendments to the
                                                               alternative option. 11 And the available sociological
  New Jersey Lethal Injection Protocol 36 (Feb. 4, 2005).


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evidence suggests that juries are less likely to impose the    Capital Punishment and the Late Liberal State, 111 Yale
death penalty when life without parole is available as a       L.J. 681, 704 (2001) (explaining that there is “a tension
sentence. 12                                                   between our desire to realize the claims of retribution by
                                                               killing those who kill, and ... a method [of execution] that,
The legitimacy of deterrence as an acceptable justification    because it seems to do no harm other than killing, cannot
for the death penalty is also questionable, at best. Despite   satisfy the intuitive sense of equivalence that informs this
30 years of empirical research in the area, there remains      conception of justice”); A. Sarat, When the State Kills:
no reliable statistical evidence that capital punishment       Capital Punishment and the American Condition 60–84
                                                               (2001).
in fact deters potential offenders. 13 In the absence of
such evidence, deterrence cannot serve as a sufficient
                                                               Full recognition of the diminishing force of the principal
penological justification for this uniquely severe and
                                                               rationales for retaining the death penalty should lead this
irrevocable punishment.
                                                               Court and legislatures to reexamine the question recently
                                                               posed by Professor Salinas, a former Texas prosecutor and
We are left, then, with retribution as the primary rationale
                                                               judge: “Is it time to Kill the Death Penalty?” See Salinas,
for imposing the death penalty. And indeed, it is the
                                                               34 Am. J.Crim. L. 39 (2006). The time for a dispassionate,
retribution rationale that animates much of the remaining
                                                               impartial comparison of the enormous costs that death
enthusiasm *80 for the death penalty. 14 As Lord Justice       penalty litigation imposes on society with the **1549
Denning argued in **1548 1950, “ ‘some crimes are so
                                                               benefits that it produces has surely arrived. 17
outrageous that society insists on adequate punishment,
because the wrong-doer deserves it, irrespective of whether
it is a deterrent or not.’ ” See Gregg, 428 U.S., at 184, n.
30, 96 S.Ct. 2909. Our Eighth Amendment jurisprudence                                    *82 III
has narrowed the class of offenders eligible for the
death penalty to include only those who have committed         “[A] penalty may be cruel and unusual because it
outrageous crimes defined by specific aggravating factors.     is excessive and serves no valid legislative purpose.”
It is the cruel treatment of victims that provides the most    Furman v. Georgia, 408 U.S. 238, 331, 92 S.Ct. 2726,
persuasive arguments for prosecutors seeking the death         33 L.Ed.2d 346 (1972) (Marshall, J., concurring); see
penalty. A natural response to such heinous crimes is a        also id., at 332, 92 S.Ct. 2726 (“The entire thrust of the
                                                               Eighth Amendment is, in short, against ‘that which is
thirst for vengeance. 15
                                                               excessive’ ”). Our cases holding that certain sanctions
                                                               are “excessive,” and therefore prohibited by the Eighth
At the same time, however, as the thoughtful opinions
                                                               Amendment, have relied *83 heavily on “objective
by THE CHIEF JUSTICE and Justice GINSBURG
                                                               criteria,” such as legislative enactments. See, e.g., Solem
make pellucidly clear, our society has moved away
                                                               v. Helm, 463 U.S. 277, 292, 103 S.Ct. 3001, 77 L.Ed.2d
from public and painful retribution toward ever more
                                                               637 (1983); Harmelin v. Michigan, 501 U.S. 957, 111 S.Ct.
humane forms of punishment. State-sanctioned killing
                                                               2680, 115 L.Ed.2d 836 (1991); United States v. Bajakajian,
is therefore becoming more and more anachronistic. In
                                                               524 U.S. 321, 118 S.Ct. 2028, 141 L.Ed.2d 314 (1998).
an attempt to bring executions in line with our evolving
                                                               In our recent decision in Atkins v. Virginia, 536 U.S.
standards of decency, we have adopted increasingly
                                                               304, 122 S.Ct. 2242, 153 L.Ed.2d 335 (2002), holding that
less painful methods of execution, and then declared
                                                               death is an excessive sanction for a mentally retarded
previous methods barbaric and archaic. But by requiring
                                                               defendant, we also relied heavily on opinions written
that an execution be relatively painless, we necessarily
                                                               by Justice White holding that the death penalty is an
protect the inmate from enduring any punishment that
                                                               excessive punishment for the crime of raping a 16–year–
is *81 comparable to the suffering inflicted on his
                                                               old woman, Coker v. Georgia, 433 U.S. 584, 97 S.Ct.
victim. 16 This trend, while appropriate and required by       2861, 53 L.Ed.2d 982 (1977), and for a murderer who did
the Eighth Amendment's prohibition on cruel and unusual        not intend to kill, Enmund v. Florida, 458 U.S. 782, 102
punishment, actually undermines the very premise on            S.Ct. 3368, 73 L.Ed.2d 1140 (1982). In those opinions we
which public approval of the retribution rationale is          acknowledged that “objective evidence, though of great
based. See, e.g., Kaufman–Osborn, Regulating Death:            importance, did not ‘wholly determine’ the controversy,


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‘for the Constitution contemplates that in the end our          Of special concern to me are rules that deprive the
own judgment will be brought to bear on the question            defendant of a trial by jurors representing a fair cross
of the acceptability of the death **1550 penalty under          section of the community. Litigation involving both
the Eighth Amendment.’ ” Atkins, 536 U.S., at 312, 122          challenges for cause and peremptory challenges has
S.Ct. 2242 (quoting Coker, 433 U.S., at 597, 97 S.Ct. 2861      persuaded me that the process of obtaining a “death
(plurality opinion)).                                           qualified jury” is really a procedure that has the purpose
                                                                and effect of obtaining a jury that is biased in favor of
Justice White was exercising his own judgment in 1972           conviction. The prosecutorial concern that death verdicts
when he provided the decisive vote in Furman, the case          would rarely be returned by 12 randomly selected jurors
that led to a nationwide reexamination of the death             should be viewed as objective evidence supporting the
penalty. His conclusion that death amounted to “cruel and       conclusion that the penalty is excessive. 18
unusual punishment in the constitutional sense” as well as
the “dictionary sense,” rested on both an uncontroversial       Another serious concern is that the risk of error in capital
legal premise and on a factual premise that he admittedly       cases may be greater than in other cases because the facts
could not “prove” on the basis of objective criteria. 408       are often so disturbing that the interest in making sure
U.S., at 312, 313, 92 S.Ct. 2726 (concurring opinion). As       the *85 crime does not go unpunished may overcome
a matter of law, he correctly stated that the “needless         residual doubt concerning the identity of the offender.
extinction of life with only marginal contributions to any      Our former emphasis on the importance of ensuring
discernible social or public purposes ... would be patently     that decisions in death cases be adequately supported by
excessive” and violative of the Eighth Amendment. Id., at       reason rather **1551 than emotion, Gardner, 430 U.S.
312, 92 S.Ct. 2726. As a matter of fact, he stated, “like       349, 97 S.Ct. 1197, 51 L.Ed.2d 393, has been undercut by
my Brethren, I must arrive at judgment; and I can do no         more recent decisions placing a thumb on the prosecutor's
more than state a conclusion based on 10 years of almost        side of the scales. Thus, in Kansas v. Marsh, 548 U.S.
daily exposure to the facts and circumstances of hundreds       163, 126 S.Ct. 2516, 165 L.Ed.2d 429 (2006), the Court
and hundreds of federal and state criminal cases involving      upheld a state statute that requires imposition of the
crimes for which death is the authorized penalty.” *84          death penalty when the jury finds that the aggravating
Id., at 313, 92 S.Ct. 2726. I agree with Justice White that     and mitigating factors are in equipoise. And in Payne
there are occasions when a Member of this Court has a           v. Tennessee, 501 U.S. 808, 111 S.Ct. 2597, 115 L.Ed.2d
duty to make judgments on the basis of data that falls          720 (1991), the Court overruled earlier cases and held
short of absolute proof.                                        that “victim impact” evidence relating to the personal
                                                                characteristics of the victim and the emotional impact
Our decisions in 1976 upholding the constitutionality           of the crime on the victim's family is admissible despite
of the death penalty relied heavily on our belief that          the fact that it sheds no light on the question of guilt or
adequate procedures were in place that would avoid the          innocence or on the moral culpability of the defendant,
danger of discriminatory application identified by Justice      and thus serves no purpose other than to encourage jurors
Douglas' opinion in Furman, id., at 240–257, 92 S.Ct. 2726      to make life or death decisions on the basis of emotion
(concurring opinion), of arbitrary application identified       rather than reason.
by Justice Stewart, id., at 306, 92 S.Ct. 2726 (same), and of
excessiveness identified by Justices Brennan and Marshall.      A third significant concern is the risk of discriminatory
In subsequent years a number of our decisions relied on         application of the death penalty. While that risk has been
the premise that “death is different” from every other          dramatically reduced, the Court has allowed it to continue
form of punishment to justify rules minimizing the risk         to play an unacceptable role in capital cases. Thus, in
of error in capital cases. See, e.g., Gardner v. Florida, 430   McCleskey v. Kemp, 481 U.S. 279, 107 S.Ct. 1756, 95
U.S. 349, 357–358, 97 S.Ct. 1197, 51 L.Ed.2d 393 (1977)         L.Ed.2d 262 (1987), the Court upheld a death sentence
(plurality opinion). Ironically, however, more recent cases     despite the “strong probability that [the defendant's]
have endorsed procedures that provide less protections to       sentencing jury ... was influenced by the fact that [he
capital defendants than to ordinary offenders.                  was] black and his victim was white.” Id., at 366, 107
                                                                S.Ct. 1756 (STEVENS, J., dissenting); see also Evans v.
                                                                State, 396 Md. 256, 323, 914 A.2d 25, 64 (2006), cert.



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denied, 552 U.S. 835, 128 S.Ct. 65, 169 L.Ed.2d 53 (2007)      lethal injection protocol violates the Eighth Amendment.
(affirming a death sentence despite the existence of a study   Accordingly, I join the Court's judgment.
showing that “the death penalty is statistically more likely
to be pursued against a black person who murders a
white victim than against a defendant in any other racial      Justice SCALIA, with whom Justice THOMAS joins,
combination”).                                                 concurring in the judgment.
                                                               I join the opinion of Justice THOMAS concurring in the
Finally, given the real risk of error in this class of         judgment. I write separately to provide what I think is
cases, the irrevocable nature of the consequences is           needed response to Justice STEVENS' separate opinion.
of decisive importance *86 to me. Whether or not
any innocent defendants have actually been executed,
abundant evidence accumulated in recent years has                                           I
resulted in the exoneration of an unacceptable number
of defendants found guilty of capital offenses. See            Justice STEVENS concludes as follows: “[T]he imposition
Garrett, Judging Innocence, 108 Colum. L.Rev. 55 (2008);       of the death penalty represents the pointless and needless
Risinger, Innocents Convicted: An Empirically Justified        extinction of life with only marginal contributions to
Factual Wrongful Conviction Rate, 97 J.Crim. L. & C.           any discernible social or public purposes. A penalty with
761 (2007). The risk of executing innocent defendants can      such negligible returns to the State [is] patently excessive
be entirely eliminated by treating any penalty more severe     and cruel and unusual punishment violative of the
than life imprisonment without the possibility of parole as    Eighth Amendment.” Ante, at 1551 (opinion concurring
constitutionally excessive.                                    in judgment) (internal quotation marks omitted; second
                                                               bracket in original).
In sum, just as Justice White ultimately based his
conclusion in Furman on his extensive exposure to              This conclusion is insupportable as an interpretation
countless cases for which death is the authorized penalty,     of the Constitution, which generally leaves it to
I have relied on my own experience in reaching the             democratically elected legislatures rather than courts to
conclusion that the imposition of the death penalty            decide what makes significant contribution to social or
represents “the pointless and needless extinction of life      public purposes. Besides that more general proposition,
with only marginal contributions to any discernible            the very text of the document recognizes that the death
social or public purposes. A penalty with such negligible      penalty is a permissible legislative choice. The Fifth
returns to the State [is] patently excessive and cruel and     Amendment expressly requires a *88 presentment or
unusual punishment violative of the Eighth Amendment.”         indictment of a grand jury to hold a person to answer for
Furman, 408 U.S., at 312, 92 S.Ct. 2726 (White, J.,            “a capital, or otherwise infamous crime,” and prohibits
concurring). 19                                                deprivation of “life” without due process of law. U.S.
                                                               Const., Amdt. 5. The same Congress that proposed the
                                                               Eighth Amendment also enacted the Act of April 30, 1790,
                                                               which made several offenses punishable by death. 1 Stat.
                     **1552 *87 IV                             112; see also Gregg v. Georgia, 428 U.S. 153, 176–178,
                                                               96 S.Ct. 2909, 49 L.Ed.2d 859 (1976) (joint opinion of
The conclusion that I have reached with regard to the
                                                               Stewart, Powell, and STEVENS, JJ.). Writing in 1977,
constitutionality of the death penalty itself makes my
                                                               Professor Hugo Bedau—no friend of the death penalty
decision in this case particularly difficult. It does not,
                                                               himself—observed that “[u]ntil fifteen years ago, save for a
however, justify a refusal to respect precedents that
                                                               few mavericks, no one gave any credence to the possibility
remain a part of our law. This Court has held that
                                                               of ending the death penalty by judicial interpretation
the death penalty is constitutional, and has established
                                                               of constitutional law.” The Courts, the Constitution,
a framework for evaluating the constitutionality of
                                                               and Capital Punishment 118 (1977). There is simply no
particular methods of execution. Under those precedents,
                                                               legal authority for the proposition that the imposition
whether as interpreted by THE CHIEF JUSTICE or
                                                               of death as a criminal penalty is unconstitutional other
Justice GINSBURG, I am persuaded that the evidence
                                                               than the opinions in Furman v. Georgia, 408 U.S. 238, 92
adduced by petitioners fails to prove that Kentucky's


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S.Ct. 2726, 33 L.Ed.2d 346 (1972), which established a          Justice STEVENS concludes that the availability of
nationwide moratorium on capital **1553 punishment              alternatives, and what he describes as the unavailability of
that Justice STEVENS had a hand in ending four years            “reliable statistical evidence,” renders capital punishment
later in Gregg.                                                 unconstitutional. In his view, the benefits of capital
                                                                punishment—as compared to other forms of punishment
                                                                such as life imprisonment—are outweighed by the costs.

                             II
                                                                These conclusions are not supported by the available
What prompts Justice STEVENS to repudiate his prior             data. Justice STEVENS' analysis barely acknowledges
view and to adopt the astounding position that a criminal       the “significant body of recent evidence that capital
sanction expressly mentioned in the Constitution violates       punishment may well have a deterrent effect, possibly
the Constitution? His analysis begins with what he believes     a quite powerful one.” Sunstein & Vermeule, Is Capital
to be the “uncontroversial legal premise” that the “            Punishment Morally Required? Acts, Omissions, and
‘extinction of life with only marginal contributions to any     Life–Life Tradeoffs, 58 Stan. L.Rev. 703, 706 (2005); see
discernible social or public purposes ... would be patently     also id., at 706, n. 9 (listing the approximately half a dozen
excessive’ and violative of the Eighth Amendment.” Ante,        studies supporting this conclusion). *90 According to a
at 1550 (quoting in part Furman, supra, at 312, 92              “leading national study,” “each execution prevents some
S.Ct. 2726 (White, J., concurring)); see also ante, at          eighteen murders, on average.” Id., at 706. “If the current
1546 – 1547 (citing Gregg, supra, at 183, and n. 28, 96         evidence is even roughly correct ... then a refusal to impose
S.Ct. 2909). Even if that were uncontroversial in the           capital punishment will effectively condemn numerous
abstract (and it is certainly not what occurs to me as          innocent people to death.” Ibid.
the meaning of “cruel and unusual punishments”), it is
assuredly controversial (indeed, flatout wrong) as applied      Of course, it may well be that the empirical studies
to a mode of punishment that is explicitly sanctioned           establishing that the death penalty has a powerful
by the Constitution. As to that, the *89 people have            deterrent effect are incorrect, and some scholars have
determined whether there is adequate contribution to            disputed its deterrent value. See ante, at 1547, n. **1554
social or public purposes, and it is no business of unelected   13. But that is not the point. It is simply not our place
judges to set that judgment aside. But even if we grant         to choose one set of responsible empirical studies over
Justice STEVENS his “uncontroversial premise,” his              another in interpreting the Constitution. Nor is it our
application of that premise to the current practice of          place to demand that state legislatures support their
capital punishment does not meet the “heavy burden              criminal sanctions with foolproof empirical studies, rather
[that] rests on those who would attack the judgment             than commonsense predictions about human behavior.
of the representatives of the people.” Gregg, supra, at         “The value of capital punishment as a deterrent of
175, 96 S.Ct. 2909 (joint opinion of Stewart, Powell, and       crime is a complex factual issue the resolution of which
STEVENS, JJ.). That is to say, Justice STEVENS' policy          properly rests with the legislatures, which can evaluate
analysis of the constitutionality of capital punishment fails   the results of statistical studies in terms of their own
on its own terms.                                               local conditions and with a flexibility of approach that
                                                                is not available to the courts.” Gregg, supra, at 186,
According to Justice STEVENS, the death penalty                 96 S.Ct. 2909 (joint opinion of Stewart, Powell, and
promotes none of the purposes of criminal punishment            STEVENS, JJ.). Were Justice STEVENS' current view
because it neither prevents more crimes than alternative        the constitutional test, even his own preferred criminal
measures nor serves a retributive purpose. Ante, at 1546 –      sanction—life imprisonment without the possibility of
1547. He argues that “the recent rise in statutes providing     parole—may fail constitutional scrutiny, because it is
for life imprisonment without the possibility of parole”        entirely unclear that enough empirical evidence supports
means that States have a ready alternative to the death         that sanction as compared to alternatives such as life with
penalty. Ibid. Moreover, “[d]espite 30 years of empirical       the possibility of parole.
research in the area, there remains no reliable statistical
evidence that capital punishment in fact deters potential       But even if Justice STEVENS' assertion about the
offenders.” Ante, at 1547. Taking the points together,          deterrent value of the death penalty were correct, the death



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penalty would yet be constitutional (as he concedes) if           guilty supports not his conclusion, but the separate (and
it served the appropriate purpose of retribution. I would         equally erroneous) conclusion that peremptory challenges
think it difficult indeed to prove that a criminal sanction       and challenges for cause are unconstitutional. According
fails to serve a retributive purpose—a judgment that              to Justice STEVENS, “the risk of error in capital cases
strikes me as inherently subjective and insusceptible of          may be greater than in other cases because the facts are
judicial review. Justice STEVENS, however, concludes              often so disturbing that the interest in making sure the
that, because the Eighth Amendment “protect[s] the                crime does not go unpunished may overcome residual
inmate from enduring any punishment *91 that is                   doubt concerning the identity of the offender.” Ibid.
comparable to the suffering inflicted on his victim,”             That rationale, however, supports not Justice STEVENS'
capital punishment serves no retributive purpose at all.          conclusion that the death penalty is unconstitutional, but
Ante, at 1548. The infliction of any pain, according              the more sweeping proposition that any conviction in a
to Justice STEVENS, violates the Eighth Amendment's               case in which facts are disturbing is suspect—including, of
prohibition against cruel and unusual punishments, but            course, convictions resulting in life without parole in those
so too does the imposition of capital punishment without          States that do not have capital punishment. The same is
pain because a criminal penalty lacks a retributive purpose       true of Justice STEVENS' claim that there is a risk of
unless it inflicts pain commensurate with the pain that           “discriminatory application of the death penalty.” Ante,
the criminal has caused. In other words, if a punishment          at 1551. The same could be said of any criminal penalty,
is not retributive enough, it is not retributive at all. To       including life without parole; there is no proof that in this
state this proposition is to refute it, as Justice STEVENS        regard the death penalty is distinctive.
once understood. “[T]he decision that capital punishment
may be the appropriate sanction in extreme cases is an            But of all Justice STEVENS' criticisms of the death
expression of the community's belief that certain crimes          penalty, the hardest to take is his bemoaning of “the
are themselves so grievous an affront to humanity that            enormous costs that death penalty litigation imposes on
the only adequate response may be the penalty of death.”          society,” including the “burden on the courts and the lack
Gregg, 428 U.S., at 184, 96 S.Ct. 2909 (joint opinion of          of finality for victim's families.” Ante, at 1548, and n. 17.
Stewart, Powell, and STEVENS, JJ.).                               Those costs, those burdens, and that lack of finality are
                                                                  in large measure the creation of Justice STEVENS and
Justice STEVENS' final refuge in his cost-benefit analysis        other Justices opposed to the death penalty, who have
is a familiar one: There is a risk that an innocent person        “encumber[ed][it] ... with unwarranted restrictions neither
might be convicted and sentenced to death—though not a            contained in the text of the Constitution nor reflected
risk that Justice STEVENS can quantify, because he lacks          in two centuries of practice under it”—the product of
a single example of a person executed for a crime he did          their policy views “not shared by the vast majority of
not commit in the current American system. See ante, at           the American people.” Kansas v. Marsh, 548 U.S. 163,
1550 – 1551. His analysis of this risk is thus a series of        186, 126 S.Ct. 2516, 165 L.Ed.2d 429 (2006) (SCALIA, J.,
sweeping condemnations that, if taken seriously, would            concurring).
prevent any punishment under any criminal justice system.
According to him, “[t]he prosecutorial concern that death
verdicts would rarely be returned by 12 randomly selected
                                                                                            *93 III
jurors should be viewed as objective evidence supporting
the conclusion that the penalty is excessive.” Ante, at 1550.     But actually none of this really matters. As Justice
But prosecutors undoubtedly have a similar concern that           STEVENS explains, “ ‘objective evidence, though of great
any unanimous conviction would rarely be returned by 12           importance, [does] not wholly determine the controversy,
randomly selected jurors. That is why they, like defense          for the Constitution contemplates that in the end our
counsel, are permitted to use the challenges for cause and        own judgment will be brought to bear on the question of
peremptory challenges that Justice STEVENS finds so               the acceptability of the death penalty under the Eighth
troubling, in order to arrive at a jury that both sides believe   Amendment.’ ” Ante, at 1549 (quoting Atkins v. Virginia,
will be more likely to do justice in a *92 particular case.       536 U.S. 304, 312, 122 S.Ct. 2242, 153 L.Ed.2d 335
Justice **1555 STEVENS' concern that prosecutors will             (2002); emphasis added; some internal quotation marks
be inclined to challenge jurors who will not find a person        omitted). “I have relied on my own experience in reaching



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the conclusion that the imposition of the death penalty” is     Because, in my view, a method of execution violates the
unconstitutional. Ante, at 1551 (emphasis added).               Eighth Amendment only if it is deliberately designed to
                                                                inflict pain, I concur only in the judgment.
Purer expression cannot be found of the principle of
rule by judicial fiat. In the face of Justice STEVENS'
experience, the experience of all others is, it appears, of
                                                                                              I
little consequence. The experience of the state legislatures
and the Congress—who retain the death penalty as                The Eighth Amendment's prohibition on the “inflict[ion]”
a form of punishment—is dismissed as “the product               of “cruel and unusual punishments” must be understood
of habit and inattention rather than an acceptable              in light of the historical practices that led the Framers
deliberative process.” Ante, at 1546. The experience of         to include it in the Bill of Rights. Justice STEVENS'
social scientists whose studies indicate that the death         ruminations notwithstanding, see ante, at 1546 – 1552
penalty deters crime is relegated to a footnote. Ante,          (opinion concurring in judgment), it is clear that the
at 1548, n. 13. The experience of fellow citizens who           Eighth Amendment does not prohibit the death penalty.
support the death penalty is described, with only the most      That is evident both from the ubiquity of the death
thinly veiled condemnation, as stemming from a “thirst          penalty in the founding era, see S. Banner, The Death
for vengeance.” Ante, at 1548. It is Justice STEVENS'           Penalty: An American History 23 (2002) (hereinafter
experience that reigns over all.                                Banner) (noting that, in the late 18th century, the death
                                                                penalty was “the standard penalty for all serious crimes”),
                                                                and from the Constitution's express provision for capital
                           ***                                  punishment, see, e.g., Amdt. 5 (requiring an indictment
                                                                 *95 or presentment of a grand jury to hold a person for
I take no position on the desirability of the death penalty,    “a capital, or otherwise infamous crime,” and prohibiting
except to say that its **1556 value is eminently debatable      deprivation of “life” without due process of law).
and the subject of deeply, indeed passionately, held views
—which means, to me, that it is preeminently not a matter       That the Constitution permits capital punishment in
to be resolved here. And especially not when it is explicitly   principle does not, of course, mean that all methods of
permitted by the Constitution.                                  execution are constitutional. In English and early colonial
                                                                practice, the death penalty was not a uniform punishment,
                                                                but rather a range of punishments, some of which the
 *94 Justice THOMAS, with whom Justice SCALIA                   Framers likely regarded as cruel and unusual. Death by
joins, concurring in the judgment.                              hanging was the most common mode of execution both
Although I agree that petitioners have failed to establish      before and after 1791, and there is no doubt that it
that Kentucky's lethal injection protocol violates the          remained a permissible punishment after enactment of
Eighth Amendment, I write separately because I cannot           the Eighth Amendment. “An ordinary death by hanging
subscribe to the plurality opinion's formulation of the         was not, however, the harshest penalty at the disposal
governing standard. As I understand it, that opinion            of the seventeenth- and eighteenth-century state.” Banner
would hold that a method of execution violates the              70. In addition to hanging, which was intended to, and
Eighth Amendment if it poses a substantial risk of              often did, result in a quick and painless death, “[o]fficials
severe pain that could be significantly reduced by              also wielded a set of tools capable of intensifying a death
adopting readily available alternative procedures. Ante,        sentence,” that is, “ways of producing a punishment worse
at 1532. This standard—along with petitioners' proposed         than death.” Id., at 54.
“unnecessary risk” standard and the dissent's “untoward
risk” standard, post, at 1567 (opinion of Ginsburg, J.)         One such “tool” was burning at the stake. Because
—finds no support in the original understanding of the          burning, unlike hanging, was always painful and
Cruel and Unusual Punishments Clause or in our previous         destroyed the body, it was considered “a form of super-
method-of-execution cases; casts constitutional doubt on        capital punishment, worse than death itself.” Id., at 71.
long-accepted methods of execution; and injects the Court       Reserved for offenders whose crimes were thought to pose
into matters it has no institutional capacity to resolve.       an **1557 especially grave threat to the social order



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—such as slaves who killed their masters and women            as falling within the prohibition of the Cruel and Unusual
who killed their husbands—burning a person alive was so       Punishments Clause. By the late 18th century, the more
dreadful a punishment that sheriffs sometimes hanged the      violent modes of execution had “dwindled away,” id., at
offender first “as an act of charity.” Id., at 72.            76, and would for that reason have been “unusual” in the
                                                              sense that they were no longer “regularly or customarily
Other methods of intensifying a death sentence included       employed,” Harmelin v. Michigan, 501 U.S. 957, 976, 111
“gibbeting,” or hanging the condemned in an iron cage so      S.Ct. 2680, 115 L.Ed.2d 836 (1991) (opinion of SCALIA,
that his body would decompose in public view, see id., at     J.); see also Weems v. United States, 217 U.S. 349, 395,
72–74, and “public dissection,” a punishment Blackstone       30 S.Ct. 544, 54 L.Ed. 793 (1910) (White, J., dissenting)
associated with murder, 4 W. Blackstone, Commentaries          **1558 (noting that, “prior to the formation of the
376 (W. Lewis ed. 1897) (hereinafter Blackstone). But         Constitution, the necessity for the protection afforded
none of these was the worst fate a criminal could             by the cruel and unusual punishment guarantee of the
meet. That was *96 reserved for the most dangerous            English bill of rights had ceased to be a matter of concern,
and reprobate offenders—traitors. “The punishment of          because as a rule the cruel bodily punishments of former
high treason,” Blackstone wrote, was “very solemn             times were no longer imposed”). Embellishments upon
and terrible,” id., at 92, and involved “embowelling          the death penalty designed to inflict pain for pain's sake
alive, beheading, and quartering,” id., at 376. Thus, the     also would have fallen comfortably within the ordinary
following death sentence could be pronounced on seven         meaning of the word “cruel.” See 1 S. Johnson, A
men convicted of high treason in England:                     Dictionary of the English Language 459 (1773) (defining
                                                              “cruel” to mean “[p]leased with hurting others; inhuman;
  “ ‘That you and each of you, be taken to the place          hard-hearted; void of pity; wanting compassion; savage;
  from whence you came, and from thence be drawn on           barbarous; unrelenting”); 1 N. Webster, An American
  a hurdle to the place of execution, where you shall         Dictionary of the English Language 52 (1828) (defining
  be hanged by the necks, not till you are dead; that         “cruel” as “[d]isposed to give pain to others, in body
  you be severally taken down, while yet alive, and your      or mind; willing or pleased to torment, vex or afflict;
  bowels be taken out and burnt before your faces—that        inhuman; destitute of pity, compassion or kindness”).
  your heads be then cut off, and your bodies cut in
  four quarters, to be at the King's disposal. And God        Moreover, the evidence we do have from the debates on
  Almighty have mercy on your souls.’ ” G. Scott, History     the Constitution confirms that the Eighth Amendment
  of Capital Punishment 179 (1950). *                         was intended to disable Congress from imposing torturous
                                                              punishments. It was the absence of such a restriction
The principal object of these aggravated forms of             on Congress' power in the Constitution as drafted in
capital punishment was to terrorize the criminal, and         Philadelphia *98 in 1787 that led one delegate at the
thereby more effectively deter the crime. Their defining      Massachusetts ratifying convention to complain that
characteristic was that they were purposely designed to       Congress was “nowhere restrained from inventing the
inflict pain and suffering beyond that necessary to cause     most cruel and unheard-of punishments, and annexing
death. As Blackstone put it, “in very atrocious crimes,       them to crimes; and there is no constitutional check on
other circumstances of terror, pain, or disgrace [were]       them, but that racks and gibbets may be amongst the
superadded.” 4 Blackstone 376. These “superadded”             most mild instruments of their discipline.” 2 J. Elliot, The
circumstances “were carefully *97 handed out to apply         Debates in the Several State Conventions on the Adoption
terror where it was thought to be most needed,” and were      of the Federal Constitution 111 (2d ed. 1891). Similarly,
designed “to ensure that death would be slow and painful,     during the ratification debate in Virginia, Patrick Henry
and thus all the more frightening to contemplate.” Banner     objected to the lack of a Bill of Rights, in part because
70.                                                           there was nothing to prevent Congress from inflicting
                                                              “tortures, or cruel and barbarous punishment[s].” 3 id., at
Although the Eighth Amendment was not the subject             447–448.
of extensive discussion during the debates on the Bill
of Rights, there is good reason to believe that the           Early commentators on the Constitution likewise
Framers viewed such enhancements to the death penalty         interpreted the Cruel and Unusual Punishments Clause



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as referring to torturous punishments. One commentator         [ous]’ methods of punishment”); Weems, supra, at 390, 30
viewed the Eighth Amendment as prohibiting “horrid             S.Ct. 544 (White, J., dissenting) (“[I]t may not be doubted,
modes of torture”:                                             and indeed is not questioned by any one, that the cruel
                                                               punishments against which the bill of rights provided
  “The prohibition of cruel and unusual punishments,           were the atrocious, sanguinary and inhuman punishments
  marks the improved spirit of the age, which would not        which had been inflicted in the past upon the persons
  tolerate the use of the rack or the stake, or any of those   of criminals”). That view has permeated our method-
  horrid modes of torture, devised by human ingenuity          of-execution cases. Thrice the Court has considered a
  for the gratification of fiendish passion.” J. Bayard,       challenge to a modern method of execution, and thrice
  A Brief Exposition of the Constitution of the United         it has rejected the challenge, each time emphasizing that
  States 154 (2d ed. 1840).                                    the Eighth Amendment is aimed at methods of execution
                                                               purposely designed to inflict pain.
Similarly, another commentator found “sufficient
reasons” for the Eighth Amendment in the “barbarous
                                                               In the first case, Wilkerson v. Utah, 99 U.S. 130, 25
and cruel punishments” inflicted in less enlightened
                                                               L.Ed. 345 (1879), the Court rejected the contention that
countries:
                                                               death by firing squad was cruel and unusual. In so
  “Under the [Eighth] amendment the infliction of cruel        doing, it reviewed the various *100 modes of execution
  and unusual punishments, is also prohibited. The             catalogued by Blackstone, repeating his observation that
  various barbarous and cruel punishments inflicted            “in very atrocious crimes other circumstances of terror,
  under the laws of some other countries, and which            pain, or disgrace were sometimes superadded.” Id., at 135.
  profess not to be behind the most enlightened                The Court found it “safe to affirm that punishments of
  nations on earth in civilization and refinement, furnish     torture, such as those mentioned by [Blackstone], and
  sufficient reasons for this express prohibition. Breaking    all others in the same line of unnecessary cruelty, are
  on the wheel, flaying *99 alive, rending asunder with        forbidden by [the Eighth Amendment].” Id., at 136. The
  horses, various species of horrible tortures inflicted in    unanimous Court had no difficulty concluding that death
  the inquisition, maiming, mutilating and scourging to        by firing squad did not “fal[l] within that category.” Ibid.
  death, are wholly alien to the spirit of our humane
  general constitution.” B. Oliver, The Rights of An           Similarly, when the Court in In re Kemmler, 136 U.S.
  American Citizen 186 (1832) (reprint 1970).                  436, 446, 10 S.Ct. 930, 34 L.Ed. 519 (1890), unanimously
                                                               rejected a challenge to electrocution, it interpreted the
So barbaric were the punishments prohibited by the             Eighth Amendment to prohibit punishments that “were
Eighth Amendment that Joseph Story thought the                 manifestly cruel and unusual, as burning at the stake,
provision “wholly unnecessary in a free government, since      crucifixion, breaking on the wheel, or the like”:
it is scarcely possible, that any department of such a
government should authorize, or **1559 justify such              “Punishments are cruel when they involve torture
atrocious conduct.” 3 J. Story, Commentaries on the              or a lingering death; but the punishment of death
Constitution of the United States 750 (1833).                    is not cruel, within the meaning of that word as
                                                                 used in the Constitution. It implies there something
                                                                 inhuman and barbarous, something more than the mere
                                                                 extinguishment of life.” Id., at 447, 10 S.Ct. 930.
                             II
                                                               Finally, in Louisiana ex rel. Francis v. Resweber, 329 U.S.
Consistent with the original understanding of the Cruel
                                                               459, 67 S.Ct. 374, 91 L.Ed. 422 (1947), the Court rejected
and Unusual Punishments Clause, this Court's cases have
repeatedly taken the view that the Framers intended to         the petitioner's contention that the Eighth Amendment
prohibit torturous modes of punishment akin to those that      prohibited Louisiana from subjecting him to a second
formed the historical backdrop of the Eighth Amendment.        attempt at electrocution, the first attempt having failed
See, e.g., Estelle v. Gamble, 429 U.S. 97, 102, 97 S.Ct.       when “[t]he executioner threw the switch but, presumably
285, 50 L.Ed.2d 251 (1976) (“[T]he primary concern of          because of some mechanical difficulty, death did not
the drafters was to proscribe ‘torture[s]’ and other ‘barbar   result.” Id., at 460, 67 S.Ct. 374 (plurality opinion).
                                                               Characterizing the abortive attempt as “an accident, with


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no suggestion of malevolence,” id., at 463, 67 S.Ct. 374, the    the like was that *102 they involved risks of pain
plurality opinion concluded that “the fact that petitioner       that could be eliminated by using alternative methods of
ha[d] already been subjected to a current of electricity [did]   execution. Quite plainly, what defined these punishments
not make his subsequent execution any more cruel in the          was that they were designed to inflict torture as a way
constitutional sense than any other execution”:                  of enhancing a death sentence; they were intended to
                                                                 produce a penalty worse than death, to accomplish
  “The cruelty against which the Constitution protects           something “more than the mere extinguishment of life.”
  a convicted man is cruelty inherent in the method of           Kemmler, supra, at 447, 10 S.Ct. 930. The evil the Eighth
  punishment, *101 not the necessary suffering involved          Amendment targets is intentional infliction of gratuitous
  in any method employed to extinguish life **1560               pain, and that is the standard our method-of-execution
  humanely. The fact that an unforeseeable accident              cases have explicitly or implicitly invoked.
  prevented the prompt consummation of the sentence
  cannot, it seems to us, add an element of cruelty to           Thus, the Court did not find it necessary in Wilkerson to
  a subsequent execution. There is no purpose to inflict         conduct a comparative analysis of death by firing squad as
  unnecessary pain nor any unnecessary pain involved in          opposed to hanging or some other method of execution.
  the proposed execution.” Id., at 464, 67 S.Ct. 374.            Nor did the Court inquire into the precise procedures
                                                                 used to execute an individual by firing squad in order
                                                                 to determine whether they involved risks of pain that
                             III                                 could be alleviated by adopting different procedures. It
                                                                 was enough that death by firing squad was well established
In light of this consistent understanding of the Cruel           in military practice, 99 U.S., at 134–135, and plainly did
and Unusual Punishments Clause as forbidding purposely           not fall within the “same line of unnecessary cruelty” as
torturous punishments, it is not surprising that even an         the punishments described by Blackstone, id., at 136.
ardent abolitionist was constrained to acknowledge in
1977 that “[a]n unbroken line of interpreters has held           The same was true in Kemmler. One searches the opinion
that it was the original understanding and intent of             in vain for a comparative analysis of electrocution versus
the framers of the Eighth Amendment ... to proscribe             other methods of execution. The Court observed that the
as ‘cruel and unusual’ only such modes of execution              New York Legislature had adopted electrocution in order
as compound the simple infliction of death with added            to replace hanging with “ ‘the most humane and practical
cruelties or indignities.” H. Bedau, The Courts, the             method known to modern science of carrying into effect
Constitution, and Capital Punishment 35. What is                 the sentence of death in capital cases.’ ” 136 U.S., at 444,
surprising is the plurality's willingness to discard this        10 S.Ct. 930. But there is no suggestion that the Court
unbroken line of authority in favor of a standard that           thought it necessary to sift through the “voluminous mass
finds no support in the original understanding of the            of evidence ... taken [in the courts below] as to the effect
Eighth Amendment or in our method-of-execution cases             of electricity as an agent of death,” **1561 id., at 442,
and that, disclaimers notwithstanding, “threaten[s] to           10 S.Ct. 930, in order to confirm that electrocution in fact
transform courts into boards of inquiry charged with             involved less substantial risks of pain or lingering death
determining ‘best practices' for executions, with each           than hanging. The court below had rejected the challenge
ruling supplanted by another round of litigation touting a       because the “act was passed in the effort to devise a
new and improved methodology.” Ante, at 1531.                    more *103 humane method of reaching the result,” and
                                                                 “courts were bound to presume that the legislature was
We have never suggested that a method of execution is            possessed of the facts upon which it took action.” Id.,
“cruel and unusual” within the meaning of the Eighth             at 447, 10 S.Ct. 930. Treating the lower court's decision
Amendment simply because it involves a risk of pain—             “as involving an adjudication that the statute was not
whether “substantial,” “unnecessary,” or “untoward”—             repugnant to the Federal Constitution,” ibid., the Court
that could be reduced by adopting alternative procedures.        found that conclusion “so plainly right,” ibid., that it had
And for good reason. It strains credulity to suggest             “no hesitation” in denying the writ of error, id., at 449, 10
that the defining characteristic of burning at the stake,        S.Ct. 930.
disemboweling, drawing and quartering, beheading, and



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Likewise in Resweber, the Court was confronted in                 injection); Glass v. Louisiana, 471 U.S. 1080, 1093, 105
dramatic fashion with the reality that the electric chair         S.Ct. 2159, 85 L.Ed.2d 514 (1985) (Brennan, J., dissenting
involved risks of error or malfunction that could result          from denial of certiorari) (arguing that electrocution
in excruciating pain. See 329 U.S., at 480, n. 2, 67 S.Ct.        violates the Eighth Amendment because it poses risks of
374 (Burton, J., dissenting) (quoting affidavits from the         pain that could be alleviated by “other currently available
petitioner's brief recounting that during the unsuccessful        means of execution,” such as lethal injection); Campbell
first attempt at electrocution, the petitioner's “ ‘lips puffed   v. Wood, 18 F.3d 662, 715 (C.A.9 1994) (Reinhardt, J.,
out and his body squirmed and tensed and he jumped                concurring and dissenting) (arguing that hanging violates
so that the chair rocked on the floor’ ”). But absent             the Eighth Amendment because it involves risks of pain
“malevolence” or a “purpose to inflict unnecessary pain,”         and mutilation not presented by lethal injection). But
the Court concluded that the Constitution did not prohibit        the notion that **1562 the Eighth Amendment permits
Louisiana from subjecting the petitioner to those very            only one mode of execution, or that it requires an
risks a second time in order to carry out his death sentence.     anesthetized death, cannot be squared with the history of
Id., at 463, 464, 67 S.Ct. 374 (plurality opinion); id.,          the Constitution.
at 471, 67 S.Ct. 374 (Frankfurter, J., concurring); see
also Furman v. Georgia, 408 U.S. 238, 326–327, 92 S.Ct.           It is not a little ironic—and telling—that lethal injection,
2726, 33 L.Ed.2d 346 (1972) (Marshall, J., concurring)            hailed just a few years ago as the humane alternative
(describing Resweber as holding “that the legislature             in light of which every other method of execution was
adopted electrocution for a humane purpose, and that its          deemed an unconstitutional relic of the past, is the
will should not be thwarted because, in its desire to reduce      subject of today's challenge. It appears the Constitution
pain and suffering in most cases, it may have inadvertently       is “evolving” even faster than I suspected. And it is
increased suffering in one particular case”). No one              obvious that, for some who oppose capital punishment
suggested that Louisiana was required to implement                on policy grounds, the only acceptable end point of
additional safeguards or alternative procedures in order          the evolution is for this Court, in an exercise of raw
to reduce the risk of a second malfunction. And it was            judicial power unsupported by the text or *105 history
the dissenters in Resweber who insisted that the absence          of the Constitution, or even by a contemporary moral
of an intent to inflict pain was irrelevant. 329 U.S., at         consensus, to strike down the death penalty as cruel and
477, 67 S.Ct. 374 (Burton, J., dissenting) (“The intent of        unusual in all circumstances. In the meantime, though,
the executioner cannot lessen the torture or excuse the           the next best option for those seeking to abolish the
result”).                                                         death penalty is to embroil the States in never-ending
                                                                  litigation concerning the adequacy of their execution
                                                                  procedures. But far from putting an end to abusive
                                                                  litigation in this area, and thereby vindicating in some
                           *104 IV
                                                                  small measure the States' “significant interest in meting
Aside from lacking support in history or precedent, the           out a sentence of death in a timely fashion,” Nelson v.
various risk-based standards proposed in this case suffer         Campbell, 541 U.S. 637, 644, 124 S.Ct. 2117, 158 L.Ed.2d
from other flaws, not the least of which is that they             924 (2004), today's decision is sure to engender more
cast substantial doubt on every method of execution               litigation. At what point does a risk become “substantial”?
other than lethal injection. It may well be that other            Which alternative procedures are “feasible” and “readily
methods of execution such as hanging, the firing squad,           implemented”? When is a reduction in risk “significant”?
electrocution, and lethal gas involve risks of pain that          What penological justifications are “legitimate”? Such are
could be eliminated by switching to lethal injection.             the questions the lower courts will have to grapple with in
Indeed, they have been attacked as unconstitutional for           the wake of today's decision. Needless to say, we have left
that very reason. See, e.g., Gomez v. United States Dist.         the States with nothing resembling a bright-line rule.
Court for Northern Dist. of Cal., 503 U.S. 653, 654, 656–
657, 112 S.Ct. 1652, 118 L.Ed.2d 293 (1992) (STEVENS,             Which brings me to yet a further problem with
J., dissenting) (arguing that lethal gas violates the Eighth      comparative-risk standards: They require courts to
Amendment because of “the availability of more humane             resolve medical and scientific controversies that are largely
and less violent methods of execution,” namely, lethal            beyond judicial ken. Little need be said here, other than



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to refer to the various opinions filed by my colleagues        nature from that resulting from other traditional modes
today. Under the competing risk standards advanced             of execution as to implicate the eighth amendment right’
by the plurality opinion and the dissent, for example,         ” (quoting Gray v. Lucas, 710 F.2d 1048, 1061 (C.A.5
the difference between a lethal injection procedure that       1983))); Hernandez v. State, 43 Ariz. 424, 441, 32 P.2d 18,
satisfies the Eighth Amendment and one that does not           25 (1934) (“The fact that [lethal gas] is less painful and
may well come down to one's judgment with respect to           more humane than hanging is all that is required to refute
something as hairsplitting as whether an eyelash stroke        completely the charge that it constitutes cruel and unusual
is necessary to ensure that the inmate is unconscious, or       *107 punishment within the meaning of this expression
whether instead other measures have already provided           as used in [the Eighth Amendment]”).
sufficient assurance of unconsciousness. Compare post,
at 1569 – 1570 (GINSBURG, J., dissenting) (criticizing
Kentucky's protocol because “[n]o one calls the inmate's
                                                                                            V
name, shakes him, brushes his eyelashes to test for
a reflex, or applies a noxious stimulus to gauge his           Judged under the proper standard, this is an easy
response”), with ante, at 1537 (rejecting the dissent's        case. It is undisputed that Kentucky adopted its lethal
criticisms because *106 “an inmate cannot succeed on           injection protocol in an effort to make capital punishment
an Eighth Amendment claim simply by showing one                more humane, not to add elements of terror, pain, or
more step the State could take as a failsafe for other,        disgrace to the death penalty. And it is undisputed
independently adequate measures”). We have neither the         that, if administered properly, Kentucky's lethal injection
authority nor the expertise to micromanage the States'         protocol will result in a swift and painless death.
administration of the death penalty in this manner. There      As the Sixth Circuit observed in rejecting a similar
is simply no reason to believe that “unelected” judges         challenge to Tennessee's lethal injection protocol, we “do
without scientific, medical, or penological training are any   not have a situation where the State has any intent
better suited to resolve the delicate issues surrounding       (or anything approaching intent) to inflict unnecessary
the administration of the death penalty than are state         pain; the complaint is that the State's pain-avoidance
administrative personnel specifically charged with the         procedure may fail because the executioners may make
task. Cf. ante, at 1545 (STEVENS, J., concurring in            a mistake in implementing it.” Workman v. Bredesen,
judgment) (criticizing the States' use of the three-drug       486 F.3d 896, 907 (2007). But “[t]he risk of negligence
protocol because “[i]n the majority of States that use the     in implementing a death-penalty procedure ... does not
three-drug protocol, the drugs were selected by unelected      establish a cognizable Eighth Amendment claim.” Id.,
department of correction officials with no specialized         at 907–908. Because Kentucky's lethal injection protocol
medical knowledge and without the benefit of expert            is designed to eliminate pain rather than to inflict it,
assistance or guidance”).                                      petitioners' challenge must fail. I accordingly concur in the
                                                               Court's judgment affirming the decision below.
 **1563 In short, I reject as both unprecedented and
unworkable any standard that would require the courts
to weigh the relative advantages and disadvantages of          Justice BREYER, concurring in the judgment.
different methods of execution or of different procedures      Assuming the lawfulness of the death penalty itself,
for implementing a given method of execution. To the           petitioners argue that Kentucky's method of execution,
extent that there is any comparative element to the            lethal injection, nonetheless constitutes a constitutionally
inquiry, it should be limited to whether the challenged        forbidden, “cruel and unusual punishmen[t].” U.S.
method inherently inflicts significantly more pain than        Const., Amdt. 8. In respect to how a court should review
traditional modes of execution such as hanging and the         such a claim, I agree with Justice GINSBURG. She
firing squad. See, e.g., Gray v. Lucas, 463 U.S. 1237, 1239–   highlights the relevant question, whether the method
1240, 104 S.Ct. 211, 77 L.Ed.2d 1453 (1983) (Burger, C.        creates an untoward, readily avoidable risk of inflicting
J., concurring in denial of certiorari) (rejecting an Eighth   severe and unnecessary suffering. Post, at 1572 (dissenting
Amendment challenge to lethal gas because the petitioner       opinion). I agree that the relevant factors—the “degree
had not shown that “ ‘the pain and terror resulting            of risk,” the “magnitude of pain,” and *108 the
from death by cyanide gas is so different in degree or         “availability of alternatives”—are interrelated and each



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must be considered. Post, at 1568. At the same time, I          other things, inadequate training may help explain the
believe that the legal merits of the kind of claim presented    results. Id., at 1414.
must inevitably turn not so much upon the wording of
an intermediate standard of review as upon facts and            The Lancet Study, however, may be seriously flawed.
evidence. And I cannot find, either in the record in this       In its September 24, 2005, issue, the Lancet published
case or in the literature on the subject, sufficient evidence   three responses. The first, by one of the initial referees,
that Kentucky's execution method poses the “significant         Jonathan I. Groner of Children's Hospital, Columbus,
and unnecessary risk of inflicting severe **1564 pain”          Ohio, claimed that a low level of thiopental in the
that petitioners assert. Brief for Petitioners 28.              bloodstream does not necessarily mean that an inadequate
                                                                dose was given, for, under circumstances likely common
In respect to the literature, I have examined the periodical    to lethal injections, thiopental can simply diffuse from
article that seems first to have brought widespread             the bloodstream into surrounding tissues. See Inadequate
legal attention to the claim that lethal injection might        Anaesthesia in Lethal Injection for Execution, 366 Lancet
bring about unnecessary suffering. See ante, at 1532,           1073. And a long pause between death and measurement
n. 2 (plurality opinion); Denno, The Lethal Injection           means that this kind of diffusion likely occurred. See
Quandary: How Medicine Has Dismantled the Death                 ibid. For this reason and others, Groner, who said he
Penalty, 76 Ford. L.Rev. 49, 105, n. 366 (2007) (collecting     had initially “expressed strong support for the article,”
cases in which condemned inmates cited the Lancet               had become “concerned” that its key finding “may be
study). The article, by Dr. Leonidas G. Koniaris,               erroneous because of a lack of equipoise in the study.”
Teresa A. Zimmers (of the University of Miami School            Ibid.
of Medicine), and others, appeared in the April 16,
2005, issue of the Lancet, an eminent, peer-reviewed            The second correspondents, Mark J.S. Heath (petitioners'
medical journal. See Koniaris, Zimmers, Lubarsky, &             expert in their trial below), Donald R. Stanski, and
Sheldon, Inadequate Anaesthesia in Lethal Injection for         Derrick J. Pounder, respectively of the Department
Execution, 365 Lancet 1412 (hereinafter Lancet Study).          of Anesthesiology, Columbia University, of Stanford
The authors examined “autopsy toxicology results from           University School of Medicine, and the University of
49 executions in Arizona, Georgia, North Carolina,              Dundee, United Kingdom, concluded that “Koniaris and
and South Carolina.” Id., at 1412–1413. The study               colleagues do not present scientifically convincing data
noted that lethal injection usually consists of sequential      to justify their conclusion that so large a proportion of
administration of a barbiturate (sodium thiopental),            inmates have experienced awareness *110 during lethal
followed by injection of a paralyzing agent (pancuronium        injection.” Ibid. These researchers noted that because the
bromide) and a heart-attack-inducing drug (potassium            blood samples were taken “several hours to days after” the
chloride). The study focused on the effectiveness of            inmates' **1565 deaths, the postmortem concentrations
the first drug in anesthetizing the inmate. See id., at         of thiopental—a lipophilic drug that diffuses from blood
1412. It noted that the four States used 2 grams of             into tissue—could not be relied on as accurate indicators
thiopental. Id., at 1413. (Kentucky follows a similar           for concentrations in the bloodstream during life. Ibid. See
system but currently uses 3 grams of sodium thiopental.         also ante, at 1532, n. 2 (plurality opinion).
See ante, at 1528 (plurality opinion).) Although the
sodium thiopental *109 dose (of, say, 2 grams) was              The third correspondents, Robyn S. Weisman, Jeffrey N.
several times the dose used in ordinary surgical operations,    Bernstein, and Richard S. Weisman, of the University
the authors found that the level of barbiturate present         of Miami, School of Medicine, and Florida Poison
in the bloodstream several hours (or more) after death          Information Center, said that “[p]ost-mortem drug
was lower than the level one might expect to find during        concentrations are extremely difficult to interpret and
an operation. Lancet Study 1413–1414. With certain              there is substantial variability in results depending on
qualifications, they state that “21 (43%)” of the examined      timing, anatomical origin of the specimen, and physical
instances “had [thiopental] concentrations consistent with      and chemical properties of the drug.” 366 Lancet, at 1074.
consciousness,”Id., at 1413—a fact that should create           They believed that the original finding “requires further
considerable concern given the related likelihood of            assessment.” Ibid.
unexpressed suffering. The authors suggest that, among



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The authors of the original study replied, defending the         51–57; Reply Brief for Petitioners 18, and n. 6. And
accuracy of their findings. See id., at 1074–1076. Yet,          they point out that use of pancuronium bromide to
neither the petition for certiorari nor any of the briefs        euthanize animals is contrary to veterinary standards.
filed in this Court (including seven amici curiae briefs         See id., at 20 (citing Brief for Dr. Kevin Concannon et
supporting petitioners) make any mention of the Lancet           al. as Amici Curiae 17–18). See also id., at 4, 18, n. 5
Study, which was published during petitioners' trial. In         (noting that Kentucky, like 22 other States, prohibits
light of that fact, and the responses to the original study, a   the use of neuromuscular blocking agents in euthanizing
judge, nonexpert in these matters, cannot give the Lancet        animals). **1566 In the Netherlands, however, the use
Study significant weight.                                        of pancuronium bromide is recommended for purposes of
                                                                 lawful assisted suicide. See ante, at 1535 – 1536 (plurality
The literature also contains a detailed article on the           opinion) (discussing the Royal Dutch Society for the
subject, which appeared in 2002 in the Ohio State Law            Advancement of Pharmacy's recommendation of the use
Journal. The author, Professor Deborah W. Denno,                 of a muscle relaxant *112 such as pancuronium in
examined executions by lethal injection in the 36 States         addition to thiopental). See also Kimsma, Euthanasia
where thiopental is used. See When Legislatures Delegate         and Euthanizing Drugs in The Netherlands, reprinted
Death: The Troubling Paradox Behind State Uses of                in Drug Use in Assisted Suicide and Euthanasia 193,
Electrocution and Lethal Injection and What It Says              199–202 (M. Battin & A. Lipman eds.1996) (discussing
About Us, 63 Ohio St. L.J. 63. In Table 9, the author lists      use of neuromuscular relaxants). Why, one might ask, if
31 “Botched Lethal Injection Executions” in the time from        the use of pancuronium bromide is undesirable, would
our decision in Gregg v. Georgia, 429 U.S. 1301, 96 S.Ct.        those in the Netherlands, interested in practices designed
3235, 50 L.Ed.2d 30 (1976), through 2001. See Denno,             to bring about a humane death, recommend the use of
63 Ohio St. L. J., at 139–141. Of these, 19 involved a           that, or similar, drugs? Petitioners pointed out that in
problem *111 of locating a suitable vein to administer the       the Netherlands, physicians trained in anesthesiology are
chemicals. Ibid. Eleven of the remaining twelve apparently       involved in assisted suicide, while that is not the case
involved strong, readily apparent physical reactions. Ibid.      in Kentucky. See Tr. of Oral Arg. 55. While important,
One, taking place in Illinois in 1990, is described as           that difference does not resolve the apparently conflicting
involving “some indication that, while appearing calm            views about the inherent propriety or impropriety of use
on the outside due to the paralyzing drugs, [the inmate]         of this drug to extinguish human life humanely.
suffered excruciating pain.” Id., at 139. The author
adds that “[t]here were reports of faulty equipment and          Similarly, petitioners argue for better trained personnel.
inexperienced personnel.” Ibid. This article, about which        But it is clear that both the American Medical Association
Professor Denno testified at petitioners' trial and on           (AMA) and the American Nursing Association (ANA)
which petitioners rely in this Court, may well provide           have rules of ethics that strongly oppose their members'
cause for concern about the administration of the lethal         participation in executions. See Brief for American
injection. But it cannot materially aid petitioners here.        Society of Anesthesiologists as Amicus Curiae 2–3 (citing
That is because, as far as the record here reveals, and          AMA, Code of Medical Ethics, Policy E–2.06 Capital
as the Kentucky courts found, Kentucky's use of trained          Punishment (2000), online at http://www.ama-assn.
phlebotomists and the presence of observers should               org/ama1/pub/upload/mm/369/e206capitalpunish.pdf (all
prevent the kind of “botched” executions that Denno's            Internet materials as visited Apr. 10, 2008, and available
Table 9 documents.                                               in Clerk of Court's case file)); ANA, Position Statement:
                                                                 Nurses' Participation in Capital Punishment (1994),
The literature also casts a shadow of uncertainty upon           online at http://nursingworld.org/MainMenuCategories/
the ready availability of some of the alternatives to            HealthcareandPolicyIssues/ANA          PositionStatements/
lethal execution methods. Petitioners argued to the trial        EthicsandHumanRights.aspx (noting that nurses'
court, for example, that Kentucky should eliminate the           participation in executions “is viewed as contrary
use of a paralytic agent, such as pancuronium bromide,           to the fundamental goals and ethical traditions of
which could, by preventing any outcry, mask suffering            the profession”). Cf. Ky.Rev.Stat. Ann. § 431.220(3)
an inmate might be experiencing because of inadequate            (West 2006) (Kentucky prohibiting a physician from
administration of the anesthetic. See Brief for Petitioners      participating in the “conduct of an execution,” except to



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certify the cause of death). And these facts suggest that         626. Use of pancuronium bromide and potassium chloride
finding better trained personnel may be more difficult            on a conscious inmate, the plurality recognizes, would be
than might, at first blush, appear.                               “constitutionally unacceptable.” Ante, at 1533.

 *113 Nor can I find in the record in this case any               The constitutionality of Kentucky's protocol therefore
stronger evidence in petitioners' favor than the literature       turns on whether inmates are adequately anesthetized
itself provides of an untoward, readily avoidable risk of         by the first drug in the protocol, sodium thiopental.
severe pain. Indeed, Justice GINSBURG has accepted                Kentucky's system is constitutional, the plurality states,
what I believe is petitioners' strongest claim, namely,           because “petitioners have not shown that the risk of an
Kentucky should require more thorough testing as to               inadequate dose of the first drug is substantial.” Ante,
unconsciousness. See post, at 1569 – 1572. In respect to          at 1533. I would not dispose of the case so swiftly given
this matter, however, I must agree with the plurality and         the character of the risk at stake. Kentucky's protocol
Justice STEVENS. The record provides too little reason to         lacks basic safeguards used by other States to confirm
believe that such measures, if adopted in Kentucky, would         that an inmate is unconscious before injection of the
make a significant difference.                                    second and third drugs. I would vacate and remand with
                                                                  instructions to consider whether Kentucky's omission of
The upshot is that I cannot find, either in the record            those safeguards poses an untoward, readily avoidable
or in the readily available literature that I have seen,          risk of inflicting severe and unnecessary pain.
sufficient grounds to believe that Kentucky's method of
lethal injection creates a significant risk of unnecessary
suffering. The death penalty itself, of course, brings with
                                                                                               I
it serious risks, for example, risks of executing the wrong
person, see, e.g., ante, at 1551 (STEVENS, J., concurring         The Court has considered the constitutionality of a
in judgment), risks that unwarranted animus (in respect,          specific method of execution on only three prior occasions.
e.g., to the race of victims) may play a role, see, e.g., ante,   Those cases, and other decisions cited by the parties and
at 1551, risks that those convicted will find themselves          amici, provide little guidance on the standard that should
on death row for many years, perhaps decades, to come,            govern petitioners' challenge to Kentucky's lethal injection
see Smith v. Arizona, 552 U.S. 1551, 128 S.Ct. 466, 169           protocol.
L.Ed.2d 326 (2007) (BREYER, J., dissenting from denial
of certiorari). These risks in part explain **1567 why            In Wilkerson v. Utah, 99 U.S. 130, 25 L.Ed. 345 (1879),
that penalty is so controversial. But the lawfulness of           the Court held that death by firing squad did not rank
the death penalty is not before us. And petitioners' proof        among the “cruel and unusual punishments” banned by
and evidence, while giving rise to legitimate concern, do         the Eighth Amendment. In so ruling, the Court did not
not show that Kentucky's method of applying the death             endeavor “to define with exactness the extent of the
penalty amounts to “cruel and unusual punishmen[t].”              constitutional provision which provides that cruel and
                                                                  unusual punishments shall not be inflicted.” Id., at 135–
For these reasons, I concur in the judgment.                      136. But it was “safe to affirm,” the Court stated, that
                                                                  “punishments of torture ..., and all others in the same line
                                                                  of unnecessary cruelty, are forbidden.” Id., at 136.
Justice GINSBURG, with whom Justice SOUTER joins,
dissenting.                                                        *115 Next, in In re Kemmler, 136 U.S. 436, 10 S.Ct.
It is undisputed that the second and third drugs                  930, 34 L.Ed. 519 (1890), death by electrocution was the
used in Kentucky's three-drug lethal injection protocol,          assailed method of execution. 1 The Court reiterated that
pancuronium bromide and potassium chloride, would                 the Eighth Amendment prohibits “torture” and “lingering
cause a conscious inmate to suffer excruciating pain.             death.” Id., at 447, 10 S.Ct. 930. The word “cruel,” the
Pancuronium bromide *114 paralyzes the lung muscles               Court further observed, “implies ... something inhuman ...
and results in slow asphyxiation. App. 435, 437, 625.             something more than the mere extinguishment of life.”
Potassium chloride causes burning and intense pain as it          Ibid. Those statements, however, were made en passant.
circulates throughout the body. Id., at 348, 427, 444, 600,        **1568 Kemmler's actual holding was that the Eighth


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Amendment does not apply to the States, id., at 448–449,       Petitioners respond that courts should consider “(a) the
             2
10 S.Ct. 930, a proposition we have since repudiated, see,     severity of pain risked, (b) the likelihood of that pain
e.g., Robinson v. California, 370 U.S. 660, 82 S.Ct. 1417, 8   occurring, and (c) the extent to which alternative means
L.Ed.2d 758 (1962).                                            are feasible.” Brief for Petitioners 38 (emphasis added).
                                                               The plurality settles somewhere in between, requiring
Finally, in Louisiana ex rel. Francis v. Resweber, 329         a “substantial risk of serious harm” and considering
U.S. 459, 67 S.Ct. 374, 91 L.Ed. 422 (1947), the Court         whether a “feasible, readily implemented” alternative can
rejected Eighth and Fourteenth Amendment challenges            “significantly reduce” that risk. Ante, at 1532 (internal
to a reelectrocution following an earlier attempt that         quotation marks omitted).
failed to cause death. The plurality opinion in that case
first stated: “The traditional humanity of modern Anglo–       I agree with petitioners and the plurality that the degree
American law forbids the infliction of unnecessary pain in     of risk, magnitude of pain, and availability of alternatives
the execution of the death sentence.” Id., at 463, 67 S.Ct.    must be considered. I part ways with the plurality,
374. But the very next sentence varied the formulation; it     however, to the extent its “substantial risk” test sets a
referred to the “[p]rohibition against the wanton infliction   fixed threshold for the first factor. The three factors
of pain.” Ibid.                                                are interrelated; a strong showing on one reduces the
                                                               importance of the others.
No clear standard for determining the constitutionality
of a method of execution emerges from these decisions.          **1569 *117 Lethal injection as a mode of execution
Moreover, the age of the opinions limits their utility as an   can be expected, in most instances, to result in painless
aid to resolution of the present controversy. The Eighth       death. Rare though errors may be, the consequences of a
Amendment, we have held, “ ‘must draw its meaning              mistake about the condemned inmate's consciousness are
from the evolving standards of decency that mark the           horrendous and effectively undetectable after injection of
progress of a *116 maturing society.’ ” Atkins v. Virginia,    the second drug. Given the opposing tugs of the degree
536 U.S. 304, 311–312, 122 S.Ct. 2242, 153 L.Ed.2d 335         of risk and magnitude of pain, the critical question here,
(2002) (quoting Trop v. Dulles, 356 U.S. 86, 101, 78 S.Ct.     as I see it, is whether a feasible alternative exists. Proof
590, 2 L.Ed.2d 630 (1958) (plurality opinion)). Wilkerson      of “a slightly or marginally safer alternative” is, as the
was decided 129 years ago, Kemmler 118 years ago, and          plurality notes, insufficient. Ante, at 1532. But if readily
Resweber 61 years ago. Whatever little light our prior         available measures can materially increase the likelihood
method-of-execution cases might shed is thus dimmed by         that the protocol will cause no pain, a State fails to adhere
the passage of time.                                           to contemporary standards of decency if it declines to
                                                               employ those measures.
Further phrases and tests can be drawn from more recent
decisions, for example, Gregg v. Georgia, 428 U.S. 153,
96 S.Ct. 2909, 49 L.Ed.2d 859 (1976). Speaking of capital                                   II
punishment in the abstract, the lead opinion said that
the Eighth Amendment prohibits “the unnecessary and            Kentucky's Legislature adopted lethal injection as a
wanton infliction of pain,” id., at 173, 96 S.Ct. 2909         method of execution in 1998. See 1998 Ky. Acts ch. 220,
(joint opinion of Stewart, Powell, and STEVENS, JJ.); the      p. 777, Ky.Rev.Stat. Ann. § 431.220(1)(a) (West 2006).
same opinion also cautioned that a death sentence cannot       Lawmakers left the development of the lethal injection
“be imposed under sentencing procedures that creat[e] a        protocol to officials in the Department of Corrections.
substantial risk that it would be inflicted in an arbitrary    Those officials, the trial court found, were “given the
and capricious manner,” id., at 188, 96 S.Ct. 2909.            task without the benefit of scientific aid or policy
                                                               oversight.” App. 768. “Kentucky's protocol,” that court
Relying on Gregg and our earlier decisions, the Kentucky       observed, “was copied from other states and accepted
Supreme Court stated that an execution procedure               without challenge.” Ibid. Kentucky “did not conduct any
violates the Eighth Amendment if it “creates a substantial     independent scientific or medical studies or consult any
risk of wanton and unnecessary infliction of pain, torture     medical professionals concerning the drugs and dosage
or lingering death.” 217 S.W.3d 207, 209, 210 (2006).          amounts to be injected into the condemned.” Id., at 760,



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¶3. Instead, the trial court noted, Kentucky followed the       id., at 579–580; ante, at 1533 (plurality opinion), but
path taken in other States that “simply fell in line” behind    would signal that the drug has *119 entered the inmate's
the three-drug protocol first developed by Oklahoma in          bloodstream, see App. 424, 498, 578, 580; 8 Tr. 1099 (May
1977. Id., at 756. See also ante, at 1532, n. 1 (plurality      2, 2005). Kentucky's own expert testified that the sodium
opinion).                                                       thiopental should “cause the inmate's blood pressure to
                                                                become very, very low,” App. 578, and that a precipitous
Kentucky's protocol begins with a careful measure: Only         drop in blood pressure would “confir[m]” that the drug
medical professionals may perform the venipunctures             was having its expected effect, id., at 580. Use of a blood
and establish intravenous (IV) access. Members of the           pressure cuff and EKG, the record shows, is the standard
IV team must have at least one year's experience                of care in surgery requiring anesthesia. Id., at 539. 3
as a certified medical *118 assistant, phlebotomist,
emergency medical technician (EMT), paramedic, or               A consciousness check supplementing the warden's visual
military corpsman. App. 984; ante, at 1534 (plurality           observation before injection of the second drug is
opinion). Kentucky's IV team currently has two members:         easily implemented and can reduce a risk of dreadful
a phlebotomist with 8 years' experience and an EMT              pain. Pancuronium bromide is a powerful paralytic that
with 20 years' experience. App. 273–274. Both members           prevents all voluntary muscle movement. Once it is
practice siting catheters at ten lethal injection training      injected, further monitoring of the inmate's consciousness
sessions held annually. Id., at 984.                            becomes impractical without sophisticated equipment
                                                                and training. Even if the inmate were conscious and in
Other than using qualified and trained personnel to
                                                                excruciating pain, there would be no visible indication. 4
establish IV access, however, Kentucky does little to
ensure that the inmate receives an effective dose of sodium
                                                                Recognizing the importance of a window between the first
thiopental. After siting the catheters, the IV team leaves
                                                                and second drugs, other States have adopted safeguards
the execution chamber. Id., at 977. From that point
                                                                not contained in Kentucky's protocol. See Brief for
forward, only the warden and deputy warden remain with
                                                                Criminal *120 Justice Legal Foundation as Amicus
the inmate. Id., at 276. Neither the warden nor the deputy
warden has any medical training.                                Curiae 19–23. 5 Florida pauses between injection of the
                                                                first and second drugs so the warden can “determine,
The warden relies on visual observation to determine            after consultation, that the inmate is indeed unconscious.”
whether the inmate “appears” unconscious. Id., at 978.          Lightbourne v. McCollum, 969 So.2d 326, 346 (Fla.2007)
In Kentucky's only previous execution by lethal injection,      (per curiam) (internal quotation marks omitted). The
the warden's position allowed him to see the inmate             warden does so by touching the inmate's eyelashes, calling
best from the waist down, with only a peripheral                his name, and shaking him. Id., at 347. 6 If the inmate's
view of the inmate's face. See id., at 213–214. No              consciousness **1571 remains in doubt in Florida, “the
other check for consciousness occurs before injection           medical team members will come out from the chemical
of pancuronium bromide. Kentucky's protocol does not            room and consult in the assessment of the inmate.” Ibid.
include an automatic pause in the “rapid flow” of the           During the entire execution, the person who inserted the
drugs, id., at 978, or any of the most basic tests to           IV line monitors the IV access point and the inmate's face
determine whether the sodium thiopental has worked.             on closed-circuit television. Ibid.
No one calls the inmate's name, shakes him, brushes his
eyelashes to test for a reflex, or applies a noxious stimulus   In Missouri, “medical personnel must examine the
to gauge his response.                                          prisoner physically to confirm that he is unconscious
                                                                using standard clinical techniques and must inspect the
 **1570 Nor does Kentucky monitor the effectiveness of          catheter site again.” Taylor v. Crawford, 487 F.3d 1072,
the sodium thiopental using readily available equipment,        1083 (C.A.8 2007). “The second and third chemicals
even though the inmate is already connected to an               are injected only after confirmation that the prisoner is
electrocardiogram (EKG), id., at 976. A drop in blood           unconscious and after a period of at least three minutes
pressure or heart rate after injection of sodium thiopental     has elapsed from the first injection of thiopental.” Ibid.
would not prove that the inmate is unconscious, see



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In California, a member of the IV team brushes the              First, Kentucky's use of pancuronium bromide to paralyze
inmate's eyelashes, speaks to him, and shakes him at the        the inmate means he will not be able to scream after the
halfway *121 point and, again, at the completion of             second drug is injected, no matter how much pain he
the sodium thiopental injection. See State of California,       is experiencing. Kentucky's argument, therefore, appears
San Quentin Operational Procedure No. 0–770, Execution          to rest on the assertion that sodium thiopental is itself
by Lethal Injection, § V(S)(4)(e) (2007), online at http://     painful **1572 when injected into tissue rather than a
www.cdcr.ca.gov/News/docs/RevisedProtocol. pdf.                 vein. See App. 601. The trial court made no finding on that
                                                                point, and Kentucky cites no supporting evidence from
In Alabama, a member of the execution team “begin[s]            executions in which it is known that sodium thiopental
by saying the condemned inmate's name. If there is              was injected into the inmate's soft tissue. See, e.g.,
no response, the team member will gently stroke the             Lightbourne, 969 So.2d, at 344 (describing execution of
condemned inmate's eyelashes. If there is no response,          Angel Diaz).
the team member will then pinch the condemned inmate's
arm.” Respondents' Opposition to Callahan's Application         Second, the inmate may receive enough sodium thiopental
for a Stay of Execution in Callahan v. Allen, O.T.2007, No.     to mask the most obvious signs of consciousness without
07A630, p. 3 (internal quotation marks omitted).                receiving a dose sufficient to achieve a surgical plane of
                                                                anesthesia. See 7 Tr. 976 (Apr. 21, 2005). If the drug is
In Indiana, officials inspect the injection site                injected too quickly, the increase in blood pressure can
after administration of sodium thiopental, say the              cause the inmate's veins to burst after a small amount
inmate's name, touch him, and use ammonia                       of sodium thiopental has been administered. Cf.App. 217
tablets to test his response to a noxious                       (describing risk of “blowout”). Kentucky's protocol does
nasal stimulus. See Tr. of Preliminary Injunction               not specify the rate at which sodium thiopental should
Hearing in 1:06–cv–1859 (SD Ind.), pp. 199–200,                 be injected. The executioner, who does not have any
online at http:// www.law.berkeley.edu/clinics/dpclinic/        medical training, pushes the drug “by feel” through five
LethalInjection/Public/MoralesTaylor    Amicus/20.pdf           feet of tubing. Id., at 284, 286–287. 8 In practice sessions,
(hereinafter Timberlake Hearing). 7                             unlike in an actual execution, there is no resistance on the
                                                                catheter, see id., at 285; thus the executioner's training may
These checks provide a degree of assurance—missing              lead him to push the drugs too fast.
from Kentucky's protocol—that the first drug has been
properly administered. They are simple and essentially           *123 “The easiest and most obvious way to ensure
costless to employ, yet work to lower the risk that             that an inmate is unconscious during an execution,”
the inmate will be subjected to the agony of conscious          petitioners argued to the Kentucky Supreme Court, “is to
suffocation caused by pancuronium bromide and the               check for consciousness prior to injecting pancuronium
searing pain caused by potassium chloride. The record           [bromide].” Brief for Appellants in No.2005–SC–00543,
contains no explanation why Kentucky does not take any          p. 41. See also App. 30, ¶105(j) (Complaint) (alleging
of these elementary measures.                                   Kentucky's protocol does not “require the execution team
                                                                to determine that the condemned inmate is unconscious
The risk that an error administering sodium thiopental          prior to administering the second and third chemicals”).
would go undetected is minimal, Kentucky urges, because         The court did not address petitioners' argument. I would
if the drug was mistakenly injected into the inmate's tissue,   therefore remand with instructions to consider whether
not a vein, he “would be awake and screaming.” Tr. of           the failure to include readily available safeguards to
Oral Arg. 30–31. See also Brief for Respondents 42; Brief       confirm that the inmate is unconscious after injection of
for *122 State of Texas et al. as Amici Curiae 26–27. That      sodium thiopental, in combination with the other elements
argument ignores aspects of Kentucky's protocol that            of Kentucky's protocol, creates an untoward, readily
render passive reliance on obvious signs of consciousness,      avoidable risk of inflicting severe and unnecessary pain.
such as screaming, inadequate to determine whether the
inmate is experiencing pain.




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Footnotes
*      The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions for the
       convenience of the reader. See United States v. Detroit Timber & Lumber Co., 200 U.S. 321, 337, 26 S.Ct. 282, 50
       L.Ed. 499.
1      Twenty-seven of the thirty-six States that currently provide for capital punishment require execution by lethal injection
       as the sole method. See Ariz.Rev.Stat. Ann. § 13–704 (West 2001); Ark.Code Ann. § 5–4–617 (2006); Colo.Rev.Stat.
       Ann. § 18–1.3–1202 (2007); Conn. Gen.Stat. § 54–100 (2007); Del.Code Ann., Tit. 11, § 4209 (2006 Supp.); Ga.Code
       Ann. § 17–10–38 (2004); Ill. Comp. Stat., ch. 725, § 5/119–5 (West 2006); Ind.Code § 35–38–6–1 (West 2004); Kan.
       Stat. Ann. § 22–4001 (2006 Cum.Supp.); Ky.Rev.Stat. Ann. § 431.220 (West 2006); La. Stat. Ann. § 15:569 (West 2005);
       Md.Crim. Law Code Ann. § 2–303 (Lexis Supp.2007); Miss.Code Ann. § 99–19–51 (2007); Mont.Code Ann. § 46–19–
       103 (2007); Nev.Rev.Stat. § 176.355 (2007); N.M. Stat. Ann. § 31–14–11 (2000); N.Y. Correc. Law Ann. § 658 (West
       2003) (held unconstitutional in People v. LaValle, 3 N.Y.3d 88, 130–131, 783 N.Y.S.2d 485, 817 N.E.2d 341, 367 (2004));
       N.C. Gen.Stat. Ann. § 15–187 (Lexis 2007); Ohio Rev.Code Ann. § 2949.22 (Lexis 2006); Okla. Stat., Tit. 22, § 1014
       (West 2001); Ore.Rev.Stat. § 137.473 (2003); Pa. Stat. Ann., Tit. 61, § 3004 (Purdon 1999); S.D. Codified Laws § 23A–
       27A–32 (Supp.2007); Tenn.Code Ann. § 40–23–114 (2006); Tex.Code Crim. Proc. Ann., Art. 43.14 (Vernon 2006 Supp.
       Pamphlet); Utah Code Ann. § 77–18–5.5 (Lexis Supp.2007); Wyo. Stat. Ann. § 7–13–904 (2007). Nine States allow for
       lethal injection in addition to an alternative method, such as electrocution, see Ala.Code §§ 15–18–82 to 82.1 (Supp.2007);
       Fla. Stat. § 922.105 (2006); S.C.Code Ann. § 24–3–530 (2007); Va.Code Ann. § 53.1–234 (Lexis Supp.2007), hanging,
       see N.H.Rev.Stat. Ann. § 630:5 (2007); Wash. Rev.Code § 10.95.180 (2006), lethal gas, see Cal.Penal Code Ann. §
       3604 (West 2000); Mo.Rev.Stat. § 546.720 (2007 Cum.Supp.), or firing squad, see Idaho Code § 19–2716 (Lexis 2004).
       Nebraska is the only State whose statutes specify electrocution as the sole method of execution, see Neb.Rev.Stat. §
       29–2532 (1995), but the Nebraska Supreme Court recently struck down that method under the Nebraska Constitution,
       see State v. Mata, 275 Neb. 1, 745 N.W.2d 229, 278 (2008).
          Although it is undisputed that the States using lethal injection adopted the protocol first developed by Oklahoma without
          significant independent review of the procedure, it is equally undisputed that, in moving to lethal injection, the States
          were motivated by a desire to find a more humane alternative to then-existing methods. See Fordham Brief 2–3. In this
          regard, Kentucky was no different. See id., at 29–30 (quoting statement by the State Representative who sponsored
          the bill to replace electrocution with lethal injection in Kentucky: “[I]f we are going to do capital punishment, it needs to
          be done in the most humane manner” (internal quotation marks omitted)).
2      The difficulties inherent in such approaches are exemplified by the controversy surrounding the study of lethal injection
       published in the April 2005 edition of the British medical journal the Lancet. After examining thiopental concentrations
       in toxicology reports based on blood samples drawn from 49 executed inmates, the study concluded that “most of the
       executed inmates had concentrations that would not be expected to produce a surgical plane of anaesthesia, and 21(43%)
       had concentrations consistent with consciousness.” Koniaris, Zimmers, Lubarsky, & Sheldon, Inadequate Anaesthesia in
       Lethal Injection for Execution, 365 Lancet 1412, 1412–1413. The study was widely cited around the country in motions to
       stay executions and briefs on the merits. See, e.g., Denno, The Lethal Injection Quandary: How Medicine Has Dismantled
       the Death Penalty, 76 Ford. L.Rev. 49, 105, n. 366 (2007) (collecting cases in which claimants cited the Lancet study).
       But shortly after the Lancet study appeared, peer responses by seven medical researchers criticized the methodology
       supporting the original conclusions. See Groner, Inadequate Anaesthesia in Lethal Injection for Execution, 366 Lancet
       1073–1074 (Sept.2005). These researchers noted that because the blood samples were taken “several hours to days
       after” the inmates' deaths, the postmortem concentrations of thiopental—a fat-soluble compound that passively diffuses
       from blood into tissue—could not be relied on as accurate indicators for concentrations during life. Id., at 1073. The
       authors of the original study responded to defend their methodology. Id., at 1074–1076. See also post, at 1564 – 1565
       (BREYER, J., concurring in judgment).




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          We do not purport to take sides in this dispute. We cite it only to confirm that a “best practices” approach, calling for
          the weighing of relative risks without some measure of deference to a State's choice of execution procedures, would
          involve the courts in debatable matters far exceeding their expertise.
3      Justice THOMAS agrees that courts have neither the authority nor the expertise to function as boards of inquiry
       determining best practices for executions, see post, at 1560 (opinion concurring in judgment) (quoting this opinion);
       post, at 1562, but contends that the standard we adopt inevitably poses such concerns. In our view, those concerns are
       effectively addressed by the threshold requirement reflected in our cases of a “ ‘substantial risk of serious harm’ ” or an “
       ‘objectively intolerable risk of harm,’ ” see supra, at 1561, and by the substantive requirements in the articulated standard.
4      Petitioners did allude to an “alternative chemical or combination of chemicals” that could replace Kentucky's three-drug
       protocol in their post-trial brief, see App. 684, but based on the arguments presented there, it is clear they intended to
       refer only to other, allegedly less painful drugs that could substitute for potassium chloride as a heart-stopping agent,
       see id., at 701. Likewise, the only alternatives to the three-drug protocol presented to the Kentucky Supreme Court were
       those that replaced potassium chloride with other drugs for inducing cardiac arrest, or that omitted pancuronium bromide,
       or that added an analgesic to relieve pain. See Brief for Appellants in No.2005–SC–00543, pp. 38, 39, 40.
5      Justice STEVENS's conclusion that the risk addressed by pancuronium bromide is “vastly outweighed” by the risk of pain
       at issue here, see post, at 1544 (opinion concurring in judgment), depends, of course, on the magnitude of the risk of
       such pain. As explained, that risk is insignificant in light of the safeguards Kentucky has adopted.
6      Resisting this point, the dissent rejects the expert testimony that problems with the IV administration of sodium thiopental
       would be obvious, see post, at 1571 – 1572, testimony based not only on the pain that would result from injecting the
       first drug into tissue rather than the vein, see App. 600–601, but also on the swelling that would occur, see id., at 353.
       See also id., at 385–386. Neither of these expert conclusions was disputed below.
7      We do not agree with Justice STEVENS that anything in our opinion undermines or remotely addresses the validity
       of capital punishment. See post, at 1538. The fact that society has moved to progressively more humane methods of
       execution does not suggest that capital punishment itself no longer serves valid purposes; we would not have supposed
       that the case for capital punishment was stronger when it was imposed predominantly by hanging or electrocution.
*      In making this recommendation, he states that “[t]here is a general understanding among veterinarians that the risk of
       pain is sufficiently serious that the use of [this] drug should be proscribed when an animal's life is being terminated.” Post,
       at 1543. But the American Veterinary Medical Association (AVMA) guidelines take pains to point out that they should not
       be interpreted as commenting on the execution of humans by lethal injection. AVMA, Guidelines on Euthanasia (June
       2007), online at http://avma.org/issues/ animal_welfare/euthanasia.pdf.
1      The 2000 Report of the American Veterinary Medical Association (AVMA) Panel on Euthanasia stated that a “combination
       of pentobarbital with a neuromuscular blocking agent is not an acceptable euthanasia agent.” 218 J. Am. Veterinary Med.
       Assn. 669, 680 (2001). In a 2006 supplemental statement, however, the AVMA clarified that this statement was intended
       as a recommendation against mixing a barbiturate and neuromuscular blocking agent in the same syringe, since such
       practice creates the possibility that the paralytic will take effect before the barbiturate, rendering the animal paralyzed
       while still conscious. The 2007 AVMA Guidelines on Euthanasia plainly state that the application of a barbiturate,
       paralyzing agent, and potassium chloride delivered in separate syringes or stages is not discussed in the report. Several
       veterinarians, however, have filed an amici brief in this case arguing that the three-drug cocktail fails to measure up to
       veterinary standards and that the use of pancuronium bromide should be prohibited. See Brief for Dr. Kevin Concannon
       et al. as Amici Curiae 16–18. The Humane Society has also declared “inhumane” the use of “any combination of
       sodium pentobarbital with a neuromuscular blocking agent.” R. Rhoades, The Humane Society of the United States,
       Euthanasia Training Manual 133 (2002); see also Alper, Anesthetizing the Public Conscience: Lethal Injection and Animal
       Euthanasia, 35 Ford. Urb. L.J. 817, 840 (2008) (concluding, based on a comprehensive study of animal euthanasia
       laws and regulations, that “the field of animal euthanasia has reached a unanimous consensus that neuromuscular
       blocking agents like pancuronium have no legitimate place in the execution process”), online at http://papers.ssrn.com/
       sol3/papers.cfm?abstract_id=1109258 (all Internet materials as visited Apr. 10, 2008, and available in Clerk of Court's
       case file).
2      See also, e.g., Fla. Stat. § 828.058(3) (2006) (“[A]ny substance which acts as a neuromuscular blocking agent ... may not
       be used on a dog or cat for any purpose”); N.J. Stat. Ann. § 4:22–19.3 (West 1998) (“Whenever any dog, cat, or any other
       domestic animal is to be destroyed, the use of succinylcholine chloride, curare, curariform drugs, or any other substance
       which acts as a neuromuscular blocking agent is prohibited”); N.Y. Agric. & Mkts. Law Ann. § 374(2–b) (West 2004) (“No
       person shall euthanize any dog or cat with T–61, curare, any curariform drug, any neuro-muscular blocking agent or any
       other paralyzing drug”); Tenn.Code Ann. § 44–17–303(c) (2007) (“Succinylcholine chloride, curare, curariform mixtures ...



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       or any substance that acts as a neuromuscular blocking agent ... may not be used on any non-livestock animal for the
       purpose of euthanasia”). According to a recent study, not a single State sanctions the use of a paralytic agent in the
       administration of animal euthanasia, 9 States explicitly ban the use of such drugs, 13 others ban it by implication—i.e., by
       mandating the use of nonparalytic drugs, 12 arguably ban it by reference to the AVMA guidelines, and 8 others express
       a strong preference for use of nonparalytic drugs. Alper, supra, at 841 – 842, and App. I to Alper, supra, at 853.
3      Indeed, the decision by prison administrators to use the drug on humans for aesthetic reasons is not supported by
       any consensus of medical professionals. To the contrary, the medical community has considered—and rejected—this
       aesthetic rationale for administering neuromuscular blocking agents in end-of-life care for terminally ill patients whose
       families may be disturbed by involuntary movements that are misperceived as signs of pain or discomfort. As explained in
       an amici curiae brief submitted by critical care providers and clinical ethicists, the medical and medical ethics communities
       have rejected this rationale because there is a danger that such drugs will mask signs that the patient is actually in pain.
       See Brief for Critical Care Providers et al. as Amici Curiae.
4      Of the 35 state statutes providing for execution by lethal injection, only approximately one-third specifically approve the
       use of a chemical paralytic agent. See Ark.Code Ann. § 5–4–617 (2006); Idaho Code § 19–2716 (Lexis 2004); Ill. Comp.
       Stat., ch. 725, § 5/119–5 (West 2006); Md.Crim. Law Code Ann. § 2–303 (Lexis Supp.2007); Miss.Code Ann. § 99–19–
       51 (2007); Mont.Code Ann. § 46–19–103 (2007); N.H.Rev.Stat. Ann. § 630:5 (2007); N.M. Stat. Ann. § 31–14–11 (2000);
       N.C. Gen.Stat. Ann. § 15–187 (Lexis 2007); Okla. Stat., Tit. 22, § 1014 (West 2001); Ore.Rev.Stat. § 137.473 (2003);
       Pa. Stat. Ann., Tit. 61, § 3004 (Purdon 1999); Wyo. Stat. Ann. § 7–13–904 (2007). Twenty of the remaining States do not
       specify any particular drugs. See Ariz.Rev.Stat. Ann. § 13–704 (West 2001); Cal.Penal Code Ann. § 3604 (West 2000);
       Conn. Gen.Stat. § 54–100 (2007); Del.Code Ann., Tit. 11, § 4209 (2006 Supp.); Fla. Stat. § 922.105 (2006); Ga.Code Ann.
       § 17–10–38 (2004); Ind.Code § 35–38–6–1 (West 2004); Kan. Stat. Ann. § 22–4001 (2006 Cum.Supp.); Ky.Rev.Stat. Ann.
       § 431.220 (West 2006); La. Stat. Ann. § 15:569 (West 2005); Mo.Rev.Stat. § 546.720 (2007 Cum.Supp.); Nev.Rev.Stat.
       § 176.355 (2007); Ohio Rev.Code Ann. § 2949.22 (Lexis 2006); S.C.Code Ann. § 24–3–530 (2007); S.D. Codified Laws
       § 23A–27A–32 (Supp.2007); Tenn.Code Ann. § 40–23–114 (2006); Tex.Code Crim. Proc. Ann., Art. 43.14 (Vernon 2006
       Supp. Pamphlet); Utah Code Ann. § 77–18–5.5 (Lexis Supp.2007); Va.Code Ann. § 53.1–234 (Lexis Supp.2007); Wash.
       Rev.Code § 10.95.180 (2006).
5      Colorado's statute provides for “a continuous intravenous injection of a lethal quantity of sodium thiopental or other equally
       or more effective substance sufficient to cause death.” § 18–1.3–1202. Despite the fact that the statute specifies only
       sodium thiopental, it appears that Colorado uses the same three drugs as other States. See Denno, The Lethal Injection
       Quandary: How Medicine Has Dismantled the Death Penalty, 76 Ford. L.Rev. 49, 97, and n. 322 (2007).
6      Notably, the Oklahoma medical examiner who devised the protocol has disavowed the use of pancuronium bromide.
       When asked in a recent interview why he included it in his formula, he responded: “ ‘It's a good question. If I were doing
       it now, I would probably eliminate it.’ ” E. Cohen, Lethal injection creator: Maybe it's time to change formula, online at
       http://www.cnn.com/2007/HEALTH/04/30/lethal.injection/ index.html.
7      Officials of the DOC had before them an advisory paper submitted by a group of New York doctors recommending sodium
       thiopental “ ‘without the addition of other drugs,’ ” and the supervisor of the health services unit was informed in a memo
       from a colleague that pancuronium bromide “ ‘will cause paralysis of the vocal chords and stop breathing, and hence
       could cause death by asphyxiation.’ ” Edwards, 170 N.J.L. J., at 673.
8      Further, concerns about this issue may have played a role in New Jersey's subsequent decisions to create a New Jersey
       Death Penalty Study Commission in 2006, and ultimately to abolish the death penalty in 2007.
9      For similar reasons, States may also be well advised to reconsider the sufficiency of their procedures for checking the
       inmate's consciousness. See post, at 1569 (GINSBURG, J., dissenting).
          Justice ALITO correctly points out that the Royal Dutch Society for the Advancement of Pharmacy recommends
          pancuronium bromide “as the second of the two drugs to be used in cases of euthanasia.” Ante, at 1541 (concurring
          opinion). In the Netherlands, however, physicians with training in anesthesiology are involved in assisted suicide. For
          reasons Justice ALITO details, see ante, at 1539 – 1540, physicians have no similar role in American executions.
          When trained medical personnel administer anesthesia and monitor the individual's anesthetic depth, the serious risks
          that concern me are not presented.
10     Forty-eight States now have some form of life imprisonment without parole, with the majority of statutes enacted within
       the last two decades. See Note, A Matter of Life and Death: The Effect of Life–Without–Parole Statutes on Capital
       Punishment, 119 Harv. L.Rev. 1838, 1839, 1841–1844 (2006).
11     See R. Dieter, Sentencing for Life: Americans Embrace Alternatives to the Death Penalty (Apr.1993), online at http://
       www.death penaltyinfo. org/article.php?scid=45 & did=481.



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12     In one study, potential capital jurors in Virginia stated that knowing about the existence of statutes providing for life without
       the possibility of parole would significantly influence their sentencing decision. In another study, a significant majority of
       potential capital jurors in Georgia said they would be more likely to select a life sentence over a death sentence if they
       knew that the defendant would be ineligible for parole for at least 25 years. See Note, 119 Harv. L.Rev., at 1845. Indeed,
       this insight drove our decision in Simmons v. South Carolina, 512 U.S. 154, 114 S.Ct. 2187, 129 L.Ed.2d 133 (1994),
       that capital defendants have a due process right to require that their sentencing juries be informed of their ineligibility
       for parole.
13     Admittedly, there has been a recent surge in scholarship asserting the deterrent effect of the death penalty, see, e.g.,
       Mocan & Gittings, Getting Off Death Row: Commuted Sentences and the Deterrent Effect of Capital Punishment, 46
       J. Law & Econ. 453 (2003); Adler & Summers, Capital Punishment Works, Wall Street Journal, Nov. 2, 2007, p. A13,
       but there has been an equal, if not greater, amount of scholarship criticizing the methodologies of those studies and
       questioning the results, see, e.g., Fagan, Death and Deterrence Redux: Science, Law and Causal Reasoning on Capital
       Punishment, 4 Ohio St. J.Crim. L. 255 (2006); Donohue & Wolfers, Uses and Abuses of Empirical Evidence in the Death
       Penalty Debate, 58 Stan. L.Rev. 791 (2005).
14     Retribution is the most common basis of support for the death penalty. A recent study found that 37% of death penalty
       supporters cited “[a]n eye for an eye/they took a life/fits the crime” as their reason for supporting capital punishment.
       Another 13% cited “They deserve it.” The next most common reasons—“[s]av[ing] taxpayers money/cost associated
       with prison” and deterrence—were each cited by 11% of supporters. See Dept. of Justice, Bureau of Justice Statistics,
       Sourcebook of Criminal Justice Statistics 147 (2003) (Table 2.55), online at http://www.albany. edu/sourcebook/pdf/
       t255.pdf.
15     For example, family members of victims of the Oklahoma City bombing called for the Government to “ ‘put [Timothy
       McVeigh] inside a bomb and blow it up.’ ” Walsh, One Arraigned, Two Undergo Questioning, Washington Post, Apr. 22,
       1995, pp. A1, A13. Commentators at the time noted that an overwhelming percentage of Americans felt that executing
       McVeigh was not enough. Lindner, A Political Verdict: McVeigh: When Death Is Not Enough, L.A. Times, June 8, 1997,
       p. M1.
16     For example, one survivor of the Oklahoma City bombing expressed a belief that “ ‘death by [lethal] injection [was] “too
       good” for McVeigh.’ ” A. Sarat, When the State Kills: Capital Punishment and the American Condition 64 (2001). Similarly,
       one mother, when told that her child's killer would die by lethal injection, asked: “Do they feel anything? Do they hurt? Is
       there any pain? Very humane compared to what they've done to our children. The torture they've put our kids through. I
       think sometimes it's too easy. They ought to feel something. If it's fire burning all the way through their body or whatever.
       There ought to be some little sense of pain to it.” Id., at 60 (emphasis deleted).
17     For a discussion of the financial costs as well as some of the less tangible costs of the death penalty, see Kozinski &
       Gallagher, Death: The Ultimate Run–On Sentence, 46 Case W. Res. L.Rev. 1 (1995) (discussing, inter alia, the burden on
       the courts and the lack of finality for victim's families). Although a lack of finality in death cases may seem counterintuitive,
       Kozinski and Gallagher explain:
          “Death cases raise many more issues, and more complex issues, than other criminal cases, and they are attacked
          with more gusto and reviewed with more vigor in the courts. This means there is a strong possibility that the conviction
          or sentence will be reconsidered—seriously reconsidered—five, ten, twenty years after the trial. ... One has to wonder
          and worry about the effect this has on the families of the victims, who have to live with the possibility—and often the
          reality—of retrials, evidentiary hearings, and last-minute stays of execution for decades after the crime.” Id., at 17–
          18 (footnotes omitted).
          Thus, they conclude that “we are left in limbo, with machinery that is immensely expensive, that chokes our legal
          institutions so they are impeded from doing all the other things a society expects from its courts, [and] that visits
          repeated trauma on victims' families ... .” Id., at 27–28; see also Block, A Slow Death, N.Y. Times, Mar. 15, 2007, p.
          A27 (discussing the “enormous costs and burdens to the judicial system” resulting from the death penalty).
          Some argue that these costs are the consequence of judicial insistence on unnecessarily elaborate and lengthy
          appellate procedures. To the contrary, they result “in large part from the States' failure to apply constitutionally sufficient
          procedures at the time of initial [conviction or] sentencing.” Knight v. Florida, 528 U.S. 990, 998, 120 S.Ct. 459, 145
          L.Ed.2d 370 (1999) (BREYER, J., dissenting from denial of certiorari). They may also result from a general reluctance
          by States to put large numbers of defendants to death, even after a sentence of death is imposed. Cf. Tempest, Death
          Row Often Means a Long Life; California Condemns Many Murderers, but Few Are Ever Executed, L.A. Times, Mar. 6,
          2005, p. B1 (noting that California death row inmates account for about 20% of the Nation's total death row population,
          but that the State accounts for only 1% of the Nation's executions). In any event, they are most certainly not the fault of



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          judges who do nothing more than ensure compliance with constitutional guarantees prior to imposing the irrevocable
          punishment of death.
18     See Uttecht v. Brown, 551 U.S. 1, 35, 127 S.Ct. 2218, 2238–2239, 167 L.Ed.2d 1014 (2007) (STEVENS, J., dissenting)
       (explaining that “[m]illions of Americans oppose the death penalty,” and that “[a] cross section of virtually every community
       in the country includes citizens who firmly believe the death penalty is unjust but who nevertheless are qualified to serve
       as jurors in capital cases”).
19     Not a single Justice in Furman concluded that the mention of deprivation of “life” in the Fifth and Fourteenth Amendments
       insulated the death penalty from constitutional challenge. The five Justices who concurred in the judgment necessarily
       rejected this argument, and even the four dissenters, who explicitly acknowledged that the death penalty was not
       considered impermissibly cruel at the time of the framing, proceeded to evaluate whether anything had changed in the
       intervening 181 years that nevertheless rendered capital punishment unconstitutional. Furman, 408 U.S., at 380–384,
       92 S.Ct. 2726 (Burger, C.J., joined by Blackmun, Powell, and Rehnquist, JJ., dissenting); see also id., at 420, 92 S.Ct.
       2726 (Powell, J., joined by Burger, C.J., and Blackmun and Rehnquist, JJ., dissenting). (“Nor are ‘cruel and unusual
       punishments' and ‘due process of law’ static concepts whose meaning and scope were sealed at the time of their writing”).
       And indeed, the guarantees of procedural fairness contained in the Fifth and Fourteenth Amendments do not resolve the
       substantive questions relating to the separate limitations imposed by the Eighth Amendment.
*      As gruesome as these methods of execution were, they were not the worst punishments the Framers would have been
       acquainted with. After surveying the various “superadd[itions]” to the death penalty in English law, as well as lesser
       punishments such as “mutilation or dismembering, by cutting off the hand or ears” and stigmatizing the offender “by slitting
       the nostrils, or branding in the hand or cheek,” Blackstone was able to congratulate his countrymen on their refinement,
       in contrast to the barbarism on the Continent: “Disgusting as this catalogue may seem, it will afford pleasure to an English
       reader, and do honor to the English law, to compare it with that shocking apparatus of death and torment to be met with
       in the criminal codes of almost every other nation in Europe.” 4 Blackstone 377.
1      Hanging was the State's prior mode of execution. Electrocution, considered “less barbarous,” indeed “the most humane”
       way to administer the death penalty, was believed at the time to “result in instantaneous, and consequently in painless,
       death.” In re Kemmler, 136 U.S. 436, 443–444, 10 S.Ct. 930, 34 L.Ed. 519 (1890) (internal quotation marks omitted).
2      The Court also ruled in Kemmler that the State's election to carry out the death penalty by electrocution in lieu of hanging
       encountered no Fourteenth Amendment shoal: No privilege or immunity of United States citizenship was entailed, nor
       did the Court discern any deprivation of due process. Id., at 448–449, 10 S.Ct. 930.
3      The plurality deems medical standards irrelevant in part because “drawn from a different context.” Ante, at 1536. Medical
       professionals monitor blood pressure and heart rate, however, not just to save lives, but also to reduce the risk of
       consciousness during otherwise painful procedures. Considering that the constitutionality of Kentucky's protocol depends
       on guarding against the same risk, see supra, at 1526; ante, at 1533 (plurality opinion), the plurality's reluctance to
       consider medical practice is puzzling. No one is advocating the wholesale incorporation of medical standards into the
       Eighth Amendment. But Kentucky could easily monitor the inmate's blood pressure and heart rate without physician
       involvement. That medical professionals consider such monitoring important enough to make it the standard of care in
       medical practice, I remain persuaded, is highly instructive.
4      Petitioners' expert testified that a layperson could not tell from visual observation if a paralyzed inmate was conscious
       and that doing so would be difficult even for a professional. App. 418. Kentucky's warden candidly admitted: “I honestly
       don't know what you'd look for.” Id., at 283.
5      Because most death penalty States keep their protocols secret, a comprehensive survey of other States' practices is not
       available. See Brief for American Civil Liberties Union et al. as Amici Curiae 6–12.
6      Florida's expert in Lightbourne v. McCollum, 969 So.2d 326 (Fla.2007) (per curiam), who also served as Kentucky's expert
       in this case, testified that the eyelash test is “probably the most common first assessment that we use in the operating
       room to determine ... when a patient might have crossed the line from being conscious to unconscious.” 4 Tr. in State v.
       Lightbourne, No. 81–170–CF (Fla. Cir. Ct., Marion Cty.), p. 511, online at http://www.cjlf.org/files/ LightbourneRecord.pdf
       (all Internet materials as visited Apr. 14, 2008, and in Clerk of Court's case file). “A conscious person, if you touch their
       eyelashes very lightly, will blink; an unconscious person typically will not.” Ibid. The shaking and name-calling tests, he
       further testified, are similar to those taught in basic life support courses. See id., at 512.
7      In Indiana, a physician also examines the inmate after injection of the first drug. Timberlake Hearing 199.
8      The length of the tubing contributes to the risk that the inmate will receive an inadequate dose of sodium thiopental.
       The warden and deputy warden watch for obvious leaks in the execution chamber, see ante, at 1528 – 1530 (plurality
       opinion), but the line also snakes into the neighboring control room through a small hole in the wall, App. 280.



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                                                                [2]   Injunction
                      777 F.3d 286                                         Grounds in general; multiple factors
             United States Court of Appeals,
                                                                      To be entitled to preliminary injunction,
                      Fifth Circuit.
                                                                      movant must establish (1) likelihood of
      Robert Charles LADD, Plaintiff–Appellant                        success on merits; (2) substantial threat of
                           v.                                         irreparable injury; (3) that threatened injury if
                                                                      injunction is denied outweighs any harm that
    Brad LIVINGSTON, Executive Director, Texas
                                                                      will result if injunction is granted; and (4) that
  Department of Criminal Justice; William Stephens,
                                                                      grant of injunction will not disserve public
   Director, Texas Department of Criminal Justice,
                                                                      interest.
   Correctional Institutions Division; James Jones,
  Senior Warden, Huntsville Unit Huntsville, Texas;                   5 Cases that cite this headnote
   Unknown Executioners, Defendants–Appellees.
                                                                [3]   Sentencing and Punishment
                       No. 15–70004.
                                                                          Mode of execution
                              |
                       Jan. 28, 2015.                                 Plaintiff challenging state's method of
                                                                      execution can succeed on Eighth Amendment
Synopsis                                                              claim only if he can establish both that state's
Background: State inmate who was convicted of capital                 execution protocol creates demonstrated risk
murder and sentenced to death, 3 S.W.3d 547, filed § 1983             of severe pain and that that risk is substantial
action alleging that Texas's method of execution would                when compared to known and available
violate his constitutional rights. The United States District         alternatives. U.S.C.A. Const.Amend. 8.
Court for the Southern District of Texas, John D. Rainey,
J., denied inmate's motion for preliminary injunction or              2 Cases that cite this headnote
temporary restraining order, and he appealed.
                                                                [4]   Civil Rights
                                                                           Criminal law enforcement; prisons
[Holding:] The Court of Appeals, Patrick E.                           Death row inmate failed to establish
Higginbotham, Circuit Judge, held that inmate filed                   likelihood that Texas's execution protocol,
to establish likelihood that execution protocol violated              which involved pentobarbital, would cause
Eighth Amendment.                                                     him severe pain, in violation of Eighth
                                                                      Amendment, and thus was not entitled
                                                                      to preliminary injunction in his § 1983
Affirmed.                                                             action challenging protocol, despite inmate's
                                                                      contentions that compounded drugs were
                                                                      unregulated and subject to quality and
 West Headnotes (4)                                                   efficacy problems, and that executions
                                                                      conducted in other states caused or appeared
                                                                      to cause prisoner severe pain, where state
 [1]    Federal Courts                                                put forward evidence that pentobarbital
             Preliminary injunction; temporary                        that would be used was not contaminated,
        restraining order                                             and other states used multi-drug protocols.
        Court of Appeals reviews denial of motion                     U.S.C.A. Const.Amend. 8; 42 U.S.C.A. §
        for preliminary injunctive relief for abuse of                1983.
        discretion.
                                                                      3 Cases that cite this headnote
        2 Cases that cite this headnote




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                                                               the punishment phase of the trial. 3 The district court

Attorneys and Law Firms                                        denied habeas relief and we affirmed. 4

*287 Maurie Levin, Philadelphia, PA, Patrick F.                In 2002, the Supreme Court, in Atkins v. Virginia,
McCann, Law Offices of Patrick F. McCann, Houston,             altered the capital punishment landscape by holding
TX, for Plaintiff–Appellant.                                   that individuals who are intellectually disabled are
                                                               categorically ineligible for the death penalty. 5 Following
Fredericka Searle Sargent, Assistant Attorney General,
                                                               this decision, Ladd filed a second petition for state habeas
Office of the Attorney General, Austin, TX, for
                                                               relief, which was denied without an evidentiary hearing
Defendants–Appellees.
                                                               or an opportunity for him to develop his Atkins claim. 6
Appeal from the United States District Court for the           We authorized the filing of a second habeas petition in the
Southern District of Texas.                                    district court. After holding an evidentiary hearing, the
                                                               district court denied Ladd's petition, concluding that he
Before HIGGINBOTHAM, DAVIS, and HAYNES,
                                                               had failed to establish by a preponderance of the evidence
Circuit Judges.
                                                               that he was intellectually disabled. 7 We affirmed. 8 *288
Opinion                                                        The Supreme Court denied Ladd's petition for a writ of
                                                               certiorari on October 6, 2014. 9
PATRICK E. HIGGINBOTHAM, Circuit Judge:

Robert Charles Ladd was convicted of capital murder and        On January 23, 2015, the Supreme Court granted
sentenced to death. He is scheduled to be executed by the      certiorari in Glossip v. Gross, 10 a Tenth Circuit case
State of Texas on January 29, 2015. On January 27, 2015,       that upheld the constitutionality of Oklahoma's execution
after the Supreme Court granted certiorari in Glossip v.       process, which involves a three-drug protocol: midazolam
Gross, Ladd filed a section 1983 lawsuit alleging that the     hydrochloride, pancuronium bromide, and potassium
state's method of execution would violate his Eighth and       chloride. 11 Four days later, on January 27, 2015, Ladd
Fourteenth Amendment rights. The district court denied
                                                               filed a complaint in federal district court 12 under 42
his motion for a preliminary injunction or temporary
                                                               U.S.C. § 1983, alleging that the method of his execution
restraining order. Compelled by our court's precedent, we
                                                               violated his rights under the Eighth and Fourteenth
AFFIRM.
                                                               Amendments. 13 He sought a temporary or preliminary
                                                               injunction to stay his execution. The district court denied
                                                               the motion for injunctive relief on January 27, 2015. 14
                             I.
                                                               Ladd appeals. 15
This case has a complex factual and procedural
background, which we laid out in detail in our earlier
opinion affirming the district court's denial of habeas
                                                                                            II.
relief. 1 We briefly summarize here.

On August 23, 1997, Ladd was convicted of capital murder                                    A.
for the rape and murder of Vicki Ann Garner. A Texas
                                                               [1]   [2]   We review the denial of a motion for preliminary
state jury imposed the death penalty four days later.
The Texas Court of Criminal Appeals affirmed Ladd's            injunctive relief for abuse of discretion. 16
sentence and conviction on direct appeal in October
1999. 2 After unsuccessfully seeking state habeas relief,        To be entitled to a preliminary injunction, a movant
he filed his first application for federal habeas relief         must establish (1) a likelihood of success on the merits;
on January 18, 2001, raising a claim that he received            (2) a substantial threat of irreparable injury; (3) that the
ineffective assistance of counsel because his attorney had       threatened injury if the injunction is denied outweighs
not raised evidence of Ladd's intellectual disability during     any harm that will result if the injunction is granted; and


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  (4) that the grant of an injunction will not disserve the     precedent requires Ladd to “offer some proof that the
  public interest.17                                            state's own process—that its choice of pharmacy, that its
We are also mindful of the Supreme Court's admonition           lab results, that the training of its executioners, and so
that “[f]iling an action that can proceed under [section]       forth, are suspect.” 26 “[H]ypothetical possibilities that
1983 does not entitle the complainant to an order staying       the process was defective” are not enough for a stay, 27
                                        18
the execution as a matter of course.”       Rather, “equity     and here, Ladd puts forth only hypotheticals. Second,
must be sensitive to the State's strong interest in enforcing   Ladd points to a series of executions conducted in other
its criminal judgments without undue interference from          states, using multi-drug protocols not at issue here, which
the federal courts.” 19                                         caused or appeared to cause the prisoner severe pain.
                                                                We do not diminish the gravity of these incidents—
                                                                as Justice Sotomayor, dissenting from the denial of a
                                                                stay of execution earlier this month, wrote, “the Eighth
                          *289 B.                               Amendment guarantees that no one should be subject
                                                                to an execution that causes searing, unnecessary *290
[3]   [4]    Following the Supreme Court's decision in Baze
        20                                                      pain before death.” 28 None of these executions have
v. Rees, our court held that: “[a] plaintiff can ... succeed
                                                                apparently used a single-drug pentobarbital injection from
on an Eighth Amendment claim in this context only if
                                                                a compounded pharmacy which, as the State points out
he can establish both that the state's [execution] protocol
                                                                in its brief, appears to have been used without significant
creates a demonstrated risk of severe pain and that that
                                                                incident for the last fourteen executions carried out by the
risk is substantial when compared to the known and
                                                                State. 29 Ladd does point to the fact that pentobarbital was
available alternatives.” 21 Ladd argues that he is likely to
                                                                used as part of a three-drug cocktail in at least one of the
succeed on his claim that there is a substantial risk that
                                                                out-of-state executions that appeared to cause the prisoner
Texas's execution protocol will cause him severe pain, in
                                                                pain, and that an expert stated that the prisoner's adverse
violation of the Eighth Amendment. In light of our court's
                                                                reaction was “consistent with contaminated pentobarbital
binding precedent, we cannot agree.
                                                                sodium injection.” Given the different protocols in use,
                                                                as well as the fact that the State has put forward
We have repeatedly upheld against Eighth Amendment
                                                                evidence indicating that the pentobarbital that will be used
challenge Texas's Execution Procedure of July 9, 2012,
                                                                is not contaminated, this evidence is not sufficient to
which involves the use of a single drug, pentobarbital. 22      demonstrate that “the use of the drug is ‘sure or very likely
The execution protocol at issue in those cases is essentially
                                                                to cause serious illness and needless suffering.’ ” 30
the same as that the State plans to use here: they involve
the use of an unexpired 5 gram dose of pentobarbital
obtained from a licensed compounding pharmacy, which
has been tested by an independent laboratory and found                                      III.
to have a potency of greater than 100% and to be free of
                                                                Against this backdrop, Ladd nonetheless argues that
contaminants. 23 Under our circuit's rule of orderliness,
                                                                we should stay his execution because of the Supreme
these decisions, involving the application of essentially the
                                                                Court's grant of certiorari in Glossip. That case addresses
same facts to the same law, control our own, and require
                                                                an Eighth Amendment challenge to Oklahoma's three-
us to deny the motion for injunctive relief. 24                 drug protocol. None of the three questions presented
                                                                in that petition are directly on point with this case,
In an attempt to distinguish this precedent, Ladd               however. The first question looks to whether a three-
raises two arguments. First, he argues that compounded          drug execution protocol is constitutionally permissible,
drugs are unregulated and subject to quality and                an issue not relevant when the state uses a one-drug
efficacy problems. This argument, however, is essentially       protocol. The second question asks whether the Baze
speculative, and the Supreme Court has held that                standard applies when states are not using a protocol
“speculation cannot substitute for evidence that the use        “substantially similar” to the one that the Supreme Court
of the drug is ‘sure or very likely to cause serious illness    considered in Baze. Our court has already held that
and needless suffering.’ ” 25 Rather, to succeed, our           the Texas execution protocol is substantially similar to


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the Baze standard. 31 Finally, the third question asks
whether “a prisoner [must] establish the availability of
an alternative drug formula even if the state's lethal-                                            IV.
injection protocol, as properly administered, will violate
                                                                    We AFFIRM the district court's order denying the motion
the Eighth Amendment.” 32 We have previously held,                  for temporary injunctive *291 relief. We DENY Ladd's
however, that the proper administration of the Texas                motion for stay of execution. We GRANT Ladd's motion
procedure comports with the Eighth Amendment. 33                    to proceed in forma pauperis.

In any event, whatever our speculation about how the
Supreme Court may alter the law in the future, we are               All Citations

bound to follow our precedent as it exists today. 34 This           777 F.3d 286
request for a stay is best made to the Supreme Court, the
body most aware of Glossip 's potential.


Footnotes
1      Ladd v. Stephens, 748 F.3d 637 (5th Cir.2014).
2      Id. at 640. The United States Supreme Court denied Ladd's petition for a writ of certiorari on April 17, 2000. Id.
3      See id. Following the Supreme Court's recent opinion in Hall v. Florida, ––– U.S. ––––, 134 S.Ct. 1986, 1990, 188 L.Ed.2d
       1007 (2014), we use the term “intellectual disability” where “mental retardation” had previously been used.
4      Ladd, 748 F.3d at 640.
5      536 U.S. 304, 321, 122 S.Ct. 2242, 153 L.Ed.2d 335 (2002).
6      Ladd, 748 F.3d at 641.
7      Id. at 644. While the evidentiary hearing was held in 2005, the district court did not issue its ruling until 2013.
8      Id. at 647.
9      Ladd v. Stephens, ––– U.S. ––––, 135 S.Ct. 192, 190 L.Ed.2d 150 (2014) (mem.).
10     Nos. 14–7955, 14–A761, ––– U.S. ––––, 135 S.Ct. 1173, 190 L.Ed.2d 929, 2015 WL 302647 (U.S. Jan. 23, 2015).
11     Warner v. Gross, No. 14–6244, 776 F.3d 721, 723-25, 2015 WL 137627, at *1–2 (10th Cir. Jan. 12, 2015).
12     Ladd's complaint was jointly filed with Garcia Glen White, who was originally scheduled to be executed on January 28,
       2015. On January 27, 2015, the Texas Court of Criminal Appeals stayed White's execution pending further order. That
       cause, which raises identical issues to those addressed in this case, is being adjudicated by a separate panel of this court.
13     In Hill v. McDonough, 547 U.S. 573, 580–81, 126 S.Ct. 2096, 165 L.Ed.2d 44 (2006), the Supreme Court held that section
       1983 was a proper vehicle for bringing a challenge to the specific manner of execution employed by the state. This
       is in contrast to a challenge to the sentence of death, which can only be brought through a habeas petition. See id. at
       579–80, 126 S.Ct. 2096.
14     See Mem. & Order, Docket No. 4:15–cv–00233, ECF No. 9. Also on January 27, 2015, the Texas Court of Criminal
       Appeals dismissed Ladd's second application for a writ of habeas corpus and denied his motion for a stay of execution.
15     Concurrent with his appeal, Ladd moves in this court for a stay of execution and for permission to proceed in forma
       pauperis.
16     Trottie v. Livingston, 766 F.3d 450, 451 (5th Cir.2014).
17     Id. at 452 (citing Sells v. Livingston, 750 F.3d 478, 480 (5th Cir.2014)). This standard is essentially the same as the
       framework for deciding whether to grant a stay of execution. See Adams v. Thaler, 679 F.3d 312, 318 (5th Cir.2012).
18     Hill, 547 U.S. at 583–84, 126 S.Ct. 2096.
19     Id.
20     553 U.S. 35, 61, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008) (plurality op.).
21     Whitaker v. Livingston, 732 F.3d 465, 468 (5th Cir.2013).
22     See, e.g., Trottie v. Livingston, 766 F.3d 450, 452–53 (5th Cir.2014); Campbell v. Livingston, 567 Fed.Appx. 287, 289
       (5th Cir.2014) (unpublished); Sells v. Livingston, 750 F.3d 478, 480–81 (5th Cir.2014); Sells v. Livingston, 561 Fed.Appx.
       342, 344–45 (5th Cir.2014) (unpublished); Thorson v. Epps, 701 F.3d 444, 447 n. 3 (5th Cir.2012) (holding, in a decision
       addressing Mississippi's execution process, that Texas's one-drug protocol is acceptable under Baze ).



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23     See Trottie, 766 F.3d at 452; Def.s' Opp'n Temporary Injunctive Relief & Mot. TRO Seeking Stay Execution (“Defs'
       Opp'n”), at 2.
24     See United States v. Traxler, 764 F.3d 486, 489 (5th Cir.2014).
25     Brewer v. Landrigan, ––– U.S. ––––, 131 S.Ct. 445, 445, 178 L.Ed.2d 346 (2010) (mem.) (quoting Baze, 553 U.S. at
       50, 128 S.Ct. 1520 (plurality op.)).
26     Whitaker, 732 F.3d at 468.
27     Id.
28     Warner v. Gross, ––– U.S. ––––, 135 S.Ct. 824, 190 L.Ed.2d 903 (2015) (mem.) (Sotomayor, J., dissenting from denial
       of stay of execution).
29     Press reports indicate that one prisoner said that “[i]t does kind of burn. Goodbye,” as the pentobarbital took effect. The
       media report indicates that all movement stopped “[w]ithin seconds.” Defs.' Opp'n at 20.
30     Landrigan, 131 S.Ct. at 445 (quoting Baze, 553 U.S. at 50, 128 S.Ct. 1520).
31     See Raby v. Livingston, 600 F.3d 552, 558–60 (5th Cir.2010); see also Thorson v. Epps, 701 F.3d 444, 447 & n. 3 (5th
       Cir.2012).
32     Pet. Writ Certiorari, at i., Warner v. Gross, No. 14–7955 (U.S.2015).
33     See, e.g., Sells v. Livingston, 750 F.3d 478, 480–81 (5th Cir.2014); see also Raby, 600 F.3d at 560 (concluded that
       plaintiff “has failed to establish that the Texas lethal injection protocol creates a demonstrated risk of severe pain”).
34     See Wicker v. McCotter, 798 F.2d 155, 157–58 (5th Cir.1986) (holding that, notwithstanding the fact that the Supreme
       Court had granted a writ of certiorari in a related case, “we must follow our circuit's precedents and deny ... a stay of
       execution”).


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                                                                   be constitutional was not sufficient to allege that other
                                                                   methods of lethal injection were feasible and could be
     KeyCite Yellow Flag - Negative Treatment                      readily implemented, or that they would significantly
Distinguished by McGehee v. Hutchinson, E.D.Ark., April 15, 2017
                                                                   reduce substantial risk of severe pain allegedly caused by
                      783 F.3d 1089
                                                                   use of pentobarbital;
              United States Court of Appeals,
                      Eighth Circuit.
                                                                   [4] prisoners could not state Eighth Amendment claim
                                                                   based on use of compounded pentobarbital in executions
          David ZINK, Plaintiff–Appellant,
                                                                   without plausible allegation of feasible alternative method
 Michael S. Worthington; John E. Winfield, Plaintiffs
                                                                   of execution;
     Leon Taylor; Walter T. Storey; Earl Ringo;
      Roderick Nunley, Plaintiffs–Appellants,                      [5] prisoners did not state Eighth Amendment claim on
             John C. Middleton, Plaintiff,                         allegations that they had serious medical need to be free
  Paul T. Goodwin; Andre Cole; Reginald Clemons;                   from gratuitous pain during their executions, and that
       Cecil Clayton; Mark Christeson; Russell                     state officials acted with deliberate indifference to their
   Bucklew; David Barnett, Plaintiffs–Appellants,                  need by using compounded pentobarbital as lethal drug in
 Richard Strong; Marcellus S. Williams, Intervenors,               state's execution procedure;
                          v.
    George A. LOMBARDI; David R. Dormire; Terry                    [6] Ex Post Facto Clause was not implicated by changing
                                                                   execution protocol to provide for use of compounded
   Russell; John Does, 2–40, Defendants–Appellees.
                                                                   pentobarbital;
                         No. 14–2220.
                               |                                   [7] allegation that state prisoners were unable to obtain
                   Submitted: Sept. 9, 2014.                       information regarding execution protocol, as potential
                               |                                   Eighth Amendment violation, was not sufficient to state
                     Filed: March 6, 2015.                         due process claim that state officials violated their right of
                                                                   access to courts; and
Synopsis
Background: Prisoners who had been sentenced to death              [8] prisoners could not employ Missouri Administrative
commenced action to challenge lethal-injection protocol            Procedure Act to allege denial of private legal right under
of the Missouri Department of Corrections. The United              federal statutes when federal statutes themselves did not
States District Court for the Western District of Missouri,        create such private legal right.
Beth Phillips, J., dismissed the complaint. Prisoners
appealed.
                                                                   Affirmed.

                                                                   Colloton, Circuit Judge, joined in all but Part II.A of the
Holdings: The Court of Appeals held that:
                                                                   opinion.

[1] descriptions of hypothetical and speculative situations
                                                                   Shepherd, Circuit Judge, joined in all but Part II.B of the
in which potential flaw in production of pentobarbital
                                                                   opinion.
could cause pain were not sufficient to state claim that
protocol violated Eighth Amendment;
                                                                   Bye, Circuit Judge, filed dissenting opinion, in which
                                                                   Murphy and Kelly, Circuit Judges, joined.
[2] prisoners waived issue for consideration on appeal that
use of central venous access rather than peripheral venous
access violated Eighth Amendment;

[3] “concession” by state prisoners that other methods
of lethal injection that state could choose to use would



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                                                                    Mode of execution

 West Headnotes (31)                                           Successfully pleading facts to demonstrate a
                                                               substantial risk of severe pain, as required
                                                               to state a plausible Eighth Amendment claim
 [1]   Sentencing and Punishment                               in the context of an attack upon a state's
           Mode of execution                                   execution protocol, requires the prisoners
       Any allegation that all methods of execution            to plead more than just a hypothetical
       are unconstitutional does not state a                   possibility that an execution could go wrong,
       plausible claim under the Eighth Amendment.             resulting in severe pain to a prisoner; the
       U.S.C.A. Const.Amend. 8.                                Eighth Amendment prohibits an objectively
                                                               intolerable risk of pain, rather than simply the
       9 Cases that cite this headnote                         possibility of pain. U.S.C.A. Const.Amend. 8.

                                                               4 Cases that cite this headnote
 [2]   Federal Civil Procedure
           Insufficiency in general
                                                         [5]   Federal Civil Procedure
       Federal Civil Procedure
                                                                   Matters considered in general
            Matters deemed admitted; acceptance as
       true of allegations in complaint                        When reviewing the sufficiency of a complaint
                                                               on a motion to dismiss for failure to state
       Legal conclusions and threadbare recitations
                                                               a claim upon which relief can be granted,
       of the elements of a cause of action supported
                                                               a court reviews the complaint itself and any
       by mere conclusory statements are not entitled
                                                               exhibits attached to the complaint. Fed.Rules
       to a presumption of truth when considering
                                                               Civ.Proc.Rule 12(b)(6), 28 U.S.C.A.
       the sufficiency of a complaint on a motion
       to dismiss for failure to state a claim upon            37 Cases that cite this headnote
       which relief can be granted; a complaint must
       be plausible on its face and a claim has facial
       plausibility when the pleaded factual content     [6]   Sentencing and Punishment
       allows the court to draw the reasonable                     Mode of execution
       inference that the defendant is liable for the          Allegations of prisoners who had been
       misconduct alleged. Fed.Rules Civ.Proc.Rule             sentenced to death that were limited to
       12(b)(6), 28 U.S.C.A.                                   descriptions of hypothetical and speculative
                                                               situations in which potential flaw in
       108 Cases that cite this headnote                       production of pentobarbital could cause pain
                                                               were not sufficient to state claim that protocol
 [3]   Federal Civil Procedure                                 violated Eighth Amendment prohibition
           Insufficiency in general                            against cruel and unusual punishment;
                                                               prisoners did not make any specific
       On a motion to dismiss for failure to
                                                               factual allegations regarding production
       state a claim upon which relief can be
                                                               of pentobarbital that would have led
       granted, making a plausibility determination
                                                               to its contamination, potency problems,
       is a context-specific task that requires the
                                                               or improper pH, and instead relied on
       reviewing court to draw on its judicial
                                                               general risks associated with compounding
       experience and common sense. Fed.Rules
                                                               pharmacies. U.S.C.A. Const.Amend. 8;
       Civ.Proc.Rule 12(b)(6), 28 U.S.C.A.
                                                               Fed.Rules Civ.Proc.Rule 12(b)(6), 28
       15 Cases that cite this headnote                        U.S.C.A.

                                                               1 Cases that cite this headnote
 [4]   Sentencing and Punishment




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                                                                 Const.Amend. 8; Fed.Rules Civ.Proc.Rules 8,
 [7]   Federal Courts                                            12(b)(6), 28 U.S.C.A.
            Failure to mention or inadequacy of
       treatment of error in appellate briefs                    9 Cases that cite this headnote
       Prisoners who had been sentenced to death
       waived issue for consideration on appeal           [10]   Sentencing and Punishment
       that use of central venous access rather than                 Mode of execution
       peripheral venous access carried higher risk
                                                                 “Concession” by state prisoners who had
       of complication in following lethal-injection
                                                                 been sentenced to death that other methods
       protocol, increased length of execution, and
                                                                 of lethal injection that state could choose
       was more invasive and painful than peripheral
                                                                 to use would be constitutional was not
       venous access, and thus violated Eighth
                                                                 sufficient to allege that other methods of lethal
       Amendment prohibition against cruel and
                                                                 injection were feasible and could be readily
       unusual punishment, since prisoners did not
                                                                 implemented, or that they would significantly
       make any mention of central vein issues
                                                                 reduce substantial risk of severe pain allegedly
       in their briefing before Court of Appeals.
                                                                 caused by use of pentobarbital, and thus
       U.S.C.A. Const.Amend. 8.
                                                                 prisoners did not state viable claim that
       Cases that cite this headnote                             pentobarbital execution protocol violated
                                                                 Eighth Amendment prohibition against cruel
                                                                 and unusual punishment, since prisoners did
 [8]   Sentencing and Punishment                                 not include factual matter that even hinted
           Mode of execution                                     at how state could modify its lethal-injection
       On a claim that a state's execution protocol              protocol to reduce significantly the alleged
       violates the Eighth Amendment prohibition                 substantial risk of severe pain. U.S.C.A.
       against cruel and unusual punishment, the                 Const.Amend. 8; Fed.Rules Civ.Proc.Rules 8,
       prospect of an isolated incident that would               12(b)(6), 28 U.S.C.A.
       result in severe pain does not satisfy
       the requirement for adequately pleading a                 10 Cases that cite this headnote
       substantial risk of severe pain to survive a
       motion to dismiss. U.S.C.A. Const.Amend.           [11]   Federal Civil Procedure
       8; Fed.Rules Civ.Proc.Rule 12(b)(6), 28                       Claim for relief in general
       U.S.C.A.
                                                                 Discovery does not have to be made
       4 Cases that cite this headnote                           available to a plaintiff who cannot
                                                                 allege sufficient factual matter to plausibly
                                                                 suggest an entitlement to relief. Fed.Rules
 [9]   Sentencing and Punishment                                 Civ.Proc.Rules 8, 12(b)(6), 28 U.S.C.A.
           Mode of execution
       To state a claim that an execution protocol               9 Cases that cite this headnote
       violates the Eighth Amendment prohibition
       against cruel and unusual punishment, an           [12]   Sentencing and Punishment
       inmate ultimately must prove that another                     Mode of execution
       execution procedure exists that is feasible and
                                                                 State prisoners who had been sentenced to
       readily implemented, and that the alternative
                                                                 death could not state Eighth Amendment
       method will significantly reduce a substantial
                                                                 claim based on use of compounded
       risk of severe pain; therefore, the existence of
                                                                 pentobarbital in executions without plausible
       such an alternative method of execution is a
                                                                 allegation of feasible alternative method of
       necessary element of an Eighth Amendment
                                                                 execution that would significantly reduce
       claim, and this element, like any element of a
                                                                 substantial risk of serious pain, or purposeful
       claim, must be pleaded adequately. U.S.C.A.


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        design by State to inflict unnecessary                        Sentencing and Imprisonment
        pain. U.S.C.A. Const.Amend. 8; Fed.Rules                 Sentencing and Punishment
        Civ.Proc.Rules 8, 12(b)(6), 28 U.S.C.A.                      Mode of execution

        5 Cases that cite this headnote                          Ex Post Facto Clause was not implicated
                                                                 by changing execution protocol to provide
                                                                 for use of compounded pentobarbital, since
 [13]   Sentencing and Punishment                                punishment remained the same and there
            Mode of execution                                    was no super-added punishment or superior
        State prisoners who had been sentenced                   alternatives. U.S.C.A. Const. Art. 1, § 10, cl. 1.
        to death did not state Eighth Amendment
        claim on allegations that they had serious               1 Cases that cite this headnote
        medical need to be free from gratuitous
        pain during their executions, and that state      [17]   Constitutional Law
        officials acted with deliberate indifference                 Penal laws in general
        to their need by using compounded
                                                                 Constitutional Law
        pentobarbital as lethal drug in state's
                                                                     Punishment in general
        execution procedure; even assuming that
        Eighth Amendment deliberate-indifference                 The Ex Post Facto Clause forbids enactment
        claim based on medical needs was not                     of a law that changes the punishment, and
        limited to cases involving medical procedures,           inflicts a greater punishment, than the law
        prisoners did not adequately plead that state's          annexed to the crime, when committed.
        lethal-injection protocol inflicted unnecessary          U.S.C.A. Const. Art. 1, § 10, cl. 1.
        pain. U.S.C.A. Const.Amend. 8; Fed.Rules
                                                                 1 Cases that cite this headnote
        Civ.Proc.Rules 8, 12(b)(6), 28 U.S.C.A.

        1 Cases that cite this headnote                   [18]   Constitutional Law
                                                                     Purpose
 [14]   Sentencing and Punishment                                Constitutional Law
             Cruelty and unnecessary infliction of                   Punishment in general
        pain                                                     The Ex Post Facto Clause is concerned with
        The Eighth Amendment protects against the                lack of fair notice and governmental restraint
        unnecessary and wanton infliction of pain.               when the legislature increases punishment
        U.S.C.A. Const.Amend. 8.                                 beyond what was prescribed when the crime
                                                                 was consummated. U.S.C.A. Const. Art. 1, §
        Cases that cite this headnote                            10, cl. 1.

                                                                 1 Cases that cite this headnote
 [15]   Sentencing and Punishment
            Conditions of Confinement
        To state a claim under the Eighth                 [19]   Constitutional Law
        Amendment, a prisoner must allege both                       Execution of sentence
        that a deprivation of rights is objectively,             Sentencing and Punishment
        sufficiently serious, and that a state official              Mode of execution
        is deliberately indifferent to inmate health or          Allegation that state prisoners who had been
        safety. U.S.C.A. Const.Amend. 8.                         sentenced to death were unable to obtain
                                                                 information regarding execution protocol, as
        1 Cases that cite this headnote                          potential Eighth Amendment violation, was
                                                                 not sufficient to state due process claim that
 [16]   Constitutional Law


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        state officials violated their right of access to
        courts. U.S.C.A. Const.Amends. 8, 14.                       Cases that cite this headnote

        4 Cases that cite this headnote
                                                             [23]   Constitutional Law
                                                                        Execution of sentence
 [20]   Constitutional Law                                          Sentencing and Punishment
            Access to courts                                            Mode of execution
        State prisoners have a Due Process right of                 Prisoners who had been sentenced to death
        access to the courts, but this right does not               did not have a freestanding due process right
        guarantee the ability to discover grievances,               to detailed disclosure about state's execution
        and to litigate effectively once in court; the              protocol; prisoners' assertion of necessity, i.e.,
        right of access to the courts is satisfied if               that the state must disclose its protocol so
        the prisoner has the capability of bringing                 they can challenge its conformity with the
        contemplated challenges to sentences or                     Eighth Amendment, did not substitute for the
        conditions of confinement before the courts.                identification of a cognizable liberty interest.
        U.S.C.A. Const.Amend. 14.                                   U.S.C.A. Const.Amends. 8, 14.

        5 Cases that cite this headnote                             6 Cases that cite this headnote


 [21]   Sentencing and Punishment                            [24]   Constitutional Law
            Presentation and reservation in lower                       Capital punishment; death penalty
        court of grounds of review
                                                                    Sentencing and Punishment
        Prisoners who had been sentenced to death                       Stay of execution
        waived Due Process issue for consideration on
                                                                    State prisoners who had been sentenced to
        appeal under Mathews v. Eldridge that their
                                                                    death did not have fundamental right to
        “life interest entitles them to notice of material
                                                                    avoid execution while no judicial stay was
        information about the lethal drug with which
                                                                    in effect even if legal activity was pending,
        they will be executed,” since prisoners did not
                                                                    and thus state's deviation from execution
        develop argument based on Mathews in the
                                                                    protocol by carrying out sentences while
        district court. U.S.C.A. Const.Amend. 14.
                                                                    legal activity was pending did not violate
        Cases that cite this headnote                               equal protection, Eighth Amendment, or
                                                                    any other constitutional provision. U.S.C.A.
                                                                    Const.Amends. 8, 14.
 [22]   Constitutional Law
            Capital Punishment; Death Penalty                       Cases that cite this headnote
        Sentencing and Punishment
            Proceedings                                      [25]   Constitutional Law
        Sentencing and Punishment                                        Statutes and other written regulations
            Review of Proceedings to Impose Death                   and rules
        Sentence                                                    If a legislative classification or distinction
        State prisoners who had been convicted and                  neither burdens a fundamental right nor
        sentenced to death after trial in state court,              targets a suspect class, it will be upheld under
        and whose convictions and sentences were                    the Equal Protection Clause so long as it bears
        upheld on appeal, received due process for                  a rational relation to some legitimate end.
        the deprivation of their life interests. U.S.C.A.           U.S.C.A. Const.Amend. 14.
        Const.Amend. 14.
                                                                    2 Cases that cite this headnote




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 [26]   Constitutional Law                                        5 Cases that cite this headnote
            Sentencing and punishment
        Sentencing and Punishment                          [29]   Constitutional Law
            Mode of execution                                         Sentencing and punishment
        First Amendment did not grant right to                    Missouri statute which provided that
        state prisoner who had been sentenced to                  “identities of members of the execution
        death to know where, how, and by whom                     team, as defined in the execution protocol
        lethal injection drugs would be manufactured.             of the department of corrections, shall be
        U.S.C.A. Const.Amend. 1; V.A.M.S. §                       kept confidential” was not content-based
        546.720(2).                                               restriction on access to information, and thus
                                                                  strict scrutiny was not warranted on First
        3 Cases that cite this headnote
                                                                  Amendment claim of public right of access,
                                                                  since statute did not limit dissemination
 [27]   Constitutional Law                                        of identities of execution team members
            Sentencing and punishment                             based on identity of individual seeking
        Sentencing and Punishment                                 that information and likely content of that
            Mode of execution                                     individual's speech, and law did not limit use
                                                                  of any such information to certain types of
        Prisoners who had been sentenced to death
                                                                  speech. U.S.C.A. Const.Amend. 1; V.A.M.S.
        did not state claim of qualified right of
                                                                  § 546.720(2).
        public access to information under First
        Amendment regarding source of compounded                  1 Cases that cite this headnote
        pentobarbital to be used in their executions,
        since they did not plausibly allege history of
        openness to general public, and complaint          [30]   Sentencing and Punishment
        did not provide basis to conclude that                        Mode of execution
        public access to detailed information about               State prisoners who had been sentenced
        execution protocols played significant positive           to death could not employ Missouri
        role in functioning of process in question,               Administrative Procedure Act to allege denial
        given that practical effect of public disclosure          of private legal right under federal drug
        likely would be frustration of state's ability            statutes with regard to use of compounded
        to carry out lawful sentences. U.S.C.A.                   pentobarbital as lethal drug in executions
        Const.Amend. 1; Fed.Rules Civ.Proc.Rules 8,               when those federal statutes themselves did not
        12(b)(6), 28 U.S.C.A.                                     create such a private legal right. Federal Food,
                                                                  Drug, and Cosmetic Act, § 1, 21 U.S.C.A. §
        6 Cases that cite this headnote                           301; Comprehensive Drug Abuse Prevention
                                                                  and Control Act of 1970, § 101, 21 U.S.C.A. §
 [28]   Constitutional Law                                        801; V.A.M.S. § 536.150.
            Access to proceedings; closure
                                                                  3 Cases that cite this headnote
        To determine whether a First Amendment
        public right of access attaches to a particular
        judicial proceeding, courts consider whether       [31]   Administrative Law and Procedure
        the place and process have historically been                 Reviewability
        open to the press and general public and                  Under Missouri law, to make a prima facie
        whether public access plays a significant                 case for a court to review a decision of an
        positive role in the functioning of the                   administrative officer or body, an individual
        particular process in question. U.S.C.A.                  must plead facts that, if true, would show
        Const.Amend. 1.                                           that he has been denied some legal right or



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       entitlement to a privilege; the plaintiff must
       thus identify a rule, statute, or other authority   Jessica E. Sutton, Death Penalty Litigation Clinic, Kansas
       creating a legal right or entitlement. V.A.M.S.     City, MO, for appellant Andre Cole.
       § 536.150.
                                                           Gino F. Battisti, Foley & Mansfield, PLLP, St. Louis,
       Cases that cite this headnote                       MO, for appellant Michael Worthington.

                                                           Kent E. Gipson, Kansas City, MO, for appellant Michael
                                                           Worthington and intervenor Marcellus S. Williams.

Attorneys and Law Firms                                    Shaun J. Mackelprang, Asst. Atty. Gen., Jefferson City,
                                                           MO, argued (Chris Koster, Atty. Gen., Michael J.
 *1095 Joseph W. Luby, Death Penalty Litigation Clinic,    Spillane, Asst. Atty. Gen., on the brief), for appellees.
Kansas City, MO, argued (Elizabeth Unger Carlyle, on
the brief), for appellants and intervenors.                Before    RILEY, Chief Judge, WOLLMAN,
                                                           LOKEN, MURPHY, BYE, SMITH, COLLOTON,
John William Simon, Constitutional Advocacy, LLC, St.      GRUENDER, SHEPHERD, and KELLY, Circuit
Louis, MO, for appellants Russell Earl Bucklew and Earl    Judges, En Banc.
Ringo.
                                                           Opinion
Cheryl Ann Pilate, Morgan Pilate LLC, for appellant
Russell Earl Bucklew.                                      PER CURIAM. 1

Jennifer Herndon, Florissant, MO, for appellants Paul      Several prisoners sentenced to death in Missouri
T. Goodwin, Roderick Nunley, Walter T. Storey, and
                                                           appeal the district court's 2 dismissal of their complaint
intervenor Richard Strong.
                                                           challenging the lethal-injection protocol of the Missouri
Richard H. Sindel, Kathryn B. Parish, Sindel Sindel &      Department of Corrections. The prisoners sued state
Noble, P.C., Clayton, MO, for appellants David M.          officials who are charged with planning, supervising,
Barnett, Earl Ringo, and David S. Zink.                    and carrying out executions, and two independent
                                                           contractors who allegedly have prescribed, produced,
Michael J. Gorla, St. Louis, MO, for appellants Paul       or tested the compounded pentobarbital used in the
T. Goodwin, Roderick Nunley, and intervenor Richard        State's current lethal-injection protocol. They sought a
Strong.                                                    declaratory judgment that the lethal-injection protocol
                                                           violates the Constitution of the United States, the
Eric W. Butts, St. Louis, MO, for appellant Mark A.        Missouri Constitution, several provisions of state law,
Christeson.                                                and Missouri common law, and an injunction *1096
                                                           that prevents the defendants from executing them in
Susan M. Hunt, Kansas City, MO, for appellant Cecil
                                                           accordance with the protocol.
Clayton.

Lowell D. Pearson, Husch Blackwell LLP, Jefferson City,
MO, for appellant Reginald Clemons.                                                    I.
Gary E. Brotherton, Legal Writes, LLC, Columbia, MO,       This litigation commenced in 2012 when the prisoners
for appellant Leon Taylor.                                 challenged what was then a new lethal-injection protocol.
                                                           In prior years, Missouri's lethal-injection protocol
Phillip M. Horwitz, Chesterfield, MO, for appellant Mark
                                                           involved the administration of three drugs: “[S]odium
A. Christeson.
                                                           thiopental to anesthetize the prisoner and render him
Kevin L. Schriener, Law & Schriener, LLC, Clayton, MO,     unconscious, pancuronium bromide to paralyze him and
for appellant Walter T. Storey.                            stop his breathing, and potassium chloride to stop the
                                                           prisoner's heart.” Ringo v. Lombardi, 677 F.3d 793, 795
                                                           (8th Cir.2012). In May 2012, after sodium thiopental


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became unavailable, the State revised its protocol to use a       under the United States Constitution by deviating from
single drug—propofol—as the lethal agent.                         the execution protocol in certain instances; (6) that the
                                                                  defendants have violated their First Amendment rights
In June 2012, the prisoners sued in state court to challenge      under the United States Constitution by refusing to
the new protocol. State officials removed the case to             disclose the identities of the pharmacy that compounds
federal court and promptly moved to dismiss the petition          the pentobarbital and its suppliers; and (7) that the
for failure to state a claim. The district court denied the       defendants have violated a number of federal laws
motion in part and granted it in part, ruling as relevant         by soliciting and using the compounded pentobarbital
here that the plaintiffs had adequately pleaded that the          in executions, all allegedly reviewable under *1097
protocol presented a risk of harm that violated the Eighth        Missouri's Administrative Procedure Act, Mo.Rev.Stat. §
Amendment and that the prisoners were not required to             536.150.
plead a reasonable alternative method of execution to the
use of propofol. The court also ruled that the allegedly          In May 2014, the district court granted the State's motion
higher risk of pain posed by the protocol, compared to the        to dismiss the complaint. The court dismissed all claims
State's prior methods of execution, sufficed to state a claim     except for that alleging “cruel and unusual punishment”
of unconstitutional ex post facto punishment.                     in violation of the Eighth Amendment and its Missouri
                                                                  constitutional analog. As for the remaining claim, the
In October 2013, the State informed the district court that       court ruled that the prisoners' concession that “other
it had revised its protocol to use pentobarbital, rather          methods of lethal injection ... would be constitutional” did
than propofol, as the lethal agent. In late 2013, after           not suffice to state a claim under the Eighth Amendment.
a discovery dispute, the district court ordered the State         But the court allowed the prisoners seven days to amend
to disclose to counsel for the prisoners the identities of        the claim and address that deficiency by presenting
the physician who prescribes the pentobarbital used in            “factual allegations permitting the Court to determine
Missouri executions, the pharmacist who compounds it,             whether the alleged alternative method [of execution] is
and the laboratory that tests the compounded drug. In re          reasonably available and less likely to create a substantial
Lombardi, 741 F.3d 888, 892 (8th Cir.) (en banc), reh'g           risk of harm.” The prisoners responded that they did
denied, 741 F.3d 903 (8th Cir.), cert. denied, ––– U.S. ––––,     not intend to plead an alternative method of execution,
134 S.Ct. 1790, 188 L.Ed.2d 760 (2014). This court issued         because they believed the law did not require them to do
a writ of mandamus vacating the district court's order            so. In light of that response, the district court dismissed the
requiring disclosure. Id. at 897. We determined that the          remaining claim and entered a final judgment. This appeal
complaint then pending failed to state any claim to which         followed.
the identities of those parties was relevant. Id. at 895–97.

In February 2014, the plaintiffs filed a second amended
                                                                                                II.
complaint. That complaint alleges ten separate claims,
seven of which are at issue in this appeal: (1) that the           [1] The prisoners' lead argument on appeal is that
State's use of compounded pentobarbital constitutes cruel         they stated a claim under the Eighth Amendment
and unusual punishment, in violation of the United States         that Missouri's lethal-injection protocol violates the
Constitution; (2) that the defendants are deliberately
                                                                  prohibition on cruel and unusual punishment. 3 As
indifferent to the plaintiffs' medical need for their
                                                                  in Lombardi, our analysis must begin with a basic
executions not to inflict gratuitous pain; (3) that the State's
                                                                  proposition: “[C]apital punishment is constitutional. It
use of compounded pentobarbital creates a significant
                                                                  necessarily follows that there must be a means of carrying
risk of increased punishment over previous methods and
                                                                  it out.” Baze v. Rees, 553 U.S. 35, 47, 128 S.Ct. 1520, 170
accordingly amounts to ex post facto punishment, in
                                                                  L.Ed.2d 420 (2008) (plurality opinion) (internal citation
violation of the United States Constitution; (4) that the
                                                                  omitted). Any allegation that all methods of execution
defendants have deprived them of due process under the
                                                                  are unconstitutional, therefore, does not state a plausible
United States Constitution by not providing timely and
                                                                  claim under the Eighth Amendment. Lombardi, 741 F.3d
adequate notice of the lethal injection methods; (5) that
                                                                  at 895.
the defendants have deprived them of equal protection



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Baze addressed an Eighth Amendment challenge to a               S.Ct. 1955, 167 L.Ed.2d 929 (2007)). A pleading need
lethal-injection protocol, and our opinion in Lombardi          not include “detailed factual allegations,” but it is not
summarized the rule of Baze as follows:                         sufficient to tender “naked assertion[s]” that are “devoid
                                                                of further factual enhancement.” Id. (internal quotation
  Where, as here, there is no assertion that the State acts     marks omitted). A complaint must do more than allege
  purposefully to inflict unnecessary pain in the execution     “labels and conclusions” or “a formulaic recitation of the
  process, the Supreme Court recognized only a limited          elements of a cause of action.” Id.
  right under the Eighth Amendment to require a State
  to change from one feasible method of execution to
  another. The controlling opinion of the Chief Justice in
  Baze provides that if a State refuses to adopt a readily                                   A.
  available alternative method of execution that would
                                                                We first address whether the second amended
  significantly reduce a substantial risk of severe pain,
                                                                complaint adequately alleges that Missouri's lethal-
  then “a State's refusal to change its method can be viewed
                                                                injection protocol creates a substantial risk of severe pain.
  as ‘cruel and unusual’ under the Eighth Amendment.”
                                                                We review a district court's grant of a motion to dismiss for
  553 U.S. at 52, 128 S.Ct. 1520 (plurality opinion)
                                                                failure to state a claim under Rule 12(b)(6) de novo. United
  (emphasis added). In sum: “A stay of execution may not
                                                                States ex rel. Raynor v. Nat'l Rural Utils. Coop. Fin., Corp.,
  be granted on grounds such as those asserted here unless
                                                                690 F.3d 951, 955 (8th Cir.2012). We assume all facts in the
  the condemned prisoner establishes that the State's
                                                                complaint to be true, and draw all reasonable inferences
  lethal injection protocol creates a demonstrated risk of
                                                                in favor of the non-moving party. Id.
  severe pain. He must show that the risk is substantial
  when compared to the known and available alternatives.”
                                                                 [2]      [3]    “[L]egal conclusions” and “threadbare
  Id. at 61, 128 S.Ct. 1520 (emphasis added).
                                                                recitations of the elements of a cause of action supported
741 F.3d at 895–96.                                             by mere conclusory statements” are not entitled to a
                                                                presumption of truth when considering the sufficiency of
The district court, relying on Lombardi, concluded that         a complaint. Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. A
the second amended complaint adequately alleged that            complaint must be plausible on its face and “ ‘[a] claim
the protocol creates a substantial risk of severe pain. The     has facial plausibility when the pleaded factual content
court ruled, however, that the prisoners failed to allege       allows the court to draw the reasonable inference that the
sufficiently the second essential element of an Eighth          defendant is liable for the misconduct alleged.’ ” Magee
Amendment claim—i.e., that there exists a feasible *1098        v. Trustees of Hamline Univ., Minn., 747 F.3d 532, 535
alternative method of execution that would substantially        (8th Cir.2014) (quoting Iqbal, 556 U.S. at 678, 129 S.Ct.
reduce the risk of harm. Although the prisoners conceded        1937). Making a plausibility determination is a “ ‘context-
in the second amended complaint that “other methods             specific task that requires the reviewing court to draw on
of lethal injection the Department could choose would           its judicial experience and common sense.’ ” Id. (quoting
be constitutional,” the court reasoned that this “naked         Iqbal, 556 U.S. at 679, 129 S.Ct. 1937).
assertion” was insufficient to allege that an alternative
method is reasonably available and less likely to create a       [4] Stating a plausible Eighth Amendment claim in
substantial risk of harm.                                       the context of the prisoners' attack upon Missouri's
                                                                execution protocol first requires the prisoners to plead
To state a claim under the Federal Rules of Civil               sufficient facts indicating that the protocol creates a
Procedure, a complaint must contain “a short and plain          “substantial risk of serious harm.” See Baze, 553 U.S. at
statement of the claim showing that the pleader is entitled     50, 128 S.Ct. 1520 (“We have explained that to prevail
to relief.” Fed.R.Civ.P. 8(a)(2). “To survive a motion          on such a claim there must be a ‘substantial risk of
to dismiss, a complaint must contain sufficient factual         serious harm,’ an ‘objectively intolerable risk of harm’
matter, accepted as true, to ‘state a claim to relief that is   that prevents prison officials from pleading that they
plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662,      were ‘subjectively blameless for purposes of the Eighth
678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting            Amendment.’ ” (quoting Farmer v. Brennan, 511 U.S.
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127              825, 842, 846 & n. 9, 114 S.Ct. 1970, 128 L.Ed.2d 811



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(1994))). Indeed, the prisoners allege the lethal-injection       sufficiency of the complaint regarding the allegation of
protocol creates a substantial risk of serious harm in that       a substantial risk of severe pain. Because the district
it inflicts a “substantial risk of severe pain.” See id. at 52,   court relied upon our decision in Lombardi as the basis
128 S.Ct. 1520. However, successfully pleading facts to           for finding the prisoners had satisfied this pleading
demonstrate a substantial risk of severe pain requires the        burden, a determination of the sufficiency of the prisoners'
prisoners to plead more than just a hypothetical *1099            complaint regarding the allegation of a substantial risk of
possibility that an execution could go wrong, resulting           severe pain now requires a more thorough analysis.
in severe pain to a prisoner. The Eighth Amendment
prohibits an “ ‘objectively intolerable risk’ ” of pain,           [5] When reviewing the sufficiency of a complaint, we
rather than “simply the possibility of pain.” Id. at 61–          review the complaint itself and any exhibits attached to the
62, 128 S.Ct. 1520 (quoting Farmer, 511 U.S. at 846, 114          complaint. Meehan v. United Consumers Club Franchising
S.Ct. 1970). The plurality opinion in Baze acknowledged           Corp., 312 F.3d 909, 913 (8th Cir.2002) ( “ ‘[M]aterials
that the nature of executions necessarily involves the risk       attached to the complaint as exhibits may be considered
of pain: “Some risk of pain is inherent in any method             in construing the sufficiency of the complaint.’ ” (quoting
of execution—no matter how humane—if only from the                Morton v. Becker, 793 F.2d 185, 187 (8th Cir.1986))).
prospect of error in following the required procedure.”           The prisoners filed a second amended complaint with 32
Id. at 47, 128 S.Ct. 1520. But “the Constitution does not         exhibits attached, including declarations and affidavits
demand the avoidance of all risk of pain in carrying out          from medical professionals.
executions.” Id. Instead, the Eighth Amendment requires
that the prisoners show the intended protocol is “ ‘sure or
very likely to cause serious illness and needless suffering.’
                                                                                               1.
” Id. at 50, 128 S.Ct. 1520 (quoting Helling v. McKinney,
509 U.S. 25, 33, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993)).           [6] In the second amended complaint the prisoners
                                                                  rely on analysis from a pharmacology expert and an
Relying on this court's decision in Lombardi, the district        anesthesiologist in alleging that the use of a compounding
court found the prisoners' second amended complaint               pharmacy to produce the execution drug creates an
adequately alleged that the protocol created a substantial        “objectively intolerable risk of pain.” It is alleged that
risk of severe pain:                                              “[c]ompounding pharmacy products do not meet the
                                                                  requirements for identity, purity, efficacy, and safety that
                                                                  pharmaceuticals produced under FDA regulations must
            The Eighth Circuit specifically                       meet.” R. Doc. 338, at 44. The prisoners identify four
            referenced the language used                          distinct potential risks which they believe could result
            in Plaintiffs' previous complaints                    from the State's use of compounded pentobarbital. First,
            regarding the risk and level                          they allege that the compounded pentobarbital could be
            of pain necessary to plead an                         sub- or super-potent. According to the second amended
            Eighth Amendment violation, and                       complaint, sub-potent pentobarbital could fail to cause
            gave no indication such language                      the death of the prisoner, leaving him unconscious with
            was insufficient. Based on that                       a lower *1100 rate of respiration, causing irreversible
            fact and the case law cited by                        brain damage. R. Doc. 338, at Ex. 5. Super-potent
            Plaintiffs, the Court concludes                       pentobarbital could result in suffocation and difficulty
            Plaintiffs sufficiently plead an                      breathing before losing consciousness. R. Doc. 338, at
            Eighth Amendment claim regarding                      Ex. 5. Second, the prisoners allege that the pentobarbital
            the risk and level of pain that the                   could easily be contaminated with allergens, toxins,
            current execution protocol carries.                   bacteria, or fungus. The prisoners allege that the injection
                                                                  of pentobarbital so contaminated could cause a painful
                                                                  allergic reaction in the blood. R. Doc. 338, at 45. Third, the
R. Doc. 437, at 8. Our decision in Lombardi addressed             prisoners allege that foreign particles could contaminate
the pleading requirement of a feasible alternative to the         the compounded pentobarbital, creating the risk that a
current lethal-injection protocol. It did not address the         prisoner could experience serious pain upon injection or



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could suffer from a pulmonary embolism. R. Doc. 338,
at 45. Finally, the prisoners allege that the drug may
                                                                                               2.
not maintain the proper pH, 4 potentially resulting in
numerous complications, most notably severe burning              None of the alleged potentialities the prisoners identify in
upon injection or a pulmonary embolism. R. Doc. 338,             the second amended complaint relating to compounded
at 45. The prisoners also allege that improper storage of        pentobarbital rises to the level of “sure or very likely
the pentobarbital and use beyond its expiration date could       ” to cause serious harm or severe pain. The prisoners'
exacerbate the potential for these harms. R. Doc. 338, at        allegations are limited to descriptions of hypothetical
49–51.                                                           situations in which a potential flaw in the production
                                                                 of the pentobarbital or in the lethal-injection protocol
Asserting that compounding pharmacies commonly lack              could cause pain. This speculation is insufficient to state
oversight and regulation, it is alleged that the use             an Eighth Amendment claim. See Brewer v. Landrigan,
of compounding pharmacies “often results in drugs                562 U.S. 996, 131 S.Ct. 445, 445, 178 L.Ed.2d 346 (2010)
which are contaminated, sub-potent or super-potent, or           (“[S]peculation cannot substitute for evidence that the use
which do not have the strength, quality or purity” of            of the drug is ‘sure or very likely to cause serious illness
FDA-regulated drugs. R. Doc. 338, at. Ex. 6. These               and needless suffering.’ ” (quoting Baze, 553 U.S. at 50,
compounding pharmacies are alleged to be an “emerging,           128 S.Ct. 1520)). By noting that the use of compounding
substandard drug industry” that are responsible for the          pharmacies “often results” in “potentially unsafe drugs,”
creation of “large quantities of unregulated, unpredictable      the experts whose views have been incorporated into the
and potentially unsafe drugs.” R. Doc. 338, at Ex. 6.            second amended complaint underscore that the harms
Noting that the lack of regulation allows compounding            they have identified are hypothetical and not “sure or very
pharmacies to obtain ingredients from countries with little      likely ” to occur. R. Doc. 338, at Ex. 6. The prisoners rely
pharmaceutical oversight, it is alleged that it is impossible    on allegations of generalized harms resulting from the use
to trace the origin of the drugs, resulting in no guarantee      of a compounding pharmacy to produce the pentobarbital
that the drugs are what they purport to be. It is alleged        and have failed to provide anything more than speculation
that Missouri's current compounded pentobarbital lethal-         that the current protocol carries a substantial risk of severe
injection protocol is “replete with flaws that present a         pain.
substantial risk of causing severe and unacceptable levels
of pain and suffering during the execution.” R. Doc. 338,         [8] Even if one of the harms the prisoners identify were
at Ex. 5.                                                        to occur, the prisoners offer nothing in their pleading
                                                                 to support the allegation that it would be more than an
 [7] The prisoners also allege that the State might              isolated incident. The prospect of an isolated incident
administer the execution drugs via central venous access         does not satisfy the requirement that prisoners adequately
rather than peripheral venous access. 5 R. Doc. 338, at 30.      plead a substantial risk of severe pain to survive a motion
The prisoners allege that the use of a central line carries      to dismiss their Eighth Amendment claim. See Baze, 553
a higher risk of complication in following the lethal-           U.S. at 50, 128 S.Ct. 1520 (“[A]n isolated mishap alone
injection protocol, increases the length of the execution,       does not give rise to an Eighth Amendment violation,
and is more invasive and painful than peripheral venous          precisely because such an event, while regrettable, does not
access. R. Doc. 338, at 32. Notably, the prisoners make no       suggest cruelty, or that the procedure at issue gives rise to
mention of the central vein issues in their briefing before      a ‘substantial risk of serious harm.’ ” (quoting Farmer, 511
this court, instead focusing on alleged issues relating to the   U.S. at 842, 114 S.Ct. 1970)). Accepting as true the factual
use of compounded pentobarbital. Because the prisoners           matter alleged in the second amended complaint, if any of
have failed to brief this issue before our court, we decline     the hypothetical situations the prisoners identify came to
to consider it here. See Neb. State Legislative *1101 Bd.,       pass, it would amount to an “isolated mishap” that, “while
United Transp. Union v. Slater, 245 F.3d 656, 658 n. 3 (8th      regrettable,” would not result in an Eighth Amendment
Cir.2001) (explaining that claims not raised in an initial       violation.
brief are waived).




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                                                                 facially plausible claim that Arizona's planned execution
                                                                 is ‘sure or very likely to cause ... needless suffering.’ ” Id.
                              3.
                                                                 (quoting Baze, 553 U.S. at 50, 128 S.Ct. 1520).
Case law from other circuits also supports our conclusion
that the prisoners' allegation of a substantial risk of severe   Other circuits have also denied prisoners relief when
pain is inadequate. At least one court has found that an         challenging a compounded pentobarbital lethal-injection
Eighth Amendment challenge to an execution protocol              protocol. See Whitaker v. Livingston, 732 F.3d 465, 468
was properly dismissed after the plaintiff-prisoner failed to    (5th Cir.), cert. denied, ––– U.S. ––––, 134 S.Ct. 417,
sufficiently plead a plausible claim that the lethal-injection   187 L.Ed.2d 274 (2013) (affirming denial of motion
protocol was sure or very likely to create a substantial risk    for preliminary injunction when plaintiff-prisoners failed
of severe pain. See Cook v. Brewer, 637 F.3d 1002, 1008          to show state's execution protocol of compounded
(9th Cir.2011). In Cook, the Ninth Circuit considered a          pentobarbital caused a substantial risk of severe pain
challenge to Arizona's lethal-injection protocol, a three        when they had “pointed to only hypothetical possibilities”
drug protocol involving the use of sodium thiopental.            and were unable to “point to some hypothetical situation,
Id. The court found that the prisoner's “reliance on             based on science and fact, showing a likelihood of
speculative and conclusory allegations [was] insufficient        severe pain”); Wellons v. Comm'r Ga. Dep't of Corr., 754
to state a facially plausible claim” when he alleged             F.3d 1260, 1265 (11th Cir.2014) (affirming the denial of
that the use of non-FDA approved sodium thiopental               injunctive relief and declaratory judgment and denying a
created a substantial risk of severe pain. Id. The prisoner      stay of execution when prisoner did not sufficiently allege
alleged that the unregulated drug could be ineffective,          that the use of compounded pentobarbital in the state's
contaminated, and could differ greatly in potency, quality,      execution protocol amounted to an Eighth Amendment
and formation from other FDA regulated drugs. *1102              violation because “speculation that a drug that has not
Id. at 1006. The court rejected these claims as “speculative     been approved will lead to severe pain or suffering ‘cannot
and overly generalized,” finding that the prisoner failed to     substitute for evidence that the use of the drug is sure or
make any specific factual allegations regarding the alleged      very likely to cause serious illness and needless suffering’
harms arising from the use of an unregulated drug. Id.           ” (quoting Mann v. Palmer, 713 F.3d 1306, 1315 (11th
Instead, he only identified hypothetical harms that would        Cir.2013))).
be “applicable to every drug produced outside the United
States.” Id. The court thus held that the bare allegations
that the sodium thiopental was imported and non-FDA                                            4.
approved did not plausibly show that the drug was “sure or
very likely to cause serious illness and needless suffering,”    The prisoners have failed to include factual allegations
and the district court had properly dismissed the prisoner's     in the second amended complaint which permit the
Eighth Amendment claim. Id. at 1007.                             reasonable inference that Missouri's lethal-injection
                                                                 protocol is “sure or very likely ” to create a substantial
The same prisoner mounted a second challenge to                  risk of severe pain. Accepting the factual allegations in
Arizona's use of sodium thiopental in its three drug             the complaint as true, the prisoners fail to satisfy their
lethal-injection protocol, alleging that the drug created        burden under the Eighth Amendment because they rely
a substantial risk of severe pain because there had been         entirely on hypothetical and speculative harms that, if
12 adverse drug reaction reports, the drug had been              they were to occur, would only result from isolated
manufactured for use on animals, it had caused problems          mishaps. Like the prisoner in Cook, the prisoners here
in three executions in the United States, and the State          fail to make any specific factual allegations regarding
obtained it unlawfully. Cook v. Brewer, 649 F.3d 915,            the production of the pentobarbital that would lead
917 (9th Cir.2011). The Ninth Circuit again upheld the           to its contamination, potency problems, or improper
dismissal of the prisoner's complaint, finding that he had       pH, and instead rely on general risks associated
failed to satisfy the pleading requirements to state an          with compounding pharmacies. Without such specific
Eighth Amendment claim. Id. at 918–19. “Because Cook's           allegations, the prisoners' complaint contains no more
four new allegations do not support the drawing of any           than *1103 speculative and hypothetical generalized
non-speculative conclusions, Cook has failed to state a          assertions about the nature of compounding pharmacies.



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Likewise, the prisoners' allegation describing concerns         that even hints at how the State—drawing on feasible
arising from the method of venous access selected by the        and readily implemented alternatives—could modify its
State amounts to no more than speculation. In sum, the          lethal-injection protocol to reduce significantly the alleged
prisoners have failed to plead sufficient factual matter,       substantial risk of severe pain. We therefore agree with
consistent with Twombly and Iqbal, necessary to state a         the district court that the prisoners' “naked assertion”
plausible claim for relief. We conclude, therefore, that        that other methods would be constitutional, devoid of
their claim regarding the substantial risk of severe pain       further factual enhancement, fails to state a claim under
allegedly imposed by Missouri's execution protocol is           the Eighth Amendment.
inadequately pled as a matter of law.
                                                                The prisoners respond that the Supreme Court's decision
                                                                in Hill v. McDonough, 547 U.S. 573, 126 S.Ct. 2096,
                                                                165 L.Ed.2d 44 (2006), illustrates the sufficiency of their
                            B.
                                                                complaint. The issue in Hill was whether a prisoner's
 [9] Prisoners challenging a method of execution must           challenge to the constitutionality of Florida's lethal-
do more than allege a substantial risk of serious harm          injection protocol could proceed as an action for relief
to state a claim under the Eighth Amendment. As we              under 42 U.S.C. § 1983, or whether it must be brought
explained in Lombardi, 741 F.3d at 895–96, to establish a       as an action for a writ of habeas corpus under 28
constitutional violation, an inmate ultimately must prove       U.S.C. § 2254. Id. at 576, 126 S.Ct. 2096. Hill's complaint
that another execution procedure exists that is feasible        conceded that “other methods of lethal injection the
and readily implemented, and that the alternative method        Department could choose to use would be constitutional,”
will significantly reduce a substantial risk of severe pain.    and the State had not argued that enjoining the present
Lombardi, 741 F.3d at 895–96; see Baze, 553 U.S. at 52,         method “would leave the State without any other *1104
128 S.Ct. 1520 (plurality opinion); id. at 63, 128 S.Ct. 1520   practicable, legal method of executing Hill by lethal
(Alito, J., concurring); Raby v. Livingston, 600 F.3d 552,      injection.” Id. at 580, 126 S.Ct. 2096. The Court held
560–61 (5th Cir.2010); Cooey v. Strickland, 589 F.3d 210,       under those circumstances that the action could proceed
220 (6th Cir.2009). The existence of such an alternative        under § 1983, because “Hill's action if successful would not
method of execution, therefore, is a necessary element of       necessarily prevent the State from executing him by lethal
an Eighth Amendment claim, and this element—like any            injection.” Id. at 580, 126 S.Ct. 2096.
element of a claim—must be pleaded adequately.
                                                                In reaching that conclusion, the Hill Court rejected
 [10] To address this point, the prisoners' second amended      a suggestion from the United States that a prisoner
complaint merely “concede[s] that other methods of lethal       seeking to proceed under § 1983 rather than through
injection the Department could choose to use would              habeas corpus must identify an alternative, authorized
be constitutional.” R. Doc. 338, at 148. In our view,           method of execution. Id. at 582, 126 S.Ct. 2096. The
this “concession” is insufficient to allege the second          Court explained that it would not impose a “heightened
element of an Eighth Amendment claim that challenges            pleading requirement[ ]” as a prerequisite to the prisoner
a method of lethal injection. The complaint does not            proceeding under § 1983, because “[s]pecific pleading
assert that the “other methods of lethal injection” it          requirements are mandated by the Federal Rules of Civil
references are feasible and readily implemented, or that        Procedure, and not, as a general rule, through case-by-
they would significantly reduce a substantial risk of severe    case determinations of the federal courts.” Id. at 582,
pain allegedly caused by the present method. Even a             126 S.Ct. 2096 (citing Fed.R.Civ.P. 8, 9; Swierkiewicz v.
barebones allegation to that effect, moreover, would not        Sorema N.A., 534 U.S. 506, 512–14, 122 S.Ct. 992, 152
be adequate: a “formulaic recitation of the elements of         L.Ed.2d 1 (2002)).
a cause of action” is insufficient to state a claim under
Rule 8(a)(2). Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. The       The Hill opinion's references to Rule 8 and Swierkiewicz,
pleading must include “sufficient factual matter, accepted      and a later citation of Hill in Jones v. Bock, 549 U.S. 199,
as true, to state a claim to relief that is plausible on        213, 127 S.Ct. 910, 166 L.Ed.2d 798 (2007), have prompted
its face.” Id. (internal quotation marks omitted). The          our careful consideration. We think the better reading,
second amended complaint includes no factual matter             however, is that Hill did not address the elements of a



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successful claim under the Eighth Amendment or establish       view, a plaintiff who alleges a significant risk of severe
that Hill's complaint stated a claim that would survive a      pain and an alternative that would reduce the risk must
motion to dismiss. The question decided in Hill concerned      satisfy the Baze standard for an alternative method of
only the cognizability of a complaint under § 1983, as         execution, but a prisoner who alleges only a significant risk
opposed to habeas corpus. The Court said specifically that     of severe pain need not propose an alternative method.
“the merits of Hill's underlying action are ... not before     The suggested rule would render the Baze plurality's
us.” Hill, 547 U.S. at 585, 126 S.Ct. 2096. Whether Hill's     extensive discussion of alternative methods superfluous,
complaint stated a claim for relief under Rule 8 and the       and we are loathe to assume that the plurality engaged in
Eighth Amendment is a question that “goes to the merits”       such a meaningless exercise. See Baze, 553 U.S. at 56–61,
of the underlying action. Bond v. United States, ––– U.S.      128 S.Ct. 1520.
––––, 131 S.Ct. 2355, 2362, 180 L.Ed.2d 269 (2011). It
was not until two years after Hill, in Baze, when the          The prisoners also urge that the Supreme Court's grant
Court eventually addressed the substance of the Eighth         of a stay of execution in Bucklew v. Lombardi, ––– U.S.
Amendment and the elements of a claim challenging              ––––, 134 S.Ct. 2333, 189 L.Ed.2d 206 (2014), “repudiates
a lethal-injection protocol. Jones, also decided before        the rule of Lombardi,” and shows that a prisoner need not
Baze, simply reaffirmed a proposition with which we do         allege an alternative method of execution to state a claim
not quarrel—i.e., that specific pleading requirements are      under the Eighth Amendment. In May 2014, the Court
mandated by the federal rules and generally not through        granted a stay of Russell Bucklew's execution pending
case-by-case determinations of the courts. 549 U.S. at 213,    appeal in an order that stated as follows:
127 S.Ct. 910. We disagree with Judge Shepherd, post,
at 1120, and the dissenting judges, post, at 1116–18, that
requiring a plaintiff to plead the elements of an Eighth                   Application for stay of execution
Amendment claim as defined in Baze is a “heightened                        of sentence of death presented
pleading requirement” that exceeds the requirements of                     to Justice ALITO and by him
Rule 8 as explained in Iqbal and Twombly. 6                                referred to the Court treated
                                                                           as an application for stay
The inference that Hill did not address the sufficiency of                 pending appeal in the United
Hill's complaint is strengthened by the opinions in Baze,                  States Court of Appeals for the
where two Justices opined that “a method of execution                      Eighth Circuit. Application granted
violates the Eighth Amendment only if it is deliberately                   pending disposition of petitioner's
designed to inflict pain.” *1105 Baze, 553 U.S. at 94,                     appeal. We leave for further
128 S.Ct. 1520 (Thomas, J., concurring). Hill alleged only                 consideration in the lower courts
that Florida's method of execution created a risk of severe                whether an evidentiary hearing is
pain and that other unspecified methods of execution                       necessary.
would be constitutional; there is no indication in the
opinion that he alleged a deliberate design by the State of
Florida to inflict pain during an execution. That Hill was     Id.
a unanimous opinion—joined by the concurring Justices
in Baze—fortifies our view that the decision addressed         The Court's brief order does not address the substance
only cognizability under § 1983, not the plausibility of the   of Bucklew's appeal or the basis for possible success
prisoner's claim under Rule 8 and the Eighth Amendment.        on the merits. Although Bucklew urged that the district
                                                               court erred in requiring him to allege a feasible and more
The prisoners contend alternatively that the rule              humane method of execution, he also asserted that “[t]o
announced in Baze applies only where—as in Baze itself         the extent that this Court, or any lower court, believes
—a prisoner alleges that a lethal-injection protocol is        that pleading an ‘alternative method’ is necessary, Mr.
unconstitutional because the State easily could change to      Bucklew has indeed proposed an ‘alternative.’ ” App.
an alternative method of execution that is likely to reduce    821–22. The unexplained order in Bucklew thus does not
a significant risk of pain. We think that is an implausible    resolve whether the prisoners must plead the existence of
reading of the Baze plurality opinion. On the prisoners'



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an alternative method of execution that meets the criteria      In this very case, after the State's former drug supplier
of Baze.                                                        was identified through information in the public domain,
                                                                a Missouri prisoner sued the supplier in Oklahoma. The
 [11] The prisoners further contend that they cannot            supplier then elected to discontinue providing drugs to
propose a reasonably available alternative method of            the State rather than endure the expense and burdens
execution without discovery of information about the            of litigation. R. Doc. 353, at 1–2, 10–13, 190–93. As
State's present suppliers of lethal drugs, so the Lombardi      for the possibility of protecting the confidentiality of
rule is unworkable in practice. We doubt the rule is as         sensitive identities after discovery in litigation, counsel
“unworkable” as the prisoners suggest. Their complaint is       for the prisoners expressed concern that it could be very
accompanied by affidavits from experts who criticize the        difficult to investigate the physician, pharmacist, and
use of compounded pentobarbital as a lethal drug. These         laboratory without disclosing their roles in the execution
or similar experts presumably are in a position to know         process, and suggested there were “many ways in which
and to inform the prisoners whether some other lethal           investigating the pharmacy might place the pharmacy's
drug exists that would significantly reduce the alleged risk    identity, status, and role at issue before whoever we would
of pain arising from the current method. In any event,          be talking to.” R. Doc. 224, at 12–16. The district court
the Supreme *1106 Court has rejected the notion that            acknowledged that “it may be that there's just no way
discovery must be available to a plaintiff who cannot           given the circumstances to keep it confidential because of
allege sufficient factual matter to suggest plausibly an        the central nature of these people to the current dispute.”
entitlement to relief. See Twombly, 550 U.S. at 556–57,         Id. at 16.
127 S.Ct. 1955. “Rule 8 marks a notable and generous
departure from the hyper-technical, code-pleading regime        The real potential that unwarranted discovery would serve
of a prior era, but it does not unlock the doors of discovery   as a back-door means to frustrate the State's ability to
for a plaintiff armed with nothing more than conclusions.”      carry out executions by lethal injection counsels in favor
Iqbal, 556 U.S. at 678–79, 129 S.Ct. 1937.                      of careful adherence to the requirements of Rule 8, as
                                                                explicated in Iqbal and Twombly. A groundless Eighth
Although policy reasons do not justify imposing a               Amendment claim should not be permitted to achieve
heightened pleading requirement, see Swierkiewicz, 534          indirectly a de facto injunction against a lawful method of
U.S. at 513, 122 S.Ct. 992, “the practical significance         execution.
of the Rule 8 entitlement requirement” should not be
ignored. Twombly, 550 U.S. at 557–58, 127 S.Ct. 1955. In         [12] For these reasons, we adhere to our conclusion in
Twombly, the Court illustrated the practical significance       Lombardi that without a plausible allegation of a feasible
of the Rule 8 requirement by adverting to the high cost         alternative method of execution that would significantly
of discovery in antitrust cases and the modest success of       reduce a substantial risk of serious pain, or a purposeful
judicial supervision in checking discovery abuse. Id. at        design by the State to inflict unnecessary pain, the
558–59, 127 S.Ct. 1955. In this capital litigation, it should   prisoners have not stated an Eighth Amendment claim
be remembered that one stated objective of the prisoners'       based on the State's use of compounded pentobarbital in
lawsuit is to pressure the State's suppliers and agents         executions. We further conclude that the allegation in the
to discontinue providing the drugs and other assistance         second amended complaint that “other methods of lethal
necessary to carry out lawful capital sentences. The second     injection the Department *1107 could choose would be
amended complaint alleges that confidentiality of the           constitutional” does not contain sufficient factual matter
States' drug manufacturers and suppliers “prevents the ...      to state a claim to relief that is plausible on its face. The
suppliers' associations, customers, and prescribing or          district court thus properly dismissed the prisoners' Eighth
referring physicians from censuring or boycotting them,”        Amendment claim. 7
and that protecting the identity of the State's health care
professionals unreasonably restricts their “associations
and colleagues from de-certifying or otherwise censuring
them or boycotting them.” R. Doc. 338, at 140–41.                                           III.

                                                                [13] The prisoners next argue that they have a serious
                                                                medical need to be free from gratuitous pain during


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their executions, and that the state officials act with          Mo.Rev.Stat. § 546.720.1). Where, as here, “only the mode
deliberate indifference to their need by using compounded        of producing death has changed, with no allegation of
pentobarbital as the lethal drug in the State's execution        superadded punishment or superior alternatives, the Ex
procedure. The district court rejected this claim on two         Post Facto Clause[ is] not implicated.” Id. at 897 (internal
grounds: (1) that the officials are not addressing medical       quotation mark omitted).
needs of the prisoners in carrying out executions, and (2)
that the prisoners have not pleaded adequately that the           [18]    The prisoners also complain that they did
State's lethal-injection protocol inflicts unnecessary pain in   not have fair notice that Director Lombardi could
violation of the Eighth Amendment.                               change the method of execution to include compounded
                                                                 pentobarbital, because that method allegedly violates
 [14]    [15] Assuming without deciding that an Eighth the federal Food, Drug, and Cosmetics Act and the
Amendment deliberate-indifference claim based on                 Controlled Substances Act. The prisoners note Lombardi's
medical needs is not limited to cases involving medical          statement that when the prisoners committed their crime,
procedures, see Nelson v. Campbell, 541 U.S. 637, 644–           they “had fair notice” that death was the prescribed
45, 124 S.Ct. 2117, 158 L.Ed.2d 924 (2004); Helling, 509         punishment, and fair notice “of the Director's discretion to
U.S. at 29–30, 113 S.Ct. 2475, we agree with the district        determine the method of execution.” 741 F.3d at 897. The
court that the prisoners have not stated a claim. The            Ex Post Facto Clause, however, is concerned with “lack of
Eighth Amendment protects against the “unnecessary and           fair notice and governmental restraint when the legislature
wanton infliction of pain.” Estelle v. Gamble, 429 U.S. 97,      increases punishment beyond what was prescribed when
104, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976). A prisoner must        the crime was consummated.” Weaver v. Graham, 450 U.S.
allege both that a deprivation of rights is “objectively,        24, 30, 101 S.Ct. 960, 67 L.Ed.2d 17 (1981). Whether the
sufficiently serious,” and that a state official is deliberately prisoners had specific notice that the Director might select
indifferent to inmate health or safety. Farmer, 511 U.S.         a particular lethal drug is not dispositive, so long as the
at 834, 114 S.Ct. 1970 (internal quotation omitted). For         State has not increased the punishment for the offenses
reasons discussed in Part II, the prisoners have not pleaded     of conviction. We therefore adhere to our conclusion
that the use of compounded pentobarbital will result in the      in Lombardi that the prisoners fail to state a plausible
unnecessary and wanton infliction of pain.                       ex post facto claim because the punishment—death—
                                                                 has remained the same; “only the mode of producing
                                                                 death has changed,” and the prisoners have not alleged
                                                                 “superadded punishment or superior alternatives.” 741
                             IV.
                                                                 F.3d at 897 (internal quotation mark omitted).
 [16] [17] The prisoners contend that the state officials
violated the Ex Post Facto Clause of the federal
Constitution when they changed the execution protocol                                        V.
to provide for the use of compounded pentobarbital,
because the change allegedly increased the risk of a painful      [19] [20] The prisoners next contend that the Missouri
execution. The Ex Post Facto Clause forbids enactment            state officials violated their right of access to the courts
of a “law that changes the punishment, and inflicts a            under the Due Process Clause by failing to provide them
greater punishment, than the law annexed to the crime,           with the timely and adequate notice of the proposed
when committed.” Cal. Dep't of Corr. v. Morales, 514             execution method needed to litigate the lawfulness of the
U.S. 499, 516, 115 S.Ct. 1597, 131 L.Ed.2d 588 (1995)            execution protocol. We agree with the district court that
(quoting Calder v. Bull, 3 U.S. 386, 390, 3 Dall. 386,           the prisoners failed to state a claim based on alleged
1 L.Ed. 648 (1798)). The prisoners' claim fails in light         infringement of their right to access the courts. State
of Lombardi, where this court held that an identical ex          prisoners have a constitutional “right of access to the
post facto claim asserted in an earlier complaint failed         courts,” Lewis v. Casey, 518 U.S. 343, 350, 116 S.Ct.
to state a claim. 741 F.3d at 896–97. We reasoned that           2174, 135 L.Ed.2d 606 (1996) (emphasis omitted), but
“[t]he manner of punishment for capital *1108 murder in          this right does not guarantee the ability “to discover
Missouri at all relevant times ... has been death by lethal      grievances, and to litigate effectively once in court.” Id.
injection or lethal gas.” Lombardi, 741 F.3d at 896 (citing      at 354, 116 S.Ct. 2174. The right of access to the courts



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is satisfied if the prisoner has “the capability of bringing     plaintiffs in Wellons, 754 F.3d at 1267, and Sepulvado
contemplated challenges to sentences or conditions of            v. Jindal, 729 F.3d 413, 419–20 (5th Cir.2013)—claim a
confinement before the courts.” Lewis, 518 U.S. at 356,          freestanding right to detailed disclosure about Missouri's
116 S.Ct. 2174. The prisoners' claim that they are unable        execution protocol. We agree with the Eleventh and
to discover information regarding the execution protocol         Fifth Circuits that the Constitution does not require such
is thus insufficient as a matter of law to state a due process   disclosure. Wellons, 754 F.3d at 1267; Sepulvado, 729
claim. Lewis, 518 U.S. at 354, 116 S.Ct. 2174; Williams v.       F.3d at 419–20. A prisoner's “assertion of necessity—that
Hobbs, 658 F.3d 842, 851–52 (8th Cir.2011); Giarratano v.        [the State] must disclose its protocol so he can challenge
Johnson, 521 F.3d 298, 306 (4th Cir.2008). “The prisoners        its conformity with the Eighth Amendment—does not
do not assert that they are physically unable to file an         substitute for the identification of a cognizable liberty
Eighth Amendment claim, only that they are unable to             interest.” Sepulvado, 729 F.3d at 419.
obtain the information needed to discover a potential
Eighth Amendment violation.” Williams, 658 F.3d at 852.

                                                                                             VI.
 [21] On appeal, the prisoners present a new argument—
that their “life interest entitles them to notice of material     [24] The prisoners next press a claim that the Missouri
information about the lethal drug with which they will           officials violate the Equal Protection Clause by executing
be executed.” They rely on the procedural due process            prisoners while legal activity seeking to stay their
decision of *1109 Mathews v. Eldridge, 424 U.S. 319, 96          executions is pending, because the practice contravenes
S.Ct. 893, 47 L.Ed.2d 18 (1976), and urge that the private       the State's written Chronological Sequence of Execution
interests served by disclosure and the risk of an erroneous      policy. They cite the executions of Joseph Franklin, Alan
deprivation of rights without disclosure outweigh the            Nicklasson, and Herbert Smulls, which were carried out
State's interest in avoiding disclosure of details about the     while a pleading was pending in the district court, the
lethal drug and its provenance.                                  court of appeals, or the Supreme Court. The prisoners'
                                                                 theory is that forestalling executions until all litigation is
 [22] The prisoners did not develop an argument based            finished is a “core” provision of the execution protocol,
on Mathews in the district court, and it is too late to raise    and that deviating from a “core” provision violates their
it for the first time on appeal. In any event, the analogy       rights to equal protection of the laws.
to Mathews is inapt. Mathews involved an undisputed
deprivation of a property interest (denial of social security    The relevant portion of the execution policy provides that
benefits), and the question was whether the claimant was         at 11:15 p.m. on the eve of an execution:
entitled by the Due Process Clause to a pre-deprivation
hearing as opposed to merely a post-deprivation hearing.           Director of the Department of Corrections/designee
Id. at 332–33, 96 S.Ct. 893. The prisoners in this case            advises (ERDCC Warden) that (Inmate Name) may be
already have received due process for the deprivation of           escorted to the execution room if no stay is in place and
their life interests: They were convicted and sentenced to         no legal activity is in progress to prevent the execution.
death after a trial in Missouri court, and their convictions
                                                                   If there is pending legal activity to halt the execution
and sentences were upheld on appeal.
                                                                   process, (Inmate Name) will remain in his holding cell
                                                                   and there will be no IV or line established until authority
 [23] At this point, the prisoners seek to discover
                                                                   is granted to do so by the Director of the Department
information about the State's lethal-injection protocol
                                                                   of Corrections/designee.
in order to determine whether the protocol violates
the Eighth Amendment. The prisoners, however, have               App. 335–36.
not pleaded a deprivation of rights under the Eighth
Amendment. This is not a case like Mathews, therefore,           The prisoners contend that the policy permits the Director
where there was an undisputed deprivation of an interest         to grant the Warden *1110 authority to escort a prisoner
protected by the Due Process Clause, and the question            from his cell to the execution chamber only if there is no
was what process is due before the State may accomplish          legal activity in progress designed to halt the execution.
the deprivation. Id. Rather, the prisoners here—like the         They reason that if the second paragraph of the policy


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allowed the Director to initiate an execution procedure           the practice does not violate the Constitution. “The
even while legal proceedings were pending, then the               Equal Protection Clause of the Fourteenth Amendment
first paragraph concerning actions taken when “no legal           commands that no State shall ‘deny to any person within
activity is in progress” would be superfluous.                    its jurisdiction the equal protection of the laws,’ which is
                                                                  essentially a direction that all persons similarly situated
The prisoners' reading of the policy is unlikely: It would        should be treated alike.” City of Cleburne v. Cleburne
allow an inmate to thwart the State's ability to carry            Living Ctr., 473 U.S. 432, 439, 105 S.Ct. 3249, 87 L.Ed.2d
out a lawful sentence simply by making repeated court             313 (1985). “If a legislative classification or distinction
filings designed to prevent an execution during the 24–           neither burdens a fundamental right nor targets a suspect
hour period designated by the Supreme Court of Missouri           class, we will uphold it so long as it bears a rational
for carrying out the sentence. One can imagine counsel for        relation to some legitimate end.” Vacco v. Quill, 521 U.S.
a prisoner even asserting an ethical obligation to ensure         793, 799, 117 S.Ct. 2293, 138 L.Ed.2d 834 (1997) (internal
that some legal activity remains in progress for a full           quotation marks and brackets omitted).
twenty-four hours. We are skeptical of an interpretation of
the State's policy that could effectively foreclose the State's   The prisoners apparently invoke the “fundamental right”
ability to carry out lawful sentences.                            strand of equal protection analysis. They argue that
                                                                  it is unconstitutional for the State to disregard a
The policy is not a model of clarity, but it should not           “core provision” of its execution protocol, and that a
be understood to forbid an execution whenever there               prohibition on executions before legal activity has ceased
is pending legal activity designed to stop the execution.         is a “core provision.” *1111 The prisoners draw the
The policy does not expressly require the Director to             term “core provision” from two decisions of a district
refrain from carrying out a sentence until legal activity         court concerning Ohio's execution protocol. See Cooey
has ceased. To the contrary, the second paragraph quoted          v. Kasich, 801 F.Supp.2d 623 (S.D.Ohio 2011); In re
above contemplates that the Director may grant the                Ohio Execution Protocol Litig., 840 F.Supp.2d 1044
Warden authority to begin preparations for an execution           (S.D.Ohio), aff'd, 671 F.3d 601 (6th Cir.2012). The
even when legal activity is ongoing. The first quoted             Ohio district court reasoned that because certain “core”
provision—that the Director may advise the Warden                 provisions of the State's execution protocol were the
to escort the inmate to the execution room if no legal            “precise procedural safeguards” that had been “heralded
activity is in progress—applies by its terms only at 11:15        in prior discussions of Eighth Amendment claims” in
p.m. on the eve of a date of execution. The chronology            the same litigation, “core deviations” from the protocol
does not address a circumstance in which legal activity           burdened a prisoner's “fundamental right” for purposes
delays an execution until later in the 24–hour period.            of equal protection analysis. Cooey, 801 F.Supp.2d at
The second quoted paragraph implies that the Director             652–53. The court thought certain “core deviations ...
retains authority to begin preparations for an execution at       subverted the key constitutional principles that control
a later time despite ongoing legal activity. The prisoners        the execution process.” In re Ohio Execution Protocol
do not allege that the officials have escorted inmates to         Litig., 840 F.Supp.2d at 1049. See also Arthur v. Thomas,
the execution room on the eve of the execution while legal        674 F.3d 1257, 1263 (11th Cir.2012) (concluding that
activity is pending: In the cases of Franklin, Nicklasson,        an inmate stated an equal protection claim by alleging
and Smulls, a district court or a panel of this court             that the State of Alabama substantially deviated from an
entered a stay of execution that was later vacated, and           execution protocol, because “[s]ignificant deviations from
the State eventually proceeded later in the 24–hour period        a protocol that protects inmates from cruel and unusual
authorized for the execution. We therefore conclude that          punishment can violate the Eighth Amendment”).
the prisoners have not stated a claim under the Equal
Protection Clause based on alleged violations of the              Whatever the merits of the Ohio district court's analysis
Department's execution policy.                                    with regard to the execution protocol at issue in those
                                                                  decisions, the prisoners here have not stated a claim that
 [25] Assuming for the sake of analysis, however, that            Missouri's alleged deviations from its protocol burden
the state officials deviate from the execution protocol           a fundamental right. There is no “fundamental right”
by carrying out sentences while legal activity is pending,        to avoid execution while no judicial stay is in effect



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but legal activity is pending. E.g., Hamilton v. Texas,        1088 (9th Cir.), vacated, –––U.S. ––––, 135 S.Ct. 21, 189
497 U.S. 1016, 110 S.Ct. 3262, 111 L.Ed.2d 772 (1990)          L.Ed.2d 873 (2014). The Eleventh Circuit has ruled that
(denying stay of execution despite four votes to grant         the First Amendment does not grant a prisoner a right
writ of certiorari). Fundamental rights consist of only        “to know where, how, and by whom the lethal injection
those rights that are “explicitly or implicitly guaranteed     drugs will be manufactured.” Wellons, 754 F.3d at 1266–
by the Constitution.” San Antonio Indep. Sch. Dist. v.         67. See also Owens v. Hill, 295 Ga. 302, 758 S.E.2d 794,
Rodriguez, 411 U.S. 1, 32–34, 93 S.Ct. 1278, 36 L.Ed.2d        805–06 (2014). We agree with the Eleventh Circuit and
16 (1973). The State's decision to carry out a lawful          the dissenting opinion in the Ninth Circuit and conclude
sentence when there is no judicial stay in place does not      that the prisoners failed to state a claim under the First
burden a prisoner's rights under the Eighth Amendment          Amendment.
or other constitutional provision. If a prisoner advances
an eleventh-hour challenge to an execution, the courts         The Supreme Court held in Press–Enterprise Co. v.
have authority to enter temporary administrative stays         Superior Court, 478 U.S. 1, 8–13, 106 S.Ct. 2735, 92
of execution when necessary and appropriate to allow           L.Ed.2d 1 (1986), that the public enjoys a qualified right
consideration of constitutional claims. The State may          of access to certain criminal proceedings. The Court has
deem it prudent to delay an execution while litigation is      recognized this right of access in preliminary hearings,
pending, especially when final resolution is likely to occur   id. at 10, 106 S.Ct. 2735, criminal trials, Richmond
before time expires for carrying out the sentence on the       Newspapers, Inc. v. Virginia, 448 U.S. 555, 579–80, 100
appointed date. But the Constitution does not require the      S.Ct. 2814, 65 L.Ed.2d 973 (1980), and voir dire, Press–
State to implement a self-imposed stay when a state or         Enterprise Co. v. Superior Court, 464 U.S. 501, 505–11,
federal court has declined to act.                             104 S.Ct. 819, 78 L.Ed.2d 629 (1984). This court has
                                                               held that the First Amendment right of access applies to
                                                               some records filed in criminal proceedings—specifically,
                                                               documents filed in support of search warrant applications
                           VII.
                                                               —see In re Search Warrant for Secretarial Area Outside
 [26] The prisoners also argue that they stated a claim        Office of Gunn, 855 F.2d 569, 572–73 (8th Cir.1988),
that the First Amendment entitles them to information          but unlike the Ninth Circuit, we have not ruled that an
regarding the source of the drug to be used in their           execution constitutes the kind of criminal proceeding to
executions. A Missouri statute, Mo.Rev.Stat. § 546.720.2,      which the public enjoys a qualified right of access under
provides that “[t]he identities of members of the execution    the First Amendment. Cf. Cal. First Amendment Coal. v.
team, as defined in the execution protocol of the              Woodford, 299 F.3d 868, 877 (9th Cir.2002).
department of corrections, shall be kept confidential.”
The prisoners contend that the statute violates their           [27] [28] Assuming for the sake of analysis, however,
First Amendment rights insofar as it permits Missouri          that the Press–Enterprise analysis applies to executions,
to conceal the identity of the compounding pharmacy            and even to information regarding the source of drugs to
that provides the pentobarbital and the identities of the      be used in lethal injections, the prisoners fail to state a
pharmacy's suppliers of ingredients for the compounding        claim for a qualified right of public access. To determine
process. The prisoners argue that concealing this              whether a First Amendment public right of access attaches
information violates their right of access to records          to a particular proceeding, courts consider “whether the
associated with governmental execution proceedings and         place and process have historically been open to the press
constitutes an impermissible content-based restriction on      and general public” and “whether public access plays a
access to information.                                         significant positive role in the functioning of the particular
                                                               process in question.” Press–Enterprise, 478 U.S. at 8,
 *1112 A divided panel of the Ninth Circuit, considering a     106 S.Ct. 2735. In Press–Enterprise, the Court evaluated
comparable First Amendment claim, recently enjoined the        whether the preliminary hearings at issue had a “tradition
execution of an Arizona inmate until the State provided        of accessibility” under the first prong of the analysis, and
him with the name and provenance of drugs to be used in        concluded that from the early nineteenth century “until
his execution. The Supreme Court promptly vacated the          the present day, the near uniform practice of state and
injunction without dissent. Wood v. Ryan, 759 F.3d 1076,



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federal courts has been to conduct preliminary hearings in      of a purchaser's speech,” and subsequent use of the
open court.” 478 U.S. at 10, 106 S.Ct. 2735.                    information was limited to non-marketing purposes. Id. at
                                                                2662–63. The Missouri statute challenged by the prisoners
The prisoners assert that they have a similar right to          is different. The statute does not limit the dissemination
know the identities of the pharmacy that compounds              of identities of execution team members based on the
the pentobarbital and of its suppliers of chemicals, yet        identity of the individual seeking that information and
they fail to allege a “tradition of accessibility” to that      the likely content of that individual's speech, and the law
information. We have reserved judgment about whether            does not limit the use of any such information to certain
even an execution itself must be made public, Rice v.           types of speech. The prisoners thus fail to state a claim
Kempker, 374 F.3d 675, 678 n. 2 (8th Cir.2004), and             that § 546.720.2 is a content-based restriction on access to
the prisoners have not alleged facts or cited authority         information that merits strict scrutiny.
establishing that the particulars of execution methods
have “historically been open to the press and general
public.” Press–Enterprise, 478 U.S. at 8, 106 S.Ct.
                                                                                           VIII.
2735. The prisoners have alleged only that Missouri did
not include the suppliers of drugs for lethal injections         [30] The prisoners complain that the use of compounded
as members of the confidential execution team before            pentobarbital as a lethal drug in executions violates the
October 2013. That *1113 the identities of the drug             federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301,
suppliers were not made confidential by statute or              et seq., and the Controlled Substances Act. 21 U.S.C.
regulation before October 2013 falls well short of the          §§ 801, et seq. They acknowledge, however, that there is
required “tradition of accessibility” that might give rise to   no private right of action under federal law to enforce
a right of access. Indeed, the prisoners do not even allege     these alleged violations. 21 U.S.C. § 337(a); Buckman Co.
that the information was accessible to the public before        v. Plaintiffs' Legal Comm., 531 U.S. 341, 349 n. 4, 121
October 2013. Even if the prisoners can show, moreover,         S.Ct. 1012, 148 L.Ed.2d 854 (2001); Durr v. Strickland,
that Missouri “at one time voluntarily disclosed such           No. 2:10–cv–288, 2010 WL 1610592, at *2–3 (S.D.Ohio),
information, it does not a tradition make.” Wood, 759           aff'd, 602 F.3d 788, 789 (6th Cir.2010) (affirming district
F.3d at 1095 (Bybee, J., dissenting). In sum, the prisoners     court's holding that no private right of action exists under
fail to state a claim of a qualified right of public access     the Controlled Substances Act). Instead, they assert that
to information regarding the source of the compounded           the Missouri Administrative Procedure Act gives them a
pentobarbital to be used in their executions because they       private right of action to sue for alleged violations of the
do not plausibly allege a history of openness to the            federal statutes. The district court ruled that the prisoners
general public. The complaint likewise provides no basis        failed to state a claim.
to conclude that public access to detailed information
about execution protocols plays a significant positive          Under the Missouri APA, where there is no formal
role in the functioning of the process in question, given       hearing before a state agency in a contested case, a
that the practical effect of public disclosure would likely     court may review a decision of an administrative officer
be frustration of the State's ability to carry out lawful       or body that “determin[es] the legal rights, duties or
sentences.                                                      privileges of any person.” Mo.Rev.Stat. § 536.150.1;
                                                                see City of Valley Park v. Armstrong, 273 S.W.3d 504,
 [29] The prisoners also argue that the confidentiality         506–07 (Mo.2009) (en banc); State ex rel. Yarber v.
requirements of § 546.720.2 constitute a content-based          McHenry, 915 S.W.2d 325, 327–28 (Mo.1995) (en banc).
restriction on access to information that merits strict         The court may determine *1114 whether the decision
scrutiny. They rely on Sorrell v. IMS Health Inc., –––U.S.      is “unconstitutional, unlawful, unreasonable, arbitrary,
––––, 131 S.Ct. 2653, 180 L.Ed.2d 544 (2011), where the         or capricious or involves an abuse of discretion.”
Court held that a Vermont law prohibiting the sale and          Mo.Rev.Stat. § 536.150.1.
use of pharmaceutical prescriber-identifying information
was a restriction on “speech with a particular content,”         [31] The prisoners fail to state a claim under the Missouri
because sale of that information was permitted in certain       APA because they have not alleged that the decision
exceptional situations “based in large part on the content      of corrections officials to adopt the execution protocol



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determines their “legal rights, duties or privileges.”          of severe pain imposed by Missouri's execution protocol
“Section 536.150 pertains only to review of decisions           is inadequately pled; and (2) the death-row inmates have
affecting private rights and interests.” St. Louis Cnty.        failed to adequately plead a readily-available alternative
v. State Tax Comm'n, 608 S.W.2d 413, 414 (Mo.1980)              method of execution.
(en banc). “[T]o make a prima facie case under Section
536.150, an individual must plead facts that, if true,
would show that he has been denied some legal right
                                                                                              A
or entitlement to a privilege.” McIntosh v. LaBundy, 161
S.W.3d 413, 416 (Mo.Ct.App.2005). The plaintiff must            The majority first holds the death-row inmates have
thus identify a “rule, statute, or other authority creating a   failed to plead sufficient factual matter on the risk of
legal right or entitlement.” Id. at 417.                        harm to state a plausible claim of relief. Federal Rule of
                                                                Civil Procedure 8(a)(2) requires only “a short and plain
The prisoners allege a right not to “be executed in a           statement of the claim showing that the pleader is entitled
manner that violates federal laws protecting the end-users      to relief.” To withstand the State's Rule 12(b)(6) motion,
of regulated pharmaceuticals.” They fail, however, to           the complaint must contain sufficient factual allegations
identify a statute or other authority that creates a private    to “state a claim to relief that is plausible on its face.”
legal right or entitlement. The federal statutes cited in       Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547, 127 S.Ct.
the complaint do not create private rights of action. The       1955, 167 L.Ed.2d 929 (2007). “Threadbare recitals of
prisoners cannot employ the Missouri APA to allege the          the elements of a cause of action, supported by mere
denial of a private legal right under the federal statutes      conclusory statements, do not suffice.” Ashcroft v. Iqbal,
when the federal statutes themselves do not create such a       556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
private legal right.                                             *1115 (citing Twombly, 550 U.S. at 555, 127 S.Ct. 1955).

***                                                             “[T]aking all facts alleged in the complaint as true, and
                                                                making reasonable inferences in favor of the nonmoving
The judgment of the district court is affirmed.                 party,” the death-row inmates have sufficiently pled their
                                                                Eighth Amendment claim. Smithrud v. City of St. Paul,
                                                                746 F.3d 391, 397 (8th Cir.) cert. denied, ––– U.S. ––––, 135
BYE, Circuit Judge, with whom MURPHY and KELLY,                 S.Ct. 361, 190 L.Ed.2d 251 (2014). The death-row inmates'
Circuit Judges, join, dissenting.                               complaint alleges the compounded pentobarbital used by
The constitutionality of the death penalty itself is not        Missouri creates a substantial risk of harm and inflicts
before us in this case, and we proceed on the assumption        a substantial risk of severe pain. The death-row inmates
the death penalty is constitutional. While it follows there     have also shown the risk of pain is objectively intolerable.
must be a constitutional means of carrying out a death
sentence, it has not been determined that Missouri's            The death-row inmates' second amended complaint
current execution protocol is constitutional. The district      includes thirty-two attached exhibits, including
court erred in dismissing the death-row inmates' suit,          declarations and affidavits from medical professionals.
and the death-row inmates should have the opportunity           The pleadings demonstrate substantial concerns with
to conduct discovery and fully litigate their claims. I         compounded pentobarbital, including potency levels,
therefore respectfully dissent.                                 contamination, pH levels, and shelf-life. Despite such
                                                                pleadings, the majority concludes these potentialities are
                                                                hypothetical and do not “rise[ ] to the level of ‘sure or very
                                                                likely’ to cause serious harm or severe pain.” The majority
                              I                                 takes offense at the death-row inmates' “allegations of
                                                                generalized harms” from compounded pentobarbital,
I disagree with the entirety of Part II of the majority's
                                                                but such allegations are exactly what must be pled to
opinion, which dismisses the death-row inmates' Eighth
                                                                survive a Rule 12(b)(6) motion to dismiss. Rule 8 only
Amendment claim. The majority provides two alternative
                                                                requires “a short and plain statement” showing the death-
reasons for dismissing the suit: (1) as a matter of law, the
                                                                row inmates are entitled to relief. No higher pleading
death-row inmates' claim regarding the substantial risk


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standard is applicable to this suit. Cf. Fed.R.Civ.P. 9(b)
(establishing heightened pleading standards in certain
                                                                                             B
cases, such as fraud or mistake). The death-row inmates
could not possibly include allegations more specific to          In an alternative holding on the death-row inmates'
the compounding done for or by Missouri without the              Eighth Amendment claim, the majority finds the death-
benefit of discovery. To know about Missouri's particular        row inmates failed to plead a specific readily-available
compounding procedure and the particular dangers of              alternative method of execution and finds such a failure
such a procedure, the death-row inmates need discovery           fatal to this suit. I disagree.
about the various sources of the drugs, how the drugs are
compounded, whether the compounded drugs are tested              In Hill v. McDonough, 547 U.S. 573, 576, 126 S.Ct.
for potency, contamination, or pH levels, and how and for        2096, 165 L.Ed.2d 44 (2006), the Supreme Court
how long the compounded drugs are stored. Missouri has           examined whether a death-row inmate challenging
steadfastly refused to disclose any information related to       Florida's execution protocol had a cognizable suit under
the compounded pentobarbital. See e.g., In re Lombardi,          42 U.S.C. § 1983, or whether such a claim needed
741 F.3d 888, 889 (8th Cir.), reh'g denied, 741 F.3d 903         to be brought under 28 U.S.C. § 2254. The Supreme
(8th Cir.) and cert. denied sub nom. Zink v. Lombardi,           Court clarified that a challenge to a state's execution
––– U.S. ––––, 134 S.Ct. 1790, 188 L.Ed.2d 760 (2014)            procedure may proceed under § 1983, particularly when
(ruling in favor of Missouri in an appeal “to prohibit the       a “[c]omplaint does not challenge the lethal injection
district court from enforcing orders that [the State] must       sentence as a general matter but seeks instead only to
disclose in civil discovery, for use by opposing counsel,        enjoin [the State] from executing [the plaintiff] in the
the identities of (1) the physician who prescribes the           manner they currently intend.” Hill, 547 U.S. at 580,
chemical used in Missouri executions, (2) the pharmacist         126 S.Ct. 2096 (internal quotation marks omitted). In
who compounds the chemical, and (3) the laboratory that          explaining the requirements for a § 1983 challenge to
tests the chemical for potency, purity, and sterility”). It is   execution protocols, the Supreme Court considered and
not the death-row inmates' burden at the pleading stage          rejected the proposition that “a capital litigant's § 1983
to show their claims are “sure or very likely;” the death-       action can proceed [only] if ... the prisoner identified
row inmates must merely show they have stated a claim            an alternative, authorized method of execution.” Id.
for relief.                                                      at 582, 126 S.Ct. 2096. In rejecting that proposition,
                                                                 the Supreme Court explained “[i]f the relief sought
The majority is unconcerned with expert opinions and             would foreclose execution, recharacterizing a complaint
a host of other evidence which shows improperly                  as an action for habeas corpus might be proper.”
compounded pentobarbital would “sure or very likely”             Id. “Imposition of heightened pleading requirements,
cause unconstitutionally painful deaths. The majority            however, is quite a different matter. Specific pleading
acknowledges this evidence exists but focuses on the one         requirements are mandated by the Federal Rules of Civil
thing the death-row inmates cannot know at this stage:           Procedure, and not, as a general rule, through case-by-
“specific factual allegations regarding the production           case determinations of the federal courts.” Id. (citing
of the pentobarbital” to be used in their executions.            Fed.R.Civ.P. 8 and 9; Swierkiewicz v. Sorema N.A., 534
Because the death-row inmates have adequately pled that          U.S. 506, 512–14, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002)).
improperly compounded pentobarbital is sure or very
likely to cause pain and suffering at an unconstitutional        A year later, the Supreme Court addressed the pleading
level, the death-row inmates have pled enough to survive         requirements of exhaustion under the Prison Litigation
a motion to dismiss under Rule 12(b)(6). Thus, the death-        Reform Act in Jones v. Bock, 549 U.S. 199, 127 S.Ct.
row inmates *1116 should be allowed to utilize discovery         910, 166 L.Ed.2d 798 (2007). The Supreme Court, relying
in the normal course of litigation to determine the              on the Federal Rules of Civil Procedure and rejecting a
actual process used by Missouri's current compounding            heightened pleading requirement, found the usual practice
pharmacies.                                                      under the Federal Rules should be followed in § 1983 suits.
                                                                 The Supreme Court thereafter reaffirmed the pleading
                                                                 requirements for death-row inmates: “And just last Term,
                                                                 in Hill ..., we unanimously rejected a proposal that §



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1983 suits challenging a method of execution must identify     when Baze does not mention pleading requirements or the
an acceptable alternative.” Id. at 212, 127 S.Ct. 910.         Federal Rules of Civil Procedure. Webster v. Fall, 266 U.S.
In addressing the pleading requirements for death-row          507, 511, 45 S.Ct. 148, 69 L.Ed. 411 (1925) (“Questions
inmates challenging a method of execution, the Supreme         which merely lurk in the record, neither brought to the
Court has been clear: there is no heightened pleading rule     attention of the court nor ruled upon, are not to be
requiring inmates to identify any alternative method of        considered as having been so decided as to constitute
execution.                                                     precedents.”). But perhaps most troubling is the majority's
                                                               reliance on Baze when Baze does not even mention Hill or
The majority dismisses these clear statements by the           Jones. Shalala v. Ill. Council on Long Term Care, Inc., 529
Supreme Court, and instead relies on Baze v. Rees,             U.S. 1, 18, 120 S.Ct. 1084, 146 L.Ed.2d 1 (2000) (“Th[e
553 U.S. 35, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008),           Supreme Court] does not normally overturn ... earlier
to justify the imposition of a heightened pleading             authority sub silentio....”).
standard. The Baze challenge to Kentucky's three-drug
execution protocol came to the Supreme Court in a              The Supreme Court warns “that courts should generally
declaratory judgment action after “[t]he trial court held      not depart from the usual practice under the Federal Rules
extensive hearings and entered detailed findings of fact       on the basis of perceived policy concerns.” Jones, 549 U.S.
and conclusions of law.” Id. at 41, 128 S.Ct. 1520.            at 212, 127 S.Ct. 910. Despite this rule, the majority bases
The death-row inmates in Baze, challenging Kentucky's          its decision on policy considerations: whether discovery
execution protocol, alleged a readily-available alternative.   and litigation would pressure Missouri's suppliers and
The Supreme Court held “a condemned prisoner cannot            agents to discontinue providing the drugs for executions.
successfully challenge a State's method of execution           The question of whether discovery is appropriate or
merely by *1117 showing a slightly or marginally safer         necessary is not currently before this court. Neither is
alternative.” Id. at 51, 128 S.Ct. 1520. Rather, the Supreme   the question of an injunction about the potential harm
Court established that when an alternative method of           the State might suffer from disclosure of drug providers.
execution is proposed, “the proffered alternatives must        The majority appears to impose a heightened pleading
effectively address a substantial risk of serious harm.” Id.   standard for fear that this suit would otherwise eventually
at 52, 128 S.Ct. 1520 (internal quotation marks omitted).      require the disclosure of information which it fears would
And, if a death-row inmate puts forward such a proposed        hamper Missouri's ability to carry out executions. This is
alternative, it must be “feasible, readily implemented,        not a reason to impose a heightened pleading standard in
and ... significantly reduce a substantial risk of severe      opposition to Supreme Court precedent and the Federal
pain.” Id.                                                     Rules of Civil Procedure.

Baze does not establish the standard for all execution-        If policy concerns were relevant to the establishment
protocol challenges. Instead, Baze establishes that            of case-by-case pleading standards, policy concerns
when death-row inmates can show a readily-available            would weigh in favor of allowing this suit to proceed.
alternative with sufficient documented advantages, “a          It is troubling that under the majority's rule, the
State's refusal to change its method can be viewed as ‘cruel   constitutionality of an execution method is determined
and unusual’ under the Eighth Amendment.” 553 U.S.             not by the pain and suffering caused by that method, but
at 52, 128 S.Ct. 1520. Baze reaches no further than this       rather by what resources a death-row inmate can garner
holding. Baze did not purport to limit Eighth Amendment        to show an available alternative. If the manufacturers
challenges of execution protocols to only those cases          of safer drugs were willing to provide Missouri with
where death-row inmates propose an alternative method,         execution drugs, Missouri's current execution protocol
and Baze did not change the pleading requirements for          would likely be held unconstitutional. See Baze, 553 U.S.
Eighth Amendment cases.                                        at 52, 128 S.Ct. 1520 (discussing requirements for a §
                                                               1983 *1118 suit when an alternative method of execution
Despite the limited nature of Baze, the majority relies        is readily available). In no other area do the private
on Baze to establish that death-row inmates must plead         acts of third-parties so influence the determination of
a feasible and readily-available alternative method of         whether a government act is unconstitutional. Making it
execution. It is troubling the majority relies on Baze         even more difficult for death-row inmates, they now must



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surpass these barriers at the pleading stage, rather than       methods of lethal injection the Department could choose
at the summary judgment stage after the completion of           to use would be constitutional.” 741 F.3d at 905 (internal
discovery.                                                      quotation marks omitted).

Simply put, neither the Constitution nor the Federal            The Eighth Circuit now changes, once again, the pleading
Rules of Civil Procedure require a plaintiff challenging the    requirements for an Eighth Amendment claim. Because
constitutionality of government actions to simultaneously       the death-row inmates complied with In re Lombardi, and
suggest a remedy—a remedy which cannot be to                    because the Eighth Circuit is for the first time imposing
simply stop the unconstitutional activity. Such a               a stricter pleading requirement, a remand is proper. The
heightened pleading standard has not been required in           death-row inmates should have the opportunity to plead
other constitutional cases, and should not be required          a named alternative method before the complaint is
here. Based on the foregoing reasons, I dissent from            dismissed. However, in light of today's ruling dismissing
the imposition of any heightened pleading standards             the complaint, the death-row inmates, if they choose to
when death-row inmates challenge a state's method of            do so, will have to settle for initiating new litigation in the
execution.                                                      district court and filing a complaint which complies with
                                                                the newly-established pleading standards. For example, if
                                                                the death-row inmates desire, the death-row inmates could
                                                                propose as an available alternative an execution protocol
                             C
                                                                using pentobarbital which was properly compounded
Although I believe the pleading requirement imposed by          at an FDA-approved compounding pharmacy, and has
the majority is an incorrect application of the law, I           *1119 thereafter been tested for identity, potency, purity,
recognize my position in the minority and therefore find        and contamination.
it prudent to comment on the resolution of this case.
Even if the majority is correct in imposing this additional
pleading requirement, it is improper to dismiss the death-                                    D
row inmates' suit at this juncture. Rather, the matter
should be remanded for the death-row inmates to amend           The majority also extends the imposition of a heightened
their complaint because the death-row inmates' second           pleading requirement beyond the death-row inmates'
amended complaint does, in fact, satisfy the pleading           Eighth Amendment claims. Without an explanation
requirements previously suggested by the Eighth Circuit.        of this extension, the majority resolves the death-row
                                                                inmates' medical needs claim “[f]or reasons discussed
In my view, in denying rehearing in the case of In re           in Part II.” The majority also dismisses the death-row
Lombardi the Eighth Circuit clarified that death-row            inmates' due process claim at least in part based on the
inmates alleging an Eighth Amendment violation based            death-row inmates' failure to “plead[ ] a deprivation of
on the method of execution must, in their pleadings, (1)        rights under the Eighth Amendment.” I disagree with any
“concede [ ] that ‘other methods of lethal injection the        extension of the heightened pleading requirement, and
Department could choose to use would be constitutional,’        dissent from these portions of the majority's opinion.
” In re Lombardi, 741 F.3d 903, 905 (8th Cir.2014) (en
banc) (quoting Hill, 547 U.S. at 580, 126 S.Ct. 2096); and
(2) “allege[ ] ‘that the challenged procedure presents a risk
                                                                                              II
of pain the State can avoid while still being able to enforce
the sentence ordering a lethal injection,’ ” id. (quoting       The majority opinion establishes heightened pleading
Hill, 547 U.S. at 581, 126 S.Ct. 2096). In their second         requirements for death-row inmates challenging a state's
amended complaint, the death-row inmates “concede that          method of execution under the Eighth Amendment. This
other methods of lethal injection the Department could          imposition is in opposition to governing Supreme Court
choose to use would be constitutional.” Zink v. Lombardi,       precedent and the Federal Rules of Civil Procedure. In
No. 12–4209, Doc. 338 at 202 (W.D.Mo. Feb. 2, 2014).            other words, the Eighth Circuit now prevents death-
Thus, the death-row inmates pleaded exactly what In             row inmates from truly accessing the federal courts: a
re Lombardi required of them: a concession “that other          death-row inmate cannot benefit from discovery and is


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prohibited from challenging even a truly unconscionable          Second, if in fact the issue is be addressed, I disagree
method of execution if no other methods are readily              substantively with the *1120 court's holding. In Hill
available and obvious at the pleading stage.                     v. McDonough, the Supreme Court considered whether
                                                                 a prisoner's Eighth Amendment challenge to Florida's
The death-row inmates have established the risk of               lethal-injection protocol could proceed as a § 1983 action
using alleged compounded pentobarbital to carry out an           or must proceed as a habeas action. 547 U.S. 573, 576,
execution, and have conceded other forms of execution            126 S.Ct. 2096, 165 L.Ed.2d 44 (2006). In finding that
are constitutional. Therefore, I would reverse the district      the action could proceed under § 1983, the Court rejected
court, stay the executions of the death-row inmates              the government's contention that the prisoner must plead
pending resolution of the suit, and remand for the district      an alternative means of execution to state a § 1983 claim.
court to conduct discovery in its usual and normal course        Id. at 582, 126 S.Ct. 2096. The Hill Court noted that
of business.                                                     “[s]pecific pleading requirements are mandated by the
                                                                 Federal Rules of Civil Procedure, and not, as a general
                                                                 rule, through case-by-case determinations of the federal
                                                                 court.” Id. (citing Swierkiewicz v. Sorema N.A., 534 U.S.
SHEPHERD, Circuit Judge, dissenting in part.
                                                                 506, 512–14, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002)).
In Lombardi, because the prisoners had not conceded
that other methods of lethal injection which the state of
                                                                 Lest there be any confusion about underpinnings of the
Missouri could choose would be constitutional, “[w]e were
                                                                 holding, in its very next term, in Jones v. Bock, the
not required to address whether alleging that the current
                                                                 Supreme Court explained, “[J]ust last Term, in Hill v.
method of execution creates a substantial risk of harm
                                                                 McDonough, we unanimously rejected a proposal that §
when compared to known and available alternatives,
                                                                 1983 suits challenging a method of execution must identify
without specifying an alternative, would be sufficient to
                                                                 an acceptable alternative.” 549 U.S. 199, 213, 127 S.Ct.
state a claim in light of Hill and Baze.” In re Lombardi, 741
                                                                 910, 166 L.Ed.2d 798 (2007) (internal citation omitted).
F.3d 903, 905 (8th Cir.2014). The court now holds, in Part
II.B. of this opinion, that even with such a concession the
                                                                 Reading Hill and Jones together, I cannot conclude that
prisoners must indeed identify an alternative method of
                                                                 the Supreme Court has mandated a heightened pleading
execution that is feasible, can be readily implemented, and
                                                                 standard requiring identification of an alternative method
will significantly reduce a substantial risk of severe pain in
                                                                 of execution in this § 1983 action asserting an Eighth
order to state an Eighth Amendment claim. I cannot agree
                                                                 Amendment claim. The Supreme Court explicitly rejected
with this conclusion.
                                                                 such a requirement in Jones, and I take the Court to mean
                                                                 what it says. In Part II.B., this court attempts to confine
First, it is not necessary for the court to reach this issue.
                                                                 Hill to its holding that an Eighth Amendment challenge
In Part II.A. of this opinion we explain that the second
                                                                 to a lethal injection protocol may proceed under § 1983
amended complaint's Eighth Amendment challenge to
                                                                 action rather than a decision relating to the sufficiency of
Missouri's method of execution by lethal injection fails
                                                                 a complaint under the Federal Rules. In Jones, however,
to state a claim because it does not include the requisite
                                                                 the Supreme Court addresses the adequacy of a complaint
plausible allegations that the lethal execution protocol
                                                                 under Rule 8 and rejects court devised heightened pleading
creates a substantial risk of severe pain. So holding, we
                                                                 requirements.
need not reach the issue of the sufficiency of the second
amended complaint's allegation of an alternative method
                                                                 Finally, in Part II.B., the court identifies the risk that
of execution. See Raby v. Livingston, 600 F.3d 552, 560–
                                                                 allowing protracted discovery could have the practical
61 (5th Cir.2010) (“Because we find that Raby has failed
                                                                 effect of thwarting the State's ability to carry out
to establish that the Texas lethal injection protocol creates
                                                                 any executions. Although I am cognizant of such a
a demonstrated risk of severe pain, we do not reach the
                                                                 possibility, the Federal Rules of Civil Procedure govern
second step of the Baze test, whether the risk created by
                                                                 the sufficiency of the second amended complaint rather
the current protocol is substantial when compared to the
                                                                 than policy considerations. See Jones, 549 U.S. at 212,
known and available alternatives.”).
                                                                 127 S.Ct. 910 (“[C]ourts should generally not depart from




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                                                                    agree with the court's conclusion that the prisoners must
the usual practice under the Federal Rules on the basis of
                                                                    also identify an alternative method of execution in the
perceived policy concerns.”).
                                                                    complaint.
For the reasons set forth in Part II.A. of the
                                                                    Accordingly, I join in all but Part II.B. of this opinion.
court's opinion, the second amended complaint's Eighth
Amendment challenge to Missouri's lethal injection
protocol must be dismissed because it does not include              All Citations
the requisite plausible allegations that the protocol creates
the substantial risk of severe pain. However, I cannot              783 F.3d 1089


Footnotes
1      Chief Judge Riley and Judges Wollman, Loken, Smith, and Gruender join this opinion. Judge Colloton joins all but Part
       II.A of this opinion. Judge Shepherd joins all but Part II.B of this opinion.
2      The Honorable Beth Phillips, United States District Judge for the Western District of Missouri.
3      The prisoners do not develop an argument on appeal concerning the dismissal of their claim alleging cruel and unusual
       punishment under the Missouri Constitution.
4      pH is a measure of the acidity or basicity of a solution. See Taber's Cyclopedic Medical Dictionary 1377 (Clayton L.
       Thomas ed., 16th ed. 1989). According to the affidavits attached to the prisoners' second amended complaint, maintaining
       a proper pH is an important aspect of a properly produced drug. If a drug is too acidic or too basic, it may be incompatible
       with human blood, causing various unintended reactions. See R. Doc. 338, at Ex. 6.
5      Central venous access involves the insertion of a catheter into a large vein in a person's neck, chest, or groin. Peripheral
       venous access involves the placement of a catheter in a peripheral vein, most commonly in the hand or arm. See 6 The
       Gale Encyclopedia of Medicine 4571–72 (Laurie J. Fundukian ed., 4th ed. 2011).
6      Judge Bye, post, at 1118–19, suggests incorrectly that this court's order denying rehearing in Lombardi established that
       a prisoner could state an Eighth Amendment claim without identifying a feasible alternative if he merely conceded that
       other methods of lethal injection the State could choose to use would be constitutional. The Lombardi order simply recited
       the concession made by the plaintiffs in Hill, and observed that the plaintiffs in Lombardi did not make such an allegation.
       In re Lombardi, 741 F.3d 903, 905 (8th Cir.2014). The order declared that “[w]e were not required to address whether
       alleging that the current method of execution creates a substantial risk of harm when compared to known and available
       alternatives, without specifying an alternative, would be sufficient to state a claim in light of Hill and Baze.”Id. (emphasis
       added).
7      Judge Shepherd, while voting to affirm, also files a “dissenting” opinion on the ground that Part II.B is unnecessary to the
       decision. It is not uncommon for courts to decide cases on alternative grounds, e.g., United States v. Farlee, 757 F.3d 810,
       820 (8th Cir.2014), and the Supreme Court recently noted the “unremarkable proposition” that a court's decision to rely
       on one of two possible alternative grounds does not strip it of power to decide the second question, particularly when the
       court's decree is subject to review by the Supreme Court. Already, LLC v. Nike, Inc., ––– U.S. ––––, 133 S.Ct. 721, 729,
       184 L.Ed.2d 553 (2013). Given our conclusion in Part II.B, moreover, it could just as well be said that Part II.A concerning
       the complaint's allegations of a substantial risk of severe pain is unnecessary. Indeed, this court in Lombardi (joined by
       Judge Shepherd) concluded that a previous complaint filed by the prisoners failed to state a claim solely because the
       prisoners did not make a sufficient allegation about an alternative method of execution. 741 F.3d at 895–96.


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                                                              [2] substitution of anesthetic in lethal injection protocol
                                                              did not violate Eighth Amendment, as required to warrant
                     656 F.3d 157
                                                              motion to reopen.
            United States Court of Appeals,
                    Third Circuit.
                                                              Affirmed.
               Robert W. JACKSON, III
                           v.
     Carl C. DANBERG, Commissioner, Delaware
         Department of Correction; Thomas L.                   West Headnotes (12)
        Carroll, Warden Delaware Correctional
     Center; Paul Howard, Bureau Chief Delaware                [1]    Sentencing and Punishment
       Bureau of Prisons; Other Unknown State                             Discretion of lower court
       Actors Responsible for and participating                       Court of Appeals reviews a district court's
      in the carrying out of Plaintiff's Execution.                   denial of a stay of execution for abuse of
       Robert W. Jackson, III, individually and                       discretion, which may be found where its
      on behalf of the Certified Class, Appellant.                    conclusion includes the commission of a
                                                                      serious error of law or a mistake in considering
                       No. 11–9002.                                   the facts.
                             |
                   Argued July 28, 2011.                              2 Cases that cite this headnote
                             |
                    Filed: Sept. 7, 2011.
                                                               [2]    Criminal Law
Synopsis                                                                  Discretion of Lower Court
Background: State death row inmate brought § 1983                     Court of Appeals reviews a district court's
action challenging Delaware's lethal injection protocol as            denial of a motion to reopen for abuse of
cruel and unusual in violation of Eighth Amendment.                   discretion. Fed.Rules Civ.Proc.Rule 60(b, d),
Following grant of motion for class action certification,             28 U.S.C.A.
240 F.R.D. 145, the United States District Court for the
District of Delaware, Sue L. Robinson, J., 601 F.Supp.2d              19 Cases that cite this headnote
589, granted the state's motion for summary judgment.
Inmate appealed. The United States Court of Appeals,           [3]    Sentencing and Punishment
Fisher, Circuit Judge, 594 F.3d 210, affirmed. Shortly                    Stay of execution
after affirmance, Delaware changed its protocol to include            A stay of execution is an equitable remedy that
an alternative anesthetic and inmate moved to reopen and              is not available as a matter of right, and equity
for stay of execution. The United States District Court for           must be sensitive to the State's strong interest
the District of Delaware, Sue L. Robinson, J., 2011 WL                in enforcing its criminal judgments without
3205453, denied motions. Inmate appealed.                             undue interference from the federal courts.

                                                                      Cases that cite this headnote
Holdings: The Court of Appeals, Fisher, Circuit Judge,
held that:                                                     [4]    Sentencing and Punishment
                                                                          Stay of execution
[1] denial of motion for stay of execution was not abuse of           The standard for issuance of a stay
discretion, and                                                       of execution is like that for issuance
                                                                      of a preliminary injunction, and requires
                                                                      consideration of four factors: (1) whether the
                                                                      stay applicant has made a strong showing



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       that he is likely to succeed on the merits;                 A stay of execution may only be granted where
       (2) whether the applicant will be irreparably               the condemned prisoner establishes that the
       injured absent a stay; (3) whether issuance                 State's lethal injection protocol creates a
       of the stay will substantially injure the other             demonstrated risk of severe pain and that
       parties interested in the proceeding; and (4)               the risk is substantial when compared to the
       where the public interest lies.                             known and available alternatives.

       4 Cases that cite this headnote                             4 Cases that cite this headnote


 [5]   Sentencing and Punishment                            [9]    Sentencing and Punishment
           Stay of execution                                           Mode of execution
       Inmates seeking time to challenge the manner                Sentencing and Punishment
       in which the State plans to execute them must                   Stay of execution
       satisfy all of the requirements for a stay of               District court's denial of prisoner's motion for
       execution, including a showing of a significant             a stay of execution, based on prisoner's claim
       possibility of success on the merits.                       that Delaware's use of pentobarbital as part
                                                                   of its lethal injection protocol was cruel and
       Cases that cite this headnote
                                                                   unusual punishment in violation of Eighth
                                                                   Amendment, was not abuse of discretion;
 [6]   Sentencing and Punishment                                   purpose of the anesthetic in Delaware's lethal
           Methods of Punishment                                   injection protocol was to render the prisoner
       Subjecting individuals to a risk of future                  unconscious before administration of the
       harm-not simply actually inflicting pain-can                second and third drugs, and there was no
       qualify as cruel and unusual punishment;                    affirmative evidence that pentobarbital failed
       however, to constitute a violation of the                   to do this, or that it created a demonstrated
       Eighth Amendment, the conditions presenting                 risk of severe pain. U.S.C.A. Const.Amend. 8.
       the risk must be sure or very likely to cause
                                                                   4 Cases that cite this headnote
       serious illness and needless suffering, and
       give rise to sufficiently imminent dangers.
       U.S.C.A. Const.Amend. 8.                             [10]   Sentencing and Punishment
                                                                       Mode of execution
       1 Cases that cite this headnote
                                                                   A condemned prisoner cannot successfully
                                                                   challenge a state's method of execution under
 [7]   Sentencing and Punishment                                   the Eighth Amendment merely by showing a
           Mode of execution                                       slightly or marginally safer alternative; rather,
       Simply because an execution method may                      an inmate must first show that a state's current
       result in pain, either by accident or as an                 protocol creates a demonstrated risk of severe
       inescapable consequence of death, does not                  pain. U.S.C.A. Const.Amend. 8.
       establish the sort of objectively intolerable risk
                                                                   3 Cases that cite this headnote
       of harm that qualifies as cruel and unusual
       under the Eighth Amendment. U.S.C.A.
       Const.Amend. 8.                                      [11]   Federal Civil Procedure
                                                                       Catch-all provisions
       1 Cases that cite this headnote
                                                                   Relief from judgment under civil procedure
                                                                   rule's “catch-all” provision is available
 [8]   Sentencing and Punishment                                   where party seeking relief demonstrates
           Stay of execution                                       that “extreme” and “unexpected” hardship




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        will result absent such relief. Fed.Rules             After careful review, we conclude that the District Court
        Civ.Proc.Rule 60(b)(6), 28 U.S.C.A.                   did not abuse its discretion, and, accordingly, we affirm.

        28 Cases that cite this headnote

                                                                                           I.
 [12]   Sentencing and Punishment
            Mode of execution
                                                                                       A. Facts
        Delaware's substitution of pentobarbital for
        sodium thiopental in its three-drug lethal            This is our second encounter with a 42 U.S.C. § 1983
        injection protocol did not undermine the              challenge related to Delaware's lethal injection protocol.
        foundation of Court of Appeals' prior                 Much of the background factual information in this case is
        decision holding that Delaware's protocol,            the same as we recounted in Jackson v. Danberg, 594 F.3d
        using sodium thiopental, did not constitute           210 (3d Cir.2010) (“Jackson I ”), and so we only will briefly
        cruel and unusual punishment in violation             outline that background material before setting forth in
        of Eighth Amendment, as required for grant            more detail those facts essential to the resolution of this
        of motion to reopen; pentobarbital was an             appeal.
        effective anesthetic for purposes of the three-
        drug lethal injection. U.S.C.A. Const.Amend.          Delaware law provides that:
        8; Fed.Rules Civ.Proc.Rule 60(b, d), 28
        U.S.C.A.

        9 Cases that cite this headnote                                   [p]unishment of death shall, in all
                                                                          cases, be inflicted by intravenous
                                                                          injection of a substance or
                                                                          substances in a lethal quantity
                                                                          sufficient to cause death and until
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                                                                          such person sentenced to death is
 *159 Helen A. Marino, Esq., Maria K. Pulzetti, Esq.,                     dead, and such execution procedure
Michael Wiseman, Esq. (Argued), Defender Association                      shall be *160 determined and
of Philadelphia, Federal Capital Habeas Corpus Unit,                      supervised by the Commissioner of
Philadelphia, PA, for Appellant.                                          the Department of Correction.

Elizabeth R. McFarlan, Esq., Marc P. Niedzielski, Esq.,
Gregory E. Smith, Esq., Paul R. Wallace, Esq. (Argued),       DEL.CODE ANN. tit. 11, § 4209(f) (2006 Supp.). The
Morgan Zurn, Esq., State of Delaware, Department of           statute does not mandate the use of any particular drug or
Justice, Wilmington, DE, for Appellees.                       series of drugs.

Before: AMBRO, FISHER and HARDIMAN, Circuit
                                                              On August 29, 2008, the Delaware Department of
Judges.
                                                              Correction (“DDOC”) instituted a new lethal injection
                                                              protocol (“2008 Protocol”). The protocol calls for the
                                                              sequential intravenous (“IV”) injection of three chemicals
              OPINION OF THE COURT                            into an inmate's bloodstream. The first chemical is
                                                              sodium thiopental, which renders an inmate unconscious.
FISHER, Circuit Judge.
                                                              The second chemical is pancuronium bromide, a muscle
A class of inmates sentenced to death by the State of         relaxant that acts as a paralytic agent. The third and final
Delaware and named plaintiff Robert W. Jackson, III           chemical is potassium chloride, which induces cardiac
(collectively referred to in this opinion as “Plaintiffs”),   arrest and causes the inmate's death. The 2008 Protocol
appeal from the District Court's denial of their motion to    also calls for the IV team, consisting of two people who
reopen and their motion for a stay of Jackson's execution.    may have at least one year of professional experience, 1 to



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examine the inmate to ensure he is unconscious before the      that the DDOC had failed to follow its own procedures
pancuronium bromide is administered. The consciousness         in certain executions but held that Plaintiffs had not
check requires the warden to call the inmate's name            shown a “substantial risk of an inadequate dose of sodium
out loud to observe any reaction from the inmate. At           thiopental.” Jackson v. Danberg, 601 F.Supp.2d 589,
the same time, a member of the IV team assesses the            599 (D.Del.2009). The District Court granted summary
inmate's consciousness by touching the inmate, shaking         judgment to Defendants and stayed executions pending
his shoulder, and brushing his eyelashes. If the inmate        appeal. Id.
is not unconscious, the protocol requires the execution
team to repeat the administration of the first chemical        Plaintiffs appealed, and Defendants cross-appealed the
and subsequent consciousness checks until the inmate is        stay of executions. We affirmed the grant of summary
deemed unconscious.                                            judgment, applying Baze to our analysis. Jackson I, 594
                                                               F.3d 210. We held that to prevail on a claim that a risk
Delaware amended its protocol on May 5, 2011. The              of future harm runs afoul of the Constitution, an inmate
amended protocol, which is before us today, includes only      must demonstrate that “the conditions presenting the risk
one significant difference. Due to a nationwide shortage       must be ‘sure or very likely to cause serious illness and
of sodium thiopental, Delaware, along with a number            needless suffering,’ and give rise to ‘sufficiently imminent
of other states, revised its protocol to allow for the use     dangers.’ ” Id. at 216 (quoting Baze, 553 U.S. at 50, 128
of an alternative barbiturate, pentobarbital, as the first     S.Ct. 1520). We noted that “the proper administration of
chemical to be administered.                                   sodium thiopental is an indispensable link in the lethal
                                                               injection chain for Eighth Amendment purposes, as it
                                                               ensures that an inmate will not suffer under the effects
                                                               of the second two drugs.” Id. at 225. In other words,
                  B. Procedural History
                                                               although “[r]easonable people of good faith disagree
Jackson, a Delaware state inmate convicted of first            on the morality and efficacy of capital punishment,”
degree murder and sentenced to death by the State              Delaware's 2008 Protocol is not unconstitutional under
of Delaware, commenced this action on May 8, 2006.             existing Supreme Court precedent. Id. at 230 (quoting
                                                               Baze, 553 U.S. at 61, 128 S.Ct. 1520). The Supreme Court
He filed a section 1983 action 2 alleging that the State
                                                               denied certiorari on October 12, 2010. Jackson v. Danberg,
of Delaware's then-existing method of lethal injection
                                                               ––– U.S. ––––, 131 S.Ct. 458, 178 L.Ed.2d 287 (2010).
created an unconstitutional risk of pain and suffering,
cognizable under the Eighth and Fourteenth Amendments
                                                               Shortly after Delaware changed its protocol to include
of the United States Constitution. 3 The District Court        pentobarbital as an alternative to sodium thiopental
certified a class under Fed.R.Civ.P. 23(b) consisting of all   in May 2011, Plaintiffs filed a motion to reopen
Delaware death row inmates and appointed class counsel.        under Fed.R.Civ.P. 60(b)(6) and (d) and a motion
See Jackson v. Danberg, 240 F.R.D. 145 (D.Del.2007).           to stay Jackson's execution with the District Court.
                                                               Plaintiffs argued that the substitution of pentobarbital for
During the course of litigation in the District Court,         sodium thiopental is a factual change that undermines
Defendants amended their lethal injection protocol twice.      the foundations of the prior ruling, constituting an
Ultimately, the 2008 Protocol was enacted in an effort         exceptional circumstance under Rule 60(b)(6) and a
to incorporate the safeguards described by *161 the            circumstance calling for an independent action to prevent
Supreme Court in Baze v. Rees, 553 U.S. 35, 128 S.Ct.          a miscarriage of justice under Rule 60(d). They relied on
1520, 170 L.Ed.2d 420 (2008), which upheld Kentucky's          an expert report written by David B. Waisel, M.D., in
lethal injection protocol against a challenge under the        support of their motion. Defendants, in turn, relied on an
Eighth Amendment. Upon adoption of the 2008 Protocol           expert report by Dr. Mark Dershwitz, an anesthesiologist
and at the direction of the District Court, Defendants         with a Ph.D. in pharmacology. The District Court denied
moved for summary judgment. They argued that the               both of Plaintiffs' motions. It found that a stay was not
2008 Protocol fully complied with the mandate of Baze          warranted because Plaintiffs had “not carried their burden
and that the lethal injection protocol, including the          to prove that they are likely to succeed on the merits
use of sodium thiopental, did not constitute cruel and         of their Eighth Amendment claim.” Jackson v. Danberg,
unusual punishment. The District Court acknowledged


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2011 WL 3205453, at *3 (D.Del. July 27, 2011). The
District Court also denied Plaintiffs' motion to reopen
under both Rules 60(b)(6) and 60(d), concluding that “the                (1) whether the stay applicant has
record at bar is insufficient to reopen the judgment entered             made a strong showing that he is
by [it] in 2009.” Id. at *4. Plaintiffs timely appealed the              likely to succeed on the merits;
judgment of the District Court and filed an independent                  (2) whether the applicant will be
motion for a stay.                                                       irreparably injured absent a stay;
                                                                         (3) whether issuance of the stay will
We denied the motion to stay on July 28, 2011, and                       substantially injure the other parties
affirmed the judgment of the District Court with an                      interested in the proceeding; and (4)
opinion to follow. 4 Following our decision, the Supreme                 where the public interest lies.
Court *162 denied certiorari, and Robert Jackson was
executed just after midnight on July 29, 2011, by lethal
injection. 5                                                  Hilton v. Braunskill, 481 U.S. 770, 776, 107 S.Ct. 2113,
                                                              95 L.Ed.2d 724 (1987); Republic of Phil. v. Westinghouse
                                                              Elec. Corp., 949 F.2d 653, 658 (3d Cir.1991). In assessing
                                                              these factors, we underscore that “inmates seeking time to
                               II.
                                                              challenge the manner in which the State plans to execute
 [1]   [2] The District Court had jurisdiction under 28 them must satisfy all of the requirements for a stay,
U.S.C. § 1331. We have jurisdiction pursuant to 28 U.S.C.     including a showing of a significant possibility of success
§ 1292(a)(1) to consider the appeal by Plaintiffs from the    on the merits.” Hill, 547 U.S. at 584, 126 S.Ct. 2096.
District Court's denial of injunctive relief and under 28
U.S.C. § 1291 to consider the appeal by Plaintiffs from       Plaintiffs argue that because pentobarbital is not
the District Court's denial of relief under Fed.R.Civ.P.      approved by the Food and Drug Administration (“FDA”)
60(b) and (d). We review a district court's denial of a       for use as an anesthetic, its performance in the three-
stay for abuse of discretion, which may be found where        drug protocol, namely its manner and timing of inducing
its conclusion includes the commission of a serious error     unconsciousness, is unknown and unpredictable and
of law or a mistake in considering the facts. Bradley v.      therefore violative of the Eighth Amendment. In support
Pittsburgh Bd. of Educ., 910 F.2d 1172, 1175 (3d Cir.1990).   of their argument that pentobarbital renders the lethal
We also review a district court's denial of a Rule 60(b)      injection protocol unconstitutional, Plaintiffs proffer the
and (d) motion to reopen for abuse of discretion. Morris      following evidence: (1) the opinion of Dr. David Waisel,
v. Horn, 187 F.3d 333, 341 (3d Cir.1999).                     an anesthesiologist at Harvard Law School, who, among
                                                              other things, has reviewed eyewitness accounts and has
                                                              concluded that Alabama prisoner Eddie Powell and
                                                              Georgia prisoner Roy Blankenship were inadequately
                              III.                            anesthetized by pentobarbital and suffered greatly from
                                                              their executions; (2) the fact that pentobarbital is not
                            A. Stay                           approved by the FDA for use as an anesthetic; and (3)
                                                              the fact that pentobarbital is less lipid-soluble than sodium
 [3]    [4]    [5] “[A] stay of execution is an equitable thiopental and therefore does not cross the blood-brain
remedy” that “is not available as a matter of right,          barrier as quickly.
and equity must be sensitive to the State's strong
interest in enforcing its criminal judgments without undue     [6]     [7]    [8]   Plaintiffs' challenge to the DDOC's
interference from the federal courts.” Hill v. McDonough,     substitution of pentobarbital for sodium thiopental is
547 U.S. 573, 584, 126 S.Ct. 2096, 165 L.Ed.2d 44 (2006).     governed by the Supreme Court's splintered decision in
The standard for issuance of a stay is like that for issuance Baze. *163 In Baze, the Supreme Court recognized “that
of a preliminary injunction, and requires consideration of    subjecting individuals to a risk of future harm—not simply
four factors:                                                 actually inflicting pain—can qualify as cruel and unusual
                                                              punishment.” 553 U.S. at 49, 128 S.Ct. 1520. However,


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to constitute a violation of the Eighth Amendment, “the         *164 Indeed each court to consider this issue has
conditions presenting the risk must be ‘sure or very likely    uniformly held that the use of pentobarbital in lieu of
to cause serious illness and needless suffering,’ and give     sodium thiopental is constitutional. 7 See, e.g., DeYoung
rise to ‘sufficiently imminent dangers.’ ” Id. at 50, 128      v. Owens, 646 F.3d 1319, 1324–25 (11th Cir.2011); Powell
S.Ct. 1520 (quoting Helling v. McKinney, 509 U.S. 25,          v. Thomas, 641 F.3d 1255, 1257 (11th Cir.2011) (per
34–35, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993)). “Simply         curiam); Pavatt v. Jones, 627 F.3d 1336 (10th Cir.2010).
because an execution method may result in pain, either         For example, the United States Court of Appeals for the
by accident or as an inescapable consequence of death,         Tenth Circuit approved a protocol virtually identical to
does not establish the sort of ‘objectively intolerable risk   Delaware's after allowing an Oklahoma death-sentenced
of harm’ that qualifies as cruel and unusual.” Id. Rather,     inmate to conduct discovery, submit an expert report,
a stay of execution may only be granted where “the             and hold an evidentiary hearing. Pavatt, 627 F.3d at
condemned prisoner establishes that the State's lethal         1338–40. In Pavatt, the district court considered evidence
injection protocol creates a demonstrated risk of severe       that: (1) the first step of Oklahoma's lethal injection
pain ... [and] that the risk is substantial when compared to   protocol mandates the intravenous administration of
the known and available alternatives.” Id. at 61, 128 S.Ct.    five grams of pentobarbital; (2) the protocol requires
1520.                                                          the attending physician to ensure that the inmate is
                                                               sufficiently unconscious prior to the administration of the
The District Court, applying the Baze principles,              paralytic agent; (3) the administration of a sufficient dose
concluded that Plaintiffs failed to demonstrate that the       of pentobarbital will render an individual unconscious;
substitution of pentobarbital resulted in a constitutionally   (4) the defendant's expert witness, Dr. Dershwitz, testified
unacceptable risk of pain and suffering. It noted that         that the five-gram dosage will ensure that the inmate
Delaware's protocol calls for the administration of five       does not feel the effects of the paralytic agent; and
grams of pentobarbital, which on its own is a lethal           (5) Dr. Dershwitz responded to Dr. Waisel's testimony
dose according to Dr. Dershwitz. Moreover, the Delaware        by pointing out that the use of pentobarbital to
protocol calls for a consciousness check after two minutes     induce a barbiturate coma takes the patient to a state
have lapsed, followed by the administration of a second        of unconsciousness beyond a normal clinical level of
dose of pentobarbital if the inmate is still conscious         anesthesia. Id. at 1339. At the conclusion of the hearing,
after two minutes. Based upon these factual findings and       the district court denied the motion for a stay, concluding
procedural safeguards, the District Court concluded that       that the prisoner failed to establish a substantial likelihood
Plaintiffs had not presented “affirmative evidence ... that    of success on the merits of his Eighth Amendment
the administration of pentobarbital as the first drug in       challenge.
Delaware's three-drug protocol creates a demonstrated
risk of severe pain, as required by the Supreme Court.”        On appeal, the Tenth Circuit held that the district court
Jackson, 2011 WL 3205453, at *3. In other words,               did not abuse its discretion in denying a stay. Specifically,
the District Court concluded that Plaintiffs failed to         the Tenth Circuit observed that Dr. Dershwitz had
demonstrate a likelihood of success on the merits and          “substantially more clinical experience with the use of
accordingly denied the stay.                                   pentobarbital than Dr. Waisel.” Id. at 1340. The court
                                                               also noted the importance of the consciousness check
 [9] After conducting our own searching review of the          to its analysis, and held that the inmate “failed to
record, we conclude that the District Court did not abuse      establish a substantial likelihood of success on the merits
its discretion in denying Plaintiffs' motion for a stay.       of his Eighth Amendment challenge to the ... revised
The District Court's factual findings are supported by         protocol.” Id.; see also DeYoung, 646 F.3d at 1327
the testimony of Defendants' expert, Dr. Dershwitz. The        (“DeYoung has wholly failed to show that pentobarbital,
purpose of the anesthetic in Delaware's lethal injection       once fully administered and allowed to act, is ineffective
protocol is to render the inmate unconscious before
                                                               as an anesthetic.”); 8 Powell, 641 F.3d at 1257–58
administration of the second and third drugs, and there
                                                               (approving the substitution of pentobarbital for sodium
is no affirmative evidence that pentobarbital fails to do
                                                               thiopental). We agree with the Tenth Circuit's approach
this. 6                                                        and likewise conclude that Plaintiffs cannot establish that
                                                               pentobarbital is “sure or very likely to cause serious illness


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and needless suffering.” Baze, 553 U.S. at 50, 128 S.Ct.
1520 (quoting Helling, 509 U.S. at 34–35, 113 S.Ct. 2475).
                                                                                  B. 60(b)(6) and 60(d)
Finally, Plaintiffs argue that the District Court misapplied
the legal rubric of Baze by failing to engage in                [11] Rule 60(b)(6) relief from judgment is only granted
an additional inquiry with respect to their execution          in extraordinary circumstances. See Martinez–McBean
challenge: a comparative risk analysis. According              v. Govt. of Virgin Islands, 562 F.2d 908, 911–12 (3d
to Plaintiffs, the District Court was required to
                                                               Cir.1977). 12 It is available where the party *166 seeking
consider the comparative risks of “known and available
                                                               relief demonstrates that “extreme” and “unexpected”
alternatives” to Delaware's pentobarbital three-drug
                                                               hardship will result absent such relief. United States v.
protocol. Specifically, they argue the District Court
                                                               Swift & Co., 286 U.S. 106, 119, 52 S.Ct. 460, 76 L.Ed. 999
should have considered the *165 comparative risk of (1)
                                                               (1932). Similarly, Rule 60(d) permits a court to entertain
a known anesthetic drug with a proven track record, for
                                                               an independent action to relieve a party from a judgment
use as the first drug in the three-drug protocol, or (2) a
                                                               in order to “prevent a grave miscarriage of justice.” United
single-drug execution protocol. 9                              States v. Beggerly, 524 U.S. 38, 47, 118 S.Ct. 1862, 141
                                                               L.Ed.2d 32 (1998).
 [10]    Plaintiffs' argument misstates the law. “[A]
condemned prisoner cannot successfully challenge a              [12] Plaintiffs claim that the addition of pentobarbital
State's method of execution merely by showing a slightly       as an available alternative to sodium thiopental is such
or marginally safer alternative.” Baze, 553 U.S. at 51, 128    a circumstance. In making this argument, Plaintiffs urge
S.Ct. 1520. Rather, an inmate must first show that a state's   that the use of sodium thiopental was central to our
current protocol creates a “demonstrated risk of severe        decision in Jackson I, and that the substitution of an
pain.” Id. at 61, 128 S.Ct. 1520. Moreover, Delaware is not    alternative barbiturate undermines the very foundation of
“compelled to change its lethal injection protocol simply      our decision.
because another state has elected to do so.” Jackson I,
594 F.3d at 228. We recognize that the one-drug protocol       In Jackson I, we held that Delaware's three-drug protocol
is gaining support as an alternative to the three-drug         did not violate the Eighth Amendment, and stated that
lethal injection protocol, and we commend those states         “the proper administration of sodium thiopental is an
steadily striving to develop more humane alternatives to       indispensable link in the lethal injection chain for Eighth
existing methods of execution. However, federal courts         Amendment purposes, as it ensures that an inmate will not
are not “boards of inquiry charged with determining ‘best      suffer under the effects of the second two drugs.” 594 F.3d
practices' for executions.” Baze, 553 U.S. at 51, 128 S.Ct.    at 225. However, the import of both Baze and Jackson
1520.                                                          I is that use of an effective anesthetic as the first drug
                                                               in a three-drug protocol is required to satisfy the Eighth
“Pentobarbital is a barbiturate commonly used to               Amendment. In other words, “[t]he proper administration
euthanize terminally ill patients who seek death with          of the first drug [must] ensure[ ] that the prisoner does
dignity in states such as Oregon and Washington.” Beaty        not experience any pain associated with the paralysis and
v. Brewer, 649 F.3d 1071, at 1075, 2011 WL 2040916, at *4      cardiac arrest caused by the second and third drugs.”
(9th Cir.2011) (denying rehearing en banc because inmate       Baze, 553 U.S. at 44, 128 S.Ct. 1520.
had no likelihood of success on Eighth Amendment claim
based on pentobarbital). It has been used successfully for     We cannot say that the District Court's finding that
executions in at least four other states, and there is no      pentobarbital is an effective anesthetic for purposes
evidence that it fails to render an inmate unconscious. 10     of the three-drug lethal injection is clearly erroneous,
Id. The District Court did not abuse its discretion in         particularly based on its demonstrated uses and the
finding that the use of pentobarbital did not create “a        testimony of Dr. Dershwitz. Accordingly, we conclude
demonstrated risk of severe pain, as required by the           that the District Court did not abuse its discretion in
Supreme Court.” Jackson, 2011 WL 3205453, at *3. Thus,         denying Plaintiffs' motion to reopen, and we agree that
we affirm the District Court's denial of the stay. 11          “the substitution of pentobarbital for sodium thiopental
                                                               does not constitute a factual change which undermines


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the foundation of [the] prior ruling,” necessitating                the merits of their claims, and that the District Court did
independent action under either Rule 60(b)(6) or 60(d).             not abuse its discretion in denying a stay of Jackson's
                                                                    execution and Plaintiffs' motion to reopen. Accordingly,
Jackson, 2011 WL 3205453, at *4. 13
                                                                    we will affirm.



                             IV.                                    All Citations

For all of these reasons, we conclude that Plaintiffs have          656 F.3d 157
not demonstrated a substantial likelihood of success on


Footnotes
1      Those specialists include a certified medical assistant, a phlebotomist, an emergency medical technician, a paramedic,
       and a military corpsman.
2      42 U.S.C. § 1983 provides, in pertinent part:
           Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
           the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person within
           the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
           shall be liable to the party injured[.]
3      Jackson named the following defendants in his complaint: Stanley W. Taylor, Jr., Commissioner, Delaware Department of
       Correction; Thomas L. Carroll, Warden, Delaware Correctional Center; Paul Howard, Bureau Chief, Delaware Bureau of
       Prisons; and other unknown Delaware officials (collectively, “Defendants”). In February 2007, the District Court substituted
       Taylor with his successor, Carl C. Danberg.
4      The panel issued its order around 7:00 p.m. on July 28, 2011, approximately five hours before the scheduled time of
       execution.
5      We write on this issue as this appeal was filed on behalf of a class, and it impacts appellants other than Jackson.
6      Jackson urges us to consider Georgia's execution of Roy Blankenship and Alabama's execution of Eddie Powell as
       affirmative evidence that pentobarbital fails to properly anesthetize inmates. Dr. Waisel, who formulated his opinion based
       on witnesses' accounts of the execution and some movement by the inmates during the initial three minutes at the start
       of the execution process, expressed concern that Blankenship and Powell were insufficiently anesthetized. Witnesses
       described these executions in contradictory ways. For example:
             To some, Blankenship was just looking up and watching what was occurring, looked at his left arm (which had an IV
             saline drip) and then 30 to 60 seconds later looked toward his right arm where the administration of the pentobarbital
             was starting. To others, Blankenship appeared to grimace, or have a startled face, or jerked his arm twice, or had
             his mouth open and tried to mouth something.
          DeYoung, 646 F.3d at 1326–27. Under Georgia's protocol, the execution could not proceed until a consciousness
          check was performed. The District Court was not persuaded by this equivocal evidence of consciousness in the face
          of strict procedural safeguards, and we see no abuse of discretion in its conclusion.
7      While these cases are not controlling, it is noteworthy that the expert reports before the District Court here were written
       by the same experts utilized in the other courts of appeals cases.
8      Plaintiffs' assertion that the Eleventh Circuit's denial of DeYoung's claims was based entirely on Georgia's two-year
       statute of limitations is only partially correct. DeYoung, 646 F.3d at 1324–25. The court engaged in a thorough analysis
       of the merits of DeYoung's claims and held in the alternative that “even if [DeYoung's claims] were timely, they fail as a
       matter of law ... because [he] has not established a substantial likelihood of success on the merits of his claims.” Id.
9      With respect to the second option, Dr. Dershwitz testified that a five-gram dose of a barbiturate such as sodium thiopental
       or pentobarbital would cause death in all people, and that death would occur as quickly as five minutes from the injection.
       Ohio has used a one-drug protocol since November 2009, and Washington adopted a one-drug protocol on March 2,
       2010, but permits condemned inmates to select the method. See Death Penalty Information Ctr., Authorized Methods,
       http://www.deathpenal tyinfo.org/methods-execution.
10     Plaintiffs also assert that Defendants' use of pentobarbital is violative of the Eighth Amendment because it evinces
       Defendants' deliberate indifference to the potential pain and suffering he will undergo. We have previously held that Baze
       did not import the “deliberate indifference” standard to lethal injection challenges. See Jackson I, 594 F.3d at 223 n. 16.



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      Instead, the Baze Court held that “there must be a ‘substantial risk of serious harm,’ an ‘objectively intolerable risk of harm’
      that prevents prison officials from pleading that they were ‘subjectively blameless for purposes of the Eighth Amendment.’
      ” Baze, 553 U.S. at 50, 128 S.Ct. 1520 (quoting Farmer v. Brennan, 511 U.S. 825, 842, 846, & n. 9, 114 S.Ct. 1970, 128
      L.Ed.2d 811 (1994)). Even if this language did graft the deliberate indifference standard onto lethal injection challenges,
      because we conclude that there was no “substantial risk of serious harm,” we also conclude that there could have been
      no deliberate indifference to that alleged risk.
11    Because we conclude that Plaintiffs have not demonstrated a likelihood of success on the merits, we need not address
      the other factors required for a stay of an execution.
12    Fed.R.Civ.P. 60(b)(6) provides, in pertinent part: “On motion and just terms, the court may relieve a party or its legal
      representative from a final judgment, order, or proceeding for ... any ... reason that justifies relief.”
13    We also conclude that the District Court did not abuse its discretion in declining to grant an evidentiary hearing on
      the matter. Having presided over the entire case and being intimately familiar with the record to date as well as the
      submissions regarding pentobarbital, the District Court was well-situated to rule on the motion to reopen and the motion
      for the stay, and additional discovery would not further illuminate the issue at bar. See United States v. Hines, 628 F.3d
      101, 104 (3d Cir.2010) (setting forth the standard of review).


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                                                                     [3] even if the statute of limitations did not bar his
     KeyCite Yellow Flag - Negative Treatment                        action, inmate failed to demonstrate that Georgia's lethal
Distinguished by Arthur v. Thomas, 11th Cir.(Ala.), March 21, 2012
                                                                     injection protocol violated his right to equal protection.
                      646 F.3d 1319
              United States Court of Appeals,
                     Eleventh Circuit.                               Motion for stay of execution denied; district court's order
                                                                     denying stay of execution affirmed.
    Andrew Grant DeYOUNG, Plaintiff–Appellant,
                           v.                                        See also 609 F.3d 1260.
  Brian OWENS, Commissioner, Georgia Department
       of Corrections, Carl Humphrey, Warden,
     Georgia Diagnostic and Classification Prison,
                                                                      West Headnotes (17)
    other unknown employees and agents, Georgia
  Department of Corrections, Defendants–Appellees.
                                                                      [1]    Federal Courts
                           No. 11–13235.                                          Preliminary injunction; temporary
                                 |                                           restraining order
                           July 20, 2011.
                                                                             Court of Appeals reviews the district court's
Synopsis                                                                     denial of appellant's motions for a temporary
Background: Georgia death-row inmate brought federal                         restraining order (TRO) and stay of execution
civil rights action, alleging that the State of Georgia's                    for abuse of discretion.
method of lethal execution would violate his Eighth
                                                                             2 Cases that cite this headnote
Amendment right to be free from cruel and unusual
punishment and his Fourteenth Amendment right to
equal protection. Inmate moved for a temporary                        [2]    Federal Courts
restraining order (TRO) and stay of execution, as well                           Pleading
as additional declaratory and injunctive relief. The State                   Federal Courts
moved to dismiss. The United States District Court for                           Pleadings; Dismissal
the Northern District of Georgia, No. 1:11-cv-02324-                         Court of Appeals reviews the district court's
SCJ, Steve C. Jones, J., entered order denying inmate's                      grant of a motion to dismiss de novo,
motions for a TRO and stay of execution and granting                         accepting the allegations in the complaint as
the State's motion to dismiss, and subsequently denied                       true and construing them in the light most
inmate's motions for additional relief. Inmate appealed                      favorable to the plaintiff.
and moved for a stay of execution in the Court of Appeals.
                                                                             3 Cases that cite this headnote


Holdings: The Court of Appeals, Hull, Circuit Judge, held             [3]    Sentencing and Punishment
that:                                                                            Stay of execution
                                                                             Stay of execution is equitable relief which
[1] inmate's claims were barred by Georgia's two-year                        the Court of Appeals may grant only if
statute of limitations;                                                      the moving party shows that: (1) he has a
                                                                             substantial likelihood of success on the merits,
[2] even if the statute of limitations did not bar his                       (2) he will suffer irreparable injury unless
action, inmate failed to demonstrate that Georgia's                          the injunction issues, (3) the stay would not
lethal injection protocol, which used pentobarbital as an                    substantially harm the other litigant, and (4)
anesthetic, violated the Eighth Amendment's prohibition                      if issued, the injunction would not be adverse
of cruel and unusual punishment; and                                         to the public interest.



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                                                                  review became complete on May 26, 1998,
        20 Cases that cite this headnote                          the date the United States Supreme Court
                                                                  denied his petition for certiorari on direct
 [4]    Civil Rights                                              appeal, inmate last became subject to a new
             Time to Sue                                          or substantially changed execution protocol
                                                                  on October 5, 2001, when Georgia ended its
        Federal Courts
                                                                  use of execution by electrocution and adopted
            Civil rights and discrimination cases
                                                                  lethal injection as its method of execution,
        Section 1983 claims are tort actions, subject to
                                                                  Georgia's substitution of pentobarbital for
        the statute of limitations governing personal
                                                                  sodium thiopental as the anesthetic in its
        injury actions in the state where the § 1983
                                                                  lethal injection protocol did not result in a
        action has been brought. 42 U.S.C.A. § 1983.
                                                                  “substantially changed execution protocol”
        8 Cases that cite this headnote                           that re-set the limitations period, and so two-
                                                                  year statute of limitations began to run on
                                                                  October 5, 2001, and expired nearly eight
 [5]    Limitation of Actions                                     years before inmate filed his action. U.S.C.A.
            Injuries to the person                                Const.Amends. 8, 14; 42 U.S.C.A. § 1983;
        Georgia has a two-year statute of limitations             West's Ga.Code Ann. § 9–3–33.
        for personal injury actions. West's Ga.Code
        Ann. § 9–3–33.                                            24 Cases that cite this headnote

        6 Cases that cite this headnote
                                                           [8]    Federal Courts
                                                                      Rehearing and reargument
 [6]    Limitation of Actions                                     Litigant's mere act of proffering additional
            Liabilities Created by Statute                        reasons not expressly considered previously
        Georgia's two-year limitations period for                 will not open the door to reconsideration of
        personal injury actions, which governs §                  the question by a second panel of the Court of
        1983 claims brought by death-row inmates,                 Appeals.
        begins to run on the date on which state
        review is complete, or the date on which                  2 Cases that cite this headnote
        the capital litigant becomes subject to a new
        or substantially changed execution protocol,       [9]    Sentencing and Punishment
        whichever occurs later. 42 U.S.C.A. § 1983;                   Scope of Prohibition
        West's Ga.Code Ann. § 9–3–33.
                                                                  To state an Eighth Amendment claim,
        7 Cases that cite this headnote                           plaintiff must demonstrate that (1) the State
                                                                  is being deliberately indifferent (2) to a
                                                                  condition that poses a substantial risk of
 [7]    Constitutional Law                                        serious harm to him. U.S.C.A. Const.Amend.
            Delay in assertion of rights; laches                  8.
        Limitation of Actions
            Liabilities Created by Statute                        1 Cases that cite this headnote

        Georgia death-row inmate's claims, that the
        State's method of lethal execution would           [10]   Sentencing and Punishment
        violate his Eighth Amendment right to be                      Mode of execution
        free from cruel and unusual punishment and                In the lethal injection context, the standard
        his Fourteenth Amendment right to equal                   for stating an Eighth Amendment claim
        protection, were barred by Georgia's two-                 requires an inmate to show an objectively
        year statute of limitations; inmate's state               intolerable risk of harm that prevents prison



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        officials from pleading that they were                       Scope of Prohibition
        subjectively blameless for purposes of the              Eighth Amendment does not protect against
        Eighth Amendment. U.S.C.A. Const.Amend.                 all harm, only serious harm; and it does
        8.                                                      not prohibit all risks, only substantial risks.
                                                                U.S.C.A. Const.Amend. 8.
        8 Cases that cite this headnote
                                                                Cases that cite this headnote
 [11]   Sentencing and Punishment
            Mode of execution                            [14]   Sentencing and Punishment
        To state an Eighth Amendment claim in                       Mode of execution
        the lethal injection context, the objectively           Simply because an execution method may
        intolerable risk of harm that an inmate must            result in pain, either by accident or as an
        show must be sure or very likely to cause               inescapable consequence of death, does not
        needless suffering. U.S.C.A. Const.Amend. 8.            establish the sort of objectively intolerable risk
                                                                of harm that qualifies as “cruel and unusual.”
        10 Cases that cite this headnote
                                                                U.S.C.A. Const.Amend. 8.

 [12]   Sentencing and Punishment                               1 Cases that cite this headnote
            Mode of execution
        Georgia death-row inmate failed to show          [15]   Constitutional Law
        that State's lethal injection protocol, which                Similarly situated persons; like
        used pentobarbital as an anesthetic, violated           circumstances
        the Eighth Amendment's prohibition of cruel             To state an equal protection claim, plaintiff
        and unusual punishment; although inmate                 must show that the State will treat him
        attempted to use evidence of an earlier                 disparately from other similarly situated
        execution to show that administration of                persons. U.S.C.A. Const.Amend. 14.
        5,000 mg of pentobarbital causes needless
        suffering in and of itself, and that the                18 Cases that cite this headnote
        pentobarbital dose does not adequately
        render an inmate unconscious, thereby
                                                         [16]   Constitutional Law
        leading to needless suffering, evidence did
                                                                    Rational Basis Standard;
        not establish substantial risk of serious harm
                                                                Reasonableness
        from pentobarbital, or even that inmate
                                                                Where plaintiff does not allege that
        who was executed earlier necessarily suffered
                                                                disparate treatment by the State burdens
        any harm, much less serious harm, from
                                                                his fundamental rights or is based on his
        intravenous administration of pentobarbital,
                                                                membership in a suspect class, plaintiff must
        as none of the witnesses to that execution
                                                                show that the disparate treatment is not
        reported any movement by inmate after
                                                                rationally related to a legitimate government
        nurse's consciousness check, inmate's autopsy
                                                                interest. U.S.C.A. Const.Amend. 14.
        revealed no evidence of trauma, and there
        was no evidence that unconsciousness is not             9 Cases that cite this headnote
        achieved after complete administration of a
        5,000-mg dose. U.S.C.A. Const.Amend. 8; 42
        U.S.C.A. § 1983.                                 [17]   Constitutional Law
                                                                    Capital punishment; death penalty
        10 Cases that cite this headnote                        Sentencing and Punishment
                                                                    Mode of execution
 [13]   Sentencing and Punishment



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          Georgia death-row inmate failed to                 Georgia death-row inmate Andrew DeYoung brutally
          demonstrate that Georgia's lethal injection        murdered his mother, his father, and his fourteen year old
          protocol violated his right to equal protection;   sister, Sarah, and was convicted and sentenced to death.
          there was no support for inmate's “novel           See, e.g., DeYoung v. Schofield, 609 F.3d 1260, 1262 (11th
          proposition” that the Equal Protection             Cir.2010), cert. denied, ––– U.S. ––––, 131 S.Ct. 1691, 179
          Clause requires a written execution protocol       L.Ed.2d 628 (2011). 1
          sufficiently detailed to ensure that every
          execution is performed in a precisely identical    DeYoung is scheduled to be executed by lethal injection at
          manner, the Georgia lethal injection protocol      7:00 p.m. on Wednesday, July 20, 2011. On Friday, July
          was highly detailed as to nearly every aspect      15, 2011, DeYoung filed a 42 U.S.C. § 1983 action alleging
          of the execution process, the “deviations”         that the State of Georgia's method of lethal execution
          that inmate cited as leading to the disparate      will violate his Eighth Amendment right to be free
          treatment of which he complained were all          from cruel and unusual punishment and his Fourteenth
          ways by which the Georgia Department               Amendment right to equal protection. DeYoung moved
          of Corrections (GDOC) provided more                for a temporary restraining order (“TRO”) and stay of
          protection for an inmate and the execution         execution, as well as further declaratory and injunctive
          process than that provided by the written          relief seeking to prevent the State from executing him
          protocol, the State had a legitimate interest      using its current lethal injection protocol.
          in ensuring that its executions occurred in
          a thorough manner with maximum inmate              On Monday, July 18, 2011, the State moved to dismiss,
          safeguards, and the alleged deviations from        arguing that DeYoung's claims are barred by the statute
          the written protocol were rationally related to    of limitations and fail to state a claim upon which relief
          that interest. U.S.C.A. Const.Amend. 14; 42        can be granted. After holding an evidentiary hearing
          U.S.C.A. § 1983.                                   on Tuesday, July 19, 2011, the district court entered
                                                             a thorough 28–page order on July 20, 2011, denying
          5 Cases that cite this headnote
                                                             DeYoung's motions for a TRO and stay of execution and
                                                             granting the State's motion to dismiss. Thereafter, the
                                                             district court also denied DeYoung's motion for stay of
                                                             execution pending appeal and separate motion to alter
Attorneys and Law Firms                                      judgment pursuant to Rule 59(e) of the Federal Rules of
                                                             Civil Procedure.
*1321 Jeffrey Lyn Ertel, Fed. Pub. Def., Brian S.
Kammer, Georgia Resource Ctr., Atlanta, GA, Mark
                                                             DeYoung appealed and filed a motion for a stay of
Evan Olive, Law Offices of *1322 Mark E. Olive, PA,
                                                             execution in this Court. After review, we deny DeYoung's
Tallahassee, FL, for Plaintiff–Appellant.
                                                             motion for a stay of execution.
Patricia Beth Attaway Burton, Joseph J. Drolet,
Sabrina D. Graham, Theresa Marie Schiefer, Mary Beth
Westmoreland, Atlanta, GA, for Defendants–Appellees.                           I. BACKGROUND
Appeal from the United States District Court for the         A. Georgia's Lethal Injection Protocol
Northern District of Georgia.                                Georgia law provides that “[a]ll persons who have
                                                             been convicted of a capital offense and have had
Before DUBINA, Chief Judge, and EDMONDSON and
                                                             imposed upon them a sentence of death shall suffer
HULL, Circuit Judges.
                                                             such punishment by lethal injection,” which it defines as
Opinion                                                      “the continuous intravenous injection of a substance or
                                                             substances sufficient to cause death into the body of the
HULL, Circuit Judge:                                         person sentenced to death until such person is dead.”
                                                             O.C.G.A. § 17–10–38(a) (2000).




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Under the lethal injection protocol promulgated by the
Georgia Department of Corrections (“GDOC”), death-            C. District Court's Order
sentenced prisoners are administered a succession of three    In granting the State's motion to dismiss, the district
chemicals in the following order: (1) 5,000 milligrams of     court found: (1) DeYoung's claims accrued in 2001,
pentobarbital, an anesthetic that is administered to render   when Georgia adopted lethal injection as its method
the inmate unconscious; (2) 50 milligrams of pancuronium      of execution; (2) Georgia's substitution of pentobarbital
bromide, a paralytic agent; and (3) 120 milliequivalents of   for sodium thiopental did not constitute a significant
potassium *1323 chloride, which induces cardiac arrest,       alteration to the protocol that would re-set the limitations
causing the inmate's death.                                   period; (3) GDOC's alleged deviations from the written
                                                              protocol began no later than May 2008; and (4)
The protocol calls for an IV nurse to examine                 DeYoung's two-year limitations period expired eight years
the inmate to ensure he is unconscious before the             before he filed this action.
pancuronium bromide is administered. If the inmate is
not unconscious, the protocol requires GDOC staff to          Alternatively, even if the statute of limitations did not
repeat the administration of pentobarbital and subsequent     bar his § 1983 action, the district court concluded that
consciousness check until the inmate is deemed to be          DeYoung failed to state a claim upon which relief could be
unconscious.                                                  granted. As to the Eighth Amendment claim, the district
                                                              court found, among other things: (1) DeYoung's evidence
Until May 13, 2011, the anesthetic used was sodium            failed to show that the administration of pentobarbital
thiopental (a/k/a sodium pentothal). Lack of sodium           inflicts serious harm; (2) DeYoung has not proven that
thiopental availability led Georgia on May 13, 2011 to        former inmate Roy Blankenship (who on June 23, 2011
switch to the use of pentobarbital as the anesthetic in its   was executed by the State of Georgia using pentobarbital
lethal injection protocol.                                    as the anesthetic) suffered pain or serious harm; (3)
                                                              that DeYoung's expert “failed to provide a medical
                                                              explanation for why pentobarbital might have caused
B. DeYoung's Claims                                           Blankenship pain” and “[t]o the contrary, Dr. Waisel
DeYoung's challenge to the State's method of execution        testified that a patient will not feel pain at the moment
is two-pronged. First, he contends the GDOC's lethal          when a drug is introduced intravenously unless it is a
injection protocol violates the Eighth Amendment's            drug, such as potassium chloride, which causes a burning
prohibition of cruel and unusual punishment. Specifically,    sensation”; (4) DeYoung presented no evidence indicating
DeYoung alleges, among other things, that the use of          a 5,000–milligram dose of pentobarbital fails to cause
pentobarbital as an anesthetic poses a substantial risk of    unconsciousness; (5) a consciousness check was performed
serious harm to him because: (1) pentobarbital has been       on Roy Blankenship prior to injection of the second
insufficiently tested for induction of anesthetic coma in     drug pancuronium bromide as required by Georgia's legal
fully conscious persons, and (2) in prior executions using    injection procedure; *1324 and (6) executions in Georgia
pentobarbital, the drug did not painlessly anesthetize the    do not proceed with the second drug until the inmate is
prisoners.                                                    unconscious and “DeYoung['s] execution cannot proceed
                                                              until he is unconscious.” Thus, DeYoung did not show
Second, DeYoung contends the GDOC's lethal injection          that Georgia's use of pentobarbital creates a substantial
protocol, as written and as administered in practice,         risk of serious harm to inmates.
violates his right to equal protection under the Fourteenth
Amendment because: (1) the written protocol contains          As to DeYoung's Fourteenth Amendment claim, the
gaps in the execution procedure that the GDOC fills in        district court found: (1) there was no support for
on an ad hoc basis, leading to disparate treatment for        “DeYoung's novel proposition” that the Equal Protection
different inmates; and (2) the GDOC deviates from the         Clause requires the State to “produce a written protocol
written protocol, similarly leading to disparate treatment    that is detailed enough to insure that every execution is
for different inmates. The State promptly filed a motion      precisely identical”; (2) the “deviations” from the written
to dismiss on numerous grounds, including the statute of      protocol of which DeYoung complains (including the use
limitations and failure to state a claim.                     of nurses to insert IVs, the presence of two nurses instead
                                                              of one, performance of numerous consciousness checks,


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and checks for IV infiltration or leakage) are consistent
with Georgia's written protocol and “enure to the benefit” [7] DeYoung's state review became complete on May 26,
of inmates; and (3) the benign “deviations” are rationally1998, the date the United States Supreme Court denied
related to the State's interest in safeguarding the execution
                                                          DeYoung's petition for certiorari on direct appeal. See
process. Thus, DeYoung did not show an equal protection   DeYoung v. Georgia, 523 U.S. 1141, 118 S.Ct. 1848,
violation.                                                140 L.Ed.2d 1097 (1998). DeYoung last became subject
                                                          to a new or substantially changed execution protocol
The district court denied DeYoung's request for a TRO     on October 5, 2001, when the Georgia Supreme Court
and stay of execution because “he has absolutely no       declared that execution by electrocution violated the state
likelihood of success on the merits.”                     constitution and directed that “any future executions
                                                          of death sentences in Georgia be carried out by lethal
                                                          injection in accordance with O.C.G.A. § 17–10–38, as
                                                          amended.” Dawson v. State, 274 Ga. 327, 554 S.E.2d 137,
                    II. DISCUSSION
                                                          139 (2001). Thus, the two-year statute of limitations began
 [1] [2] [3] On appeal, DeYoung moves this Court for run on October 5, 2001, and expired nearly eight years
                                                          to
a stay of execution and also appeals the district court's before DeYoung filed this action.
denial of a stay. 2 A stay of execution is equitable relief
                                                                DeYoung argues that Georgia's May 13, 2011 substitution
which this Court may grant “only if the moving party
                                                                of pentobarbital for sodium thiopental as the anesthetic
shows that: (1) he has a substantial likelihood of success
                                                                in its lethal injection protocol resulted in a “substantially
on the merits; (2) he will suffer irreparable injury unless
                                                                changed execution protocol.” We already rejected an
the injunction issues; (3) the stay would not substantially
                                                                identical claim as to Alabama's recent switch from
harm the other litigant; and (4) if issued, the injunction
                                                                sodium thiopental to pentobarbital. See Powell, 2011
would not be adverse to the public interest.” Powell v.
                                                                WL 2437498, at *2–4 (rejecting Eighth Amendment
Thomas, No. 11–12238, 641 F.3d 1255, 1257 (11th Cir.
                                                                challenge to method of execution on statute of limitations
May 19, 2011), cert. denied, ––– U.S. ––––, 131 S.Ct. 2487,
                                                                grounds, stating, “this very argument—that the ADOC's
179 L.Ed.2d 1243 (2011). We conclude that DeYoung is
                                                                change from sodium thiopental to pentobarbital, is a
not entitled to a stay because he has not demonstrated,
                                                                substantial or significant change in the lethal injection
among other things, a substantial likelihood he will
                                                                protocol—was rejected by a panel of this Court in Powell
succeed on the merits of his claims. DeYoung's claims
                                                                (Williams),” and “Powell's attempts to circumvent the
are barred by the statute of limitations and, even if they
                                                                holding of Powell (Williams) fall flat”); see also Powell
were timely, they fail as a matter of law. At a minimum,
                                                                (Williams), 641 F.3d at 1258 (“The replacement of
DeYoung has not established a substantial likelihood of
                                                                sodium thiopental with pentobarbital does not constitute
success on the merits of his claims.
                                                                a significant alteration in the ADOC's lethal injection
                                                                protocol ....”).
A. Statute of Limitations
 [4] [5] [6] Section 1983 claims “are tort actions, subject [8] DeYoung acknowledges the Powell decision is on
to the statute of limitations governing personal injury     point, but argues that the evidence he proffered in
actions in the state where the § 1983 action has been       this record undermines the premise of Powell. However,
brought.” Powell v. Thomas, No. 11–12613, 643 F.3d          “the mere act of proffering additional reasons not
1300, at 1303, 2011 WL 2437498, at *2 (11th Cir. Jun.15,    expressly considered previously will not open the door
                                    3                       to reconsideration of the question by a second panel.”
2011) (quotation marks omitted). Georgia has a two-
                                                            Smith v. GTE Corp., 236 F.3d 1292, 1302 (11th Cir.2001)
year statute of limitations for personal injury actions.
                                                            (quotation marks and ellipsis omitted). And in any
O.C.G.A. § 9–3–33. The *1325 two-year limitations
                                                            event, the additional evidence DeYoung proffers does
period begins to run on “the date on which state review is
                                                            not, for the reasons set forth below, undermine Powell's
complete, or the date on which the capital litigant becomes
                                                            conclusion.
subject to a new or substantially changed execution
protocol,” whichever occurs later. McNair v. Allen, 515
F.3d 1168, 1174 (11th Cir.2008).                            B. Merits of the Claims


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                                                           and (2) whether it occurred before or during the
   1. Eighth Amendment Claim                               administration of the pentobarbital.
 [9]    [10]   [11]   [12] To state an Eighth Amendment
claim, DeYoung must “demonstrate that (1) the State        As to the movement, witnesses describe it in very different
is being deliberately indifferent (2) to a condition that  ways. To some, Blankenship was just looking up and
poses a substantial risk of serious harm to him.” Powell   watching what was occurring, looked at his left arm
(Williams), 641 F.3d at 1257. In the lethal injection      (which had an IV saline drip) and then 30 to 60
context, this standard requires an inmate to show “        seconds later looked toward his right arm where the
‘an objectively intolerable risk of harm that prevents     administration of the pentobarbital was starting. To
prison officials from pleading that they were subjectively others, Blankenship appeared to grimace, or have a
blameless for purposes of the Eighth Amendment.’ ”         startled face, or jerked his arm twice, or had his mouth
Id. (quoting Baze v. Rees, 553 U.S. 35, 50, 128 S.Ct.      open and tried to mouth something.
1520, 1531, 170 L.Ed.2d 420 (2008) (plurality opinion)).
“[T]he risk must be sure or very likely to cause ...       As to timing, some believe all the movement occurred
needless suffering.” Baze, 553 U.S. at 50, 128 S.Ct. at    before the pentobarbital was started in the IV and others
1531 (plurality opinion) (quotation marks omitted). The    appear to think that it was after the pentobarbital was
evidence DeYoung provides does not satisfy this Eighth     started in the IV. In any event, the movement occurred
Amendment standard.                                        only a few times and all briefly during a total time period
                                                              of three minutes. The evidence undisputedly shows that
A significant part of DeYoung's Eighth Amendment              Blankenship became still and was unconscious before the
claim in his § 1983 complaint is based on the State of        second drug was administered.
Georgia's execution *1326 of Roy Blankenship on June
23, 2011. DeYoung largely points to events surrounding        Even assuming Blankenship's movement was during the
the Blankenship execution as the basis for his Eighth         administration of the pentobarbital or right after, the
Amendment claim. DeYoung attempts to use evidence             evidence in this record does not establish a substantial
of the Blankenship execution to show two things: (1)          risk of serious harm from the pentobarbital, or even that
that administration of 5,000 milligrams of pentobarbital      Blankenship necessarily suffered any harm, much less
to an inmate causes needless suffering in and of itself,      serious harm. First, as the district court pointed out, “Dr.
and (2) that the pentobarbital dose does not adequately       Waisel entirely failed to provide a medical explanation for
render an inmate unconscious, thereby leading to needless     why pentobarbital might have caused Blankenship pain.
suffering. 4                                                  To the contrary, Dr. Waisel testified that a patient will
                                                              not feel pain at the moment when a drug is introduced
After hearing testimony by DeYoung's expert and               intravenously unless it is a drug, such as potassium
reviewing multiple affidavits, the district court found       chloride, which causes a burning sensation.”
(1) that DeYoung failed to establish that pentobarbital
caused Blankenship any pain during his execution given         [13]    [14] Second, the district court noted that Dr.
that DeYoung's expert failed to provide a medical             Waisel admitted that “any ‘suffering’ was short lived
explanation for why pentobarbital might have caused           as it clearly ended within a few minutes—three minutes
Blankenship pain, or will cause pain in executions; and (2)   at the most—after the pentobarbital was injected.” The
that, in any event, DeYoung “has absolutely no likelihood     Eighth Amendment *1327 does not protect against
of success on the merits” of his claims.                      all harm, only serious harm; and it does not prohibit
                                                              all risks, only substantial risks. “Simply because an
As the district court aptly found, DeYoung's medical          execution method may result in pain, either by accident
expert, David B. Waisel, M.D., formulated his opinion         or as an inescapable consequence of death, does not
based on witnesses' accounts of the execution and some        establish the sort of ‘objectively intolerable risk of harm’
movement by Blankenship during the initial three minutes      that qualifies as cruel and unusual.” Baze, 553 U.S.
at the start of the execution process. The witnesses          at 50, 128 S.Ct. at 1531 (plurality opinion). In any
disagree about two things: (1) the type of movement;          event, Dr. Waisel was not present at the Blankenship
                                                              execution; rather, he opines from the witnesses' varied



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                                                                government interest. Leib v. Hillsborough Cnty. Pub.
descriptions of Blankenship's movements that those
                                                                Transp. Comm'n, 558 F.3d 1301, 1306 (11th Cir.2009).
movements were a sign of “discomfort,” which Dr.
Waisel termed “suffering.” Dr. Waisel acknowledged that
                                                                 [17]     DeYoung's equal protection claim asserts,
no one reported any movement by Blankenship after
                                                                essentially, that Georgia's written lethal injection protocol
the nurse's consciousness check. Further, Blankenship's
                                                                is insufficiently specific and thus the GDOC deviates from
autopsy revealed no evidence of trauma. The catheters
                                                                it on an ad hoc basis, leading to disparate treatment for
were inside Blankenship's veins and the veins were not
burst or broken. There was no infiltration of fluid in the      different inmates. DeYoung has not shown a substantial
soft tissue of the right arm near the catheter site.            likelihood of success on the merits of this claim.


Notably too, DeYoung presented no evidence to show              First, as the district court correctly noted, there is no
that unconsciousness is not achieved after the complete         support for DeYoung's “novel proposition” that the
                                                                Equal Protection Clause requires a written execution
administration of a 5000–mg dose of pentobarbital. 5
                                                                protocol sufficiently detailed to ensure that every
                                                                execution is performed in a precisely identical manner.
All parties agree that the purpose of the anesthetic
                                                                Moreover, our review of the Georgia lethal injection
in Georgia's three-drug lethal injection protocol is to
                                                                protocol reveals it to be highly detailed as to nearly every
render the inmate unconscious before administration of
                                                                aspect of the execution process.
the second and third drugs. As the record demonstrates,
and the district court found, a consciousness check was
                                                                Second, the “deviations” DeYoung cites that lead to the
performed on Blankenship after he was administered
                                                                disparate treatment of which he complains are all ways by
the pentobarbital and prior to injection of the second
                                                                which the GDOC provides more protection for an inmate
drug pancuronium bromide, as Georgia's lethal injection
                                                                and the execution process than the written protocol
protocol requires. It is clear that Blankenship's execution
did not proceed to the second drug until after he               provides. 7 The State has a legitimate interest in ensuring
was fully unconscious. And as the district court found,         that its executions occur in a thorough manner with
DeYoung's execution, or any other under the Georgia             maximum inmate safeguards, and the alleged deviations
protocol, cannot proceed until he is unconscious. To            from the written protocol are rationally related to that
the contrary, Georgia's protocol specifically provides that     interest. DeYoung has not shown a substantial likelihood
GDOC officials will not administer the pancuronium              of success on his equal protection claim.
bromide but will instead administer more anesthetic—and
conduct more consciousness checks—until the inmate has
been shown to be unconscious.                                                      III. CONCLUSION

DeYoung has wholly failed to show that pentobarbital,           For all of these reasons, the Court concludes DeYoung
once fully administered and allowed to act, is ineffective      has not demonstrated a substantial likelihood of success
as an anesthetic. As the district court succinctly found,       on the merits of his claims. Therefore, the Court denies
Georgia's “use of pentobarbital does not create a               DeYoung's motion for a stay of execution in this Court.
substantial risk of serious harm to inmates.”                   The Court also concludes that the district court did not
                                                                abuse its discretion in denying a stay and this Court
                                                                affirms.
   2. Fourteenth Amendment Claim 6
 [15] [16] To state an equal protection claim, DeYoung          MOTION FOR STAY OF EXECUTION DENIED;
must show that the State will treat him disparately from        DISTRICT COURT'S ORDER DENYING STAY OF
other similarly situated persons. See Amnesty Int'l, USA        EXECUTION AFFIRMED.
v. Battle, 559 F.3d 1170, 1180 (11th Cir.2009). Because
he does not allege the disparate treatment burdens his
                                                                All Citations
fundamental rights or is based on his membership in
a suspect class, DeYoung must *1328 show that the               646 F.3d 1319, 23 Fla. L. Weekly Fed. C 145
disparate treatment is not rationally related to a legitimate


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Footnotes
1      DeYoung's convictions and death sentences were upheld on direct appeal and the United States Supreme Court denied
       certiorari review. DeYoung v. State, 268 Ga. 780, 493 S.E.2d 157 (1997), cert. denied, 523 U.S. 1141, 118 S.Ct. 1848,
       140 L.Ed.2d 1097 (1998). DeYoung unsuccessfully attacked his convictions and death sentences in state and federal
       habeas proceedings. See generally DeYoung v. Schofield, 609 F.3d at 1275–82, 1291.
2      We review the district court's denial of DeYoung's motions for a TRO and stay of execution for abuse of discretion. Powell
       v. Thomas, No. 11–12238, 641 F.3d 1255, 1257 (11th Cir. May 19, 2011), cert. denied, ––– U.S. ––––, 131 S.Ct. 2487,
       179 L.Ed.2d 1243 (2011); Ingram v. Ault, 50 F.3d 898, 900 (11th Cir.1995). “We review the district court's grant of a motion
       to dismiss de novo, accepting the allegations in the complaint as true and construing them in the light most favorable to the
       plaintiff.” Powell v. Thomas, No. 11–12613, 643 F.3d 1300, at 1301–03, 2011 WL 2437498, at *1 (11th Cir. Jun.15, 2011).
3      We rely on the two Powell opinions throughout this opinion. Henceforth, we refer to the opinion in case No. 11–12238 as
       Powell (Williams) because that appeal concerned the claims of intervenor Jason Oric Williams. We refer to the opinion
       in case No. 11–12613 as Powell because that appeal concerned the claims of named plaintiff Eddie D. Powell.
4      DeYoung also alleges that pentobarbital has not been sufficiently tested for its ability to cause an anesthetic coma
       in fully conscious persons. However, DeYoung's expert candidly admits he does not know how the State's dosage of
       pentobarbital will affect inmates because he claims there is no way to know. This asserted lack of knowledge obviously
       cannot satisfy DeYoung's burden of affirmatively showing that a substantial risk of serious harm exists. Thus, DeYoung's
       evidence focuses largely on the Blankenship execution.
5      In addition to the evidence concerning the Blankenship execution, DeYoung submitted some evidence regarding the
       execution of Eddie Powell, who was recently executed in Alabama using a pentobarbital-pancuronium bromide-potassium
       chloride protocol. DeYoung's evidence about the Powell execution does not change our conclusion. Powell's attorney,
       who witnessed Powell's execution, testified that about a minute after the Chaplain finished praying with Powell, Powell
       (1) lifted his head, (2) looked confused, and (3) clenched his teeth and flexed his neck muscles as if he were extremely
       angry or tense or nervous. After about a minute more, Powell lay back down, closed his eyes, and did not move again.
       Powell's counsel did not know at what time the various chemical were administered.
6      DeYoung does not appear to raise any Fourteenth Amendment arguments in support of his motion for a stay of execution.
       Nevertheless, given the gravity of this appeal and out of an abundance of caution, we address this claim as well.
7      These alleged deviations include having two nurses present (whereas the protocol requires only one), performance of
       numerous consciousness checks (the protocol requires only one successful consciousness check before administration
       of pancuronium bromide), and checks for IV infiltration or leakage.


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     KeyCite Yellow Flag - Negative Treatment                    West Headnotes (6)
Declined to Follow by Powell v. Thomas, M.D.Ala., May 16, 2011
                      627 F.3d 1336
                                                                 [1]   Sentencing and Punishment
              United States Court of Appeals,
                                                                           Discretion of lower court
                      Tenth Circuit.
                                                                       A court of appeals reviews a district court's
               James PAVATT, Plaintiff,                                order denying a stay of execution for an abuse
                         and                                           of discretion.
  Jeffrey Matthews, Plaintiff–Intervenor–Appellant,
                                                                       3 Cases that cite this headnote
                         and
        John David Duty, Plaintiff–Intervenor,
                           v.                                    [2]   Sentencing and Punishment
                                                                           Stay of execution
        Justin JONES, Director, Department of
      Corrections, Randall G. Workman, Warden,                         A stay of execution is an equitable remedy that
     Oklahoma State Penitentiary; John Doe, 1–50                       is not available as a matter of right, and equity
                                                                       must be sensitive to the State's strong interest
    Unknown Executioners, Defendants–Appellees.
                                                                       in enforcing its criminal judgments without
                          No. 10–6268.                                 undue interference from the federal courts.
                                |
                                                                       Cases that cite this headnote
                          Dec. 14, 2010.

Synopsis                                                         [3]   Sentencing and Punishment
Background: Oklahoma state prisoner sentenced to death                     Stay of execution
by lethal injection moved for a preliminary injunction
                                                                       Like other stay applicants, inmates seeking
of the execution. The United State District Court for
                                                                       time to challenge the manner in which the
the Western District of Oklahoma denied the motion.
                                                                       State plans to execute them must satisfy all
Prisoner appealed.
                                                                       of the requirements for a stay, including a
                                                                       showing of a significant possibility of success
                                                                       on the merits.
Holdings: The Court of Appeals, Briscoe, Chief Judge,
held that:                                                             1 Cases that cite this headnote


[1] district court did not abuse its discretion in concluding    [4]   Sentencing and Punishment
that prisoner failed to establish substantial likelihood of                Mode of execution
success on the merits of Eighth Amendment challenge, and
                                                                       District court did not abuse its discretion
                                                                       by concluding, in denying stay of execution,
[2] prisoner failed to establish a substantial likelihood of
                                                                       that prisoner failed to establish a substantial
prevailing on his due process challenge to State's revised
                                                                       likelihood of success on the merits of Eighth
protocol.
                                                                       Amendment challenge to State's revised three-
                                                                       drug lethal injection protocol, in which
Affirmed.                                                              alternative barbiturate, pentobarbital, was
                                                                       substituted for sodium thiopental, in light
                                                                       of district court's findings that State's expert
                                                                       persuasively rejected as unfounded prisoner's
                                                                       expert's concerns that there was insufficient
                                                                       data to allow the State to determine the
                                                                       proper amount of pentobarbital to use as


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        part of its protocol, and that the amount of
        pentobarbital selected for use by the State         Seth S. Branham, Assistant Attorney General, W.A. Drew
        was sufficient to induce unconsciousness in an      Edmondson, Attorney General of Oklahoma, Oklahoma
        inmate, and indeed likely to be lethal in most,     City, OK, for the Defendants–Appellees.
        if not all instances, combined with portion
                                                            Before BRISCOE, Chief Judge, GORSUCH, and
        of State's protocol that required attending
                                                            HOLMES, Circuit Judges.
        physician to confirm that an inmate was
        unconscious prior to administration of the          Opinion
        final two drugs. U.S.C.A. Const.Amend. 8.
                                                            BRISCOE, Chief Judge.
        21 Cases that cite this headnote
                                                            Plaintiff Jeffrey Matthews, an Oklahoma state prisoner
                                                            sentenced to death by lethal injection, appeals from the
 [5]    Constitutional Law
                                                            district court's denial of his motion for a preliminary
            Source of right or interest
                                                            injunction of the execution. Exercising jurisdiction
        A violation of state law does not by
                                                            pursuant to 28 U.S.C. § 1292(a)(1), we affirm. *
        itself constitute a violation of the Federal
        Constitution; to the extent, however, that
        state law creates an interest substantial
        enough to rise to the level of a legitimate claim                                I
        of entitlement, that interest is protected by the
        Due Process Clause of the Fifth Amendment.          Matthews was convicted in Oklahoma state court
        U.S.C.A. Const.Amend. 5.                            of first degree murder and sentenced to death. See
                                                            Matthews v. Workman, 577 F.3d 1175, 1178–79 (10th
        2 Cases that cite this headnote                     Cir.2009) (outlining factual and state procedural history
                                                            of Matthews' case). After Matthews exhausted the
                                                            available state and federal court remedies, the Oklahoma
 [6]    Constitutional Law
                                                            Court of Criminal Appeals (OCCA), at the request of the
            Execution of sentence
                                                            Oklahoma Department of Corrections (ODC), scheduled
        Sentencing and Punishment                           Matthews to be executed on August 17, 2010.
            Execution of Sentence of Death
        Prisoner failed to establish a substantial          On the eve of his execution, Matthews was informed
        likelihood of prevailing on his due process         by ODC officials that the anesthetic drug traditionally
        challenge to State's newly revised execution        employed in ODC's three-drug lethal injection protocol,
        protocol, as required to support stay of            sodium thiopental, was unavailable and that ODC
        execution, absent any indication in the             officials planned to substitute an alternative barbiturate,
        record that prisoner had been denied the            pentobarbital, during Matthews' execution. 1 Matthews
        opportunity to challenge the protocol either        responded *1338 by simultaneously moving to stay
        administratively or in state courts. U.S.C.A.       his execution and to intervene in Pavatt v. Jones, Case
        Const.Amend. 5.                                     No. 10–141–F (W.D.Okla.2010), an ongoing 42 U.S.C.
                                                            § 1983 action filed by another Oklahoma prisoner
        8 Cases that cite this headnote
                                                            asserting an Eighth Amendment challenge to Oklahoma's
                                                            lethal injection protocol. The district court granted
                                                            Matthews' motions, allowed him to file a complaint, and
                                                            authorized Matthews to conduct discovery and obtain
Attorneys and Law Firms
                                                            and file an expert report. On November 19, 2010, the
*1337 Timothy R. Payne, Assistant Federal Public            district court held an evidentiary hearing on Matthews'
Defender, Western District of Oklahoma, Oklahoma City,      motion for preliminary injunction. During that hearing,
OK, for Plaintiff–Intervenor–Appellant.                     Matthews presented testimony from his expert witness,
                                                            and defendants presented the videotaped deposition



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testimony of their expert. At the conclusion of the hearing,    because an execution method may result in pain, either by
the district court ruled from the bench, denying Matthews'      accident or as an inescapable consequence of death, does
motion for preliminary injunction. On November 22,              not establish the sort of ‘objectively *1339 intolerable
2010, the district court issued a memorandum and order          risk of harm’ that qualifies as cruel and unusual.” Id. at
memorializing its findings and conclusions. On that same        50, 128 S.Ct. 1520. Lastly, the Court held that “[a] stay of
date, the Oklahoma Attorney General's Office requested          execution may not be granted on [such] grounds ... unless
the OCCA to set January 4, 2011, as the execution date          the condemned prisoner establishes that the State's lethal
for Matthews. 2                                                 injection protocol creates a demonstrated risk of severe
                                                                pain ... [and] that the risk is substantial when compared to
Matthews now appeals from the district court's denial of        the known and available alternatives.” Id. at 61, 128 S.Ct.
his motion for preliminary injunction seeking to stay his       1520.
execution.
                                                                The district court, applying the Baze principles, concluded
                                                                that Matthews failed to demonstrate such a risk in
                                                                connection with his impending execution. In reaching this
                             II                                 conclusion, the district court found:
 [1] [2] [3] “We review the district court's order for an         • that the first step of the ODC's lethal injection protocol
abuse of discretion.” Hamilton v. Jones, 472 F.3d 814,            mandates the intravenous administration to the subject
815 (10th Cir.2007). The principles that apply to our             inmate of 5,000 milligrams of pentobarbital (2,500
review were outlined by the Supreme Court in Hill v.              milligrams in each arm);
McDonough, 547 U.S. 573, 126 S.Ct. 2096, 165 L.Ed.2d
44 (2006). “[A] stay of execution is an equitable remedy”         • that the ODC's protocol requires the attending
that “is not available as a matter of right, and equity           physician to “ensure that the [inmate] is sufficiently
must be sensitive to the State's strong interest in enforcing     unconscious [as a result of the pentobarbital] prior to
its criminal judgments without undue interference from            the administration of the [second drug and paralytic
the federal courts.” 547 U.S. at 584, 126 S.Ct. 2096.             agent,] vecuronium bromide,” Aplt. Br., Att. A at 153;
Consequently, “like other stay applicants, inmates seeking
time to challenge the manner in which the State plans to          • that the administration of a sufficient dose of
execute them must satisfy all of the requirements for a           pentobarbital will render an individual unconscious
stay, including a showing of a significant possibility of         and that the administration of a sufficient dose of
success on the merits.” Id.                                       pentobarbital will be lethal;

                                                                  • that defendant's expert witness, Dr. Mark Dershwitz,
As the district court aptly noted, Matthews' challenge
                                                                  an anesthesiologist with a Ph.D. in pharmacology,
to the ODC's planned lethal injection procedure, i.e.,
                                                                  “persuasively characterized a 5,000 milligram dose
its planned substitution of pentobarbital for sodium
                                                                  of pentobarbital as ‘an enormous overdose’ ” that
thiopental, is governed by the Supreme Court's decision
                                                                  “would cause a flat line of the EEG, which is the
in Baze v. Rees, 553 U.S. 35, 128 S.Ct. 1520, 170
                                                                  deepest measurable effect of a central nervous system
L.Ed.2d 420 (2008). In Baze, the Court acknowledged
                                                                  depressant,” and “would be lethal as a result of two
“that subjecting individuals to a risk of future harm
                                                                  physiological responses”: the cessation of respiration
—not simply actually inflicting pain—can qualify as
                                                                  and the drop in blood pressure “to an unsurvivable
cruel and unusual punishment.” Id. at 49, 128 S.Ct.
                                                                  level,” id. at 154;
1520. However, the Court emphasized, “[t]o establish
that such exposure violates the Eighth Amendment, ...             • that Dershwitz “very persuasively explained” that
the conditions presenting the risk must be ‘sure or very          “pentobarbital is highly likely to cause death in five
likely to cause serious illness and needless suffering,’ and      minutes or within a short time thereafter,” id.;
give rise to ‘sufficiently imminent dangers.’ ” Id. at 49–
50, 128 S.Ct. 1520 (quoting Helling v. McKinney, 509              • that Dershwitz “credibly testified ... that the 5,000–
U.S. 25, 33, 34–35, 113 S.Ct. 2475, 125 L.Ed.2d 22                milligram dosage will give rise ... to a virtually nil
(1993) (emphasis added)). Thus, the Court held, “[s]imply         likelihood that the inmate will feel the effects of the


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  subsequently administered vecuronium bromide and              protocol, support the district court's legal conclusion that
  potassium chloride,” id. at 155; and                          Matthews failed to establish a substantial likelihood of
                                                                success on the merits of his Eighth Amendment challenge
  • that Dershwitz “persuasively responded to Dr. [David]       to the ODC's revised protocol.
  Waisel's testimony that clinicians do not know what
  dosage of pentobarbital would be required to achieve
  anesthesia by pointing out that the use of pentobarbital
  to induce a barbiturate coma, which at least in Dr.                                       III
  Dershwitz's practice is a common use of pentobarbital,
                                                                Matthews also contended below, albeit in summary
  takes the patient to a state of unconsciousness beyond
                                                                fashion, that the use of pentobarbital, which Dr.
  a normal clinical level of anesthesia,” id. at 155–56.
                                                                Dershwitz classified as an intermediate-acting barbiturate,
Based upon these factual findings, the district court           would violate Oklahoma state law, which expressly
concluded that Matthews failed to establish “that the use       requires the use of an “ultrashort-acting barbiturate” 3
of pentobarbital in Oklahoma's lethal injection protocol        in executions. 4 Okla. Stat. tit. 22, § 1014(A). 5 In turn,
presents a constitutionally unacceptable risk of harm           Matthews contended that the ODC's proposed execution
to the inmate.” Id. at 156. “To the contrary,” the              protocol threatened to violate what he characterized
district court concluded, “the evidence in this case clearly    as his “state-created life interest under the Fifth
establishe[d] under the standards established ... in Baze ...   and Fourteenth Amendments.” Aplt. Br. at 6. More
that any risk associated with the use of pentobarbital in       specifically, Matthews contended he could not “be
Oklahoma's lethal injection protocol falls short of the level   deprived of this Constitutional right *1341 through the
of risk that must be shown as a prerequisite to establishing    arbitrary and capricious actions of persons acting under
an Eighth Amendment claim.” Id. Thus, the district              the color of State law.” Id.
court concluded that Matthews “failed to establish ...
a significant possibility of success on the merits....” Id.      [5] “A violation of state law does not by itself constitute
Lastly, the district court concluded that the likelihood that   a violation of the Federal Constitution.” Nordlinger v.
Matthews “w[ould] suffer ... injury ... [w]as ... virtually     Hahn, 505 U.S. 1, 26, 112 S.Ct. 2326, 120 L.Ed.2d 1 (1992).
nil.” Id.                                                       To the extent, however, that state law creates an interest
                                                                substantial enough to rise to the level of a “legitimate
 [4] After conducting our own review of the record,             claim of entitlement,” that interest is protected by the Due
we conclude the district court *1340 did not abuse its          Process Clause of the Fifth Amendment. Bd. of Regents of
discretion in denying Matthews' motion. Each of the             State Colls. v. Roth, 408 U.S. 564, 577, 92 S.Ct. 2701, 33
district court's factual findings are well-supported by the     L.Ed.2d 548 (1972). The Due Process Clause provides that
testimony of defendant's expert, Dr. Dershwitz. Although        “[n]o State shall ... deprive any person of life, liberty, or
Matthews' expert witness, Dr. Waisel, expressed concern         property, without due process of law,” U.S. Const. amdt.
that there was insufficient data to allow the ODC to            XIV, § 1; accord amdt. V, and thus “imposes procedural
determine the proper amount of pentobarbital to use             limitations on a State's power to take away protected
as part of its protocol, it was by no means clear error         entitlements.” Dist. Attorney's Office for Third Judicial
for the district court to find that Dr. Dershwitz, who          Dist. v. Osborne, ––– U.S. ––––, 129 S.Ct. 2308, 2319, 174
has substantially more clinical experience with the use         L.Ed.2d 38 (2009).
of pentobarbital than Dr. Waisel, persuasively rejected
those concerns as unfounded. The district court likewise         [6] Here, as noted, Matthews asserts that he has a
committed no clear error in finding that the amount of          protected, “state-created life interest” in being executed
pentobarbital selected for use by the ODC as part of            in accordance with the precise protocol set forth in
its protocol was sufficient to induce unconsciousness in        Okla. Stat. tit. 22, § 1014(A), and that defendants are
an inmate, and indeed would likely be lethal in most,           threatening to violate that right. However, there is no
if not all, instances. Those findings, combined with the        indication in the record that defendants have denied
portion of the ODC's protocol that requires the attending       Matthews the opportunity to challenge the protocol
physician to confirm that an inmate is unconscious prior
                                                                either administratively or in the Oklahoma state courts. 6
to the administration of the final two drugs in the ODC's


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Indeed, the record indicates that Matthews has, in
                                                                    AFFIRMED.
opposition to the State's request for the OCCA to set an
execution date, filed an objection specifically arguing that
the ODC's newly revised execution protocol is contrary to           All Citations
state law. 7 Consequently, we conclude, as did the district
court, that Matthews has failed to establish a substantial          627 F.3d 1336
likelihood of prevailing on his due process challenge to the
ODC's newly revised execution protocol.


Footnotes
*      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not
       materially assist in the determination of this appeal. See Fed. R.App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is,
       therefore, submitted without oral argument.
         For purposes of expediency, we previously issued a substantially similar order and judgment in this case. The clerk of
         the court has been now been directed to reissue the decision for publication nunc pro tunc to the original filing date.
1      According to the record, sodium thiopental is now effectively unobtainable anywhere in the United States, thus requiring
       Oklahoma and other death-penalty states to revise their lethal injection protocols. Two of those states, Ohio and
       Washington, have purportedly now replaced their three-drug protocols with a one-drug protocol based upon pentobarbital.
       Other states, in particular Oklahoma, have simply revised their existing three-drug protocols by substituting pentobarbital
       for sodium thiopental.
2      On December 14, 2010, the OCCA granted the request and established January 11, 2011 as Matthews' execution date.
3      The record on appeal establishes that Dr. Dershwitz used the terms “intermediate-acting” and “ultrashort-acting” to
       refer to the length of the barbiturate's effect, not on how quickly the barbiturate takes effect. Although it is not entirely
       clear, Oklahoma's statute appears to use the term “ultrashort-acting” in a different sense, to refer to how quickly the
       barbiturate takes effect. And on that score, as Dr. Dershwitz testified and the district court found, a 5,000 milligram dose
       of pentobarbital will quickly induce an unconscious state.
4      Matthews did not assert a separate due process claim in his intervenor complaint. Instead, he waited until filing his
       amended motion for preliminary injunction to assert, for the first time, that the use of pentobarbital would violate Oklahoma
       state law and, in turn, violate his federal due process rights. Although Matthews continued to mention the claim thereafter,
       including at the hearing on his motion for preliminary injunction, he presented no evidence, and few legal authorities,
       in support of the claim. In turn, the district court summarily rejected the claim as meritless at the preliminary injunction
       hearing, and did not expressly address it in its subsequent written order memorializing its oral rulings.
5      The statute provides, in its entirety:
             A. The punishment of death must be inflicted by continuous, intravenous administration of a lethal quantity of an
             ultrashort-acting barbiturate in combination with a chemical paralytic agent until death is pronounced by a licensed
             physician according to accepted standards of medical practice.
             B. If the execution of the sentence of death as provided in subsection A of this section is held unconstitutional by an
             appellate court of competent jurisdiction, then the sentence of death shall be carried out by electrocution.
             C. If the execution of the sentence of death as provided in subsections A and B of this section is held unconstitutional
             by an appellate court of competent jurisdiction, then the sentence of death shall be carried out by firing squad.
          Okla. Stat. tit. 22, § 1014.
6      There was no indication in any of Matthews' district court pleadings, or in his opening appellate brief, that he was seeking
       to assert a substantive due process violation. More specifically, at no point in any of those pleadings did Matthews mention
       the concept of substantive due process, or the associated “ ‘fundamental right’ or ... ‘shocks the conscience’ standards....”
       Seegmiller v. LaVerkin City, 528 F.3d 762, 767 (10th Cir.2008).
          In his appellate reply brief, Matthews mentioned the concept of substantive due process for the first time, stating in a
          footnote: “Mr. Matthews' asserted due process claim is as much, if not more, a substantive due process violation as it
          is a procedural due process violation.” Aplt. Reply Br. at 15 n. 5. We conclude, however, that any such claim has been
          waived. See United States v. Smith, 606 F.3d 1270, 1284 n. 5 (10th Cir.2010) (explaining that “issues raised by an
          appellant for the first time on appeal in a reply brief are generally deemed waived” (quotations omitted)).




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Pavatt v. Jones, 627 F.3d 1336 (2010)
                                                                                                                      0296


7      In its December 14, 2010 order setting Matthews' execution date, the OCCA declined, given the narrow context of the
       proceeding before it, to address the merits of Matthews' argument. However, the OCCA noted that Matthews could
       “present any appropriate issues challenging his conviction or sentence in a second or subsequent [state] post-conviction
       application.” Matthews v. State, No. D–1999–1139, slip op. at 2 n. 2 (Okla.Crim.App. Dec. 14, 2010).


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                                                              [4] inmate's untimely opt-in did not affect the availability
                                                              of nitrogen hypoxia as alternative method of execution;
                    920 F.3d 1317
   United States Court of Appeals, Eleventh Circuit.
                                                              [5] inmate was not required to provide details regarding
     Christopher Lee PRICE, Plaintiff - Appellant,            how State could implement nitrogen hypoxia as an
                            v.                                adopted method of execution; and
     COMMISSIONER, Alabama DEPARTMENT
                                                              [6] inmate did not establish that nitrogen hypoxia would
        OF CORRECTIONS, Warden, Holman
                                                              significantly reduce the risk of substantial pain.
     Correctional Facility, Defendants - Appellees.

                     No. 19-11268
                                                              Affirmed; motion for stay denied.
                            |
                 Non-Argument Calendar
                            |
                     April 10, 2019                            West Headnotes (24)

Synopsis
Background: After affirmance of murder conviction and          [1]    Federal Courts
death sentence, 725 So.2d 1063, Alabama death-row                         Summary judgment
inmate brought § 1983 action, alleging that Alabama                   The Court of Appeals reviews de novo an
Department of Corrections’ (ADOC) use of midazolam                    order on summary judgment. Fed. R. Civ. P.
in its three-drug lethal-injection protocol violated Eighth           56.
Amendment’s ban on cruel and unusual punishments, and
that State violated equal protection by refusing to allow             Cases that cite this headnote
him to elect nitrogen hypoxia as his method of execution,
outside of 30-day opt-in period. The United States             [2]    Federal Courts
District Court for the Southern District of Alabama,                      Criminal Justice
No. 1:19-cv-00057-KD-MU, Kristi K. DuBose, J., 2019
                                                                      The Court of Appeals would review for abuse
WL 1509610, denied inmate's emergency motion for
                                                                      of discretion the District Court’s denial of
preliminary injunction for stay of execution and motion
                                                                      state death-row inmate's motion for stay of
for summary judgment. Inmate appealed and filed motion
                                                                      execution, which was filed in inmate's § 1983
for emergency stay of execution.
                                                                      action challenging the constitutionality of
                                                                      state's lethal injection protocol for executions.
                                                                      42 U.S.C.A. § 1983.
Holdings: The Court of Appeals held that:
                                                                      Cases that cite this headnote
[1] for equal protection purposes, inmate, who did not
timely elect nitrogen hypoxia as alternative to State's        [3]    Federal Courts
three-drug lethal-injection protocol, was not similarly                   "Clearly erroneous" standard of review in
situated with inmates who made timely elections;                      general
                                                                      Under the clear error standard for reviewing
[2] for equal protection purposes, opt-in period was
                                                                      a district court's factual findings, the Court of
rationally related to legitimate state interests;
                                                                      Appeals may not reverse simply because it is
                                                                      convinced that it would have decided the case
[3] nitrogen hypoxia was available as alternative method
                                                                      differently.
of execution adopted by State, though State was still
developing its protocol;                                              Cases that cite this headnote




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                                                                   If a law treats individuals differently on
 [4]   Federal Courts                                              the basis of a suspect classification, or if
           Injunction and temporary restraining                    the law impinges on a fundamental right,
       order cases                                                 it is subject to strict scrutiny for an equal
       The Court of Appeals could grant state                      protection violation; otherwise, plaintiff must
       death-row inmate's emergency motion for                     show that the disparate treatment is not
       preliminary injunction for stay of execution,               rationally related to a legitimate government
       filed by prisoner on appeal from the District               interest. U.S. Const. Amend. 14.
       Court's denial of his summary judgment
       motion and motion for stay of execution in                  Cases that cite this headnote
       § 1983 action challenging constitutionality of
       state's lethal injection protocol, only if inmate    [8]    Constitutional Law
       established that: (1) he had a substantial                      Capital punishment; death penalty
       likelihood of success on the merits; (2) he
                                                                   Sentencing and Punishment
       would suffer irreparable injury unless the
                                                                       Mode of execution
       injunction issued; (3) the stay would not
       substantially harm the State; and (4) if issued,            Alabama death-row inmate, who did not
       the injunction would not be adverse to the                  timely elect nitrogen hypoxia as alternative
       public interest. 42 U.S.C.A. § 1983.                        to State's three-drug lethal-injection protocol
                                                                   using midazolam, was not similarly situated
       1 Cases that cite this headnote                             with inmates who had made timely elections,
                                                                   and thus, denial of inmate's untimely election
                                                                   did not violate equal protection. U.S. Const.
 [5]   Sentencing and Punishment
                                                                   Amend. 14; Ala. Code § 15-18-82.1(b)(2).
           Stay of execution
       The first and most important question                       Cases that cite this headnote
       regarding a stay of execution is whether the
       prisoner is substantially likely to succeed on
                                                            [9]    Constitutional Law
       the merits of his claims.
                                                                       Capital punishment; death penalty
       Cases that cite this headnote                               Sentencing and Punishment
                                                                       Mode of execution

 [6]   Constitutional Law                                          State's 30-day opt-in period for death-
            Similarly situated persons; like                       row inmates to elect nitrogen hypoxia, as
       circumstances                                               an alternative to State's three-drug lethal-
                                                                   injection protocol using midazolam, was
       To prevail on an equal-protection claim, a
                                                                   rationally related to State's legitimate interest
       plaintiff must show that the State will treat
                                                                   in efficient and orderly use of State resources
       him disparately from other similarly situated
                                                                   in planning and preparing for executions,
       persons. U.S. Const. Amend. 14.
                                                                   and thus, different treatment of death-row
       Cases that cite this headnote                               inmates, based on whether they made a timely
                                                                   election, did not violate equal protection. U.S.
                                                                   Const. Amend. 14; Ala. Code § 15-18-82.1(b)
 [7]   Constitutional Law                                          (2).
            Statutes and other written regulations
       and rules                                                   Cases that cite this headnote
       Constitutional Law
           Strict scrutiny and compelling interest in       [10]   Constitutional Law
       general                                                         Presumptions and Construction as to
                                                                   Constitutionality


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        A statute is presumed constitutional.
                                                                   Cases that cite this headnote
        Cases that cite this headnote

                                                            [15]   Sentencing and Punishment
 [11]   Sentencing and Punishment                                      Mode of execution
            Mode of execution                                      A      prisoner    asserting    an     Eighth
        Prisoners cannot succeed on an Eighth                      Amendment method-of-execution claim
        Amendment method-of-execution claim                        cannot successfully challenge a State’s lethal-
        unless they can establish that the challenged              injection protocol by showing a slightly
        method presents a risk that is sure or very                or marginally safer alternative. U.S. Const.
        likely to cause serious illness and needless               Amend. 8.
        suffering, and that gives rise to sufficiently
        imminent dangers. U.S. Const. Amend. 8.                    Cases that cite this headnote

        Cases that cite this headnote
                                                            [16]   Sentencing and Punishment
                                                                       Mode of execution
 [12]   Sentencing and Punishment                                  A prisoner asserting an Eighth Amendment
            Mode of execution                                      method-of-execution claim must show a
        Simply because an execution method may                     feasible and readily implemented alternative
        result in pain, either by accident or as an                method of execution that would significantly
        inescapable consequence of death, does not                 reduce a substantial risk of severe pain, which
        establish the sort of objectively intolerable              the State has refused to adopt without a
        risk of harm that qualifies as cruel and                   legitimate penological reason. U.S. Const.
        unusual punishment prohibited by the Eighth                Amend. 8.
        Amendment. U.S. Const. Amend. 8.
                                                                   Cases that cite this headnote
        Cases that cite this headnote

                                                            [17]   Sentencing and Punishment
 [13]   Sentencing and Punishment                                      Mode of execution
            Mode of execution                                      An inmate seeking to identify an alternative
        To prevail on an Eighth Amendment method-                  method of execution, in an Eighth
        of-execution claim, an inmate must show a                  Amendment challenge to a State's method of
        substantial and objectively intolerable risk of            execution, is not limited to choosing among
        serious harm that prevents prison officials                those presently authorized by the State’s law,
        from pleading that they are subjectively                   so an inmate can identify a well-established
        blameless for purposes of the Eighth                       protocol in another State as a potentially
        Amendment. U.S. Const. Amend. 8.                           viable option. U.S. Const. Amend. 8.

        Cases that cite this headnote                              Cases that cite this headnote


 [14]   Sentencing and Punishment                           [18]   Sentencing and Punishment
            Mode of execution                                          Mode of execution
        An inmate asserting an Eighth Amendment                    Nitrogen hypoxia was available as alternative
        method-of-execution claim must identify                    method of execution in Alabama, as element
        an alternative that is feasible, readily                   for death-row inmate's Eighth Amendment
        implemented, and that in fact significantly                challenge to State's use of midazolam in
        reduces a substantial risk of severe pain. U.S.            its three-drug lethal-injection protocol, where
        Const. Amend. 8.                                           State had adopted nitrogen hypoxia as a


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        method of execution, though State was still                to provide details regarding how the State
        developing a nitrogen hypoxia protocol. U.S.               could implement its adopted alternative
        Const. Amend. 8.                                           method of execution. U.S. Const. Amend. 8.

        1 Cases that cite this headnote                            Cases that cite this headnote


 [19]   Sentencing and Punishment                           [22]   Sentencing and Punishment
            Mode of execution                                          Mode of execution
        To establish that a proposed alternative                   To the extent that a particular available
        method of execution is available, when                     method of execution reasonably requires a
        asserting an Eighth Amendment method-of-                   certain period for the State to prepare for
        execution claim, an inmate must do more than               execution, a prisoner asserting an Eighth
        show that it is theoretically feasible; he must            Amendment method-of-execution claim may
        also show that it is readily implemented, and              not successfully seek execution by an
        to meet this burden, the proposed alternative              alternative method inside that window of
        must be sufficiently detailed to permit a                  time. U.S. Const. Amend. 8.
        finding that the State could carry it out
        relatively easily and reasonably quickly. U.S.             Cases that cite this headnote
        Const. Amend. 8.
                                                            [23]   Sentencing and Punishment
        Cases that cite this headnote
                                                                       Mode of execution
                                                                   Medical expert's declaration, which merely
 [20]   Sentencing and Punishment                                  opined that midazolam would not
            Mode of execution                                      provide adequate analgesic effects during
        Alabama death-row inmate satisfied the                     inmate's execution, without comparing the
        availability requirement for a proposed                    effectiveness of State's three-drug protocol,
        alternative method of execution, as element                which used midazolam, to an alternative
        for Eighth Amendment challenge to State's                  method of execution using only nitrogen
        use of midazolam in its three-drug lethal-                 hypoxia, did not establish that execution by
        injection protocol, by pointing to State's                 nitrogen hypoxia would significantly reduce
        adoption of nitrogen hypoxia as an additional              the risk of substantial pain to inmate,
        method of execution, though the inmate                     as would be required for inmate's Eighth
        himself had missed the deadline under State's              Amendment method-of-execution claim. U.S.
        30-day opt-in period for electing nitrogen                 Const. Amend. 8.
        hypoxia as a method of execution. U.S. Const.
        Amend. 8; Ala. Code § 15-18-82.1(b)(2).                    Cases that cite this headnote

        Cases that cite this headnote
                                                            [24]   Sentencing and Punishment
                                                                       Mode of execution
 [21]   Sentencing and Punishment                                  University's report on nitrogen hypoxia as a
            Mode of execution                                      method of execution did not establish that
        An inmate asserting an Eighth Amendment                    the use of nitrogen hypoxia, as alternative
        method-of-execution claim may satisfy his                  to State's three-drug lethal injection protocol,
        burden of demonstrating that an alternative                would significantly reduce the risk of
        method of execution is feasible and readily                substantial pain to inmate, as would be
        implemented by pointing to the executing                   required for inmate's Eighth Amendment
        State’s official adoption of that alternative              method-of-execution claim, where the report
        method of execution, without being required                was a preliminary draft report that was



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          stamped with the words “Do Not Cite,”                 subsequently sentenced to death. See Price v. State, 725
          and it did not compare the two methods of             So.2d 1003, 1011 (Ala. Crim. App. 1997), aff'd sub nom. Ex
          execution. U.S. Const. Amend. 8.                      parte Price, 725 So.2d 1063 (Ala. 1998). Price filed a direct
                                                                appeal of both his conviction and death sentence, but both
          2 Cases that cite this headnote                       were affirmed. See Price, 725 So.2d at 1062, aff’d, 725
                                                                So.2d 1063 (Ala. 1998). Price’s conviction and sentence
                                                                became final in May 1999 after the Supreme Court denied
                                                                his petition for writ of certiorari. See Price v. Alabama, 526
Attorneys and Law Firms                                         U.S. 1133, 119 S.Ct. 1809, 143 L.Ed.2d 1012 (1999).

*1320 Jonathan R. Ference-Burke, Ropes & Gray, LLP,             Price then filed a state post-conviction Rule 32 petition,
WASHINGTON, DC, Aaron Katz, Ropes & Gray, LLP,                  but the petition was denied, and the Court of Criminal
BOSTON, MA, for Plaintiff-Appellant.                            Appeals of Alabama affirmed. See Price v. State, 880
                                                                So.2d 502 (Ala. Crim. App. 2003). The Alabama Supreme
Lauren Ashley Simpson, Beth Jackson Hughes, Henry
M. Johnson, Alabama Attorney General's Office,                  Court denied certiorari review. Ex parte Price, 976 So.2d
                                                                1057 (Ala. 2006).
MONTGOMERY, AL, for Defendants-Appellees.

Appeal from the United States District Court for the            Later, Price filed a petition for writ of habeas corpus in the
Southern District of Alabama, D.C. Docket No. 1:19-             Northern District of Alabama. The district court issued an
cv-00057-KD-MU                                                  opinion denying the petition with prejudice and entering
                                                                judgment against Price. We affirmed that judgment. See
Before TJOFLAT, WILSON, and ROSENBAUM,                          Price v. Allen, 679 F.3d 1315, 1319-20 (11th Cir. 2012) (per
Circuit Judges.                                                 curiam). The Supreme Court also denied Price’s petition
                                                                for writ of certiorari. Price v. Thomas, 568 U.S. 1212, 133
Opinion
                                                                S.Ct. 1493, 185 L.Ed.2d 548 (2013).
PER CURIAM:
                                                                Price filed a successive state post-conviction Rule 32
Christopher Lee Price, an Alabama prisoner sentenced            petition in 2017, arguing that his death sentence was
to death for killing a man during the commission of a           unconstitutional under Hurst v. Florida, ––– U.S. ––––,
robbery, has moved this Court for an emergency stay             136 S.Ct. 616, 193 L.Ed.2d 504 (2016). That petition
of his execution, which is scheduled to take place on           was also denied, and the Court of Criminal Appeals of
April 11, 2019, at 6:00 p.m. Central Standard Time at           Alabama affirmed. Price v. State, No. CR-16-0785, 2017
the Holman Correctional Facility (“Holman”). Price also         WL 10923867 (Ala. Crim. App. Aug. 4, 2017), reh'g denied
appeals the district court’s order denying his motion for       (Sept. 8, 2017). The Alabama Supreme Court denied
preliminary injunction and its order denying his renewed        certiorari.
motion for preliminary injunction. Included within those
orders is the district court’s denial of Price’s Cross-Motion   Following his direct criminal appeals and after the State
                            1
for Summary Judgment. After careful consideration,              moved the Alabama Supreme Court to set an execution
we affirm the district court’s denial of Price’s *1321          date, Price brought a civil lawsuit under 42 U.S.C. § 1983
Cross-Motion for Summary Judgment as well as its denial         alleging that the Alabama Department of Corrections’s
of Price’s original and renewed motions for preliminary         (“ADOC”) use of midazolam in its three-drug lethal-
injunction. We also deny Price’s motion for a stay of           injection protocol violates the Eighth Amendment’s ban
execution because he cannot show a substantial likelihood       on cruel and unusual punishment because it is not effective
of success on his petition.                                     in rendering an inmate insensate during execution (the
                                                                “first § 1983 action”). The district court held a bench trial
                                                                on Price’s § 1983 claim. But the district court bifurcated
I. Background                                                   the trial, addressing only whether Price could meet his
Price was convicted of capital murder for killing William       burden of showing that his chosen alternative drug—
Lynn during the commission of a robbery, and Price was          pentobarbital—was available to the ADOC. The district



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court found in favor of the ADOC and against Price.             reiterated Price’s desire to “opt in to the nitrogen hypoxia
It concluded that Price had failed to meet his burden of        protocol.” Assistant Attorney General Henry Johnson
showing that pentobarbital was a feasible and available         denied the request, citing the thirty-day period to opt into
drug for use by the ADOC.                                       the protocol.

Price appealed and, on September 18, 2018, we affirmed.         On February 8, 2019, (approximately one month after
Price v. Comm'r, Ala. Dep't of Corr., 752 F. App'x 701          the State sought an execution date), Price filed a civil
(11th Cir. 2018). Price recently filed a petition for writ of   complaint against the Commissioner of the ADOC and
certiorari with the Supreme Court of the United States.         others. The new complaint set forth a § 1983 claim in which
That petition is currently pending.                             Price realleged many of the claims raised in his previous
                                                                § 1983 action concerning the three-drug lethal-injection
                                                                protocol (the “second § 1983 action”). For example, Price
II. Facts Relevant to this Appeal                               claims that the use of midazolam as the first drug in its
While the appeal of Price’s first § 1983 action was pending     three-drug lethal-injection protocol violates the Eighth
before this Court, the Alabama legislature amended the          Amendment’s ban on cruel and unusual punishment. The
State’s execution statute to add nitrogen hypoxia as an         complaint in the second § 1983 action also alleges that
approved method of execution. The amendment became              the State violated Price’s Fourteenth Amendment right to
effective on June 1, 2018. See Ala. Code § 15-18-82.1.          equal protection by refusing to allow him to elect nitrogen
The statute *1322 reads, in relevant part, “A death             hypoxia as his method of execution. With respect to that
sentence shall be executed by lethal injection, unless          claim, Price contended that the State entered into “secret
the person sentenced to death affirmatively elects to be        agreements” with many death row inmates allowing them
executed by electrocution or nitrogen hypoxia.” Ala.            to elect nitrogen hypoxia but would not allow him to do
Code § 15-18-82.1(a). The statute also provides that the
                                                                so outside of the 30-day opt-in period. 3
election of death by nitrogen hypoxia is waived unless it
is personally made by the inmate in writing and delivered
to the warden within thirty days after the certificate           *1323 III. Discussion
of judgment pursuant to a decision by the Alabama                [1]   [2]   [3] We review de novo an order on summary
Supreme Court affirming the sentence of death. Ala. Code        judgment. Smith v. Owens, 848 F.3d 975, 978 (11th
§ 15-18-82.1(b)(2). If a judgment was issued before June        Cir. 2017). As for the district court’s denial of Price’s
1, 2018, as was the case with Price, the election must have     motion for stay of execution, we review that for abuse
been made and delivered to the warden within thirty days        of discretion. Brooks v. Warden, 810 F.3d 812, 818 (11th
of June 1, 2018. See Id.                                        Cir. 2016). With respect to the district court’s factual
                                                                findings, we review those for clear error. Glossip v. Gross,
On January 11, 2019, the State moved the Alabama                ––– U.S. ––––, 135 S.Ct. 2726, 2739, 192 L.Ed.2d 761
Supreme Court to set an execution date for Price. The           (2015). Under this standard, we may not reverse “simply
Alabama Supreme Court granted the motion on March 1,            because we are convinced that we would have decided the
2019, ordering that Price be executed on April 11, 2019,        case differently.” Id. (cleaned up).
by lethal injection.
                                                                 [4]   [5] Finally, we may grant Price’s motion for stay
In the meantime, on January 27, 2019, Price wrote a letter      of execution filed in this Court only if Price establishes
to the warden of Holman asking that he be executed by           that “(1) he has a substantial likelihood of success on
nitrogen hypoxia. 2 The warden responded by notifying           the merits; (2) he will suffer irreparable injury unless the
Price that his request was past the thirty-day deadline         injunction issues; (3) the stay would not substantially
set forth in the statute. Nevertheless, she further noted       harm the other litigant; and (4) if issued, the injunction
that she did not have the authority to grant, deny, or          would not be adverse to the public interest.” Arthur v.
reject the request, and she indicated that any further          Comm'r, Ala. Dep't of Corr., 840 F.3d 1268, 1321 (11th Cir.
consideration of the matter needed to go through Price’s        2016) (quoting Brooks v. Warden, 810 F.3d 812, 818 (11th
attorney to the Attorney General’s Office. Price’s attorney     Cir. 2016) (emphases in original)), abrogated on other
then reached out to the Attorney General’s Office and           grounds by Bucklew v. Precythe, ––– U.S. ––––, 139 S.Ct.



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1112, 1127–29, ––– L.Ed.2d –––– (2019). The “first and
most important question” regarding a stay of execution         The record reveals that Price had the same opportunity
is whether the petitioner is substantially likely to succeed   as every other inmate to *1324 elect nitrogen hypoxia as
on the merits of his claims. Jones v. Comm’r. Ga. Dep’t of     his method of execution. When the State added nitrogen
Corr., 811 F.3d 1288, 1292 (11th Cir. 2016).                   hypoxia as a statutorily viable method of execution in June
                                                               2018, all inmates whose death sentences were final as of
After careful consideration, we conclude that the district     June 1, 2018, received a thirty-day period to elect nitrogen
court did not err when it denied Price’s Cross-Motion for      hypoxia. See Ala. Code § 15-18-82.1(b)(2). Significantly,
Summary Judgment, although our basis for affirmance            Price was represented by counsel when the State added
differs from the grounds set forth by the district court.      nitrogen hypoxia as a method of execution.
We further find that the district court did not abuse
its discretion when it denied Price’s initial and renewed      According to the State, all death-row inmates at Holman,
motions for preliminary injunction in which he sought a        including Price, were provided with a copy of an election
stay of execution. Finally, we deny Price’s motion for stay    form, and forty-eight of those inmates timely elected
of execution because he has not satisfied the requirements     nitrogen hypoxia. Price did not. The record contains the
for such a stay.                                               affidavit of Captain Jeff Emberton, who attested to the
                                                               fact that, in mid-June 2018, after the State authorized
We now examine each of Price’s claims in turn.                 nitrogen hypoxia as a method of execution, the warden
                                                               of Holman directed him to provide every death-row
                                                               inmate an election form and an envelope. According
                                                               to Emberton, he delivered the form to every death-row
     A. Fourteenth Amendment Equal Protection Claim
                                                               inmate at Holman as instructed. The form identified Act
 [6]     [7] Price contends that the State violated his 2018-353 (which amended Ala. Code. § 15-18-82.1 to
Fourteenth Amendment right to equal protection by not          include nitrogen hypoxia) and allowed for the inmate to
permitting him to elect nitrogen hypoxia as a method of        state that he was making the election of nitrogen hypoxia
execution. To prevail on his equal-protection claim, Price     as the means of execution. 4 Price did not contend that he
must first show that “the State will treat him disparately     did not receive the form or that he was not given the option
from other similarly situated persons.” Arthur v. Thomas,      to make the same election.
674 F.3d 1257, 1262 (11th Cir. 2012) (quoting DeYoung
v. Owens, 646 F.3d 1319, 1327 (11th Cir. 2011)). Second,       In sharp contrast to other inmates who opted for the
“[i]f a law treats individuals differently on the basis of ... protocol by the July 1, 2018, deadline, Price waited until
[a] suspect classification, or if the law impinges on a        late January 2019 to seek to elect nitrogen hypoxia for
fundamental right, it is subject to strict scrutiny.” Id.      his execution. Price appears to argue that the ADOC’s
(quoting Leib v. Hillsborough Cty. Pub. Transp. Comm'n,        provision of the election form was insufficient. But Price
558 F.3d 1301, 1306 (11th Cir. 2009)). Otherwise, Price        was represented by counsel, so any doubts Price had about
“must show that the disparate treatment is not rationally      the form could have been resolved by consulting with his
related to a legitimate government interest.” Id. (quoting     attorney. Plus, several other inmates were able to make
DeYoung, 646 F.3d at 1327–28).                                 the timely election based on the provision of the form
                                                               by the State. Price takes issue with the fact that most
The district court did not err in denying Price’s equal-       of the inmates that timely elected nitrogen hypoxia were
protection claim. Importantly, Price has not demonstrated      represented by the Federal Public Defender’s Office and
that he was or will be treated differently than similarly      that they were given an explanation of their rights by that
situated inmates. Although Price appeared to initially         office before receiving the form. But as we have noted,
contend that the State made “secret agreements” with           Price was also represented by counsel, and he could have
other death-row inmates—suggesting that these inmates          asked for an explanation of the form. Nor does Price make
elected to opt in to the nitrogen hypoxia protocol outside     any Sixth Amendment claim, in any event. Finally, the
of the thirty-day window—he seems to now concede that          interactions between other inmates and the Federal Public
these other inmates made their election within the thirty-     Defender’s Office do not support any unequal treatment
day window.                                                    by the State of similarly situated individuals.



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Further, to the extent Price claims that he did not become
aware of the change in law until January 2019, he has
                                                                               B. Eighth Amendment Claim
not asserted that the State treated Price differently than
other death-row inmates with respect to this information.        The Supreme Court’s decision in Glossip v. Gross, ––– U.S.
Moreover, the record *1325 here shows that Price                 ––––, 135 S.Ct. 2726, 2737, 192 L.Ed.2d 761 (2015), sets
and his counsel plainly had reason to know of the                forth the relevant two-pronged standard a plaintiff must
change in Alabama’s law before January 2019 because              meet to succeed on an Eighth Amendment method-of-
we specifically described that change when we issued our         execution claim.
decision in Price’s first § 1983 action appeal. See Price, 752
F. App'x at 703 n.3.                                          [11] [12] [13] Prisoners cannot succeed on a method-of-
                                                             execution claim unless they can establish that the method
 [8] Because Price did not timely elect the new protocol, challenged presents a risk that is “ ‘sure or very likely
he is not similarly situated in all material respects to the to cause serious illness and needless suffering,’ and gives
inmates who did make such an election within the thirty-     rise to ‘sufficiently imminent dangers.’ ” Id. (emphasis in
day timeframe. And because Price has not shown that he is    original) (quoting Baze v. Rees, 553 U.S. 35, 50, 128 S.Ct.
similarly situated to those inmates, he cannot demonstrate   1520, 170 L.Ed.2d 420 (2008) (plurality opinion) (quoting
any equal-protection violation due to the State’s denial      *1326 Helling v. McKinney, 509 U.S. 25, 33, 34-35,
of execution by nitrogen hypoxia. But even if Price were     113 S.Ct. 2475, 125 L.Ed.2d 22 (1993)). The Supreme
similarly situated to the other death-row inmates, he        Court further elaborated in Baze, “Simply because an
cannot establish an equal-protection violation because he    execution method may result in pain, either by accident or
was treated exactly the same as the other inmates. Every     as an inescapable consequence of death, does not establish
inmate was given thirty days within which to elect nitrogen  the sort of ‘objectively intolerable risk of harm’ that
hypoxia as their method of execution. Ironically, if the     qualifies as cruel and unusual” punishment prohibited by
State did allow Price to make the belated election he seeks, the Eighth Amendment. Baze, 553 U.S. at 50, 128 S.Ct.
it would be treating him differently than other death-row    1520. So to prevail on a method-of-execution claim, an
inmates who were not afforded the same benefit.              inmate must show a “ ‘substantial risk of serious harm,’
                                                             an ‘objectively intolerable risk of harm’ that prevents
 [9]    [10] In the end, it appears that Price takes issue prison officials from pleading that they were ‘subjectively
with the thirty-day election period itself, arguing that     blameless for purposes of the Eighth Amendment.’ ”
it is arbitrary. But even considering Price’s claim as a     Glossip, 135 S.Ct. at 2737 (quoting Baze, 553 U.S. at
challenge to the statute itself—that it treats similarly     50, 128 S.Ct. 1520 (plurality opinion) (quoting Farmer v.
situated death-row inmates differently based on a criterion  Brennan, 511 U.S. 825, 846, and n. 9, 114 S.Ct. 1970, 128
(a thirty-day election) that does not rationally further     L.Ed.2d 811 (1994)).
any legitimate state interest—the claim fails. As noted by
the district court, a statute is presumed constitutional,     [14] [15] The inmate must also “identify an alternative
and a classification not involving fundamental rights nor    that is ‘feasible, readily implemented, and in fact
proceeding along suspect lines “cannot run afoul of the      significantly reduce[s] a substantial risk of severe pain.’ ”
Equal Protection Clause if there is a rational relationship  Id. (quoting Baze, 553 U.S. at 52, 128 S.Ct. 1520). Where
between the disparity of treatment and some legitimate       a prisoner claims a safer alternative to the State’s lethal-
governmental purpose.” Heller v. Doe by Doe, 509 U.S.        injection protocol, he cannot make a successful challenge
312, 320, 113 S.Ct. 2637, 125 L.Ed.2d 257 (1993) (citations  by showing a “slightly or marginally safer alternative.” Id.
omitted). Here, a rational basis exists for the thirty-day   (quoting Baze, 553 U.S. at 51, 128 S.Ct. 1520). Death-row
rule—the efficient and orderly use of state resources in     inmates face a heavy burden.
planning and preparing for executions. And Price has
not negated this rational basis for the thirty-day election   [16] The Supreme Court recently reiterated an inmate’s
requirement. 5 See id. (noting “[t]he burden is on the           burden in an Eighth Amendment method-of-execution
one attacking the legislative arrangement to negate every        challenge in Bucklew v. Precythe, ––– U.S. ––––, 139 S.Ct.
conceivable basis which might support it”).                      1112, 1125, ––– L.Ed.2d –––– (2019). As summarized by



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the Court, a prisoner “must show a feasible and readily       recently able to easily purchase a tank of 99.9% pure
implemented alternative method of execution that would        compressed nitrogen gas.
significantly reduce a substantial risk of severe pain and
that the State has refused to adopt without a legitimate      The State retorts that nitrogen hypoxia is not an available
penological reason.” Id.                                      method of execution to Price as a matter of state law
                                                              because he failed to make a timely election under the
 [17] In reaffirming this standard, however, the Supreme      applicable statute. It also claims nitrogen hypoxia is
Court recognized the burden an inmate has under               neither feasible nor readily implemented at this date,
the Baze-Glossip test can be “overstated.” Id. at 1128.       since the ADOC has not yet finalized a nitrogen hypoxia
It clarified that “[a]n inmate seeking to identify an         protocol, and it is not likely that one will be in place by
alternative method of execution is not limited to choosing    April 11, 2019. Finally, the State asserts Price did not meet
among those presently authorized by a particular State’s      his burden to prove a known and available alternative
law.” Id. So a petitioner can identify a “well-established    method of execution because he did not provide sufficient
protocol in another State as a potentially viable option.”    details of how the State could induce nitrogen hypoxia.
Id. Justice Kavanaugh noted that all nine Justices agreed
on this point. Id. at 1136 (Kavanaugh, J., concurring)        To resolve this issue, we turn to Bucklew for guidance.
(citing Arthur v. Dunn, 580 U.S. ––––, 137 S.Ct. 725,         Bucklew sheds some light on the “availability” prong
733-34, 197 L.Ed.2d 225 (2017) (Sotomayor, J. dissenting      of the Baze-Glossip test, and it specifically addresses an
from denial of certiorari)).                                  inmate’s proposal of nitrogen hypoxia as an alternative
                                                              method of execution.
For this reason, a portion of our decision in Arthur v.
Comm'r, Ala. Dep't of Corr., 840 F.3d 1268 (11th Cir.          [19] In Bucklew, the Supreme Court determined that
2016), has been abrogated by Bucklew. In particular,          the inmate had not presented a triable question on
in Arthur, we determined that a proposed method of            the viability of nitrogen hypoxia as an alternative to
execution (death by firing squad) was not an available        lethal injection for two reasons. First, the Court noted,
alternative because the state in which the inmate would       to establish that a proposed alternative method is
be executed did not authorize it. Id. at 1317-18. We          available, an inmate must do more than show that it
made this determination despite the fact that another         is theoretically “feasible”; he must also show that it is
state authorized the particular method of execution           “readily implemented.” Bucklew, 139 S.Ct. at 1129 (citing
proposed by the inmate. Id. But Bucklew demonstrates our      Glossip, 135 S.Ct. at 2737-38). To meet this burden,
conclusion in Arthur was incorrect. Having clarified the      the inmate’s proposed alternative must be “sufficiently
applicable law, we turn to the Baze-Glossip test in reverse   detailed to permit a finding that the State could carry it out
order, tackling the availability issue first.                 ‘relatively easily and reasonably quickly.’ ” Id. (quoting
                                                              McGehee v. Hutchinson, 854 F.3d 488, 493 (8th Cir. 2017);
                                                              Arthur, 840 F.3d at 1300).
   1. Price has shown that nitrogen hypoxia is an available
   alternative method of execution that is feasible and       The Court in Bucklew found that the inmate had failed
   readily implemented                                        to meet this burden because he presented no evidence on
 [18] Price claims that nitrogen hypoxia is an available      details such as how nitrogen gas would be administered,
method of execution for him because the Alabama               in what concentration, and for how long the gas would
legislature has authorized it. In proposing nitrogen          be administered. Id. The inmate also did not suggest
hypoxia as an alternative to the State’s midazolam lethal-    how the State could ensure the safety of the execution
injection protocol, Price emphasizes that he is merely        team. Id. Instead, the inmate pointed only to reports
seeking to be executed by a method of execution that the      from correctional institutions in other states revealing that
Alabama *1327 legislature, “after considerable thought,       additional study was needed to put in place a protocol for
has expressly authorized.” He also argues that nitrogen       execution by nitrogen hypoxia. Id.
hypoxia is feasible and readily implemented because pure
nitrogen gas is easily purchased. No supply concerns exist    Second, the Court in Bucklew determined that the State
for nitrogen, and counsel for Price notes that he was         had a legitimate reason for not switching its current lethal-



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injection protocol: nitrogen hypoxia was an “entirely new       policy is that nitrogen hypoxia is an available method of
method—one that had ‘never been used to carry out an            execution in the State.
execution’ and had ‘no track record of successful use.’ ” Id.
(quoting McGehee, 854 F.3d at 493). The Court concluded          [20] We also reject the State’s suggestion that nitrogen
by stating that the Eighth Amendment “does not compel           hypoxia is not available to Price only because he
a State to adopt ‘untried and untested’ (and thus unusual       missed the 30-day election period. If nitrogen hypoxia
in the constitutional sense) methods of execution.” Id.         is otherwise “available” to inmates under Bucklew, that
(quoting Baze, 553 U.S. at 41, 128 S.Ct. 1520). 6               the State chooses to offer the chance to opt for it for
                                                                a period of only 30 days does not somehow render it
Here, the State argues that although the Code of Alabama        “unavailable” by Bucklew’s criteria. To the contrary,
now contemplates nitrogen hypoxia as a means of                 for the same reason that Bucklew abrogates Arthur’s
execution, it is not “available” because the ADOC is            requirement that a state offer a method of execution for it
still developing a protocol, and the process will not be        to be “available,” Bucklew renders a state’s time limit on
complete in time for Price’s April 11, 2019, execution. We      a given execution option of no moment to whether that
are not persuaded. If a State adopts a particular method of     option is “available.”
 *1328 execution—as the State of Alabama did in March
2018—it thereby concedes that the method of execution            [21] The closer question is whether Price’s alleged lack
is available to its inmates. Unlike in Bucklew, where the       of detail with respect to how the State would implement
inmate proposed the adoption of a new method, here,             his execution by nitrogen hypoxia defeats his Eighth
the State of Alabama chose, on its own, and after careful       Amendment claim. We agree that Price did not come
consideration, to offer nitrogen hypoxia as a method of         forward with sufficient detail about how the State
execution for its death-row inmates. So unlike the inmate       could implement nitrogen hypoxia to satisfy Bucklew’s
in Bucklew, Price is not attempting to “compel” the State       requirement where the inmate proposes a new method
to adopt a different and new method of execution at             of execution. But under the particular circumstances here
all. The method was already adopted well before Price’s         —where the State by law previously adopted nitrogen
Eighth Amendment challenge—and more than a year                 hypoxia as an official method of execution—we do not
before Price’s scheduled execution date.                        believe that was Price’s burden to bear. Rather, an inmate
                                                                may satisfy his burden to demonstrate that the method of
A State may not simultaneously offer a particular method        execution is feasible and readily implemented by pointing
of execution and deny it as “unavailable.” Rather, because      to the executing state’s official adoption of that method of
the State voluntarily included nitrogen hypoxia in its          execution.
statute, we reject the State’s argument that nitrogen
hypoxia is not “available” to Price simply because the          True, in Bucklew, the Supreme Court discussed
State has not yet developed a protocol to administer            how Bucklew had failed to set forth evidence of
this method of execution. If we were to find otherwise,         essential questions like how the nitrogen gas would be
it would lead to an absurd result. States could adopt a         administered, and it used this as a basis to defeat the
method of execution, take no action at all to implement         Eighth Amendment claim. But as we have noted, a key
a protocol to effectuate it, and then defeat an inmate’s        distinction between Bucklew and our case is present.
Eighth Amendment challenge by simply claiming the               Again, in Bucklew, the inmate was proposing a new
method is not “available” due to a lack of protocol.            alternative method of execution that had not yet been
                                                                approved by the state. And in addressing whether the
Roughly two years ago, the Alabama legislature                  suggested alternative *1329 method was “feasible” and
introduced a bill that would make nitrogen hypoxia a            “readily implemented,” the Supreme Court explained
statutorily authorized method of execution in Alabama.          that the inmate’s proposal must be sufficiently detailed.
The bill was also passed and enacted into law more than a       Bucklew, 139 S.Ct. at 1129.
year ago, and inmates have been electing nitrogen hypoxia
since June 2018. Under these circumstances, we cannot           Here, Price did not “propose” a new method of execution;
agree that nitrogen hypoxia is not available in the State of    he pointed to one that the State already made available.
Alabama. Indeed, Alabama’s official legislature-enacted         The State, on its own, had already adopted nitrogen



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hypoxia as an alternative to lethal injection. Under           As an initial matter, we reject Price’s contention that, by
these circumstances, the State bears the responsibility to     not moving for summary judgment on this issue, the State
formulate a protocol detailing how to effectuate execution     has somehow conceded that a genuine issue of material
by nitrogen hypoxia. Indeed, it would be bizarre to put the    fact exists with respect to whether its lethal-injection
onus on Price to come up with a proposed protocol for          protocol carries a substantial risk of causing severe pain.
the State to use when the State has already adopted the        At this stage, where Price seeks a stay of execution, he
particular method of execution and is required to develop      bears the burden to show that a substantial likelihood
a protocol for it, anyway. For these reasons, we conclude      of success on the merits exists. And, during the hearing
that Price’s lack of detail as to how the State would          before the district court, the State contended that its three-
implement death by nitrogen hypoxia does not prevent           drug lethal-injection protocol using midazolam was a safe
him from establishing that this method of execution is         and effective constitutional method of execution.
available to him.
                                                               In the district court, Price pointed to two things to support
 [22] Finally, we acknowledge the potential for abuse          his motion: (1) the declaration of his expert Dr. David
in delaying execution that a state’s decision to make          Lubarsky, which he also presented during his appeal on
multiple methods of execution available could present.         the first § 1983 action; and (2) a decision by a district
Under Bucklew, 139 S.Ct. at 1133 (citation and quotation       court in the Southern District of Ohio— *1330 In re Ohio
marks omitted), “[b]oth the State and the victims of crime     Execution Protocol Litigation, No. 11-cv-1016, 2019 WL
have an important interest in the timely enforcement of        244488, at *70 (S.D. Ohio Jan. 14, 2019). Dr. Lubarsky’s
a sentence.” So to the extent that a particular available      declaration contains his opinion that midazolam will
method of death reasonably requires a certain period           not provide adequate analgesic effects during Price’s
for the state to prepare for execution, a prisoner may         execution. And Price relies on the Southern District of
not successfully seek execution by an alternative method       Ohio’s opinion because the court there found Ohio’s
inside that window of time. But this is not that case.         lethal injection protocol—which uses midazolam—“will
                                                               certainly or very likely cause [an inmate] severe pain and
Here, Price sought execution by nitrogen hypoxia in            needless suffering.”
January 2019, and his execution is not scheduled to occur
until April 11, 2019. While the State has not yet developed    The State submitted nothing on the record in response to
a protocol for execution by nitrogen hypoxia, it has           contest Dr. Lubarsky’s assertions. Rather, it relied on the
submitted no evidence to suggest that once it has satisfied    evidence it submitted in Price’s first § 1983 action. But
its burden to develop its execution-by-nitrogen-hypoxia        the district court never reached this question in the first
protocol, preparing to carry out execution by nitrogen         § 1983 action, and the State failed to file its evidence on
hypoxia will reasonably require more than two-and-one-         this issue in the pending matter. As a result, the record
half months.                                                   contains only Dr. Lubarsky’s uncontested assertions that
                                                               the State’s use of midazolam in the three-drug protocol
                                                               presents a substantial risk of severe pain to Price. So the
   2. Price has not established a substantial likelihood       district court’s conclusion that Price satisfied his burden
   that he would be able to show that nitrogen hypoxia         to establish that lethal injection carries a substantial risk
   significantly reduces a substantial risk of pain when       of severe pain cannot be clearly erroneous, since the only
   compared to the three-drug protocol                         evidence of record supports that conclusion.
Nevertheless, Price cannot succeed on his Eighth
Amendment challenge because he has not shown that               [23] Nevertheless, the district court did clearly err in
nitrogen hypoxia will “significantly reduce a substantial      concluding that Price had met his burden to show that
risk of severe pain.” Bucklew, 139 S.Ct. at 1130. As the       execution by nitrogen hypoxia presented an alternative
Supreme Court in Bucklew recently indicated, a minor           that would significantly reduce the risk of substantial pain
reduction in risk is not enough; “the difference must be       to Price. The district court based its finding in this regard
clear and considerable.” Id. at 1130. Here, Price has failed   on Dr. Lubarsky’s declaration in the first § 1983 action
to meet that standard.                                         appeal and on a report from East Central University.
                                                               But Dr. Lubarsky’s declaration did not compare the



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effectiveness of the current three-drug protocol to the             the record in Bucklew supported the conclusion that the
                                                                    petitioner could be capable of feeling pain for 20 to 30
proposed use of nitrogen hypoxia. 7
                                                                    seconds when nitrogen is used for an execution. Id. The
                                                                    Court also recognized expert testimony that suggested
 [24] And Price’s reliance on the East Central University
                                                                    the effects of nitrogen could vary depending on how it
report entitled “Nitrogen Induced Hypoxia as a Form
                                                                    was administered. Id. In short, the district court clearly
of Capital Punishment,” in which the authors studied
                                                                    erred when it concluded Price had satisfied his burden to
nitrogen hypoxia, is also problematic. Importantly, the
                                                                    establish that nitrogen hypoxia would significantly reduce
report is a preliminary draft report that is stamped
                                                                    a substantial risk of severe pain. For these *1331 reasons,
with the words “Do Not Cite.” So we cannot conclude
                                                                    Price has failed to show a substantial likelihood of success
that Price’s reliance on this report alone could satisfy
                                                                    on the merits of his claim.
his burden to show that execution by nitrogen hypoxia
would significantly reduce the risk of substantial pain to
Price. And in the absence of the East Central University            IV. Conclusion
report, the district court was left without any evidence            For the foregoing reasons, we affirm the district court’s
supporting a conclusion that nitrogen is not likely to result       denial of Price’s Cross-Motion for Summary Judgment
in any substantial physical discomfort during executions.           as well as its denial of Price’s original and renewed
Consequently, we find that the district court clearly               motions for preliminary injunction. And because Price has
erred when it found that Price satisfied his burden                 not satisfied his burden to show a substantial likelihood
to establish that nitrogen would likely not result in               of success on the merits with respect to either his
substantial physical discomfort to Price. The district court        Fourteenth Amendment equal-protection claim or his
simply had no reliable evidence upon which to make this             Eighth Amendment method-of-execution claim, we deny
determination.                                                      his emergency motion to stay his execution.

We further note that the report itself also did not                 AFFIRMED and MOTION FOR STAY DENIED.
compare the two methods of execution, and to the extent
Price claims he would feel like he was suffocating if
executed by lethal injection, the petitioner in Bucklew             All Citations
admitted that feelings of suffocation could also occur
                                                                    920 F.3d 1317
with nitrogen gas. Bucklew, 139 S.Ct. at 1132. Likewise,


Footnotes
1      Price’s Notice of Appeal makes clear that he appeals from “any and all adverse rulings incorporated in, antecedent to,
       or ancillary to” those orders.
2      Price suggests that he was unaware of the ability to elect nitrogen hypoxia as a means of execution until his pro bono
       counsel, Aaron Katz, called Federal Public Defender John Palombi on January 12, 2019. According to Price, during that
       phone conversation, Palombi “informed Attorney Katz about the Alabama legislature’s March 2018 amendments to the
       State’s execution protocol.” However, as we note later in this opinion, our opinion in Price’s first § 1983 action, which we
       issued in September 2018, specifically referenced the fact that Alabama had adopted nitrogen hypoxia as a means of
       execution. We further noted that Price apparently had not elected this option.
3      The complaint in the second § 1983 action further alleges that the State failed to take steps to prevent material deviations
       from its lethal-injection procedures in future executions, but Price abandoned that claim, as he did not argue it to the
       district court below, and it is not part of the present appeal. Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1330 (11th
       Cir. 2004) (claims or arguments not briefed before an appellate court are deemed abandoned and will not be addressed).
4      The form stated as follows:
                                          ELECTION TO BE EXECUTED BY NITROGEN HYPOXIA
       Pursuant to Act No. 2018-353, if I am to be executed, I elect that it be by nitrogen hypoxia rather than by lethal injection.
       This election is not intended to affect the status of any challenge(s) (current or future) to my conviction(s) or sentence(s),
       nor waive my right to challenge the constitutionality of any protocol adopted for carrying out execution by nitrogen hypoxia.
       Dated this _____ day of June, 2018.




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      ECF No. 19-2. The State admits though that it did not create the election form. Rather, it claims the Federal Public
      Defender’s Office created the form and gave a copy of it to the warden of Holman. But inmates not represented by the
      Federal Public Defender’s Office were among those who timely completed the form.
5     On appeal, Price claims that the district court committed error in refusing to apply strict scrutiny to the State’s alleged
      differential treatment of him. He argues that once the district court concluded he was substantially likely to prevail on
      his allegation that the State’s lethal-injection protocol will cause him severe pain and needless suffering, it should have
      applied strict scrutiny to his equal-protection claim, since the right to be free from cruel and unusual punishment is a
      fundamental right. We do not evaluate this argument of Price’s, as we conclude that binding precedent requires us to
      find on this record that Price is not substantially likely to prevail on his allegation that the State’s lethal-injection protocol
      will cause him severe pain.
6     The Supreme Court did note, however, while the case was pending, a “few” states had authorized nitrogen hypoxia as
      a method of execution. Bucklew, 139 S.Ct. at 1130 n. 1. But, it emphasized, “[t]o date, no one in this case has pointed
      us to an execution in this country using nitrogen gas.” Id.
7     The district court likewise recognized that Dr. Lubarsky offered no opinion regarding the comparison between the pain
      incurred with the lethal-injection protocol and that incurred with the administration of nitrogen hypoxia.


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                                                                    Wilson, Circuit Judge, filed a dissenting opinion.
    KeyCite Yellow Flag - Negative Treatment
Disagreed With by McGehee v. Hutchinson, E.D.Ark., April 15, 2017
                      840 F.3d 1268
              United States Court of Appeals,                        West Headnotes (23)
                     Eleventh Circuit.

    Thomas D. ARTHUR, Plaintiff–Appellant,                           [1]    Sentencing and Punishment
                    v.                                                          Mode of execution
  COMMISSIONER, ALABAMA DEPARTMENT OF                                       To prevail on a method-of-execution claim
  CORRECTIONS, Warden, Defendants–Appellees.                                under the Eighth Amendment's prohibition of
                                                                            cruel and unusual punishment, there must be
                         No. 16-15549                                       a substantial risk of serious harm. U.S. Const.
                               |                                            Amend. 8.
                   Non–Argument Calendar
                               |                                            1 Cases that cite this headnote
                    Date Filed: 11/02/2016
                                                                     [2]    Sentencing and Punishment
Synopsis
                                                                                Mode of execution
Background: Death row inmate brought § 1983 action
                                                                            A method-of-execution claim under the
against Commissioner of Alabama Department of
                                                                            Eighth Amendment's prohibition of cruel
Corrections, challenging State's method of execution
                                                                            and unusual punishment requires more than
under Eighth and Fourteenth Amendments. Following
                                                                            merely showing a slightly or marginally safer
a bench trial, the United States District Court for the
                                                                            alternative; rather, a prisoner is required
Middle District of Alabama, No. 2:11–cv–00438–WKW–
                                                                            to identify an alternative that is feasible
TFM, W. Keith Watkins, Chief Judge, 2016 WL 1551475,
                                                                            and readily implemented, and that in fact
entered judgment for Commissioner, and subsequently
                                                                            significantly reduces a substantial risk of
entered an order denying inmate's motion for a new trial,
                                                                            severe pain. U.S. Const. Amend. 8.
2016 WL 3912038. Inmate appealed.
                                                                            4 Cases that cite this headnote

Holdings: The Court of Appeals, Hull, Circuit Judge, held            [3]    Sentencing and Punishment
that:                                                                           Mode of execution
                                                                            To prevail on a method-of-execution claim
[1] inmate failed to demonstrate that compounded
                                                                            under the Eighth Amendment's prohibition
pentobarbital was a feasible alternative to midazolam in
                                                                            of cruel and unusual punishment, a prisoner
State's three-drug lethal injection protocol;
                                                                            must demonstrate that the risk of severe
                                                                            pain is substantial when compared to the
[2] inmate failed to demonstrate that midazolam created a
                                                                            known and available alternatives. U.S. Const.
substantial risk of severe pain;
                                                                            Amend. 8.
[3] inmate's allegations could not support an equal                         2 Cases that cite this headnote
protection claim; and

[4] inmate failed to demonstrate that a firing squad was a           [4]    Sentencing and Punishment
feasible alternative.                                                           Mode of execution
                                                                            The “known and available alternative” test
                                                                            on a method-of-execution claim under the
Affirmed.                                                                   Eighth Amendment's prohibition of cruel


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        and unusual punishment requires a prisoner                      Mode of execution
        prove that: (1) the State actually has access              The burden is on a prisoner to plead and
        to an alternative; (2) the State is able to                prove a known and available alternative
        carry out the alternative method of execution              method of execution on a claim under the
        relatively easily and reasonably quickly; and              Eighth Amendment's prohibition of cruel and
        (3) the requested alternative would in fact                unusual punishment, and the State need not
        significantly reduce a substantial risk of severe          make a good faith effort to obtain such an
        pain relative to the State's intended method of            alternative. U.S. Const. Amend. 8.
        execution. U.S. Const. Amend. 8.
                                                                   4 Cases that cite this headnote
        11 Cases that cite this headnote

                                                            [8]    Sentencing and Punishment
 [5]    Sentencing and Punishment                                      Mode of execution
            Mode of execution
                                                                   Death row inmate failed to demonstrate that
        Death row inmate failed to demonstrate that                Alabama's use of midazolam in its three-drug
        compounded pentobarbital was a feasible                    lethal injection protocol created a substantial
        and readily implemented alternative to                     risk of severe pain when compared to available
        midazolam for use in Alabama's three-                      alternatives, and, thus, he could not prevail
        drug lethal injection protocol, and, thus, he              on his method-of-execution claim under
        could not prevail on his method-of-execution               Eighth Amendment's prohibition of cruel and
        claim under Eighth Amendment's prohibition                 unusual punishment, where midazolam had
        of cruel and unusual punishment, even                      been repeatedly and successfully used without
        though pharmacies throughout state were                    problems to induce a coma-like state and
        theoretically capable of compounding drug,                 render inmates insensate to pain. U.S. Const.
        and four other states had been able to                     Amend. 8.
        procure and use compound to carry out
        recent executions, where State's supply of                 4 Cases that cite this headnote
        commercially manufactured pentobarbital
        had expired, and despite contacting 29
                                                            [9]    Federal Courts
        potential sources, State was unable to procure
                                                                       Depositions and discovery
        any compounded pentobarbital for use in
                                                                   The Court of Appeals reviews a district court's
        executions. U.S. Const. Amend. 8.
                                                                   discovery decisions for abuse of discretion.
        7 Cases that cite this headnote
                                                                   1 Cases that cite this headnote

 [6]    Sentencing and Punishment
                                                            [10]   Federal Civil Procedure
            Mode of execution
                                                                       Identity and location of witnesses and
        An alternative drug that its manufacturer and
                                                                   others
        compounding pharmacies refuse to supply for
                                                                   In death row inmate's § 1983 action
        lethal injection is no drug at all for purposes
                                                                   challenging Alabama's method of execution
        of showing a known and available alternative
                                                                   under Eighth Amendment's prohibition of
        on a method-of-execution claim under the
                                                                   cruel and unusual punishment, district court
        Eighth Amendment's prohibition of cruel and
                                                                   did not abuse its discretion in denying inmate's
        unusual punishment. U.S. Const. Amend. 8.
                                                                   request for discovery of names of drug
        9 Cases that cite this headnote                            suppliers who talked with State during its
                                                                   efforts to procure compounded pentobarbital
                                                                   for use in its three-drug lethal injection
 [7]    Sentencing and Punishment
                                                                   protocol, where inmate was allowed to obtain


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        information he needed to prove his claim, and             protocol created a substantial risk that
        he offered only speculation as to how names               death row inmate, who possibly suffered
        of drug suppliers were relevant. U.S. Const.              from coronary artery disease, would suffer
        Amend. 8; 42 U.S.C.A. § 1983.                             a heart attack before full sedation, and,
                                                                  thus, inmate could not prevail on his as-
        2 Cases that cite this headnote                           applied method-of-execution claim under
                                                                  Eighth Amendment's prohibition of cruel and
 [11]   Federal Courts                                            unusual punishment. U.S. Const. Amend. 8.
            Summary judgment
                                                                  4 Cases that cite this headnote
        The Court of Appeals reviews a district court's
        ruling on summary judgment de novo.
                                                           [15]   Federal Courts
        Cases that cite this headnote                                 Expert evidence and witnesses
                                                                  The Court of Appeals reviews a district court's
 [12]   Federal Civil Procedure                                   decision to exclude expert testimony under
            Presumptions                                          Daubert for an abuse of discretion. Fed. R.
                                                                  Evid. 702.
        On summary judgment, the evidence must
        be viewed in the light most favorable to the              Cases that cite this headnote
        nonmoving party.

        1 Cases that cite this headnote                    [16]   Federal Courts
                                                                      Expert evidence and witnesses
 [13]   Sentencing and Punishment                                 Under the abuse-of-discretion standard for
            Mode of execution                                     reviewing a district court's decision to exclude
                                                                  expert testimony under Daubert, the Court of
        Death row inmate, who possibly suffered
                                                                  Appeals defers to the district court's ruling
        from coronary artery disease, failed to
                                                                  unless it is manifestly erroneous. Fed. R. Evid.
        demonstrate that his proposed modification
                                                                  702.
        to midazolam protocol as part of Alabama's
        three-drug lethal injection procedure would               Cases that cite this headnote
        significantly reduce risk that he would suffer
        a heart attack before full sedation, and,
        thus, his proposed modification was not an         [17]   Federal Courts
        available alternative and did not support his                 Expert evidence and witnesses
        as-applied method-of-execution claim under                The deferential abuse-of-discretion standard
        Eighth Amendment's prohibition of cruel and               for reviewing a district court's decision to
        unusual punishment, where inmate admitted                 exclude expert testimony under Daubert is not
        that his proposed modification would reduce               relaxed even though a such ruling may be
        to some extent likelihood that he would                   outcome determinative. Fed. R. Evid. 702.
        suffer a heart attack, but that it would not
        ameliorate risk entirely. U.S. Const. Amend.              Cases that cite this headnote
        8.
                                                           [18]   Evidence
        Cases that cite this headnote
                                                                      Preliminary evidence as to competency
                                                                  The party offering an expert has the burden
 [14]   Sentencing and Punishment                                 of proving the admissibility of her testimony
            Mode of execution                                     by a preponderance of the evidence. Fed. R.
        There was no evidence Alabama's use of                    Evid. 702.
        midazolam in its three-drug lethal injection


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                                                                  The Court of Appeals generally reviews the
        Cases that cite this headnote                             denial of a motion for leave to amend a
                                                                  complaint for abuse of discretion.
 [19]   Evidence
                                                                  Cases that cite this headnote
            Medical testimony
        Expert's testimony that Alabama's procedure
        for administering midazolam as part of its         [22]   Federal Courts
        three-drug lethal injection protocol would                    Pleading
        cause death row inmate, who possibly                      A district court's decision to deny leave to
        suffered from coronary artery disease, to                 amend based on futility is a legal conclusion,
        suffer a heart attack before full sedation                and the Court of Appeals reviews such
        was inadmissible in inmate's § 1983 action                decisions de novo.
        challenging State's method of execution under
        Eighth Amendment's prohibition of cruel and               Cases that cite this headnote
        unusual punishment, where expert presented
        only speculative evidence that there was a gap     [23]   Sentencing and Punishment
        between hemodynamic effects and sedative                      Mode of execution
        effects of a 500 milligram dose of drug and
                                                                  Death row inmate failed to demonstrate that
        that such a dose was highly likely to cause
                                                                  a firing squad was a feasible and readily
        a rapid drop in blood pressure and result
                                                                  implemented alternative to Alabama's three-
        in a heart attack. U.S. Const. Amend. 8; 42
                                                                  drug lethal injection protocol, and, thus, he
        U.S.C.A. § 1983; Fed. R. Evid. 702.
                                                                  could not prevail on his method-of-execution
        Cases that cite this headnote                             claim under Eighth Amendment's prohibition
                                                                  of cruel and unusual punishment; a firing
                                                                  squad was not a valid or lawful method of
 [20]   Constitutional Law                                        execution in Alabama, neither lethal injection
            Capital punishment; death penalty                     nor electrocution, which were only methods
        Sentencing and Punishment                                 of execution authorized by Alabama statute,
            Mode of execution                                     had been held unconstitutional, and State
        Death row inmate's allegation that Alabama                had never carried out an execution by firing
        had materially deviated from its written lethal           squad or statutorily recognized it as a method
        injection protocol by failing to perform a                for carrying out an execution. U.S. Const.
        medical-grade pinch to assess consciousness,              Amend. 8; Ala. Code § 15-18-82.1.
        thereby impermissibly burdening inmate's
                                                                  11 Cases that cite this headnote
        right to be free from cruel and unusual
        punishment, could not support a claim
        for violation of inmate's equal protection
        rights, since safeguards implemented during
        an execution were not required to match a          *1271 Appeal from the United States District Court for
        medical standard of care. U.S. Const. Amend.      the Middle District of Alabama, D.C. Docket No. 2:11–
        14.                                               cv–00438–WKW–TFM

        Cases that cite this headnote                     Attorneys and Law Firms

                                                          Suhana Han, Adam Brebner, Stephen Shun–Fai Mar,
 [21]   Federal Courts                                    Peter Steciuk, Akash M. Toprani, Sullivan & Cromwell,
            Pleading                                      LLP, New York, NY, for Plaintiff–Appellant.




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                                                               The Alabama Supreme Court summarized the facts
James Clayton Crenshaw, Thomas R. Govan, Jr.,                  underlying Arthur's criminal conviction as follows:
James Roy Houts, Lauren Ashley Simpson, Henry M.
Johnson, Alabama *1272 Attorney General's Office,                More than 20 years ago, Arthur's relationship with
Montgomery, AL, for Defendants–Appellees.                        his common-law wife ultimately led to his brutally
                                                                 murdering a relative of the woman. Arthur shot the
Daniel T. Fenske, Jenner and Block, LLP, Chicago, IL,            victim in the right eye with a pistol, causing nearly
for Amici Curiae.                                                instant death. He was convicted in a 1977 trial and was
                                                                 sentenced to life imprisonment.
Before HULL, MARCUS and WILSON, Circuit Judges.
                                                                 While on work release during the life sentence, Arthur
Opinion
                                                                 had an affair with a woman that ultimately led to
HULL, Circuit Judge:                                             his brutally murdering that woman's husband, Troy
                                                                 Wicker, in 1982. Arthur shot Wicker in the right eye
It has been 34 years since Thomas Arthur brutally                with a pistol, causing nearly instant death.
murdered Troy Wicker. During 1982 to 1992, Thomas
Arthur was thrice tried, convicted, and sentenced to           Ex parte Arthur, 711 So.2d 1097, 1098 (Ala. 1997).
death for Wicker's murder. After his third death sentence
in 1992, Arthur for the next 24 years has pursued,             In 1982, Arthur was convicted and sentenced to death
unsuccessfully, dozens of direct and post-conviction           for Wicker's murder, but the Alabama Supreme Court
appeals in both state and federal courts.                      reversed that conviction in 1985. Arthur v. King, 500 F.3d
                                                               1335, 1337 (11th Cir. 2007). In 1987, Arthur was again
In addition, starting nine years ago in 2007 and on three      convicted and sentenced to death, but that conviction was
separate occasions, Arthur has filed civil lawsuits under      overturned by Alabama's Court of Criminal Appeals in
42 U.S.C. § 1983 challenging the drug protocol to be used      1990. Id. After his third trial in 1991, Arthur was again
in his execution. This is Arthur's third such § 1983 case,     convicted of Wicker's murder and sentenced to death in
and this current § 1983 case was filed in 2011. For the last   1992. Id. This time, his conviction and sentence were
five years Arthur has pursued this § 1983 case with the        affirmed. Id. He did not file a petition for writ of certiorari
benefit of lengthy discovery. The district court held a two-   with the United States Supreme Court. Id. at 1337–38.
day trial and entered two comprehensive orders denying
Arthur § 1983 relief. Those orders are the focus of the         *1273 At his third sentencing proceeding, Arthur asked
instant appeal.                                                for a death sentence, stating that a capital sentence would
                                                               provide him better prison accommodations, more access
After thorough review, we conclude substantial evidence        to the law library, more time to devote to his appeal,
supported the district court's fact findings and, thus,        and a more extensive appeals process. Arthur v. Thomas,
Arthur has shown no clear error in them. Further, Arthur       739 F.3d 611, 614 (11th Cir. 2014). Arthur told the jury
has shown no error in the district court's conclusions         that he did not believe he would be executed. Id. Arthur's
of law, inter alia, that: (1) Arthur failed to carry           murder of Wicker was a capital offense under Alabama
his burden to show compounded pentobarbital is a               law because Arthur had been convicted of another murder
feasible, readily implemented, and available drug to the       in the 20 years preceding his second murder. See Ala. Code
Alabama Department of Corrections (“ADOC”) for use             § 13A–5–40(a)(13) (1975); Arthur v. State, 71 So.3d 733,
in executions; (2) Alabama's consciousness assessment          735 (Ala. Crim. App. 2010).
protocol does not violate the Eighth Amendment or the
Equal Protection Clause; and (3) Arthur's belated firing-      In 2001, after exhausting his state court remedies, Arthur
squad claim lacks merit.                                       filed a federal habeas corpus petition pursuant to 28
                                                               U.S.C. § 2254. Arthur v. Allen, 452 F.3d 1234, 1238, 1240–
                                                               43 (11th Cir.), modified on reh'g, 459 F.3d 1310 (11th
                                                               Cir. 2006). The district court dismissed the § 2254 petition
           I. CONVICTION AND APPEALS                           as untimely, but granted a certificate of appealability
                                                               as to Arthur's claims of actual innocence, statutory



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tolling, and equitable tolling. Id. at 1243. In 2006, this                  to review any judgment holding
Court affirmed the dismissal of Arthur's § 2254 petition,                   a method of execution to be
concluding that Arthur had not shown actual innocence or                    unconstitutional under the United
entitlement to statutory or equitable tolling. Id. at 1253–                 States Constitution made by the
54. 1 The Supreme Court denied Arthur's petition for writ                   Alabama Supreme Court or the
of certiorari. Arthur v. Allen, 549 U.S. 1338, 127 S.Ct.                    United States Court of Appeals
2033, 167 L.Ed.2d 763 (Mem.) (2007).                                        that has jurisdiction over Alabama,
                                                                            all persons sentenced to death for
With this background, we turn to Arthur's current § 1983                    a capital crime shall be executed
case, challenging Alabama's use of midazolam in its lethal                  by any constitutional method of
injection protocol. To place Arthur's current § 1983 claim                  execution.
in context, we review the history of lethal injection in
                                                                Id. § 15–18–82.1(c). The Alabama statute does not
Alabama and how Alabama has had to change the drugs
                                                                prescribe any particular method of lethal injection; the
used due to unavailability. For years, Arthur challenged
                                                                legislature left it to the ADOC to devise the policies
the use of sodium thiopental and then pentobarbital. But
                                                                and procedures governing lethal injection executions, and
now that the ADOC has not been able to procure sodium
                                                                exempted the ADOC from the Alabama Administrative
thiopental or pentobarbital and has had to switch to
                                                                Procedure Act in exercising that authority. Id. § 15–18–
midazolam, Arthur is currently challenging midazolam
                                                                82.1(g).
and now asks to go back to sodium thiopental or
pentobarbital as his preferred alternatives. We thus review
                                                                The ADOC has used a three-drug lethal injection protocol
in great detail how this case got here today.
                                                                since it began performing executions by lethal injection in
                                                                2002. See Brooks v. Warden, 810 F.3d 812, 823 (11th Cir.),
                                                                cert. denied sub nom. Brooks v. Dunn, –––U.S. ––––,
               II. HISTORY OF LETHAL                            136 S.Ct. 979, 193 L.Ed.2d 813 (2016). Each drug in a
              INJECTION IN ALABAMA                              three-drug protocol is intended to serve a specific purpose.
                                                                The first drug should render the inmate unconscious to
When Arthur was sentenced to death, Alabama executed            “ensure[ ] that the prisoner does not experience any pain
inmates by electrocution. See McNair v. Allen, 515 F.3d         associated with the paralysis and cardiac arrest caused by
1168, 1171 (11th Cir. 2008). On July 1, 2002, the Alabama       the second and third drugs”; the second drug is a paralytic
legislature adopted lethal injection as the state's preferred   agent that “inhibits all muscular-skeletal movements and,
form of execution. Id. The legislature allowed inmates          by paralyzing the diaphragm, stops respiration”; and
already under a sentence of death a 30–day window to            the third drug “interferes with the electrical signals that
choose electrocution as their method of execution, after        stimulate the contractions of the heart, inducing cardiac
which time they would be deemed to have waived the right        arrest.” Baze v. Rees, 553 U.S. 35, 44, 128 S.Ct. 1520, 1527,
to request a method other than lethal injection. Ala. Code      170 L.Ed.2d 420 (2008) (plurality opinion).
§ 15–18–82.1(b).
                                                                The third drug in the ADOC protocol has always been
Alabama's method-of-execution statute further provides          potassium chloride, and the second drug has always
that:                                                           been a paralytic agent—either pancuronium bromide or
                                                                rocuronium bromide. Brooks, 810 F.3d at 823. However,
            If electrocution or lethal injection
                                                                the ADOC has changed the first drug in its protocol
            is held to be unconstitutional by
                                                                twice. Id. From 2002 until April 2011, it used sodium
            the Alabama Supreme Court under
                                                                thiopental as the first drug in the three-drug sequence. Id.
            the Constitution of Alabama of
                                                                But a national shortage of sodium thiopental forced states,
            1901, or held to be unconstitutional
                                                                including Alabama, to seek a replacement for sodium
            by the United States Supreme
                                                                thiopental as the first drug in the series. See Glossip v.
            Court under the United States
                                                                Gross, 576 U.S. ––––, ––––, 135 S.Ct. 2726, 2733, 192
            Constitution, or if the United States
                                                                L.Ed.2d 761 (2015) (explaining that the sole domestic
            Supreme *1274 Court declines



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manufacturer of sodium thiopental ceased production of         protocol, especially its use of pentobarbital as the first
the drug in 2009 and exited the market entirely in 2011).      drug.

From April 2011 until September 10, 2014, Alabama              As amended, Arthur's complaint raised three § 1983
used pentobarbital as the first drug. Brooks, 810 F.3d         claims: (1) the ADOC's use of pentobarbital as the
at 823. As the Supreme Court has noted, “[b]efore              first drug in its three-drug lethal injection protocol
long, however, pentobarbital also became unavailable.”         violated the Eighth Amendment's prohibition on cruel
Glossip, 135 S.Ct. at 2733. Arthur has acknowledged            and unusual punishment; (2) the ADOC's secrecy in
that Alabama's supply of commercially manufactured             adopting and revising its lethal injection protocol violated
pentobarbital expired on or around November 2013.              the Fourteenth Amendment's Due Process Clause; and
From September 11, 2014, until the present, Alabama has        (3) the ADOC had materially deviated from its lethal
used midazolam as the first drug in the series. Brooks, 810    injection protocol by failing to conduct a “consciousness
F.3d at 823.                                                   assessment” during an earlier execution, thereby violating
                                                               the Fourteenth Amendment's Equal Protection Clause.
Currently, Alabama's lethal injection protocol calls for       Arthur also alleged that Alabama's lethal injection statute
the administration of: (1) a 500–mg dose of midazolam,         violated the state constitution.
(2) followed by a 600–mg dose of rocuronium bromide,
and (3) finally, 240 milliequivalents of potassium chloride.   The district court dismissed Arthur's Eighth Amendment
This lethal injection protocol involves the same drugs,        and Due Process claims on statute-of-limitations grounds
administered in the same sequence, as the protocol at issue    and his Equal Protection claim for failing to state a claim
in Glossip. 135 S.Ct. at 2734–35.                              upon which relief could be granted. Arthur v. Thomas,
                                                               674 F.3d 1257, 1259 (11th Cir. 2012). Because Alabama
                                                               began its lethal injection protocol in 2002, the district court
                                                               determined that Arthur's 2011 complaint challenging
III. 2011: COMPLAINT ABOUT PENTOBARBITAL
                                                               it was banned by the two-year statute of limitations
Arthur's execution date is currently set for November 3,       applicable to § 1983 claims. Id. Arthur appealed. Id.
2016. This is the sixth *1275 time that Alabama has
                                                               This Court reversed the district court's dismissal as to only
scheduled his execution, 2 and this case is Arthur's third
                                                               Arthur's Eighth Amendment and Equal Protection claims.
§ 1983 challenge to lethal injection as the method of his
                                                               Id. at 1262, 1263. As to the Eighth Amendment claim,
execution. 3                                                   this Court concluded that Arthur's allegations and his filed
                                                               affidavits created factual issues as to whether Alabama's
In May 2007, shortly after the State filed a motion to set     new lethal injection drugs and procedures constituted such
an execution date, Arthur filed a § 1983 action challenging    a significant change in the lethal injection protocol as to
Alabama's lethal injection protocol which in 2007 included     warrant a new limitations period and some *1276 factual
sodium thiopental as the first drug. (CM/ECF for the U.S.      development, including discovery. Id. at 1260–62.
Dist. Ct. for the S.D. Ala., case no. 1:07–cv–342, doc.
1 at 1-2, 6; doc. 15 at 11). The district court dismissed      As to the Equal Protection claim, this Court held that
that complaint based on laches, and this Court affirmed.       Arthur had “alleged enough facts to constitute a plausible
(Id., docs. 19, 20, 27, 28). In October 2007, Arthur filed     Equal Protection claim because he alleges that Alabama
a second challenge to Alabama's lethal injection protocol,     has substantially deviated from its execution protocol”
which the district court again dismissed for unreasonable      by failing to perform the pinch test as part of the
delay, and this Court affirmed. (CM/ECF for the S.D.           required consciousness assessment. Id. at 1263. Accepting
Ala., case no. 1:07–cv–722, docs. 1, 22, 23, 28, 29).          Arthur's particular allegations as true at the early Rule
                                                               12(b)(6) stage, this Court remanded for further factual
In April 2011, Alabama switched from using sodium              development. Id.
thiopental to pentobarbital as the first drug in its lethal
injection protocol. Brooks, 810 F.3d at 823. On June 8,        In the years after this Court's 2012 remand, the parties
2011, Arthur filed another § 1983 complaint in federal         conducted extensive discovery. Before the final hearing
district court, challenging Alabama's new lethal injection


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on Arthur's § 1983 challenge to pentobarbital, the State       failed to adequately train its personnel in how to perform
was no longer able to procure pentobarbital. In September      properly the consciousness assessment. He claimed that
2014, the State changed its lethal injection protocol to       there existed a “significant risk that Defendants will
substitute midazolam hydrochloride for pentobarbital as        deviate from their protocol in [his] execution,” thus
the first drug, and rocuronium bromide for pancuronium         burdening his rights under the Fourteenth Amendment.
bromide as the second drug in its three-drug cocktail.
                                                               In March 2015, the district court elected to stay Arthur's
                                                               § 1983 case challenging midazolam until after the U.S.
                                                               Supreme Court issued its decision in *1277 Glossip v.
          IV. 2015: SECOND AMENDED
        COMPLAINT ABOUT MIDAZOLAM                              Gross. 4

On January 7, 2015, after receiving leave from the
district court to amend his 2011 complaint, Arthur filed
                                                                       V. JUNE 2015: GLOSSIP IS DECIDED
a complaint (the “Second Amended Complaint”), raising
two claims. Arthur raised an Eighth Amendment claim,           On June 29, 2015, the Supreme Court decided Glossip,
alleging that the ADOC's use of midazolam as the first         holding that, in order to challenge successfully a method
drug “creates a substantial risk of serious harm because ...   of execution, a plaintiff must plead and prove: (1) that the
there is a high likelihood that midazolam will fail to         proposed execution method presents a risk that is “ ‘sure or
render [him] insensate from the excruciatingly painful and     very likely to cause serious illness and needless suffering,’
agonizing effects of the second and third drugs.”              and give rise to ‘sufficiently imminent dangers,’ ” and (2)
                                                               that there is “an alternative [method of execution] that
Despite challenging pentobarbital for more than three          is ‘feasible, readily implemented, and in fact significantly
years, Arthur now suggested that he would prefer for           reduce[s] a substantial risk of severe pain.’ ” 135 S.Ct. at
the State to use a one-drug protocol of compounded             2737 (quoting Baze, 553 U.S. at 50, 52, 128 S.Ct. at 1530–
pentobarbital in his execution instead of midazolam.           31, 1532) (alteration in original).
Arthur's Second Amended Complaint recycled his earlier
argument about pentobarbital, which was that it would          After Glossip, the district court subsequently lifted its stay
cause him to suffer a drop in blood pressure and then          of proceedings in this case, and the parties conducted some
a heart attack. Arthur now made the same claim about           additional discovery.
midazolam, alleging that he had “clinically significant
obstructive coronary disease” and that the State's use of      On August 25, 2015, Arthur sought leave to file a
midazolam created a substantial risk that he would suffer      third amended complaint, seeking (1) to switch back
a painful heart attack before losing consciousness.            to compounded pentobarbital as an alternative method
                                                               of execution, (2) to suggest sodium thiopental and a
Arthur's Second Amended Complaint also raised an               firing squad as additional alternative methods, and (3)
Equal Protection claim, alleging that the ADOC had             to include additional allegations that midazolam was
“materially deviated from their written execution protocol,    constitutionally inadequate. The district court granted
impermissibly burdening Mr. Arthur's right to be free          Arthur leave to amend his complaint except as to the firing
from cruel and unusual punishment.” Arthur claimed             squad as an alternative method of execution. The district
that Alabama employs a lethal injection protocol that          court concluded, inter alia, that “execution by firing squad
requires a “consciousness assessment” after the first drug     is not permitted by [Alabama] statute and, therefore, is
is injected. This consciousness assessment has three parts:    not a method of execution that could be considered either
(1) calling the inmate's name, (2) gently stroking his         feasible or readily implemented by Alabama at this time.”
eyelash, and (3) pinching his arm.                             The district court set trial to begin on January 12, 2016.

Arthur's Second Amended Complaint alleged that during
“numerous executions,” including the 2011 execution of
Eddie Powell, witnesses did not observe the pinch test           VI. OCT. 2015: THIRD AMENDED COMPLAINT
being performed. Arthur also alleged that the ADOC



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On October 13, 2015, Arthur filed his Third Amended              Dr. Zentner obtained a Ph.D. in pharmaceutics and
Complaint, alleging substantially identical claims to those      was a licensed pharmacist in Utah for 40 years. After
raised in his Second Amended Complaint and requesting            obtaining his Ph.D., Dr. Zentner taught pharmacy at
single-drug protocols of compounded pentobarbital or             the University of Connecticut, including teaching in
sodium thiopental as alleged feasible alternative methods        the compounding lab. He worked for 13 years for a
of execution. The ADOC filed (1) a “Motion to                    large pharmaceutical company in their “advanced drug
Dismiss and, In the Alternative, Motion for Summary              delivery dosage form design unit.” He was later in
Judgment,” arguing that Arthur's Eighth Amendment                charge of “all formulation and dosage form design” at
claim was untimely, that both claims should be dismissed         another large pharmaceutical company. He had held
for failure to state a claim, and that there was                 two adjunct professorships in pharmacy. Since 2012, Dr.
no genuine issue of material fact regarding whether              Zentner had worked as an “independent consultant”
compounded pentobarbital or sodium thiopental are                to the pharmaceutical industry. He testified that he
known and available alternatives; and (2) a “Motion              had hands-on experience with manufacturing drugs and
for Summary Judgment of Arthur's Eighth Amendment                he had personally compounded drugs, although he
Claim,” arguing again that compounded pentobarbital              had no experience preparing compounded pentobarbital
and sodium thiopental are not known and available                sodium. The district court accepted Dr. Zentner as an
alternatives and, further, that Arthur failed to present any     expert witness in the fields of pharmaceutical chemistry,
evidence showing how compounded pentobarbital could              manufacturing, and compounding.
be administered to prevent a painful heart attack. 5 The
ADOC's motions included arguments *1278 regarding                Dr. Zentner testified that, in his opinion, “the talent,
its present inability to obtain either pentobarbital or          expertise, and facilities to perform sterile compounding”
sodium thiopental.                                               existed within Alabama and that “all ingredients required
                                                                 to formulate a compounded preparation of pentobarbital
On January 7, 2016, the district court issued an order           sodium” were “readily available.”
limiting the issues at trial to: (1) Arthur's Equal Protection
claim, and (2) the availability of alternative methods of        Dr. Zentner explained that, in its pure form, pentobarbital
execution. The district court wrote that, if Arthur met his      sodium was a white powder, which could be compounded
burden to prove an alternative method of execution that          with other ingredients to form an injectable solution.
is feasible and readily available, the court would schedule      He described pentobarbital as a “long-known and well-
a second phase of trial to address other issues, such as         established drug product” that was “available to the
whether the use of midazolam “presents a risk that is            medical sciences for decades.” He stated that Nembutal,
sure or very likely to cause serious illness and needless        the trade name for an industrially manufactured version
suffering, and give rise to sufficiently imminent dangers.”      of injectable pentobarbital sodium, was available for sale
                                                                 in the United States. He said that pentobarbital sodium
The district court held a two-day bench trial on January         for injection was listed in the FDA's Orange Book, which
12 and 13, 2016.                                                 listed all “approved drugs” in the United States. The
                                                                 Orange Book stated that there were no active patents on
                                                                 this drug, meaning that anyone was permitted to make it.

            VII. TRIAL EVIDENCE ABOUT                            Dr. Zentner described the process of compounding a
                ALTERNATIVE DRUGS                                solution of pentobarbital *1279 sodium, calling it “a
                                                                 very simple matter” and a “straightforward process.”
A. Arthur's Evidence
                                                                 During his testimony, Dr. Zentner relied on a 2015 article
As noted above, although for four years Arthur had
                                                                 from the Journal of Pharmacological and Toxicological
challenged pentobarbital as the first drug, one of his
                                                                 Methods that described the preparation of an injectable
requested alternatives is now a single drug of compounded
                                                                 pentobarbital sodium solution by laboratory scientists
pentobarbital. Arthur called Dr. Gaylen M. Zentner to
                                                                 that was essentially identical to the commercial product
testify about compounded pentobarbital. 6                        and was stable for one year.




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Dr. Zentner contended that there were “numerous                product in the United States, although he stated that it is
sources” for both the active and inactive                      “available offshore and conceivably could be imported.”
ingredients needed to compound pentobarbital, including
professional drug sourcing services. He said that these
ingredients were available for sale in the United States and   B. ADOC's Evidence
could be found through an Internet search. For example,        Anne Adams Hill, 7 ADOC's general counsel, testified
Dr. Zentner found pentobarbital sodium listed on a drug        on behalf of the agency. Hill explained that, as part
manufacturer's product listing, which listing indicated        of her job, she was “routinely” in contact with other
that the drug was produced in the United States. He stated     states' departments of corrections and that the subject of
that other manufacturers might offer it for sale or the drug   pentobarbital and lethal injection *1280 came up in her
could be synthesized in a lab. He said that he knew of one     conversations. Her job required her to constantly look for
lab that would be willing to synthesize the drug and he        ways to procure new drugs and new sources for drugs.
suspected “all of them would be willing.”
                                                               Hill was aware that, in 2015, Georgia, Missouri, Texas,
Dr. Zentner stated that he conducted an Internet search        and Virginia executed inmates using a single-drug
of sterile compounding pharmacies in Alabama from the          protocol of compounded pentobarbital. Hill testified that
listing available on the Accreditation Commission for          she contacted representatives from the departments of
Health Care's Web site, and found 19 such pharmacies,          corrections in these four states in the fall of 2015 in an
although two were essentially the same company. Dr.            effort to obtain compounded pentobarbital. With respect
Zentner gave his list to the ADOC. Dr. Zentner contacted       to these four states she recalled asking “specifically if they
two of these pharmacies, and they said that they did           had compounded pentobarbital and, if they did, if they
perform sterile compounding. Dr. Zentner admitted that         would be willing to provide it to the [ADOC] and, if not,
he did not ask them whether they would be willing to           if they would provide us their source.” All four refused.
compound pentobarbital for use in an execution by the
ADOC. In his deposition, Dr. Zentner clarified that he did     Hill stated that she was not aware of whether these four
not ask these two pharmacies any questions whatsoever          states had exclusive contracts with their drug sources, but
regarding compounded pentobarbital.                            that all four had refused to name those sources.

Accordingly, Dr. Zentner could only give his opinion           Hill reiterated her deposition testimony that, in between
that (1) pentobarbital sodium is available for purchase        September 2014 and November 2015, she had contacted
in the United States, and (2) there are compounding            11 potential sources of pentobarbital, including those 4
pharmacies that “have the skills and licenses to perform       states and 7 pharmacies within Alabama. She asked these
sterile compounding of pentobarbital sodium.”                  pharmacies whether they would be willing to compound
                                                               pentobarbital and provide it to the ADOC, and they all
On cross-examination, Dr. Zentner admitted that he             said no.
had not contacted any drug companies at all about
their willingness to sell pentobarbital to the ADOC for        Hill also testified that, in December 2015, she reached
executions. He also admitted that he was unaware that the      out to all of the 18 pharmacies on Dr. Zentner's
company that currently owned Nembutal had restrictions         list 8 regarding their willingness and/or capability to
in place to keep that drug from being purchased for            compound pentobarbital for the ADOC's use. None of
use in lethal injections. Dr. Zentner admitted that he         the pharmacies agreed to provide the drug to ADOC,
had no knowledge of whether the pharmacies that he             with two saying they were incapable of obtaining the
found would be able to procure pentobarbital, nor did          ingredients, another claiming that it no longer did
he ever personally attempt to purchase the drug from a         compounding, yet another saying it only produced one
manufacturer. He stated that one drug synthesis company        drug, and the remainder stating that “they're not able to
that he has a “long-term relationship” with was “willing       compound pentobarbital.” In total, Hill testified that she
to discuss” producing compounded pentobarbital. Dr.            reached out to “at least 29” potential sources in an attempt
Zentner admitted that sodium thiopental is not listed in       to procure compounded pentobarbital for the ADOC.
the FDA Orange Book, meaning it is not an approved



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Hill admitted that she did not contact drug manufacturers,     did not see parts of the consciousness assessment that were
buying groups, or drug synthesis labs in an effort to find     performed.
pentobarbital, nor did she conduct any Internet searches
to obtain the drug.                                            At trial, Arthur also presented Dr. Alan David Kaye, who
                                                               holds a medical degree and a Ph.D. in pharmacology. 10
Hill also testified that she had made no effort since          He completed a residency in anesthesia and was currently
September 2014 to obtain sodium thiopental and made no         employed as the chairman of the anesthesia department
efforts to determine whether it could be imported. Hill said   at Louisiana State University (“LSU”). He is the director
that she did not think sodium thiopental was available in      of anesthesia services at LSU's “flagship” hospital, has
the United States, and she was not aware of any other state    authored articles and books, and maintains an active
that had access to sodium thiopental.                          anesthesiology practice. The court accepted Dr. Kaye as
                                                               an expert witness in the field of anesthesiology.


           VIII. TRIAL EVIDENCE ABOUT                          Dr. Kaye explained that “sedation” is understood by
          CONSCIOUSNESS ASSESSMENT                             people in his field as a continuum. This can range from
                                                               “mild sedation in which a person can easily respond to
Since October 2007, the ADOC's written execution               verbal cues,” to moderate sedation, deep sedation, and,
protocol has included a three-step consciousness               finally, anesthesia, “the deepest level of the continuum.”
assessment, to be performed after the administration of        In his opinion, Alabama's consciousness assessment “is
the first drug, but before administration of the second and    inadequate to measure deep sedation or anesthesia.”
third drugs. The purpose of this assessment is to ensure       While Dr. Kaye has not witnessed any executions in
that the inmate has been rendered unconscious by the           Alabama, he opined that the ADOC had not “adequately
first drug. The assessment has three parts: (1) calling the    administered” the assessment that was in place. Dr. Kaye
inmate's name; (2) fluttering the inmate's eyelash; and (3)    gave four reasons for his opinion.
pinching the inmate's arm.
                                                               First, from reviewing the testimony of certain ADOC
                                                               personnel, Dr. Kaye opined that “it appears that the
A. Arthur's Evidence on the Consciousness Assessment           consciousness assessment may not have been performed
Arthur presented four witnesses who attended prior             at all in a number of prior executions.” Second, statements
executions at Holman Correctional *1281 Facility,              given by certain ADOC personnel gave the impression to
where Arthur is housed. These witnesses included three         Dr. Kaye that their training was inadequate because they
attorneys who worked for the Federal Defenders Office          did not know how to properly perform the pinch test and/
for the Middle District of Alabama and the videotaped          or communicate the results of the assessment. Third, again
deposition of Don Blocker, a volunteer lay minister at         based on the prior testimony of certain ADOC officials,
Holman. To varying degrees, they all testified that they       it was Dr. Kaye's opinion that members of Alabama's
did not see prison staff perform the pinch test at these       execution team do not pinch inmates with sufficient
executions. 9 All four witnessed the executions from the       force. Fourth, it appeared to Dr. Kaye that members of
viewing room reserved for the inmate's family, and they        the execution team did not adequately communicate the
had a clear view of the inmate's left side.                    results of the consciousness assessment.

Two of the attorneys, however, admitted that their view        Dr. Kaye testified that, in anesthesiology medical practice,
of the inmate was obstructed when a correctional officer       you have to perform “the hardest pinch that you can
stepped up to the gurney to perform the consciousness          pinch,” hard enough to bruise. Dr. Kaye explained,
assessment. All three attorneys admitted that, at the time      *1282 “As firm and as hard as you can. Not in a mild
of the executions they saw, they were unaware that there       way; not in a moderate way. In a very significant way.”
was even a consciousness assessment that was supposed          Dr. Kaye testified that the ADOC personnel's testimony—
to be performed. Similarly, Blocker acknowledged three         that (1) “We don't inflict pain on people”; (2) “I pinch hard
times on cross-examination that it was “possible” that he      enough that [a conscious person] would jerk their arm
                                                               away from me”; and (3) “[I pinch] hard enough to wake



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[the inmate] if he's asleep”—are all inadequate to meet the   The wardens both testified that they were present at
proper threshold and speaks to the lack of training and       executions and all parts of the assessment, including the
inadequacy of the safeguard.                                  pinch test, were performed at every execution that they
                                                              witnessed. Similarly, the captains of the execution team
                                                              testified that they personally performed every aspect of the
B. ADOC's Evidence on the Consciousness Assessment            assessment, including the pinch test, at every execution.
The ADOC presented the testimony, either live or              The Holman chaplain testified that he has witnessed
through deposition designations, of six current or former     approximately 40 executions at the prison since 1997. He
ADOC personnel, all of whom testified that all parts of       witnessed the execution of Eddie Powell, and remembered
the consciousness assessment were performed at every          seeing the consciousness assessment performed.
execution that they witnessed and/or participated in.
                                                              G.C. testified that he was the warden when the
At trial, Hill, the ADOC's general counsel, testified         consciousness assessment was implemented and that
that she had attended nine or ten executions since the        ADOC representatives explained the assessment to him
implementation of the consciousness assessment and            and told him when it should be performed. He testified
observed all parts of the assessment being performed in       that a team consisting of himself, *1283 D.C., Hill, and
all of those executions. Hill stated that, in her role as     former ADOC Commissioner Kim Thomas all agreed
the ADOC general counsel, she had never received any          that inmates should be pinched on the back of the arm
information that the assessment was not performed.            because it was “inconspicuous” but “fairly sensitive.”
                                                              G.C. testified that he sat in the control room with another
Hill testified that she viewed the executions from the        officer during executions and, on the warden's command,
commissioner's viewing room, which is positioned directly     that officer would “radio[ ] to the correctional personnel
in front of each inmate's feet as he lies on the gurney,      that's in the execution chamber that it's time to perform
and that her view was not obstructed. Hill was present        the consciousness test.” If there was any reaction from the
at Powell's execution, and she testified that all parts of    inmate, the procedure was for the officer in the execution
the assessment were performed at Powell's execution. She      chamber to radio back to the officer in the control room,
said that the correct and complete performance of the         but if the officer performing the consciousness assessment
consciousness assessment is something she looks for in the    stepped away from the inmate, “that was [his] cue to
executions that she attends.                                  proceed” with administration of the second and third
                                                              drugs. G.C. testified that, during his tenure as warden, no
Hill stated that correctional officers are aware that the     inmate ever reacted to administration of the first drug.
consciousness assessment is a mandatory part of the
execution protocol, and they are trained on how to perform    A.P. succeeded G.C. as warden and also testified that,
it. They are instructed to perform the pinch test on the      once the officer performing the consciousness assessment
back of the inmate's left arm and to “pinch hard.” Hill       stepped away from the inmate, he knew he could proceed
stated that correctional officers practice performing the     with the execution.
consciousness assessment before an execution. They are
also trained to look for “any reaction” from the inmate       D.C. was the captain of the execution team at Holman
and to report any reaction.                                   until his retirement in 2009 and was the captain when
                                                              the consciousness assessment was introduced. It was
The ADOC also presented the deposition testimony of:          his practice to do all three steps of the assessment
(1) G.C., Holman's warden from 2002 until 2009; (2) A.P.,     simultaneously. He testified that, if the inmate showed
the Holman warden who succeeded G.C.; (3) D.C., the           any reaction to the consciousness assessment, he would
former captain of Holman's execution team; (4) W.H.,          turn and face the warden. In performing the pinch test,
the execution-team captain who succeeded D.C.; and (5)        D.C. would pinch hard enough that, “if it was a conscious
C.S., the chaplain at Holman. The wardens and captains        person, they would jerk their arm away from me.” He
testified that they were trained on the consciousness         never received any reaction in the nine or ten executions in
protocol, knew it was mandatory, and understood its           which he participated.
purpose and importance.



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W.H. succeeded D.C. as the execution-team captain at             and able to provide compounded pentobarbital to the
Holman in 2009. As captain, W.H. would pinch the                 ADOC, but those efforts have been unsuccessful.
inmate's arm “hard enough to wake him if he's asleep.”
W.H. testified that he received oral, written, and physical      (7) Thus, pentobarbital is not feasible and readily
training regarding the consciousness assessment from             implemented as an execution drug in Alabama, nor is it
A.P., D.C., and another officer. W.H. testified that A.P.        readily available to the ADOC, either compounded or
instructed him to stay at his place by the gurney if the         commercially.
inmate reacted. W.H. stated that no inmate ever reacted
                                                                 (8) Per the FDA Orange Book, sodium thiopental is no
after he performed the consciousness assessment.
                                                                 longer legally available in the United States, and there
                                                                 is no evidence that the FDA has approved the import of
                                                                 sodium thiopental from other countries.
  IX. DISTRICT COURT'S APRIL 15, 2016 ORDER
                                                                 (9) Thus, sodium thiopental is unavailable to the ADOC
After setting out the factual background and procedural          for use in lethal injections.
history of the case, the district court proceeded, first,
to consideration of Arthur's Eighth Amendment claim.           The district court then made these conclusions of law:
The district court summarized the trial testimonies of
Dr. Zentner and ADOC attorney Hill on the issue of               (1) Arthur has the burden to plead and prove a known
alternatives to midazolam—namely, pentobarbital and              and available alternative method of execution under
sodium thiopental. The district court then made these            Glossip. It is Arthur's burden to identify an alternative
findings of fact, among others:                                  method that is both feasible and readily implemented.

  (1) The ADOC's supply of commercially manufactured             (2) To meet his burden, Arthur proposed execution
  pentobarbital, Nembutal, expired around November               with a one-drug protocol of either compounded
  2013, and the commercial supplier of Nembutal is               pentobarbital or sodium thiopental.
  prohibited from providing it for use in executions. Thus,
                                                                 (3) Dr. Zentner's testimony that the active ingredient
  Nembutal is no longer available to the ADOC.
                                                                 for pentobarbital is “available for purchase” and
  (2) When a drug is no longer commercially available,           that there are compounding pharmacies that could
  but remains listed in the FDA Orange Book, a                   “hypothetically” perform compounding did not
  licensed pharmacist may legally create the drug through        meet Arthur's burden “to prove that compounded
  compounding or some other process.                             pentobarbital is readily available to the ADOC for use
                                                                 in lethal injections. That it should, could, or may be falls
  (3) Pentobarbital sodium is the active ingredient              far short of Arthur's burden.”
  in compounded pentobarbital, and there is a
  formulation for compounding an injectable solution of          (4) Further, Arthur's proof that (i) other states have
  pentobarbital sodium.                                          procured compounded pentobarbital for use in their
                                                                 executions, (ii) “with effort it can be compounded,” and
  (4) Georgia, Missouri, Texas, and Virginia have all            (iii) “indications on the internet” are that pentobarbital
  performed executions using compounded pentobarbital            is available for sale all fail to meet Arthur's burden to
  after Nembutal became unavailable.                             show that the drug was readily available to the ADOC.
                                                                 “At best, it proves a ‘maybe.’ ”
  (5) The ADOC has attempted to obtain compounded
  pentobarbital for use in executions *1284 from the             (5) The fact that compounded pentobarbital was
  departments of correction in all four of these states, but     available to other states “at some point over the past
  those efforts were unsuccessful.                               two years does not, without more, establish that it is
                                                                 available to Alabama.”
  (6) The ADOC has contacted all of the accredited
  compounding pharmacies in Alabama to ascertain                 (6) Although the ADOC did not have the burden
  whether any of these pharmacies would be willing               of proof on this issue, Hill's testimony lent “further




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  support for the finding that compounded pentobarbital         district court found that any contradictory evidence
  is not presently available to the ADOC.”                      did not “overcome” the direct testimony from current
                                                                and former ADOC wardens and other personnel who
  (7) Arthur also failed to carry his burden of showing         said “without equivocation that they performed the
  that sodium thiopental was an available alternative           assessment.”
  because sodium thiopental is not legally available in the
  United States and evidence of its possible availability       (4) Further, because the consciousness assessment had
  overseas does not satisfy Glossip.                            been performed in every instance, the district court
                                                                found that there was no deficiency in training, practice,
  (8) Therefore, “Arthur sufficiently pleaded an Eighth         or procedure.
  Amendment claim, but he failed to meet his burden
  of proof. Defendants are entitled to judgment in their      The district court then made these conclusions of law,
  favor on Arthur's Eighth Amendment claim.” 11               among others:

 *1285 The district court then proceeded to evaluate            (1) The evidence that Arthur presented was “insufficient
Arthur's Equal Protection claim, which is based on              to prove that that [sic] the ADOC had inconsistently
the consciousness assessment. After summarizing the             applied the protocol's mandatory consciousness
evidence on this claim, the district court made these           assessment by failing to perform the pinch test during
findings of fact, among others:                                 some executions, or has otherwise deviated substantially
                                                                from its execution protocol.”
  (1) In October 2007, the ADOC adopted a
  consciousness assessment in order to provide an               (2) Further, Arthur's Equal Protection challenge “to
  “additional safeguard to lethal injection executions to       the general adequacy of the ADOC's consciousness
  ensure that an inmate is unconscious” before the second       assessment, claiming that it should meet certain training
  and third drugs are administered.                             and medical standards but does not, also fails.” In
                                                                support, the district court relied on language from Baze
  (2) While there was conflicting testimony as to whether       and Glossip to hold that “[t]he Eighth Amendment does
  the ADOC performed the pinch test at all executions           not require that such medical training and standards
  after October 2007, the district court credited the           or procedures be employed,” noting that the Supreme
  testimony of ADOC's witnesses over that of Arthur's           Court held in Baze that a consciousness assessment
  witnesses. The district court gave two reasons for these      “much simpler than the one implemented by the
  findings. First, Hill and the other ADOC witnesses            ADOC” was not required under the *1286 Eighth
  are all present or former ADOC employees who were             Amendment. Indeed, the district court wrote, there is
  knowledgeable about the consciousness assessment and          no constitutional requirement that a state perform a
  were trained “to understand how, why, and when it is          consciousness assessment at all.
  performed.” Second, it found Arthur's witnesses, while
  “truthful from their perspective,” to be “less direct         (3) Accordingly, “Arthur's attempt to apply a medical
  and less probative” because (i) testimony that they           standard of care to execution procedures and training
  “didn't see” something is less probative than testimony       for them, in this case, procedures that are not required
  that it “didn't happen”; and (ii) Arthur's witnesses          by the Eighth Amendment, does not state a plausible
  had obstructed views of the execution and/or did not          equal protection claim. This principle is applicable
  know to look for the various steps of the consciousness       to Arthur's Equal Protection claim challenging the
  assessment.                                                   ‘adequacy’ of the consciousness assessment and the
                                                                training therefor, including the force used in the pinch
  (3) Based on the evidence and these findings, the             test.”
  district court found that “the evidence establishes that
  the pinch test was performed in all executions that           (4) For these reasons, the district court held that
  the ADOC has conducted after the ADOC adopted                 the ADOC was entitled to judgment on the Equal
  the consciousness assessment and incorporated it as a         Protection claim.
  mandatory part of the written execution protocol.” The



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After entering judgment in the ADOC's favor, the only          reduction in blood pressure, thereby triggering a heart
issue remaining concerned the interplay of the current         attack; (3) *1287 the heart attack would occur more
protocol with Arthur's alleged idiosyncratic health issues     quickly than the appropriate sedation; and (4) “[g]iven
and medical condition, which the district court would          the slower onset of the sedative effects of pentobarbital,
address later. 12                                              it is likely that [Arthur] would experience the pain of said
                                                               heart attack until such time as the sedative effects have
                                                               onset to a sufficient degree to diminish the pain of the
                                                               heart attack.” (Emphasis added). In short, Dr. Strader's
                X. AS–APPLIED CLAIM                            opinion about pentobarbital was that it would take a
                                                               longer duration of time to induce appropriate sedation
On May 6, 2016, as to Arthur's as-applied claim based
                                                               than that required for the onset of myocardial ischemia/
on his alleged health issues, the ADOC filed a motion
                                                               infarction.
for judgment on the pleadings or, in the alternative,
for summary judgment. ADOC's motion argued that,
                                                               In his March 2013 declaration about pentobarbital, Dr.
to the extent that Arthur even adequately alleged an
                                                               Strader stated that he was a board-certified cardiologist
Eighth Amendment as-applied challenge based on his
                                                               and the current Chief of Cardiovascular Services at a
health concerns, the Defendants were entitled to summary
                                                               Texas hospital. As part of his routine clinical practice,
judgment because (1) Arthur had failed to produce
                                                               he assessed the cardiovascular risk of patients scheduled
evidence of a genuine disputed fact that the use of
                                                               to undergo surgery and anesthesia and, in particular, he
midazolam is “sure or very likely to cause serious illness
                                                               assessed the likelihood that a patient would suffer a heart
or needless suffering” by causing him to experience
                                                               attack during or immediately after a cardiac procedure.
a painful heart attack; (2) Arthur had still failed to
produce evidence of a genuine disputed fact that there are
                                                               Dr. Strader's declaration included explanations of the
known and available alternatives that are feasible, readily
                                                               “Hemodynamic and Anesthetic Actions of Pentobarbital
implemented, and significantly reduce a substantial risk
                                                               and Thiopental,” along with an overview of the relevant
of severe pain; and (3) the district court should reject the
                                                               aspects of cardiovascular anatomy and physiology,
“sham affidavits” offered by Arthur in support.
                                                               coronary atherosclerosis, and myocardial ischemia/
                                                               infarction. His declaration included an explanation that
The ADOC attached to its motion a November 16,
                                                               a coronary artery needs to be 70% obstructed before it
2015, declaration by Dr. J. Russell Strader, Jr., Arthur's
                                                               is hemodynamically significant. It also stated that, “[i]n
witness, and a transcript of Dr. Strader's December 8,
                                                               clinical practice, myocardial ischemia and infarction can
2015, deposition. Notably, Dr. Strader's November 2015
                                                               occur due solely and exclusively to a drop in blood
declaration about midazolam is his third declaration filed
                                                               pressure” and that this drop in blood pressure may be due
in this case. We first review Dr. Strader's two prior
                                                               to anesthesia.
declarations about pentobarbital before addressing his
declaration about midazolam.
                                                               Dr. Strader's March 2013 declaration admitted that he
                                                               had not examined Arthur but had reviewed his medical
A. Dr. Strader's 2013 and 2015 Declarations About              records only up until 2009. Although Dr. Strader's
Pentobarbital                                                  declaration did not indicate precisely what records he
In his first declaration back in March 2013, Dr. Strader       reviewed, approximately 68 pages worth of Arthur's
criticized the use of pentobarbital for Arthur's execution.    medical history was included with the ADOC's summary
Although Arthur wants pentobarbital used now that              judgment motion. These medical records indicate that
Alabama cannot obtain it and must use midazolam, it            Arthur has repeatedly refused to be seen by a doctor since
is relevant to consider Arthur's previous position about       at least 2009. Arthur was seen in the prison infirmary
pentobarbital. Back in 2013, Dr. Strader opined that           on January 17, 2009, where he complained of chest pain
(1) Arthur's “likelihood of having clinically significant      and atrial fibrillation. Arthur, however, refused medical
obstructive coronary disease [“CAD”] is at least 70%”;         care on this occasion, including a refusal to submit to an
(2) for people with CAD, the use of a 2,500–mg dose of         electrocardiogram (“EKG”) on January 20, 2009.
pentobarbital was likely to induce a rapid and dangerous



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The medical records include dozens of similar waivers,
signed by Arthur, refusing various medical treatments.          Dr. Strader opined that the use of pentobarbital would
These waivers extend from 2009 until 2015. There is no          cause a drop in blood pressure and a heart attack in Arthur
indication that Dr. Strader, as of his first declaration in     before the onset of the drug's sedative effect. Dr. Strader
2013, had access to or reviewed any probative post–2009         admits the sedative effect from pentobarbital will occur
medical records for Arthur. There is also no reference,         but opines that Arthur will experience pain from a heart
much less a diagnosis, to Arthur's ever having had a heart      attack “until such time” as the sedative effect reduces the
attack in his medical records.                                  pain.

According to Dr. Strader's review of Arthur's medical           After Alabama changed the first drug from pentobarbital
records as of 2009, Arthur was then 71 years old, with a        to midazolam, Dr. Strader switched positions and wrote a
history of hypertension (high blood pressure) and atrial        second declaration. This time, in that second declaration,
fibrillation (irregular heart rhythm). In June 1999, Arthur     Dr. Strader now suggested pentobarbital should actually
visited the prison clinic and he complained of being short      be used in Arthur's execution but only as a one-drug
of breath, sweaty, and dizzy. According to the prison           protocol. Dr. Strader opined that if pentobarbital were
report, an EKG was performed at that time, and it was           used as a one-drug protocol and “administered gradually
“abnormal.” Dr. Strader opined that these symptoms are          and with due consideration for Mr. Arthur's medical
“identical to those experienced by persons with ongoing         condition,” he did not believe that Arthur would suffer
myocardial infarction.”                                         a heart attack before being properly anesthetized. Dr.
                                                                Strader's second declaration was conclusory and gave no
In October 2004, Arthur was hospitalized for abdominal          specifics on what “administered gradually” would mean
surgery, and he suffered from atrial fibrillation during that   or what steps would be necessary as “due consideration
hospitalization. However, an echocardiogram performed           for Mr. Arthur's medical condition.”
around that time came back “essentially normal.”

 *1288 According to Dr. Strader, an EKG dated                   B. Dr. Strader's Nov. 16, 2015 Declaration
January 15, 2009 showed “atrial fibrillation with a rapid       In his third declaration, Dr. Strader now criticizes the
ventricular response, along with Q waves in the inferior        use of midazolam for use in executions, using precisely
leads (leads II and aVF).” Dr. Strader opined that, “[t]he      the same reasoning (and often the exact same wording)
abnormalities on this [EKG]” indicated that Arthur had          used in his earlier declaration condemning pentobarbital.
suffered a prior heart attack. A request for a cardiology       Specifically, Dr. Strader now opines that (1) Arthur's
consult, dated January 26, 2009, indicated that Arthur was      likelihood of having obstructive CAD is at least 70%; (2)
experiencing chest pain and rapid heart rate.                   for patients with obstructive CAD, a large bolus dose
                                                                of midazolam is “highly likely” to rapidly reduce blood
After reviewing these medical documents through January         pressure in patients with this disease, thereby triggering
2009, Dr. Strader opined that:                                  a heart attack; (3) the heart attack would occur before
                                                                the appropriate sedation from midazolam; and (4) given
            Arthur's abnormal [EKG] showing                     the length of time between the onset of heart attack and
            evidence of a prior myocardial                      the onset of sedation, “it is likely that Mr. Arthur would
            infarction, 13 history of recurrent                 experience the pain of the heart attack until the sedative
            atrial fibrillation, age, presence of               effects take effect to a sufficient degree to diminish
            hypertension, and symptoms of                       the pain of the heart attack, which could occur several
            recurrent chest pain, all of which                  minutes after the onset of the heart attack.” While the
            are independent risk factors for                    drug at issue was different, Dr. Strader's opinion and
            coronary heart disease, confer a                    reasoning remained the same—that Arthur was “likely”
            risk of having clinically significant               to experience the pain of a heart attack before being fully
            obstructive coronary artery disease                 sedated.
            of at least 70% at a minimum, and
            possibly greater.                                   Dr. Strader's November 2015 declaration is essentially
                                                                a recycled version of his *1289 original March 2013


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declaration, but with the following added information
about midazolam:                                              Based on the medical records provided to him, Dr.
                                                              Strader noted that Arthur had high blood pressure,
• As part of his routine clinical practice, Dr. Strader       atrial fibrillation, and abnormalities on his EKGs that
administers “midazolam to patients for the purpose            were “highly suggestive of coronary disease.” Dr. Strader
of achieving sedation for invasive cardiac procedures.”       testified regarding the incident in June 1999 (where Arthur
Dr. Strader has performed approximately 3,500 invasive        visited the prison clinic with complaints of being short of
cardiac procedures in cardiac patients using midazolam as     breath, sweaty, and dizzy and then had an EKG come
a sedative.                                                   back with “abnormal” results), and he stated that Arthur's
                                                              symptoms and his abnormal EKG made it “possible” that
• As to Arthur's likelihood of having CAD, Dr.                Arthur had a heart attack back in 1999.
Strader updated Arthur's age to 73 years old, deleted
his earlier declaration's reference to Arthur's normal        Dr. Strader reiterated his opinion from his declaration
echocardiogram report in October 2004, and added a            that the abnormal EKG, taken on January 15, 2009, was
paragraph regarding Arthur's family history of “heart         “diagnostic” of Arthur having suffered a previous heart
trouble.”                                                     attack, although Dr. Strader could not say when this prior
                                                              heart attack occurred. When asked if he could diagnose a
• In Dr. Strader's clinical experience, “where midazolam in   previous heart attack based just on an EKG, Dr. Strader
small doses (2–5 mg) is used to sedate patients undergoing    replied, “Yes. Absolutely.” Dr. Strader also referenced the
invasive cardiac procedures, midazolam's sedative effects     January 2009 request for a cardiology consult contained
generally take 5 minutes or more to take effect” and the      in Arthur's medical records, but admitted that he did not
hemodynamic effects of the drug can occur more quickly,       know whether Arthur was ever actually evaluated by a
within 1–2 minutes. (Emphasis added). He stated that,         cardiologist.
when used in clinical doses, midazolam typically produces
a 10–20% drop in blood pressure. Dr. Strader opined
that, when midazolam is given in the large 500 mg bolus          2. Midazolam Leads to a Drop in Blood Pressure
dose contemplated by the ADOC protocol, it is “highly         In Dr. Strader's opinion, if you administered even a
likely that such drop in blood pressure would occur more      100–mg dose of midazolam to *1290 a patient, such
quickly than it would occur in the administration of a        large doses “are expected to have ... rapid, significant
clinical dose.”                                               hemodynamic effects.” He explained that “hemodynamic
                                                              effect” means a drop in blood pressure. To correct this
• Dr. Strader explained that the hemodynamic effects of       issue, he suggested that doctors would give “pressors,”
midazolam occur more quickly than the sedative effects        very large amounts of IV fluids and medication, to
because the effect on vasculature is immediate, while the     stabilize the blood pressure.
drug must travel to and affect the brain before sedation
takes place. Dr. Strader, however, acknowledged that          Dr. Strader testified that, in his clinical practice, drops in
there is no “institutional experience” regarding a 500–mg     blood pressure from 2–5 mg doses of midazolam can occur
dose of midazolam.                                            “within just a minute or two, sometimes sooner.” He went
                                                              on to say that, “extrapolating off of that experience to
                                                              this very large dose, you would expect to see an extremely
C. Dr. Strader's Dec. 8, 2015 Deposition                      rapid and very large drop in blood pressure.”
In his 2015 deposition, Dr. Strader elaborated on this
opinion:                                                      He explained that, for people with obstructed arteries,
                                                              this rapid blood-pressure drop could result in a heart
                                                              attack, because “you have to maintain a certain amount
  1. Likelihood of Arthur having CAD                          of pressure in order to keep fluid going through a tube
Dr. Strader reviewed Arthur's medical records but             that's got a fair amount of blockage in it. This is ... applied
admitted that he had never personally examined Arthur,        physics.” He further explained that older people, starting
had never spoken to Arthur, and had never spoken to any       at around age 70, tended to have bigger drops in blood
doctors who had treated Arthur.                               pressure in response to the administration of midazolam.


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In his deposition, Dr. Strader reviewed the medical articles     A. No, I don't think I gave any opinion as to—as to the
and other material that he cited in his November 2015              timing for ... consciousness to abate.... In a clinical
declaration, which he stated lent support to the idea that         setting, I would defer that to an anesthesiology
midazolam leads to a drop in blood pressure. Dr. Strader           colleague who is, you know, more familiar with
admitted that (1) none of the articles or materials dealt          the concept of consciousness. That's outside my
with such high doses, and (2) none of the articles or              realm of practice. Again, I think you'd see a very
materials explicitly stated that midazolam should not be           rapid decrease, almost instantaneous decrease in
used on people with CAD.                                           blood pressure, and hemodynamic effects would be
                                                                   virtually instantaneous.

   3. The Heart Attack Would Occur Before Sedation               Q. But regarding the sedative effects, you just don't
Dr. Strader stated that, based on his clinical experience,         know how long?
the sedation effects of a clinical dose of 2–5 mg of
                                                                 A. I think it would take longer; how much longer, I don't
midazolam typically take about five minutes to take
                                                                   know.
effect. He testified that he would typically use this
dosage of midazolam on patients before “invasive cardiac         ...
procedure[s].” (Emphasis added). When a patient is
administered a clinical dose of midazolam (2 to 5 mg), the       Q. But you can't give us a specific amount of time?
patient goes into a deep sleep. They can be aroused and
spoken to, but they are “very comfortable.” (Emphasis            A. No, sir.
added). He explained that in his clinic, he would titrate
                                                                 Q. Okay.
the midazolam, giving it in small doses until appropriate
sedation was achieved. Dr. Strader admitted that he              A. I don't think anybody can give you a specific amount
normally gave some sort of pain medication, such as                of time.
fentanyl, along with the midazolam, but that this was
not required. He could proceed with the procedure using        (Emphasis added).
midazolam alone, although it would require a higher dose.
He stated that the largest dose of midazolam he ever           Dr. Strader later stated he was aware that
administered to a patient was a 20–mg dose, used because       anesthesiologists use midazolam to induce anesthesia but
the patient had no sedative response to the medication.        he had never done that as it was outside the scope of his
                                                               area of practice:
While he opined that a 100–mg dose of midazolam would
                                                                 Q. Have you ever known an anesthesiologist to use
cause sedation within “three to five minutes,” he could not
                                                                   midazolam to cause unconsciousness?
give an exact time because such a dose is “far outside of
the realm of anybody's clinical experience” and, indeed,         [Objection]
the time to sedation “could be a very wide range.” When
asked about a 250–mg or 500–mg dose of midazolam, Dr.            A. I would assume that anesthesiologists use midazolam
Strader stated that, “I'm not sure anybody really knows            in part of their routine practice for the—you know, in
to what degree [sedation] would onset.” Dr. Strader then           anesthesia. I don't know the details of what they do,
indicated he would need to defer to an anesthesiologist            or when they choose, or why they choose what they
about the onset time of sedation from a 500–mg dose of             choose, so ...
midazolam:
                                                                 Q. But are you aware of it being used to induce
  Q. Now, in an execution, is it your opinion that it              anesthesia?
    would take five minutes before a person becomes
    unconscious if they're administered 500 milligrams of        [Objection]
    midazolam?

     *1291 [Objection]



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  A. I'm aware that it's approved for that use, and I think     [Objection]
    some anesthesiologists use it for that purpose. I don't
    have any direct knowledge of what they do.                  A. I would have no idea.

  Q. Okay. So you're never involved in a procedure where        Q. I mean, are we talking minutes or hours—[Objection]
    an anesthesiologist might use midazolam to induce             —or do you know?
    anesthesia?
                                                                A. I would—I would defer that to an anesthesiologist
  [Objection]                                                     who has more experience with the drug.

  A. No, I don't—that's outside the scope of my clinical        Q. Well, I mean, you're the one making the sworn
    practice. You know, I just let them choose what they          declaration, and you said, “administered gradually,”
    need to choose[.]                                             and I'm asking you, you know, how gradually would
                                                                  you have to administer it?
(Emphasis added). Similarly, when asked if he knew
whether midazolam “is ever used to maintain anesthesia,”        [Objection]
he replied that the drug “carries an indication for that[,
                                                                A. Yeah. Again, I think it's the general concept that
but] I wouldn't have direct knowledge any particular
                                                                  gradual administration in small doses, you know,
anesthesiologist's use of it for that reason.”
                                                                  is the general paradigm to prevent adverse effects.
                                                                  Exactly what “gradual” would be defined as in this
Dr. Strader explained that anesthesiologists were
                                                                  instance I wouldn't—I wouldn't know specifics or
not present when he performed his invasive cardiac
                                                                  have specifics to recommend.
procedures, and there was no policy or procedure on how
much midazolam to give patients. Dr. Strader reiterated
                                                              Dr. Strader also would not know how to administer a
that he uses midazolam “in patients with coronary disease
                                                              large dose of midazolam gradually but would defer to an
all the time in routine clinical practice.”
                                                              anesthesiologist:

                                                                Q. Okay. Do you have the same opinion on
  4. Gradual Administration of Pentobarbital
                                                                  if midazolam is used in a one-drug protocol—
Despite stating in his first declaration that a 2,500–mg
                                                                  [Objection]—if it was administered gradually?
bolus dose of pentobarbital was also likely to induce a
heart attack, Dr. Strader reiterated his conclusion from        A. I think the general paradigm holds in order to
 *1292 his second declaration that, if pentobarbital were         avoid adverse effects with these medications, you
administered gradually as part of a one-drug protocol, he         administer them in low doses slowly. To what extent
did not believe that Arthur would suffer a heart attack           midazolam would produce full unconsciousness
before being properly anesthetized. Dr. Strader admitted          or anesthesia, again, I would defer that to an
he would not know how to administer 2,500 mg of                   anesthesiologist. It's outside of my scope of practice.
pentobarbital gradually and he would defer on that matter
to an anesthesiologist:                                       (Emphasis added).

  A. I wouldn't know how gradual to do it. I know that
    the analogy holds to what we do with cardiac patients     D. Dr. Buffington's Nov. 23, 2015 Declaration
    in the cath lab with midazolam. You know, again,          As to midazolam, the ADOC offered a declaration from
    we use small doses gradually over longer periods of       Dr. Daniel Buffington, an expert witness in the field of
    time in order to prevent acute onset of myocardial        pharmacy. Dr. Buffington is a clinical pharmacologist
    ischemia and acute drops in blood pressure.               who holds a Doctor of Pharmacy and Master of Business
                                                              Administration degrees. He is on the faculty of the
  Q. So when you're talking about 2,500 milligrams,           University of South Florida Colleges of Pharmacy and
    how long would that take—[Objection]—if you               Medicine, and he is also the president of the American
    administered the drug gradually?                          Institute of Pharmaceutical Sciences.



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                                                                         during the protocol with the
Dr. Buffington agreed with Dr. Strader that a common                     use of an electroencephalogram,
clinical dosage of midazolam is 2 to 5 mg, and that the                  an electrocardiogram, a bispectral
500–mg dosage contemplated in the ADOC's protocol                        index monitor and/or other
“is well beyond the dosage of any existing therapeutic                   appropriate methods [which] may
application.” Dr. Buffington explained that, when clinical               reduce to some extent the likelihood
doses of midazolam (2–5 mg) are used as an “anesthetic                   of Mr. Arthur suffering the pain of
 *1293 induction agent, sedation occurs ... within 2–2.5                 a heart attack during administration
minutes without narcotic pre-medications or other pre-                   of the protocol, although it would
medications with sedative effects.”                                      not ameliorate those risks entirely
                                                                         or address the other previously
Dr. Buffington stated that the medical literature                        identified reasons why the use
“contradicts Strader's theoretical concerns” and “[t]here                of midazolam in a three-drug
is no scientific or medical evidence to support the theory               execution protocol is violative of
or concerns that midazolam (IV), at low or high dosages,                 Mr. Arthur's constitutional rights.
would result in a significant hypotensive event ... prior                Such a modified protocol may
to the onset of sedation, or is capable of inducing or                   also require the administration of
worsening ischemic cardiac damage, acute cardiac events,                 other medication to prevent cardiac
excruciating pain and/or suffering.” 14 According to Dr.                 complications.
Buffington, a rapid infusion of midazolam could result in
                                                             (Emphasis added).
induction of anesthesia in as little as 30 seconds.

                                                             Arthur also submitted Dr. Strader's fourth declaration,
E. Midazolam Package Insert                                  dated March 29, 2016. Dr. Strader stated that he was
The ADOC also submitted the midazolam manufacturer's         ethically prohibited from suggesting modifications to a
package insert with its summary judgment motion.             lethal injection protocol. Accordingly, he merely explained
The insert states that sedation is achieved in 3             what precautions are taken and procedures followed
to 5 minutes after IV injection, and that, when              when administering midazolam in a clinical setting. Those
midazolam is given as an anesthetic induction agent,         precautions are:
“induction of anesthesia occurs ... in 2 to 2.5
                                                               • administration of midazolam “at a gradual rate closer
minutes without narcotic premedication or other sedative
                                                                  to that used in clinical practice—i.e., 0.5 mg to 2 mg
premedication.” (Emphasis added).
                                                                  at a time, repeated every 2 to 4 minutes,” along with;

                                                                *1294 • a trained professional (although this person
F. Dr. Strader's March 29, 2016 Declaration
                                                                 need not have a medical degree);
In February 2016, the district court ordered the parties
to meet and confer about a possible modified execution         • who assesses the patient's response to the prior dose
protocol. On March 8, 2016, as part of these negotiations,       before continuing with another;
Arthur's counsel sent a letter to the ADOC about gradual
administration of midazolam, requesting a trained              • continuous EKG monitoring;
professional to use several pieces of medical monitoring
equipment and to administer other medication:                  • continuous pulse oximetry monitoring;

            [Arthur's] position is that a                      • frequent blood pressure monitoring;
            protocol designed to administer
                                                               • the ability to give fluids and medication via IV to raise
            midazolam gradually and with
                                                                  blood pressure; and
            due consideration for Mr. Arthur's
            medical condition—including with                   • use of the opioid fentanyl.
            medical monitoring of Mr. Arthur's
            health by a trained professional


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Ultimately, the negotiations reached an impasse with the
parties unable to agree on a modified execution protocol.    A. Well, I wouldn't call it a crackdown. I would say
                                                               limited market availability.

                                                             Q. Right. They won't sell it to Departments of
           XI. MOTION FOR NEW TRIAL                            Corrections for executions.

On May 13, 2016, Arthur moved for a new trial on             A. That's correct.
his Eighth Amendment claim. He claimed that, three
months after the trial, he discovered new evidence that      Q. Are all pharmacists sort of locked in in that regard
compounded pentobarbital is available to the ADOC.             and wouldn't sell it for purposes of an execution?
He alleged that, after trial, the ADOC proffered Dr.
                                                             A. No. I'm sure just like physicians where somebody
Buffington as an expert for deposition in another case, 15     may exercise a conscious clause that do find that
on March 17, 2016. Arthur alleged that Dr. Buffington          within pharmacy as well. As a matter of fact, it's been
said that he “personally knew compounding pharmacists          an open area of discussion across the country.
who would be willing to compound pentobarbital for
ADOC.... To obtain pentobarbital ... defendants would          ...
‘just have to ask’—which they did not do.” Arthur
attached only excerpts from Dr. Buffington's deposition      Q. So you know a lot of pharmacists from going to
testimony.                                                     conventions and being on the Board [of Trustees of
                                                               the American Pharmacists Association] and teaching
The ADOC opposed Arthur's motion for a new trial,              future pharmacists?
arguing that Arthur had misrepresented Dr. Buffington's
                                                             A. That's correct.
testimony. The ADOC submitted a more fulsome excerpt
from Dr. Buffington's March 17, 2016, deposition             Q. And you don't think that it would be difficult for you
testimony, which reflects that Dr. Buffington actually         to direct the Alabama Department of Corrections to
testified that (1) he knows pharmacists who are capable        a compounding pharmacist who would be willing to
of compounding pentobarbital and would do it for the           compound pentobarbital for them? ...
ADOC, but that (2) he would have to check with them first
before he could give their names to the ADOC:                A. I think that's a resolvable question. ... Level of
                                                               difficulty, how many calls it would take, where that
  Q. And would you be willing to compound                      particular practice may reside. I know that they're
    pentobarbital for the State of Alabama?                    there.

  A. I can identify numerous other individuals who             ...
    would be probably more readily capable based on
    equipment and site and instrumentation to do that,       Q. Have you at any of the conferences that you go to or
    but I know that there are multiple facilities that can     any of these—You said that it's being discussed, the
    do that.                                                   use of pharmaceuticals for lethal injection.

  Q. Would they do it for the Alabama Department of          A. Absolutely.
    Corrections?
                                                             Q. Okay. Have you ever had a discussion with
  A. We'd just have to ask.                                    colleagues at one of these meetings about
                                                               pentobarbital for lethal injection?
  Q. Okay. Is it something—There's a lot of controversy
    around—The whole reason that we're here is because       A. Yes.
     *1295 there's been a crackdown on certain drugs by
                                                             Q. All right. And when you talked to people, did any of
    the manufacturers.
                                                               them say I would do it?

                                                             A. Yes.


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                                                             service.” To this end, he contacted 15 pharmacists, both
  Q. And you know these people personally.                   within and outside of Alabama, and asked them “about
                                                             their capability to compound sterile pentobarbital for
  A. Yes.
                                                             intravenous [IV] use.”
  Q. And would you be willing to provide their names to
    the Alabama Attorney General?                            Dr. Buffington concluded that he maintained his belief
                                                             that “there are pharmacists in the United States that are
  A. I would check with them first, but what you're          able to compound pentobarbital for use in lethal injections
    asking is would—and I haven't been asked to do           because other states have been reported to have obtained
    this at this juncture—would it be possible to identify   [it],” but he was not able to locate any that were willing
    appropriately-trained and well-staffed facilities to     and able to do so.
    perform that function, and the answer would be yes.

  Q. And assuming that they gave you permission,
    you would share their information with Mr. Govan           XII. DISTRICT COURT'S JULY 19, 2016 ORDER
    or someone from the Alabama Attorney General's
                                                             The district court wrote that, “[d]istilled to its essence,
    office?
                                                             Arthur's as-applied claim is that his cardiovascular issues,
  A. Or whoever was asking me to do that, yes.               combined with age and emotional makeup, 16 create a
                                                             constitutionally unacceptable risk of pain that will result
  Q. If Ms. Hill, the general counsel for ADOC, asked        in a violation of the Eighth Amendment if he is executed
    you, you would assist her if you could?                  under the ADOC's current protocol.” The district court
                                                             applied, as it must, the same Baze/Glossip standard to
  A. Yes.
                                                             Arthur's as-applied challenge as it applied to his facial
                                                             challenge.
Subsequently, Dr. Buffington contacted these
pharmacists but none were willing to compound
                                                             As to Arthur's health issues, the district court concluded
pentobarbital for the ADOC or even allow Dr. Buffington
                                                             Arthur's Third Amended Complaint had failed to plead
to reveal their names. To show this, the ADOC submitted
                                                             adequately or properly an “as-applied” claim and,
an affidavit from Dr. Buffington, dated *1296 April
                                                             alternatively, the district court questioned whether Arthur
22, 2016. Dr. Buffington averred that, “[n]one of the
                                                             had presented sufficient evidence of any truly “unique
15 pharmacists that I contacted were able and willing
                                                             health concerns” as to his execution. But in “an abundance
to supply compounded pentobarbital for use in lethal
                                                             of caution” the district court considered the merits of
injections to the ADOC. In addition, none of the
                                                             Arthur's as-applied claim.
pharmacists provided me permission to share their names
and contact information with the ADOC or counsel for
                                                             Because that “as-applied” claim was based on Dr.
the Defendants.” (Emphasis added).
                                                             Strader's declarations, the district court examined the
                                                             methodology and foundation, or lack thereof, underlying
In his affidavit, Dr. Buffington further stated that he
                                                             Dr. Strader's opinions. The district court ultimately
had testified at his earlier deposition that “the use of
                                                             concluded that Dr. Strader's opinion was speculative and
pharmaceuticals in lethal injections is an area of open
                                                             unreliable under Daubert v. Merrell Dow Pharm., Inc.,
discussion in the pharmacy community and that some
                                                             509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993). We
colleagues I have encountered at professional events such
                                                             thus review the district court's analysis of Dr. Strader's
as national conventions and conferences have commented
                                                             opinion and then its reasons for excluding it.
that they would be willing to compound pentobarbital for
use in lethal injections.” Dr. Buffington explained that,
                                                             The district court pointed out that these facts are
after that deposition, counsel for the defendants asked
                                                             undisputed: (1) Dr. Strader has never examined Arthur;
him to contact pharmacists and pharmacies “to inquire if
                                                             (2) Arthur has repeatedly refused to submit to medical
any were willing to be contacted directly by the ADOC
                                                             examination; and (3) Arthur has not been seen or
concerning the performance of this type of technical
                                                             examined by a cardiologist since 2009.


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                                                               which is a lighter level of sedation than full anesthesia. Dr.
 *1297 Turning first to the alternative-method prong in        Strader “had no opinion as to what would be a clinical
Arthur's as-applied claim, the district court determined       dose of midazolam sufficient to induce anesthesia.”
that “Arthur failed entirely” to establish the existence of    However, the midazolam package insert explains that,
a known and available alternative. To the extent Arthur        even at small clinical dosage levels, midazolam can induce
relied on a one-drug protocol of pentobarbital or sodium       both sedation and anesthesia in as little as 2 minutes
thiopental, the district court found these options were        without narcotic premedication. In other words, if a 2–5
“foreclosed” for the reasons given in its earlier order. 17    mg dose of midazolam produced sedation or anesthesia in
                                                               two minutes, Arthur had failed to show how long it took
The district court found that Dr. Strader's opinion—that       a 500–mg dose to achieve *1298 anesthesia or that both
Arthur's blood pressure would drop before sedation took        the blood pressure drop and a heart attack would occur
effect—is “speculative and unreliable when extrapolated        before a 500–mg dose achieved anesthesia.
from a clinical dose of 2 to 5 mg, to a non-clinical, bolus
dose of 500 mg.” The district court noted that there was no    The district court also pointed out that: (1) Dr. Strader
record evidence regarding whether a time “gap”—between         had experience with small doses; (2) Dr. Strader declined
midazolam's hemodynamic effects and its sedative effects       to offer any opinion about the length of time it would
at a 500–mg dose—would occur at all or, if such a gap does     take a 500–mg dose of midazolam to render a patient
occur, in what sequence it would occur. The district court     unconscious, reiterating many times that anesthesia was
then “ventur[ed] into [the] technical thicket” of available    outside his field of expertise; and (3) nevertheless, Dr.
medical and scientific evidence, parsing it into four parts:   Strader “remained of the opinion that the sedative effects
(1) the hemodynamic and anesthetic effects of midazolam;       of a 500–mg bolus dose would take longer than the
(2) a clinical dose for sedation; (3) a clinical dose for      hemodynamic effects.”
anesthesia; and (4) a 500–mg bolus dose.
                                                               The district court rejected Dr. Strader's opinion of the
First, the district court noted that there was evidence that   time gap as unreliable under Daubert. The district court
clinical doses of midazolam were known to produce a drop       stressed three reasons. First, Dr. Strader was incapable
in blood pressure. Moreover, Dr. Strader characterized         of saying how much time it would take a 500–mg
the drug as both a sedative and an anesthetic.                 dose to render a patient unconscious and, therefore,
                                                               “it is impossible for him to extrapolate a sequence
The district court noted Dr. Strader's testimony that, with    of hemodynamic effect and sedation.” Second, any
a clinical dose (2–5 mg) of midazolam, there was typically     theoretical “gap” between hemodynamic and sedative
a gap of three to four minutes between the hemodynamic         effects is speculative because this gap is connected with
effects and the sedation effects of midazolam in clinical      much lower dosages. Third, Dr. Strader himself has never
practice. But Dr. Strader acknowledged that none of            administered more than 20 mg of midazolam during his
the medical literature he relied on cautioned against          career. In short, Arthur had provided no “admissible
using midazolam for patients with CAD and, indeed,             medical expert opinion testimony to establish either
Dr. Strader himself used midazolam routinely to sedate         the clinical dosage of midazolam necessary to induce
his cardiac patients during invasive cardiac procedures.       anesthesia or the time-frame within which that would
Taking Dr. Strader's claim that he, as a cardiologist, had     occur.” (Emphasis added).
performed approximately 3,500 cardiac procedures with
midazolam as a sedative and only 24 of those patients          Even as to whether Arthur has CAD in the first place,
experienced a heart attack after being sedated, the district   the district court determined that, because Arthur had
court calculated that less than 1% of those 3,500 patients     not submitted to a medical examination since 2009, Dr.
suffered a heart attack following the administration of a      Strader's opinion that Arthur suffered from CAD also
clinical dose of midazolam.                                    “borders on being speculative and unreliable.” As the
                                                               district court explained, “[b]oth must exist—the heart
The district court also analyzed the evidence regarding        condition and the gap [in time between the hemodynamic
use of midazolam for “anesthesia.” Dr. Strader had             effects and the sedation effects of midazolam] Dr. Strader
administered midazolam only for sedation purposes—             expects—for there to be a realistic likelihood of the heart



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attack” before sedation takes effect. Based on the evidence      adopted) (quoting Baze, 553 U.S. at 47, 128 S.Ct. at 1529)
as presented, the court determined that “it cannot be            (internal quotation marks omitted). Further, the Supreme
said that a heart attack is sure or very likely at all; one      Court has held that “some risk of pain is inherent in any
cannot make that connection from the medical evidence.”          method of execution,” and that the Constitution does not
Therefore, Arthur had failed to raise a genuine dispute of       require “the avoidance of all risk of pain.” Id. at 2733
material fact of a “sure or very likely risk of severe pain in   (quoting Baze, 553 U.S. at 47, 128 S.Ct. at 1529).
the application of Alabama's execution protocol as applied
to him,” and this failure “dooms his as-applied Eighth            [1] The Supreme Court has required prisoners seeking
Amendment claim.”                                                to challenge a state's method of execution to meet a
                                                                 “heavy burden.” Baze, 553 U.S. at 53, 128 S.Ct. at 1533
As to Arthur's motion for a new trial, the district              (internal quotation marks omitted). Thus, in order to
court concluded that “Arthur's ‘new evidence’ is nothing         succeed on an Eighth Amendment method-of-execution
but generic testimony from Dr. Buffington describing             claim, the Supreme Court has instructed that prisoners
passing conversations he has had with other pharmacists          must demonstrate that the challenged method of execution
during national conventions concerning the use of                presents a risk that is “sure or very likely to cause serious
pharmaceuticals, including pentobarbital, for lethal             illness and needless suffering, and give rise to sufficiently
injection.” However, in his subsequent affidavit, Dr.            imminent dangers.” Glossip, 135 S.Ct. at 2737 (quoting
Buffington actually admitted that he contacted 15                Baze, 553 U.S. at 50, 128 S.Ct. at 1531) (internal quotation
pharmacists and none were willing or able to provide             marks omitted). “To prevail on such a claim, there must
compounded pentobarbital for use in lethal injections            be a substantial risk of serious harm, an objectively
for the ADOC. Thus, Dr. Buffington's earlier deposition          intolerable risk of harm.” Id. (internal quotation marks
testimony was not “likely to produce a new result” at trial,     omitted).
and the motion for a new trial was denied.
                                                                  [2]     [3] This requires more than merely showing “a
On July 19, 2016, the district court entered its final           slightly or marginally safer alternative.” Id. (quoting
judgment in favor of the defendants. Arthur timely               Baze, 553 U.S. at 51, 128 S.Ct. at 1531) (internal
appealed the final judgment to our Court. We read the            quotation marks omitted). Instead, prisoners are required
Final Judgment to encompass both the April 15, 2016              to “identify an alternative that is feasible, readily
and July 19, 2016 orders. This Court ordered expedited           implemented, and in fact significantly reduces a
briefing, which is now complete as of October 19, 2016.          substantial risk of severe pain.” Id. (citing Baze, 553
The Alabama Supreme Court has set an execution date of           U.S. at 52, 128 S.Ct. at 1532) (internal quotation
November 3, 2016.                                                marks and alteration omitted). In other words, the
                                                                 prisoner must demonstrate that the risk of severe pain is
                                                                 substantial “when compared to the known and available
                                                                 alternatives.” Id. (emphasis added) (citing Baze, 553
                 XIII. RELEVANT LAW
                                                                 U.S. at 61, 128 S.Ct. at 1537). Thus, we must view
With this lengthy procedural history in mind, we turn to         the two “prongs” of the Baze/Glossip test in concert
Arthur's arguments on *1299 appeal. Before we do so,             —it is not enough to ask merely if the risk of severe
however, it is helpful to set forth the legal framework          pain is substantial. Instead, the risk of severe pain must
within which we must resolve Arthur's claims.                    be substantial and objectively intolerable in comparison
                                                                 to an alternative method that is feasible and readily
                                                                 implemented. Id. And that alternative method must
A. Glossip and Baze                                              “significantly reduce” a substantial risk of severe pain. Id.
The Eighth Amendment prohibits “cruel and unusual                “As the Supreme Court made abundantly clear in Glossip
punishments.” U.S. Const. amend. VIII. The Supreme               itself, the burden rests with the claimant to ‘plead and
Court has repeatedly held the death penalty to be                prove’ both prongs of the test.” Brooks, 810 F.3d at 819.
constitutional. See Glossip, 135 S.Ct. at 2739. “[I]t
necessarily follows that there must be a constitutional          Critical to this case, Glossip involved the same three-drug
means of carrying it out.” Id. at 2732–33 (alterations           protocol that the ADOC will use in Arthur's execution.



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135 S.Ct. at 2734–35. In Glossip, the Supreme Court            alternative, Brooks was unlikely to establish that it was
concluded, inter alia, that the petitioner had not “proved     “materially safer than a protocol that is identical to one
that any risk posed by midazolam is substantial when           approved by the Supreme Court.” Id. at 822 (citing
compared to known and available alternative methods            Glossip, 135 S.Ct. at 2734–35).
of execution.” Id. at 2737–38. The Supreme Court later
repeated that the petitioners had not satisfied their burden    [4] Viewing these precedents together, we conclude that
of establishing that any risk of harm was substantial when     Glossip's “known and available” alternative test requires
compared to a known and available alternative method of        that a petitioner must prove that (1) the State actually
execution. Id. at 2738–39.                                     has access to the alternative; (2) the State is able to carry
                                                               out the alternative method of execution relatively easily
                                                               and reasonably quickly; and (3) the requested alternative
B. Feasible, Readily Implemented, and Significantly Safer      would “in fact significantly reduce [ ] a substantial risk
While the Supreme Court in Glossip did not explicitly          of severe pain” relative to the State's intended method of
define “feasible,” “readily implemented,” *1300 or             execution. Glossip, 135 S.Ct. at 2737; Brooks, 810 F.3d at
“known and available,” it upheld a factual finding             819–23.
that both sodium thiopental and pentobarbital were
unavailable to Oklahoma by 2014 for use in executions          With this legal framework in mind, we now address each
where the state was unable to procure those drugs due to       of Arthur's arguments on appeal in turn.
supplier problems. Glossip, 135 S.Ct. at 2733–34, 2738.

And earlier in 2016, in another Alabama-execution case,
this Court rejected an inmate's claim that the exact                         XIV. PENTOBARBITAL IS
same alternatives that Arthur proposes here—namely,                         NOT AVAILABLE TO ADOC

single-drug protocols of either pentobarbital 18 or sodium     Arthur claims that the district court erred in finding that
thiopental—were alternatives “available to the ADOC            he had not carried his burden to show that pentobarbital
that significantly reduce the risk of an unconstitutional      is a feasible and readily implemented alternative *1301
level of pain.” Brooks, 810 F.3d at 819. 19 This Court         method of execution available to the ADOC. 20
concluded that (1) “the fact that the drug [pentobarbital]
was available in those states at some point over the past      The standard of review and burden of persuasion are
two years does not, without more, make it likely that it       critical to the resolution of this case. The Supreme
is available to Alabama now”; and (2) Brooks had not           Court has made unequivocally clear that, in method-
shown that “there is now a source for pentobarbital that       of-execution challenges, (1) the district court's factual
would sell it to the ADOC for use in executions.” Id. at       findings are reviewed under a deferential clear error
819–20.                                                        standard, and (2) the petitioner-inmate bears the burden
                                                               of persuasion. Glossip, 135 S.Ct. at 2739. This includes the
In that same Alabama-execution case, this Court                requirement that a plaintiff inmate must “plead and prove
determined that petitioner Brooks had not shown that           a known and available alternative.” Id. at 2738, 2739.
sodium thiopental was available. Id. at 820–21. Brooks
had relied on certain news articles that other states          In Glossip, the Supreme Court considered a challenge
had been able to obtain the drug, but these sources            to the identical lethal injection protocol at issue in this
actually undermined his claim that the ADOC “could             case—midazolam, followed by a bromide-based paralytic,
readily import sodium thiopental.” Id. As to Brooks's          followed by potassium chloride. Id. at 2734–35. The
request for a single-drug midazolam protocol, this Court       dosage of midazolam is the same here as in Glossip: 500
noted that Brooks had conceded that a midazolam-               milligrams. Id. at 2740. The Glossip plaintiffs brought
only protocol had never been used in an execution, and         a § 1983 action alleging that this protocol, particularly
his concession “deeply undercut his claim that it is a         midazolam, created an unacceptable risk of severe pain
known, readily implementable, and materially safer lethal      and sought a preliminary injunction. Id. at 2731.
injection alternative.” Id. at 821–22. And given the dearth
of evidence presented on the safety of this untested



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The Supreme Court in Glossip affirmed the district court's     that “there is now a source for pentobarbital that would
denial of relief for two reasons. First, it held that the      sell it to the ADOC for use in executions.” Brooks, 810
plaintiffs had not identified a “known and available           F.3d at 820 (emphases added).
alternative method of execution that entails a lesser risk
of pain, a requirement of all Eighth Amendment method-         To adopt Arthur's definition of “feasible” and “readily
of-execution claims.” Id. (emphasis added). Second, it         implemented” would cut the Supreme Court's directives
determined that the district court did not clearly err         in Baze and Glossip off at the knees. As this Court
in finding that the prisoners failed to establish that         explained in Brooks, a petitioner must show that “there
Oklahoma's use of a large dose of midazolam in its             is now a source for pentobarbital that would sell it to the
execution protocol entailed “a substantial risk of severe      ADOC for use in executions.” 810 F.3d at 820 (emphases
pain.” Id. We follow the Supreme Court's lead and address      added). This Arthur patently did not do. Arthur's own
the requirements of the Baze/Glossip test in that order:       expert witness, Dr. Zentner, could not even identify any
(1) proof of known and available alternatives; (2) proof       pharmacies that had actually compounded an injectable
that 500 mg of midazolam will cause a substantial risk of      solution of compounded pentobarbital for executions or
severe pain and that known and available alternatives will     were willing to do so for the ADOC. And when ADOC
“significantly reduce” that substantial risk of severe pain.   attorney Hill actually asked the pharmacies identified
                                                               by Dr. Zentner if they would be willing to compound
 [5] Here, the district court's factual finding that           pentobarbital for the ADOC, they all refused. What's
pentobarbital was not available to the ADOC for                more, Hill contacted no less than 29 potential sources
use in executions was not clearly erroneous. On the            for compounded pentobarbital—including numerous
contrary, substantial record evidence supports that            pharmacies and four states' departments of corrections.
finding, including (1) Arthur's own concession that            All of these efforts were unsuccessful.
the ADOC's supply of commercially manufactured
pentobarbital expired in November 2013; (2) Dr. Zentner's       [6] And while four states had recently used compounded
inability to point to any source willing to compound           pentobarbital in their own execution procedures, the
pentobarbital for the ADOC; and (3) ADOC lawyer Hill's         evidence demonstrated that none were willing to give the
testimony that, despite contacting 29 potential sources for    drug to the ADOC or name their source. As we have
compounded pentobarbital (including the departments of         explained, “the fact that the drug was available in those
corrections of four states and all of the compounding          states at some point ... does not, without more, make it
pharmacies on Dr. Zentner's list), she was unable to           likely that it is available to Alabama now.” Brooks, 810
procure any compounded pentobarbital for the ADOC's            F.3d at 819. On this evidence, the district court did not
use in executions.                                             clearly err in determining that Arthur failed to carry his
                                                               burden to show compounded pentobarbital is a known
Arthur would have us hold that if a drug is capable            and available alternative to the ADOC. An alternative
of being made and/or in use by other entities, then            drug that its manufacturer or compounding pharmacies
it is “available” to the ADOC. Arthur stresses that:           refuse to supply for lethal injection “is no drug at all for
(1) pharmacies throughout Alabama are theoretically            Baze purposes.” Chavez v. Florida SP Warden, 742 F.3d
capable of compounding the drug; (2) the active ingredient     1267, 1275 (11th Cir. 2014) (Carnes, C.J., concurring).
for compounded pentobarbital (pentobarbital sodium)
is generally available for sale in the United States;           [7] Arthur also argues that the ADOC did not make
and (3) four other states were able to procure and             a “good faith effort” to obtain pentobarbital. Glossip
use compounded pentobarbital *1302 to carry out                did not impose *1303 such a requirement on the
executions in 2015. 21                                         ADOC. In Glossip, the Supreme Court upheld the district
                                                               court's factual finding that the proposed alternative drugs
We expressly hold that the fact that other states in the       were not “available.” See Glossip, 135 S.Ct. at 2738.
past have procured a compounded drug and pharmacies            It continued, “[o]n the contrary, the record shows that
in Alabama have the skills to compound the drug does not       Oklahoma has been unable to procure those drugs despite
make it available to the ADOC for use in lethal injections     a good-faith effort to do so.” Id. Nothing in Glossip
in executions. The evidentiary burden on Arthur is to show     changed the fact that it is not the state's burden to plead



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and prove “that it cannot acquire the drug.” Brooks, 810          difficult burden” given the Supreme Court's approval
F.3d at 820.  22
                  The State need not make any showing             of the exact same protocol in Glossip); Chavez, 742
because it is Arthur's burden, not the State's, to plead and      F.3d at 1269 *1304 (affirming the dismissal of Eighth
prove both a known and available alternative method of            Amendment challenge to Florida's nearly identical lethal
execution and that such alternative method significantly          injection protocol that uses 500 mg of midazolam as the
reduces a substantial risk of severe pain. Glossip, 135 S.Ct.     first drug).
at 2737, 2739.
                                                                  Indeed, in Glossip, the Supreme Court emphasized that
As an alternative, independent reason for affirmance, we          midazolam has been repeatedly and successfully used
also conclude that even if Glossip somehow imposes a              without problems as the first drug in the three-drug
good-faith effort on the State, the ADOC made such                lethal injection protocol. 135 S.Ct. at 2734, 2740–46.
an effort here by contacting 29 potential sources for the         The Supreme Court observed that, in October 2013,
drug, including four other departments of correction and          Florida became the first state to substitute midazolam
multiple compounding pharmacies.                                  for pentobarbital as part of a three-drug protocol. Id.
                                                                  at 2734. The Supreme Court stressed that, at the time
Under these record facts, we cannot fault at all the district     that it decided Glossip in June 2015, Florida had
court's finding that the procurement of compounded                conducted 11 executions using this lethal injection protocol
pentobarbital was not “feasible and readily implemented           (with midazolam as the first drug). Id. (citing Brief for
as an execution drug in Alabama, nor [was] it readily             State of Florida as Amicus Curiae 2–3 and Chavez,
available to the ADOC.”                                           742 F.3d at 1269). The Glossip Court noted that 12
                                                                  executions total (including the 11 from Florida and one
We also reject Arthur's argument that the district court's        from Oklahoma) had been conducted using this three-
ruling was a “nullification” of his Eighth Amendment              drug protocol “without any significant problems.” Id.
rights. The district court even waited for Glossip to be          at 2734, 2746. Since then, Florida has executed two
decided and then followed Glossip's requirement that the          additional inmates under that protocol. See Execution
inmate must show that the risk of severe pain from the            List: 1976—present, FLA. DEP'T OF CORR., http://
chosen method is substantial “when compared to the                www.dc.state.fl.us/oth/deathrow/execlist.html (providing
known and available alternatives.” Glossip, 135 S.Ct. at          the list of executed Florida inmates); Execution by Lethal
2737 (emphasis added). As we discussed above, Arthur did          Injection Procedures, FLA. DEP'T OF CORR. (Jan.
not show that his alternative was “known and available,”          9, 2015), http://www.dc.state.fl.us/oth/deathrow/lethal-
much less (as discussed more later) that his suggested            injection-procedures-as-of_01-09-15.pdf          (describing
alternative “significantly reduce[d]” a substantial risk of       Florida's current lethal injection protocol).
severe pain. See id.
                                                                  Arthur has failed to show not only that compounded
 [8] As for the alleged risk of severe pain in Alabama's          pentobarbital is an available alternative to the ADOC but
current protocol, “it is difficult to regard a practice as        also that ADOC's protocol creates a substantial risk of
‘objectively intolerable’ when it is in fact widely tolerated.”   severe pain when compared to available alternatives. See
Baze, 553 U.S. at 53, 128 S.Ct. at 1532. Both this Court          Glossip, 135 S.Ct. at 2737.
and the Supreme Court have upheld the midazolam-based
execution protocol that Arthur challenges here. Glossip,          For all of these reasons, we affirm the district court's
135 S.Ct. at 2739–40 (noting that “numerous courts have           determination that the ADOC was entitled to judgment
concluded that the use of midazolam as the first drug             on Arthur's facial Eighth Amendment challenge.
in a three-drug protocol is likely to render an inmate
insensate to pain that might result from administration of
the paralytic agent and potassium chloride.”); Brooks, 810                       XV. DISCOVERY CLAIM
F.3d at 818, 819 (concluding that petitioner Brooks had
not established a substantial likelihood that Alabama's            [9] Before leaving pentobarbital, we address one more
lethal injection protocol creates a “demonstrated risk of         claim Arthur raises about that drug. Arthur argues that
severe pain,” and noting that this was “an especially             the district court abused its discretion in limiting his



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discovery regarding primarily the ADOC's knowledge of           the controversial nature of the death penalty, it is not
and efforts to obtain compounded pentobarbital as an            surprising that parties who might supply these drugs are
alternative method of execution. We review the district         reluctant to have their names disclosed.
court's discovery decisions for abuse of discretion. Burger
King Corp. v. Weaver, 169 F.3d 1310, 1315 (11th Cir.            Considering the district court's broad discretion, we
1999); Sanderlin v. Seminole Tribe of Fla., 243 F.3d 1282,      cannot say its decision about discovery resulted in
1285 (11th Cir. 2001) (explaining that this Court reviews a     “substantial harm” to Arthur's case. See Bradley, 556 F.3d
district court's denial of a motion to compel discovery for     at 1229.
abuse of discretion). As we have explained:
                                                                On appeal, Arthur argues that “if discovery revealed” that
            A district court has wide discretion                ADOC did not pursue certain sources, or “if discovery
            in discovery matters and our review                 revealed” that negotiations broke down over prices, it
            is “accordingly deferential.” A court               would impact his claim. He worries that, without access
            abuses its discretion if it makes                   to this discovery, the ADOC “could have presented self-
            a “clear error of judgment” or                      serving representations.” All of this is pure speculation.
            applies an incorrect legal standard.                Arthur never deposed or questioned even the prospective
            Moreover, a district court's denial                 suppliers that his own expert identified about whether they
            of additional discovery must result                 would provide compounded pentobarbital to the ADOC.
            in substantial harm to a party's case               Arthur has given us no reason to think that the ADOC lied
            in order to establish an abuse of                   or presented false evidence either during discovery or at
            discretion.                                         trial and, indeed, the district court noted that the ADOC
                                                                had claimed to produce everything of relevance. Under
Bradley v. King, 556 F.3d 1225, 1229 (11th Cir. 2009)
                                                                these circumstances, we cannot say that the district court
(citations omitted).
                                                                abused its discretion in denying the discovery sought by
                                                                Arthur.
 [10] Here, the district court did not disallow all discovery
about pentobarbital but did restrict the scope of some
additional discovery. For example, the district court
allowed additional discovery as to the “availability            XVI. AS–APPLIED EIGHTH AMENDMENT CLAIM
or unavailability of pentobarbital or compounded
pentobarbital” to the ADOC, including a general                  [11]    [12] Because Arthur's facial Eighth Amendment
description of the State's “efforts to obtain pentobarbital,    claim so readily fails, Arthur turns his focus in this appeal
including whether the pentobarbital was *1305 obtained          to his “as-applied” Eighth Amendment claim. We explain
and, if not, the reasons why it could not be obtained.” This    why the district court did not err in granting summary
information was precisely what Arthur needed to prove           judgment on Arthur's “as-applied” claim. 23
his Eighth Amendment claim.
                                                                The first hurdle for Arthur is that the pleading burden
Accordingly, during ADOC lawyer Hill's November                 and standard of proof set forth in Baze and Glossip
2015 deposition and again at the January 2016 trial,            apply to both facial and as-applied Eighth Amendment
Arthur questioned Hill about the ADOC's attempts to             method-of-execution claims. See Gissendaner v. Comm'r,
obtain compounded pentobarbital. According to Hill,             Ga. Dep't of Corr., 803 F.3d 565, 569 (11th Cir.), cert.
although she repeatedly attempted to obtain compounded          denied sub nom. Gissendaner v. Bryson, ––– U.S. ––––,
pentobarbital from various sources, including the 18            136 S.Ct. 26, 192 L.Ed.2d 996 (2015) (“[T]here is no
pharmacies identified by Arthur's expert witness, all of her    logical reason why there should be a readily available
attempts were unsuccessful.                                     alternative requirement in facial challenges to lethal
                                                                injection protocols but not to as-applied challenges to
Arthur complains that the district court did not require        them.”); see id. at 568–69 (holding that a Georgia death-
the ADOC to disclose the names of the drug suppliers            row inmate *1306 had failed to adequately allege that
who talked to the ADOC about pentobarbital during the           there was a substantial risk to her personally because the
ADOC's efforts to procure the drug for executions. Given


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state had improperly stored the particular drug to be used   821–22 (concluding that the petitioner had not met his
at her execution).                                           burden of showing that a midazolam-only protocol was a
                                                             “feasible, readily implementable, and significantly safer”
Thus, Arthur had the burden to present evidence              method of execution where such a protocol had never been
sufficient to create a genuine issue of disputed material    used).
fact as to whether midazolam creates a substantial
risk of severe pain as applied to him uniquely “when         Arthur's proposed modified protocol also includes
compared to the known and available alternatives” for his    extensive monitoring with multiple pieces of sophisticated
execution as applied to him. Glossip, 135 S.Ct. at 2737;     medical equipment, the use of additional “medication”
Gissendaner, 803 F.3d at 568–69. This he did not do. We      and IV fluids, and the attendance of a “trained
address Arthur's proposed alternatives and then Arthur's     professional.” Arthur's March 8, 2016, letter to the
allegation that midazolam will affect him differently and    ADOC's attorneys requested that a “trained professional”
uniquely from other inmates by causing him to experience     use an electroencephalogram, an electrocardiogram
the pain of a heart attack a few minutes before being        (“EKG”), and a bispectral index monitor “and/or
rendered unconscious.                                        other appropriate methods” *1307 to monitor Arthur
                                                             throughout the execution. Arthur also requested the
                                                             availability of “other medication to prevent cardiac
A. As–Applied Alternatives                                   complications.”
 [13] As to the alternative-method requirement for his as-
applied claim, Arthur has not established, as explained      Dr. Strader echoed that, “[i]n the clinical setting,
above, that a one-drug protocol consisting of compounded     continuous EKG monitoring, continuous pulse oximetry
pentobarbital (or, for that matter, a one-drug protocol      monitoring ... and frequent blood pressure monitoring
consisting of sodium thiopental) is a “known and             (every one to two minutes) are common.” As to the
available” alternative to the ADOC at this time for any      additional medication and fluids, Dr. Strader stated that,
inmate, much less as to Arthur on November 3, 2016.          “[i]n clinical practice,” if a patient is in danger of a heart
That leaves only his proposed alternative of material and    attack, “pressors” or “agents to increase blood pressure
extensive modifications to Alabama's current protocol,       are typically given, such as intravenous phenylephrine
which Arthur suggests will reduce “to some extent” but       (Neosynephrine) or intravenous dopamine.” In addition,
not eliminate the risk of his having a heart attack. 24      “in clinical practice, the opioid fentanyl is often
                                                             administered with midazolam, and the drug romazicon
Arthur's proposed modified protocol has many                 may be used to reverse midazolam's effects.”
components, starting with the administration of
midazolam gradually. In his fourth declaration, Dr.          Again, Arthur's proposed modified protocol is light
Strader opined that administration of midazolam at           on specifics. Other than Dr. Strader's assertion that
a rate “closer to that used in clinical practice—i.e.,       the “trained professional” need not hold a medical
0.5 mg to 2 mg at a time, repeated every two to              degree, Arthur does not posit what training, or how
four minutes” would reduce the risk of a precipitous         much training, this professional must have, who this
drop in blood pressure. Dr. Strader's fourth declaration     person might be or where the ADOC might find them
does not state how long these small dosages should be        to participate in an execution within a prison setting.
administered to the inmate, what the intended effect         Arthur does not explain how the addition of five
would be, how to gauge when that intended effect would       separate monitoring machines and/or procedures would
be reached, at what point unconsciousness would be           be incorporated into the ADOC's current protocol. Arthur
reached in gradual administration, or at what point the      does not state what sort of anomaly in that monitoring
second and third drugs should be administered. Arthur        would require action by the trained professional, nor what
concedes, as he must, that a gradual administration          those actions would include.
of midazolam has not previously ever been used in a
lethal-injection execution, which alone suggests Arthur's    While Dr. Strader stated that “changes in EKG
difficulty in proving that a gradual administration is a     monitoring” indicating the onset of a heart attack could
significantly safer alternative. See Brooks, 810 F.3d at     lead to the administration of pressors, he does not state



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what sort of “changes” would require this, the amount             In any event, we need not rely on the lack of specifics
of pressors to be given, or in what order in relation to          because Arthur has not shown that his proposed modified
the rest of the lethal injection protocol they should be          protocol will “significantly reduce” any “substantial risk
administered. Arthur does not suggest at what dosage the          of severe pain” or is constitutionally required. 26 See
trained professional would administer the opioid fentanyl         Glossip, 135 S.Ct. at 2737. If anything, the vastly reduced
or the drug romazicon to the inmate or under what factual         levels of midazolam seem more complicated and designed
circumstances those drugs should be administered and for          to prolong the execution proceeding itself, which may
how long. Arthur also has presented no evidence that              create more, not less, risk of error.
suppliers would provide these medicines, such as fentanyl,
to the ADOC for use in executions.                                Thus, the district court did not err in concluding that
                                                                  there was no genuine dispute of material fact as to
More importantly, though, is that Arthur admitted in a            whether Arthur could meet his burden of proof to
letter to the ADOC's counsel that his proposed modified           show that his proposed material and extensive changes
protocol “may reduce to some extent the likelihood                to the midazolam protocol would be a known and
of Mr. Arthur suffering the pain of a heart attack                available alternative that would “significantly reduce a
during administration of the protocol, although it would          substantial risk of severe pain.” Without a proper showing
not ameliorate those risks entirely.” (emphases added).           on this alternative-method prong, Arthur's as-applied
Glossip cautions us that prisoners cannot successfully            Eighth Amendment claim is without merit and this alone
challenge a method of execution “ ‘merely by showing              warranted the district court's grant of summary judgment.
a slightly or marginally safer alternative.’ ” 135 S.Ct.          However, because the district court went on to address the
at 2737 (quoting Baze, 553 U.S. at 51, 128 S.Ct. at               substantial-risk-of-severe-pain prong of the Baze/Glossip
1531). But a “marginally safer” alternative is, at best,          test, and Arthur's arguments on appeal focus on this
all that Arthur has suggested. It is not enough to meet           portion of the district court's order, we too will consider
his burden under Glossip and Baze. See Baze, 553 U.S.             that issue.
at 56–57, 128 S.Ct. at 1534–35 (rejecting the petitioners'
proposed alternative method of execution where there
was no evidence demonstrating that it was an “equally             B. As–Applied Substantial Risk of Severe Pain
effective manner” of death than the three-drug protocol            [14] To be clear, because, in his as-applied claim, Arthur
used in Kentucky); Brooks, 810 F.3d at 821–22 (holding            has not carried his burden to show a known and available
that, given the lack of available evidence regarding a            alternative, we need not reach his claim that the ADOC's
midazolam-only lethal injection protocol, Brooks was              use of 500 mg of midazolam *1309 will cause him
unlikely to establish “that a heretofore untested lethal          uniquely to suffer a heart attack a few minutes before
injection protocol ... is materially safer than a protocol that   full sedation. But we do so because it is so apparent that
is identical to one approved by the Supreme Court [in             Arthur's as-applied claim fails on that separate prong too.
Glossip.]”).                                                      Indeed, Arthur failed to present any admissible evidence
                                                                  that 500 mg of midazolam, as applied to him, will cause
Alternatively, we agree with the district court that Arthur       a heart attack before full sedation. Dr. Strader is Arthur's
has not introduced any *1308 evidence of sufficient               only expert witness on this as-applied issue. And the
specifics to make his proposed modified protocol a viable         district court excluded this time-gap part of his opinion
and feasible alternative method of execution that the             testimony under Daubert.
ADOC could “readily implement” for his execution on
November 3, 2016. Arthur argues that he could not                  [15] [16] [17] [18] We review a district court's decision
provide more specifics because doctors are prohibited             to exclude expert testimony under Daubert for an abuse
from participating in lethal injections. 25 This seems            of discretion. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142–
contradicted by Dr. Strader's testimony, which outlines           43, 118 S.Ct. 512, 517, 139 L.Ed.2d 508 (1997). Under this
the broad components of Arthur's proposal, albeit                 standard, this Court defers to the district court's ruling
without many of the specifics necessary to implement it.          unless it is manifestly erroneous. Quiet Tech. DC–8, Inc.
                                                                  v. Hurel–Dubois UK Ltd., 326 F.3d 1333, 1340 (11th
                                                                  Cir. 2003). This deferential standard is not relaxed even



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though a Daubert ruling may be outcome determinative.            Dr. Strader's opinion was based on at least five underlying
Kilpatrick v. Breg, Inc., 613 F.3d 1329, 1334–35 (11th Cir.      ingredients in his methodology mix: (1) Arthur actually
2010). In addition, the party offering the expert has the        has, or is “highly likely” to have, a clinically significant
burden of proving the admissibility of the testimony by a        case of CAD; (2) a 500–mg dose of midazolam will result
preponderance of the evidence. Id.                               in a precipitous and dangerous blood pressure drop in
                                                                 Arthur; (3) that blood pressure drop will in turn trigger a
Federal Rule of Evidence 702 governs the admission of            heart attack in Arthur; (4) the sedative effects of a 500–
expert testimony in federal court and provides that:             mg dose of midazolam will take longer than both this
                                                                 hemodynamic effect and the heart attack to occur; and
  A witness who is qualified as an expert by knowledge,          (5) due to this time gap, *1310 Arthur is “likely” to
  skill, experience, training, or education may testify in       feel the pain of the heart attack for a few minutes before
  the form of an opinion or otherwise if:                        he is rendered fully unconscious. The district court, in
                                                                 effect, concluded that each of these steps in Dr. Strader's
  (a) the expert's scientific, technical, or other specialized
                                                                 methodology were speculative and not reliable. Without
  knowledge will help the trier of fact to understand the
                                                                 even one of these steps, Dr. Strader's opinion folds like
  evidence or to determine a fact in issue;
                                                                 a house of cards. We explain why the district court did
  (b) the testimony is based on sufficient facts or data;        not abuse its discretion in concluding that Dr. Strader's
                                                                 methodology was unreliable and in excluding his time-gap
  (c) the testimony is the product of reliable principles and    opinion.
  methods; and
                                                                 First, we address Dr. Strader's medical opinion that
  (d) the expert has reliably applied the principles and         Arthur “likely” has CAD. It is undisputed that (1) no
  methods to the facts of the case.                              doctor has ever actually diagnosed Arthur with CAD; and
                                                                 (2) Dr. Strader himself has never examined Arthur, talked
Fed. R. Evid. 702.
                                                                 to Arthur's treating physicians, or done anything more
Applying these principles, this Court has held that, to be       than review the medical records given to him. Further,
admissible, three requirements must be met:                      Arthur's medical records nowhere state that Arthur has
                                                                 ever had a heart attack, has ever been diagnosed with a
            First, the expert must be qualified                  heart attack, or has ever had a procedure performed to
            to testify competently regarding                     assess whether Arthur has any blockage in his arteries or
            the matter he or she intends to                      at what level.
            address. Second, the methodology
            used must be reliable as determined                  The most the medical records say is that Arthur had
            by a Daubert inquiry. Third, the                     “abnormal” EKGs in 1999 and 2009, twice had atrial
            testimony must assist the trier of                   fibrillation (during his 2004 abdominal surgery and his
            fact through the application of                      2009 EKG), and had a normal echocardiogram in 2004.
            expertise to understand the evidence                 There is no description of what was “abnormal” in the
            or determine a fact in issue.                        EKGs. Arthur did visit the prison clinic on two occasions
                                                                 complaining of being short of breath, dizzy, sweaty, and/
Kilpatrick, 613 F.3d at 1335.                                    or having chest pains. But these two visits (in 1999 and
                                                                 2009) were ten years apart, and Arthur has never requested
 [19] Dr. Strader is a qualified cardiologist and competent      any medical treatment from a cardiologist.
to testify as such. But Dr. Strader's opinion testimony
hinged on the existence of a measurable time gap between         In fact, Dr. Strader relies primarily on Arthur's age,
the hemodynamic and sedative effects of a 500–mg                 hypertension, atrial fibrillation, and “symptoms of
dose of midazolam on patients with CAD. The district             recurrent chest pain” as merely “risk factors” for coronary
court's Daubert exclusion was based on Dr. Strader's             heart disease, as opposed to the missing diagnosis of
methodology being speculative and unreliable.                    coronary heart disease. The State argues that it was not
                                                                 an abuse of discretion for the district court to find Dr.



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Strader's opinion—that it was “highly likely” that Arthur      attack will occur “immediately” after the drop in blood
suffers from CAD—“borders on being speculative and             pressure, which he testified happens in one to two minutes
unreliable.” The State asserts that a “likelihood” is not      with small clinical doses of midazolam. Dr. Strader's time
evidence that Arthur actually suffers from an obstructive      gap is imprecise and even, under one reading of his own
coronary heart condition.                                      testimony, it may take two minutes for the blood pressure
                                                               to drop but the sedation may occur in three minutes,
We need not resolve the CAD debate because the                 leaving one minute for the heart attack to start before
district court did not abuse its discretion in concluding      sedation. The district court did not abuse its discretion in
Dr. Strader's time-gap theory was speculative and not          concluding this time-gap part of Dr. Strader's testimony
reliable. We will assume that Arthur likely has CAD and        was speculative and unreliable.
examine the next steps in Dr. Strader's methodology. Dr.
Strader offered the opinion that “[w]hen midazolam is          Here, Dr. Strader admitted he had used midazolam only
administered in doses larger than those administered in        for sedation, an entirely different goal than what the
clinical practice, including the 500 mg dose directed by       ADOC uses it for: anesthesia. And sedation, as Dr. Kaye
the ADOC protocol, it is highly likely that” the drug          testified, is different from anesthesia—it is a lighter form
will cause a rapid drop in blood pressure and that this        of unconsciousness. Dr. Strader is not an anesthesiologist.
drop will in turn “immediate[ly]” cause a heart attack in      While Dr. Strader testified that he was aware that
Arthur. Dr. Strader's basis for his opinion about what will    midazolam was approved for use in “anesthesia,” and he
happen upon administration of a 500–mg bolus dose of           “thinks some anesthesiologists use it for that purpose,”
midazolam is based solely on his clinical experience with      Dr. Strader did not have “any direct knowledge of what
dosages of 2–5 mg of midazolam that he has used to sedate      they do.” The midazolam package insert corroborates this
his own cardiac patients into a deep, but arousable, sleep     difference between sedation and anesthesia, noting that
for invasive cardiac procedures. Dr. Strader admitted that     while “sedation” may take 3–5 minutes, use of midazolam
he had no experience with a 500–mg dose of midazolam, or       as an anesthetic induction agent can take as little as
any dose larger than 20 mg. See Glossip, 135 S.Ct. at 2742     2 minutes without narcotic premedication. 27 Even Dr.
(stating that “[t]he effect of a small dose of midazolam       Strader acknowledges it can take up to two minutes for
has minimal probative value about the effect of a 500–         the blood pressure drop to occur, with the heart attack
milligram dose.”).                                             beginning thereafter.

In his deposition, Dr. Strader conceded that the medical       Moreover, it is uncontroverted that midazolam's sedative
literature that he relied upon did not address such large      or anesthetic effect is dose-dependent, meaning that the
doses of midazolam nor did it expressly state that *1311       effects of midazolam are stronger and occur more quickly
midazolam should not be used on patients with CAD.             with an increase in the dosage. Dr. Strader could not
Indeed, Dr. Strader admitted that he uses midazolam            give an opinion about how long it would take a person
“in patients with coronary disease all the time in routine     to be rendered unconscious after being given a 500 mg
clinical practice.” Dr. Strader testified that he has only     dose of midazolam because that is “outside [his] realm of
observed about 24 patients (some his cardiac patients and      practice.”
some not) who were sedated with midazolam suffer a heart
attack. If compared to the approximately 3,500 invasive        As to his time gap estimate, Dr. Strader only extrapolated
cardiac procedures that Dr. Strader has performed, that        from his clinical practice of 2–5 mg of midazolam as
works out to less than 1% of all his cardiac patients.         to the onset of both the sedative and hemodynamic
                                                               effects of 500 mg of midazolam. Arthur is correct that,
Nonetheless, we will assume that Arthur likely has CAD         in certain situations, opinions based on extrapolations
and 500 mg of midazolam will cause Arthur “likely” to          from available data are permissible. Glossip, 135 S.Ct.
have a drop in blood pressure and then suffer a heart          at 2740, 2741 (explaining that “because a 500-milligram
attack. The most critical, but most speculative, part of       dose is never administered for a therapeutic purpose,
Dr. Strader's opinion is his time-gap theory. According        extrapolation was *1312 reasonable.”). But merely
to Dr. Strader's best guess, a 500–mg dose of midazolam        because extrapolation may be reasonable in some
could cause sedation in three to five minutes, but the heart



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circumstances, does not mean that all extrapolated             has not met his burden to show a known and available
opinions are reliable.                                         alternative method of execution (for him with his health
                                                               concerns) that “significantly reduce[s]” a substantial risk
Simply put, Dr. Strader presented only speculative             of severe pain in Arthur. See id. (internal quotation marks
evidence regarding the first number in his attempt at a        omitted).
time-gap measurement. Indeed, when asked how long
it would take to render a patient unconscious using
a 500–mg dose of midazolam, he was never able to
                                                                      XVII. EQUAL PROTECTION CLAIM
provide an answer, acknowledging that this was “outside
                                                                    ABOUT CONSCIOUSNESS ASSESSMENT
[his] realm of practice.” The problem for Arthur is
not that Dr. Strader engaged in extrapolation, it is            [20] Arthur argues that the district court erroneously
that Dr. Strader did not have sufficient information to        applied Eighth Amendment law from Baze and Glossip
extrapolate from. In other words, while an opinion based       to his distinct Fourteenth Amendment Equal Protection
on extrapolation is allowed, there must be some basis for      claim. Arthur claims that members of the ADOC's
that extrapolation. While experts “commonly extrapolate        execution team (1) did not perform the consciousness
from existing data ... nothing in either Daubert or the        assessment properly; and (2) were not medically or
Federal Rules of Evidence requires a district court to         adequately trained on the consciousness assessment,
admit opinion evidence that is connected to existing data      which requires they pinch inmates with enough force
only by the ipse dixit of the expert.” Joiner, 522 U.S. at     to “gauge anesthetic depth.” Arthur contends that, if
146, 118 S.Ct. at 519. Rather, the district court is allowed   Alabama is to use a consciousness assessment as part of
to “conclude that there is simply too great an analytical      its execution protocol, the assessment should be performed
gap between the data and the opinion proffered.” Id.           adequately.

When carefully analyzed, it is apparent that the               At trial, the parties presented conflicting evidence as
methodology Dr. Strader used to reach his opinion              to whether the ADOC execution *1313 team had
regarding the time “gap” between the hemodynamic and           adequately performed the consciousness assessment at
sedative effects of midazolam was not reliable, nor was        past executions. The district court made a factual finding
Dr. Strader qualified to testify competently as to these       that the testimony from ADOC's witnesses were to be
matters. See Kilpatrick, 613 F.3d at 1335. Thus, the           afforded more weight and, accordingly, it found that
district court did not abuse its discretion in ruling that     the assessment had been adequately performed “in every
Dr. Strader's ultimate opinion that Arthur was likely          instance” based on ample evidence. The district court's
to suffer a heart attack upon administration of 500–mg
                                                               findings were not clearly erroneous. 28
of midazolam before being rendered unconscious was
speculative, inadmissible under Daubert, and insufficient
                                                               Relying on language from Baze and Glossip, the district
to meet Arthur's burden.
                                                               court also determined that the Eighth Amendment does
                                                               not require that “sophisticated” medical training and
Without Dr. Strader's opinion, Arthur had no evidence
                                                               standards be employed in a consciousness assessment
whatsoever to meet his burden of demonstrating that, as
                                                               during an execution. Summing up, the district court wrote
applied to him, Alabama's current lethal injection protocol
                                                               that:
was “sure or very likely to cause serious illness and
needless suffering, and give rise to sufficiently imminent                 Arthur's attempt to apply a medical
dangers.” Glossip, 135 S.Ct. at 2737 (emphasis and                         standard of care to execution
internal quotation marks omitted). Thus, there was no                      procedures and training for them,
genuine dispute of material fact on this “as-applied”                      in this case, procedures that are not
claim, and the district court properly granted summary                     required by the Eighth Amendment,
judgment for the ADOC.                                                     does not state a plausible equal
                                                                           protection claim. This principle
But even if Dr. Strader's opinion as to the time gap should                is applicable to Arthur's Equal
have been admitted, it does not change the fact that Arthur                Protection claim challenging the



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            “adequacy” of the consciousness                     substitute for the more sophisticated procedures they
            assessment and the training therefor,               envision.” Id. The Supreme Court rejected the petitioners'
            including the force used in the pinch               argument, writing that “these supplementary procedures,
            test.                                               drawn from a different context, are [not] necessary to
                                                                avoid a substantial risk of suffering.” Id. at 60, 128 S.Ct.
The district court did not err in rejecting the training        at 1536.
portion of Arthur's Equal Protection claim. Arthur's
arguments ignore the district court's explicit factual          And in Glossip, the Supreme Court pointed to its
finding that “the consciousness assessment has been             conclusion in Baze that “although the medical standard
adequately performed in every instance in which it was          of care might require the use of a blood pressure cuff
required, [and] no deficiency in training, practice, or         and an [EKG] during surgeries, this does not mean
procedure is found,” which led to the court's conclusion        those procedures are required for an execution to pass
of law that the ADOC had not “otherwise deviated                Eighth Amendment scrutiny.” 135 S.Ct. at 2742. Thus,
substantially from its execution protocol.” (Emphasis           the Glossip Court concluded, “the fact that a low dose
added).                                                         of midazolam is not the best drug for maintaining
                                                                unconsciousness during surgery says little about whether
Moreover, we discern no error in the district court's           a 500–milligram dose of midazolam is constitutionally
application of Baze and Glossip to Arthur's Equal               adequate for purposes of conducting an execution.” Id.
Protection claim. As we previously explained in our
2012 opinion, the crux of Arthur's Equal Protection             We leave for another day the question of whether an
claim was whether “Alabama has substantially deviated           additional safeguard such as Alabama's consciousness
from its execution protocol in a manner that significantly      assessment is constitutionally required under the Eighth
reduces inmate safeguards” and whether this “reduction          Amendment. It is enough that the district court found that
in safeguards burdens his right to be free from cruel           Alabama does conduct the consciousness assessment as
and unusual punishment.” Arthur, 674 F.3d at 1263. The          part of its lethal injection protocol, and the Supreme Court
district court's conclusions regarding whether Alabama          has made clear that the safeguards implemented during
had substantially deviated from its execution protocol          an execution need not match a medical standard of care.
thus implicates Arthur's right to be free from cruel and        See Baze, 553 U.S. at 58–60, 128 S.Ct. at 1536; Glossip,
unusual punishment. As to this issue, the Equal Protection      135 S.Ct. at 2742. Thus, whether the execution team at
question necessarily intertwines with Eighth Amendment          Holman pinches inmates with the same level of force used
principles.                                                     during medical practice is not dispositive of this claim. In
                                                                other words, because a medical-grade pinch is not required
To satisfy Arthur, all ADOC execution team members              under the Constitution, there can be no Equal Protection
must pinch inmates with approximately identical force           claim that such a medical-grade pinch is not uniformly
and pinch as hard as they can because this is the standard      performed. Thus, the district court's rejection of Arthur's
used in a medical setting. But this is not what the             Equal Protection claim is due to be affirmed.
Constitution requires. In Baze, the petitioners faulted
Kentucky's protocol for lacking a system to monitor the
prisoner's anesthetic depth. 553 U.S. at 58–59, 128 S.Ct. at                XVIII. FIRING SQUAD CLAIM
1536. Although Kentucky had other safeguards in place,
including “visual inspection” by the warden and deputy          Arthur argues that the district court improperly denied
warden of whether the inmate was unconscious, the               him leave to amend his Second Amended Complaint
petitioners requested that “qualified personnel ... employ      to plead the firing squad as an alternative method of
monitoring equipment, such as a Bispectral Index (BIS)          execution. Arthur made this request in August 2015, four
monitor, blood pressure cuff, or EKG to verify that a           years after he filed this third § 1983 action back in 2011
prisoner has achieved sufficient unconsciousness before         and 13 years after Alabama adopted lethal injection as its
injecting the final two drugs.” Id. at 59, 128 S.Ct. at 1536.   method of execution.
The petitioners claimed that visual *1314 inspection
by the warden and deputy warden “is an inadequate



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 [21]   [22] The district court's operative order did not        [23] As an alternative and independent ground, even if
expressly state that its denial was based either on futility    Arthur had proved midazolam may likely cause him harm,
(as Arthur claims) or on prejudice and undue delay (as          which he has not done, Arthur's proposed amendment
the State contends), although it listed all of these as         failed to show that execution by firing squad is a feasible,
reasons that it could deny leave to amend under the             readily implemented, and significantly safer alternative
law. Instead, the district court concluded that “execution      method of execution when compared to Alabama's
by firing squad is not permitted by [Alabama] statute           planned lethal-injection method of execution that has been
and, therefore, is not a method of execution that could         repeatedly approved by the courts and successfully carried
be considered either feasible or readily implemented by         out in the past. See Glossip, 135 S.Ct. at 2734, 2740–46.
Alabama at this time.” Even under a de novo standard
of review, 29 we affirm the district court's denial of leave    Alabama's execution statute is Ala. Code § 15–18–82.1. By
to amend, but on *1315 multiple grounds, including              way of review, that statute allows all persons sentenced
futility, as Arthur never showed Alabama's current lethal       to death to choose between two methods of execution,
injection protocol, per se or as applied to him, violates the   providing that death sentences “shall be executed by
Constitution.                                                   lethal injection, unless the person sentenced to death
                                                                affirmatively elects to be executed by electrocution.”
Again, under controlling Supreme Court precedent,               Ala. Code § 15–18–82.1(a) (emphasis added). Only
Arthur had the burden to plead and prove both that (1)          if “electrocution or lethal injection is held to be
Alabama's current three-drug protocol is “sure or very          unconstitutional by the Alabama Supreme Court ... [or]
likely to cause serious illness and needless suffering, and     the United States Supreme Court ..., or if the United
give rise to sufficiently imminent dangers”; and (2) there      States Supreme Court declines to review any judgment
is an alternative method of execution that is feasible,         holding a method of execution to be unconstitutional ...
readily implemented, and in fact significantly reduces          made by the Alabama Supreme Court or the United States
the substantial risk of pain posed by the state's planned       Court of Appeals that has jurisdiction over Alabama”
method of execution. Glossip, 135 S.Ct. at 2737 (quoting        can the ADOC carry out Arthur's execution by “any
Baze, 553 U.S. at 50, 128 S.Ct. at 1520) (internal quotation    constitutional method of execution.” Id. § 15–18–82.1(c).
marks and emphasis omitted). Arthur has not satisfied           And, finally, “[i]n any case in which an execution method is
either prong.                                                   declared unconstitutional, the death sentence shall remain
                                                                in force until the sentence can be lawfully executed by any
Because Arthur did not satisfy the first prong as to            valid method of execution.” Id. § 15–18–82.1(h).
midazolam, that means his firing-squad claim fails in any
event. Indeed, as outlined in great detail above, Arthur        Arthur's main argument has three parts: (1) that under
has not carried his heavy burden to show that Alabama's         the Alabama statute, Alabama can execute him by “any
current three-drug protocol—which is the same as the            constitutional method of execution,” (2) that a firing
protocol in Glossip—is “sure or very likely to cause”            *1316 squad is still today a constitutionally valid method
Arthur serious illness, needless suffering, or a substantial    of execution, and (3) that Alabama cannot prevent him
risk of serious harm. See id. at 2737 (internal quotation       from electing to have a firing squad as his preferred
marks and emphasis omitted). The district court stayed          constitutional method. This claim misreads the text of the
Arthur's execution and then waited for Glossip to be            Alabama statute and Supreme Court case law and fails for
decided. Both the Supreme Court and this Court have             multiple reasons.
upheld the midazolam-based execution protocol that
Arthur challenges here. See Glossip, 135 S.Ct. at 2739–40;      First, it is undisputed that a firing squad is not a
Brooks, 810 F.3d at 818–19; Chavez, 742 F.3d at 1269,           currently valid or lawful method of execution in Alabama.
1273. And even as applied to Arthur individually, Arthur        Therefore, an Alabama state trial court would be without
did not present any admissible evidence or carry his            any authority to order Arthur to be executed by firing
burden to show that his execution under Alabama's lethal        squad, just as the ADOC would be without authority
injection protocol would cause him to suffer a substantial      to execute Arthur by that method, without the Alabama
risk of serious harm.                                           legislature fundamentally rewriting the state's method-
                                                                of-execution statute or one of the courts named in the



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statute already striking down as unconstitutional either        method of execution. But the state is not required to use
electrocution or lethal injection. But neither electrocution    Arthur's chosen method (the firing squad) unless Arthur
nor lethal injection has been declared unconstitutional by      shows the methods the state selected are unconstitutional.
this Court, the Alabama Supreme Court, or the United
States Supreme Court.                                           We do recognize that, in contrast to Alabama, Utah has
                                                                a state statute that, while it prescribes lethal injection as
In this § 1983 suit, Arthur brings a narrow challenge to two    the primary method of execution, allows the state to use
aspects of Alabama's lethal injection protocol (midazolam       a firing squad if (1) “a court holds that a defendant has
and the consciousness assessment) and does not argue or         a right to be executed by a firing squad,” (2) “a court
even suggest that lethal injection is per se unconstitutional   holds that execution by lethal injection is unconstitutional
—in fact, the main premise of his attack on the midazolam       on its face” or “as applied,” or (3) “the sentencing court
protocol is that it is more painful than the prior Alabama      determines the state is unable to lawfully obtain the
protocol using pentobarbital. Also, Arthur does not             substance or substances necessary to conduct an execution
challenge the constitutionality of death by electrocution,      by lethal intravenous injection.” Utah Code Crim. Proc.
or allege any facts establishing that electrocution involves    § 77–18–5.5(1)–(4). Similarly, Oklahoma law provides for
a substantial risk of severe pain. 30 No court has held that    firing squad as the quaternary option for carrying out
lethal injection (or electrocution) as applied to Arthur in     an execution, making it available only after execution by
this case violates the Constitution. Therefore, the ADOC        lethal injection, nitrogen hypoxia, and electrocution are
would not be able to carry out Arthur's preferred death         all declared unconstitutional. See Okla. Stat. tit. 22, § 1014
sentence without the Alabama legislature fundamentally          (2016).
rewriting its method-of-execution statute.
                                                                Utah and Oklahoma are the only states that have statutes
Arthur argues, nevertheless, that Glossip does not              contemplating execution by firing squad, and lethal
“require” that alternative methods of execution be              injection is still the primary method of execution in both
statutorily authorized. In his proposed allegations, Arthur     of those states, as it is in every state that allows for capital
points to the fact that another state, Utah, has conducted      punishment. Thus, to the extent that Arthur relies on dicta
three executions by firing squad since 1976, the most           from Glossip 31 concerning “other acceptable, available
recent taking place in 2010. Arthur implies that, since         methods,” Oklahoma law expressly allowed both the
the Utah legislature has approved death by firing squad,        firing squad and electrocution. Okla. Stat. tit. 22, § 1014
the Alabama legislature could easily do the same. But           (2015). 32 As we noted in Brooks, a prisoner must identify
Arthur misunderstands the state's obligation under the          an alternative that is “known and available” to the state
Eighth Amendment. States that continue to have capital          in question to meet the requirements in Baze and Glossip.
punishment are free to choose any method of execution           810 F.3d at 820 (explaining that petitioners must show
they deem appropriate, so long as they conform to               that “there is now a source for pentobarbital that would
the requirements of the United States Constitution,             sell it to the ADOC for use in executions” (emphases
and more particularly, to the constraints found in the          added)).
Eighth Amendment. This recognition—that states are
constrained by the United States Constitution—is wholly         Arthur argues, nevertheless, that a state could
consonant with the plain language of the Supremacy              “legislatively exempt” itself from Eighth Amendment
Clause. See U.S. Const. art. VI, cl. 2 (“[The Constitution]     review simply by adopting a narrow method of execution
shall be the supreme Law of the Land ... Laws of any            without any prescribed alternatives, thereby preventing
State to the Contrary notwithstanding.”). Alabama has           challengers from identifying a statutorily authorized
chosen *1317 death by lethal injection or electrocution;        alternative method. But the Alabama legislature has
the petitioner is not free to simply disregard those            authorized *1318 two methods of execution—lethal
methods (and substitute his own) without satisfactorily         injection in any form and electrocution—and neither of its
establishing that those methods violate the constitutional      authorized methods has been deemed unconstitutional by
command barring cruel and unusual punishment. To                a court, either per se or even as applied to Arthur. See Ala.
be clear, states remain subject to the Constitution, and        Code. § 15–18–82.1(a), (c), (h). Arthur is not entitled to
the Constitution requires states to select a constitutional     veto the Alabama legislature's constitutional choice as to


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how Alabama inmates will be executed because there may           squad or statutorily recognized it as a method for carrying
still be other statutorily authorized (and unchallenged)         out executions. Indeed, Arthur does not say that any
methods available. As for the dissent's argument that the        ADOC employee would have the first idea about how to
state's legislative choices should not affect whether an         carry out an execution by this method, and, undeniably,
alternative could be feasible and readily implemented, the       doing so would require a lot more than merely buying
dissent refuses to acknowledge that the Alabama statute          some new supplies for the ADOC to begin carrying out
is not simply the result of the state's “will,” but it is also   executions by this new method. The firing squad has
very much constrained by the United States Constitution.         not been used even in Utah since 2010. *1319 This sits
Absent a showing that Alabama's chosen methods of                in stark contrast to the numerous executions by lethal
execution present an unconstitutional risk of severe pain,       injection that were carried out across the country during
Alabama is under no obligation to deviate from its widely        the past decade or so. The fact that a few other states
accepted, presumptively constitutional methods in favor          could theoretically carry out an execution by firing squad
of Arthur's retrogressive alternative.                           without violating their own laws tells us nothing about
                                                                 whether that method is, in fact, readily implementable for
Moreover, the Supreme Court has recognized that                  use in actual executions in Alabama today.
requiring a state to amend its method-of-execution statute
or to authorize a variance from that statute “impos[es]          As we see it, our dissenting colleague errs in claiming that
significant costs on the State and the administration of         our opinion contravenes Baze and Glossip. Our dissenting
its penal system.” See Nelson v. Campbell, 541 U.S.              colleague writes that, under our analysis, “if a state
637, 644, 124 S.Ct. 2117, 2123, 158 L.Ed.2d 924 (2004).          legislatively rejects an alternative, the alternative is not
That is particularly true where, as here, the necessary          feasible and readily implemented. ... State opposition ...
legislation would retreat from a method of execution that        has no bearing on the ‘feasible and readily implemented’
is employed by the overwhelming majority of states that          inquiry as set forth in Baze and Glossip.” This is not
still authorize the death penalty and is widely considered       at all what we have said. What we say is (1) Alabama
the “most humane available,” and would replace it with           has chosen two constitutional methods of execution, (2)
a method of execution that has long been abandoned               Arthur has not shown that they are, or that either
by almost every state in this country. 33 See Baze, 553          one is, unconstitutional (per se or as applied to him),
U.S. at 62, 128 S.Ct. at 1537. As the Supreme Court              and (3) Arthur is not entitled to veto the Alabama
has recognized, “[t]he firing squad, hanging, the electric       legislature's choice of two constitutional methods of
chair, and the gas chamber have each in turn given way           execution. Furthermore, by requiring Arthur to show a
to more humane methods [of execution], culminating in            feasible, readily implementable, and significantly safer
today's consensus on lethal injection.” Id. at 62, 128 S.Ct.     alternative, we are abiding by the rules set forth in the
at 1538; see also id. at 42, 128 S.Ct. at 1526–27 (“A total      Supreme Court's Baze and Glossip opinions, and also
of 36 States have now adopted lethal injection as the            giving credence to Alabama's prerogative to choose any
exclusive or primary means of implementing the death             constitutional method of execution it deems appropriate.
penalty, making it by far the most prevalent method of           It is true that neither Baze nor Glossip held that an
execution in the United States.”). The dissent's suggestion      execution alternative must be statutorily authorized as
that our decision nullifies Arthur's right to a “humane          that, of course, was not the issue. But those opinions
execution” by preventing his access to execution by firing       did not direct that we ignore constitutional state laws in
squad is peculiar, and, moreover, flatly contradicted by         employing constitutional methods of execution.
the Supreme Court.
                                                                 We are also unpersuaded by the concerns forwarded
In considering whether Arthur's proposed alternative is          by Arthur and the dissent that giving this deference to
“feasible” and “readily implemented,” it is also important       states will effectively cut off inmates' ability to advocate
to note that the firing squad is a vastly different method       for more humane alternative methods of execution, as
of execution from electrocution and lethal injection, which      contemplated by Baze and Glossip. We see no merit to
are the only methods of execution that Alabama has               the dissent's hypothesis that a state could, for example,
employed in the past ninety years. As far as we can tell,        offer the gas chamber as its method of execution. It
Alabama has never carried out an execution by firing             seems clear that if a state's sole method of execution



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is deemed unconstitutional, while other methods remain           implemented by the ADOC and, thus, the district court
constitutional (even if they are not authorized by the           did not err in disallowing this third amendment to Arthur's
state statute), our inquiry into whether those other             complaint. And furthermore, absent a showing that the
options are feasible and readily implemented would be            methods chosen by the Alabama legislature pose an
a different one. Among other things, Alabama's statute           unconstitutional risk of pain, either per se or as applied
plainly allows for other options if its statutory methods        to Arthur, the Constitution does not compel Alabama
are declared unconstitutional, making those other options        to search for a new method. Accordingly, we find that
more feasible and readily implementable. But that is not         amending Arthur's Second Amended Complaint to add
the case here. Alabama's two methods of execution have           the firing squad as an alternative method of execution
not been declared unconstitutional, nor has Arthur even          would have been futile, and affirm the district court's
argued that they are.                                            denial of leave to amend. 35

Furthermore, our dissenting colleague is concerned
that our opinion will foreclose all but lethal-injection-
alternative challenges and that inmates can never win                               XIX. CONCLUSION
such suits due to the secrecy surrounding executions and
                                                                 The district court did not err in entering final judgment
states' admitted challenges in locating sources for the
                                                                 in favor of the ADOC and against Arthur on all claims.
drugs. These practical constraints do not rob the State
                                                                 Accordingly, we affirm.
of Alabama, or any other state, of its right to choose
the method of execution it wishes to use, so long as the
                                                                 Given that this Court has determined Arthur's appeal
state complies with the requirements of the United States
                                                                 lacks merit, the Court denies Arthur's motion to stay his
Constitution. These constraints should also be weighed
                                                                 November 3, 2016 execution for failure to show a *1321
against the practical problems of instituting an untested
                                                                 likelihood of success on the merits of his claims. “It is
(in Alabama) protocol for execution by firing squad. While
                                                                 by now hornbook law that a court may grant a stay of
Arthur points to Utah as an exemplar, the reality is
                                                                 execution only if the moving party establishes that: (1)
that formulating a new protocol and locating the people
                                                                 he has a substantial likelihood of success on the merits;
and resources necessary to carry out such an alternative
                                                                 (2) he will suffer irreparable injury unless the injunction
(even if feasible, readily implementable, and significantly
                                                                 issues; (3) the stay would not substantially harm the
safer), would *1320 take considerable time and would,
                                                                 other litigant; and (4) if issued, the injunction would not
inevitably, lead to an entire new round of legal challenges
                                                                 be adverse to the public interest.” Brooks, 810 F.3d at
regarding the details of the protocols for constitutionally
                                                                 818 (citation omitted) (internal quotation marks omitted).
conducting an execution by firing squad. Arthur's own
                                                                 Because Arthur has not satisfied the first requirement for
nine-year history of § 1983 litigation well proves that
                                                                 a stay, we need not reach the other three requirements.
point. 34
                                                                 AFFIRMED.
Arthur's strategy here to avoid execution is to claim
that the ADOC should employ a profoundly different
method of execution that is not legal in Alabama and
                                                                 WILSON, Circuit Judge, dissenting:
has long been abandoned by states seeking to employ
                                                                 Under the Majority's decision, state law can dictate the
the “most humane” method of execution available, lethal
                                                                 scope of the Constitution's protections. Thomas Arthur
injection. See Baze, 553 U.S. at 62, 128 S.Ct. at 1537.
                                                                 raises a method-of-execution claim proposing the firing
Arthur's strategic choice left him with a steep hill to climb,
                                                                 squad as an execution alternative, and the Majority
requiring him to show that this method of execution that is
                                                                 finds that state law defeats this constitutional claim. By
beyond the ADOC's statutory authority somehow could
                                                                 misreading an Alabama statute, the Majority creates a
be feasible and readily implemented by the ADOC. He
                                                                 conflict between the claim and state law. The Majority
failed to surmount that obstacle.
                                                                 then resolves that faux conflict in favor of state law, taking
                                                                 the unprecedented step of ascribing to states the power to
For these reasons, the firing squad is not an alternative
                                                                 legislatively foreclose constitutional relief. These missteps
method of execution that is available, feasible, or readily



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nullify countless prisoners' Eighth Amendment right to a       implemented because § 15–18–82.1 of the Alabama Code
humane execution.                                              does not authorize the firing squad. Thus, according to
                                                               the Majority, a state can restrict a prisoner's access to
                                                               Eighth Amendment relief by legislatively rejecting a viable
                                                               execution alternative.
                  I. INTRODUCTION

The Eighth Amendment guarantees a death row prisoner           The Majority's analysis of Arthur's request to amend
the right to relief when he faces a method of execution        his complaint is legally flawed and has unacceptable
that is “sure or very likely to cause serious illness and      consequences for death row prisoners throughout this
needless suffering” and there is a “feasible” and “readily     circuit. 4 First, the Majority misreads § 15–18–82.1;
implemented” alternative that “significantly reduce[s] a       that statute is not a barrier to Arthur relying on
substantial risk of severe pain.” Baze v. Rees, 553 U.S. 35,   the firing squad. The plain language of § 15–18–82.1
50–52, 128 S.Ct. 1520, 1531–32, 170 L.Ed.2d 420 (2008)         permits Alabama to turn to the firing squad under the
(plurality opinion) (internal quotation marks omitted);        circumstances presented here.
Glossip v. Gross, 576 U.S. ––––, ––––, 135 S.Ct. 2726,
2737, 192 L.Ed.2d 761 (2015). Arthur seeks to vindicate        Section 15–18–82.1 states, in relevant part:
this right. He asserts that Alabama's current three-drug
lethal injection protocol is sure or very likely to cause        (c) If electrocution or lethal injection is held to be
him severe pain, and he seeks to amend his complaint to             unconstitutional by ... the United States Supreme
                                                                    Court under the United States Constitution, or if
propose the firing squad as an execution alternative. 1 The
                                                                    the United States Supreme Court declines to review
firing squad is a well-known, straightforward procedure
                                                                    any judgment holding a method of execution *1323
that is regarded as “relatively quick and painless.” 2              to be unconstitutional under the United States
See Glossip, 135 S.Ct. at 2739 (internal quotation marks            Constitution made by ... the United States Court
omitted), Baze, 553 U.S. at 48, 128 S.Ct. at 1530. And              of Appeals that has jurisdiction over Alabama, all
one state has recently used the firing squad to execute a           persons sentenced to death for a capital crime shall be
prisoner. See Kirk Johnson, Double Murderer Executed                executed by any constitutional method of execution.
by Firing Squad in Utah, N.Y. Times (June 18, 2010),
www.nytimes.com/2010/06/19/us/19death.html?_r=0.                 ....

Arthur should be permitted to amend his complaint to             (h) No sentence of death shall be reduced as a result of a
include the firing squad as an execution alternative to            determination that a method of execution is declared
Alabama's lethal *1322 injection protocol. The firing              unconstitutional under the Constitution of Alabama
squad is a potentially viable alternative, and Arthur may          of 1901, or the Constitution of the United States. In
be entitled to relief under Baze and Glossip based on that         any case in which an execution method is declared
method of execution.                                               unconstitutional, the death sentence shall remain in
                                                                   force until the sentence can be lawfully executed by
Arthur requested to amend his complaint shortly after              any valid method of execution.
the Supreme Court confirmed in Glossip that prisoners
                                                               Ala. Code § 15–18–82.1 (2002). The Majority concludes
must plead and prove an execution alternative to obtain
                                                               that Alabama cannot deviate from a prisoner's designated
method-of-execution relief. 3 The district court denied        method of execution unless electrocution or lethal
Arthur's request on futility grounds, finding that the
                                                               injection is declared per se unconstitutional. 5 Because no
“firing squad is not permitted by [an Alabama] statute
                                                               court has declared electrocution or lethal injection per
and, therefore, is not a method of execution that could
                                                               se unconstitutional, the Majority holds that § 15–18–82.1
be considered either feasible or readily implemented by
                                                               forbids the firing squad.
Alabama at this time.”

                                                               This interpretation of § 15–18–82.1 does not pass muster.
The Majority now affirms that finding. The Majority
                                                               Subsection (h) allows Alabama to turn to the firing squad
determines that the firing squad is not feasible and readily
                                                               —a “valid method of execution”—in “case[s]” where our


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court declares Alabama's planned “execution method”               task. Consequently, relief under Baze and Glossip is now
for a prisoner unconstitutional. See § 15–18–82.1(h).             a mirage for prisoners across Alabama and Florida.
Alabama's planned “execution method” for Arthur is
Alabama's three-drug lethal injection protocol, and Arthur
claims that the protocol is unconstitutional. See id. If
                                                                          II. THE PLAIN LANGUAGE OF § 15–
our court agreed with him, then subsection (h) would
                                                                         18–82.1 PERMITS THE FIRING SQUAD.
allow Alabama to utilize the firing squad to enforce
Arthur's death sentence. Because this case could implicate        Arthur's request to die by the firing squad is not at odds
subsection (h) and open the door to the firing squad, §           with Alabama law. The plain language of § 15–18–82.1
15–18–82.1 is not a barrier to Arthur relying on the firing       permits Alabama to turn to the firing squad under the
squad. Arthur's firing-squad claim thus conflicts only with       circumstances presented here. The Majority erroneously
the Majority's flawed interpretation of Alabama law, not          concludes that the statute bars Alabama from using the
Alabama law itself.                                               firing squad to execute Arthur. The Majority's misreading
                                                                  of the statute not only creates a faux conflict with Arthur's
Second, even if § 15–18–82.1 did not permit the firing            firing-squad claim but also impairs Alabama's ability to
squad here, the Majority's conclusion that the statute            enforce the death penalty.
precludes Arthur from relying on the firing squad would
still be erroneous. The Majority contravenes Baze and             Section 15–18–82.1 states:
Glossip, as well as the Supremacy Clause, in relying on a
state statute to limit Arthur's access to Eighth Amendment          (a) A death sentence shall be executed by lethal
relief. Under Baze and Glossip, a state cannot make an                 injection, unless the person sentenced to death
execution alternative not feasible and readily implemented             affirmatively elects to be executed by electrocution.
by legislatively rejecting the alternative. A state's rejection
                                                                    (b) A person convicted and sentenced to death for a
of an execution alternative is irrelevant to the “feasible
                                                                      capital crime at any time shall have one opportunity
and readily implemented” inquiry. Moreover, in holding
                                                                      to elect that his or her death sentence be executed by
that a state can dictate that inquiry and foreclose
                                                                      electrocution. The election for death by electrocution
an execution alternative, the Majority infringes the
                                                                      is waived unless it is personally made by the
Supremacy Clause. The Majority's holding affords states
                                                                      person in writing and delivered to the warden of
the power to thwart viable method-of-execution claims.
                                                                      the correctional facility within 30 days after the
That is unprecedented. States cannot render an execution
                                                                      certificate of judgment pursuant to a decision by the
alternative not feasible and readily implemented—and
                                                                      Alabama Supreme Court affirming the sentence of
thereby insulate themselves from constitutional scrutiny
                                                                      death or, if a certificate of judgment is issued before
—by opposing the alternative through legislation or any
                                                                      July 1, 2002, the election must be made and delivered
other means. The Supremacy Clause precludes that type
                                                                      to the warden within 30 days after July 1, 2002.
of state incursion on the Eighth Amendment.
                                                                    (c) If electrocution or lethal injection is held to be
Finally, the practical consequences of the Majority's                  unconstitutional by the Alabama Supreme Court
mistakes are deeply troubling. *1324 The Majority's                    under the Constitution of Alabama of 1901, or
decision nullifies countless prisoners' right to a humane              held to be unconstitutional by the United States
execution. Based on the Majority's approach to § 15–18–                Supreme Court under the United States Constitution,
82.1, Alabama prisoners such as Arthur must rely on                    or if the United States Supreme Court declines to
lethal-injection-based execution alternatives 6 to obtain              review any judgment holding a method of execution
method-of-execution relief. A myriad of Florida prisoners              to be unconstitutional under the United States
are likewise limited to lethal-injection-based alternatives            Constitution made by the Alabama Supreme Court
because Florida has a statute that is identical to § 15–               or the United States Court of Appeals that has
18–82.1, compare Ala. Code § 15–18–82.1, with Fla. Stat.               jurisdiction over Alabama, all persons sentenced to
§ 922.105 (2005). However, due to the scarcity of and                  death for a capital crime shall be executed by any
secrecy surrounding lethal injection drugs, identifying an             constitutional method of execution.
available lethal-injection-based alternative is a Sisyphean



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                                                               Alabama's ability to carry out an execution when a
  ....                                                         prisoner successfully attacks the specific lethal-injection
                                                               or electrocution protocol that Alabama plans to use to
  (f) Notwithstanding any law to the contrary, a person
                                                               kill him. That subsection states that Alabama can turn to
     authorized by state law to prescribe medication
                                                               “any valid method of execution” in “any case” in which its
     and designated by the Department of Corrections
                                                               planned “execution method is declared unconstitutional.”
      *1325 may prescribe the drug or drugs necessary
                                                               § 15–18–82.1(h).
     to compound a lethal injection. Notwithstanding any
     law to the contrary, a person authorized by state law
                                                               Arthur's designated method of execution is lethal
     to prepare, compound, or dispense medication and
                                                               injection, as he did not opt for electrocution during the
     designated by the Department of Corrections may
                                                               time period allotted in subsection (b). See § 15–18–82.1(a),
     prepare, compound, or dispense a lethal injection.
                                                               (b). Pursuant to subsection (f), the Alabama Department
  ....                                                         of Corrections has elected to carry out Arthur's lethal
                                                               injection using a three-drug, midazolam-based protocol.
  (h) No sentence of death shall be reduced as a result of a   Arthur asserts that this planned “execution method”
    determination that a method of execution is declared       violates the Eighth Amendment. See § 15–18–82.1(h).
    unconstitutional under the Constitution of Alabama         If our court agreed with Arthur, then Alabama would
    of 1901, or the Constitution of the United States. In      be able to resort to “any valid method of execution,”
    any case in which an execution method is declared          including the firing squad, to fulfill its goal of executing
    unconstitutional, the death sentence shall remain in       Arthur. See id.; Glossip, 135 S.Ct. at 2732 (noting that the
    force until the sentence can be lawfully executed by       firing squad is a presumably valid, constitutional method
    any valid method of execution.                             of execution). As such, through this litigation, § 15–18–
                                                               82.1(h)'s safety valve could be implicated, thereby opening
Ala. Code § 15–18–82.1. Alabama enacted this section           the door to the firing squad. The firing squad is a plausible
in 2002 when it first changed its default method of            execution alternative in Alabama.
execution from electrocution to lethal injection. In
doing so, Alabama shrewdly expected challenges to the          However, the Majority departs from the plain language
constitutionality of lethal injection and its administration   of § 15–18–82.1 and concludes *1326 that the statute
of lethal injection. Section 15–18–82.1 not only prescribes    bars the firing squad here. The Majority makes a
lethal injection as the default method of execution but        threshold error by determining that Alabama currently
also establishes contingency plans in the event that:          authorizes both electrocution and lethal injection as
(1) lethal injection is declared per se unconstitutional       methods of execution for Arthur. See Maj. Op. at 1316–
or (2) Alabama's lethal injection protocol is declared         17 (“Alabama has chosen death by lethal injection or
unconstitutional.
                                                               electrocution.”). Based on that finding, the Majority
                                                               suggests that Arthur cannot rely on the firing squad
Subsections (a) and (b) of § 15–18–82.1 designate lethal       because he has not challenged both lethal injection and
injection as Alabama's primary method of execution, while      electrocution. But the text of subsections (a) and (b) belie
affording prisoners a one-time opportunity to choose
                                                               the Majority's conclusion that Alabama has “chosen”
electrocution as their designated method in lieu of lethal
                                                               both lethal injection and electrocution for Arthur. Because
injection. And subsections (c) and (h) afford Alabama the
                                                               Arthur did not opt for electrocution, he “shall be executed
flexibility to deviate from a prisoner's designated method
                                                               by lethal injection.” See Ala. Code § 15–18–82.1 (a), (b).
of execution and specific execution protocol if either is      Therefore at this time § 15–18–82.1 authorizes Alabama
declared unconstitutional. Those subsections serve as          to kill Arthur only by lethal injection. Alabama has
complementary safety valves, ensuring that Alabama can         not “chosen” electrocution for Arthur merely because
fulfill its goal of carrying out executions. Subsection        electrocution is mentioned in the statute as a contingency
(c) guarantees Alabama flexibility by providing that
                                                               option. If that were the case, then “any valid method
Alabama can utilize “any constitutional method of
                                                               of execution” would also be “chosen” for Arthur. See §
execution” if lethal injection or electrocution is struck      15–18–82.1(h). Moreover, the Majority's suggestion that
down as per se unconstitutional. § 15–18–82.1(c).              Arthur was required to attack electrocution and lethal
Subsection (h) complements subsection (c), as it protects


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injection to trigger § 15–18–82.1's safety valves is clearly    with the administration of executions. See § 15–18–
inconsistent with the statute. Neither subsection (c) nor       82.1(f), (g). Specifically, subsection (f) provides that the
subsection (h) states that lethal injection and electrocution   Department of Corrections shall designate who selects
must be struck down to trigger its safety valve.                the drugs used in the administration of lethal injection,
                                                                and subsection (g) exempts from Alabama's ordinary
The Majority also erroneously determines that under             rulemaking procedure the Department of Corrections's
§ 15–18–82.1 Alabama can turn to the firing squad               “policies and procedures” for administering executions.
only if lethal injection or electrocution is declared per       See § 15–18–82.1(f), (g). Immediately following this
se unconstitutional. 7 See Maj. Op. at 1316 (suggesting         discussion, subsection (h) is correctly understood to
that Alabama would have authority to use the firing             discuss the constitutionality of the Department of
squad if a court struck down “as unconstitutional either        Corrections's chosen execution protocol. See Antonin
electrocution or lethal injection”). And since no court         Scalia & Bryan A. Garner, Reading Law 167 (2012)
has declared either method per se unconstitutional, the         ( “Context is a primary determinant of meaning.”); K
Majority finds that § 15–18–82.1 precludes Alabama from         Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291, 108 S.Ct.
using the firing squad in this case. A proper textual           1811, 1818, 100 L.Ed.2d 313 (1988) (“In ascertaining
analysis reveals that subsection (h) forecloses this reading    the plain meaning of the statute, the court must look
of the statute.                                                 to the particular statutory language at issue, as well as
                                                                the language and design of the statute as a whole.”).
As noted above, subsection (h) states:                          Based on the plain language of § 15–18–82.1, the statute
                                                                permits Alabama to turn to the firing squad when its
            In any case in which an execution                   planned execution protocol for a particular prisoner is
            method is declared unconstitutional,                declared unconstitutional. The Majority's interpretation
            the death sentence shall remain                     clearly fails.
            in force until the sentence can
            be lawfully executed by any valid                   Yet, even assuming that the plain language of § 15–18–
            method of execution.                                82.1 is ambiguous and the Majority's interpretation is
                                                                plausible, the statute must still be read to permit the
Ala. Code § 15–18–82.1(h). At first glance, it is possible      firing squad in this case. In the face of such ambiguity,
to read this sentence in a manner consistent with the           an interpretation that “furthers rather than obstructs
Majority's interpretation of § 15–18–82.1. That is, the         [the statutory text]'s purpose should be favored.” See
sentence could be interpreted as permitting Alabama to          Scalia, supra, at 63; SEC v. C.M. Joiner Leasing Corp.,
turn to an alternative method of execution, such as the         320 U.S. 344, 350, 64 S.Ct. 120, 123, 88 L.Ed. 88
firing squad, only if lethal injection or electrocution is      (1943) ( “[C]ourts [sha]ll construe the details of an act
declared per se unconstitutional. But because, as the           in conformity with its dominating general purpose.”).
Majority concludes, subsection (c) stands for that exact        This rule of statutory construction militates against the
proposition, interpreting subsection (h) to convey the          Majority's interpretation of § 15–18–82.1.
same message violates an elementary rule of statutory
interpretation—that we must give effect to each provision.      The purpose of subsections (c) and (h) is clear: to ensure
See United States v. Butler, 297 U.S. 1, 65, 56 S.Ct.           that Alabama can enforce the death penalty through
312, 319, 80 L.Ed. 477 (1936) (“These words cannot              an alternative form of execution when its chosen means
be meaningless, else they would not have been used.”).          of executing a prisoner is declared unconstitutional.
The correct interpretation of subsection (h)—and the            Under the reading described above, § 15–18–82.1 provides
only interpretation that avoids surplusage—is that, if          Alabama the authority to (1) turn to an alternative form
the specific “execution method” in a “case” is declared         of execution upon a per se finding that lethal injection
unconstitutional, Alabama can resort to “any valid              or electrocution is unconstitutional, see Ala. Code §
method of execution.” See Ala. Code § 15–18–82.1(h).            15–18–82.1(c), and (2) employ “any valid method of
                                                                execution” when its specific execution protocol is declared
This interpretation is also consistent with the subsections     unconstitutional, see § 15–18–82.1(h). In contrast, the
immediately preceding *1327 subsection (h). Subsections         Majority's interpretation affords Alabama the authority
(f) and (g) charge the Department of Corrections


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to use an alternative form of execution only when              135 S.Ct. at 2737. According to the Baze Court, “[i]f
lethal injection or electrocution is declared per se           a [s]tate refuses to adopt ... an alternative in the face
unconstitutional. This reading plainly limits Alabama's        of these documented advantages, without a legitimate
ability to turn to an alternative form of execution in         penological justification for adhering to its current
the face of constitutional scrutiny. The interpretation        method of execution, then [the] [s]tate's refusal ... can be
obstructs the purpose of subsections (c) and (h) and           viewed as ‘cruel and unusual.’ ” Baze, 553 U.S. at 52,
impairs Alabama's ability to enforce the death penalty.        128 S.Ct. at 1532. Baze neither placed any restrictions
                                                               on the categories of execution alternatives that a claimant
The Majority's determination that § 15–18–82.1 precludes       can rely on to demonstrate such cruel and unusual
Arthur from relying on the firing squad is inconsistent        conduct, nor limited possible alternatives to those that
with the plain language of the statute and the purpose         the claimant's state has approved. See id., 128 S.Ct. at
underlying subsections (c) and (h). Arthur's firing-           1532. To satisfy Baze, an alternative must simply have
squad claim conflicts only with the Majority's flawed          the “documented advantages” of being “feasible, readily
interpretation of Alabama law, not Alabama law itself.         implemented,” and significantly safer than the state's
                                                               designated execution method. See id., 128 S.Ct. at 1532.

                                                               Subsequently, Glossip confirmed           this   “execution
     III. THE MAJORITY'S RELIANCE ON
                                                               alternative” requirement, stating:
      STATE LAW CONTRAVENES BAZE,
   GLOSSIP, AND THE SUPREMACY CLAUSE.                                      The controlling opinion [in Baze]
                                                                           summarized the requirements of
Even assuming that § 15–18–82.1 does not permit
                                                                           an Eighth Amendment method-
the firing squad under the present circumstances, the
                                                                           of-execution claim as follows: ...
Majority's dismissal *1328 of Arthur's claim would still
                                                                           the condemned prisoner [must]
be erroneous. The Majority's rejection of the firing squad
                                                                           establish[ ] that the [s]tate's [method
rests on its determination that, if a state legislatively
                                                                           of execution] creates a demonstrated
opposes an execution alternative, then the alternative
                                                                           risk of severe pain. And he must
is not feasible and readily implemented and method-
                                                                           show that the risk is substantial
of-execution relief is foreclosed. State law however is
                                                                           when compared to the known and
irrelevant to the Eighth Amendment inquiry established
                                                                           available alternatives.
by Baze and Glossip, and more fundamentally, under
the Supremacy Clause, state law cannot thwart a viable         Glossip, 135 S.Ct. at 2737 (internal quotation marks
constitutional claim. In relying on state law to deny          omitted). Consistent with Baze, Glossip also indicated
Arthur relief, the Majority commits constitutional error.      that, when attempting to satisfy the “execution
The Majority's decision in effect turns Baze and Glossip's     alternative” requirement, prisoners are neither limited
method-of-execution test—a test designed to protect the        to certain categories of execution alternatives nor
Eighth Amendment rights of death row prisoners—into            constrained by state-approved alternatives. See id. at
a test that narrows, and in many cases defeats, those          2739 (stating that a prisoner is required only “to plead
rights. This transformation is not only unprecedented, it      and prove a known and available alternative”); id.
is completely unmoored from precedent.                         (rejecting the dissent's argument that “the methods of
                                                               execution employed before the advent of lethal injection,”
                                                               such as the firing squad, are not permissible execution
A. Baze and Glossip
                                                               alternatives).
1. An Overview of Baze and Glossip
                                                               In Glossip, the prisoners argued that Oklahoma's lethal
In Baze, the Supreme Court first held that a                   injection cocktail posed an unacceptable risk of cruel
method-of-execution claimant must identify a “feasible”        and unusual punishment. They proposed a different
and “readily implemented” execution alternative that           cocktail as an execution alternative. However, the Court
“significantly reduce[s] a substantial risk of severe pain.”   found that the proposed cocktail was not a “known and
See Baze, 553 U.S. at 52, 128 S.Ct. at 1532; Glossip,          available” *1329 alternative because the record showed


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that “despite a good-faith effort,” Oklahoma was unable                        alternative in the face of these
to procure the drugs in the cocktail. Id. at 2738. Due to the                  documented advantages, without a
scarcity of those drugs, it was functionally impossible for                    legitimate penological justification
Oklahoma to obtain them. See id. at 2733–34, 2738.                             for adhering to its current method
                                                                               of execution, then a [s]tate's refusal
Our court has applied the “execution alternative”                              to change its method can be viewed
requirement on multiple occasions. We have found, in                           as “cruel and unusual” under the
accord with Glossip, that a proposed execution alternative                     Eighth Amendment.
does not satisfy the requirement when a state is unable
to obtain the materials necessary for the alternative. See,        Baze, 553 U.S. at 52, 128 S.Ct. at 1532. Hence, in
e.g., Brooks v. Warden, 810 F.3d 812, 820–21 (11th Cir.            considering a method-of-execution claim, we determine
2016) (concluding that, due to scarcity, the lethal injection      whether a proposed alternative has “documented
cocktail that the prisoner proposed as an execution                advantages,” such as being feasible and readily
alternative was not available to Alabama), cert. denied sub        implemented, and then we consider separately the state's
nom. Brooks v. Dunn, ––– U.S. ––––, 136 S.Ct. 979, 193             refusal to adopt the alternative. See id., 128 S.Ct. at 1532.
L.Ed.2d 813 (2016); Chavez v. Fla. SP Warden, 742 F.3d             Those are clearly distinct inquiries. An alternative can
1267, 1274 (11th Cir. 2014) (Carnes, C.J., concurring)             have the “documented advantages” of being “feasible”
(rejecting a method-of-execution claim in part because             and “readily implemented” even though a state “refuses to
the prisoner admitted that the relevant lethal injection           adopt” the alternative. See id., 128 S.Ct. at 1532. A state's
drug alternatives were unavailable), cert. denied sub nom.         decision to embrace or reject an alternative therefore
Chavez v. Palmer, ––– U.S. ––––, 134 S.Ct. 1156, –––               does not bear on the “feasible and readily implemented”
L.Ed.2d –––– (2014). We have never concluded that an               inquiry. Yet, under the Majority's reasoning, when
execution alternative fails to satisfy Baze and Glossip            a state refuses to adopt an execution alternative—
because a state has rejected the alternative by legislation        by, for example, passing legislation that rejects the
or some other means.                                               alternative and then *1330 adhering to that legislation
                                                                   —the alternative is ipso facto not feasible and readily
                                                                   implemented. That novel conclusion contravenes Baze.
2. The Majority's Misapplication of Baze and Glossip
                                                                   Indeed, Baze and Glossip's method-of-execution standard
Although neither Baze nor Glossip holds that an execution          would be internally inconsistent if the “feasible and
alternative must be state authorized, the Majority imposes         readily implemented” inquiry took into account a state's
such a requirement on Arthur. The Majority finds that,             opposition—via legislation or another means—to an
if a state legislatively rejects an alternative, the alternative   execution alternative. A state's refusal to adopt a viable
is not feasible and readily implemented. But the “feasible         execution alternative is the very conduct that gives rise
and readily implemented” inquiry cannot serve as a vessel          to an Eighth Amendment violation under Baze and
for the Majority's novel requirement. State opposition             Glossip. See id., 128 S.Ct. at 1532. The Eighth Amendment
to an execution alternative—through legislation or any             prohibits states from ignoring an “objectively intolerable
other means—has no bearing on the “feasible and readily            risk of harm” when imposing punishment. See id. at
implemented” inquiry as set forth in Baze and Glossip.             49–50, 128 S.Ct. at 1530–31 (internal quotation marks
                                                                   omitted). The method-of-execution standard implements
Whether an execution is feasible and readily implemented           this constitutional protection. When a state uses a
is considered separately from a state's rejection of               dangerous method of execution and “refuses to adopt”
the alternative. Again, in setting forth the “execution            an alternative that is feasible, readily implemented, and
alternative” requirement, Baze emphasized:                         significantly safer than the state's method, the state ignores
                                                                   an avoidable risk of harm, thereby violating the Eighth
             [An] alternative procedure must
                                                                   Amendment. See id. at 52, 128 S.Ct. at 1532.
             be feasible, readily implemented,
             and in fact significantly reduce a
                                                                   The Majority's decision allows this exact conduct to shield
             substantial risk of severe pain. If
                                                                   a state from method-of-execution liability. According to
             a [s]tate refuses to adopt such an
                                                                   the Majority, Alabama has legislatively opposed the firing


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squad, and that “refus[al] to adopt” the firing squad            Amendment rights—it permits states to abrogate such
defeats Arthur's method-of-execution claim. See id. at 52,       rights. Moving forward, a state can pass legislation
128 S.Ct. at 1532. That application of Baze and Glossip          requiring all executions to be performed with a certain
is clearly inconsistent with those precedents. State law         gas chamber protocol or a certain electrocution protocol,
cannot render the firing squad not feasible and readily          and since the legislation would authorize only those
implemented.                                                     two particular protocols, no other protocol or method
                                                                 of execution would be feasible and readily implemented.
                                                                 As a result, even in the face of evidence that both
B. The Supremacy Clause                                          protocols are excruciatingly painful, condemned prisoners
                                                                 could never obtain relief from the protocols—it would
Beyond its incongruence with Baze and Glossip, the
                                                                 be impossible to meet Baze and Glossip's “execution
Majority's treatment of state law conflicts with the
                                                                 alternative” requirement, and Baze and Glossip provide
Supremacy Clause. In determining that state law can
                                                                 the only avenue for method-of-execution relief. The state's
thwart an execution alternative, the Majority improperly
                                                                 legislation would thus nullify prisoners' right to a humane
grants states the power to dictate the scope of federal
                                                                 execution.
constitutional relief. See U.S. Const. art. VI, cl. 2 (“[The
Constitution] shall be the supreme Law of the Land ...
                                                                 Although this example is merely a hypothetical, it
Laws of any State to the Contrary notwithstanding.”).
                                                                 underscores the troubling constitutional issues that arise
The upshot of this novel allocation of power is that a state
                                                                 from the Majority's decision. The decision allows state law
statute can abrogate prisoners' Eighth Amendment right
                                                                 to trump the Eighth Amendment's basic guarantee against
to a humane execution.
                                                                 cruel and unusual punishment. 9 Contra U.S. Const. art.
Under the Majority's decision, § 15–18–82.1 constricts           VI, cl. 2.
Eighth Amendment relief and protects Alabama from
claims that are viable under Baze and Glossip. The Eighth
Amendment guarantees method-of-execution relief when              IV. THE MAJORITY'S DECISION FORECLOSES
a prisoner identifies any viable alternative. See Baze,                 RELIEF FOR PRISONERS ACROSS
553 U.S. at 51–52, 128 S.Ct. at 1531–32; Glossip, 135                 THIS CIRCUIT WHO ARE DESIGNATED
S.Ct. at 2737–39. However, because the only method                       TO DIE BY LETHAL INJECTION.
of execution that § 15–18–82.1 currently authorizes
for Arthur is lethal injection, Arthur must identify a           Prisoners in Alabama and Florida 10 who, like Arthur,
viable lethal-injection-based alternative to obtain method-      are designated to die by lethal injection must now
of-execution relief. Any other type of alternative is not        identify a viable lethal-injection-based alternative to
contemplated by § 15–18–82.1 and is not feasible and             obtain method-of-execution relief. But given the “difficult
readily implemented. 8 Section 15–18–82.1 thus severely          realities” surrounding lethal injection drugs, that is not
restricts the circumstances in *1331 which Arthur can            practicable. See Brief of Defendant–Appellee at 10, Arthur
obtain method-of-execution relief. This narrowing of             v. Comm'r, Ala. Dept. of Corr., 840 F.3d 1268, No.
Arthur's access to relief flouts the Supremacy Clause;           16-15549 (11th Cir. Oct. 11, 2016) *1332 (noting the
states cannot override the Constitution's protections.           practical barriers to identifying a viable lethal-injection-
See Reynolds v. Sims, 377 U.S. 533, 582–84, 84 S.Ct.             based alternative). Due to the scarcity of and secrecy
1362, 1392–93, 12 L.Ed.2d 506 (1964) (“When there                surrounding lethal injection drugs, it is all but impossible
is an unavoidable conflict between the Federal ...               for a prisoner to set forth a viable lethal-injection-based
Constitution [and state law], the Supremacy Clause of            alternative. The Majority's decision therefore checkmates
course controls.”); Cox v. Louisiana, 348 F.2d 750, 752          countless Alabama and Florida prisoners, nullifying their
(5th Cir. 1965) (“When a [s]tate ... [limits] citizens [in]      constitutional right to a humane execution.
the exercise of their constitutional rights[,] ... the federal
system is imperiled.”).                                          Many condemned prisoners have attempted to propose
                                                                 lethal injection drug alternatives in method-of-execution
The Majority's state-law determination however does              cases but those attempts have been futile because
not merely allow states to constrict prisoners' Eighth           lethal injection drugs are extremely scarce. See, e.g.,


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Glossip, 135 S.Ct. at 2738 (rejecting a method-of-execution      July 19, 2016). Another expert witness also spoke to the
claim after finding that “Oklahoma has been unable               secrecy surrounding the compound, stating, “I have no
to procure [two formerly widely-used lethal injection]           knowledge of where any state has [in the past] secured [the
drugs despite a good-faith effort to do so”); Brooks, 810        compound].” See Dunn I, slip op. at 11 n.5.
F.3d at 820–21; Chavez, 742 F.3d at 1274 (Carnes, C.J.,
concurring) (discussing the scarcity of lethal injection         The scarcity of and secrecy surrounding lethal injection
drugs); Sepulvado v. Jindal, 729 F.3d 413, 416 (5th Cir.         drugs make it basically impossible to identify a “feasible”
2013) (“Since 2010, the first drug in [Louisiana's former        and “readily *1333 implemented” lethal-injection-based
lethal injection] procedure—sodium thiopental—has been           alternative that “significantly reduce[s] a substantial risk
unavailable.”); cf. Wood v. Ryan, 759 F.3d 1076, 1097            of severe pain.” See Baze, 553 U.S. at 52, 128 S.Ct. at 1532;
(9th Cir. 2014) (Bybee, J., dissenting) (remarking that          Glossip, 135 S.Ct. at 2737. This bears out in our case law.
“Tennessee recently reauthorized the use of the electric         Based on my research, no prisoner has ever successfully
chair as an alternative method of execution” due to              challenged his method of execution relying on a lethal-
concerns about the unavailability of “the drugs necessary        injection-based alternative.
to perform a lethal injection”), vacated, ––– U.S. ––––, 135
S.Ct. 21, 189 L.Ed.2d 873 (2014); Distanislao, Note, 49          Accordingly, the Majority's decision all but forecloses
U. Rich. L. Rev. at 804–05 (“[A]mid ... widespread drug          method-of-execution relief for a myriad of Alabama and
shortages, capital punishment is losing its position as a        Florida prisoners. 11 This case is telling. Arthur proffered
functional element of American society.”). In fact, Arthur       an execution alternative that was not lethal-injection-
himself proffered to the district court two alternative          based, but the Majority's interpretation of § 15–18–82.1
lethal injection drug compounds, but the district court          thwarted that potentially safe and available alternative,
rejected those proposed alternatives after discovery,            leaving Arthur with no choice but to rely solely on lethal-
finding them unavailable to Alabama. See Arthur v. Dunn          injection-based alternatives. Arthur attempted to identify
(Dunn I), No. 2:11–cv–438–WKW–TFM, slip op. at 19–               such an alternative but was stymied by the limited supply
21, 2016 WL 1551475 (M.D. Ala. Apr. 15, 2016); Brief of          of lethal injection drugs and the secrecy surrounding such
Defendant–Appellee at 10, Arthur, No. 16–15549. And the          drugs. Checkmate.
Majority now affirms that finding. See Maj. Op. at 1301,
1306.

Furthermore, to the extent that some limited supply of                               V. CONCLUSION
viable, alternative lethal injection drugs exists, prisoners
                                                                 The Majority misinterprets Alabama law, reads a new
cannot gather the information needed to use those drugs in
                                                                 restriction into Baze and Glossip that is directly at odds
a method-of-execution claim because details about lethal
                                                                 with those decisions, and empowers states to thwart
injection drugs and their suppliers are heavily concealed.
                                                                 constitutional claims. Taken together, these errors have
See, e.g., Arthur v. Thomas, 674 F.3d 1257, 1263 (11th
                                                                 jarring practical consequences; relief under Baze and
Cir. 2012) (per curiam) (noting “the veil of secrecy
                                                                 Glossip is now a mirage for prisoners across this circuit.
that surrounds Alabama's execution protocol”); Terrell v.
Bryson, 807 F.3d 1276, 1281 (11th Cir. 2015) (Martin, J.,
                                                                 Arthur is entitled to amend his complaint and proceed
concurring) (discussing Georgia's lethal injection “secrecy
                                                                 with his method-of-execution claim proposing the firing
rules”). This veil of secrecy is evident here. Arthur was
stonewalled in his attempts to gather information about          squad. 12 I respectfully dissent.
the availability of the drugs in his proposed lethal injection
compounds. According to testimony from an expert
                                                                 APPENDIX
witness who asked members of the drug community about
the availability of one of the compounds, “none of the           In offering the firing squad as an execution alternative,
pharmacists” that he spoke to “provided [him] permission         Arthur's proposed complaint states:
to share their names [or] contact information.” See Arthur
v. Dunn (Dunn II), No. 2:11–cv–438–WKW–TFM, slip                   Alternative # 3—Firing Squad
op. at 41, ––– F.3d ––––, 2016 WL 3912038 (M.D. Ala.



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    134. A third potential alternative is the firing squad.             and belief, there are numerous people employed by the
    The Supreme Court has held that the firing squad is                 State who have the training necessary to successfully
    a constitutionally permissible form of execution. See               perform an execution by firing squad. The State already
                                                                        has a stockpile of both weapons and ammunition.
    Wilkerson v. Utah, 99 U.S. 130, 134–35, 25 L.Ed. 345
    (1879) (upholding sentence of death by firing squad).               137. Moreover, execution by firing squad, if
    Indeed, as recently as 2010 Utah executed an inmate                 implemented properly, would result in a substantially
    by firing squad. On March 23, 2015, Utah Governor
                                                                        lesser risk of harm than the State's continued use of a
    Gary Herbert signed into law an amendment providing
                                                                        three-drug protocol involving midazolam. Evidence and
    that firing squads will serve as the backup method of               recent experience strongly suggest that the firing squad
    execution if lethal injection drugs are not available.              is “significantly more reliable than other methods.”
                                                                        Glossip, 135 S.Ct. at 2796 (Sotomayor, J., dissenting).
    135. Protocols for execution by firing squad, which has
                                                                        A recent study, which analyzed the contemporaneous
    been carried out at *1334 least three times since 1976
                                                                        news reports of all executions in the United States from
    without apparent incident, are known and available.
                                                                        1900 to 2010, found that 7.12% of the 1,054 executions
    For example, under Utah's recent law, the prisoner
                                                                        by lethal injection were “botched” and that 0 of the 34
    is seated in a chair set up between stacked sandbags
                                                                        executions by firing squad had been botched.
    to prevent the bullets from ricocheting. A target is
    pinned over the inmate's heart. Five shooters are set up            138. Accordingly, if implemented properly, an execution
    approximately 25 feet from the chair where the prisoner             by firing squad is a known and available alternative
    is seated, with .30 caliber Winchester rifles pointing              method of execution that presents a substantially lower
    through slots in the wall. The gunmen are chosen from               risk of pain and suffering than the current [Alabama
    a pool of volunteer officers. (Utah Rep. Paul Ray, the              Department of Corrections] protocol described above.
    sponsor of the firing squad bill, has said that there are
    always more volunteers than spots on the firing squad.           Motion for Leave to File Third Amended Complaint,
    Upon information and belief, the same would be true              Exhibit A at 43–44, No. 2:11–CV–438–WKW–TFM
    in Alabama and/or the State would otherwise be able to           (M.D. Ala. Aug. 25, 2015), ECF No. 256–1 (footnotes
    supply officers to carry out an execution.) The shooters'        omitted).
    identities are kept anonymous, and one rifle is loaded
    with a blank so that no one knows which officer killed
    the inmate.                                                      All Citations

    136. The firing squad is a known and available                   840 F.3d 1268, 26 Fla. L. Weekly Fed. C 925
    alternative in the state of Alabama. Upon information


Footnotes
1       In May 2012, Arthur filed a motion pursuant to Rule 60(b)(6) of the Federal Rules of Civil Procedure, seeking relief from
        the district court's order dismissing his § 2254 petition as untimely. Arthur, 739 F.3d at 626–27. The district court denied
        Arthur's motion, and this Court affirmed. Id. at 627, 633.
2       Alabama previously scheduled Arthur's execution for (1) April 27, 2001; (2) September 27, 2007, which was reprieved
        by the governor until December 6, 2007; (3) July 31, 2008; (4) March 29, 2012; and (5) February 19, 2015.
3       Arthur has, in fact, filed five § 1983 cases in total. In addition to his three method-of-execution challenges, he has also
        brought claims under § 1983 seeking (1) access to physical evidence for DNA testing in a bid to uncover exonerating
        evidence; and (2) an injunction barring a post-mortem autopsy of his body. (CM/ECF for the U.S. Dist. Ct. for the S.D.
        Ala., case no. 1:08–cv–441, docs. 1, 11, 12); (CM/ECF for the U.S. Dist. Ct. for the M.D. Ala., case no. 2:07–cv–319,
        docs. 1, 14,15).
4       The Alabama Supreme Court had set Arthur's execution date for February 19, 2015. On February 13, 2015, six days
        before his then-scheduled execution, Arthur sought a stay of execution. On February 17, the district court granted a stay
        “pending a trial and final decision on the merits.” Defendants appealed, but this Court dismissed the appeal, finding that
        there was no abuse of discretion. With the issuance of the district court's July 19, 2016 final judgment in favor of the State,
        that district court stay is no longer in effect. Accordingly, Alabama has now set an execution date for November 3, 2016.



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5      The district court carried these motions into the trial and resolved them as moot in light of its April 15, 2016 order.
6      Dr. Zentner's November 16, 2015, declaration and his December 3, 2015, deposition—which reflect opinions and
       testimony essentially identical to the testimony he offered at the January 2016 trial—were admitted into evidence and
       considered by the district court.
7      Arthur's counsel deposed Hill three times in this case. Hill also executed an affidavit, offering substantially the same
       testimony she provided at trial.
8      Although Dr. Zentner's list included 19 pharmacies, two of the pharmacies were simply two locations of the same entity.
9      Two of the attorneys testified about the execution of Eddie Powell in 2011, and the other attorney testified about the
       execution of Michael Jeffrey Land in 2010. Blocker testified to the executions of seven other inmates from 2009 until
       2011.
10     Dr. Kaye's November 16, 2015, declaration and his December 10, 2015, deposition—which reflect opinions and testimony
       essentially identical to the testimony he offered at trial—were admitted into evidence and considered by the district court.
11     The district court rejected Arthur's contention that the State had the burden to prove his requested alternative of
       compounded pentobarbital was unavailable. But the district court also found that the State in fact had proven its inability
       to obtain compounded pentobarbital.
12     On May 16, 2016, Arthur appealed the district court's April 15, 2016, order to this Court. This Court later granted Arthur's
       motion to dismiss this appeal as premature, without prejudice to Arthur's refiling a timely notice of appeal upon entry of
       final judgment in the district court.
13     Presumably, Dr. Strader is referring to the January 2009 EKG.
14     We note that Arthur moved to have Dr. Buffington's declaration excluded from the evidence, but the district court never
       granted that motion. Ultimately, we do not need to rely on this declaration, but we include it for completeness.
15     Grayson v. Dunn, Case No. 2:12–cv–316 (M.D. Ala.), a consolidated action known as the “Midazolam Litigation.” This
       Court has explained that this “group of cases began as one lawsuit [filed in April 2012] when an Alabama death row
       inmate sued pursuant to 42 U.S.C. § 1983 to challenge the constitutionality of Alabama's lethal injection protocol....
       [The lawsuit] evolved along with the state's new protocol, and now is known as the ‘Midazolam Litigation.’ Since 2012,
       cases brought by four other Alabama death row inmates have been consolidated into the Midazolam Litigation.” Brooks,
       810 F.3d at 817. Petitioner Brooks himself also successfully intervened in the Midazolam Litigation. Id. Five additional
       inmates joined the suit after this court decided Brooks. Brooks was executed on January 21, 2016. A search of the ADOC
       prison records reveals that all 10 remaining plaintiffs are currently on Holman's death row, although the State has set a
       December 8, 2016 execution date for one of the plaintiffs.
16     In his Third Amended Complaint, Arthur alleged that, because of his age and an “anxiety disorder,” there is a high
       likelihood that he will suffer a “paradoxical reaction” to midazolam. Arthur offered absolutely no proof on this subject, and
       the district court rightly considered it abandoned.
17     Arthur had filed a declaration from Dr. Kaye who opined that midazolam would not work during the execution, whether
       as a large or small dose. Even in a 500–mg dose, Dr. Kaye's opinion is that midazolam is “incapable of holding an inmate
       in an unconscious state through the administration of the second and third lethal injection drugs.” Dr. Kaye admitted that
       midazolam is useful to induce unconsciousness and that he had used it for this purpose “many, many times,” but that it
       is not effective to keep a patient unconscious. Dr. Kaye opined that this is because of midazolam's “ceiling effect,” such
       that it stops being effective above a certain dose.
18     Although it is not entirely clear, it appears that the petitioner in Brooks was arguing that compounded (not commercially
       manufactured) pentobarbital was a known and available alternative method of execution. See Brooks, 810 F.3d at
       819 & n.2. Arthur's allegation that Alabama's supply of commercially manufactured pentobarbital expired on or around
       November 2013 also supports this presumption.
19     The Brooks Court also rejected a midazolam-only alternative. 810 F.3d at 821–22.
20     In this appeal, Arthur has not resurrected his claim regarding a one-drug protocol of sodium thiopental as a feasible
       alternative method of execution. Accordingly, we will not address it.
21     Arthur's claim is only about “compounded pentobarbital,” and he makes no claim that the ADOC has access to
       commercially manufactured pentobarbital. Nor could he. In Glossip, the Supreme Court observed that Oklahoma in
       December 2010 became the first state to execute an inmate using pentobarbital, and states “gradually shifted to
       pentobarbital as their supplies of sodium thiopental ran out.” 135 S.Ct. at 2733. Pentobarbital was used in all 43
       executions carried out in 2012. Id. As the Supreme Court noted, “[b]efore long, however, pentobarbital also became
       unavailable” because “[a]nti-death-penalty advocates lobbied the Danish manufacturer of the drug to stop selling it for use
       in executions.” Id. “That manufacturer opposed the death penalty and took steps to block the shipment of pentobarbital



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       for use in executions in the United States.” Id. The Supreme Court added, “Oklahoma eventually became unable to
       acquire the drug through any means.” Id.
       As Arthur points out in his reply brief, more than a dozen inmates (to date, seven in Texas, seven in Georgia, and one
       in Missouri) have been executed in 2016 using a single-drug pentobarbital protocol. See Execution List 2016, DEATH
       PENALTY INFORMATION CENTER, http://www.deathpenaltyinfo.org/execution-list-2016. Given Glossip, these states
       presumably used compounded pentobarbital in these executions.
22     In support of his argument, Arthur points us to language from Baze that a state's refusal to change its method of execution
       “in the face of these documented advantages, [and] without a legitimate penological justification for adhering to its current
       method of execution” can violate the Eighth Amendment. Baze, 553 U.S. at 52, 128 S.Ct. at 1532. But this language
       would apply only where the death-sentenced petitioner has already met his burden of proof and established an available
       alternative method of execution that “ ‘significantly reduce[s] a substantial risk of severe pain,’ ” which Arthur did not
       do here. See Glossip, 135 S.Ct. at 2737.
23     We review a district court's ruling on summary judgment de novo. Mathews v. Crosby, 480 F.3d 1265, 1268 (11th Cir.
       2007). Summary judgment is appropriate only when the evidence before the court demonstrates that “there is no genuine
       dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The
       evidence must be viewed in the light most favorable to Arthur as the nonmoving party. Mathews, 480 F.3d at 1269.
24     Arthur failed to specifically plead, or request, a modification of the midazolam protocol in his Second or Third Amended
       Complaints. The district court would have been well within its discretion to dismiss any such putative claim. See Glossip,
       135 S.Ct. at 2739 (conferring on petitioners the burden to plead and prove a known and available alternative). But since
       the district court addressed the claim on the merits, we do too.
25     Rule 9.7.3 of the American Medical Association's (“AMA”) Code of Medical Ethics provides that “a physician must not
       participate in a legally authorized execution,” with “participation” defined as, inter alia, the “[r]endering of technical advice
       regarding execution.” AMA Code of Medical Ethics Rule 9.7.3 (2016).
26     Ironically, Dr. Kaye, Arthur's other expert, opined that midazolam was “fundamental[ly] unsuitab[le] ... as the first drug in
       the ADOC protocol” because it was “incapable” of maintaining unconsciousness through administration of the second
       and third drug. The district court found that this evidence was “wholly inconsistent” with Arthur's latest position that gradual
       administration of small doses of midazolam could be a feasible, readily available, and safer alternative. For this reason,
       the district court found that “Arthur cannot credibly propose the use of midazolam in any argument for a remedy [i.e., an
       alternative method], based upon his own evidence.” The district court did not see how Arthur can argue that midazolam
       in small doses can be used to painlessly render him unconscious and, in the same breath, say that the drug ought not
       to be used at all in any dose because it will not render him insensate during the administration of the second and third
       drugs. See Brooks, 810 F.3d at 822 (noting a similar “fundamental tension” in the petitioner's argument that a midazolam-
       only protocol was a known and available alternative).
       As an independent and alternative ground, this testimony by Arthur's own expert witness also demonstrates that the
       district court did not clearly err in finding that Arthur did not meet his burden to show a known, available, and substantially
       safer alternative, as he was required to do in his as-applied claim. Glossip, 135 S.Ct. at 2737; Gissendaner, 803 F.3d
       at 568–69.
27     We recognize that Dr. Buffington stated in his rebuttal declaration that a rapid infusion of midazolam could result in
       induction of anesthesia in as little as 30 seconds. We need not rely on his testimony, however, because Dr. Strader has
       no expertise in doses of midazolam for anesthesia or anesthesia at all.
28     To the extent that Arthur argues that the ADOC employees disagreed on how the results of a consciousness check should
       have been communicated to the warden, the point is immaterial because the ADOC-employee witnesses testified that
       an inmate never gave a reaction after the consciousness assessment was performed.
29     The parties dispute whether we should review Arthur's firing-squad claim de novo or merely for an abuse of discretion.
       We generally review the denial of a motion for leave to amend a complaint for abuse of discretion. McKinley v. Kaplan,
       177 F.3d 1253, 1255 (11th Cir. 1999). But a district court's decision to deny leave to amend based on futility is a legal
       conclusion, and we review such decisions de novo. Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1236 (11th Cir. 2008).
       We need not resolve this standard-of-review issue because Arthur's firing-squad arguments on appeal lack merit under
       even de novo review.
30     The dissent admits that Arthur did not opt for death by electrocution because he did not opt for it under the statute during
       the allotted time frame. See Ala. Code § 15–18–82.1(b) (“The election for death by electrocution is waived unless it is
       personally made by the person in writing and delivered to the warden of the correctional facility within 30 days after
       the certificate of judgment pursuant to a decision by the Alabama Supreme Court affirming the sentence of death....”).



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       But neither has Arthur claimed that execution by electrocution is unconstitutional, nor that the 30–day limit makes it
       unconstitutional. Thus, for purposes of the constitutional inquiry Arthur has raised, we cannot say that electrocution would
       not be a “feasible and readily implemented” alternative to lethal injection.
31     While the dissent claims that the firing squad is a “valid” alternative, the Supreme Court majority in Glossip did not opine
       about whether a firing squad remains a constitutional alternative to lethal injection, as that was not the issue before the
       Court in Glossip. The Glossip majority noted only that, back in 1879, the Supreme Court upheld a sentence of death
       by firing squad, citing Wilkerson v. Utah, 99 U.S. 130, 25 L.Ed. 345 (1879). Glossip, 135 S.Ct. at 2732. The principal
       dissent in Glossip “goes out of its way to suggest that a State would violate the Eighth Amendment if it used one of
       the methods of execution employed before the advent of lethal injection.” Id. at 2739. But, as the majority in Glossip
       pointed out, if States cannot use one of the “more primitive” methods used in the past and also cannot use certain drugs
       to carry out an execution by lethal injection, “the logical conclusion is clear. But we have time and again reaffirmed that
       capital punishment is not per se unconstitutional.” Id. Here, we need not reach any issue about the constitutionality of
       a firing squad.
32     Oklahoma later added nitrogen hypoxia as another authorized form of execution. Okla. Stat. tit. 22, § 1014 (2016).
33     This wide adoption of lethal injection also serves to undermine Arthur's argument that the district court's holding “will
       result in state-by-state variation in federal constitutional rights.”
34     The dissent isolates Arthur's firing-squad claim (first made in 2015) from the rest of his § 1983 case and complains
       that Arthur has not had any chance for discovery or a trial on that claim. But this argument wholly ignores that Arthur's
       complaint challenging Alabama's three-drug lethal injection protocol was filed in 2011, and Alabama changed the first
       drug to midazolam back in 2014. Thus, Arthur has had literally years of discovery and even a 2016 evidentiary hearing
       to demonstrate that the midazolam drug protocol is, either per se or as applied, unconstitutional. But Arthur has never
       sustained his heavy burden. Arthur's firing-squad claim fails under both prongs of Glossip.
35     As an alternative and independent ground, we also conclude Arthur's firing-squad claim is barred by laches. See
       Williams v. Allen, 496 F.3d 1210 (11th Cir. 2007) (upholding dismissal of § 1983 method-of-execution action based on
       unreasonable delay); Jones v. Allen, 485 F.3d 635 (11th Cir. 2007) (denying a stay). The Supreme Court made clear in
       2008—three years before Arthur filed this § 1983 case in 2011—that a petitioner-inmate had the burden to show that a
       proffered alternative was “feasible, readily implemented, and in fact significantly reduce[d] a substantial risk of severe
       pain,” such that the state's failure to adopt that alternative constituted cruel and unusual punishment under the Eighth
       Amendment. Baze, 553 U.S. at 41, 52, 128 S.Ct. at 1526, 1532. Despite this language, Arthur nevertheless waited until
       August 2015 before seeking to add this firing-squad alternative method to his § 1983 complaint. Such dilatory filing “leaves
       little doubt that the real purpose behind his claim is to seek a delay of his execution, not merely to effect an alteration
       of the manner in which it is carried out.” Jones, 485 F.3d at 640. In light of this delay, there was no error in the district
       court's denying Arthur leave to amend to add his firing-squad claim in August 2015.
1      Arthur's proposed allegations about the firing squad are attached as an appendix.
2      In recent years, several scholars have advocated for wider use of the firing squad. See Deborah W. Denno, The Firing
       Squad As “A Known and Available Alternative Method of Execution” Post-Glossip, 49 U. Mich. J. L. Reform 749 (2016);
       P. Thomas Distanislao, III, Note, A Shot in the Dark: Why Virginia Should Adopt the Firing Squad As Its Primary Method
       of Execution, 49 U. Rich. L. Rev. 779 (2015); Alexander Vey, Note, No Clean Hands in a Dirty Business: Firing Squads
       and the Euphemism of “Evolving Standards of Decency”, 69 Vand. L. Rev. 545 (2016). One such scholar concluded that
       “the firing squad is the most viable ‘known and available [execution] alternative’.... Indeed, [it] is the only current form
       of execution involving trained professionals, and it delivers a swift and certain death.” Denno, 49 U. Mich. J. L. Reform
       at 753 (quoting Glossip, 135 S.Ct. at 2731).
3      Given that Arthur requested to amend his complaint immediately after the Supreme Court's decision in Glossip, the
       Majority's conclusion that the request is barred by laches is unavailing. Indeed, in a similar case, the same district court
       judge who presided over Arthur's proceedings rejected the Majority's position. In Boyd v. Myers, the prisoner—a few
       weeks after the Glossip decision—sought to amend his complaint to include the firing squad, and the State argued that
       the request was untimely. See No. 2:14–cv–1017–WKW, slip op. at 6–7, 2015 WL 5852948 (M.D. Ala. Oct. 7, 2015). The
       district court judge concluded that, because “Glossip clarified” the “execution alternative” requirement and the prisoner
       made his request shortly after Glossip, the request was timely. See id. at 6, 10.
4      As an initial matter, the Majority appears to confuse the posture of Arthur's firing-squad claim. Arthur has only moved to
       add to his complaint the firing-squad claim. He has not been provided an opportunity to proceed to discovery, summary
       judgment, or trial on the claim. Evidence and proof therefore have no relevance in the discussion of whether the
       district court erred in denying Arthur relief on this issue. However, in arguing the futility of Arthur's request, the Majority



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       emphasizes Arthur's failure to “present any admissible evidence”—a feat that Arthur is expected to accomplish in the
       absence of the amended pleading and corresponding discovery.
       Although a district court has discretion in whether to grant a request to amend the complaint, the court in denying the
       request must articulate a valid reason for the denial. See 3-15 Moore's Federal Practice § 15.15 (Matthew Bender 3d
       ed.) (“[A] trial court must provide a reason for denying a motion to amend.”); Fed. R. Civ. P. 15(a)(2) (“The court should
       freely give leave [to amend a pleading] when justice so requires.”). The Majority claims that the district court could have
       listed several reasons for its denial here, but the court offered only one reason: futility due to an Alabama statute. We
       review a finding of futility de novo. Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1236 (11th Cir. 2008). And this dissent
       argues that under de novo review, the Majority's finding of futility based on Alabama law is erroneous.
5      The Majority however muddies this finding, as it also appears to reach a contradictory conclusion: that Alabama cannot
       turn to a non-designated method of execution unless a prisoner attacks both electrocution and lethal injection.
6      Lethal injection is not a unitary form of execution; it is a category of execution that can be carried out using a variety of
       methods. I use the term “lethal-injection-based execution alternative” to refer to an execution method that falls within
       that category.
7      Of course, this determination is inconsistent with the Majority's suggestion that Alabama cannot turn to the firing squad
       absent an attack on both lethal injection and electrocution.
8      While concluding that Arthur must rely on an alternative currently authorized by § 15–18–82.1, the Majority indicates
       that, under its reading of § 15–18–82.1, Arthur could have obtained relief based on an alternative that is not currently
       authorized if he successfully raised a per se challenge to lethal injection or electrocution. However, that point is a red
       herring. First, a prisoner such as Arthur who Alabama plans to kill via lethal injection has no standing to challenge
       electrocution. Second, it strains credulity to suggest that Arthur could, at this time, raise a legitimate argument that lethal
       injection is per se unconstitutional. Lethal injection is a category of execution that can be carried out in a variety of
       ways. A finding that lethal injection is per se unconstitutional would require a finding that every possible method of lethal
       injection is unconstitutional. Hence, it was not feasible for Arthur to successfully bring a per se challenge to electrocution
       or lethal injection. Such challenges do not provide a means for Arthur or others to obtain relief based on a method of
       execution not currently authorized by § 15–18–82.1.
9      These serious constitutional concerns provide yet another reason why the Majority's interpretation of § 15–18–82.1 is
       improper. Even if the text of the statute is susceptible both to the reading the Majority ascribes and to the one advanced
       above, because the reading advanced above avoids a clash with the Supremacy Clause, it is the one that must be
       employed. See Clark v. Martinez, 543 U.S. 371, 381, 125 S.Ct. 716, 724, 160 L.Ed.2d 734 (2005).
10     As previously noted, because Florida has a statute that is identical to § 15–18–82.1, the Majority's decision has the same
       consequences for Florida and Alabama prisoners. Compare Ala. Code § 15–18–82.1, with Fla. Stat. § 922.105.
11     The Majority's decision may also chill the rights of prisoners outside our circuit. Several states have legislation similar to
       § 15–18–82.1. Compare Ala. Code § 15–18–82.1, with, e.g., Tenn. Code § 40–23–114 (2014); Ky. Rev. Stat. § 431.220–
       223 (1998).
12     In addition to finding that the firing squad is not feasible and readily implemented, the Majority opines that the district
       court's denial of Arthur's request to amend was not error because Arthur has failed to prove that Alabama's three-drug
       lethal injection protocol is sure or very likely to cause serious harm. Based on the posture of this case, that is not a proper
       basis for affirming the district court. The parties have not litigated whether Alabama's protocol, as a general matter, is
       sure or very likely to cause serious harm. The district court dismissed all of Arthur's general method-of-execution claims
       based on the “execution alternative” requirement, and Arthur's as-applied challenge did not present the issue of whether
       the protocol is sure or very likely to cause serious harm to prisoners. Because the parties have not litigated that issue,
       the Majority's reliance on the issue is misplaced.


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                                                               Preliminary injunction vacated.
                    860 F.3d 881
                                                               Karen Nelson Moore, Circuit Judge, filed a dissenting
            United States Court of Appeals,
                                                               opinion, in which Cole, Chief Judge, and Clay, Stranch,
                    Sixth Circuit.
                                                               and Donald, Circuit Judges, joined, and White, Circuit
     IN RE: OHIO EXECUTIONPROTOCOL.                            Judge, join in part.
           Angelo Fears, et al., Plaintiffs,
        Gary Otte; Ronald Phillips; Raymond                    Jane B. Stranch, Circuit Judge, filed an opinion
                                                               concurring in the dissent of Moore, Circuit Judge.
           Tibbetts, Plaintiffs-Appellees,
                          v.
    Donald Morgan, et al., Defendants-Appellants.
                                                                West Headnotes (10)
                       No. 17-3076
                            |
                  Argued: June 15, 2017                         [1]   Sentencing and Punishment
                            |                                             Mode of execution
             Decided and Filed: June 28, 2017                         To challenge successfully a State's chosen
                                                                      method of execution, as violating the
Synopsis                                                              Eighth Amendment's prohibition of cruel and
Background: Death-row inmates brought § 1983                          unusual punishment, the challengers must
action against state officials and anonymous drug                     establish that the method presents a risk that
manufacturers, compounders, intermediaries, and others                is sure or very likely to cause serious pain and
involved in state's execution process, challenging                    needless suffering. U.S. Const. Amend. 8.
state's three-drug lethal-injunction protocol, which used
midazolam as a sedative, as cruel and unusual punishment              4 Cases that cite this headnote
in violation of Eighth Amendment. After state announced
execution date for three inmates, and after the court
                                                                [2]   Sentencing and Punishment
vacated stay of proceedings as to those inmates, the
                                                                          Mode of execution
United States District Court for the Southern District of
Ohio, No. 2:11-cv-01016, Michael R. Merz, United States               Expert testimony offered by state death-
Magistrate Judge, 2017 WL 378690, granted in part and                 row inmates regarding effects of midazolam,
denied in part inmates' motion for preliminary injunction.            which was used as sedative in state's three-
State officials and other defendants appealed.                        drug lethal injection protocol, and eyewitness
                                                                      testimony regarding executions carried out
                                                                      with midazolam, did not meet inmates' heavy
                                                                      burden of showing that state's protocol,
Holdings: On rehearing en banc, the Court of Appeals,                 which used 500-milligram dose of midazolam,
Kethledge, Circuit Judge, held that:                                  would be very likely to leave them conscious
                                                                      enough to feel serious pain, as would be
[1] inmates did not show that the protocol would be very              required for successful claim for violation of
likely to leave them conscious enough to feel serious pain;           Eighth Amendment's prohibition of cruel and
                                                                      unusual punishment. U.S. Const. Amend. 8;
[2] inmates did not show that a barbiturate-only protocol             42 U.S.C.A. § 1983.
for lethal injections, using pentobarbital, was feasible and
could be readily implemented; and                                     1 Cases that cite this headnote

[3] state was not judicially estopped with respect to its
                                                                [3]   Sentencing and Punishment
change in policy after earlier litigation.
                                                                          Mode of execution




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        Some risk of pain is inherent in any method            Amendment; District Court was seriously
        of execution, no matter how humane, and                mistaken as to what “available” and “readily
        the Eighth Amendment's prohibition of cruel            implemented” meant. U.S. Const. Amend. 8;
        and unusual punishment does not guarantee a            42 U.S.C.A. § 1983.
        pain-free execution. U.S. Const. Amend. 8.
                                                               2 Cases that cite this headnote
        4 Cases that cite this headnote
                                                         [7]   Estoppel
 [4]    Sentencing and Punishment                                   Claim inconsistent with previous claim or
            Mode of execution                                  position in general
        Challengers to a State's chosen method                 The judicial estoppel doctrine's purpose is
        of execution, as violating the Eighth                  to prevent a party from abusing the judicial
        Amendment's prohibition of cruel and                   process through cynical gamesmanship by
        unusual punishment, must prove that an                 changing positions to suit an exigency of the
        alternative method of execution is available,          moment.
        feasible, and can be readily implemented.
        U.S.Const. Amend. 8.                                   Cases that cite this headnote

        3 Cases that cite this headnote
                                                         [8]   Estoppel
                                                                    Claim inconsistent with previous claim or
 [5]    Sentencing and Punishment                              position in general
            Mode of execution                                  When the judicial estoppel doctrine is invoked
        A barbiturate-only protocol for lethal                 against a state, it must be construed narrowly.
        injections, using pentobarbital, was not
        feasible and could not be readily implemented,         1 Cases that cite this headnote
        and thus, state death-row inmates did not
        show that state's three-drug lethal-injunction   [9]   Estoppel
        protocol, which used midazolam as a sedative,               Claim inconsistent with previous claim or
        was cruel and unusual punishment in violation          position in general
        of the Eighth Amendment; state could not
                                                               State's change in policy, in using a new three-
        obtain pentobarbital or its active ingredient
                                                               drug lethal injection protocol with midazolam
        with ordinary transactional effort. U.S.
                                                               as a sedative, after earlier litigation in
        Const. Amend. 8; 42 U.S.C.A. § 1983.
                                                               which a challenge to state's earlier three-drug
        1 Cases that cite this headnote                        lethal injection protocol, which used sodium
                                                               thiopental as a sedative, was found to be
                                                               moot because state had switched to a one-
 [6]    Criminal Law                                           drug protocol, did not involve gamesmanship,
            Review De Novo                                     and thus, judicial estoppel doctrine was not
        District Court's error, in determining that            applicable, in state death-row inmates' § 1983
        state death-row inmates had shown that an              action alleging that state's new protocol was
        alternative method of execution was available,         cruel and unusual punishment in violation of
        feasible, and could be readily implemented,            Eighth Amendment; state's representation in
        was a legal error that was subject to                  earlier litigation that there was absolutely no
        de novo review, on state's appeal from                 reason to believe that state would reinstate
        preliminary injunction in favor of inmates,            the previous three-drug protocol occurred
        in § 1983 action alleging that state's three-          before death-penalty opponents successfully
        drug lethal-injunction protocol was cruel and          prevented states from obtaining the drugs
        unusual punishment in violation of the Eighth



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        necessary for one-drug protocol. U.S. Const.      GRIFFIN,      KETHLEDGE,          WHITE,      STRANCH,
        Amend. 8; 42 U.S.C.A. § 1983.                     DONALD, and THAPAR, Circuit Judges.          *

        5 Cases that cite this headnote

                                                          KETHLEDGE, J., delivered the opinion of the
 [10]   Estoppel                                          court in which BATCHELDER, GIBBONS, ROGERS,
             Claim inconsistent with previous claim or    SUTTON, McKEAGUE, GRIFFIN, and THAPAR,
        position in general                                *884 JJ., joined, and WHITE, J., joined in the analysis
        Judicial estoppel prohibits playing fast          of judicial estoppel. MOORE, J. (pp. 892–909), delivered
        and loose with the courts, that is,               a separate dissenting opinion in which COLE, C.J. and
        abusing the judicial process through cynical      CLAY, STRANCH, and DONALD, JJ., joined, and
        gamesmanship by changing positions to suit        WHITE, J., joined in all except part II.C. regarding
        an exigency of the moment.                        judicial estoppel. STRANCH, J. (pp. 909–11), delivered a
                                                          separate concurrence to Judge Moore's dissent.
        Cases that cite this headnote

                                                                                  OPINION

                                                          KETHLEDGE, Circuit Judge.
 *883 Appeal from the United States District Court for
the Southern District of Ohio at Columbus. No. 2:11-      Roughly two decades have passed since the plaintiffs in
cv-01016—Michael R. Merz, Magistrate Judge.               this case murdered their victims. Ronald Phillips raped
                                                          a three-year-old girl and beat her so badly that her
Attorneys and Law Firms                                   internal organs ruptured. For two days she suffered
                                                          intense abdominal pain and vomiting, until her heart
REARGUED EN BANC: Eric E. Murphy, OFFICE
                                                          collapsed. See State v. Phillips, 74 Ohio St.3d 72, 656
OF THE OHIO ATTORNEY GENERAL, Columbus,
                                                          N.E.2d 643, 650-52 (1995). Gary Otte entered the home of
Ohio, for Appellants. Mark E. Haddad, SIDLEY
                                                          an Ohio man, robbed him, and then shot him in the head.
AUSTIN LLP, Los Angeles, California, for Appellees.
                                                          Two nights later, Otte pushed his way into a woman's
ON SUPPLEMENTAL BRIEF: Eric E. Murphy, Peter
                                                          home and did the same things to her. After each murder
T. Reed, Hannah C. Wilson, Thomas E. Madden, Jocelyn
                                                          Otte went out partying. See State v. Otte, 74 Ohio St.3d
K. Lowe, Charles L. Wille, Katherine E. Mullin, OFFICE
                                                          555, 660 N.E.2d 711, 715-16 (1996). Raymond Tibbetts
OF THE OHIO ATTORNEY GENERAL, Columbus,
                                                          killed an elderly man and his caretaker. Police found the
Ohio, for Appellants. Mark E. Haddad, Joshua E.
                                                          man slumped in his chair with butcher knives protruding
Anderson, Alycia A. Degen, Katherine A. Roberts, Collin
                                                          from his chest and back. His caretaker lay on the floor in a
P. Wedel, Adam P. Micale, SIDLEY AUSTIN LLP,
                                                          pool of blood with her skull cracked open and its contents
Los Angeles, California, Allen L. Bohnert, Erin G.
                                                          scattered nearby. See State v. Tibbetts, 92 Ohio St.3d 146,
Barnhart, Adam M. Rusnak, Nadia Wood, OFFICE
                                                          749 N.E.2d 226, 237-39 (2001).
OF THE FEDERAL PUBLIC DEFENDER FOR
THE SOUTHERN DISTRICT OF OHIO, Columbus,
                                                          Phillips, Otte, and Tibbetts now claim that Ohio's
Ohio, James A. King, PORTER, WRIGHT, MORRIS
                                                          ExecutionProtocol would cause them to suffer severe pain
& ARTHUR LLP, Columbus, Ohio, Vicki Werneke,
                                                          in violation of the Eighth Amendment. In a sense the
FEDERAL PUBLIC DEFENDER, Cleveland, Ohio,
                                                          claim is unprecedented: the Supreme Court “has never
Timothy F. Sweeney, LAW OFFICE OF TIMOTHY
                                                          invalidated a State's chosen procedure for carrying out a
FARRELL SWEENEY, Cleveland, Ohio, Lisa M.
                                                          sentence of death as the infliction of cruel and unusual
Lagos, OFFICE OF THE OHIO PUBLIC DEFENDER,
                                                          punishment.” Glossip v. Gross, ––– U.S. ––––, 135 S.Ct.
Columbus, Ohio, for Appellees.
                                                          2726, 2732, 192 L.Ed.2d 761 (2015) (internal quotation
Before: COLE, Chief Judge; BATCHELDER, MOORE,             marks omitted). The State's chosen procedure here is the
CLAY, GIBBONS, ROGERS, SUTTON, McKEAGUE,                  same procedure (so far as the combination of drugs is
                                                          concerned) that the Supreme Court upheld in Glossip.



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Every other court of appeals to consider that procedure           the administration of 500 milligrams of midazolam—
has likewise upheld it, including most recently the Eighth        about 100 times the usual therapeutic dose—followed
Circuit, which rejected a nearly identical challenge in a         by a paralytic agent (pancuronium bromide, rocuronium
procedural posture identical to the one here. See McGehee         bromide, or vecuronium bromide) and potassium
v. Hutchinson, 854 F.3d 488, 492 (8th Cir. 2017) (en banc)        chloride. Death-row inmates filed a § 1983 action
(per curiam), cert. denied, ––– U.S. ––––, 137 S.Ct. 1275,        alleging that Oklahoma's protocol violated the Eighth
197 L.Ed.2d 746 (2017); Glossip, 135 S.Ct. at 2739-40             Amendment. As relief, the inmates sought a stay, which
(collecting cases); Brooks v. Warden, 810 F.3d 812, 818-22        the district court denied. The Supreme Court affirmed
(11th Cir. 2016); cf. Jordan v. Fisher, 823 F.3d 805, 811-12      the denial for two “independent reasons”: that the district
(5th Cir. 2016). Yet here the district court thought the          court “did not commit clear error when it found that
same procedure is likely invalid. We respectfully disagree        midazolam is highly likely to render a person unable to feel
and reverse the court's grant of a preliminary injunction.        pain during an execution”; and that Oklahoma was unable
                                                                  to acquire either pentobarbital or sodium thiopental. Id.
                                                                  at 2731, 2738-39.

                              I.
                                                                  In October 2016, Ohio adopted a lethal-injection protocol
The litigation that produced this appeal began in 2004,           using the same three drugs that Oklahoma uses. Like
when death-row inmates challenged Ohio's then-existing            the Oklahoma protocol, the Ohio protocol contains
three-drug protocol under 42 U.S.C. § 1983. That protocol         several procedural safeguards to ensure that executions
called for the injection of sodium thiopental (which              are carried out humanely, including guidelines for
anesthetizes the prisoner) followed by pancuronium                identifying viable IV sites, detailed requirements for
bromide (which paralyzes the prisoner's muscles) and              training execution team members, and a “consciousness
finally potassium chloride (which stops the prisoner's            check” after the 500-milligram injection of midazolam.
heart). By 2008, 30 of the 36 states with the death penalty       If the prisoner is found to be conscious, a qualified
had adopted that three-drug protocol. See Baze v. Rees,           drug administrator can inject another 500 milligrams
553 U.S. 35, 42-44, 128 S.Ct. 1520, 170 L.Ed.2d 420               of midazolam. After confirming that the prisoner is
(2008). Yet the Ohio inmates argued that the protocol             unconscious, the team can then administer the second and
created an unacceptable risk that, if the sodium thiopental       third drugs. See R. 667-1 at 19828-29.
were improperly administered, inmates would feel the
painful effects of the second and third drugs. In 2008,           Ohio planned to use this protocol to execute Phillips,
the Supreme Court rejected that argument and upheld               Otte, and Tibbetts during the first four months of
Kentucky's nearly identical three-drug protocol. See id. at       this year. The three inmates then filed complaints and
41, 128 S.Ct. 1520.                                               moved for a preliminary injunction, claiming among other
                                                                  things that Ohio's three-drug protocol violates the Eighth
 *885 Nevertheless, the next year, Ohio announced that            Amendment's ban on “cruel and unusual punishments.”
it was switching to the same one-drug protocol favored by         The plaintiffs' theory here is the same one the Court
the losing plaintiffs in Baze: a massive, lethal dose of either   rejected in Glossip: that the first drug—a massive dose
sodium thiopental or another barbiturate, pentobarbital.          of midazolam—will not prevent them feeling severe pain
From 2010 to 2013, Ohio executed 20 inmates using those           after injection of the second and third drugs.
barbiturates. Meanwhile, opponents of the death penalty
successfully pressured the pharmaceutical companies who           After an evidentiary hearing, the district court found that
make the drugs to stop selling them to states. See Glossip,       “use of midazolam as the first drug” in Ohio's three-drug
135 S.Ct. at 2733-35. Ohio's supplies soon ran out, as did        protocol would create a “substantial risk of serious harm”
other states'. See id.; R. 941 at 31942-44.                       under Baze and Glossip. The court separately held that
                                                                  Ohio was estopped from using the paralytic and heart-
The shortage led some states with three-drug protocols            stopping drugs because of Ohio's putative representations
to turn to midazolam, a sedative in the same family               when it switched from its original three-drug protocol to
of drugs as Valium. See Glossip, 135 S.Ct. at 2733-34.            the one-drug protocol in 2009. Thus, the court held that
In 2014, Oklahoma adopted a protocol that called for              the plaintiffs had demonstrated a likelihood of success



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on their claims, and stayed the plaintiffs' executions. This    procedure presents a “substantial risk of serious harm,”
appeal followed.                                                Baze, 553 U.S. at 50, 128 S.Ct. 1520 (internal quotation
                                                                marks omitted). That standard is correct so far as it goes;
                                                                but it elides the more rigorous showing—that the method
                                                                of execution is sure or very likely to cause serious pain—
                            II.
                                                                that the Supreme Court and our court have repeatedly said
                                                                is necessary to satisfy the “substantial risk” standard in
                            A.                                  the particular context present here. Accord McGehee, 854
                                                                F.3d at 492.
The plaintiffs first argue that Ohio's three-drug protocol
violates their Eighth Amendment right to be free from
                                                                Nor, respectfully, did the district court offer much
cruel and unusual punishment. As to that claim, we begin
                                                                reasoning in support of its decision. (To some extent
with two areas of common ground. First, we agree with the
                                                                that omission is understandable, given the tight timelines
plaintiffs *886 and the district court that the protocol's
                                                                applicable here.) The bulk of the court's opinion merely
second and third drugs—the paralytic and potassium
                                                                summarized the expert testimony on both sides. The
chloride, which stops the inmate's heart—would cause
                                                                relevant question, to reiterate, is whether the plaintiffs
severe pain to a person who is fully conscious. (Hence
                                                                met their “heavy burden,” Baze, 553 U.S. at 53, 128
the need for the first drug—the 500-milligram dose of
                                                                S.Ct. 1520, to show that an inmate who receives a 500-
midazolam.) Second, we reject the State's argument that
                                                                milligram dose of midazolam is “sure or very likely” to
the Supreme Court's holding in Glossip categorically bars       be conscious enough to experience serious pain from the
the plaintiffs' claim here. The Court's holding—that the        second and third drugs in the protocol. Glossip, 135 S.Ct. at
district court there “did not commit clear error when it        2737. As to that question the experts offered diametrically
found that midazolam is highly likely to render a person        opposed conclusions: the plaintiffs' experts argued that
unable to feel pain during an execution [,]” 135 S.Ct.          serious pain was “highly likely” or a “virtual certainty,”
at 2739—is couched expressly in terms of a standard of          while Ohio's experts testified that the risk was “very,
review that cuts the other way here. But neither, as the        very low” or “speculative.” Compare R. 923 at 30802-03
plaintiffs suggest, is Glossip irrelevant here. Quite the       and R. 844-1 at 24944 with R. 924 at 31063-64 and R.
contrary: the Court's opinion contains plenty of reasoning      852-2 at 25831-32. Yet the district court offered virtually
that was not confined to the record there—and which             no reason for its decision to adopt the conclusions
therefore binds us just as much as the reasoning in any         of the plaintiffs' experts wholesale. The court did say,
other opinion of the Supreme Court.                             “[w]ithout knowing precisely why,” that inmates who are
                                                                “administered midazolam” (including doses as low as ten
                                                                milligrams—one fiftieth of the dosage at issue here) “take
                             1.                                 longer to die and exhibit different bodily behaviors in
                                                                the process.” R. 948 at 32227. The court also noted that
 [1] Yet here the district court's opinion was seriously        “there was little support in the record for the idea that
flawed nonetheless. To begin with, that opinion did not         midazolam would be used alone” (again, at doses that
apply the relevant legal standard, which by now the             are a tiny fraction of the dosage at issue here) “for *887
Supreme Court and our court have recited a total of             surgeries other than those performed on an outpatient
four times. Specifically, to challenge successfully a State's   basis.” Id. at 32228. The latter observation has little
chosen method of execution, the plaintiffs must “establish      relevance in light of a passage from Glossip that does
that the method presents a risk that is sure or very            bind us here: “the fact that a low dose of midazolam is
likely to cause” serious pain and “needless suffering [.]”      not the best drug for maintaining unconsciousness during
Glossip, 135 S.Ct. at 2737 (emphasis in original) (internal     surgery says little about whether a 500-milligram dose
quotations marks omitted); see also Baze, 553 U.S. at 50,       of midazolam is constitutionally adequate for purposes of
128 S.Ct. 1520 (same); Cooey v. Strickland (Cooey II ), 604     conducting an execution.” 135 S.Ct. at 2742 (emphasis in
F.3d 939, 944 (6th Cir. 2010) (same); Cooey v. Strickland       original). And taken even on their own terms, neither of
(Cooey I ), 589 F.3d 210, 220 (6th Cir. 2009) (same).           the district court's observations provides much support for
Instead, the district court addressed only whether Ohio's       the conclusion that a 500-milligram dose of midazolam



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is very likely to leave an inmate conscious enough to feel         met their burden for reasons the court did not articulate.
serious pain.                                                      The plaintiffs' evidence as to risk of pain fell into two
                                                                   main categories: testimony about midazolam's effects, and
The court also drew what it called “reasonable inferences”         testimony about executions carried out with midazolam.
from the abandonment of midazolam-based protocols by               We address each in turn.
three states. R. 948 at 32228. First, the district court
noted that, in 2014, Ohio abandoned the midazolam-                 Each side offered testimony from two experts as to
opioid protocol that it used to execute Dennis McGuire.            midazolam's effects. The plaintiffs offered testimony
Id. But McGuire's dose of midazolam was only 10                    from Dr. Sergio Bergese, M.D., an anesthesiologist, and
milligrams, so again his execution says little about the           Dr. Craig Stevens, Ph.D., a pharmacologist. The State
effectiveness of a 500-milligram dose. Second, the district        offered testimony from Dr. Joseph Antognini, M.D., an
court found that Florida, “despite having conducted many           anesthesiologist, and Dr. Daniel Buffington, Ph.D., a
executions using midazolam, abandoned the drug while               pharmacologist.
this case was in hearing.” Id. But the court did not
explain why Florida changed its protocol or why that               The experts generally agreed that midazolam ultimately
decision helps the plaintiffs here. And meanwhile, in              has a “ceiling” above which an increase in dosage will
Glossip, the Supreme Court observed that Florida had               not have *888 any greater anesthetic effect. (On that
used midazolam in 11 executions, apparently “without               point Dr. Buffington was the only dissenter.) Dr. Stevens
any significant problems.” 135 S.Ct. at 2734, 2746. Third,         attempted to estimate the ceiling using two different
the district court noted that Arizona had “abandoned               methods. One method, based on extrapolations from
midazolam shortly before [the hearing below] as a result           petri-dish experiments, suggested that the ceiling effect
of settling litigation over its use.” R. 948 at 32228. But         occurs at 228 milligrams. R. 923 at 30800. Another
Arizona's settlement agreement says nothing about why              method, based on extrapolations from clinical studies,
the State abandoned midazolam, other than that the State           yielded an estimate of 25 milligrams. R. 836-1 at 24827.
had run out of it. See R. 976-2 at 36214. None of these            That Dr. Stevens's estimates vary by a factor of nine,
states' actions, therefore, provide reason to infer that 500       however, underscores that they are highly speculative.
milligrams of midazolam is sure or very likely to leave an         Moreover, even Dr. Stevens's estimates suggest that any
inmate conscious enough to feel serious pain.                      ceiling effect arrives only at doses five to 45 times greater
                                                                   than the usual therapeutic dose. And in any event the
Otherwise, the district court merely observed that “there          relevant question is not whether the ceiling effect arrives
are not now and never will be clinical studies of the              at the equivalent of five doses or 45, but whether, once
effect of injecting 500 mg of midazolam into a person[,]”          it arrives, an inmate is sure or very likely to experience
and that “we certainly cannot ask the executed whether             serious pain from the second and third drugs. See Glossip,
they experienced pain after the injection of midazolam[.]”         135 S.Ct. at 2743.
R. 948 at 32227-28. Those observations are obviously
correct, but the district court's reliance on them effectively     As to that point, Dr. Stevens testified that midazolam
shifted the burden of proof to the State. Fairly or not, the       cannot produce “general anesthesia,” the level of
applicable legal standard requires the plaintiffs to prove         unconsciousness appropriate for major surgeries. Studies
their allegations to a high level of certainty; yet the district   indicate that midazolam—at doses in the therapeutic
court based its decision, at best, on uncertainty.                 range—produces “deep sedation,” a level of brain
                                                                   depression just short of general anesthesia. But none
                                                                   of those studies involved the massive doses at issue
                                                                   here. See id. at 2742 (“The effect of a small dose of
                              2.
                                                                   midazolam has minimal probative value about the effect
 [2] The district court's findings thus provide little support     of a 500-milligram dose”). Meanwhile, the experts for
for its conclusion that Ohio's three-drug protocol creates         both sides agreed that midazolam is sometimes used alone
an unconstitutional risk of pain. Since we can affirm the          for intubation, a medical procedure in which a tube is
district court's decision on any ground supported by the           inserted into a person's windpipe. Dr. Antognini, one
record, however, we must consider whether the plaintiffs           of Ohio's experts, testified that intubation is “incredibly



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stimulating.” R. 924 at 31052. Dr. Bergese likewise               involved a dose of 10 milligrams of midazolam rather
acknowledged that intubation is “very reactive,” meaning          than 500. And the district court in McGuire's case found
that “people react to [it] quite a bit.” R. 923 at 30900. True,   that McGuire had a condition that “might make him
Dr. Bergese asserted in his expert report that the protocol's     susceptible to an airway obstruction.” R. 948 at 32191
second and third drugs are more painful than intubation.          n.26. Hence that execution too has “little probative
But Dr. Bergese did not cite any medical evidence to              value[.]” Glossip, 135 S.Ct. at 2746.
support that assertion. And Dr. Antognini did cite studies
showing that injection of the paralytic drug has no effect        That leaves six executions that were conducted using the
on a sedated person's level of consciousness as measured          same protocol at issue here. But five of those involved
by a brain scan, even when the person appears to flinch in        reports only of eyes opening, “head movements,” and
response. R. 924 at 31066. Dr. Antognini further testified        “foot movements” after the injection of midazolam.
that midazolam would reduce or remove any sensation of            R. 844-1 at 24974-80. And the plaintiffs concede that
suffocation (commonly referred to as “air hunger”) caused         “evidence of slight movements might, in a vacuum, not
by the paralytic. See id. at 31072, 31088-89.                     be compelling evidence of consciousness.” Appellee Br.
                                                                  54. Dr. Bergese likewise testified that minor movements
Thus, even Dr. Bergese—the plaintiffs' principal expert as        are possible even under general anesthesia. R. 923 at
to whether Ohio's executionprotocol would cause inmates           30834, 30850. Moreover, even in executions involving
to experience severe pain—admitted that the science               barbiturates, inmates may have “convulsions” without a
on this issue “could go either way.” R. 923 at 30844,             paralytic. Workman v. Bredesen, 486 F.3d 896, 909 (6th
30909. What tipped the balance for him, rather, was “the          Cir. 2007). We upheld the use of a paralytic in executions
eyewitness reports” from laymen who attended executions           for that very reason, finding legitimate a state's concern
involving midazolam. Id. at 30909; see also id. at 30870.         that “lethal injection without [the paralytic] would
But that data came with a raft of problems of its own.            typically result in involuntary movement,” which “might
First, the sample size was small: in his expert report, Dr.       be misinterpreted as ... an indication of consciousness.” Id.
Bergese discussed only nine midazolam-based executions.
See R. 844-1 at 24972-80. Second, most of those accounts          That leaves only the execution of Ronald Smith in
came from witnesses who, according to the district court,         Alabama. The district court heard testimony about that
were likely to be “highly biased”—such as relatives of            execution from Spencer Hahn, a federal defender in the
executed inmates, capital-defense attorneys, and even the         Alabama Capital Habeas Unit. According to Hahn, at
inmates' own lawyers. R. 923 at 30869. And none of these          some point after the injection of midazolam, Smith began
witnesses had any medical training. See, e.g., R. 922 at          coughing, clenching and unclenching his fists, flailing his
30644, 30713. Thus, as Dr. Bergese himself admitted, “the         arms, and moving his lips. R. 922 at 30619. Both sides'
quality of the data is not there.” R. 923 at 30910; see also      experts agreed, however, that people's bodies can move at
id. at 30869.                                                     reduced levels of consciousness. Dr. Antognini explained
                                                                  that surgical patients under anesthesia can respond to
The reliability of Dr. Bergese's opinion does not improve         noxious stimuli in complex ways, sometimes by thrashing
when one considers the evidence of the nine executions            about violently. R. 852-1 at 25792; R. 924 at 31037, 31044,
themselves. Two of them—the execution of Clayton                  31063-64. That is why patients' arms are strapped down
Lockett in Oklahoma and the execution of Joseph                   and their eyes taped shut. R. 924 at 31044. Indeed, as
Wood in Arizona—are ones that the Supreme Court                   the “Lazarus phenomenon” illustrates, even brain-dead
has specifically said *889 have “little probative value”          persons can move their limbs and seemingly respond
because they “did not involve the protocol at issue here.”        to stimuli. See id. at 31036-37. Dr. Stevens agreed that
Glossip, 135 S.Ct. at 2746. And notwithstanding the               “reflexive withdrawal from a noxious stimulus is not
plaintiffs' assertion to the contrary, we are not free to         considered a purposeful movement.” R. 948 at 32196.
disregard that reasoning simply because the plaintiffs'           Similarly, Dr. Bergese testified that “movement is ... in the
experts have to some extent testified to the contrary here.       spinal cord,” so “patients are going to move even when
Moreover, Lockett's IV line was not properly connected.           the consciousness is depressed.” R. 923 at 30834. And
See R. 948 at 32147; Glossip, 135 S.Ct. at 2734, 2746.            a reporter for the Columbus Dispatch, who witnessed 19
A third execution—the McGuire execution in Ohio—                  executions using barbiturate-based protocols, said that he



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had sometimes seen “clenching and unclenching of the
hands.” R. 922 at 30708.
                                                                                             B.

As for coughing or gasping, neither demonstrates that             [4] [5] That shortcoming by itself is sufficient to defeat
the inmate is feeling air hunger. Dr. Antognini testified        the plaintiffs' claim under Glossip. But the district court
that midazolam, like other anesthetics, can remove the           also erred in its analysis of Glossip's second prong—
sensation of air hunger by depressing the drive to breathe.      which requires the plaintiffs to prove that an alternative
R. 924 at 31071-73, 31088-93. Even Dr. Bergese admitted          method of execution is “available,” “feasible,” and can
that an inmate who gasps repeatedly during an execution          be “readily implemented,” among other things. Id. at
might not be conscious, and that involuntary respirations        2737. The court found this requirement met as to
associated with the process of dying are hard to distinguish     one of the plaintiffs' proposed alternatives, namely a
from purposeful attempts to breathe. See R. 923 at               one-drug, barbiturate-only method using either sodium
30860-61. Dr. Antognini also testified that patients can         thiopental or pentobarbital. The court acknowledged,
cough vigorously while under anesthesia for surgery,             however, that Ohio no longer has any supplies of these
though this behavior may *890 signal that the patient is         drugs, that “Ohio's efforts to obtain the drug from other
shifting to a lighter level of anesthesia. R. 924 at 31037,      States and from non-State sources have not met with
31043, 31157, 31178.                                             success[,]” and that Ohio is “not likely” to overcome
                                                                 these obstacles anytime soon. R. 948 at 32229. Yet the
All that said, Hahn's description of the Smith execution         court concluded that barbiturates are “available” to Ohio
is the plaintiffs' best evidence in support of their claim.      because “there remains the possibility” that Ohio can
But that evidence is far from compelling. Some people            obtain the active ingredient of pentobarbital and have it
react differently to drugs than other people do, see R.          made into injectable form by a compounding pharmacy.
923 at 30896; and the amount of movement reported                Id.
in Smith's execution appears to be the exception, not
the rule, for executions with the three-drug protocol.            [6] The district court was seriously mistaken as to what
More fundamentally, as Dr. Bergese himself explained,            “available” and “readily implemented” mean. (For that
consciousness falls on a “spectrum.” Id. at 30830. Yet he        reason the district court's error is legal, and thus subject
appeared to treat consciousness as binary when he opined         to de novo review. See Highmark Inc. v. Allcare Health
that an inmate sedated with 500 milligrams of midazolam          Mgmt. Sys., Inc., ––– U.S. ––––, 134 S.Ct. 1744, 1748,
would feel pain the same way a conscious person would,           188 L.Ed.2d 829 (2014).) To obtain pentobarbital or its
simply because the inmate clenches his fists or coughs.          active ingredient, Ohio would need to receive an import
                                                                 license from the Drug Enforcement Administration. R.
 [3] In sum, we will grant that the plaintiffs have shown        948 at 32229. Ohio's application for that license has
some risk that Ohio's executionprotocol may cause some           been pending, without apparent action by the DEA,
degree of pain, at least in some people. But some risk of        for more than four months. See R. 966-13 at 34506-10;
pain “is inherent in any method of execution—no matter           R. 966-14 at 34512-17. Ohio does not know whether
how humane[.]” Baze, 553 U.S. at 47, 128 S.Ct. 1520.             the DEA will approve its application, or even when
And the Constitution does not guarantee “a pain-free             that decision might be made. R. 948 at 32229. And
execution[.]” Cooey I, 589 F.3d at 220. Different people         even if that application is approved, Ohio might not be
may have different moral intuitions as to whether—taking         able to locate a willing supplier or manufacturer, for
into account all the relevant circumstances—the potential        reasons the Supreme Court explained at some length in
risk of pain here is acceptable. But the relevant legal          Glossip.See135 S.Ct. at 2733. As *891 the district court
standard, as it comes to us, requires the plaintiffs to show     acknowledged, even the plaintiffs' expert, Dr. Stevens,
that Ohio's protocol is “sure or very likely” to cause serious   “was unable to identify any manufacturers or suppliers of
pain. Glossip, 135 S.Ct. at 2737, 2745. The district court       thiopental and/or pentobarbital who were willing to sell
did not meaningfully apply that standard here. And the           those drugs, or even those drugs' active pharmaceutical
plaintiffs have fallen well short of meeting it.                 ingredients, to Ohio for the purposes of conducting lethal
                                                                 injection executions.” R. 948 at 32163. The plaintiffs,
                                                                 for their part, rely on Dr. Buffington's testimony about



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an affidavit he filed in a prior Alabama case, in which         [7] [8] The doctrine's purpose is to prevent a party
he stated that he believed “there are pharmacists in the       “from abusing the judicial process through cynical
United States that are able to compound pentobarbital          gamesmanship” by changing positions “to suit an
for use in lethal injections because other states have been    exigency of the moment.” Mirando, 766 F.3d at 545. And
reported to have obtained compounded pentobarbital             when, as here, the doctrine is invoked against a state,
for use in executions.” R. 925 at 31440-41. But that           it must be “construed narrowly.” See United States v.
is quite different from saying that any given state can        Owens, 54 F.3d 271, 275 (6th Cir. 1995).
actually locate those pharmacies and readily obtain the
drugs. And Dr. Buffington testified that he personally          [9] According to the plaintiffs, Ohio's plan to use a three-
contacted 15 pharmacies to that end without success.           drug protocol contradicts Ohio's statements in 2009 that
Id. Indeed, in the very case in which Dr. Buffington           it was switching to a one-drug protocol and that “going
submitted his affidavit, the Eleventh Circuit rejected the     forward, pancuronium bromide [the paralytic drug] no
claim that pentobarbital was available to Alabama. Arthur      longer will be used as part of the lethal injection process.”
v. Comm'r, Ala. Dep't of Corr., 840 F.3d 1268, 1296 (11th      R. 718-3 at 22390. Ohio also stated in a motion for
Cir. 2016), cert. denied sub nom. Arthur v. Dunn, ––– U.S.     summary judgment that a then-pending challenge to
––––, 137 S.Ct. 725, 197 L.Ed.2d 225 (2017). Meanwhile,        its prior three-drug protocol was moot—because Ohio
Ohio itself contacted the departments of correction in         was no longer using it. R. 966-2. The district court
Texas, Missouri, Georgia, Virginia, Alabama, Arizona,          never granted Ohio's motion, but our court soon held
and Florida to ask whether they would be willing to share      that any challenge to Ohio's old three-drug protocol
their supplies of pentobarbital. All refused. See R. 905-1     (using sodium thiopental) *892 was “now moot.” Cooey
at 30313-14. Granted, for the one-drug protocol to be          v. Strickland, 588 F.3d 921, 923 (6th Cir. 2009) (per
“available” and “readily implemented,” Ohio need not           curiam). Thus, the plaintiffs argue, Ohio prevailed by
already have the drugs on hand. But for that standard to       “permanently” renouncing the paralytic and potassium
have practical meaning, the State should be able to obtain     chloride—a promise on which Ohio has putatively now
the drugs with ordinary transactional effort. Plainly it       reneged.
cannot. The reality is that the barbiturate-only method is
no more available to Ohio than it was to Oklahoma two          The argument is meritless. As an initial matter, the
years ago in Glossip, for precisely the same reasons.          plaintiffs nowhere explain how they have been harmed in
                                                               the current litigation, or how the State has been helped, by
                                                               the fact that the parties in the prior litigation did not have
                                                               a trial about the sodium-thiopental three-drug protocol in
                            C.
                                                               2009. To the contrary, by all appearances, the absence of
That leaves the district court's determination that Ohio       that trial has made zero difference in this litigation. The
is judicially estopped from returning to a three-drug          effects of the two drugs that the old and new protocol
protocol. The plaintiffs ask us to review that determination   share (namely, the paralytic and the heart-stopping drug)
for an abuse of discretion, citing the Supreme Court's         are undisputed. What is disputed, rather, is the effects of
reference to judicial estoppel as an “equitable doctrine”      midazolam; and there is no reason to think that a trial
in New Hampshire v. Maine, 532 U.S. 742, 750, 121              about sodium thiopental would have affected that issue
S.Ct. 1808, 149 L.Ed.2d 968 (2001). But we have twice          one way or the other.
rejected that argument and “continue[d] to apply de novo
review.” Mirando v. U.S. Dep't of Treasury, 766 F.3d           More to the point, Ohio represented in 2009 that it
540, 545 n.1 (6th Cir. 2014); Lorillard Tobacco Co. v.         was switching to a one-drug protocol in the context of
Chester, Willcox & Saxbe, LLP, 546 F.3d 752, 757 (6th          a particular case involving particular named plaintiffs,
Cir. 2008). And here, as in a recent Second Circuit case,      which apparently do not include the named plaintiffs here.
“the choice between the two standards is immaterial,           Ohio then proceeded to execute 20 death-row inmates with
for under either,” the doctrine of judicial estoppel “is       the new one-drug protocol, which should be proof enough
inapplicable[.]” Chevron Corp. v. Donziger, 833 F.3d 74,       of the State's truthfulness in making those representations.
128 (2d Cir. 2016).                                            Ohio did argue in support of its summary-judgment
                                                               motion (which the State itself later withdrew) that “[t]here



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is absolutely no reason to believe that defendants will            *893 be a full trial on the merits of Plaintiffs' claim that
reinstate the previous ‘three-drug protocol’ if the plaintiffs'   Ohio's use of midazolam as the first drug in a three-drug
suits were dismissed.” R. 966-2 at 34329. But that was            executionprotocol creates a constitutionally unacceptable
before death-penalty opponents successfully prevented             risk of pain. Despite the deferential standard of review
Ohio (along with other states) from obtaining the drugs           that this court should apply, the majority casts aside the
necessary to use the one-drug protocol. See Glossip, 135          district court's determination that Plaintiffs should have
S.Ct. at 2733-34. Ohio then ceased executions altogether          a trial before the state executes them. The majority also
for about three years, before switching to the three-drug         determines that despite Defendants' unequivocal sworn
protocol that the Supreme Court had recently upheld in            testimony that they would no longer use pancuronium
Glossip.                                                          bromide or potassium chloride in executions, judicial
                                                                  estoppel does not prevent their renewed attempt to
 [10] A state's change in policy in response to unforeseen        use those drugs. For the reasons discussed below, I
circumstances like these is hardly the kind of inconsistency      would hold that Plaintiffs should have a trial on their
that warrants estoppel. See New Hampshire, 532 U.S.               Eighth Amendment and judicial-estoppel claims, and I
at 749-50, 121 S.Ct. 1808; Owens, 54 F.3d at 275.                 respectfully dissent.
Judicial estoppel prohibits “playing fast and loose with
the courts”—that is, “abusing the judicial process through
cynical gamesmanship” by changing positions “to suit an
                                                                                      I. BACKGROUND
exigency of the moment.” New Hampshire, 532 U.S. at
749-50, 121 S.Ct. 1808; Mirando, 766 F.3d at 545. Suffice         Because a key issue in this case is whether the district
it to say that, if any gamesmanship led us to this pass, it       court made the requisite findings of fact to support
was not gamesmanship by the State.                                a preliminary injunction, I begin by discussing the
                                                                  evidence presented to the district court and the district
                            ***                                   court's findings of fact based on that evidence. Over
                                                                  the course of the five-day hearing, the district court
The plaintiffs have failed to demonstrate a likelihood of         heard testimony from four experts: Dr. Craig Stevens,
success on their claims. That failure is “dispositive.” Cooey     PhD., a Professor of Pharmacology at Oklahoma State
II, 604 F.3d at 946. We therefore vacate the district court's     University who testified as an expert witness for Plaintiffs;
January 26, 2017 preliminary injunction.                          Dr. Sergio Bergese, M.D., a Professor of Anesthesiology
                                                                  and Neurological Surgery and practicing anesthesiologist
                                                                  at The Ohio State University Wexner Medical Center
                                                                  who testified as an expert witness for Plaintiffs; Dr.
                         DISSENT                                  Joseph Antognini, M.D., a retired anesthesiologist and
                                                                  faculty member at University of California, Davis who
KAREN NELSON MOORE, Circuit Judge, dissenting.                    testified as an expert witness for Defendants; and
There is a narrow question before this court: Should Gary         Dr. Daniel Buffington, Pharm.D, a pharmacologist in
Otte, Ronald Phillips, and Raymond Tibbetts have a trial          private practice who testified as an expert witness for
on their claim that Ohio's executionprotocol is a cruel           Defendants. The district court also heard testimony
and unusual punishment, or should Ohio execute them               from: Edwin Voorhies, the Managing Director of
without such a trial? The majority has concluded that             Operations for the Ohio Department of Rehabilitation
there is no need for a trial on the merits of Plaintiffs'         and Correction; Gary Mohr, the Director of the Ohio
constitutional claim. I disagree.                                 Department of Rehabilitation and Correction; and two
                                                                  Ohio Department of Rehabilitation and Correction
There is no dispute that the second and third drugs               Execution Team members (who testified anonymously). A
in Ohio's executionprotocol cause immense pain. There             reporter, Alan Johnson, testified as an eyewitness to the
is significant evidence that the first drug, midazolam,           execution of Dennis McGuire by the State of Ohio. Five
cannot prevent someone from feeling that pain. After a            legal professionals testified as eyewitnesses to out-of-state
five-day hearing on Plaintiffs' motion for a preliminary          executions in which midazolam was part of a multi-drug
injunction, the district court determined that there should       executionprotocol.



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                                                               of midazolam. According to Alang's testimony, after
In his 119-page Decision and Order Granting in Part            the execution team members administered midazolam,
and Denying in Part Plaintiffs' Motions for Preliminary        Brooks's chest began heaving. Id. at 24.
Injunction, the magistrate judge discussed this testimony
and set out his findings of fact. First, the district court    The district court also discussed testimony about three
discussed the testimony of three eyewitnesses to Ohio's        executions that occurred before the Supreme Court's
execution of Dennis McGuire: ODRC Director Gary                Glossip decision. Id. at 22. First, Sonya Rudenstine, a
Mohr, Execution Team Member No. 10, and reporter               Florida lawyer who specializes in capital post-conviction
Alan Johnson. All three testified that after McGuire           work, witnessed the execution of Paul Howell by the State
appeared to be unconscious, McGuire's stomach began            of Florida. Like Ohio's current executionprotocol, the
repeatedly to knot up and then relax, and McGuire              protocol used to execute Howell called for 500 milligrams
began to snort. Decision & Order at 20–21. According           of midazolam in two separate injections of 250 milligrams
to Johnson, “McGuire began coughing, gasping, choking          each. Id. at 23. The protocol then called for 200 milligrams
in a way that I had not seen before at any execution.”         of vecuronium bromide in two 100-milligram injections,
Id. at 21. Johnson also testified that McGuire gasped “in      followed by 240 milliequivalents of potassium chloride.
a way that almost seemed to be choking,” clenched and          Id. Rudenstine observed Howell open his eyes after the
unclenched his hands, and “attempted to kind of lift up        consciousness check. Id.
off the table.” Id. Johnson testified that McGuire gasped
fifteen or sixteen times, and that the gasping or choking      Second, Dale Baich, a supervisor in the Federal Defender
went on for twelve to thirteen minutes. Id. Johnson            Capital Habeas Unit in Arizona, witnessed the execution
has witnessed twenty Ohio executions, and had never            of Joseph Wood by the State of Arizona. Id. The protocol
previously seen anything like the intensity or duration        used to execute Wood called for injection of a mixture
of McGuire's reaction. Id. Mohr has overseen eleven            of 50 milligrams of midazolam and 50 milligrams of
executions, and testified that he had not previously seen a    hydromorphone. Id. During Wood's execution, the State
reaction like McGuire's. Id. at 20.                            injected this mixture fifteen separate times. Id. “Wood
                                                               continued to gasp and try to breathe until his death ...
 *894 Next, the district court discussed the testimony of      almost two hours after the process began.” Id. In a
five eyewitnesses to midazolam-involved executions that        settlement agreement entered on December 19, 2016,
took place outside of Ohio. Two of these out-of-state          Arizona agreed to “never again use midazolam, or any
executions occurred after the Supreme Court's Glossip          other benzodiazepine, as part of a drug protocol in a lethal
decision. Spencer Hahn, an Assistant Federal Defender          injection execution.” R. 976-2 (Stipulated Settlement
in the Capital Habeas Unit in the Middle District of           Agreement at 2) (Page ID #36214); see also id. at 23.
Alabama, witnessed the December 8, 2016 execution of
Ronald Smith by the State of Alabama. Like Ohio's              Third, Dean Sanderford, an Assistant Federal Defender
current executionprotocol, the protocol used to execute        in Colorado, witnessed the execution of Clayton Lockett
Smith called for 500 milligrams of midazolam. It also          by the State of Oklahoma. Decision & Order at 24. The
called for a 600-milligram dose of a paralytic drug, and 240   protocol used to execute Lockett called for 100 milligrams
milliequivalents of potassium chloride. Decision & Order       of midazolam followed by a paralytic agent and potassium
at 22. Hahn testified that “[t]here were two periods in        chloride. Id. According to Sanderford, three or four
which [Smith] appeared to rest somewhat briefly” but then      minutes after the administration of the paralytic, Lockett
he began “coughing, heaving, flailing, or attempting to        began writhing and attempted to speak. Id.
flail arms, clenching and unclenching of fists, movement of
lips ... and then doing this asthmatic cough, barking-type     The district court then discussed, at great length, the
cough.” Id. at 22. Terry Alang, an attorney employed as        testimony of the four expert witnesses. Dr. Stevens
an investigator in the Capital Habeas Unit in the Middle       discussed sedation and general anesthesia. He explained
District of Alabama, witnessed the January 20, 2016            that there are different levels of sedation: minimal sedation
execution of Christopher Brooks by the State of Alabama.       (i.e., the sedation that would be appropriate for a root
Alabama used the same executionprotocol that it used           canal); moderate sedation; and deep sedation. General
in the Smith execution, most notably 500 milligrams            anesthesia is beyond the deepest level of sedation, and



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is the state appropriate for surgery. Only at the level of      is not required, such as resetting bones, vasectomies, or
general anesthesia is someone unconscious. *895 Dr.             placement of tubes or implanted devices. Id. at 92.
Stevens explained that midazolam can bring someone to
the state of deep sedation, but not to general anesthesia or    Dr. Antognini and Dr. Stevens disagreed strongly about
unconsciousness. Decision & Order at 78. Similarly, Dr.         whether midazolam possesses any analgesic (painkilling)
Bergese testified that he would never use midazolam alone       properties. Dr. Antognini testified that midazolam does
as an anesthetic. He also testified that when midazolam is      possess some analgesic properties, at least in massive
used as an anesthetic, it is for relatively minor procedures,   doses. Dr. Stevens, by contrast, was adamant that
such as colonoscopies, as opposed to more invasive              midazolam does not treat pain. Id. at 75. Dr. Bergese
surgeries. Id. at 47.                                           agreed with Dr. Stevens. Id. at 47. Without addressing
                                                                midazolam's analgesic properties, Dr. Buffington said that
To explain why midazolam cannot render someone                  midazolam would sedate someone sufficiently to render
unconscious, Dr. Stevens explained midazolam's ceiling          them insensate to the pain caused by a paralytic and
effect. Id. at 31–32. Midazolam acts on a receptor called       potassium chloride. Id. at 94. Dr. Antognini testified
GABAA (GABA is short for gamma-aminobutyric acid),              that the risk that someone would experience pain after
and can decrease neural activity only when GABAA is             receiving a 500-milligram dose of midazolam is “very,
present. Once there is no GABAA left for midazolam              very low.” Id. at 66. Dr. Stevens, by contrast, concluded
to act on, midazolam cannot decrease neural activity            that “ ‘the use of midazolam as the first drug in a three-
anymore and the drug reaches its maximum potency, or            drug protocol is highly likely to cause intolerable pain
ceiling. At this point, administering more midazolam does       and suffering,’ stemming from the administration of the
not increase midazolam's effect.                                second and third drugs.” Id. at 40. Again, Dr. Bergese
                                                                agreed with Dr. Stevens. Id. at 47. The testimony of
Dr. Stevens explained that midazolam's reliance on              Dr. Stevens and Dr. Bergese that midazolam does not
GABAA, and consequential ceiling effect, is a distinction       eliminate pain is unequivocal.
between midazolam and barbiturates like thiopental
sodium. Id. at 31–32. Midazolam is a benzodiazepine,
whereas thiopental sodium is a barbiturate. Although                                 II. DISCUSSION
both benzodiazepines and barbiturates work on the
central nervous system and can be used as sedatives,            A. Legal Standards
barbiturates can decrease neural activity without GABAA
                                                                “A plaintiff seeking a preliminary injunction must
present. According to Dr. Stevens, because barbiturates
                                                                establish that he is likely to *896 succeed on the merits,
do not depend on GABAA, they do not have a ceiling
                                                                that he is likely to suffer irreparable harm in the absence
effect. Dr. Bergese agreed generally that midazolam has         of preliminary relief, that the balance of equities tips in
a maximum impact, but he emphasized that his main               his favor, and that an injunction is in the public interest.”
concern is that midazolam is simply the wrong drug to use.      Glossip v. Gross, ––– U.S. ––––, 135 S.Ct. 2726, 2736, 192
Id. at 87.                                                      L.Ed.2d 761 (2015). “The preliminary injunction posture
                                                                of the present case thus requires petitioners to establish a
In response to Dr. Stevens's discussion of ceiling effects,     likelihood that they can establish both that [Ohio's] lethal
Dr. Antognini testified that midazolam's ceiling effect         injection protocol creates a demonstrated risk of severe
is not germane. In his view, a 500-milligram dose of            pain and that the risk is substantial when compared to the
midazolam is sufficient to render a person unconscious.         known and available alternatives.” Id. at 2737.
Whatever ceiling effect midazolam may have beyond
the amount necessary to render someone unconscious              An appellate court must review a district court's decision
is irrelevant. Decision & Order at 70. He also testified        granting or denying a preliminary injunction for an abuse
that data on midazolam's ceiling effect is unclear. Id.         of discretion. Ashcroft v. Am. Civil Liberties Union, 542
at 71. Taking an entirely different tack, Dr. Buffington        U.S. 656, 664, 124 S.Ct. 2783, 159 L.Ed.2d 690 (2004).
disputed that midazolam has a ceiling effect at all. Id. at     “Under this standard, the court reviews the district court's
93. However, he also testified that when midazolam is used      legal conclusions de novo and its factual findings for
alone, it is usually in situations where general anesthesia


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clear error.” Babler v. Futhey, 618 F.3d 514, 520 (6th Cir.       for trial on the merits.” Ashcroft v. Am. Civil Liberties
2010); see also Glossip, 135 S.Ct. at 2739. “[A] finding          Union, 542 U.S. at 664–65, 124 S.Ct. 2783.
is ‘clearly erroneous' when although there is evidence to
support it, the reviewing court on the entire evidence is         This last instruction is perhaps the most significant for this
left with the definite and firm conviction that a mistake         case. But the majority *897 heeds neither the instruction
has been committed.” Anderson v. City of Bessemer City,           to review district court findings of fact deferentially, nor
470 U.S. 564, 573, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985)          the instruction to err on the side of allowing trials in cases
(quoting United States v. United States Gypsum Co., 333           raising constitutional questions. The majority has decided
U.S. 364, 395, 68 S.Ct. 525, 92 L.Ed. 746 (1948)). The            to forego a trial on the merits of Plaintiffs' constitutional
clearly erroneous standard “plainly does not entitle a            claims and to allow the State of Ohio to execute Plaintiffs
reviewing court to reverse the finding of the trier of fact       without such a trial. More egregiously, the majority has
simply because it is convinced that it would have decided         decided to forego a trial even though the district court,
the case differently.” Id. In particular, “when a trial judge's   which has the better view of the evidence, determined that
finding is based on his decision to credit the testimony          Plaintiffs should have a trial because they are likely to
of one of two or more witnesses, each of whom has                 succeed on the merits of their constitutional claim.
told a coherent and facially plausible story that is not
contradicted by extrinsic evidence, that finding, if not
internally inconsistent, can virtually never be clear error.”     B. Eighth Amendment Baze/Glossip Claim
Id. at 575, 105 S.Ct. 1504.
                                                                  1. Likelihood of success on the merits

Recently, the Supreme Court reiterated the deference              I would affirm the district court's judgment that Plaintiffs
owed to a district court's findings of fact, even when            were likely to succeed on the merits of their Eighth
other trial courts have made different findings. “The rule        Amendment Baze/Glossip claim, which the district court
that we review a trial court's factual findings for clear         supported with factual findings that, first, Plaintiffs
error contains no exception for findings that diverge from        established that Ohio's midazolam three-drug protocol
those made in another court. Whatever findings are under          creates a substantial risk of severe pain and, second,
review receive the benefit of deference, without regard to        Plaintiffs presented an available alternative method.
whether a court in a separate suit has seen the matter
differently.” Cooper v. Harris, ––– U.S. ––––, 137 S.Ct.
1455, 1468, 197 L.Ed.2d 837 (2017) (citing Fed. R. Civ. P.
                                                                               a. Substantial risk of severe pain
52(a)(6); Hernandez v. New York, 500 U.S. 352, 369, 111
S.Ct. 1859, 114 L.Ed.2d 395 (1991) (plurality opinion)).          Under Glossip, to establish that a method of execution
The Supreme Court continued by explaining that an                 violates the Eighth Amendment, prisoners must first
appellate court “must ask not which court ... had the better      “establish that the method presents a risk that is ‘sure or
view of the facts, but simply whether the court below's           very likely to cause serious illness and needless suffering,
view is clearly wrong.” Id. “[T]he very premise of clear          and give rise to sufficiently imminent dangers.’ To prevail
error review is that there are often ‘two permissible’—           on such a claim, ‘there must be a substantial risk of serious
because two ‘plausible’—‘views of the evidence.’ Even             harm[.]’ ” Glossip, 135 S.Ct. at 2737 (quoting Baze v. Rees,
assuming [another] court's findings capture one such view,        553 U.S. 35, 50, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008)
the District Court's assessment may yet represent another.        (plurality opinion)) (emphasis in original).
And the permissibility of the District Court's account is
the only question before [an appellate court].'' Id. (quoting     The majority is certainly correct that plaintiffs must meet
Anderson, 470 U.S. at 574, 105 S.Ct. 1504).                       a “heavy burden” to make the “rigorous showing” that a
                                                                  method of execution creates a substantial risk of serious
Finally, the Supreme Court has also instructed appellate
                                                                  harm. Maj. Op. at 886–87 (quoting Baze, 553 U.S. at
courts to err on the side of allowing trials in cases raising     53, 128 S.Ct. 1520). The majority and I disagree about
constitutional questions. “If the underlying constitutional       whether the determination that a method of execution
question is close,” the Supreme Court instructs, an               creates a substantial risk of serious harm is a factual
appellate court “should uphold the injunction and remand          finding reviewed for clear error or a legal conclusion


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reviewed less deferentially. The majority characterizes the     credible than Defendants'. See Decision & Order at 103–
determination as application of a “legal standard” and          05.
reviews it without deference. Maj. Op. at 885–86. My view
that this determination is a factual finding that must be       For example, the district court recognized that
reviewed for clear error comes directly from the language       Defendants' experts did not agree with each other
of the Supreme Court. In Glossip, the Supreme Court said        about whether midazolam has a ceiling effect, and Dr.
that the Oklahoma district court “did not commit clear          Buffington did not appear to agree with Dr. Antognini
error when it found that the prisoners failed to establish      that midazolam has analgesic properties (only that it
that Oklahoma's use of a massive dose of midazolam in its       would sedate someone sufficiently to make them insensate
executionprotocol entails a substantial risk of severe pain.”   to pain, which is distinct from actually eliminating pain).
Glossip, 135 S.Ct. at 2731. This statement is explicit that     Id. at 71–75, 93–94. By contrast, Plaintiffs' experts were
a district court's determination as to whether midazolam        in agreement that midazolam does not have analgesic
entails a substantial risk of severe pain must be reviewed      properties, and, although he was less adamant, Dr.
for clear error.                                                Bergese generally agreed with Dr. Stevens that midazolam
                                                                has a ceiling effect. Id. 31, 87. The specific points of
In this case, the magistrate judge—relying on his               disagreement between Defendants' experts support the
“superior[ ] ... position to make determinations of             district court's determination that Plaintiffs' experts were
credibility” and “experience” in “the determination             more convincing.
of fact”—evaluated evidence from scientific experts,
eyewitnesses to executions, and ODRC employees                  It is also noteworthy that the district court in this
discussing Ohio's current executionprotocol. Anderson, 470      case evaluated evidence that was not available to the
U.S. at 574, 105 S.Ct. 1504. Based on this evidence, the        Oklahoma district court in Glossip. The district court
district court found that Plaintiffs were likely to succeed     heard testimony from eyewitnesses to five executions. Two
on their claim that the use of midazolam as the first           of those, the execution of Christopher Brooks and the
drug in a three-drug protocol creates a substantial risk        execution of Ronald Smith, occurred after the Glossip
of severe pain. Decision & Order at 104–05. The district        decision. In addition to providing the district court
court found “from both the expert opinions and the lay          with information about additional midazolam-involved
descriptions comparing executions with a barbiturate as         executions, these recent executions also shed new light
the first drug and midazolam as the first drug that the         on earlier midazolam-involved executions. In Glossip, the
drugs do not *898 produce the same effects in those             Supreme Court noted that neither Lockett nor Wood
being executed.... [T]hose administered midazolam ... take      received the dose of midazolam at issue in the case
longer to die and exhibit different bodily behaviors in the     before it, and that there were problems with the Lockett
process.” Id. at 104. Evaluating the evidence presented to      execution that were not attributable to the drugs used
it during the hearing, including the eyewitness testimony       (namely, “the execution team's inability to obtain an IV
and the opposing viewpoints presented by the experts, the       access site”). Glossip, 135 S.Ct. at 2746. Taking into
district court “conclude[d] that use of midazolam as the        account these differences, the Supreme Court said that
first drug in Ohio's present three-drug protocol will create    “[w]hen all of the circumstances are considered, the
‘a substantial risk of serious harm.’ ” Id. at 105.             Lockett and Wood executions have little probative value
                                                                for present purposes.” Id. This conclusion may have been
For several reasons, the district court's determination         reasonable given the circumstances at the time, but new
was not clearly erroneous. First of all, the district court     circumstances entitle a district court to come to a different
did not base its opinion on uncertainty, as the majority        conclusion. The Brooks execution, and particularly the
asserts. Plaintiffs' experts testified unequivocally that       Smith execution, in which Smith coughed, flailed, and
Ohio's midazolam three-drug protocol is highly likely           heaved for several minutes, cast the problems observed
to cause intolerable pain. Id. at 40, 43, 47, 55. The           in the Lockett and Wood executions in a new light.
district court was in the position to make credibility          Unlike Lockett and Wood, both Smith and Brooks were
determinations about the competing experts' testimony,          executed using 500 milligrams of midazolam followed by a
and the district court's discussion of the experts' testimony   paralytic drug and potassium chloride (like Ohio's current
indicates that it found Plaintiffs' experts to be more          protocol). Like Lockett and Wood, witnesses testified



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that Smith and Brooks moved and heaved during their              is a “factual finding” subject to the “clearly erroneous”
executions. Witnesses' testimony that Brooks was heaving         standard of review. Glossip, 135 S.Ct. at 2738. Other than
and that Smith was heaving, coughing, and flailing could         defining “availability” as a factual finding, the Supreme
suggest that Lockett's writhing and Wood's gasping were          Court provides little guidance as to the definition of
attributable to midazolam's *899 inability to prevent the        “availability.” As the district court observed, “In Baze and
pain caused by paralytic drugs and potassium chloride,           Glossip, the Supreme Court did not attempt to quantify
rather than to other circumstances.                              how available the alternative method must be to qualify.”
                                                                 Decision & Order at 107.
The district court made the specific finding that these
eyewitnesses were credible, even though many “were from          Plaintiffs proposed two alternative execution methods.
legal practices devoted to representing capital clients.” Id.    For different reasons, each of these alternatives warrants a
at 24. The district court noted that “their testimony was        remand for a trial on the merits. As to the first alternative,
carefully confined to observations rather than opinions,”        a one-drug protocol using compounded pentobarbital,
in “contrast [ ] with some press characterizations of            the district court found that by proposing compounded
some of these executions as ‘botched,’ ‘horrendous,’             pentobarbital, “Plaintiffs have met their burden to
‘barbaric,’ and so forth. These witnesses were carefully         identify a sufficiently available alternative method of
professional in not adding advocatory characterizations          execution to satisfy Baze and Glossip.” Decision & Order
to their observations.” Id. at 24–25.                            at 107. Ohio does not currently have pentobarbital on
                                                                 hand and it cannot purchase pentobarbital to use in
The majority argues that the district court did not offer        executions directly from drug manufacturers. However,
enough reasoning in support of its decision. Maj. Op. at         according to the district court, Ohio has taken key steps
886–87. I agree that ideally the district court would have       toward acquiring compounded pentobarbital, including
offered more reasoning in support of its findings. But it is     passing secrecy statutes “to protect the anonymity of
clear that the district court's specific findings were meant     potential suppliers and compounders,” and applying for
to be read in conjunction with its lengthy discussion of the     the import license necessary to purchase pentobarbital's
testimony. And I do not agree that the district court's 119-     active ingredient. Id. This court resolved litigation over
page opinion, which included a discussion of the testimony       the secrecy statutes and entry of a protective order in
and specific findings of fact, did not provide sufficient        Ohio's favor. See In re: Ohio ExecutionProtocol Litig.
reasoning to be entitled to the deference that we must give      (Fears v. Kasich), 845 F.3d 231, 240 (6th Cir. 2016);
to district courts' findings of fact. (The majority recognizes   Phillips v. DeWine, 841 F.3d 405, 420 (6th Cir. 2016).
that the district court produced its opinion under tight         These favorable resolutions facilitate the State's access to
timelines, but fails to acknowledge that these timelines         compounded *900 pentobarbital. The district court also
were imposed by the State of Ohio.) In my view, the              noted that Dr. Buffington, who helped develop Ohio's
district court's finding that “use of midazolam as the first     current executionprotocol and who testified about the
drug in Ohio's present three-drug protocol will create ‘a        content of an affidavit he submitted in an Alabama case,
substantial risk of serious harm,’ ” Decision & Order at         “stated in his affidavit in that case that since other states
105, was not clearly erroneous, and we are bound by this         had been able to procure compounded pentobarbital
finding.                                                         for their executions, he believed it could be obtained.”
                                                                 Decision & Order at 95.

                                                                 Because Defendants' own expert testified that
              b. Availability of an alternative
                                                                 compounded pentobarbital could be obtained, because
To succeed on their Eighth Amendment claim, Plaintiffs           Ohio succeeded in passing secrecy statutes and securing
must also show that there is “an alternative that is             a protective order for the specific purpose of obtaining
‘feasible, readily implemented, and in fact significantly        compounded pentobarbital, and because Ohio is currently
reduce[s] a substantial risk of severe pain.’ ” Glossip, 135     undertaking the steps necessary to secure compounded
S.Ct. at 2737 (quoting Baze, 553 U.S. at 52, 128 S.Ct.           pentobarbital, I am not “left with the definite and firm
1520) (alteration in original). Glossip explicitly states that   conviction” that the district court erred when it found that
whether an alternative method of execution is available          compounded pentobarbital is an available alternative.



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Anderson, 470 U.S. at 573, 105 S.Ct. 1504 (quoting United       A Look at America's Opioid Crisis, N.Y. Times (Jan.
States Gypsum Co., 333 U.S. at 395, 68 S.Ct. 525). I would      6, 2017), https://nyti.ms/2k21lF0 (“Public health officials
defer to the district court's finding that compounded           have called the current opioid epidemic the worst drug
pentobarbital is available.                                     crisis in American history, killing more than 33,000
                                                                people in 2015. Overdose deaths were nearly equal
For the second alternative, Plaintiffs proposed a two-drug      to the number of deaths from car crashes. In 2015,
protocol using midazolam and potassium chloride without         for the first time, deaths from heroin alone surpassed
a paralytic drug. Having decided that compounded                gun homicides.”); Courtney Astolfi, *901 Report: Ohio
pentobarbital is an available alternative, the district court   Ground-Zero for Opioid Overdose Deaths, Cleveland.com
did not make a finding as to whether the second alternative     (Dec. 1, 2016), http://s.cleveland.com/OlL8JFD (“The
is available, or as to the more difficult question whether      Buckeye State topped the list of opioid overdose deaths
the second alternative would “significantly reduce[ ] a         among all 50 states, racking up 2,106 deaths in 2014.”).
substantial risk of severe pain.” Glossip, 135 S.Ct. at         Given these reports, there are obviously multiple drugs
2737 (quoting Baze, 553 U.S. at 52, 128 S.Ct. 1520).            that could be used to execute people.
Particularly if the majority is correct that compounded
pentobarbital is not an available alternative, Plaintiffs       The district court's findings in this case were not clearly
are entitled to a finding as to whether the second              erroneous. The district court did not clearly err by
alternative satisfies the Baze/Glossip standard. Instead,       finding that Ohio's current three-drug protocol creates
the majority has determined that Plaintiffs should be           a substantial risk of severe pain, and it did not clearly
executed with Ohio's three-drug protocol without a court        err by finding that alternative protocols are available.
ever deciding whether their proposed two-drug protocol          Not only did the district court not clearly err in
would significantly reduce the substantial risk of severe       its factual finding that compounded pentobarbital is
pain.                                                           an available alternative, but there are other possible
                                                                alternative protocols that no court has ruled on. Plaintiffs
There may be other possible execution methods that,             proposed a two-drug protocol, and the district court did
if given a trial, Plaintiffs could prove are available          not rule on this alternative. Moreover, there may be other
and significantly reduce a substantial risk of severe           drug protocols that Plaintiffs would propose if given an
pain. As anyone who reads the newspaper knows, the              opportunity to litigate this case fully. Therefore, Plaintiffs
nation, and Ohio in particular, is in the midst of a            have satisfied the first requirement for a preliminary
virulent drug-death epidemic. See, e.g., Kristine Phillips,     injunction by demonstrating a substantial likelihood of
Drugs Are Killing So Many People in Ohio That Cold-             success on their Eighth Amendment claim.
Storage Trailers Are Being Used As Morgues, Wash. Post
(Mar. 16, 2017), http://wapo.st/2mNjFEp?tid=ss_mail&
utm_term=.e29b9f46cfc8 (“As with much of the United             2. Likelihood of irreparable harm, balance of equities, and
States, Ohio is in the throes of a heroin and opioid            public interest
epidemic that shows no signs of abating.... The drug
                                                                Having determined that Plaintiffs failed to show a
epidemic also has caused [Stark] county to spend roughly
                                                                likelihood of success on the merits of their Eighth
$75,000 a year in toxicology tests alone.... ‘We're just
                                                                Amendment claim, the majority does not assess whether
spending all kinds of money on lab work because there's
                                                                Plaintiffs have satisfied the other requirements for a
so many different drugs,’ [Stark County investigator
                                                                preliminary injunction. Because in my view Plaintiffs did
Rick Walters] said.”); Kimiko de Freytas-Tamura, Amid
                                                                show a likelihood of success on the merits, I address the
Opioid Overdoses, Ohio Coroner's Office Runs Out of
                                                                other three requirements. Plaintiffs satisfy each one.
Room for Bodies, N.Y. Times (Feb. 2, 2017), https://
nyti.ms/2k0DV2Z (“On Thursday, only two days into
                                                                Plaintiffs would suffer irreparable harm if executed by
February, the coroner's office in Dayton, Ohio, had
                                                                a drug protocol later determined to be unconstitutional.
already handled 25 deaths—18 caused by drug overdoses.
                                                                “The key word in this consideration is irreparable.”
In January, the office processed 145 cases in which
                                                                Babler, 618 F.3d at 523–24 (quoting Sampson v. Murray,
the victims' bodies had been destroyed by opioids.”);
                                                                415 U.S. 61, 90, 94 S.Ct. 937, 39 L.Ed.2d 166 (1974)).
Katharine Q. Seelye et al., Inside a Killer Drug Epidemic:
                                                                “A plaintiff's harm from the denial of a preliminary


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injunction is irreparable if it is not fully compensable by      Litigation challenging Ohio's lethal injection protocol
monetary damages.” Obama for Am. v. Husted, 697 F.3d             commenced in 2004. The first events relevant to Plaintiffs'
423, 436 (6th Cir. 2012) (quoting Certified Restoration          judicial-estoppel claim occurred in 2009. On October 19,
Dry Cleaning Network, L.L.C. v. Tenke Corp., 511 F.3d            2009, the district court entered a stay of Kenneth Biros's
535, 550 (6th Cir. 2007)). Being executed by a method of         execution. R. 965-16 (10/19/2009 Order at 1–4) (Page ID
execution that is later determined to be unconstitutional        #34294–97). A trial had been scheduled for November
is quintessentially an injury that is not fully compensable.     2, 2009, and Biros's execution's date had been set for
Or, as the district court noted, “[t]he irreparable harm         December 8, 2009. Id. at 1–2 (Page ID #34294–95). As
to the named Plaintiffs if temporary injunctive relief is        of October 19, 2009, there was outstanding discovery,
not granted is patent”; “[w]hether or not Plaintiffs' claims     including discovery concerning the failed attempt to
survive their deaths, the injury would be irreparable.”          execute Romell Broom and the State's consideration of
Decision & Order at 116.                                         a new executionprotocol. Id. Because of the outstanding
                                                                 discovery, the district court postponed the trial date and
For the same reason, the balance of the equities favors          entered a “stay of [Biros's] execution.” Id. at 1–3 (Page
Plaintiffs. Although “a State retains a significant interest     ID #34294–6). The district court reasoned that “[g]iven
in meting out a sentence of death in a timely fashion,”          the issues involved and the instruction of the appellate
Nelson v. Campbell, 541 U.S. 637, 644, 124 S.Ct. 2117,           court, Biros is ... entitled to a stay affording him time for
158 L.Ed.2d 924 (2004), the harm from a delay in meting          discovery and to be heard at trial on the merits of his
out a death sentence is not an irreparable harm. As a            claims.” Id. at 3 (Page ID #34296).
result, balancing the equities counsels in favor of delaying
executions until a full trial on the merits can be held on the   On October 27, 2009, the State filed a Notice of
method of execution.                                             Appeal “from the Court's Opinion and Order granting an
                                                                 injunction to intervenor Kenneth Biros, which was filed
Finally, the public interest favors Plaintiffs. The public       on October 19, 2009.” R. 965-18 (Notice of Appeal at 1)
has an interest in sentences being carried out, but it           (Page ID #34304). Also on October 27, the State filed
also has an interest in ensuring that those sentences are        a motion asking this court to vacate the district court's
carried out in a constitutional manner. “[I]t is always          order delaying Biros's execution, which the State variously
in the public interest to prevent violation of a party's         referred to as a stay and a preliminary injunction. R.
constitutional rights.” Deja Vu of Nashville, Inc. v. Metro.     965-19 (Defs-Appellants' Mot. to Vacate Prelim. Inj.
Gov't of Nashville & Davidson Cty., 274 F.3d 377, 400 (6th       Granted to Biros at 1–9) (Page ID #34307–15). In its
Cir. 2001) (quoting G & V Lounge, Inc. v. Mich. Liquor           motion, the State took issue with the district court making
Control Comm'n, 23 F.3d 1071, 1079 (6th Cir. 1994)).             the determination that outstanding discovery necessitated
As the district court stated, “[o]n balance, the public          a stay of execution without considering Biros's likelihood
interest weighs in favor *902 of granting temporary              of success on the merits. The State argued that “[a]
injunctive relief, but maintaining a fast track approach to      condemned prisoner cannot obtain a stay of execution
adjudicating Plaintiffs' claims on the merits.” Decision &       ... absent a finding by the court that the prisoner
Order at 118.                                                    is likely to succeed on the merits of his claims.” Id.
                                                                 at 6 (Page ID #34312). Because “a party seeking a
                                                                 preliminary injunction must demonstrate, among other
C. Judicial Estoppel                                             things, a likelihood of success on the merits[,] ... [w]here
                                                                 a condemned prisoner seeks a stay of execution to permit
I would also hold that the district court did not err
                                                                 litigation of a claim that the state's method of execution
by deciding that Defendants were judicially estopped
                                                                 will violate the Eighth Amendment, the likelihood or lack
from reverting to an executionprotocol that includes
                                                                 thereof of the prisoner's success on the merits is not only
pancuronium bromide (a paralytic agent) and potassium
                                                                 a necessary consideration, but may well be sufficient to
chloride (which stops the heart). I begin by reviewing
                                                                 resolve the matter.” Id.
in detail the facts relevant to Plaintiffs' judicial-estoppel
claim.
                                                                 On October 29, 2009, the district court issued a second
                                                                 order which, “[i]n light of Defendants' characterization



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of [the district court's] actions and in an effort to assist        moot plaintiffs' constitutional challenges to the “three-
the Sixth Circuit Court of Appeals in considering the               drug protocol” previously used by defendants to
appeal, ... further memorialize[d] the substance of the             execute condemned prisoners. The issues presented
October 19, 2009 conference.” R. 966 (10/29/2009 Order at           by plaintiffs' complaints stem from the alleged risk
1) (Page ID #34318). In the order, the district court noted         of severe pain which could be caused by the use of
that Defendants “helped develop, along with Plaintiffs'             pancuronium bromide and potassium chloride, the
counsel, proposed language to be included in the October            second and third drugs in the so-called “three-drug
19, 2009 Order. In fact, Defendants' counsel asked the              protocol,” in the event that the first drug, thiopental
Court not to characterize the stay as an injunction and             sodium, is not properly administered. In view of the
explained that they did not want the court to make                  new procedures' elimination of the second and third
a finding of unconstitutionality in regard to the stay.”            drugs, the issues presented in plaintiffs' suits are no
Id. at 1–2 (Page ID #34318–19). The district court                  longer actionable.... Moreover, there is no possibility
surmised *903 that Defendants did not want it to                    here that the allegedly unconstitutional conduct will
make a finding as to Biros's likelihood of success on the           reoccur, or that there is any lingering effects of
merits of his constitutional claims because “[s]uch Rule            previous allegedly unconstitutional conduct. There is
65 injunctive relief analysis would have necessitated the           absolutely no reason to believe that defendants will
Court discussing in detail in a written decision its review of      reinstate the previous “three-drug protocol” if the
the numerous deposition transcripts of witnesses involved           plaintiffs' suits were dismissed. And, more importantly,
in the attempted execution of Romell Broom.” Id. at 2               if defendants execute plaintiffs using the revised
(Page ID #34319). The court also ordered that “all future           procedures, defendants cannot “go back to their old
conferences, except those dealing with protected discovery          ways” and execute plaintiffs using the prior procedures.
material, shall be held in open court and on the record”
“[t]o avoid creating an incorrect impression of the events        Id. at 5 (Page ID #34329) (emphasis in original). The State
of this litigation and to facilitate clarity as to the parties'   attached to its summary-judgment motion an affidavit of
public positions.” Id.                                            Director Collins, in which he swore, “[G]oing forward,
                                                                  pancuronium bromide no longer will be used as part of
On November 13, 2009, the State announced its intention           the lethal injection process. Also, potassium chloride no
to change its executionprotocol effective no later than           longer will be used as part of that process.” R. 966-3
November 30, 2009. In its News Release, the State,                (Collins Aff. at ¶ 6) (Page ID #34335).
through ODRC Director Terry Collins, said, “ ‘The
previous method of execution included a three-drug                In the summary-judgment motion, the State repeatedly
protocol applied intravenously. The first change to the           argued that the claims of all Plaintiffs were moot as a result
execution procedure includes the adoption of a one-               of the change to the executionprotocol, R. 966-2 (Defs.'
drug protocol, using thiopental sodium alone, applied             Second Mot. Summ. J. with Req. Expedited Briefing
intravenously. Pancuronium bromide and potassium                  Sched. at 5) (Page ID #34329), and Collins's affidavit
chloride will no longer be used as a part of the process.’        stated that pancuronium bromide and potassium chloride
” R. 966-1 (11/13/2009 ODRC News Release) (Page ID                would not be used “going forward,” R. 966-3 (Collins
#34322).                                                          Aff. at ¶ 6) (Page ID *904 #34335). The State sought
                                                                  judgment as a matter of law on the claims of all plaintiffs,
On the same day, the State filed in the district court a          not only Biros.
motion for summary judgment. In its motion, the State
argued that, as a result of changes to the executionprotocol,     On November 16, 2009, the State filed in this court a
“Defendants have negated all of Plaintiffs' claims” and           reply in support of its October 27 motion to vacate the
“Plaintiffs' challenges to defendants' previous ‘three-drug       stay. R. 966-4 (Defs-Appellants' Mem. Reply to Biros'
protocol’ are moot.” R. 966-2 (Defs.' Second Mot. Summ.           Mem. in Opp'n to Defs' Mot. Vacate District Ct.'s Stay
J. with Req. Expedited Briefing Sched. at 4) (Page ID             of Biros' Execution, Sche'd for Dec. 8, 2009, and Defs'
#34328). The State explained,                                     Mem. in Opp. to Biros' Mot. Dismiss Defs' Appeal at
                                                                  1) (Page ID #34338). In the reply, the State argued that
  It is readily apparent here that the recent changes             “Biros's lawsuit is moot.” Id. at 7 (Page ID #34344). The
  to defendants' execution procedures have rendered               State explained that Collins, “has directed changes in the


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procedures used to carry out the execution of condemned        posited that, “At a minimum, the new protocol ‘likely’
prisoners. The changes include the discontinuation of the      moots the old challenge, and that is enough to create
use of pancuronium bromide and potassium chloride in           a likelihood-of-success problem for Biros when it comes
the execution process.” Id. The State argued that as a         to premising a request for a stay on orders related to
result of this change, “Biros' suit no longer presents a       a different protocol.” Cooey v. Strickland, 588 F.3d 924,
case or controversey [sic], as the ‘three-drug protocol’ he    925 (6th Cir. 2009) (Sutton, J., concurring in denial of
challenges is no longer used.” Id.                             reh'g en banc). Dissents from denial of rehearing en banc
                                                               pointed out that nothing prevented the State from going
Unlike in the district court summary-judgment motion,          back to the prior executionprotocol, which, they explained,
the State's reply in our court argued that “Biros' suit”       fatally undermined the holding that the challenge was
was moot, but did not address claims of other Plaintiffs.      moot. Id. at 925–26 (Moore, J., dissenting from denial of
This focus on Biros is in keeping with the narrowness          reh'g en banc) *905 (“Although there is little indication
of that appeal, in which the only issue was the stay of        that the State will continue to use the initially challenged
Biros's execution, not the underlying merits of Plaintiffs'    three-drug cocktail now that it has developed a new
challenge or any other Plaintiffs' individual procedural       procedure, in analyzing whether Biros's claim is moot,
claims. However, although the State did not mention the        we must consider whether anything would prevent the
other Plaintiffs in the body of the reply, the State did       State from doing so.... Although we have no reason to
attach its summary-judgment motion from the district           doubt Ohio's sincerity, determining mootness based on a
court as an exhibit to the reply. R. 966-4 (Defs.' Second      litigant's statement that it has no reason to resume the
Mot. Summ. J. with Req. Expedited Briefing Sched., filed       challenged activity, no matter how earnest, is not part of
as Ex. A to Defs-Appellants' Mem. Reply to Biros' Mem.         the mootness analysis.”); see also id. at 928 (Martin, J.,
in Opp'n to Defs' Mot. Vacate District Ct.'s Stay of Biros'    dissenting).
Execution, Sche'd for Dec. 8, 2009, and Defs' Mem. in
Opp. to Biros' Mot. Dismiss Defs' Appeal) (Page ID             Neither the panel opinion nor the concurrence with denial
#34348–59). It also addressed Biros's “suit,” as opposed       of rehearing en banc clarified the breadth of the court's
to his claims, which may suggest that it had the entire        holding. It is not clear whether the panel held that the
lawsuit in mind, which involved multiple plaintiffs. As        challenge to Ohio's lethal injection protocol was moot as
noted above, the summary-judgment motion argued that           to Biros or was moot as to all of the Plaintiffs. It is unclear,
the claims of all the plaintiffs were moot, and sought         first, because in this court the State was ambiguous about
judgment as a matter of law on all claims.                     whether it was arguing that the claims were moot as to
                                                               Biros or all Plaintiffs. It is unclear, second, because neither
On November 25, 2009, a panel of this court vacated            the panel opinion nor the concurrence with the denial of
the district court's stay of Biros's execution. The panel      rehearing en banc explicitly stated whether the claims were
held that “the district court's stay order must be             moot as to Biros or all Plaintiffs.
vacated because any challenge to Ohio's three-drug
executionprotocol is now moot.” Cooey v. Strickland,           Subsequently, Biros's execution was again set for
588 F.3d 921, 923 (6th Cir. 2009). The panel explained         December 8, 2009, and Biros challenged the November
that, “the question at hand is whether Ohio will use           30, 2009 one-drug executionprotocol. On December 7,
the old procedure, or the new one, in executing Biros.”        2009, this court considered Biros's challenge to the new
Id. In response to this question, the panel maintained         protocol, and, affirming the district court, declined to stay
that “[t]here is no basis in the record or for that matter     his execution. Cooey v. Strickland, 589 F.3d 210, 221, 234
in common sense for assuming that the State will do            (6th Cir. 2009). The State executed Biros on December 8,
anything other than what it has told us in court filings       2009.
and what it has told the public at large: it has changed its
executionprotocol, and it intends to apply the substantially   On December 9, 2009, the district court held a hearing.
modified protocol to Biros.” Id.                               At that hearing, the district judge “suggest[ed] that all of
                                                               these motions, as a result of the November 30, 2009, new
On December 4, 2009, this court denied rehearing en            protocol, are moot and should be withdrawn. I'm talking
banc. The concurrence with denial of rehearing en banc         about the defendants', the plaintiffs' everything; that the



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plaintiffs should amend all of their complaints based upon      The “rule[ ] known as judicial estoppel” provides that
the new protocol and we proceed from that standpoint.”          “[w]here a party assumes a certain position in a legal
R. 966-10 (12/9/2009 Hr'g Tr. at 25–26) (Page ID #34453–        proceeding, and succeeds in maintaining that position,
54). The district court added, “I actually can't demand         he may not thereafter, simply because his interests have
that you withdraw something, and wouldn't do that, but          changed, assume a contrary position, especially if it be
I am suggesting that almost everything that's been filed        to the prejudice of the party who has acquiesced in
in this case up until now is moot.” Id. at 26 (Page ID          the position formerly taken by him.” New Hampshire v.
#34456). Addressing this court's decision on mootness, the      Maine, 532 U.S. 742, 749, 121 S.Ct. 1808, 149 L.Ed.2d
district court added, “And I'm not going to get into an         968 (2001). “We review de novo a district court's decision
argument over mootness like the Court of Appeals has            regarding the application of judicial estoppel.” Javery v.
done recently. I'm not going to get into that mess, as I'm      Lucent Techs., Inc., 741 F.3d 686, 697 (6th Cir. 2014). 1
sure Judge Sutton would not like to get back into that          Three factors “typically inform the decision whether to
mess.” Id. Instead, he explained, “I'm trying to suggest a      apply the [judicial estoppel] doctrine.” New Hampshire
way in which the record can get cleaned up and where            v. Maine, 532 U.S. at 750, 121 S.Ct. 1808. “First, a
we present arguments, present with new arguments, that          party's later position must be ‘clearly inconsistent’ with its
have anything to do with the new protocol. It just seems to     earlier position.” Id. (quoting United States v. Hook, 195
me to be the better way in which to proceed in this case,       F.3d 299, 306 (7th Cir. 1999)). “Second, courts regularly
but, again, it's up to you guys how we decide this.” Id.        inquire whether the party has succeeded in persuading
After some discussion, attorneys for both sides agreed to       a court to accept that party's earlier position, so that
withdraw their pending motions, with the understanding          judicial acceptance of an inconsistent position in a later
that Plaintiffs would file amended complaints challenging       proceeding would create ‘the perception that either the
the November 30, 2009 protocol. Defendants agreed not           first or the second court was misled.’ ” Id. (quoting
to assert a statute-of-limitations defense to Plaintiffs'       Edwards v. Aetna Life Ins. Co., 690 F.2d 595, 599 (6th Cir.
amended complaints, and the district court granted leave        1982)). “A third consideration is whether the party seeking
to Plaintiffs to amend their complaints. Id. at 43, 46 (Page    to assert an inconsistent position would derive an unfair
ID #34471, 34474).                                              advantage or impose an unfair detriment on the opposing
                                                                party if not estopped.” Id. at 751, 121 S.Ct. 1808.
Litigation proceeded, and so did executions. After the
execution of Kenneth Biros on December 8, 2009, Ohio            The first factor for judicial estoppel is satisfied. The
executed an additional twenty people until the State            State's earlier position is “clearly inconsistent” with its
halted executions after the Dennis McGuire execution            current position. Id. at 750, 121 S.Ct. 1808. The State
in 2014. However, prior to the McGuire execution, the           represented to the district court and this court that it
State replaced the November 30, 2009 protocol with a            would no longer use pancuronium bromide or potassium
protocol providing for a single-injection of midazolam          chloride for executions. The Director of the ODRC swore
and hydromorphone. See R. 323 (10/10/2013 Ohio DRC              that “going forward, pancuronium bromide no longer
ExecutionProtocol, 01-COM-11 at 1–19) (Page ID *906             will be used as part of the lethal injection process” and
#9568–86). McGuire's execution using the October 10,            that “potassium chloride no longer will be used as part
2013 protocol prompted questions about midazolam and            of that process.” R. 966-3 (Collins Aff. at ¶ 6) (Page
caused Ohio again to change its protocol, this time to the      ID #34335). In its motion for summary judgment, the
midazolamprotocol at issue in this case.                        State represented to the district court not only that
                                                                it had “eliminate[ed] ... the second and third drugs”
The State decided that it would switch to the current           but that “there is no possibility here that the allegedly
midazolam three-drug protocol months before it revealed         unconstitutional conduct will reoccur.” R. 966-2 (Defs.'
this switch to Plaintiffs, the district court, or the public.   Second Mot. Summ. J. with Req. Expedited Briefing
See R. 941 (Hr'g Tr. at 800–01) (Page ID #31862–63).            Sched. at 5) (Page ID #34329). The State's motion
Director Mohr admitted that it was a strategic decision to      explicitly stated that “[t]here is absolutely no reason to
conceal the switch. Id. at 803 (Page ID #31865).                believe that defendants will reinstate the previous ‘three-
                                                                drug protocol.’ ” Id. The State's motion also argued that
                                                                its decision to stop using pancuronium bromide and



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potassium *907 chloride mooted Plaintiffs' claims. At         If this court held that the claims of all Plaintiffs were
the December 9, 2009 hearing, the State reasserted its        moot, then the State's mootness argument was successful,
promise that it would stop using pancuronium bromide          regardless of whether the State withdrew the motion.
and potassium chloride, and said that because of this         Similarly, if the district court held that all Plaintiffs'
promise, “[t]o the extent that the other motions are based    claims were moot, then the State's mootness argument was
on the old protocol, we think it's appropriate that they be   successful, notwithstanding the fact that as a procedural
dismissed as moot or withdrawn.” R. 966-10 (12/9/2009         matter the State withdrew the motion. On the other hand,
Hr'g Tr. at 43) (Page ID #34471).                             if this court's holding applied only to Biros and the district
                                                              court prompted the parties to withdraw their motions
The State's representations that there was “no possibility”   because of practical concerns rather than a determination
of reverting to a three-drug protocol using pancuronium       that the claims of all Plaintiffs were moot, then the State's
bromide or potassium chloride and Director Collins's          mootness argument was not successful.
sworn statement that the State would not use these two
drugs “going forward” are inconsistent with the State's       Ultimately, it appears that the State succeeded in
current position. R. 966-3 (Collins Aff. at ¶ 6) (Page ID     persuading at least the district court, if not also this
#34335); R. 966-2 (Defs.' Second Mot. Summ. J. with           court, that the claims of all the Plaintiffs were moot.
Req. Expedited Briefing Sched. at 5) (Page ID #34329).        At the December 9 hearing, the district court repeatedly
The State's current executionprotocol, which it is seeking    emphasized its view that all the motions pertaining to the
to use in executing Otte, Phillips, and Tibbetts, includes    old protocol were moot, and encouraged the parties to
pancuronium bromide and potassium chloride. R. 667-1          withdraw their motions for precisely that reason, even if
(Ohio DRC ExecutionProtocol, 01-COM-11 at 2) (Page            it offered practical reasons as well. R. 966-10 (12/9/2009
ID #19813). By repeatedly representing that it would no       Hr'g Tr. at 25–26) (Page ID #34453–54). The State also
longer use pancuronium bromide or potassium chloride          expressed its view that Plaintiffs should withdraw their
in executions but now attempting to execute condemned         motions because they were moot. Id. at 43 (Page ID
inmates with these very drugs, the State has taken directly   #34471). Based *908 on the statements of the district
contradictory positions.                                      court and the State, and after some hesitation, Plaintiffs
                                                              withdrew their challenge to the three-drug protocol. Id. at
The second factor, whether the State succeeded in             42, 46 (Page ID #34470, 34474).
persuading a court to accept its earlier position that
it would not use pancuronium bromide or potassium             Significantly, the Plaintiffs' withdrawal of their challenge
chloride in executions, is the most difficult. See New        to the old protocol cleared the way for the State to
Hampshire v. Maine, 532 U.S. at 750–51, 121 S.Ct. 1808.       proceed with executions. After Biros's execution, the State
As noted above, this court did not make clear whether         executed twenty other individuals until it halted executions
its November 25, 2009 decision held that the claims of all    in the wake of the McGuire execution. The fact that
Plaintiffs were moot or only Biros's claims were moot. At     Ohio no longer had to litigate the constitutionality of
the December 9, 2009 hearing, the district court expressed    its three-drug protocol and was able to proceed with
its view that all of the motions pending as of December 9,    executions beginning in December 2009 using other
2009 were moot, but the district court also stated that it    protocols indicates that its mootness argument succeeded.
was not going to get into the “mess” over mootness, and       Resuming executions was the State's ultimate goal in
urged the parties to withdraw their pending motions as a      the litigation, and it achieved that goal by affirmatively
way “the record can get cleaned up.” R. 966-10 (12/9/2009     stating that it was no longer going to use pancuronium
Hr'g Tr. at 26) (Page ID #34454). The State withdrew          bromide or potassium chloride “going forward.” R. 966-3
the November 13, 2009 motion for summary judgment             (Collins Aff. at ¶ 6) (Page ID #34335). If the State were
that argued mootness, but it is not clear whether the State   now allowed to revert to using pancuronium bromide
withdrew that motion because the motion's argument had        or potassium chloride, it would create the perception
already been successful or because the district court was     that the district court, and perhaps this court, had been
not going to entertain the motion's argument.                 misled about the abandonment of pancuronium bromide
                                                              and potassium chloride. Accordingly, the second factor is
                                                              satisfied.



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                                                                  court's acquiescence to the State's behavior—by refusing
The third factor, “whether the party seeking to assert an         to estop the State from using pancuronium bromide or
inconsistent position would derive an unfair advantage            potassium chloride—means that the State has succeeded
or impose an unfair detriment on the opposing party if            in thwarting the Plaintiffs' efforts try their constitutional
not estopped,” is also satisfied. New Hampshire v. Maine,         claim before being executed.
532 U.S. at 751, 121 S.Ct. 1808. Earlier in this litigation,
by representing that there was “no possibility” that it           The majority's defense of the State's behavior as based
would use pancuronium bromide or potassium chloride               on changed circumstances is unconvincing. Even if Ohio
“going forward,” the State avoided having to litigate             changed its position because of changed circumstances,
the constitutionality of an executionprotocol that relied         the change in circumstances had no bearing on Ohio's
on those drugs. R. 966-3 (Collins Aff. at ¶ 6) (Page ID           decision to represent to two federal courts that the State
#34335); R. 966-2 (Defs.' Second Mot. Summ. J. with               would no longer use pancuronium bromide or potassium
Req. Expedited Briefing Sched. at 5) (Page ID #34329).            chloride. Nothing required Ohio to make the sweeping
Given the possibility that the State would revert to an           assertions that there was “no possibility” it would use
executionprotocol that relies on pancuronium bromide              potassium chloride “going forward,” rather than making a
and potassium chloride—as State officials and attorneys           narrower representation to which it could adhere. R. 966-3
represented that the State would not do, but as the               (Collins Aff. at ¶ 6) (Page ID #34335); R. 966-2 (Defs.'
State has now done—Plaintiffs were entitled to continue           Second Mot. Summ. J. with Req. Expedited Briefing
litigating the constitutionality of those drugs.                  Sched. at 5) (Page ID #34329).

In 2009, by making the unnecessarily broad and, we                Additionally, even if changed circumstances mean
now know, false representations that there was “no                that Ohio can no longer obtain barbiturates, the
possibility” that the State would use pancuronium                 unavailability of barbiturates does not require Ohio to
bromide and potassium chloride “going forward,” the               revert to pancuronium bromide and potassium chloride,
State prevented Plaintiffs from having a trial on their           as opposed to using a different drug or combination
claim that an executionprotocol including those drugs is          of drugs. Ohio's previous representations—including
unconstitutional. R. 966-3 (Collins Aff. at ¶ 6) (Page ID         representations made under oath, see R. 966-3 (Collins
#34335); R. 966-2 (Defs.' Second Mot. Summ. J. with               Aff. at ¶ 6) (Page ID #34335)—prevent it from reverting
Req. Expedited Briefing Sched. at 5) (Page ID #34329).            to pancuronium bromide and potassium chloride. Given
In 2016, the State concealed for months its intention to          these representations, if barbiturates are not available
switch from a one-drug to a three-drug protocol, and the          to Ohio, Ohio should rely on an executionprotocol not
State has admitted that this was a strategic decision. Since      involving pancuronium bromide or potassium chloride.
revealing its current midazolam three-drug protocol, the
State has pushed for this litigation to proceed quickly.          Allowing the State to reverse course and use pancuronium
Now, the State argues that Plaintiffs are not entitled to         bromide and potassium chloride in executions not only
trial on their constitutional claims, including their claim       unfairly advantages the State, it also undermines the
that a two-drug protocol that does not include a paralytic        integrity of this litigation. The majority asserts that
is an available alternative that will significantly reduce a      “if any gamesmanship led us to this pass, it was
substantial risk of severe pain. The upshot of the State's        not gamesmanship by the State.” Maj. Op. at 892.
behavior—in making unequivocal representations that               Whether or not characterized as gamesmanship, there no
it would not use pancuronium bromide or potassium                 question that the State has publicly taken inconsistent
chloride in executions, seeking to moot Plaintiffs' case          positions, concealed facts from Plaintiffs to gain strategic
based on those representations, acting in contravention           advantage, and attempted at every turn to deny Plaintiffs
of those representations, and now seeking to prevent              an opportunity to try their constitutional claims. The
Plaintiffs from having a trial—has been to thwart                 purpose of judicial estoppel is to ensure that litigants
Plaintiffs' efforts to litigate the constitutionality of Ohio's   will not be rewarded for such behavior. The majority
use of a three-drug protocol or the question whether a two-       has ensured that the State will be rewarded. Therefore,
drug protocol is an available alternative that significantly      reviewing the issue de novo, I come to the same conclusion
reduces a substantial risk of severe pain. *909 This              as the district court. I would hold that the State of Ohio is



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judicially estopped from using pancuronium bromide or          This case contains a conversation that implicates that
potassium chloride for executions.                             standard. The majority begins and ends its argument with
                                                               the conclusion that “death-penalty opponents successfully
                           ***                                 prevented Ohio (along with other states) from obtaining
                                                               the drugs necessary to use the one-drug protocol.”
Plaintiffs should not be executed before a trial on the        Majority at 892; see also id. at 884–85. These framing
constitutionality of Ohio's execution method. The district     comments grow from an argument made by various states
court did not err by finding that Plaintiffs satisfied the     that death-penalty opponents have employed improper
requirements for a preliminary injunction or that the State    means to prevent sale of the protocol drugs to states. But
of Ohio should be judicially estopped from using execution     that argument ignores the possibility that our national
drugs it swore that it would no longer use. I respectfully     conversation simply may have resulted in an evolution
dissent.                                                       in the standard of decency upon which the Eighth
                                                               Amendment relies. The refusal of drug companies to
                                                               sell execution drugs may well evidence a recognition
                                                               of changing societal attitudes toward the death penalty
          CONCURRING IN THE DISSENT
                                                               and a conclusion—whether based on principle, profit
JANE B. STRANCH, Circuit Judge, concurring in the              motivation, or both—that the business in which drug
dissent.                                                       companies engage, selling drugs that improve health and
I concur in Judge Moore's dissenting opinion because           preserve life, is not consistent with selling drugs that are
its legal analysis applied to the record before us fully       used to put people to death.
supports and explains where the majority opinion errs. I
write separately to address other concerns that intertwine     This dialogue about the constitutional prohibition on
with our merits determination. The majority raises one         cruel and unusual punishment is closely intertwined
such fundamental concern by recounting the crimes that         with our ongoing national conversation about the
underlie the death penalty sentences of prisoners involved     American criminal justice system. Woven through
in this executionprotocol challenge. The recitation of these   both is disquiet about issues such as punishing the
crimes reveals what they are—horrific. But even in the         innocent, discrimination on the basis of race, and
face of such crimes and their powerful provocation to          effective deterrence of crime. These concerns are present
respond in *910 kind, our American legal system and            throughout the criminal justice processes from arrest, to
current experience with the death penalty provide reasons      trial, to sentencing, to appeals, and to the final chapter in
to stay the hand of those implementing this lethal injection   death penalty litigation such as this.
protocol so that the court may evaluate whether the
latest protocol complies with the requirements of our          Such concerns, along with myriad others, have a role in
Constitution.                                                  public opinion that impacts “the evolving standards of
                                                               decency” governing the Eighth Amendment's prohibition
In her dissent from the denial of certiorari in Arthur         on cruel and unusual punishment. See Kennedy, 554
v. Dunn, an Alabama case addressing the same                   U.S. at 419, 128 S.Ct. 2641. A 2015 survey found
issues raised here, Justice Sotomayor explains why the         that a majority of Americans prefer life without
Eighth Amendment requires a “national conversation”—           parole over the death penalty for people convicted
a continuing dialogue between the legislatures and the         of murder. Robert P. Jones et al., Public Religion
courts on the meaning of the Amendment's prohibition           Research Institute, Anxiety, Nostalgia, and Mistrust:
on cruel and unusual punishments. ––– U.S. ––––, 137           Findings from the 2015 American Values Survey 47
S.Ct. 725, 731, 197 L.Ed.2d 225 (2017) (Sotomayor, J.,         (2015), http://www.prri.org/wp-content/uploads/2015/11/
dissenting). She reminds us that the meaning of this           PRRI-AVS-2015-1.pdf. This matches polling in 2016
prohibition is derived from “the evolving standards of         finding that public support for the death penalty has
decency that mark the progress of a maturing society.” Id.     dropped below 50%, to its lowest level in 45 years. Baxter
(quoting Kennedy v. Louisana, 554 U.S. 407, 419, 128 S.Ct.     Oliphant, Support for death penalty lowest in more than
2641, 171 L.Ed.2d 525 (2008)).                                 four decades, Pew Research Center: Fact Tank (Sept. 29,
                                                               2016), http://www.pewresearch.org/fact-tank/2016/09/29/



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                                                                     my agreement with Justice Sotomayor that the Eighth
support-for-death-penalty-lowest-in-more-than-four-
                                                                     Amendment requires a continuing national discussion
decades. Our opinion as a people on whether the death
                                                                     —a civil, thoughtful conversation among the American
penalty is acceptable is a mark of the progress of our
                                                                     people, legislatures, and the courts—on the meaning
maturing society.
                                                                     of the Amendment's prohibition on cruel and unusual
                                                                     punishment.
I fully agree with the analysis in the dissenting opinion
and believe that affirming *911 the grant of a preliminary
injunction would be the correct outcome based on                     All Citations
governing precedent and the factual record before us. In
light of the majority's determinations, I also write to stress       860 F.3d 881


Footnotes
*      Judge Cook recused herself from this case.
1      “In several recent cases, this Court has ‘questioned the continuing viability of the de novo standard for judicial estoppel,
       noting the Supreme Court's characterization of the doctrine as an equitable remedy ‘invoked by the court at its discretion’
       and recognizing that the ‘majority of federal courts' review for abuse of discretion.’ ” Javery, 741 F.3d at 697 (quoting
       Kimberlin v. Dollar General Corp., 520 Fed.Appx. 312, 313 n.1 (6th Cir. 2013)). Because the en banc court is not bound
       by prior panel decisions stating that the appropriate standard of review is de novo, the en banc court should consider the
       continuing validity of the de novo standard in light of the considerations pointed out in Javery.


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                    854 F.3d 488
            United States Court of Appeals,                   West Headnotes (8)
                    Eighth Circuit.

       Jason Farrell MCGEHEE; Stacey Eugene                   [1]   Civil Rights
     Johnson; Marcel Wayne Williams; Kenneth                             Criminal law enforcement; prisons
     Dewayne Williams; Bruce Earl Ward; Ledell                      Death row inmates' delay in bringing § 1983
   Lee; Jack Harold Jones, Jr.; Don William Davis;                  method-of-execution claim was unnecessary,
     Terrick Terrell Nooner, Plaintiffs–Appellees,                  and thus district court abused its discretion in
                            v.                                      staying inmates' executions; State legislature
     Asa HUTCHINSON, Governor of the State of                       had adopted their method of execution two
                                                                    years earlier, and, while some of the inmates
   Arkansas, in his official capacity; Wendy Kelley,
                                                                    had brought an action challenging such
    Director, Arkansas Department of Correction,
                                                                    method as violative of Eighth Amendment,
   in her official Capacity, Defendants–Appellants.
                                                                    they later voluntarily dismissed case without
                                                                    prejudice and did not raise claim again until
                       No. 17-1804
                                                                    three weeks before first scheduled execution.
                            |
                                                                    U.S. Const. Amend. 8; 42 U.S.C.A. § 1983.
                 Submitted: April 17, 2017
                            |                                       2 Cases that cite this headnote
                   Filed: April 17, 2017

Synopsis                                                      [2]   Action
Background: Nine death row inmates brought § 1983                        Stay of Proceedings
action against State of Arkansas and sought stays of                A court considering a stay must apply a strong
execution. The United States District Court for the                 equitable presumption against the grant of a
Eastern District of Arkansas, Kristine G. Baker, J., 2017           stay where a claim could have been brought
WL 1399554, granted motion. The State of Arkansas                   at such a time as to allow consideration of the
moved to vacate stays of execution.                                 merits without requiring entry of a stay.

                                                                    Cases that cite this headnote
Holdings: The Court of Appeals held that:
                                                              [3]   Civil Rights
[1] inmates' delay in bringing § 1983 method of execution                Criminal law enforcement; prisons
claim was unnecessary;                                              District court's conclusion concerning the
                                                                    use of midazolam in the Arkansas execution
[2] district court's conclusion concerning the use of               protocol did not apply governing standard
midazolam did not apply governing standard and was not              and was not adequately supported by the
adequately supported by the court's factual findings; and           court's factual findings, and thus district
                                                                    court abused its discretion in staying
[3] inmates failed to demonstrate a significant possibility         Arkansas death row inmates' executions
of establishing a known and available alternative that              based on likelihood of success on merits
would significantly reduce a substantial risk of severe             of Eighth Amendment method-of-execution
pain.                                                               claim brought under § 1983; district court
                                                                    never determined whether use of midazolam
                                                                    in execution was sure or very likely to cause
Vacated.
                                                                    serious illness and needless suffering, and
                                                                    evidence relating to midazolam was equivocal
Kelly, Circuit Judge, filed dissenting opinion.


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       in nature. U.S. Const. Amend. 8; 42 U.S.C.A.                asserting an Eighth Amendment method of
       § 1983.                                                     execution claim, State must have access to
                                                                   the alternative and be able to carry out
       5 Cases that cite this headnote                             the alternative method relatively easily and
                                                                   reasonably quickly. U.S. Const. Amend. 8.
[4]    Sentencing and Punishment
                                                                   7 Cases that cite this headnote
           Mode of execution
       To establish a violation of the Eighth
       Amendment based on method of execution,              [8]    Sentencing and Punishment
       prisoners must show that the method of                          Mode of execution
       execution is sure or very likely to cause serious           Unless an alternative method of execution
       illness and needless suffering. U.S. Const.                 is feasible and readily implemented in the
       Amend. 8.                                                   sense described, the State has a legitimate
                                                                   penological justification for adhering to its
       7 Cases that cite this headnote                             current method of execution in order to
                                                                   carry out lawful sentences; when availability
[5]    Sentencing and Punishment                                   or effectiveness of an alternative is more
           Mode of execution                                       speculative, a State's refusal to discontinue
                                                                   executions under the current method is not
       When a method of execution is authorized
                                                                   blameworthy in a constitutional sense.
       under state law, a party contending that this
       method violates the Eighth Amendment bears                  2 Cases that cite this headnote
       the burden of showing that the method creates
       an unacceptable risk of pain. U.S. Const.
       Amend. 8.

       Cases that cite this headnote                       *490 Motion to Vacate Stays of Execution
                                                           United States District Court for the Eastern District of
                                                           Arkansas—Little Rock
[6]    Civil Rights
            Criminal law enforcement; prisons              Attorneys and Law Firms
       Death row inmates failed to demonstrate
                                                           Scott Braden, Julie Vandiver, John Charles Williams,
       a significant possibility of establishing a
                                                           Assistant Federal Public Defenders, Federal Public
       known and available alternative that would
                                                           Defender's Office, Little Rock, AR, for Plaintiffs–
       significantly reduce a substantial risk of
                                                           Appellees Jason Farrell McGehee (State Prisoner:
       severe pain, and thus district court abused
                                                           000946), Marcel Wayne Williams (State Prisoner:
       its discretion in staying inmates' executions
                                                           000943), Don William Davis (State Prisoner: 000920), and
       in § 1983 action alleging Eighth Amendment
                                                           Terrick Terrell Nooner (State Prisoner: 000926).
       method-of-execution claim; even assuming
       a risk of pain from the current method,             Jeffrey M. Rosenzweig, Little Rock, AR, for Plaintiffs–
       the availability of alternative methods was         Appellees Stacey Eugene Johnson (State Prisoner:
       speculative. U.S. Const. Amend. 8; 42               000933), Kenneth Dewayne Williams (State Prisoner:
       U.S.C.A. § 1983.                                    000957), and Jack Harold Jones, Jr. (State Prisoner:
                                                           000940).
       5 Cases that cite this headnote
                                                           Scott Braden, Julie Vandiver, John Charles Williams,
[7]    Sentencing and Punishment                           Assistant Federal Public Defenders, Federal Public
           Mode of execution                               Defender's Office, Little Rock, AR, Jennifer A. Merrigan,
                                                           Philadelphia, PA, Joseph J. Perkovich, Phillips Black
       In order to establish that alternative methods
       of execution are known and available, in


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Project, New York, NY, for Plaintiff–Appellee Bruce Earl       [1]    *491 The district court based its order staying
Ward (State Prisoner: 000915).                                the executions on three principal conclusions: (1) the
                                                              inmates did not delay unnecessarily in bringing this action,
Lee Deken Short, Short Law Firm, North Little Rock,           (2) “there is a significant possibility that plaintiffs will
AR, for Plaintiff-Appellee Ledell Lee (State Prisoner:        succeed in showing that the use of midazolam in the
97101).                                                       ADC's current lethal injection protocol qualifies as an
                                                              objectively intolerable risk that plaintiffs will suffer severe
Nicholas Jacob Bronni, Colin Jorgensen, Jennifer L.
                                                              pain,” and (3) there is a significant possibility that the
Merritt, Lee P. Rudofsky, Attorney General's Office,
                                                              risk of severe pain arising from Arkansas's proposed
Little Rock, AR, for Defendants–Appellants.
                                                              method of execution is substantial when compared to
Before WOLLMAN, LOKEN, RILEY, COLLOTON,                       known and available alternative methods. The district
GRUENDER, BENTON, SHEPHERD, and KELLY,                        court conducted a four-day hearing and produced a 101–
                                                              page order under great time pressure, and we commend
Circuit Judges. 1
                                                              the court for its diligence. For the following reasons,
                                                              however, we conclude that the district court abused its
Opinion                                                       discretion in staying the executions, and we therefore
                                                              grant the State's motion to vacate the stays.
PER CURIAM.

The State of Arkansas moves to vacate stays of execution       [2] First, “[a] court considering a stay must ... apply ‘a
of nine sentences of death entered by the district court on   strong equitable presumption against the grant of a stay
Saturday, April 15, 2017. The first execution is scheduled    where a claim could have been brought at such a time
for today, April 17, at 7:00 p.m. The State moved to          as to allow consideration of the merits without requiring
vacate the stays at approximately 6:00 p.m. on April 15.      entry of a stay.’ ” Hill v. McDonough, 547 U.S. 573, 584,
The prisoners responded at 1:16 a.m. today, April 17.         126 S.Ct. 2096, 165 L.Ed.2d 44 (2006) (quoting Nelson v.
The State filed a reply at 10:04 a.m. today. Due to the       Campbell, 541 U.S. 637, 650, 124 S.Ct. 2117, 158 L.Ed.2d
exigency of time, we dispense with a lengthy statement        924 (2004)). The record here shows that the prisoners
of procedural history and state our conclusions concisely.    could have brought their § 1983 method-of-execution
The judges in regular active service voted to hear the        claim much earlier and intentionally declined to do so.
motion initially en banc.
                                                              The Arkansas legislature adopted the current method
The stays of execution were entered in an action brought      of execution in 2015. On April 6, 2015, several of the
by nine Arkansas prisoners under 42 U.S.C. § 1983.            prisoners sued in Arkansas state court to challenge the
The inmates were all convicted of murder and sentenced        constitutionality of the law under both the Arkansas
to death. Governor Hutchinson of Arkansas scheduled           Constitution and the federal Constitution. After the
executions for eight of the prisoners to occur on April       State removed the case to federal court, however, the
17, 20, 24, and 27, 2017, two per day. As relevant here,      prisoners voluntarily dismissed the case without prejudice
the complaint alleges that use of the State's method          on April 18, 2015. They then filed a new action in
of execution, by itself and in combination with the           Arkansas state court that omitted the federal claims
execution schedule, would constitute cruel and unusual        and alleged only violations of Arkansas law. After more
punishment that violates the Eighth and Fourteenth            than a year of litigation, the Arkansas Supreme Court—
Amendments. The State's current lethal injection protocol     applying the same standards that apply under the Eighth
calls for injection of 500 milligrams of midazolam,           Amendment of the federal Constitution—dismissed the
followed by 100 milligrams of vecuronium bromide,             prisoners' claim that the method of execution constituted
followed by 240 milliequivalents of potassium chloride.       cruel or unusual punishment in violation of the Arkansas
If the prisoner remains conscious after the injection of      Constitution. Kelley v. Johnson, 2016 Ark. 268, 496
midazolam, however, the executioner will inject another       S.W.3d 346, 357-60 (2016), cert. denied, ––– U.S. ––––, 137
500 milligrams of midazolam before injecting vecuronium       S.Ct. 1067, 197 L.Ed.2d 235 (2017).
bromide.




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On February 27, 2017, six days after the Supreme                  opinion)). While the district court found a significant
Court denied certiorari in Kelley, the Governor scheduled         possibility that the prisoners could show an “objectively
executions for eight of the inmates to occur in April 2017.       intolerable risk” of severe pain, the court never found
Finally, on March 27, 2017, only three weeks before the           that the prisoners had a likelihood of success under the
first scheduled execution, the plaintiffs brought this action     rigorous “sure or very likely” standard of Glossip and
to challenge the method of execution under the Eighth             Baze. Although the court recited the “sure or very likely”
Amendment of the federal Constitution.                            standard in its preliminary discussion, R. Doc. 54, at 55,
                                                                  the court never applied it when discussing whether stays
The prisoners' long delay in pursuing their federal claim         of execution were justified.
should have created a strong equitable presumption
against the grant of a stay. The prisoners voluntarily            The district court's factual findings would not support a
elected to forego their federal claim in April 2015               conclusion that the prisoners have a likelihood of success
and chose instead to challenge the method of                      in showing that the execution protocol is sure or very likely
execution exclusively in state court under the Arkansas           to cause severe pain. Much of the district court's order
Constitution. Only after the Arkansas Supreme Court               highlights the equivocal nature of the evidence. The court
rejected their state-law claim, the Supreme Court denied          observed that there are no scientific studies conducted in
certiorari, and the Governor scheduled the executions             humans about the effects of the dosage of midazolam that
did the prisoners present a federal claim in federal court.       would be administered under the protocol. One human
The claim on which the district court based the stays of          study involving smaller doses was “mixed in terms of
execution—that the three-drug lethal injection protocol           supporting either side's theory.” R. Doc. 54, at 58. The
allegedly violates the Eighth Amendment—could have                court discussed the alleged “ceiling effect” for midazolam,
been litigated at the same time as the state constitutional       under which effectiveness levels off at a certain dosage,
claim beginning in April 2015. Whether or not the claim           but concluded that if there is a ceiling effect, the level is
technically is barred by doctrine of res *492 judicata            unknown. Id. at 60. Evidence from executions in other
or collateral estoppel, the prisoners' use of “piecemeal          jurisdictions was of “limited relevance.” Id. at 69; see In
litigation” and dilatory tactics is sufficient reason by itself   re Ohio Execution Protocol, No. 17-3076, ––– F.3d ––––,
to deny a stay. Hill, 547 U.S. at 584-85, 126 S.Ct. 2096.         ––––, 2017 WL 1457946, at *22 (6th Cir. Apr. 25, 2017)
                                                                  (Kethledge, J., dissenting). There is no express finding
Although the district court said that a risk of pain arising      of fact that the prisoners are likely to prove that a 500–
from the lethal-injection protocol is “exacerbated” by            milligram injection of midazolam will fail to anesthetize
the Governor's execution schedule, R. Doc. 54, at 56,             the prisoners during the execution or that use of the lethal-
the court did not explain why. The alleged risk of pain           injection protocol is sure or very likely to cause severe
from the drug protocol is the central basis for the district      pain. Instead, the district court found that “there appears
court's order granting stays. The prisoners could have            at least a possibility that if the midazolam does not operate
challenged the protocol beginning in April 2015. We are           as defendants predict ..., the inmate may regain some level
not convinced that the execution schedule is material to          of consciousness during the process before the second and
the question whether stays are warranted based on the             third drugs are administered.” R. Doc. 54, at 72-73.
lethal-injection protocol.
                                                                  The district court appeared to acknowledge that there
 [3] [4] Second, the district court's conclusion concerning       was no “well-established scientific consensus” that the
the use of midazolam in the Arkansas execution protocol           use of midazolam in conjunction with the other two
did not apply the governing standard and was not                  drugs was very likely to cause severe pain. Id. at 68-69.
adequately supported by the court's factual findings. To          But the district court thought this standard—urged by
establish a violation of the Eighth Amendment, prisoners          Justice Alito in Baze to avoid “embroil[ing] the States in
must show that the method of execution is “sure or very           never-ending litigation concerning the adequacy of their
likely to cause serious illness and needless suffering.”          execution procedures,” *493 553 U.S. at 63, 67, 128
Glossip v. Gross, ––– U.S. ––––, 135 S.Ct. 2726, 2737,            S.Ct. 1520 (Alito, J., concurring)—“seems like a high bar
192 L.Ed.2d 761 (2015) (quoting Baze v. Rees, 553 U.S.            to reach and level of certainty to achieve based on the
35, 50, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008) (plurality         evidence of which the Court is aware at this stage of the



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proceeding and the limitations of human study at 500 mg,         Under our view of the correct legal standard, we cannot
1,000 mg, or higher doses of midazolam.” R. Doc. 54, at          agree with the district court that the prisoners have
69.                                                              demonstrated a significant possibility of establishing a
                                                                 known and available alternative that would significantly
 [5] “When a method of execution is authorized under             reduce a substantial risk of severe pain. Even assuming
state law, a party contending that this method violates          a risk of pain from the current method, the availability
the Eighth Amendment bears the burden of showing that            of the several methods cited by the district court is too
the method creates an unacceptable risk of pain.” Glossip,       uncertain to satisfy the rigorous standard under the Eighth
135 S.Ct. at 2741. If there is no scientific consensus and       Amendment.
a paucity of reliable scientific evidence concerning the
effect of a lethal-injection protocol on humans, then the    The possibility that Arkansas could acquire pentobarbital
challenger might well be unable to meet this burden.         for use in executions is too speculative to justify stays
The equivocal evidence recited by the district court falls   of execution. Arkansas made at least three unsuccessful
short of demonstrating a significant possibility that the    inquiries about obtaining barbiturates in 2015, and the
prisoners will show that the Arkansas protocol is “sure or   difficulty of obtaining drugs for use in lethal injection is
very likely” to cause severe pain and needless suffering.    well documented. Sevoflurane gas and nitrogen hypoxia
                                                             have never been used to carry out an execution. With
 [6] [7] Third, we disagree with the legal standard that the no track record of successful use, these methods are not
district court applied in determining whether alternative    likely to emerge as more than a “slightly or marginally
methods of execution are known and available. We do          safer alternative.” Glossip, 135 S.Ct. at 2737; see *494
not say that an alternative method must be authorized by     Baze, 553 U.S. at 41, 128 S.Ct. 1520 (discussing “untried
statute or ready to use immediately, but we concur with      and untested alternatives”). The firing squad has been
the Eleventh Circuit that the State must have access to the  used by only one State since the 1920s. It requires trained
alternative and be able to carry out the alternative method  marksmen who are willing to participate and is allegedly
relatively easily and reasonably quickly. Arthur v. Comm'r,  painless only if volleys are targeted precisely. The record
Ala. Dep't of Corr., 840 F.3d 1268, 1300 (11th Cir. 2016),   comes short of establishing a significant possibility that
cert. denied, ––– U.S. ––––, 137 S.Ct. 725, 197 L.Ed.2d 225  use of a firing squad is readily implemented and would
(2017).                                                      significantly reduce a substantial risk of severe pain.

 [8] The district court thought this standard places an          For these reasons, the stays of execution entered on April
“impossible burden” on the prisoners. We think it is             15, 2017, R. Doc. 54, are vacated.
necessary to conform to the Eighth Amendment. Unless
an alternative is feasible and readily implemented in the
sense described, the State has a legitimate penological
                                                                 KELLY, Circuit Judge, dissenting.
justification for adhering to its current method of
                                                                 This case is not only about midazolam. Any increased
execution in order to carry out lawful sentences. See Baze,
                                                                 risk of pain from midazolam in this case is compounded
553 U.S. at 52, 128 S.Ct. 1520 (plurality opinion). When
                                                                 here by the compressed execution schedule and Arkansas'
availability (or effectiveness) of an alternative is more
                                                                 execution procedures. Together, these factual elements
speculative, a State's refusal to discontinue executions
                                                                 fully support the district court's conclusion that using
under the current method is not blameworthy in a
                                                                 midazolam to execute eight men over an eleven day period
constitutional sense. See Baze, 553 U.S. at 67, 128 S.Ct.
                                                                 with limited contingency procedures creates a substantial
1520 (Alito, J., concurring). The “reasonable possibility”
                                                                 risk of serious harm. I would hold that the district court
standard urged by the prisoners based on In re Ohio
                                                                 did not err in concluding that the appellees' midazolam
Execution Protocol, ––– F.3d at ––––, 2017 WL 1457946,
                                                                 claim, standing alone, supports a grant of preliminary
at *9, is insufficient to establish that an alternative method
                                                                 injunction. But, more significantly, the district court did
is available, feasible, and readily implemented. See id. at
                                                                 not clearly err in concluding that, in combination, the
–––– – ––––, 2017 WL 1457946, at *23-24 (Kethledge, J.,
                                                                 risks inherent in the state's procedure likely violate the
dissenting).
                                                                 Eighth Amendment. See Lopez v. Brewer, 680 F.3d
                                                                 1068, 1074 (9th Cir. 2012) (“The relevant inquiry ... is


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whether [the sequence of events], either individually or        expedited execution schedule and Arkansas' execution
in combination, lead to an objectively intolerable risk of      protocols violates the Eighth Amendment. Finally, I
pain.”); Valle v. Singer, 655 F.3d 1223, 1228 (11th Cir.        consider the claim appellees raised in their cross appeal
2011) (addressing petitioner's claim that the “replacement      that the state's compressed execution schedule violates the
of sodium thiopental with pentobarbital when combined           nation's evolving standards of decency.
with Florida's history and the deficiencies in its procedures
subjects him to a substantial risk of serious harm”).
                                                                I. Midazolam Method of Execution Claim
“A plaintiff seeking a preliminary injunction must
                                                                To bring an Eighth Amendment challenge to a method of
establish that he is likely to succeed on the merits, that
                                                                execution, a plaintiff must establish “that the State's lethal
he is likely to suffer irreparable harm in the absence of
                                                                injection protocol creates a demonstrated risk of severe
preliminary relief, that the balance of equities tips in his
                                                                pain. [And] [h]e must show that the risk is substantial
favor, and that an injunction is in the public interest.”
                                                                when compared to the known and available alternatives.”
Glossip v. Gross, –––U.S. ––––, 135 S.Ct. 2726, 2736, 192
                                                                Glossip, ––– U.S. ––––, 135 S.Ct. 2726, 2737, 192 L.Ed.2d
L.Ed.2d 761 (2015) (quoting Winter v. Natural Resources
                                                                761 (2015) (alteration in original) (quoting Baze v. Rees,
Defense Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172
                                                                553 U.S. 35, 61, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008)).
L.Ed.2d 249 (2008)). We review a district court's grant of
                                                                “The preliminary injunction posture of the present case
preliminary injunction and stay of execution for abuse of
                                                                thus requires petitioners to establish a likelihood that they
discretion. Nooner v. Norris, 491 F.3d 804, 807 (8th Cir.
                                                                can establish both” of those prongs. Id. The state argues
2007). “An abuse of discretion occurs when the district
                                                                that the appellees have failed to prove both prongs of the
court bases its decision on an erroneous application of
                                                                Glossip test, because they have not shown that midazolam
the law or a clearly erroneous finding of fact.” See Taylor
                                                                creates a demonstrated risk of severe pain, or that a readily
Corp. v. Four Seasons Greetings, LLC, 403 F.3d 958, 967
                                                                available alternative execution method exists.
(8th Cir. 2005).

Contrary to the court's conclusion, the district court          1. Substantial risk of serious harm
based the preliminary injunction at least in part
on appellees' combined claim that midazolam, the                The state argues that the district court erred in entering
compressed execution schedule, and Arkansas' execution          the preliminary injunction because the appellees failed
procedures violate the Eighth Amendment. (Prelim. Inj.          to establish that Arkansas' midazolam protocol presents
Order at 22–28, 37–45, 53, 56; id. at 73–74 (“[T]he             a substantial risk of serious harm. Under Glossip,
schedule imposed on these officials ... causes concern. For     the determination of whether a particular method of
these reasons, the Court finds that there is a significant      execution presents a substantial risk of serious harm is
possibility that plaintiffs will succeed on the merits under    a finding of fact, which we review under the deferential
the first prong of Baze/ Glossip.”)). The compressed            clear error standard. See Glossip, 135 S.Ct. at 2731 (“[T]he
execution schedule is a crucial component of the combined       District Court did not commit clear error when it found
claim. The appellees could not have brought this claim          that the prisoners failed to establish that Oklahoma's use
until the Governor set their execution dates on February        of a massive dose of midazolam in its execution protocol
27, 2017. By filing their complaint in federal court on         entails a substantial risk of severe pain.”).
March 27, 2017, they diligently and timely pursued their
combined claim.                                                 The court asserts that the “equivocal nature of the
                                                                evidence” fails to demonstrate that midazolam is sure
Because the midazolam method of execution claim is              or very likely to cause severe pain. But the clear-error
integral to both Eighth Amendment claims, I address the         standard “does not entitle us to overturn a finding
state's midazolam-related arguments first. I then *495          ‘simply because [we are] convinced that [we] would have
turn to the ultimate issue: whether the district court          decided the case differently.’ ” Id. at 2739 (alterations in
abused its discretion in granting a preliminary injunction      original) (quoting Anderson v. Bessemer City, 470 U.S.
on the combined method of execution claim (“combined            564, 573, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985)). Rather,
claim”) that the use of midazolam together with the             “[w]here there are two permissible views of the evidence,



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the factfinder's choice between them cannot be clearly           consistent with the appellees' theory of the case. The
erroneous.” Anderson, 470 U.S. at 574, 105 S.Ct. 1504.           state argues that the district court's finding was in error
Thus, to the extent the court believes the evidence in this      because it “ignores” various pieces of evidence that
case is equivocal—a belief I disagree with—it is required        support the state's view that midazolam induces general
to uphold the district court's findings.                         anesthesia, because it erroneously relied on evidence
                                                                 regarding midazolam's “ceiling effect,” and because
Initially, the court concludes that the district court applied   anecdotal evidence of executions in other states was
the incorrect legal standard. In its view, Glossip requires      irrelevant. Thus, in the state's view, the district court relied
prisoners to show that a method of execution is “sure or         only on “speculation, conjectures, and assumptions” in
very likely to cause serious illness and needless suffering.”    finding that Arkansas' midazolam protocol presents a
Though the district court quoted this language, the court        substantial risk of severe harm.
believes that in fact the district court found only that
the appellees showed the Arkansas' midazolam protocol
presented an “objectively intolerable risk of severe pain.”
                                                                                     a. “Ignored” evidence
The distinction the court draws is not supported by
Glossip. Glossip explains:                                       To begin with, the state points to several pieces of
                                                                 “undisputed” evidence that, it claims, the district court
  The controlling opinion in Baze first concluded that
                                                                 ignored in finding that midazolam presents a substantial
  prisoners cannot successfully challenge a method of
                                                                 risk of severe harm. First, the state contends the
  execution unless they establish that the method presents
                                                                 district court ignored evidence that the Food and Drug
  a risk that is “ ‘sure or very likely to cause serious
                                                                 Administration's (FDA's) package insert for midazolam
  illness and needless suffering,’ *496 and give rise
                                                                 states that midazolam can be used to induce general
  to ‘sufficiently imminent dangers.’ ” To prevail on
                                                                 anesthesia. On the contrary, the district court's order did
  such a claim, “there must be a ‘substantial risk of
                                                                 discuss the insert, and did not find it to be persuasive
  serious harm,’ an ‘objectively intolerable risk of harm’
                                                                 evidence that midazolam alone can induce general
  that prevents prison officials from pleading that they
                                                                 anesthesia for two reasons. First, it noted that the insert “is
  were ‘subjectively blameless for purposes of the Eighth
                                                                 not entirely internally consistent in its language, especially
  Amendment.’ ”
                                                                 in regard to use of midazolam as an induction agent or as a
Glossip, 135 S.Ct. at 2737 (citations and quotations             sole agent for anesthesia.” Indeed, as appellees' expert Dr.
omitted). As this paragraph demonstrates, the “sure or           Craig Stevens pointed out, certain portions of the insert
very likely to cause serious illness and needless suffering”     indicate that midazolam can be used to induce general
standard is identical to the “objectively intolerable risk       anesthesia only when followed by “other anesthetic
of harm” standard, as well as the “substantial risk of           agents.” He testified that this language was consistent
serious harm” standard. These are not different standards;       with the usual practice of using midazolam together with
they are different ways of describing the same standard.         other medications for induction of anesthesia. The district
Indeed, all three phrasings are used interchangeably             court also pointed out that the report of the state's
throughout both Glossip and Baze. See, e.g., id. at 2731,        expert witness, pharmacologist Dr. Daniel Buffington,
2739, 2745; Baze, 553 U.S. at 50, 57, 128 S.Ct. 1520. My         explained that an FDA insert can be modified over time
discussion will use the phrasing “substantial risk of serious    based on clinical uses, and that physicians sometimes use
harm.”                                                           drugs “off-label,” which the district court noted “seems to
                                                                 contradict a reliance on the label.” Further, other evidence
In finding that Arkansas' midazolam protocol presents a          in the case consistently demonstrated that midazolam
substantial risk of serious harm, the district court engaged     is effective to induce anesthesia only as one medication
in a lengthy analysis of evidence presented over the course      among several. One of the plaintiffs' experts, Dr. Jonathan
of a four-day hearing. The district court discussed in           Groner, testified that it is used as a “component” of
detail scientific studies, expert witness testimony, and         anesthesia, and the appellees' *497 anesthesiology expert
anecdotal evidence regarding other executions conducted          Dr. Joel Zivot testified that inducing anesthesia involves
with midazolam. Ultimately, the district court concluded         more than a single drug. Dr. Stevens and Dr. Groner
that both the scientific and anecdotal evidence was more         also both testified that midazolam alone cannot induce



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general anesthesia. In light of the entire record, it cannot     (8th Cir.1992) (explaining that under clear-error review,
be said that the district court's well-reasoned decision to      “the appellate court should give particular deference to
give limited weight to the FDA's package insert gave rise        findings based upon credibility determinations”).
to clear error.
                                                                 The state also points out that its anesthesiology expert
Next, the state contends that Dr. Zivot conceded                 Dr. Joseph Antognini testified that a 20 to 30 milligram
midazolam can be used for induction of anesthesia                dose of midazolam will induce general anesthesia in a 200–
and as the sole anesthetic for painful surgeries. The            pound man, that a 40 to 60 milligram dose will induce
state misrepresents the testimony it cites. When asked           general anesthesia in a 400–pound man, and that a 500
if midazolam could be used for that purpose, Dr. Zivot           milligram dose would be much more than necessary to
testified, “[W]e could also just give them saline. I don't       anesthetize a person and render him insensate to pain. But,
know what you're asking me. Could we? I mean, you                as the district court noted, there were several reasons not
can do a lot of things. So you could give it, but it             to fully credit Dr. Antognini's testimony on this point:
would be insufficient.” He also stated, “I could practice        some of the studies he relied on for his opinion that
poor medicine in a number of ways, and that would be             midazolam could induce general anesthesia by itself used
one of them.” In short, Dr. Zivot's testimony does not           a spinal injection rather than an IV to administer the
indicate that he concedes midazolam would, by itself,            midazolam; he could not recall if he had ever previously
induce general anesthesia. Additionally, as discussed            used midazolam as the sole agent to induce general
above, several witnesses testified that midazolam cannot         anesthesia; and he gave an evasive answer to the question
by itself induce general anesthesia. Dr. Groner also             of whether midazolam can be used as the sole anesthetic
testified that midazolam is not an analgesic, meaning that       even for *498 “short, painful” procedures. Given its
it does not alleviate pain, and an authoritative textbook,       estimation of Dr. Antognini's credibility, as well as other
Miller's Anesthesia, states that benzodiazepines (the class      evidence in the record demonstrating that midazolam
of drugs to which midazolam belongs) lack analgesic              cannot induce general anesthesia by itself, the district
properties. Thus, the district court's failure to rely on Dr.    court's rejection of Dr. Antognini's testimony did not give
Zivot's “concession” does not suggest that its finding that      rise to clear error.
Arkansas' midazolam protocol presents a substantial risk
of serious harm is clearly erroneous.                            Finally, the state contends the district court ignored two
                                                                 studies that were discussed during the hearing. But the
According to the state, the district court also ignored the      district court's opinion evaluated the studies at length,
fact Dr. Stevens co-authored a pharmacology textbook             and found that both were “mixed in terms of supporting
that listed anesthesia as one of the uses of midazolam.          either side's theory of this case.” In one study, researchers
But again, the district court did not ignore this evidence:      gave midazolam to 26 subjects and measured the depth of
it acknowledged “that plaintiffs' witness Dr. Stevens            anesthesia achieved using bispectral analysis. Dr. Stevens
was cross examined effectively as to the table from              testified that a bispectral analysis score between 40 and 60
the textbook he co-authored.” However, it found that             indicates general anesthesia, and Dr. Buffington testified
Dr. Stevens regained credibility in other portions of his        that a score of 60 is the industry definition of general
testimony, in which he discussed the mechanism by which          anesthesia. As the district court noted in its order, only a
midazolam works to support his view that midazolam               few of the subjects in the study appear to have achieved a
cannot, by itself, induce general anesthesia. Furthermore,       bispectral analysis score below 60. The district court was
Dr. Stevens explained that his textbook was a general            therefore justified in concluding the study did not lend
introduction to pharmacology, which did not go into              great support to the state's theory. In the other study,
great detail, and pointed out that his textbook did              researchers gave subjects doses of midazolam between
not state midazolam could induce general anesthesia by           4.5 and 20 milligrams. According to the state, some of
itself. In light of these circumstances, the district court      the subjects demonstrated bispectral analysis scores under
was justified in finding Dr. Stevens' detailed testimony         60, and “to the extent patient scores were above 60,
regarding the mechanism by which midazolam functions             Appellee's expert concedes these monitors often are not
credible despite his textbook's brief reference to its uses as   reliable.” Even accepting the state's characterization of
an anesthetic. See Prince v. Sargent, 960 F.2d 720, 720–21       the study results, it is hard to see how it undermines



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the district court's conclusion that the study did not
support either side's theory of the case. The fact that
unreliable monitors may have shown that midazolam
                                                                                    c. Anecdotal evidence
induced general anesthesia in some (but not all) subjects
does not undercut the district court's finding that its use in   Finally, the state argues that the district court should
Arkansas' execution protocol would create a substantial          not have relied on anecdotal evidence of executions in
risk of severe harm by failing to properly anesthetize the       other states, because those states used different execution
inmates.                                                         protocols than Arkansas plans to use. In particular, the
                                                                 state notes that the execution of Clayton Lockett in
In short, the district court did not ignore the evidence         Oklahoma failed not because of the midazolam used,
the state cites; rather, it discussed each piece of it in        but because his IV line dislodged. However, the district
detail and explained its reasons for finding the evidence        court specifically “recognize[d] that evidence of other
supporting the appellees' case more persuasive. Though           executions using different lethal injection protocols has
the state might have preferred the district court to resolve     limited relevance to the Court's inquiry in this case.” Thus,
the conflicting evidence differently, this does not render       it considered the evidence only for the limited purpose of
the district court's finding that midazolam cannot by itself     “assessing the scientific opinions offered by the parties'
induce general anesthesia clearly erroneous.                     experts.”

                                                                 The district court concluded that the testimony of lay
                      b. Ceiling effect                          witnesses who had witnessed executions using midazolam
                                                                 was “more consistent with plaintiffs' theory of this case,”
Next, the state contends that the district court erred in        especially with respect to “plaintiffs' arguments regarding
concluding that midazolam has a “ceiling effect.” First,         the ceiling effect and articles about the synergistic effects
the state points out that Dr. Stevens' opinion as to the         on midazolam and opoids.” It was not clear error for the
ceiling effect relied on data from in vitro and animal           district court to rely on the lay witness testimony for this
studies, rather than studies conducted on human subjects.        limited purpose; nor does the fact that other states use
The state conclusorily asserts this type of evidence is          different protocols significantly undermine the relevance
unreliable and violates Daubert v. Merrell Dow Pharm.,           of the lay testimony to demonstrate that midazolam is not
Inc., 509 U.S. 579, 592, 113 S.Ct. 2786, 125 L.Ed.2d 469         by itself sufficient to induce general anesthesia.
(1993). To the extent we may review the reliability of
an expert opinion under Daubert at this stage, we do             The district court also considered Dr. Zivot's testimony
so under the abuse-of-discretion standard. See Glossip,          regarding autopsies performed on inmates who had
135 S.Ct. at 2745. The state cites no authority for the          been executed in Florida using midazolam. Dr. Zivot
proposition that an expert's opinion is unreliable solely        testified that the autopsy reports showed death was
because it is based on in vitro or animal studies. In fact,      not instantaneous, but occurred slowly, and would have
Dr. Stevens pointed out that the FDA usually requires            caused the inmate to feel as though his lungs were
both types of studies in evaluating pharmaceuticals for          filling with fluid. The district court acknowledged that
human use. And, as the district court noted in its               unlike Arkansas' protocol, Florida's protocol requires
opinion, the state's own anesthesiology expert also cited        the “very quick administration” of the paralytic drug
an animal study. Furthermore, other evidence supported           after midazolam is administered. However, it noted that
the district court's conclusion that midazolam has a ceiling     Dr. Zivot's description of the autopsy reports was not
effect. Dr. Antognini—who was a witness of the state             dissimilar to the lay witnesses' descriptions of executions
— acknowledged that he had previously testified that             where the paralytic drug was not administered as quickly.
midazolam had a ceiling effect, which he expected would          Thus, contrary to the state's assertions, the district
occur at a dose of about 20 to 25 milligrams. As such,           court did not rely on anecdotal evidence of executions
the district court's *499 conclusions regarding the ceiling      in other states without considering the differences in
effect support its finding that midazolam cannot by itself       execution protocols. Rather, the district court recognized
induce general anesthesia, and that finding was not clear        the “limited relevance” of the anecdotal evidence, and
error.                                                           considered the possible effect different protocols might



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have had on the outcome of other executions. This                address what it means for an alternative method to be
evidence therefore does not undermine the district court's       available under Glossip in the circumstances present here,
finding that midazolam presents a substantial risk of            the court adopts the Eleventh Circuit's iteration of the
serious harm.                                                    standard at the state's urging. But given the expedited
                                                                 timeline in the instant matter, I would decline to formally
Accordingly, the district court did not clearly err in           adopt an answer to this weighty legal question at this time.
finding that the appellees demonstrated that Arkansas'           Instead, because I think that the appellees meet the more
midazolam protocol presents a substantial risk of serious        demanding standard articulated by the Eleventh Circuit,
harm. This conclusion is not inconsistent with the               I assume for purposes of this motion that the Eleventh
Supreme Court's holding in Glossip that the district court       Circuit's availability standard applies in this case.
did not clearly err in finding that midazolam did not
present a substantial risk of serious harm. The evidence         In Arthur, the Eleventh Circuit affirmed the district
and witnesses in this case differ from the evidence and          court's denial of the plaintiff's motion for a preliminary
witnesses before the district court in Glossip. More             injunction. It held that in order to establish a known
importantly, the clear-error standard itself contemplates        available alternative method of execution, a plaintiff must
that two courts may reach contrary conclusions without           establish that “(1) the State actually has access to the
either having clearly erred. See Anderson, 470 U.S. at 574,      alternative; (2) the State is able to carry out the alternative
105 S.Ct. 1504 (“Where there are two permissible views of        method of execution relatively easily and reasonably
the evidence, the factfinder's choice between them cannot        quickly; and (3) the requested alternative would ‘in fact
be clearly erroneous.”).                                         significantly reduce [ ] a substantial risk of severe pain’
                                                                 relative to the State's intended method of execution.”
                                                                 Arthur, 840 F.3d at 1300 (alteration in original) (quoting
2. Alternative methods                                           Glossip, 135 S.Ct. at 2737). Reviewing the district court's
                                                                 factual findings for clear error, see Glossip, 135 S.Ct. at
The state also argues that the district court erred in finding
                                                                 2738, I believe the facts as found by the district court
that the appellees *500 established a likelihood of success
                                                                 establish known and available alternatives to midazolam.
on their midazolam claim because the appellees failed to
identify “a known and available alternative [ ]” method
                                                                 The district court noted several potential alternative
of execution that is “feasible, readily implemented, and
                                                                 methods of execution, including, inter alia, manufactured
in fact significantly reduce[s] a substantial risk of severe
                                                                 or compounded pentobarbital (a barbiturate), and
pain.” Glossip, 135 S.Ct. at 2736–37 (quoting Baze, 553
U.S. at 52, 61, 128 S.Ct. 1520). Though it established the       sevoflurane (a lethal gas). 2 First, the district court's
availability requirement, Glossip provided little guidance       findings support a conclusion that the appellees are
as to when an alternative method of execution is                 likely able to demonstrate that the state “actually
“available,” and instead simply noted that the record            has access” to these alternatives. Arthur, 840 F.3d at
demonstrated “that Oklahoma has been unable to procure           1300. With respect to manufactured or compounded
t[he] drugs despite a good-faith effort to do so.” Id. at        pentobarbital, evidence established that other states
2738.                                                            currently utilize this drug in performing executions. For
                                                                 example, Missouri executed one person using FDA-
In its order granting the appellees' request for a               approved manufactured pentobarbital as recently as
preliminary injunction, the district court highlighted two       January 31, 2017. Additionally, Texas and Georgia
interpretations of Glossip's availability requirement: the       together have executed 20 people in 2016 and so far in 2017
Eleventh Circuit's more demanding standard, articulated          using manufactured or compounded *501 pentobarbital.
in Arthur v. Commissioner, Ala. Department of                    The state's expert, Dr. Buffington, testified that he believes
Corrections, 840 F.3d 1268 (11th Cir. 2016), cert. denied        Arkansas could acquire compounded pentobarbital for
sub. nom., Arthur v. Dunn, ––– U.S. ––––, 137 S.Ct.              use in executions, though he could not identify a specific
725, 197 L.Ed.2d 225 (2017), and the Sixth Circuit's             supplier—an unsurprising fact in light of Arkansas' laws
definition, announced in In re Ohio Execution Protocol,          securing anonymity for execution-drug suppliers. See In
No. 17-3076, ––– F.3d ––––, 2017 WL 1457946 (6th Cir.            re Ohio Execution Protocol, No. 17-3076, ––– F.3d ––––,
2017). Despite the fact that our court has yet to fully          2017 WL 1457946 (6th Cir. 2017) (considering similar



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testimony, also from Dr. Buffington, in finding that            the district court was unclear about whether Mr. Griffin
alternatives were available under different standard for        contacted anyone on the list, it found that Mr. Griffin
“available”). These facts support a conclusion that the         did not hear back from or follow up with any company
appellees are likely able to demonstrate that the state         or individual identified on the list. Mr. Griffin has not
actually had access to a barbiturate.                           talked to any compounding pharmacies about providing
                                                                the ADC with execution drugs, and Mr. Griffin made
Furthermore, the alleged defects the state highlights in        clear that he has not attempted to acquire pentobarbital
appellees proof of its ability to obtain pentobarbital—         because he “ha[s] the drugs [he] need[s] to conduct the
namely, that it does not currently have it on hand or have      execution. So, no, [he hasn't] tried to get another one.”
a supplier lined up—wane in the context of the appellees'       Tr. P. 872. While the state's failure to make a good faith
evidence regarding sevoflurane. The appellees specifically      effort to procure alternative drugs is not determinative of
identified by name one supplier willing to sell lethal gas      their availability in isolation, see Arthur, 840 F.3d at 1303
to the ADC for use in executions. And the appellees             (declining to impose an affirmative burden to make a good
presented evidence that lethal gas is available through         faith effort to obtain other execution drugs, and finding,
online suppliers. Tr. 212–16; cf. Johnson v. Lombardi, 809      in the alternative, that Alabama had made *502 such
F.3d 388, 391 (8th Cir. 2015) (noting that, in the context of   an effort by contacting 29 potential drug sources), these
a motion to dismiss, a “threadbare assertion that lethal gas    factual findings are not clearly erroneous and support the
is legally available in Missouri is not the same as showing     district court's conclusion that the appellees are likely able
that the method is a feasible or readily implementable          to establish that pentobarbital and lethal gas are available
alterative method of execution.” (emphasis in original)).       to the defendants. Glossip, 135 S.Ct. at 2738.

Glossip makes clear that a state's “good faith effort”          The district court's factual findings also support the
to obtain an alternative may be relevant to determining         conclusion that the appellees can likely prove that the
whether an alternative is available. Glossip, 135 S.Ct.         state is able to perform executions using one of these
at 2738. The district court found that the state made           alternative methods. Pentobarbital is utilized in the same
little effort to obtain alternative execution drugs. Mr.        manner as other lethal injection drugs, and therefore poses
Griffin, the current Deputy Director of Healthcare and          little problem with respect to the state's ability to use
Programs at the ADC, and ADC Director Wendy                     this alternative in a “relatively quick [ ] and easy[ ]”
Kelley are solely responsible for obtaining execution           manner. Arthur, 840 F.3d at 1300. And, unlike execution
drugs. Arkansas law permits Director Kelley to choose           by lethal injection, which requires some participants to
execution drugs “approved by the [FDA] and made by a            have training in the placement and delivery of a drug
manufacturer approved by the [FDA]” or drugs “obtained          by IV, medical expertise is not required to operate the
by a compounding pharmacy that has been accredited              equipment used to perform an execution by lethal gas. The
by a national organization that accredits compounding           equipment required to implement execution by lethal gas
pharmacies.” Ark. Code Ann. 5-4-617(d). Director Kelley         is relatively inexpensive, and is available for as little as
testified that she would prefer to use a barbiturate, but       $2,000. These factual findings are not clearly erroneous,
she explained she is not aware of any source from which         and support the conclusion that the state could implement
she could obtain one. However, the last time Director           these alternatives with relative ease.
Kelley attempted to obtain a barbiturate was after the
Arkansas legislature amended the Arkansas MEA in 2015.          Finally, the district court cited ample evidence that
Director Kelley asked three sources for a barbiturate, but      barbiturates are a more effective sedative and would
all refused.                                                    in fact significantly reduce the risk of harm posed by
                                                                midazolam. As discussed above, the district court found
Likewise, Mr. Griffin has made no efforts to obtain             that ample scientific and anecdotal evidence supported
a barbiturate since October 2015. In 2015, as a result          the conclusion that midazolam alone does not effectively
of litigation in Arkansas state court, the Arkansas             induce general anesthesia. In contrast, the district court
Attorney General provided Mr. Griffin with a list of drug       cited evidence that barbiturates like pentobarbital possess
manufacturers and their phone numbers in an effort to           undisputed analgesic properties and may alone be an
allow Mr. Griffin to investigate possible sources. While        effective general anesthetic. The appellees presented



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evidence that they could likely establish that a barbiturate   be executed over an eleven-day period beginning tonight.
would adequately anesthetize them to the pain associated       Two executions are set to occur back-to-back on four
with the second and third drugs utilized in the Arkansas       nights with the first execution at 7:00 pm and the second at
protocol.                                                      8:15 pm. The Governor scheduled the appellees' execution
                                                               dates 49 days before the date set for the first execution.
The district court found that sevoflurane has the              The only reason the state has given for its schedule is
same mechanism action as barbiturate drugs and, like           “to exhaust the State of Arkansas's supply of midazolam
barbiturates, may cause death on its own. What's more,         before it expires.”
the district court noted the conclusion of the appellees'
expert, Dr. Stevens, that sevoflurane and other lethal gases   The two executions set for this evening will be the first
are more potent than barbiturates, and, in large doses,        executions Arkansas has carried out since 2005. The
produce a “rapid and painless death.” The fact that use        state's last double execution was in 1999. Neither Director
of sevoflurane in executions is uncommon or novel does         Kelley nor Deputy Griffin has ever participated in an
not preclude a finding that the appellees may prove this       execution. Of the current ADC employees who testified,
method significantly reduces their risk of suffering. As an    only Dale Reed, the Chief Deputy Director, has ever
aside, I note that Arkansas has also never performed an        participated in an execution; even though he has presided
execution according to its current midazolam protocol.         over 23 executions, he has never participated in eight
But, the frequency with which a method of execution has        executions over eleven days. Tonight will mark the first
been utilized has no bearing on its viability. The Supreme     time that Arkansas has carried out an execution using its
Court made clear that a procedure's novelty does not           midazolam protocol.
render it violative of the Eighth Amendment; such a rule
“would hamper the adoption of new and potentially more         Since 1997, no state has attempted this many executions
humane methods of execution and would prevent States           within a month. No state has conducted two executions
from adapting to changes in the availability of suitable       within one day since 2000. In 2014, Oklahoma attempted a
drugs.” Glossip, 135 S.Ct. at 2745.                            double execution of Clayton Lockett and Charles Warner.
                                                               However, complications arose during Lockett's execution:
The district court's factual findings are not clearly          he awoke during the administration of the second and
erroneous, and those factual findings support a conclusion     third drugs, and the execution was halted, but he died
that the appellees have demonstrated “a likelihood that        40 minutes later. Warner's execution did not go forward
they can establish” that there are known and available         that night. Oklahoma conducted an investigation into
alternatives to the state's use of midazolam. Glossip,         Lockett's execution which concluded that, going forward,
135 S.Ct. at 2737. Because the appellees presented             “executions should be spaced at least seven days apart.”
evidence that they would likely be able to establish           Similarly, Missouri adopted a rule which limits executions
an alternative method of execution that is “feasible,          to one per month.
readily implemented, and in fact significantly reduce[s]
a substantial risk of severe pain,” Glossip, 135 S.Ct. at      The record supports the conclusion that a compressed
2736–37 (quoting Baze, 553 U.S. at 52, 61, 128 S.Ct. 1520),    execution schedule increases the stress on the prison
I would affirm the district court's preliminary injunction     administrators and staff. Oklahoma's investigation
 *503 based on the appellees' Eighth Amendment                 determined that the warden, paramedic, and all staff
midazolam claim.                                               experienced “extra stress” because two executions had
                                                               been carried out on the same day. Jennie Lancaster,
                                                               a former North Carolina warden who supervised 23
II. Combined Claim                                             executions during her career, testified that it would
                                                               “essentially be professional malpractice” for Arkansas
The core of the appellees' complaint is not that
                                                               prison officials to carry out the executions as scheduled.
Arkansas' use of midazolam, alone, supports the grant
                                                               She opined that each execution is “immensely stressful
of preliminary injunction. It is the use of midazolam
                                                               for everyone involved,” equating it to the physical and
combined with the compressed execution schedule and
                                                               mental stress of driving in torrential rain. After just one
insufficient execution procedures that present a novel set
                                                               execution, staff involved in the executions experience
of circumstances. Eight of the appellees are scheduled to


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“physical and mental fatigue” because they perform              used on the appellees. As of March 7, 2017, Mr. Reed had
duties that require acute attention to detail and precise       not seen the execution policy.
timing. Director Kelley agreed that there is stress inherent
in the preparation of and events leading up to an               The district court also was not clearly erroneous in
execution. Lancaster testified that the stress and fatigue      concluding that Arkansas does not have a contingency
of performing eight executions over eleven days creates “a      plan if something goes wrong during an execution. The
risk of human error.”                                           testimony supports the district court's finding that the
                                                                staff is not aware of a plan for if or when lifesaving
Aside from the stress-related risks, Lancaster testified        techniques will be used or how they will be implemented
that the “logistical issues” of such a compressed schedule      if complications arise. At most, Director Kelley said if
“present challenges that have never been experienced or         complications arose, she would close the curtain and
planned for before.” One of the logistical concerns is that     call the Governor. Mr. Griffin said they had never
with so many executions in such a short period there is         rehearsed seeking medical treatment and was not aware
insufficient time for the “essential” debriefing process,       whether medical staff would ever be called to assist.
in which the staff *504 involved in an execution assess         The ADC does not possess any drugs to reverse the
the process, correct deficiencies, receive remedial training,   effects of any of the three execution drugs, despite
and air concerns about their own ability to conduct the         the fact that antidotes are available. Perhaps most
next execution. Oklahoma recommended spacing out its            concerning, Arkansas' midazolam protocol is silent on
executions in part to allow sufficient time for all involved    what happens if the appellees remain conscious after
personnel to discuss their concerns and recommendations         the two 500 mg injections of midazolam. Mr. Griffin
for improving the process. The ADC Director before              testified that he is aware of no plans to reverse the
Kelley conducted mandatory debriefing sessions with all         effects of midazolam if an appellee remains conscious
staff involved in the executions. Mr. Reed confirmed that       after the injections. Such contingency planning, including
given the abbreviated execution schedule, there would           how to stop the execution and whether to provide life-
not be debriefings between the 7:00 pm and 8:15 pm              saving measures, was similarly missing from Oklahoma's
executions on each of the four nights. Instead, there would     execution protocol prior to Lockett's execution, and
only be one debriefing on the morning following the             Oklahoma recommended establishing protocols and
double executions.                                              training to address these possibilities. The record supports
                                                                the district court's finding that if complications arise
Director Kelley also testified that her staff engages in        during any of appellees' executions, the ADC does not
“weeks of preparation” leading up to an execution. This         have a plan regarding whether to cancel or postpone any
preparation involves meetings with all the agencies and         following executions.
staff involved in the execution, during which the warden
reviews each participant's role. Then, all of the staff
involved in the execution would conduct approximately           1. Substantial Risk of Serious Harm
twelve practice sessions in which they simulated the entire
                                                                Based on these detailed factual findings, the district
execution process with a staff member of a similar stature
                                                                court did not clearly err in finding that appellees have
standing in for the inmate. Because the executions are
                                                                demonstrated a significant possibility that they will
close together, Mr. Reed admitted that although the staff
                                                                succeed in showing that Arkansas' plan for executing them
was conducting practices, it would not conduct twelve
                                                                creates a “substantial risk of serious harm.” Glossip, 135
practice sessions for each of the eight men set to be
                                                                S.Ct. at 2737 *505 (quoting Baze, 553 U.S. at 50, 128
executed.
                                                                S.Ct. 1520). The district court relied on “numerous aspects
                                                                of the protocol that ... create opportunities for error.”
The district court did not clearly err in finding that ADC
                                                                Baze, 553 U.S. at 53, 128 S.Ct. 1520. The court also
officials were unsure of their roles and authority in the
                                                                examined whether Arkansas was following its procedures
executions and they were not fully aware of all of the
                                                                in this case. Case law recognizes that opportunities
protocols. For example, less than a week before the first
                                                                for error and failure to follow established procedures
execution, Mr. Griffin was unaware when he would mix
                                                                “[s]ubject [ ] individuals to a risk of future harm—not
the execution drugs or that a pulse ox monitor would be
                                                                simply actually inflicting pain—[and] can qualify as cruel


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and unusual punishment.” Baze, 553 U.S. at 49, 128 S.Ct.          inmates from cruel and unusual punishment can violate
1520. Thus, it was not clearly erroneous for the district         the Eighth Amendment.”). With the addition of these
court to conclude that Arkansas' method of execution              aggravating facts, this case presents a stronger case for
entails an “objectively intolerable risk of harm” where it        concluding that appellees face a substantial risk of harm
relies on a drug—midazolam—that may not on its own                than that presented in Glossip or Baze.
produce sedation or relieve pain, intends to conduct four
double executions within eleven days, has not performed
an execution since 2005, and relies on an execution               2. Available Alternatives
protocol and policies that do not contain adequate
                                                                  Appellees also presented the court with evidence that
safeguards against complications that have occurred in
                                                                  there are alternatives to the condensed execution schedule
other recent midazolam executions. Glossip, 135 S.Ct. at
                                                                  and execution protocol. These alternatives satisfy the
2737; cf. id. at 2742 (finding no clear error in district court
                                                                  appellees' “burden of establishing that any risk of harm
conclusion that “safeguards help to minimize any risk that
                                                                  was substantial when compared to a known and available
might occur in the even that midazolam does not operate
                                                                  alternative method of execution.” *506 Glossip, 135
as intended”).
                                                                  S.Ct. at 2738. Most obviously, Arkansas could reschedule
                                                                  the executions to allow more time between each one and to
The compounding risk for error identified by the district
                                                                  avoid scheduling multiple executions on a single day. This
court distinguishes this claim from Glossip. The Glossip
                                                                  “known and available” alternative would permit more
Court was not faced with a record of four back-to-back
                                                                  time for ADC officials to familiarize themselves with the
executions over eleven days, where the ADC had only 49
                                                                  execution protocol, to conduct a sufficient number of
days to prepare. No state has attempted a similar schedule
                                                                  practice sessions for each appellee with a person of similar
since capital punishment resumed in the United States in
                                                                  stature, to conduct debriefings after every execution, and
1977. Cf. Baze, 553 U.S. at 53, 128 S.Ct. 1520 (“[I]t is
                                                                  to develop contingency plans in case midazolam does
difficult to regard a practice as ‘objectively intolerable’
                                                                  not have its desired effect. Spreading out the executions
when it is in fact widely tolerated.”). The Glossip Court
                                                                  “effectively address[es]” the substantial risks of harm
did not address the risk of harm when officials with limited
                                                                  identified by the district court as to the expedited schedule
execution experience intend to carry out eight executions
                                                                  and the execution protocol. Baze, 553 U.S. at 52, 128
with precise detail and timing at an unprecedented speed,
                                                                  S.Ct. 1520. The state does not seriously contest the
using for the first time a drug with the potential to fail
                                                                  appellees' contention that this alternative is “feasible” and
to induce sedation or to take away the severe pain caused
                                                                  “readily implemented.” Id. The state's only response is
by remaining two drugs. Cf. id. at 54, 128 S.Ct. 1520
                                                                  that modifying the schedule past April 30 will “make
(finding inadequate experience of employees irrelevant
                                                                  it impossible for Arkansas to perform lawful executions
where trial court concluded the task was “[n]ot difficult
                                                                  because Arkansas' supply of midazolam ... expires into
at all” (alteration in original)); id. at 46, 128 S.Ct. 1520
                                                                  two weeks.” Such an assertion is belied by the district
(noting that the state executed another prisoner using
                                                                  court's well-supported findings, as discussed above, that
the same lethal injections protocol without any reported
                                                                  there are several alternative methods the state could use
problems). Nor was there any evidence in Glossip that
                                                                  to execute appellees. Where, as here, “a State refuses to
the staff conducting the executions would be under a
                                                                  adopt such an alternative in the face of these documented
inordinate amount of stress beyond that inherent in any
                                                                  advantages, without a legitimate penological justification
execution, would not have had time to conduct the usual
                                                                  for adhering to its current method of execution, then a
practices and procedures they undertake before and after
                                                                  State's refusal to change its method can be viewed as ‘cruel
an execution, or would be acting without a contingency
                                                                  and unusual’ under the Eighth Amendment.” Baze, 553
plan in case of complications during any one of the
                                                                  U.S. at 52, 128 S.Ct. 1520.
eight executions. Cf. id. at 55, 128 S.Ct. 1520 (finding
IV line issues did not create a substantial risk of harm
                                                                  In Baze, the petitioners proposed a one-drug protocol
because the written protocol required IV team members to
                                                                  that no state had adopted, no evidence showed it was
“participate in at least 10 practice sessions per year”); see
                                                                  equally effective, and another state had rejected it. In
Arthur v. Thomas, 674 F.3d 1257, 1263 (11th Cir. 2012)
                                                                  contrast, here, the “comparative efficacy” of the elongated
(“Significant deviations from a protocol that protects
                                                                  execution schedule is “well established.” Id. at 57, 128


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S.Ct. 1520. No other state has adopted a comparably          be informed by objective factors to the maximum possible
compressed schedule put forth by the state in the            extent,” Atkins v. Virginia, 536 U.S. 304, 312, 122
last 50 years. Two states, in fact, have implemented         S.Ct. 2242, 153 L.Ed.2d 335 (2002) (internal quotation
recommendations that prevent multiple executions per         omitted), including “legislative enactments and state
day, or even multiple executions per week or per month.      practice with respect to executions,” Roper, 543 U.S. at
Moreover, the elongated schedule has the benefit of          563, 125 S.Ct. 1183. But, “objective evidence, though
allowing additional time to develop contingency plans,       of great importance, [does] not ‘wholly determine’ the
conduct practice sessions, engage in debriefs, and educate   controversy, ‘for the Constitution contemplates that in the
all staff involved in the executions.                        end our own judgment will be brought to bear on the
                                                             question of the acceptability of the death penalty under
                                                             the Eighth Amendment.’ ” Atkins, 536 U.S. at 312, 122
III. Evolving Standards of Decency                           S.Ct. 2242 (quoting Coker v. Georgia, 433 U.S. 584, 597,
                                                             97 S.Ct. 2861, 53 L.Ed.2d 982 (1977)).
The state's expedited execution schedule is troubling on
a more fundamental level. As the Baze court noted,
                                                             In the first part of the twentieth century, multiple
“throughout our history” “[o]ur society has [ ] steadily
                                                             executions per day and several per week were common.
moved to more humane methods of carrying out capital
                                                             For example, in 1957, Georgia executed seven men over
punishment.” 553 U.S. at 62, 128 S.Ct. 1520. The state's
                                                             a fifteen day period in March, with two men executed
plan to execute eight men over an eleven day period,
                                                             on the fifteenth and three men on the nineteenth. Since
however, represents a step backward.
                                                             at least 1977, there have been no similar clusters of
                                                             executions conducted by any state. The last time eight
“By protecting even those convicted of heinous crimes, the
                                                             executions were attempted within a month was in 1997.
Eighth Amendment reaffirms the duty of the government
                                                             No state has conducted a double execution in a single
to respect the dignity of all persons.” Roper v. Simmons,
                                                             day since 2000. See Kennedy, 554 U.S. at 433, 128
543 U.S. 551, 560, 125 S.Ct. 1183, 161 L.Ed.2d 1 (2005).
                                                             S.Ct. 2641 (relying on “[s]tatistics about the number of
As explained by the Supreme Court:
                                                             executions” to confirm whether a practice “is regarded
           The Eighth Amendment is not                       as unacceptable in our society”). Moreover, the Supreme
           fastened to the obsolete but                      Court of Missouri has issued a rule limiting executions
           may acquire meaning as public                     to one per month. Mo. Sup. Ct. R. 30.30(f). Likewise,
           opinion becomes enlightened by                    Oklahoma's investigation following Lockett's execution
           a humane justice. To enforce the                  recommended a maximum of one execution every seven
           Constitution's protection of human                days. From this objective evidence, under the “currently
           dignity, this Court looks to the                  prevail[ing]” standards, compressed execution schedules
           evolving standards of decency that                may violate the Eighth Amendment. Atkins, 536 U.S. at
           mark the progress of a maturing                   311, 122 S.Ct. 2242. To permit the state to execute two men
           society. The Eighth Amendment's                   per night on four nights over an eleven day period “risks
           protection of dignity reflects the                [the law's] sudden descent into brutality, transgressing
           Nation we have been, the Nation we                the constitutional commitment to decency and restraint.”
           are, and the Nation we aspire to be.              Kennedy v. Louisiana, 554 U.S. 407, 420, 128 S.Ct. 2641,
           This is to affirm that the Nation's               171 L.Ed.2d 525 (2008), opinion modified on denial of
           constant, unyielding purpose must                 reh'g, 554 U.S. 945, 129 S.Ct. 1, 171 L.Ed.2d 932 (2008).
           be to transmit the Constitution so
           that its precepts and guarantees                  Our “own understanding and interpretation of the
           retain their meaning and force.                   Eighth Amendment's text, history, meaning, and purpose”
                                                             reinforces the constitutional violation revealed by the
 *507 Hall v. Florida, ––– U.S. ––––, 134 S.Ct. 1986,        objective evidence. Id. at 421, 128 S.Ct. 2641. “The basic
1992, 188 L.Ed.2d 1007 (2014) (internal citations and        concept underlying the Eighth Amendment is nothing
quotations omitted). In determining whether the evolving     less than the dignity of man.” Atkins, 536 U.S. at 311,
standards of decency permit a practice, the court “should    122 S.Ct. 2242 (quotation omitted). Successive execution



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                                                                    process. See Hall, 134 S.Ct. at 1993 (limiting the reach of
denies all involved the dignity to which he is entitled.
Grouped together to face execution, the eight appellees             the death penalty in part “to protect the integrity of the
are no longer treated as individuals in the criminal justice        trial process”).
system. The dignity of prison administrators and the staff
involved in the execution is also at stake. They are made to        The inmates, the state, and the public all have an interest
repeatedly suffer the stresses of the execution environment         in ensuring that these *508 sentences are not imposed in
without the time for debriefing or reflection. With back-           violation of the United States Constitution. The district
to-back executions set barely more than an hour apart,              court did not err in granting a preliminary injunction to
the family members of the victims, particularly those who           achieve that goal.
wish to witness the execution, are denied the time to grieve
and find closure in the viewing room. Finally, inflicting the
                                                                    All Citations
penalty of death en masse risks eroding the public's trust
in the judicial process and the fairness of the execution           854 F.3d 488


Footnotes
1      Chief Judge Smith did not participate in the consideration or decision of this matter.
2      The appellees also presented evidence of the state's ability to utilize a firing squad. In so doing, the appellees provided
       evidence that execution by firing squad may result in a faster death than execution by lethal injection, and that ADC
       employees receive some training in marksmanship.


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                             2016 WL 11258099 (W.D.Mo.) (Expert Report and Affidavit)
                                   United States District Court, W.D. Missouri.

                                       Russell BUCKLEW, Plaintiff,
                                                     v.
                      George A. LOMBARDI, David A. Dormire And Terry Russell, Defendants.

                                                  No. 4:14-CV-8000-BP.
                                                   November 8, 2016.


                     Rule 26(a)(2) Expert Report Declaration of Joseph F. Antognini, M.D., M.B.A.


Case Type: Civil Rights & Constitutional Law >> Section 1983
Case Type: Civil Rights & Constitutional Law >> Prisoners Rights
Jurisdiction: W.D.Mo.
Name of Expert: Joseph F. Antognini, M.D.
Area of Expertise: Health Care-Physicians & Health Professionals >>Anesthesiologist

Representing: Defendant


JOSEPH F. ANTOGNINI, acting in accordance with 28 U.S.C. § 1746, Rule 26(a)(2)(B), Fed. R. Civ. P., and Rules
702 and 703, Fed. R. Evid., does hereby declare and say:

1. My name is Joseph F. Antognini. I am a medical doctor, board-certified in anesthesiology. I received a B.A. degree
from the University of California, Berkeley in Economics in 1980. I received my M.D. degree from the University of
Southern California in 1984. I also received an M.B.A. from California State University, Sacramento in 2010. I was
previously the Director of Peri-operative Services at the University of California, Davis Health System and a Professor
of Anesthesiology and Pain Medicine and Professor of Neurobiology, Physiology and Behavior at the University of
California, Davis. I am licensed to practice medicine in the State of California. I have over 30 years of experience
practicing anesthesiology since 1984 when I began my residency at the University of California, Davis Health System. I
am the author or co-author of over 200 publications. My area of research has been focused on anesthetic mechanisms,
specifically related to where anesthetics produce unconsciousness, amnesia and immobility. A true and correct copy of
my curriculum vitae is attached hereto as Exhibit A.

2. I have reviewed, and am familiar with, the allegations made in the amended complaints, the reports and/or declarations
of Plaintiffs' experts, and additional information in the documents described below including medical records dated from
May 1997 to September 2016 (see also #7 below).


                                                   Scope of Engagement

3. I have been asked to render expert opinions in the fields of general medicine and anesthesiology, especially regarding
the use, actions and efficacy of pentobarbital, in relation to Missouri's lethal injection protocol, and the effectiveness of
the procedures therein. I have also been asked to render opinions regarding the efficacy of pentobarbital in the case of
Russell Bucklew, a condemned prisoner who has a congenital cavernous hemangioma, and whether that hemangioma
would affect the efficacy of pentobarbital or otherwise inflict a substantial risk of severe pain as the result of Missouri's
lethal injection procedure. This report contains a complete statement of my opinions, and the basis and reasons therefor,



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including the facts or data I have considered in forming them. The opinions that I do provide are within my field of
anesthesiology and such fields as are necessarily related to anesthesiology, including general medicine, and fall within the
scope of my expertise. All opinions expressed herein are stated to a reasonable degree of medical and scientific certainty
unless otherwise noted.

4. I have reviewed Rules 702 and 703 of the Federal Rules of Evidence and Rule 26(a)(2)(B) of the Federal Rules of Civil
Procedure. I am generally familiar with their provisions and requirements, and of what is expected of a person providing
opinions subject to these rules. Within my understanding of the meaning of Rule 702, I am, by reason of my knowledge
and skill, which are a function of my experience, training and education, an expert in the fields of anesthesiology and
general medicine. This declaration constitutes my expert report pursuant to Rule 26(a)(2), of the Federal Rules of Civil
Procedure. 5. I have been deposed and/or given expert testimony twice in the last four years: 1) January 2016, California
Department of Public Health vs. Garden Grove Hospital. I gave testimony at an administrative hearing on behalf of
Garden Grove Hospital regarding the actions of midazolam given to an elderly patient (Prime Healthcare Services-
Garden Grove, LLC DBA Garden Grove Hospital and Medical Center, Appeal Nos. LNC 15-0615-941-VB and LNC
15-0415-774-VB); 2) I have submitted a report in Richard Jordan, et al., v. Marshall L. Fisher, et al., (Civil Action No.
3:15-cv-00295) a case related to the use of midazolam for lethal injection.


                                                        Compensation

6. My fee schedule for this matter is as follows: a. Preliminary Case Review and Oral Opinion: $400/hour; b. Case
Review, Consultation, Research, Reports, Pretrial Preparation, and Miscellaneous Services: $400 per hour; c. Deposition
Appearance: $2000; e. Courtroom Appearance: $4,000 per day or partial day; f. Travel time at $2000 per travel day
(excludes day or days of trial or hearing).


                                                     Materials Reviewed

7. I have reviewed the pleadings in this case to gain a general familiarity with the matters at issue and the contentions of the
parties. I have conferred with attorneys for Defendants. Among the documents I have reviewed in connection with this
case are: Missouri's lethal injection protocol, as amended in October 2013; the Declarations (initial and supplemental) by
Dr. Joel Zivot and filed in this case; the Declaration of Dr. Larry Sasich filed in this case; the Declaration of Dr. Gregory
Jamroz filed in this case; and the Supplemental Declaration of Dr. Joel Zivot filed in this case; medical records of Russell
Bucklew dated May 23, 1997 to September 2, 2016; and various published papers in the “References Cited” section. A
complete list of documents I reviewed in preparation of this report is included in “Materials Reviewed” attached hereto
as Exhibit B.

8. I am advised that discovery is not complete in this case and that more documents and information may become
available to me at a later date. Should additional documents or information be provided to me for review and analysis,
I reserve the right to take those additional materials into account, and to modify and/or supplement my opinions
accordingly. I may also be present at hearings and/or trial. I may take into account any testimony or other evidence
to the extent related to my opinions; I may modify and/or supplement my opinions accordingly. In performing my
analysis, I have relied on my professional training, education and experience. The opinions presented in this report are
my opinions and mine alone. I have reviewed and considered other documents and information, and identified those
materials (Exhibit B). These documents and other information that I reviewed and considered are of a type reasonably
relied upon by experts in the field of anesthesiology in forming opinions or inferences on questions in this area. I have
looked upon all of these as valuable sources of information that I am obliged to consider.


                                                         Background



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9. Inmate Russell Bucklew suffers from a congenital cavernous hemangioma that involves his face, upper neck,
nasopharynx and oral cavity. His hemangioma has progressively caused bleeding and difficulty breathing, especially
when laying supine. Medical consultants, including an otolaryngologist, have concluded that the hemangioma is
inoperable, to the extent that surgery would carry a high risk of severe intraoperative and postoperative bleeding, with a
concomitant risk to his life. The expert witnesses for the plaintiff give several reasons why lethal injection would not work
effectively in the inmate, including 1) the drugs would not be distributed normally; 2) the abnormal drug distribution
would be the result of the cavernous hemangioma “stealing” blood from normal tissues, especially the brain; 3) the
inmate would suffocate and choke as the result of inadequate action of the drugs. All these reasons and conclusions are
not based on sound interpretation of the known relevant anatomic, physiological and pharmacological factors pertinent
to this inmate and situation, as outlined below.

10. Several facts are relevant to this case. On October 11, 2000, the inmate had an angiogram to delineate the blood flow
to his hemangioma. The radiologist's conclusion was “....no true fistula was seen in this angio a very slow flow type of
lesion is very likely”. Importantly, the inmate's hemangioma was large and symptomatic during this period when he was
being evaluated. This finding indicates that the inmate's hemangioma does not have high blood flow, and thus would not
alter drug distribution. Furthermore, cavernous hemangiomas, while they can grow progressively larger, do not change
their blood flow characteristics, i.e., the hemangiomas maintain relatively low blood flow. (Note: I do not believe a high
flow lesion, even if present, would significantly affect drug distribution, as discussed in section 14).

11. Between December 2000 and November 2003 the inmate underwent at least eight (8) surgical procedures requiring
general anesthesia. Of note, on December 6, 2000, Bucklew had a tracheostomy and sclerotherapy for his hemangioma.
He had been symptomatic for many months prior to this procedure, including bleeding episodes. His medical record
clearly documents that his hemangioma was large and involved his soft palate and hard palate. During this procedure
on Dec 6, 2000 he was supine, received a tracheosotomy with local anesthesia (i.e., he was awake for this portion of the
procedure), and then he received general anesthetic drugs intravenously. The record indicates that he reacted normally to
the drugs, i.e., he was unconscious. He received general anesthesia uneventfully over the next three years for additional
sclerotherapy treatments, thoracotomies (chest surgery) and dental extractions. The dental extractions were performed
on November 3, 2003, and prior to this surgery the record indicates that his hemangioma was large. These various facts
show that the inmate reacted normally to anesthetic drugs during periods when his hemangioma was large, indicating
that the hemangioma did not alter his response to general anesthetic drugs.


                             Physiological, Anatomical and Pharmacological Considerations

12. Drugs injected intravenously would enter the venous system and travel to the right side of the heart, flow through
the lungs, back to the left side of the heart, and then out through the arterial system. Some of that blood would travel
to the head and neck, including the brain. Both Dr. Zivot and Dr. Jamroz, in my opinion, misapply basic anatomic and
physiological principles. For example, Dr. Zivot writes (#13 and #19 of his 5-8-14 declaration) that the hemangioma
would “....steal blood flow from normal adjacent tissues, thereby depriving those tissues of necessary oxygen” and the
hemangioma “...creates alternative low-resistance pathways to injected drugs”. Dr. Jamroz writes (#21 of his declaration)
that the “...presence of the vascular malformations compromises the supply of blood to the brain”.

13. It is my opinion that Drs. Zivot and Jamroz conflate the anatomical and physiological characteristics of
various abnormal vascular growths, including arteriovenous malformations (AVMs) and cavernous hemangiomas.
Arteriovenous malformations have a direct connection between the small feeding arteries and the draining veins, so the
AVM acts as a low resistance, high flow system. Cavernous hemangiomas (as is present in the inmate), however, have
large intervening “caverns” between the arteries and veins, and these caverns act like pools, which limit blood flow.
Studies have reported blood flow through AVMs and cavernous hemangiomas, and there is clear documentation that
blood flow in the cavernous hemangioma, unlike blood flow in an AVM, is low compared to surrounding tissue (De
Reuck et al., 1994; Little et al., 1990 Xiao et al., 2014). For this reason, it is my opinion that overall blood flow to this


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inmate's cavernous hemangioma is relatively low compared to the blood flow to his brain. Furthermore, as noted above,
the inmate had an angiogram demonstrating the hemangioma was low-flow. Nevertheless, even if there was a “steal”
phenomenon, it is my opinion that it would not materially alter the distribution and action of drugs affecting the brain
(see #14, next).

14. The argument by Drs. Zivot and Jamroz goes something like this: the cavernous hemangioma takes blood flow away
from the brain or parts of the brain, and thereby alters the drug distribution. Taking their argument to its necessary
conclusion, in order that the drug not get to the brain requires that the hemangioma takes all the blood away from
the brain. But this clearly cannot happen without obvious effect. If the hemangioma “steals” more and more blood, it
would deprive the brain (or parts of the brain) of blood, which eventually would cause death of those brain areas so
deprived. Clearly, this is not happening, as the inmate has not suffered a stroke. He has recently been observed to speak
normally and walk without difficulty. Furthermore, following a large pentobarbital dose, brain areas that might have
low blood flow would still receive blood with high concentrations of the drug, and thereby depress those brain areas.
Finally, if these brain areas have died because of low, or no blood flow, drug action there is immaterial. Thus, the “steal”
argument by Drs. Zivot and Jamroz is specious and fundamentally flawed because 1) cavernous hemangiomas do not
have high blood flow; 2) this inmate has a low-flow hemangioma documented by angiogram; 3) a “steal” phenomenon
would not significantly alter the drug distribution; 4) brain areas with low blood flow would still receive blood with high
drug concentrations. And, as noted above, the inmate has indeed reacted normally to anesthetic drugs-as expected.

15. Dr. Zivot states that “.... Mr. Bucklew's airway is severely compromised, which raises a very substantial risk that
during an execution, Mr. Bucklew may gasp and struggle to breathe” (Declaration 10-13-15, #12). Anesthetic drugs
normally cause some degree of upper airway narrowing. Dr. Zivot rests his opinion on a scenario whereby the inmate
would be in a light level of sedation and would then have airway collapse. For the reasons noted above, the inmate would
achieve rapid unconsciousness and would not experience any feelings of suffocation and choking.

16. Inmate Bucklew apparently has breathing difficulty when laying supine and it is not clear from the records what
position he favors when sleeping. In some medical notes, he has been observed to sleep on his side while at other times
he has been seen to sleep supine. If he were to undergo a medical procedure that required general anesthesia, and laying
supine caused him difficulty, then the normal practice would be to induce anesthesia with him in the semi-recumbent
or sitting position.

17. Dr. Zivot states that, based on his examination, Bucklew's airway is “....friable, meaning it is weak and could readily
tear and rupture. If you touch it, it bleeds” (#9, 10-13-15 declaration). Dr. Zivot uses this observation as evidence
that Bucklew could suffer “feelings of suffocation and extreme or excruciating pain” (#10, 10-13-15 declaration). Yet,
curiously, further in his declaration, Dr. Zivot recommends that Bucklew undergo a clinical examination that would
“...include bronchoscopy and the use of a Glidescope” (#18, 10-13-15 declaration). These procedures, especially using
a Glidescope, would require airway manipulations that are counter to Dr. Zivot's concerns regarding Bucklew's airway.
Brochoscopy involves placing a small plastic tube with a camera into either the nose or mouth and advancing the tube
through the upper airway and into the trachea (windpipe), for the purpose of visualizing the airway anatomy. This
procedure almost always requires administration of local anesthesia in the nose/mouth and oropharynx, as well as the
windpipe. Patients commonly gag and cough during bronchoscopies (Kajekar et al., 2014). Furthermore, blood pressure
can increase substantially in some patients undergoing bronchoscopy (Davies et al., 1997). The Glidescope is a trade
name for a brand of videolaryngoscope, a device which is used to visualize the mouth and oropharynx during airway
manipulation. As with bronchoscopy, topical local anesthesia is required in an awake patient, and there is risk of gagging
and coughing with the use of a Glidescope, or other videolaryngoscopes. It is difficult to reconcile Dr. Zivot's concern
about the risk of bleeding as the result of the execution protocol with the real risk of gagging, coughing, increased blood
pressure and bleeding from the bronchoscopy and videolaryngoscopic examinations he proposes to do (Rosenstock et
al., 2012; Kajecar et al., 2014). Finally, to emphasize the inherent contradiction in his argument, Dr. Zivot states “...the
placement of any device in the pharynx will cause instant bleeding” (#15, 12-4-15 declaration).



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18. Dr. Zivot, in his declaration dated 12-4-2015 (#21), states the use of”... standard airway equipment creates an extreme
risk during any execution by lethal injection, as the use of such equipment would cause immediate bleeding and lead to
coughing, choking and feelings of suffocation”. Because resuscitation (including airway manipulation) is not intended
to be used during the execution process, this argument is not germane.

19. Dr. Zivot also claims that the inmate might suffer from serotonin syndrome if he were injected with methylene blue.
Missouri does not intend to use methylene blue. Nevertheless, the serotonin syndrome manifests with varying signs
and symptoms, including agitation, confusion, increased heart rate, increased temperature, however, importantly, these
manifestations occur over the course of hours and days (Volpi-Abadie J, et al. 2013), and not the few minutes between
injection of pentobarbital and death.

20. Dr. Zivot claims that central nervous system depressants that Bucklew takes, including clonazepam and tramadol,
would enhance the effects of pentobarbital. This enhancement would be inconsequential compared to the overwhelming
(and intended) effect of the pentobarbital doses used during the lethal injection protocol. Furthermore, Dr. Zivot raises
the issue of pentobarbital having antalgesic properties (Note: hyperalgesia is the preferred term). This effect has only
been demonstrated at low doses of barbiturates (i.e., doses that cause sedation but not unconsciousness), although the
human evidence is equivocal, with some reports showing no such effect in humans (Anker-Møller, et al. 1991; Wilder-
Smith, et al., 1995). Nonetheless, the pentobarbital dose used for lethal injection would cause rapid unconsciousness and
precludes any potential hyperalgesic effects of pentobarbital.

21. Dr. Sasich, in his declaration dated May 8, 2014, raises two main issues related to Missouri's use of its lethal injection
protocol for Bucklew: 1) the use of methylene blue would cause an increase in blood pressure; 2) the use of compounded
pentobarbital poses increased risks, including increased risk of bleeding. With regard to methylene blue, Missouri does
not intend to use methylene blue. Even so, the blood pressure increase Dr. Sasich quotes is small and within the range
of blood pressure increases that occur during everyday activities, such as defecation, awakening from sleep, and mild
exercise (Imai et al., 2015 Tsimakouridze et al., 2015; Wielemborek-Musial et al., 2016).

22. While Dr. Sasich uses recent episodes of compounded drugs and fungal meningitis to bolster his claims, he provides
no direct evidence that compounded pentobarbital would put the prisoner at increased risk. At most, he invokes the
specter of various contaminants and impurities, a risk that also applies to drugs produced using good manufacturing
practices. Indeed, contamination (chemical, particulate, bacterial and fungal) is a problem that plagues manufacture
and administration of medications in various healthcare settings (Tran et al., 2006). The FDA has archived recalls
of products, including drugs that have been found to have contaminants (see FDA Archives website in Ref Cited).
Furthermore, impurities cannot be eliminated and the United States Pharmacopeia has set lower limits on elemental
contamination and particulate matter-and these lower limits are not zero (see USP, 2nd Suppl. website in Ref Cited).

23. In this inmate the use of lethal gas does not hold any advantage compared to lethal injection with respect to pain
and suffering. Both methods would result in minimal pain and suffering. Specifically, the intravenous injection of a
large dose of pentobarbital would result in rapid unconsciousness. The inmate claims, through counsel, that execution
by a gas would be preferable because “...the lethal agent enters the body through the lungs...” and it “....bypasses Mr.
Bucklew's circulatory system...” (Doc 53, 4 th amended complaint, at #29). This assertion is incorrect. The use of various
gases (hydrogen cyanide, nitrogen, for example) work by the gas entering the lungs, and then being transported by the
circulatory system. Whether the effect is the presence of an active poison (hydrogen cyanide) or the displacement of
oxygen by an otherwise inert gas (nitrogen) the circulatory system is needed.

24. The inmate's medical records are replete with episodes documented over many years describing his pain, bleeding
and choking sensations. He would likely continue to have these symptoms up to the point of death (either natural death
or by execution from pentobarbital).



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25. Numerous eyewitness observations of nineteen (19) executions in Missouri (from 11-20-13 to 5-11-16) indicate that
pentobarbital has its intended effect: a rapid onset of unconsciousness followed by death. It is my opinion, to a reasonable
degree of medical and scientific certainty, that Bucklew would react to pentobarbital nearly identical to the reactions
of the inmates described in the eyewitness accounts, that is, Bucklew would have the rapid onset of unconsciousness
followed by death.


                                                        Conclusion

26. It is my opinion, to a reasonable degree of medical and scientific certainty, that 1) Bucklew has reacted normally to
anesthetic drugs numerous times during periods when his hemangioma was large and symptomatic; 2) the hemangioma
in this inmate would not significantly alter his response to intravenous drugs, including barbiturates at usual clinical
doses as well as at massive doses; 3) injection of massive doses of barbiturates in this inmate would not inflict mild,
moderate or severe pain; 4) the use of lethal gas would not significantly lessen any suffering or be less painful than lethal
injection in this inmate; 5) any pain and suffering that he risks during an execution using pentobarbital is not of greater
quality or magnitude than the risk of pain and suffering that he currently experiences, and the risk would end with rapid
unconsciousness from the injection of pentobarbital.

27. Should additional information become available I reserve the opportunity to amend my statements herein.



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                                 2017 WL 9471457 (W.D.Mo.) (Expert Deposition)
                                   United States District Court, W.D. Missouri.

                                         Russell BUCKLEW, Plaintiff,
                                                     v.
                         George A. LOMBARDI, David Dormire, and Troy Steele, Defendants.

                                              No. 14-08000-CV-W-BP.
                                                February 27, 2017.


                                  (Deposition of Joseph F. Antognini, M.D., M.B.A.)


Case Type: Civil Rights & Constitutional Law >> Section 1983
Case Type: Civil Rights & Constitutional Law >> Prisoners Rights
Jurisdiction: W.D.Mo.
Name of Expert: Joseph F. Antognini, M.D.
Area of Expertise: Health Care-Physicians & Health Professionals >>Anesthesiologist

Representing: Defendant

Appearances:

For Plaintiff: Sidley Austin, LLP, By: Lawrence P. Fogel, Esq., Suzanne Bpindise Notton, Esq., One South Dearborn,
Chicago, Illinois 60603, 312-853-6892, lawrence.fogel@sidley.com.

For Defendants: Attorney General's Office, By: Michael J. Spillane, Esq., P.O. Box 899, Jefferson City, Missouri 65102,
573-751-1307, mike.spillane @ago.mo.gov.

Deposition of DR. JOSEPH F. ANTOGNINI, taken on behalf of Plaintiff, at 555 West 5th Street, Suite 4000, Los
Angeles, California, beginning at 9:04 A.M. and ending at 3:27 P.M. on Monday, February 27, 2017, before Amanda
J. Kallas, Certified Shorthand Reporter No. 13901.


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TABLE

Monday, February 27, 2017; Los Angeles, California 9:04 A.M.

DR. JOSEPH F. ANTOGNINI, the witness, having been administered an oath in accordance with CCP Section 2094,
testified as follows:


                                                    EXAMINATION

BY MR. FOGEL:

Q Good morning.

A Good morning.

Q Dr. Antognini, my name's Larry Fogel, I think you met my colleague, Suzy Norton; we work for the law firm, Sidley
Austin, and represent the plaintiff, Rusty Bucklew, in this matter.

You okay if I call you Dr. Antognini --

A That's fine.

Q -- throughout the course of the deposition today?

A That's fine, yes.

Q Excellent. And let's do a little housekeeping matter right off the top, here: You've submitted two reports in this matter;
is that right?

A Yes. That's correct.

MR. FOGEL: Go ahead and mark this first report.

(Whereupon Exhibit I was marked for identification by the court reporter and is attached hereto.)

MR, FOGEL: And I'll show you both documents.

(Whereupon Exhibit 2 was marked for identification by the court reporter and is attached hereto.)

BY MR. FOGEL:

Q Have you had a chance to look at both documents, Doctor?

A I did. Yeah, they appear to be the documents I submitted, the two reports that I submitted.



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Q All right. And the first one, I believe it's marked Exhibit 1.

A Correct.

Q That is your initial declaration for November 2016 that you submitted --

A That's--

Q -- in connection with this case?

A That's correct.

Q And does it appear to be a true and correct copy of your report including the exhibits thereto?

A It does appear to be, yes. And not having read through the whole thing --

Q Sure.

A -- but it appears to be.

Q Absolutely. And you also submitted a supplemental report, and you submitted that in February of 2016. Is what's
been marked as Exhibit 2 appear to be a true and correct copy of that report?

A Yes.

THE REPORTER: And if you could just wait until he's done.

THE WITNESS: Oh, I'm sorry.

THE REPORTER: It's all right.

MR, FOGEL: That's actually a good reminder.

THE WITNESS: Yeah.

MR. FOGEL: So we'll just go over a few basic ground rules.

BY MR. FOGEL:

Q Have you sat for a deposition before, Doctor?

A Yes,

Q So I assume you're generally familiar with the rules, but as the court reporter just reminded us, I ask that you wait
until I finish asking my question before you respond --

A Sure.




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Q -- and I'll, of course, extend to you the same courtesy when you're answering the question. Inevitably, I will probably
ask a question that doesn't make much sense, so please feel free to ask me to repeat it, if it's at all confusing to you --

A Inevitably, I'll probably give you an answer that -- no, hopefully I'll be very clear, but...

Q So at least we're in agreement on that.

And then also feel free to take a break, if you'd like, at any point today. I'd just ask that you ask or complete a question
that's pending --

A Sure,

Q -- before you leave to take a break.

A Sure.

Q Before we get going, any other questions you might have?

A No. I do tend to -- as my wife is so apt to point out, I do tend to interrupt people mid-sentence, so I will try to refrain
from doing that.

Q I appreciate that. And that's why we have the court reporter here, to help keep us in line.

A Yeah.

Q So going back to your reports, can you describe your process in preparing them?

A I looked at the material that I was provided to me, and I -- off the top of my head, I cannot remember all the material
that was provided to me by the attorney general's office, but it included -- may I refer to my document here to see?

Q Sure.

A Yeah, I cannot remember exactly what was provided to me, they were some of the declarations by Dr. Zivot, and then
the medical records for Russel Bucklew, and then some letters from some other physicians, including Franz Wippold,
and then Larry Sasich, and Dr. Gregory Jamroz. And then a lot of the Court documents that are numbered.

I don't remember specifically what they refer to, I'd have to look at them again. And then there were some judgments
from various courts including the Eighth Circuit Court and the Supreme Court and so forth, and then the Missouri --
the injection protocol, the witness statements for 19 executions in Missouri.

So I took all those into consideration and reviewed those in preparation of my report --

Q And just to be clear for the record--

A And -- excuse me.

Q Go ahead.

A I apologize, I --



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Q Go ahead.

A And -- and -- and also, of course, during my research, I referred to some articles that I cited in my report.

Q Thank you.

And just to be clear for the record, when you were listing those various sources that you consulted, you were reviewing
an exhibit to your November 2016 report --

A Correct.

Q -- as Exhibit B, your materials reviewed; is that -- does that sound correct?

A Yes.

Q Okay. You also reviewed some additional materials that you notated in connection with your supplemental report;
is that right?

A That's correct. And do you want me to...

Q If you flip to the last page of your report, at the header it says, “Exhibit A, materials reviewed”?

A Yes.

Q Is that the right page?

A Correct.

Q And just to make sure I'm clear on this: Are the materials that you reviewed in connection with your supplemental
report the items that are listed --

A Yes.

Q -- on this page?

There's no other list of materials that you reviewed?

A No. No. That refers to what was below, which was the reference as cited, and then the studies that I cited there -- or
papers and then the package insert, and then my interview and examination of the -- of Bucklew, and then the medical
records of-- through February 3rd of 2017, which includes the most recent imaging studies that were performed.

Q The MRI report for--

A Correct.

Q --for 2016?

A Correct.



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(Whereupon the reporter requested clarification.)

MR. FOGEL: 2016.

BY MR. FOGEL:

Q And we'll go into more detail on those materials later on. So you consulted these materials and what else did you to
-- in preparing your reports?

A Well, I thought about the process by which a -- as I understand the lethal injection protocol is implemented. To make
a determination whether the -- this particular inmate, based on the information that I've been provided in terms of his
medical findings, whether this inmate would suffer pain, choking sensations, et cetera, as described by Dr. Zivot.

And I applied my understanding of the materials that I reviewed in my scientific and medical background to his condition
to make my assessment. Which, as you know, I do not believe that his medical condition is -- would materially affect
the -- the action of the drug, or that it would cause him to have any additional -- or any suffering or pain, excruciating
pain, as described by Dr. Zivot.

I'm not sure if that answers your question, and you kind of asked the question in a very general way, but for-

Q Yeah, it was intentionally general --

A Yeah.

Q -- in order to allow you sufficient space to describe everything that you did.

A Okay.

Q And prior statement, when you were talking about any suffering or pain, you were referring to one of the opinions
you rendered in this case; is that right?

A That's correct.

Q Okay. And we'll go into a little bit more detail, but I want to make sure I understood what you said. Is it your opinion
that Mr. Bucklew will suffer no pain and suffering?

A No. Can you elaborate about -- you mean, no pain and suffering during the lethal injection? Or during the execution
process?

Q I just want to make sure I fully captured what you said.

MR. FOGEL: Do you mind going back to when the doctor was testifying about pain and suffering, and repeat what
he said?

(Whereupon the record was read.)

BY MR. FOGEL:




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Q So that last part is what my question was referring to: So your opinion is that he would not suffer any additional
pain and suffering?

A That is correct. I mean, obviously, I think any -- I think we all have an understanding, hopefully, that most modes
of death do involve pain and suffering in some way. And my understanding of the lethal injection process is, that you
have to start an intervenous line, that can be painful. Usually, not too painful, we do it all the time, patients having
surgeries, but beyond that, the actual process, of where the drug is injected and so forth, would not cause any pain or
suffering to somebody.

So there's always going to be a minimal amount of pain with a lethal injection process as I understand it, because you
have to start an intravenous line, but beyond that, I don't see that this inmate would suffer any more than that.

Q Okay. Who did you work with in connection with the preparation of your reports?

A Mr. Spillane.

Q Anybody else?

A No.

Q Do you have any assistants that you work with?

A No.

Q No graduate assistants?

A No.

Q When were you first contacted regarding this matter?

A I'm going to say it was August -- I -- I can tell you the specific date, because I believe I have the letter somewhere,
but I got a letter, by Fedex, from Mr. Spillane. I think it was dated August 27th or somewhere around there, I'm not
sure exactly when it was, but it might have been before that, a little bit before that. It was some time in August -- or
mid-to-late August --

Q Was that --

A -- of 2016.

Q Was that your first involvement in this case?

A Yes.

Q Had you -- have you worked with the Missouri State Attorney General's office before?

A No.

Q Have you worked with Mr. Spillane before?




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A No.

Q What did Mr. Spillane ask you to do?

A He asked me to provide my expert opinion about this particular inmate and whether his -- well, may I -- just pause
for a moment. I cannot specifically -- I mean, I'm going to give you my general understanding of what he asked me to
do, but there may be some written documentation, where he has some specific questions that ] could refer to, but I don't
-- what would you --

Q To make it easier, and not make this a memory test: How about I direct you to paragraph 3 of Exhibit 1, which is
your November 2016 report?

A Okay.

Q And you see paragraph 3 --

A Yes.

Q -- inner scope of engagement?

A Yes.

Q Does that help?

A Oh, thank you, yeah.

So I was asked to render my expert opinion, specifically, in general medicine and anesthesiology in regards to the actions
and the efficacy of Pentobarbital, especially related to Missouri's lethal injection protocol. And also, the efficacy of
Pentobarbital in this particular inmate, Bucklew, who has this cavernous hemangioma.

(Whereupon the reporter requested clarification.)

THE WITNESS: Has a cavernous hemangioma.

BY MR. FOGEL:

Q Doctor --

A Yes.

Q -- let me ask you, does paragraph 3, Scope of Engagement, accurately summarize everything that you were asked to
do in this matter?

A Yeah. I think it does. I mean, there might be -- again, not -- not making this a memory test, I believe that captures
everything, I mean, there might be something I missed that I provided opinion in, but I think that captures pretty much
everything.

Q What is anesthesiology?




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A That's a field of medicine that describes -- I should -- that is involved with the administration of anesthetic to patients
who are having surgeries or painful procedures. So we're physicians who specialize and go to residency for that, and
render patients unconscious and, in a sense, during surgical procedures. That's part of what we do, but some people are
also involved in critical care medicine, pain medicine, sort of, some of the branches off of anesthesiology.

Q Is Pentobarbital a type of anesthetic?

A Yes.

Q Have you worked with Pentobarbital before?

A Yes.

Q What is your experience with Pentobarbital?

A I've used it in settings where patients would require Pentobarbital for induced coma, or to induce -- to decrease activity
in the brain.

Q So could you help me out here, because I'm not a doctor --

A Yeah.

Q -- and no prior education in the area --

A Sure.

Q -- of anesthetics, how does Pentobarbital induce whatever you were just --

A Yes.

Q -- describing?

A Okay. Well, the -- the short answer is, we don't know. We don't know how anesthetics work, how they truly work.
We know the Pentobarbital, like other anesthetics, work with what's called a GABA receptor -- G-A-B-A -- G-A-B-
A, GABA receptor.

The GABA receptor is something that we all have. And when the Gaba receptor's active, it allows chloride ions to enter
into the cell, and causes the cell to become what Ave call hyperpolarized, and makes it less likely to fire. And when
it's a neuron, like a neuron in the brain, then it's less likely to fire, and that produces the anesthetic effect, it produces
unconsciousness, and the other things, immobility and so forth.

But we don't truly know how the work -- we know how they work at a receptor and cellular level, but how they end
up resulting in a system -- what we call a system effect. That is, how they produce the actual unconsciousness, we really
don't know. I mean, nobody knows for sure, that's the simple answer. We have a lot of pieces of the puzzle, but we don't
know for sure for any of the anesthetics.

Q Do all anesthetics render a patient unconscious?




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A Local anesthetics, obviously, by definition of anesthetics that leaves the term, local anesthetics, that's something we
use for when you get a dental procedure done, that numbs up the nerve, so that does not cause unconsciousness in a dose
as it's administered, but an anesthetic, when you use the term, anesthetic in the sense of sort of general anesthesia, then
yes, they all produce unconsciousness. Because that is the -- that is one of the three essential endpoints of-- of anesthesia,
which is unconsciousness.

Q What are the other two endpoints?

A Amnesia, and then immobility. So patients don't want to remember their surgery, patients don't want to be awake
during the surgery, and physicians, specifically surgeons, do not want a moving patient during surgery. So the three
special endpoints, as I described them -- now some people would also argue that analgesia is an important endpoint.
But analgesia is, in my mind, and I may be a minority in this, but, in my mind, analgesia is not a required endpoint
of anesthesia.

Q What is analgesia?

A So analgesia basically means something that -- that -- or an analgesic, for example, would be a drug or something that
-- that lessens pain. So, for example, if you were out playing soccer or whatever and you hurt yourself, you might take
Ibuprofen or you might take Tylenol, or maybe, if you'd had surgery on your -- dental surgery, you might take Tylenol
with Codeine, those medications decrease pain, they provide some -- they have analgesic properties, they provide that.

But in order to be, again, this sort of gets into the semantics side more than anything else, in order for you to, in my
mind, classify a drug as analgesic, the patient has to be awake. The patient has to say, “Oh, yes. I took this drug. My
pain is less.” But anesthetics, by definition, if given a sufficient dose, makes someone unconscious, so they're not awake
to be able to perceive pain. So analgesia is not really important in that setting, from that particular aspect.

Now, some people-- oh, I should say, so when you're having surgery and the surgeon makes an incision, your heart
rate will go up, your blood pressure will go up. Even though you're unconscious and you may not move and you're not
going to remember, but you're going to have these, you know, physiological responses to that. Now, you are a relatively
young man --

Q Thank you.

A -- and you look in very good health.

Q Thank you.

A And if I were to anesthetize you, and your heart rate and blood pressure were to go up, it's probably not that critical
to me or to you that I treat that. I probably would give you something for that, but I -- it wouldn't be necessary during
the surgery, but most people would anyway.

If your grandmother was having surgery, let's say she's in her 80s, if her heart rate and blood pressure goes up, I'd be
more concerned about that because that might be more harmful to her, so I'm more concerned about providing analgesia
-- or analgesic-type of drug during surgery for her. But it's not -- it's a long answer to your question, but it's, in my mind,
analgesia is not a critical component or a necessary component of an anesthetic.

Q So let me ask a few follow-up questions based on what you just explained.

A Sure.



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Q Which is very helpful, thank you for that.

Is the pain irrelevant when someone is unconscious?

A Is pain irrelevant?

Q Irrelevant when someone is unconscious.

A I want to make sure that we have an understanding of the terms: So pain is the conscious awareness of a noxious
stimulus.

Q Excuse me, you said of a noxious?

A Noxious stimulus.

Q What's --

A Noxious. So something that causes tissue damage. So if I took a sharp instrument and poked you in the hand with
it, that would be noxious, it would be painful to you.

Q But what about choking? Is choking, would you consider that painful?

A Choking, I wouldn't consider it painful, I mean, it certainly is distressing.

Q Well, let's get away from the word “pain.”

A Yeah.

Q Self- -- is it a type of suffering?

A Yes. Absolutely, yes. Choking would be a suffering, you know, you would have what I would describe as suffering
sensation from that.

Q And is choking, or that type of suffering, irrelevant if someone is unconscious?

A In my opinion, yes. They're not going to be conscious and -- and aware of that sensation. If they're unconscious from
a -- from a drug and choking or the lack of breathing, in my opinion, they would not be •- they're not aware, so they
can't have the suffering component that we think about.

Suffering is a word or term describing sort of the emotional component of all (his; right? So -- so suffering is an emotional
part, and you can't have emotions when you're unconscious. I mean, you don't...

Q Doctor, you're -- your practice is as an anesthesiologist for some time; is that right?

A Yes. That's correct.

Q And you've administered an anesthetic for a patient who was unconscious during a procedure?




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A Yes.

Q If that patient started choking during the procedure, would you say that it was irrelevant, it didn't matter, because
they were unaware of the choking?

A Well, that is not -- it's not -- make sure we understand each other in terms of the question and the answer.

So if somebody was choking during surgery, and I'll use that term because that's the term you're using, but someone
who has an airway obstruction during the surgery, that's an emergency; right? One of the things that we have to do as an
anesthesiologist, of course, is to maintain breathing during surgery, and that requires an unobstructed airway. And that's
a medical emergency. I'm not worried that the patient is suffering, but I am worried that the patient may die because
they have an obstructed airway. Those are two different things.

Q I appreciate that. And certainly, we want to be very concerned of whether the patient lives or dies, but why are you
not concerned whether the patient is suffering or not?

A Because suffering is not -- again, it's a -- it's a term describing someone's emotional -- what's the word I want to use? --
basically emotional response to that particular situation. And it requires someone to be awake. So let's, just to -- maybe,
so I can clarify my answer to this.

Q Well, I -- sorry, do you mind if I just have a quick question on this?

A Yeah.

Q But if you want to finish your answer, go ahead.

A Well, let me just finish this to clarify this: So, getting back to you having surgery, if your blood pressure increases
and your heart rate increases, I'm not concerned that you're suffering in the sense that if -- if you -- if we were doing
surgery on you, with you awake, we would all agree, I think, you'd be -- you'd have suffering. Because you're awake and
you have a surgical incision and so forth; you're experiencing pain. I'm not concerned about that -- that part of it, when
you're unconscious, because you're unconscious. You don't -- you don't have that emotional reaction that you would
have when you're awake.

Now, you could have -- certainly, you could have the physiological responses to that stimulation. That is, your blood
pressure would go up, your heart rate would go up, and I would be concerned -- potentially concerned about that. But
I'm not concerned about the emotional part of it, because you're not having those emotional reactions.

Now, I will be honest with you, there is some indication in the field now, that there may be some imprinting on the brain,
so to speak, where people might -- even during a normal anesthetic, there might be some -- oh, how should 1 say this?
-- that there might be some lasting effect of -- of the surgery, and potentially that -- I'll just leave it at that: That there
might be some lasting effect.

Q Are you referring to anesthetic awareness? Or is that something different?

A That's something different in a sense that that is something that, you know, where, in general, there's a lighter level
of anesthetic and so people are awake during their surgery, that's basically where there's insufficient anesthetic. And I'm
talking more about even deeper levels of anesthesia. But we've been doing this for over 150 years and people come out
of surgery just fine, so I think if anything is going on in terms of anything else, you know, aside from the physiological
responses, it's -- it's going to be minimal.



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And -- and -- and it happens every day, you know, people having surgery and anesthetic every day, so I don't think that
there's anything going on there in terms of any long-lasting effects of what you're getting at as a potentially suffering. I
just don't think suffering has occurred in the sense that you're -- we think about suffering.

Q Well, let's make sure we're talking about suffering in the same way, because I've heard you use the term “emotional
response.” What do you mean when you say emotional response?

A So I'll give you an example of -- of this in the literature. So there is a part of your brain called the amygdala, which
is near the hippocampus. The hippocampus is important to memory formation. The amygdala is important for the
emotional component of memory.

So as an example, I remember where I ate dinner last night, and there's nothing particularly emotional about that. But
if I had been mugged after dinner, it'd be a tot of emotions attached to that, you know, the threat and so forth, you
would go through a lot of emotions, so there would be an emotional component to that. And that emotional component
is -- is determined, in some regard, in some -- some degree, with the amygdala, so there's two separate -- at least two
separate parts of our brain -- there's more than that, but when I'm talking about the hippocampus and the amygdala --
the amygdala's more about the emotional aspect and the hippocampus more is about the factual parts.

So if my amygdala had been destroyed somehow before last night and I had been mugged, I would be able to provide to
you the details of the mugging, but it wouldn't trigger any particular emotional response in me. So there is a emotional
response, that -- that sort of gut terrible feeling that we get when something bad happens to us. And then there's just sort
of the factual part; I remember what I had for dinner last night, it wasn't particularly --

Q So --

A -- you know, emotional.

Q Can -- can I interrupt you, because I don't -- I think I follow your analogy, and what you're explaining here, but I
want to get to the more specific point: Is it your opinion that if someone cannot experience an emotional response, that
they are not experiencing suffering?

A Yes. I think that -- that summarizes, for the most part, what I'm saying, yeah. Suffering is a -- a -- I mean, to me,
suffering and pain are in the same category; you have to be awake to experience it.

Q So during the procedure, if somebody starts choking, which I think we discussed earlier would be a type of suffering,
because they cannot experience an emotional response while they're unconscious, you would not consider that suffering?

A That's correct. So if I could elaborate, though, on that, you might be able to determine some physiological responses
to the choking, you know, maybe their heart rate would change and so forth. Just like you could do that with pain --
I mean, sorry, with a noxious stimulus during surgery, but you're not forming -- having the same type of formation of
emotional -- the emotional response or the emotional aspect of all that when you're unconscious.

Q Why -- why are you focused on the emotional response?

A I'm not, You're -- you're -- you're asking a question about suffering, and I'm trying to put it in words that you can
understand, that suffering is a -- a term that I believe is used, maybe in this context is used incorrectly, because you seem
to think that suffering is something that can happen when you're unconscious, and I'm saying that it can't.




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Because suffering is a -- the --the -- the -- suffering has an emotional part to it, and you don't have that emotional part,
and also, you have to be awake for it, to suffer. I mean, how could you -- I mean, maybe I should ask you, can you
explain to me how you -- how you would have suffering in somebody who is unconscious? I don't -- I don't see how that
can happen based on my understanding of how -- how all this works.

Q Well, fortunately the way today works, I'm the one who asks the questions --

A I know.

Q -- and you're the one who gives the answers.

A I understand that.

Q You're the expert here. And I'm not opining or offering any of my own opinions --

A Sure.

Q -- we're here for your opinions and --

A Got you. I know, I know. I think I've answered as best as I can.

Q And I appreciate that.

Now, we -- you talked about an individual's weight, their blood pressure, does that affect the quantity of the anesthetic
or the chemical that you administer?

A If it's a drug like Pentobarbital, then the weight does -- it does matter.

Q Why does the weight matter?

A Well, I mean, if you're giving -- usually, we dose a drug on a per-kilogram basis, per-weight basis. So you take a 3-
kilogram baby, and you give an intravenous drug, you would give a lot less to a baby than you would 100-kilogram man,
because 3 kilograms versus 100 kilograms. So for an injectable drug, you would give a small amount. So...

Q And does the amount you administer affect how quickly or how long it takes for someone to succumb to the effects
of the anesthetic?

A Yes.

Q Meaning how long it takes for them to become unconscious?

A Yes.

Q So what other characteristics, besides someone's weight, would you take into consideration when determining the
quantity of the anesthetic to administer?

A Again, we're talking about an injectable drug like Pentobarbital?

Q Sure.



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A So besides the weight, you would be concerned about several factors: Actually, one would be their age, one would be
other medications that they're receiving, one would be their other conditions, medical conditions.

Q Well, I'll let you complete your list and then we can go back.

A Those are the three that come to the top of my head. I'm probably missing some others, but those are some of the
important ones I think.

Q Why is it important to take into consideration the medications that the individual may be taking?

A Well, because there -- you can have drug interactions with --

(Whereupon the reporter requested clarification.)

THE WITNESS: You can have drug interactions.

BY MR. FOGEL:

Q C-A-N.

A Yes. C-A-N.

In -- in a clinical setting, some of the drugs that we give can interact or maybe either in a positive way or a negative
way. So if somebody's on a -- an opiate of some sort, they could be tolerant of that. Or if they're acutely intoxicated
from something, then that has to be taken into consideration. So there are a variety of different drug interactions that
can occur.

Q And what is the import of the drug interaction? Could it prolong the effect of the anesthetic? Could it diminish the
effect of the anesthetic? What are the potential consequences of the drug interaction?

A Could prolong it, could shorten it, potentially.

Q It depends on the type of medication, how frequently --

A Yes.

Q -- the individual's been taking it, and those are all things that the person applying the anesthetic would need to take
into consideration?

A Yes. That's correct.

Q You also mentioned medical conditions?

A (Inaudible response.)

Q Why is that important?




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A Well, if somebody has a serious medical condition, such as they're -- have renal disease, that can affect how much drug
you give, usually, you're going to give less of it. Especially if they've just had hemodialysis, that's just one example, if
somebody has heart problems, congestive heart failure, that could affect the -- how much drug that you give. So those
are just examples of some of the considerations that you'd take into -- you want to think about.

Q And I believe, as you mentioned, it could affect how long it takes before the drug takes effect?

A Some of these -- yes -- conditions could do that.

Q So it's unique to the individual?

A Yes.

Q Would you have used -- when you -- let me make sure I have this right first: I -- I believe you said you have used
Pentobarbital --

A Yes.

Q -- in a clinical setting in the past?

A Yes.

Q What quantity of Pentobarbital have you used in those settings?

A I do not remember, and this is a long time ago, I have not used it very -- I haven't used it at all, probably, in the last
15 to 20 years. So it was a long time ago, when Pentobarbital was more in vogue in terms ( producing a coma. I don't
think it's used as much anymore these days. So the doses were probably in the range of several milligrams per kilogram,
as my recollection, and usually was given as an infusion after that. So clearly a lot less than the dose that is used in lethal
injection. I don't think anybody -- well.

Q No. No. Go ahead.

A I was just going to say, I don't think anybody has an experience with that dose, except for the people that use it for
lethal injection. It's not used clinically, of course, in that dose.

Q When you used Pentobarbital, I believe you said, to 20 years ago approximately --

A Yeah.

Q -- had you used it several times in the period -- period that you used it?

A I would say probably not more man two or three times, is my recollection, so very limited use.

Q Is Pentobarbital generally infrequently used as an anesthetic today?

A It is. I know you're thinking frequent is -- right, I think it would have to be rare, if, at all. I don't think anybody's using
it or I don't think anybody should be using it as an anesthetic in humans.

Q How --



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A Because we have such -- much better drugs now.

Q How did you familiarize yourself with Pentobarbital and its effects as an anesthetic in order to render an opinion in
this case?

A So Pentobarbital --

Q Well, let me ask a -- a first question: Did you think it was necessary to familiarize yourself with Pentobarbital in
preparation for your reports in this case?

A Yes. In some of these --some of the --the issues that came up, absolutely. And --

Q And so how did you go about doing that?

A I looked at the -- I compared, primarily, the effects of Thiopental to Pentobarbital, because Thiopental's a drug that
many people in my age and background have used. Because when I was first learning anesthesiology and training, and
then after that, we used Thiopental for induction. This is before Propofol came out, so I used Thiopental many, many
times. And Pentobarbital is very similar to Thiopental. It's not obviously the exact same thing, they have some structural
differences, but I was mostly concerned about the onset of action of Pentobarbital relative to Thiopental. In terms of
determining my report.

And then looked at basically the -- yeah, I was primarily concerned with the onset, and then also blood levels of the
Pentobarbital relative to its clinical effects. In terms of coma, and lethal amounts, and things like that. So that was sort
of the -- the -- the main area that I focused on. In terms of trying to -- to look at what are the effects of Pentobarbital.

And I felt that was important because, obviously, from my report and the reports that we have -- reports that we have
from Dr. Zivot, there is a disagreement about the onset of action and how deeply someone achieves coma or go into
coma after the injection. And I -- it's my opinion that based on kinetics of the drug, and the way the drug happens, is
unconscious will happen within 20 to seconds and I think that the data that's published out there supports that.

Q What sources, specifically, did you rely upon to conclude that Pentobarbital would render somebody unconsciousness
in 20 to 30 seconds?

In the quant- -- and I assume your opinion is limited to the quantities that are administered pursuant to the Missouri
execution protocol.

A That is correct. Although -- and I'll elaborate on this, I think even a much lower dose of Pentobarbital will achieve
coma, but they use 5,000 milligrams. So I relied on two --

Q When you say “coma,” are you meaning unconscious? Are you using those terms interchangeably?

(Whereupon the reporter requested clarification.)

BY MR. FOGEL:

Q Are you using those terms interchangeably?




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A I probably shouldn't use them interchangeably. I think for the purposes of our discussion here, we could do that, but
coma and unconscious are not the same thing. So basically, if you think of a -- of -- of a VIN diagram, so a VIN diagram,
this would be unconsciousness and coma would be a part of that, so you can be unconscious, but not necessarily in a
coma. So if I were to be more precise, I should not use those terms interchangeably. So maybe I -- in the future, I will
not do that.

Q Sure, So let's focus on your specific opinion in this case, then.

It's your opinion that the quantity of Pentobarbital administered pursuant to Missouri's execution protocol would render
the subject unconscious in to 30 seconds; is that right?

A That is correct. That's my assessment

Q And my question is, what sources did you rely upon in forming that conclusion?

A I looked at the package insert for Pentobarbital, and then I also relied on a paper that was published by Ehrnebo
-- spelled E-H-R-N-E-B-0 -- that I referenced in my supplemental report that looks at the pharmacokinetics and
distribution of Pentobarbital in humans.

Q Did --

A So the way I did it --

Q Sony, did you rely upon any other information or sources?

A For this particular report that I have submitted, those are the two that I -- I looked at. Now, as I've mentioned to Mr.
Spillane, subsequent to writing this report, I did find another study, which I think runs credence to my opinion, but it's
not contained in the report, here. And I can provide that report to you or -- or...

Q Are you relying -- relying upon that report in forming your conclusion that it would last -- excuse me, that unconscious
would set in within 20 to 30 seconds?

A I would say I -- probably, the answer is yes, in the sense -- I mean, I feel more confident in my answer -- I was very
confident in my answer before I saw that report, I'm even more confident now in my answer.

Q Then, yes, we'd -- we'd like to be provided with at least the name and title --

A Yes. I can give it to you now --

Q --of that report.

A -- if you want?

Or do you want to wait?

Q You can give it to us during the break.

A Okay.




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Q So those three sources are the only source- -- are the sources --

A Those --

Q -- in the entire universe that you relied upon to conclude that 20 to 30 seconds is what --

A I'm sorry, not --

Q -- it would take for unconsciousness?

A -- not everything. And then, of course, I looked at the witness executions -- I'm sorry, the -- yeah, the execution
witnesses, the 19 reports that were provided to me, where people that talked about -- you know, who had observed prior
executions, and said that, you know, the inmates seem to be unconscious very quickly and so forth, so that, I also relied
upon.

And then, I -- I relied upon my -- again, my understanding of how these barbiturates work -- Thiopental, Pentobarbital
-- especially when you think about the massive doses that are given to form my opinion.

Q Have you ever participated in any sort of setting, whether it be a clinical or academic setting, where you've administered
Pentobarbital in this quantity to some subject?

A No.

Q So you've never observed the effects of Pentobarbital on somebody when it was administered in this quantity?

A No.

Q Did any of the treatises or sources that you previously mentioned specifically state that Pentobarbital would render
the subject unconscious in 20 to 30 seconds?

A Let's see here. The third report that I described to you, that -- that I will provide to you, has a paragraph in the
discussion -- so the -- the third report that I mentioned is a dog study, but in the discussion section, they talk about the
effects of Pentobarbital in man, where they're looking at the electroencephalogram, and my recollection is that they said
within I think it was 15 to 30 seconds, I can't remember the exact number of seconds, that they observed the clinical --
the changes in the EEG in man.

Now, obviously, in the dose that was used in that study had to be a very small dose relative to what's used in -- in
Missouri, because you wouldn't be given any lethal dose of Pentobarbital to man to study the effects. But again, that
sort of added more, I think weight to my argument, that this drug is going to act very quickly, in the 20 to 30 seconds,
and make somebody unconscious. I hope that answers your question.

Q I-

A Sometimes my answer's so long, I forget what the question was about

Q To make sure I'm clear: That report did not state that it takes 20 to 30 seconds in order for a patient to be rendered
unconscious?




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A It did not. It stated that the changes in the EEG occurred -- started to occur within I think 20 to seconds or whatever
that -- I think it might have been to 30 seconds. So the drug --

Q This -- this was the study regarding dogs; is that right?

A Well, yes. But in the discussion section of the paper, they sort of threw in this paragraph, where they said almost,
“By the way, we also have given this Pentobarbital to humans,” comparing it to Thiopental. And the onset of action
of the Thiopental and the Pentobarbital on the EEG was about -- it was the same. There was a small delay with the
Pentobarbital, in terms of the full effect, so basically, after a minute or -- minute, they had the full effect for -- for
Pentobarbital. They don't really describe what that full effect is. And they don't say what -- what the dose was either. But
to me, when they talk about the effect on the EEG began the electroencephalogram, is what the EEG is, when Thiopental
and Pentobarbital had the same onset, again, it -- it makes me believe that, in this -- with this dose of Pentobarbital,
you're going to have an onset of 20 to 30 seconds; it's going to be like Thiopental.

I think -- I want to make sure we're clear about some of the kinetic issues, here. When you're comparing Thiopental to
Pentobarbital if I may...

Q Well, let me stop you because I don't want to go too far down. Because we haven't had a chance to review that report.

A Sure. That's fine.

Q So it might be a little premature to probe that. You did not render an opinion -- the opinion I'm referring to, that
Mr. Bucklew would be unconscious, as well as any subject would be unconscious, within 20 to 30 seconds after the
administration of this quantity of Pentobarbital. Did you render that opinion in your opening report?

A I did not. I said -- I used the term rapid onset of unconsciousness followed by death is the term that I used. I did
not say instantaneous.

Q I understand. And we're not here to do that. I'm talking specifically about your opinion --

A Yeah.

Q -- that it would render him unconsciousness in 20 to 30 seconds.

A That was in my second report, as I remember. Where I got more specific about the timing.

Q And let's -- so -- so let's turn to your second report.

A Sure.

Q And that's Exhibit 2 before you,

A Yeah.

Q And if you could turn to paragraph 5, which is on page 3.

A Uh-huh. Yes, I have it here.

Q And it's a paragraph that begins, “the intravenous administration of 5 grams of Pentobarbital --



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A Yes.

Q -- would result in rapid unconscious.” And then the next sentence starts, (reading):

“I clarify that opinion, that the rapid onset of unconscious would occur within 20 to 30 seconds after the administration
of the large dose of Pentobarbital. To reiterate and expand on my earlier statements” And then you --

A Uh-huh.

Q -- go on to expand further.

Why did you think it was necessary to expand upon your earlier statements, to specify that unconsciousness would take
effect in 20 to 30 seconds?

A Well, it was primarily because Dr. Zivot took issue with my use of the term “rapid onset of unconscious followed
by death.” And he basically said, “Well, there's a period between the -- when the drug is administered and when death
occurs,” and that's the period during which the inmate will, in his opinion, have such sensations of choking, gasping,
and so forth. And suffering.

So he seemed to indicate that there -- there would be this period, during which the inmate is lingering and languishing
in this sort of semiconscious zone, and, again, experiencing these sensations. And this was my way of basically refuting
that argument, by providing more detail about what I think is occurring. In terms of the onset of unconscious and then
what would be occurring after that.

I mean, I think we all surely must agree that 5,000 milligrams or 5 grams of Pentobarbital is a lethal dose. It's been
demonstrated in other lethal injections. There's no doubt -- or should be no doubt in anyone's mind that it causes death.

Q Without --

A So --

Q Without any equivocation, it causes death? 100 percent?

A Pro- -- with -- with -- unless there's issues with administration, which we all also agree, that there has to be a proper
functioning IV and all that, you know, executions have, to my knowledge, and the information that I was provided, it
caused death within around 8 to 9, minutes, so --

Q Are --

A Are --

Q -- you done?

A No, I'm not.

Q Okay, Go ahead.




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A So we have to sort of figure out, okay; well, how -- how does a drug kill somebody? What are the -- what is the
physiological and pharmacological ways in which that drug would kill somebody at that dose? And that's why I laid out
this -- and this is not a complete sort of diagram or -- or -- or way of looking at it, but this is sort of my understanding of
how this drug probably is killing somebody, is producing rapid, deep unconscious, respiratory depression, followed by
loss of -- or -- or complete absence of respiration, decreased oxygen levels, slowing of the heart rate, and then the heart
stopping. And then during all of this, we also have cardiovascular collapse because the blood pressure is plummeting.

So that is the mechanism by which the physiological steps, so to speak, by which this drug causes death. And I just
wanted to sort of lay it out for people to understand what I think is occurring with this. That's why I went into that detail.

Q Are you relying on any information that someone from the attorney general's office told you regarding the length of
time until unconscious sets in?

A No. No, I have not been provided. I mean, I have the witness statements.

Q But no other information was provided to you to support -- from the State -- to support your opinion, that Mr.
Bucklew or someone else would be rendered unconscious in 20 to 30 seconds?

A No. Uh-uh. Not to my knowledge, no. I -- I -- I -- it was my -- it's my opinion, and was then and is now, based on
the -- the action of that drug, especially when -- when comparing it to Thiopental, Remember, I've never given 5,000
milligrams of Pentobarbital to anyone. And neither has your expert witness, I presume. Or anyone else in --

Q So you have no personal experience to draw upon, in order to support your conclusion that Mr. Bucklew would be
unconscious in 20 to 30 seconds?

A I do not have any personal experience with the use of that drug at that dose, no. Which is why I make the comparison
between Thiopental and Pentobarbital. I know how Thiopental -- quickly Thiopental works.

Q Is Thiopental -- say the word one more time, please.

A Thiopental.

Q Thiopental.

It's another type of anesthetic?

A Barbiturate.

Q Barbiturate.

A In fact, the only difference between Thiopental and Pentobarbital is one atom.

Q Is it used on humans?

A Thiopental?

Q Uh-huh.




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A Yes. It's not used very often anymore, and it's probably not used -- it's not used in the United States anymore, but it's
probably used in other parts of the world. And it was used very commonly for a long time.

Q The Thiopental, that was the chemical that was referenced in the study concerning its effect on dogs; is that right?

A That was one of the drugs that was used. There's actually multiple barbiturates that were used.

Q But that's the study that you referenced?

A Yeah.

Q Could it be longer than 20 to 30 seconds?

A At this -- at -- at the dose of 5,000 milligrams, I don't think so, no.

Q So you can say, with 100 percent certainty, that anybody who was administered that quantity of Pentobarbital would
be rendered unconscious in 20 to seconds?

A One of the things I learned in medical school is never say always and never say never. So I -- 100 percent certainty,
more like 99.99 percent certainty. I mean, I cannot -- there may be some very peculiar thing occurring that would prevent
someone from being unconscious within to 30 seconds, I can't think of what that might be, 1 mean, of course we've already
talked about making sure the administration is appropriate, they have a well-functioning IV, that certainly would have
affected things. If you had a very slow circulation time, very slow circulation time -- and that term, I use, is somebody
who has a very low blood flow in their body because their heart's not working properly, let's say, or their -- their fluid
levels is very, very low, so their -- there's not much blood circulating. We call that slow circulation time -- that can affect
the onset of these drugs. But Mr. Bucklew --

Q What -- what about somebody's weight? We--we talked earlier about somebody's weight --

A Yeah.

Q -- their medications, their medical condition, those are all things that could affect the onsets of the drug as well; correct?

A Yes. But you have to make sure we're understanding something, here, which is that some of these effects we're discussing
may be clinically relevant in the sense of the -- a clinical dose, but not with the dose of 5,000 milligrams. Even those
conditions are not going to materially affect, save, perhaps the issue of a slow -- slow circulation time. That potentially
could affect the onset of Pentobarbital even in 5,000 milligrams.

Q The other two reports that you said you relied upon, could you remind me which ones those are in your report?

A It was a study by Ehrnebo -- Ehrnebo -- Ehrnebo, I'm not sure how it's pronounced, but it's --

Q The pharmacokinetics study?

A And distribution properties of Pentobarbital in humans following oral and intravenous administration. And that was
published in the Journal of Pharmaceutical Sciences, I think. I just have it as pharm sciences.

Q I see where you're referring to.




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And what was the other one?

A It's the package insert.

Q The package insert.

A Of Pentobarbital, yes.

Q Does the package insert specify how long it takes to render someone unconscious?

A It just says immediate. As I recall. May I -- if I may refer to it, I think that's the term that is -- the word that is used.
I have it here, if you want to -- unless you have it. I have it here (indicating.) Although, you're probably going to enter
it as an exhibit, so this copy's going to be mine.

Q Here we go.

A Maybe I cannot -- I'm not sure --

MR. FOGEL: Let's -- let's go ahead and just put this in as an exhibit.

(Whereupon Exhibit 3 was marked for identification by the court reporter and is attached hereto.)

THE WITNESS: So I -- may I continue?

BY MR. FOGEL:

Q Well, just make sure you -- you've just been handed an exhibit that's been marked --

A Yes.

Q -- or a document that's been marked as Exhibit 3. Is this, from your review, a true and correct copy of the package
insert that you were just referring to?

A Yes. It looks like it is, yes. Yup.

Q Okay, Just wanted to establish that. Go ahead,

A Yup. So I said earlier, just a moment ago, immediate, I --

Q Uh-huh,

A That's my recollection. But there's lot of stuff here, and I'm not sure that's exactly what it says, so I don't want to
commit myself to that word until I've found it and then -- see if I can.

Q Well, you did not point to this in your report. I understand that you reference this report, but you did not point to
this specifically for that assertion that --

A No, I did not,




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Q -- would be rendered in the --

A I don't think so. I mean, I thought I had something like that, but I didn't -- I used this primarily because of the table
they have there, in which they describe the barbiturate levels relative to the different C-N-S depression.

Q So we can put that to the side --

A Yeah. Okay.

Q -- for now.

And then the pharmacokinetics report that you reference, did that specifically state that an individual be rendered
unconscious in 20 to 30 seconds?

A No, it did not.

Q And then the other source you relied upon were the witness statements?

A Correct.

Q And is it your recollection that those witness statements asserted that the individual was rendered unconscious in 20
to 30 seconds?

A They did not specify -- in some cases, they specified within half a minute to a minute. In other cases, they specified
longer. Sometimes they didn't specify at all, just that they were quickly rendered -- you know, they seem to be unconscious
or whatever term that they used. Obviously, the witness statements, they're not medical professionals, they may not know
what they're looking for, so you can't take it -- you have to take that with a grain of salt, which I admit to. But the witness
statements are consistent with my impression or my opinion that the drug is going to act within 20 to seconds to -- that
that's the dose to make somebody unconscious.

Q So I want to make sure we're very precise, here: I believe you said it would act within 20 to 30 seconds to make
somebody unconscious. Is the individual unconscious at the end of the 30-second period? Or are you saying that the
drug starts to take effect in 20 to 30 seconds, but they might not be unconscious?

A Well, let's see, how do I want to answer that. I'd say that the -- they are unconscious after -- 20 to seconds after the
drug has been administered. Does that answer your question?

Q And in part.

You're -- are you defining administered from the moment the Pentobarbital starts to enter into the individual's circulatory
system, via the IV line?

A Yes. It starts -- it may and -- you know, I -- one thing -- one piece of information that I do not have, and I -- and
that's how -- how fast the drug's injected, that is not something that's -- either it's not known or it's not provided to me.
I don't know how quickly it's injected, but I -- I -- my guess would be that it's probably injected -- we're talking about
100 CCs, 100 MLs of the drug --

Q Are you --




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A -- is my understanding, so it takes some time to inject it,

Q Do you understand that there are two syringes of CCs?

A Yes. And I believe they use -- they use both of them. They're both hooked up, one syringe has 2- -- 2.5 grams, the
other syringe has 2.5 grams. That's my recollection.

Q Is it your understanding that they're injected simultaneously?

A No. They're -- I believe they're injected one after the other.

Q Do you know how long it takes to inject the respective 100 CCs?

A I have not provided -- been provided with that information, so I don't know.

Q And when you say -- as I just parroted you, the -- how quickly the -- it -- it's injected, what -- what do you mean
when you say that?

A Well, usually, when you talk about an injection rate, you say 1 -- 1 CC or I ML per minute -- I mean, for a second.
So every second, a milliliter of a solution goes in. So if you have to inject 100 milliliters, it could take 100 seconds to
inject. I don't know whether these are both hooked up to the IV line or they have to take one off and put the other one
on, I don't know how that part works.

Q So if there's one syringe of 100 milliliters, and that could take 100 seconds to be fully injected, and then another syringe
of 100 milliliters, which would take another 100 seconds, that's approximately three minutes if-- and that's assuming it's
I millimeter per second before the Pentobarbital's fully in the individual's system; is that right?

A I believe you might have that a little bit off. I believe that there are two syringes --

Q You're right.

A -- of 50-

Q Of 50 milliliters.

A -- each. So it would be 50 and then another 50.

Q Okay.

A So if it was one MLs -- one ML per second, then it would take 100 seconds for all the drug to get in. Which would
be almost-- close to two minutes. Now, if we could certainly talk about while based on my analysis of that study, what
blood level do you achieve after just 100 CCs of the drug? I believe that you achieve the sufficient drug level to make
somebody unconscious. So, again, that's why I'm thinking about, it's not going to take very long for that first part of the
Pentobarbital to get in, to make somebody unconscious. You don't need 5 grams of Pentobarbital to make somebody
unconscious; you only need probably -- make to use volumes, part of it.

You don't need 100 MLs of that Pentobarbital to make somebody unconscious; you probably only need 10 MLs to
make somebody unconscious.




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Q Do you -- do you -- you don't know how quickly the Pentobarbital is injected into the individual, do you?

A No.

Q Was that information provided to you?

A No.

Q If it takes -- could -- would that affect your opinion in terms of how long it would take for the individual to be rendered
unconscious?

A At the extreme, yes. I mean, if somebody was injecting that at 1 ML per hour, then that would affect the onset. I mean,
that's sort of the -- that's sort of an extreme example, almost an absurd example of that. You know, absolutely, the speed
of injection could affect it. But based on my understanding of how quickly these inmates die after the beginning of the
process, again, it sounds like, based on the witness statements and so forth, that death occurs within 8 to 10 -- to 10
minutes, after the injection is started or the execution process starts.

I mean, it has to -- the -- the injection can't -- you know, it has to be probably one or two minutes at most, I would
imagine. I don't know for sure, but that's just sort of my -- my -- my -- my guess. I -- but I have to guess, I think anybody
does, because that information has not been provided to me, at least.

Q So you can't say for certain -- you don't know for sure how long it could take for the individual to be rendered
unconscious?

A I still feel very confident in how long it takes. Because I don't think that the injection -- the -- the -- the length of
the time of the injection, how long it takes, it would only be materially important if it was a very, very slow injection.
So, again, we're talking about ML, maybe, 30 -- per 30 seconds or whatever, I -- you know, I -- I would have to do the
numbers, I guess, to -- to -- to see what it would be, but...

Q If a witness -- you relied, at least, in part, on the witness statements; is that right?

A Yes.

Q If a witness had reported that it took several minutes for the drug to take effect, would that change your opinion at
all in terms of how long it takes for someone to be rendered unconscious?

A No. Because -- and -- and, again, I'm looking at this -- I'm -- I'm interpreting these witness statements, which I know
they're not medical people, and I'm interpreting, maybe with my own bias, with my own lens, I'm interpreting some of
these comments as ones in which they may be seeing something that they believe is the signs of a conscious individual,
which, in fact, it's probably not.

So as an example, gasping, the best example that I could think of would be -- and many of us have probably experienced
this -- when you have an animal that you've had to put to sleep. And you give them the euthanasia drug, and sometimes
the animal goes to sleep and then maybe a minute later, they have an agonal breath, they go, huhuhuhuh (phonetic.)

Q Have you spoken to any of the witnesses?

A No.




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Q So the entire universe of information you're relying upon is contained within the four comers of the witness statements?

A Yes. I have not spoken to any witnesses about this, no. Absolutely not.

Q Right. And are these statements or observations made by -- you mentioned, they're not medical personnel?

A I'm assuming they are. I mean, based on the -- the -- the titles that they're -- that they were provided to me of these
individuals, you know, some of them are journalists, some of them are -- they -- they're called like staff witness I think,
things like that. So it's possible some of them -- maybe I've been wrong about my assumption, but it's possible that some
of them have had medical background, I don't know.

(Whereupon Exhibit 4 was marked for identification by the court reporter and is attached hereto.)

THE WITNESS: So -- but I -- my assumption is that none of them did, maybe I'm wrong about that.

MR. FOGEL: So I'm handing the court reporter a document and asking if she can mark this as Exhibit 4.

BY MR. FOGEL:

Q Doctor, take a moment just to familiarize yourself with the document.

A Yes. Uh-huh.

Q Does this appear to be a true and accurate copy of the witness statements that you reviewed?

A Yes.

Q And were these documents that were provided to you by the State Attorney General's office?

A Yes, they were.

Q And is it your understanding that these are documents that were prepared by the State Attorney General's Office?

A Yes.

Q Did you take that into consideration at all when rendering your opinion?

A Well, of course. You -- obviously, you look at that and say, “Well, these were interviews performed by an investigator
for the -- for the Attorney General's Office, and, you know, I -- I -- I have to take them at face-value, I mean, is there a
potential bias in how they were collected? I have no idea to know that, one way or the other.

Q Well, do you see many of the names -- look at the first page, for example, you see “state witness” next to many of
the names?

A Yes. Uh-huh.

Q What is your understanding of state witness?




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A My guess is that, if I understand it correctly, that these were witnesses that if-- the State has asked to be present for
the execution, and, of course, some of these are labeled as being members of the press.

Q How -- how did you form that understanding?

A Well, I'd say, for example, the first page, Jessica Machetta, state witness, then it says “press” next to it.

Q So aside from reading that, do you have any other independent knowledge? Or were you otherwise provided with
further information to form that understanding?

A No.

Q You see later on, there's some names that have the title “staff witness” next to that name?

A Yes. Uh-huh.

Q Do you -- do you have an understanding what staff witness refers to?

A My guess is that, it is somebody who works for the Department of Corrections, but I don't know if that -- could be
somebody who works for the Attorney General's Office or somebody that's a member of the staff of some state agency
for Missouri, is what I -- my best guess would be that it's from the Department of Corrections.

Q Did you ask the Attorney General's Office to provide any information or further clarification of who these individuals
were?

A I don't think so. I -- I don't think I would have asked. If-- if-- if anything, I would have asked the question, “Do any
of these people have a medical background?” And I don't think I asked that question. I don't think I asked that question
of anybody. Except asking myself.

Q Would that be important to forming your opinion, whether or not any of these individuals have a medical background?

A Yes. If some of them had a medical background and knew what they were looking for, then I would probably -- that
would be more -- would lead -- give it more credence, what they're observing and saying.

Q What if it was determined that most or none of them had a medical background?

A Then, again, I would say that their -- some of -- some of which they're observing -- some of the things they observed
may not be accurate, one way or the other. I mean, some of them describe the onset of the drug as being within 15 seconds
or so, or whatever, and sometimes, you know, longer period of time. So, again, I -- you have to look at this and say, “It's
not -- I -- I don't want to hang my hat on just the witness statements,” but I did rely upon them.

Q So if somebody said it took 15 seconds from their naked-eye observation for the drug to take effect, that might not
be accurate?

A That's correct. That might not be accurate. Nor maybe, if someone said it was two minutes. Maybe it took only 30
seconds, but they thought it was two minutes, so it could go either way in my opinion.

Q Are you aware that some witnesses have opined that it took over five minutes for the drug to take effect?




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A I believe that in some of-- in some of these -- somewhere in here, I do believe someone said it took five min- -- it was
a long time, I mean, I don't know whether it was five minutes or not, and you'd have to point that out to me if it was --
if-- but I do remember seeing something in here, that it did take that long, you know...

Q Did that affect your opinion at all?

A Not particularly, no. Because I -- again, I asked myself the question -- based on my understanding of how the -- how
this drug works, and in terms of its kinetics and -- and its effects on the brain, is it possible that it could take five minutes
for the drug to take effect?

Again, the only possibility that comes to mind -- or possibilities that come to mind would be if the IV's not working
properly. Or if there's a slow circulation time, which would occur in somebody who has, again, you know, really bad
congestive heart failure, let's say, where their heart's not functioning properly. Those are the main reasons why I think
that you would have -- have that effect.

But, again, you sort of look at what -- well -- well, when this individual said it took five minutes for the drug to take effect.
What is the endpoint that they're looking for? So -- so for example, you might be -- again, from a non- -- nonmedical
perspective, you might say that the inmate appeared to be unconscious after to 30 seconds, but at five -- at minute five,
he took a breath, that's -- and then there was no breath after that, so it took five minutes to have its full effect.

Well, that's maybe a different definition than somebody else, who just basically says, “Well, they appeared to be
unconscious within 20 to 30 seconds, and -- and the rest of it was just these agonal breaths.” So I'm not sure what
endpoints each of these individuals are using.

And that's part of the -- the confusion, let's say, or the lack of clarity around some of these statements. So I certainly do
concede that the witness statements do not provide crystal clear guidance to us about how quickly the drug acts. But it
does lend support to my contention, that it acts pretty quickly within 20 to seconds.

Q What -- what I don't understand is, why you're willing to discount some witness's observations, that it might take
several minutes, but you seem to be putting credence in witness statements who say it happened in a matter of seconds.

MR. SPILLANE: I'm going to object to the form of the question. If there's a witness in here that said it took five minutes,
I haven't found them; I've found less than five minutes. I was wondering if you could point to one and ask the doctor
to explain it.

MR. FOGEL: Well, that's a different question from the question that I asked. Because I said minutes and the doctor
acknowledged that there are statements in here that say minutes. And I ham happy to point the doctor to a statement,
but first, I would like him to answer my question:

BY MR. FOGEL:

Q Why, based on his recollection that there are statements in here that do discuss minutes, why he is willing to discount
those statements, yet attach credence and significance to those that say seconds?

A Well, there are probably over 150 individual statements in here, from 19 executions. I'm not, you know, I'm not sure
how many there are in total, but there -- there probably -- it's probably more than 150; it might be 200. And if you look
at some of these statements about the minute part, you know, it says -- so to get to the issue about the five minutes, there
is a -- on page 6 of 56, Patrick Martin.




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Q Uh-huh.

A (Reading):

“Martin said it was hard to tell, but appeared to take more than five minutes, but less than ten minutes for the drug
to take -- to fully take effect.”

So let's take a look at all these statements, here. And -- and one of my faults is, I'm a very quantitative person, one of my
strengths is, I'm a very quantitative person; you could take it either way, but let's look at this particular execution, here.
There are probably -- let's count them: 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, (inaudible) -- there are 29 statements here
-- well, there's not 29, because some of these people couldn't be reached.

Priddy, first one, “Seemed to happen quickly.”

Powell --

Then the next person basically said wasn't -- didn't -- didn't return his answers.

Powell said, “He took two deep breaths, and that was it.”

Hufford said, “It was over very quickly.”

Jones said, “Appeared to take a deep breath, and that was it.”

Taylor, “Less than two minutes.”

Martin, “More than five, but less than ten.”

The next person, “Less than two.”

Next person, “Less than one.”

A lot of these say less than one; one says less than five. So, you know, I have over 20 witness statements, a small minority
said five to ten, five or so. But most of them said less than one, so I have to ask myself, “Is that one person that said
it was five to ten --

BY MR. FOGEL:

Q Well, I don't think that's a fair characterization, Doctor, I mean, because we -- you just read a few that said minutes,
there are a few -- several more you did not get to that said three to four minutes, there's one that took less than five
minutes. I don't want to do number counting with you right now, but my question is, you do acknowledge that there are
other witnesses who said it took minutes as opposed to seconds.

A That is true.

Q Yeah.

A There are -- there are witnesses -- and they have statements saying that it took three, four -- five minutes to take...




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Q And my question for you is, does that affect your opinion in terms of how long it might take to render somebody
unconscious?

A No, it does not. If the vast majority of the witnesses said that the inmate -- you know, not just in this execution, but in
other executions, you know, took five/ten minutes, you know, that they -- they -- and they specifically said, “The inmate
was still breathing, the inmate was still moving, it took five minutes,” then I'd say, “Wow. Maybe this drug is not acting
as quickly as I think it is.”

But the overwhelming -- in my mind, the overwhelming evidence here is, that the drug -- these witness statements support
my contention that the drug acts very quickly, within 20 to 30 seconds. So...

And that's just the ones -- by the way, the one execution where you can pull out those -- I believe, there may be one or
two others, I don't know, that you could pull out those kind of numbers, but most of these will say in these executions,
it's one, less than one minute. Maybe less than two minutes.

Q Well, let me ask you a question, because you're -- now you're talking about that specific execution. It could vary by
execution?

A Yes. I would say --

Q Why -- why could it vary by execution?

A There may be issues with how fast they can inject the drug. So I don't know what those -- what those specific issues
are in these cases. Obviously, I wasn't present and that information has not been provided to me, if that information is
even known. But for whatever reason, maybe they didn't inject the drug as quickly as they wanted to. Or maybe some of
these inmates did have -- I don't know their medical history, you know, how much they weigh, but, you know, some of
those issues could have an impact in the time that it takes, as we previously discussed, for the drug to act.

Q And therefore, render the individual unconscious?

A Correct.

Q It's possible that it could affect it?

A Yes.

Q You can put the witness statements aside for the moment. Have you ever witnessed an execution in the State of
Missouri?

A No.

Q Have you ever witnessed an execution period?

A No.

Q Going back to your scope of engagement, which is on paragraph -- excuse me, in your November 2016 report, at
paragraph 3.

A Yes. Yes. Uh-huh.



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Q You said, (Reading):

“I've been asked to render expert opinions in the fields of general medicine and anesthesiology. Especially regarding the
use, actions, and efficacy of Pentobarbital.”

And then the next sentence -- that sentence continues on --

A Right, the --

Q The next sentence that I will focus on, it starts, (Reading continued):

“I have also been asked to render opinions regarding the efficacy of Pentobarbital in the case of Rusty Bucklew.” What
do you mean by efficacy?

A Efficacy is used in its, you know, defined term, which is basically the -- the ability of the drug to produce the intended
effect essentially.

Q The intended effect, here, being...

A Death.

Q Death.

A Yeah.

Q Do you understand plaintiff to be challenging whether or not he would die from the administration of Pentobarbital
in this quantity?

A Could you ask that again.

Q Sure. Do you understand plaintiff to be asserting or to be challenging whether or not he would die from the
administration of Pentobarbital in the quantity set forth in Missouri's execution protocol?

A I don't think -- I mean, I -- that's news me. I think he was challenging the efficacy of the drug in terms of its ability
to -- well, let me -- let me rephrase that.

My understanding, he's sort of challenging the issue around this method would cause undue suffering, pain, et cetera. I
did not think that he was challenging the fact that -- that it would cause -- it would not cause death.

Q Right. It's a question of whether he would die in violation of--

A Right.

Q -- his 8th Amendment rights?

A Correct. I mean, I don't think he's saying, somehow, that the drug, as it would be administered, would not cause his
death. I don't think -- I don't think I read that anywhere.




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Q Do you know what cavernous hemangioma is?

A Yes.

Q What is cavernous hemangioma?

A It's a condition -- usually, it's congenital, but it's a condition where you have an abnormal growth of blood vessels that
produce what's essentially on -- if you were to look at the tissue under a microscope, there are these pools of blood or
caverns of blood that are part of that hemangioma. And that's where that term cavernous comes from. So basically, the
hemangioma has this blood that will enter it slowly and pool there in these caverns, and then that causes the growth of
the hemangioma, as, you know, if it's congenital as the child gets older, this -- this can sometimes grow larger. And so
its definition -- or its term is based on, primarily, its finding under microscopy.

Q And how did you form that understanding of cavernous hemangioma?

A I reviewed some of the literature. I -- I had a general understanding of that term before this case, but had certainly
gained more specific knowledge about the pathology, so to speak, of -- of -- after reviewing some of the medical literature
on it.

Q And did you form that general understanding prior to this case in connection with your treatment of patients? Or
otherwise?

A No, not -- I don't know, off the top of my head, if I've ever had a patient with a cavernous hemangioma that I've had
to anesthetize, I don't know. I mean, and I don't -- my -- my recollection, I don't recall actually learning that about a
cavernous hemangioma during medical school, but my recollection, at the time, when I saw this is, I -- when I saw this,
I said, “Oh, yes. Okay. I know what that is.” And in a very general sense.

Q But you've never treated a patient who had cavernous hemangioma?

A I --

Q Or -- sorry, go ahead.

A I don't think so. If I did, I do not recall.

Q The paragraph we were just looking at --

A Yes.

Q -- the sentence continues (reading):

“Rusty Bucklew, a condemned prisoner who has a congenital cavernous hemangioma, and whether that hemangioma
would affect the efficacy of Pentobarbital or otherwise inflict the substantial risk of severe pain as a result of Missouri's
lethal injection procedure.”

Do you see where I was reading?

A Yes. Uh-huh.




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Q What -- what do you mean by whether that hemangioma would affect the efficacy of Pentobarbital?

A One of the claims that your expert witness made -- well, actually, not just Dr. Zivot, but I think it was -- was always
Dr. Wippold and Jamroz, I believe was the other one, they made claim that the hemangioma would cause a abnormal
distribution of the Pentobarbital, and thereby affect -- affect its efficacy, you know, how the drug acts.

And so that's why that statement is in there, so that I can, you know, I wanted to render opinion as to what the effect
of the cavernous hemangioma would have on the distribution of Pentobarbital.

Q Sure. And the sentence continues, (reading):

“Or otherwise inflict a substantial risk of severe pain as a result of Missouri's lethal injection procedure.”

A Uh-huh.

Q Do you think that there is some risk, due to Mr. Bucklew's condition, that he would suffer severe pain as a result
of-- let me strike that.

Do you think that there is some risk that Mr. Bucklew would suffer some pain as a result of Missouri's lethal injection
procedure?

A As I said earlier, inserting an intravenous line can be painful. Beyond that, if -- if the IV was not functioning properly,
and the IV infiltrated, then there would be some pain associated with that. When drugs infiltrate, then that could be
painful. So especially with something like Pentobarbital.

Q Well, let's pause on that.

Why would it be painful?

A Well, some of the drugs that we use have a the -- the PH, which is the acid level basically --

Q Uh-huh.

A -- can either be high or low. And because of that, when it gets into the tissue, it can be painful. It's been described
with many drugs, especially drugs we use in anesthesiology, such as Thiopental is a classic example. And I've never said
otherwise, about you have to have a properly functioning IV for these -- for any drug, really, that you give. Whether it's
in this protocol or whether it's for a clinical reason, to work properly. So there is that risk.

Q And what could happen if you don't have a properly functioning IV?

A Well, the drug won't work as quickly as we want it to. Whether it's in a clinical setting or -- I'm not putting myself
in that weed when it's --

Q Sure.

A -- used in the lethal injection process, but from a clinical perspective, the -- the drug will not work fast. In fact, it may
not work at all. Because it's -- it's very slow -- once it gets out, in the tissue, it's going to be very, very slowly absorbed,
and it won't have its intended effect.




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Q And what are some of the factors that affect whether you have a properly functioning IV line?

A Primarily, it's going to be the patency and size of the vein that you put the intravenous -- the catheter in. That would
be the -- not the -- that's the main reason from a -- from a -- sort of a clinical perspective.

Q What does patency mean?

A Whether it's open or not.

Q Yeah.

A Yeah, so...

Q And -- and that varies by person?

A That is correct.

Q Did you make any observations -- well, you previously did examine Rusty Bucklew, didn't you?

A I did.

Q Did you make any observations regarding IV access points?

A I did.

Q And what were your observations?

A So his IV access is -- is what I would consider to be limited. So his left hand in particular, and arm, there are very
few -- there are just a few small veins that I could find. There are some more on his right arm. Sufficient that I -- that I
believe I, with my expertise -- or somebody with the expertise of starting an intravenous line would be about to get an
intravenous line in his right hand, but the veins are small.

Q And what happens when the veins are small? What does that mean?

A Well, that gets to the issue of, if you inject -- you have to watch how quickly you inject a drug. And you could cause
infiltration in the -- the vein could -- you could -- we call blow the IV. Basically, where the -- you rupture the vein, so
now you're going to get to that drug going out into the tissue instead of into the vein, so...

Q And that could be particularly problematic when you have a drug with a PH level like Pentobarbital?

A Correct.

Q Okay. And what happens when a drug like Pentobarbital gets into the tissue?

A Well, it can be painful.

Q Uh-huh.




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A And it can destroy the tissue. You can actually get ischemic and gangrenous tissue, where the tissue dies. Almost like
a chemical burn in a sense, so...

Q Right. When somebody has a small IV line -- sorry. Does quantity of the chemical that you're injecting affect the
success of the IV line?

A It's more the speed than the quantity. I mean, it's -- it's -- yeah, it's more the speed. I mean, if you injected -- you could
inject a lot if you did it slowly.

Q Right.

A It's really more about the speed of the injection than the actual quantity.

Q And why does the speed matter?

A Well, because the -- the vein -- let's see, so imagine that you're -- if you had -- I'll use an example, if you had a mouthful
of water and you're trying to spit it out through a straw. If you spit it out through a large straw, a large diameter straw,
you're going to be able to get a lot more water out of that straw, in a certain amount of time, than if it were a small
diameter straw. And a straw -- I know we're thinking about a typical straw that is made of plastic and can stand high
pressure, but if that straw was made of a very thin material, if you really applied a lot of pressure to that, it would blow.
And that's essentially what's happening when you're injecting too quickly.

Q So correct me if I don't have this right, but the smaller the IV or the smaller the vein, the slower you want to inject
the chemical.

Is that fair to say?

A That would be an accurate assessment, yeah. Because you'd have to be -- if you're concerned about blowing the vein,
you'd have to be worried about the speed of injection, yes.

Now, I will -- if I can elaborate on that.

Q Go ahead. Go ahead. If you have something further to say in response to my question.

A I mean, certainly in the clinical setting, we may have to start IVs in places that we normally wouldn't want to start
IVs because of that. So we might start a central line. I mean, and that's certainly happened in my practice many times,
and I'm sure Dr. Zivot -- and any anesthesiologist is going to say the same thing, where you have to -- you have to put
in a central line when you have very poor IV access.

Q What is a central line?

A So that's a term that we use for the central circulation. So usually, it's going to be a catheter that we put into a neck
vein, it could be in a subclavian vein, or it could be in the femoral vein. I mean, you -- you -- you're able to access --
those veins are very big.

Q Uh-huh.




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A And you can put catheters in that. So in a clinical setting, if we were worried about injecting drugs or other substances,
then we would put in a central line. Generally speaking -- yeah, that's -- that's the way that we would manage that many
times.

Q That's in a clinical setting. Do you know how that would be handled in the execution setting?

A I have been told that, I believe, that -- that they have inserted central lines in some of the inmates -- I don't know
whether that's been in Missouri or not, I'm really -- I'm not positive about that. So --

Q You've -- you've been told it could be done?

A I -- that there have been central lines that have been placed in some inmates.

Q You -- you just don't know if that's -- who -- who told you that?

A I'm not sure if that's something that I've read in the newspapers, I'm not sure. Yeah.

And then maybe -- maybe, it was something that Mr. Spillane and I discussed. I'm not -- I'm not even sure -- maybe it
was in the -- I'm not sure if the Missouri protocol has it in there, I forget. Maybe we can refer to that, I don't know.

Q Would it be helpful to look at the --

A Sure.

Q -- open protocol?

(Whereupon Exhibit 5 was marked for identification by the court reporter and is attached hereto.)

THE WITNESS: Oh, yeah. It does say, in C, it says, (reading):

“Medical personnel may insert the primary IV line as a peripheral line or as a central venous line.”

And then it lists femoral, jugular, subclavian. So that refers to the femoral, which is in the groin area; and the jugular,
which is in the neck area; and the subclavian, which is below the clavicle or the collarbone.

BY MR. FOGEL:

Q Right. And do you see the end of that sentence it says, “Provided, they have appropriate training, education, and
experience for that procedure”?

A Yes.

Q Does inserting an IV line in -- as a central venous line, require additional training or expertise?

A Yes.

Q Why is that?




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A Additional -- well, for example, a nurse may have a lot of experience in inserting a peripheral IV, but there are very, very
few nurses that probably have experience in inserting a central line. The only -- there might be some nurse practitioners
that have that experience -- in the clinical setting, there might be -- certainly CRNAs or nurse anesthetists would have
that experience. But usually you have to have additional experience, and that's going to be somebody who has, you
know, maybe a physician that has experience.

Q All right. So do you know if the medical personnel, that are present as part of the execution team, have that training
and experience?

A I believe that there is a anesthesiologist involved in the Missouri process.

Q Right. But this condition, here, when it says, “provided, they have appropriate training, education, and experience for
that procedure,” are you assuming that somebody present would have that expertise?

A They would have to have that expertise in order to safely place that -- those -- those types of lines, yes.

Q Right. And you're assuming that somebody with that expertise would be present --

A Yes.

Q -- in order to do this?

A That's my assumption.

Q Okay. And what would be all the alternatives if you could not insert it through a central venous line?

A If you did not have adequate -- what you considered an adequate peripheral IV, and you did not have central access --

Q And sorry, what is a peripheral IV?

A So that would be like a IV --

Q Through the hand?

A -- in the hand, or in the arm. This is considered basically the periphery (indicating), it could be in the foot.

Q Uh-huh.

A We often have placed IVs in the feet in a clinical setting. But a central line, so it's usually considered to be peripheral
-- peripheral versus central. Central line would be something where the catheter's actually in what we call the central
circulation. Usually we're talking about a large vein such as a jugular or the subclavian or the femoral, and pretty much
everything else is -- is -- is peripheral.

Q Sorry, I -- I think you were answering a question before I interrupted you.

A I -- I -- I think I --

Q Do you want me to repeat the question?




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A Sure.

(Whereupon the record was read.)

THE WITNESS: You wouldn't be able to administer the drug. I mean, you do not have -- you do not have a properly
functioning peripheral line, you do not have a properly functioning central line, you cannot inject the drug because there's
no vein to inject it in. I mean, I've never said otherwise. You have to have a properly functioning IV somewhere to be
able to safely administer any intravenous drug. Just to make that clear.

BY MR. FOGEL:

Q Now, in your report, your supplemental report, Doctor, you state there had were small superficial veins in his hands?

A Yes.

Q And that -- and that is referring to what you said earlier, that he has small veins --

A Yes.

Q -- in his hands, which would make it difficult to administer an IV through the hands; is that correct?

A I don't think difficult would be the right word. I mean, it made it more challenging.

Q More challenging. Sure.

A Yeah.

Q And --

A And by way of an example -- I know you can't put this in the report, but look at my veins (indicating.) Right? People
look at that and they just salivate of over those veins; they're huge,

Q But Rusty does not have those types of veins?

A No, he does not.

Q He's not as lucky as you to have those veins?

A Right.

Q So --

A Just --just as an aside, and I'm sorry I got to throw this in there: Anesthesiologists, when we're out in the world, we
look at veins and we look at the airway of everybody. So I guess it's just what we do, so...

Q You -- you also stated in your report that there are limited sites for IV access in upper extremities --

A Yes.




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Q --is that right? And when you say “upper extremities,” what are you referring to?

A The arms. I didn't examine his feet.

Q Okay. When we talk about peripheral IV access --

A Uh-huh.

Q -- are you generally talking -- is that what you're referring to when you say the upper extremities in the hands, that's --

A Yes, that's the --

Q -- the peripheral IV access.

A -- that's the peripheral IV access that I'm talking about, yes.

Q So you did not examine whether -- where the potential of a central venous line --

A No, I did not. (Whereupon the reporter requested clarification.)

BY MR. FOGEL:

Q Is that -- is that accurate?

A I did not. I did not examine him.

Q What -- what type of-- in the clinical setting, what equipment, if any, would you use to identify the central venous line?

A Well, if you are using a -- if you're going to insert a catheter in the jugular vein, the standard of care now is to use an
ultrasound machine, where you identify the -- the jugular vein. If you are inserting a femoral line, you don't need any --
I mean, people can use an ultrasound machine, but it's not necessary. It's not -- you wouldn't have to use that.

And likewise, with a subclavian vein, you wouldn't have to use an ultrasound machine. I think people do do that, but
it's not absolutely necessary. But I think for the purposes of the jugular vein, you'd want to use a ultrasound machine,
but for the others, I wouldn't say it's absolutely necessary.

Q Do you know if an ultrasound machine -- are there any other pieces of equipment that you would use in order to
identify an central venous line?

A No. I mean, ultrasound would be the -- the one that I would use.

Q Do you know if an ultrasound machine is available in the execution setting?

A I do not know.

Q For somebody with veins as poor as Rusty's as you've described them, is there anything to increase the likelihood of
the vein to blow once the fluid begins flowing through it? Through the needle.




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A Yes. There is -- with poor IV access or limited IV access, small veins, then the risk of an infiltration is higher. I can't
give you any numbers, I'm not even sure those people have ever studied that, quite frankly. But just based on my clinical
experience and I think, based on general teaching and clinical experience of others, yes, there's an increased risk of a vein
blowing when provided with limited IV access. Which he did have

Q Right.

MR. FOGEL: Why don't we take a -- a break.

(Whereupon there was a break in the proceedings.)

MR. FOGEL: We're ready to resume?

BY MR. FOGEL:

Q Doctor, I want to pick up on something we were discussing shortly before we took a break. And that was the --
accessing the central venous line.

Now, do any of the veins that you discussed have arteries -- well, first of all, what is the difference between a vein and
an artery?

A An artery is the term that we use that describes blood that takes a tube, essentially, that takes blood away from the
heart. And usually, that's to the systemic circulation. So for example, the left ventricle will have the aorta coming out of
it and that will have branches, and those are arteries. Like the carotid artery and so forth.

And then veins we describe as structures that bring blood to the heart. And that's sort of the -- that's the basic structure.
And usually, for the most part, arteries have oxygenated blood in it, and veins have deo- -- what we call deoxygenated
blood it in.

But there are the two main exceptions to that is, that when the blood comes back from the lungs back into the heart,
those are called pulmonary veins because they are veins that are bringing blood back into the heart but actually it's
oxygenated blood. And likewise, the pulmonary artery takes blood from the heart to the lungs, it's called an artery, but
it's got deoxygenated blood.

But in terms of the systemic circulation, which is the typical term we use to describe blood flow through the -- through the
body. Arteries carry blood from the heart to the various organs and then veins bring that blood back from the periphery
or from those organs back into the heart.

Q Can you use an artery instead of a vein--

A For?

Q -- for purposes of an IV line?

A You cannot.

Q Why -- why not?




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A Well, let me just clarify that. You can use an artery -- in fact, that -- people do use arteries for an- -- what's called
angiography, where they are -- they are looking at the structure of an artery, and -- and the -- the blood flow through
that artery, so they will inject a contrast through that artery. But for the purposes of giving a drug for, you know, having
a systemic effect, you would not use an artery. In fact, you would want to avoid using an artery.

Q Okay.

A Because these drugs can damage arteries. You know, many drugs can damage arteries.

Q Do any of these veins that you would use, as you described as a central line, do any of them have neighboring arteries?

A Yes, they do. And I guess, for purposes of -- of making a complete statement about the artery, there is one exception
to the -- the -- what I said about arteries. The pulmonary artery, sometimes will have a catheter, it's called, interestingly
enough, a pulmonary artery catheter. And it goes through the heart, into the pulmonary artery. And you can't inject
drugs into that, because that's -- in that sense, it's like a vein.

Q Yeah.

A But it's -- anyway, back to your question: Do these structures, where the -- the central line being placed in a femoral
artery, you know, the --

Q And the jugular?

A -- jugular and stuff like that.

Q Yes.

A Yes. There are arteries very close to the veins.

Q So the important-- based on what you described and why you would use the vein as opposed to an artery -- to be very
careful that you don't insert the IV into the artery, and not into the vein?

A Correct.

Q So what do doctors use in a clinical setting to make sure they don't put it into the artery instead of the vein?

A Well, we already brought up the issue or the technology of an ultrasound machine.

Q Right.

A And that's one way of more accurately diagnosing where your catheter is. The other things that you do, I mean, there
are a variety of different techniques. So for example, I mean, I'm going to go into some detail because I think maybe
that's what you want, but...

Q Well, do you need an ultrasound in order to --

A No.

Q -- access --



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A You don't need an ultrasound to --

Q -- the central venous line to make sure you do not --

A You do not --

Q -- put the IV into the artery?

A You do not need an ultrasound to -- we used to do that all the time, for many years.

Q What is preferred practice today?

A For the placement of the central line in the jugular vein, it's going to be the ultrasound. I'm not so sure that it's preferred
practice or a standard of care for the other veins. It may be in some settings and some institutions, where they say you
should do that, but...

Q If you were to insert an IV into the central line, would your practice be to use an ultrasound?

A I think you want to rephrase that question. You said to put my IV in a central line, you mean in a--

Q Central vein,

A -- central vein.

I would use it for a jugular -- I'm not sure that I would need to use it for the femoral vein or the subclavian. The subclavian
vein is a little bit more difficult for the ultrasound to be useful, I think, but I think people can use it.

But it's really primarily for the jugular vein because the concern there, is that, when you puncture the artery, the carotid
artery, that's the blood flow to the brain, there's risk of stroke and things like that. There's obviously risks involved in
terms of puncturing the other arteries, but not nearly cat- -- potentially catastrophic as with the somehow puncturing
or having a problem with the carotid artery,

Q Are you familiar with a cutdown procedure?

A Yes.

Q What is it?

A So a cutdown procedure is where you actually have to make an incision into the skin to gain access to a -- the structure
that you're trying you -- and usually, it's going to be a vein that you're trying to cannulate. So we use the term percutaneous
-- you got that?

THE REPORTER: (Inaudible response.)

THE WITNESS: Okay.




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Percutaneous means through the skin, basically. And that's essentially where you use a needle to gain access, like a
intravenous line. A cutdown is where you would actually use a scalpel to make an incision in the skin and then you do
a dissection to actually -- to find the vein.

BY MR. FOGEL:

Q What -- when would a doctor use -- or some medical professional, use the cutdown procedure?

A If they had difficulty gaining access to the venous system, but the usual methods of, you know, they can't access it
peripherally, they can't get a central venous line placed. Most cutdowns are usually done on -- I shouldn't say most -- most
cutdowns, in my experience, in the -- in the clinical practice that I was in, most cutdowns were done on the saphenous
vein, which is a vein in the ankle. It's usually patients in the -- who's been in trauma. So they come into the emergency
room and the;' get a cutdown on the saphenous vein, and they -- or they find the saphenous vein and they insert a large
bore of tubing or a catheter into that vein.

Q When -- have you ever used the cutdown procedure on somebody before?

A I have.

Q What position was the individual lying in when you applied the cutdown procedure?

A Supine.

Q Which means?

A Flat.

Q Lying flat?

A Lying flat, yes.

Q And why were they lying flat?

A Because they are -- were trauma patients, and they have injuries, and they were -- they had -- they'd be lying flat -- all
-- all trauma patients -- I shouldn't say all, like I said earlier, never say never, never say always, but vast majority of the
trauma patients are going to be lying flat, so that's why. And that's the best position to be able to get access to the ankle
and to do the -- to do the other things that need to be done in a trauma patient.

Q Would you agree that for somebody where it is difficult to locate a IV site through the skin, that it's more likely that
they need to have a cutdown procedure?

A Yes. More likely, I mean, that wouldn't be the next step, the next step would be the central line. But failing that, and
a cutdown would be needed, I mean, for the most part. I mean, those are sort of the ways in which you could access
the venous circulation.

Q Do you have any understanding of whether the cutdown procedure was used under Missouri's execution protocol?

A Say that again.




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Q Sorry. Do you have any understanding of whether the cutdown procedure is an option under the Missouri execution
protocol?

A I -- I don't know if it's in there or not. I don't remember seeing that.

Q Do you know if it's used at all?

A In --

Q The Missouri -- in Missouri executions?

A I don't know.

Q Or is it an option?

A I don't know.

Q You mentioned the -- was it the saphenous vein?

A Yes.

Q Do I have that right?

A Yes.

Q And it run -- starts in the ankle.

Does it run all the way up, into the groin?

A Yes, It's -- well, it's not called the saphenous vein, once it gets up to that level. But yes, that's the way the pathway
goes up, into the femoral vein.

Q So it's different from the femoral vein?

A Yes. So you could think of the femoral -- so there's several veins -- there are a lot of veins, let's say -- let's take the leg,
there are a lot of veins in the -- in your leg. Some of them have names, because they're commonly -- you know, they have
a common location. The others don't. So they all sort of come together -- not all of them -- but many will come together
-- not all of them, but many of them will come together to form the femoral vein? So...

Q And where do you access the femoral vein?

A In the groin.

Q In the groin.

And you mentioned that as an option if you were to do a central venous line; correct?

A Yes.




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Q If you were to access the femoral vein, would you need to cover it with a sheet, if you were trying to shield someone
-- if there was somebody observing --

A Yes.

Q -- the person who was having the IV inserted, would you recommend them covering it with a sheet because the groin
would be otherwise exposed?

A Kind of depends on the clinical setting. So for example -- so normally, what we could do the -- for the femoral vein,
you would use a -- a central line kit, basically, and most of these -- you know, some of these kits could be used for almost
any central line location, whether it's a saph- -- I mean, a subclavian or a jugular or a femoral.

And you prep the area, you disinfect it, basically, and then you take a -- a large sheet that's sterile, and it has a hole in
it, and that's where you put -- that's where you're going to be doing your work. So it's -- you do cover a large part of the,
you know, the lower-torso part, there, including the genitalia. But the actual area where you're working is going to have
a hole in that sheet, that you're going to -- that's where you're going to be doing your work.

Q Uh-huh.

A I don't know if that's what you were --

Q Well, I suppose it's -- it might be a little bit of an unfair question, because you don't know if the cutdown procedure
is allowed or used under Missouri execution protocol; is that right?

A I don't know that.

Q And you don't know -- and therefore, you wouldn't know how it is employed?

A Yeah. Well, you're talking about central line placement. I thought. A femoral line.

Q Well, I was talking about femoral line, but also the cutdown procedure.

Would you use the cutdown procedure on the femoral line?

A I don't know whether people do that. I've never done that. I've never done a cutdown on a femoral vein because in
my experience, the femoral vein is -- is easily accessed. Well, I shouldn't -- you know, it's -- it's easily accessed. I mean
everybody, for the most part, I mean, I should, again, never say never and never say always, but almost everybody has
a femoral vein. And the anatomic location is very consistent from one person to the next.

Q Uh-huh.

A So you wouldn't need to do a cutdown in somebody for a femoral vein in the groin. I mean, I don't -- I suppose it has
happened somewhere, but I've never seen it and I've never done it.

Q Right.

A For the purposes of gaining access.

Q Have you ever had a conversation with any of the execution medical team on --



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A Never.

Q -- (he access of the femoral vein?

A Nope. I've never spoken to anybody for, you know, execution team, not at all. No contact whatsoever.

Q I think you used the word “challenging” when talking about accessing Rusty's IV line. What -- what are the
consequences, for somebody like Rusty, if the medical team is having challenges accessing an IV line?

A So I will answer that in sort of the setting of what has happened in my clinical experience.

Q Uh-huh.

A You may end up having several attempts, more than several attempts. I've probably seen patients that have had more
than, probably, ten attempts to try to get IV access. And sometimes, depending on how the patient's tolerating, you
might end up saying, “You know what, we're going to go over to try a central line, you know, we're not going to do
-- do this anymore.”

So that's -- that's where, if there was a challenge, you know, I say challenge, if there was a problem, then, after so many
attempts -- and I don't know what that number would be, it's going to vary from individual to individual. But they
would --

Q But for somebody with Rusty's veins, as you've described them, you've acknowledged it could be challenging to access
the IV lines. Is that something that you would -- is it likely to induce stress on somebody like Rusty?

A It would induce stress on almost anybody. Because you're sticking them with sharp needles, yeah.

Q Would it increase the likelihood of heavy breathing?

A It -- yes, it could increase the likelihood of that, because, you know, it's stressful, you're going to be breathing more
rapidly potentially.

Q Could it increase the likelihood that Rusty's hemangiomas would start bleeding?

A I'm not so sure about that. I don't know, I'm not sure that I -- I know that the -- Dr. Zivot and others, and, you know,
the other experts have said -- talked about changes in the blood pressure, I'm not sure that the, you know, increase in
blood pressure would cause -- make it more likely to rupture, I'm not so sure that that's well documented based on the
pathology, essentially, of -- of these types of hemangiomas. I -- I don't think I buy that, that an increase in blood pressure
is more likely to do that.

Q To cause the hemangioma to start bleeding?

A Correct. I don't think it's going to be more likely, yeah.

Q What causes Rusty's hemangiomas to bleed in your opinion?

A Well, the histology in the -- my, you know, or the basic structure of these hemangiomas is that No. 1, for him, they're
superficial. Part of it's superficial, I mean, obviously some of it's gone up, on the inside of his neck, but in -- in -- into



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his -- into his head. But part of it is actually, you can see it in -- in his mouth. And you can see that -- and you can
always see, of course, some of it on his nose and on his face. And that tissue, if you were to -- in terms of Zivot -- Dr.
Zivot uses his friable.

(Whereupon the reporter requested clarification.)

THE WITNESS: Friable.

I don't know if that's the best term to use, but I do agree that that hemangioma, and that, if you were to traumatize it in
some way, that it would be more likely to bleed compared to, if I provided the same type of, quote, “trauma” to you.

And when I use the term, I'm -- for example, I'm thinking about if I had to intubate him, put a tube into him, you know,
let's say the -- the inmate needed to have surgery, then there's -- you would normally put a tube into the windpipe to
breathe for them. And use a -- what I call when I talk to patients, a metal tongue blade basically, it's called a laryngoscope,
and when you insert that into the mouth, even a normal individual, could you, you, or you, or any of us, when we do
that, sometimes you get bleeding. Rusty or Mr. Bucklew's going to have increased risk for that because of his tissue. If
you were -- if you were to manipulate his airway in that way.

BY MR. FOGEL:

Q Through the insertion of the tube?

A Correct.

Q Right. So what -- under what other conditions would cause -- because Mr. -- as you know, and I think you observed
Mr. Bucklew has some periodic experience of bleeding from his hemangiomas.

A Yes.

Q Obviously, without the insertion of a tube. To your understanding, what causes those hemangiomas to bleed in those
circumstances?

A Well, there're probably parts of that hemangioma that are -- again, we have used the term “friable,” that are very, very,
very thin, and just the normal, you know, maybe when he's eating something and just the act of swallowing can irritate
or scrape, basically, the back of -- the back of his throat or the pallet, and cause the bleeding. He reported to me that he
gets -- when he wakes up in the morning, he sometimes has blood on his -- on his sheets. So maybe there's some type of
spontaneous bleeding, I don't know. Maybe -- I don't know what -- why that is happening, but he does report that.

Q Any other understanding of why or how his hemangiomas would start bleeding?

A If his airway -- if he is -- so for example, if he's snoring, on, you know, there's no doubt, of course, that, you know,
the hemangioma involves his airway, he's more -- he's going to be more prone to snoring, having some sort of the tongue
fall back into the back of his throat. Maybe somehow that vibration causes him to have some bleeding potentially. That
could be another cause of it.

Q So we're -- we're -- you're talking about some of your observations from your examination of Rusty; is that right?

A Some of these, yes.




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Q And -- and you did, in fact, Rust- -- examine Rusty --

A Yes, I did.

Q -- in person. And you documented that in your supplemental report; is that right?

A Correct.

Q So let's take a look at that.

And I'm specifically looking at paragraph 3 of your supplemental report.

A Uh-huh.

Q And it continues on -- it starts on page 2 and continues on to page 3, ending with No. 4, limited sites for IV access
in upper extremities?

A Yes.

Q Do you see that?

A Yes.

Q And so does that -- is that the entirety of your observations from your examination of Mr. Bucklew?

A I think so. I mean, I -- doctors never write everything down that they observe. I mean, I'll be honest with you.

Q I -- that's fine. I just want to make sure I'm looking at --

A Right.

Q --at everything that's relevant.

A Yeah. I'll -- but that's -- I put as much down there as I thought. I mean, you know, if -- there may be some other things
that I saw that I didn't put down there, but that's the vast majority of what I observed.

Q Great. Just want to make sure that we're looking at-

A Yeah. Okay.

Q -- all the information.

Why -- why did you examine Mr. Bucklew?

A Well, two -- I guess, two basic reasons: One was credibility; right? I mean, if -- if -- how can I make a medical or make
an assessment of this guy if I haven't examined him, and Dr. Zivot pointed that out. And then No. 2, I do want to have a
sort of independent -- be -- be -- being able to make an independent judgment of what he looks like and what the airway
-- what his hemangioma looks like.




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So I felt that was likewise important, so... that was the -- that was the main reason why I wanted to do that.

Q So like Dr. Zivot, you found that Rusty has a hemangioma on the right side of his face; is that right?

A Correct.

Q And -- and he has multiple hemangiomas, but you specifically focused on the one on the right side of his face; is that
right?

A Well, I think that the hemangiomas, I don't know that they're anatomically completely separate, I don't know that for
sure. I'm sort of thinking to call it -- call it an all -- so there's an -- obviously a hemangioma that the -- hemangioma's
involving his -- the outside of his -- the exterior, external part of his right face, but of course, it's also internal.

Q Uh-huh.

A And so this hemangioma seems to be all in- -- interconnected, so you can call it one hemangioma or several. But...

Q Understood.

But you also agree with Dr. Zivot, that this hemangioma or hemangiomas, plural, affect Rusty's airway?

A Yes.

Q And how does it affect his airway?

A So he had a -- or he has a hemangioma -- the hemangioma involves his pallet --

Q Uh-huh.

A -- his uvula, his -- basically, his cheek, both in the mucosal side or the internal -- oral side, and the external. And it
extends -- seems to extend down, into his tonsil region a little bit.

Q And the pallet, is that -- what does that mean? The roof of the mouth?

A Yeah, the roof of the mouth.

Q Right.

A So we talked about the hard pallet and the soft pallet. So the hard pallet is where it's hard and the soft pallet is further
back where the uvula is, you know, that thing that hangs there, and is attached to the soft pallet.

Q So how -- I mean, now that you've described kind of the presence of the hemangioma, how does that affect his airway?

A Well, it causes him to have some of the symptoms that he describes, he, being Rusty Bucklew, some of the symptoms
that he describes of, you know, sometimes he feels like he can't, you know, he's choking a little bit, or he has the bleeding
problem, he has to -- he says that sometimes he has to sleep on his side or be in a particular position. And then, those
are the primary things that he described to me. And --

Q Go ahead,



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A No. No.

Q Do you have any more?

A No. No.

Q Do you know what a Mallampati is?

A Yes.

Q What is a Mallampati?

A It's a scoring system that's used in our specialty to describe a airway for the purposes of how easy it will be to intubate
somebody, to manage their airway. And Mallampati is actually the name of the person who described it. It's usually,
going to be a score of one to four. One, being an airway that's primarily going to be high- -- higher likelihood that it's
going to be an easy airway, and a four, being a higher likelihood that it's going to be a difficult airway. But it's not
absolute. For example, you can have somebody --

THE REPORTER: Can you slow down a bit.

THE WITNESS: -- with a Mallampati score of 1, who has a difficult airway. And then you can somebody who has a 4,
that has an easier airway. But in general, it's going to be easier for a I and a -- a more difficult airway for a 4.

BY MR. FOGEL:

Q Does Rusty have a Mallampati 4?

A Yes.

Q And so that means that Rusty has the most difficult airway to manage?

A Higher risk for that.

Q Higher risk.

A Yeah. Higher risk is probably the way that I would say that.

Q Have you ever anesthestized somebody with a Mallampati 4 airway?

A I have.

Q How many times?

A A lot. I, you know, it's not uncommon in the population, especially, with people that are obese. Obesity increases your
risk for -- because you get a lot of redunentation in the back of the -- you know, the mouth and you get, you know, a
thick neck and that kind of thing, so...

Q When you, quote, “manage the airway,” what are you doing as a doctor?



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A So, in -- in our specialty, you -- you have to obviously breathe for the patient. You give these drugs that stop breathing,
and you have to breathe for the patient. And most of the time, you're going to do that using some type of air -- airway
device. So might -- might be a mask, you know, we put a mask on you, and when -- when you're anesthetized, we can
hold that mask on your face and we have a infuser machine with a circuit and with a bag, and we can actually manually
inflate your lungs through that mechanism.

Q So the purpose of that is -- I'm sorry.

A If I could continue...

Q Yeah, go ahead.

A So sometimes, we put in another airway device, several airway -- there's an oral airway device that we use to help lift
the tongue up, off the back of the throat and back of the mouth. We use something called an L-M-A to put in the back
of the throat and then we use an endotracheal tube to go back into the back of the mouth and back, into the windpipe.

So we use all these different tools to be able to breathe for the patient, and that's called managing the airway, basically,
and we use those types of techniques to make sure that we can breathe -- breathe for the patient.

Q Because they, otherwise, would not be breathing or would have difficulty breathing?

A Correct.

Q And somebody who has a Mallampati 4, is at the highest risk of having difficulty breathing?

A During that induction process of anesthetic, where you're starting to take over their breathing, yes. In a clinical setting,
where the patient's going to be, hopefully, alive at the end of the procedure.

Q Do you consider Rusty's airway irrelevant in the context of your opinions in this matter?

A Yes, I do. I think that it's not -- I mean, I -- irrelevant, I mean, I do -- I do understand the concept that is being proposed
here around bleeding in the airway. I don't think that's important in a sense that -- could -- could he, the inmate, bleed
before, you know, during the process when he is getting the IV placed and all that? Well, he's already bleeding now. We
know that. So could he bleed at that point? Yes. Is it going to be more than what he bleeds now? I -- I have no idea.

But, actually bleeding during -- after the injection of the drug, and, you know, these choking, you know, again, choking
sensations, he'll be unconscious, so his airway's irrelevant in that sense. Because we're not interested in -- I'm sorry -- the
State of Missouri is not interested in -- if I may use that term, I'm sort of putting maybe words in their mouth -- but
they're not interested in -- in this airway issue because the intended outcome is death; it's not to keep someone alive. So
airway management is really not that important at all. That's sort of my perspective on that.

Q So you -- airway management is, I understand you would say that State of Missouri doesn't think it's relevant because
he's going to die, but is airway management not relevant only after he's rendered unconsciousness? Is that your opinion?

A Repeat the question.

(Whereupon the record was read.)




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THE WITNESS: I'm hesitating here, I'm thinking why -- why would it be relevant before he is unconscious? I -- I -- I have
thought about scenarios. Would -- would there be something that would stop -- stop the execution? Well, I suppose. I
mean, not to -- not to put too silly of a point out there, but I'm reminded of what happened last night at the Oscars, where
the wrong envelope was presented to Warren Beatty? You know, what if the governor said, “Go ahead and -- and in this
execution. And oops, I made a mistake and I meant stop,” and they've already started, I mean, I'm not -- I suppose you
could think of scenarios like that, where you -- or the, you know, Missouri has to, now, resuscitate an inmate, you know,
of course, in that -- in that particular case, Rusty Bucklew, with his airway and all that, is going to be more of an issue.

But beyond that, I'm grasping at, you know, reasons why the airway would be an issue beforehand. I mean, it just -- I --
I -- my opinion about what -- what the case is being made, here, about Dr. Zivot is, that he -- and -- and others, perhaps,
are applying clinical or they're taking a clinical perspective on this execution when I don't think that applies.

BY MR. FOGEL:

Q Aren't you drawing upon your clinical knowledge and expertise in order to render an opinion here?

A Well, I'm not -- I --I -- I'm not -- maybe I didn't make that clear.

He is -- he is basically saying -- if I understand what he's written, he's basically saying, you know, this inmate has a --
an abnormal airway, and therefore, he's at higher risk for problems during this execution. Well, I agree with him, that
Bucklew has an abnormal airway, but it doesn't affect the intended outcome. It doesn't impact the intended outcome.

If I were anesthetizing Bucklew for a clinical procedure, absolutely, I'd be concerned at his airway, both, before and after
he was unconscious. But not for the lethal injection, so...

Q Let me make sure I'm following here: Because it doesn't affect the intended outcome, meaning, that he dies?

A Correct.

Q Correct. Do you not understand -- do you understand that Dr. Zivot was not addressing whether or not he would die,
but whether he would die in violation of the 8th Amendment, meaning intolerably suffering during during a procedure?

A Well, that's, I think, what he was -- he was certainly trying to get at in some of his -- in his reports. But I think my
interpretation of he was saying in some of his reports, might -- again, my interpretation is that he's misapplying -- he's
sort of conflating, you know, the clinical picture of someone who's going to be, you know, the intention is that they be
alive at the end of the procedure with what occurs in an execution. So...

Q Sure. But maybe we just need go back to the questions that we were talking about earlier, at the beginning of the
deposition.,

Do you think Rusty would suffer any pain and suffering as a result of his blocked airway during the course of the
execution?

A The answer to that is, I don't think he will suffer or have any pain. Aside from, again, starting the IV, and, you know,
could he have a massive bleeding prior to that? I suppose that's possible.

Q So you don't know if Rusty might -- his hemangiomas might start bleeding during the procedure?




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A They probably -- my guess is that they -- you know, I don't know, we don't know. You won't know that until, you
know, if- if this -- this if the execution occurs, but...

Q Could Rusty choke on his blood?

A Well, he would -- so he could have bleeding after he's unconscious or before he's unconscious, and he could aspirate
that blood. You know, I mean, that's entirely possible because that, you know, his -- his hemangioma, we don't know
what the -- the course of that will be exactly. But, you know, that is a possibility, but that -- but it may never happen
either. I mean, it's possible that it would never happen. While he was awake, he would have a massive bleeding that
would cause him to choke on his blood, so...

Q Do you think Rusty's at an increased risk of bleeding from his hemangiomas as a result of execution procedure?

A I'm trying to think of a scenario whereby the -- he -- he would be at increased risk.

So could an increase in blood pressure cause that? In my opinion, unless it was a massive increase in his blood pressure,
I don't think that it would, you know, affect it. I mean, his blood pressure was 144 over 100 when I examined him and
I think it was very similar to, if not identical, to when Dr. Zivot examined him. You know I -- is it a increased risk, I --
I think that was your question, yes, it is increased, but I think a small relative increase in his risk during the execution
protocol. Because, you know, he's going to be stressed, like anybody would be, if you're, you know, you have impending
death. But I think that risk is -- is pretty small.

Q Do you think it's relevant whether Rusty suffers any pain and suffering, notwithstanding the fact that he was going
to die at the conclusion -- that he would die at the conclusion of the execution process?

A Do I think it's --

Could you repeat that question, please.

(Whereupon the record was read.)

MR. SPILLANE: I'm going to object to the form of the question. Because the doctor probably needs to know relevant
to what.

BY MR. FOGEL:

Q Well, it's a very -- I mean, we can start with that baseline question: Do you think it's relevant whether he suffers any
pain and suffering?

A I think it is, from a -- and I'm going to get off into a legal/constitutional area that maybe I don't have the expertise to,
but I -- any method of execution, for the most part, is going to involve some type of pain and suffering. So, you know,
is it -- is it relevant? I think it's only relevant if-- if you think that it's going to -- it's going to be more than what would
be legally permissible, I guess.

So I don't want to say it's not relevant at all. But in -- you know, in this particular case -- and that's, of course, why we're
here -- I don't see the -- the type of suffering, as you say, that we're talking about here, I don't see that as being any more
or any less than what, you know, the suffering that he already has. I mean, he already has symptoms; right? He already
talks about, he -- he -- he has these gasping, choking, bleeding episodes. So -- and none of us can do anything about that.




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I don't see that that's going to be -- marked the increase as a result of this execution process. So I'm not sure that answers
your question, but -- so I don't want to say it's in- -- you know, the suffering is irrelevant, but it's just -- you know, I -- I --

Q Well, you -- you used the term “legally permissible,” do you have an understanding, an independent understanding
of what is a legally permissible amount of pain and suffering?

A I mean, I have sort of a-- I guess, a layperson's understanding of it.

Q Right And did you apply that in the context of your opinion here? Did you render an opinion on what would be a
legally permissible amount of pain and suffering?

A No, I don't think so. I don't think I did that, I mean, I just looked at the amount of pain and suffering that I think
that somebody would have in general with -- with -- with this protocol. Which, again, I mentioned, you know, you're
starting an intravenous line, so that is painful or can be painful.

Within the setting of this particular individual, I just don't think that there is a -- would be a marked increase in his
pain and suffering, you know, preceding the injection of the drug. But does that -- I -- I don't know what the -- again, I
have sort of a vague understanding of what would be sort of permissible, but 1 don't know -- I mean, it is a -- I guess a
judgment call, in regards to, you know, what's permissible and what's not. But I didn't apply that in this particular case,
I just sort of looked at the, you know, facts of the case, you know, my medical and scientific background, determine how
the drug's going to work, and would the drug work in -- in the -- its intended way.

Q So let's focus more specifically on the actual opinion that you rendered.

A Okay.

Q And if you go to paragraph 26 of your November 2016 report, so this will be Exhibit 1.

A Uh-huh. Okay.

Q And the paragraph starts, (reading):

“It is my opinion, to a reasonable degree of medical and scientific certainty” And then you list --

A Yes.

Q -- five different --

And first, as a threshold matter, are all the opinions that you're rendering captured here, in paragraph 26?

A I wouldn't say all of them. I'm sure I have other opinions in this -- in my other report.

Q In your supplemental report?

A Yeah. But I probably -- I probably have opinions that are in here that I didn't put in my conclusion, I think these
are the main ones that I put in there.

Q Okay. And No. 3 is, (reading continued):




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“Injection of massive doses of barbiturates in this inmate would not inflict mild, moderate, or severe pain.” Did I read
that right?

A Yes, I read that.

Q And let me ask you, what are the basis of this conclusion?

A For No. 3?

Q Uh-huh.

A Well, the injection process of actually injecting the drug, if done the way it should be done, which is with a well-
functioning IV, that is not a painful process, to actually inject the drug into a well-functioning IV.

Q So you're assuming that there's a well-functioning IV?

A That's correct.

Q Does the fact that Rusty has a challenging or it could be challenging to access Rusty's IVs, render it more or less likely
that the IV would be well-functioning?

MR. SPILLANE: I'm going to object to the form of the question. I think he said it would be challenging to access his
IVs, I think he means challenging to access his veins.

MR. FOGEL: Thank you for correcting me.

BY MR. FOGEL:

Q With that clarification, please go ahead.

A Repeat the question now that we've -- or maybe you just want to repeat it then.

Q Sure. Because based on your prior -- on your observations of Rusty, you concluded that it would be challenging to
access his veins, does it make it more or less likely that you would have a well-functioning IV line?

A It would be less likely that you would have success of get having a well-functioning IV line.

Q Does that at all affect your opinion at No. 3?

A No.

Q Why not?

A Because my understanding of the protocol is, that the drugs would not be injected unless there was a well-functioning
IV, either a peripheral or a central line. So maybe some clarification would -- was -- should have been added to that, but
my assumption there, based on what I read in the protocol, is that you have a well-functioning IV. And having a well-
functioning IV, either a peripheral one or a central one, the actual injection of the -- of the drug would not inflict mild,
moderate, or severe pain has I had written there.




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Q Right. You're assuming, though, that there is a well-functioning IV line?

A I am assuming that, yup.

Q Now, at No. 5, you also say, (reading):

“Any pain and suffering that he risks during an execution using Pentobarbital is not a greater quality or magnitude than
a risk of pain and suffering that he currently experiences and the risk would end up a rapid unconsciousness from the
injection of Pentobarbital.”

A Yes.

Q What were the bases for that opinion?

A Well, he is suffering or, you know, he's having these symptoms as it is. He's having episodes of bleeding, he -- he has
episodes where he can't -- he -- he has -- I can't remember the exact term that he uses, but airway closure and he gasps,
things like that. Choking sensations. And that, you know, those are going to -- those will continue, you know, up to his
death, probably. Whether it's by natural causes or by execution, I mean, this is a -- that's nature of the hemangioma,
I mean, his symptoms are not going to get any better. So he carries that risk all the way up to his death, whether it's
natural or by execution.

And basically, the only way that he will -- that suffering and pain and, you know, symptoms that he has will stop, will be
when he, you know, during times when he's asleep; right? He's not going to experience those because, by -- by definition
he's asleep. Or when he's -- achieves or when he's given the Pentobarbital or, you know, if he was -- had to have surgery
for something else and he was given, you know, those -- those episodes, where he'd be unconscious, where he wouldn't
have those symptoms. That's essentially what I'm writing there -- or what I've written there.

Q Okay. Any other basis you relied upon in order to form that opinion?

A Not that I can recall.

Q And here, at paragraph 26, you also mentioned that you rendered some other opinions that would be set forth in
your supplemental report?

A Uh-huh.

Q Is that right?

Can you direct me to where I can find those opinions in your supplemental report?

A Well, opinions about what? Just all -- any of my opinions?

Q What -- what are the opinions? You said you had rendered some additional opinions in your supplemental report.

A Well, I think all of the paragraph that I've wrote in any supplemental report are opinions. I guess, I'm not sure what,
specifically, you're --

Q Are there any conclusions --




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A Oh.

Q -- similar to how you phrased it --

A Oh, I see.

Q -- in your opening report?

A Well, as we've discussed, I gave my opinion and assessment of his -- my physical examination, my -- my history and
physical examination, which are shown on pages and 3.

Q Uh-huh.

A My opinion assessment of his airway -- or my assessment of his airway doesn't alter my opinion regarding the actions
of the -- of the Pentobarbital, which is that you've got rapid unconsciousness and respiratory rest.

I gave an opinion about my -- what I wrote regarding the Pentobarbital action in the prior supplement, and then I clarified
-- or in the prior opinion, and I clarified that in terms of action, adding the timeframe, along with the physiological
responses to the Pentobarbital. And then even if there was bleeding in his airway after the Pentobarbital, that the -- the
inmate would be unconscious and deeply unconscious, and unable to sense that bleeding.

And then I go on to talk about the --

Q So you're essentially just flipping through your report right now?

A I am. THE REPORTER: Hang on. One at a time.

BY MR. FOGEL:

Q So you're flipping through your report?

A Yes.

Q All I was asking was, for you to identify if there's another section in your supplemental report --

A I see.

Q -- that sets forth your conclusions similar to what you have done in your opening report.

A All right, I -- I -- I'm sorry, I just don't know how to answer your question. I mean, I'd have to go word through word --

Q No. No, that's fine.

A Yeah.

Q You said you had rendered some additional opinions here --

A Oh, I'm sorry.




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Q -- in your supplemental report, so I was just asking you to point out what you had meant or what you were referring to.

A Oh, I see.

Q And what you were saying.

A Yeah. I -- I talk about, for example, I clarified some issues around the action of the drug, how quickly I think it would
work. You know, the physiological effects, why death occurs from the Pentobarbital. I -- obviously, I refute some of
the things that Dr. Zivot states, so --

Q Sure.

A -- I'm not sure I actually --

Q Okay. Sure.

A I'm not sure I actually changed my conclusion --

Q I think we're on the same page.

A Yeah.

Q Okay. I think we're on the same page.

And I think that's probably a good point to -- you want to break for lunch at this point?

MR. SPILLANE: Okay.

THE WITNESS: Sure.

(At 11:55 p.m., the deposition adjourned for lunch.)

(At 12:34 p.m., the deposition of Joseph F. Antognini was reconvened.)

BY MR. FOGEL:

Q Dr. Antognini, right before our break, we were talking about the opinions you've offered in this case.

A Uh-huh.

Q Aside from the opinions that are set forth in your two reports, do you intend to offer an opinion on anything else?

A I guess, if I was asked. I'm intending to write another report. If I mean, do you mean in the context of offering
something right now, more opinions? Or in...

Q At -- at any point, between when you last submitted your supplemental report --

A Uh-huh.




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Q -- going forward to this moment, do you intend to offer any other opinions?

A There are some details that I think probably are worth explaining, relative to some of the drug-level issues that I
talked about and I think are worthwhile understanding, that I don't think have been completely fully elucidated -- or
not elucidated, but fully described.

Q Right.

A So yes, I guess there are opinions and things that I want to say that I haven't said yet.

Q During the course of today's deposition?

A During the course of today's deposition.

Q But you're -- you do not in!end to issue another formal opinion, be it, in a report?

A I don't have that intention --

Q Yeah.

A -- but sometimes, I don't know what I'm going to be asked to do.

Q That's fine. Just asking about your present intention.

A Yeah. Okay.

Q Are you offering any opinions on the feasibility of lethal gas as an alternative method of execution?

A Do 1? Or have I? Or sorry, what was the question?

Q Have you or are you --

A Or have I.

Q -- offering any opinions on the feasibility of gas as an alternative of lethal injection?

A On my initial report, first one that is on -- the one dated November 8th, I did offer an opinion, that's summary 23 of
that report where I -- so obviously, we're, not sure, aware of the some of the ethical issues around recommending one
method of execution over another, I guess that's an ethical issue for -- for me, not so much for anyone else. But I did
talk about the use of lethal gas and basically, I don't offer an opinion about one being better than the other, because
I just think that -- that my understanding of the use of a lethal gas, and obviously, there are many kinds of gases that
can be lethal, that that would not affect the risk of an innate, in particular, this inmate, suffering one way or the other,
you know, suffering more.

Q Right. Are you aware that the state has taken the position that lethal gas is not that viable alternative to lethal injection?

A I am aware that -- again, I'm sorry, I'm going to have to get into some legal terms that I've -- I've heard and I think I
have an understanding of them, but basically, that it has to be readily available -- a readily available alternative, so what
-- whether you say that it's -- I'm sorry, I'm -- I'm going off on a tangent.



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Q I don't -- I don't intend to make this complicated.

I -- are you offering any opinions on the viability of lethal gas as an alternative method of execution? I understand you've
rendered opinions in terms of whether it would be more or less painful in relation to lethal injection.

My question is, are you offering any opinions in terms of its viability --

A Oh, I see.

Q -- as an option?

A No, I'm not -- I have no knowledge, really, about whether lethal gas is readily available or viable in this area or --
or not, I have no idea what --

Q That's what I thought.

A Okay. Yeah.

Q Just wanted to be clear.

A Sorry, yeah.

Q No, that's fine. Are you offering any legal opinions as to whether execution, in the manner as described, by lethal
injection, would constitute a violation of Mr. Bucklew's 8th Amendment rights?

A Well, I don't really -- I can't -- I'm not in a position to offer a legal opinion, but I -- I will say that I was -- I did
review some court cases, like Glossip, and they talk about -- and then Baez, they talk about the issue around; you know,
substantial risk, so -- I mean, I do have that understanding, but I don't think I'm really offering an opinion, one way
or the other, on that.

Q Okay. Are you aware of any errors in your reports?

A Any errors?

Q Either, in the original or the supplement?

A Am I aware of any errors in my report?

Q If you're not aware of any--

A I'm not.

Q -- right now, I'm not asking you to look.

A Yeah.

Q Just, is there anything that you want to correct?




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A Maybe I should have thought about that question being asked, I wasn't -- there are probably things that I would have
said differently, I guess, to make it clear, but I don't think I have any errors, so to speak, in this report that I'm --

Q Just--just giving you an opportunity--

A Yeah.

Q -- if there was something that you already identified that you wanted to correct.

A Okay. Well, I appreciate that.

Q And if the answer's “no,” it's no.

Have you been asked by counsel to undertake any additional or supplemental analyses since you've drafted these reports?

A No, I did not. I was not asked of that, but I did -- I did do it, I mean, on my own. I -- for example, I found that article
that I, again, will provide to you, but I wasn't asked by Mr. Spillane or anyone else to --

Q Have you done any other -- besides identifying that article, any other supplemental work or additional work beyond
your supplemental report?

A Let's see, so I looked at that -- let's see, I -- I did review -- I did look at some news articles on some, you know, art or
executions that occurred in Missouri, and some of which were actually written by some of the witnesses, and that's not
mentioned in my report. So that -- now that I think about that, I did look at that.

Q Uh-huh.

A So let's see, other analyses that I -- no, I don't think so. I mean, there -- my -- my approach I'll be, you know, of course,
I'm going to -- I'm going to be upfront about any approach, I mean, there are certainly articles-- for example, articles
that -- scientific articles, that I've looked at in my search for some information on this, that I didn't include in my report.

Q Uh-huh.

A And I don't think those articles influenced my -- my opinion, because they weren't -- they turned out not to be something
that I could use or I thought was relevant to what -- to what I was looking at. So I looked at those.

Q Right.

A I mean, I don't have a list of those because I never used them, you know.

Q That's fine.

A Okay.

Q That's fine.

Did you have to make any assumptions in forming your opinions in this case?

A Yes.



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Q We've talked a little bit about some of them already.

A Such as the speed of injection.

Q The speed of injection.

And what did you assume the speed of injection to be?

A My assessment -- or my assumption is probably going to be around I ML per second, that's my -- that's my assumption.

Q And that was based on --

A Just how quickly I inject drugs -- or would inject drugs in a -- in a human. In fact, quite frankly, I probably inject --
if I were to -- I inject drugs more quickly than that.

Q Okay.

A I mean, quite frankly, I do inject drugs more quickly than that, but that was sort of on the slow side, I just made an
assumption that it be on the slow side,

Q We also talked about having a -- I think you called it a functional IV line?

A Yes.

Q A well-functioning IV line?

A That's --

Q You made an assumption that would be true?

A Yes, that's true. I -- I assume that an IV has to be functioning, well-functioning.

Q Any other assumptions?

A Well, on -- we assume that the individuals that do this are trained --

Q Uh-huh.

A -- and that they've, you know, they've done this before. Or -- or obviously, may be the first time for somebody, it's got
to be the first time for somebody, at some point in their life. But in general, these individuals are going to be trained in
the various techniques that need to be used, so make that -- I had to make that assumption.

Q For example, when we saw on the open protocol that it referenced --

A Yes.

Q -- you know, provided there are, you know, sufficient expertise or trained individuals.




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A Yes. That's what I'm referring to.

Q Okay. Anything else -- well, let me --

A Well, and the drug has to be effective; right? It has to be Pentobarbital. I mean, you assume it's going to be
Pentobarbital, so you have to -- I mean, those types of assumptions, you have to make.

Q Uh-huh.

A I mean, there might -- I'm probably sure there are others, I just, off the top of my head, those are the ones that come
to mind.

Q Have you met the execution medical team?

A No.

Q Are you familiar with --

A I mean, I don't know -- I mean, I have not. I mean, to my knowledge. I mean, right? I was in Missouri --

Q Yeah.

A -- for -- for one reason or another, a couple times recently. Once, to examine the -- the -- the inmate, and then to --
for other business. I could have met them, but I wouldn't have known it.

Q Are you familiar with their training?

A I understand that one of them is an anesthesiologist, and I believe there's a nurse involved, and there might be a --
maybe a paramedic or something, I'm not sure. I'm not sure about the exact competition of the execution team. Except,
I think one's an anesthesiologist, and one's a nurse -- and I'm not even sure they're actually involved in the -- I mean, I
guess you have a question, what does “involved” mean? But I think they are a part of the team.

Q And you assume they had sufficient medical training and experience?

A Yes.

Q As we've discussed?

A Yes.

Q Okay. Are you also assuming that the execution team, including the medical staff as you described, would be familiar
with Mr. Bucklew's medical condition being cavernous hemangioma?

A Yes. I -- I -- I assumed that. And my understanding, I believe Missouri does a pre-check of the inmate beforehand, so
they -- they review the -- the clinical history. I -- I think. I may be wrong about that, I don't -- that's my recollection. So
they certainly would know about it, but that's my assumption as well.

Q When you say “they,” you're referring to the execution team? Or the medical members of the execution team?




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A I don't know who is reviewing what. But my understanding is, that there was a review of that process.

Q Right,

A But-

Q But you don't know what information is actually provided --

A No.

Q -- to the medical team?

A I do not know that, no.

Q So you're assuming that they're given a sufficient level of knowledge needed?

A Yes.

Q Let me ask you: In your personal experience, what information do you deem important regarding a patient before
you administer an anesthetic?

A So we do a thorough history and physical, and we look at -- I mean, it's focussed in the sense that we do look at
particular organ systems, and -- and -- and review of -- of -- of systems. So for example, I'd be interested in knowing
their exercise tolerance, what medications they're on, I'd be interested in knowing what their prior experience with an
anesthetic is,

During the -- the physical examination, I'd be looking at their vital signs, their weight, I'd be looking at their airway,
listening to their heart and lungs. So those are the things that I would be focusing on, I mean, that's not everything, but
that would be a lot of what I would be focusing on.

Q You, personally as the --

A As-

Q -- as the individual administering the anesthetic; correct?

A Correct.

Q And why would it be important for you to become familiar or knowledgeable with that information?

A Well, it impacts what type of anesthetic we use, what the risk would be to the patient. You know, managing the airway,
it's just good practice to -- to -- to do that, because I -- you know, another example -- or another thing we look for is, a
drug allergy; right? You might be allergic to some of the drugs that I want to use, so I have to get that information as well.

Q Are you assuming that all the information that you just described would be available to the medical execution team?

A Yes. I -- based on my understanding, I assume they -- they would -- they would have that information. Or somebody
on the team would have that information.




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Q Somebody present for the --

A Present, yeah,

Q -- execution?

A That's why, in my assumption. I'm not sure that it makes a big difference, though, but that's my assumption in terms
of how the execution is carried out.

Q Do you know what a gurney is?

A Yes.

Q What is a gurney?

A It is a -- basically, a -- a bed with wheels -- a small bed with wheels, with a mattress on it, that a -- a patient would lay
on. If they're waiting to have a procedure done, they're waiting in the preop area before surgery, things like that, yeah.
And it has wheels on it so you can wheel them around.

Q What is your understanding of the use of a gurney in the context of Missouri's execution protocol?

A I don't know what they use, if they have a gurney, if they have an OR table. I've -- I've seen a picture of it from the
internet, I think. I don't know whether -- I don't think it's a gurney, but I'm not -- I'm not sure. I thought it might be an
OR table, but I'm not positive, or a procedural table, I don't really know, I don't recall.

Q Whatever device or sorry, not device --

A Yeah.

Q -- whatever structure, whether it be an OR table or a gurney --

A Yeah.

Q -- that an inmate would be lying on during the course of the execution, did you make any assumptions regarding
whether that gurney or OR table is adjustable?

A I did assume that it could be adjusted so that someone could use it in the sitting position or semi-recumbent, semisitting
position. Again, based on my understanding of and experience with gurneys, I mean, almost all gurneys are going to
have the ability to sit somebody up, and all OR tables, likewise, have that. So I did assume that would be the case in
-- in -- in Missouri.

Q You -- you don't know for sure?

A But I don't know for sure.

Q You don't know for sure; right?

A I don't know for sure.




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Q If you found out the gurney was not adjustable, would that affect the opinions that you've rendered in this case?

A No, I don't think so. You wouldn't have to have an adjustable table. I mean, if you needed to sit somebody up, you
could do it in other ways besides having a gurney that didn't sit up. You could use a lot of pillows or you -- you could
use other devices like that.

For that matter, you could use a chair, quite frankly. I didn't see any reason why a chair wouldn't, you know... if you
wanted to anesthetize somebody, you could do it in -- in a chair. I mean, we wouldn't do that clinically. Again, I'm not
sort of rendering an opinion about what Missouri should do, but, you know, certainly, in the clinical setting, you could
anesthetize people in a sitting position.

Q Is somebody in a clinical setting, when they're anesthetized in a sitting position, are they strapped into the chair?

A Well, we wouldn't use -- I -- I said chair, and you could do that, but you never would do that clinically. Except, I
guess, in -- if it's in a dentist chair. I mean, that's not really a chair like I'm sitting in right now, but you could anesthetize
somebody in a chair like that. And I apologize, I'm not sure I -- what was the question?

Q Do you have an understanding -- let me ask a different question: Do you have an understanding of whether the inmate
is to be strapped down during the course of the execution?

A I believe -- or I assume that they are strapped down, because I've seen straps on these things, on these gurneys or tables
or whatever they are, based on the pictures I've seen, and there are straps. So my guess is, that they are strapped down
for the, I guess, obvious reason that, they would pull the IV out if they, I mean, almost anybody would that if they knew
they were going to get a lethal injection.

Q If it was determined or if you determined that the individual was required to be in a supine position, so a flat position,
would that affect your opinion that you rendered in this matter?

A If-- if the -- Bucklew was required to be in the supine position, and he does state he has worsening symptoms -- his
symptoms are worse when he's lying supine, you know, than when he's awake, then if -- and he says that his symptoms
are worse when he's awake, when he's lying supine, then, yeah, laying supine would be potentially a problem for him.

Now, having said that, he was able to tolerate an MRI, he was supine for more than an hour, he said. So he is able to
-- to lie supine.

Q Who said that he was able to tolerate lying in a supine position for the MRI?

A He did, when I examined him. I didn't say that in my report I don't think, but there it is, he did say that. I'm not sure
if I said that or not. I think it's somewhere in --

Q So we talked earlier and now we're looking, to state for the record, we're looking at Exhibit 2, your supplemental
report. And this contains your summary of your examination of Mr. Bucklew, can you point to me where --

A Yes.

Q -- in your summary he told you --

A So-




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Q I that he was lying --

A -- in paragraph 7, it says -- I -- I quote Dr. Zivot in his publication, and I write, (reading):

“Bucklew can, in fact, lie flat, according to the inmate, he did so for about one hour while undergoing his recent imaging
studies. While he stated he was not comfortable, he was nonetheless able to be flat,”

Q So when you say “the inmate,” are you referring to Mr. Bucklew there?

A Yes.

Q Well, of course, when Mr. Bucklew was undergoing the MRI, he was conscious; correct?

A Yes.

Q Is that -- did you take that into consideration when considering whether Mr. Bucklew could make certain
accommodations to handle lying in a flat position?

A Yes. I mean, obviously, if he needs to adjust -- and he said that, he needs -- he needs to be able to adjust his breathing
pattern, when -- I -- that's my -- kind of my term that I use, I'm not sure exact words that he used, but to adjust his
breathing pattern essentially to be able to tolerate that.

Q Adjust his breathing pattern, how so?

A Well, if-- if he felt as though he was -- maybe his uvula, which, of course, is involved with a hemangioma, was getting
stuck in the back of his throat, he might be able to position that in some way that he would be able to minimize that.
However, with the MRI that was performed on the -- the imaging studies that he -- that are performed, obviously, of his
head, his head has to be pretty motionless, you know, he has to keep still, so it didn't require much -- I mean, he couldn't
be moving a lot to be able to do that, because you wouldn't be able to get a good image study.

So I just don't see -- I mean, again, if he said, “I was able to -- to lie flat, and it wasn't comfortable, but I was able to do
it,” then I have to imagine, if-- if this -- if he was suffering -- had incredible amount of suffering from lying flat, he would
not be able to -- to do it. And they would not have been able to do the MRI study or the other imaging studies as well.

Q You did not, personally, observe Rusty lie flat during the -- during the MRI; is that right?

A No, I did not.

Q Do you have any other basis for your conclusion aside from what Rusty -- you said Rusty told you during the
examination?

A Yeah. I -- I thought Dr. Zivot said the same thing, but I'd have to refer to his report to see maybe I mis- -- maybe I
don't know that. You know, but I thought he said essentially the same thing.

If we have Dr. Zivot's report somewhere, I could --

Q We do.

A -- look at that.



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MR. FOGEL: We're at 6.

(Whereupon Exhibit 6 was marked for identification by the court reporter and is attached hereto.)

THE WITNESS: And this would be his supplemental report.

BY MR. FOGEL:

Q Is that right?

A Right. I could be wrong about that, but I thought I might have seen --

Q That's why we gave you the report.

A Yeah. Too bad we didn't have this as a -- I know we have it as a PDF, you could search for the word, it would be a
lot faster. Okay, So -- all right. Let me go back this way.

Q And doctor?

A Yes.

Q Is your recollection or what you might be looking for, that Dr. Zivot said that he -- Rusty lied flat during the MRI,
is that what you're saying?

A That he lied --

Q And-

A That -- that -- my -- my recollection was that he made a statement, similar to mine, which is that, yeah, he was able
to lie flat, but he wasn't comfortable. He probably didn't use those words, but my recollection may be wrong, maybe he
didn't say that at all. I mean, he just -- I'm trying to find the spot where he talks about the -- the MRI was -- showed
that the mass was smaller.

Okay. He reported, (reading):

“Experiencing extreme discomfort during the procedure. In order to maintain the integrity of his airway while lying flat,
Mr. Bucklew was forced to consciously alter his breathing pattern and swallow repeatedly to keep his uvula from settling
and completely obstructing his airway in order to avoid checking.”

Bucklew did not report to me or say extreme discomfort. So --

Q That last sentence you just said, are you reading from Dr. Zivot's report? Or are you just --

A From -- sorry. So I read from No. 7, on page 8. Where -- where Dr. Zivot asked Bucklew to describe his experience
during the MRI procedure. So --




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Q Do you think Mr. Bucklew would be capable of doing, as he told-- excuse me, Dr. Zivot during the execution process?
Meaning, consciously alter his breathing pattern and swallow repeatedly to keep his uvula from settling and completely
obstructing his airway in order to avoid choking?

A He would be able to do that when he's awake. But once he's received Pentobarbital and he's unconscious, he's -- he's
not capable of doing anything. But it wouldn't be necessary for him to be able to clear his airway because he's not going
to sense any type of blockage.

Q Sure.

A Yeah.

Q And I understand that's another part of your opinion, which we'll get to later, but --

A Right.

Q -- just, there is a distinction, do you agree, between when Mr. Bucklew is conscious during an MRI procedure versus
the execution protocol -- under the execution protocol, when he's administered Pentobarbital? In terms of his ability to
manage his airway.

A There is a difference in a sense that, obviously, an individual who's about ready to die is probably going to be stressed.
But I don't know what other difference there would be, I mean, I don't know how to address that issue about him having
an MRI or having, you know, lying flat for -- for an execution in terms of, you know, the difference between his ability
to maintain his airway.

Q Well, you were drawing a comparison. Because we were talking about whether the gumey --

A Right.

Q Assuming it's a gurney. Whether he's lying flat and what that might mean in terms of his ability to manage his airway,
and what pain and suffering he might suffer or endure. And you said, drawing upon your examination, that because he
was lying on an MRI table for an hour, you thought it would not be an issue?

A That is correct. That he -- so --

Q And -- and -- sorry.

A So the question that I'm thinking in my mind or to answer your -- your question about this is that, can Bucklew lie
flat for an extended period of time? And in this case, we'll make it an hour, because that's apparently how long he had
to lie flat for these exams. And, yes, he could do that. Was it comfortable for him? No, it wasn't.

He described it not being comfortable, but he was able to do it. So could he do that on an execution table, would he do
it on an execution table? I don't know. I mean, my guess is that -- my opinion is that he could do it if he wanted to. On
the execution table, he could maintain his airways, just like he did in the MRI scanner.

Now, the question is, would he want to? I don't know. I mean, his alternative is that he's going to choke while he's awake,
but that's something he's going to be doing on his own. But clearly, he's able to -- to maintain his airway lying flat,
because he did so on the MRI exam.




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Q Under extreme discomfort, do you dispute that he experienced it under extreme discomfort?

A I dispute the term “extreme,” that's not the way he described it to me. He, being Bucklew.

Q Do you agree that lying in that position causes stress?

A For him, lying -- lying flat, yes. That would increase his stress level, because he has to focus on his airway management
basically.

Q Does it make it more difficult for him to breathe, lying in the supine position?

A Compared to a semirecumbent or sitting position, yes.

Q Okay, Do you consider an execution a medical act?

A No.

Q How is a physician's practice applicable to the execution setting?

A A physician's -- say that? A physician's --

Q Well, we've -- you -- you've referenced the clinical setting --

A Yeah.

Q -- a handful of times today. How is that different than an execution setting?

A Well, obviously, many things that are done in an execution setting are things that we've done in a clinical setting, so
start an intravenous line, if we have to start -- if they have to start a -- a central line, those are things that we do clinically.
Clinically injecting the drugs.

But some of those things we would do in a clinical setting, you wouldn't do, I guess, based on my understanding, in the
execution setting. So you wouldn't -- you'd give a much larger dose of the drug, you wouldn't resuscitate them and so
forth. You wouldn't breathe for them, that kind of thing.

Q So there are some things that happen in the clinical setting that are not applicable to the execution setting and vice
versa?

A Correct.

Q Can you look at Exhibit A to your November 2016 report? It's Exhibit 1.

A Uh-huh. Yeah.

Q And is Exhibit 1 your curriculum vitae?

A It is.

Q Or your CV?



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A Yes. Uh-huh.

Q Is this accurate? Are there any changes that need to be made?

A To my knowledge, it's all accurate. I am still, to my knowledge, a -- a voluntary clinical professor of anesthesiology at
UC Davis. I haven't been told otherwise, I currently work part-time for the joint commission...

Q So you did not include a CV with your supplemental report?

A Yeah.

Q So this is --

A That's correct.

Q -- the true and correct version?

A Yes, that's correct. It has not changed since then, so...

Q Now, it says from September 16 -- excuse me, September 2016 through present, and I'm looking under professional
positions --

A Yes.

Q -- on the first page of your CV, you're a physician's surveyor --

A Correct.

Q -- is that right?

A Yes.

Q What -- what is -- is that?

A So the joint commission -- what the joint commission does is, they survey hospitals. So they go to hospitals and they
look at different processes, and there's usually a group of three to four to five people that do that, and usually it's a
physician that's in -- at least one of the individuals is a physician. And they might look at certain things that would only
apply to his sort of physician-involved activities, and so that's what I -- I do. I might survey parts of a hospital that a nurse
would survey, but there are some specific areas where only the physicians survey. So they-hire physicians to do that.

Q And what exactly are you surveying?

A As a physician?

Q Yeah.




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A So I might go in to the operating room and watch their processes of how they manage their instruments, how they --
there's something that's called a timeout, where you're supposed to take a time out and you identify the patient before
the procedure, you know, the right -- is it the right patient having the right procedure, that kind of thing.

So you make observations of their practice, doing things like that. It's -- you make observation of how patients are taken
care of in the intensive care unit, so you might look at some orders and say, “Well, the physician ordered such and
such, did the nurses Follow those orders?” So it's really more around looking at processes, some of these clinical and
operational processes --

Q Sure. You, yourself, though, are not operating --

A No, I am not.

Q -- on a patient?

A No, I am not.

Q Got it.

A No.

Q Are you operating -- or currently --

A I am not.

Q -- practicing as an anesthesiologist in any capacity?

A I have not anesthetized anybody since December of 2015, so it's been over a year. So I'm not clinically active right now.

Q Are you retired?

A From the clinical practice of anesthesiology, 1 retired. I'm not doing it. Will I return to it? Never know, but right
now, I'm not doing it.

Q Why did you retire?

A Mostly personal reasons. So we have a son that moved down to Escondido area, we wanted to be closer to him, there
was a time in my life where I could do that, so I just -• financially, I can do it, so I just decided to stop practicing.

Q Is there a -- do you have a medical license?

A I do.

Q Is your license currently active?

A Yes.

Q Ever been suspended?




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A No.

Q Are you currently a professor of anesthesiology?

A My title is voluntary clinical -- where is my CV here. Have to pull it up. I believe that's the accurate title: Clinical
Professor of Anesthesiology and Pain Medicine. And it's a voluntary clinical faculty appointment.

To my knowledge, that's still active, I haven't been told otherwise by UC Davis. When I was there the last couple of years,
that was the title -- the -- I had the clinical professor part, but the volunteer part was only made once I -- I retired and
became a volunteer, basically. So I think that's an accurate statement. And the reason why I may be a little bit equivocated
on that is, because, you know, if you were to call UC Davis and say, “What's Dr. Antognini's title?” Sometimes the --
it might be professor of clinical anesthesiology and pain medicine, not clinical professor. And some of these series are a
little bit confusing about that, so I think I have that correct.

Q Are you compensated for --

A No.

Q -- for your position at UC Davis?

A I am not.

Q Are you compensated for your work as a physician's surveyor?

A Yes.

Q Aside from that, do you receive any other -- what are your other current sources of income aside from, perhaps,
passive investments?

A I have done work, obviously, for the State of Missouri. I've worked on other cases, which I described. Which, for
example, the case in Ohio. And then I did some work for the State of Mississippi about a year ago. Similar -- lethal
-- lethal injection issues, and then I also did some -- a -- legal work or expert witness work for the -- for a hospital in
California that was being -- it wasn't being sued by a patient, but it was -- it was being basically fined by the State of
California because of something that happened, and I represented -- I was the expert witness for the hospital in that --
in defending that.

Q Was that an administrative proceeding?

A Yes.

Q Before the N-L-R-B?

A No, I don't think it was that. I'm not sure, it was a State of California administrative hearing of some sort.

Q It was an administrate hearing?

A Yeah. It wasn't --




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Q You said work you've done for the State of Missouri, have you have done work for the State of Missouri outside of
this expert retainment?

A No, I don't -- no. No.

Q I just wanted to clarify what you said.

A No, I have not.

Q Okay. So let's talk about the work you've done in connection with the Ohio matter.

A Yeah. Uh-huh.

Q And did you serve as an expert witness --

A I did.

Q -- in that case?

A I did, yes.

Q And what opinions were you asked to -- or what opinions did you render in that case?

A Basically, the -- the -- there are a lot of opinions that I did render through the course of that work, but essentially,
the -- the main opinion that I rendered was whether the dose of Midazolam that they were going to use, which is 500
milligrams, was sufficient to produce unconsciousness to the extent that the inmate would not experience or be -- be
conscious of the other two drugs that are administered, which are a paralytic, and then potassium chloride. That was
basically what I was asked to -- to render an opinion on.

Q And what was your opinion?

A My opinion was that the -- that dose of Midazolam was sufficient to render an inmate unconscious, to the extent that
they would not be aware and -- and have the sensations of the two drugs, that is the pain associated with potassium
chloride, and then also, the paralytic drug.

Q You said the pain that's associated with potassium chloride?

A Yes.

Q That chemical can cause pain in an individual when it's administered via an IV line?

A That's correct.

Q And so your opinion was, because the patient is unconscious at that point, they would not experience any pain?

A Yes. The inmate. The inmate would be unconscious and would not experience any pain. Which, a I said earlier, pain
is a conscious awareness of a noxious stimulus.

Q How long, in that context, would it take to render the patient unconscious from the administration of Midazolam?



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A Midazolam?

Q Midazolam,

A M-I-D-A-Z-O-L-A-M.

Q How long did it take to render the patient unconscious after the administration of Midazolam?

A We did not -- I do not recall if I made any opinion about how long that took, quite frankly. I -- I'm not sure I rendered
an opinion on that. I'd have to review my testimony and all that.

Q You just rendered an opinion of whether or not they would be unconscious?

A I did. I could have said also, how quickly it would happen, but I don't -- I'm not sure that I actually asked -- made a
statement in regards to how long it -- it would take. I'd have to review my testimony and my -- my report there.

Q Is Midazolam a barbiturate?

A No, it is not,

Q Are there any similar characteristics between Midazolam and Pentobarbital?

A They both work with the GABA receptor; although, their actions at the GABA receptor, they work at different sites
of the GABA receptor, based on my understanding. So even though they both work at the GABA receptor, doesn't
mean they both function in the same way. In fact, they do have -- they are dissimilar in terms of the effects that they
do produce, because of that. What was -- there's more -- I'm going to answer more, but I want to make sure that I've
got the question. What was the question?

Q I was asking if there were any similarities between the two drugs. And I think you probably have gotten to that question.

A So yeah, there -- so there's that similarity. I -- as I said earlier, I believe they can both produce unconsciousness. Now,
can you get deeper levels with Pentobarbital than you can with Midazolam? The answer is, yes. But I -- my opinion is
that the level that you achieve with Midazolam is sufficient for what its intended use in that setting.

Q So explain that to me. Deeper levels, are you referring to deeper levels of unconsciousness?

A Yes.

Q So-

A And it's --

Q Are there various levels of unconsciousness?

A Yes.

Q What does that mean? Or tell me about these various levels.




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A So you could think of consciousness as being on a spectrum. So we're all awake right here; although, I can see some
of you may be nodding off a little bit. But I'm not a charismatic and energetic kind of person, but anyway, that's why
I'm an anesthesiologist; I put people to sleep.

But there's a spectrum. So we're all awake. And then you have basically on the other end of the spectrum, deep coma,
where someone could be brain dead, basically, So there's different levels of consciousness across the spectrum. So what
do I mean by that? So for example, someone may be fallen asleep, and you may say, “Larry, wake up.” And you don't
wake up, but then I nudge you and you wake up. As you get into deeper sleep, even a nudge may not wake you up, I
have to really shake you; right?

With drug-induced unconsciousness, there's a spectrum and you get into levels where even shaking and noxious
stimulation, you don't get any response. So you can assign consciousness according to that scale, and most people would
define unconsciousness as occurring when they fail to be aroused from a non-noxious stimulus.

Now, that's arbitrary, which I think came out in the -- I'm not -- I think that's, you know, some people might say it's,
you know, you have to -- if-- if they arouse with a noxious stimulus, that would be sort of the line between conscious
and unconscious, so there's some arbitrariness in that. But it's a spectrum, so when people throw this term around, of
unconsciousness, it's not an all or none thing. It's not like you're conscious and you're unconscious, it's really a spectrum.
And I think that's where a lot of the issues come up about how we apply these issues -- this type of knowledge to this
setting of lethal injection.

Q Did you specify where, on this spectrum, Mr. Bucklew would be, when you state that he would experience rapid
unconsciousness?

A I did not specify. I may have used the term coma somewhere in there, I don't remember if I did or not, but...

Q I -- after reviewing your report, I don't recall seeing the word coma?

A And you don't want me to go through it again.

Q Well, I guess the more fundamental question is, do you know where Mr. Bucklew would be on the spectrum of
unconsciousness?

A He would be at the far end, basically brain dead. I mean, he wouldn't -- at that dose of-- of Pentobarbital, you would
-- I -- I'm going to backtrack a little bit here, just to -- to clarify one thing:

So when you give a huge dose of Pentobarbital like this, again, based on my understanding of how it's given and all that,
and I've never done it myself, but one of the, you know, bar -- barbiturates do decrease the blood pressure, so you're going
to have a huge decrease in the blood pressure in somebody. That's sort of separate in a way from the unconsciousness
that occurs from a drug.

If you could maintain their blood pressure at this large dose, you still have deep coma, like a brain-death type of coma,
where the brain is silent, neurons are not firing, the EEG has flat lined. So Pentobarbital at this dose would -- I mean,
even at a fraction of the dose would cause that type of picture. So Pentobarbital, you'd be at the far end of the spectrum.
No question about it. Where there would be deeply unconscious comatose brain-dead type of picture.

Q Do you know how much Pentobarbital would need to be administered in order reach that level of unconsciousness?




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A Probably my guess -- so -- so -- I'm -- again, I am -- I have never used Pentobarbital as an induction agent. To my --
my recollection, I've never used it as an induction agent. When I use that term, I mean if I were to take you and you were
going to have surgery, and I'm going to induce anesthesia, I -- I would not use Pentobarbital.

The closest I've ever come is Thiopental. But Pentobarbital and Thiopental are very similar in terms of their doses for
that purpose. So when I, you know, if I give 500 milligrams of Thiopental to somebody, you can achieve these -- at least
transiently, you can achieve that deep level that I'm talking about. So I think with Pentobarbital, 500 milligrams, you
can do that as well. But of course, they're -- they're giving 5,000 milligrams, so that's why I say a fraction of the drug
would -- would get you to that endpoint.

Q Right. But you don't know when or how much or how long it would take?

A I don't know -- I don't have any firsthand knowledge, no. I have had to -- as I -- I said earlier, I've had to piece together
some information that I pulled from the literature.

Q So you're -- these most recent questions have focused on, I suppose, the far-end of the spectrum, when we're talking
about this deep level of unconsciousness. And it's your opinion that the individual does not experience any pain or
suffering at that level of the spectrum because they cannot experience an emotional response.

Do I have that right?

A That's correct, yes.

Q And what about closer to the other end of the spectrum? Can individuals still experience pain and suffering under
your definition?

A Well, it depends on where you want to put them on that spectrum. So yes, it could be, you know, if you have awake
on one end of the spectrum and a coma, deep, deep coma, brain death on the other end of the spectrum, somewhere --
somewhere along that continuum, people are going to be able to experience suffering and pain.

Q Yeah, sure.

A I don't know where that is exactly, and it kind of depends on your definition.

Q So if Mr. Bucklew was not in this deep level of unconsciousness, yet was somewhere else on the spectrum, it's possible
he could still --

A Yes.

Q -- be experiencing some pain and suffering?

A Yes. But as I pointed -- yes, that's true.

But as I pointed out, he's not going to be on this end of the spectrum, he's going to be on the very far end. That's my
opinion.

Q Understood.

A Yeah.



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Q Now, on this -- closer to the awake end of the spectrum, would a person who -- appear unconscious to someone, even
though they're not, in this deep level of unconsciousness?

A They could appear to be unconscious, yes. Because unconsciousness, you know, you -- you look at consciousness -- if
you're going to take a strict medical scientific approach to it, you just don't look at the person, you'd have to do other
things to, you know -- you know, you might nudge them and that kind of thing and see if they wake up or not

Q Right. So just the naked-eye observer wouldn't be able to determine whether the drug had taken full effect simply
from just observing?

A Right.

Q Okay.

A So just an example: If you were to close your eyes right now, I have no idea whether you've closed your eyes and you're
awake, or whether you've fallen asleep. I mean, I don't know.

Q Would you say the same is true for a nonmedical person, who is observing somebody during the execution process?

A Yes.

Q Okay. Have you ever witnessed an execution ever?

A No.

Q Have you ever worked for the Missouri Department of Corrections?

A No. I mean, I don't know what this relationship --

Q Outside of this current --

A Yeah. No, I have not.

Q -- working relationship?

A No.

Q Have you ever been consulted or ever worked for any states' department of corrections?

A No.

Q Ever consulted on the drafting of an execution protocol?

A No.

Q The use of chemicals for lethal injection?

A No.



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Q Feasibility of an execution method?

A No.

Q Do you have any views on capital punishment that were germane to the opinions you rendered in this matter?

A I have ambivalence about it. So my ambivalence, there's three -- I think, I'm balanced; I'm against the capital
punishment and it's primarily -- so I have three basic prongs of my approach to this: Two are religious and one is a
sense of fairness.

So on a religious perspective, yeah, the Old Testament, which basically -- if I may paraphrase, an eye for an eye, and
a tooth for a tooth; and then you have the New Testament, where Jesus says, you know, “Be forgiving,” so I -- I do
struggle with that morally and as a Catholic.

And then, from a sense of fairness, I know that there probably have been individuals that have been -- that are on death
row that may be innocent. So I think that's the most -- the strongest feeling I have about my feeling on capital punishment
that -- I think that's the -- fundamentally, the most unfair thing that a government can do is, to take the life of an innocent
person. So those are sort of my -- that's my perspective on capital punishment, but...

Q And it -- sorry, go ahead. I was going say, I don't intend to probe --

A Yeah.

Q -- the -- your personal --

A Okay.

Q -- perspectives here, but I'm just curious to the extent that they were germane to the opinions you rendered in this case.

A No, they weren't -- they weren't germane. I mean, I think that one of the main -- the main things (hat has driven me
to, you know, to -- to testify in these cases is, that the -- basically that, you know, you're -- you're representing the -- the
defendant, or, I guess, the plaintiff in this case, and -- and I represent the -- am an expert witness for the defendant --

Q Huh-uh.

A --which is the State of Missouri.

Q Yeah.

A So I -- out of a sense of fairness, I mean, if I were to ask the question of somebody, and I sort of played with this in
my mind about, you know, do you believe that a defendant has the right to adequate counsel? And do you believe that
a defendant has the right to expert witnesses? I think we'd all say yes.

Well, in this particular case, the defendant is the State of Missouri, so I feel that they need have some type of expert
represent- -- representation to be able to make their case. So that's the other thing that drives me -- why I would -- I
would do something like this.

Q Aside from the Ohio case and this present matter --



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A Right.

Q -- you also mentioned the Mississippi case?

A Yes.

Q What opinion did you render in the Mississippi case?

A Basically, the same as I did in Ohio. It's essentially the same type of information -- or the same type of questions. You
know, does Midazolam render somebody unconscious to the extent that they would not be able to perceive the effects
of the other two drugs. It's been a long -- it's been over a year since I was involved with that case, so I -- you know, I
can't remember exactly everything I said, but that's the gist of it.

Q And what was your opinion?

A Well, that Midazolam would produce a level of unconsciousness that would render the inmate incapable of sensing
the effects of the other two drugs, sensing in -- in the sense of--

Q Experiencing pain?

A -- experiencing pain and so forth, yeah.

Q So very similar to the opinion that you rendered in the Ohio matter.

Are there any other cases that you rendered an expert opinion on, that relate to capital punishment?

A I don't -- no, it's been Mississippi, it's been Ohio, and then now Missouri, so I don't -- no.

Q Have you ever rendered an opinion where you concluded that the inmate would not ex -- would experience pain?

A In -- in those three cases -- those three? Or any?

Q Either in those three cases or in some other matter.

A Do you mean in a legal setting? Or just in general about discussions around capital punishment?

Q Let's start, first, with the legal setting,

A No. I've not been provided any opportunity -- I've never had -- you know, it's only been in those three cases about --

Q What about outside of the legal setting?

A Well, I guess, you know, there's -- we -- I've had discussions in -- in various social settings about capital punishment,
but I don't remember anything specific about that, and I didn't -- so...

Q Have you ever had your opinions challenged as being inadmissible under Daubert or a related doctrine?




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A I'm -- I'm not familiar with that, so I don't know whether anything I've admitted or anything that I've said has been
inadmissible. Do you want to --

Q Do you know what the Daubert motion is?

A No, I don't think -- I might, but I -- I can't tell you off the top of my head.

Q Are you familiar with the concept of challenging an expert's report as inadmissible?

A Yes. Yeah.

Q Are you aware of a report -- a judge ruling that any opinion that you've submitted in a matter was inadmissible?

A My specific opinion in a case?

Q Uh-huh.

A No. I mean, I know that I -- certainly, with the Ohio case that I just testified at, there -- there was a challenge by --
well, I'm not sure -- I'm not sure challenge is the right word. But, you know, we went through the usual thing, where I
was asked questions about my background, and -- and the attorney for the State of Ohio said, “I'd like to stipulate,” or
whatever word that was used, I forgot what words that you guys use, but admit Dr. Antognini as an expert witness, and
there was no from -- from the other side. And then I gave my testimony.

And then when I was being -- under cross-examination, they brought up the issue about my CV I'm retired, and, you
know, walked through that issue about how they -- you know, obviously, they were getting at the issue of can I give
expert testimony when I'm retired, which I think I can. But you'll have to decide for yourself, and the Court will have
to decide that.

Q But are you telling me that no court has ever ruled --

A As far as I know.

Q -- your opinion as --

A As far as I know.

Q Okay. So going back to your materials reviewed and your November 2015 report, Exhibit B.

A Okay.

Q Let me know when you're there.

A Yes.

Q Who's -- who selected the documents for you to review?

A These were documents sent to me by Mr. Spillane.




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Q Did you ask for anything beyond what's listed here as well as under your materials reviewed in your supplemental
report?

A I -- I -- I don't know, I mean, I probably did ask for some things. But off the top of my head, I'm trying to think what --
what they might be. Well, for example, I mean, one thing that comes to mind, is that I was -- I was asked to -- I shouldn't
say -- Dr. Zivot refers to a scan that was done in 2005 on this inmate, and I don't think that I was ever sent the results of
that scan, but he apparently had access to it, and I was never about to find that -- the results of that scan.

And I asked Mr. Spillane about that and I don't think he's been able to find it either. Now, there are over 5,000 pages
of medical records that were sent to me. So, again, I told you I was a numbers person, I'm thinking, “My God. There's
a lot of these,” so I counted -- I mean, I didn't count them, but you do it in PDF, so there's over 5,000 pages of medical
records, so I guess it could be in there, but I didn't see it and he couldn't find it. So that was one thing that I -- I --

Q Anything else?

A Let's see here, so I was interested in what happens during the execution, itself, is there any medical -- not medical. Is
there any information about the execution, itself, that would provide guidance to -- to me, but I was not provided that
information, you know, I don't know whether they -- what they do in terms of taking records.

I mean, sometimes I think my understanding is, that they -- I don't know what happens in Missouri, But I do remember,
I think, seeing from the other cases they had or someone provided me with some notes on Florida executions, and I --
I -- I'm sorry, I don't remember if it's from Ohio, from Missouri, or where it was, but that made me think, you know,
is that a type of information available, and I was not provided any information. So I, you know, maybe you don't take
that information, I don't know.

Q You -- you did receive and review Missouri's open protocol; correct?

A Yes.

Q Are you aware that Missouri also has a closed protocol?

A Yes. I did not know until I think you used that term this morning, about open versus closed. I know that there's more
to the protocol than what I was provided, but I've not been provided the protocol -- the -- the closed protocol.

Q Did you ask to review the closed protocol?

A No, I didn't actually. I did not ask for the -- closed protocol, as far as I -- I recall. And I think primarily because I
had sufficient information with the open protocol to render my -- my opinion. Although, maybe the closed protocol
has some information, like the rate of injection, that would have been useful to me. But anyway, I was not provided
that information.

Q So is your awareness or understanding of the execution process that Missouri limited to what is in the open protocol?

A I'm trying to think, is there anything -- any other information that I received about the process. I think so, I mean,
I'm thinking, maybe, there might have been something that Dr. Zivot would have put in his report that might have -- I
suspect it would be the same thing. And, you know, he -- he would have gotten to the open protocol. So I -- I guess, yes,
it's limited to the open protocol. I can't think of where -- where else I would have gotten any other information about it.




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Q Is your understanding of the execution process at all informed from conversations with the State Attorney General's
Office?

A No. It's not, no. I mean, obviously Mr. Spillane and I have had discussions about, you know, a lot of these issues, but
nothing that he said is -- has really informed me about -- it might -- doesn't make my opinions,

Q What did you confer with -- confer about with Mr. Spillane or somebody else from the Attorney General's Office that
you relied on in forming your opinions?

MR. SPILLANE: I'm going to object to the form of the question, because I think he just said that I didn't tell him
anything or anybody else told him anything that formed his opinions.

But you can answer.

MR. FOGEL: Perhaps, I misheard or misunderstand what the witness said, but if that's true, then you can state as much.

THE WITNESS: Well, nothing that Mr. Spillane said to me, helped me to form my -- my opinion. I mean, there's nothing
that he said that I used to rely upon my opinion. To form my opinion.

BY MR. FOGEL:

Q I'm thinking, in particular, about a statement you put in your materials reviewed. And you say, (reading):

“I reviewed the pleadings in this case to gain a general familiarity with the matters at issue and a contentions of the
parties. I have conferred with the attorneys for defendants.”

So just to be clear, anything that you conferred about with the attorneys for defendants, is there anything that you took
into consideration when forming your opinions?

A No. No. I'm -- I'm -- no.

Q We talked a little bit earlier about the Pentobarbital package insert.

A Yes.

Q Was that provided to you by the State?

A No. No.

Q Sorry?

A No. I got that off the internet.

Q Okay, Is it your understanding that -- well, does the package insert refer to a specific type of Pentobarbital? A
commercially --

A It does.

Q -- manufactured?



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A This particular -- this particular package insert refers to the Akorn brand. But that was just -- that was one that I
grabbed off the internet.

Q Is it your understanding that it's the same type of Pentobarbital that would be used in Missouri's execution?

MR. SPILLANE: Well, I'm going to object to that question. That's -- that's state secret of what we use, whether it's
compounded or manufactured, because it could lead to the identities of the suppliers. So I'm going to direct him not to
answer anything that might lead to whether we use compounded or manufactured.

(Whereupon the witness was instructed not to answer.)

THE WITNESS: I don't know what they use.

BY MR. FOGEL:

Q Okay.

A I'm -- I'm told it's Pentobarbital. I just Googled Pentobarbital package insert, and this is the -- one of the first Ones
that comes up,

Q That's -- to answer my question, the purpose of the question is not to try to get at the origin of the type of Pentobarbital
uses, but why Dr. Antognini used that information and how we relied upon it.

A Yeah.

MR. FOGEL: Okay.

THE WITNESS: That's basically, I guess, if you Google those two, I think that's one of the first things that comes up,
so that's what I grabbed.

So -- and for the most part, I don't want to say 100 percent, but for the most part, package inserts are very similar,
from one manufacturer to the other. I'm not sure how many people manufacture Pentobarbital, but for most drugs, it's
going to be the same.

BY MR. FOGEL:

Q I'm looking at your supplemental report now.

A Uh-huh. Uh-huh.

Q At paragraph 6, it talks about large dose of Pentobarbital, such as the 5 grams, would cause respiratory arrest and
cardiovascular collapse, leading to death. What was your basis for that understanding?

A So if you look -- if you go to that website, as I recall that's -- what I wrote there, in No. 6, is basically a summary, a
synopsis, of what the effects of Pentobarbital are. So obviously, we know that people do not use that dose in a clinical
setting.




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So this particular website doesn't state that, you know, if you get 5 grams of Pentobarbital, this is what's going to happen.
It basically states that if you use Pentobarbital, these are the risks involved, basically respiratory arrest and cardiovascular
collapse. And if you don't resuscitate somebody, you know, if you give somebody sort of a -- I don't want to say a clinical
dose, but if you gave them a low dose in a clinical setting, these are the things that can occur. So obviously, if you gave
a large dose in an execution setting, you're going to get the same thing.

Q So that understanding that you just explained, is that based on your review of the website article --

A That --

Q -- that you got off the internet?

A That particular statement is supported by that particular reference; although, you know, I've made claims like that
in other parts of my reports and they may be supported in the same way, but from different sources, you know, this
is not the only source that would support that particular statement. So for example, if you look at the package insert,
basically, you would read the same thing.

Q Are you aware that the open protocol contemplates the use of Pentobarbital beyond the 5 grams -- the original 5
grams that are administered?

A Yes.

Q Why do you think it contemplates the use of additional Pentobarbital?

A So my guess is that it's out of abundance of caution; although, it may seem like a paradox when you're talking about
the lethal injection process, but it's basically to ensure that, if there were any issues of with the delivery of the first dose
of Pentobarbital, you know, you have a protocol that says you can give another dose. But 5 grams, if, again, properly
administered through a functioning IV, would be sufficient. But the -- probably -- I don't know why they put that in
there, you'd have to ask them, but my guess is, because you want to have that capability.

Q In the event that an inmate did not die from the original administration of 5 grams?

A That's correct. That's my assumption, sure. Yeah.

Q What did you do today to prepare -- or what did you do to prepare for today's deposition?

A I had a nice breakfast with Mr. Spillane, and then we spent a few minutes just going over some of the points that --
the major points that would probably be brought up in the deposition. In terms of the action of the drug, and its ability
to produce unconsciousness, how fast it would work. You know, basically telling him this is -- this is -- if I were asked
these questions, which I suspect I will be, this is how I would reply to them.

Q Did you review any documents?

A I looked at the reports. I looked Zivot's reports, and I looked at my own reports. I looked at the -- I have a copy
of the -- that pharmacokinetics paper -- the one that I cited, not the other one that I did not cite, but I mentioned this
morning. I think I looked at that.

Q Aside from that one article, and I think you said it was a dog study --




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A Yes.

Q -- do I have that right?

A Yes, correct.

Q And by the way, did it study humans as well? Or just dogs?

A Well, as I said, there is a paragraph -- it's a penultimate paragraph in the paper, and a discussion that they said --
they basically gave Pentobarbital to humans, looking at the EEG and the onset of the -- the change of the EEG with
Thiopental and Pentobarbital is about the same time. So I think it's 15 to 30 seconds. They don't state what the dose was
in that -- in that paragraph. And then they say that the -- it took Pentobarbital a little bit longer to have -- I think they
used the term “full effect.” Not sure if that's what it was.

And then -- but within one or two minutes, it said that it had it -- its full effect. And that was presumably at a dose of --
I don't know what the dose was, but my guess is, it's probably going to be similar to the dose they used for Thiopental,
500 milligrams, 400/300 milligrams, it's not clear because they don't state what that dose is,

Q Well, full effect, meaning death?

A No. Full effect, I think, in terms of consciousness. Now --

Q So it took a minute -- it said it --

A If you want --

Q -- took a --

A -- I can pull it up on my computer.

(Whereupon there was unreportable crosstalk.)

BY MR. FOGEL:

Q We can look at it later.

A All right.

Q I just wanted to make sure I understood what they were studying.

A Yeah, I cannot --

Q And what they were not studying.

A I cannot remember the specific language -- you know, the words that they used, but that's my recollection of, you
know, the verbiage basically.

Q Got it. Aside from that one report or study --




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A Yeah.

Q -- were there any other documents that you reviewed, in preparation for your deposition, that you did not review in
connection with your reports?

A Well, I told you -- I mean, there -- like I said, there are some papers that I looked at, that I said these don't really
apply, and I don't remember what they are, but there's nothing -- and there may have been some papers out there that
I -- I -- I reviewed that basically -- so there might have been, let's say, three papers that I reviewed and supported a
particular point that I wanted to make, but I only cited one of those papers, so there might be some papers like that
out there that I -- that I looked at.

But I, you know, there's nothing out there that I -- that I reviewed that supports my opinion, basically, that -- that I
didn't include in here. Again, I mean, I -- again, except for the situation, where there may be three papers, as an example,
and [ only cited one of them.

Q Has your review of any of these materials that you looked at informally/formally caused you to change your -- or
modify your opinions in any way?

A No. No.

Q In your opening report, under your materials reviewed --

A Uh-huh.

Q -- is a document 263.

A Yes.

Q Do you know what that is?

A I'd have to -- I -- I don't remember what that is. These are all -- these -- these were documents that were sent to me,
and they -- they were numbered, and that's how I put them in there. Is there not a Document 263?

Q Well, there -- there is at least some confusion on our end and perhaps --

MR. SPILLANE: If we could go off for a minute.

MR. FOGEL: Yeah. Okay.

(Whereupon there was a break in the proceedings.)

BY MR. FOGEL:

Q So I want to go back to the opinions we were talking about earlier, that you've rendered regarding whether Mr.
Bucklew would experience any pain.

A Yes.




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Q And again, I just want to make sure we have this established as the baseline: It's not your opinion that Mr. Bucklew
would not ex- -- strike that. Are you opining that Mr. Bucklew would experience no pain?

A During?

Q During the execution process.

A It is not -- I -- it is my opinion that he would not experience pain except for the insertion of the IV, which I said
earlier, but that the injection of the Pentobarbital through a properly functioning IV, would not cause, in and of itself,
pain to Mr. Bucklew.

Q So let's talk through the execution process, drawing, of course, upon your understanding of how it works.

And we've talked about Mr. Bucklew being in -- strapped to a gumey or an OR table, some sort of surface, Do you know
how long Mr. Bucklew would be positioned in that -- let's call it a gumey for now?

A I do not know specifically. I can -- I have a guess in my mind, but I don't know specifically how long that would be.

Q Does it depend, in part, on how long it could take to find a strong -- a good IV line?

A Yes, it would.

Q And you mentioned that somebody -- I think you used the example, in your clinical practice, you've had patients where
you've had to try ten different IV locations; is that right?

A Some patients have gotten that many, yes, maybe -- yeah. I mean, I -- I -- I use that number, I -- I suspect that some
patients that I've -- hopefully I -- not my personal patients, but others that I've seen have had that many IV sticks, so
it could be up that high.

Q And that, of course, takes time.

A Correct.

Q Each attempt.

A Correct.

Q And we've established already, that when Mr. Bucklew was lying in a supine position, it's uncomfortable for him to
lie in that position; is that correct?

A It is uncomfortable for him, that is -- that is what he reports, yes.

Q Is it your understanding that when Mr. Bucklew describes it as uncomfortable, he is experiencing pain when he's lying
in a supine position?

A When -- he -- he states he's got pain all the time, no matter what position he is; and he's got pain in his face. And I --
maybe I didn't say that in my report, but he has pain in his face and in that area, so he's -- he has that as a baseline. So...

Q But I'm -- I'm talking specifically when he's lying in a supine position.



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A No, I don't think he describes it as being painful, he just describes it as being uncomfortable. I mean, the inability --
or having problems with -- with breathing, we've all experienced that for one reason or another, it's not really painful,
but it's uncomfortable.

Q Sure. So let me substitute -- or remove pain, and say, when Mr. Bucklew was lying in a supine position for extended
periods of time, it creates difficulty for him to breathe?

A Yes. He's going to have more difficulty, absolutely, than somebody else would.

Q Do you know how long it takes to strap him into the gurney? Again, assuming we're having -- using a gumey?

A Just strapping him in, I mean, if he's cooperative or if an inmate's cooperative, it shouldn't take more than -- again,
it depends on how many people are doing it. But if they're -- let's say four individuals, I'm just picking four out of a hat
because there are four extremities, shouldn't take more than 30 seconds, at most, to actually put those straps on. I -- I --
I think. I mean, based on what I see in terms of those straps that I've seen from the internet, so...

Q After Mr. Bucklew is strapped in, what is your understanding of what happens next?

A My understanding would be that they -- an attempt is made to start an intravenous line.

Q And that's what we were just discussing, looking for a good IV line?

A Correct.

Q Do you know if the State of Missouri uses one or two IV lines?

A I believe the protocol uses two. There's a primary and a secondary, I think is the wording that they use. I think they
use two.

Q What is the purpose of using two IV lines to your understanding?

A It's basically to have a backup IV. Where if you have a problem with one IV, you can use the other IV.

Q So when there's two syringes -- I mean, we -- we recall, we've established that there are two syringes containing 50
milliliters of Pentobarbital. And then there's a third syringe of the saline solution; correct?

A That's my understanding, yes.

Q Right. Do all three of those-and not simultaneously of course, but are all three of those syringes injected into the
same IV line?

A I do not know, I -- I'm -- I'd have to review the protocol. I don't remember if they state it goes into the primary line,
but I think the saline would go in -- I ---- I -- I don't know for sure, but my guess is they all go in through the same
line, because if you have the Pentobarbital go in, and then next syringe of Pentobarbital, and then you have the saline --
you're using the saline to clear the line, so you'd probably be doing it all through -- all through the same IV, is my guess.
But I don't know specifically what it states in the protocol and what they do.

Q Well, do you have the open protocol in front of you, which we previously marked as an exhibit?



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A I have had it in front of me, and there it is.

Q So looking at section C, under intravenous lines, it says the second sentence, (reading):

“Both, a primary IV line and a secondary IV line shall be inserted, unless the prisoner's physical condition makes it
unduly difficult to insert more than one IV.” Do you see where I was reading?

A Yes.

Q So would you agree that that indicates that it is preferable to have two IV lines?

A Well, I think as I interpret that whole section, there, they -- they say that, if there is difficulty, then you would have a
central line. And in the secondary line, is the peripheral line. If you read further down.

So I think what they're saying here is, that, you know, if there's difficulty placing the IV, and you get one IV in, a
peripheral IV in, then the -- the other IV can be a central line. But the central line in that case becomes the primary IV
line, because it says the secondary -- secondary IV line is the peripheral line.

So I think what they're essentially saying, here, is mat, if we have a central line, that's the one we're going to use because
that's going to be the most reliable one.

Q Well, all it says is medical -- you're looking at the next sentence. (Reading):

“Medical personnel may insert the primary IV line as a peripheral line or as a central venous line.”

A Correct.

Q So one or the other. And then the secondary IV line is a peripheral line?

A Correct.

Q That's the final sentence?

A Yes.

Q So it still contemplates two IV lines?

A Yes. That's correct, yes.

Q Right.

A I'm sorry.

Q So my question is, why would you want to have two IV lines?

A If there was a -- if there was a problem with one of the intravenous lines, then you could use -- and when I say
“problem,” if you started to make an injection, it could be -- let's see, hold on just a moment.




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So under C2 it says, (reading):

“A sufficient quantity of saline solution shall be injected to confirm that the IV lines have been properly inserted and
that the lines are not obstructed.”

So, you know, if they had -- if they were concerned about the -- the flow of fluid through that, let's say, the peripheral --
through one of the lines on the peripheral lines, then, you know, obviously, they would use the central line in that case.
I guess. I mean, that's -- I -- I -- I'm not trying to provide any -- any input to anybody about how to manage this, but
I'm just trying to interpret what they -- what they wrote here, but...

Q Do you think it's more or less likely than Mr. Bucklew -- strike that.

Do you think taking into consideration the state of Mr. Bucklew's -- or the access to Mr. Bucklew's veins, that it's less
likely the state would be able to identify two IV lines?

A It'd be less likely, yes, to identify two peripheral IVs, Yes, I think that's true.

Q When you say “two peripheral IVs,” you mean that the state would then need to identify a peripheral IV as well as
the central IV line?

A That scenario would be more likely with someone like Mr. Bucklew, compared to an individual -- an individual who
had no problems with their -- with their -- with their veins. Now, when I say more likely, I -- I can't really give you
number on that.

So -- but I would say in my experience, yeah, you'd be more likely to have problems getting two IVs -- peripheral IVs
in someone like him than, you know, someone else.

Q Once the IV lines are inserted into Mr. Bucklew's vein or veins, depending on how many IV lines the state is able to
identify, do you know where the Pentobarbital is administered from?

A In -- in -- in -- in the tubing, itself.

Q Into the tubing, itself.

A No, I don't. I mean, there's most intravenous lines have what are called ports, and sometimes -- usually, there are
several ports in the line, and one's going to be close -- usually, it's close to the IV insertion site and there's going to be
another one farther up. I have no idea where they inject it.

Q So do you have any idea how long it would take for the Pentobarbital to run the length of the IV line into Rusty's vein?

A So those -- the volume of that tubing is probably, even at the most distal part, you know, maybe it's -- I don't know,
could be 5 MLs, I'm not -- I -- actually, I should probably know that, but I can't remember off the top of my head, it
depends upon the size of the IV tubing, but it's probably going to be a relatively small amount.

So I don't know the answer to your question of how much -- how much dead space, is what we call that, in the line
because I don't know where the ports are,

Q Right. So you don't know the length of the tubing?




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A Yeah. I do not know that.

Q Right. And we've always talked about, you've made an assumption in terms of the speed in which the Pentobarbital
is run into Mr. Bucklew's vein; is that right?

A I did. But I do believe that it's important to point out that the, you know, when you give a drug, especially when you've
given a large bolus of the drug, so you have this tubing going along and it goes into the arm, so all of a sudden you
start to inject the drugs and you have sort of this bolus of the drug moving along, and so the injection has started, but
it actually hasn't gone into the -- into the patient or, in this case, the inmate.

So it might take five seconds, let's say, for that Pentobarbital to start actually getting into the vein. So if you were to
say to me, “Precisely, when did the Pentobarbital actually enter into the inmate?” If I started the injection at 12:00-noon
and zero seconds, and maybe it actually didn't enter the inmate until 12:00-noon and five seconds, because it took five
seconds for me to put sufficient volume in to get it into him. So -- but we're not talking about minutes. I mean, again,
I don't know how fast the infusion --

Q That's all I'm asking.

A Yeah.

Q If you know, one way or the other.

A I don't, sorry.

Q Yeah. Okay. Once the Pentobarbital starts running into Mr. Bucklew's veins, explain to me what happens.

A The drug will go through the -- the veins and -- and get into the larger veins -- let's say that he has peripheral IV --
enter the larger veins of his arm, and go in, through the subclavian vein, and then it would go into the superior vena cava
and then it goes into the heart. And then it could go through the right side of the heart, through the lungs, and then back
into the left side of the heart, and then it's ejected by the left side of the heart, the ventricle, and it is then distributed to
the rest of the body, so it'd go to the brain and other organs. So that's basically how that drug would be --

Q Uh-huh.

A -- distributed.

Q At some point after the Pentobarbital is running through Mr, Bucklew's veins, it's your opinion that he's rendered
unconscious?

A Yes. That's correct.

Q And it's your opinion that this would occur approximately 20 to 30 seconds from when?

A It would be about 20 to 30 seconds after the -- my guess would be, the first 10CCs of the drug actually entered into his
venous system. So from when it actually gets injected into the -- into the vein, this's -- that's my estimate.

Q Do you have an estimate of how long it would take for Mr. Bucklew to die from the point that the Pentobarbital
enters his veins?




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A My -- my estimate is -- is basically around 8, 9, or 10 minutes. Because as I said to you earlier, one of the things that
I did look at, were some of the press reports of-- of some of these executions, and they almost always give the time,
between the injection and when the inmate is declared dead.

Q And you said approximately eight to ten minutes?

A Yeah.

Q Okay.

A I think that's what most of the reports said. And my understanding is that's public information. I mean, obviously, it
is now, because it's in these news reports. So I'm assuming that that's accurate.

Q We've talked a little bit about this already: But it's your opinion that, once Mr. Bucklew becomes or an inmate becomes
unconscious, that inmate no longer experiences pain and suffering; is that correct?

A That is my opinion, yes.

Q Okay. And just to make sure I have a good understanding, what is your basis for that opinion?

A So Pentobarbital is an anesthetic that is capable of producing deep unconsciousness and coma, as we discussed before.
And you can actually do surgery with Pentobarbital. And with -- just like with any -- any other anesthetic, patients do
not report pain and suffering during -- when they have a normal, properly administered anesthetic. They don't report
pain and suffering after the operation -- that they experienced during the operation,

Obviously, they may have pain and suffering afterwards, because they have an incision, and they're painful from that.
But during the operation, itself, they don't report anything like that because they're unconscious. So that is the important
thing to consider about, would somebody be suffering during the effects of Pentobarbital? And I think that's the primary
thing that I'm looking at.

The other thing to consider is that the Pentobarbital is being given in a very large dose, so you're going to achieve that
endpoint more quickly. The third thing to remember is that, in addition to the anesthetic effect of the Pentobarbital,
you're going to get essentially cardiovascular collapse. It's my -- I don't -- I don't, I mean, just based on the action of a
drug and what we see with -- with Thiopental, for example you're going to get a really low blood pressure. And then as
I described in my report, hypoxia, and then the heart starts to slow. So, I don't see how you could -- how anybody could
-- could have suffering and pain during that process.

I mean, once you become unconscious, the rest of it is downhill, I mean, I'm not trying to make light of it, but that's
basically everything's going down hill. The blood pressure's going down, the neurofunction is going down, and it's
irretrievable or just irreversible, I should say.

Q What is your--

A It's irreversible. You couldn't -- I just don't think if d be possible to resuscilate somebody out of that -- out of 5 grams
of Pentobarbital.

Q Understood. But isn't that a separate question from whether they're experiencing pain before they enter -- declared
dead?




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A Yeah. Maybe you're right, maybe I went off a little bit more information than was needed to answer the question,
but I'm kind of looking at the overall process. And I think, maybe, part of that is -- is -- is -- is informed by Dr. Zivot's
opinion, which I think I again, I'm sort of paraphrasing, but -- or interpreting what he's saying is that, somehow Mr.
Bucklew is going to be in this sort of zone where he's semi-awake and semiconscious. And he talks about -- he, being
Zivot -- that, this could be anywhere from, you know, sev- -- it could be anywhere from several minutes, because Missouri
has it in their protocol that they're going to have five -- they're going to give another 5 grams in their protocol if they
need to, but my question really about that is, how -- how -- well, how can you explain or support that statement? How
-- how is Pentobarbital and the doses given going to keep an innate in this sort of semi-awake zone for several minutes?

It just -- if you look at the action of the drug, if you look at the kinetics of the drug, if you look at how it affects the brain
and its -- and the cardiovascular system, I just don't see how you can make that statement.

I mean, this -- this drug will cause a rapid onset of unconsciousness, 20 to 30 seconds is my opinion, could it be a minute?
Maybe. And then it's going to -- it's going to -- just going to be a deepening and deepening unconsciousness, to the point
of coma and brain -- or electrical silence. Cardiovascular collapse.

I don't see how he, Dr. Zivot, can put together this picture, where it's going to be this prolonged period, where the inmate
is going to be in this state of semiconsciousness and -- and experiencing these symptoms of pain, and suffering, and
choking. I just cannot piece it together with the information that I've been provided and the information that I pulled
from these articles and so forth.

Q Is there any medical equipment that could be used to determine whether or not the individual is experiencing pain?

A Not in the current clinical use. There have been attempts in the past to try to determine whether people are experience --
if anesthetized individuals are responding to a noxious stimulus in the way that would indicate to you -- to the inclination
that they are -- well, they're not -- not really, they're experiencing pain, but they are -- but that the body is responding
physiologically to the -- to that stimulus.

We don't have that right now, I think there is some companies working on it, but we don't currently have that. As far
as I know.

Q Could Mr. Bucklew experience feelings of suffocation and choking after the administration of Pentobarbital? i A Only
during the period, where he's still conscious. But after he becomes unconscious, no. I mean, i he, you know, once that
injection starts, as -- as I've already said and you've asked about, it does take some time for the patient -- for the inmate
to become unconscious, and I'm seeing it's 20 to 30 seconds after that first, say, dose of 500 milligrams or so, thereabouts,
gets into the -- into the inmate. But after that, no, he's -- he's not going to experience any sensation of suffocation or
choking. It's my opinion.

Q From the point of unconsciousness? Therefore--

A Correct. Once he becomes unconscious.

Q What if Mr. Bucklew started bleeding from his hemangioma?

A He -- he would not -- if he's unconscious, he would not experience suffering from pain from that bleeding, no.

Q Could he start bleeding from the mouth, where the hemangioma's located?

A He could. But if he was unconscious, he wouldn't -- in my opinion, he wouldn't be suffering or be feeling it.



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Q How do you know that he would not be suffering or experiencing it?

A Because he's unconscious, so you don't -- as I -- as I mentioned earlier, you -- in -- in my opinion, suffering is a
something that you have as a conscious experience. You don't have suffering and pain as a unconscious experience.

But I've also been very clear that you can certainly have physiological responses to various stimulation -- various stimuli
of when you're unconscious. So as an example, brain-dead humans, if you do -- obviously, brain-dead humans are --
are organ donors. Am by definition, you wouldn't necessarily need to give an anesthetic because they're brain-dead. But
in fact, you do need to give some anesthesias and some drugs because they have physiological responses to the noxious
stimulation to the surgery, their blood pressure goes up, their heart rate goes up, that's a -- a reflex that they -- that the
brain-dead humans retain.

So yes, you can have these physiological responses to these different types of stimulation, but that doesn't mean that
they're suffering or have pain. I mean, obviously, example of the brain-dead, but by definition, they can't because they're
brain-dead.

Q So what -- what information are you relying upon?

A For what?

Q To -- to say what you just asserted.

A I -- based on my clinical experience, because I have provided care for brain-dead humans, who are organ donors. And
then also, based on my review of literature and some of the research that I have done over the years. Some of my research
is related to where the anesthetics work in the body, so that was part of my -- my review of that area.

Q Are you familiar with anesthesia awareness?

A Yes.

Q What is it?

A That's a term that usually is used to describe somebody who is aware, awake, conscious during a surgical procedure,
usually because of insufficient anesthesia that was provided, that -- sometimes it's because it's -- it's an error or an
oversight, sometimes it's because we just can't give enough anesthetic to a person, so if it's a patient that's been in trauma
and they've lost a lot of blood, then you can't, you know, you can't provide anesthesia to them -- or as much anesthesia
to them. And in my own practice, although, as I've mentioned to you, I don't practice clinically anymore, but in some
trauma patients, there have been times where I've whispered in their ears during surgery, and I've said to them, “Mr.
Jones, I know that you might be awake, and I know that you might be experiencing this, but I cannot give you much
anesthesia because you are so sick right now. And I'm going to do the best that I can.”

And I did that and I taught residents to do that, because when you -- when you review the literature on this, patients
who have suffered anesthesia awareness said -- a lot of them just said, “I wish they knew that I was awake,” and this is
one way -- you don't know for sure that they're awake, and we have monitors now that -- not entirely accurate, but, you
don't know whether they're awake or not. So you can do it to everybody and -- and hopefully they are not awake, but
that was my practice at least. So yes, I'm very familiar with anesthesia awareness.




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Q Is it possible that Mr. Bucklew could experience anesthesia awareness? Taking into consideration, of course, that he
would not be alive at the end of the experience to recount it?

A I don't think that's a possibility. If something wrong happened with the administration of the drug, and as we already
discussed, I do not, especially with the dose that is used, I do not think that he would experience anesthesia awareness, no.

Q You talked about, I think there was three end goals in the context of anesthesia?

A Yes.

Q One of them was amnesia?

A Yes.

Q Do I have that right?

And you -- there was an amnesia agent. What is the purpose of the amnesia agent?

A The purpose is to block memory. And an anesthetic, by definition -- and when I say “an anesthetic,” I mean, one drug
that produces the state of general anesthesia. So that drug has to have -- has to be capable of producing those three end
points to be called a general anesthetic, and that's my medical and scientific opinion based on many years of thinking
about this and doing research on that. As opposed to a drug that may cause amnesia, but it wouldn't produce necessarily
the other end points of--

Q I -- I -- I understand.

A Okay.

Q But why do you want there to be an amnesia component to the anesthetic?

A Because patients don't want to remember their surgery.

Q Why do they not want to remember their surgery?

A Because it would be an unpleasant experience.

Q Because there would be some sort of suffering or some sort of painful --

A That's -- that's true.

Q -- component to it?

A Yeah.

Q So how do you -- so if you want to suppress that by making it so they can't remember, so doesn't that suggest that
there is, in fact, some pain and suffering while the patient is under an anesthetic?

A No, it doesn't. You're -- you're trying -- there -- there would be pain and suffering if they were awake. But you're giving
them a drug that makes them not awake and -- and removes that --



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Q But also a drug that helps them forget it.

A That is -- that is -- that is true. Yes, it does because -- because the -- let's see -- so not, you know, we wish you could
do this 100 percent of the time, but some patients, of course, we have difficulty with. And the trauma patient, I'm going
to, again, give the example. You know, we have some choices, I guess, and I'm not saying necessarily in a clinical sense,
but just in terms of how these drags work and why they're chosen, but, you know, I guess -- I guess the -- the -- the first
goal would be: I don't want the patients to -- to remember this. I mean, there may be patients that are, quote, “awake,”
but I don't want them to remember that --

Q Okay.

A -- part.

Q Why do you not want the patient to remember it?

A Because that's -- who would want to remember their surgery? Or their -- that -- that experience. I mean, that's -- that's
the first --

Q And my follow-up question to that was, is it because there's a pain and -- component to the procedure?

A Yes. Absolutely,

Q Okay.

A Absolutely.

Q So why -- how do you reconcile that with your opinion that somebody who is unconscious does not experience any
pain and suffering?

A Because as -- yeah, we're not -- we're sort of going in circles, here, on this. I can tell,

As you give an anesthetic, one of the first -- so of the three components that I described, blocking memory formation
is one of the first ones to occur. And then very soon after, you -- patients become unconscious. Very soon after. But
they're very close.

And then farther, higher doses, you finally block the movement response. So if -- if-- if I am saying to myself, well, all
I want to do is, I -- I just want to block the memory, well, unfortunately, our drugs are not -- the drugs that we use do
not provide me much wiggle room in that regard. So that is, if I provide just enough to block memory, then may not be
enough to -- to produce unconsciousness. And I want to get past that. So I have to give a larger dose,

I'm not sure I have answered your question, but pain, I -- I -- I don't deny the fact, and I admit it freely, that pain and
suffering can occur in awake individuals. No doubt about it. And that could be pain and suffering from surgery, it could
be pain and suffering from other experiences. Whatever.

But in -- on my -- in my sort of opinion, as I'm a scientist and a physician, pain and suffering are words that we use
to describe experiences that awake individuals have relative to these different types of situations or stimuli. So once
somebody becomes unconscious, I don't consider them to be in the situation where they are -- or a state where they can




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have pain and suffering because you have to be awake in order to have that. I can't -- I'm not sure I can make it any
more clear to you.

Q So once -- you're -- you're assuming entirely that a patient -- or, in this context, the inmate is unconscious?

A (Inaudible response.)

Q So when we're asking specifically regarding any pain and suffering that an inmate may experience during the execution
process, as soon as the patient becomes unconscious, the period thereafter is irrelevant.

Is that your opinion?

A That is my opinion, yes.

Q So the length of the execution process, the endpoint being when the inmate is declared dead, is a moot question -- or
moot point for you; is that right?

A As long as you're maintaining the unconscious in a continuous basis, which, they are, based on my understanding of,
again, how the drug works and how, you know, the timing and all that, yes.

Q So if Mr. Bucklew's hemangiomas continue to bleed when he was lying in the supine or whatever position he may
be in -- as long as he's -- and blood is coming out of his mouth, as long as he is unconscious, he's not experiencing any
pain or suffering in your opinion?

A That is correct.

Q And is it your opinion that as a medical fact, he would not be choking or he could not suffocate -- experience suffocation
because he is unconscious at that point?

A That is correct.

Q And is this all based on the assumption that Mr. Bucklew is, in fact, what you're define- -- on what you're defining
the far end of the unconsciousness spectrum?

A That is correct. And again, I base this opinion on -- I mean, we're -- I -- I realize, we're kind of focusing on -- and as
we should -- on this particular inmate and the issues around choking and sensation. But remember, Pentobarbital is an
anesthetic. And what kind of procedures can we do on patients with an anesthetic? I'll use myself on the example: I had
heart surgery. They split my chest open, spread my chest, replaced my heart valve. Okay? Patients have had abdominal
surgery where their incision, from stem to stern, for trauma patients, from here to here. In orthopedic surgeries. These
types of procedures that go on for hours, are infinitely -- maybe that's little bit of a hyperbole -- but are much more
capable of inducing suffering and pain than, you know, the choking and gasping and so forth sensations that we are
discussing here.

And why are we able to do those types of procedures? Because this drug, like many of the other genera] anesthetic drugs,
they're anesthetics. So if we're capable of doing those types of procedures on individuals, and I think that -- that the
consensus is that those individuals are not suffering or having pain during those procedures, in the sense that we're talking
about, which is that they're awake, then yeah, I think that you're -- once this Pentobarbital begins to occur, choking or
the blood in the airway, that kind of thing, it's not that -- I mean, it's stimulating, we all have experienced stuff in our




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airway, but it's not stimulating to the extent that these other procedures are. And, again, large dose of an anesthetic, I
just -- it's -- I don't see it happening.

Q Do you agree that any length of any time in which an individual is choking is painful?

A If they're awake, would--yes. They would be in pain or -- or suffering. I'm not sure, again, we've already talked about
this, I'm not sure pain is the right word, but they would be suffering.

Q Do you agree Mr. Bucklew, as a result of his condition being cavernous hemangioma, the difficulty or the challenge in
accessing his IV lines, the uncomfort -- or discomfort he experiences when lying in a supine position, again, assuming he
would be in the supine position, do you agree that Mr. Bucklew is more likely to experience a more compacted airway
during the execution process?

A More likely compared to what? Just his normal state? Or just a normal individual?

Q Either one. Certainly his --

A Yeah.

Q His-

A It's more likely -- I think it's more likely that he would have those symptoms compared to a normal individual, because
he already has those symptoms. And lying flat is more of problem for him, and -- and he says that and I don't disagree
with that. Now, can he tolerate -- as I said earlier, can he tolerate that? Yes, he has been able to do that.

Q But lying in a supine position for an extended period of time would introduce additional stress or difficulty in his
ability to breathe. Do you agree with that?

A Yes. That would be increasing his risk for that or -- or that possibility, yes.

Q And the challenge in finding an IV line, would introduce -- has a potential to introduce additional stress into Mr.
Bucklew as well?

A Yes. I would agree with that.

Q And that additional stress has the potential to make it even more difficult for Mr. Bucklew to breathe?

A Yes. That could happen. Yes, I agree with that.

Q And as a result of these factors that we've discussed, it's possible Mr. Bucklew could experience a sensation of choking
or suffocation?

A While he was awake, yes, that would be -- that would be possible.

Q So there's an increased risk of pain and suffering that you acknowledge exists up until the point of unconsciousness.
Is that your opinion?




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A I would agree with that. So -- and you -- you're probably not going to be willing to -- to -- to assign a numerical value to
that, but -- because you're just saying increased risk, and so increased risk would be -- mean, going from 1 in 1,000 to 1 in
100 chance. I don't know what the number would be, but just because it's increased, doesn't mean it's substantial or likely.

Q Well, Mr. Bucklew has an increased risk of this, certainly in comparison to other individuals who do not suffer from
cavernous hemangioma?

A That is true, yes. He has increased risk compared to a normal individuals.

Q And increased risk compared to individuals who don't have a Mallampati 4 airway?

A Yes. That's true.

Q If you were to able to determine that it takes significantly longer than 20 to 30 seconds for Mr. Bucklew to become
unconscious from the administration of Pentobarbital, would that affect the opinions you've rendered in this case?

A I don't think so, I would say however, that -- so if-- if it took longer, than 20 to 30 seconds, it would certainly increase
the amount of time that he -- there is a potential for him to -- to have, you know, the sensations of choking and so forth
that he described.

But I have to leave it to the Court to decide whether that's a substantial -- substantial risk or not, or an increase in the
risk, I just don't know. I don't have any -- I can't really give you an opinion about that, because I don't know what that
-- from I guess a legal perspective, and I know that's a term that's used, I don't -- I'm not sure if that's substantial or
not. I really don't.

Q A substantial amount...

A Of risk. That it would be a substantial increase in the risk for him or a substantial risk for him, compared to, you
know, if it went-- if, instead of it taking 20 to 30 seconds, it took two minutes, is that a substantial risk or an increase? I
don't know. Because a substantial is a -- is a term that -- that's open to interpretation.

Q Right. And -- and -- and maybe I should rephrase the question, so we can move away from the substantial risk. But
if it appeared, in fact, was two minutes as opposed to 20 to 30 seconds, then that period of time in which Mr. Bucklew
would be experiencing suffocation and/or choking?

A Well, that risk would be there. But you're -- I think you're assuming that he -- he will have, you know, if he does have
choking sensations as the drug is being administered, and it takes two minutes for the drug to work, then yeah, I mean,
it's going to be two minutes instead of the 20 to 30 seconds that I described.

Q Uh-huh, Right. And I'm not asking you to make a legal determination --

A Uh-huh.

Q -- of 20 to 30 seconds versus two minutes --

A Yeah.

Q -- in terms of what is an acceptable level of risk?




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A Right

Q My question is more focused on your medical assessment, In terms of his -- during that additional minute-and-a-half
or two minutes, would Mr. Bucklew be experiencing or there be an increased likelihood that Mr. Bucklew would be
experiencing suffocation or choking?

A There would be an increased likelihood because of the reasons that I've already provided to you: Because he already
has those symptoms, and, you know, we're going to -- if you're going to make it longer then there's an increased risk
just because of the length.

Q I believe you stated in your report that if Mr. Bucklew started bleeding from his hemangioma, he would not notice;
is that right?

A If he was unconscious.

Q Right.

A Yes.

Q So again, we're assuming he's unconscious.

A Yes. Right.

Q Is it possible that he could bleed to an extent that it would be coming out of his orifices?

A Yes, that is possible.

Q Are you aware that Mr. Bucklew takes certain nervous system depressants?

A I -- in review -- yes, in review of his records, I -- I saw that he is taking several different types of CNS drugs. Although,
quite frankly, off the top of my head, I know that they've changed over time so I don't know specifically what he's taking
right now, as of today.

Q What were the drugs, as of the time -- or what drugs are you familiar with that he's take in the past?

A I have to look at the medical records, I don't recall specifically off the top of my head.

Q Does Clonazepam sound familiar to you?

A That sounds like one of them, yes.

Q What about Tramadol?

A I think he took that, but I -- again, I --

Q Right. Sorry. I'm not trying--

A I know.




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Q -- give you a memory test.

A I just don't remember exactly what drugs he's been on in the past, and that's now off of, and what he's on now, so...

Q Is it your opinion that-- again, assuming Mr. Bucklew is taking these depressants, that any interaction between these
depressants and the Pentobarbital would be inconsequential?

A Yes. And that's based on my -- you know, the dose that's used, it's just going to be overwhelming. The, you know, the
dose is overwhelming compared to any effects that they might have between the -- those drugs and the Pentobarbital.

Q What effects could the drugs have at a lower dosage of Pentobarbital?

A So basically, you could have what are called additive or synergistic effects where the two drug act together to produce
more of an effect than the drugs acting separately.

Q Uh-huh.

A Or they could just be additive, where they just add -- you know, work together in the same amount, so the produce
more unconsciousness or whatever effect that you're looking at. Those -- those are some of the interactions that you
would have.

I know that -- well, that -- that's just, you know, that's the main -- I think the main effect. Which, again, when I -- in my
report, I said basically, it's -- it's essentially going to be an additive effect anyway, I mean, you're using such a large dose
that it's not -- it's not important. It's irrelevant more or less.

Q Can you turn to Paragraph 14 of your supplemental report.

A Uh-huh.

Q And I believe you state here that Pentobarbital is an anesthetic?

A Yes.

Q And by definition, anesthetics prevent awakening from stimuli including airway obstruction?

A Yes.

Q So by medical definition, Mr. Bucklew, if he was starting to choke, would -- that would not inhibit him from
succumbing to the effects of the Pentobarbital?

A No. Not in -- not in this -- not in the dose of -- that's being used. So if -- if you could give a dose of Pentobarbital or
whatever anesthetic you're using, and you could get into that fine, fine line, that level where, you know, somebody would
respond to a type of stimulus, such as airway obstruction, then, yes, that -- that type of stimulus could wake somebody
up. If you're at that very, very narrow window of-- of concentrations.

But that's a very low concentration of the drug, and -- and, of course, the Pentobarbital, in this setting, is at a much
higher level. So they're not in that period for more than probably a second or two is my guess.

Q Could -- if a patient --



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A Or a couple -- you know, maybe more than that, maybe ten seconds.

Q If an inmate is experiencing suffocation and/or choking, could it affect the distribution of the Pentobarbital?

A No. No. No. No. No. No. It wouldn't.

Q What if the suffocation or the choking was to such an extent that the inmate started convulsing?

A Convulsions, I don't know why you want to use that term, because you're not going to get convulsions in this type
of setting because Pentobarbital is one of the drugs that you would use to prevent convulsions and so maybe you can
clarify about why you think obstruction would cause convulsions.

Q Well, if the patient -- excuse me. If the inmate is experiencing some sort of a choking reaction or a gasping for air before
the Pentobarbital has presumably taken full effect, as you've defined it, could that lead into some physical reaction or
physical movement of the body?

A It could, but that's not what convulsion is. We don't use that term for that type of movement.

Q Maybe I was using that imprecisely.

A That's why I got thrown off base by your --

Q Well, that's why you're the expert, to keep me in line. I appreciate that.

So could the physical reaction, through the experience of choking, affect the distribution of the Pentobarbital?

A Well, I guess if the inmate was moving to sufficiently where it interfered with the flow of the IV, right? So, you know,
I don't know where these straps are located, and it's obviously relative to where the IV is located, but I suppose if the
individual was moving around or -- or -- or basically pushing up against the -- the strap where an IV was placed, then you
could obstruct the flow of the fluid going through that. So that would be -- that would affect the distribution of the drug.

Q Is it possible that it could dislodge the IV?

A Yeah. I mean, if somebody's moving around, absolutely. If it's -- especially if it's a tenuous IV, so...

Q And then, of course, if the IV is dislodged --

(Whereupon there was a telephonic interruption.)

MR. FOGEL: Pardon me. If I'm not -- sorry.

THE WITNESS: It's okay.

BY MR. FOGEL:

Q If the IV is dislodged, that would necessarily impact the distribution of the Pentobarbital?

A That is correct.



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Q Is an anesthetic the same thing as an -- and I'm probably going to mispronounce this -- anesthesia?

A No.

Q What is anesthesia?

A So anesthesia is a term that would be used to describe the -- the -- the state or condition that is produced by an
anesthetic. So for example, Pentobarbital is an anesthetic, it produces anesthesia. And what is anesthesia? Again, going
back to my three end points, it's immobility, it's unconsciousness, it's amnesia. The ability to -- to -- to do surgery
procedures and have those end points, that's sort of what anesthesia would be.

Q Are you familiar with analgesics?

A Analgesics.

Q Analgesics, thank you.

And those are designed to prevent pain, I think we talked about earlier?

A That is correct.

Q And we've also talked about that anesthesia is also designed to cause amnesia.

Do I have that right?

A That is correct.

Q And it's your opinion that Pentobarbital would achieve all of these results? Unconsciousness, lack of pain reception,
and amnesia?

A And immobility.

Q And immobility.

A Yes.

Q And how do you know this?

A The Pentobarbital would do that?

Q Uh-huh.

A Because Pentobarbital is an anesthetic, and you can give it in sufficient doses to produce that type of picture or that --
that state. Pentobarbital's used -- I don't think it's used -- as I said earlier, it's not used at all, clinically, for that particular,
you know, in that setting. It could be used in animal studies or animal experiments or animal surgery; although, even
now, veterinarians don't do it because it's such a long-action drug. At the dose that you need to give, it would last too long.

Q Understood.



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A Yeah.

Q Understood.

So to what extent did you rely upon Mr. Bucklew's medical -- excuse me, the records from his prior surgeries from 2000
and 2003?

A I relied -- I think it was an important part of my analysis because one of the issues that came up initially, and maybe
it's still -- it will be a factor, I don't know, but it has to do with distribution of the drug. That -- that there is a contention
that this hemangioma would affect the distribution of the Pentobarbital. And so my -- the process that I went through
to refute that is that well, he had that hemangioma back in 2000 and 2003, and it was a low-flow hemangioma, and
he reacted normally to the anesthetics. And that is -- the that the documentation was that he was unconscious, he did
surgery, he reacted normally. So I think that was an important piece of information to show that he doesn't rea- -- he
would not react abnormally to anesthetics.

Q Did you take into consideration the fact that those procedures were 13 and 17 years, respectively -- 17--13 and 17
years ago, respectively?

A I did and I thought about, well, how -- how much larger has the hemangioma gotten, has it changed its characteristics?
And it has not, based on my review of his medical records. So, for example, the hemangioma was slightly smaller when
comparing 2010 to 20-- 17 -- '16, slightly smaller. The -- he had an angiogram done in -- I'd have to review the records,
I forget exactly when the angiogram was done, but it was done at some point, and it showed that it was a low-flow
hemangioma, so it showed there wasn't much blood flow it to.

The image study that he had done in 2016 used a -- what's called CTA or computer -- computer demographic
angiography, I think I got that right, I may have it a little bit off, but CFT for short. They can use that technique to
look at the blood flow of the hemangioma, there was low blood flow to the hemangioma. So the characteristics of that
hemangioma, in that regard, have not changed over the years, so I don't see how it could have...

Q But aren't those procedures different because they were affirmatively trying to control for Mr. Bucklew's blocked
airway? I -- I -- I can't recall, perhaps, if there was a kaleidoscope or some sort of tool that was used to control for his
breathing?

A During?

Q The 2000 and 2003 procedures.

A No, I don't think so. I think they just used direct laryngoscopy.

Q Well, they used some sort of device to control for his blocked airway.

A But it's just the device that they normally use.

Q But that device would not be used in the context of an execution.

A There would be no reason to do so.




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Q Right. So aren't there fundamental differences between how Mr. Bucklew reacted during those procedures in 2000
and 2003, as he would during an execution?

A No, I think you're -- you -- you, and perhaps, Dr. Zivot, are -- are -- are conflating and -- and putting together the
issues around the airway management with his reaction to the anesthetic drugs, themselves.

Q And you're saying that he would react the same?

A Correct. Because as you well know, Dr. Zivot and -- and Dr. Wippold, and Jamroz, but primarily Dr. Zivot said, at
least in some of (he initial reports that I read, that there would be an abnormal distribution of the drug. And that's just
not true. And it doesn't make any sense to me in terms of (he anatomy or physiology of this hemangioma.

Based on my understanding of how these hemangiomas are -- their structure, and just to prove my point, the inmate
had surgeries in 2000 and 2003, when the hemangioma was quite large. I don't know what it was compared to what it
is now, but it was large enough that he was having treatment for it, and in -- reacted normally. So that is separate from
the airway issue.

Q Right. Okay. And so that's the distinction, I think we're -- we're just talking past each other, His procedures in 2000
and 2003 do not tell you anything in terms of how he may or may not have experienced feelings of suffocation or be
choking during an execution process?

A I wouldn't say they don't tell me anything, because he did have a large hemangioma then. Unfortunately, I don't know
how large compared to what size it is now. But it was described in the records as being, again, large, I mean, that's sort
of one of the terms that was used.

Q Right But they controlled for his airway --

A That's correct.

Q -- during the course of (he procedures, which, of course, they would not do during the course of the execution?

A That is -- that is correct. But it's -- but it's controlling -- they were controlling for his airway when he was unconscious,
and, again, it just doesn't matter to me what's happening because he's unconscious in terms of the lethal injection process,

Q One of your conclusions --

THE REPORTER: Are you moving on to a new subject? I need a break.

MR. FOGEL: Okay.

(Whereupon there was a break in (he proceedings.)

BY MR. FOGEL:

Q Dr. Antognini, we were talking about the fact that choking may have under the distribution of the Pentobarbital.
What about the bleeding from Mr. Bucklew's hemangiomas? Could that have an effect?

A No, I don't think so.




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Q Even if the blood with was coming out of his orifices?

A No. It wouldn't affect the circulation of the drug. Well, so I'm -- I'm going to make sure, it has been -- it's getting --
been a long day, I may not be as focused as I should be. Can you repeat the question.

(Whereupon the record was read.)

THE WITNESS: Could the bleeding have an effect on the distribution of the drug, was the question --

BY MR. FOGEL:

Q Correct.

A -- I believe.

Okay. No. If -- I mean, if he had -- if somebody had massive bleeding from something, and by massive, I mean, we're
talking about hundreds of MLs or thousands of MLs, that kind of setting, that of course affects the distribution of drugs.
Because it's distributed by the bloodstream, so if you're bleeding -- but even bleeding from a hemangioma of this type,
you know, wouldn't affect that because it's a low-flow hemangioma. The blood flow to it is low, relatively speaking. So
you're not -- so there's not going to be a lot of blood actually going through that. Of course, it's in a sensitive area, I
admit and agree with Dr. Zivot that in the awake condition, Bucklew could have choking conditions from the bleeding,
but it's not enough to affect distribution of the drug.

I'm trying to think of a scenario whether either the choking sensations or the bleeding, itself-- I mean, there is a -- and
I'm, you know, I don't mind saying this, you know, you might think it's pertinent or not, I mean, it's not because, again,
we're talking about a massive dose of drug. But if somebody is choking, it could affect the mechanics of blood flow
through the -- through the thorax, basically. But that's, again, sort of small compared to the overwhelming effect of it
in terms of the dose of the drug that's being given.

And the main thing that's going to affect distribution of this drug, in my opinion, is the rapid onset of hypo- -- severe
hypotension. And that doesn't actually help in your case in any way whatsoever. Because when that blood pressure drops
from that Pentobarbital, it -- the one thing that -- that keeps -- that brings the blood concentration down of a drug -- I
shouldn't say the one thing -- but the main thing in this particular time period, the one thing that brings the concentration
of the drug down, is that it gets redistributed to other organs, so the brain is what we call a high-flow organ, the heart
is a high-flow organ, it gets a lot of blood flow.

So the drug starts to go there first, but then, you know, there's blood flow to other tissues, so the drug gets -- we call it
redistributed to other tissues. But that's not going to happen in this setting, because that severe hypotension that happens,
the circulation is essentially going down, close to zero, and you're not going to redistribute that drug. So the drug that's
in the brain now, normally if it was a low dose, it would be sort of washed away, and it's not going to happen in this
setting. So it goes into the brain, and it slays there.

Q So going back to my original question --

A Yeah.

Q -- which is just --

A Yes. Yes.



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Q -- regarding the blood -- the bleeding from Mr. Bucklew's hemangioma, which you've acknowledged is a possibility
that could happen as a result of the execution, the answer to my question is, you do not think it could affect distribution
of the Pentobarbital?

A Right. Correct.

Q You've also rendered an opinion regarding lethal gas?

A I did say something about that, yes.

Q And it's -- I'll read it directly from your opening report. And it's at paragraph 26.

A Yes, I see it.

Q You said, (reading):

“The use of lethal gas would not significantly lessen any suffering or be any less painful than lethal injection in this
inmate.” Why does lethal gas not hold any advantage compared to lethal injection?

A Well, essentially, because I think that the -- I use the term lethal gas but there are several -- several types of gases --
maybe more than several, there are a lot of types of gases that could be used for -- for -- to kill somebody, I guess. They're
not necessarily ones that will be used or have been used in executions.

You know, the one that comes to mind is cyanide gas, and, you know, I -- I don't know if anyone's used nitrogen in
an execution, I don't know the answer to that question. I -- I think somebody has, some state has done that, but I'm
not positive about that. And those have effects that may not be pleasant either, but it would be short-lived, just like it
is with the Pentobarbital.

So that's why -- I mean, I do -- I -- I, you know, drew a conclusion and I said I didn't think in my opinion that it would --
you know, using gas would not significantly lessen any suffering or be less painful. Because, again, their onset of action
is going to be relatively fast, just like Pentobarbital's onset -- onset of action. So that's why I -- I drew that conclusion.

Q That's it? Simply because it would happen quickly?

A Correct.

Q You think there would be no difference?

A That's --

Q Did you take into consideration what position the individual might be sitting or lying in?

A No. I did not, no.

Q Did you consider the fact that using lethal gas would not require the use of accessing an IV line?

A I did not, I mean, I -- obviously, I know that. But I don't think that the -- inserting an IV line is, as I said, significantly
increasing the -- the -- the amount of pain,



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Q Right. I mean, we've -- we've --

A Yeah.

Q -- talked plenty --

A Right.

Q -- about your opinions --

A Yeah.

Q -- and understandings regarding accessing Mr. Bucklew's IV lines.

But what -- what are you relying upon, in terms of how a lethal gas execution operates, to form this conclusion?

A Let's see. Again, I -- I referred to I believe examples of nitrogen and of cyanide. Because I know -- of course, we all
know cyanide has been used in the past, that was used in California and elsewhere. I don't know whether other gases
that have been used in executions --

Q Sure. Putting aside --

A Okay. I know --

Q Okay. Okay.

A I just -- I want you to know I'm trying to answer your question in giving you the background of why it formed my
opinion.

So I thought in mind, okay, well, how does cyanide work and how quickly does that work and what kind of suffering
may be occurring? And I'm, quite frankly, thinking about, you know, maybe -- as I look back in my review of this, at
this -- at that point, I did probably look at reports of cyanide, you know, using cyanide as a lethal injection, and -- and
I think that those could be -- to -- to use a rather -- not -- maybe not the best term, but it could be kind of messy. In
the sense that, you know, inmates can be -- can have convulsions from the -- from the cyanide, and that might be true
for the nitrogen, so I'm -- I'm looking at, you know, the -- the pain and suffering that might occur from Pentobarbital
compared to what my understanding of lethal gas would be and that's why I formed that opinion.

Q Right. And my -- my question is, what informed your understanding of a lethal gas?

A So for the cyanide one, I guess it'd have to be, I might have reviewed -- I -- I really don't remember. But I'm not trying
to be evasive about this.

Q Is there anything in your materials reviewed that you could point to?

A No. I didn't put that in there. No, I did not. Now, as far the nitrogen part, just based on my -- my experience, my
scientific experience -- not the right word. My scientific knowledge of -- of using nitrogen, when you go from, you know,
air is 80 percent -- 79 percent nitrogen. When you go from 79 percent nitrogen, now to 100 percent nitrogen, you know,




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you quickly achieve hypoxia and somebody would be unconscious very quickly and, you know, it depends on how
quickly the gas is introduced and all of that.

So I -- again, I'm just saying sort of based on what I know, that's why --

Q And how do you know how quickly a gas is introduced?

A Well, I don't know that. I mean, it could be introduced very slowly and cause a lot of suffering, I guess. You know,
you get -- you can get suffering from hypoxia, you know, because somebody can be awake and realize that they're not
getting enough oxygen. So depending on -- on how it's used, you might get more suffering from nitrogen gas than you
would have Pentobarbital. Or you might get less suffering, you know, it depends on how you would use it, I guess. And
I'm not making any recommendations to anyone about how --

Q Understood.

A Yeah.

Q I'm just still trying to get at my first question, which is, how you -- what you are basing your conclusion on, that lethal
gas would cause significantly less -- excuse me, strike that.

What you're basing your conclusion on, that the use of lethal gas would not significantly lessen any suffering or be less
painful than lethal injection?

A Well, I already said to you, I looked at -- my recollection is, I suspect I looked at some information on -- on the use
of-- of cyanide as a lethal gas, and then I just looked at -- or had my -- my understanding of what happens with hypoxia
based on over the years. I mean, obviously, as an anesthesiologist, we're very concerned about hypoxia and we study
hypoxia and all of that, and that's how I came to that conclusion. But it's not -- I -- I will admit that it's not perhaps as
well founded as some of my other conclusions.

Q Are you relying upon any information that you were given by the Attorney General's Office --

A No.

Q -- in forming that conclusion?

A No.

Q Dr. Antognini, are you being compensated for your time today?

A Yes.

Q Are you being compensated for the time you spent in preparing your reports?

A I am.

Q How much are you being compensated an hour? Do you charge an hourly rate?

A I do. It's -- well, for the deposition, I think it's a -- it's a flat rate, I can't remember what it was, it's in my -- I think it's
in my report. I believe, in the first one. I think it's $2,000 for a deposition appearance.



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Q It's a flat rate?

A Yeah.

Q Okay.

MR. FOGEL: We don't have anything further at this time.

MR. SPILLANE: All right. I'll try and move quickly.


                                                      EXAMINATION

BY MR. SPILLANE:

Q You're a board-certified anesthesiologist; is that right, sir?

A Yes.

Q Do all board-certified anesthesiologists have expertise in setting central lines, such as subclavian or femoral vein lines?

A No. I wouldn't say that all of them do. I would say that -- that is part of their training, but if-- you know, just because
they've trained -- been trained to do that, does not mean that they continue to do that in their particular practice, so I
wouldn't say that all board-certified anesthesiologists would be experts in...

Q Well, I probably asked a bad question. I'll start out with this: Every board-certified anesthesiologist is trained how to
do that or he wouldn't be a board-certified anesthesiologist?

A That's correct. That is part -- that's a part of training. But, you know, some people, their -- their practice may be that
the/re doing outpatient surgery -- or anesthesia for outpatient surgery, so they may not place central lines ever.

Q What type of surgeries does one use a central line?

A It would be heart surgery. It could be somebody who's having a major abdominal surgery. It could be some type of
orthopedic procedure, where there's going to be a lot of blood-loss, I guess. Or a spine surgery. And then somebody
who's particularly sick, and you can't get -- you don't have good IV access, and you wanted to, you know -- if you're
having problems with that, which we've already discussed, then -- then, you know, you would put a -- a central line in
that kind of patient.

Q When you examined Mr. Bucklew, were you able to physically view his uvula?

A I did see his uvula, just the very top of -- of it. But I -- I did sort of waffle, whether it was a Mallampati 4 or 3, because
I was able to see part of his uvula. And generally speaking, when you have a Mallampati 4, you don't see any of the
uvula. But I still have nevertheless called it a 4, because the Mallampati score -- and maybe, I mean, I -- I think clinicians
use that scoring system in maybe not the most consistent way. So for example, if I had somebody who's thin, but just
has an abnormal, maybe have a very small chin or whatever, they may have a -- I look at them and I say, “Oh, they
have a Mallampati 3 because I can -- I can see just a part of their uvula,” but if I have somebody like with this inmate,
I mean, it's -- it's not just a question of being able to see, I mean, he has a large mass there, I would say maybe sort
of maybe fib -- fib, I shouldn't say that in a deposition -- but I would move more toward saying a Mallampati 4, just


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so show people, “Hey. This is a potentially difficult airway.” Which I don't deny, he's got a, you know, from a clinical
perspective, it could be a challenging airway.

So to answer your question, I know it was more -- it was a “yes” or “no” question, but I wanted to provide some feedback,
I did see part of his uvula.

Q Okay. And -- and as I understand it, and correct me if I'm wrong, if you see part of the uvula, it's generally not a
4; is that fair?

A That is -- that is correct.

Q Okay.

A But I did not say that in my report.

Q All right. That's what I --

A That was my recollection -- yeah, that was my recollection, that I did see part of his uvula.

Q Let me ask you about your conclusion of-- on pain and suffering. Those are two different things; is that fair according
to your testimony?

MR. FOGEL: Objection.

BY MR. SPILLANE:

Q If you understand my question, you may answer.

A Yeah.

Q And if I stated it wrong, tell me.

A Yeah, I would say that they are two different things. So basically, pain is a -- suffering can occur from a variety of
different types of situations or -- or stimuli, and pain is part of that. Pain, generally speaking, will cause suffering. But
you have suffering from some -- some -- from something else that's not painful. So, you know, with all suffering, we
have emotional suffering from things that happen in our family and all of that, but that's different than the suffering
that occurs from a painful stimulus.

Q As I understood your testimony on direct, you testified that there would be no pain 20 to 30 seconds after the chemical
entered the bloodstream in the IV; is that accurate?

MR. FOGEL: Objection. Misstates the witness's testimony.

BY MR. SPILLANE:

Q You may answer, if I got it right. If not, tell me.

A That is correct. That -- that 20 to 30 seconds after the injection started to enter into the -- actually into the bloodstream.




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Q When you --

MR. FOGEL: Hold -- hold -- hold on. That's not even close to what you testified about. I mean, fine. I can redirect, but...

MR. SPILLANE: The record will reflect.

MR. FOGEL: Fine. That's fine.

THE WITNESS: Well, I don't remember what I said I mean, we can read it back, I'm happy to -- I'm trying to . be
consistent, but that's --

MR. FOGEL: Understood.

THE WITNESS: Maybe I'm not using the right words.

MR. FOGEL: For 20 to 30 seconds from entering the bloodstream; right? We've been talking about unconscious the
entire day, but it's different. But Mike, go ahead and ask your question.

BY MR. SPILLANE:

Q I asked about pain. You indicated, as I understood your direct testimony, that when the person is unconscious with
this dose of Pentobarbital, they would not feel pain.

Did I get that correct?

A That is correct. That is my opinion,

Q So they would not feel pain 20 to 30 seconds after the chemical entered the bloodstream from the IV; is that accurate?

A That is my testimony, yes.

Q Let me ask you a little bit of how you got there. Did you think about blood concentrations when you made that
conclusion?

A Yes.

Q Tell me what you thought.

A So I looked at -- as I said, I quoted that study in my supplemental report from Ehrnebo. And basically, what they
-- what he did in that study is, he took humans and he gave 100 milligrams of Pentobarbital intravenously and then
he measured the blood levels of that drug. And typically, what happens when you do that kind of study, you give the
drug, and then you start taking blood samples and measuring the concentration of the Pentobarbital in the blood. And
if you look at their -- his figure, which is figure 1, I think, it shows a typical high level and then it just starts to fall off
and go down and decrease.

So one thing that you can do, as an approximation is, that you can look at those blood levels and say, “Well, if this is
the concentration that you achieve with 100 milligrams of Pentobarbital, what concentration would you achieve with
5,000 milligrams?” Which is -- is 50 times 100.




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Let me make sure I got that right. So as a first approximation, you could just say -- look at the peak level there, and
say, “All right. Well, if they achieved -- or I should say, if you look at the blood levels, if they achieved in that study the
average -- at six minutes after the injection, the average was about 2.9 micrograms per ML, you just multiply that by 50,
and say, “Well, it would be about 145 micrograms per ML at six minutes.”

Now, mind you, in that -- in that particular study, that was the first time that they had taken a blood sample. If they
had taken a blood sample earlier on, it would have been higher because that's what happens with these drugs, their
concentration falls off as the blood is redistributed.

Now, I will admit to that -- that analysis is an approximation and, in fact, he might -- you can go on and claim that
there's an error there, that I'm wrong. But I'm not wrong in the direction that would aid you, as I mentioned earlier.
Because when you get that incredibly fast -- well, I shouldn't say -- when you get that rapid onset of hypotension, sudden
or severe hypotension, that drug is not going to redistribute. So if you were to able -- if you were able to measure the
blood levels on that setting instead of falling off like that study showed, it would -- it would be de-elevated. Because the
blood pressure is so low that the drug is not being redistributed so the blood levels are staying very high.

Q How many micrograms per milliliter of Pentobarbital in the blood are necessary to achieve the high level of
unconsciousness that you spoke about, near comatose? MR, FOGEL: Object to form.

THE WITNESS: So I -- can I answer? Or...

BY MR. SPILLANE:

Q If you understand my question, you can.

A So I -- I relied on the package insert that has a table in it that I referred to in my report, and they have some drugs listed
there. And the first drug listed is Pentobarbital, and there -- there're five degrees of depression listed there. And No. 3
says, “Comatose, difficult to arouse, significant depression and respiration.” And then No. 4 is, “Compatible with death
an aged or ill persons, and then -- or in the presence of obstructed airway.” And then No. 5, “The usual lethal level.”

So just taking No. 3 as an example of comatose, No. 3 says you need 10 to 15 micrograms per ML; No, 4 is to 25; and No.
5 is 15 to 40. Obviously, they -- they've given a range because it's going to be sort of individualized. And at six minutes,
based on that study, just looking at the average, it would be about 145 I think is what I calculated. 50 times -- about 2.9.
So that's ten times the amount that would be needed to achieve level 3.

Now, mind you, that was the concentration that -- that -- that calculation I just did, of 50 times 2.9, that was the using
the concentration of Pentobarbital at six minutes. But the concentration of Pentobarbital in those individuals at, maybe,
one or two minutes was probably, you know, I don't know for sure, I -- I did some calculations and I -- I can't remember
off the top of my head, but it's higher. So if you, now, take that factor of 50 and multiply that, at that point in time,
one or two minutes after the drug's been injected, now we're talking -- could be 200 or 250 micrograms per ML of the
Pentobarbital. From this massive dose of the Pentobarbital.

All right. So we're at this very high level, and then, as I said, this sudden and/or this rapid severe hypotension and that
drug is not going to get redistributed, so it's not going to fall off. So it starts out very high, and it stays very high. That's
why this drug is a lethal -- is a lethal agent administered in the way that it does.

Q Is that calculation you just told me about part of the reason you concluded that this person would be deeply
unconscious and not feel pain at 20 to 30 seconds?




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A That is part of the reason.

Q Tell me the other reasons.

A Well, the hypotension is going to make somebody unconscious. So if you take a normal individual and you make them
hypotensive, I mean, they can main- -- people can maintain unconsciousness -- sorry. People can maintain consciousness
when they're hypotense, you know when nothing else is being given. But when you give an anesthetic like this and it causes
the hypotension, and it's going to act synergistically, because you need blood flow to the brain to be able to maintain
consciousness, and this drug -- and in addition to the effect it's having on the brain, it's decreasing blood pressure, so
the blood flow to the brain is going to be decreased as well. So that's going to exacerbate the problem of maintaining
consciousness.

And then finally, the inmate is going to stop breathing, their oxygen source is going to go down and they will become
hypoxic, and then you can't maintain consciousness when you're hypoxic, so those factors all combine to produce death,
and, you know, unconsciousness and death. So that -- that's how I envisioned what was happening in this scenario.

Q I want to clarify something we talked about earlier.

As I understood the earlier testimony, there might be a period when the person had some level of unconsciousness, where
he could still experience pain or some level of-- perhaps, I'm using the term wrong, semi-unconsciousness, did you reach
an opinion of how long that would last?

A I have an opinion about it, I -- but it's -- it's more based on my -- my understanding of the -- the drug and the kinetics,
and not so much about the, you know, having done a calculation. Because in order to be able to -- to answer that question,
first, we have to decide, okay. Well, what -- what is the period during which --

MR. FOGEL: Objection, The question was, did you reach an opinion? I think it's --

MR. SPILLANE: I think he said “yes,” and then kind of...

THE WITNESS: Okay. Yes, I did reach an -- I have reached an opinion.

BY MR. SPILLANE:

Q Okay, Let me ask you this: What -- what opinion did you reach?

A That it would occur rapidly. And by rapid, I'm -- I'm -- I'm going to estimate that it's probably going to be in the range
of maybe ten seconds. I mean, that's just a -- a -- a -- I'm -- based on my working with these figures and how quickly this
drug is getting in and so forth, that this period, as I think Dr. Zivot is describing, where, you know, the -- the inmate
would be in this period where he would be able to maintain -- or sense that choking sensation, it's going to be ten seconds.
But I think that's going to be within that 20 to 30 seconds that I described. It's not going to be in addition to the to 30
seconds. It's a ten second, let's say, a ten second window within that 20 to 30 seconds.

Q So I'm going to ask you the question, just a different way:

During the 20 to 30 seconds you described earlier, is there a period of ten seconds where he might feel something; is
that what you're saying?

A Sorry, within that 20 to 30 --



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Q Yeah, is it before? Or is it within? I didn't --

A Within. It's within.

Q It's within.

So in the 20- to 30-second period, there might be ten seconds where he could feel something; is that what you're testifying
to?

A That is correct. But just to clarify, I mean, he could also experience before that ten seconds -- I mean, obviously when
he's awake, he can experience as I've testified.

Q Right. Thank you.

I don't have think I have any further questions, Doctor.


                                                FURTHER EXAMINATION

BY MR. FOGEL:

Q Clarify quickly: On that last question, matter of clarification, states lawyer asked you if you had reached an opinion on
how long this state of mild unconsciousness, somewhere else on the spectrum besides this total unconsciousness, whether
you had reached an opinion; is that opinion set forth anywhere in any of your reports?

A No.

Q And you also -- also talked about there might be some ten seconds, where he would experience this level of mild
unconsciousness, some level of unconsciousness, somewhere away from the far end of the spectrum. Is this ten-second
period identified anywhere in any of your reports?

A No. Not -- not a -- a actual quantitative number is not.

Q Okay.

MR. FOGEL: No further questions.

MR. SPILLANE: All right. That's all I have. Thank you.

(Whereupon the deposition of Joseph F. Antognini was concluded at 3:27 p.m.)



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May 26, 2017

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        I have received and reviewed the “ADDENDUM TO BOP EXECUTION PROTOCOL FEDERAL DEATH
SENTENCE IMPLEMENTATION PROCEDURES” as well the available literature and case studies in the public
domain. Specifically, I was asked to review the draft protocol and address the question:

“Will the proper administration of this draft protocol cause a humane death, or will it present a risk that its
application is sure or very likely to cause serious illness and needless suffering, putting the agency at risk to
losing legal challenges alleging the unconstitutionality of the protocol as applied under the 8th Amendment
(cruel and unusual punishment)? Why or why not?”

        In my expert opinion, based on deep knowledge of the pharmacology of pentobarbital sodium, the protocol as
drafted will produce a humane death with limited suffering and pain.             The total dose of pentobarbital sodium
administered intravenously is 12-35x above the maximum tolerated dose administered to man (140-420 mg IV; many
sources state a maximum IV dose in man of 150 mg (the draft protocol would then afford 33x above the maximum dose in
man that elicits sedation/unconsciousness in 10-30 seconds)). At the doses administered (2.5 g x 2 IV), the person
receiving the infusion will lose consciousness within 10-30 seconds after the first injection, and respiratory
depression/heart failure will ensue within minutes.    The person receiving the infusion will be unaware of any pain or
suffering due to the rapidity of the effect. This protocol is more humane than the other double and triple agent injections
still employed. Case histories that are available with single agent pentobarbital sodium detail highly consistent results and
extremely rapid and peaceful passing (as relayed by witness accounts).       The protocol states that “the lethal substances
shall be prepared by qualified personnel” and “A suitable venous access line or lines will be inserted and inspected by
qualified personnel…”     If pentobarbital sodium of appropriate quality and IV preparation, along with proper IV lines in
place, are adhered to, the draft protocol will provide a humane death. To guard against ay failure of drug administration,
the draft protocol provides for: “If peripheral venous access is utilized, two separate lines shall be inserted in separate
locations and determined to be patent by qualified personnel. A flow of saline shall be started in each line and
administered at a slow rate to keep the line open. One IV line
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will be used to administer the lethal substances and the second will be reserved in the event of the failure of the first line.
Any failure of a venous access line shall be immediately reported to the Director or designee.”              The draft protocol
includes the proper safeguards that will further ensure proper administration of pentobarbital sodium (2.5 g x 2 IV) that
will cause a human death. As such, my professional and expert opinion is that the draft protocol does not present a risk
that its application is sure or very likely to cause serious illness and needless suffering, putting the agency at risk to losing
legal challenges alleging the unconstitutionality of the protocol as applied under the 8th Amendment (cruel and unusual
punishment). Of all the available options and protocols in use today, I believe this protocol to be the most humane.




Respectfully,
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     1                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
     2                                WESTERN DIVISION

     3      ___________________________________
                                               )
     4      IN RE:  OHIO EXECUTION             ) CASE NO. 2:11-cv-1016
            PROTOCOL LITIGATION                )
     5      ___________________________________)  VOLUME III

     6

     7                         PRELIMINARY INJUNCTION HEARING
                            BEFORE THE HONORABLE MICHAEL R. MERZ
     8                         UNITED STATES MAGISTRATE JUDGE
                           THURSDAY, JANUARY 5, 2017; 9:00 A.M.
     9                                   DAYTON, OH

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    18           Proceedings recorded by mechanical stenography,
            transcript produced by computer.
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     1           P-R-O-C-E-E-D-I-N-G-S                               9:05 a.m.

     2                   THE COURT:     This is Case Number 2:11-cv-1016.

     3             I understand that our first witness this morning will

     4      be Dr. Antognini out of order?

     5                   MR. MADDEN:     Yes, Your Honor.

     6                   THE COURT:     Very well.

     7           JOSEPH FRANCIS ANTOGNINI, PLAINTIFFS' WITNESS, SWORN

     8                   THE COURT:     Sir, would you please state your full

     9      name and spell your last name for the record?

    10                   THE WITNESS:     Joseph Francis Antognini,

    11      A-N-T-O-G-N-I-N-I.

    12                   THE COURT:     Your employment, sir?

    13                   THE WITNESS:     My employment, sir?

    14                   THE COURT:     Yes.

    15                   THE WITNESS:     I am currently employed with the

    16      Joint Commission.       It's an accrediting agency for hospitals

    17      and other healthcare organizations.

    18                   THE COURT:     Right.

    19                   THE WITNESS:     Which I just started.

    20                   THE COURT:     JCAHO, have I got that right?

    21                   THE WITNESS:     The Joint Commission is its official

    22      title.

    23                   THE COURT:     Your witness, Mr. Madden.

    24                   MR. MADDEN:     Thank you, Your Honor.

    25                                 DIRECT EXAMINATION


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     1      BY MR. MADDEN:

     2      Q.      What has been your occupation?

     3      A.      Most of my career has been spent as an anesthesiologist

     4      at the University of California, Davis.            Prior to that, I

     5      was in private practice.

     6      Q.      What education and background do you have to hold that

     7      position as an anesthesiologist?

     8      A.      After graduating from college, I attended medical

     9      school at University of Southern California, and then

    10      residency at University of California, Davis, an

    11      anesthesiology residency.         I finished that residency in

    12      1987.

    13              And then practice, private practice of anesthesiology

    14      from 1987 to 1991, and then moved over to the University of

    15      California, Davis, where I was a faculty member.

    16      Q.      Let's go back to your private practice experience.

    17      A.      Yes, sir.

    18      Q.      Can you tell the Court about that?

    19      A.      So that was a small community hospital in the

    20      Sacramento area, and I took care of patients at that

    21      hospital for a variety of different surgical procedures.                   I

    22      provided anesthesia for those patients.            I provided

    23      anesthesia for patients having neurosurgery, orthopedic

    24      surgery, obstetrical surgery, plastic surgery, gynecological

    25      surgery, vascular surgery.         I did anesthesia for


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     1      electroconvulsive therapy.         And surgery that I did not

     2      provide anesthesia for was open heart surgery because they

     3      did not do open heart surgery there.

     4      Q.     After private practice, what kind of work did you do?

     5      A.     I went to the University of California, Davis, where I

     6      was a clinician.       Did clinical work.       Continued to do

     7      clinical work, and then I did research, teaching of medical

     8      students and residents.

     9      Q.     Did you do clinical work during this period?

    10      A.     Yes, I did.     I continued to do clinical work at the UC

    11      Davis Medical Center.        And then cases that I did very

    12      similar to what I did in private practice, that is, I did

    13      anesthesia for neurosurgery cases for orthopedics,

    14      gynecology, obstetrics, and so forth.            But, again, I did not

    15      do anesthesia for or provide anesthesia for patients having

    16      open heart surgery.

    17      Q.     Now, you said you did clinical research.            Did I get

    18      that right?

    19      A.     I -- most of my research was actually basic science

    20      research.

    21      Q.     Okay.   And can you tell the Court about that?

    22      A.     So my interest was in anesthetic mechanisms,

    23      specifically where do anesthetics work to produce some of

    24      their outcomes, or the goals of anesthesia.             And I was

    25      primarily interested in how they produced immobility, that


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     1      is, how they prevent people from moving as a result of a

     2      stimulus.       So that was the focus of my work.

     3      Q.      Let's turn to your CV.        Defendants' Exhibit 94.       And

     4      what volume is that?        III.

     5      A.      Okay.    Yes, I have it here.

     6      Q.      Can you turn to your CV?

     7      A.      Yes, I have it.

     8      Q.      Looking at your CV, it seems you have written a lot of

     9      articles specific to a certain field.            Can you explain that?

    10      A.      Most of my work was -- my research work was related to

    11      understanding the relationship between anesthesia and

    12      noxious stimulation, to try to determine, number one, where

    13      the anesthetics are working to produce the immobility that

    14      we see with anesthesia, but also to look at the other

    15      responses that occur during anesthesia from noxious

    16      stimulation.

    17              So, for example, I was interested in how -- where

    18      anesthetics worked to produce the, or affect the response

    19      that occurs from noxious stimulation in terms of the heart

    20      rate and blood pressure.           As an example, when you apply

    21      noxious stimulus, the heart rate will usually go up, the

    22      blood pressure will go up, and I was interested in looking

    23      at that to determine where anesthetics might work to do

    24      that.

    25              So really a lot of what I did was to determine where


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     1      anesthetics were working to produce their effects

     2      specifically related to immobility.

     3      Q.      Now, why did you study that field?

     4      A.      It was just something that was very interesting to me,

     5      number one.     It was also something that -- immobility's a

     6      critical end point for anesthesia, and it was very important

     7      in my mind to understand where the drugs are working to

     8      produce that.      And it just happened to be a time in my

     9      career where I had that interest.

    10              And also some of my mentors had been doing some work,

    11      not really related to these ideas, but the techniques that

    12      they were using were -- I could use myself in the area that

    13      I wanted to look at this.         So it was just a great example of

    14      having the right timing in terms of having the interest but

    15      also having the resources and mentorship to be able to do

    16      that.

    17      Q.      And how did you conduct this research?

    18      A.      So most of my research was with using animal models.

    19      And so, of course, you get a protocol to approve -- approval

    20      from the animal care committee, and then you carry out the

    21      experiment, obtain your results.           Obviously when you do an

    22      experiment, you have a hypothesis, and then you do the

    23      results -- or do the experiment and get results.               Sometimes

    24      results confirm your hypothesis, sometimes they don't.                And

    25      so once you get the results, you write the paper up.                And


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      1      that is the sort of the final product of the process.                You

      2      write the paper and then you submit it for peer review.

      3      Q.    It seems like you've written -- looking at your CV, it

      4      seems like you have written quite a bit of publications.

      5      Did you publish your work in peer review journals?

      6      A.    Yes.    The vast majority of my work was published in

      7      peer review journals.

      8      Q.    Tell the Court about your peer review experience.

      9      A.    So, essentially, the peer review process is where you

     10      submit the paper to a journal and the journal will send the

     11      papers to reviewers.        And those reviewers are usually going

     12      to be colleagues, or I should say people that are in the

     13      field, and they will look at the paper and they will make

     14      comments and provide those comments to the editor and

     15      editor-in-chief who will then make a decision about whether

     16      to reject the paper or to have you revise it and then

     17      resubmit it.

     18            And, you know, sometimes my papers were rejected, and

     19      I'd send them somewhere else, and eventually they would get

     20      published one way or another.          But that's the way the peer

     21      review process works.

     22            In my career, I reviewed many papers.            I was an

     23      associate editor for the premier journal in our field,

     24      Anesthesiology.      So I was on the other side as well

     25      reviewing papers.


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      1              And I would just add that when you have your paper

      2      reviewed, you submit your paper, it's obviously a very

      3      personal thing to you and people are going to make critiques

      4      of it, and sometimes those critiques can be very painful to

      5      the heart, so to speak, but I would say that about 95

      6      percent of the time my papers were improved because of the

      7      peer review process.

      8                   THE COURT:     Well, many of us in the legal field

      9      wish that the publication of law reviews would adopt that

     10      model because it's even worse being reviewed by students who

     11      haven't quite gotten my view.          That's what happens in the

     12      legal field.

     13                   THE WITNESS:     I'm sorry.     I can't help you with

     14      that.

     15                   THE COURT:     I understand.

     16      BY MR. MADDEN:

     17      Q.      So what has been the focus of not just your research

     18      but your peer review articles?

     19      A.      Well, as I said, most of these projects that I did,

     20      they were published in peer review articles.              So, again, it

     21      was around the concept of where do the anesthetics work to

     22      produce some of the effects, and specifically immobility.

     23      Q.      Now, after your career in research, what did you do?

     24      A.      So in about 2010, I became -- moved over to more of an

     25      administrative role in the department and hospital, and I


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      1      became director of the operating room.            So I had

      2      responsibility for about 550 people, nurses and technicians,

      3      the central sterile area, and so forth, and did that for

      4      about five years.       And just recently retired from the

      5      university about six months ago to move down closer to

      6      family in Southern California.

      7      Q.    And after your retirement, what have you been doing?

      8      A.    My current employment is, I'm part time with the Joint

      9      Commission, and that's reviewing hospitals, going out and

     10      looking at hospitals to see how they are doing in terms of

     11      their processes and so forth for accreditation.

     12                   MR. MADDEN:     Your Honor, at this time I move to

     13      have Dr. Antognini recognized as an expert in the field of

     14      anesthesiology, in particular in regards to the application

     15      of noxious stimuli during anesthesia.

     16                   THE COURT:     Any objection?

     17                   MS. BARNHART:      No objection.

     18                   THE COURT:     So ordered.

     19      BY MR. MADDEN:

     20      Q.    You mentioned earlier the end points of anesthesia.

     21      What does that mean?

     22      A.    There are three, in my mind, perspectives.              There are

     23      three essential end points for anesthesia.             One is amnesia.

     24      Patients don't want to remember their surgery.               Two is

     25      unconsciousness.       Patients don't want to be conscious during


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      1      their surgery.      And three is immobility.         That is, that the

      2      patients have to be still during the operation because the

      3      surgeon doesn't want to have to operate on a moving target.

      4      Those are the three essential end points.

      5            Now, some people have argued that analgesia is an

      6      essential end point.        I believe that analgesia is a very

      7      useful and often very important thing that we need or want

      8      to achieve during anesthesia and surgery, but it's not an

      9      absolute requirement.

     10            And the basis of that essentially is that analgesia, in

     11      one way, can be defined as something that removes pain.

     12      Well, if you are unconscious as a result of the anesthetic,

     13      by definition you have removed pain essentially.

     14      Q.    We will get to that more in a second.

     15      A.    Yes, sure.

     16      Q.    Would you turn to page 4, paragraph 9 of your report?

     17      You say the distinctions of end points are important.                Can

     18      you kind of elaborate on that?

     19      A.    Page 4, yes, got it here.         So, again, I spent most of

     20      my career trying to understand the process by which

     21      anesthetics produce immobility.          And so you need to -- it's

     22      important to understand that patients move during surgery.

     23      And they move at concentrations of anesthetics and doses of

     24      anesthetics that ablate consciousness, and yet they move

     25      because of reflexive actions.


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      1            So it's common for patients to move during surgery, and

      2      yet they are not conscious.         It's all because of reflexive

      3      movements.     So just because -- you know, if I were to walk

      4      you through an operating room and have you observe, you

      5      might be shocked to see, well, you know, patients are

      6      moving, but it's fairly common for that to happen.               We don't

      7      want it to happen, but we have to be able to adjust the dose

      8      properly, and sometimes that can be difficult.              And patients

      9      do move during surgery.

     10      Q.    You talk about these end points.           Are all end points

     11      equal?

     12      A.    They are not equal in terms of what we're looking at.

     13      Obviously movement is different from consciousness.                They

     14      are certainly not equal in terms of their sensitivity to

     15      anesthetics.      That is, memory and consciousness is more

     16      sensitive to -- is more sensitive to the anesthetics than

     17      the immobility part.

     18            And that's pretty much true, I think, if you look at

     19      either drug-induced effects on a CNS or trauma.               I am sure

     20      some of you have been maybe hit in the head in your life and

     21      maybe even knocked out.        I have had that experience.          I --

     22      in my experience, I was told that I was unconscious for just

     23      a minute or two, but I actually have no memory for about a

     24      five-hour period.       So memory is actually even more sensitive

     25      than consciousness.


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      1      Q.    Well, let's turn to page -- to Defendants' Exhibit 94.

      2      I think you have that.        177.     Can you tell the Court about

      3      the illustration that you have in your report and what it

      4      means?

      5                   THE COURT:     The page?

      6                   MR. MADDEN:     Page --

      7                   THE COURT:     That's the next page, okay.

      8                   MR. MADDEN:     Yes, sir.

      9                   THE COURT:     Numbered 5 at the bottom but numbered

     10      1777 at the top.

     11                   MR. MADDEN:     Thank you, Your Honor.

     12                   THE COURT:     Yes.

     13      BY MR. MADDEN:

     14      Q.    If you could --

     15                   MR. MADDEN:     Your Honor, with the Court's

     16      permission, can he use the easel to illustrate this point?

     17                   THE COURT:     Absolutely.     I have got to say he may

     18      as far as I am concerned.          Whether he can is up to him.

     19                   THE WITNESS:     So one way of looking at this

     20      concept is to have a graph like such, and this -- the graph

     21      that I am going -- the graphical representation that I am

     22      going to draw here is based on data published in the

     23      literature.     And the way that you can look at this is to

     24      look at percent of patients responding versus the anesthetic

     25      concentration.      Or the anesthetic dose.         And you can look at


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      1      these different end points.         So you can look at, for

      2      example, if this is 100 percent of patients responding, you

      3      can look at memory and see that as you increase the

      4      anesthetic concentration, the percent of patients that have

      5      memory will go down like such.          So this would be memory.

      6      And then consciousness would look something like this.

      7              If you are looking at immobility, it would be shifted

      8      over like this.      So this would be the movement.           So one way

      9      of looking at this, in terms of how we would do this, is

     10      that imagine for a moment that, you know, all the people

     11      that are in this courtroom, and we started to put in some of

     12      the anesthetic gas into this courtroom, and gradually the

     13      anesthetic gas starts to build up and starts to affect

     14      people.

     15                   So if I were to go around -- and I am a scientist

     16      here.     So I have a gas -- a mask on so I can't -- I am not

     17      breathing the anesthetic.         If I go around and I start

     18      testing each one of you and say, so, for example, I will

     19      just focus on the consciousness part.            I would go to you and

     20      provide or apply some type of stimulus to check to see

     21      whether you are conscious or not.           So I might go to you and

     22      you are conscious at this particular concentration but you

     23      are not.     She is conscious, you are unconscious, and so

     24      forth.     And then maybe a quarter of you would be

     25      conscious -- or unconscious and maybe three-quarters would


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      1      be conscious.

      2            And then I continue to build up the anesthetic

      3      concentration.      I go around again and I check that, and now

      4      it flips to almost all of you are unconscious and so forth.

      5            So that's the way that you can conceptualize this

      6      approach of understanding the relationship between the

      7      anesthetic concentration and these various end points.

      8      BY MR. MADDEN:

      9      Q.    Now as to --

     10                   THE COURT:     Just a question, Doctor.

     11                   THE WITNESS:     Yes, sir.

     12                   THE COURT:     What you have drawn on the board

     13      essentially reproduces what is in your report.

     14                   THE WITNESS:     Yes, that's correct.

     15                   THE COURT:     At page 5.

     16                   THE WITNESS:     That's correct.

     17                   THE COURT:     Thank you.

     18                   THE WITNESS:     I do want to just mention one thing,

     19      though, and I believe this is important, is that when we do

     20      these -- when we look at immobility, movement versus no

     21      movement, we usually look at the concept of gross purposeful

     22      movement.     So it's not just a simple reflex withdrawal.

     23      It's what we consider to be gross purposeful movement.

     24            So this curve that I've drawn here, in terms of its

     25      shift -- and, again, it's not quantified here, but it's


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      1      quite a bit shifted to the right, that is, the curve for

      2      gross purposeful movement.           If we were to say, say that any

      3      movement would be positive.           That curve would be out like

      4      that.

      5              So just to make sure I've made that point, in some of

      6      these studies looking at movement, again, looking at gross

      7      purposeful movement, if I were to stimulate you with a

      8      noxious stimulus and you had just sort of a simple, very

      9      simple withdrawal reflex, that would be -- and this is

     10      arbitrary based on the way people do these studies -- that

     11      would be considered a negative movement.

     12              If you want to say, well, what concentration would you

     13      need to prevent all movement, that curve would be out like

     14      that.

     15              So to clarify that, this curve here I should say would

     16      be gross movement and this would be any movement.               And that

     17      part --

     18                   THE COURT:     I'm sorry, are you applying the phrase

     19      "gross purposeful movement" to the third curve?

     20                   THE WITNESS:     Yes.

     21                   THE COURT:     Please put the word "purposeful" in

     22      there.

     23                   THE WITNESS:     Sure.

     24              So I think this is one way to understand the

     25      relationship between anesthetic concentration, or anesthetic


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      1      dose and these various end points.

      2      BY MR. MADDEN:

      3      Q.    Okay.

      4      A.    So there is this shift outward in terms of this.                 So

      5      that was, again, the major part of what I spent my career is

      6      trying to understand the relationship among these different

      7      end points.

      8            Now, I have not done the studies that are here.               Other

      9      people did those studies.

     10                    THE COURT:     The first two.

     11                    THE WITNESS:     The first two, the memory and the

     12      consciousness.      I never did studies for that.          I had to -- I

     13      use the work of other people.           But this curve.

     14                    THE COURT:     And, again, gross purposeful movement.

     15                    THE WITNESS:     This curve here, yes, gross

     16      purposeful movement and any movement, I did studies related

     17      to those end points.

     18                    MR. MADDEN:     Let the record reflect that I am

     19      showing opposing counsel Miller's Anesthesia, 7th Edition.

     20            And may I approach the witness?

     21                    THE COURT:     You may.

     22      BY MR. MADDEN:

     23      Q.    Let me refer you to page 518, Figure 20-3.              Do you

     24      recognize that?

     25      A.    Yes, I do.


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      1      Q.    And what is that?

      2      A.    This figure is from the chapter in Miller by -- it's

      3      the Inhaled Anesthetic Mechanisms of Action, by author -- by

      4      Misha Perouansky, Robert Pearce, and H.C. Hemmings.                They

      5      had asked for me to provide to them a figure, basically just

      6      like that figure there, but it has a little bit, a drawing

      7      of the central nervous system on it to indicate where the

      8      drugs are working to produce their anesthetic effects.                But

      9      they asked for that figure so they could include it in the

     10      chapter.     And they were very kind to say courtesy of Joseph

     11      Antognini.

     12      Q.    Thank you, Doctor.

     13            Now, where in the body does anesthesia produce

     14      immobility?

     15      A.    So, based on my work and the work of other people, it

     16      looks that it's -- immobility is produced by anesthetic

     17      action in the spinal cord.

     18      Q.    And what is noxious stimuli?

     19      A.    So noxious stimuli, stimulation essentially is applying

     20      a stimulus that causes or has a potential to cause tissue

     21      damage.    So, for example, that might be a heat stimulus.                 It

     22      might be a chemical stimulus.          It could be a mechanical

     23      stimulus, like a pinch.

     24            There is one type, at least one type of stimulus that

     25      is not -- that can be painful but is not necessarily


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      1      associated with tissue damage.          That would be electrical

      2      shock.    And we often use that experimentally to apply a

      3      noxious stimulus.       But, of course, I am sure almost all of

      4      us have experienced that in our lives where you plug

      5      something in and you get shocked, or you feel the shock of

      6      static electricity.

      7            But those are the different ways which we apply a

      8      noxious stimulus.

      9      Q.    Have you ever heard of the term "Lazarus sign"?               And

     10      what does it mean?

     11      A.    So the Lazarus sign and the Lazarus phenomenon is

     12      named, of course, from the Lazarus in the Bible, who was

     13      raised from the dead.        And in this instance, it's given to

     14      brain-dead humans who have spontaneous movements or who have

     15      movements associated with noxious stimulation.              So, for

     16      example, patients, brain-dead humans in the intensive care

     17      unit can sit up in bed.        They can actually cross their arms

     18      over their chest.       There have been reports of head turning,

     19      sometimes spontaneously.         Other times in response to noxious

     20      stimulation of some sort.

     21            And these -- because by definition these are brain-dead

     22      humans, these reflexes and these movements are the result of

     23      some of the circuitry in the brain stem and spinal cord.

     24      Q.    Have you ever observed physiological responses in the

     25      brain by dead humans?


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      1      A.      In brain-dead humans.

      2                    THE COURT:    Physiological responses.

      3      BY MR. MADDEN:

      4      Q.      In the brain by dead humans.

      5      A.      I believe you mean brain-dead humans, yes.            I have.

      6              So in my career, I have done anesthesia for organ

      7      harvesting.     And you might ask yourself, well, why does a

      8      brain-dead human need to have anesthesia?             And the answer is

      9      that when you apply a noxious stimulus to a brain-dead

     10      human, you can get marked physiological responses.               That is,

     11      you can get marked increases in heart rate, in blood

     12      pressure, and you need to be able to control that during the

     13      anesthetic -- during the harvesting of organs.              So if they

     14      are going to take out the kidneys and the liver and so

     15      forth, you need to be able to control that.              And I have seen

     16      that.

     17              And that's very well-reported in the literature as

     18      well.

     19      Q.      Now, I want to talk about physical movements.            Do

     20      complex movements by patients during surgery inter -- while

     21      anesthetized always indicate consciousness?

     22      A.      No.

     23      Q.      Explain that -- using the figure, explain that to the

     24      Court.

     25      A.      Well, I have an anesthetic concentration on a patient


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      1      here, or I should say anesthetic concentration there.                You

      2      should see that none of the patients would be conscious

      3      based on this curve, but almost all of these patients, not

      4      quite where I have drawn the arrow -- I am trying to draw

      5      that straight.      I am going to have to do it like this.

      6            At this concentration, none of the patients would be

      7      conscious but 50 percent of the patients, about, would have

      8      gross purposeful movement.         So movement can occur in 50

      9      percent of patients even though all of them would be

     10      unconscious based on the data that we -- that we've used or

     11      I've used and others have published in terms of

     12      consciousness and memory.

     13            So movement during anesthesia, from a surgical

     14      stimulus, does not equate with consciousness.

     15      Q.    So what type of movements are we talking about?               For

     16      example, gross purposeful movement.

     17      A.    So basically when a surgical incision is made, the

     18      patient can move violently.         They can move their arms

     19      around, they can attempt to sit up from the operating room

     20      table, cough, and so forth.         So they can be pretty

     21      significant.

     22            And, of course, it's difficult sometimes for us to be

     23      able to achieve the correct anesthetic level.              Obviously

     24      it's not what we want, but it does happen.

     25      Q.    And just because you have gross purposeful movement


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      1      doesn't mean you necessarily have consciousness; is that

      2      right?

      3      A.      That's correct.

      4      Q.      How is an anesthetized patient during surgery capable

      5      of such movements?

      6      A.      I believe, again, based on the work that I've done and

      7      also the work that's documented, complex neurocircuitry in

      8      the spinal cord and brain stem, as I mentioned with the

      9      Lazarus phenomenon, those together lead me to believe -- and

     10      I think others -- that the complex movements occur because

     11      of the -- or the circuitry is there to generate those

     12      movements.     So just because the patients are unconscious

     13      does not mean that they cannot move in a complex way.

     14              Again, I refer -- go back to the Lazarus phenomenon,

     15      where brain-dead humans can move very -- in very complex

     16      ways.    And this is, again it's -- there are many studies out

     17      there, many animal studies at least, that help to inform

     18      this area.

     19              So as an example, there is something called the frog-

     20      wiping reflex.      So if you take a frog and you apply noxious

     21      stimulus to the forelimb, a hindlimb will come up to wipe it

     22      away.

     23              Now you take that frog and you pip it, so basically

     24      you've severed the connection between the brain and the

     25      spinal cord so there is no connection between the two.                Now


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      1      you apply that noxious stimulus to the forelimb and the

      2      hindlimb will come up and wipe it away.

      3            If you move the forelimb maybe down and you apply the

      4      noxious stimulus again, the hindlimb will come up and wipe

      5      it away at that new location.

      6            So the hindlimb knows where the forelimb is even though

      7      the brain has been disconnected.

      8            Now, frogs are not humans and humans are not frogs, but

      9      that type of work I think gives you an idea of the

     10      incredible amount of circuitry that's present in the spinal

     11      cord to be able to generate these complex movements.

     12      Q.    Now, you've already explained noxious stimuli.               How is

     13      that different from pain?

     14      A.    Pain is the conscious awareness of a noxious stimuli.

     15      That's my sort of simplified version or explanation of it.

     16      So pain is what we all think about pain.             That is, you know,

     17      you stub your toe; it hurts.          It's tissue damage that -- or

     18      potential tissue damage that provides that emotional

     19      experience.

     20            And I refer to the specific definition in my report,

     21      and this is from the International Association For The Study

     22      OF Pain.     As in, quote, an unpleasant sensory and emotional

     23      experience associated with actual or potential tissue

     24      damage, or described in such -- in terms of such damage.

     25                   THE COURT:     You are reading from where?


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      1                   THE WITNESS:     This would be page 6 of my report,

      2      my declaration, which is on 1778.

      3                   THE COURT:     I have it.

      4                   THE WITNESS:     I am not sure that you asked about a

      5      noxious stimulus.

      6      BY MR. MADDEN:

      7      Q.    What's the distinction between that definition --

      8      A.    Yes.

      9      Q.    -- and a noxious stimulus?

     10      A.    A noxious stimulus again further defined by the IASP is

     11      "a stimulus that is damaging or threatens damage to normal

     12      tissue."

     13            So you can apply a noxious stimulus but pain is, again,

     14      the conscious awareness or that unpleasant sensory and

     15      emotional experience associated with that noxious

     16      stimulation.

     17      Q.    Can you explain to the Court what you mean by paragraph

     18      12 of your report?

     19      A.    So I think we need to -- well, I am not saying what you

     20      need to do.     I am just thinking in my own mind, it's

     21      important to make the distinction between a stimulus that's,

     22      you know, being painful and noxious.            So as an example, if I

     23      were to go over to you and I had a hammer and I were to

     24      knock you in the hand with that hammer, you would say that

     25      hurts, and you would have a painful experience.


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      1              But if you were anesthetized and I did the same thing,

      2      and after you wake up, I'd ask you, did you feel any pain,

      3      you'd say no, I don't remember any pain.             I didn't feel any

      4      pain.

      5              So it's important to use the terminology correctly

      6      about applying, you know, the same pain or painful versus a

      7      noxious stimulation.           Pain is -- and painful really should

      8      only be used when we're talking about somebody who is awake

      9      and conscious.

     10      Q.      Have you ever heard the term "minimal alveolar

     11      concentration" or "MAC"?

     12                      THE COURT:     Alveolar I think.

     13                      THE WITNESS:     Alveolar, that's correct.

     14                      MR. MADDEN:     Thank you, Judge.

     15                      THE WITNESS:     Yes, I have heard that term.

     16      BY MR. MADDEN:

     17      Q.      And what does it mean?

     18      A.      The minimal alveolar concentration, or MAC, just

     19      signifies the dose that would be therapeutic or effective in

     20      50 percent of the population.           It's just a way of looking at

     21      the effective dose.           So, again, looking at these curves, if

     22      I may go back to the figure here.

     23      Q.      Sure.

     24      A.      So the MAC -- the effective dose fits your MAC, would

     25      be where I have drawn this, this dotted line; that is, that


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      1      50 percent of the patients would display no gross purposeful

      2      movement and 50 percent of the patients would display gross

      3      purposeful movement.

      4      Q.    And what is the concept supramaximal noxious

      5      stimulation?

      6      A.    So when you do a study like this, you always have to be

      7      mindful of the amount of noxious stimulation, because during

      8      surgery, the amount of noxious stimulation varies.

      9      Something can be incredibly noxious and something else might

     10      be not quite so noxious.         So the anesthetic amount that you

     11      need to prevent the end point, in this case gross purposeful

     12      movement, depends on the degree of stimulation.

     13            So many years ago when this MAC concept was developed

     14      by Ted Eger and others, they were sure to look at that

     15      concept:     Well, how much stimulation do you need.            So they

     16      actually applied different noxious stimuli in graded

     17      amounts, and then they got to a point where if they applied

     18      more noxious stimulation, it didn't change the amount of

     19      anesthetic that was needed.

     20            So let me give you an example.           If I were to apply --

     21      if I, again, use that example of a hammer and I just lightly

     22      touch your finger, you might be a little bit noxious and you

     23      might -- and I'd have to give you some anesthetic to prevent

     24      you from moving but not very much.           But if I hit you harder

     25      with it, I am going to have to use more anesthetic to


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      1      prevent the gross purposeful movement.

      2                   THE COURT:     The MAC is the amount needed to

      3      prevent the gross purposeful movement in 50 percent of the

      4      population?

      5                   THE WITNESS:     Correct.

      6                   THE COURT:     All right.

      7                   THE WITNESS:     And just to clarify that, obviously

      8      we like to do better than just being 50 percent, you know,

      9      right 50 percent of the time, so we actually increase the

     10      anesthetic a little bit more to try to get a lot more of the

     11      patients to -- and sometimes we can't do that because some

     12      patients are very sick and we can't do that.              But that's,

     13      you know, clinical things that we have to manage.

     14            So just, again, to clarify with the noxious

     15      stimulation, so if I increase -- let's say I hit you with

     16      100 grams of force per unit area and I need to provide a

     17      certain amount of anesthetic, let's say 1 percent, and now I

     18      increase that stimulus to 120, and I still only need to give

     19      you 1 percent, then I've reached the super maximum point.

     20      BY MR. MADDEN:

     21      Q.    Now in a clinical setting during a surgical procedure,

     22      would you expect to see a spectrum of movement?

     23      A.    Yes.    So there may be no movement at all or there may

     24      be violent thrashing about during the surgery, violent, we

     25      call it bucking.       It's actually, say, a colloquial term in


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      1      the specialty of just coughing vigorously.             So there could

      2      be a lot of that going on.

      3              But movement of the arms and legs, we certainly -- it's

      4      important to strap patients down during operations because

      5      of these movements.        It's not the only reason we strap them

      6      down, because patients can fall off the table when they

      7      move.     Their arms can fall off when they move in terms of

      8      going off the armboard.        I mean, obviously they don't

      9      literally fall off the body, but --

     10      Q.      Now, in relationship to the eye, is that a problem?

     11      A.      So during anesthesia, this is an important issue where

     12      patients, their eyes can -- their eyes can remain open.                   So

     13      when we give an anesthetic, sometimes their eyes will close,

     14      sometimes they will open.         We almost always tape the eyes

     15      shut because if you don't do that, the eyes -- the eyes will

     16      dry out.        The conjunctiva will dry out and you get what's

     17      essentially a corneal abrasion.          So we have to tape the eyes

     18      in order to prevent that, or to minimize that risk.                Even

     19      taping the eyes sometimes will not -- you can still get that

     20      problem, but it's definitely a problem -- more of a problem

     21      when you don't tape the eyes so the eyes can remain open.

     22      Q.      In --

     23      A.      In an anesthetized.

     24      Q.      -- an anesthetized person?

     25      A.      That is correct.     And they can close initially with


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      1      induction and then open up; the eyelids will lift up as the

      2      muscles start to relax.

      3      Q.    Are you familiar with midazolam?

      4      A.    Yes.

      5      Q.    What is it?

      6      A.    Midazolam is a benzodiazepine.           It's a relatively

      7      short-acting -- fast-acting and short-acting benzodiazepine

      8      that we use for a variety of different reasons in medicine

      9      and surgery.      Primarily in my specialty for sedation in the

     10      therapeutic doses that we use.

     11      Q.    Now, are all benzodiazepines created equal?

     12      A.    No.    There are differences in terms of their, what I

     13      would say their kinetic phase, that is, that some of these

     14      drugs act faster than others and some are shorter acting.

     15      So, for example, diazepam wouldn't act as fast as midazolam,

     16      and midazolam would probably, dependent on the doses

     17      compared to these other drugs, not last quite as long.                But

     18      there are kinetic differences among these benzodiazepines.

     19            But in terms of the clinical effects, they are pretty

     20      similar.

     21      Q.    What is the typical dose of midazolam for a regular,

     22      healthy person?

     23      A.    Again, it depends on what you are using it for.               So if

     24      I were to use it on a patient who's going to have surgery,

     25      I'm going to use it for the sedative and anxiety-relieving


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      1      parts.     So I might give 1 milligram, 2 milligrams.            So

      2      elderly people require less.          So if I had somebody who was

      3      in their 70s, I might only start out with 1 milligram IV.

      4      Someone that's younger, I might start out with 2 milligrams.

      5      So the range is going to be somewhere in that, but it could

      6      go up to 4 or 5 milligrams.

      7      Q.      What about doses greater than 5 milligrams?

      8      A.      Can you clarify what you mean?

      9      Q.      Yeah.   In your practice, should doctors use caution

     10      when giving over 5 milligrams of midazolam?

     11      A.      They should use caution no matter what dose of

     12      midazolam they are giving.

     13      Q.      Is midazolam safe?

     14      A.      Midazolam is not a safe drug.

     15      Q.      And you know that how?

     16      A.      Because I've given it to patients and they've become

     17      unconscious even in small doses.           So the main thing that you

     18      need -- that's important to understand here is that people

     19      use the term about some of these drugs, that these drugs are

     20      safe.     And I'm not trying to scare or upset anybody in here

     21      that may end up having surgery very soon.             Yes, these drugs

     22      are safe when used in the right hands.

     23              But if you gave these drugs to somebody in the doses

     24      that I use, it would not be safe because they cause airway

     25      problems, they cause respiratory depression, and it is only


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      1      because we know how to manage those airway complications

      2      that we are able to make these drugs safe.

      3            So midazolam in my mind is not a safe drug, and I think

      4      that's borne out by the literature in terms of the deaths

      5      that have occurred as a result of midazolam and other drugs

      6      that are used.      Midazolam by itself or midazolam and opiates

      7      used together.

      8      Q.    What would be the primary purpose of a therapeutic dose

      9      of midazolam?

     10      A.    What would --

     11      Q.    What would be the primary purpose?

     12      A.    Again, it depends on the circumstance.             If it's a

     13      patient about ready to have surgery, the primary purpose is

     14      to relieve anxiety and produce some sedation.              If it's

     15      actually being used during a procedure, so, for example, a

     16      colonoscopy, then it would be to produce a heavy or very

     17      moderate or deep levels of sedation so that the procedure

     18      could be done.

     19            So it's primarily being used for that purpose.               Now, it

     20      can also be used for what we call induction of anesthesia or

     21      beginning the anesthesia basically.            And in that case, we

     22      would be giving a lot more of the -- or more of the dose.

     23      We can do the endotracheal intubation or the airway

     24      management.

     25      Q.    When a therapeutic dose of midazolam is administered


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      1      intravenously, what is the onset?

      2      A.    The onset can vary, but it can be as quickly as 30 to

      3      60 seconds.     So it's been very common in my practice to

      4      provide the midazolam and within that time period, the

      5      patient will say, gees, I feel like I've just had a couple

      6      glasses of wine.       It can be very rapid.

      7            Now, in some patients it may not be that rapid.               Again,

      8      it's sort of obviously a dose-dependent phenomenon.                And,

      9      again, if you are young, you may not -- you know, it may not

     10      work as quickly, but it's certainly going to work within one

     11      to two minutes in almost everybody.

     12      Q.    Does midazolam prevent the formation of memory?

     13      A.    Midazolam, one of its most potent effects is to prevent

     14      the formation of memories.         It's got very strong amnestic

     15      properties.

     16      Q.    Have you ever heard of the term "anterograde amnesia"?

     17      A.    Anterograde amnesia is a term to describe something

     18      that you are not going to remember in the future.               That is,

     19      that if I were to give you some midazolam right now, you

     20      might be a little bit sedate but you would be able to ask

     21      questions.     And then an hour from now you wouldn't remember

     22      that you had asked me those questions.            So it provides the

     23      amnesia after you have given the drug as opposed to

     24      retrograde amnesia where it prevents -- ablates memories

     25      that were there before the drug was given, which midazolam


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      1      doesn't really do at all.

      2      Q.      Can midazolam cause unconsciousness?

      3      A.      Yes.

      4      Q.      Can midazolam cause the induction of anesthesia?

      5      A.      Yes.

      6      Q.      Explain that.

      7      A.      So induction of anesthesia is something that we do to

      8      get people anesthetized for surgery, and often what we need

      9      to do when we induce anesthesia is we need to place an

     10      airway device into the windpipe, and that's called an

     11      endotracheal tube.          So the endotracheal tube is a plastic

     12      tube, it's about that long.

     13                     THE COURT:     Indicating approximately 8 inches to a

     14      foot.

     15                     THE WITNESS:     About a foot, yeah, 8 inches to a

     16      foot, and it's about the size of my finger.              Obviously it

     17      depends on the individual but the size varies, but it's

     18      about the size of my finger.          So you can imagine sticking a

     19      plastic tube like that down the mouth and into the windpipe

     20      is a very, very stimulating effect.            It's probably more

     21      stimulating than some of the other stimuli -- certainly -- I

     22      shouldn't say probably -- it is more stimulating than some

     23      of the other stimuli that occurs during surgery.               So it's a

     24      very stimulating procedure.          I mean, you can imagine, we

     25      have all experienced aspirating something in our windpipe


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      1      and you cough severely.        I mean, that's -- that's what it's

      2      going to feel like.

      3      BY MR. MADDEN:

      4      Q.    And what are you basing this on when you say that

      5      midazolam can be used for this purpose?

      6      A.    So there are studies that have been published in the

      7      literature looking at the use of midazolam for anesthesia

      8      induction.     And usually they are comparing midazolam or some

      9      other induction drug.        So, for example, most of the time

     10      it's been thiopental.        So basically they have looked at

     11      midazolam versus thiopental for these inductions of

     12      anesthesia.

     13      Q.    Is midazolam typically used for the induction of

     14      anesthesia?

     15      A.    No, it's not.

     16      Q.    Why not?

     17      A.    Because there are other drugs out there that are better

     18      suited I think for the -- that process.             So one of the

     19      disadvantages of midazolam is -- compared to other drugs

     20      that we have -- is that you need to use more of it, of

     21      course, to achieve this.         And then, of course, it's a short

     22      procedure.     The patient's going to take some time to wake

     23      up, and that's not such a problem with the other drugs that

     24      we have.     So people have not used midazolam for that purpose

     25      because of the other drugs that we've got.


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      1            Now, had midazolam been discovered many years ago, and

      2      you started -- in use many years ago, it probably would have

      3      gained a lot of traction.         But because of when it was

      4      discovered and brought into use, there are enough other

      5      drugs coming on the market or already present where people

      6      decided, in our specialty, it probably wasn't particularly

      7      useful for that purpose.

      8            But it could be used.        If I have a -- if there are drug

      9      shortages, which we have a lot of, and maybe somebody's

     10      allergic to the drug you want to give, midazolam would be an

     11      appropriate choice.

     12      Q.    What are some of those other drugs that were -- that

     13      you are speaking of?

     14      A.    Well, it could be thiopental, it could be propofol,

     15      etomidate, ketamine.        These are other drugs that we use for

     16      induction of anesthesia.

     17      Q.    And what would the typical induction dose be for

     18      midazolam?

     19      A.    It would be around 0.2 to 0.3 milligrams per kilogram.

     20      That's the dose that's in the literature.             The package

     21      insert says you can go up to .6 milligrams.              Of course, if

     22      you give a larger dose, you are going to have problems at

     23      the end with the patient waking up, but that would be sort

     24      of the dose range that you would use.

     25      Q.    Can midazolam ever be used for painful procedures?


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      1      A.      Yes.

      2      Q.      Which ones?

      3      A.      Colonoscopies, as I pointed out.         Endotracheal

      4      intubation is incredibly stimulating.            So it can be used for

      5      that.     It can be used as the sole drug in endotracheal

      6      intubation in the intensive care unit.

      7              There again, other endoscopies like bronchoscopies for

      8      which it's been used, and so there have been -- you know, it

      9      can be used for a variety of different procedures.

     10      Q.      And what about cardioversion?

     11      A.      So cardioversion is a procedure where somebody that has

     12      an arrhythmia in the heart and you apply paddles to the

     13      chest and the back and you deliver an electric shock to the

     14      chest.     And I've had that actually done twice to myself.

     15      But I don't remember it.         Although they did not use

     16      midazolam in my case, but it can be used for that purpose,

     17      and it is a very stimulating procedure, so they have to

     18      anesthetize the person for that.

     19              It's also been used in induction for C-sections.             There

     20      is a report of that.

     21      Q.      Let me -- let me refer you to Defendants' Exhibit 76,

     22      at 1130.       Do you have 76 with you, Doctor?

     23      A.      I don't know.    I'm afraid I am not as adept at

     24      navigating these binders as I think you are.              Are you

     25      talking about Exhibit 76?


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      1      Q.    Yes.

      2      A.    Okay.    No, I don't have that.

      3                    THE COURT:     The record will reflect that the

      4      witness has been handed the binder that contains Defendants'

      5      Exhibit 76.

      6      BY MR. MADDEN:

      7      Q.    And then page 1130 on the top right-hand corner.

      8      A.    Yeah.

      9                    THE COURT:     You are directing the witness'

     10      attention to page 1130 of that, correct?

     11                    MR. MADDEN:    Yes.

     12      BY MR. MADDEN:

     13      Q.    Do you recognize that article?

     14      A.    I do.

     15      Q.    What is this?

     16      A.    This is a paper that was published in 1989 -- Crawford

     17      was the first author -- comparing midazolam and thiopental

     18      for induction of anesthesia in patients, female patients, by

     19      definition female patients having cesarean section.

     20                    THE COURT:     An elective cesarean.

     21                    THE WITNESS:     Elective, that's correct.

     22      BY MR. MADDEN:

     23      Q.    Tell the Court about that paper, why you think it's

     24      relevant.

     25      A.    What they did, they did a study to compare the effects


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      1      of midazolam, and in this case it was a 0.3-milligram dose

      2      of midazolam with thiopental, which is a 4-milligram/

      3      kilogram dose.      So what they did is they had two separate

      4      groups.    One received midazolam; the other received the

      5      thiopental.     And then they -- and I've noted some of the

      6      details on that, but there was basically the comparisons of

      7      the two drugs in terms of the effects on the mother.

      8            And they looked at various end points such as systolic

      9      blood pressure and diastolic blood pressure and heart rate

     10      and so forth.      But I think the point of this paper or the

     11      important thing to gain out of this paper is just to

     12      indicate the use of midazolam, its effect on noxious or

     13      its -- yes, its effect on noxious stimulation.

     14            So something that we need to -- I think I need to

     15      explain about, something that's different about cesarean

     16      section compared to other types of surgeries, that obviously

     17      when you are doing a c-section, you, as we like to say, you

     18      have two patients there.         You have the mother and the baby.

     19      So you have to be very careful about the drugs that you give

     20      because you don't want to overdose the baby.              You want the

     21      baby essentially to be able to come out as quickly as

     22      possible so that there is a minimal chance, or you lessen

     23      the chance that the baby will absorb some of the drugs that

     24      we give.

     25            So what we do in these c-sections, which is different


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      1      from other procedures, is that we actually would put the

      2      mother on the operating room table and then we prep and

      3      drape her.     So we've sterilized the abdomen, and we have the

      4      drapes over her while she was awake, and the surgeon is

      5      gowned and gloved.       So the sterile field's all set up.            And

      6      literally the surgeon has the scalpel in his or her hand,

      7      poised, ready to go.

      8            And what we do is we induce anesthesia.             We actually

      9      give the drug, in this case it was either midazolam or it

     10      was thiopental, and then we use a muscle relaxant to relax

     11      the mother.     And then we perform the endotracheal

     12      intubation.     And once we confirmed that the endotracheal

     13      tube is in the correct place, that is, that it is in the

     14      windpipe, then we tell the surgeon "Go."             And then the

     15      surgeon will make the incision and start to pull apart the

     16      tissues to get the baby out.

     17            Now, what we -- at this point what we're doing as an

     18      anesthesiologist is that we are providing some anesthesia

     19      through the lungs.       So in this particular case, as I recall,

     20      they used nitrous oxide.         Yes.   And nothing else.       So

     21      basically it was nitrous oxide.

     22            An important point to make about this is that once that

     23      tube is in place, you turn the nitrous oxide on.               It takes

     24      some time for the nitrous oxide to start flushing through

     25      the system and get into the patient.            So my estimate is that


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      1      for the -- probably for the first minute of this procedure,

      2      the only anesthetic the patient has on board in this study

      3      was the midazolam.       So this is a -- the drug that was used

      4      in that one group to provide anesthesia for the endotracheal

      5      intubation and the initial part of the cesarean section.

      6      Q.    And what was the conclusion of that paper?

      7      A.    Well, none of the patients had any memory of what went

      8      on, and that thiopental and midazolam are essentially

      9      equivalent.     I mean, I think there are some very minor

     10      differences, but they are essentially equivalent in terms of

     11      the effects on blood pressure and so forth.              There are other

     12      studies that they published out of this group.              They looked

     13      at the baby and effects and all that, but my recollection is

     14      that there was really no major effects one way or the other

     15      between the two drugs.

     16            So obviously the intent here was just to look at the

     17      effects, as I said, on blood pressure and so forth, but

     18      within the context of how these types of operations are

     19      done, I think it's important to, again, point out that

     20      during the first minute or -- minute, approximately,

     21      midazolam was the -- the only anesthetic that this mother

     22      was getting, or that these mothers were getting.

     23      Q.    Let me refer you to page 8, back to your report, and

     24      paragraph, just -- paragraph 17.           Can you explain what you

     25      were trying to -- what you were saying there to the Court?


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      1      A.    So what I'm saying here is that midazolam can clearly

      2      produce unconsciousness, and that's been defined by multiple

      3      investigators.      It reduces the amount of a potent, inhaled

      4      anesthetic that's required for -- to produce immobility.                   So

      5      in this particular study that I quoted, the midazolam dose

      6      that was given reduced the halothane requirements by 70

      7      percent.     So halothane is one of the drugs -- we don't

      8      really use it anymore, but it's one of the inhaled end

      9      effects.     And when they gave the midazolam in the study,

     10      they only used to give 30 percent of halothane with regard

     11      to not having the midazolam on board.

     12            Now, I further go on to say that midazolam has not been

     13      used -- it's not clinically warranted to administer a huge

     14      dose of midazolam to see whether or not it would produce

     15      complete, or could be used as a complete anesthetic for a

     16      long surgical procedure.         As I've already indicated, it

     17      certainly can be used on very, very short procedures, such

     18      as endotracheal intubation and cardioversion and so forth.

     19      But whether it could be used on a long surgical procedure is

     20      unknown because, again, we're not able to really do the

     21      study to do that because it's, for the most part, not

     22      clinically warranted or ethical.

     23            Now, again, getting back to the issue around drug

     24      shortages and other things like that, you never know what's

     25      going to happen in the future.          There may come a time when


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      1      midazolam will be something that we'll take another look at

      2      to do that, and we'd have to do that work, but right now we

      3      don't know about the immobility part in humans.

      4              However, there is an animal study that was published by

      5      Nishikawa, and their conclusion was that you could -- in the

      6      mouse, it did provide a complete anesthetic.              I don't have

      7      that paper in front of me.         I am not sure if it's included

      8      here.    But I know that there was some concern about the --

      9      that paper.

     10              That paper looked at some genetically altered mice and

     11      some mice that had been administered other medications, but

     12      almost all studies like that will always have a controlled

     13      group, which is a group of mice that are what we call wild

     14      type; that is, that they are sort of your normal, average

     15      mice, or whatever the species is.           And that's part in that

     16      paper.

     17              And those mice, when given midazolam, the investigators

     18      were able to achieve anesthesia, general anesthesia.                That

     19      is that they were able to prevent movement to a noxious

     20      stimulus.

     21      Q.      In your experience, is it ever warranted to administer

     22      extremely high doses of midazolam, for example, 500

     23      milligrams, to a patient?

     24      A.      Given the current choice of everything else that we

     25      have here, no, it would not be warranted to do that to a


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      1      patient.

      2      Q.    Is there any evidence that -- which demonstrates that

      3      midazolam can produce the end point of immobility as it

      4      relates to noxious stimuli?

      5      A.    Could you repeat that, please?

      6      Q.    Yeah.    Is there any evidence which demonstrates that

      7      midazolam can produce the end point of immobility as it

      8      relates to noxious stimuli, stimulation?

      9      A.    So clinical experience, I would say yes.             Again, these

     10      drugs have been used in some settings for clinical

     11      procedures.      But I would also, again, refer you to the paper

     12      I just mentioned, that there is evidence in animals that it

     13      can produce immobility.

     14      Q.    So there would be a difference between consciousness --

     15      as you explained before, there would be a difference between

     16      consciousness and immobility?

     17      A.    Correct.     Yeah, I hope I -- maybe you should ask the

     18      question one more time to make sure.

     19      Q.    Yeah.    I am referring to immobility as opposed to

     20      consciousness.

     21      A.    Yes, okay.

     22      Q.    Would 500 milligrams of midazolam produce a state of

     23      unconsciousness comparable to levels of anesthesia

     24      considered adequate for a variety of medical procedures?

     25      A.    Yes, in my opinion, it would.


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      1      Q.      And how do you come to that?

      2      A.      Well, again, I just, I look at what's been published

      3      out there in terms of the effects of midazolam, and there

      4      are a variety of different studies, some of which I have

      5      quoted here, looking at consciousness.            And, again, it's

      6      used during procedures.        So there are studies that I could

      7      certainly refer to if you desire, but --

      8      Q.      No, that's okay.

      9      A.      -- the work is out there.

     10      Q.      To your knowledge, is there any human studies where

     11      humans were given 500 milligrams of midazolam to study the

     12      results?

     13      A.      No.   To my knowledge, no.

     14      Q.      And why not?

     15      A.      Again, it's not clinically or probably ethically

     16      warranted to do that because we -- I'm not sure I could say

     17      it's ethically unwarranted because there may be some reason

     18      why an investigator might want to do this.             Obviously, the

     19      investigator would have to go up to the IRB and ask, and

     20      make that proposal, and there may be some valid clinical

     21      reasons to do so.       But to my knowledge, no one's ever done

     22      that.     And those studies have not been published.

     23                    THE COURT:     And the abbreviation IRB stands for

     24      Institutional Review Board, correct?

     25                    THE WITNESS:     Correct, yes.


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      1      BY MR. MADDEN:

      2      Q.    In those extreme dosages, how would you expect

      3      midazolam to affect a person?

      4      A.    I would expect midazolam to -- when you say extreme

      5      doses, I am going to say 5 milligrams.            I would expect the

      6      individual to become unconscious, and they would have no

      7      memory for that period and probably for even after they

      8      started to wake up from it.         They would not have memory for

      9      quite a long time.        I can't give you an estimate how long

     10      that would be, but it could be for several hours or more

     11      after that large dose.        So they'd be unconscious for a

     12      significant amount of time and have --

     13                   THE COURT:     That's the anterograde amnestic effect

     14      as opposed to retrograde, right?

     15                   THE WITNESS:     Correct, that is correct.

     16      BY MR. MADDEN:

     17      Q.    Have you ever heard of the term "black box warning"?

     18      A.    I have.

     19      Q.    And what does that mean?

     20      A.    So many drugs that we administer in medicine can have

     21      serious complications or side effects.            And sometimes the

     22      FDA will put these warnings in a -- at the top of the

     23      package insert and they will put a black box around it.                 So,

     24      therefore, the term "black box warning."             And it's to alert

     25      the clinician about the serious complications that might


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      1      occur from that particular drug.

      2      Q.    Does midazolam have that warning?

      3      A.    It does.

      4      Q.    And is that warning given to just any drug?

      5      A.    No.    No, it's not.     Only to drugs, again, that have

      6      some serious side effects.

      7      Q.    What are those side effects for midazolam?

      8      A.    So the side effects are going to be respiratory

      9      depression.      It can be unconsciousness and death because

     10      that's what has occurred as a result of the administration

     11      of midazolam.      Now, the black box doesn't specifically

     12      mention all of these, but that's the clinical experience,

     13      that these drugs will produce these effects.

     14      Q.    Are you aware that Ohio's lethal injection protocol

     15      calls for 500 milligrams of midazolam?

     16      A.    Yes.

     17      Q.    And is that a therapeutic dose?

     18      A.    No, it's not.

     19      Q.    And how much more is that than a therapeutic dose?

     20      A.    Well, again, depending on its intended use, it could

     21      be -- if my therapeutic dose for a patient is 2 milligrams,

     22      then 500 milligrams would be 250 times that dose.               If my

     23      intended dose for a patient is, let's say, 20 milligrams

     24      because I am inducing anesthesia, or 25 milligrams, then 500

     25      milligrams would be 20 times the therapeutic dose.


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      1      Q.    What would you expect to happen to a person who's given

      2      500 milligrams of midazolam?

      3      A.    They would become unconscious and they would, again,

      4      have lack of memory for a long period during the action of

      5      the drug.

      6            The important thing to also point out is that the

      7      duration of action of midazolam is going to be a lot longer

      8      with 500 milligrams.        So if you gave 25 milligrams of

      9      midazolam to somebody, it might have an action of -- again,

     10      dependent on the end point you are looking at, it might have

     11      an action of 30 minutes, 60 minutes, something like that.

     12            If you give 500 milligrams, it's going to have a lot

     13      longer duration because you've achieved a much higher

     14      concentration of the drug.         It's going to take longer for

     15      that drug to wear off.

     16      Q.    What is the -- can you say that with a degree of

     17      medical certainty?

     18      A.    Yes.

     19      Q.    What is the risk that a person given 500 milligrams of

     20      midazolam would experience noxious stimuli?

     21      A.    Well, I just want to make sure I clarify that.               Do you

     22      mean what is the risk that they would experience pain?

     23      Q.    Yes.

     24      A.    I think the risk is very, very low.            Because the drug

     25      produces unconsciousness, and when you apply a noxious


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      1      stimulus, they may have some physiological responses to that

      2      noxious stimulation, but I do not believe that they would

      3      have the experience of pain that we normally associate with,

      4      as a conscious person.

      5      Q.    Thank you, Doctor, for correcting me on relating the

      6      difference between noxious stimulation and pain.

      7            Have you ever heard of the term "ceiling effect"?

      8      A.    Yes, I have.

      9      Q.    And what is it?

     10      A.    It describes the -- generally describes the effect of a

     11      drug that, as you increase the dose of the drug, you don't

     12      get any additional clinical benefit from the drug.               So, for

     13      example, you might give a drug that you are using to control

     14      the blood pressure.       And so you start to give the drug, and

     15      the blood pressure starts to come down and then it reaches a

     16      certain point, and then you give more of the drug and the

     17      blood pressure doesn't go any further down.              So you have

     18      reached, in that case, it's really more like what you call a

     19      floor effect because it's an effect that's going down.                 But

     20      maybe it's a drug that you are giving to increase the blood

     21      pressure.     So you increase the blood pressure, and it

     22      reaches a certain point.         And you give more, and you don't

     23      see that effect.

     24            And that can be one way of describing a ceiling effect.

     25      There are other reasons why that might occur.              There is


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      1      something called tachyphylaxis, which is not really germane

      2      here, but that can also give you a similar pattern.                But, in

      3      essence, the ceiling effect describes the phenomenon where

      4      you give more of the drug and you don't see any more of the

      5      response that you are looking for.

      6      Q.    In paragraph 10 -- in page 10, paragraph 20, you talk

      7      about the pain from stimulation caused from paralytics.                 Can

      8      you tell -- talk to the Court about that?

      9      A.    So when you give -- when you induce anesthesia in a

     10      patient, you know, typical anesthesia, general anesthesia

     11      that we all are, I think, familiar with -- obviously, maybe

     12      I am a little bit more familiar with it than you are because

     13      I have done it so many times, but I am sure many of you have

     14      had surgery and had anesthesia for that procedure.               But

     15      basically you have the patient on the operating room table.

     16      You have an intravenous line in place, and you give the

     17      induction drug, which, you know, we can say it's propofol or

     18      something like that.        And we need to control your airway.

     19      So we are going to place that plastic tube into your mouth.

     20      So we will give a muscle relaxant to relax the muscles in

     21      order to be able to place that -- that plastic tube.

     22            And we often will use rocuronium.           So we start with,

     23      let's say, propofol and then we give rocuronium.               Rocuronium

     24      in its configuration is irritating to the vein.               So people

     25      have described -- and I have certainly seen this movement


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      1      occurring when you give the rocuronium.             So the arm will

      2      flinch or move up.

      3            This -- these investigators looked at this phenomenon

      4      describing that movement, and, again, it's thought to be

      5      secondary to vein irritation.          They did not indicate any

      6      signs or find any signs of awakening.            They were actually

      7      looking at the BIS number, and they did not see any change

      8      occurring despite the fact that movement occurred.               So the

      9      BIS didn't change despite movement occurring.

     10      Q.    Are there any drugs that have a similar effect?

     11      A.    Yes.    There are other drugs that will cause vein

     12      irritation.     Certainly in my specialty, yeah, there is --

     13      Propofol can be very, very painful.            Etomidate.     In fact,

     14      propofol, which is the white drug that you're probably

     15      familiar with, the one that was used with Michael Jackson,

     16      that's very irritating.        We actually will use lidocaine

     17      mixed with the propofol to help mitigate that response.                  But

     18      it's very painful.

     19            Sometimes patients will have a lidocaine allergy and we

     20      can't do that so we have to give the propofol just as it is,

     21      and these patients will complain and sometimes complain

     22      significantly about the amount of pain that they experienced

     23      from the propofol.       But it's just one of the things that we

     24      have to do essentially, and we have to talk the patient

     25      through it.     But it happens fairly commonly when we can't


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      1      provide the lidocaine.        Even with the lidocaine, we can

      2      still get pain on injection.

      3              Etomidate is another drug that's painful on injection.

      4      Diazepam, Valium, when it's given intravenously is painful

      5      on injection.      Those are the ones I am most experienced

      6      with.

      7              Of course, I know within the context of this setting

      8      potassium chloride can be painful when given to an awake

      9      human.

     10      Q.      But if the person has been rendered conscious, would

     11      they feel it?

     12                   THE COURT:     Conscious or --

     13      BY MR. MADDEN:

     14      Q.      I am sorry.    Unconscious, would they feel that?

     15      A.      In my opinion they would not.        Again, we have to think

     16      carefully about separating the idea of pain versus noxious

     17      stimulation.      So I do not believe that they would experience

     18      pain in the way that we normally think about pain.               Would

     19      they have a physiologic response to that?             It could

     20      certainly happen.       If you were measuring the blood pressure

     21      and the heart rate, yes, those values could go up, but that

     22      doesn't mean that they experience the typical emotional

     23      experience that we all think about when we think about pain.

     24      Q.      In that same paragraph you talk about the stimulation

     25      caused by potassium chloride.          Can you talk about that to


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      1      the Court?

      2      A.      So it's been well described that potassium chloride

      3      when injected intravenously can cause pain.              And, again,

      4      it's irritation of the vein setting off some of the nerve

      5      fibers and activating nerve fibers in the vein, and it can

      6      be very painful.

      7      Q.      Would --

      8      A.      Go ahead.

      9      Q.      Would the noxious stimulation caused by potassium

     10      chloride be long or short in duration?

     11      A.      In what setting?

     12      Q.      If administered intravenously.

     13      A.      Well, if it's administered as a slow infusion in a

     14      clinical setting, it would last for a significant amount of

     15      time.

     16      Q.      What about administered quickly?

     17      A.      Well, if administered quickly -- and this certainly has

     18      unfortunately happened either in a clinical setting by

     19      mistake or obviously there have been some homicides out

     20      there where healthcare workers have administered potassium

     21      chloride quickly to a patient, but if administered quickly

     22      in a large enough dose, the drug gets to the heart and the

     23      heart will stop essentially.          And after it stops, then there

     24      is no more blood flow to the heart or to the brain.                And

     25      then the person would become unconscious.


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      1            So, again, dependent on the --

      2      Q.    Be unconscious or dead after the potassium chloride

      3      reaches the heart?

      4      A.    Well, once the heart stops, they are going to be

      5      clinically dead if nothing else is done.             But they would be

      6      unconscious.      So there is pretty good data out there about

      7      how long does it -- how long can you maintain consciousness

      8      after the heart's stopped, and it varies.             It's probably

      9      around ten seconds.

     10            Now, there may be -- there are some old reports many,

     11      many, you know, hundreds of years ago, and not to get into

     12      too gory of a subject, but when the guillotine was used,

     13      there were some experimenters who actually would ask the

     14      condemned person to attempt to speak after the head was

     15      severed.     And they actually timed how long after the head

     16      was severed to see when the individual was still able to

     17      move their mouth.       And my recollection it's -- in that

     18      setting, it was around ten seconds.            And I think other

     19      literature, more modern literature suggests that it's

     20      probably around that period of time once the heart stops,

     21      you are going to lose consciousness within about ten

     22      seconds.

     23            So if you look at the time from when the drug is first

     24      injected to when the heart stops and they lose

     25      consciousness, you are probably talking about maybe 20 to 30


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      1      seconds is my guess.

      2      Q.    And would you expect that 500 milligrams of midazolam

      3      would render the inmate unconscious to withstand that

      4      noxious stimulation, that noxious stimulation in that short

      5      duration?

      6                   THE WITNESS:     Judge, do I have to pay if I drop

      7      that water?

      8                   THE COURT:     No.

      9                   THE WITNESS:     I'll be careful.

     10            Can you repeat the question?

     11                   MR. MADDEN:     Could I have that question repeated.

     12                   THE COURT:     And would you expect that 500

     13      milligrams of midazolam would render the inmate unconscious

     14      to withstand that noxious stimulation, that noxious

     15      stimulation in that short duration?

     16                   THE WITNESS:     I will answer the question if I

     17      could just rephrase it a little bit in terms of 500

     18      milligrams given to a person?

     19      BY MR. MADDEN:

     20      Q.    Yes.

     21      A.    If midazolam at 500 milligrams is given to a person and

     22      then potassium chloride was injected, I would not ex -- I

     23      would predict that the individual would be unconscious and

     24      unable to feel and experience the pain that we normally

     25      associate with the injection of potassium chloride.


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      1      Q.    With that 1 to 25 seconds?

      2      A.    Correct, for that period of around -- up to around 20

      3      to 30 seconds after the injection, yes.

      4      Q.    There's been a lot of testimony here about air hunger.

      5      Can you tell us your understanding of air hunger?

      6                   THE COURT:     There's been a lot of testimony in the

      7      case before this hearing.         I don't think we have had any

      8      testimony during the course of this hearing about air

      9      hunger.    Just, again, counsel are much more familiar with

     10      what's happened in prior proceedings than I am, but --

     11                   MR. MADDEN:     If it's your understanding that air

     12      hunger is not at issue here.

     13                   THE COURT:     I am not saying it's not an issue.             I

     14      am saying that I don't have a recollection of any discussion

     15      of air hunger during this preliminary injunction proceeding,

     16      which is not to say it's not an issue.

     17                   MR. MADDEN:     Okay, okay.

     18                   THE COURT:     Your witness, you know.

     19      BY MR. MADDEN:

     20      Q.    Can you tell us your understanding of air hunger?

     21      A.    So air hunger is -- just to explain this a little bit

     22      in terms that you can relate to, air hunger in a way is

     23      going to be similar to how I described pain versus noxious

     24      stimulation.      So air hunger is the conscious awareness that

     25      we have when we can't catch our breath.             And some of the


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      1      clinical conditions in which that occurs would be pneumonia,

      2      congestive heart failure, pulmonary edema.             These are

      3      conditions where you get water on the lung.

      4            You could have chemical damage to the lungs that causes

      5      air hunger.     You could also have a physical obstruction of

      6      some sort that causes air hunger.           So that is if you have

      7      a -- you have aspirated something and you can't catch -- you

      8      know, you can't breathe very well around that, that would

      9      cause that sensation of not being able to get your breath.

     10      And that's what you experience as an awake person.

     11      Q.    And are you concerned that a cessation of -- cessation

     12      of breathing like that would be stimulating to a patient

     13      enough to cause them to awake from 500 milligrams of

     14      midazolam?

     15      A.    I would not expect that to.          The -- not breathing or

     16      the apnea would not be stimulating in the sense of waking

     17      somebody up from 500 milligrams of midazolam or many of the

     18      other drugs that we use in our specialty.

     19      Q.    Do all anesthetics produce the cessation of breathing?

     20      Is that a common problem with all anesthetics or a side

     21      effect of all anesthetics?

     22      A.    One of the most important concepts I learned in medical

     23      school is never say never and never say always because

     24      someone's going to find something.           So I won't say, you

     25      know -- the common anesthetics that we use, I would say they


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      1      all produce some type of respiratory depression.               Now, do

      2      all anesthetics do that?         There may be some experimental

      3      anesthetics out there that I am not aware of that don't have

      4      that problem, and certainly there's some anesthetics that

      5      have less of a problem, but the commonly used anesthetics

      6      and sedative drugs all cause respiratory effects and

      7      respiratory depression in some way to some degree.

      8      Q.    Now, much has been said about the ceiling effect as it

      9      relates to midazolam.        Can you talk about that a little bit?

     10      A.    So the ceiling effect I just don't think is

     11      particularly germane here because it really depends on the

     12      end point that you are looking at and whether a ceiling

     13      effect is beyond that end point.

     14            So there may be some effect that you are looking at

     15      where there is no -- that is, that you might be looking at a

     16      particular end point like sedation.            I will just use that as

     17      an example.     And the ceiling effect of the drug is actually

     18      beyond that -- that point.         The effect of the -- at the

     19      receptor level in terms of leveling off is beyond the

     20      concentration that you need or the dose that you need to be

     21      able to produce a particular end point.

     22            In this setting, what we're concerned about in terms of

     23      giving a large dose of midazolam is, does it produce

     24      unconsciousness.       And in my opinion it does.         And so whether

     25      there is a ceiling effect beyond that is really not


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      1      important because it produces the desired effect, that is,

      2      that you want to -- in this particular case, just like in

      3      the clinical work, you are interested in producing

      4      unconsciousness.       So it does produce unconsciousness.

      5            So if a ceiling effect occurs beyond that in terms of

      6      something that happens at the receptor level or if a ceiling

      7      effect occurs because you are looking at the

      8      electroencephalogram and when you give more of a drug you

      9      don't see any additional effect, I don't think that's

     10      particularly important because, again, you are looking at

     11      does it produce unconsciousness.           And the answer is yes.

     12            And so I don't think it's that important.

     13      Q.    Yesterday Dr. Stevens gave testimony on his theory

     14      regarding the ceiling effect and how he arrived at his

     15      conclusions.      Can you give an opinion in response?

     16      A.    So I think that the ceiling effect and the way that he

     17      approached this as an academic exercise, I think I'll be

     18      quite honest, it's pretty much exactly what I would have

     19      done in the sense that, you know, I think he used some of

     20      the appropriate data out there and put together that process

     21      in a reasonable way.

     22            Of course, there were some -- there was a math error in

     23      one version, and I think perhaps at odds in terms of another

     24      issue related to that; but, nevertheless, I think that was

     25      an appropriate way to look at this as a -- from an academic


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      1      exercise.

      2            And as he mentioned yesterday, it's certainly a

      3      ballpark figure.       But I think that there is a lot of

      4      uncertainty in the way that you arrive at this type of

      5      analysis or do this type of analysis.            And it's related to

      6      the variability of the data where you draw the lines to the

      7      ways in which the data were obtained.            So, for example, the

      8      different types of cells that were examined, the different

      9      methods, different temperatures, obviously many of these

     10      studies were done at room temperature.            And, of course, we

     11      give drugs to patients at body temperature.

     12            But the variability of the data I think is instructive.

     13      And I'd be happy to go further into that.

     14      Q.    Yeah.    Why don't we show you what is the Expert Exhibit

     15      1 from plaintiffs.

     16                    THE COURT:    Before we do that, we are going to

     17      take our morning recess for ten minutes.

     18                    MR. MADDEN:    Thank you, Your Honor.

     19                    THE COURTROOM DEPUTY:       All rise.    This court

     20      stands in recess.

     21            (Recess from 10:27 a.m. until 10:42 a.m.)

     22                    THE COURT:    Mr. Madden, you may resume your

     23      examination.

     24                    MR. MADDEN:    Thank you, Your Honor.

     25      BY MR. MADDEN:


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      1      Q.    Let me refer you to Plaintiffs' Expert Exhibit 1, page

      2      20 of 32.     I think it's expert page -- no, 20 of 32.             Okay?

      3                   THE COURT:     Page number again, please.

      4                   MR. MADDEN:     20 of 32.

      5                   THE COURT:     All right.     Thank you.

      6      BY MR. MADDEN:

      7      Q.    Looking at Figure 5.        Do you have any opinions about --

      8      of this particular figure?

      9      A.    Yes, which I will elaborate.          So one of the -- as I

     10      mentioned earlier, the approach that Dr. Stevens took,

     11      again, as an academic exercise, I think it would be pretty

     12      much the same approach that I would take.

     13            However, there is -- it's important to understand that

     14      there is some uncertainty involved in arriving at these

     15      types of calculations.        And one of the issues has do with

     16      the variability of the data and what those data mean, which

     17      I could best explain if I could go up to the poster and

     18      explain that.

     19                   MR. MADDEN:     With the Court's permission.

     20                   THE COURT:     Of course.

     21                   THE WITNESS:     May I remove this exhibit?

     22      BY MR. MADDEN:

     23      Q.    As long as you put it back.

     24      A.    So I am just going to make a very simplified drawing of

     25      one of the -- of Figure 5 here, folks, for explanation.                 And


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      1      I am just going to draw part of it because I only need to do

      2      that to explain the idea that I am trying to -- I want to

      3      explain in terms of variability.           And I'd like to explain

      4      this in a very -- in a way that hopefully you'd be able to

      5      grasp what I am trying to explain here.

      6             By an example, suppose I was interested in what's the

      7      average height of the people that are in Dayton, Ohio, right

      8      now.    Well, I could go out, and I am not sure how many

      9      people are in Dayton, Ohio, right now, and measure the

     10      height of all those people.         But I have a plane to catch

     11      tonight.     I can't do that.

     12             Maybe what I'll do is I'll measure the height of all

     13      the people in this courtroom.          So I measure your height,

     14      your height, and so forth.         And I develop an average.         I put

     15      those together, divide by the number of people in the room,

     16      and I get an average.        And there is going to be some

     17      variation in that average, variation.            And that's

     18      essentially what this "T" refers to.            It refers to the

     19      amount of variation in the data.

     20             The dot itself represents the average.            But when I've

     21      measured the height of all the people in this courtroom,

     22      have I truly gotten an accurate estimate of the height of

     23      the people in Dayton?        Well, statistically speaking, no, I

     24      may not have.      And one of the ways you can look at this

     25      variation is that the true height of the people, the true


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      1      average height of the people in Dayton is somewhere in

      2      between the "T" mark that you see here.             And because of the

      3      way that these drawings are drawn, the "T" goes down like

      4      that on each of these.        Just for purposes of clarity, omit

      5      that.    But you have the variation going down like that.

      6              So the important thing to understand here is that you

      7      might look at these black dots and say, well, the ceiling

      8      effect occurs here because that's where you begin to see the

      9      leveling off.      And based on the data that is available, you

     10      could say that.      But what if the true value for this data

     11      point is there.      That is, when I say the true value, again

     12      referring to my example, the true average height of people

     13      in Dayton.     And the true value over here for this data point

     14      may be up here.      So, in fact, you can't draw a straight

     15      line.    There is no ceiling effect.

     16              So there is this inherent variability in data.             You

     17      know, again, I haven't really said this, but what does

     18      science try to do?       It tries to explain the world.          That's

     19      what we are trying to do here.          Can we explain the world?

     20      Can we, based on our studies and experiments, predict --

     21      make predictions about the future, that is, this is the way

     22      things work?

     23              And when you do these types of experiments, you have to

     24      understand there is variability there.            And so drawing a

     25      straight line based on that, yes, there is a chance that


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      1      that's where that ceiling effect occurs, but there is a

      2      chance, a fairly significant chance I think, that the

      3      ceiling effect may be different.

      4             The other thing that I want to point out is that these

      5      graphs are drawn on what we call a log scale.              So I am just

      6      going to put in some numbers here.           Number 1, 10, 100, and

      7      then 1,000.     These are the drug concentrations.            So this is

      8      only going from 1 to 10.         This goes from 10 to 100, and this

      9      is from 100 to 1000.

     10             So dependent on where this line is drawn -- and so what

     11      was done is that you draw -- you say, well, this is where

     12      the ceiling effect first occurs.           So it's going to be at

     13      around 100 because that's where you begin to see the

     14      leveling off.      But there are no data points between 1 and

     15      100.    The experimenters didn't do that study.            So had they

     16      done that study, maybe they would have said -- would have

     17      seen that at 50, it would be right here, all right?                So then

     18      the ceiling point actually occurs at 50.

     19             So, again, I don't disagree with the approach that

     20      Dr. Stevens takes on this.         Again, I would have done the

     21      same thing.     In fact, I have done this type of calculation

     22      myself for other reasons.         And it's a reasonable approach to

     23      try to estimate this so-called ceiling effect.

     24             Now, there is other issues here where you are going

     25      against some in-vitro studies to the clinical situation,


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      1      which is -- also has issues, but just based on the

      2      variability issue, it's important to understand there is

      3      variability in data in making that type of assumption.                Yes,

      4      it could be correct, but there is a chance that it's not

      5      going to be correct.        And that's just sort of the nature of

      6      statistics.

      7      Q.    Thank you, Doctor.

      8            Now, in your -- one of your, either your report or your

      9      addendum, you state that you believe Dr. Stevens makes an

     10      error in his calculations.         Can you tell that -- can you

     11      explain that to the Court?

     12      A.    Yes.    So the math error was corrected.           I believe that

     13      there is another error, and I understand he may --

     14      Q.    When you are talking about the math error, what are you

     15      referring to?

     16      A.    Well, I am sorry.       In his report, for this case -- I

     17      apologize -- the math error was corrected.             It was in a

     18      previous report, so I apologize.           That's, I guess, not

     19      germane to this particular.

     20      Q.    Okay.    What was the other error that you noticed?

     21      A.    So, again, if I may, I think it's best if I could go to

     22      this, so --

     23            And I believe it would be useful if I may refer to the

     24      Arendt paper that is important in this discussion, if that's

     25      permissible.


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      1                   THE COURT:     Yes, sir.

      2              Mary, that's A-R-E-N-D-T.

      3                   THE WITNESS:     Correct.     And I am not sure where

      4      that is, if it's even in these documents.

      5      BY MR. MADDEN:

      6      Q.      What would you be looking for?

      7      A.      The Arendt paper, A-R-E-N-D-T, from 1983.

      8      Q.      Try, see if it's DX 76.

      9      A.      You know what, actually -- I have Dr. Stevens' report

     10      here.    He has a figure that's probably important -- that's

     11      an important figure so I can actually excuse that so -- I

     12      think part of this explanation I will just do from my chair

     13      and then I will go up there if I need to.

     14              When you administer drugs to people, or to animals for

     15      the most part, many of the drugs are bound to proteins in

     16      the blood.     And we talk about a bound drug and then the free

     17      drug.    So the free drug is the drug in this plasma or in the

     18      blood that is actually not bound to anything.              It's just

     19      floating around free.        But many of the drugs are actually

     20      attached to proteins such as albumin.            So that's called

     21      protein binding.

     22              In the case of midazolam, about 95 percent of the drug

     23      in the blood, in the plasma, is protein bound, so it's

     24      actually attached to albumin.           In order for that drug to get

     25      into the brain, it has to be in the free form.              So the way


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      1      that you can think about this -- and I was thinking about

      2      this, this morning and reflecting on my experience when I

      3      went to, on Tuesday morning, to the Air Force Museum.                And I

      4      was very interested in the planes that they had there, Air

      5      Force One and so forth.        And when you walk into those

      6      planes -- and I am sure many of you have done this -- they

      7      have Plexiglas partitions, so that would be -- the walkway

      8      through those planes is very narrow.            It's only about that

      9      narrow (indicating).

     10            And they actually have that set up on the outside just

     11      to inform you this is how narrow it is.             So if you can't fit

     12      through that, then you are not going to be able to get

     13      through the plane.

     14            So imagine the plane is the brain.            And you walk up to

     15      that and you've got all this -- you know, it's cold outside.

     16      You have got all this bulky clothing on.             You can't fit

     17      through that.      You have to take that bulky clothing off in

     18      order to fit through the brain.          It's the same concept -- I

     19      am sorry -- for you to fit through the plane, it's the same

     20      concept.     The drug cannot pass in general from the blood

     21      into the brain until it's in its free form.              So you have

     22      to -- it has to get off from the albumin.             And then it gets

     23      into the brain.

     24            So that's an important thing that needs to be done when

     25      you are doing these calculations, and Dr. Stevens did that


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      1      appropriately.      He accounted for the protein binding.

      2            He then referred to a figure from the Arendt paper,

      3      which is Figure 9, which is on page 25 of his report.                And

      4      it's in the book.       It's page 1842.      And it's called figure 9

      5      in his report.

      6                   THE COURT:     What page of his report did you say it

      7      was on?

      8                   THE WITNESS:     25 of 43.

      9                   MR. MADDEN:     No, I think you have a different -- I

     10      think you have a different -- you may have to let me -- is

     11      this the paper you are speaking of?

     12                   THE WITNESS:     Yes, page 23 of 32 in this

     13      particular version.

     14                   THE COURT:     Page what?

     15                   THE WITNESS:     23 of 32.

     16                   THE COURT:     Thank you.     Okay.

     17                   THE WITNESS:     And it's Figure 7 in this particular

     18      report.

     19                   THE COURT:     Okay.

     20                   THE WITNESS:     Okay.    So what these investigators

     21      did is that they gave you a large dose of midazolam, 10

     22      milligrams per kilogram, and then they measured the

     23      concentration of the drug in the -- and Dr. Stevens in his

     24      rebuttal report pointed out my error in saying total blood

     25      concentration.      And I -- probably what I did -- and I don't


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      1      have -- since I don't have the full report, I only have

      2      what's here in front of me.

      3      BY MR. MADDEN:

      4      Q.    I can give you the full report.

      5      A.    Thank you.     If you would, please.

      6            I'm sorry.     I'm looking for something here.

      7            So he referred to a measurement of midazolam in the

      8      blood in multiple sites here.          So I think I just sort of

      9      carried over the use of the term "blood," but I think we

     10      would both agree that it's really the measurement of the

     11      drug in the plasma, which is important here.

     12            Well, I don't personally think it's that important

     13      whether you refer to blood or plasma, but it is the same

     14      thing.    It is in the plasma, that is actually where it was

     15      measured, where they removed the red blood cells and looked

     16      at the plasma concentration of the blood.

     17            So again I am referring to figure 7, and in that

     18      figure, you have a curve that describes the plasma

     19      concentration of the drug and then a figure that describes

     20      the concentration of the drug in CSF.            So something

     21      that's --

     22                   THE COURT:     CSF for the record.

     23                   THE WITNESS:     I am sorry, cerebral spinal fluid.

     24                   THE COURT:     All right.

     25                   THE WITNESS:     So what's important to see there or


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      1      understand is that there really are no proteins to speak of,

      2      and there's a limited amount of protein in cerebral spinal

      3      fluid.    So when the drug, the free drug crosses over into

      4      the brain and it starts to bathe and get into the CSF, there

      5      isn't really much protein binding of the drug because there

      6      isn't really much protein in the CSF.            So the concentration

      7      of the drug that's in there is basically the free drug

      8      concentration.

      9            And the drug -- the concentration of the midazolam in

     10      this figure that's drawn from plasma, that is the total drug

     11      concentration in the plasma, the bound, protein bound and

     12      the unbound.      So what he did is that he made a correction

     13      for the protein binding, and then he looked at this figure

     14      and said, well, on average the CSF concentration is about 14

     15      percent of the plasma concentration.            And therefore I am

     16      going to make that correction as well.            And that is not the

     17      right way to do that.        He basically doubled -- made an

     18      accounting or counted for that issue twice instead of just

     19      the one time.      So he could have done one or the other but I

     20      don't think he should have done both.

     21            Now, in the grand scheme of things, do I agree it's an

     22      error or not?      No, I don't think so simply because, again,

     23      given the variability that I have already explained here,

     24      and dependent on how you look at the data, you might get a

     25      ceiling effect of maybe 5 milligrams of midazolam or 500


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      1      milligrams of midazolam.         It depends on where you draw these

      2      lines and so on and so forth.

      3      BY MR. MADDEN:

      4      Q.      The point is that it's unclear?

      5      A.      Yeah.   Again, it's just unclear about how valid these

      6      data are -- or I should say how valid this analysis is in

      7      terms of being certain that that's where the ceiling effect

      8      occurs.

      9      Q.      Now, in your report at paragraph 23, you state that the

     10      ceiling effect obfuscates the issue.            What did you mean by

     11      that?

     12      A.      Well, again, it's -- from my perspective is that --

     13      again, we don't know what happens clinically to somebody who

     14      receives 500 milligrams of midazolam because we don't -- as

     15      clinicians, we don't administer that dose.             But we do

     16      administer doses of .2 to .3 or more of midazolam to

     17      patients for the procedures that I described earlier.                And

     18      those patients are unconscious.          So there is evidence out

     19      there that these patients are unconscious.

     20              So why even think about or deal with the ceiling

     21      effect.     The question from the practical perspective in my

     22      mind, these drugs produce -- or I should say midazolam

     23      produces unconsciousness that's sufficient for the

     24      procedures that I have just described, such as for the

     25      colonoscopies and for endotracheal intubation, the c-section


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      1      study that I referred to.         To me that's the important data

      2      to understand what would happen with a larger dose.

      3      Q.     There's been some testimony about barbiturates and

      4      benzodiazepines having a different atomic structure.                Do you

      5      believe that's relevant?

      6      A.     Not particularly.      Again, trying to point out

      7      structural differences can sometimes be instructive, but as

      8      an example that I gave in my own field of anesthetic

      9      structures, you can have two molecules that are vastly

     10      different in the structure and yet they produce general

     11      anesthesia.

     12             In my field you can have two molecules that are quite

     13      similar and they might produce completely different affects.

     14      So I gave you the example of flurothyl, which is a

     15      halogenated ether as I recall, that instead of producing

     16      anesthesia that produces convulsions, which is certainly the

     17      opposite of a general anesthesia.

     18             So trying to draw conclusions from structural

     19      similarities or structural dissimilarities is, again, you

     20      have to be careful about how you do that.             It's not an all

     21      or nothing.     It's not like you can hang your hat on that at

     22      all.

     23      Q.     I want to get to paragraph 28 of your addendum.

     24      A.     Could you refer to me where that would be in my --

     25      Q.     Yeah.   I think it's -- attached to your --


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      1      A.     I have lost my place so you are going to have to tell

      2      me.

      3      Q.     1811.

      4                     THE COURT:     The same document, Defendants' Exhibit

      5      94, but at page 1811.

      6                     THE WITNESS:     Yes, okay.   Thank you.     Yes, I have

      7      it.

      8      BY MR. MADDEN:

      9      Q.     How does midazolam and opiates affect breathing?

     10      A.     So these drugs affect the respiratory centers in the

     11      brain stem and brain to depress the drive to breathe.                They

     12      can also affect the ways in which the airway's maintained,

     13      so the airway can tend to collapse a little bit.               And this

     14      is particularly true, not just for midazolam and opiates but

     15      for anesthesia in general.          There is airway collapse.

     16             So when I use that term, the way that you can think

     17      about it from a non-medical perspective is that -- I mean,

     18      we're all familiar with the idea of seeing people snore,

     19      right?     If someone falls asleep and the back of their tongue

     20      kind of goes -- or their tongue goes to the back of their

     21      throat and they start to snore.          And general anesthetics

     22      have that effect, as do sedative drugs such as midazolam and

     23      opiates.       So two primary effects, decreasing the drive to

     24      breathe, which is related to carbon dioxide primarily and

     25      pH.    But also the collapsing.        Again, I use the term of


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      1      collapsing the airway where the airway starts to get

      2      smaller, again related to the muscles relaxing and the

      3      tongue falling back.

      4      Q.    Let me refer you to paragraphs 29 and 30.

      5      A.    Yes.

      6      Q.    Is that the same as air hunger?

      7      A.    Not necessarily.       So air hunger is the, again, the

      8      concept or the idea that you feel that you have that

      9      sensation that you need to take a breath.             But what these

     10      drugs do, such as midazolam and opiates, they remove that

     11      drive or decrease that drive and remove that feeling.                And

     12      that's how these drugs -- why these drugs are so lethal for

     13      any use.

     14            As I said, even small doses of these drugs can kill

     15      patients if you give them -- when midazolam first came out,

     16      that was what was so serious was that these drugs were --

     17      midazolam was to be given to patients, especially elderly

     18      patients, in combination with opiates, and patients weren't

     19      being monitored.       They were just sort of, I will give you

     20      some drugs, give you these drugs, and then the nurse or

     21      doctor walks away.       And then they come back in a few minutes

     22      and the patient is blue because the patient has stopped

     23      breathing.     So these are -- have powerful effects on that.

     24            So the concept of air hunger as being a stimulus

     25      doesn't make any logical sense to me.            That is, if these


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      1      drugs, such as midazolam and opiates -- and we know it's

      2      well-documented that these drugs produce respiratory

      3      depression and apnea, which is the cessation of breathing.

      4      It's -- we know that happens.

      5            And the Judge just yesterday referred to the problem in

      6      this area about opiates and other drugs like that and the

      7      problem.     You know, why do people who take heroin, why do

      8      they die?     Because they take the drug to become unconscious.

      9      They stop breathing, and they die.

     10            If these drugs caused air hunger to the extent that

     11      they woke the person up and the person said, oh, my God, I

     12      feel like I need to breathe, then they wouldn't kill people,

     13      right?     Their respiratory -- respirations would go down.

     14      They'd get that air hunger sensation and they'd wake up and

     15      start breathing again.        Well, that's not what happens.           They

     16      get respiratory depression.         They stop breathing.        They

     17      don't wake up.

     18            Even though all the things that normally would cause --

     19      I shouldn't say all the things, but some of the things that

     20      would cause this air hunger, that is the increase in the

     21      carbon dioxide, the decrease in the pH, those things are

     22      occurring in these patients or these individuals.               But --

     23      and that normally would cause air hunger, but it doesn't in

     24      them because that's the effect of the drug.

     25            Just as a way of an example, when I talk about the


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      1      effects of this carbon dioxide as a very potent stimulus for

      2      breathing -- and we are all familiar of the concept of

      3      breathing into a paper bag.         If you do that, you start to

      4      rebreathe your carbon dioxide, and that really gets to --

      5      you have that sensation, I got to take a breath, and you

      6      start breathing faster.

      7              So carbon dioxide is a very exquisitely strong stimulus

      8      for breathing.      And these drugs take that away.           So I don't

      9      see air hunger as being an issue.

     10              Now, there have been -- and I may refer to my report

     11      here.    There is further discussion about the choking,

     12      snorting, and gasping that I talk about related to the air

     13      hunger issue, which these were eyewitness reports.               I have

     14      not obviously personally witnessed an execution, and I hope

     15      that I never have to, but when I see some of these

     16      descriptions, the first thing that comes to my mind is that

     17      these are, number one, descriptions in reports by, for the

     18      most part as far as I can tell, people who are not medically

     19      trained and may not understand, you know, what's going on.

     20              And I said this earlier in my testimony.           If I were to

     21      take some of you or any of you on a tour of the operating

     22      rooms and intensive care units and show you what patients

     23      can do, you would see that when you give these drugs, they

     24      cause this respiratory depression.           They cause this airway

     25      collapse.     And we have to be there to try to basically


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      1      manage the airway.

      2            So, yes, if you give these drugs without any

      3      intervention, some of these people are going to attempt to

      4      breathe, but they have got a collapsed airway and so they

      5      are going to (indicating sound) like that, as they attempt

      6      to breathe.     I am not sure how that's going to go into

      7      your --

      8                   THE COURT:     She's good.     She'll get it.

      9                   THE WITNESS:     Okay.    But that's essentially what

     10      you would see.      And we're there to manage that.

     11      BY MR. MADDEN:

     12      Q.    Do those actions in an operating room indicate that the

     13      inmate is in pain?

     14      A.    I am sorry.      You have used the word "inmate" and then

     15      "operating room."

     16      Q.    I mean, in an operating room that a patient is

     17      suffering pain?

     18      A.    No, it does not indicate that at all.            Again, these

     19      drugs are very powerful.         And dependent on the type of drug

     20      that you are using, they may not be unconscious.               So let me

     21      give you an example, specifically with opiates.

     22            You can give opiates.        It could be fentanyl,

     23      Sufentanil, Dilaudid, whatever.           It doesn't really matter

     24      too much.     You are at the end of an operation.           You've given

     25      these drugs.      The patient's starting to wake up and, you


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      1      know, you say, "Mr. Jones.         Open your eyes, Mr. Jones," and

      2      he opens his eyes, and you take him into the recovery room.

      3      But you give him so much of the opiate that he is really not

      4      breathing very much.        And, in fact, he may not be breathing

      5      at all.    And you say, "Mr. Jones, take a breath,"

      6      (indicating).      You know, he'll take a breath, and he will

      7      open his eyes, and he will breathe.            "Good job, Mr. Jones.

      8      Take another breath."        And he will take another breath.

      9            If you don't stimulate him, if you are not there to

     10      tell him to keep on breathing, he will just lie there and

     11      maybe he will be awake a little bit or maybe he will be

     12      asleep, but he really won't be breathing.             So these drugs

     13      really remove that sensation of air hunger.              They are very

     14      powerful in that regard.         That's again the basic mechanism

     15      by which they produce respiratory depression and death.

     16      Q.    Now in the testimony yesterday, consciousness was

     17      referred to as all or none.         In your professional

     18      experience, in a clinical setting, is that accurate?

     19      A.    No, it's not.      Consciousness is -- even in a

     20      nonclinical setting, it's a spectrum.            It depends on what

     21      end point you are looking at.          And this is I think critical

     22      to understand.      And as I told you early on, I will say

     23      things that may be helpful to your case or may not be

     24      helpful to your case.        But consciousness is a spectrum, and

     25      you have to decide what do we look at when we're determining


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      1      consciousness.

      2              We're all familiar with that term here today, right?

      3      We're all awake and hopefully most of you are listening to

      4      what I'm saying.       Maybe you are not.       That's fine.     But you

      5      are awake.     That's what we typically think about

      6      consciousness.

      7              When you give these drugs, you provide some type of

      8      stimulus to the person, and you determine whether they are

      9      conscious.     So typically that stimulus would be a verbal

     10      stimulus.     You'd say, "Mr. Jones, open your eyes."            They

     11      open their eyes.       Maybe you give them a little bit more

     12      drug.    They don't open their eyes to verbal stimulation, but

     13      you do the tactile stimulation and the tactile stimulation

     14      is enough to open their eyes.          And maybe give more drug and

     15      you provide a little bit of a shove or something like that

     16      and they open their eyes.         A shaking let's say.        And then

     17      finally you have to pinch them.          And if they respond to the

     18      pinch, by moving their arm, you have to decide, well, is

     19      that consciousness or not.

     20              Somewhere in that spectrum you have to decide where --

     21      where do I have consciousness and where do I have a

     22      reflexive movement of some sort.           And I will say to you that

     23      it's arbitrary.      You know, one person might say, well, if

     24      they move, that's indicative of consciousness.              Another

     25      person might say, well, if they move to a noxious


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      1      stimulation but otherwise don't respond in any other way

      2      from the verbal stimulation or anything else, you might say,

      3      well, that's unconsciousness.

      4             I have my own opinion about this, which is that I think

      5      if patients do not respond to tactile stimulation, to verbal

      6      stimulation, they are unconscious.           If they respond to only

      7      noxious stimulation, they are -- I am sorry.              If they

      8      respond to verbal stimuli and maybe to tactile stimuli, they

      9      would be conscious.       But if they don't, they would be

     10      unconscious.      But you could say, well, I am going to

     11      actually say that they are conscious if they respond to a

     12      noxious stimulation.        I think that's for the Court to

     13      decide, I guess, in this setting.

     14      Q.     Is it absolutely -- Dr. Bergese yesterday testified

     15      that neurologists or a doctor would need to do a

     16      consciousness check.        Do you agree with that?

     17      A.     Do a consciousness check in what setting?

     18      Q.     That only a doctor would be qualified to do a

     19      consciousness check.

     20      A.     I disagree with that because there are some

     21      consciousness scales and tests that are done routinely by

     22      nonphysicians.      So, for example, the Glasgow coma scale, the

     23      GCS.    Glasgow -- being the town in Scotland -- coma scale

     24      has been in use for many, many years to assess the level of

     25      consciousness in -- primarily in head trauma patients.                So


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      1      it goes anywhere between 3 and 15.

      2            There is the RASS score, R-A-S-S, and then there is the

      3      OASS, which is the Observer Assessment of Sedation Scale,

      4      and they are not all the same but they look at very similar

      5      things.    But many of these are done by nonphysicians:

      6      nurses, for example; and I believe EMTs do use the Glasgow

      7      coma scale out in the field to assess consciousness.

      8            Because it's important, what had happened before these

      9      became in -- into use is that one person might say, oh, they

     10      are unconscious or they are comatose, and there was very

     11      imprecise terms being used.          It was very important to be

     12      able to track a patient through the course of hours to days

     13      about what's their level of consciousness.             So the Glasgow

     14      coma scale was used.

     15            In any case, that's a long-winded answer to your

     16      question about can nonphysicians -- or is a physician

     17      required or neurologist, and the answer is no.              They are

     18      common to have these checks done by nonphysicians.

     19                   MR. MADDEN:     Just a second, Your Honor.

     20                   THE COURT:     Of course.

     21                   MR. MADDEN:     Your Honor, I have no further

     22      questions.

     23                   THE COURT:     Cross.

     24                   MR. MADDEN:     Excuse me.

     25            Your Honor, we are going to wait to admit the reports.


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      1      Is that fine?

      2                   THE COURT:     That's fine.

      3                   MS. WOOD:    Your Honor, before we do cross, can we

      4      take a short, ten-minute recess to set up the projector?

      5                   THE COURT:     I don't think it will take ten

      6      minutes.

      7                   MS. WOOD:    Five minutes.

      8                   THE COURT:     Why don't you go ahead and set up the

      9      projector.     I have a couple of questions for Dr. Antognini

     10      which may or may not be --

     11                   MR. SWEENEY:     Do you want me to wait, Your Honor?

     12                   THE COURT:     No.   My question was I thought from

     13      the courtroom deputy that you guys had brought a table in to

     14      do that with instead of displacing Mr. Madden.              But

     15      apparently not.

     16                   MR. SWEENEY:     I don't know that it would --

     17                   THE COURT:     You keep setting up, and I have got

     18      some questions.

     19                   THE WITNESS:     Yes, sir.

     20                   THE COURT:     You were in the courtroom yesterday

     21      when I raised the question about the opioid crisis in Ohio.

     22                   THE WITNESS:     Yes.

     23                   THE COURT:     And I think you were here when I

     24      mentioned the book Dreamland.

     25                   THE WITNESS:     Yes.


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      1                   THE COURT:     So one of the things that comes out of

      2      the book -- and I am only asking these questions, not

      3      because they are necessarily relevant except that they are

      4      things that are in my head that need to be -- I need to make

      5      sure that -- whether they are relevant or not.

      6              So in the book, there is a -- and it's a journalist's

      7      book; it's not a medical one.          There is a lengthy discussion

      8      of the pain scale and how over the last however many years

      9      hospitals and physicians have become much more attentive to

     10      how much pain a patient is suffering and frequently ask

     11      people to rate the level of their pain.             In fact, as an

     12      observer, I witnessed this many times in March and April of

     13      this year as my wife was recovering from knee replacement

     14      surgery.     The medical people would ask, "What's the level of

     15      your pain?"

     16              The suggestion in the book and what I carry in my head

     17      from having done many years of Social Security Disability

     18      work in which pain is an important question is that we don't

     19      have an objective measure of pain.           Will you agree with

     20      that?

     21                   THE WITNESS:     In general I would.        Let me just say

     22      some of the conundrums around the issue of pain.

     23              I have personal knowledge that, my own personal

     24      knowledge, there is only one person in this whole world that

     25      truly experiences pain.        That's me.      The rest of you might


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      1      be faking it.      I don't know.      My pain is a personal

      2      experience, and you cannot really have a true objective

      3      measure of that when it's such a personal experience.

      4            Now, you can develop some objective material -- I use

      5      that term a little bit loosely -- but you can observe people

      6      and say, well, if I was having that stimulus and I see the

      7      person crying, I'd say, I'd probably be crying, too.                So I

      8      can -- I can do that.

      9            And we have pain scales that go from 1 to 100 depending

     10      on the scale.      We have -- actually in the hospitals, you

     11      will see little drawings of a happy face and then a not so

     12      happy face and then a crying face and that kind of thing.

     13      You can look at those types of -- use those types of

     14      criteria.

     15            But it's very difficult to -- to objectify because I

     16      can tell you, you apply a noxious stimulus to somebody and

     17      it might be a 2 out of 10 for you but it's an 8 out of 10

     18      for her.     So it's variable for a variety of different

     19      reasons, and it's difficult to objectify or to make

     20      objective.

     21                   THE COURT:     Essentially you've confirmed my

     22      understanding.      Thank you.

     23                   THE WITNESS:     Sure.

     24                   THE COURT:     Are you ready, Mr. Sweeney?

     25                   MR. SWEENEY:     We are, Your Honor, I believe.


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      1      Ms. Wood would be starting off with the cross.

      2                                 CROSS-EXAMINATION

      3      BY MS. WOOD:

      4      Q.    Good morning.

      5      A.    Good morning.

      6      Q.    My name is Nadia Wood.

      7                   THE COURT:     You need to get closer to the

      8      microphone if you can.

      9                   MS. WOOD:    Can you hear me now?

     10                   THE WITNESS:     Yes.

     11      BY MS. WOOD:

     12      Q.    Can you see the screen?

     13      A.    Yes, and that is, as I pointed out to my attorneys, we

     14      have the incorrect CV.        It's not the most up-to-date CV that

     15      I have.    I am sorry.      Maybe I should -- I should wait for

     16      the question.

     17                   THE COURT:     Wait for the question.

     18                   THE WITNESS:     Yes, sir.

     19                   MS. WOOD:    Can everyone else see the screen,

     20      Judge?

     21      BY MS. WOOD:

     22      Q.    So to clarify, you are no longer a director of

     23      perioperative services, correct?

     24      A.    That is correct.

     25      Q.    Are you still a clinical professor of anesthesiology?


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      1      A.    I am a volunteer clinical professor.            I actually forget

      2      the exact title, but it's a volunteer clinical professor.

      3      Q.    And how much time do you spend in the operating room?

      4      A.    I am not in the operating room anymore.

      5      Q.    So are you currently practicing as an anesthesiologist?

      6      A.    No, I am not.

      7      Q.    And when did you stop doing that?

      8      A.    About a year ago.

      9      Q.    Okay.     And in reviewing -- in preparing for --

     10      preparing your report and preparing for this hearing, are

     11      these the materials that you relied upon and reviewed?

     12      A.    Yes.    The -- I did ask Mr. Madden about what I needed

     13      to include in here because, again, I'm not that familiar

     14      with this process.        And he said only those materials that

     15      inform your decision or your opinion.            So there are

     16      probably -- in fact, I know that there are other papers that

     17      I refer to but I did not include in here.             So I don't have

     18      those off the top of my head, what they were.

     19                    MS. WOOD:    And for the record, this is Plaintiffs'

     20      Expert Exhibit 4, page 928.         Also filed as ECF 852-1, PageID

     21      25823.

     22      BY MS. WOOD:

     23      Q.    So to go back to your CV, you are not currently

     24      practicing as an anesthesiologist, correct?

     25      A.    That's correct.


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      1      Q.    But you had a lot of publications, right?

      2      A.    Right.

      3      Q.    I believe Dr. Stevens mentioned you had about 127

      4      listings.      Is that about right?

      5      A.    Correct.     Of peer-reviewed publications.          I had other

      6      publications, but those are the peer reviewed.

      7      Q.    And most of those are concerning animal studies, right?

      8      A.    That's correct.

      9      Q.    And in animal studies, you just testified that you were

     10      studying immobility?

     11      A.    Yes.     I didn't -- yes.

     12      Q.    You were not studying unconsciousness of those animals?

     13      A.    That's correct.

     14      Q.    You didn't follow up with the animals and see if they

     15      recalled the experiments afterwards?

     16      A.    In almost all of these experiments, the animals were

     17      killed at the end.       So there wasn't that opportunity, and

     18      even if there was, of course talking to a goat, you can talk

     19      to a goat but you won't get much of a response, so --

     20      Q.    So you don't know -- you were only focusing on whether

     21      the animals were moving, not what they were experiencing; is

     22      that right?

     23      A.    That is correct, yes.

     24      Q.    Okay.     And you were studying general anesthetics in

     25      animals, correct?


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      1      A.    Correct, yes.

      2      Q.    And you did not study midazolam, though, in your

      3      studies, did you?

      4      A.    I did not.     Not in a -- I reviewed my CV.          The only

      5      paper I think I have for midazolam was a computer study that

      6      we did, a computer modeling study which didn't obviously

      7      involve, you know, injecting midazolam into a patient; it

      8      was a model study.       So I have not studied midazolam in the

      9      experimental setting.

     10      Q.    So you had no studies on midazolam, correct?              Or except

     11      for that one computer modeling?

     12      A.    Right, that's correct.

     13      Q.    You didn't write any chapter books on midazolam; is

     14      that right?

     15      A.    That is correct.       I don't -- not directly for

     16      midazolam, no.      I'm sure that some of the work that I did, I

     17      did reference midazolam some more with that writing, but not

     18      the chapter -- I didn't write any chapters or anything like

     19      that that was devoted to the benzodiazepines or the

     20      midazolam.

     21      Q.    So benzodiazepines were not the primary focus of your

     22      study or research at all?

     23      A.    No.

     24      Q.    Now, this is your current license; is that correct?

     25                   MR. MADDEN:     Objection, Your Honor.


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      1                   THE COURT:     Grounds?

      2                   MR. MADDEN:     It has personal information on here.

      3                   MS. WOOD:     It's available on the website publicly.

      4                   THE WITNESS:     That appears to be correct.

      5      BY MS. WOOD:

      6      Q.    Your activities indicate that your current activities

      7      in medicine are again administration, again not practicing

      8      medicine.

      9      A.    That is -- it says administration for a year, yes,

     10      that's correct.

     11      Q.    And are you a board-certified member of anesthesiology?

     12      A.    Yes.

     13      Q.    Are you familiar with the organization guidelines on

     14      expert testimony?

     15                   THE COURT:     Go back one slide, please.         What's the

     16      source of this slide?

     17                   MS. WOOD:     It's public information, publicly

     18      available on California website.

     19                   THE COURT:     Which California website?

     20                   THE WITNESS:     Medical Board of California, so you

     21      can search for --

     22                   THE COURT:     My question was to her, not to you.

     23                   THE WITNESS:     Oh.

     24                   THE COURT:     I'm sorry.     Which website?

     25                   MS. WOOD:     State of California has license search,


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      1      and you can go and search professional licenses.               And I put

      2      in here Mr. Antognini's name, which license, and it does say

      3      current, and Dr. Antognini confirmed that it is accurate

      4      information.

      5                   THE COURT:     So this slide is presently where in

      6      the plaintiffs' exhibits?

      7                   MS. WOOD:    Well, this is just an illustration,

      8      Your Honor.

      9                   THE COURT:     It is not an illustration.         It's a

     10      document being used for cross-examination of a witness.

     11      It's not an illustration such as the ones that were created

     12      in court by Dr. Stevens and Dr. Antognini.             This is an

     13      exhibit being used to cross-examine the witness, and it's

     14      not in the plaintiffs' exhibit book and it needs to be

     15      because after a while, this hearing's going to be over and I

     16      have got to be able to refer to stuff, and I am not going to

     17      make you leave your projector here.

     18                   MS. WOOD:    Can I just ask about the information in

     19      support of his license without having the slide up?

     20                   THE COURT:     Not anymore because you have already

     21      used the slide.      So let's get that slide printed out and

     22      number it as a plaintiffs' exhibit.            And I'm not trying to

     23      suggest --

     24                   MS. WOOD:    I understand.

     25                   THE COURT:     -- anything improper about that except


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      1      that it's not in the book.

      2                   MS. WOOD:    Can we do it during the break?

      3                   THE COURT:     Yes.

      4                   MR. KING:    Your Honor, Jim King.        I just have a

      5      question because typically an impeachment exhibit doesn't

      6      have to be identified, especially if it's not introduced,

      7      but you would like that in this case?

      8                   THE COURT:     I certainly would.

      9                   MS. WOOD:    Your Honor, I may have several exhibits

     10      that I was not intending to admit into evidence.

     11                   THE COURT:     Certainly not a problem, but just to

     12      make sure when they are on the screen that they are

     13      identified for the record and that they are later put in the

     14      book.

     15                   MS. WOOD:    Okay.    We will do that.

     16      BY MS. WOOD:

     17      Q.      Now the next slide, you said you were board-certified

     18      in anesthesiology; is that correct?

     19      A.      That's correct.

     20      Q.      And you are a member of the American Society of

     21      Anesthesiology; is that right?

     22      A.      I have not paid my dues since July.          So, quite frankly,

     23      I am not quite sure if I am a member yet or not.               It has to

     24      do with if I paid my dues or not, so I am not sure how to

     25      qualify that.      I have got to do that.


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      1      Q.      You have been a member?

      2      A.      Yes, I have.

      3      Q.      And what I am showing you now is American Society of

      4      Anesthesiologists Guidelines For Expert Witness

      5      Qualifications and Testimony.          Are you familiar with those

      6      guidelines?

      7      A.      I am generally familiar with them.          I have not read

      8      them.    I can see them, and that sounds about right, yes.

      9      Q.      And they state "to limit uninformed and possibly

     10      misleading testimony, experts should be qualified for their

     11      role and should follow a clear, consistent set of ethical

     12      guidelines."      Is that right?

     13      A.      Yes, that's correct.

     14      Q.      And under --

     15                   THE COURT:     Correct in the sense that she has

     16      correctly read what's on the screen?

     17                   THE WITNESS:     Yes, that is correct.

     18                   MR. MADDEN:     Judge, I object to this whole line.

     19      This has not been in the exhibit book for -- so that I could

     20      go over this with my client before this cross-examination.

     21      I'd object to this whole line of questioning.              One, it's not

     22      relevant.     His ethics don't go to bias.          It doesn't have any

     23      relevance.

     24                   MS. WOOD:     It's absolutely relevant.

     25                   MR. MADDEN:     Well, then why didn't you put it in


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      1      the book?     Why didn't I get an opportunity to look at this

      2      and go over it with my client beforehand?

      3                   THE COURT:     All right.     So the objection is

      4      overruled.     Counsel may continue with the examination, but

      5      this is subject to the same thing as the prior one.                I want

      6      the whole set of guidelines marked as an exhibit, provided

      7      to Mr. Madden.

      8            And go ahead.

      9                   MS. WOOD:    Will do.

     10      BY MS. WOOD:

     11      Q.    These expert witness qualifications promulgated by

     12      American Society of Anesthesiologists state that you must be

     13      actively -- or should have been actively involved in the

     14      clinical practice of anesthesiology at the time of the

     15      event.

     16      A.    Yes.    So --

     17                   THE COURT:     Just answer the question that she

     18      asked.

     19                   THE WITNESS:     Okay.

     20                   THE COURT:     Has she read that accurately?

     21                   THE WITNESS:     She's read that accurately.

     22                   THE COURT:     All right.

     23      BY MS. WOOD:

     24      Q.    And the event in question, the forthcoming executions

     25      have not happened yet; is that right?


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      1      A.    To my knowledge, no, they have not.

      2      Q.    But you have ceased being actively involved in the

      3      clinical practice of anesthesiology about a year ago; is

      4      that right?

      5      A.    That is correct.        May I respond to that further?

      6                    THE COURT:     No.   Just answer the question that's

      7      asked.

      8                    THE WITNESS:     Okay.

      9                    THE COURT:     We -- as you can see, there are some

     10      problems.

     11                    THE WITNESS:     Yes, okay.

     12                    MS. WOOD:    Let's talk about things that are

     13      actually in the exhibits.

     14      BY MS. WOOD:

     15      Q.    Let's talk about the BIS monitor.

     16      A.    Sure.

     17                    MS. WOOD:    And what I am showing now is a page

     18      from Miller's Anesthesia that we have been using.               It's

     19      Miller -- on the bottom it is marked as Miller's Anesthesia,

     20      8th Edition, 2015, page 1528.

     21      BY MS. WOOD:

     22      Q.    And it shows -- it's on top, page 1527.             And it shows a

     23      BIS index range; is that right?

     24      A.    Yes, that figure shows that.

     25      Q.    And are you familiar with this index range?


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      1      A.     Yes.    I have used it in the operating room and I have

      2      used it in the lab.

      3      Q.     And it shows that in order to state -- to attain a

      4      state of general anesthesia, you need a BIS below 60; is

      5      that correct?

      6      A.     That is the way that that is written there, and that is

      7      correct.      That's maybe --

      8      Q.     I am just asking --

      9      A.     That's fine.       Okay.

     10      Q.     This is, again, from Miller's Anesthesia, page 1520,

     11      8th Edition, 2015.         It talks about how BIS monitor has been

     12      studied extensively in clinical trials and used widely in

     13      anesthesiology practices; is that correct?

     14      A.     Yes.

     15                    THE COURT:     Are you asking him if you read it

     16      correctly, or asking him if that is an accurate description

     17      of reality?

     18                    MS. WOOD:     Just what it states, Your Honor.         I

     19      would hand him the book but then you wouldn't be able to see

     20      it.

     21                    THE COURT:     Right.

     22                    MS. WOOD:     For the sake of convenience, I am just

     23      putting it up on the screen and reading it.

     24                    THE COURT:     Understood.

     25      BY MS. WOOD:


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      1      Q.     So the Miller's Anesthesia --

      2                     THE WITNESS:     May I just interject something if I

      3      may?

      4                     THE COURT:     Give it a shot.

      5                     THE WITNESS:     I want to make sure that my

      6      responses accurately reflect that I agree that the counsel

      7      here is reading the material correctly.

      8      BY MS. WOOD:

      9      Q.     Okay.    Miller's Anesthesia, same page, same slide,

     10      talks about three known exceptions.             And it says three

     11      exceptions are the anesthetics ketamine, sito figure,

     12      nitrous oxide, and a third one that I probably can't

     13      pronounce.

     14      A.     Dexmedetomidine.

     15      Q.     Thank you.     So they are known exceptions to the

     16      accuracy of the BIS monitor; is that correct?

     17      A.     There are known exceptions to that, but these are not

     18      the only ones.

     19      Q.     And the next slide is the manual for BIS monitoring,

     20      which also talks about exercising cautions when using with

     21      ketamines and nitrous oxide to produce unconsciousness.                 Is

     22      that correct?

     23      A.     You have read that correctly.

     24      Q.     Now, in your report, you talk about -- that's

     25      Plaintiffs' Expert Exhibit 6.          In your report, and that's


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      1      Plaintiffs' Expert Exhibit 6, Bates page number 1013,

      2      paragraph 40, you talk about how BIS monitor may be

      3      inaccurate in some drugs; is that correct?

      4      A.    Yes.

      5      Q.    And you list ketamine and nitrous oxide; is that

      6      correct?

      7      A.    Yes.

      8      Q.    And then you conclude that because the BIS resulting

      9      from midazolam is greater than the BIS resulting from other

     10      anesthetics, that should not be equated with midazolam

     11      having less effect on consciousness; is that right?

     12      A.    That's what I wrote there, yes.

     13      Q.    But we just saw that ketamines and nitrous oxide are

     14      known exceptions, correct?

     15      A.    They were some of the known exceptions, but not the

     16      only ones.

     17      Q.    Neither one of these mentioned midazolam, did they?

     18      A.    No, they did not.

     19      Q.    Miller's Anesthesia does not mention midazolam as a

     20      known exception, does it?

     21      A.    No, it doesn't.

     22      Q.    The BIS monitoring manual does not mention midazolam as

     23      an exception, does it?

     24      A.    No.

     25      Q.    Do you have some other reason to believe that midazolam


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      1      produces inaccurate BIS values?

      2      A.    Yes, which I can refer to.

      3                   THE COURT:     Well, we'll leave it at yes unless

      4      Mr. Madden desires to bring out the explanation of the yes

      5      on his redirect examination.

      6                   MR. MADDEN:     Judge, I would just like to note that

      7      the plaintiffs' experts were given much more leeway on how

      8      they answered questions.         We weren't trying to keep

      9      Dr. Bergese to yes and no, and he was given an opportunity

     10      to respond.

     11                   THE COURT:     You would prefer that he respond now?

     12                   MS. WOOD:     I would object.

     13                   MR. MADDEN:     I would just --

     14                   THE COURT:     Just make note of it, Tom.         It's

     15      easier.

     16                   MS. WOOD:     You get a redirect.

     17      BY MS. WOOD:

     18      Q.    Let's talk about how benzodiazepines provide no pain

     19      relief.    In your report, you said that benzodiazepines

     20      possess analgesic properties; is that correct?

     21      A.    I did.    Yes, I said that -- wrote that.

     22      Q.    The record that's the Plaintiffs' Expert Exhibit 4,

     23      Bates page number 898.

     24            Now, Miller's Anesthesia, 8th Edition, 2015, at page

     25      842 states, "Benzodiazepines lack analgesic properties and


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      1       must be used with other anesthetic drugs to provide

      2       sufficient analgesia."        Is that correct?

      3       A.    Yes, you have read that correctly.

      4       Q.    And the rest of the sentence says, "However, as

      5       maintenance anesthetic drugs during general anesthesia,

      6       benzodiazepines provide hypnosis and amnesia."              Is that

      7       correct?

      8       A.    You have read that correctly.

      9       Q.    So benzodiazepine's primary purpose during general

     10       anesthesia is to provide hypnosis and amnesia; is that

     11       correct?

     12       A.    I would say that is one of the actions of the drug.                  I

     13       am not sure that you could say it's the primary purpose, but

     14       I'll just say it's one of the actions, or those are some of

     15       the actions of the drug.

     16       Q.    Let's look at some of the studies you cited.              One of

     17       the studies you talk -- you cited in support of analgesic

     18       properties of midazolam was Yegin, 2004, and that was again

     19       back in your report, paragraph 16.

     20       A.    Um-hmm.

     21       Q.    This Yegin study, in addition to midazolam, used

     22       another drug, didn't it?

     23       A.    Yes, it did.

     24       Q.    So that study did not use midazolam alone, did it?

     25       A.    No, it did not.


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      1       Q.    Let's look at another study you relied on.             Again, back

      2       in your report you said you cited Gehrke to the study?

      3       A.    Yes.

      4       Q.    To support your contention that benzodiazepines produce

      5       analgesic properties, correct?

      6       A.    Yes.

      7       Q.    This Gehrke study -- this is a quote from the study --

      8       says, "The use of an opioid morphine or fentanyl or

      9       neuromuscular blockers was allowed at the discretion of the

     10       attending doctor."       Is that right?

     11       A.    Yes.

     12       Q.    So in that study midazolam was not used alone either;

     13       is that correct?

     14       A.    I'd have to review that study.          I believe there might

     15       have been a small group of patients that might have received

     16       midazolam itself but I don't know.           I'd have to review the

     17       study.

     18       Q.    So this is the study and this is the quote from the

     19       study that talks about the use of an opioid?

     20       A.    That's correct.      But as you see there, it says, "was

     21       allowed at the discretion of the attending doctor."               So if

     22       the attending doctor said I'm not going to use anything but

     23       midazolam -- I'd have to review the paper to see whether

     24       some of the patients received midazolam only.

     25       Q.    So would it be fair to say that the study did not focus


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      1       on the use of midazolam as a sole drug because it did not

      2       exclude other drugs, including opioids?

      3       A.    Well, as a sole focus, that is probably a true

      4       statement, yeah.

      5       Q.    Again, in the Gehrke study -- again, this is from the

      6       front page of the study -- talks about the reason why

      7       midazolam became popular is because it's due to its better

      8       amnesia properties; is that correct?

      9       A.    You have read that correctly.

     10       Q.    Now, this is on how to do anesthesia induction,

     11       Miller's Anesthesia, page 1655, again 8th Edition, 2015.                   It

     12       talks about the standard induction of anesthesia for

     13       intubation purposes.

     14       A.    Yes.

     15       Q.    And the quote says that "The most common technique for

     16       induction of general anesthesia is the standard IV induction

     17       which entails the administration of a rapid-acting IV

     18       anesthetic followed by an NMBD."

     19       A.    Um-hmm, yes.

     20       Q.    In this case, an NMBD, would that be a neuromuscular-

     21       blocking drug?

     22       A.    That's correct.

     23       Q.    So normal practice for induction of anesthesia would be

     24       to administer an IV drug with a neuromuscular blocker; is

     25       that right?


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      1       A.    That is correct.

      2       Q.    And that blocker will prevent somebody from moving

      3       during intubation; is that correct?

      4       A.    That is correct.

      5       Q.    And if midazolam is used as a drug along with a

      6       neuromuscular blocker, they may have trouble recalling the

      7       procedure; is that correct?

      8       A.    That is correct.

      9       Q.    So if somebody doesn't remember what happened during

     10       their intubation, that doesn't mean they did not experience

     11       pain during that intubation, does it?

     12       A.    No, it does not.

     13       Q.    I believe at one point you mentioned having

     14       conversation with Mr. Madden on midazolam but then

     15       Mr. Midazolam -- Mr. Madden not being able to recall having

     16       that conversation; is that right?

     17       A.    That's correct, yes.

     18       Q.    If you were to, say, hurt Mr. Madden in some manner

     19       while he had midazolam, would he be in pain?

     20                   MR. MADDEN:     Objection.

     21                   THE COURT:     Hang on.     I'll allow it.

     22                   THE WITNESS:      So could you repeat it, please?

     23                   THE COURT:     Yes.    The question is, if you were to,

     24       say, hurt Mr. Madden in some manner while he had midazolam,

     25       would he be in pain?


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      1                    THE WITNESS:     I think the answer depends on the

      2       dose of the midazolam, whether he would have that awareness

      3       and experience of pain.        I think the answer probably

      4       depends, you know, if it's the usual therapeutic dose, then

      5       he probably would have pain at that time.

      6       BY MS. WOOD:

      7       Q.    Now, let's look at some other studies that talk about

      8       how the use of midazolam in emergency endotracheal

      9       intubation is not because of its analgesic properties, it is

     10       because that physicians rely on it for its amnesic

     11       properties.     In fact, this is -- this is a Sagarin 2003

     12       study that says midazolam is a fairly potent amnesic agent,

     13       correct?

     14       A.    Yes.

     15       Q.    And you don't disagree with that statement, right?

     16       A.    I do not.

     17       Q.    And the study, "continues that physicians are overly

     18       optimistic in counting on the amnestic properties of

     19       midazolam to ensure that patients do not recall the

     20       unpleasant experience of neuromuscular paralysis and oral

     21       intubation."      Is that correct?

     22       A.    You have read that correctly.          I wouldn't necessarily

     23       agree with that statement, but you have read it correctly.

     24       Q.    All right.     Let's talk about the use of midazolam in

     25       c-sections, that Crawford study you discussed.              What I have


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      1       up on the screen now is Plaintiffs' Expert Exhibit 6, page

      2       1012.     It's paragraph 36 that discusses Crawford 1988 study

      3       on use of midazolam to induce anesthesia for a c-section; is

      4       that correct?

      5       A.      Yes, that's correct.     You are referring correct, yes.

      6       Q.      Now, this study is -- was published in 1989, which

      7       means it's about 28 years old; is that right?

      8       A.      Yes.

      9       Q.      I will remind again that according to anesthesiologist

     10       practices, your presentation, your testimony should reflect

     11       scientific evidence and accepted practice and is prevailing

     12       at the time of the event.        That study is 28 years old,

     13       right?

     14       A.      Yes.

     15       Q.      Let's look at the current practices of cesarean

     16       sections and how they are performed now.

     17       A.      Yes.

     18       Q.      Miller's Anesthesia, page 2345, 8th Edition, 2015, it

     19       says that at present most cesarean deliveries in developed

     20       countries are performed with neuraxial techniques, correct?

     21       A.      You have read that correctly.        I am not familiar with

     22       the literature on whether that's a true statement or not,

     23       but you have read it correctly.

     24       Q.      And neuraxial means spinal anesthesia, spinal blocks?

     25       A.      Correct.


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      1       Q.     And Miller's Anesthesia, page 2345 talks about how

      2       general anesthesia may be needed for cesarean delivery

      3       because of its rapid and reliable characteristics, correct?

      4       A.     You have read that correctly.

      5       Q.     And it talks about emergent situations, correct?

      6       A.     Correct.

      7       Q.     Now, this study, the Crawford study, these were

      8       elective cesareans, right?

      9       A.     Correct, yes.

     10       Q.     You would not normally see elective cesareans under

     11       general anesthesia except on very rare cases today, would

     12       you?

     13       A.     Again, I don't know the literature.          There are some

     14       patients, female patients, obviously pregnant, that would

     15       elect not to have a spinal anesthetic or epidural.               They

     16       want to have a general anesthetic.           And there might be some

     17       other reasons why you wouldn't be able do a spinal

     18       anesthetic on them.       So you still would do a general

     19       anesthetic on an elective c-section, but not -- not a very

     20       large percentage.      It would be a pretty small percentage.

     21       Q.     So it's uncommon?

     22       A.     Yes, it's uncommon.

     23       Q.     So this is, again, Miller's Anesthesia, page 2345, that

     24       talks about induction --

     25                   THE COURT:     2345, right?


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      1                     MS. WOOD:   I'm sorry.     2345.

      2       BY MS. WOOD:

      3       Q.    And here Miller's Anesthesia talks about commonly used

      4       drugs for induction of anesthesia for cesareans.              Now, this

      5       is today.      This is the current edition of Miller's

      6       Anesthesia, and it says, "At present Propofol is the most

      7       commonly used for induction of general anesthesia for

      8       cesarean delivery."       Is that right?

      9       A.    Yes, you have read that correctly.

     10       Q.    And the next slide shows every drug that is used in the

     11       induction of anesthesia.        It's the same page, 2345, and I

     12       realize that the whole thing is unreadable, but I put boxes

     13       around the relevant drugs.         It cites sodium thiopental,

     14       etomidate, and ketamine as the three drugs used in induction

     15       of cesarean sections today.         Is that right?

     16       A.    Yes, you have read that correctly.

     17       Q.    This does not list midazolam there, right?

     18       A.    I do not see midazolam there, although I haven't read

     19       through the whole thing, but I take your word for it.

     20       Q.    Now, let's look back at the Crawford study.             The

     21       Crawford study, "Mothers, until the division of the

     22       umbilical cord, anesthesia was maintained with nitrous

     23       oxide."      Is that correct?

     24       A.    Yes.

     25       Q.    You don't know the rate of that oxygen flow, do you?


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      1       A.     I do not, no.

      2       Q.     Increasing the flow of the oxygen would result in

      3       faster distribution of oxygen in the bloodstream; is that

      4       right?

      5       A.     I think you mean to ask, does it increase the flow of

      6       nitrous oxide, because that's probably what you are getting

      7       to.

      8       Q.     Nitrous oxide.     I apologize.

      9       A.     That's fine.     Yes, it would increase the flow of

     10       nitrous oxide, that's correct.

     11       Q.     And that nitrous oxide, depending on the flow, would be

     12       slower or faster distributed to the patient and all the

     13       tissues?

     14       A.     That's correct.

     15       Q.     So depending on the flow, the patient may be out

     16       faster; is that right?

     17       A.     That's correct, yes.

     18       Q.     But you don't know the flow.         It's not listed in this

     19       study?

     20       A.     No, it's not.

     21       Q.     So your estimation on how long it took for that patient

     22       to become anesthetized because of the nitrous oxide is based

     23       on speculation?

     24       A.     Yes.

     25       Q.     Now, as soon as the umbilical cord was divided, that


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      1       means it was clamped and the baby was no longer connected to

      2       the mother, right?

      3       A.    Yes.

      4       Q.    At that point the study says, "After division of the

      5       umbilical cord, meperidine -- "

      6                    THE COURT:    M-E-P-E-R-I-D-I-N-E, Mary.

      7       BY MS. WOOD:

      8       Q.    "-- in that amount intravenously was given the patients

      9       in both groups."

     10       A.    Yes, you have read that correctly.

     11       Q.    So as soon as the baby was separated from the mother,

     12       the mother received meperidine which is a narcotic

     13       analgesic; is that right?

     14       A.    Yes.

     15       Q.    So midazolam was not a sole drug in that study either?

     16       A.    No, no, it's not.

     17       Q.    And, in fact, the requirements for this narcotic

     18       analgesic were higher in the midazolam group.              This is back

     19       to the Crawford study.

     20       A.    Um-hmm.

     21       Q.    Even though the weight of the woman was significantly

     22       lower than the thiopental group.          Is that right?

     23       A.    I'm just looking at what you've written -- what you

     24       have there.     So let me look at that.

     25             That's what that statement says.           I'd have to look at


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      1       the actual data to make sure that it's statistics given

      2       here, but you've read that correctly.

      3                    THE COURT:     Perioperative means postoperative?

      4                    THE WITNESS:     No, it means around the time of the

      5       operation.     So usually it's going to be during the operation

      6       and afterwards.

      7                    THE COURT:     Thank you.

      8       BY MS. WOOD:

      9       Q.    And we can -- the perioperative refers to this moment

     10       right here.     This is after the division of umbilical cord,

     11       correct?

     12       A.    Yes.

     13       Q.    So mother's still on the table.          She still has an open

     14       incision; is that right?

     15       A.    Yes.

     16       Q.    And at that moment, as soon as the baby is gone, she is

     17       given a heavy narcotic?

     18       A.    Yes.

     19       Q.    And this study, the Crawford study, the Yegin study,

     20       and the Gehrke study are what you use in your report to

     21       support your contention that midazolam has analgesic

     22       properties, correct?

     23       A.    Yes.

     24       Q.    In none of those studies, midazolam was used alone,

     25       correct?


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      1       A.    I am not willing to say yes to that because, again, in

      2       some of these studies, when you look at a study, you have to

      3       be very careful that you are looking at -- it may be a small

      4       group of patients that did not receive a particular drug.

      5       And I refer back to the basic science paper with the mice

      6       where there was a group, a control group, wild type, that

      7       did not have -- that was normal.

      8             So you have to make sure that there is no subgroup in

      9       these studies that would -- that you might be missing.

     10       Because some of these studies -- and maybe I could have done

     11       a better job of pointing that out -- but some of these

     12       studies do have subgroups of patients where they have

     13       received only a particular drug or only a particular

     14       intervention.

     15             So I am not willing to concede on those until I have

     16       had a chance to review them.

     17       Q.    Didn't you review them before you wrote the report?

     18       A.    I did, but I just can't recall off the top of my head

     19       where they would be in this particular --

     20       Q.    Do you see here, do you --

     21                   THE COURT:     Let him finish his answer.

     22                   THE WITNESS:      So getting back to the point of the

     23       meperidine, I mean, I can address, for example, the issue

     24       of -- excuse me.      I'm stuttering -- meperidine, which, if

     25       you allow me to do, I can.


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      1                   THE COURT:     Go ahead.

      2                   THE WITNESS:      The umbilical cord is tied probably,

      3       you know, it depends on the length of the operation, how

      4       long it takes to get the baby out -- but it's probably going

      5       to be somewhere around maybe two to three minutes after the

      6       incision.    So in terms of my approach to this, meperidine

      7       usage is not important because I was only considering the

      8       period between the induction and when the endotracheal

      9       intubation occurred and then the beginning of the nitrous

     10       oxide.

     11             Clearly, meperidine has analgesic properties and was

     12       given to these women, and I would not conclude that

     13       midazolam has analgesic properties in a study where

     14       meperidine had been given in conjunction with.              And when I

     15       say in conjunction, at the same time.           Meperidine was given

     16       after the midazolam.

     17             So that's why I couldn't say, for example, that

     18       midazolam provided analgesia for a period of five minutes

     19       because the nitrous oxide is already starting to work and

     20       they have been given meperidine.          That's why I estimated

     21       that it probably could be no more than 30 to 60 seconds.

     22             But it's an estimate, again, to the issue you bring up

     23       about the flow of oxygen and flow of nitrous oxide.               We

     24       don't know what the flows were in that particular study.

     25             But there was -- according to the study, there was no


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      1       nitrous oxide during intubation, and there was no meperidine

      2       during the intubation.        It was only midazolam and then the

      3       muscle relaxant.

      4       BY MS. WOOD:

      5       Q.    The muscle relaxant would keep the mother from moving

      6       and the midazolam would keep her from remembering the

      7       experience, correct?

      8       A.    Yes.

      9       Q.    And in this study, there was no follow-up as to

     10       awareness of what they recalled from intubation, right?

     11       A.    They did not report it, no.

     12       Q.    And in this study, again, you don't know the nitrous

     13       oxide flow rate.      So your estimate on how long the midazolam

     14       was a sole agent on board is only an estimate?

     15       A.    Yeah.

     16       Q.    Okay.     Let's look at this graph that Mr. Madden has

     17       showed you, and this is from same graph from the latest

     18       edition of the Miller's Anesthesia?

     19       A.    Um-hmm.

     20       Q.    On page 618.     The text underneath the graph talks about

     21       how this graph explains inhaled anesthetic action; is that

     22       correct?

     23       A.    Yes.

     24       Q.    And, in fact, that axis on the bottom, the X axis, it

     25       says it's a MAC fraction, and MAC stands for minimum


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      1       alveolar concentration; is that right?

      2       A.    Yes.

      3       Q.    That only applies to inhaled anesthetics, correct?

      4       A.    This particular figure, yes, applies to inhaled

      5       anesthetics.

      6       Q.    What about a concentration of MAC, the alveloar

      7       concentration that a person has left in the lungs, right?

      8       A.    What about it?      What was your question?

      9       Q.    MAC.

     10       A.    Yes.

     11       Q.    Does that have any application to IV drugs?

     12       A.    The concept of MAC in terms of an effective dose 50, I

     13       believe, does have application to intravenous drugs, yes.

     14       Q.    Even though it stands for minimum alveolar

     15       concentration?

     16       A.    That's correct.      It's a -- the concept of these types

     17       of curves, you could draw these types of curves based on the

     18       data that's available using intravenous drugs.              Instead of

     19       using MAC, you'd use what's called MIC, the minimum

     20       intravenous concentration.         So this is a conceptual drawing

     21       that could be applied in the setting.

     22             Now whether the curve -- how the curves relate to each

     23       other certainly might be different, and I have not actually

     24       done that, but they certainly could be different.

     25                    THE COURT:    Excuse me just a minute.         It is almost


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      1       noon.    How much more examination -- first of all, what's --

      2       what is your flight time?

      3                    THE WITNESS:     6:10, so I have time.

      4                    THE COURT:     So shall we recess for lunch?

      5                    MS. WOOD:     We can do that.

      6                    THE COURT:     We shall do that then.

      7                    THE COURTROOM DEPUTY:       All rise.     This court

      8       stands in recess.

      9                    MR. MADDEN:     Judge, am I not allowed to eat lunch

     10       with the witness or anything like that?

     11                    THE COURT:     No, you can have lunch with the

     12       witness.

     13                    MR. BOHNERT:     Should he not be discussing the

     14       testimony, though?

     15                    THE COURT:     No, he can't discuss the testimony.

     16               (Lunch recess at 11:58 a.m.)

     17               A-F-T-E-R-N-O-O-N S-E-S-S-I-O-N                     1:35 p.m.

     18                    THE COURT:     Ms. Wood, you may resume your

     19       examination.

     20                    MR. BOHNERT:     Your Honor, if I might just very

     21       quickly, a housekeeping matter.

     22                    THE COURT:     Sure.

     23                    MR. BOHNERT:     One, we literally -- just yesterday

     24       this change was issued, and we just got a notification of it

     25       yesterday.     So it's a document that we'll be using.            The


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      1       Florida Department of Corrections just changed their

      2       execution protocol yesterday.         And so we wanted to -- you

      3       know, it's not in the exhibits obviously because it just

      4       happened yesterday, so I wanted to give you a copy of it, as

      5       well as everybody.

      6                   THE COURT:     Are you going to mark it as an

      7       exhibit?

      8                   MR. BOHNERT:      Yes, we will, with the right person.

      9       I just wanted you to know.

     10                   THE COURT:     Yeah, okay.      Good.

     11                   MR. BOHNERT:      And the other thing would be, I just

     12       wanted to clarify with rebuttal witnesses, we would be able

     13       to call a rebuttal witness based on things that have come up

     14       during this course of this hearing who was not identified

     15       previously on our exhibit, or our witness list; is that

     16       correct?

     17                   THE COURT:     Well, the question is, is that

     18       rebuttal witness a person whose testimony could not

     19       reasonably have been anticipated on the basis of the filings

     20       of experts up to this point in time?           I don't want to try to

     21       resolve that now.      Think about that and be prepared to show

     22       me what you have.

     23                   MR. BOHNERT:      It would be a lay witness to rebut

     24       the allegations and the accusations of bias and things of

     25       that nature that the State has levied against our other lay


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      1       witnesses.

      2              The main question is there may have to be a fight over

      3       a subpoena to have a journalist testify, and I don't want to

      4       have to -- I want to know ahead of time whether I need to

      5       engage in that subpoena fight, and we will.

      6                    THE COURT:     Who is the witness?

      7                    MR. BOHNERT:     The witness I'm talking about on

      8       that is a man named Kent Faulk who witnessed the Smith

      9       execution in Alabama.        He is a journalist, witnessed in his

     10       role as a journalist, but the media organization's position

     11       is:    Our story speaks for itself.        We stand behind the

     12       reporters, and we don't let our reporters testify.

     13                    MR. MADDEN:     That is not rebuttal, Your Honor.

     14       That's an additional witness.

     15                    THE COURT:     I agree with Mr. Madden.        That's an

     16       additional witness.        That's not a rebuttal of any particular

     17       witness, a bias on the part of any witness who has already

     18       testified.     It's an additional comment on, in the words of

     19       Bob Dylan, "Don't speak too soon for the wheel's still in

     20       spin."

     21                    MR. BOHNERT:     It was my understanding that

     22       Mr. Madden had -- did cross Mr. Hahn and essentially was

     23       impeaching him on the basis of bias, which would then be

     24       incumbent upon us perhaps to rebut those allegations that

     25       the testimony, the recount of that execution, was somehow


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      1       affected by Mr. Hahn's bias as Mr. Madden was.

      2                    MR. MADDEN:     Your Honor, he is using a witness to

      3       rebut his own witness.        We call rebuttal witnesses to rebut

      4       the testimony of the other side's witnesses.             This is not a

      5       true rebuttal, and he knew coming into this hearing that we

      6       were going to question the bias of his witnesses who

      7       represent these inmates.        That was obvious.       And this is not

      8       rebuttal.

      9                    THE COURT:     At least as obvious as the nose on my

     10       face.    So, yeah, you are right.         Mr. Madden's still got the

     11       better part of the argument.

     12                    MR. BOHNERT:     Thank you.

     13                    THE COURT:     Which reminds me to ask you,

     14       Mr. Bohnert, have you heard anything from the District Court

     15       from the Middle District of Alabama about your subpoena?

     16                    MR. BOHNERT:     I have not.

     17                    THE COURT:     Nor have we.

     18       BY MS. WOOD:

     19       Q.      Good afternoon, Mr. Antognini.

     20       A.      Dr. Antognini.

     21       Q.      Dr. Antognini.     I apologize.

     22       A.      Thank you.

     23       Q.      Before we took a break, we were looking at page 618 of

     24       Miller's Anesthesia, which is your illustration of MAC

     25       fraction and percentage of response; is that correct?


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      1       A.    Yes.

      2       Q.    And it's a similar illustration to what you had drawn

      3       earlier today on the board, right?

      4       A.    Correct.

      5       Q.    And just to reiterate, the X axis on this graph is a

      6       MAC fraction, which is --

      7       A.    Correct.

      8       Q.    -- the concentration in the lungs?

      9       A.    It is the concentration of the anesthetic coming out of

     10       the alveolar part of the lungs, so that would be one way of

     11       looking at it, yes.

     12       Q.    And the text underneath the graphs, underneath that

     13       illustration in Miller's Anesthesia, talks about this

     14       illustration, illustrates sites of action that underlie

     15       anesthetic interaction.

     16       A.    Correct.

     17       Q.    And do you agree with that?

     18       A.    Yes.

     19       Q.    And further down in that text, underneath the

     20       illustration in Miller's Anesthesia, it says, "Immobility

     21       occurs by anesthetic action on the spinal cord."              Is that

     22       correct?

     23       A.    Yes.

     24       Q.    And do you agree with that?

     25       A.    I do.


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      1       Q.    And is that -- that applies to inhalant anesthetics; is

      2       that correct?

      3       A.    It does.    Although I do have literature, a paper

      4       published out there on the -- on thiopental, which is an

      5       intravenous anesthetic that has predominant -- or has

      6       actions in the spinal cord in terms of producing immobility,

      7       not quite as strong, it looks like, as with the inhaled

      8       anesthetics but --

      9       Q.    So you said before we went on the break that these

     10       curves in this illustration would be different for

     11       intravenous drugs; is that right?

     12       A.    We do not have the data there.          My -- my opinion,

     13       scientific opinion, I guess, would be that they would be

     14       similar to this.      But we do not have data for every single

     15       intravenous drug that we use relative to these end points.

     16       Q.    So there is no graph like that for midazolam, is there?

     17       A.    Not to my knowledge, no.

     18       Q.    And you haven't studied the application of midazolam

     19       and its effect on immobility or on consciousness; is that

     20       right?

     21       A.    I have not, no.

     22       Q.    So for IV drugs in general, for midazolam specifically,

     23       these curves as to where -- when and where the amnesia and

     24       consciousness and mobility occur would be in completely

     25       different places?


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      1       A.    Not necessarily.      We don't know, but again based on the

      2       limited data that we have, the anesthetic, intravenous

      3       anesthetic such as propofol all have actions in the spinal

      4       cord to blunt the response to noxious stimulation, so that's

      5       why I would, in my mind, extrapolate to those actions being

      6       important in terms of producing mobility.

      7             But we don't have nearly as much information and data

      8       up there on the intravenous anesthetics relative to these

      9       end points and this graph that I have there.             We don't have

     10       as much information for the intravenous anesthetics as we do

     11       for the inhaled anesthetics.         And there is a very simple

     12       reason why, and that is because it's much more difficult to

     13       do these studies with IV drugs because with the inhaled

     14       drugs they are easy to measure coming out of the lungs.                But

     15       you have to do blood measurements with the intravenous

     16       drugs, and those are very difficult to -- not difficult, but

     17       they are very tedious, so --

     18       Q.    So you don't know where these curves would be for

     19       midazolam?

     20       A.    No.

     21       Q.    Not in relationship to each other or the concentrations

     22       of drugs?

     23       A.    Not in relationship to what?

     24       Q.    Not in relation to concentration.

     25       A.    Let me think for a moment about that question.              At this


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      1       time I cannot recall all the -- you know, some of the

      2       studies, if they exist, the important studies.              I'd have to

      3       review some of the literature to be able to answer your

      4       question, but as I sit here I can't really say yes or no to

      5       that.     I don't know.

      6       Q.      And earlier you said that this MAC concept, even though

      7       you were talking about inhaling drugs, there is an analogous

      8       scale for IV drugs; is that right?

      9       A.      Could you rephrase?     I am not sure I follow you.

     10       Q.      Is there an equivalent scale or description or MAC

     11       fraction to -- for IV drugs?

     12       A.      Well, there are --

     13       Q.      Let me --

     14       A.      I'm trying to answer your question, and I can.            I just

     15       want to make sure -- so there are similar, I wouldn't say

     16       figures, but there are data that look at the probability of

     17       amnesia or consciousness relative to the concentration of

     18       certain IV drugs, so, for example, midazolam and propofol,

     19       that kind of thing.

     20       Q.      But you said MAC 50 measures movement.          You said MAC

     21       50 --

     22       A.      Correct.

     23       Q.      You said MAC 50, at MAC 50, 50 percent of the people

     24       will move and 50 percent of the people will not; is that

     25       right?


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      1       A.    Right.

      2       Q.    Is there such a number for an IV drug at which you can

      3       say 50 percent people at this concentration will move and --

      4       A.    Yes, there is data.

      5       Q.    For movement?

      6       A.    For movement.

      7       Q.    Specifically?

      8       A.    Yes.

      9       Q.    And do you know that number for midazolam?

     10       A.    I don't know -- for midazolam, I am not sure that

     11       number exists.      I know it's for propofol.         I believe that

     12       number's out there.       I don't know if it exists for

     13       midazolam.     The closest I think that we probably have for

     14       that would be that as I cited in my work here or my report,

     15       if you give midazolam to patients who are getting halothane,

     16       you need to use a lot -- you can use a lot of halothane --

     17                    THE COURT:     H-A-L-O-T-H-A-N-E, Mary.

     18                    THE WITNESS:     -- to produce immobility.         But we

     19       don't have that for midazolam in humans.            Now the study that

     20       I cited with mice, you know, we have those data, but we

     21       don't have them for humans.

     22       BY MS. WOOD:

     23       Q.    The genetically modified mice, that study?

     24       A.    No, the normal mice, the normal mice that were in that

     25       study, the control mice.


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      1       Q.    Let's look at another quote from Miller's Anesthesia on

      2       page 1530.     It discusses inhalant anesthetics and how they

      3       act to produce mobility primarily through their actions in

      4       the spinal cord, correct?

      5       A.    I see you have read that correctly.

      6       Q.    Do you agree with that?

      7       A.    Yes, I would.       I do.

      8       Q.    What about Miller's Anesthesia's, page 837, where it

      9       states benzodiazepines exert their action through GABAA

     10       receptors.     Is that correct?

     11       A.    Yes.

     12       Q.    Do you agree with that?

     13       A.    I do.

     14       Q.    Miller's Anesthesia doesn't mention anything about

     15       spinal cord with respect to benzodiazepines, does it?

     16       A.    Do you know -- I'm sorry.         I am not allowed to ask

     17       questions.     So GABA receptors are --

     18       Q.    It's yes or no.

     19       A.    Could you repeat the question?

     20                     MS. WOOD:    Could you please read the question back

     21       to the witness.

     22                     (The following portion of the record was read:

     23       Miller's Anesthesia doesn't mention anything about spinal

     24       cord with respect to benzodiazepines, does it?)

     25                     THE WITNESS:    It does not mention anything about


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      1       the spinal cord in that specific statement there.

      2       BY MS. WOOD:

      3       Q.      Do you disagree that benzodiazepines act on GABA

      4       receptors?

      5       A.      I completely agree that GABA -- I am sorry.

      6       Benzodiazepines act on GABA receptors because GABA receptors

      7       are present in the brain and spinal cord.

      8       Q.      And were you here for Dr. Stevens' testimony?

      9       A.      Yes.

     10       Q.      And do you agree with his testimony that once you run

     11       out of GABA, benzodiazepines stop working?

     12       A.      I agree with -- I am not sure you characterized his

     13       testimony correctly, but I agree that you need to have GABA

     14       present, with the GABA receptor obviously, in order for the

     15       benzodiazepines to work.

     16       Q.      So what do you think happens once a person runs out of

     17       GABA?

     18       A.      Again, I don't think you are asking the question the

     19       right way, but I understand what you are trying to ask.                You

     20       don't run out of GABA.        It's just that the GABA that is used

     21       as a receptor, you know, once you occupy the receptor, there

     22       may be more GABA there but you have occupied all the

     23       receptor sites.      In that case, you would not get further

     24       action from the benzodiazepines basically, if you added more

     25       of the benzodiazepine.


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      1       Q.    So adding more dosages of midazolam would not produce

      2       more effect, would it?

      3       A.    It would not produce more effect at the -- at the

      4       receptor, that is correct.

      5       Q.    So wouldn't you agree that's the ceiling?

      6       A.    That would be one way of arriving at a ceiling effect.

      7       That is a ceiling effect at a GABA receptor.             Now, how that

      8       translates into an effect at a clinical level can be

      9       completely different.

     10       Q.    So you agree that a ceiling effect exists; is that

     11       right?

     12       A.    Exists for?

     13       Q.    Midazolam.

     14       A.    At the receptor level, it does, and also there are --

     15       if you look at, for example, the EEG effects, it also

     16       appears to exist for the EEG as well.

     17       Q.    So do you disagree about the dosage at which ceiling

     18       effect occurs?

     19       A.    I don't think we really know completely the dosage at

     20       which the ceiling effect occurs.

     21       Q.    But it does occur?

     22       A.    For -- for the EEG end point, it seems to occur based

     23       on the data that we have.        But that is only at doses of

     24       benzodiazepines that have been given clinically, you can

     25       begin to see a ceiling effect.          But if you were to give


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      1       more, that ceiling might rise a little bit.             It probably

      2       wouldn't rise very much because obviously that's the

      3       definition of a ceiling effect.

      4       Q.    What do you mean, the doses given clinically?

      5       A.    Well, because the dose that we have given clinically, 1

      6       to 2 milligrams, may go up to 5 milligrams or 10 milligrams.

      7       For induction dose, it may be as high as 20 to 25

      8       milligrams, but we have not gone beyond that.

      9             You can begin to see some of that ceiling effect

     10       occurring probably within the range -- so some of these

     11       studies -- I need to clarify this.           Some of these studies

     12       gave the drug as an infusion and not as a bolus.              So from

     13       a -- what we talk about a pharmacokinetic perspective, it's

     14       difficult to compare some of these studies in that way.                 So

     15       basically I would say that there appears to be a ceiling

     16       effect occurring in terms of the EEG.

     17             So as an example, I would not expect a large dose of

     18       midazolam -- based on the current information that we have

     19       now, I would not expect a large dose of midazolam, and by

     20       that, I mean something beyond the usual clinical dose, for

     21       example, something beyond 20 to 25 milligrams.              Based on the

     22       current understanding in the data out there, I would not

     23       expect midazolam to have much further effect on an EEG.

     24             So to put that in context, and just to echo what I

     25       think Dr. Stevens said, if you give something like


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      1       pentobarbital, you can create what's called isoelectricity

      2       on the EEG.     It's basically flat.       And the data suggests

      3       that you cannot do that with the benzodiazepines.

      4       Q.    So your testimony is that there is -- you begin to see

      5       a ceiling effect at therapeutic doses; is that right?

      6       A.    I know that's a yes-or-no question.           I'll say yes, you

      7       begin to see it at therapeutic doses, and therapeutic doses,

      8       of course, is a broad range at, like I said, sedation at 2

      9       milligrams; at induction of anesthetic, let's say 20 to 25

     10       milligrams.

     11       Q.    So at doses of 20 milligrams or less, you begin to see

     12       a ceiling effect?

     13       A.    On the EEG you do, yes.

     14       Q.    And the EEG is what's linked to the BIS monitor; is

     15       that right?

     16       A.    That is correct, yes.

     17       Q.    So you would see the effect of on the BIS monitor you

     18       couldn't get below a certain number no matter how much

     19       midazolam you would administer; is that right?

     20       A.    I'm not willing to go completely that far simply

     21       because if you look at the published data, again, people

     22       have not pushed -- given more in terms of the midazolam

     23       beyond that.     It looks like it's starting to level off if

     24       you look at the available data, but, again, we don't have

     25       those data.


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      1             So I am not trying to sort of waffle here.             I am just

      2       trying to answer the question to the extent that I can on my

      3       understanding and knowledge of the literature.

      4       Q.    So based on the data that you do have, at what BIS

      5       number would begin to level off?

      6       A.    It looks like -- based on the data that I have seen, it

      7       looks like it begins to happen where the BIS is starting to

      8       approach around 60, but you can get BIS levels below 60 in

      9       some patients but it probably starts to occur at around 60,

     10       a BIS of 60.

     11       Q.    So some patients, not the mean?

     12       A.    No, not the mean.

     13       Q.    I would like to go back to the slide for Miller's

     14       Anesthesia, page 842.       It talks about benzodiazepines

     15       lacking analgesic properties.

     16       A.    Um-hmm.

     17       Q.    Do you disagree with that statement?

     18       A.    I do disagree with it, and I disagree with it in terms

     19       of its generalness.       So it kind of depends on how you define

     20       analgesia.      Typically, we define analgesia in a clinical

     21       setting in terms of drug administration, does the drug

     22       reduce pain.      So I've already testified as to what I think

     23       pain is.     And does a drug reduce pain.

     24             Well, you have to ask yourself, what dose are you

     25       administering?      So you might give a dose of a drug and apply


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      1       a painful stimulus and there is no reduction in the pain.

      2       And so you might say, well, that drug lacks analgesic

      3       properties.     It doesn't act as an analgesic.

      4             Or then you give a larger dose and, lo and behold, you

      5       are able to find that it does reduce pain a little bit.

      6       Another way of looking at this problem that we face is that

      7       you might apply a painful stimulus, mildly painful, and give

      8       a drug, and the pain is reduced.          But now you increase the

      9       stimulation, you make it more noxious, and the drug does not

     10       reduce the pain because now you have a stronger stimulus.

     11             So that statement up there that benzodiazepines lack

     12       analgesic properties I think was written within the context

     13       of the usual therapeutic dose that we give, you know, in

     14       terms of sedation.

     15             And I don't think there is enough literature out there

     16       to fully answer that question.          Furthermore, this is an

     17       unreferenced statement, and it's -- when I looked at that,

     18       obviously, it was put into the report in rebuttal.               I went

     19       back through several editions of Miller, all the way back to

     20       1990, and that statement is -- it's the same statement

     21       basically from the 1990 edition on to the latest edition.

     22       And that's been through several coauthors -- several authors

     23       or the same authors except for the last one where the

     24       investigator or the authors basically, with permission of

     25       the previous authors, updated that chapter but left that


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      1       statement.     They left a lot of other things in there.

      2             So you can interpret that in different ways.              You might

      3       say, well, it was true back in 1990 and it's true today, but

      4       I think there have been some studies out there that suggest

      5       that midazolam in certain instances can provide -- or has

      6       analgesic properties, which is a term that I used, and --

      7       Q.    And aren't those studies the one you referenced --

      8                    THE COURT:     Let him finish his answer.

      9                    THE WITNESS:     And the studies that I cited, I

     10       recognize, for example, when the drug was given in these

     11       studies intrathecally, in the spinal cord area, that was it

     12       was given in conjunction with bupivacaine, which is a local

     13       anesthetic.     In those studies, the midazolam prolonged the

     14       period of analgesia.

     15             Now, my colleagues, both clinical and scientific, may

     16       quibble with my statement that midazolam has analgesic

     17       properties.     They may say, well, that's not a really true

     18       test of analgesia.        And that could be a fair assessment, I

     19       suppose.

     20             But my interpretation is that midazolam, in certain

     21       circumstances, will provide analgesia and, therefore, I

     22       think to say that they lack analgesic properties is probably

     23       too broad of a stroke and that I feel justified in saying

     24       that there are some analgesic properties of midazolam.

     25             And I think that's also been borne out in some of the


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      1       basic science studies where it appears to be an action in

      2       the spinal cord.      Now, it's -- does midazolam provide strong

      3       analgesia?     There is no evidence that it provides strong

      4       analgesia.     I would agree with that.        But it does have some

      5       analgesic properties as I look at the literature.

      6       BY MS. WOOD:

      7       Q.    And you mentioned in certain circumstances, right?               It

      8       provides analgesia in certain circumstances.

      9       A.    Well, for example, the circumstance of, as I just

     10       mentioned, in the case of spinal administration.              Now, there

     11       is another -- another concept here that I think might help

     12       to illustrate and give you an idea of my thoughts about

     13       this, but I would be able -- if I could use the board to

     14       draw -- make a drawing.

     15                     THE COURT:    I think it's close to being

     16       volunteered.      If you want it, Ms. Wood, we'll let him do it,

     17       but otherwise not.

     18                     MS. WOOD:    No.

     19                     THE COURT:    All right.

     20       BY MS. WOOD:

     21       Q.    I would like to go back to the spinal analgesia that

     22       you mentioned.      That was in conjunction with another drug?

     23       A.    Correct.

     24       Q.    Okay.     Could you name the studies showing that BIS

     25       levels for midazolam approach 60?          Because there were none


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      1       in your report.

      2       A.     There was the study by Glass and there's a study by

      3       Lui.

      4       Q.     And those were the studies that were addressed in

      5       Mr. Stevens' rebuttal?

      6       A.     Correct.   I can certainly refer to the data in those

      7       studies if you want.

      8       Q.     So going back to the circumstances, what you have

      9       identified in your report, the Plaintiffs' Exhibit 4, page

     10       898, you talk about analgesic properties of midazolam.                We

     11       discussed the Gehrke study, which was intratracheal

     12       intubation where they have not ruled out the use of opioids,

     13       correct?

     14       A.     Again, I did not review that paper again during the

     15       lunch period and all that so I don't -- my recollection of

     16       reviewing it when I included it was there was at least

     17       some -- some of those patients did not receive the

     18       midazolam, but that's my recollection.

     19       Q.     Would you agree that in the Gehrke study that patients

     20       did not receive midazolam alone?

     21       A.     I am sorry.    I may have misspoken.        I believe in that

     22       study that some patients received midazolam only.               That's my

     23       recollection and that's why I included it.             But I can be

     24       wrong on that, so --

     25       Q.     And the Yegin study, at the bottom there is the study


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      1       where midazolam was injected with another drug --

      2       A.      Correct.

      3       Q.      -- in the spinal cord.       Okay.   We have not talked about

      4       cardioversion?

      5       A.      Yes, that's correct.

      6       Q.      When patients are administered cardio shock --

      7       A.      Yes.

      8       Q.      -- even if they are sedated, do they come out of that

      9       sedated state?

     10       A.      They do.    Often they do.

     11       Q.      So it wouldn't surprise you to know -- to hear about

     12       studies that report on the delivery of shock causes arousal,

     13       contraction of upper limbs, crying, mumbled comments?

     14       A.      No.    And when you do cardioversion, you want to use a

     15       dose of the drug where they do come out of it very quickly,

     16       so --

     17       Q.      So these patients are sedated.        They are not

     18       anesthetized.       Would that be a fair statement?

     19                      THE COURT:     Cardioversion patients.

     20                      THE WITNESS:     For cardioversion.

     21       BY MS. WOOD:

     22       Q.      Cardioversion.

     23       A.      For the most part, yes, I would say that they are

     24       sedated.       They are not completely anesthetized.

     25       Q.      Now, let's look at Miller's Anesthesia again.            This


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      1       version, this edition of Miller's Anesthesia on page 283

      2       talks about how the papers on consciousness and anesthesia

      3       were published more than a decade ago, but it was not until

      4       the 7th Edition of Miller's Anesthesia that consciousness

      5       made its formal appearance in Miller's Anesthesia.               Is that

      6       right?

      7       A.    You read that correctly.        I am not that familiar with

      8       that particular chapter of Miller so -- but it says there

      9       indeed it is only the 7th Edition of Miller's Anesthesia

     10       that consciousness made its formal appearance.

     11       Q.    And you said you went back through prior editions of

     12       Miller's on a different topic?

     13       A.    Yes.

     14       Q.    And would you agree that the 7th Edition was published

     15       in 2010?

     16       A.    I think it was, but I'm not positive.            But I'm not -- I

     17       have no information to suggest otherwise.

     18       Q.    So it's only since 2010 that, as the book states, that

     19       there has been an explosion of exciting data on newer

     20       biology of consciousness in anesthesia?

     21       A.    That's what it states, yeah.

     22       Q.    And would you agree with that?

     23       A.    I agree that it states that.          I am not sure that's an

     24       accurate assessment of the field, but --

     25       Q.    So there is -- would you agree that there's been a lot


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      1       of research in the past few years into this area?

      2       A.      Yes.

      3       Q.      But that has not been your focus of your research; is

      4       that right?

      5       A.      That is correct.

      6       Q.      And you left the active clinical practice of

      7       anesthesiology in the past year?

      8       A.      That's correct.

      9       Q.      Now, in the same -- on the same page, that's page 283,

     10       Miller's Anesthesia distinguishes between such things as

     11       consciousness versus responsiveness.           It gives an example

     12       that an individual may fully experience a stimulus, e.g.,

     13       the command "open your eyes," but not be able to respond

     14       when a patient is paralyzed but conscious during surgery?

     15       A.      Yes, that's a correct statement.         I mean that's what it

     16       says.     And I do not disagree with the idea, or the idea or

     17       the fact that if you give a muscle relaxant without any

     18       sedation, sedative drug or anesthetic, people will be unable

     19       to move but they will be fully awake.           And I have never

     20       claimed otherwise.

     21       Q.      And it also talks about awareness, how in clinical

     22       physiology the term "awareness" is used inaccurately to

     23       include both consciousness and explicit episodic memory.                   Is

     24       that right?

     25       A.      Explicit episodic memory, is that what you are looking


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      1       at?

      2       Q.     Yes.     Right up here.   Would you agree with that?

      3       A.     I agree that that's what it says.          I'm not sure I agree

      4       with the intent of that sentence.          But that's, that's my own

      5       opinion.       I'd have to look at that more closely.

      6       Q.     Okay.

      7       A.     This is a -- I understand that this is an evolving

      8       field, so the understanding of consciousness and especially

      9       from not just in our specialty but also in just the

     10       neuroscience of consciousness in general field.

     11       Q.     We were talking earlier how cardioversion patients are

     12       sedated rather than anesthetized, correct?

     13       A.     Yes.

     14       Q.     Miller's Anesthesia distinguishes between general

     15       anesthesia and sedation; is that right?

     16       A.     Well, I cannot point you to a specific area, but I am

     17       sure that they do.       I'm sure that it does.        As you know,

     18       there are two volumes of Miller, probably close to 2,000

     19       pages of it.       I am certainly not going to be able to recall

     20       everything in it.       But I could read here and, yes, it looks

     21       like they do include moderate conscious sedation and deep

     22       sedation and general anesthesia in that particular graph you

     23       have there.

     24       Q.     So Miller's Anesthesia, page 2629, talks about how

     25       general anesthesia is when a patient loses consciousness and


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      1       is unarousable even with painful stimuli; is that correct?

      2       A.      Yes, correct.    Yeah, that's what it says.

      3       Q.      Do you agree with that?

      4       A.      Again, this is a -- it's a rather general statement

      5       because the statement says when the patient loses

      6       consciousness.      So, again, as I've tried to make clear,

      7       consciousness is really part of the spectrum, sort of

      8       different levels of consciousness.           And then likewise

      9       unarousable.     I don't know exactly how they are using that

     10       term, but I will accept, I think, these terms in their sort

     11       of pedestrian way in which they are used and then, you know,

     12       I would agree with that.

     13       Q.      Would you agree if a painful stimuli is applied and the

     14       patient wakes up, they are not anesthetized?

     15       A.      If they -- if a noxious stimulus is applied and the

     16       patient wakes up, if they do not experience the pain of that

     17       stimulus then, and they do have -- they don't have memory of

     18       it, then I think you can sort of think about, well, did they

     19       actually experience the pain and the emotional aspects of

     20       that.

     21               So, for example, with the cardioversion, you know, the

     22       patient wakes up, let's say, after the cardioversion and

     23       they have no memory of it and the stimulation is very short

     24       lived.     I'm not sure that you can say that they suffered or

     25       had any emotional or conscious experience of that just


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      1       because they woke up from it.

      2             Now, if the stimulus was continued, continued to be

      3       applied, then, of course, yeah, they probably are going to

      4       have that emotional experience that we think about.

      5             But quite frankly, the cardioversion example is one

      6       where you are basically, again, because of the way that we

      7       administer these drugs, you purposely give just enough drug

      8       so that the patient will be unconscious based on your

      9       assessment of the patient.         And they will have no memory of

     10       the procedure, but they will wake up immediately afterwards.

     11       Because you want to try to avoid, if you can, the -- at all

     12       times you want to try to avoid the patient being

     13       oversedated.

     14             And I think I talked about this earlier, that you

     15       always try to match the drug and the drug dose to the amount

     16       of noxious stimulation.        So with the cardioversion, it's

     17       very -- literally very short.         It's probably, I'm not even

     18       sure how many milliseconds, but it's less than a second.                   So

     19       you want to match that with the amount of sedation that you

     20       have on board.

     21             So that's why you give that, the doses of drugs that

     22       you do.

     23       Q.    So you are basing your assessment of what is general

     24       anesthesia on a subjective experience of a person, do they

     25       remember, do they feel pain; is that right?


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      1       A.    That is part of it, yes.

      2       Q.    It's not an objective criteria, such as unconscious,

      3       unarousable even with painful stimuli, which is what the

      4       textbook says?

      5       A.    Well, for a cardioversion, since that's what we are

      6       focused on here, for a cardioversion, you would administer

      7       the drug and get the patient to a level of anesthesia or

      8       level of sedation.       I am not saying that you always have to

      9       get to anesthesia with cardioversion, but you are going to

     10       get them pretty deeply sedated to the point where they are

     11       not responsive.      So you call out their name.         You maybe

     12       might touch their eyelash or something like that.               Maybe do

     13       a sternal rub, the usual things.          You may not do all of

     14       those, but those are some of the things that you would do.

     15       And when you're at that point, then the -- if it's a

     16       cardiologist, the cardiologist can flip the switch and

     17       deliver the electric shock.

     18             Now, many times the patient will wake up from that.

     19       Sometimes they don't.       They are still sedated.         But your

     20       goal is to try to get them to the point where they wake up

     21       right afterwards.

     22             Now, there is a downside to that.           I am maybe getting

     23       into some clinical issues that are not particularly germane

     24       here, but sometimes when you give these drugs -- I am sorry.

     25       Sometimes when you do the cardioversion, the first shock


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      1       doesn't work.      So the cardiologist has to do it again, maybe

      2       at a higher level.        So sometimes you have to -- the first

      3       dose of drug that you give, you are going to make another

      4       higher dose because you are concerned that maybe the first

      5       shock won't work.      So sometimes these patients wake up

      6       afterwards, you know, right after, sometimes they don't,

      7       so --

      8       Q.      If cardioversion patients were anesthetized, would they

      9       wake up from cardioversion?

     10       A.      If they had a level of general anesthesia that I would

     11       use during a typical surgery, they would not wake up.

     12       Q.      So anesthesia, under general anesthesia, they would be

     13       unresponsive to a noxious stimuli such as cardioversion;

     14       would that be right?

     15       A.      That's correct.

     16       Q.      But under sedation they do respond to noxious stimuli;

     17       is that right?

     18       A.      They do.   They wake up.

     19       Q.      In your report you talked about coma versus general

     20       anesthesia; is that right?

     21       A.      Yes.

     22       Q.      There is a difference between the two, right?

     23       A.      So coma is really a -- compared to general anesthesia,

     24       it's a deeper level of unconsciousness.            Maybe that's not

     25       the best word to say, unconsciousness, but it's a deeper


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      1       level of brain depression.         In a normal individual, you

      2       wouldn't want to achieve a coma-like state with an

      3       anesthetic.

      4       Q.    That's why anesthetic value for a BIS is between 40 and

      5       60, right?

      6       A.    They -- in general if you are using the BIS monitor,

      7       you would want to get to the level around 40 to 60.               You

      8       wouldn't want to get below that because there is probably no

      9       benefit to the patient.        In fact, there is evidence out

     10       there that it might be detrimental.

     11       Q.    So whether we are talking about general anesthesia,

     12       that's not as deep as a coma; is that right?

     13       A.    Based on I think what you have up here and also the

     14       general understanding of general anesthesia, that's correct.

     15       General anesthesia, that's a level -- at the clinical level,

     16       let's say, is not as deep as a coma induced, or anesthetics

     17       overdose that causes a coma-like state.

     18       Q.    And we established that under general anesthesia,

     19       patients generally do not respond to noxious stimuli; is

     20       that right?

     21       A.    Well, when you say don't respond, what kind of

     22       responses are we talking about?

     23       Q.    I believe I am talking in general.           In general

     24       anesthesia, a patient is unresponsive to noxious stimuli.

     25       We have just discussed this a few minutes ago.


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      1       A.    Are you talking about movement responses or --

      2       Q.    I'm sorry.     I believe the word is -- that Miller's

      3       Anesthesia is using is unarousable.

      4       A.    Okay.

      5       Q.    They are unarousable even with painful stimuli?

      6       A.    During general anesthesia?

      7       Q.    Yes.

      8       A.    Yes, that's correct.

      9       Q.    So we don't need to go as deep as coma to get

     10       unarousable state in response to painful stimuli; is that

     11       right?

     12       A.    That is correct.      For a typical surgery, you would not

     13       need to go as deep as coma to be able to prevent the patient

     14       from becoming unarousable.

     15       Q.    We can stop at the state of general anesthesia?

     16       A.    That's correct.

     17       Q.    And now looking at Miller's, page 1531, there is a

     18       table on box 50-1 that talks about emergence.              What happens

     19       when people come out of general anesthesia, right?

     20       A.    Yes.

     21       Q.    And some of the signs of emergence from general

     22       anesthesia, again on the same page, would be things like

     23       swallowing, gagging, or coughing, correct?

     24       A.    Yes.

     25       Q.    You agree with that, that those are some of the


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      1       symptoms?

      2       A.    Right.

      3       Q.    Grimacing?

      4       A.    Yes.

      5       Q.    Defensive posturing?

      6       A.    Um-hmm.    I agree that that's there.

      7       Q.    Return of muscle tone.

      8       A.    Yes, correct.

      9       Q.    And you agree that these are some of the symptoms that

     10       a person emerges from under general anesthesia?

     11       A.    Those can be present, yes, during emergence from

     12       general anesthesia, that's correct.

     13       Q.    And even a later phase of emergence even closer to

     14       awake, it would be symptoms like eye opening, responses to

     15       some oral commands, and awake patterns on EEG; is that

     16       right?

     17       A.    That's correct.

     18       Q.    And you agree that those are some of the symptoms?

     19       A.    Signs and symptoms.

     20       Q.    Signs.

     21       A.    Probably signs would be a better word to use here than

     22       symptoms.

     23       Q.    So you talked earlier that in the operating room you

     24       see people move; is that right?

     25       A.    Yes.


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      1       Q.    And when that happens, what do you do as an

      2       anesthesiologist?

      3       A.    That depends on the situation.          So I might provide --

      4       the optimum thing to do is to provide more anesthetic.

      5       Sometimes you can't do that.         Maybe the blood pressure is

      6       low or there are other reasons why you can't do that.                You

      7       might give opiates, analgesics, like fentanyl.              Or you might

      8       have to give more muscle relaxant, which is not the best

      9       thing to do because basically there may be conditions where

     10       the situation where you just can't provide more anesthetic

     11       to the patient, their blood pressure's too low, and if you

     12       give the fentanyl, that will often cause the blood pressure

     13       to decrease.

     14             But you can give muscle relaxant, and the reason we do

     15       that is -- in the circumstances that we do that, we believe

     16       that the anesthetic concentration, despite the fact that

     17       it's low, is sufficient to block memory formation and to

     18       also prevent the patient -- or to make the patient

     19       unconscious.     But even with the BIS, even if you are using

     20       the BIS monitor, obviously the muscle relaxant is going to

     21       be able to block -- I mean, the patient clearly, they move.

     22       That's why you gave that.        So, yes, there are those

     23       situations occur.

     24       Q.    So if you see movement in surgery, that may indicate

     25       emergence, return of consciousness; is that right?


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      1       A.      It could.

      2       Q.      And you said your first response was to give more

      3       anesthetic; is that correct?

      4       A.      That is correct.    In the operating room, that would be

      5       my first -- first thing I would try to do.

      6       Q.      What about if somebody came in with a lot of pain, say

      7       a trauma victim?       In that situation, would you administer

      8       benzodiazepines for pain management?           Before inducting

      9       anesthesia?

     10       A.      In a trauma patient, I probably would not.

     11       Q.      And why not?

     12       A.      Well, obviously, I guess it's going to depend on the

     13       extent of the trauma what we are talking about here.               But

     14       some patients who have major trauma, you have to be very

     15       careful about all the drugs that you give to the patient.

     16       And it may have effects on the blood pressure, especially if

     17       you do that before you get the patient in the operating

     18       room.    You don't want to give somebody a sedative drug

     19       outside the operating room and then realize that their blood

     20       pressure's decreased and you have to rush them back to the

     21       operating room to manage them.

     22               So it kind of depends on the clinical circumstances,

     23       but in general, in my practice in the past -- and as you

     24       have already so nicely pointed out, I am no longer

     25       practicing clinically -- but in the past I would avoid


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      1       giving sedative drugs to trauma patients, at least in the --

      2       outside the operating room.

      3       Q.      So you would treat their pain first; is that right?

      4       A.      I might not treat their pain at all.

      5       Q.      You wouldn't use anesthesia?

      6       A.      I would use anesthesia, but I wouldn't give them any

      7       pain, like a fentanyl or anything like that.             I mean I

      8       could.    It depends on the situation.         But often I wouldn't.

      9       I would just give the induction drug.

     10       Q.      Does inducing anesthesia on somebody who is in pain

     11       take more drug?

     12       A.      In my experience, no.

     13       Q.      Do you -- do you -- would you still do induction using

     14       benzodiazepines under those circumstances?

     15       A.      Circumstances of?

     16       Q.      Somebody who is in severe pain.

     17       A.      I would -- I would not use midazolam as an induction

     18       drug in some of the circumstances you brought up.               Now, I

     19       have used midazolam many years ago as an induction drug.                   I

     20       have not used it since as an induction drug.             I have used it

     21       only as a sedative drug.

     22               So and I certainly would not use midazolam as an

     23       induction drug in the situation that you are describing

     24       here.

     25       Q.      Somebody in severe pain, you would not use midazolam


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      1       for inducing anesthesia?

      2       A.      I would not, no, because we have other drugs that are

      3       better.

      4       Q.      Going back to the exhibit from your report, it's a

      5       plaintiffs' exhibit, Exhibit 4, page 928, also has been

      6       filed as document ECF Number 852-1, PageID 25823.

      7               We are going back to things you reviewed and relied on.

      8       You said earlier you did not look at any accounts of any

      9       executions; is that right?

     10       A.      I do not know what I -- maybe we will have to read back

     11       the testimony.      I did look at some accounts of executions.

     12       Q.      Just tell me what you recall from those accounts.

     13       A.      Okay.   I am trying to recall.

     14               I cannot remember.     And it may not be a surprise to you

     15       that I have -- as I mentioned in my report, that I am

     16       involved in at least one other, two other cases in similar

     17       circumstances, and I have reviewed some of the witness

     18       reports in those.      And I am sorry.       I just can't remember if

     19       they are related to those cases or they are related to this

     20       case, so I am not sure I can give you anything more than

     21       that.

     22       Q.      Do you recall learning that some witnesses to the

     23       execution report movement for a prolonged period of time?

     24       A.      I do recall that, yes.

     25       Q.      Do you recall inmates showing gasping or taking


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      1       breaths?

      2       A.    Yes, I recall reading about that.

      3       Q.    And do you also recall reading some inmates being able

      4       to mouth words or say words after the drugs were

      5       administered, several minutes after?

      6       A.    I do believe there was one report, and, again, I don't

      7       know -- the reason I am being hesitant is I cannot remember

      8       if these were reports that were newspaper reports, whether

      9       eyewitness reports, but I do remember that, yes.              I do

     10       remember it, but, again, I don't know the providence of that

     11       off the top of my head.

     12       Q.    And have you considered any of that information in

     13       drafting your report?

     14       A.    No.   Well, maybe -- let me think about that.             I

     15       shouldn't say no.

     16                   MR. MADDEN:     Judge, I object to the line of

     17       questioning.     I think it's important that she refer him --

     18       if she wants to speak about executions where midazolam was

     19       used in 500 milligrams on a three-drug protocol, maybe that

     20       would be relevant, but talking about executions where it was

     21       part of a -- mixed with hydromorphone.            That's a totally

     22       different -- in fact, their witness even said that it has a

     23       synergistic effect.       It's not even used as an anesthetic.

     24       So I think they are conflating and need to be specific about

     25       which executions they are talking about and what were the


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      1       drugs used.

      2                     MS. WOOD:    May I response?

      3                     THE COURT:    Please.

      4                     MS. WOOD:    Mr. Madden opened the door on direct by

      5       generally discussing execution reports and generally

      6       discussing the bias of witnesses in making those reports

      7       with his witness.

      8                     THE COURT:    Well, I don't have any problem

      9       ultimately with the witness being examined on what he --

     10       what execution reports he's looked at.            Understanding

     11       Mr. Madden's point that the fact that the protocol may be

     12       entirely different certainly has an impact on the weight,

     13       but it may not make it totally irrelevant, so overruled.

     14       BY MS. WOOD:

     15       Q.    Let's go back and look at the signs of emergence that

     16       we just went over a few minutes ago.

     17       A.    Okay.

     18       Q.    In looking at these signs that you agreed are actual

     19       signs of emerging consciousness, those are consistent with

     20       the reports that you recall; is that right?

     21       A.    Some of the signs that were observed, based on my

     22       recollection, are consistent with emergence, that is

     23       correct.

     24       Q.    But you don't treat them as emergence of consciousness,

     25       do you?


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      1       A.    Treat them where?       I am not sure.

      2       Q.    In your professional opinion, do you believe that these

      3       are signs of emerging consciousness?

      4       A.    Again, can you make sure -- just to make sure we're

      5       understanding each other, can you point to which emerging

      6       signs you are talking about?         Which signs?

      7       Q.    Return of muscle tone, swallowing, gagging, coughing,

      8       defensive posturing.

      9       A.    So those are -- can be interpreted as emerging -- signs

     10       of emergence.     And that in a clinical situation -- well,

     11       again, it kind of depends.         If you were at the end of the

     12       operation, then you wouldn't treat that.            The patient is

     13       emerging.    You want the patient to wake up.

     14             If it was in the middle of an operation, then you would

     15       treat it in some other way.         As I said, either with more

     16       anesthetic or with fentanyl or maybe again not what you

     17       would like to do, but maybe with a muscle relaxant.

     18       Generally we like to avoid that, but it certainly has

     19       happened.

     20       Q.    So just to reiterate, you didn't -- you don't know how

     21       this protocol would be carried out in practice; is that

     22       right?

     23       A.    What protocol?

     24       Q.    The execution protocol.        You don't -- you have never

     25       observed an execution?


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      1       A.    I have not.

      2       Q.    You don't expect to observe Ohio's executions, correct?

      3       A.    I do not.

      4       Q.    So you don't know how the team members administer IVs,

      5       for example?

      6       A.    I do not know by direct knowledge.           I just have the

      7       protocol that I've read.

      8       Q.    And your report relies on the protocol being executed

      9       perfectly; is that correct?

     10       A.    Absolutely.     And I've said this to Mr. Madden.           If

     11       these drugs that are going to be administered intravenously

     12       are not administered in a properly flowing IV, then there

     13       are going to be significant problems.           And, you know, the

     14       Court's got to decide on that issue, whether that's -- where

     15       that stands and all that, but that's absolutely the case.

     16       You have to have a properly functioning IV.

     17             And my understanding in some of these protocols, and I

     18       am not sure, I can't recall with Ohio, I believe they have

     19       to have two IVs, but you have to have that or else it's

     20       going to be significant problems.

     21                    MS. WOOD:     Thank you.    I have no further

     22       questions.

     23                    THE COURT:     Redirect?

     24                    MR. MADDEN:     Can we have a short break so I can

     25       talk to counsel?


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      1                    THE COURT:    Of course.     Five minutes.

      2                    THE COURTROOM DEPUTY:       All rise.     This court

      3       stands in recess.

      4             (Recess from 2:29 p.m. until 2:40 p.m.)

      5                    THE COURT:    Mr. Madden.

      6                    MR. MADDEN:    Thank you, Your Honor.

      7                               REDIRECT EXAMINATION

      8       BY MR. MADDEN:

      9       Q.    Dr. Antognini, you were asked a lot of questions about

     10       and shown specific quotes from Miller's Anesthesia; is that

     11       accurate?

     12       A.    That is correct, yes.

     13       Q.    And what have you told me about Miller's Anesthesia as

     14       compared to articles?

     15       A.    Yes.   I will begin to answer that question with a

     16       story, and I know -- I'm not trying to make light of the

     17       situation here, but I think it nicely illustrates my

     18       approach to that.      When I was in medical school, my roommate

     19       and I were at a lecture, and the professor finished his

     20       lecture and my roommate went up to him and said, well,

     21       Dr. -- Professor So-and-So, you said this in your lecture

     22       but the book says that.        And the professor replied, "The

     23       book is wrong."

     24       Q.    Why was that?

     25       A.    The reason why you have to be careful about relying on


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      1       textbooks is that many statements in textbooks are

      2       unreferenced.     Also many chapters, the usual process for

      3       books, is that you gather coauthors -- and as an editor I

      4       have edited a book myself, and there is often a scramble

      5       just to get the authors to submit their articles on time, or

      6       their chapters on time.        So there really isn't very much

      7       peer review in many books.

      8             And I think with Miller, I have been an author in a

      9       chapter in Miller's and it didn't undergo really strict peer

     10       review like a journal article would.

     11             So I always take what's in a textbook with a grain of

     12       salt about whether all of the statements in that book are

     13       valid or supported.

     14             Now, obviously in a textbook of that size, you are

     15       going to find statements that would support your position or

     16       maybe statements that don't support your position.               But it's

     17       kind of a hit and miss on whether it's truly valid or not.

     18       So, you know, using a textbook -- and I know that you have

     19       used a textbook; the other side has used a textbook -- but

     20       it's not a particularly great source of information, or

     21       accurate information necessarily.          It can be, but not

     22       necessarily.

     23       Q.    You were questioned extensively about the Crawford

     24       article.

     25       A.    Yes.


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      1       Q.    It's Defendants' Exhibit 76 at 1130.            Let me refer you

      2       to the -- is there anything -- first, is there anything that

      3       you would like to explain about that article?

      4       A.    So the concluding -- let's take a look at this here.

      5                   MS. WOOD:     Sir, Your Honor, can we have a moment?

      6                   THE COURT:     Yes.

      7             (Pause.)

      8                   THE COURT:     In general, Dr. Antognini, is Miller's

      9       an accepted text in the field?

     10                   THE WITNESS:      Yes.   It's probably the -- the most

     11       accepted textbook in the field in my -- in my estimation.

     12       BY MR. MADDEN:

     13       Q.    Is there anything you would like to explain about that

     14       article, the Crawford article?

     15       A.    Well, I still stand by my earlier testimony that this

     16       is evidence that midazolam can be used during a noxious

     17       procedure, and I've provided the qualifications there.

     18             I know that the other attorney brought up the issue

     19       about the date, publication date of this.             And I think it's

     20       important -- I think it's important, maybe, I am not sure if

     21       the rest of you would think it's important, but I think it's

     22       important to understand that the clinical validity, I guess,

     23       or the clinical usefulness of a drug, you know, something

     24       that was published 20, 30 years ago doesn't invalidate the

     25       actions of that drug in terms of its use during noxious


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      1       procedures.

      2             So the fact that this drug was used in the study, you

      3       know, 27 years ago or whatever doesn't invalidate the fact

      4       that the drug can be used for those types of procedure.                Is

      5       it clinically used now?        No.   But it's not used for cesarean

      6       sections to my knowledge to any great extent.

      7       Q.    Did you --

      8       A.    But it can be used, and if you just read and just look

      9       at the article and you look at the concluding paragraph, "We

     10       conclude that midazolam is a suitable alternative to

     11       thiopental for induction and maintenance of anesthesia for

     12       elective cesarean section."

     13       Q.    Doctor, are you currently licensed in the state of

     14       California?

     15       A.    I am licensed to practice medicine in the state of

     16       California, yes.

     17       Q.    And so if there is any insinuation that you were not,

     18       could you make it clear for the record that you are?

     19       A.    My license is active and there is no prohibition on it.

     20       Q.    Is there anything else you would like to note about

     21       this document?

     22       A.    No, I don't think so.

     23       Q.    Doctor, you were asked about the guidelines for expert

     24       witness' qualifications and testimony.            Is there anything

     25       that you would like to speak about that?


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      1       A.    So I think that we need to be a little bit mindful of

      2       how some of these guidelines were promulgated regarding

      3       expert testimony.      In particular, the other slide that was

      4       shown, and I may have to have flip them back and forth for

      5       this, but it says here that, the underlined part, to limit

      6       uninformed and possibly misleading testimony, experts should

      7       be qualified for the role and should follow a clear and

      8       consistent set of ethical guidelines.

      9             I fail to see what -- how my testimony or involvement

     10       here has been unethical, which I can elaborate on in just a

     11       moment.    But, anyway, maybe for some reason the other side

     12       was billed in that case, but I don't see my involvement here

     13       as being unethical so --

     14             But if you go to the next one that was shown.              "The

     15       physician should have been actively involved in the clinical

     16       practice of anesthesiology at the time of the event."

     17             I believe the attorney -- and we'd have to read back

     18       the question -- but I believe the attorney, and this is sort

     19       of paraphrasing, said, so you are not actually involved --

     20       these executions are in the future so you are not actually

     21       involved at the time of the event.           I think that was the

     22       wording.    By that definition, no expert witness could do

     23       that because we're not present in the future.              So I think

     24       that's a bit of a red herring.

     25             "The physician's testimony should reflect scientific


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      1       evidence and accepted practice standards prevalent at the

      2       time of the event in question."

      3             Again, these guidelines were promulgated regarding the

      4       cases of malpractice.       So if I'm testifying in a malpractice

      5       case, I -- it's the position of the ASA that you should have

      6       been clinically active at the time of the malpractice case.

      7       So, for example, if something untoward were to happen to a

      8       patient today somewhere, and then a year from now a lawyer

      9       were to contact me and ask me, Dr. Antognini, would you be

     10       willing to testify as an expert witness in a malpractice

     11       case, I would say, well, no, I'm not -- I wasn't clinically

     12       active at that time.       So I am not -- you know, I am not

     13       going to testify.

     14             Now, I may be able to provide some testimony to them,

     15       but, you know, this issue I think comes up, and I don't

     16       think I would do that.

     17             But this case is not about medical malpractice, and so

     18       I don't think that it necessarily applies.             In fact, I don't

     19       think it applies at all.

     20       Q.    Have you been asked to, by the Ohio Attorney General's

     21       Office, to give any opinion about -- have you been asked

     22       about, by the Ohio Attorney General's Office, to give

     23       opinions about the effects of midazolam, correct?

     24       A.    I have, yes.

     25       Q.    And have you been asked in any way by me or any of the


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      1       lawyers here to provide specific information about an

      2       execution that will -- that will take place in the future?

      3       A.    I have not.     And as I said, made clear to you, I in no

      4       way want to -- I don't want my testimony, my written report

      5       to be construed in any way as to aid anybody, any person or

      6       entity in the performance of an execution.             That's up to the

      7       system to decide whether these will occur and which -- and

      8       the manner in which they will occur.           I am just providing

      9       expert testimony on the pharmacological aspects of these

     10       drugs as I see it.

     11       Q.    Let's get back to Miller's Anesthesia.            Does Miller's

     12       speak to extreme dosages of midazolam?

     13       A.    To my knowledge, it does not, but, again, it's a big

     14       book and I am not sure that it says anywhere about extreme

     15       doses, as you say, and especially doses at 500 milligrams.

     16       Q.    In fact, wouldn't you agree with me that Miller's

     17       Anesthesia, any time it's making any reference to any drug

     18       is almost always specific to therapeutic dosages?

     19       A.    That is correct.      Again, that's a big book.         I can't

     20       say always, but generally, any medical textbook, when it

     21       talks about drug administration, is always going to be

     22       talking about therapeutic doses.

     23       Q.    And it would do little good to teach doctors and

     24       young -- young persons attempting to become doctors about

     25       massive dosages that would kill people; is that correct?


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      1       A.     That is correct.     I mean, you might talk about that in

      2       the context of trying to explain a particular point, but in

      3       general in terms of trying to explain and talk about

      4       therapeutic dose, no, you would not talk about it.               The high

      5       dose -- except to the extent that higher doses can -- are

      6       going to be more lethal, even in the clinical setting, than

      7       a lower dose.

      8       Q.     You were asked questions about the BIS.           Is there

      9       anything you would like to add to that?

     10       A.     Well, I would like to talk about the BIS monitor and

     11       the values because the issue came up about you can't achieve

     12       a BIS below 60.      And that's not true.       You can.     Now on

     13       average -- with midazolam.         On average you may not be able

     14       to -- based on the clinical studies and the use of a

     15       therapeutic does, you may not be able to do it on average,

     16       but some patients definitely do achieve BIS numbers below

     17       60.

     18              And also, midazolam -- you know, based on the

     19       literature, midazolam does not cause a consistent change in

     20       the BIS.      And the data that were in those papers point that

     21       out, which I can point out here.

     22       Q.     Yes.    I would like to refer to Defendants' Exhibit 76

     23       at page 1171.      Do you recognize this, Doctor?

     24       A.     Yes.    That's the paper by Peter Glass and others.

     25       Q.     Did you rely upon this document in rendering your


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      1       opinion?

      2       A.    I did.

      3       Q.    Let me refer you to page 1175.          Are there any relevant

      4       information on that -- is there any relevant information as

      5       pertains to midazolam on that page?

      6       A.    Yes.     So if you look at -- so we're looking at the

      7       Glass paper, 1175.       It's their page 840.       So there is four

      8       figures on that.      The Figure Number 3 shows the bispectral

      9       index compared to the midazolam concentration.              And it shows

     10       the sedations for on that figure, but also, again, the

     11       relationship between the BIS and the midazolam

     12       concentration.

     13             And as we've discussed, the usual BIS levels that you

     14       are looking for in general anesthesia are going to be

     15       between 40 and 60.       And if you look at that figure, you can

     16       see that there are a number of the dots that fall below 60.

     17       Not all of them.      Again, that's why we are looking at

     18       average, and average is I don't think above -- I'm not sure

     19       where it is in terms -- it depends where you are looking on

     20       it at the graph, but there are definitely patients that had

     21       BIS numbers below 60 -- I am sorry.           Volunteers that had BIS

     22       numbers below 60 with midazolam.

     23       Q.    Is there anything else, any other charts in that paper

     24       you would like to refer to?

     25       A.    Yes.     I also in looking at the paper -- and then, by


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      1       the way, looking at this paper, but not just for this but I

      2       have looked at this paper for many times over my career.                   So

      3       Figure 5 is the relationship between BIS and probability of

      4       a positive response, and this is, in this case, probability

      5       of consciousness.

      6             And this is -- as I recall, it's a logistic regression

      7       analysis.    It's a statistical analysis of the data to

      8       provide the context here of what was going on with the BIS

      9       relative to the probability of consciousness.

     10             And you can see that the -- there are two -- two curves

     11       there.    Actually, there are three curves:           The curve for

     12       midazolam.     The curve for isoflurane is a curve to the

     13       right, or curves to the right.          And then you have the curve

     14       for propofol.     I'm sorry.     I am alternating between wearing

     15       my glasses and not.       But the curve for midazolam and the

     16       curve for isoflurane basically overlap.            They are right on

     17       top of each other.

     18       Q.    What does that signify?

     19       A.    So that, based on that study, it signifies that

     20       relative to the BIS and the probability of consciousness,

     21       that midazolam and isoflurane have equal potent -- maybe

     22       that's not quite the right word -- but have equal effects in

     23       terms of being able to depress the BIS.

     24             This is just a statistical analysis of the data.               I'm

     25       not -- you know, again, if you look at the actual data


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      1       points, the midazolam never got below a BIS of -- in any

      2       patient, it looks like the low of the BIS was probably

      3       around 50 in any individual patient.

      4              And the other thing that I would point out is that the

      5       curve for propofol is shifted to -- to the left.              So what

      6       that means, if you think about it, is that if you were to

      7       draw a line between -- across from the 0.5 level all the way

      8       across, you could see that because of the shift of that

      9       curve with the propofol, that that line, that horizontal

     10       line that you -- and I use .5 because that's our 50 percent

     11       level.     When you draw it across there, it intersects that

     12       propofol line at around a BIS of maybe around 62 or so.                 I'm

     13       not sure.     But it intersects the other lines with a BIS of

     14       around maybe 70.

     15              So just, again, to my point about there being different

     16       effects, these anesthetics having different effects on the

     17       BIS.     Propofol obviously in this study appears to be

     18       different from isoflurane and midazolam based upon the

     19       figure that they had drawn there in terms of the effects of

     20       BIS and the probability of consciousness.

     21       Q.     Now, does pain stimuli always mean that a patient is

     22       emerging?

     23       A.     I'm sorry.    That -- I'm not sure I understand.

     24       Q.     Does pain stimuli always equate to the patient

     25       emerging?


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      1                       THE COURT:     I don't understand the question.

      2                       MR. MADDEN:    Maybe I wrote that down wrong.

      3       BY MR. MADDEN:

      4       Q.      Would -- you were questioned -- you were questioned

      5       about these things, coughing and eye opening, in Miller's.

      6       Does that -- are all these always indicative of a patient

      7       emerging?

      8       A.      No.

      9       Q.      Can you explain that?

     10       A.      Well --

     11                       THE COURT:     Just so the record's clear, we're

     12       talking about page 1531 of Miller's Anesthesia, 8th Edition.

     13       Go ahead.

     14                       THE WITNESS:     I want to make sure it's -- emerging

     15       from anesthesia is not, I'm sure, the best way of looking at

     16       this.     Now, are they shifting from a deeper level of

     17       anesthesia to a lighter level of anesthesia, and I think the

     18       answer to that is that is possible, but if they are showing

     19       signs of coughing, then that may occur, that there is a

     20       shift.        Now, are they emerging from anesthesia?        Are they

     21       regaining the possibility or the function of consciousness?

     22       That kind of depends on what level of anesthesia that they

     23       are at.

     24               There's no question that there is a relationship

     25       between consciousness, un -- I should say unconsciousness


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      1       due to anesthetics and noxious stimulation.             That is,

      2       noxious stimulation can shift those curves, as I talked

      3       about.

      4             I think -- I believe -- I don't think that I really

      5       have all the data up there, that it can shift those curves

      6       and that you can -- that patients will be at a lighter

      7       level.    I'm not sure a lighter level of anesthesia is the

      8       best way of looking at it, but that they will be less -- let

      9       me think about the best way to word this.             That they are not

     10       as deep in terms of their brain depression.             So their brain

     11       is depressed.     Their central nervous system is depressed,

     12       and the painful stimuli will cause them to be less depressed

     13       from the anesthetic.

     14             Now, again that doesn't mean that they are actually

     15       emerging from anesthesia and regaining consciousness, but

     16       depending on the anesthetic level, they could be getting

     17       close.

     18       BY MR. MADDEN:

     19       Q.    Briefly explain the MIC, the MIC and the MAC in the

     20       application of the MAC to your opinions about midazolam.

     21       A.    So there are studies out there that look at intravenous

     22       drugs in terms of some of these responses.             And you can

     23       develop sort of similar types of relationships in terms of

     24       how much drug do you need to provide amnesia, how much do

     25       you need to provide consciousness, and how much do you need


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      1       to provide immobility.          And there are similar -- you can

      2       develop similar curves or relationships, as I have here.

      3              So my recollection, I'd have to look at those data to

      4       be able to figure out, to determine what the relationships

      5       are, but my recollection is that the amount needed to ablate

      6       consciousness and ablate memory is significantly less than

      7       what it is for preventing movement.

      8              Now, but we don't have any of those data for midazolam.

      9       We don't have the -- the data obviously, based on studies

     10       like the Glass paper for consciousness, and I'm not sure we

     11       have it for the amnesia part, but we don't have it for the

     12       immobility part.

     13       Q.     Let me refer you to your exhibit, page 16, that's

     14       Defendants' Exhibit 94 at 1780.

     15       A.     Okay.

     16       Q.     Please explain your reference to the Gehrke study and

     17       why you cited it there.          And --

     18       A.     Do we have that actually here somewhere?            Can I refer

     19       to it?

     20                      THE COURT:     Yes.   If the defendant -- the witness

     21       does not have Defendants' Exhibit 94, the clerk will provide

     22       it.

     23                      MR. MADDEN:     I think he wanted to see the actual,

     24       the Gehrke study.

     25                      THE WITNESS:     The actual paper.


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      1                   THE COURT:     I don't know.

      2       BY MR. MADDEN:

      3       Q.     I don't have it.

      4       A.     Okay, that's fine.      So I don't -- I do remember

      5       obviously the paper to some extent and that they used

      6       midazolam for endotracheal intubation, and I believe that

      7       there was a group of patients that did not receive any other

      8       drugs besides midazolam, but I'd have to refer to the paper

      9       to make sure.     That's my recollection.

     10       Q.     Do you recall the question that you were asked about

     11       the Gehrke study?      And if so, do you want to respond about

     12       it?

     13       A.     I do not recall the specific question.           All I can say,

     14       in developing this, I thought I was pretty careful about

     15       including studies where midazolam was given by itself after

     16       that particular procedure, at least in some set of patients

     17       in that paper.      That's my recollection.

     18              Now, the general results may have been applied, or the

     19       conclusions may have been applied to the general results.                  I

     20       am sorry.    The general results may have been applied to the

     21       conclusions, but my recollection is that there is a subgroup

     22       that received just midazolam alone, and I think the point I

     23       was trying to make, that if that's correct -- again, that's

     24       my recollection -- that these investigators saw fit to use

     25       midazolam by itself in some patients for endotracheal


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      1       intubation.

      2       Q.     You were also questioned about the Yegin study.             Do you

      3       recall that?     Paragraph 16.

      4       A.     Yes, I see that.     I do recall that paper, yes,

      5       generally.

      6       Q.     And is there anything that you want to -- in response

      7       to your questioning about that?

      8       A.     My recollection is that it was just, as I said, that

      9       the drug was given intrathecally, or in the spinal cord, in

     10       combination with a local anesthetic, and that the analgesic

     11       period was longer when midazolam was used as opposed to when

     12       it was not used.      Again, supporting my belief or contention

     13       that midazolam seems to have some analgesic properties.

     14              Again, it's related to, you know, what dose are we

     15       talking about.      And, you know, in this case, it had to be

     16       given with another drug.        But in my mind, it had no

     17       analgesic properties whatsoever, I don't think you would see

     18       that type of effect where it belongs to an analgesic, but

     19       that's my opinion.

     20       Q.     Are there any other -- strike that.          In paragraph 40 of

     21       your report, explain why midazolam is an exception to the

     22       BIS.

     23       A.     Is that my supplemental report?

     24       Q.     Yes.

     25       A.     I'm sorry.    Explain what?


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      1       Q.      Why midazolam is a exception to the BIS.

      2       A.      Well, I wouldn't say it's -- it's not an exception.

      3       It's just that for any of the drugs that we use in the

      4       operating room for which the BIS is used, the BIS does not

      5       provide necessarily accurate information.

      6       Q.      Explain that.

      7       A.      Well, just a little context.        If you think about

      8       what -- what do anesthesiologists do?           What's the primary

      9       thing that they do, and that is to anesthetize people, all

     10       right.     And you would think, well, you must have a monitor

     11       for that.     Well, for many years we didn't have a monitor for

     12       that.    So obviously if there was a monitor out there where

     13       it was clear-cut that it could be used to detect memory, it

     14       could be used to detect awareness and so forth, it would be

     15       present in every hospital in the United States.

     16               But, in fact, the BIS monitor has some problems with it

     17       in terms of -- I shouldn't say the monitor.             But the

     18       interpretation of the data, the data are not always

     19       accurate.     And I can point that out in just a moment in both

     20       the Glass paper and then the other paper that I cited, the

     21       Lui paper.     It's not always accurate depending on the

     22       circumstances.      There are artifacts with the BIS monitor and

     23       so forth.     And there are drug differences.          For example,

     24       halothane affects the BIS differently than isoflurane.                But

     25       just to make the point even further, I'm not -- don't have a


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      1       copy of the Lui paper in front of me, but maybe it's in the

      2       exhibit somewhere.

      3             But I can, as you are looking for that -- I think the

      4       Lui paper would probably be best for me to make my point.

      5                    THE COURT:     Rather than wait on that -- I guess

      6       Mr. Wille's found it.

      7             What are you handing the witness, sir?

      8                    MR. MADDEN:     This is not an exhibit.        It's DX 76.

      9             Your Honor, I would like to add this as an exhibit.

     10                    THE COURT:     What's the number?

     11                    MS. WOOD:     What is it?

     12                    THE COURT:     I don't know yet.      I am just trying to

     13       get a number on it.

     14                    MR. MADDEN:     105.

     15                    THE COURT:     All right.

     16                    MS. LOWE:     Your Honor, it's already actually an

     17       exhibit.     It's Defendants' Exhibit 76, page 1159.            Bates

     18       stamped 1159.     I'm sorry.        I might have said 69.     It's 59.

     19                    THE COURT:     So if it easier, Mr. Madden, please

     20       feel free to hand Dr. Antognini the extracted matter, but I

     21       have it in front of me as "Electroencephalogram Bispectral

     22       Analysis Predicts the Effects of Midazolam Induced

     23       Sedation."

     24                    THE WITNESS:     Yes, I have it in front of me.

     25       Thank you.


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      1       BY MR. MADDEN:

      2       Q.    Why is that document -- why is that article

      3       particularly relevant?

      4       A.    Again, just to illustrate some of the complexities and

      5       the abilities around the BIS.         If you turn to the Figure

      6       Number 1 of that paper, it shows the BIS values relative to

      7       sedation scores.      So in this particular example, the -- if

      8       you look at the number 1.        So what's happening here is that

      9       they are giving the drug and the drug is starting to wear

     10       off so you got this overall decrease in the BIS and then you

     11       get this overall sedation score.          So you got a sedation

     12       score of 1, which is the lowest that they had.              And then you

     13       get this increase in the overall BIS, average BIS, until you

     14       get back to a score of 4.

     15             So it's basically their way -- they are getting the

     16       drug, the BIS is going down and then their sedation is

     17       getting more and more, and then they are beginning to emerge

     18       from it.

     19             So I would just focus on the sedation score of 1, which

     20       is about in the middle of that figure.            So these were

     21       patients or volunteers -- I can't remember off the top of my

     22       head -- that from a clinical perspective all had a sedation

     23       score of 1.     So clinically they all had the same level of

     24       sedation.     Or in this particular case, it might be -- they

     25       might have defined that as being unconscious.


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      1             Well, in any case, the point that I am trying to make

      2       here is that at that same clinical level, it looks like the

      3       BIS was as high as 95 in one patient and as low as 40 in

      4       another if I look at the top score and the -- the top dot

      5       and the bottom dot, although this reproduction is not

      6       particularly good.       At that level, you had that same type

      7       of -- you had that spread.

      8             So now there could be methodology reasons why there is

      9       lag periods and all of that, but, nevertheless, that would

     10       happen in a clinical setting as well.           So the BIS monitor,

     11       it is a step forward in terms of monitoring depth of

     12       anesthesia, but it's not completely accurate.

     13             And there are -- there's a lot of literature out there

     14       about drugs having different effects on the BIS that I

     15       already pointed out, and that even within that certain drug,

     16       you can have differing BIS values, even at the same sedation

     17       level.    That was just the point I was trying to make about

     18       the BIS score.

     19             I have used it.      It's a step forward.        I have used it

     20       clinically; I have used it experimentally.             It's good in

     21       terms of any, you know, using an average score to figure out

     22       what's going on but it doesn't -- it's not 100 percent

     23       sensitive and 100 percent specific.

     24       Q.    What are the other exceptions to the BIS score?

     25       A.    I do want to -- I know we have sort of used the word


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      1       "exceptions," and if I have used that as well, I am not sure

      2       it's exactly the right word, but what are other

      3       circumstances which the BIS might be not as -- not accurate

      4       or might be a little bit misleading or whatever term you

      5       want to use.     Again, you have drugs that are administered,

      6       anesthetic drugs that are administered that don't affect the

      7       BIS as much as -- so ketamine, nitrous oxide.              You give

      8       those drugs in addition to some other drugs they have on

      9       board and you may not change the BIS very much, even though

     10       you get a deeper level of anesthesia.

     11                   MR. MADDEN:     Thank you, Your Honor.         I have no

     12       further questions.

     13                   THE COURT:     Recross.

     14                   MS. WOOD:     Very briefly.

     15                   THE COURT:     Yes, ma'am.      Do you need us to break

     16       and recess?

     17                   MS. WOOD:     No.

     18                   THE COURT:     All right.     Good.

     19             Mr. Madden, can you help Dr. Antognini get those --

     20                   THE WITNESS:        I think I have got it.

     21                   MR. MADDEN:     Thank you, Doctor.

     22                   THE WITNESS:        Sure.

     23                                RECROSS-EXAMINATION

     24       BY MS. WOOD:

     25       Q.    We talked about a BIS monitor just now, right?


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      1       A.    Yes.

      2       Q.    And you said that's not -- it's a good indicator but

      3       it's not the only indicator that you would use in the

      4       operating room?

      5       A.    That is correct.      It's the only -- there are other EEG

      6       monitors out there besides the BIS monitor.             So I want to

      7       say -- when you say indicator, obviously there are clinical

      8       signs, but there are other monitors out there.              I have never

      9       used the other monitors.

     10       Q.    You could also use heart rate monitor; is that right?

     11       A.    Heart rate monitor is one thing you could use.

     12       Q.    Blood pressure cuff?

     13       A.    Yes.

     14       Q.    What else would you use?

     15       A.    To?

     16       Q.    Monitor the patient at a depth of anesthesia.

     17       A.    The heart rate monitor, the blood pressure monitor,

     18       those are used for a variety of different reasons, including

     19       the depth of anesthesia.        Obviously you have a response to

     20       surgery.      You are measuring the heart rate in treating that.

     21       But you also are measuring the blood pressure and heart rate

     22       for other reasons primarily because these drugs can decrease

     23       the blood pressure, so you could have blood loss and so

     24       forth.      So you are looking for the -- what's going on in

     25       those regards.


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      1             But one of the things you could use those monitors for

      2       would be to measure the response to noxious stimulation.

      3             Other monitors, the pulse oximeter is used primarily

      4       for measuring oxygen concentration or oxygen saturation, but

      5       it also picks up the pulse.         So you can use that to monitor

      6       the pulse but you already have the EKG, so it's just sort of

      7       supplementary.

      8             There are other, as I said, other monitors.             The EEG

      9       monitors that could be used.         People look at pupil dilation.

     10       They can look at movement, as I discussed.             They can look at

     11       perspiration or sweating.        These are autonomic signs of

     12       stress or that the individual's responding to the noxious

     13       stimulation.

     14       Q.    So taking together those monitors, those tools and that

     15       equipment and watching for signs of movement, that would

     16       provide you a better picture of whether patient is reacting

     17       to a noxious stimuli; is that right?

     18                   THE COURT:     Better picture than what?

     19                   MS. WOOD:     Than using nothing.

     20                   THE WITNESS:      Yes, in the clinical setting, it

     21       would.    The only caveat, I would say, is that sometimes

     22       monitors can throw you off, but in general, the more you

     23       monitor, the more data you collect, the more able you are to

     24       manage the patient.

     25       BY MS. WOOD:


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      1       Q.      Would you ever monitor the depth of anesthesia by doing

      2       a reflex check alone?

      3       A.      A reflex check alone.      By itself.     I would not.     Not in

      4       the operating room, I would not.

      5       Q.      You mentioned movement, and you said that's not always

      6       indicative of a patient emerging, correct?

      7       A.      That's correct, yes.

      8       Q.      I believe in your earlier testimony hours ago you used

      9       the word "arbitrary," some of these signs could be

     10       arbitrary.

     11       A.      I used that -- it's not that the signs are arbitrary.

     12       I'm not sure if I have said -- if I said that correctly or I

     13       understand you correctly.        Where you decide whether somebody

     14       is conscious or not is arbitrary.

     15               So let's take an example of -- and I am not going to --

     16       and this is just a hypothetical example.            Let's say there's

     17       five things that you look for in terms of consciousness.

     18       And you are going to say, you know, arbitrarily you have two

     19       of those, two or more of those -- two or more of those

     20       signs, I am going to label the person as being conscious.

     21       So if they have only one of those five, you will say they

     22       are unconscious.      And you may have some reason -- reasons to

     23       do that.     There may be methodological reasons you want to do

     24       that.    There may be neurophysiological reasons to do that.

     25       But it really is in my mind because consciousness is a


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      1       spectrum.     The way some of these scales are used, it really

      2       is an arbitrary decision about whether they are unconscious

      3       or not.     And likewise, with reflexes, there's reflex

      4       movement to signify that the patient is awake or otherwise

      5       responsive.

      6             As was pointed out yesterday by Dr. Stevens, he

      7       referenced that table from ASA that looked at general

      8       anesthesia, and the American Society of Anesthesiologists in

      9       that table, it clearly states that reflexive withdrawal is

     10       not considered purposeful movement.           So if you have somebody

     11       who was anesthetized based on that table, and they -- you

     12       apply a noxious stimulus and they have a reflex withdrawal,

     13       which doesn't necessarily mean just a reflex withdrawal from

     14       the extremity that you are stimulating, but in general

     15       that's what it does mean.        The presence of a reflex

     16       withdrawal is not considered purposeful movement in that

     17       table.    And, therefore, by that definition of that table,

     18       the American Society of Anesthesiologists, as I interpret

     19       that, says they are -- that patient is under general

     20       anesthesia.

     21             So, again, a patient under general -- under anesthesia,

     22       general anesthesia who has a reflex withdrawal to a noxious

     23       stimulus is considered to be under general anesthesia as I

     24       interpret that table.       Because they have a very clear, a

     25       reflex withdrawal is not considered purposeful movement.


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      1       Q.    But you said some of these parameters are arbitrary,

      2       correct?

      3       A.    They are.

      4       Q.    So one study may use a certain definition of

      5       consciousness, the other study can use a different

      6       definition, and they will arrive at different results; is

      7       that right?

      8       A.    That is correct, yes.

      9       Q.    So it's possible that this criteria is arbitrary;

     10       different team members checking reflexes during the

     11       execution would arrive at different conclusions?

     12       A.    I don't want to get into the issue about --

     13                    MR. MADDEN:     Objection.     It calls for speculation.

     14                    THE COURT:     Hang on.

     15                    THE WITNESS:     Should I answer?

     16                    THE COURT:     No, you should not answer.        The

     17       objection's sustained.        But not on the basis that you

     18       raised, Mr. Madden, but rather on the basis that it's

     19       outside the scope.

     20                    MR. MADDEN:     Yes, sir.

     21       BY MS. WOOD:

     22       Q.    You were asked about the Crawford study.

     23       A.    Yes.

     24       Q.    Just to confirm, the Crawford study used more than just

     25       midazolam; is that right?


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      1       A.    For the extent of a study period for an individual

      2       patient, that is from the induction of anesthesia to the

      3       completion of anesthesia at the end of the case, they used,

      4       as I recall, mid -- either midazolam or thiopental,

      5       depending on the group, nitrous oxide, and then I believe it

      6       was meperidine, I believe is what was used, is my

      7       recollection, after the umbilical cord was tied off.

      8       Q.    And midazolam and nitrous oxide were administered

      9       simultaneously?

     10       A.    No, they were not.

     11       Q.    The nitrous oxide was administered first?

     12       A.    The nitrous oxide was administered after the midazolam.

     13       Q.    And then the study, the patients in the study were

     14       given nitrous oxide, which you testified you don't know the

     15       rate of the flow, right?

     16       A.    I do not.     It was not described in the paper.

     17       Q.    So your estimate of it took as long as a minute for

     18       midazolam to be the only drug, that's an estimate?

     19       A.    That is correct.

     20       Q.    It could have been as little as a few seconds?

     21       A.    I don't think it could be as little as a few seconds.

     22       Again, it depends -- you know, I wasn't there collecting the

     23       data, doing the studies.        But just based on my experience in

     24       terms of doing cesarean sections, once you intubate the

     25       patient and you tell the surgeon to go, then you actually


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      1       will hook up.     You've taken the -- you have got to take the

      2       mask off the circuit.       You put the circuit onto the tube.

      3       Depending on the practitioner, they may or may not tape the

      4       tube at that point, and then they will turn to turn on the

      5       anesthetic, or turn on the nitrous oxide in that case, and

      6       that takes time for that to be flushed through.

      7             Now, we don't know the flow of the nitrous oxide.                We

      8       don't know the volume of the circuit.           Those issues come

      9       into play.     But my -- again, my estimate is somewhere around

     10       30 to 60 seconds.      But it's an estimate, and it's -- I'm

     11       willing to accept the criticism that it's only an estimate.

     12       Q.    And just to confirm that the graph that's on the poster

     13       and that was also in Miller's Anesthesia, that refers to

     14       inhaled anesthetics; is that correct?

     15                    MR. MADDEN:    Objection, Your Honor.         It goes

     16       beyond the scope.

     17                    THE COURT:    Of the redirect?       Sustained.

     18       BY MS. WOOD:

     19       Q.    Going back to Miller's Anesthesia, page 842, you were

     20       asked about the Yegin study that used, again, more than one

     21       drug with another anesthetic, and you said the analgesic

     22       effect was prolonged.       Miller's Anesthesia, on page 842,

     23       talks about synergistic interaction of midazolam and other

     24       drugs, right?

     25       A.    Where does it say other -- where does it say that?


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      1       Q.      "When midazolam is combined with other anesthetic

      2       drugs, coinduction, often a synergistic interaction occurs

      3       similar to what is seen with propofol."

      4       A.      Okay.   I agree with that.      I mean, that's what it says.

      5       Q.      Would you agree that this may explain the result you

      6       were seeing in the Yegin study when midazolam was used with

      7       another drug that has analgesic properties?

      8       A.      So another drug as what, the nitrous oxide or the

      9       meperidine or both?

     10       Q.      We are talking about the Yegin study where the

     11       bupivacaine was injected.

     12       A.      Oh, I'm sorry.    I apologize.      I am confusing my studies

     13       here.     There absolutely could be synergy there.           I mean,

     14       that was bupivacaine, as I recall.           That was just a local

     15       anesthetic.     So there could be a synergistic interaction

     16       there.

     17       Q.      So --

     18       A.      Have I -- have I provided the best spin on that paper?

     19       I suppose you could criticize me for that.             But it's

     20       difficult to, I think, reconcile the statement that

     21       benzodiazepines lack analgesic properties when there is

     22       the -- this evidence and other evidence and the evidence

     23       that I cited that it's been used only by itself in noxious

     24       procedures.

     25               And this, again, provides some evidence that maybe the


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      1       action might be at the spinal cord level, which is what I

      2       cited in my original report that it might be at the spinal

      3       cord level.

      4                   MS. WOOD:     Can I take a moment to confer?

      5             No more questions, Your Honor.

      6                   THE COURT:     Thank you, ma'am.

      7             Mr. -- Dr. Antognini, you may step down.

      8                   THE WITNESS:      Thank you.

      9                   THE COURT:     I said "Mr." before I said "Dr."           For

     10       years I tried to enforce a distinction between medical

     11       doctors who got the title and Ph.D.s who didn't, but I gave

     12       that up some year ago.        It's hopeless.

     13             And may the witness be excused?

     14                   MR. MADDEN:     Yes.

     15                   THE COURT:     Very well.      I hope you don't have a

     16       snow delay getting your flight.

     17                   THE WITNESS:      Okay.    Thank you.

     18                   THE COURT:     And we're back to plaintiffs.          Next

     19       witness?

     20                   MR. SWEENEY:      Actually, Your Honor, the next

     21       expert that the defendants were going to call also has to

     22       catch a flight so we've agreed to put him on.

     23                   MR. MADDEN:     Actually, Judge, he doesn't have a

     24       flight.    I just found that out.        So you guys can call your

     25       next witness.


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      1                   MR. BOHNERT:      Your Honor, plaintiffs call Sonya

      2       Rudenstine.     She's by phone.      We were thinking that we were

      3       going to go ahead with -- do you want me to call her?

      4                   THE COURT:     We will take our afternoon recess.

      5       It's 3:30, so we will take our afternoon recess at this

      6       point for ten minutes, and we can get that set up.

      7                   MR. BOHNERT:      Thank you.

      8                   THE COURTROOM DEPUTY:        All rise.     This Court

      9       stands in recess.

     10             (Recess from 3:32 p.m. until 3:43 p.m.)

     11                   THE COURT:     Your next witness, Mr. Bohnert.

     12                   MR. BOHNERT:      Plaintiffs would call Sonya

     13       Rudenstine by telephone.

     14                   THE COURT:     Ma'am, this is Judge Michael Merz in

     15       Dayton, Ohio.     I understand that you are prepared to be

     16       called as a witness to testify in the plaintiffs' case in

     17       chief in the Ohio Protocol -- execution protocol case.                Is

     18       that consistent with your understanding?

     19                   THE WITNESS:      Yes, Your Honor.

     20                   THE COURT:     And do you solemnly swear under the

     21       pain and penalty of perjury that the testimony you give in

     22       the matter now in hearing will be the truth, the whole

     23       truth, and nothing but the truth?

     24                   THE WITNESS:      I do, sir.

     25                   THE COURT:     And are you willing to submit to the


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      1       jurisdiction of this court despite the fact that you are

      2       testifying at a distance?        I don't know where you are.

      3       Would you first of all tell me where you are?

      4                   THE WITNESS:      Yes.    I'm in Gainesville, Florida.

      5       Do you need the address?

      6                   THE COURT:     No, ma'am, I do not.

      7                   THE WITNESS:      Okay.

      8                   THE COURT:     Are you willing to submit to the

      9       personal jurisdiction of this court for purposes of any

     10       potential witness sanctions that might be imposed?

     11                   THE WITNESS:      I am, Your Honor.

     12               SONYA MARGARET RUDENSTINE, PLAINTIFFS' WITNESS

     13                   THE COURT:     Very well.     Would you state your name

     14       and spell your last name for the record.

     15                   THE WITNESS:      Sure.    It's Sonya Margaret

     16       Rudenstine, R-U-D, as in "David," -E-N-S-T-I-N-E.

     17                   THE COURT:     And your current employment, ma'am?

     18                   THE WITNESS:      I am self-employed as a solo

     19       practitioner.

     20                   THE COURT:     Of law?

     21                   THE WITNESS:      Indeed, yes, sir.

     22                   THE COURT:     Your witness, Mr. Bohnert.

     23                   MR. BOHNERT:      Thank you, Your Honor.

     24                                 DIRECT EXAMINATION

     25       BY MR. BOHNERT:


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      1       Q.    Sonya, good afternoon.           Did you witness the execution

      2       of Paul Howell in Florida?

      3       A.    Yes, I did.

      4       Q.    And do you know what protocol, what execution protocol

      5       was used to execute Mr. Howell?

      6       A.    Yes, I do.     It was the September --

      7                     MS. LOWE:     Objection.

      8                     THE COURT:     Grounds?

      9                     MS. LOWE:     Hearsay.

     10                     MR. BOHNERT:     Just one second.     There was an

     11       objection.

     12                     THE COURT:     There was an objection, ma'am.

     13                     THE WITNESS:     Oh, sorry, Judge.

     14                     THE COURT:     And the objection is that it's

     15       hearsay, and so Mr. Bohnert will need to lay a foundation to

     16       show that it might not be.

     17       BY MR. BOHNERT:

     18       Q.    Right.     The question was just, do you know what

     19       protocol was used?         Yes or no.

     20       A.    Oh, yes, I do.

     21       Q.    And I sent you some documents.           If you could look at

     22       the document that is Plaintiffs' Exhibit 71, please?

     23       A.    Yes, I have it.

     24       Q.    Okay.     And do you recognize this particular document?

     25       A.    Yes, I do.


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      1       Q.    What is it?

      2       A.    This is the execution protocol, the injection protocol

      3       put in place by the Florida Department of Corrections under

      4       which Paul Howell was executed.

      5                   THE COURT:     Could you hang on a second, please?

      6                   MR. BOHNERT:      Sure.    I'm sorry, Your Honor.        This

      7       is, again, Plaintiffs' Exhibit 71, on the bottom of the

      8       Plaintiffs' Exhibits Volume II.

      9                   THE COURT:     I have the document in front of me.

     10                   MR. BOHNERT:      Okay.

     11                   THE COURT:     And what this appears to be is -- you

     12       said 71 or 72?

     13                   MR. BOHNERT:      Tab 71, here at the bottom, page 770

     14       all the way through 782, Your Honor.

     15                   THE COURT:     I am looking at the wrong volume

     16       again.

     17                   MR. BOHNERT:      I see you have got the black-covered

     18       binders there, Your Honor.

     19                   THE COURT:     Correct.     I don't think I have been

     20       furnished a copy of the white binders.

     21             Ms. Rudenstine, I apologize for being as disorganized

     22       as I appear to be.

     23                   THE WITNESS:      No problem, Your Honor.

     24                   THE COURT:     I have the exhibit.

     25       BY MR. BOHNERT:


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      1       Q.    Ms. Rudenstine, if you could turn to page 782 at the

      2       bottom at the page that's marked with that.

      3                   THE COURT:     Your copy doesn't have 782 in it,

      4       Mr. Bohnert.

      5                   MR. BOHNERT:      At the bottom, Your Honor.

      6                   THE COURT:     Go ahead.

      7       BY MR. BOHNERT:

      8       Q.    Is there a date there on this page, the last page of

      9       this particular protocol, Ms. Rudenstine?

     10       A.    Yes, there is, September 9, 2013.

     11       Q.    And it's signed by the secretary, Michael Crews; is

     12       that correct?

     13       A.    That's correct.

     14       Q.    And who is Mr. Crews?

     15       A.    He is the head of the department, secretary of the

     16       department.

     17       Q.    The department -- the Florida Department of

     18       Corrections?

     19       A.    At the time.     Yes, the Florida Department of

     20       Corrections.

     21       Q.    And if you could turn to page -- well, it's page 6

     22       of -- 6 and 7 of the protocol.          It's Exhibit page 775 and

     23       776, please.

     24       A.    Just give me one minute.         Okay.

     25       Q.    And from those pages of this particular document, does


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      1       it -- does it state what the drug protocol would be for

      2       implementing this particular execution protocol?

      3       A.      Yes, it does.

      4       Q.      And what would be the drugs and the doses that would be

      5       used for this protocol?

      6       A.      The first injection is midazolam-hydrochloride

      7       injection, and the total amount to be given is 500

      8       milligrams, but it is to be administered in two separate

      9       injections of 250 milligrams each.           The second drug is

     10       vecuronium bromide, and a total of 200 milligrams are

     11       administered in two separate injections of 100 milligrams

     12       each.     And the third is potassium chloride.          The total

     13       administered is 240 milliequivalents.           Again, to be

     14       administered in two separate doses of 120 milliequivalents

     15       each.

     16               And there is a saline solution that is administered in

     17       between the injections.

     18       Q.      So in between each of the different drugs, there is

     19       a --

     20       A.      Correct.

     21       Q.      -- saline injection, okay.       So, for instance, if there

     22       were three injections -- if -- to inject the first set of

     23       drugs, would there be records saying three different

     24       injections?

     25                    THE COURT:    I don't think --


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      1                     THE WITNESS:     There would -- sorry, Judge.        Did

      2       you have --

      3                     THE COURT:     I am not sure that a foundation's been

      4       laid about how this witness knows this.

      5                     MR. BOHNERT:     Okay.    I will get there.

      6                     THE COURT:     All right.

      7                     MR. BOHNERT:     Sorry.     Just trying to expedite

      8       things.    My fault.

      9       BY MR. BOHNERT:

     10       Q.    Now, Ms. Rudenstine, also while you are looking at this

     11       particular document, if you could go ahead and turn to

     12       page -- turn to the previous page, page 4 and 5 of the

     13       protocol that is labeled here in exhibit page 773 and 774.

     14       Do you see that?

     15       A.    I do.

     16       Q.    And do you see a paragraph down there at the bottom

     17       that says paragraph 7, FDLE monitors?

     18       A.    I do.

     19       Q.    And could you explain what those particular paragraphs

     20       require under this protocol?

     21                     MS. LOWE:    Objection.      Foundation.

     22                     THE WITNESS:     Yes, there are two --

     23                     THE COURT:     Hang on.

     24                     MR. BOHNERT:     Just one second.

     25                     THE COURT:     Foundation.     Sustained.


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      1       BY MR. BOHNERT:

      2       Q.    Do you know whether there are any records that are

      3       required in the performance of an execution in Florida under

      4       this particular protocol that we are looking at here?

      5                     MS. LOWE:    Same objection, Your Honor.        I don't

      6       believe that there's been any foundation laid that this

      7       witness is --

      8                     THE WITNESS:     Do you want me to answer?        I heard

      9       some noise in the background.

     10                     THE COURT:     Go ahead and finish, Ms. Lowe.

     11                     THE WITNESS:     I'm sorry, Your Honor.

     12                     MS. LOWE:    I don't believe that there's been any

     13       foundation laid as to how this witness has knowledge or any

     14       personal knowledge of the department's practices and

     15       procedures.     She's stated she's a private attorney in

     16       Florida and not a member of the Department of Corrections.

     17                     THE COURT:     Sustained.

     18                     MR. BOHNERT:     I will correct that, Your Honor.

     19       BY MR. BOHNERT:

     20       Q.    Ms. Rudenstine, what kind of practice of law do you

     21       engage in?

     22       A.    Post-conviction and appellate law with a specialty in

     23       capital post-conviction work.

     24       Q.    Okay.     So you represent individuals who are on death

     25       row in Ohio -- excuse me -- in Florida, correct?


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      1       A.    I do, yes.

      2       Q.    And in the course of your practice in that area, have

      3       you had to become familiar with the execution protocols that

      4       Florida has in place?

      5       A.    Yes, I have.      And, specifically, I have become

      6       intimately familiar with -- in representing Mr. Howell in

      7       warrant proceedings.

      8       Q.    So you have knowledge and -- you have personal

      9       knowledge from your work, litigating on behalf of

     10       Mr. Howell, of the details of this particular protocol,

     11       particularly at paragraph 7 at the bottom there, would that

     12       be accurate?

     13                   MS. LOWE:     Objection.

     14                   THE WITNESS:      Yes, it is.

     15                   THE COURT:     Grounds, Ms. Lowe?

     16                   MS. LOWE:     She still -- she has knowledge -- it's

     17       still hearsay.      She is gaining knowledge through her

     18       litigation -- it's not personal knowledge -- that member of

     19       the Department of Corrections in Florida and implementing

     20       these policies and procedures or keeping the records.

     21                   THE COURT:     Overruled.

     22                   MS. LOWE:     Thank you, Your Honor.

     23                   THE COURT:     You may answer the question, ma'am.

     24                   THE WITNESS:      Could you repeat the question?

     25                   THE COURT:     Yes.    That is, do you have knowledge,


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      1       personal knowledge from your work litigating on behalf of

      2       Mr. Howell of the details of this particular protocol,

      3       particularly at paragraph 7 on the bottom there, would that

      4       be accurate?

      5                     THE WITNESS:    Yes, it is, Your Honor.        I engaged

      6       in several different evidentiary hearings challenging this

      7       protocol, and among them, there was testimony presented by

      8       DOC officials concerning what is in the protocol.               But,

      9       additionally, and specifically with regard to the FDLE

     10       monitors, I observed the monitors in the lethal injection,

     11       or one of the monitors in the lethal injection chamber when

     12       Mr. Howell was executed.

     13       BY MR. BOHNERT:

     14       Q.    Okay.    And so can you just explain for us what the FDLE

     15       monitors requires under this protocol?

     16       A.    Yes.    There is requirement that there be independent

     17       Florida Department of Law enforcement agency -- agents, two

     18       of them, to monitor the execution, one from inside the

     19       execution chamber and one with the team member who is

     20       actually performing the execution in a separate room where

     21       the drugs are administered.         And those individuals are

     22       required to keep logs at two-minute intervals or no more

     23       than two-minute intervals detailing what they see throughout

     24       the execution.

     25       Q.    So that is something that is required by law, a record


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      1       that is required by law to be kept; is that correct?

      2                     MS. LOWE:    Objection.     It's required under the

      3       policy.     There's been no testimony about the laws of Florida

      4       regarding executions.

      5                     THE COURT:     Sustained.

      6       BY MR. BOHNERT:

      7       Q.    Is this protocol, this execution protocol, considered

      8       any kind of law in Florida?

      9                     MS. LOWE:    Objection.

     10       BY MR. BOHNERT:

     11       Q.    To your knowledge?

     12                     MS. LOWE:    Calls for a legal conclusion.

     13                     THE COURT:     She's a lawyer.     Overruled.

     14                     THE WITNESS:     So the Florida statutes provide that

     15       the Department of Corrections is to establish procedures for

     16       implementing the execution.         And so it is not technically --

     17       procedures are not technically law; they are implemented

     18       pursuant to Florida statute.

     19       BY MR. BOHNERT:

     20       Q.    Okay.     So the contents of the protocol are implemented

     21       in accordance or pursuant to what Florida law actually

     22       requires.     Is that an accurate --

     23       A.    That is correct.

     24       Q.    Now, if you could turn to page -- or to Index Tab 72,

     25       please, of the same binder.


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      1       A.    Okay.

      2       Q.    It starts at page 784.        The hearing exhibit's page 784

      3       and continues on from there.         If you could --

      4                     THE COURT:     783 is the beginning.

      5                     MR. BOHNERT:     I am sorry.     Your Honor, that's

      6       correct.

      7       BY MR. BOHNERT:

      8       Q.    It starts at 783 and then continues on until hearing

      9       exhibit page 786.

     10       A.    Okay.

     11       Q.    Ms. Rudenstine, do you recognize this particular set of

     12       documents?

     13       A.    In a generic sense, I do.         They are consistent with

     14       what I have seen to be logs taken by FCLE monitors --

     15                     MS. LOWE:    Same objection.

     16                     THE WITNESS:     -- during the course of executions.

     17       As to each specific document, I only have personal knowledge

     18       as to the ones regarding Paul Howell.

     19                     MS. LOWE:    Your Honor, I have the same objection

     20       to these documents.        She is not the witness who prepared

     21       these documents, and she's testified that she doesn't have

     22       knowledge as to any of them except she stated there is a

     23       subset of them she's seen before.            But she didn't prepare

     24       any of these documents and isn't a records custodian for the

     25       Florida Department of Corrections.


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      1                     THE COURT:     The witness is only testifying that

      2       these are the usual forms, not for the content of the forms

      3       or the accuracy of the content of the forms, and so your

      4       objection is overruled.

      5                     MR. BOHNERT:     Thank you, Your Honor.

      6       BY MR. BOHNERT:

      7       Q.    If you would turn to page -- well, yeah, turn to page

      8       799 if you would, please.

      9       A.    Okay.

     10       Q.    Do you recognize this particular document and also the

     11       document on page -- hearing exhibit page 800?

     12       A.    Yes.     These are the logs that were presented to me as

     13       the -- as having been prepared by the FCLE monitoring in the

     14       course of Paul Howell's execution.

     15       Q.    Now, and we'll get back to the contents of that in a

     16       moment, but when you were at -- well, let me back up.                When

     17       you witnessed the execution of Paul Howell, how close to the

     18       death chamber or -- how close to Mr. Howell himself would

     19       you say that you were?

     20       A.    I would say approximately 15 to 20 feet, although I am

     21       not great with distances so that's an approximation.               But I

     22       was in the front row, and so there was nobody impeding my

     23       vision.      So as close as one can be in the witness

     24       observation room.

     25       Q.    Okay.     And if you could just kind of just very briefly


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      1       explain to us how the death chamber is set up as opposed to

      2       where the witness rooms are.         You will paint the picture for

      3       the Judge as far as what the scene was where you were

      4       sitting.

      5       A.    The death chamber is a sort of rectangular room with a

      6       large window through which the witnesses can view the

      7       execution.     There is a gurney in the middle with the end on

      8       which the condemned's feet -- condemned's feet face forward.

      9       And their head is in the back of the chamber from the

     10       witnesses' perspective.        And there are a couple of other

     11       windows that are blacked out so it's impossible for me to

     12       know what they are.       I would assume one of them's going into

     13       where the drugs are administered but I don't know.

     14             There's a clock on the right-hand side wall from where

     15       the witnesses are observing that is visible through the

     16       window.    And -- well, so I will leave it there.            That's

     17       basically how the room is set up.

     18       Q.    Okay.    And tell us what you saw during the course of

     19       the execution of Mr. Howell, please.

     20       A.    I'm assuming you want me to start from when the drugs

     21       were administered or not.

     22       Q.    From the point where Mr. Howell -- I don't know as far

     23       as when Mr. Howell was brought in.           Explain to us, I guess,

     24       the scene of Mr. Howell on the gurney and go from there.

     25       A.    He was already -- had already been brought in when the


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      1       curtain was raised to the witness room, so he -- and he was

      2       at a slight angle so that his -- he wasn't directly

      3       perpendicular to us.       He was slightly -- his head was

      4       slightly to the left, so I would call it a slightly diagonal

      5       view that we had.       And he was able to raise his head and

      6       look around and see us.        And he gave a statement.         First,

      7       the warden called to make sure there were no stays of

      8       execution in place, and then Mr. Howell gave a brief

      9       statement, and he had already been strapped in.              He had arm

     10       or wrist, I wouldn't call them shackles because they are

     11       leather, but he was bound at the wrists, and then his chest

     12       and stomach and legs were also bound with large straps

     13       across him.

     14             And the lines were placed into his arm.            And I -- he

     15       had his head slightly cocked to his right so that he could

     16       look at me as the execution went forward.             And so I was able

     17       to see his face completely.         I saw all of the rest of his

     18       body with the exception of a small part of his upper left

     19       side just because of the way that the gurney was set up.

     20             And when it became clear to me that a drug was -- the

     21       midazolam was administered --

     22                   MS. LOWE:     Objection.

     23                   THE COURT:     Hold on a second, please.

     24                   MS. LOWE:     Objection to her testifying as to when

     25       the drugs were administered.         She doesn't have firsthand


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      1       knowledge or personal knowledge of that time.

      2                    THE COURT:     Well, she may or may not.

      3             How do you mark -- how do you come by your ability to

      4       testify as to when the drugs began to be administered?

      5                    THE WITNESS:     Well, there was a signal from the

      6       team warden to begin first of all.           But, secondly, because

      7       midazolam -- I knew midazolam to have a sedative effect,

      8       which, of course, was the purpose of it, I could see

      9       Mr. Howell's body change.        And so I was just making the

     10       assumption that the first drug had begun to flow.

     11             And his --

     12                    MS. LOWE:    The same objection, Your Honor.

     13                    THE COURT:     Hang on, Ms. Rudenstine.

     14             Objection overruled.       Inference not observation, but

     15       appropriate inference from the facts observed.

     16             Go ahead, ma'am.

     17                    THE WITNESS:     Thank you, Judge.       As that happens,

     18       Mr. Howell gradually appeared to become sedated by closing

     19       his eyes, and his left arm and shoulder were visibly moving,

     20       twitching.     I could see his arm slightly more than his

     21       shoulder, but you could tell that it was sort of going all

     22       the way up.     And that continued for approximately 15 to 30

     23       seconds.     I couldn't tell exactly when the twitching

     24       stopped, but it was approximately that long.

     25             And then at 6:23 p.m., he opened his eyes slightly,


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      1       both eyes, for a full minute, and then closed them.

      2             At 6:26 p.m., I saw him open them again, and then they

      3       remained open until the end of the proceeding which was

      4       concluded when the doctor came out and declared Mr. Howell

      5       dead at 6:32 p.m.

      6       BY MR. BOHNERT:

      7       Q.    And you just referenced some specific times there in

      8       your testimony.      What is the basis for your testimony about

      9       those specific times?       How do you know that those times are

     10       where you -- when you saw those particular movements?

     11       A.    I was looking at the clock on the wall, and I had my

     12       own watch but I primarily used the clock because it was

     13       rather big and obviously easier to look at that and

     14       Mr. Howell at the same time.

     15             I then, afterwards -- I didn't have paper and pen with

     16       me in the room because it wasn't permitted, but after the

     17       execution, in my car, I jotted down the time so that I would

     18       remember them if I ever needed to.

     19             And I previously made reference to these notes when I

     20       drew up my affidavit or my declaration in this case and

     21       refreshed my recollection.

     22       Q.    Okay.    Now, if -- was there a -- any point where there

     23       was an assessment of some sort by anybody on the execution

     24       team of Mr. Howell after the first drugs -- you believe the

     25       first drugs were injected?


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      1       A.    Yes.   There is a consciousness check that's required,

      2       and it consisted in this case -- the protocol doesn't say

      3       specifically what's required, but I know from testimony in a

      4       lethal injection hearing that we had that --

      5                    MS. LOWE:    Objection.

      6                    THE COURT:    Hold on.     Go ahead, Ms. Lowe.

      7                    MS. LOWE:    She said she knows from testimony in

      8       the lethal injection hearing meaning that this is hearsay.

      9                    THE COURT:    Sustained.

     10       BY MR. BOHNERT:

     11       Q.    Did you see anybody from the team perform anything that

     12       you understood to be a, quote-unquote, consciousness check?

     13       A.    Yes.   Well, the only thing I actually saw was that

     14       Mr. Howell's eyelids were pressed.           I believe a pinch to the

     15       shoulder was also conducted, a trapezius squeeze, although I

     16       couldn't see it because of my angle, but it was clear that

     17       someone was doing something over that -- over Mr. Howell in

     18       that area.

     19       Q.    And the movements that you saw, the opening of the eyes

     20       at 6:23 and then the closing and then the opening of the

     21       eyes again at 6:26, did those occur before or after the,

     22       quote-unquote, consciousness check?

     23       A.    Those were after.

     24       Q.    If you could turn back to the execution logs, Hearing

     25       exhibits page 99, please.


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      1       A.    Okay.

      2       Q.    If we look there at the entry about two-thirds of the

      3       way down the page.

      4                     MS. LOWE:    Objection.

      5                     THE COURT:    Grounds?

      6                     MS. LOWE:    Your Honor, I believe earlier you

      7       stated that these are not being offered for their content.

      8       It appears that they are now being offered for their

      9       content.

     10                     THE COURT:    Well, this one's a little different

     11       because she observed.       But in addition, she identified this

     12       as a government record.        So it's admissible under 803(e).

     13       BY MR. BOHNERT:

     14       Q.    Thank you, Your Honor.        Do you see the line where it

     15       says "Warden authorized.        Execution phase one initiated"?

     16       A.    Yes, I do.

     17       Q.    And based on your understanding of the Florida

     18       protocol, what does that mean?

     19       A.    That the first drug will be administered.

     20       Q.    And then there is a time written directly to the left

     21       of that, and then another time directly below that.               Do you

     22       see that?

     23       A.    I do.

     24       Q.    Okay.     And then there is another time yet still under

     25       that, next to a box that says "execution phase one


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      1       complete."      Do you see that?

      2       A.    I do.

      3       Q.    Can you tell us what your understanding of those time

      4       entries means?

      5       A.    Yes.     The first entry would be the first syringe of

      6       midazolam at 6:18.       The second one would be for the second

      7       syringe of midazolam, and then the "6:22, execution phase

      8       one complete" would be when all of the midazolam has been

      9       administered.

     10       Q.    Okay.     And then there is another entry below that, it's

     11       also marked at 6:22.       Do you see that?

     12       A.    I do.

     13       Q.    Actually there is two of them.          What's the one there

     14       that is in bold?      Do you see that?

     15       A.    My copy is unclear, but I think -- I think it's checked

     16       for a consciousness by warden.          I am not sure, that looks

     17       bolded to me.

     18       Q.    Let me clarify, there are three entries that appear to

     19       be 6:22.      Do you see that?

     20       A.    Yes.

     21       Q.    And you already talked about the first one, "execution

     22       stage complete," which is the end of the midazolam -- all

     23       the midazolam is on board there and that's the point at

     24       which -- and you have the second line there which is what?

     25       A.    A consciousness check.


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      1       Q.      Okay.    And then do you see the box below that?

      2       A.      Yes.

      3       Q.      And can you explain what that next box and the three

      4       times related to that box mean?

      5       A.      Yes.     Then you would have the pancuronium bromide

      6       administered in phase two, and, again, there's going to be

      7       two syringes of that, so you have two different times for

      8       that, the 6:22 and the 6:24.         And then when phase two is

      9       complete, you have 6:26.

     10       Q.      And below that, if you could continue with that and

     11       just explain what the following three lines' entries mean?

     12       A.      Yes.     Execution -- execution phase three was the

     13       administration of the potassium chloride.             Again, in two

     14       different syringes with two different times and then a time

     15       for a completion.

     16       Q.      So just to make sure, we are reiterating for the

     17       record, the first injection of midazolam is done at 6:18; is

     18       that correct?

     19       A.      That's correct.

     20       Q.      And then the second syringe of midazolam was pushed at

     21       6:20?

     22       A.      Right.

     23       Q.      And so all of phase one is on board at 6:22; is that

     24       right?

     25       A.      That's correct.


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      1       Q.    And then they do the consciousness check at 6:22 as

      2       well, right?

      3       A.    Correct.

      4       Q.    And then starting also at 6:22, so literally within the

      5       same minute that the midazolam has been finished being put

      6       on board, they start the injection of the paralytic; is that

      7       right?

      8       A.    That's right.

      9       Q.    And then at 6 -- two minutes later, at 6:24, is the

     10       second syringe of the paralytic; is that right?

     11                    MS. LOWE:    Objection.     Leading.

     12                    THE WITNESS:     That's right.

     13                    THE COURT:     Overruled.

     14       BY MR. BOHNERT:

     15       Q.    And then we have got two further injections of

     16       potassium at 6:26 and 6:28; is that right?

     17       A.    That's correct.

     18       Q.    Do the times that are on this log here match up with

     19       the times that you recall -- well, let me ask you this:                The

     20       time that you recalled seeing Mr. Howell's eyes open the

     21       first time, after the consciousness check, does that time

     22       coincide with any of the data here as far as when anything

     23       was injected?

     24       A.    Yes.   It would have been while the paralytic was being

     25       injected.    So at 6:23, shortly after the first syringe or in


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      1       the process of the first syringe being injected.

      2       Q.    The first syringe of the paralytic?

      3       A.    Correct.

      4       Q.    And what about for the second time that you recalled

      5       seeing Mr. Howell's eyes open at 6:26.

      6       A.    At 6:26, so looking at this, it would have been in the

      7       first minute of the administration of the potassium

      8       chloride.     So at the same time or within the first minute of

      9       that administration.

     10       Q.    Okay.

     11                     MR. BOHNERT:     Give me one moment, Your Honor.

     12                     THE COURT:     Of course, sir.

     13       BY MR. BOHNERT:

     14       Q.    Ms. Rudenstine, are you aware of whether Florida has

     15       changed its execution protocol?

     16                     MS. LOWE:    Objection.     Relevance.

     17                     THE COURT:     Grounds?

     18                     MS. LOWE:    Relevance, Your Honor.       I don't see how

     19       any changes to Florida's protocol are relevant to

     20       Ms. Rudenstine's testimony about witnessing the execution of

     21       Mr. Howell.

     22                     THE COURT:     Overruled.

     23                     THE WITNESS:     Yes, I am.

     24       BY MR. BOHNERT:

     25       Q.    Let me finish the question just for the record.              Do you


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      1       know whether Florida's execution protocol has changed from

      2       the one that was used to execute Mr. Howell using a

      3       three-drug method with midazolam as the first of the three

      4       drugs?

      5       A.    Yes, I am aware that a new protocol was issued just

      6       today.

      7       Q.    Okay.

      8                     THE COURT:     Today or yesterday?

      9                     THE WITNESS:     Maybe it was yesterday.       I received

     10       it today.     Let me check the date, Your Honor.

     11             Yes, it's yesterday, the 4th of January.

     12       BY MR. BOHNERT:

     13       Q.    And do you have in front of you a document, a letter

     14       and other document -- well, the front page is a letter dated

     15       January 4th, 2017, to the Honorable Rick Scott from a Julie

     16       L. Jones, secretary?

     17       A.    Yes, I do.

     18       Q.    And do you recognize that particular document?

     19       A.    I do only as having obtained it from the Department of

     20       Corrections' website as the new -- a letter indicating the

     21       new lethal injection procedures released by the department.

     22                     THE COURT:     Hang on just a second, ma'am.

     23             Ms. Lowe, an objection?

     24                     MS. LOWE:    Yes.   The same objection, Your Honor.

     25                     THE COURT:     All right.   Mr. Bohnert, what have we


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      1       labeled this in terms of number?

      2                   MR. BOHNERT:      I don't know that we have.         Now I

      3       will say that to try to address their, the State's

      4       objections, we are in the process of trying to get a copy of

      5       this with the URL attached to it that has the website for

      6       the Department of Corrections if Your Honor thinks it's

      7       necessary to show that this is a government document.

      8                   THE COURT:     Sorry, ma'am.

      9                   MS. LOWE:     I am sorry.     I didn't want to interrupt

     10       Mr. Bohnert if he was still speaking.           My objection was to

     11       the relevance of any changes to Florida's protocol to this

     12       current litigation.

     13                   THE COURT:     Thank you.     The relevance objection

     14       will be taken under advisement.

     15                   MS. LOWE:     Thank you.

     16                   THE COURT:     And I am going to ask, ma'am, whether

     17       you have any objection to the authenticity of this document?

     18                   MS. LOWE:     I do, Your Honor, because it's not -- I

     19       don't believe it is qualified under the exception for public

     20       records.    I don't think it bears a seal and signature, at

     21       least not the copy that I have seen.           It has a signature,

     22       but it doesn't appear to contain a seal from the Florida

     23       Department of Corrections making it fall into the business

     24       records exception.       And it doesn't -- I don't see that it's

     25       been provided.


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      1                   MR. BOHNERT:      It's the same basis under Rule

      2       803(8), Your Honor, as we have done with the others.

      3                   MR. SWEENEY:      Your Honor, if I may, please?          Can I

      4       address this briefly just to explain?

      5                   THE COURT:     If I need it.

      6                   MR. SWEENEY:      I wasn't going to address the legal

      7       issue but was just going to direct you to the website where

      8       you can actually pull it up and look at it.

      9                   THE COURT:     Read that out, would you, please?

     10       Someone who's got their computer set to the Internet will

     11       get that for me.

     12                   MR. BOHNERT:      Okay.    Thank you, Your Honor.

     13             www.dc.state.fl.us\oth\deathrow\

     14       electrocution-procedures-as-of_01-04-17.pdf.

     15                   MS. LOWE:     Could you repeat the -- I am sorry --

     16       the last part of that beginning with "01"?

     17                   MR. BOHNERT:      01-04-17.pdf.

     18                   MS. LOWE:     Thank you.

     19                   THE COURT:     I don't see anything in 803(8) that

     20       requires a seal.

     21                   MR. SWEENEY:      Your Honor, just for the record,

     22       earlier this afternoon, at 3 o'clock, we emailed this

     23       information to Tom and Joslyn.          I just don't think they have

     24       seen the emails yet, but the emails do link directly to

     25       these DRC or Florida DC websites.


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      1                   MS. LOWE:     We'll withdraw our authenticity

      2       objection, but we would like to preserve the objection to

      3       relevance at this time.

      4                   THE COURT:     Of course.

      5                   MS. LOWE:     Thank you, Your Honor.

      6                   MR. BOHNERT:      What's the problem, Kelly?

      7                   THE COURTROOM DEPUTY:        The document's last page is

      8       14 and not 13.

      9                   THE WITNESS:      I am sorry, Judge, was there a

     10       question on the table?        I am having trouble hearing.

     11                   THE COURT:     No, ma'am, there is no question on the

     12       table.    We are just talking about the document that we've

     13       been talking about.       As my courtroom deputy has pulled it up

     14       on the web, it has a total of 15 pages, with Ms. Jones'

     15       signatures being on pages 1 and 14, 1 on the letter, 14 on

     16       the protocol.     Whereas the document that was presented here

     17       in court has a total of 14 pages, with her signatures on

     18       page 1 and page 13.       So we don't know --

     19                   THE WITNESS:      Yes, Your Honor.

     20                   THE COURT:     -- for sure what we've got.

     21                   THE WITNESS:      I have an alternative web location

     22       for what I believe was presented, that 14-page document, if

     23       you would like that.

     24                   THE COURT:     Thank you.

     25                   THE WITNESS:      Okay.    It's www.dc.state.fl.us/oth/


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      1       deathrow/lethal-injection-procedures-as-of_01-04-17.pdf.

      2                   THE COURT:     So my law clerk suggests that what's

      3       been omitted from the longer document in the shorter

      4       document is "Procedures For Electrocution."

      5                   THE WITNESS:      Well, let me see what I have here.

      6       I have -- let's see.       On page 9 I have "Administration of

      7       Execution."     Because I don't have the longer document in

      8       front of me, I don't know what would be missing.

      9                   THE COURT:     Understood.      So we are able to find

     10       the longer document, right?

     11                   MR. BOHNERT:      It looks like the longer one is just

     12       electrocution.      It has to be that there is another one for

     13       lethal injection.       I am sorry.     We will find that.

     14                   THE COURT:     So, Ms. Lowe, you will be permitted to

     15       reinstate your objection.

     16                   MS. LOWE:     Thank you, Your Honor.

     17                   THE COURT:     It was electrocution that you read

     18       out, Mr. Bohnert.

     19                   MS. LOWE:     It seems to point to the problem with

     20       not having someone from the Florida Department of

     21       Corrections to testify.

     22                   MR. BOHNERT:      We e-mailed them the correct one.

     23                   MR. MADDEN:     I'll email it back.

     24                   MR. SWEENEY:      Why don't we email it to Judge Merz.

     25       Why don't we do that.


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      1                    THE COURT:     Kelly can print it.       She will do that

      2       right now.     Four copies.

      3                    MR. SWEENEY:     The email link is -- we are going to

      4       email it to you, Your Honor.

      5                    THE COURTROOM DEPUTY:       I am printing it.

      6                    MR. SWEENEY:     The link had been e-mailed to the

      7       defendants.     It was the correct link and there were two

      8       different links that you had to click on, one for

      9       electrocution, the other for lethal injection, and I think

     10       what we did, we read you the wrong link.

     11                    MR. MADDEN:     I am turning my phone back on to

     12       check my emails.

     13                    MR. SWEENEY:     The printed copy that we gave them,

     14       though, is the correct copy.

     15                    THE COURT:     We need to confirm that.

     16                    MR. SWEENEY:     And we will, of course.

     17                    THE COURT:     While we are waiting, I will share

     18       some of my email.        The President of the United States has

     19       published an article in the Harvard Law Review, which is a

     20       presidential first.

     21                    MS. LOWE:     I assume you mean the current

     22       president, Your Honor?

     23                    THE COURT:     The current.     There are only two

     24       presidents of the United States who have attended the

     25       Harvard Law School.        Who's the other one?


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      1                   MR. BOHNERT:      Was Kennedy?

      2                   MR. MADDEN:     Adams, the younger Adams?

      3                   THE COURT:     No.

      4                   MS. LOWE:     Kennedy went to UVA.

      5                   MR. SWEENEY:      Kennedy is not a lawyer.

      6                   THE COURT:     One of those real greats.         Aside from

      7       James Buchanan, Rutherford B. Hayes.           His portrait is not in

      8       a very prominent place of display.

      9                   MR. MADDEN:     The director has a bit of information

     10       about President Hayes.

     11                   MR. MOHR:     Your Honor, Rutherford B. Hayes was the

     12       first President of the American Correctional Association

     13       founded in 1870 in Cincinnati, and I have the great honor of

     14       being president elect of that.

     15                   THE COURT:     Good.    Off the record.

     16             (Discussion of the record.)

     17                   MR. BOHNERT:      Your Honor, this is the -- I have

     18       just been handed the policy for electrocution.              What we are

     19       talking about is the policy for lethal injection.                 I read

     20       you the address for the electrocution policy.              If you go to

     21       the --

     22                   THE COURTROOM DEPUTY:        I printed out the one of --

     23       what you gave me.

     24                   MR. BOHNERT:      That's what I am saying.        I

     25       misspoke.    The information I was given leads you directly to


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      1       the electrocution policy.

      2             If you can go to the --

      3                     MR. SWEENEY:     www.dc.

      4                     THE COURT:     So we can now confirm, and the Court's

      5       prepared to take judicial notice of the fact, that two

      6       different execution policies were adopted by the State of

      7       Florida yesterday.         One of them relates to electrocution,

      8       and Ms. Lowe's implicit relevance objection to that is

      9       sustained.     The other one, which has only a total of 14

     10       pages, with Ms. Jones' signature on page 1 and page 13.

     11             Ms. Rudenstine, I think that's the document you are

     12       referring to.      Is that right?

     13                     THE WITNESS:     Yes, Your Honor.

     14                     THE COURT:     All right.     Back to you, Mr. Bohnert.

     15                     MR. BOHNERT:     Thank you, Your Honor.

     16       BY MR. BOHNERT:

     17       Q.    Now, Ms. Rudenstine, do you know, have you had a chance

     18       to review this new lethal injection protocol for Florida?

     19       A.    I have reviewed parts of it.

     20       Q.    Okay.    And do you know whether it makes any changes --

     21       well, let me ask you this way.            Does it continue to use a

     22       three-drug protocol with a paralytic and potassium as the

     23       second and third drugs?

     24       A.    Yes.    Slightly different third drug, potassium acetate,

     25       but, yes, the same three-drug protocol, at least in form if


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      1       not in exact type.

      2       Q.      And does this protocol remove -- well, let me ask you

      3       this:     What change -- does midazolam continue to appear in

      4       this particular new Florida execution protocol?

      5       A.      No, midazolam appears to have been taken out and

      6       replaced with a drug called etomidate.

      7       Q.      I just need to have her identify also -- have her

      8       identify page 800 of the exhibits --

      9                      MR. BOHNERT:     Your Honor, is this protocol -- I

     10       don't know that we have marked it, the new protocol.               Can we

     11       mark it 81, please.         And I assume we are not going to mark

     12       as an exhibit the electrocution protocol.

     13                      THE COURT:     No.   I declared that to be irrelevant.

     14       BY MR. BOHNERT:

     15       Q.      Now, just very quickly to make sure that we have

     16       covered with page 800 of the exhibits binder,

     17       Ms. Rudenstine.

     18       A.      Yes.

     19       Q.      Is that -- what is that document that is distinguished

     20       from the earlier document at page 799?

     21       A.      That appears to be the log of the second FDLE monitor

     22       for Mr. Howell's execution.

     23       Q.      And are the times that are listed there for the

     24       different activities that we saw from the first person's log

     25       in Mr. Howell's execution consistent?


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      1       A.    They are with one exception.          At 6:21 it looks like the

      2       second monitor declared execution phase one complete,

      3       whereas it was 6:22 in the first log.           And then the flat

      4       line at the end is off by a minute, 6:30 in the second log

      5       and 6:31 in the first.

      6             But as to the time that I indicated Mr. Howell opened

      7       his eyes, they would have been consistent, the first time

      8       being during the beginning of the initiation of execution

      9       phase two and the second time being during the

     10       administration of the third drug.

     11       Q.    Okay.     And those are also consistent with the start of

     12       the injection of the first drug, the midazolam, under phase

     13       one; is that correct?

     14       A.    That's correct.

     15                     MR. BOHNERT:     No further questions, Your Honor.

     16                     THE COURT:     Cross.

     17                     MS. LOWE:    Thank you, Your Honor.

     18                     THE COURT:     The cross-examination, Ms. Rudenstine,

     19       is being conducted by Ms. Joslyn Lowe who is an Assistant

     20       Attorney General of the -- Associate Attorney General of the

     21       State of Ohio.

     22                     THE WITNESS:     Thank you, Your Honor.

     23                                  CROSS-EXAMINATION

     24       BY MS. LOWE:

     25       Q.    Good evening, Ms. Rudenstine.


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      1       A.    Good evening.

      2       Q.    Thank you for the time to appear at least by telephone

      3       with us today.

      4       A.    No problem at all.

      5       Q.    You stated earlier that you were basing your

      6       conclusions about when the first drug was administered on

      7       your observations.       You didn't personally witness that drug

      8       being administered, correct?

      9       A.    Correct.

     10       Q.    And your view of what you believe was the second part

     11       of the consciousness check was obstructed, correct?

     12       A.    That's right.

     13       Q.    So you didn't witness what consciousness check was

     14       actually performed, correct?

     15       A.    That's right.

     16       Q.    Or what the results of that consciousness check were,

     17       correct?

     18       A.    Well, I don't know -- I didn't see Mr. Howell move if

     19       that's what you are asking, but, no, I guess I wouldn't know

     20       exactly whether that was a result of the consciousness

     21       check.

     22       Q.    But you didn't see movement after what you believe was

     23       the second consciousness check, correct?

     24       A.    Not until Mr. Howell opened his eyes, no.

     25       Q.    And you were an attorney on a suit challenging


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      1       Florida's use of midazolam in a three-drug protocol,

      2       correct?

      3       A.    I was at the time, until we lost that suit.             So I was

      4       observing so that I could intervene if necessary.               But the

      5       lawsuits had already been lost at that point.

      6       Q.    You were representing Mr. Howell in that suit, correct?

      7       A.    Correct.

      8       Q.    Had you met with Mr. Howell pursuant to your

      9       representation of him in that suit?

     10       A.    Yes.

     11       Q.    You met with him -- did you meet with him multiple

     12       times?

     13       A.    Yes.

     14       Q.    Have you witnessed any other executions in Florida?

     15       A.    No, I have not.

     16                    MS. LOWE:    Can I have one moment, Your Honor?

     17                    THE COURT:     Of course.

     18                    MS. LOWE:    Thank you, sir.

     19                    THE COURT:     While Ms. Lowe is checking, let me ask

     20       you, Ms. Rudenstine -- is it Rudensteen or Rudenstine?                I

     21       don't want to mispronounce your name.

     22                    THE WITNESS:     It's Rudenstine, Your Honor.

     23                    THE COURT:     Thank you.    People all call me Mert.

     24             Do you know if there are -- you mentioned having lost

     25       the suit.    Are there any reported opinions?


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      1                   THE WITNESS:      Yes, Your Honor, there are.         This is

      2       a 1983 lawsuit, as well as eight lawsuits, both of which

      3       went up to the appellate courts.           And I don't have those

      4       citations --

      5                   THE COURT:     Citations I don't need.         If you can

      6       give me names, we will be able to find them.

      7                   THE WITNESS:      Well, it would be Howell versus

      8       Secretary of Department of Corrections, and then Howell

      9       versus State.     And you will find a lot of cases that come up

     10       for that because there were several different cases about

     11       litigation, but there is -- one of those cases is a lethal

     12       injection challenge.       I'd be more than happy to forward the

     13       citations to Mr. Bohnert when I have a moment later tonight.

     14                   THE COURT:     If you have got those citations and

     15       you could forward them to Mr. Bohnert, Mr. Madden, and the

     16       Court, we'd be appreciative.

     17             She may not have your email address, Tom.

     18                   MR. MADDEN:     Yes.      I will give it to her.

     19                   THE WITNESS:      Yes, Your Honor.

     20                   MR. BOHNERT:      Allen's got it.

     21                   THE COURT:     Just send it to Mr. Bohnert, and he

     22       will send it to me and Madden.

     23                   THE WITNESS:      Okay.     Sure.

     24                   THE COURT:     That's good.         Just as a matter of

     25       curiosity, does the State of Florida -- the state courts of


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      1       Florida entertain 1983 actions, or do they maintain the

      2       fiction that they don't have jurisdiction?

      3                   THE WITNESS:      They do entertain them, but our 1983

      4       action was brought in the district court, federal district

      5       court.

      6                   THE COURT:     Good.    Okay.

      7             Ms. Lowe, go ahead.

      8                   MS. LOWE:     Thank you, Your Honor.

      9       BY MS. LOWE:

     10       Q.    Ms. Rudenstine, I have one question for you.              Do you

     11       know if the Florida Department of Corrections has midazolam

     12       in their possession at this time?

     13       A.    I do not know.

     14                   MS. LOWE:     Nothing further.       Thank you, Your

     15       Honor.

     16                   THE COURT:     Any redirect, Mr. Bohnert?

     17                   MR. BOHNERT:      No, Your Honor.

     18                   THE COURT:     Ms. Rudenstine, we hope that you are

     19       having more pleasant weather where you are than we are here

     20       with snowfall, and we thank you for your appearance, and you

     21       are excused.

     22                   THE WITNESS:      Thank you, Your Honor.

     23                   THE COURT:     Back to you again, Mr. Bohnert,

     24       Mr. Sweeney.

     25                   MR. SWEENEY:      Your Honor, given the lateness of


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      1       the day, how long were you planning to go today?

      2                   THE COURT:     5 o'clock.

      3                   MR. SWEENEY:      Till 5 o'clock.      There is really no

      4       witness to call at this point.

      5                   THE COURT:     All right.

      6                   MR. SWEENEY:      And it may be the case that we will

      7       be done subject to the witnesses that we have on Monday.

      8                   THE COURT:     Right.

      9                   MR. SWEENEY:      That we have already spoken about.

     10       And there is one issue we wanted to raise.             We think --

     11       maybe I will just do if now if you don't mind.

     12                   THE COURT:     Sure.

     13                   MR. SWEENEY:      Since we have the time.        We

     14       understand, Your Honor, respectfully, the decision you made

     15       with respect to the issue of whether we could call the

     16       reporter concerning the Lockett execution.             That's the

     17       reporter from Oklahoma.

     18                   MR. BOHNERT:      He addressed the guy from Alabama.

     19       We haven't raised the one in Oklahoma.

     20                   MR. SWEENEY:      I'm screwing this up, Your Honor.

     21       There are two additional witnesses we would like to call.

     22       Now, I think you have said with respect to rebuttal you

     23       don't believe we should be permitted to call them as

     24       rebuttal witnesses, and I don't anticipate Your Honor is in

     25       a position to want to reconsider that decision.


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      1             With respect to these two witnesses, though -- and one

      2       of them is a reporter who witnessed the Lockett execution

      3       and the other is a reporter who witnessed an execution in

      4       Alabama -- we think they are important witnesses that this

      5       Court should hear.       Now, whether they are rebuttal or

      6       whether they are in our case in chief really doesn't matter

      7       too much from our perspective.          We would like you to hear

      8       them, though.

      9             And here is our proposal, that you permit us to call

     10       them in our case in chief.         We have plenty of time left in

     11       our case in chief based on our calculation of time.               We

     12       would do it this week by phone.          It would give Tom and his

     13       team plenty of time to know that it's coming.              It's really

     14       not that difficult testimony to get ready for.              It's going

     15       to be nothing more than:        I saw this.     Here's what I saw.

     16       And so that was -- that's our request, that we be permitted

     17       to call those two witnesses in our case in chief and/or in

     18       rebuttal if Your Honor is willing to reconsider his previous

     19       ruling this afternoon on the rebuttal issue.

     20                   THE COURT:     Mr. Madden?

     21                   MR. MADDEN:     Your Honor, we had a witness list.

     22       We saw the witness list.        We saw -- these are all obviously

     23       biased individuals.       And so we made the decision strategic

     24       to what we received that, you know, it's -- you know, we

     25       could ask for a continuance of the hearing and try to find


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      1       folks in Alabama and across the country in reaction to this,

      2       and that would have been extremely difficult.              And, you

      3       know, they knew that they were going to call eyewitnesses to

      4       these executions long before I knew that they were going to.

      5       And, you know, especially the execution in Alabama, you

      6       know.     We made the decision because we looked at that list

      7       and saw that all the witnesses were obviously biased that we

      8       were not going to try to contact witnesses in Alabama that

      9       may or may not be able -- we may or may not be able to

     10       obtain.

     11               And at this late in the day, it really puts us in a

     12       bind.     And we wouldn't be able to try to track down

     13       witnesses to respond to their allegations.             That is really

     14       unfair.

     15                    THE COURT:     Mr. Sweeney, do you need time to

     16       consult?     I don't want to rush you.

     17                    MR. SWEENEY:     No, I don't think so, Your Honor.            I

     18       think with respect to the issue of fairness, that argument

     19       might hold some water if we were calling somebody about an

     20       execution that they hadn't anticipated we would be calling a

     21       witness about.      But these are executions they knew we would

     22       be calling people to testify about.           For example, Mr. Baich

     23       is going to be testifying about the Lockett execution as

     24       well -- or which one is he?         Mr. Sanderford is going to be

     25       testifying about the Lockett execution as well.              So they


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      1       know that there is going to be testimony about those

      2       executions, so there is no real surprise whatsoever here.

      3             This is really -- this is an important hearing.              This

      4       really isn't a significant, prejudicial to them, and we can

      5       call them, Your Honor.        We can do it on Monday if necessary.

      6       We will have plenty of time on Monday to do this if need be.

      7       We have time left on our bank in terms of the time for our

      8       hearing, our side of the hearing.          These witnesses will not

      9       take a lot of time.       They're important.       These are important

     10       issues in terms of our theory of the case.             We would like

     11       you to hear from them.        We think in the interest of justice

     12       our clients ought to be given the opportunity to call these

     13       two additional witnesses.

     14             And just so the record's clear, it's these two

     15       reporters plus we have these two other, and I guess there is

     16       three other people that are on our witness list that still

     17       need to be called:       Dale Baich, Mr. Sanderford, and then a

     18       Terri Deep -- what's her last name?           Alang.

     19                   THE COURT:     Formerly known as Deep, I guess.

     20                   MR. SWEENEY:      Correct, formerly known as Deep.

     21                   MR. MADDEN:     Your Honor, this is two additional

     22       witnesses already on top, moving this hearing into Monday.

     23       We don't have time to get rebuttal witnesses because, you

     24       know, they knew or should have known that if they were going

     25       to call the attorneys to these executions, that they might


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      1       want to get what might be reasonably -- be a reasonable

      2       observer.     They did not do that.       We cannot get witnesses at

      3       this short notice, and, you know, they've already gotten all

      4       of these depositions' testimony that I didn't anticipate to

      5       be put into this.      They have already gotten an advantage on

      6       how much time they got.        They got more time than we do in

      7       presenting their case in chief and now they want to add

      8       more.    And I strenuously object to this.

      9                    THE COURT:     I am going to allow either

     10       Ms. Barnhart or Ms. Lowe to be heard independently of

     11       Mr. Madden and Mr. Sweeney.

     12                    MR. SWEENEY:     That is the best idea I've heard

     13       today.

     14                    THE COURT:     Ms. Barnhart, do you have anything to

     15       add?

     16                    MS. BARNHART:     I have two points to add, Your

     17       Honor.    As you know, this litigation has taken place on an

     18       expedited schedule.       To deal with getting journalists

     19       requires a lot of procedural hoops, dealing with objections

     20       from their employer, dealing with subpoenas, and that type

     21       of things.

     22               I can't speak for everyone.       I don't consider the

     23       witnesses that we have been calling to be biased.               I believe

     24       the things that they are testifying about are observable,

     25       not really in dispute.        If we want to talk about the McGuire


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      1       execution, the defendants' own witnesses we've called about

      2       things that happened there and that confirms things that our

      3       witnesses to the McGuire execution have said concerning the

      4       Joseph Wood execution.        I'm not sure how the defendants

      5       could dispute that it took over two hours.             There is a court

      6       hearing, a telephonic emergency hearing that took place

      7       during the execution that confirms this information.

      8             Speaking for myself, I was surprised at the allegations

      9       of bias at this hearing, at the extent of them.              Personally,

     10       as an officer of the court, as an attorney, I think all of

     11       us feel that we would not -- just would not manipulate or

     12       create facts that are not true in speaking to the Court.

     13             Because the defendants have pressed this point so

     14       strongly, because Your Honor also raised it with our

     15       witness, it was my idea to say in rebuttal let's show that

     16       these accounts are consistent; the accounts of the witnesses

     17       that we have offered are consistent with other objective

     18       witnesses that have been reported in the newspapers.               I

     19       mean, everyone we are calling, journalists, have published

     20       articles about what they saw.         This is in the public record.

     21       The defendants are well aware of that information.

     22             So, you know, I believe the defendants raised these

     23       allegations of bias in their findings of fact which were

     24       filed, I can't even remember when, but less than a week ago,

     25       I think.


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      1                   THE COURT:     Right.    December the 31st at noon was

      2       the deadline.

      3                   MS. BARNHART:      Thank you.     Which was pushed back

      4       many times I know.       So, right, on New Year's Eve.          We are on

      5       January 5th right now.        And we had designated our expert --

      6       or we had designated our witnesses well before that.               And so

      7       I don't believe that there is any surprise or unfairness or

      8       prejudice to the defendants.         And if there is, the Court can

      9       accommodate that in other ways.          As we mentioned, we could

     10       wait until Monday if they wanted to have a chance over the

     11       weekend to investigate these witnesses or if they want to

     12       find their own witnesses.        We can reconvene telephonically

     13       to continue the hearing just if they want to present a

     14       witness or two in a week or something like that.

     15             But as Mr. Sweeney articulated, because this issue

     16       seems to be of paramount importance in their theory of the

     17       case and to the Court, we don't want to risk having the

     18       valid observations that we presented to this Court and upon

     19       which our expert, Dr. Bergese, relied being undermined by

     20       something that I think is fixable and workable without

     21       prejudice to the parties.

     22                   THE COURT:     Thank you.

     23             Ms. Lowe.

     24                   MS. LOWE:     Thank you, Your Honor.        First of all, I

     25       note that the witness lists in this case were filed, I


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      1       believe, three weeks ago.        They did include witnesses from

      2       their side who are, as we noted in opening statement and

      3       have elicited during examination, are attorneys for these

      4       individuals.     So it's certainly not or shouldn't be

      5       surprising that we would note that inherent bias in

      6       cross-examining them.

      7             And they could have called for additional witnesses.

      8       As she said, they have published reports that they were

      9       witnesses to this execution.         It is not surprising that they

     10       are out there, but that means that it is not surprising to

     11       them that there may have been additional people who could

     12       have been put on their witness list to testify about these

     13       executions.

     14             At this late point in the game, it would be unfair to

     15       add additional days, particularly to call witnesses on

     16       Monday after the defendants have completed their case in

     17       chief, when -- to continue their case in chief after we have

     18       completed our case in chief is certainly an unusual

     19       procedure.     You know, we have noted it for the two witnesses

     20       who they were unable to gain -- unable to appear by

     21       telephone during this procedure, but to add additional

     22       witnesses after the defendants have closed their case would

     23       be prejudicial.

     24             And I'd also note as to calling them in rebuttal, the

     25       defendants haven't called any lay witnesses, although we


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      1       have not yet put on our case, and there is no lay witnesses

      2       disclosed on our witness list.          We have called

      3       Dr. Antognini.      Obviously we anticipate calling

      4       Dr. Buffington tomorrow.        The rest of our witnesses are DRC

      5       witness, so there is no allegations to rebut.

      6             The fact that we cross-examined their witnesses to

      7       elicit inherit bias in their testimony does not mean that

      8       you then need to put on more and more people who have their

      9       own inherent bias to try and rebut those allegations,

     10       although reporters may be perhaps less biased than

     11       attorneys, or more biased for attorneys.            I think that's a

     12       debate for maybe someone else to have.            Journalists also

     13       have an inherent bias and perhaps additional motivation in

     14       how they spin their story, and so we object to adding any

     15       more witnesses either in the case in chief or rebuttal.

     16                    THE COURT:    First of all, the proposed additional

     17       witnesses by the plaintiffs are not properly rebuttal

     18       witnesses.     If the plaintiffs had witnesses who were

     19       prepared to say, well, no, the cross-examination, whatever

     20       bias was revealed on cross-examination isn't true because --

     21       because this witness, who was cross-examined about that

     22       bias, has always been -- you know, has a reputation for

     23       truthfulness.     I don't know.      Something like that.        That

     24       would be true rebuttal on the points of the witnesses'

     25       examination about -- cross-examination about bias.


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      1               Secondly, Ms. Barnhart, I believe there is case law --

      2       I can't cite it off the top of my head -- to the effect that

      3       bias or examination for bias is expectable with respect to

      4       any witness.     It's not somehow -- it shouldn't be surprising

      5       that the defendants would have questions on -- what the

      6       weight of the answers is, is another question.              But it

      7       shouldn't be surprising to plaintiffs that in a trial the

      8       other side is going to look for bias.           I mean, I am reminded

      9       of Ms. Wood's examination of Dr. Antognini, about whether he

     10       is ethical or not.       That's the kind of thing that's good

     11       cross.     It's to be expected.

     12               So these are not true rebuttal witnesses.           There is

     13       nothing inappropriate in examining any witness for possible

     14       bias.     What we're talking about here is adding new witnesses

     15       on the plaintiffs' side to corroborate either persons who

     16       have already testified about their observations of

     17       particular executions or to offer new corroborative

     18       testimony -- or not -- I don't want to call it

     19       corroborative.      I don't want to call it cumulative -- but

     20       new testimony, lay eyewitness testimony about other

     21       executions.     And I'm not exactly certain which category

     22       these two proposed witnesses fall into, but it doesn't

     23       matter.

     24               These are people who, per Ms. Barnhart's

     25       representation, have published accounts.            Their names have


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      1       been known for some time by the general public.              They are

      2       not disclosed in the witness disclosure list.              The purpose

      3       of having folks file witness disclosure lists is so that the

      4       Court and the other side will know who it is that is

      5       intended to be called.

      6             Now, when I go down the list -- this is ECF number

      7       822 -- of the folks who were listed as witnesses, at a time

      8       when the time allocation was based upon our dealing with

      9       both the sealed claims that have now been dismissed and the

     10       claims on which I heard testimony -- there are 29 names

     11       listed.    Of those 29 people, Director Mohr has not been

     12       called, Mr. Gray has not been called, Mr. Voorhies was

     13       called, Mr. Erdos has not been called, Warden Morgan hasn't

     14       been called, Mr. Theodore hasn't been called, Ms. Jenkins

     15       hasn't been called.       The records custodian from ODRC has not

     16       been called.     Of the five execution team members listed,

     17       only -- only two have been called.           Mr. Hahn has been

     18       called.    Ms. Rudenstine has been called.          Mr. Johnson has

     19       been called.     We have yet scheduled Mr. Baich and

     20       Mr. Sanderford.      But the other eyewitness -- and Ms. Deep.

     21       But the other eyewitnesses to the McGuire execution have not

     22       been called.

     23             So the purpose, at least in this court as I have

     24       learned it from the district judges for whom I work, the

     25       purpose of witness disclosure is to disclose, not to hide


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      1       the ball.    The names of these witnesses were available to

      2       the plaintiffs well before the -- well before the witness

      3       list was required to be filed, and I find that it would be

      4       unfair to the defendants to now add these folks, who they

      5       have not had notice of and who are not surprises to the

      6       plaintiffs, to add them to the witness list.             Therefore, the

      7       motion to add those two folks to the witness list is denied.

      8             And it's 5 o'clock, and we are in recess.

      9                   MS. BARNHART:        Your Honor.

     10                   THE COURT:     Oh, I am sorry, Kelly.        I shouldn't

     11       have done that.

     12             Ms. Barnhart first.

     13                   MS. BARNHART:        Your Honor, just to clarify the

     14       record, in regards to listing those witnesses you said who

     15       haven't been called, we are intending to submit under your

     16       ruling under Rule 32 the designations of their depositions.

     17                   THE COURT:     Ah.     And Ms. Wood?

     18                   MS. WOOD:     I had two questions regarding the

     19       exhibits that I used for the slides.           My question one is I

     20       used one slide from -- regarding BIS monitoring.              The manual

     21       is 132 pages long.       Would you like the full thing or just --

     22                   THE COURT:     No.     Just the pages that you used.

     23       And if there is -- if there is a scope note at the beginning

     24       that says, you know, this manual should never be used in

     25       court or things like that.


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      1                   MS. WOOD:     I will check.

      2                   THE COURT:     I want to see the scope note.

      3       Anything else?

      4                   MS. WOOD:     Do you want the whole thing merged as

      5       one document?

      6                   THE COURT:     No, no, no.      I want them separately,

      7       separately.

      8                   MS. WOOD:     The slides as well?

      9                   THE COURT:     Say again?

     10                   MS. WOOD:     The slides as well?

     11                   THE COURT:     Just print the slides out, yes.

     12             We are in recess.

     13                   MR. SWEENEY:      Your Honor, we had two more things.

     14       If you don't mind.       I know the hour is late.

     15                   THE COURT:     We needed the same cup of coffee.

     16                   MR. SWEENEY:      With respect to the addition of the

     17       depositions, we are going to do that.           We will have those.

     18       I would just like to get a sense of how you would like that

     19       to be handled.      Here is what we were going to do.           We intend

     20       to get the depositions we intend to introduce under Rule 32,

     21       which will include Director Mohr, Mr. Theodore, Mr. Gray,

     22       Mr. Voorhies, Mr. Morgan, Team Member 17, and Mr. Erdos, and

     23       we will have those highlighted.          We will do that

     24       electronically.

     25                   THE COURT:     How do you mean, highlighted?


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      1                   MR. SWEENEY:      Highlighted in yellow, the

      2       designations.

      3                   THE COURT:     The designations, very well.

      4                   MR. SWEENEY:      Highlighted.     We will have those

      5       electronically.      We can email those to you and provide those

      6       tomorrow to the other parties, or we can provide it in hard

      7       copy, or both.      And we wanted to make sure we did it the way

      8       you would find it most useful to you.

      9                   THE COURT:     Highlighted electronic on a flash

     10       drive so we can mark the flash drive as a cumulative

     11       exhibit.    It seems that would be the easiest, most compact

     12       way to deal with it.

     13             And I can see, Ms. Lowe, that you are not ready to give

     14       up for the day either.        Go ahead.

     15                   MS. LOWE:     Well, actually two things.         One, we

     16       would like to move under Rule 32, subsection 6, to admit the

     17       entirety of those depositions rather than parts.              I think it

     18       states that if any party only -- I am sorry.             Will it be the

     19       entirety of the deposition?         Oh, I am sorry, it sounded like

     20       it was just going to be portions.

     21                   MR. SWEENEY:      What we were going to do is

     22       highlight the parts we wanted to be designated, but it would

     23       be the entire deposition.

     24                   MR. MADDEN:     You want highlights from just the

     25       other side and not --


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      1                    THE COURT:    No, I didn't say that.        So if you want

      2       to counter-designate, you are entitled to do that, and the

      3       best way to do that -- any of you ever practice before

      4       Herman Weber?     Judge Weber had a rule about like four

      5       different colors that you were supposed to use.              So give

      6       us -- give us the flash drive as you are giving it to

      7       Mr. Madden or Ms. Lowe.        They will make the counter-

      8       designations on the same --

      9                    MS. LOWE:    We didn't file --

     10                    THE COURT:    I understand.

     11                    MS. LOWE:    That's fine.      I will work it out with

     12       Lisa.

     13                    THE COURT:    Right.

     14                    MS. LOWE:    And we will make sure someone --

     15                    THE COURT:    One flash drive.       I think that will be

     16       most convenient for the Court and ultimately for the law

     17       clerks in the Court of Appeals.

     18                    MS. LOWE:    Can we get a time allocation?

     19                    THE COURT:    Yes, a time allocation for today is

     20       plaintiffs used 189 minutes and the defendants used 146.

     21               And now we are in recess.

     22                    THE COURTROOM DEPUTY:       All rise.     This court

     23       stands in recess.

     24               (Proceedings concluded at 5:02 p.m.)

     25



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      1                              CERTIFICATE OF REPORTER

      2

      3                   I, Mary A. Schweinhagen, Federal Official Realtime

      4       Court Reporter, in and for the United States District Court

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     14       __________________________________          January 12, 2017

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Georgetown Law Journal
June, 2014

Article
Deborah W. Denno a1

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LETHALINJECTIONCHAOSPOST-BAZE
In 2008, with Baze v. Rees, the Supreme Court broke decades of silence regarding state execution methods to declare
Kentucky's lethalinjection protocol constitutional, yet the opinion itself did not offer much guidance. In the six years after
Baze, legal challenges to lethalinjection soared as states scrambled to quell litigation by modifying their lethalinjection
protocols. My unprecedented study of over 300 cases citing Baze reveals that such modifications have occurred with alarming
frequency. Moreover, even as states purportedly rely on the Baze opinion, they have changed their lethalinjection protocols
in inconsistent ways that bear little resemblance to the original protocol evaluated in Baze and even differ from one execution
to the next within the same state. States' continuous tinkering often affects already-troubled aspects of their lethalinjection
procedures. The compendium of these deficiencies has led to some of the most glaring failures in lethalinjection history.

An even more disturbing revelation relates to the lethalinjection drugs used in these rapidly changing protocols. Recent
drug shortages threaten many states' abilities to carry out executions, and this Article presents evidence of the unfettered
substitutions states have made in their desperate attempts to adhere to their execution schedules. These attempts include
frequent drug switches that take place quickly, without oversight, and based purely on convenience and *1332 availability.
The resulting unreliability and randomness heighten the risk that the execution process will violate the Eighth Amendment's
Cruel and Unusual Punishment Clause. As that risk increases, so does the tendency for states to retreat into secrecy regarding
their lethalinjection protocols.

For a growing number of states, alternative protocols also incorporate the use of compounding pharmacies to produce
lethalinjection drugs. Traditionally, compounding pharmacies are non-FDA regulated, small-scale pharmacies that make
customized drugs on an as-needed basis in response to individualized prescriptions. This trend toward using compounding
pharmacies is highly problematic. For example, state regulations are paltry. They also tend to differ from one state to the
next, making it difficult to ensure that compounded drugs are held to consistently high standards of quality, safety, and
effectiveness. Evidence shows, however, that proposed and newly adopted federal legislation regulating these pharmacies
may create major obstacles for the use of compounded drugs in executions, leaving states without even this risky recourse.

Death-penalty opponents and medical professionals have long objected to lethalinjection on the basis that the use of drugs
to carry out executions links death to the practice of medicine. Ironically, that reliance on drugs may end up accomplishing
what countless legal challenges could not: drug shortages have devastated this country's execution process to an unparalleled
degree. Rather than masking the “machinery of death,” the mimicry of medicine may end up dismantling it.


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*1333 INTRODUCTION

Lethalinjection has been a controversial method of execution since its inception in 1977, with many critics focusing on
problems with the three-drug protocol traditionally used by most death-penalty states. 1 By 2007, the growing number
of legal challenges and the variance among state responses resulted in a sufficient number of circuit splits for the Supreme
Court to grant certiorari to review the issue. 2 The Court chose Baze v. Rees, a Kentucky case, to determine the future
direction of lethalinjection. 3 In Baze, a 7-2 decision with a plurality opinion, 4 the Court upheld the constitutionality
of Kentucky's lethalinjection protocol under the Eighth Amendment's Cruel and Unusual Punishment Clause. 5 The
Court found that the defendants had failed to show that Kentucky's three-drug combination posed a “substantial”
or “objectively intolerable” risk of “serious harm” 6 compared to “known and available alternatives.” 7 The typical
formula, which Kentucky was then using, consists of a serial sequence of three drugs: sodium thiopental, a barbiturate
anesthetic that brings about deep unconsciousness; pancuronium bromide, a total muscle relaxant that paralyzes all
voluntary muscles and causes suffocation; and potassium chloride, a toxin *1334 that induces irreversible cardiac
arrest. 8

A primary concern in Baze, and lethalinjection challenges generally, rested with the second drug, pancuronium bromide.
Without adequate anesthesia, pancuronium can cause an inmate excruciating pain and suffering because the inmate
slowly suffocates from the drug's effects while paralyzed and unable to cry out. The inmate's agony increases dramatically
when executioners inject the third drug, potassium chloride, which creates an intense and unbearable burning. 9 The
Baze Court agreed that if the sodium thiopental is ineffective, it would be reprehensible to inject the second and third
drugs into a conscious person. 10 A key issue in litigation was whether prison officials and executioners can determine if
an inmate is aware and in torment because pancuronium is such a powerful mask of emotions. 11 Starting in 2006, this
litigation so successfully prompted death-penalty moratoria and execution stalemates across the country that a Supreme
Court case like Baze appeared inevitable. 12

Yet in many ways, Baze was a puzzling choice. Kentucky had conducted only one execution by lethalinjection and thus
offered an extremely limited record on which to base a lethalinjection challenge. Other states had far better evidentiary
and execution data. 13 Moreover, the suit that petitioners brought had not been scrutinized by the federal hearings being
carried out in similar kinds of cases. Rather, Kentucky's hearings took place only in state court and concerned only
Kentucky's procedures and short execution history. 14 Some death-penalty opponents came to believe that the Justices
who voted to hear Baze did so only because they “regarded the challenge as insubstantial and wanted to dispose of it
before many more state and federal courts could be tied up with similar cases.” 15

However, the Baze opinion had quite the opposite effect. Limits to the Baze Court's analysis suggest that the decision is
by no means a definitive response to the issue of lethalinjection's constitutionality. 16 In fact, Baze was so splintered that



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none of its seven opinions garnered more than three votes, 17 and the *1335 Justices offered a wide range of explanations
and qualifications in their reasoning. 18 In addition, the decision was confined to Kentucky and its particular protocol.
Voices on both sides of the death-penalty debate have emphasized that Baze left doors open for future lethalinjection
challenges. 19 Even members of the Baze Court itself anticipated the repercussions of the opinion's shortcomings: in
separate concurrences, Justices Stevens, 20 Thomas, 21 and Alito 22 expressed concern that the Baze decision would
only lead to additional debate and litigation. Until now, however, criticisms and concerns regarding developments in
lethalinjection protocols after Baze have been largely predictive.

This Article provides facts where there has been only foresight. I present the results of a unique empirical study in which I
collected and analyzed over 300 cases citing Baze in the first five years since the decision (2008-2013). My analysis of these
cases indicates that states can--and do--modify virtually any aspect of their lethalinjection procedures with a frequency
that is unprecedented among execution methods in this country's history. There have been more changes in lethalinjection
protocols during the past five years than there have been in the last three decades. The resulting protocols differ from
state to state and even from one execution to the next within the same state. As a result, many states' lethalinjection
issues and procedures scarcely resemble those evaluated by the Baze Court. Furthermore, this continuous tinkering often
affects already-troubled aspects of states' lethalinjection procedures, such as the paltry qualifications of executioners, the
absence of medical experts, and the failure to account for the difficulties with injecting inmates whose drug-use histories
diminish the availability of usable veins. 23 Despite states' efforts to improve their procedures, such deficiencies have led
to some of the most glaring and gruesome failures ever documented in the history of lethalinjection. 24

Baze ushered in a perfect storm for litigation. Although the Supreme Court's grant of certiorari in Baze was remarkable
given the Court's long history of silence regarding the constitutionality of execution methods, Baze did little to resolve
the problems that plagued lethalinjection prior to 2008. The Baze Court's vague and diffuse Eighth Amendment analysis
engendered greater coverage of lethalinjection research and litigation in medical journals, as well *1336 as controversy
over physician involvement. Combined with widely publicized botched executions, the lethalinjection debate after Baze
encompassed problems even worse and more varied than those that existed before the Court's intervention. 25 Yet no
one--not even the more prescient Justices of the Baze Court--could have foreseen the more pragmatic threats to the
continuation of executions that were to come with rampant drug shortages that started after Baze was decided. 26

As death-penalty states face the daunting reality of diminishing or depleted drug supplies and ever-increasing restrictions
on drug importation, they are struggling to match their protocols to drug availability. 27 Some states have put
lethalinjection executions on hold until the drug situation is resolved, 28 while others have turned to the U.S. Department
of Justice for help. 29 Many continue to search for manufacturers that will agree to produce drugs for lethalinjections.
As states' desperation increases, so does their tolerance for risk. 30 Most recently, death-penalty states have pinned
their hopes on “compounded” drugs, individualized prescription medications created in facilities referred to as
““compounding pharmacies.” Unlike commercial pharmaceutical manufacturers, which are regulated by the Food and
Drug Administration (FDA) and subject to intense oversight, 31 compounding pharmacies (and pharmacies generally)
are regulated relatively permissively by the states. 32

Over the past few decades, however, the FDA has discovered a disturbing trend in which compounding pharmacies
capitalize on their ability to produce *1337 and sell large batches of medications to a broad market without meeting
the stringent safety and efficacy standards required of commercial drug manufacturers. Essentially, these facilities act
like large-scale pharmaceutical companies while hiding behind small-scale pharmacy licenses. 33 This practice has had,
at times, disastrous results.




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For example, in early October 2012, a contaminated steroid produced by a compounding pharmacy in Massachusetts led
to a fungal meningitis outbreak that has killed a total of sixty-four people and sickened hundreds more. 34 This tragedy
led the FDA to inspect thirty-one compounding pharmacies over the next six months, whereby the FDA made a series
of disturbing discoveries concerning the pharmacies' lack of safeguards. 35 Moreover, an April 2013 study released by
the U.S. House of Representatives revealed that almost all states provide overall ineffective oversight and regulation
of the compounding pharmacies within their borders. In response to these findings, legislation has been proposed that
would require FDA approval of not only pharmacies engaged in interstate commerce, but also those involved in high-
risk compounding. 36

As the FDA continues to explore ways to increase oversight of compounding pharmacies, state pharmacy boards
have also been working on their own to increase their regulatory oversight in response to the negative focus on
compounding pharmacies after the meningitis outbreak. Proposed state regulations include stricter requirements for both
local compounding pharmacies and out-of-state pharmacies that cross state lines, clearer definitions of compounding,
additional inspection protocols, and the installment or improvement of prescription-monitoring programs. 37

 *1338 If any compounded lethalinjection drugs are considered high risk--and they possibly could be--then the
compounding pharmacies that produce them will be subject to FDA oversight. The new regulations may require public
disclosure of all the drugs the pharmacies produce, to whom they intend to sell them, and advance evidence of individual
prescriptions. The FDA, in turn, may be required to share information on inspected compounding pharmacies with
relevant state agencies. Finally, and perhaps most significantly, several of the proposed restrictions may effectively negate
altogether the ability of compounding pharmacies to produce lethalinjection drugs.

Thus, death-penalty states could be confronted with an ironic outcome in which their quest for lethalinjection drugs is
thwarted both by the problems and the proposed solutions associated with the regulation of compounding pharmacies.
The historically dismal safety standards and haphazard daily practices of many compounding pharmacies all but invite
lethalinjection challenges, while public-health calamities such as the meningitis outbreak make increased regulation
inevitable. Death-penalty states have an unsettling tendency to retreat into secrecy with respect to execution protocols
and source materials when legal challenges appear threatening, yet currently proposed regulations may hinder such
retreat.

In sum, Baze v. Rees--the Supreme Court's only opinion on the constitutionality of lethalinjection--failed to answer
significant questions, and many of the issues that the Court did consider have been subsumed by new legal and practical
challenges. The future of lethalinjection remains unclear. This Article is intended to be a point-in-time snapshot of the
rapidly changing factors affecting the use of lethalinjection in the United States. Part I of this Article briefly describes
the history of lethalinjection methods and provides a foundation for the current debate regarding lethalinjection drugs.
Part II discusses the role of Baze as precedent, supporting the remarkable assertion that Baze has been rendered
mostly irrelevant merely five years after its issuance. Part II also discusses legal challenges after Baze as well as states'
attempts to quell litigation by switching their lethalinjection protocols from three-drug to one-drug procedures. Part III
explains how these legal challenges have been overshadowed by an even bigger obstacle to lethalinjection: unanticipated
national shortages in lethalinjection drugs, which have resulted in a new wave of litigation and protocol changes.
Part IV reveals the dangers associated with states' attempts to address those shortages by seeking compounded drugs
from pharmacies that lack federal oversight and explains how new regulations may impede states' increasingly frantic
efforts to procure lethalinjection drugs. Part V explores the trend toward secrecy that has accompanied these efforts
as states attempt to protect the identities and conceal the dangers of their drug sources, even as the risks associated
with compounding pharmacies seem to demand increased transparency. Part V also emphasizes the likelihood that
new compounding pharmacy regulations will promote such transparency. This Article concludes by condemning states'
efforts to retreat into secrecy regarding execution *1339 practices. Such efforts thwart any attempt to address problems
with lethalinjection and only further contribute to the chaos. Transparency regarding lethalinjection procedures is a



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desirable and constitutionally sound outcome for the public, if not for the states that will have to begin yet again the
search for drugs to dole out death.


I. A BRIEF HISTORY OF LETHALINJECTION

This country's adoption of lethalinjection follows more than a century of searching for humane methods of execution, 38
starting with hanging and the firing squad and then replaced by seemingly more acceptable techniques. The increasingly
modern quest for an execution method began with electrocution in 1890, then lethal gas in 1921, and, in an evolving
pattern, ended in 1977 with lethalinjection. 39 An analysis of lethalinjection's history, however, shows little excuse for
its adoption or its perpetuation. Lethalinjection's deficiencies persisted over the decades yet were simply ignored. 40
The State of New York considered using one form of lethalinjection (cyanide injection) as early as 1888, 41 yet a state
commission rejected that choice because the medical profession believed that the public would begin to link the practice
of medicine to death. 42 Of course, this concern about lethalinjection remains today. 43

In 1953, Great Britain's Royal Commission on Capital Punishment also dismissed a form of lethalinjection, concluding
after a five-year study that injection was no better than Great Britain's long-standing method of execution by hanging. 44
The host of problems the Royal Commission detected with lethalinjection still exists, ranging from the physical limitations
presented by individuals with inaccessible veins to the recognition that lethalinjection requires medical skill because of
the technique's complexity. 45 In 1976, the United States started to examine the lethalinjection issue more intently after
the *1340 Supreme Court reinstated the death penalty in Gregg v. Georgia, 46 a case that marked the end of a nine-year
pause in this country's executions. 47 Remarkably, no state legislature addressed the evidence gathered and conclusions
reached on injection procedures either from the New York or British commissions. 48

Such disregard for past medical investigations was clear in May 1977, when Oklahoma became the first state to
adopt lethalinjection. 49 An Oklahoma legislator asked Jay Chapman, M.D., the state's medical examiner, to create a
lethalinjection protocol that the state could implement even though Dr. Chapman was clear about his lack of expertise
in fulfilling such a request. 50 According to Dr. Chapman, when lawmakers initially contacted him, his “first response
was that [he] was an expert in dead bodies but not an expert in getting them that way.” 51

With virtually no scientific study or relevant medical background, Dr. Chapman quickly concocted the three-drug
formula formerly used by Kentucky. 52 Yet, within days of the Oklahoma legislature adopting his method, Chapman
warned the public of lethalinjection's hazards. 53 In the Daily Oklahoman, for example, he noted that “if the death-dealing
drug is not administered properly, the convict may not die and could be subjected to severe muscle pain.” 54 Other news
articles at the time stressed the tentative status of Oklahoma's protocol. A 1979 article in the Daily Oklahoman emphasized
that “[o]fficials with the State Department of Corrections say it may be years--if ever--before they are required to carry
out mandates of the 1977 Legislature.” 55 The article also noted that “[o]fficials feel that if and when they have to use the
injection law, new and better drugs may be available.” 56 Such statements suggest that officials had minimal confidence in
the effectiveness of the chemicals that Dr. Chapman introduced and even anticipated that they might never be applied.

Initial concerns over the lack of medical testing were sufficient to stall Oklahoma's lethalinjection bill prior to state senate
approval. 57 At one point, the Oklahoma legislature considered requiring that injection could not supplant electrocution
without being “ruled legal by the U.S. Supreme Court.” 58 Legislative *1341 history indicates that lethalinjection was
not to be used quickly or confidently, if at all.




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Despite the benefits of hindsight, states did not medically improve upon the lethalinjection method that consistently had
resulted in documented debacles. 59 As the trial court in Baze v. Rees concluded in 2005, “there is scant evidence that
ensuing States' adoption of lethalinjection was supported by any additional medical or scientific studies .... Rather, it is
this Court's impression that the various States simply fell in line relying solely on Oklahoma's protocol.” 60 Indeed, after
Oklahoma adopted the method, state after state followed suit. As Chart 1 of this Article shows, thirty-nine states joined
this movement between *1342 1977 and 2009, switching to lethalinjection like falling dominos. Many of these states
simply copied the language of Oklahoma's lethalinjection statute. 61



  CHART 1




  STATES ADOPTING LETHALINJECTION BY YEAR: 1977-2014 A1




  1977                 Oklahoma • Texas

  1978                 Idaho

  1979                 New Mexico

  1981                 Washington

  1982                 Massachusetts

  1983                 Arkansas • Illinois • Montana • Nevada • New Jersey • North Carolina • Utah

  1984                 Mississippi • Oregon • South Dakota • Wyoming

  1986                 Delaware • New Hampshire

  1988                 Colorado • Missouri

  1990                 Louisiana • Pennsylvania

  1992                 Arizona • California

  1993                 Ohio 1

  1994                 Kansas • Maryland • Virginia

  1995                 Connecticut • Indiana • New York • South Carolina

  1998                 Kentucky • Tennessee

  2000                 Florida • Georgia

  2002                 Alabama

  2009                 Nebraska




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Footnotes
1        In 2001, Ohio changed from a choice state to a single-method state.
a1       Information for this chart comes from the following sources: NEB. REV. STAT. § 83-964 (2010); Deborah W. Denno,
         For Execution Methods Challenges, the Road to Abolition Is Paved with Paradox, inTHE ROAD TO ABOLITION? THE
         FUTURE OF CAPITAL PUNISHMENT IN THE UNITED STATES 183, 188 (Charles J. Ogletree, Jr. & Austin Sarat
         eds., 2009).




The thirty-nine-state figure alone is remarkable. Even more extraordinary is that six states, including Oklahoma, made
the switch by 1982, 62 the year this country's first lethalinjection execution took place. 63 Another seven states changed in
1983 alone. 64 Therefore, within a year of the country's first lethalinjection execution, thirteen states--over one-third of all
death-penalty states at that time--had decided to engage in executions with the new method. 65 In addition, twelve states
enacted lethalinjection in the nine-year stretch from 1994, when Kansas, Maryland, and Virginia adopted the method,
to 2002, when Alabama did. 66 Nebraska was a lone wolf, switching to lethalinjection in 2009, a year after the Nebraska
Supreme Court finally declared electrocution unconstitutional. 67 By 2009, then, all death-penalty states in this country
had switched to lethalinjection, either entirely or as an option, 68 and nearly all states used a protocol consisting of the
same three drugs. 69

Of the thirty-two death-penalty states that exist in mid-2014, lethalinjection is the sole method of execution in
twenty-one states, as shown in Chart 2 of this Article. 70 Three states--Utah, Kentucky, and Tennessee--have
also adopted *1343 lethalinjection as their sole execution method but have done so with provisions that are not
retroactive. 71 Lethalinjection is one of two possible methods of execution in eleven states, including Utah (which allows
some inmates the choice of firing squad) as well as Kentucky and Tennessee (which allow some inmates the choice of
electrocution). 72 A growing number of states, eighteen in total, no longer have the death penalty, a figure that includes
New Mexico, New Jersey, and Maryland, the most recent state to join this list. 73



     CHART 2




     EXECUTION METHODS BY STATE: 2014 A1




     Single-Method States (24)




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     Arizona • Arkansas • Colorado • Delaware • Georgia • Idaho • Indiana • Kansas • Kentucky • Louisiana • Mississippi •
     Montana • Nebraska • Nevada • North Carolina • Ohio • Oklahoma • Oregon • Pennsylvania • South Dakota • Tennessee •
     Texas • Utah • Wyoming

     Choice States (11)

     LethalInjection or Hanging (2): New Hampshire • Washington

     LethalInjection or Firing Squad (1): Utah

     LethalInjection or Electrocution (6): Alabama • Florida • Kentucky • South Carolina • Tennessee • Virginia

     LethalInjection or Lethal Gas (2): California • Missouri

     States Without the Death Penalty (18)

     Alaska • Connecticut • Hawaii • Illinois • Iowa • Maine • Maryland • Massachusetts • Michigan • Minnesota • New Jersey •
     New Mexico • New York • North Dakota • Rhode Island • Vermont • West Virginia • Wisconsin Also--District of Columbia


Footnotes
a1        Kentucky, Tennessee, and Utah have provisions that are not retroactive and therefore allow choices for some inmates. These
          three states are listed in both the Single-Method States and Choice States categories.




 *1344 Statistics demonstrating lethalinjection's dominance, however, ignore the effect that lethalinjection challenges
can have on capital punishment. Indeed, it was the dominance of lethalinjection that imperiled all capital punishment
when lethalinjection faced legal challenges. The events leading up to Baze illustrated this effect. In 2006, for example,
executions plunged to about half their 1999 numbers, a trend that continued in 2007 and 2008. 74 Numerous states and
the federal government ceased executions entirely, often at least partly due to problems and legal challenges related to
lethalinjection. 75 Beginning on *1345 September 26, 2007, the day the Court granted certiorari in Baze, no additional
executions were conducted until May 6, 2008. 76 Although the Court did not declare a general moratorium on executions
during this seven-month period, a de facto moratorium evolved when the Court granted stays of execution for individual
cases that came before it. 77 Historically, such a lengthy hiatus is rare. 78 After Baze was decided, those stays ended
when the Justices denied the underlying appeals. Executions began again, but so did lethalinjection litigation, and with
a vengeance.

When the Supreme Court affirmed Kentucky's three-drug protocol in Baze, some commentators predicted that there
would be a surge of executions because the de facto moratorium had created a backlog of death-row inmates. 79 That
prediction was never realized; apart from a slight rise in 2009, executions have continued their downward trend. 80 The
number of executions by year is as follows: thirty-seven in 2008, fifty-two in 2009, forty-six in 2010, forty-three in 2011,
forty-three in 2012, and thirty-nine in 2013. 81 One reason for this decline may be that the death penalty's popularity
has weakened in recent years. 82 Whether because of discoveries of innocence among death-row inmates, a reduction
in the number of individuals eligible for execution, racial disparities, botched executions, or other reasons, the courts
and the public have shown more skepticism of the capital punishment process in the twenty-first century than they have
since the early 1970s. 83 Yet, lethalinjection challenges may have contributed to this skepticism. According to one death-
penalty commentator, lethalinjection challenges “have already held up more executions, and for a *1346 longer time
than appeals involving such ... issues as race, innocence, and mental competency.” 84




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II. BAZE AS PRECEDENT

Given the narrowness and ineffectiveness of the Baze opinion, the Court's decision has had minimal effect in the way
that the Baze plurality intended. 85 Rather than offering guidance on the future direction of lethalinjection, the legal
issues and procedures evaluated by the Baze Court have been overshadowed by far more pragmatic threats to the
continuation of executions by lethalinjection. Considered together with the ongoing mass of lethalinjection challenges
and protocol changes that have ensued since 2008, it can be argued that Baze has rendered itself moot. 86 Strikingly,
even Kentucky itself--the “model” state at the heart of Baze--has switched to a single-drug protocol, such that it is no
longer “substantially similar” to the procedure the Baze Court hailed as the standard for other states to follow. 87

Yet this is a remarkable conclusion to reach regarding a Supreme Court opinion merely six years after its issuance,
particularly in a case that marks the Court's first foray into the constitutionality of an execution method in over six
decades. 88 I base this assertion on two grounds. First, although Baze has not been entirely void of precedential force,
my analysis of all cases that have cited Baze, which I discuss in section II.A, indicates that the case's value as precedent
has been limited. My study demonstrates that number of citations is not always indicative of an opinion's efficacy.
Second, citations to Baze have decreased substantially in the last three years. 89 As I explain in section II.B, this decline
is most likely because the nature of lethalinjection challenges now bear on issues that have only remote or nonexistent
parallels to those that prompted Baze in the first place. 90 In addition, recent developments have shown that some of the
purposes for which Baze may have been used in the past are no longer viable, *1347 the use of foreign-sourced drugs
being a particularly striking example. 91 Indeed, lethalinjection litigation after Baze is so prolific and variable that it
seemingly dwarfs the extent to which Baze has been used to dismiss challenges. I conclude that Baze's already constrained
precedential force is barely applicable to recent litigation spurred by this country's unanticipated drug shortages.


A. BAZE'S LIMITED PRECEDENTIAL FORCE

Three hundred thirty-three cases have cited the Baze Court's plurality opinion (as well as the concurrences and dissent)
from the time Baze was decided until May 30, 2013. 92 I reviewed the nature of each case's citation and reference to Baze
and then grouped the cases along several dimensions into one or more of the following categories: the substantial-risk
standard; concurring and dissenting opinions; and the Eighth Amendment standard. 93 In the next three subsections,
I will discuss each group in turn.


*1348 1. Substantial-Risk Standard

The substantial-risk standard in Baze was the most encompassing category in my study. Although Baze alludes to a
number of risk standards, 94 the cases in this study tended to favor a particularly high hurdle for the petitioner: in order
to constitute an Eighth Amendment violation, a risk must be “‘sure or very likely to cause serious illness and needless
suffering,’ and give rise to ‘sufficiently imminent dangers.”’ 95 Altogether, 248 cases cited this standard in response to
four potential Eighth Amendment challenges related to state protocols: (1) execution team training, (2) drug type and
protocol procedure, (3) use of foreign-sourced drugs, or (4) failure to protect inmates from alleged violent and assaultive
prison conditions. 96

a. Execution Team Training. Twenty-nine cases cited Baze in discussions of execution-team or supervisor training levels
and protocols and reached varying results. 97 All cases, with the exception of one that was remanded, 98 relied on Baze to
question evidence of improper training. As noted in one representative case, any risk of mistake on the execution team's




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part connected to the team's lack of practice using a certain drug “is speculative and fails to rise to the level required to
demonstrate a substantial risk of serious harm under Eighth Amendment jurisprudence.” 99

b. Drug Type and Protocol Implementation. Most cases (216 cases or 87%) cited Baze's substantial-risk standard to refute
challenges concerning a protocol's use of particular lethalinjection drugs or procedures. 100 Many of the cases *1349
argued that the protocol's implementation violates the Eighth Amendment, 101 whereas others involved challenges to
the type of drug being injected, such as the choice of pentobarbital in place of sodium thiopental, which was needed to
rectify the issues presented by a shortage of the latter. 102 Almost every court relied on the Baze substantial-risk standard
to establish that the method of injection and the drugs administered did not pose a risk sufficient to constitute an Eighth
Amendment violation. 103

A breakdown of these cases provides more specific insight into the kinds of issues addressed. For example, 195 of the
216 cases concern challenges to a state protocol's method or procedure. 104 These cases include challenges to the type of
method used--a one-drug 105 or three-drug 106 method--and the state protocol's lethalinjection procedure in general. 107
As stated above, each court presented with a protocol challenge found that the plaintiffs in question could not establish
that the protocol created a demonstrated risk of severe pain, as explicated in Baze, or that the risk was substantial
compared to other known *1350 methods. 108 In coming to this conclusion, many courts compared the challenged state
protocol to Kentucky's protocol and found the two protocols to be ““substantially similar,” and thus, the challenged
protocol constitutional. 109


Additionally, 27 of the 216 cases dealt with challenges to the drug being used for the procedure, 110 with 19 specific
challenges to the use of pentobarbital as a replacement for sodium thiopental in a state's one-drug or three-drug
method. 111 Despite the drug's limited testing and use in lethalinjection procedures, courts consistently upheld the
implementation of pentobarbital and found that its substitution for sodium thiopental did not create a substantial risk
of harm to the inmate. 112

c. Foreign-Sourced Drugs. With the increasing scarcity of lethalinjection drugs in this country, especially sodium
thiopental, departments of corrections started purchasing drugs from other countries. 113 Some drug-protocol challenges
attacked the use of foreign-sourced drugs, and thirteen cases cite Baze for support. 114 Strikingly, almost every court
presented with a foreign-drug challenge found that the plaintiff did not have sufficient evidence to show that the use of
a foreign-produced drug would be likely to create a substantial risk of *1351 unconstitutional harm. 115 By July 23,
2013, such determinations would no longer be viable. On that date, the D.C. Circuit held that the FDA violated the
Food, Drug and Cosmetic Act and the Administrative Procedure Act by allowing the importation of unapproved or
misbranded sodium thiopental for use in lethalinjection procedures. 116

d. Failure to Protect. Not surprisingly, courts have relied on Baze for challenges apart from problems associated with
lethalinjection. Altogether, thirty-three cases cited Baze in the context of “failure to protect” claims under the Eighth
Amendment, most typically raised against a prison official for failing to protect an inmate from harm or for a violation
of a duty to protect from future harm. 117 Baze was most often cited to affirm that in order to establish such a claim, the
plaintiff must “allege facts from which a court could conclude that he faces a substantial risk of serious harm, and that
the defendants knew of and disregarded that risk.” 118 The finding in Baze that an “isolated mishap” or “an accident,
with no suggestion of malevolence,” 119 would not give rise to an Eighth Amendment violation is often used to support
the rejection of the failure to protect claims brought about in these cases. 120 Most of the failure to protect cases are
in reference to prison violence, assault, or abuse; however, some cases discuss different settings in which a substantial



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risk first must be established. 121 Although such a use of Baze is unsurprising given the dearth of Eighth Amendment
precedent, it seems a stretch in light of more relevant doctrine specifically dealing with prison violence in a way Baze
does not. 122


*1352 2. Concurring and Dissenting Opinions

Over one-fifth of the 333 cases cited opinions other than the Baze plurality. 123 These seventy-two cases primarily
included references to Justice Thomas's and Justice Stevens's concurrences as well as Justice Ginsburg's dissent, nearly
in equal number. 124 In total, thirty-four cases cited to Justice Thomas's concurrence, 125 which argued that inmates
should be required to show that a lethalinjection protocol is ““deliberately designed to inflict pain” to establish an
Eighth Amendment violation. 126 These cases concluded that if there was sufficient evidence to uphold a lethalinjection
procedure under the Eighth Amendment standard set by the Baze plurality, there was also sufficient evidence to uphold
the procedure under Justice Thomas's more rigorous intent-based standard. 127 A disproportionate number of these
cases (sixteen in total) originated in Florida and frequently cited the following quote from the Florida Supreme Court: 128
“Florida's current lethal-injection protocol passes muster under any of the risk-based standards considered by the Baze
Court (and would also easily satisfy the intent-based standard advocated by Justices Thomas and Scalia).” 129 Although
seemingly dicta, the repeated use of this particular quote by the Florida Supreme Court in its holdings was noticeable
and unique among those courts approving lethalinjection protocols.


In turn, a comparable number of cases (thirty-three in total) cited Justice Stevens's concurrence, 130 a particularly
noteworthy opinion because it was the first time he voiced his general opposition to the death penalty. 131 Justice Stevens
explained that he concurred in Baze because he felt obligated under the Court's precedents; however, like Justices before
him, he had gradually changed his mind about the death penalty for a range of reasons that he articulated in great
detail. 132 In my study, some cases cited Justice Stevens's commentary *1353 regarding the risk of error in capital
cases, 133 whereas other cases cited his reservations regarding the value of the death penalty. 134

Justice Ginsburg's dissent, which Justice Souter joined, focused more narrowly on the perils of lethalinjection,
emphasizing that a number of other states had instituted far more adequate procedures than Kentucky to ensure that an
inmate is anesthetized before execution. 135 “[I]f readily available measures can materially increase the likelihood that
the protocol will cause no pain, a State fails to adhere to contemporary standards of decency if it declines to employ those
measures.” 136 The thirty-six cases in my study that cited to Justice Ginsburg's dissent stressed the safeguards that states
had implemented in their lethalinjection protocols. 137 The majority of states went even further, comparing a specific
state's lethalinjection safeguards to Kentucky's lack of safeguards as a way to further affirm the constitutionality of the
specific state's lethalinjection protocol. 138


3. Eighth Amendment Standard

Altogether, fifty-four cases cited Baze in reference to the Eighth Amendment or to affirm the constitutionality of
lethalinjection by the Court's holding that injection does not constitute cruel and unusual punishment. 139 Some cases,
 *1354 for example, referenced the Baze plurality's characterization of the Eighth Amendment merely to affirm that
citizens are privy to the rights listed within the Amendment. 140 Other cases focused more specifically on lethalinjection.
Broom v. Strickland, for instance, cited the Baze Court's determination that Kentucky's lethalinjection protocol is
constitutional in order to compare a situation in which a lethalinjection attempt may be considered unconstitutional. 141




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B. POST-BAZE LITIGATION AND RISK

On June 10, 2008, less than two months after Baze was decided, an Ohio state court ruled in State v. Rivera that
Ohio could no longer employ the standard three-drug protocol (used in Kentucky) for executing inmates because the
drug combination contravened Ohio's own lethalinjection statute and therefore violated due process. 142 In making this
determination, the court heard testimony from two of the key medical experts who also testified for the defense and the
state respectively in Baze. 143 Yet the Rivera court reached different conclusions from Baze, holding specifically that “the
use of two drugs in the lethalinjection protocol (pancuronium bromide and potassium chloride) creates an unnecessary
and arbitrary risk that the condemned will experience an agonizing and painful death.” 144 This recognition prompted
the court to hold that the state's lethalinjection protocol should use only “a lethalinjection of a single, anesthetic drug.” 145

By way of affirming these dangers, the Rivera court listed as a finding of fact nearly every criticism made of the
three-drug combination, ranging from the difficulties in assessing the condemned person's depth of anesthesia before
administering the second and third drugs, to the heightened risk from physicians' refusal to participate in the process, to
the number of mistakes made in the delivery of anesthesia even in a clinical setting. 146 The Rivera court also recognized
“[c]ircumstantial evidence ... that some condemned prisoners have *1355 suffered a painful death, due to a flawed
lethalinjection.” 147

One reason for the seeming divergence of Rivera's holding from that of Baze is Ohio's lethalinjection statute. That
statute requires “a lethalinjection of a drug or combination of drugs of sufficient dosage to quickly and painlessly
cause death.” 148 In contrast, “the Kentucky lethalinjection statute has no mandate that an execution be painless.” 149
Therefore, an interpretation of Kentucky's statute “is not applicable” in Rivera because unlike Ohio's statute, “the [U.S.]
Constitution does not demand the avoidance of all risk of pain in carrying out executions.” 150

Rivera was the first case in which a court ordered a state to employ only a single anesthetic drug, thus reflecting the
momentum created by other judges and commissions that had long criticized the three-drug combination. 151 The Baze
Court emphasized the uniqueness of this very situation by noting that the petitioners' proposed alternative protocol (the
use of a single barbiturate) was “one that ... has not been adopted by any State and has never been tried.” 152 With Rivera,
the “uniqueness” claim from Baze would no longer be accurate. By breaking away from the three-drug-formula pact,
Rivera started to weaken the safety-in-numbers argument states had embraced in determining that a shared lethalinjection
formula provides a humane death.


Like Morales v. Hickman 153 and earlier cases, 154 Rivera also cut through much of the paradox in Baze that even the
Supreme Court was unable to avoid. For example, with the single-barbiturate injection, Rivera provided a potential
solution to the absence of a medical professional in the execution chamber because a one-drug formula was considered so
much easier to administer. 155 This solution was aided by the Rivera court's focus on the constitutional *1356 viability
of the execution method itself and not on the larger topic of the death penalty generally. After all, medical professionals
have recommended abolition as a solution for avoiding the potential hazard of physician involvement in executions. 156
Without the distraction of having to grapple with death-penalty debates more broadly, the Rivera court was better able
to evaluate different types of lethalinjection procedures.

As it would turn out, however, Ohio's breaking from the pack, even to satisfy legislative requirements, would garner
substantial notice. This switch was a huge development in the death-penalty world and the first such inroad with
lethalinjection, especially coming on the heels of Baze. 157 Baze was supposed to be the Supreme Court's effort to end
the lethalinjection story, not push it full throttle.



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The next chapter after Baze would be even more critical because it would involve all three administrative layers in the
execution process: the legislature, the courts, and the department of corrections. No matter what lethalinjection statute
a legislature has in place or how a court interprets that statute, both legislatures and courts delegate the actual business
of executions to a department of corrections. 158 Until Ohio's change to a single-drug protocol, the Southern Ohio
Correctional Facility (Ohio Facility) in Lucasville held a striking record of ineptitude in the execution or attempted
execution of inmates, the Romell Broom case being the most egregious example. 159

Although the Ohio Facility was stung by its experiences with the three-drug *1357 procedure, officials were concerned
about implementing a one-drug procedure that had yet to be used on anyone, anywhere. 160 Wanting to ensure that
history did not repeat itself in the upcoming execution of Kenneth Biros, in November 2009, the Ohio Facility issued
a two-part lethalinjection protocol. 161 In the first part (Plan A), executioners would inject only sodium thiopental. If
the execution team failed at Plan A, Plan B directed the team to inject directly into the inmate's arm or leg muscles an
overdose of two drugs never before used in any execution in the world. 162

Plan B's potential problems are vast. According to expert commentary, the two Plan B drugs, hydromorphone and
midazolam, could produce a slow, lingering death with the inmate in a state of confusion, disorientation, and intense
psychological anguish and torment. The nausea-evoking effect of hydromorphone could cause the prisoner to vomit,
before or after drifting into unconsciousness. 163 Ohio officials warned journalists witnessing the execution that Biros
could end up vomiting and convulsing if in fact the backup plan went into effect. 164 Although Ohio's own lethalinjection
statute requires that death be quick and painless, expert testimony suggests that Plan B is probably the slowest
lethalinjection method yet proposed in the United States. 165 Likewise, Plan B directly contravenes Ohio's veterinary
euthanasia laws because the particular drugs and intramuscular method are all prohibited for animals (the Ohio statute
forbids any euthanasia for animals by intravenous drugs other than pentobarbital). 166

Plan B still remains in effect in Ohio. Regardless, Kenneth Biros's Plan A execution on December 8, 2009, was fraught
with problems. Executioners required a half-hour and nine unsuccessful attempts to finally find a vein in which to put
an IV catheter. 167

Ohio's move to a single-drug protocol served as an impetus for other states to also make the switch, irrespective of Ohio's
difficulties with Biros's execution and the state's unique statute. For over a century, states have closely followed *1358
the execution strategies of other states, 168 and Ohio's change would be no exception. The key switch from the past was
the greater rapidity and extent to *1359 which states would follow Ohio's decision to use only sodium thiopental. As
Charts 3 and 4 of this Article show, eleven states--or over one-third of all the death-penalty states--have moved from
three drugs to one drug in less than five years (2009-2013). 169 Ohio's decision to move at the end of 2009 would be
quickly followed, respectively, over the next two years by Washington in 2010 and South Dakota in 2011 and then by
five states in 2012 (Arizona, Georgia, *1360 Idaho, Missouri, and Texas). 170 So far, three states have switched from
three drugs to one in 2013 (Arkansas, Kentucky, and Louisiana). 171




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  CHART 3




  CHANGES IN STATE LETHALINJECTION PROTOCOLS: 2009-2013 A1




  YEAR   THREE DRUGS TO ONE DRUG          SODIUM THIOPENTAL TO             SODIUM THIOPENTAL TO
                                          PENTOBARBITAL                    PROPOFOL




  2009   Ohio 5

  2010   Washington 1                     Oklahoma

  2011   South Dakota 1 2 3 7             Alabama

                                          Arizona 1 2

                                          Delaware

                                          Florida

                                          Georgia

                                          Idaho 1

                                          Mississippi

                                          Montana 2 4

                                          Ohio 5

                                          South Carolina

                                          South Dakota 1 2 3 7

                                          Texas

                                          Virginia

  2012   Arizona 1 2                                                       Missouri

         Georgia

         Idaho 1

         Missouri



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               Texas

     2013      Arkansas 4 8                             Kentucky 2 3 4 5

               Kentucky 2 3 4 5                         Louisiana 6

               Louisiana 6


Footnotes
1           Allows for either one or three drugs.
2           Allows either sodium thiopental or pentobarbital.
3           Allows for either one or two drugs.
4           Executions are on hold due to court challenges.
5           Backup protocol uses two drugs.
6           Execution stayed so judge can evaluate protocol.
7           Allows for one, two, or three drugs.
8           Considering other drugs.
a1          Information for this chart reflects trends up to August 1, 2013, and comes from the following sources: State
            by State LethalInjection, DEATH PENALTY INFO. CENTER, http://www.deathpenalty.org/state-lethal-injection (last
            visited Jan. 31, 2014); Death Penalty Clinic, Univ. of Cal., Berkeley, Sch. of Law, Execution Protocol Information,
            LETHALINJECTION.ORG, https://www.law.berkeley.edu/clinics/dpclinic/LethalInjection/Litigators/li/protocol.html (last
            visited Aug 1, 2013).




Chart 4

Types of Anesthetic Used in LethalInjection Protocols: 2013 a1

TABULAR OR GRAPHIC MATERIAL SET FORTH AT THIS POINT IS NOT DISPLAYABLE
Like other states' changes, Kentucky's was prompted by efforts to quell continuing litigation over the state's three-drug
protocol despite the outcome of Baze. 172 For example, from a resource standpoint, obtaining one drug is simpler than
three drugs; in addition, the process is presumably less risky because there is just one injection and no controversial
paralytic agent (pancuronium bromide). 173 At the same time, death by sodium thiopental alone typically takes longer,
and the procedure is less predictable because it is far less known. 174 Regardless, perhaps the primary source of the one-
drug method's popularity with states is that it was at least a move away from a three-drug process with its long and
documented record of trouble. In 2013, two-thirds of the lethalinjection executions used a one-drug protocol compared
to one-half of the lethalinjection executions in 2012. 175 Yet death-penalty states would soon encounter an obstacle that
the switch from three drugs to one drug would not alleviate: a nationwide dearth of lethalinjection drugs. More than
any legal argument, this practical challenge--one that the Baze Court could not have anticipated--would threaten the
continued use of lethalinjection as this country's primary method of execution.


III. POST-BAZE DRUG SHORTAGES




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In 2009, the United States confronted a national shortage of sodium thiopental when Hospira, Inc., the sole U.S.
manufacturer of the drug, ceased production due to difficulties procuring its active ingredient from another company. 176
In late 2010, the British government announced plans to create an export restriction that would ban the export of sodium
thiopental to the United States after learning that the drug would be solely used for executions. 177 Hospira originally
intended to resume production of the drug at its plant in Italy, but Italian authorities threatened legal action if Hospira
could not successfully *1361 prevent the drug from “being diverted to departments of corrections for use in capital
punishment procedures.” 178 Unwilling to risk potential liability, in January 2011, Hospira stopped manufacturing
sodium thiopental entirely. 179 Europe's prohibition of the death penalty had become an American problem. 180

Hospira's exit from the sodium thiopental market created the most serious challenge yet to the continuation of
lethalinjection. The shortage of sodium thiopental led prison officials to seek out questionable alternative sources of the
drug throughout the world, ranging from England to Pakistan. 181 Until recently, for example, the London wholesaler
Dream Pharma Ltd. purchased sodium thiopental manufactured in Austria and then shipped it to various states in the
United States for use in lethalinjections. 182 Such practices raised concerns that prisoners may be injected with drugs that
are impure, expired, unsafe, or ineffective. 183 It bears reminding that if sodium thiopental is ineffective and does not
render the inmate unconscious, that inmate is tortured by the injection of the second and third drugs. 184

Many death-penalty states experienced an onslaught of litigation challenging the use of foreign-sourced sodium
thiopental in lethalinjection proceedings. 185 Then in 2011, the Drug Enforcement Administration (DEA) began to seize
some states' supplies of foreign-sourced sodium thiopental on grounds that the seized drugs did not meet importation
standards. Other states voluntarily relinquished their supplies. 186 But the most striking legal development occurred
in *1362 March 2012. In Beaty v. FDA, the U.S. District Court for the District of Columbia ultimately banned the
importation of sodium thiopental, finding that the drug did not follow FDA regulations and exposed plaintiffs “to the
risk that the drug will not function as intended”; therefore, plaintiffs were able to show “at least a ‘modest’ increment
of risk that the use of foreign thiopental in their executions would result in conscious suffocation, pain, and cardiac
arrest.” 187 On July 23, 2013, the D.C. Circuit affirmed Beaty with an unambiguous holding in Cook v. FDA:

        The FDA acted in derogation of [its] duties by permitting the importation of thiopental, a concededly
        misbranded and unapproved new drug, and by declaring that it would not in the future sample and
        examine foreign shipments of the drug despite knowing they may have been prepared in an unregistered
        establishment. 188




As a consequence of Beaty, Cook, and the events leading up to both cases, many death-penalty states amended their
lethalinjection protocols to either replace sodium thiopental with pentobarbital or to allow a choice between the two
drugs. 189 Indeed, in 2012 and 2013, pentobarbital was the primary drug employed in executions by lethalinjection. 190
Pentobarbital, a drug most commonly used as a sedative or to control convulsions, was first used in a three-drug
lethalinjection execution in Oklahoma in 2010 191 and in a one-drug execution in Ohio the following year. 192 As Charts
3 and 4 of this Article show, an unprecedented number of states--thirteen in total, including Ohio--switched from sodium
thiopental to pentobarbital in 2011 alone. 193 Only Kentucky and Louisiana changed thereafter--both in 2013. 194

The quick switch to pentobarbital has done little, if anything, to address the issues surrounding lethalinjection. In fact,
states' inclusion of the drug in their protocols has engendered a new wave of legal challenges. 195 Much of the *1363
litigation involves Eighth Amendment Cruel and Unusual Punishment challenges 196 and is based in part on the sparse



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data available regarding the drug's effects on humans. 197 Of the first eight documented pentobarbital challenges, seven
focused on the lack of substantial data concerning the efficacy of pentobarbital as an execution drug--that is, whether or
not it is actually successful in anesthetizing the prisoner. 198 In fact, it appears that the drug is not always successful for
that purpose; as some of the litigation notes, even the drug's manufacturers have cautioned against its use in lethalinjection
proceedings for reasons related to politics, if not efficacy. 199

Eighth Amendment challenges are not the only issue facing states with pentobarbital protocols. As with sodium
thiopental, states that have included pentobarbital in their protocols have had great difficulty obtaining it. The *1364
Danish manufacturer H. Lundbeck A/S (Lundbeck) worked vehemently to prevent the use of its pentobarbital--which
it sold for treatment of seizures-- in executions. 200 Lundbeck announced in July 2011 that it “would require customers
to buy [pentobarbital] through a single wholesaler and to sign a form confirming they won't resell it, aren't a prison,
and know Lundbeck opposes executions.” 201 In December 2011, Lundbeck sold its pentobarbital rights to the Illinois
pharmaceutical company Akorn, Inc. but first insisted upon an agreement that the drug would not be sold for the purpose
of executing inmates. 202 Although it is not entirely clear how much pentobarbital is still available, ultimately it will
either run out or expire. 203

Like sodium thiopental, pentobarbital's effects are most difficult to measure when a state uses a three-drug protocol
because the subsequent paralytic agent (pancuronium bromide) can mask the first drug's effects. 204 Regardless, the first
three-drug execution using pentobarbital in Georgia--that of Roy Blankenship--was so seriously botched 205 that the
next pentobarbital execution in Georgia--that of Andrew Grant DeYoung--was videotaped as a safeguard. 206 Notably,
the only other videotaped execution in this country's history was the 1992 gas-chamber execution of Robert Alton Harris
in California due to that state's horrific problems with lethal gas. 207

These events make clear that the use of pentobarbital in lethalinjection proceedings is not a lasting solution. Most likely,
death-penalty states soon will have to switch to yet a different drug, which will bring with it a host of new *1365
problems. In May 2012, for example, Missouri amended its lethalinjection protocol to permit the use of propofol in one-
drug executions. 208 Less than a month after the drug's adoption, concerns were raised about its implementation 209 and
on July 11, 2012, the United Kingdom announced its ban on the exportation of propofol for execution purposes. 210
In September 2012, the German healthcare company Fresenius Kabi USA, a main supplier of propofol, announced it
would not sell the drug to corrections departments, 211 thereby following in the footsteps of restrictions on the sale of
thiopental and pentobarbital. 212 Despite the drug's unavailability, Missouri's lethalinjection protocol included the use of
propofol until October 2013, although it was never used in a lethalinjection procedure. 213 No state other than Missouri
has indicated plans to adopt the drug.

Meanwhile, in May 2013, yet another drug company withdrew from the lethalinjection market. Hikma, a British
pharmaceutical company that produces phenobarbital, announced a plan to limit distribution of the drug in an effort to
prevent it from being considered as a potential new drug for executions. This announcement came shortly after Arkansas
declared its intent to be the first state to employ phenobarbital for lethalinjections 214 in lieu of the other two execution
drugs, pentobarbital or sodium thiopental, which most states currently use.

Phenobarbital has been prescribed to treat seizures but presumably has never been used for executions in the United
States, and some experts have expressed their concern that it could have dire and unpredictable effects on inmates. 215
According to the Arkansas Department of Corrections, it selected phenobarbital after attorneys for several death-row
inmates mentioned in a lawsuit that it *1366 might be an available drug. 216 The Department has revealed little other



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information about the drug selection process apart from explaining that the agency also consulted other medical sources,
which it did not identify. 217 In July 2013, Arkansas still did not have a valid execution statute, 218 and the Department
of Corrections had changed its mind about incorporating phenobarbital because it could no longer acquire sufficient
quantities of the drug. 219 Indeed, death-penalty states are becoming increasingly desperate in their efforts to procure
lethalinjection drugs, and this practical challenge has subsumed many of the issues addressed by the Baze Court. 220


IV. THE HIGH-RISK ROLE OF COMPOUNDING PHARMACIES

Given the impact of drug shortages on lethalinjection procedures, 221 it should come as no surprise that states are
seeking help internally from local compounding pharmacies for the production of lethalinjection drugs. 222 Yet recent
discoveries of subpar conditions and contaminated drugs demonstrate the risk posed by compounding pharmacies. This
risk provides states with an incentive to keep their lethalinjection protocols secret because of the foreseeable challenges
that they will face should it become known that the drugs are coming from pharmacies of this kind. However, the
nondisclosure of a lethalinjection protocol renders Baze moot because it becomes impossible to subject that protocol to
all of the requirements of Baze. Further, compounding pharmacies by their very nature run counter to the requirements
of Baze because the practices they engage in already pose a substantial risk.

Because of the heightened risk posed by compounding pharmacies, states face a quandary: states use compounded drugs
because they could not carry out executions otherwise; yet they also recognize the risks associated with these drugs, as
well as the potential for legal challenges. As a result, states default to secrecy regarding their protocols.

Yet there are also a number of reasons why states may view compounding pharmacies as better suited than large-scale
drug manufacturers for the job of executing inmates. Most apparent is the reason discussed in Part III: large-scale
 *1367 companies that are based in Europe but have subsidiaries in the United States have been strictly prohibited from
facilitating the death penalty in the United States in any way. 223 Even if they were permitted to do so, big pharmaceutical
companies would have a much larger reputation at stake when they considered associating themselves with lethalinjection.

Another key reason that states are turning to compounding pharmacies is the lack of regulation compared to large-
scale manufacturers. 224 The latter are governed by strict FDA regulations, whereas compounding pharmacies fall
under the relatively lax authority of the states. In addition, state regulations tend to differ from one state to the next,
making it difficult to ensure that compounded drugs are held to consistently high standards of quality, safety, and
effectiveness. These seemingly permissive regulations stem from the traditional view of compounding pharmacies as
small-scale productions that lend themselves to easy quality control and present a low risk of public-health concerns. 225
Yet recent events suggest that this perspective may be outdated. The remainder of Part IV provides a brief history of
compounding pharmacies as well as a discussion of current legislation aimed at improving oversight of these facilities.


A. A BRIEF OVERVIEW OF COMPOUNDING PHARMACIES

Traditionally, all compounded drugs were custom-made in small batches for individual patients pursuant to a medical
prescription. 226 Physicians usually prescribe compounded medications when commercial drugs are unavailable or if the
use of existing commercial alternatives is inhibited by allergies. 227 When compounding pharmacies were first conceived
in the 1800s, they typically served as the only source of prescription medication. 228 Their prevalence was somewhat
diminished during the Industrial Revolution when mass drug-manufacturing companies emerged with a superior
capacity to produce generic drugs, 229 but those companies did not dominate the market until around 1950. 230 Today,




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there are about 56,000 compounding pharmacies in the United States. 231 Recent estimates show that approximately
“3,000 facilities practice sterile compounding and supply most of the injectable drugs in the United States.” 232


Compounded drugs are prepared by licensed pharmacists who practice in a licensed compounding pharmacy. 233
Pharmacist licensure requirements are regulated *1368 by state pharmacy boards 234 and therefore vary by state. 235
However, all pharmacists are required to pass a national, standardized licensure exam, and all states require pharmacists
to pass an examination on compounding. 236

Compounded drugs must be prescribed to a patient by a licensed physician. Providing such a prescription carries some
risk. According to a recent article published by the American Medical Association, many patients have successfully
sued their doctors based on negligence and failure-to-warn claims with respect to defective or dangerous compounded
medications. 237 Indeed, when considering use of a compounding facility, doctors are often advised to weigh the risk
of liability, which is exacerbated by the fact that medical malpractice insurance typically excludes coverage for claims
involving medications and procedures not approved by the FDA. 238 The lack of FDA regulation is in fact the very root
of physician liability. Because compounding pharmacies are not regulated by the FDA, 239 they are “less legally secure
than alternatives,” such as regular pharmacies and regulated medications. 240 Doctors are required to know whether a
given compounding pharmacy meets applicable safety standards. 241


B. REGULATORY OVERSIGHT OF COMPOUNDING PHARMACIES

In the early 1990s, the FDA became aware of compounding pharmacies whose practices did not align with the traditional
individualized, prescription-based schema. 242 In response to this discovery, the FDA issued a compliance *1369
guide in 1992, 243 which effectively alerted compounding pharmacies that they were not unconditionally exempt from
FDA regulation: if a compounding pharmacy's actions exceeded its traditional scope, the FDA had the authority to
intervene. 244 Five years later, however, the FDA acknowledged continued confusion regarding the actual scope of that
authority and worked with the Senate Committee on Labor and Human Resources to design legislation to clarify the
matter. 245


In 1997, section 127 of the Federal Food and Drug Administration Modernization Act (FDAMA) 246 represented the
first time that specific federal law governed the practices of compounding pharmacies. With unprecedented clarity,
the FDAMA distinguished drug manufacturers from compounding pharmacies and listed nine requirements for
classification as a true compounding pharmacy. 247 These requirements stipulated the need to produce compounded
drugs for identified individual patients pursuant to a prescription from a licensed physician and prohibited the
production of drugs that were effectively identical to “commercially available drug product[s].” 248 Pharmacies that
met these requirements fell within the scope of regulatory exemptions that the FDA had created for true compounding
pharmacies 249 and would not be required to register with the FDA, obtain its approval, or comply with any
manufacturing practices or safety and efficacy standards. 250 The FDA's goal was to create a framework that would
enable true compounding pharmacies to continue to produce customized drugs but prevent large-scale manufacturers
from operating under the guise of compounders. 251

Since the passage of the FDAMA, several lawsuits and FDA actions have triggered reexamination of the legislation
but, rather remarkably, no substantial changes have been made. 252 Beginning in the early 2000s, however, the FDA
sent seventy-five publicly available warning letters to compounding pharmacies in twenty-eight states as well as Puerto
Rico, Canada, and Brazil, noting a series of problems: failed inspections, the discovery of problematic compounded


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drugs, potential and actual violations of the FDA regulations, failed safety and efficacy standards, false or misleading
statements, and other disturbing *1370 issues. 253 As concern grew that some pharmacies were exceeding the scope
of traditional compounding practices, 254 the FDA issued reports in 2003 255 and 2006 256 revealing the discovery of
compounded drugs that failed safety and efficacy tests, as well as serious illnesses and deaths that had occurred in
association with compounded drugs. 257 Yet in 2007, legislation aimed at reassessing and increasing the FDA's limited
authority over compounding pharmacies was met with criticism and disregard. The prevailing notion remained that state
pharmacy boards were better equipped to regulate compounding pharmacies than the FDA. 258

By October 2012, however, sentiments had shifted. A contaminated steroid produced by the New England Compounding
Center (NECC) in Massachusetts led to a fungal meningitis outbreak that has killed a current total of 64 people and
sickened 751 others across the nation. 259 The facility that had compounded the contaminated drug was alleged to be a
prime example of a compounding pharmacy operating like a drug-manufacturing company on a larger-than-permissible
scale, and the tragic public-health consequences triggered a new receptiveness to increased oversight of compounding
pharmacies. 260

The FDA inspected thirty-one compounding pharmacies over the next six months and made a series of disquieting
discoveries: 261 “unidentified black particles floating in vials of supposedly sterile medicine; rust and mold in “clean
rooms' where sterile injectable medications were produced; technicians handling supposedly sterile products with bare
hands; and employees wearing *1371 non-sterile lab coats.” 262 Furthermore, a study released in April 2013 by the
U.S. House of Representatives revealed that almost all states provide grossly inadequate and often altogether ineffective
oversight and regulation of the compounding pharmacies within their borders. Issues include poor record keeping, a lack
of uniformity among states, ignorance of dangerous processes and products from other states, and minimal preventative
and safety assurance measures. 263 In response to these findings, legislation has been proposed that would require FDA
approval of not only pharmacies engaged in interstate commerce but also those involved in high-risk compounding.


As the FDA continues to explore methods of increasing its authority over compounding pharmacies, 264 state pharmacy
boards are working hastily to improve their regulatory systems in response to the negative attention. Proposed state
regulations include the following: stricter licensure requirements for local compounding pharmacies and out-of-state
pharmacies that deliver in state; clearer definitions of compounding; additional inspection programs and requirements;
and the installment or improvement of prescription monitoring programs. 265


C. PROPOSED BILLS AND NEWLY ADOPTED LEGISLATION

Following the October 2012 fungal meningitis outbreak in Massachusetts, several bills were proposed regarding the
regulation of compounding pharmacies. 266 In large part, these bills address the question of which government body
should enforce regulations and penalize violations. Other features of the bills include the need to clearly and consistently
distinguish between the terms “compounding” and “manufacturing”; the definitions of ““compounding,” “sterile,”
and “non-sterile” practices; guidelines for the frequency, funding, and performance of inspections; and the scope of
transparency. 267 The bills also create three separate categories of pharmacies, distinguishing among those that *1372
engage in basic compounding and those that engage in high-risk sterile compounding. 268

In May 2013, the U.S. Senate Committee on Health, Education, Labor, and Pensions (HELP Committee) unanimously
approved the Pharmaceutical Compounding Quality and Accountability Act, clarifying which kinds of compounding
pharmacies are regulated by the state and which are regulated by the FDA. 269 The legislation distinguishes FDA-
regulated drug manufacturers from state-regulated small-scale traditional compounding pharmacies and separately



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identifies large-scale compounding manufacturers who operate more like mass drug producers. 270 The bill then
categorizes these large-scale businesses as manufacturers, eliminating their pharmacy status altogether and removing
their ability to be licensed as such. 271 If passed, the legislation would grant the FDA full authority to be the sole regulator
of these compounding manufacturers through measures such as conducting regular inspections and ensuring that all
products manufactured are reported to the FDA. 272 Under this bill, however, compounding manufacturers still would
not be subject to the same kinds of regulations as traditional drug manufacturers under FDA authority because, for
example, drugs produced by these kinds of manufacturers are by their very nature compounded rather than approved
by the FDA. 273 The HELP Committee continues to urge the Senate to bring this legislation to the floor for a vote in
order to “prevent further tragedies.” 274


On May 23, 2013, a House bill was proposed that also appears to close the gap in FDA authority. 275 The Verifying
Authority and Legality in Drug Compounding *1373 Act of 2013 (VALID Compounding Act) also separates
pharmacies into three categories and recognizes that small traditional compounding pharmacies that produce drugs
for an “identified individual patient” should remain under the authority of the state. 276 However, the VALID
Compounding Act still acknowledges large-scale compounders as pharmacies, in contrast to the Senate bill. 277 The
legislation seeks to give the FDA exclusive authority over compounding pharmacies that ship products across state lines
or engage in “high-risk sterile compounding,” 278 whereas other compounding pharmacies must follow different FDA
regulations in addition to state regulations. 279 Compounding pharmacies would be subject to inspections, reporting, and
labeling requirements. 280 The VALID Compounding Act does create exceptions for compounding manufacturers to
produce non-patient-specific drugs and commercially available drugs under certain circumstances, including the ability
to compound drugs listed on the drug shortage list or drugs that are “necessary to protect public health or wellbeing.” 281

The House also proposed a second bill, the Compounding Clarity Act of 2013 (Clarity Act), which is a discussion draft
authored by Representative Morgan Griffith. 282 Like both the Senate bill and the VALID Compounding Act, this
legislation recognizes that traditional pharmacy compounding is a separate practice that should remain subject to only
state regulation and exempt from various FDA regulations. 283 Similar to the other bills, the Clarity Act creates a new
category for nontraditional compounding pharmacies that do not operate like a traditional, small-scale compounding
pharmacy. 284

The Clarity Act, however, differs from the other bills regarding what kind of pharmacy is considered a “traditional
compounding pharmacy” and what regulations those pharmacies must follow. For example, the Clarity Act creates
a broad exception allowing traditional compounding pharmacies to compound both limited and unlimited quantities
of drugs in advance of a prescription, subject to a variety of specific terms, whereas the Senate bill has a similar
but much more limited provision, particularly with respect to the unlimited- *1374 quantities portion. 285 In even
sharper contrast, the VALID Compounding Act strictly requires that a drug only be compounded pursuant to a valid
and existent prescription, without exception. 286 Finally, the Clarity Act has not yet provided much detail on what
kind of pharmacy would be identified as a large-scale-manufacturing compounding pharmacy or what regulations
manufacturing compounders must follow. 287

On July 16, 2013, the Subcommittee on Health of the U.S. House Energy and Commerce Committee held a hearing
to discuss all three proposed bills and examine their differences as well as the general need for stricter compounding
regulation. 288 At the hearing, a representative from the National Association of Boards of Pharmacy (NABP) testified
regarding the proposed compounding regulatory bills. 289 The representative's statements provided a great deal of
support for the Senate bill, specifically with respect to the distinction between a compounding pharmacy and a



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compounding manufacturer and the clarity afforded by the provision to prohibit compounding manufacturers from
becoming licensed as pharmacies. 290 Additionally, the NABP representative stated that the House bills seemed too
permissive and left open several gaps for businesses to potentially operate as licensed compounding pharmacies despite
being engaged in large-scale compounded-drug manufacturing. 291

Irrespective of these efforts, it was not until November 2013 that the final piece of proposed legislation--the “Drug
Quality and Security Act”--was passed by both the House and the Senate. 292 Introduced at the end of September, the
Act clarifies current federal law about pharmacy compounding so that a uniform, nationwide standard may be applied
to compounding pharmacies. 293 Although other bills had proposed it, the Drug Quality and Security Act marks the
first piece of passed legislation that separates regulation of traditional small-scale compounding pharmacies from large-
scale compounders that operate more like pharmaceutical manufacturers. The Act leaves regulation over traditional
compounding pharmacies in the hands of the states, subject to the same FDA Compliance Policy guidance that they
have adhered to since 2002. The Act refers to these large-scale compounding manufacturers as outsourcing facilities and
provides voluntary federal registration for outsourcing facilities, set to begin in fiscal year 2015. These facilities will be
permitted to compound *1375 bulk quantities of drugs on the FDA's drug shortage list, in addition to other drugs that
are on a “‘clinical need’ list to be established by the FDA, without a prescription, as well as distribute these formulations
out of state without limitation.” 294 Registered outsourcing facilities will be subject to FDA oversight similar to that
of regular pharmaceutical manufacturers in the United States. 295 Under the Act, outsourcing facilities will have to
identify themselves for the FDA, enabling the FDA to know what kinds of pharmaceuticals each outsourcing facility
is making and to receive event reports about all of the compounded drugs. 296 The FDA's regulation powers will also
grant them the authority to conduct risk-based inspections. 297 Further, certain drugs will be listed as prohibited from
being compounded at these facilities. 298 The Act has been widely endorsed by many national health organizations 299
and by President Obama. 300


D. IMPLICATIONS FOR DEATH-PENALTY STATES

Heightened regulation of compounding pharmacies seems inevitable under both state and federal law. This regulation
is unlikely to further the goals of death-penalty states for a number of reasons. For example, the proposed VALID
Compounding Act prohibits even small, state-regulated pharmacies from producing copies or effective copies of
commercial drugs, no matter the quantity and with few exceptions. 301 This limitation would be problematic for states
seeking lethalinjection drugs, given that many such drugs are simply high doses of commercially available medication. 302
Another notable aspect of general compounding regulation is its strict prescription requirements, which should prohibit
a compounding pharmacy from issuing a supply of lethalinjection drugs. 303 Instead, a physician must specifically order a
prescription for an identified, individual patient in advance of the drug being compounded, which would raise the issue of
finding a licensed physician willing to write a prescription for an execution drug. 304 As previously discussed, physicians
who write compounded *1376 drug prescriptions are already placing themselves at considerable risk for liability. 305
Physicians who participate in executions also face a broad range of potential repercussions, a topic discussed in depth
elsewhere. 306 Presumably, writing a prescription would qualify as participation.

Whether under state or federal oversight, compounding pharmacies may soon also face an unprecedented barrage
of regulations and requirements that will complicate every aspect of their operations, ranging from systems of
communication, to sterilization procedures, to the need for lengthy and strict memorandums with each individualized
prescription. 307 Additional complications associated with producing lethalinjection drugs, such as the Drug Quality and
Security Act's extensive requirements for tracking and tracing drug products, may be too great a burden. Perhaps most
significantly, however, these regulations would require an unprecedented degree of transparency from death-penalty


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states regarding their execution methods. Although the exact specifications are yet to be established by the Secretary of
Health and Human Services, it seems that it would be challenging for a correctional facility to maintain the secrecy of
its pharmaceutical supplier because it would be up to the pharmacy itself to disclose all of its transaction history. Death-
penalty states have a history of gravitating toward secrecy when their execution methods are questioned, 308 yet these
regulations may hinder them from doing so.


V. POST-BAZE SECRECY

As states hone in on local compounding pharmacies as potential sources of lethalinjection drugs, they are becoming
increasingly less willing to share information about executions with the public, which raises the disturbing possibility that
states are knowingly trying to hide the risks associated with compounded drugs. South Dakota, after switching to a one-
drug protocol and carrying out an execution in October 2012, was said to have obtained its order of pentobarbital from
a local compounding pharmacy. 309 Alarmingly, the compounded drug was contaminated with fungus 310 --a discovery
that was made only because the drug was analyzed after the inmate began snoring and then *1377 remained open-eyed
as he was executed. 311 Shortly after the South Dakota execution, Pennsylvania also announced that it would be using
compounded drugs in its lethalinjection protocol for an execution the following month. 312 That announcement came
only after enormous judicial pressure, including two federal court orders to disclose the drug source in a ruling pursuant
to a class action lawsuit challenging the constitutionality of the state's protocol. 313 The Pennsylvania Department of
Corrections initially refused to reveal the identity of their drug supplier because they feared disclosure would lead to
public pressure on the pharmacy to withdraw its agreement to provide the drugs. 314 Indeed, it seems that states are
keenly aware that their difficulties in obtaining lethalinjection drugs stem largely from transparency issues and thus seek
to block that transparency at every turn.

This secrecy regarding lethalinjection practices and risk is particularly troublesome given that the number of states
reaching out to compounding pharmacies is only increasing. In March 2013, the Colorado Department of Corrections
sent a letter to almost one hundred local compounding pharmacies seeking to “acquire sodium thiopental or other
equally or more effective substance to cause death” in accordance with state law. 315 In July 2013, Georgia became the
fourth state to join the effort, acknowledging the increasing difficulty of obtaining lethalinjection drugs after its existing
supply of pentobarbital expired in March. 316 When the Georgia Department of Corrections revealed in July 2013 that it
would use a compounding pharmacy to obtain its supply of pentobarbital for an upcoming execution, that information
was only acquired from an email received through an open-records request. 317 In March 2013, Georgia passed the
LethalInjection Secrecy Act, enabling the identities of lethalinjection suppliers to be shielded from disclosure to the public
and the media--and possibly even the judiciary. 318 According to the Act's provisions, this information is considered a
““state secret.” 319 Several states have proposed or passed new regulations that exclude the death-penalty protocol from
required *1378 disclosure, thereby keeping both the method itself as well as the source pharmacy, compounding or
otherwise, completely confidential. 320

Certain states have addressed this issue more candidly than others. An Arkansas bill that was approved in February
2013 simply addresses all matters of lethalinjection administration and provides that all execution procedures are not
subject to disclosure under the state's Freedom of Information Act. 321 Similarly, a Tennessee bill passed in April 2013
expanded the existing law that broadly protects the identity of individuals who have been or may be involved in an
execution to include protecting the identity of entities as well. 322 A South Dakota bill passed in February 2013 is a bit
more explicit, openly stating that the Act's specific purpose is to “protect the identity of the person or entity supplying”
the lethalinjection drug. 323




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In spite of compelling public interest in ensuring that lethalinjection protocols are acceptable, legal, and constitutional
(not to mention the First Amendment right of access to certain information, including the viewing of executions), custom
and in some cases state regulation dictate that the identities of execution teams are concealed. 324 States profess crucial
reasons to shield the identities of all parties who are involved in the lethalinjection process, including doctors, pharmacists,
drug providers, wholesalers, retailers, or manufacturers. 325 Currently the American Medical Association, American
Nurses' Association, American Society of Anesthesiologists, and National Commission on Correctional Health Care all
have ethical rules and guidelines opposing participation in lethalinjections. 326 Without guaranteed anonymity, states
argue, companies and medical professionals would be disinclined to assist the state with its execution duties for fear of
a blight on their personal or professional reputations, while executioners and correctional facilities might face threats
from death-penalty opponents. 327 Yet these fears are carryovers from past methods of execution, which employed
a substantially smaller execution team. In contrast, lethalinjections involve multiple participants, 328 none of whom
presumably is wholly responsible for the execution, including the producer of the lethalinjection *1379 drugs. 329

Given states' current desperation to obtain such drugs, the need for states to ensure safe and constitutional practices with
regard to procurement and protocol far outweighs antiquated notions regarding the perceived risk to a lone executioner.
Greater transparency of the entire lethalinjection process is a feasible solution. Indeed, my own research indicates that in
modern times, death-penalty states' aversion to transparency is far more rooted in the desire to conceal inconsistencies
and incompetence. 330

In 2001, I conducted a nationwide study of lethalinjection protocols for all thirty-six states that used the method at that
time (Study One). Study One focused on a number of key criteria common to many lethalinjection protocols, including
the types and amounts of chemicals that are injected; the selection, training, and qualifications of the lethalinjection team;
and the involvement of medical personnel. One of Study One's most problematic findings, however, was that the criteria
set out in many of the protocols were far too vague to allow for adequate assessment. When the protocols did offer details,
such as the amount and type of chemicals that executioners inject, they often revealed striking errors and a shocking
level of ignorance about the procedure. 331 Four years later, in 2005, I conducted a second nationwide study (Study
Two). One of the goals of Study Two was to determine if states had changed their protocols during the years in which
lethalinjection litigation gained traction. In other words, Study Two provides a snapshot of lethalinjection protocols at a
key point in time--at the cusp of the increased scrutiny of protocols but prior to the onslaught of lethalinjection challenges
starting in 2006. 332

For the most part, I found that over the four-year period between Study One and Study Two, states typically withheld
more information than in the past. For example, one aspect of Study Two showed that the number of states with complete
protocols fell to less than one-third of the Study One numbers. In addition, in Study Two, the number of states claiming
confidentiality about their protocols increased nearly fourfold. Likewise, in Study Two, two states said protocols did not
exist and one state provided no information whatsoever. In total, one-half of the states that applied lethalinjection did
not allow any *1380 evaluation of their protocols, either because the information is confidential or nonexistent. 333

In 2008, death-penalty states had safety in numbers because, at least superficially, they appeared to follow essentially the
same kind of protocol in terms of lethalinjection drug usage. 334 By 2013, however, there is a hodgepodge of protocols
among states that has no parallel prior to Baze, whether that comparison is being made relative to 2008 or 1977 or as far
back as 1890. 335 The lethalinjection procedure is more dangerous and inconsistent than ever, and the result is a perpetual
effort by states to maintain secrecy at a time when transparency is most paramount.

Recognizing this need for transparency, state justice departments have started to intervene. In 2011, the Chief Deputy
Attorney General of Delaware ordered that the state Department of Corrections violated the Freedom of Information



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Act 336 by denying a request from a reporter for access to all information regarding its purchase and inventory of
pentobarbital and sodium thiopental. 337 A year later in Texas, Assistant Attorney General Sean Opperman ordered
the Department of Criminal Justice to respond to requests for public access to information regarding the amount of a
specific lethalinjection drug in the Department's possession as well as information about the lethalinjection protocol. 338
He acknowledged that such information is not considered confidential under the state code in conjunction with a physical
safety exception recognized by the Texas Supreme Court one year earlier 339 and concluded that the information is not
exempt from public disclosure. Opperman further stated that safeguarding the identity of the Department's suppliers of
lethalinjection drugs so that they are free from harassment and harm by certain interest groups is not a compelling enough
reason to inhibit access. In June 2013, a federal judge ruled that the Louisiana Department of Corrections is required
to publicly disclose details of its intended death-penalty protocol, including inventory records, the drugs to be used, and
expiration dates issued by the supplying pharmacy. 340 Most recently, an Atlanta circuit judge granted injunctive relief
to a death-row inmate who challenged Georgia's LethalInjection Secrecy Act as a violation of *1381 his due process
rights in a potential Eighth Amendment claim. 341 As a result, the court found unacceptable the potential for the death-
row inmate to be barred from any knowledge about the drugs, including whether they would facilitate an execution that
is cruel and unusual. 342

In May 2013, the American Civil Liberties Union (ACLU) of Colorado sued the Colorado Department of Corrections
over the secrecy of its death-penalty procedures and asked the court to compel the Department to make publicly available
information pertaining to agreements with lethalinjection drug pharmacies as well as details of its execution protocol. 343
On August 1, 2013, a district court judge ordered the Department to release a redacted version of its execution protocol,
reasoning that it would facilitate a necessary public discussion of the death penalty in Colorado. 344 However, the judge
decided that details about the drug supplier should be part of the redacted information. 345 The judge rejected the ACLU
request for the Department to release the identity of the source of the drugs, specifically reasoning that exposing the
pharmacy could negatively impact their business or employees, “which far outweighs” the need for public disclosure. 346
Yet the judge's decision contrasts sharply with developments in other states which allow scrutiny of the drug supplier
and the drug protocol, not just the protocol alone. Providing cover solely to compounding pharmacies--now such a
key component of the lethalinjection process--fails to recognize the complex interdependency among the many different
participants in the machinery of death. No participant should be holding secrets.


CONCLUSION

Lethalinjection is this country's primary method of execution, yet its implementation is chaotic and its future is unclear.
This Article's point-in-time snapshot provides an overview of the multiple factors that have contributed to the prevailing
state of confusion. The Supreme Court has done little to clarify matters--the Baze Court left key questions regarding
lethalinjection unanswered, and the issues that the Court did address have been rendered moot by *1382 unanticipated
obstacles such as the shortage of lethalinjection drugs. More than any legal argument, this practical impediment
jeopardizes the use of lethalinjection as a method of execution. As death-penalty states turn to increasingly nontraditional
sources of drugs, such as compounding pharmacies, they face overwhelming criticism and legal challenges. In response,
they have intensified their efforts to obscure information regarding the development and implementation of their
lethalinjection protocols.

Indeed, as risk and confusion surround lethalinjection procedures, the only overarching constant appears to be states'
desire for secrecy regarding execution practices. Amidst the chaos of drug shortages, changing protocols, legal challenges,
and botched executions, states are unwavering in their desire to conceal this disturbing reality from the public. In fact,
the current chaos may be viewed at least in part as a repercussion of that reticence: any efforts to fix the system via
legal challenges and legislation are hindered by the difficulty in gathering enough information to even understand its



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problems. Until death-penalty states are willing to focus more on solutions than secrecy, lethalinjection as a method of
execution will remain mired in an endless cycle of difficulty and disorder.



Footnotes
a1     Arthur A. McGivney Professor of Law, Fordham University School of Law. © 2014, Deborah W. Denno. I am most grateful to
       the following individuals for their contributions to this Article: Ty Alper, David Barron, Eric Berger, Kathleen Ellis, Marianna
       Gebhardt, Bruce Kreter, Paul Marcus, Julie Salwen, Gregory Shaffer, Jordan Steiker, and Lloyd Weinreb. For insightful
       comments on earlier versions of this Article, I thank the participants in presentations given at the Academy of Criminal Justice
       Sciences, Fairleigh Dickinson University (the Public Mind Poll), Fordham University School of Law, the New York City
       Bar Association, Syracuse University (S.I. Newhouse School of Public Communications), University of Houston Law Center
       (Criminal Justice Institute), University of Miami School of Law, Vermont Law School, Washington and Lee University School
       of Law, and Yeshiva University. I give special thanks to an extraordinarily gifted and dedicated group of research assistants
       who worked at varying times during the course of this project: Marissa Carro, Amanda Fachler, Daniel Goddin, Jeremy Gold,
       Irina Knopp, Ellen Koenig, Nimrah Najeeb, Ariel Sodomsky, Erica Valencia-Graham, and Maya Zandsberg. For superb
       research support and skill, I could always turn to Fordham Law School's library staff-- especially Alissa Black-Dorward, Juan
       Fernandez, and Herbert Mayner. Robert Yasharian created the Article's charts, and I appreciate his talent and generosity.
       I am indebted to five sources for research funding without which this project could not have existed: Fordham Law School,
       the Proteus Action League, Atlantic Philanthropies, the Reynolds Family, and the Arthur and Charlotte Zitrin Foundation.
       Members of the Georgetown Law Journal, Aaron Curtis in particular, gave outstanding editorial assistance. No individual or
       organization acknowledged in this Article necessarily supports the Article's interpretations or conclusions. Responsibility for
       any mistakes or misjudgments rests solely with this author. This Article is dedicated to the memory of Neil Alan Weiner, a
       brilliant death-penalty scholar, generous colleague, and the kindest of friends.
1      Baze v. Rees, 553 U.S. 35, 40-63 (2008) (plurality opinion) (examining the issues concerning the three-drug protocol). For
       a detailed discussion of these problems and developments over the decades, see Deborah W. Denno, Getting to Death: Are
       Executions Constitutional?, 82 IOWA L. REV. 319, 373-400 (1997) [hereinafter Denno, Getting to Death]; Deborah W. Denno,
       The LethalInjection Quandary: How Medicine Has Dismantled the Death Penalty, 76 FORDHAM L. REV. 49, 51-101 (2007)
       [hereinafter Denno, LethalInjection Quandary]; Deborah W. Denno, When Legislatures Delegate Death: The Troubling Paradox
       Behind State Uses of Electrocution and LethalInjection and What It Says About Us, 63 OHIO ST. L.J. 63, 90-141 (2002)
       [hereinafter Denno, When Legislatures Delegate].
2      Richard C. Dieter, Methods of Execution and Their Effect on the Use of the Death Penalty in the United States, 35 FORDHAM
       URB. L.J. 789, 802-03 (2008).
3      553 U.S. at 40-41.
4      Chief Justice John Roberts announced the judgment of the Court and delivered an opinion in which Justices Anthony Kennedy
       and Samuel Alito joined, id. at 40-63; Justice Alito filed a concurring opinion, id. at 63-71; Justice John Paul Stevens filed an
       opinion concurring in the judgment, id. at 71-87; Justice Antonin Scalia filed an opinion concurring in the judgment, which
       Justice Clarence Thomas joined, id. at 87-93; Justice Thomas filed an opinion concurring in the judgment, which Justice Scalia
       joined, id. at 94-107; Justice Stephen Breyer filed an opinion concurring in the judgment, id. at 107-13; and Justice Ruth Bader
       Ginsburg filed a dissenting opinion in which Justice David Souter joined, id. at 113-23.
5      Id. at 41 (plurality opinion). The Eighth Amendment provides that “[e]xcessive bail shall not be required, nor excessive fines
       imposed, nor cruel and unusual punishments inflicted.” U.S. CONST. amend. VIII.
6      Baze, 553 U.S. at 50 (plurality opinion) (internal quotation marks omitted).
7      Id. at 61.
8      Deborah W. Denno, The LethalInjection Debate: Law and Science, 35 FORDHAM URB. L.J. 701, 702 (2008).
9      Baze, 553 U.S. at 53-54 (plurality opinion); Denno, LethalInjection Quandary, supra note 1, at 55-56.




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10    Baze, 553 U.S. at 53 (plurality opinion) (“It is uncontested that, failing a proper dose of sodium thiopental that would render
      the prisoner unconscious, there is a substantial, constitutionally unacceptable risk of suffocation from the administration of
      pancuronium bromide and pain from the injection of potassium chloride.”).
11    Id. at 53-61.
12    Dieter, supra note 2, at 800-08.
13    Adam Liptak, Challenges Remain for LethalInjection, N.Y. TIMES, Apr. 17, 2008, http://www.nytimes.com/2008/04/17/
      washington/17lethal.html.
14    Dieter, supra note 2, at 803-04.
15    Linda Greenhouse, Justices Chilly to Bid to Alter Death Penalty, N.Y. TIMES, Jan. 8, 2008, http://
      www.nytimes.com/2008/01/08/us/08scotus.html.
16    See infra Part II.
17    See supra note 4 and accompanying text.
18    For an analysis of the different opinions in Baze, see generally Deborah W. Denno, For Execution Methods Challenges, the
      Road to Abolition Is Paved with Paradox, inTHE ROAD TO ABOLITION? THE FUTURE OF CAPITAL PUNISHMENT
      IN THE UNITED STATES 183 (Charles J. Ogletree, Jr. & Austin Sarat eds., 2009).
19    Liptak, supra note 13 (citing commentators' responses to Baze).
20    Baze v. Rees, 553 U.S. 35, 71 (2008) (Stevens, J., concurring) (“When we granted certiorari in this case, I assumed that our
      decision would bring the debate about lethalinjection as a method of execution to a close. It now seems clear that it will not.”).
21    Id. at 105 (Thomas, J., concurring) (emphasizing that the weaknesses and vagueness of the Baze Court's decision would be
      “sure to engender more litigation”).
22    Id. at 71 (Alito, J., concurring) (warning that “[t]he Court should not produce a de facto ban on capital punishment by adopting
      method-of-execution rules that lead to litigation gridlock”).
23    See infra Part II.
24    See infra notes 159, 205, 311-12 and accompanying text.
25    See infra section II.B.
26    SeeU.S. GOV'T ACCOUNTABILITY OFFICE, GAO-14-194, DRUG SHORTAGES: PUBLIC HEALTH THREAT
      CONTINUES, DESPITE EFFORTS TO HELP ENSURE PRODUCT AVAILABILITY 14 fig.4, 21 (2014) (charting the
      number of active drug shortages from January 2007 through June 2013 and finding that the immediate cause of drug shortages
      is traceable to slow or halted production of drugs). Hospira, Inc. was among the manufacturers interviewed for the GAO
      report. Id. at 65.
27    See infra Parts III, IV.
28    See Kimberly Leonard, LethalInjection Drug Access Could Put Executions on Hold, CENTER FOR PUB. INTEGRITY (July
      11, 2012, 4:23 PM), http:// www.publicintegrity.org/2012/04/04/8589/lethal-injectiondrugaccess-could-put-executions-hold.
29    See Bill Mears, States Urge Feds to Help Import LethalInjection Drugs, CNN (May 21, 2012, 7:40 PM), http://
      www.cnn.com/2012/05/21/politics/states-lethal-injection-drugs (citing a statement released by the state attorneys general from
      fifteen states asking for help, noting that “[a]t the very core of the states' police powers are their powers to enact laws to protect
      their citizens against violent crimes” and “[a]s state attorneys general, we are tasked with enforcing those laws, including in
      instances where capital punishment is authorized for the most heinous of crimes”).




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30    See Meredith Clark, US Execution Strategy Threatened by Drug Shortfall, MSNBC (May 3, 2013, 11:20 AM), http://
      www.msnbc.com/melissa-harris-perry/us-execution-strategy-threatened-drugshor.
31    SeeSTAFF OF REP. EDWARD J. MARKEY, U.S. HOUSE OF REPRESENTATIVES, STATE OF DISARRAY: HOW
      STATES' INABILITY TO OVERSEE COMPOUNDING PHARMACIES PUTS PUBLIC HEALTH AT RISK 6 (2013),
      available at http://www.hsdl.org/? view&did=735130 (reporting the responses to an investigation which examined the state
      oversight of compounding pharmacies).
32    See Jesse M. Boodoo, Compounding Problems and Compounding Confusion: Federal Regulation of Compounded Drug Products
      and the FDAMA Circuit Split, 36 AM. J.L. & MED. 220, 232-34 (2010).
33    SeeOFFICE OF REP. EDWARD J. MARKEY, U.S. HOUSE OF REPRESENTATIVES, COMPOUNDING
      PHARMACIES: COMPOUNDING RISK 5 (2012), available at http:// www.snmmi.org/files/docs/Compounding
      %20Pharmacies%20-%20Compounding%20Risk% 20FINAL_0_1382017898361_1.pdf (addressing current regulatory
      oversight and gaps in legal authority over compounding pharmacies in response to the fungal meningitis outbreak in
      Boston); Editorial, Fix ‘Compounding Pharmacy’ Oversight: Our View, USA TODAY (Apr. 28, 2013, 6:27 PM), http://
      www.usatoday.com/story/opinion/2013/04/28/compounding-pharmacy-fda-editorials-debates/2119621.
34    See Multi-State Meningitis Outbreak--Current Case Count, CENTERS FOR DISEASE CONTROL & PREVENTION (Oct.
      23, 2013, 5:30 PM), http:// www.cdc.gov/hai/outbreaks/meningitis-map-large.html. For more information on the meningitis
      outbreak and the continually developing outcomes, see Scott Gottlieb, Compounding a Crisis at FDA, FORBES (May 24,
      2013, 8:59 AM), http:// www.forbes.com/sites/scottgottlieb/2013/05/24/compounding-a-crisis-at-fda/.
35    See Margaret A. Hamburg, Proactive Inspections Further Highlight Need for New Authorities for Pharmacy Compounding,
      FDA VOICE (Apr. 11, 2013), http://blogs.fda.gov/fdavoice/index.php/2013/04/proactive-inspections-further-highlight-need-
      for-new-authorities-for-pharmacy-compounding/; Summary: 2013 FDA Pharmacy Inspection Assignment, FDA, http://
      www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/PharmacyCompounding/ucm347722.htm (last updated
      Jan. 9, 2014); see also infra notes 261-62 and accompanying text (listing the extent of the problems).
36    SeeSTAFF OF REP. EDWARD J. MARKEY, supra note 31, at 2-3.
37    See Andrew Pollack, Checks Find Unsafe Practices at Compounding Pharmacies, N.Y. TIMES, Apr. 12, 2013, at A12; see
      also Kara Nett Hinkley, Compounding Interest, ST. LEGISLATURES, June 2013, at 22, 23, available at http://www.ncsl.org/
      Portals/1/Documents/magazine/articles/2013/SL_0613-Compounding.pdf; State Regulation of Compounding Pharmacies,
      NAT'L CONF. OF ST. LEGISLATURES, http://www.ncsl.org/research/health/regulating-compounding-pharmacies.aspx
      (last updated Jan. 2014).
38    SeeAUSTIN SARAT, WHEN THE STATE KILLS: CAPITAL PUNISHMENT AND THE AMERICAN CONDITION
      84 (2001) (referring to the “unending search for technologies that in their capacity to kill with a pretense of humanity allow
      those who kill both to end life and, at the same time, to believe themselves to be the guardians of a moral order that, in part,
      bases its claims to superiority in its condemnation of killing”).
39    For discussions of legislative changes in execution methods over time, see Deborah W. Denno, Is Electrocution an
      Unconstitutional Method of Execution? The Engineering of Death over the Century, 35 WM. & MARY L. REV. 551, 559-77
      (1994) [hereinafter Denno, Engineering of Death]; Denno, Getting to Death, supra note 1, at 375-79; Denno, LethalInjection
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40    See generallyDenno, LethalInjection Quandary, supra note 1 (documenting the history and perpetuation of lethalinjection).
41    SeeREPORT OF THE COMMISSION TO INVESTIGATE AND REPORT THE MOST HUMANE AND PRACTICAL
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      Argus Co. 1888).
42    SeeDenno, Engineering of Death, supra note 39, at 572-73.
43    SeeDenno, LethalInjection Quandary, supra note 1, at 80-81.




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44    SeeROYAL COMMISSION ON CAPITAL PUNISHMENT, REPORT, 1949-1953, [Cmd.] 8932, at 258-61 (U.K.).
45    Id. at 258.
46    428 U.S. 153, 207 (1976) (plurality opinion).
47    SeeBaze v. Rees, 553 U.S. 35, 42 (2008) (plurality opinion).
48    SeeDenno, LethalInjection Quandary, supra note 1, at 65.
49    SeeDenno, Getting to Death, supra note 1, at 375.
50    SeeDenno, LethalInjection Quandary, supra note 1, at 66.
51    Id. (alteration in original) (quoting E-mail from A. Jay Chapman, Forensic Pathologist, Santa Rosa, Cal., to author (Jan.
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52    See id. at 66-75.
53    See Jim Killackey, Execution Drug Like Anesthesia, DAILY OKLAHOMAN, May 12, 1977, at 1.
54    Id.
55    See Jim Killackey, Officials Draw Grim Execution Scene, DAILY OKLAHOMAN, Nov. 12, 1979, at 1.
56    Id. (emphasis added).
57    See John Greiner, Drug Execution Plan Suffers Senate Setback, DAILY OKLAHOMAN, Feb. 16, 1977, at 16 (explaining that
      one senator “apparently had drummed up enough votes to have killed the bill had it been brought to a final vote” and noting
      the concerns of a former assistant district attorney that “the legislature and the Senate should study [the bill] more carefully”).
58    See Mike Hammer, Drug Death Bill Passes, DAILY OKLAHOMAN, Apr. 21, 1977, at 65.
59    SeeDenno, LethalInjection Quandary, supra note 1, at 64-117.
60    Baze v. Rees, No. 04-CI-01094, 2005 WL 5797977, at *2 (Ky. Cir. Ct. July 8, 2005), aff'd, 217 S.W.3d 207 (Ky. 2006), aff'd,
      553 U.S. 35 (2008).
61    SeeDenno, Getting to Death, supra note 1, at 375; Denno, LethalInjection Quandary, supra note 1, at 78; Denno, When
      Legislatures Delegate, supra note 1, at 92, 95-100.
62    See supra Chart 1 (showing that Idaho, New Mexico, Washington, and Massachusetts followed the lead set by Oklahoma and
      Texas by adopting lethalinjection before an actual execution took place).
63    SeeDenno, Getting to Death, supra note 1, at 375 (discussing the 1982 execution of Charles Brooks, Jr. in Texas).
64    See supra Chart 1 (showing that Arkansas, Illinois, Montana, Nevada, New Jersey, North Carolina, and Utah adopted
      lethalinjection in 1983).
65    By the end of 1983, thirty-eight states had the death penalty. SeeBUREAU OF JUSTICE STATISTICS, U.S. DEP'T OF
      JUSTICE, CAPITAL PUNISHMENT 1983, at 6-7 (1986).
66    See supra Chart 1 (showing that a series of states adopted lethalinjection between 1994 and 2002, starting with Kansas,
      Maryland, Virginia in 1994; Connecticut, Indiana, New York, and South Carolina in 1995; Kentucky and Tennessee in 1998;
      Florida and Georgia in 2000; and Alabama in 2002).
67    In 2008, the Nebraska Supreme Court held electrocution to be unconstitutional. State v. Mata, 745 N.W.2d 229, 278 (Neb.
      2008). A year later, the Nebraska legislature adopted lethalinjection. NEB. REV. STAT. § 83-964 (2010).
68    See supra Chart 1.



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69    Baze v. Rees, 553 U.S. 35, 40-63 (2008) (plurality opinion).
70    SeeARIZ. REV. STAT. ANN. § 13-757 (2010); ARK. CODE ANN. § 5-4-617 (Supp. 2013); COLO. REV. STAT. ANN.
      § 18-1.3-1202 (West 2013); DEL. CODE ANN. tit. 11, § 4209 (Supp. 2012); GA. CODE ANN. § 17-10-38 (2013); IDAHO
      CODE ANN. § 19-2716 (Supp. 2013); IND. CODE § 35-38-6-1 (2012); KAN. STAT. ANN. § 22-4001 (2007); LA. REV.
      STAT. ANN. § 15:569 (2012); MISS. CODE ANN. § 99-19-51 (West 2013); MONT. CODE ANN. § 46-19-103(3) (2013);
      NEB. REV. STAT. § 83-964 (Supp. 2010); NEV. REV. STAT. ANN. § 176.355 (LexisNexis Supp. 2013); N.C. GEN. STAT. §
      15-187 (2013); OHIO REV. CODE ANN. § 2949.22 (LexisNexis 2006); OKLA. STAT. ANN. tit. 22, § 1014 (West Supp. 2014);
      OR. REV. STAT. § 137.473 (2013); 61 PA. CONS. STAT. ANN. § 4304 (West 2010); S.D. CODIFIED LAWS § 23A-27A-32
      (Supp. 2013); TEX. CODE CRIM. PROC. ANN. art. 43.14 (West Supp. 2013); WYO. STAT. ANN. § 7-13-904 (2013). The
      New York Court of Appeals held the state's death-penalty statute unconstitutional in 2004, preventing executions. SeePeople
      v. LaValle, 817 N.E.2d 341, 367 (N.Y. 2004). However, the chosen method of execution in New York remains lethalinjection.
      N.Y. CORRECT. LAW § 658 (McKinney Supp. 2013).
71    SeeKY. REV. STAT. ANN. § 431.220 (West Supp. 2013); TENN. CODE ANN. § 40-23-114 (2012); UTAH CODE ANN.
      § 77-18-5.5 (LexisNexis 2012).
72    These eleven states are divided according to the alternative execution method they allow apart from lethalinjection. Alabama,
      Florida, South Carolina, and Virginia allow for electrocution. SeeALA. CODE § 15-18-82.1 (LexisNexis 2011); FLA. STAT.
      ANN. § 922.105 (West Supp. 2014); S.C. CODE ANN. § 24-3-530 (2007); VA. CODE ANN. § 53.1-234 (2013). New Hampshire
      and Washington also have hanging as a method. SeeN.H. REV. STAT. ANN. § 630:5 (2007); WASH. REV. CODE ANN. §
      10.95.180 (West 2012). California and Missouri both have lethal gas as an alternative. SeeCAL. PENAL CODE § 3604 (West
      2011); MO. REV. STAT. § 546.720 (Supp. 2012). This footnote does not include statutes designating a choice only if an inmate
      was sentenced before a certain date or any of the other myriad variations in statutes that have been documented in detail
      elsewhere. SeeDenno, When Legislatures Delegate, supra note 1, at 188-206.
73    The statutes for these eighteen states are listed in chronological order as follows beginning with the first state without the
      death penalty: Act of May 18, 1846, ch. 153, sec. 1, 1846 Mich. Pub. Acts 658 (fixing the punishment for first-degree murder
      at “solitary confinement at hard labor in the state prison for life”); Act of July 12, 1853, ch. 103, 1853 Wis. Sess. Laws 100;
      Act of Mar. 17, 1887, ch. 133, 1887 Me. Laws 104; Act of Apr. 22, 1911, ch. 387, 1911 Minn. Laws 572 (revising Minnesota's
      sentence for first-degree murder to “imprisonment for life”); Act of June 4, 1957, No. 282, 1957 Haw. Sess. Laws 314 (changing
      Hawaii's sentence for first- and second-degree murder to “imprisonment at hard labor” and repealing the law permitting
      capital punishment); Act of Mar. 30, 1957, ch. 132, 1957 Alaska Sess. Laws 262 (abolishing the death penalty “as punishment
      in Alaska for the commission of any crime,” prior to Alaska gaining statehood); Act of Apr. 15, 1965, No. 30, 1965 Vt. Acts
      & Resolves 28 (codified as amended at VT. STAT. ANN. tit. 13, § 2303 (2009)); W. VA. CODE ANN. § 61-11-2 (LexisNexis
      2013) (abolishing capital punishment in West Virginia); Act of May 14, 1965, ch. 436, sec. 3, 1965 Iowa Acts 828; Criminal
      Law Revision Act, ch. 116, §§ 31, 41, 1973 N.D. Laws 215, 286-88, 300 (repealing North Dakota's capital-punishment statute
      and creating new criminal sentencing guidelines); Act of Dec. 26, 1980, No. 3-307, 27 D.C. Reg. 5624 (repealing the death
      penalty and substituting it with life imprisonment instead); Commonwealth v. Colon-Cruz, 470 N.E.2d 116, 129 (Mass. 1984)
      (holding that Massachusetts's death-penalty statute violated the state constitution); Act of July 1, 1984, ch. 221, sec. 1, 1984
      R.I. Pub. Laws 523 (removing the punishment of death from sentencing provisions for first-degree murder); People v. LaValle,
      817 N.E.2d 341, 367 (N.Y. 2004) (holding the death-penalty statute in violation of the state constitution); People v. Taylor, 878
      N.E.2d 969, 983-84 (N.Y. 2007) (applying the holding in LaValle to the last remaining person on death row in the state); Act
      of Dec. 17, 2007, ch. 204, 2007 N.J. Laws 1427 (eliminating the death penalty in New Jersey and allowing for life imprisonment
      without eligibility for parole); Act of Mar. 18, 2009, ch. 11, 2009 N.M. Laws 133 (abolishing the death penalty in New Mexico
      and providing for life imprisonment without possibility of release or parole); Act of Mar. 9, 2011, No. 96-1543, 2011 Ill. Laws
      7778 (creating a death-penalty-abolition fund and abolishing the death penalty in Illinois); Act of Apr. 25, 2012, No. 12-5, 2012
      Conn. Acts 13 (Reg. Sess.) (providing for a definite sentence of imprisonment for capital felonies); Act of May 2, 2013, ch. 156,
      2013 Md. Laws 2298 (repealing the death penalty and substituting it with life without the possibility of parole). Notably, the
      abolishment of the death penalty was retroactive in every state except for New Mexico, Connecticut, and Maryland, therefore
      leaving several people on each of the three states' death rows. See 2009 N.M. Laws 133; 2012 Conn. Acts 13 (Reg. Sess.);
      2013 Md. Laws 2298.




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74    See Executions by Year Since 1976, DEATH PENALTY INFO. CENTER, http://deathpenaltyinfo.org/executions-year (last
      updated May 6, 2014).
75    SeeDEATH PENALTY INFO. CTR., THE DEATH PENALTY IN 2013: YEAR END REPORT 2-4 (2013), available at
      http:// deathpenaltyinfo.org/documents/YearEnd2013.pdf (discussing the significant decline in executions in 2013 due to states
      either suspending executions or repealing capital punishment because of problems such as drug availability and constitutional
      challenges to their protocols); Manny Fernandez, Executions Stall as States Seek Different Drugs, N.Y. TIMES, Nov. 9, 2013,
      at A1 (reporting on the inability of several states to perform executions because of the unavailability of lethalinjection drugs
      and noting that Texas, Florida, and Ohio have been scrambling to find alternative drugs); Clare Algar, Big Pharma May Help
      End the Death Penalty, NEW REPUBLIC (Oct. 22, 2013), http:// www.newrepublic.com/article/115284/big-pharma-may-
      end-death-penalty (“Shortages of lethalinjection drugs and attendant litigation have resulted in moratoria-- an official halting
      of executions--in Arkansas, California, Kentucky, Louisiana, Maryland, Missouri, Montana, Nebraska, North Carolina,
      Oregon, and Tennessee.”); Dustin Volz, Death Penalty Opponents Are Winning ... Almost Everywhere, NAT'L J. (Dec. 19,
      2013), http:// www.nationaljournal.com/technology/death-penalty-opponents-are-winningalmosteverywhere-20131219 (“The
      [Death Penalty Information Center's] end-year report cites an ongoing shortage of lethal-injection drugs in several states for
      2013's drop in executions. California, North Carolina, Arkansas, and Maryland have not required a death sentence in more
      than seven years ‘because of their inability to settle on a lethal-injection protocol.”’ (quoting DEATH PENALTY INFO.
      CTR., supra, at 4)).
76    See Shaila Dewan, Executions Resume, as Do Questions of Fairness, N.Y. TIMES, May 7, 2008, http://
      www.nytimes.com/2008/05/07/us/07execute.html (noting that an execution on May 6, 2008 “ended a seven-month national
      suspension”).
77    See Linda Greenhouse, Justices Uphold LethalInjection in Kentucky Case, N.Y. TIMES, Apr. 17, 2008, http://
      www.nytimes.com/2008/04/17/washington/17scotus.html.
78    See supra notes 44-47 and accompanying text.
79    See Liptak, supra note 13.
80    SeeDEATH PENALTY INFO. CTR., THE DEATH PENALTY IN 2012: YEAR END REPORT 1 (2012), available at
      http:// deathpenaltyinfo.org/documents/2012YearEnd.pdf (noting that the number of new death sentences in 2012 was the
      second lowest since the death penalty was reinstated in 1976, representing a near 75% decline since 1996 when there were 315
      new death sentences).
81    See Executions by Year Since 1976, supra note 74.
82    A 2012 Gallup poll measured Americans' abstract support for the death penalty at 63%, the second-lowest level of support
      for capital punishment since 1978 and a significant decline from 1994, when 80% of respondents were in favor of the death
      penalty. Likewise, in 2011, Gallup found 61% in support of the death penalty, the lowest level in 40 years. Lydia Saad, U.S.
      Death Penalty Support Stable at 63%, GALLUP (Jan. 9, 2013), http:// www.gallup.com/poll/159770/death-penalty-support-
      stable.aspx?utm_source_ alert&utm_medium_email&utm_campaign_syndication&utm_content_morelink&utm_term_ All
      %20Gallup%C20Headlines%20-%20Politics.
83    See Ronald J. Tabak, Capital Punishment, inTHE STATE OF CRIMINAL JUSTICE 2013, at 305, 305-24, 328-38, 343-45
      (Myrna S. Raeder ed., 2013).
84    Dieter, supra note 2, at 789.
85    See id. at 806.
86    See infra section II.B.
87    Baze v. Rees, 553 U.S. 35, 41 (2008) (plurality opinion) (upholding Kentucky's three-drug protocol).
88    This six-decade demarcation was offered by the Court. See id. at 48-50 (plurality opinion) (discussing the Eighth Amendment
      precedents of Wilkerson v. Utah, 99 U.S. 130 (1879), In re Kemmler, 136 U.S. 436 (1890), and Louisiana ex rel. Francis



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      v. Resweber, 329 U.S. 459 (1947)). There is room for disagreement, however, on when the Court last reviewed evidence
      concerning the constitutionality of an execution method given that the cases the Court cites were decided before the Eighth
      Amendment's incorporation into the Due Process Clause. SeeDenno, Getting to Death, supra note 1, at 321-34.
89    The distributions by year are as follows: fifty-three cases in 2008; seventy-five cases in 2009; eighty-one cases in 2010; sixty-
      three cases in 2011; fifty-three cases in 2012; twelve cases in 2013 (as of May 13, 2013). Deborah W. Denno, Analyzing Precedent
      in Baze v. Rees: 2008-2013, at 5 (Aug. 1, 2013) (unpublished manuscript) (on file with author).
90    See infra section II.B.
91    For more information on the use of foreign-sourced drugs, see infra Part III.
92    A total of 406 cases cited Baze; however, 73 cases were lower-court decisions that eventually evolved into the appellate-court
      decisions that this Article analyzes. SeeDenno, supra note 89, at 3-4. Thus, the final 333 cases are not redundant. Id. All 406
      cases, however, are categorized and documented in detail in a manuscript on file with the author. Id. at tbl.A.
93    SeeDenno, supra note 89, at 5-23. In total, fourteen cases were not included in this analysis because their use of Baze was
      not directly relevant. For example, six of these cases cited Baze for the purpose of declaring that states are subject to the
      Excessive Fines Clause of the Eighth Amendment. See, e.g., Bethea v. Salazar, No. EDCV 05-1168 DOC (FFM), 2008 WL
      4381545, at *13 n.24 (C.D. Cal. Sept. 23, 2008) (citing Baze stating that the Eighth Amendment provides that excessive bail
      shall not be required, and excessive fines shall not be imposed); State v. Cottrell, 271 P.3d 1243, 1250 n.4 (Idaho Ct. App.
      2012) (citing Baze explaining that states are subject to the Excessive Fines Clause because the whole of the Eighth Amendment
      is applicable to the states). Eight cases cited Baze in ways that do not coincide with the three categories. Most of these cases
      mentioned Baze in a footnote or in combination with other cases to reinforce a briefly mentioned point. SeeZack v. Tucker,
      704 F.3d 917, 925 (11th Cir. 2013) (stating that the Supreme Court in Baze “observed that the purpose of the habeas statute
      of limitations is to end delays in criminal cases”); Walker v. Epps, 550 F.3d 407, 416 (5th Cir. 2008) (stating that Baze has
      permitted inmates to challenge the state's method of execution under 42 U.S.C. § 1983 and a constitutional standard); Schwab
      v. Sec'y, Dep't of Corr., 284 F. App'x 643, 644 (11th Cir. 2008) (stating that the plaintiff “has abandoned the argument he made
      in the district court that it had misinterpreted its November 14, 2007 order providing that unless Schwab filed a motion to re-
      open the case within 30 days after a final decision in Baze v. Rees, his case would be dismissed” (citation omitted)); Karban v.
      Ryan, No. CV 10-0406-TUC-DCB, 2011 WL 320559, at *3 (D. Ariz. Jan. 27, 2011) (using Baze as a citation for the statement:
      “[S]peculation cannot substitute for evidence of irreparable harm” (alteration in original) (internal quotation marks omitted));
      Barrett v. United States, No. 09-CIV-105-JHP, 2010 WL 774192, at *1 (E.D. Okla. Feb. 26, 2010) (stating that “[w]hile the
      Court understands that ‘death is different,’ the issues in this particular case are not significantly more complex than any other
      criminal case tried in this district” (footnote omitted) (quoting Baze v. Rees, 553 U.S. 35, 84 (2008) (Stevens, J., concurring)));
      Wilson v. Strickland, No. 2:09-cv-271, 2009 WL 1362511, at *3 (S.D. Ohio May 13, 2009) (stating that “%7FBaze did not
      establish a new claim or constitutional right but simply made clear the expansive scope of the claim and right involved”); State
      v. Jackson, No. 92003717DI, 2008 WL 5048424, at *3 (Del. Super. Ct. Nov. 25, 2008) (“A trial in the District Court litigation
      was then postponed pending a decision of the United States Supreme Court in Baze v. Rees.”); State v. Hartman, No. 25055,
      2010 WL 4867370, at *4 (Ohio Ct. App. Nov. 24, 2010) (stating that in Baze, “the United States Supreme Court recognized
      a condemned prisoner's right to challenge the method of execution and adopted the appropriate standard to be applied in
      considering that challenge”).
94    Baze, 553 U.S. at 47-50 (plurality opinion). For a discussion and criticism of these standards, see Ty Alper, The Truth About
      Physician Participation in LethalInjection Executions, 88 N.C. L. REV. 11, 14-16, 39-40 (2009); Eric Berger, In Search of a
      Theory of Deference: The Eighth Amendment, Democratic Pedigree, and Constitutional Decision Making, 88 WASH. U. L.
      REV. 1, 9-10, 24-25 (2010); Deborah W. Denno, When Willie Francis Died: The ““Disturbing” Story Behind One of the Eighth
      Amendment's Most Enduring Standards of Risk, inDEATH PENALTY STORIES 17, 89-93 (John H. Blume & Jordan M.
      Steiker eds., 2009); Nadia N. Sawicki, ‘%7FThere Must Be a Means”--The Backward Jurisprudence of Baze v. Rees, 12 U. PA.
      J. CONST. L. 1407, 1409-14 (2010); Denno, supra note 18, at 196-201.
95    Baze, 553 U.S. at 50 (quoting Helling v. McKinney, 509 U.S. 25, 33, 34-35 (1993)).
96    SeeDenno, supra note 89, at tbl.B.




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97    Id. at 13-14.
98    SeeMorales v. Cate, 757 F. Supp. 2d 961, 969 (N.D. Cal. 2010) (noting that a prior California case found “that the execution
      team improperly mixed, prepared, and administered sodium thiopental during executions; that members of California's
      execution team were insufficiently qualified; that the IV team members were ‘not adequately prepared to deal with any
      complications that may arise’; that the walk-throughs in which the execution team participated were incomplete, and the team
      did not receive meaningful training” (citations omitted) (quoting Morales v. Tilton, 465 F. Supp. 2d 972, 979-80 (N.D. Cal.
      2006))).
99    Beaty v. Brewer, 791 F. Supp. 2d 678, 684-85 (D. Ariz. 2011); see alsoCampbell v. Wood, 18 F.3d 662, 687 (9th Cir. 1994) (“The
      risk of accident cannot and need not be eliminated from the execution process in order to survive constitutional review.”).
100   SeeDenno, supra note 89, at 10.
101   SeeJackson v. Danberg, 656 F.3d 157, 163 (3d Cir. 2011) (“Simply because an execution method may result in pain, either by
      accident or as an inescapable consequence of death, does not establish the sort of “objectively intolerable risk of harm' that
      qualifies as cruel and unusual.” (quoting Baze v. Rees, 553 U.S. 35, 50 (2008)) (internal quotation marks omitted)); Batiste v.
      State, 121 So. 3d 808, 873 (Miss. 2013) (finding that Mississippi's protocol was “substantially similar to Kentucky's protocol”
      and thus that an Eighth Amendment challenge was unfounded (quoting Chamberlin v. State, 55 So. 3d 1046, 1056 (Miss.
      2010))).
102   SeePavatt v. Jones, 627 F.3d 1336, 1339-40 (10th Cir. 2010) (upholding a district court's finding that the state's use of
      pentobarbital in a lethalinjection protocol fell short of the level of risk that was needed to establish an Eighth Amendment
      claim); see also Jackson, 656 F.3d at 160 (“Delaware, along with a number of other states, revised its protocol to allow for the
      use of an alternative barbiturate, pentobarbital, as the first chemical to be administered.”); Lucas v. Upton, No. 5:09-CV-289
      (CAR), 2011 WL 4526754, at *4 n.3 (M.D. Ga. Sept. 28, 2011) (“Since confiscation of its supply of sodium thiopental, Georgia,
      as well as several other states, has started to use pentobarbital as the first drug in the three-step lethalinjection process.”); State
      v. Santiago, 49 A.3d 566, 698 (Conn. 2012) (noting that “in light of recent developments that have seriously restricted the
      availability of sodium thiopental for use in executions, those death penalty jurisdictions that more actively implement death
      sentences have turned to pentobarbital as a substitute drug”); State v. Rizzo, 31 A.3d 1094, 1169 (Conn. 2011) (noting the
      shortage of thiopental sodium generally).
103   SeeDenno, supra note 89, at 11.
104   See id. at tbl.B.
105   SeePardo v. Palmer, 500 F. App'x 901, 902-05 (11th Cir. 2012) (upholding a one-drug lethalinjection protocol); Cooey v.
      Strickland, 589 F.3d 210, 223-25 (6th Cir. 2009) (holding that the risk of improper implementation of Ohio's one-drug protocol
      did not violate the Eighth Amendment).
106   SeePeterson v. State, 2 So. 3d 146, 156-57 (Fla. 2009) (finding that the plaintiff's argument “that Florida's lethalinjection
      process is unconstitutional because it employs a three-drug protocol that may cause undue pain” does not qualify as a
      substantial risk); Thomas v. State, No. W2008-01941-CCA-R3-PD, 2011 WL 675936, at *46-47 (Tenn. Crim. App. Feb. 23,
      2011) (upholding a three-drug lethalinjection protocol).
107   SeeGrant v. Workman, No. 05-CV-0167-TCK-TLW, 2010 WL 5069853, at *39 (N.D. Okla. Dec. 2, 2010) (ruling against the
      plaintiff's argument that the state's lethalinjection protocol violates the Eighth Amendment because it creates a substantial
      risk of the inmate suffering intense pain due to the fact that “there is no assurance that Oklahoma's procedure will render
      him unconscious during the execution”); State v. Odom, No. W2008-02464-CCA-R3-DD, 2010 Tenn. Crim. App. LEXIS
      223, at *103-07 (Tenn. Crim. App. Mar. 4, 2010) (ruling against the plaintiff's argument that the state's written protocol lacks
      safeguards and other written provisions and is thus unconstitutional).
108   SeeHarbison v. Little, 571 F.3d 531, 535-39 (6th Cir. 2009) (finding that the inmate failed to show that the protocol retained
      an inherent risk of severe pain, which was substantial compared to the alternatives).




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109   See, e.g., Batiste v. State, 121 So. 3d 808, 873 (Miss. 2013); see alsoJackson v. Danberg, 656 F.3d 157, 163 (3d Cir. 2011)
      (affirming the district court's conclusion that the state's lethalinjection protocol was constitutional because it was found
      to be “substantially similar” to Kentucky's protocol); Emmett v. Johnson, 532 F.3d 291, 300 (4th Cir. 2008) (concluding
      that “Virginia's protocol is substantially similar to Kentucky's protocol” and that the plaintiff “failed as a matter of law to
      demonstrate a substantial or objectively intolerable risk that he will receive an inadequate dose of thiopental”); Brown v. Sec'y,
      Dep't of Corr., No. 8:01-cv-2374-T-23TGW, 2009 WL 4349320, at *21 (M.D. Fla. Nov. 25, 2009) (adopting “a trial court's
      analysis concluding that Florida's lethal-injection protocol is ‘substantially similar’ to that of Kentucky” (quoting Schwab v.
      State, 995 So. 2d 922, 924-33 (Fla. 2008))).
110   See, e.g., Brewer v. Landrigan, 131 S. Ct. 445, 445 (2010) (ruling against a plaintiff who challenged the use of potentially non-
      FDA approved sodium thiopental); Kerr v. Thaler, 384 F. App'x 400, 405 (5th Cir. 2010) (citing Baze in holding that the use
      of pancuronium bromide in a three-drug injection method was not a violation of the Eighth Amendment).
111   SeeDenno, supra note 89, at tbl.B.
112   See Jackson, 656 F.3d at 164 (noting that “each court to consider this issue has uniformly held that the use of pentobarbital
      in lieu of sodium thiopental is constitutional”); Creech v. Reinke, No. 1:12-cv-00173-EJL, 2012 WL 1995085, at *16-24 (D.
      Idaho June 4, 2012) (upholding a one-drug lethalinjection protocol using pentobarbital); Beaty v. Brewer, 791 F. Supp. 2d 678,
      681-86 (D. Ariz. 2011) (holding that the inmate failed to establish a likelihood of success in his claim that the state's last-minute
      substitution of pentobarbital for sodium thiopental violated the Eighth Amendment); Valle v. State, 70 So. 3d 530, 538-53
      (Fla. 2011) (upholding the use of pentobarbital in the state's three-drug lethalinjection method); see alsoDeYoung v. Owens,
      646 F.3d 1319, 1327 (11th Cir. 2011) (holding that use of pentobarbital does not violate the Eighth Amendment); Powell v.
      Thomas, 641 F.3d 1255, 1257-58 (11th Cir. 2011) (approving the substitution of pentobarbital for sodium thiopental).
113   See infra notes 181-82 and accompanying text.
114   SeeDenno, supra note 89, at 8.
115   SeeTowery v. Brewer, No. CV-12-245-PHX-NVW, 2012 WL 592749, at *15 (D. Ariz. Feb. 23, 2012) (rejecting the plaintiffs'
      argument that use of foreign-obtained pancuronium bromide will subject them to a risk of pain and suffering because foreign-
      sourced drugs do not have FDA approval); Valle, 70 So. 3d at 546 (finding that the use of a potentially FDA-unapproved
      drug did not show that the modified procedure was “sure or very likely to cause serious illness and needless suffering or ...
      result in a substantial risk of serious harm”).
116   SeeCook v. FDA, 733 F.3d 1, 12 (D.C. Cir. 2013) (affirming the judgment from Beaty v. FDA, 853 F. Supp. 2d 30 (D.D.C.
      2012), which permanently enjoined the FDA from allowing the importation of apparently misbranded or unapproved sodium
      thiopental based on the finding that the use of such drugs creates an unnecessary risk of improper anesthetization).
117   SeeDenno, supra note 89, at tbl.A.
118   Wilson v. Ryker, 451 F. App'x 588, 589 (7th Cir. 2011).
119   Baze v. Rees, 553 U.S. 35, 50 (2008) (quoting Louisiana ex rel. Francis v. Resweber, 329 U.S. 459, 463 (1947)) (internal
      quotation marks omitted).
120   See, e.g., Porter v. Cash, No. CV 11-10308-DMG (AGR), 2012 WL 5308369, at *3 (C.D. Cal. Sept. 20, 2012); Mitchell v.
      Cnty. of San Bernardino, No. CV 09-5531-SJO (AGR), 2011 WL 4801890, at *5 (C.D. Cal June 13, 2011); Wallace v. Moberg,
      No. CV 07-6-VAP (AGR), 2009 WL 91079, at *8 (C.D. Cal. Jan. 10, 2009).
121   SeeBetts v. New Castle Youth Dev. Ctr., 621 F.3d 249, 252-61 (3d Cir. 2010) (presenting a case in which a delinquent juvenile
      brings an Eighth Amendment failure-to-protect challenge against a youth development center for a spinal injury that occurred
      during a “pick-up” football game at the center).
122   Prison-condition and violence cases have, in the past, been justifications for dismissing execution-methods claims. SeeDenno,
      Getting to Death, supra note 1, at 327-48.
123   SeeDenno, supra note 89, at 18.



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124   See id. at tbl.A.
125   See id.
126   Baze v. Rees, 553 U.S. 35, 94 (2008) (Thomas, J., concurring).
127   SeeJackson v. Danberg, 594 F.3d 210, 222-23 (3d Cir. 2010); see alsoBrown v. Sec'y, Dep't of Corr., No. 8:01-cv-2374-
      T-23TGW, 2009 WL 4349320, at *20 (M.D. Fla. 2009) (explaining that Justice Thomas “renounced any risk-based standard in
      favor of a rule of law that would uphold any method of execution which does not involve the purposeful infliction of ‘pain and
      suffering beyond that necessary to cause death”’ (emphasis added) (quoting Baze, 553 U.S. at 96 (Thomas, J., concurring))).
128   SeeDenno, supra note 89, at 18.
129   Ventura v. State, 2 So. 3d 194, 200 (Fla. 2009) (discussing the variety of opinions in Baze and noting that it believes Florida's
      protocol would meet all the risk-based standards mentioned by the Baze Court).
130   SeeDenno, supra note 89, at tbl.A.
131   See Baze, 553 U.S. at 78-86 (Stevens, J., concurring).
132   For example, Justice Stevens observed the problems with the way capital punishment is actually implemented and the
      paradoxical result that “more recent cases have endorsed procedures that provide less protections to capital defendants than to
      ordinary offenders.” Id. at 84. In his eyes, capital punishment is the “product of habit and inattention rather than an acceptable
      deliberative process that weighs the costs and risks of administering that penalty against its identifiable benefits.” Id. at 78.
      Therefore, the punishment “represents ‘the pointless and needless extinction of life with only marginal contributions to any
      discernible social or public purposes.”’ Id. at 86 (quoting Furman v. Georgia, 408 U.S. 238, 312 (1972) (White, J., concurring)).
133   See In re Noling, 651 F.3d 573, 576 (6th Cir. 2011) (“In Baze v. Rees, Justice Stevens brings to mind the fact that many innocent
      people are convicted of crimes they did not commit before being vindicated by the timely revelation of exculpatory facts.
      Some of those people are capital defendants.” (citation omitted)); People v. Runge, 917 N.E.2d 940, 998 (Ill. 2009) (Burke,
      J., dissenting) (noting that the “risk of error in capital cases may be greater than in other cases because the facts are often so
      disturbing” (quoting Baze, 553 U.S. at 84 (Stevens, J., concurring)) (internal quotation marks omitted)).
134   SeeJackson v. Danberg, 594 F.3d 210, 218 (3d Cir. 2010) (noting that “the imposition of the death penalty represents the
      pointless and needless extinction of life with only marginal contributions to any discernible social or public purposes” (quoting
      Baze, 553 U.S. at 86 (Stevens, J., concurring)) (internal quotation mark omitted)); Brown v. Sec'y, Dep't of Corr., No. 8:01-
      cv-2374-T-23TGW, 2009 WL 4349320, at *20 (M.D. Fla. 2009) (citing Justice Stevens's “general disagreement with ... the
      death penalty”).
135   See Baze, 553 U.S. at 119-21 (Ginsburg, J., dissenting).
136   Id. at 117.
137   SeeDenno, supra note 89, at tbl.A.
138   SeeHenyard v. Sec'y, Dep't of Corr., 543 F.3d 644, 648 (11th Cir. 2008) (citing to the finding by Justice Ginsberg that revisions
      to Florida's lethalinjection protocols provide additional safeguards in comparison to Kentucky's protocols); Chester v. Wetzel,
      No. 1:08-cv-1261, 2012 WL 5439054, at *11 (M.D. Penn. Nov. 6, 2012) (“Justice Ginsburg noted that Kentucky's protocol
      did not require anyone to call the inmate's name, shake the inmate, brush his eyelashes, or apply noxious stimulus to gauge
      his response .... [S]uch a consciousness check could be easily implemented and could reduce the risk of dreadful pain.”).
139   SeeDenno, supra note 89, at tbl.A; see, e.g., Hartman v. Bobby, 319 F. App'x. 370, 372 n.1 (6th Cir. 2009) (stating that the court
      “cannot authorize a successive petition or grant a stay on this ground, because the Supreme Court's decision in Baze did not
      create a new constitutional right that applies retroactively”); Alba v. Quarterman, 621 F. Supp. 2d 396, 432 (E.D. Tex. 2008)
      (citing Baze to state that lethalinjection is a constitutionally permissible form of execution); Fields v. Commonwealth, 274
      S.W.3d 375, 420 (Ky. 2008) (citing Baze to support the statement that “[l]ethalinjection is not cruel and unusual punishment”);
      see alsoThompson v. Bell, 580 F.3d 423, 448 (6th Cir. 2009) (Suhrheinrich, J., concurring); Scott v. Houk, No. 4:07-CV-0753,



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      2011 WL 5838195, at *45-46 (N.D. Ohio Nov. 18, 2011); Riley v. McDaniel, No. 3:01-cv-0096-RCJ-VPC, 2010 WL 3786070,
      at *59 (D. Nev. Sept. 20, 2010).
140   SeeTrinidad y Garcia v. Thomas, 683 F.3d 952, 964 (9th Cir. 2012) (citing Baze in support of the statement that “the
      Constitution guarantees an individual a broad range of ‘rights, privileges, and immunities' against the United States
      government, including the right to be free from torture” (quoting Neely v. Henkel, 180 U.S. 109, 122-23 (1901))).
141   No. 2:09-cv-823, 2010 WL 3447741, at *2 (S.D. Ohio Aug. 27, 2010) (stating that “a series of abortive execution attempts
      could potentially indeed present an unconstitutional violation”).
142   No. 04CR065940, 2008 WL 2784679, at *1, *9 (Ohio Ct. Com. Pl. June 10, 2008).
143   See id at *1. The two doctors were Mark Heath, M.D., for the defense and Mark Dershwitz, M.D., for the government. See
      Susi Vassallo, Thiopental in LethalInjection, 35 FORDHAM URB. L.J. 957, 958-59 (2008).
144   Rivera, 2008 WL 2784679, at *6.
145   Id at *9.
146   See id at *3-4.
147   Id at *4.
148   OHIO REV. CODE ANN. § 2949.22(A) (LexisNexis 2006). The Rivera court emphasized that the statute's purpose “is to
      provide the condemned person with an execution that is ‘quick’ and ‘painless;’ and the legislature's use of the word, ‘shall,’
      when qualifying the state's duty to provide a quick and painless death signifies that the duty is mandatory.” Rivera, 2008 WL
      2784679, at *5. Because “the duty of the state to the individual is mandatory, a property interest is created in the benefit”;
      the statute confers on the condemned person a property interest in a painless death. Id. For the state to then execute the
      condemned person in a manner that carries an “unnecessary risk of pain, and, as well, any unnecessary expectation by the
      condemned person that his execution may be agonizing, or excruciatingly painful,” id. at *7, violates the Due Process Clause
      of the Fifth and Fourteenth Amendments. Id. at *8. As a result, the Rivera court held that “the words, ‘or combination of
      drugs,’ may be severed” from the Ohio statute in light of the court's ruling that only one anesthetic drug be employed. Id. at *9.
149   Rivera, 2008 WL 2784679, at *7 (alteration in original).
150   Id. at *9 (quoting Baze v. Rees, 553 U.S. 35, 47 (2008) (plurality opinion)).
151   See Adam Liptak & Adam B. Ellick, Judge Orders Ohio to Alter Its Method of Execution, N.Y. TIMES, June 11, 2008, http://
      www.nytimes.com/2008/06/11/us/11death.html.
152   Baze, 553 U.S. at 41 (plurality opinion).
153   415 F. Supp. 2d 1037 (N.D. Cal. 2006), aff'd per curiam, 438 F.3d 926 (9th Cir. 2006).
154   SeeDenno, LethalInjection Quandary, supra note 1, at 102-17.
155   See Death Penalty: States Transition to One-Drug Executions, PBS NEWSHOUR (July 19, 2012, 6:56 PM), http://
      www.pbs.org/newshour/rundown/2012/07/death-penalty-states-transition-to-onedrugexecutions.html.
156   See Atul Gawande, When Law and Ethics Collide--Why Physicians Participate in Executions, 354 NEW ENG. J. MED. 1221,
      1229 (2006).
157   SeeDenno, supra note 18, at 202-04.
158   See generallyDenno, When Legislatures Delegate, supra note 1 (discussing the extent to which legislatures delegate the execution
      process to departments of corrections, which are typically not in a position to handle such responsibility).
159   SeeState v. Broom, No. 96747, 2012 WL 504504, at *1 (Ohio Ct. App. Feb. 16, 2012). All executions in Ohio are conducted at
      the Southern Ohio Correctional Facility in Lucasville, Ohio. See id. In 2007, a nearly two-hour execution of an Ohio prisoner



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      who appeared to be suffocated alive followed a comparably controversial ninety-minute execution a year earlier that had
      compelled the state to revise its procedures. See id. at *8. Yet, those revisions did not take hold. On September 15, 2009,
      Romell Broom would undergo one of the most egregious efforts by any department of corrections to attempt to inject an
      inmate to death, even though he would be the first inmate ever to survive a lethalinjection procedure. See id. at *1, *7. For
      over two hours, Broom withstood nearly twenty “puncture wounds,” as the execution team made ““numerous, unsuccessful”
      attempts to search for a viable vein that would not collapse when drugs were injected. Id. at *1. During this time, the team took
      breaks, changed execution strategies, probed different access sites on Broom's body, as well as garnered the direct assistance
      of a staff doctor who was not part of the team. See id. After the first forty-five minutes of the execution process, for example,
      the prison director ordered the team to stop so that they could confer about what to do because nothing was working. See
      id. Ten-to-twenty minutes later, the team reconvened to try to establish an intravenous line (IV) in Broom's biceps, forearms,
      and hands. When this strategy failed, they called upon the staff doctor to try something else. That doctor unsuccessfully
      attempted to insert the IV catheters on top of Broom's foot and ankle bone, an excruciating experience for Broom who claimed
      that the needle entered his ankle bone. See id. Ultimately, the execution was halted, and Broom remains alive, awaiting the
      possibility of a second execution attempt. See Josh Sanburn, Ohio's Grisly Execution History, TIME (Jan. 17, 2014), http://
      nation.time.com/2014/01/17/ohios-grisly-executionhistory/.
160   See Ariane de Vogue & Dennis Powell, Ohio Killer Executed in First Use of Single-Drug LethalInjection, ABC NEWS (Dec.
      8, 2009), http:// abcnews.go.com/Politics/lethal-injection-ohio-performexecutionsingle-drug/story?id_9277599 (describing the
      use of an untested, single-drug formula).
161   SeeCooey v. Strickland, 604 F.3d 939, 942-43 (6th Cir. 2010).
162   See de Vogue & Powell, supra note 160.
163   See Cooey, 604 F.3d at 943.
164   SeeDeborah W. Denno, Ohio's Perverse First Place, HUFFINGTON POST (Dec. 9, 2009), http://
      www.huffingtonpost.com/deborah-w-denno/ohios-perverse-first-plac_b_385808.html; Andrew Welsh-Huggins, States: Death-
      Penalty Drug Scramble, Higher Cost, BLOOMBERG BUS. WEEK (July 9, 2011, 2:14 PM), http:// www.businessweek.com/
      ap/financialnews/D9OC9L100.htm.
165   See Cooey v. Strickland, No. 2:04-cv-1156, 2009 U.S. Dist. LEXIS 122025, at *225-26 (S.D. Ohio Dec. 7, 2009) (testimony
      of Mark Heath, M.D.).
166   SeeOHIO REV. CODE ANN. § 4729.532 (LexisNexis 2013).
167   See Aaron Marshall, Kenneth Biros Becomes First Inmate Executed Using Single-Drug Method, CLEVELAND.COM (Dec.
      8, 2009, 6:10 PM), http:// blog.cleveland.com/metro/2009/12/biros_becomes_first_inmate_exe.html.
168   For detailed examinations of these trends, see generally Denno, Getting to Death, supra note 1; Denno, LethalInjection
      Quandary, supra note 1; Denno, When Legislatures Delegate, supra note 1.
169   See supra Charts 3 & 4.
a1    Information for this chart reflects trends up to August 1, 2013 and comes from the following sources: State
      by State LethalInjection, DEATH PENALTY INFO. CENTER, http://www.deathpenalty.org/state-lethal-injection (last
      visited Jan. 31, 2014); Death Penalty Clinic. Univ of Cal., Berkeley, Sch. of Law, Execution Protocol Information,
      LETHALINJECTION.ORG, https:// www.law.berkeley.edu/clinics/dpclinic/LethalInjection/Litigators/li/protocol.html (last
      visited Aug. 1, 2013).
170   See supra Charts 3 & 4.
171   See supra Charts 3 & 4.
172   As Franklin Circuit Judge Phillip Shepherd postulated, by moving to a one-drug protocol in Kentucky, “any claims of cruel
      and unusual punishment by the inmates ‘will be rendered moot.”’ Ky. to Change Execution Method from 3 Drugs, FOX NEWS
      (June 1, 2012), http://www.foxnews.com/us/2012/05/31/ky-to-change-execution-method-from-3-drugs/.



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173   See supra note 155.
174   See supra note 155.
175   Compare Execution List 2013, DEATH PENALTY INFO. CENTER, http:// www.deathpenaltyinfo.org/execution-
      list-2013 (last visited Feb. 17, 2014), with Execution List 2012, DEATH PENALTY INFO. CENTER, http://
      www.deathpenaltyinfo.org/execution-list-2012 (last visited Feb. 17, 2014).
176   SeeCook v. FDA, 733 F.3d 1, 4 (D.C. Cir. 2013) (“In 2009 the last domestic manufacturer of thiopental stopped making it.”);
      U.S. GOV'T ACCOUNTABILITY OFFICE, GAO-14-194, supra note 26, at 14 fig.4, 21; Kevin Sack, Shortage of Widely
      Used Anesthetics Is Delaying Executions in Some States, N.Y. TIMES, Sept. 30, 2010, http://www.nytimes.com/2010/09/30/
      us/30drug.html.
177   See Dominic Casciani, US LethalInjection Drug Faces UK Export Restrictions, BBC NEWS (Nov. 29, 2010, 13:47), http://
      www.bbc.co.uk/news/uk-11865881.
178   See Press Release, Hospira, Inc., Hospira Statement Regarding Pentothal™ (Sodium Thiopental) Market Exit (Jan. 21, 2011),
      available at http://phx.corporate-ir.net/phoenix.zhtml?c_175550&p_irol-newsArticle&ID_ 1518610&highlight.
179   See id.; Erik Eckholm & Katie Zezima, States Face Shortage of Key LethalInjection Drug, N.Y. TIMES, Jan. 22, 2011,
      www.nytimes.com/2011/01/22/us/22lethal.html.
180   See Makiko Kitamura & Adi Narayan, Europe Pushes to Keep LethalInjection Drugs From U.S. Prisons, BLOOMBERG
      BUSINESSWEEK (Feb. 7, 2013), www.businessweek.com/articles/2013-02-07/europe-pushes-to-keep-lethal-injection-drugs-
      from-u-dot-s-dot-prisons.
181   See       “LethalInjection       Scramble”        Map      from     ACLU        of       Northern     California,    DEATH
      PENALTY          INFO.      CENTER,         http://www.deathpenaltyinfo.org/lethal-injection-moratorium-executions-ends-after-
      supremecourtdecision (follow “‘LethalInjection Scramble’ map from ACLU of Northern California” hyperlink); see
      also Press Release, ACLU of N. Cal., CDCR Documents Reveal “Secret Mission” to Acquire LethalInjection Drug
      (Dec. 10, 2010), available at https:// www.aclunc.org/news/cdcr-documents-revealsecretmission-acquire-lethal-injection-drug
      (noting that documents from the California Department of Corrections and Rehabilitation revealed “a global search for
      [lethalinjection] drugs in places as far-flung as Pakistan”).
182   See “LethalInjection Scramble” Map from ACLU of Northern California, supra note 181.
183   SeeBeaty v. FDA, 853 F. Supp. 2d 30, 36-37 (D.D.C. 2012).
184   See supra note 10 and accompanying text.
185   SeeDenno, supra note 89, at tbl.B.
186   See State by State LethalInjection, DEATH PENALTY INFO. CENTER, http://www.deathpenaltyinfo.org/
      state-lethal-injection (last visited Feb. 17, 2014). Arizona, Arkansas, California, Georgia, Nebraska, South Carolina, South
      Dakota, and Tennessee received letters from the FDA in April 2012 requesting the relinquishment of foreign-sourced sodium
      thiopental, in accordance with the U.S. district court's ruling in Beaty v. FDA. See id. Alabama, Georgia, Kentucky, South
      Carolina, and Tennessee had foreign-sourced sodium thiopental seized by the DEA in March or April 2011. See id. Arkansas
      turned over its foreign-sourced sodium thiopental to the DEA in July 2011. See id. Both Beaty and Cook list Arizona,
      Arkansas, California, Georgia, South Carolina, and Tennessee as states that received shipments of sodium thiopental from
      the United Kingdom pharmaceutical company, Dream Pharma Ltd. SeeCook v. FDA, 733 F.3d 1, 4 (D.C. Cir. 2013); Beaty,
      853 F. Supp. 2d at 34-35. For further discussion of these cases, see infra notes 187-88 and accompanying text.
187   853 F. Supp. 2d at 32, 37, 41-43.
188   733 F.3d at 12. The court did, however, reverse another portion of the lower court's order and enabled departments of
      corrections to retain the sodium thiopental that they already had in their possession. See id.




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189   See supra Charts 3 & 4.
190   See Execution List 2012, supra note 175; Execution List 2013, supra note 175.
191   See Robert Boczkiewicz, Appeals Court Rejects Convicted Killer's Challenge to Oklahoma Execution Method, NEWSOK (Dec.
      15, 2010), http:// newsok.com/court-rejects-convicted-killers-challengetooklahoma-execution-method/article/3523770.
192   See Mears, supra note 29; Rob Stein, Ohio Executes Inmate Using New, Single-Drug Method for Death Penalty, WASH. POST
      (March 11, 2011), http:// www.washingtonpost.com/wp-dyn/content/article/2011/03/10/AR2011031006250_ pf.html.
193   See supra Charts 3 & 4.
194   See supra Charts 3 & 4.
195   See, e.g., Arthur v. Thomas, 674 F.3d 1257, 1259 (11th Cir. 2012); Jackson v. Danberg, 656 F.3d 157, 162 (3d Cir.
      2011); DeYoung v. Owens, 646 F.3d 1319, 1322 (11th Cir. 2011); Powell v. Thomas, 643 F.3d 1300, 1301-02 (11th
      Cir. 2011); Pavatt v. Jones, 627 F.3d 1336, 1337-38 (10th Cir. 2010); Valle v. State, 70 So. 3d 530, 538 (Fla. 2011);
      Verified Complaint at 3, Blankenship v. Owens, No. 2011cv202236 (Ga. Super. Ct. June 20, 2011); see also cases cited
      supra note 112; David Beasley, Georgia Executes Man for 1978 Rape and Murder, REUTERS (June 23, 2011, 9:11 PM),
      http://www.reuters.com/article/2011/06/24/us-execution-georgia-idUSTRE75N06P20110624 (“The Georgia Supreme Court
      late Thursday unanimously rejected Blankenship's last-minute request for a stay, including his claim that using pentobarbital
      in the execution would cause undue pain and suffering.”).
196   See, e.g., Arthur, 674 F.3d at 1259 (noting plaintiff's allegations that “pentobarbital takes substantially longer to render an
      inmate fully insensate than sodium thiopental and, as a result of this delayed effect, there is a significant risk that Alabama
      administers the second and third drugs in its lethalinjection procedure before pentobarbital has taken effect,” constituting
      cruel and unusual punishment).
197   See id. at 1266-67 (Hull, J., dissenting) (quoting anesthesiologists' declarations that pentobarbital “is not approved by the
      FDA as an anesthesia induction agent,” that “there is no scientific literature establishing the anesthetic dose of pentobarbital,”
      and that “[t]he switch to pentobarbital, for which there is no clinical knowledge regarding its effects on human beings when
      rapidly administered in high dosages to a conscious person, combined with the use of pancuronium bromide and potassium
      chloride, confers a substantial risk of an excruciating and agonizing death process” (alteration in original) (internal quotation
      marks omitted)).
198   See Arthur, 674 F.3d at 1259 (“Arthur alleges that pentobarbital takes substantially longer to render an inmate fully insensate
      than sodium thiopental and, as a result of this delayed effect, there is a significant risk that Alabama administers the second
      and third drugs in its lethalinjection procedure before pentobarbital has taken effect.”); Jackson, 656 F.3d at 162-63 (finding
      that the district court “did not abuse its discretion in denying Plaintiffs' motion for a stay” based on Plaintiffs' allegations
      that the use of pentobarbital violates the Eighth Amendment); DeYoung, 646 F.3d at 1327 (“DeYoung has wholly failed to
      show that pentobarbital, once fully administered and allowed to act, is ineffective as an anesthetic.”); Powell, 643 F.3d at 1304
      (rejecting plaintiff's argument that the “change from sodium thiopental to pentobarbital[] is a substantial or significant change
      in the lethalinjection protocol”); Pavatt, 627 F.3d at 1339-40 (upholding the district court's denial of a stay of execution based
      on inmate's failure to “establish a substantial likelihood of success on the merits of his Eighth Amendment challenge to the ...
      revised protocol” calling for the use of pentobarbital); Valle, 70 So. 3d at 538 (rejecting plaintiff's argument that the “use
      [of] pentobarbital constitutes cruel and unusual punishment because as a result of the substitution, he may remain conscious
      after being injected with pentobarbital, thereby subjecting him to significant pain during the administration of the final two
      drugs”); Verified Complaint, supra note 195, at 3 (“The administration of these drugs, particularly including Pentobarbital, a
      drug which has not been tested for induction of anesthetic coma in humans, by unqualified and untrained individuals creates
      a substantial risk of a botched and inhumane execution.” (footnote omitted)).
199   See Valle, 70 So. 3d at 542.
200   See Press Release, H. Lundbeck A/S, Lundbeck Overhauls Pentobarbital Distribution Program to Restrict Misuse (July
      1, 2011), available at http://investor.lundbeck.com/releasedetail.cfm?ReleaseID=605775; Letter from Staffan Schüberg,
      President, H. Lundbeck A/S, to Gary C. Mohr, Dir., Dep't of Rehab. and Corr., Columbus, Ohio (Jan. 26, 2011),



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      available at http:// www.deathpenaltyinfo.org/documents/LundbeckLethInj.pdf; Activities: Human Rights, LUNDBECK,
      http://www.lundbeck.com/global/corporate-responsib/report/activities/human-rights (last updated Feb. 6, 2014).
201   Kitamura & Narayan, supra note 180; see David Jolly, Danish Company Blocks Sale of Drug for U.S. Executions, N.Y. TIMES
      (July 1, 2011), http:// www.nytimes.com/2011/07/02/world/europe/02execute.html; Press Release, H. Lundbeck A/S, supra note
      200.
202   See    Leonard,   supra     note     28;   LethalInjection,  DEATH        PENALTY       INFO.      CENTER,        http://
      www.deathpenaltyinfo.org/lethal-injection-moratorium-executions-ends-after-supreme-court-decision (last visited Feb. 18,
      2014).
203   See Leonard, supra note 28 (“[T]hough some states may soon run out [of pentobarbital,] ... the drug could expire. Like most
      pharmaceuticals, pentobarbital has an expiration date of about 18 months.”).
204   See supra notes 195-99 and accompanying text.
205   See Rachel Quigley, ‘He Suffered Greatly’: Medical Expert Describes How Prisoner Thrashed Desperately
      During ‘Botched’ Execution with New Drug, DAILY MAIL ONLINE (June 30, 2011, 10:53
      EST), http:// www.dailymail.co.uk/news/article-2009873/He-suffered-greatly-Medical-expertdescribesprisoner-thrashed-
      desperately-botched-execution-new-drug.html.
206   See Rhonda Cook, DeYoung Executed with Videographer Documenting His Death, ATLANTA J. CONST. (July 22,
      2011, 7:46 AM), http:// www.ajc.com/news/news/local/deyoung-executed-withvideographerdocumenting-his/nQJq5/; see
      alsoDeborah W. Denno, Should Executions Be Televised?, ENCYCLOPAEDIA BRITANNICA BLOG (Aug. 16, 2011), http://
      www.britannica.com/blogs/2011/08/shouldexecutionsbe-televised/ (discussing the history of televised executions).
207   See Dan Morain, Witness to the Execution: A Macabre, Surreal Event, L.A. TIMES (Apr. 22, 1992), http://
      articles.latimes.com/1992-04-22/news/mn-509_ 1_gas-chamber.
208   See LethalInjection: Missouri Intends to Use Propofol in One-Drug LethalInjection, DEATH PENALTY INFO. CENTER,
      http:// www.deathpenaltyinfo.org/lethal-injection-missouri-intends-use-propofolonedrug-lethal-injection (last visited Feb. 18,
      2014).
209   See Jim Salter, Missouri Opts for Untested Drug for Executions, ASSOCIATED PRESS, May 24, 2012, available at http://
      bigstory.ap.org/content/missouri-opts-untested-drug-executions-1 (“Litigation over Missouri's new protocol is possible.
      Attorneys for death row inmates told The Associated Press that they are still gathering information on the new process and
      no decision has been made on whether to seek an injunction.”).
210   See Juliette Jowit, UK to Ban Export of Drug Approved for Use in US Executions, GUARDIAN (July 10, 2012, 15:00 EDT),
      http:// www.guardian.co.uk/world/2012/jul/10/uk-ban-export-drug-usexecutions.
211   See Letter from Scott Meacham, Exec. Vice President & Chief Commercial Officer, Fresenius Kabi USA, LLC, to Healthcare
      Provider (Aug. 28, 2012), available at http:// deathpenaltyinfo.org/documents/FreseniusPropofolStatement.pdf; Another
      Manufacturer Blocks Propofol for Execution Use, USA TODAY (Sept. 27, 2012, 3:53 PM), http://www.usatoday.com/story/
      money/business/2012/09/27/manufacturer-blocks-proprofol-execution-use/1598109/.
212   See supra notes 177-80 and accompanying text.
213   See State by State LethalInjection, supra note 186.
214   See Press Release, Hikma Pharm. PLC, Hikma Pharmaceuticals Strongly Objects to the Use of Its Products
      in Capital Punishment (May 15, 2013), available at http://www.hikma.com/en/mediacenter/news-and-press-releases/all-
      news/2013/15-05-2013.aspx; Jeannie Nuss, Arkansas Turns to Different LethalInjection Drug, YAHOO NEWS (Apr. 19, 2013,
      7:18 PM), http:// news.yahoo.com/arkansas-turnsdifferentlethal-injection-drug-214639034.html.
215   See Press Release, Hikma Pharm. PLC, supra note 214.
216   See Nuss, supra note 214.



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217   See id.
218   See Death Penalty Clinic, Univ. of Cal., Berkeley, Sch. of Law, Execution Protocol Information, LETHALINJECTION.ORG,
      https:// www.law.berkeley.edu/clinics/dpclinic/LethalInjection/Litigators/li/protocol.html (last visited Aug. 1, 2013).
219   See Jeannie Nuss, Dustin McDaniel: Options ‘Limited’ for Future of Arkansas Death Penalty, ARK. BUS. (July 25, 2013, 7:13
      AM), http:// www.arkansasbusiness.com/article/93707/dustin-mcdanieloptionslimited-for-future-of-arkansas-death-penalty?
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220   See supra Part III.
221   See Tim Hoover, Wanted: Execution Drug, DENVER POST, Mar. 13, 2013, at A4; Ariane de Vogue, Drug Shortage Disrupts
      Lethal-Injection Mix, ABC NEWS (Mar. 16, 2011), http://abcnews.go.com/Politics/death-penalty-drug-shortage-disrupts-
      execution-lethal-injection/story?id_13148874; State by State LethalInjection, supra note 186.
222   See supra notes 30-33 and accompanying text.
223   See supra Part III.
224   See supra notes 31-33 and accompanying text.
225   See Boodoo, supra note 32, at 232-34.
226   See The Special Risks of Pharmacy Compounding, FDA 1 (Dec. 2012), http://www.fda.gov/downloads/ForConsumers/
      ConsumerUpdates/UCM107839.pdf.
227   See id.
228   SeeDAVID L. COWEN & WILLIAM H. HELFAND, PHARMACY: AN ILLUSTRATED HISTORY 186 (1990).
229   See id.
230   See Boodoo, supra note 32, at 222.
231   Hinkley, supra note 37, at 23.
232   Id.
233   See supra note 226; Pharmacy Compounding and the FDA: Questions and Answers, FDA, http:// www.fda.gov/Drugs/
      GuidanceComplianceRegulatoryInformation/PharmacyCompounding/ucm339764 (last updated Dec. 2, 2013); see also
      Accreditation Council for Pharmacy Educ., Accreditation Standards and Guidelines for the Professional Program in Pharmacy
      Leading to the Doctor of Pharmacy Degree, ACCREDITATION COUNCIL FOR PHARMACY EDUCATION app. D,
      at xxii (2011), https://www.acpe-accredit.org/pdf/finals2007Guidelines2.0.pdf (listing compounding as a competency that
      pharmacy students should achieve before entering advanced pharmacy practice experiences).
234   See State Regulation of Compounding Pharmacies, supra note 37.
235   See Licensure Transfer, NAT'L ASS'N BOARDS PHARMACY, http:// www.nabp.net/programs/licensure/licensure-transfer
      (last visited Feb. 18, 2014) (noting that each state board of pharmacy provides its own set of requirements that a prospective
      pharmacist must meet before a license is issued and providing a link to each state board of pharmacy for further information
      on their requirements).
236   SeeSCOTT GIBERSON ET AL., IMPROVING PATIENT AND HEALTH SYSTEM OUTCOMES THROUGH
      ADVANCED PHARMACY PRACTICE: A REPORT TO THE U.S. SURGEON GENERAL 26 (2011). In New York
      State, for example, part III of the pharmacist licensing examinations is a written and practical examination in which the
      pharmacist must complete written math compounding components as well as hands-on drug compounding components. See
      License Requirements, N.Y. ST. EDUC. DEP'T, http://www.op.nysed.gov/prof/pharm/pharmlic.htm#exam (last visited July
      15, 2013).




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237   See Alicia Gallegos, Physicians Entangled in Tainted Drugs Lawsuits, AM. MED. NEWS (Feb. 11, 2013), http://
      www.amednews.com/article/20130211/profession/130219977/2.
238   See Jennifer Gudeman et al., Potential Risks of Pharmacy Compounding, 13 DRUGS R&D 1, 6 (2012), available at http://
      link.springer.com/article/10.1007%2Fs40268-013-0005-9.
239   See Pharmacy Compounding and the FDA: Questions and Answers, supra note 233 (“Compounded drugs are not FDA-
      approved. This means that FDA does not verify the quality, safety and effectiveness of compounded drugs.”).
240   Gallegos, supra note 237.
241   See id.
242   SeeOFFICE OF REP. EDWARD J. MARKEY, supra note 33, at 5.
243   See FDA, COMPLIANCE POLICY GUIDES MANUAL § 460.200 (2002) (reissuing the compliance guide concerning
      pharmacy compounding, which was originally issued in 1992).
244   SeeOFFICE OF REP. EDWARD J. MARKEY, supra note 33, at 5.
245   SeeS. REP. NO. 105-43, at 67 (1997).
246   Food and Drug Administration Modernization Act of 1997, Pub. L. No. 105-115, § 127, 111 Stat. 2296, 2328 (1997).
247   See id.
248   Id. at 2328-29.
249   See id. at 2328-30.
250   See Jessica Dye, Senate Committee Advances Drug Compounding Bill, REUTERS (May 22, 2013), http://www.reuters.com/
      article/2013/05/22/us-fda-drugs-legislation-idUSBRE94L1AU20130522.
251   SeeH.R. REP. NO. 105-399, at 94 (1997) (Conf. Rep.).
252   SeeSTAFF OF REP. EDWARD J. MARKEY, supra note 31, at 7.
253   See FDA's Electronic Reading Room--Warning Letters, FDA, http:// www.fda.gov/ICECI/EnforcementActions/
      WarningLetters/default.htm (search “To find specific Warning Letters” for “Compounding Pharmacy”) (last visited July
      19, 2013) (listing states that have received warning letters, including Alabama, Arizona, Arkansas, California, Connecticut,
      Florida, Idaho, Illinois, Indiana, Kentucky, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, New
      Hampshire, New Jersey, New York, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South Carolina, Texas, Utah,
      Virginia, and Wyoming); see alsoOFFICE OF REP. EDWARD J. MARKEY, supra note 33, app. A, at 19 (listing a detailed
      timeline of media reports and FDA enforcement actions on compounding pharmacies).
254   SeeJANET HEINRICH, U.S. GOV'T ACCOUNTABILITY OFFICE, GAO-04-195T, PRESCRIPTION DRUGS: STATE
      AND FEDERAL OVERSIGHT OF DRUG COMPOUNDING BY PHARMACIES 5 (2003).
255   See Report: Limited FDA Survey of Compounded Drug Products, FDA, http:// www.fda.gov/Drugs/
      GuidanceComplianceRegulatoryInformation/PharmacyCompounding/ucm155725.htm (last visited July 19, 2013).
256   See 2006 Limited FDA Survey of Compounded Drug Products, FDA, http:// www.fda.gov/Drugs/
      GuidanceComplianceRegulatoryInformation/PharmacyCompounding/ucm204237.htm (last visited July 19, 2013).
257   SeeSTAFF OF REP. EDWARD J. MARKEY, supra note 31, at 8.
258   See Reid Paul, New Bill on Pharmacy Compounding Stirs Concern, MOD. MED. (Apr. 2,
      2007), http://drugtopics.modernmedicine.com/drug-topics/news/modernmedicine/modern-medicine-featurearticles/new-bill-
      pharmacy-compounding-stirs.



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259   Multi-State Meningitis Outbreak--Current Case Count, supra note 34. For more information on the meningitis outbreak and
      the continually developing outcomes, see Gottlieb, Compounding a Crisis at FDA, supra note 34.
260   SeeSTAFF OF REP. EDWARD J. MARKEY, supra note 31, at 10; see also supra note 34 and accompanying text.
261   Summary: 2013 FDA Pharmacy Inspection Assignment, supra note 35.
262   Hamburg, supra note 35. In her post, Dr. Margaret A. Hamburg, the commissioner of the U.S. Food and Drug Administration
      (FDA), linked the summary of the 2013 FDA pharmacy inspection assignment to reference the inspections conducted. See id.
      Reportedly, the FDA used “highly-skilled, certified drug investigators who have specialized experience and specific training
      to evaluate pharmaceutical production and determine a firm's compliance with sterile production standards.” Summary: 2013
      FDA Pharmacy Inspection Assignment, supra note 35. In the inspections, investigators observed “the production environment,
      equipment used to make the drugs, the design of the facility, and personnel practices and behavior.” Id. The FDA also
      interviewed the technicians who worked at each pharmacy to learn about the operations, standard operating procedures,
      and products as well as the effectiveness of any sterilization methods and drug stability programs. If necessary, investigators
      collected samples of abnormalities and compliance failures. See id.
263   SeeSTAFF OF REP. EDWARD J. MARKEY, supra note 31, at 2-3.
264   See Pollack, supra note 37.
265   See Hinkley, supra note 37, at 22, 23; State Regulation of Compounding Pharmacies, supra note 37.
266   See State Regulation of Compounding Pharmacies, supra note 37.
267   Id.; see also Hinkley, supra note 37.
268   High-risk sterile compounding is termed as such because the practice involves drug products that require a heightened level
      of unique safeguards during compounding to prevent injury or death to patients who receive them. SeeHEINRICH, supra
      note 254, at 3. “[S]terile compounding requires cleaner facilities than nonsterile compounding, as well as specific training for
      pharmacy personnel and testing of the compounded drug for sterility.” Id. Despite the many similarities among the bills, they
      do vary in several important areas, including their definitions of true compounding and the requirements needed to satisfy
      that classification.
269   See S. 959, 113th Cong. (2013).
270   Id. § 2.
271   See Memorandum from the House Comm. on Energy & Commerce Democratic Staff to the House Comm. on Energy
      & Commerce Democratic Members & Staff, Subcomm. on Health (July 15, 2013) [hereinafter Memorandum from the
      House Comm.], available at http:// democrats.energycommerce.house.gov/sites/default/files/documents/Memo-Health-Drug-
      Compounding-Reform-2013-7-15-pdf.
272   See Press Release, U.S. Senate Comm. on Health, Educ., Labor, & Pensions, Senate Health Committee Passes Alexander
      and Colleagues' Bill to Fix Responsibility for Safety of Sterile Compounded Drugs (May 22, 2013), available at http://
      www.help.senate.gov/newsroom/press/release/?id_63b96a98-9b19-4c5f-8a6f-b0df57afe138.
273   See Dye, supra note 250; Press Release, U.S. Senate Comm. on Health, Educ., Labor, & Pensions, supra note 272.
274   Press Release, Senate Comm. on Health, Educ., Labor, & Pensions, Health Committee Leaders Urge Senate Vote on
      Compounding Legislation “to Prevent Further Tragedies” (June 9, 2013), available at http:// www.help.senate.gov/newsroom/
      press/release/?id_c57674f7-e3cf-4d1c-a119-7d3cabd78013.
275   See Verifying Authority and Legality in Drug (VALID) Compounding Act of 2013, H.R. 2186, 113th Cong. (2013).
276   Id.
277   See Memorandum from the House Comm., supra note 271.



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278   As defined by the VALID Compounding Act, “‘high-risk sterile compounding’ means compounding sterile drug products
      using nonsterile ingredients, nonsterile devices, or nonsterile components.” H.R. 2186 § 2.
279   See H.R. 2186; Updated House Bill Would Require FDA to Regulate Pharmacies Involved in High-Risk Compounding and
      Interstate Commerce, NAT'L ASS'N BOARDS PHARMACY (June 5, 2013), http://www.nabp.net/news/updated-house-bill-
      would-require-fda-to-regulate-pharmacies-involved-inhighrisk-compounding-and-interstate-commerce.
280   See H.R. 2186.
281   Id. § 2.
282   See Compounding Clarity Act, H.R. 3089, 113th Cong. (2013), available at http://www.gpo.gov/fdsys/pkg/
      BILLS-113hr3089ih/pdf/BILLS-113hr3089ih.pdf.
283   See id.
284   See id.
285   See Memorandum from the House Comm., supra note 271.
286   See H.R. 2186.
287   See Memorandum from the House Comm., supra note 271.
288   See Reforming the Drug Compounding Regulatory Framework: Hearing on H.R. 2186, H.R. 3089, and S. 959 Before the
      Subcomm. on Health of the H. Comm. on Energy & Commerce, 113th Cong. (2013).
289   See id. (statement of Carmen Catizone, Executive Director, National Association of Boards of Pharmacy).
290   See id. at 2, 4.
291   See id. at 3.
292   Drug Quality and Security Act of 2013, H.R. 3204, 113th Cong. (2013).
293   See id.
294   Press Release, Imprimis Pharmaceuticals Inc., Imprimis Optimistic After Congressional Passage of the Drug Quality and
      Security Act (Nov. 19, 2013), available at http://online.wsj.com/article/PRCO-20131119-905263.html? dsk=y.
295   See H.R. 3204.
296   See id.
297   See id.
298   See id.
299   See Press Release, Ranking Member Lamar Alexander, Senate Comm. on Health, Educ., Labor, and Pensions, HELP
      Committee Members Call for Senate Passage of Drug Quality and Security Act (Sept. 28, 2013), available at http://
      www.help.senate.gov/newsroom/press/release/?id_cce67150-6a23-454e-a60c-09643348c6e0; Sabrina Tavernise, Bill on Drug
      Compounding Clears Congress a Year After a Meningitis Outbreak, N.Y. TIMES, Nov. 19, 2013, at A15.
300   See Kevin Outterson, The Drug Quality and Security Act--Mind the Gaps, 370 NEW ENG. J. MED. 97, 97 (2014).
301   See H.R. 2186.
302   See State by State LethalInjection, supra note 186.
303   See id.



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304   See supra note 237 and accompanying text.
305   See supra notes 237-41 and accompanying text.
306   See generallyDenno, LethalInjection Quandary, supra note 1.
307   See Verifying Authority and Legality In Drug Compounding Act of 2013, H.R. 2186, 113th Cong. (2013).
308   SeeDenno, Getting to Death, supra note 1, at 352-54, 385-86; Denno, LethalInjection Quandary, supra note 1, at 94-95; Denno,
      When Legislatures Delegate, supra note 1, at 64 n.2.
309   See Press Release, Reprieve, South Dakota Carries Out Execution Using Contaminated Compounded Drugs (Oct. 17, 2012),
      http:// www.reprieve.org.uk/press/2012_10_17_compound_pharmacy_death_penalty/; State by State LethalInjection, supra
      note 186.
310   See Press Release, Reprieve, South Dakota Covers Up Source of ‘DIY’ Death Penalty Drugs Ahead of Execution (Oct. 30,
      2012), available at http:// www.reprieve.org.uk/press/2012_10_30_South_Dakota_execution_drugs/ (providing a link to the
      certificate of analysis “showing that the ingredients used to make South Dakota's execution drugs were contaminated”).
311   See South Dakota Murderer Executed by LethalInjection for Beating to Death Prison Guard with Pipe During Botched Escape,
      DAILY MAIL (Oct. 15, 2012, 23:49 EST), http://www.dailymail.co.uk/news/article-2218181.
312   See Donald Gilliland, Pennsylvania Gets Its Execution Drugs from Same Type of Pharmacy as the One Responsible for
      Bacterial Meningitis Outbreak, PENN LIVE (Nov. 06, 2012, 7:45 AM), http:// www.pennlive.com/midstate/index.ssf/2012/11/
      pennsylvania_gets_its_ executio.html.
313   See id.
314   See Donald Gilliland, Lawsuit Has Potential to Stay All Executions in Pennsylvania, PENN LIVE (Nov. 5, 2012, 6:27 AM),
      http:// www.pennlive.com/midstate/index.ssf/2012/11/pennsylvania_death_row.html.
315   Hoover, supra note 221.
316   See Kate Brumback, Georgia to Use Compounding Pharmacy for Execution Drug, AUGUSTA CHRON. (July 11, 2013),
      http:// chronicle.augusta.com/news/metro/2013-07-11/georgia-use-compoundingpharmacyexecution-drug.
317   See id.
318   See H.B. 122, 152d Gen. Assemb., Reg. Sess. (Ga. 2013).
319   Id.
320   See infra notes 321-23 and accompanying text.
321   See S. 237, 89th Gen. Assemb., Reg. Sess. (Ark. 2013).
322   See S. 154, 108th Gen. Assemb., Reg. Sess. (Tenn. 2013).
323   S. 36, 88th Leg. Assemb., Reg. Sess. (S.D. 2013).
324   See Ellyde Roko, Executioner Identities: Toward Recognizing a Right to Know Who Is Hiding Beneath the Hood, 75
      FORDHAM L. REV. 2791, 2796 n.39 (2007).
325   See id. at 2799-2800.
326   SeeDenno, LethalInjection Quandary, supra note 1, at 53-59, 77-91.
327   See Roko, supra note 324, at 2809-12; see also State Appeals Stay of Execution in Hill Case, WALB NEWS (July 26, 2013,
      5:44 PM), http:// www.walb.com/story/22943909/state-appeals-stay-ofexecutionin-hill-case (noting state attorneys' contention




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      that “a new state law barring the release of information about where Georgia obtains its execution drug .... [is] necessary to
      discourage retaliation against those who take part in executions”).
328   SeeDenno, LethalInjection Quandary, supra note 1, at 56.
329   The possible usage of compounded drugs, however, introduces a new component into the execution process because of the
      heightened risk of problems associated with compounding pharmacies. Specifically, certain compounding pharmacies have
      been found to encounter serious dosage errors, delivering drugs with up to 450% of the prescribed dosage. See Gilliland, supra
      note 312. Even further, there are significant compliance and contamination issues already associated with compounded drugs,
      evidenced by the recent reports revealed after the 2013 FDA investigation. See Hamburg, supra note 35.
330   See generallyDenno, LethalInjection Quandary, supra note 1 (detailing the challenges with lack of transparency in this country's
      execution processes).
331   See generallyDenno, When Legislatures Delegate, supra note 1 (explaining and analyzing the results of Study One).
332   SeeDenno, LethalInjection Quandary, supra note 1, at 91-101 (explaining and analyzing the results of Study Two).
333   Id. at 96-101.
334   See supra note 1 and accompanying text.
335   See supra notes 1, 39 and accompanying text.
336   DEL. CODE ANN. tit. 29, ch. 100 (2003).
337   See Freedom of Information Act Appeal Concerning Department of Correction, Del. Op. Att'y Gen. 11-IIB14 (2011), 2011
      WL 4062225.
338   SeeTex. Att'y Gen. Op. OR2012-07088 (2012), 2012 WL 1821071.
339   Id. “[F]reedom from physical harm is an independent interest protected under law, untethered to the right of privacy.” Id.
      (quoting Tex. Dep't of Pub. Safety v. Cox Tex. Newspapers, L.P., 343 S.W.3d 112, 117 (Tex. 2011) (internal quotation marks
      omitted)).
340   See Della Hasselle, State Must Reveal Details of Death-Penalty Practices, Federal Magistrate Rules, LENS (June 5, 2013, 3:15
      PM), http:// thelensnola.org/2013/06/05/state-must-reveal-details-of-deathpenaltypractices-federal-judge-rules/.
341   See Hill v. Owens, No. 2013-CV-233771, slip op. at 7 (Ga. Super. Ct. filed July 18, 2013), available at http://
      www.deathpenaltyinfo.org/documents/HillStayOrder.pdf.
342   See id. at 2-4. The state had filed an appeal to the Georgia Supreme Court seeking to overturn the lower court decision. See
      State Appeals Stay of Execution in Hill Case, supra note 327. On February 17, 2014, the Georgia Supreme Court heard oral
      arguments on the state's appeal; a ruling is expected sometime in summer 2014. See Max Blau, Georgia's Supreme Court Hears
      Oral Arguments in Warren Hill Appeal, CREATIVE LOAFING (Feb. 17, 2014, 3:30 PM), http://www.clatl.com/freshloaf/
      archives/2014/02/17/georgias-supreme-court-hears-oral-arguments-in-warren-hill-appeal.
343   See Karen Augé, ACLU Suit: Public Is Entitled to Know How Nathan Dunlap Will Be Killed, DENVER POST (May 21, 2013,
      12:21 PM), http:// www.denverpost.com/breakingnews/ci_23291066/aclusuitpublic-is-entitled-know-how-nathan.
344   See ACLU of Colo. v. Colo. Dep't of Corr., No. 13CV32325 (Dist. Ct., City & Cnty. of Denver, Colo. filed Aug. 1, 2013),
      available at http:// aclu-co.org/case/aclu-v-colorado-department-of-corrections.
345   See Judge: Redacted Execution Protocol Can Be Released, CBS DENVER (Aug. 1, 2013, 6:40 PM), http://
      denver.cbslocal.com/2013/08/01/judge-redacted-execution-protocol-can-be-released/.
346   See ACLU of Colo., No. 13CV32325.




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January 21, 2011


ASA Statement on Sodium
Thiopental’s Removal From the
Market
The American Society of Anesthesiologists (ASA) and its members are extremely troubled to
learn that the anesthetic drug, sodium thiopental (Pentothal®), will no longer be available to
patients in the United States due to the unfortunate circumstances in Italy that led the sole
manufacturer, Hospira, to cease production of the drug.


Sodium thiopental is an important and medically necessary anesthetic agent that has been used
for years to induce anesthesia in patients undergoing surgical procedures. Although its use has
decreased in recent years due to the introduction of newer medications, such as propofol, sodium
thiopental is still considered a first-line anesthetic in many cases including those involving
geriatric, neurologic, cardiovascular and obstetric patients, for whom the side effects of other
medications could lead to serious complications.


The ASA certainly does not condone the use of sodium thiopental for capital punishment, but we
also do not condone using the issue as the basis to place undue burdens on the distribution of this
critical drug to the United States. It is an unfortunate irony that many more lives will be lost or
put in jeopardy as a result of not having the drug available for its legitimate medical use.


ASA has been working diligently in recent years to address the increasing problem of drug
shortages that jeopardize patient safety. In November, ASA co-sponsored a Drug Shortage
Summit with our coalition partners in an attempt to develop solutions to address these ongoing
issues. Today’s announcement underscores the need to develop those solutions, such as
redundancies within the manufacturing and distribution systems, to ensure that our patients have
the necessary drugs available when they are needed. ASA will continue its efforts to work with
the federal government and its coalition partners to address this important patient safety issue.
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 Death row inmate executed using
 pentobarbital in lethal injection
 From Divina Mims
 December 16, 2010 8:24 p.m. EST

                                                                (CNN) -- An Oklahoma death row inmate
                                                                received a drug commonly used to euthanize
                                                                animals Thursday because of a nationwide            NewsPulse
                                                                shortage of sodium thiopental, the drug             Most popular stories right now
                                                                usually used as the sedative in its three-drug
                                                                execution cocktail.                                 Univision fires anchor for racist
                                                                                                                    Michelle Obama insult

                                                               John David Duty was convicted and                    'Star Wars Episode 8' to be
                                                               sentenced to die for strangling his 22-year-         released May 2017
 John David Duty was sentenced to die for killing his cellmate old cellmate, Curtis Wise, with shoe laces in
 while he was incarcerated on rape and robbery charges.        2001. At the time, he was serving three life         Buffett's $1 billion NCAA bet
                                                                                                                    goes bust
                                                               sentences for rape, robbery and shooting
 STORY HIGHLIGHTS                   with intent to kill from a 1978 conviction.                                     Talking Barbie is too 'creepy'
  NEW: John David Duty                                                                                              for some parents
  pronounced dead at 6:18 p.m.         "To the family of Curtis Wise, I'd like to make my apology. I hope one
  CT                                                                                                                Scammer tries to swindle top
                                       day you will be able to forgive me, not for my sake but for your own.
                                                                                                                    tax-crime fighter
  Pentobartibal is used to             My family and friends are here too. Thank you. You've all been a
  euthanize animals
                                       blessing. Thank you. Lord Jesus, I am ready to go home," Duty said           Explore the news with NewsPulse »
  Sodium thiopental, usually used      before he was executed.
  for executions, is in short supply

                                       Duty's execution was the last in the United States in 2010 and is
                                       believed to be the first in the country to use pentobarbital in a lethal
                                       injection.

                                       Sodium thiopental is a rapid-onset, short-acting barbiturate that
                                       causes unconsciousness. Duty's attorneys argued that pentobarbital
                                       was risky and unsafe. But an Oklahoma judge disagreed and last
                                       month approved its use in place of sodium thiopental.

                                       The sedative is the first drug in Oklahoma's lethal injection protocol. It
                                       is followed by vecuronium bromide, a drug that causes paralysis and
                                       stops breathing. The third drug, potassium chloride, stops the heart.

                                       Pentobarbital is used in a similar manner for animal euthanizations.




                                                                                                                    Search CNN...




http://www.cnn.com/2010/CRIME/12/16/oklahoma.execution/                                                                                                        6/28/2019
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                                      Parenting                             Culture                              Upstarts
                                      Live Longer                           Media                                Business Evolved
                                                                                                                 Work Transformed
                                                                                                                 Innovative Cities


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http://www.cnn.com/2010/CRIME/12/16/oklahoma.execution/                                                                                      6/28/2019
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  EXECUTIONS

  Botched Executions
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            “With each development in the technology of execution, the same promises have been made,
            that each new technology was safe, reliable, effective and humane. Those claims have not
            generally been fulfilled.” -Austin Sarat


  It is estimated that 3% of U.S. executions in the period from 1890 to 2010 were botched. In the 2014 book, Gruesome
  Spectacles: Botched Executions and America’s Death Penalty, Austin Sarat, a professor of jurisprudence and political
  science at Amherst College, describes the history of flawed executions in the U.S. during that period. Sarat reports that over
  those 120 years, 8,776 people were executed and 276 of those executions (3.15%) went wrong in some way. Lethal injection
  had the highest rate of botched executions. In his book, he defines a botched execution as follows:

       Botched executions occur when there is a breakdown in, or departure from, the “protocol” for a particular method of
       execution. The protocol can be established by the norms, expectations, and advertised virtues of each method or by the
       government’s officially adopted execution guidelines. Botched executions are “those involving unanticipated problems or
       delays that caused, at least arguably, unnecessary agony for the prisoner or that reflect gross incompetence of the
       executioner.” Examples of such problems include, among other things, inmates catching fire while being electrocuted,
       being strangled during hangings (instead of having their necks broken), and being administered the wrong dosages of
       specific drugs for lethal injections.

   Method                     Total Executions          Botched Executions                Botched Execution Rate

   Hanging                    2,721                     85                                3.12%

   Electrocution              4,374                     84                                1.92%

   Lethal Gas                 593                       32                                5.4%

   Lethal Injection           1,054                     75                                7.12%

   Firing Squad               34                        0                                 0%

   All Methods                8,776                     276                               3.15%


  Source: Austin Sarat, “Gruesome Spectacles: Botched Executions and America’s Death Penalty” (Stanford Univ. Press
  2014).



  A report in the Salt Lake City Tribune takes a different view of the suggestion that there have been no botched executions by
  firing squad since 1890. The paper reports that in September 1951, a Utah firing squad shot Eliseo J. Mares in the hip and
  abdomen and that it was “several minutes” before he was declared dead. Utah’s May 16, 1879 firing-squad execution of
  Wallace Wilkerson also was botched. See Botched Executions in American History.


  Examples of Post-Furman Botched Executions




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  Last addition: March 1, 2018

  NOTE: The cases below are not presented as a comprehensive catalogue of all botched executions, but simply a listing of
  examples that are well-known. There are 51 executions or attempted executions listed: 2 by asphyxiation, 10 by
  electrocution, and 39 by lethal injection, including 3 failed executions that were halted when execution personnel were unable
  to set an IV line.

  1. August 10, 1982. Virginia. Frank J. Coppola. Electrocution. Although no media representatives witnessed the execution
  and no details were ever released by the Virginia Department of Corrections, an attorney who was present later stated that it
  took two 55-second jolts of electricity to kill Coppola. The second jolt produced the odor and sizzling sound of burning flesh,
  and Coppola’s head and leg caught on fire. Smoke filled the death chamber from floor to ceiling with a smoky haze.[1]

  2. April 22, 1983. Alabama. John Evans. Electrocution. After the first jolt of electricity, sparks and flames erupted from the
  electrode attached to Evans’s leg. The electrode burst from the strap holding it in place and caught on fire. Smoke and sparks
  also came out from under the hood in the vicinity of Evans’s left temple. Two physicians entered the chamber and found a
  heartbeat. The electrode was reattached to his leg, and another jolt of electricity was applied. This resulted in more smoke
  and burning flesh. Again the doctors found a heartbeat. Ignoring the pleas of Evans’s lawyer, a third jolt of electricity was
  applied. The execution took 14 minutes and left Evans’s body charred and smoldering.[2]

  3. Sept. 2, 1983. Mississippi. Jimmy Lee Gray. Asphyxiation. Officials had to clear the room eight minutes after the gas was
  released when Gray’s desperate gasps for air repulsed witnesses. His attorney, Dennis Balske of Montgomery, Alabama,
  criticized state officials for clearing the room when the inmate was still alive. Said noted death penalty defense attorney David
  Bruck, “Jimmy Lee Gray died banging his head against a steel pole in the gas chamber while the reporters counted his
  moans (eleven, according to the Associated Press).”[3] Later it was revealed that the executioner, Barry Bruce, was drunk.[4]

  4. December 12, 1984. Georgia. Alpha Otis Stephens. Electrocution. “The first charge of electricity … failed to kill him, and he
  struggled to breathe for eight minutes before a second charge carried out his death sentence …”[5] After the first two minute
  power surge, there was a six minute pause so his body could cool before physicians could examine him (and declare that
  another jolt was needed). During that six-minute interval, Stephens took 23 breaths. A Georgia prison official said, “Stephens
  was just not a conductor” of electricity.[6]

  5. March 13, 1985. Texas. Stephen Peter Morin. Lethal Injection. The Associated Press reported that, because of Morin’s
  history of drug abuse, the execution technicians were forced to probe both of Morin’s arms and one of his legs with needles
  for nearly 45 minutes before they found a suitable vein.[7]

  6. October 16, 1985. Indiana. William E. Vandiver. Electrocution. After the first administration of 2,300 volts, Vandiver was still
  breathing. The execution eventually took 17 minutes and five jolts of electricity.[8] Vandiver’s attorney, Herbert Shaps,
  witnessed the execution and observed smoke and the smell of burning. He called the execution “outrageous.” The
  Department of Corrections admitted the execution “did not go according to plan.”[9]




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  7. August 20, 1986. Texas. Randy Woolls. Lethal Injection. A drug addict, Woolls helped the execution technicians find a
  useable vein for the execution.[10]

  8. June 24, 1987. Texas. Elliot Rod Johnson. Lethal Injection. Because of collapsed veins, it took nearly an hour to complete
  the execution.[11]

  9. December 13, 1988. Texas. Raymond Landry. Lethal Injection. Pronounced dead 40 minutes after being strapped to the
  execution gurney and 24 minutes after the drugs first started flowing into his arms.[12] Two minutes after the drugs were
  administered, the syringe came out of Landry’s vein, spraying the deadly chemicals across the room toward witnesses. The
  curtain separating the witnesses from the inmate was then pulled, and not reopened for fourteen minutes while the execution
  team reinserted the catheter into the vein. Witnesses reported “at least one groan.” A spokesman for the Texas Department
  of Correction, Charles Brown (sic), said, “There was something of a delay in the execution because of what officials called a
  ‘blowout.’ The syringe came out of the vein, and the warden ordered the (execution) team to reinsert the catheter into the
  vein.”[13]

  10. May 24, 1989. Texas. Stephen McCoy. Lethal Injection. He had such a violent physical reaction to the drugs (heaving
  chest, gasping, choking, back arching off the gurney, etc.) that one of the witnesses (male) fainted, crashing into and
  knocking over another witness. Houston attorney Karen Zellars, who represented McCoy and witnessed the execution,
  thought the fainting would catalyze a chain reaction. The Texas Attorney General admitted the inmate “seemed to have had a
  somewhat stronger reaction,” adding, “The drugs might have been administered in a heavier dose or more rapidly.”[14]

  11. July 14, 1989. Alabama. Horace Franklin Dunkins, Jr. Electrocution. It took two jolts of electricity, nine minutes apart, to
  complete the execution. After the first jolt failed to kill the prisoner (who was mildly retarded), the captain of the prison guard
  opened the door to the witness room and stated “I believe we’ve got the jacks on wrong.”[15] Because the cables had been
  connected improperly, it was impossible to dispense sufficient current to cause death. The cables were reconnected before a
  second jolt was administered. Death was pronounced 19 minutes after the first electric charge. At a post-execution news
  conference, Alabama Prison Commissioner Morris Thigpen said, “I regret very very much what happened. [The cause] was
  human error.”[16]

  12. May 4, 1990. Florida. Jesse Joseph Tafero. Electrocution. During the execution, six-inch flames erupted from Tafero’s
  head, and three jolts of power were required to stop his breathing. State officials claimed that the botched execution was
  caused by “inadvertent human error” — the inappropriate substitution of a synthetic sponge for a natural sponge that had
  been used in previous executions.[17] They attempted to support this theory by sticking a part of a synthetic sponge into a
  “common household toaster” and observing that it smoldered and caught fire.[18]

  13. September 12, 1990. Illinois. Charles Walker. Lethal Injection. Because of equipment failure and human error, Walker
  suffered excruciating pain during his execution. According to Gary Sutterfield, an engineer from the Missouri State Prison
  who was retained by the State of Illinois to assist with Walker’s execution, a kink in the plastic tubing going into Walker’s arm
  stopped the deadly chemicals from reaching Walker. In addition, the intravenous needle was inserted pointing at Walker’s
  fingers instead of his heart, prolonging the execution.[19]

  14. October 17, 1990. Virginia. Wilbert Lee Evans. Electrocution. When Evans was hit with the first burst of electricity, blood
  spewed from the right side of the mask on Evans’s face, drenching Evans’s shirt with blood and causing a sizzling sound as
  blood dripped from his lips. Evans continued to moan before a second jolt of electricity was applied. The autopsy concluded
  that Evans suffered a bloody nose after the voltage surge elevated his high blood pressure.[20]

  15. August 22, 1991. Virginia. Derick Lynn Peterson. Electrocution. After the first cycle of electricity was applied, and again
  four minutes later, prison physician David Barnes inspected Peterson’s neck and checked him with a stethoscope,
  announcing each time “He has not expired.” Seven and one-half minutes after the first attempt to kill the inmate, a second
  cycle of electricity was applied. Prison officials later announced that in the future they would routinely administer two cycles
  before checking for a heartbeat.[21]




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  16. January 24, 1992. Arkansas. Rickey Ray Rector. Lethal Injection. It took medical staff more than 50 minutes to find a
  suitable vein in Rector’s arm. Witnesses were kept behind a drawn curtain and not permitted to view this scene, but reported
  hearing Rector’s eight loud moans throughout the process. During the ordeal Rector (who suffered from serious brain
  damage) helped the medical personnel find a vein. The administrator of State’s Department of Corrections medical programs
  said (paraphrased by a newspaper reporter) “the moans did come as a team of two medical people that had grown to five
  worked on both sides of his body to find a vein.” The administrator said “That may have contributed to his occasional
  outbursts.” The difficulty in finding a suitable vein was later attributed to Rector’s bulk and his regular use of antipsychotic
  medication.[22]

  17. April 6, 1992. Arizona. Donald Eugene Harding. Asphyxiation. Death was not pronounced until 10 1/2 minutes after the
  cyanide tablets were dropped.[23] During the execution, Harding thrashed and struggled violently against the restraining
  straps. A television journalist who witnessed the execution, Cameron Harper, said that Harding’s spasms and jerks lasted 6
  minutes and 37 seconds. “Obviously, this man was suffering. This was a violent death … an ugly event. We put animals to
  death more humanely.”[24] Another witness, newspaper reporter Carla McClain, said, “Harding’s death was extremely
  violent. He was in great pain. I heard him gasp and moan. I saw his body turn from red to purple.”[25] One reporter who
  witnessed the execution suffered from insomnia and assorted illnesses for several weeks; two others were “walking
  vegetables” for several days.[26]

  18. March 10, 1992. Oklahoma. Robyn Lee Parks. Lethal Injection. Parks had a violent reaction to the drugs used in the
  lethal injection. Two minutes after the drugs were dispensed, the muscles in his jaw, neck, and abdomen began to react
  spasmodically for approximately 45 seconds. Parks continued to gasp and violently gag until death came, some eleven
  minutes after the drugs were first administered. Tulsa World reporter Wayne Greene wrote that the execution looked
  “painful,” “scary and ugly.” “It was overwhelming, stunning, disturbing — an intrusion into a moment so personal that
  reporters, taught for years that intrusion is their business, had trouble looking each other in the eyes after it was over.”[27]

  19. April 23, 1992. Texas. Billy Wayne White. Lethal Injection. White was pronounced dead some 47 minutes after being
  strapped to the execution gurney. The delay was caused by difficulty finding a vein; White had a long history of heroin abuse.
  During the execution, White attempted to assist the authorities in finding a suitable vein.[28]

  20. May 7, 1992. Texas. Justin Lee May. Lethal Injection. May had an unusually violent reaction to the lethal drugs.
  According to one reporter who witnessed the execution, May “gasped, coughed and reared against his heavy leather
  restraints, coughing once again before his body froze .…”[29] Associated Press reporter Michael Graczyk wrote, “Compared
  to other recent executions in Texas, May’s reaction to the drugs was more violent. He went into a coughing spasm, groaned
  and gasped, lifted his head from the death chamber gurney and would have arched his back if he had not been belted down.
  After he stopped breathing, his eyes and mouth remained open.”[30]

  21. May 10, 1994. Illinois. John Wayne Gacy. Lethal Injection. After the execution began, the lethal chemicals unexpectedly
  solidified, clogging the IV tube that led into Gacy’s arm, and prohibiting any further passage. Blinds covering the window
  through which witnesses observed the execution were drawn, and the execution team replaced the clogged tube with a new
  one. Ten minutes later, the blinds were then reopened and the execution process resumed. It took 18 minutes to complete.
  [31] Anesthesiologists blamed the problem on the inexperience of prison officials who were conducting the execution, saying
  that proper procedures taught in “IV 101” would have prevented the error.[32]

  22. May 3, 1995. Missouri. Emmitt Foster. Lethal Injection. Seven minutes after the lethal chemicals began to flow into
  Foster’s arm, the execution was halted when the chemicals stopped circulating. With Foster gasping and convulsing, the
  blinds were drawn so the witnesses could not view the scene. Death was pronounced thirty minutes after the execution
  began, and three minutes later the blinds were reopened so the witnesses could view the corpse.[33] According to William
  “Mal” Gum, the Washington County Coroner who pronounced death, the problem was caused by the tightness of the leather
  straps that bound Foster to the execution gurney; it was so tight that the flow of chemicals into the veins was restricted.
  Foster did not die until several minutes after a prison worker finally loosened the straps. The coroner entered the death
  chamber twenty minutes after the execution began, diagnosed the problem, and told the officials to loosen the strap so the
  execution could proceed.[34] In an editorial, the St. Louis Post-Dispatch called the execution “a particularly sordid chapter in
  Missouri’s capital punishment experience.”[35]




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  23. January 23, 1996. Virginia. Richard Townes, Jr. Lethal Injection. This execution was delayed for 22 minutes while medical
  personnel struggled to find a vein large enough for the needle. After unsuccessful attempts to insert the needle through the
  arms, the needle was finally inserted through the top of Mr. Townes’s right foot.[36]

  24. July 18, 1996. Indiana. Tommie J. Smith. Lethal Injection. Because of unusually small veins, it took one hour and nine
  minutes for Smith to be pronounced dead after the execution team began sticking needles into his body. For sixteen minutes,
  the execution team failed to find adequate veins, and then a physician was called.[37] Smith was given a local anesthetic and
  the physician twice attempted to insert the tube in Smith’s neck. When that failed, an angio-catheter was inserted in Smith’s
  foot. Only then were witnesses permitted to view the process. The lethal drugs were finally injected into Smith 49 minutes
  after the first attempts, and it took another 20 minutes before death was pronounced.[38]

  25. March 25, 1997. Florida. Pedro Medina. Electrocution. A crown of foot-high flames shot from the headpiece during the
  execution, filling the execution chamber with a stench of thick smoke and gagging the two dozen official witnesses. An official
  then threw a switch to manually cut off the power and prematurely end the two-minute cycle of 2,000 volts. Medina’s chest
  continued to heave until the flames stopped and death came.[39] After the execution, prison officials blamed the fire on a
  corroded copper screen in the headpiece of the electric chair, but two experts hired by the governor later concluded that the
  fire was caused by the improper application of a sponge (designed to conduct electricity) to Medina’s head.

  26. May 8, 1997. Oklahoma. Scott Dawn Carpenter. Lethal Injection. Carpenter was pronounced dead some 11 minutes after
  the lethal injection was administered. As the drugs took effect, Carpenter began to gasp and shake. “This was followed by a
  guttural sound, multiple spasms and gasping for air” until his body stopped moving, three minutes later.[40]

  27. June 13, 1997. South Carolina. Michael Eugene Elkins. Lethal Injection. Because Elkins’s body had become swollen from
  liver and spleen problems, it took nearly an hour to find a suitable vein for the insertion of the catheter. Elkins tried to assist
  the executioners, asking “Should I lean my head down a little bit?” as they probed for a vein. After numerous failures, a
  usable vein was finally found in Elkins’s neck.[41]

  28. April 23, 1998. Texas. Joseph Cannon. Lethal Injection. It took two attempts to complete the execution. After making his
  final statement, the execution process began. A vein in Cannon’s arm collapsed and the needle popped out. Seeing this,
  Cannon lay back, closed his eyes, and exclaimed to the witnesses, “It’s come undone.” Officials then pulled a curtain to block
  the view of the witnesses, reopening it fifteen minutes later when a weeping Cannon made a second final statement and the
  execution process resumed.[42]

  29. August 26, 1998. Texas. Genaro Ruiz Camacho. Lethal Injection. The execution was delayed approximately two hours
  due, in part, to problems finding suitable veins in Camacho’s arms.[43]

  30. October 5, 1998. Nevada. Roderick Abeyta. Lethal Injection. It took 25 minutes for the execution team to find a vein
  suitable for the lethal injection.[44]




  31. July 8, 1999. Florida. Allen Lee Davis. Electrocution. “Before he was pronounced dead … the blood from his mouth had
  poured onto the collar of his white shirt, and the blood on his chest had spread to about the size of a dinner plate, even
  oozing through the buckle holes on the leather chest strap holding him to the chair.”[45] His execution was the first in
  Florida’s new electric chair, built especially so it could accommodate a man Davis’s size (approximately 350 pounds). Later,
  when another Florida death row inmate challenged the constitutionality of the electric chair, Florida Supreme Court Justice
  Leander Shaw commented that “the color photos of Davis depict a man who — for all appearances — was brutally tortured to
  death by the citizens of Florida.”[46] Justice Shaw also described the botched executions of Jesse Tafero and Pedro Medina
  (q.v.), calling the three executions “barbaric spectacles” and “acts more befitting a violent murderer than a civilized state.”[47]
  Justice Shaw included pictures of Davis’s dead body in his opinion.[48] The execution was witnessed by a Florida State




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  Senator, Ginny Brown-Waite, who at first was “shocked” to see the blood, until she realized that the blood was forming the
  shape of a cross and that it was a message from God saying he supported the execution.[49] (See Photos taken after
  execution—graphic images).

  32. May 3, 2000. Arkansas. Christina Marie Riggs. Lethal Injection. Riggs dropped her appeals and asked to be executed.
  However, the execution was delayed for 18 minutes when prison staff couldn’t find a suitable vein in her elbows. Finally,
  Riggs agreed to the executioners’ requests to have the needles in her wrists.[50]

  33. June 8, 2000. Florida. Bennie Demps. Lethal Injection. It took execution technicians 33 minutes to find suitable veins for
  the execution. “They butchered me back there,” said Demps in his final statement. “I was in a lot of pain. They cut me in the
  groin; they cut me in the leg. I was bleeding profusely. This is not an execution, it is murder.” The executioners had no
  unusual problems finding one vein, but because Florida protocol requires a second alternate intravenous drip, they continued
  to work to insert another needle, finally abandoning the effort after their prolonged failures.[51]

  34. December 7, 2000. Texas. Claude Jones. Lethal Injection. Jones was a former intravenous drug abuser. His execution
  was delayed 30 minutes while the execution team struggled to insert an IV into a vein. One member of the execution team
  commented, “They had to stick him about five times. They finally put it in his leg.” Jim Willett, the warden of the Walls Unit
  and the man responsible for conducting the execution, wrote: “The medical team could not find a vein. Now I was really
  beginning to worry. If you can’t stick a vein then a cut-down has to be performed. I have never seen one and would just as
  soon go through the rest of my career the same way. Just when I was really getting worried, one of the medical people hit a
  vein in the left leg. Inside calf to be exact. The executioner had warned me not to panic as it was going to take a while to get
  the fluids in the body of the inmate tonight because he was going to push the drugs through very slowly. Finally, the drug took
  effect and Jones took his last breath.”[52]

  35. June 28, 2000. Missouri. Bert Leroy Hunter. Lethal Injection. Hunter had an unusual reaction to the lethal drugs,
  repeatedly coughing and gasping for air before he lapsed into unconsciousness.[53] An attorney who witnessed the
  execution reported that Hunter had “violent convulsions. His head and chest jerked rapidly upward as far as the gurney
  restraints would allow, and then he fell quickly down upon the gurney. His body convulsed back and forth like this repeatedly.
  … He suffered a violent and agonizing death.”[54] However, three reporters who witnessed the execution did not substantiate
  these observations, with two reporting that Hunter simply coughed several times and the third stating that he saw no violent
  reaction to the drugs. [55]

  36. November 7, 2001. Georgia. Jose High. Lethal Injection. High was pronounced dead some one hour and nine minutes
  after the execution began. After attempting to find a useable vein for “15 to 20 minutes,” the emergency medical technicians
  under contract to do the execution abandoned their efforts. Eventually, one needle was stuck in High’s hand, and a physician
  was called in to insert a second needle between his shoulder and neck.[56]

  37. May 2, 2006. Ohio. Joseph L. Clark. Lethal Injection. It took 22 minutes for the execution technicians to find a vein
  suitable for insertion of the catheter. But three or four minutes thereafter, as the vein collapsed and Clark’s arm began to
  swell, he raised his head off the gurney and said five times, “It don’t work. It don’t work.” The curtains surrounding the gurney
  were then closed while the technicians worked for 30 minutes to find another vein. Media witnesses later reported that they
  heard “moaning, crying out and guttural noises.”[57] Finally, death was pronounced almost 90 minutes after the execution
  began. A spokeswoman for the Ohio Department of Corrections told reporters that the execution team included paramedics,
  but not a physician or a nurse.[58]




  38. December 13, 2006. Florida. Angel Diaz. Lethal Injection. After the first injection was administered, Mr. Diaz continued to
  move, and was squinting and grimacing as he tried to mouth words. A second dose was then administered, and 34 minutes
  passed before Mr. Diaz was declared dead. At first a spokesperson for the Florida Department of Corrections claimed that




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  this was because Mr. Diaz had some sort of liver disease.[59] After performing an autopsy, the Medical Examiner, Dr. William
  Hamilton, stated that Mr. Diaz’s liver was undamaged, but that the IV catheters (which had been inserted in both arms) had
  gone through Mr. Diaz’s veins and out the other side, so the deadly chemicals were injected into soft tissue, rather than the
  vein. Two days after the execution, Governor Jeb Bush temporarily suspended all executions in the state and appointed a
  commission “to consider the humanity and constitutionality of lethal injections.”[60] In 2014, pictures from the autopsy of Mr.
  Diaz’s body, along with a long article describing his painful death, were published in THE NEW REPUBLIC.[61]

  39. May 24, 2007. Ohio. Christopher Newton. Lethal Injection. According to the Associated Press, “prison medical staff” at the
  Southern Ohio Correctional Facility struggled to find veins on each of Newton’s arms during the execution. Newton, who
  weighted 265 pounds, was declared dead almost two hours after the execution process began. The execution “team” stuck
  Newton at least ten times with needles before getting the shunts in place were the needles are injected.[62]

  40. June 26, 2007. Georgia. John Hightower. Lethal Injection. It took approximately 40 minutes for the nurses to find a
  suitable vein to administer the lethal chemicals, and death was not pronounced until 7:59, 59 minutes after the execution
  process began.[63]

  41. June 4, 2008. Georgia. Curtis Osborne. Lethal Injection. After a 55-minute delay while the U.S. Supreme Court reviewed
  his final appeal, prison medical staff began the execution by trying to find suitable veins in which to insert the IV. The
  executioners struggled for 35 minutes to find a vein, and it took 14 minutes after the fatal drugs were administered before
  death was pronounced by two physicians who were inside the death chamber.[64]




  42. Sept. 15, 2009. Ohio. Romell Broom (pictured, after execution attempt). Attempted Lethal Injection. Efforts to find a
  suitable vein and to execute Mr. Broom were terminated after more than two hours when the executioners were unable to find
  a useable vein in Mr. Broom’s arms or legs. During the failed efforts, Mr. Broom winced and grimaced with pain. After the first
  hour’s lack of success, on several occasions Broom tried to help the executioners find a good vein. “At one point, he covered
  his face with both hands and appeared to be sobbing, his stomach heaving.[65] Finally, Ohio Governor Ted Strickland
  ordered the execution to stop, and announced plans to attempt the execution anew after a one-week delay so that physicians
  could be consulted for advice on how the man could be killed more efficiently.[66] The executioners blamed the problems on
  Mr. Broom’s history of intravenous drug use. As of March 1, 2018, Mr. Broom remained on Ohio’s death row.

  43. Sept. 27, 2010. Georgia. Brandon Joseph Rhode. Lethal Injection. After the Supreme Court rejected his appeals, “Medics
  then tried for about 30 minutes to find a vein to inject the three-drug concoction.” It then took 14 minutes for the lethal drugs
  to kill him. The execution had been delayed six days because a prison guard had given Rhode a razor blade, which Rhode
  used to attempt suicide.[67]

  44. Jan. 16, 2014. Ohio. Dennis McGuire. Lethal Injection. McGuire gasped for air for some 25 minutes while the drugs used
  in the execution, hydromorphone and midazolam, slowly took effect. Witnesses reported that after the drugs were injected,
  McGuire was struggling, with his stomach heaving and fist clenched, making “horrible” snorting and choking sounds.[68] In a
  lawsuit filed after the execution, Mr. McGuire’s family alleged that the inmate experienced “repeated cycles of snorting,
  gurgling and arching his back, appearing to writhe in pain,” the lawsuit said. “It looked and sounded as though he was
  suffocating.”[69]




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  45. April 29, 2014. Oklahoma. Clayton D. Lockett. Lethal Injection. Despite prolonged litigation and numerous warnings from
  defense attorneys about the dangers of using an experimental drug protocol with the drug midazolam, Oklahoma went ahead
  and scheduled the executions of Clayton Lockett and Charles Warner. Plans for the execution and the drugs used were
  cloaked in secrecy, with the state refusing to release information about the source and efficacy of the lethal drugs, making it
  impossible to accurately predict the effects of the combination of drugs. Nonetheless, Oklahoma Governor Mary Fallon
  pressured the Courts to allow the execution, a bill was introduced in the Oklahoma House of Representatives to impeach the
  Justices who had voted to stay the execution, and the state Supreme Court allowed the executions to go forward.

  Mr. Lockett was the first who was scheduled to die. An hour before the execution began, the governor was notified that the
  executioner (a “phlebotomist”) was having problems finding a usable vein, but she did not intervene. After an hour, a vein was
  finally found in Mr. Lockett’s “groin area,” and the execution went forward. Ten minutes after the administration of the first
  drug, a sedative, the physician supervising the process (whose very presence violated ethical standards of several medical
  organizations) announced that the inmate was unconscious, and therefore ready to receive the other two drugs that would
  actually kill him. Those two drugs were known to cause excruciating pain if the recipient was conscious. However, Mr. Lockett
  was not unconscious. Three minutes after the latter two drugs were injected, “he began breathing heavily, writhing on the
  gurney, clenching his teeth and straining to lift his head off the pillow.”[70] Officials then lowered the blinds to prohibit
  witnesses from seeing what was going on, and 15 minutes later the witnesses were ordered to leave the room.

  Twenty minutes after the first drugs were administered, the Director the Oklahoma Department of Corrections halted the
  execution, and issued a two-week stay (later extended by extensive litigation) for the execution of Mr. Warner. Mr. Lockett
  died 43 minutes after the execution began, of a heart attack, while still in the execution chamber.[71]

  46. July 23, 2014. Arizona. Joseph R. Wood. Lethal Injection. After the chemicals (midazolam and hydromorphone) were
  injected, Mr. Wood repeatedly gasped for one hour and 40 minutes before death was pronounced. During the ordeal, Mr.
  Wood’s attorneys filed an emergency appeal to a Federal District Court and placed a phone call to Supreme Court Justice
  Anthony Kennedy in a failed effort to halt the botched execution. Meanwhile, a spokesperson for the Arizona Attorney
  General’s office claimed that Mr. Wood was asleep and was simply snoring. In the days before the execution, defense
  attorneys won a stay from the U.S. Court of Appeals for the Ninth Circuit on their motion to compel the state to reveal the
  source of the drugs and the training of the executioners. However, this stay was later overturned by the Supreme Court.[72] A
  reporter for the Arizona Republic who witnessed the execution, Michael Kiefer, said that he counted 640 gasps from Wood
  before he finally died.[73]

  47. December 9, 2015. Georgia. Brian Keith Terrell. Lethal Injection. “[I]t took an hour for the nurse assigned to the execution
  to get IVs inserted into both of the condemned man’s arms. She eventually had to put one into Terrell’s right hand. Terrell
  winced several times, apparently in pain.”[74]

  48. February 3, 2016. Georgia. Brandon Jones. Lethal Injection. After spending 24 minutes unsuccessfully trying to insert an
  IV into Jones’ left arm, the executioners spent 8 minutes trying to insert it in his right arm, and when that failed they again
  attempted to insert it in his left arm. They then asked a physician to violate several codes of medical ethics for assistance,
  and he or she spent 13 minutes inserting and stitching the IV near Jones’ groin. Six minutes later, Jones’ eyes popped open.
  He was 72 years old at the time of his execution.[75]

  49. December 8, 2016. Alabama. Ronald Bert Smith, Jr. Lethal Injection. Smith (a former Eagle Scout and Army reservist)
  was convicted of a 1994 murder of a convenience store clerk, and his jury at trial (after anti-death penalty citizens were
  removed) voted 7-5 to recommend a punishment of life imprisonment without parole. Alabama, however, requires neither
  unanimity nor a majority jury vote before the trial judge can sentence a defendant to death. Smith heaved, gasped and
  coughed while struggling for breath for 13 minutes after the lethal drugs were administered, and death was pronounced 34
  minutes after the execution began. He also “clenched his fists and raised his head during the early part of the procedure.”
  Alabama used the controversial sedative midazolam (a “valium-like drug”) in the execution.[76]

  50. November 15, 2017. Ohio. Alva Campbell. Lethal Injection. “The execution team first worked on both of Alva Campbell’s
  arms for about 30 minutes Wednesday while he was on a gurney in the state’s death chamber and then tried to find a vein in
  his right leg below the knee. … About 80 minutes after the execution was scheduled to begin, the 69-year-old Campbell




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  shook hands with two guards after it appeared the insertion was successful. About two minutes later, media witnesses were
  told to leave without being told what was happening. … Gary Mohr, head of the Ohio Department of Rehabilitation and
  Correction, … [then] called off the execution after talking with the medical team [saying] ‘It was my decision that it was not
  likely that we’re going to access veins.’ … Prison officials brought Campbell into the death chamber in a wheelchair and
  provided him a wedge pillow on the gurney, which was meant to help him breathe. Campbell has suffered from breathing
  problems related to a longtime smoking habit. His attorneys said he has required a walker, relied on a colostomy bag and
  needed breathing treatments four times a day.” [77]

  51. February 22, 2018. Alabama. Doyle Lee Hamm. Lethal Injection (failed). Despite several warnings from defense counsel
  that it would be impossible to find a vein in which to insert the catheter (Hamm suffered from advanced lymphatic cancer and
  carcinoma), the State went forward with the execution. For 2.5 hours, the executioners tried to find a vein, leaving Hamm with
  a ten-twelve puncture marks, including six in his groin and others that punctured his bladder and penetrated his femoral
  artery. Finally, approaching a midnight deadline that prohibited further attempts, the execution was called off. Alabama
  Corrections Commissioner Jeff Dunn later told reporters, “I wouldn’t necessarily characterize what we had tonight as a
  problem.”[78] [NOTE: On March 5, 2018, attorneys for Doyle Hamm submitted a preliminary report from an anesthesiologist
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  OKLAHOMA DEPARTMENT OF PUBLIC SAFETY




   The Execution of Clayton D. Lockett
                    Case Number 14-0189SI




Executive Summary
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I.     BACKGROUND
       The State of Oklahoma, through the Office of the Attorney General (OAG), filed an
Application for Execution Date for Clayton Derrell Lockett on January 13, 2014. Lockett
had been convicted of first degree murder for a 1999 case in Noble County and
sentenced to death. On January 22, the Oklahoma Court of Criminal Appeals ordered the
execution to be set for March 20. Motions were later filed on behalf of Lockett and
another offender sentenced to death, Charles Warner, that challenged Oklahoma’s
execution-secrecy law and execution protocol. On March 18, the Court of Criminal
Appeals vacated Lockett’s execution date and it was reset for April 22. This order also
rescheduled Warner’s execution from March 27 to April 29.
       On April 9, the Court of Criminal Appeals denied an application for stay made by
both offenders. On April 21, the Oklahoma Supreme Court issued a stay of execution for
Lockett and Warner. In response, Governor Mary Fallin issued Executive Order 2014-08,
which granted a stay of Lockett’s execution and rescheduled it for April 29, based on the
Supreme Court not having constitutional authority to issue a stay. On April 23, the
Supreme Court dissolved their stay. Between April 23 and April 29, an application for
extraordinary relief was denied by the courts, as was another request for a stay.
       On the morning of April 29, Oklahoma Department of Corrections (DOC)
personnel began procedures to prepare for Lockett’s and Warner’s executions at the
Oklahoma State Penitentiary (OSP) in McAlester, Oklahoma. Lockett’s execution was
scheduled to begin at 6:00 p.m. Lockett was removed from his cell that morning and
taken to the Institutional Health Care Center (IHCC), located on prison grounds, for self-
inflicted lacerations to the inside of his arms and his pre-execution medical examination.
Lockett remained at IHCC until later that afternoon, when he was returned to H-Unit to
await his execution.
       Lockett was taken to the execution chamber, placed onto the table, and after failed
attempts in other locations, an intravenous (IV) line was started in Lockett’s right groin
area. On the order of Warden Anita Trammell, the administration of execution drugs
began. Several minutes into the process, it was determined there was a problem with the
IV patency. The execution was stopped and Lockett later died in the execution chamber.


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        On April 30, Governor Fallin issued Executive Order 2014-11, which appointed
Secretary of Safety and Security and Department of Public Safety (DPS) Commissioner
Michael Thompson to conduct an independent review of the events leading up to and
during Lockett’s execution. This order stated the review should include:
        1. An inquiry into the cause of death by a forensic pathologist;
        2. An inquiry into whether DOC correctly followed their current protocol for
           executions;
        3. Recommendations to improve the execution protocol used by DOC. The order
           further directed that the Office of the Chief Medical Examiner (OCME)
           authorize the Southwestern Institute of Forensics Science (SWIFS) in Dallas,
           Texas to perform the autopsy, additional examination, and all other related
           testing of Lockett’s remains.
        In order to effectuate the examination, OCME was directed to transport Lockett’s
remains to and from SWIFS. OCME was also ordered to appropriately maintain Lockett’s
remains until they were released to his family. Commissioner Thompson assembled a
team of DPS investigators to conduct this investigation and report its findings. This
executive summary, along with its attachments and supporting documentation, are the
result of the investigation conducted by this team.


II.     INVESTIGATION
        This investigation was conducted by a team of six investigators assigned full-time
to the case. Nine investigators and a criminal intelligence analyst were also utilized part-
time to assist with the case. All investigators were sworn, law enforcement members of
the Oklahoma Highway Patrol (OHP) Division of DPS. A medical expert was also
consulted during the investigation to assist the investigators in understanding the various
technical aspects related to the medical procedures that were performed during the
execution. The expert was a current, American Board of Surgery certified physician with
more than 35 years of experience in the medical field. The remainder of this section
outlines the methodology utilized by the team to complete this investigation.




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          A. Autopsy of Clayton D. Lockett
       On April 29, at 7:50 p.m., DOC released Lockett’s body to the OCME designated
transport contractor, Ray Francisco’s Embalming Service, who transported the body to
OCME in Tulsa, Oklahoma. On the morning of April 30, OCME pathologists began an
external examination of the body. A portion of the superficial veins of the right and left
arms were explored, photographed and removed. Personnel also obtained a blood
sample from the left femoral artery/vein. Around 11:30 a.m., pathologists were notified to
stop the examination pursuant to the aforementioned Executive Order. They had not
started a posterior body inspection or internal examination. OCME staff sealed the body
and evidence in a body bag and placed it in storage. Later that day, Lockett’s body and
evidence were transported by Ray Francisco’s Embalming Service to SWIFS and the
transport was monitored by a member of the investigation team.
       On May 1, the autopsy of Lockett’s body was conducted by Dr. Joni McClain and
other SWIFS staff. A member of the investigation team observed the autopsy and
evidence processing procedures. Dr. McClain completed the external and internal
examinations of the body utilizing SWIFS’ normal procedures and protocols. After the
autopsy was complete, Lockett's body was released to Ray Francisco's Embalming
Service and transported back to OCME in Tulsa.
       During this investigation, the investigation team met with the SWIFS pathologists
and staff to gain a better understanding of their autopsy process and its findings. The
results of the autopsy and the toxicology tests that were completed are summarized in
the Findings section of this report.

          B. Tour of the Oklahoma State Penitentiary
       On May 5, the investigation team met with Warden Trammell and several OSP
staff members to prepare for a tour of H-Unit and IHCC. The team was escorted through
H-Unit, where they viewed the holding cells, shower, execution chamber, executioners’
room and medical room. The team also collected evidence during the tour. The team was
then escorted to IHCC and viewed the area where Lockett was treated for his self-
inflicted wounds and the cell where he was held, until being returned to H-Unit. After the
tour, the team met with Warden Trammell and her staff to collect additional evidence and


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retrieve documents requested for the investigation. Several measurements and
photographs were taken during the tour to document the execution facilities, which were
later used to construct Diagram II.1.




                                                                          Diagram II.1


       On June 30, members of the investigation team returned to OSP to gather
additional information from the execution chamber. A team member was strapped to the
execution table by two OSP strap-down team members who had strapped Lockett to the
table. OSP staff observed the process to ensure that every strap was utilized in the same
manner it was on the day of Lockett’s execution. The team measured the ability for a
person to move and their range of motion, once secured to the table, and took
photographs from the viewing room to show the different perspectives from the various
seating locations.

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          C. Collection of Evidence
      Numerous items of evidence were collected and preserved during this
investigation. This evidence included digital photographs, audio recordings, video
recordings, documents and other items of physical evidence. The remainder of this
section is a summary of the evidence collected.
      During their examination, OCME staff collected a blood sample from Lockett’s left
femoral artery/vein. An aliquot of that sample was submitted by OCME to NMS Labs in
Willow Grove, Pennsylvania, to test for the presence and concentration of midazolam and
vecuronium bromide. On June 12, the investigation team obtained another aliquot of that
sample and submitted it to ExperTox Laboratory in Deer Park, Texas, to test for the
presence and concentration of potassium. In accordance with their normal procedure,
OCME had not requested NMS Labs to test for the presence and concentration of
potassium. The results of these examinations are included in the Findings section of this
summary. The remainder of the sample is being stored by OCME.
      On May 1, evidentiary items related to the administration of execution drugs to
Lockett were released by SWIFS to the investigation team. These items were delivered
by a team member to ExperTox. Evidence items that were inside Lockett’s body bag and
body are being maintained at SWIFS, the Oklahoma State Bureau of Investigation
Laboratory or the OHP evidence storage facility. The team also collected the execution
drugs and containers that were prescribed to offender Charles Warner. Custody was
transferred from OSP personnel to a team member, who hand-delivered them to
ExperTox for testing.
      On May 5, approximately 200 items of evidence were collected at OSP, during the
facility tour. They consisted of items from Lockett's cell, the execution chamber, the
executioners’ room and video footage from inside the facility prior to the execution.
Executions are not recorded; therefore, there was no video footage of the actual
execution. These items are being maintained at the OHP evidence storage facility.

          D. Review of Surveillance and Camcorder Video
      Thirty-two compact disks containing surveillance and camcorder video footage
were collected and viewed. Following is a summary of this video provided by DOC:


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       1. Video surveillance footage from OSP for April 29, from 5:15 a.m. to 5:22 p.m.,
          that recorded Lockett’s movements in H-Unit and IHCC;
       2. Camcorder video footage for the planned use of force that showed the
          extraction of Lockett from his cell on the morning of April 29. The footage
          contained statements explaining the force, restraints to be used and each
          extraction team member’s duties. The footage also captured his treatment at
          H-Unit medical, his transport to IHCC, his treatment at IHCC and his X-ray;
       3. Camcorder video footage of Lockett refusing a meal on April 29. The footage
          captured Lockett refusing a meal and had a statement from DOC personnel
          that Lockett had refused all three meals that day.

          E. Documentation Provided by Oklahoma Department of Corrections
       Throughout this investigation, several hundred pages of documents were
requested and obtained from DOC. This team requested any documentation related to
Lockett and his execution, including but not limited to logs, incident reports, timelines and
historical medical records. Following is a non-inclusive summary of those documents
obtained from DOC.
       1. Memorandums from Warden Trammel to OSP personnel;
       2. Legal documentation related to Lockett’s court proceedings;
       3. Use-of-force documentation from April 29, including TASER training records;
       4. Property inventory and log of items sent to Lockett’s family;
       5. Sequence of events, execution logs and execution timeline;
       6. Lockett’s historical medical records, mental health check information and case
          manager reports;
       7. Execution drugs chain-of-custody forms;
       8. Execution duties listed by department and training/practice logs;
       9. Lockett’s 30-day notification packets;
       10. DOC execution procedures;
       11. Various incident reports;
       12. Affidavit of Warden Anita Trammell related to the execution drugs;
       13. Diagram of the execution chamber;
       14. Death warrant for Clayton Lockett;
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      15. Execution debrief personnel log;
      16. Execution chamber key log;
      17. Interoffice memorandums, emails and training documents related to the
          execution duties of DOC personnel.

          F. Interviews
      During this investigation, 113 people were identified to interview. Of those, 108
were interviewed, four media witnesses who viewed the execution declined to interview
and one OCME employee was on extended leave and not available to interview. Follow-
up interviews of select witnesses were also conducted. Each interview, with the exception
of four, was audio recorded and reduced to a typed report by a transcription service. The
four interviews that were not recorded included the three executioners and the
pharmacist. Below is a summary of those that were interviewed:
      1. The physician, Warden Trammell and three additional DOC personnel that
          were in the execution chamber at the time of the execution;
      2. The paramedic, one DOC employee and the three executioners that were in
          the executioners’ room at the time of the execution;
      3. Persons that viewed the execution from the viewing room or overflow area,
          including personnel from DOC, Office of the Attorney General, media outlets,
          Lockett’s attorneys, members of the Neiman family, the Noble County District
          Attorney and Sheriff’s offices, the Perry Police Department and the Secretary
          of Safety and Security;
      4. Governor Fallin and eight members of her staff;
      5. Members of DOC’s administrative staff including the Director, Associate
          Director, District Manager, current and former members of DOC’s General
          Counsel staff;
      6. OSP corrections officers involved in different aspects of the execution,
          including staff who interacted with Lockett several days leading up to the
          execution;
      7. DOC medical and mental health staff members;
      8. OCME staff involved in the examination and chain-of-custody of Lockett’s body
          and evidence;
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         9. Employees of Ray Francisco’s Embalming Service responsible for the transport
            of Lockett’s body;
         10. The pharmacist that filled the prescription of execution drugs.


III.     FINDINGS
         After reviewing and considering all interviews, documentation and evidence
gathered during this investigation, this team has reached several conclusions regarding
Lockett’s execution. Some factors ultimately contributed to the issues that arose during
the process, while others directly affected how those issues were handled by the
personnel in the execution chamber. Each of this team’s findings is listed below, along
with a detailed timeline of events.

            A. Timeline
         The following is a timeline of events that occurred in regards to Lockett’s
execution. The approximate times associated with each event have been compiled
utilizing witness accounts and documentation obtained during this investigation.


                       April 29, 2014
12:00-4:30 a.m.        DOC personnel conducted a unit check and count in H-Unit every 30
                       minutes. At 12:30 a.m., personnel conducted a welfare check of
                       Lockett and no problems were noted or discovered.
4:30-5:05 a.m.         The Correctional Emergency Response Team (CERT) arrived at H-
                       Unit and began preparations to remove Lockett from cell SW-3-JJ to
                       escort him to IHCC for x-rays.
5:06 a.m.              CERT arrived at cell SW-3-JJ and Lockett refused to comply with
                       orders. He was covered by a blanket and moving, but would not
                       uncover or approach the cell door to be restrained.
5:09-5:50 a.m.         CERT exited the area of cell SW-3-JJ to prepare for cell entry and
                       extraction. Blood was observed by DOC personnel inside cell SW-3-
                       JJ. A use of force plan was established and approval was given by
                       DOC administration to utilize a TASER.


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5:30 a.m.          DOC personnel performed another check and Lockett failed to
                   comply with the order to approach the cell door and uncover himself.
5:50 a.m.          CERT arrived at cell SW-3-JJ for extraction and determined Lockett
                   had attempted to jam the door. The door was forced open, Lockett
                   refused to comply with verbal commands and a TASER was
                   deployed. CERT members observed self-inflicted lacerations on
                   Lockett’s arms.
5:53 a.m.          Lockett was secured by CERT, removed from the cell, placed on a
                   gurney and transported to H-Unit medical. A razor blade from an
                   issued, disposable shaving razor was located inside the cell and
                   confiscated.
5:53-6:45 a.m.     Lockett was medically evaluated at H-Unit medical.
6:35 a.m.          Lockett was transported from H-Unit medical to IHCC. He was
                   placed in IHCC holding cell S2 and remained in handcuffs and leg
                   irons.
6:45 a.m.          DOC personnel entered cell S2 and medical staff evaluated Lockett’s
                   lacerations.
7:00-8:15 a.m.     DOC personnel entered cell S2 every 15 minutes to check Lockett.
8:15 a.m.          Lockett was removed from cell S2 and taken to the IHCC emergency
                   room to be examined by DOC medical staff.
8:40 a.m.          Lockett was returned to cell S2.
8:50-9:35 a.m.     DOC personnel entered cell S2 every 10-15 minutes to check
                   Lockett.
9:15 a.m.          Lockett refused visits from his attorneys.
9:42 a.m.          Lockett refused a food tray.
9:55 a.m.          DOC personnel entered cell S2 to check Lockett.
10:15-10:30 a.m.   DOC personnel entered cell S2 to check Lockett every 15 minutes.
10:25 a.m.         Lockett confirmed his refusal to visit with his attorneys.
10:45 a.m.         DOC personnel entered cell S2 to check Lockett and adjust
                   restraints.
11:11 a.m.         Lockett refused a food tray.

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11:20 a.m.       DOC personnel entered cell S2 to check Lockett and adjusted
                 restraints.
11:35a.m.-3:55p.m. DOC personnel entered cell S2 to check Lockett every 15-20
                 minutes.
3:35 p.m.        DOC personnel retrieved the execution drugs from refrigerated
                 storage at OSP for transport to the execution chamber.
4:10 p.m.        DOC personnel entered cell S2 to adjust restraints, redress and
                 prepare Lockett for transport from IHCC to H-Unit.
4:15 p.m.        DOC personnel placed the execution drugs in the executioners’
                 room.
4:31 p.m.        The three executioners and paramedic entered the executioners’
                 room and began preparation.
4:40 p.m.        Lockett was transported to H-Unit and placed into shower SW-4.
4:55-5:10 p.m.   Lockett visited with a DOC mental health staff member.
5:19 p.m.        The five strap-down team members and Warden Trammell entered
                 the cell area to remove Lockett from shower SW-4.
5:21 p.m.        Lockett was removed from shower SW-4 and escorted to the
                 execution chamber.
5:22 p.m.        Lockett was placed onto the execution table and strapped down.
5:26 p.m.        The strap-down team exited the execution chamber.
5:27-6:18 p.m.   The paramedic and physician attempted IV placement access in
                 multiple locations and were unsuccessful. The physician believed he
                 started an IV in Lockett’s right groin area.
5:45-5:57 p.m.   Victim’s witnesses, media personnel, and Lockett’s attorneys were
                 summoned to the viewing room and seated.
6:18 p.m.        The paramedic and physician determined the IV line was viable.
6:20 p.m.        The paramedic re-entered the executioners’ room.
6:22 p.m.        DOC Director Robert Patton and selected officials were summoned
                 and seated in the viewing room.




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6:23 p.m.        Director Patton received approval from the Governor’s Office to
                 proceed with the execution. He then approved Warden Trammell to
                 proceed. The blinds between the viewing room and execution
                 chamber were raised and Lockett was asked if he wished to make a
                 statement. He refused and Warden Trammell announced that the
                 execution was to begin.
                 The full dose of midazolam and an appropriate saline flush were
                 administered. A DOC employee began to keep time on a stopwatch.
6:30 p.m.        The signal was given that five minutes had elapsed and the
                 physician determined Lockett was conscious. DOC personnel began
                 to keep additional time on a stopwatch.
6:33 p.m.        The signal was given that two minutes had elapsed and the
                 physician determined Lockett was unconscious. Warden Trammel
                 signaled for the execution to continue. The full dose of vecuronium
                 bromide, an appropriate saline flush and a majority of the potassium
                 chloride were administered.
6:33-6:42 p.m.   Lockett began to move and make sounds on the execution table. It
                 should be noted that the interview statements of the witnesses
                 regarding Lockett’s movements and sounds were inconsistent.
                 The physician inspected the IV insertion site and determined there
                 was an issue, which was relayed to Warden Trammell.
6:42 p.m.        At the direction of Warden Trammell, the blinds were lowered. The
                 executioner stopped administering the potassium chloride.
6:42-7:06 p.m.   It should be noted that the interview statements of the individuals in
                 the execution chamber were inconsistent. However, it was
                 determined the following events did occur inside the execution
                 chamber during this time period.
                    !   The paramedic re-entered the execution chamber to assist the
                        physician.
                    !   The physician attempted IV access into Lockett’s left, femoral
                        vein. However, no access was completed.

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                    !   When questioned by Warden Trammell, the physician initially
                        believed that Lockett may not have received enough of the
                        execution drugs to induce death. He also believed there were
                        not enough execution drugs left to continue the execution.
                    !   The physician and paramedic continued to monitor Lockett’s
                        heart rate utilizing an EKG machine. While attempting to gain
                        the IV access, it was observed that Lockett’s heart rate
                        continued to decrease.
                    !   The physician made the observation that the drugs appeared
                        to be absorbing into Lockett’s tissue.
                    !   The physician and paramedic concluded that Lockett’s heart
                        rate had entered a state of bradycardia and eventually slowed
                        to an observed six beats per minute.
                    !   There      were   three   different   recollections   of   Lockett’s
                        movements during this period. Four reported that Lockett did
                        not move, one reported he moved slightly and the last recalled
                        a more aggressive movement.
                 The following events occurred outside the viewing room door in the
                 H-Unit hallway.
                    !   Director Patton, OAG representatives Tom Bates and John
                        Hadden and Secretary Thompson removed themselves from
                        the viewing room and discussed with the Governor’s Office
                        about how to proceed.
6:56 p.m.        Director Patton halted/stopped the execution, which was relayed to
                 the execution chamber.
6:57-7:06 p.m.   Witnesses were escorted out of the viewing room.
7:06 p.m.        The physician pronounced Lockett deceased.
7:50 p.m.        After being unstrapped from the execution table, Lockett’s body was
                 removed from OSP and transferred to the Office of the Chief Medical
                 Examiner transport.



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          B. Autopsy Results for Clayton D. Lockett
      Based on the autopsy, Lockett’s cause of death was listed as Judicial Execution
by Lethal Injection. The manner of death was listed as Judicially Ordered Execution.
SWIFS pathologists concluded that Lockett died as the result of judicial execution by
lethal injection. Following is a summary of the findings made by SWIFS personnel during
their examination of Lockett’s body and additional information obtained by the
investigation team from SWIFS or through the investigation:
      1. Judicial execution with:
             a. Execution protocol medications used: midazolam, vecuronium and
                 potassium chloride.
             b. History of difficulty finding intravenous access sites resulting in
                 numerous attempts to start an IV.
             c. Attempts in both antecubital fossa, both inguinal regions, left subclavian
                 region, right foot and right jugular region.
      2. Superficial incised wounds of the upper extremities consistent with history of
          self-inflicted incised wounds with a safety razor.
      3. Contusions and abrasions of extremities.
      4. Cardiac hypertrophy (480 grams)
      5. Mild coronary artery atherosclerosis.
      6. Hydroxyzine detected.
            a. Lockett was prescribed hydroxyzine, but the prescription had ended
               March 3. There were emails from DOC personnel alleging Lockett had
               been hoarding medication. SWIFS personnel stated there were higher
               than therapeutic levels of hydroxyzine present in Lockett’s system and
               hydroxyzine should not have interfered with the execution drugs
               administered. They also could not determine when or how much of the
               hydroxyzine was taken.
      7. No evidence of dehydration.
      8. No Taser marks on the body.
      9. Toxicology indicated elevated concentrations of midazolam in the tissue near
          the insertion site in the right groin area, which is indicative of it not being
          administered into the vein as prescribed in execution protocols. The presence
          of midazolam in the psoas muscle indicates midazolam was distributed

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          throughout Lockett’s body during the execution. According to SWIFS
          pathologists, the concentration of midazolam located in Lockett’s blood was
          greater than the therapeutic level necessary to render an average person
          unconscious.
       10. Vecuronium bromide was found in the femoral blood sample taken from
          Lockett’s body. The presence of vecuronium bromide in the psoas muscle
          indicates vecuronium bromide was distributed throughout Lockett’s body during
          the execution.
       11. Potassium was found in the femoral blood sample taken from Lockett’s body.

          C. DOC Execution Protocols
       Regarding whether DOC correctly followed their current execution protocols, it was
determined there were minor deviations from specific requirements outlined in the
protocol in effect on April 29. Despite those deviations, it was determined the protocol
was substantially and correctly complied with throughout the entire process. None of the
identified deviations contributed to the complications encountered during this execution.

          D. IV Insertion, Viability and Administration of Execution Drugs
       The physician and paramedic made several attempts to start a viable IV access
point. They both believed the IV access was the major issue with this execution. This
investigation concluded the viability of the IV access point was the single greatest factor
that contributed to the difficulty in administering the execution drugs.
       While exploring this issue, several DOC personnel made statements referencing
Lockett purposefully dehydrating himself. Lockett made statements to the paramedic that
he had been dehydrating himself for three days. However, SWIFS pathologists found no
indication that Lockett was dehydrated at the time of his execution. SWIFS also
concluded Lockett’s blood loss from the self-inflicted wounds to his arms should not have
caused issues with the IV access.




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       Interviews and documentation indicated several vein checks had been performed
by DOC medical personnel leading up to and on the day of the execution. Each check
indicated that Lockett’s veins were “good”. At least three interviews of DOC medical
personnel indicated they viewed Lockett’s veins on the morning of the execution. Their
observations concluded his veins were “good” and acceptable for IV access.
       The IV insertion process was started by an emergency medical technician licensed
as a paramedic. The paramedic had been licensed in emergency medical services for
more than 40 years and as a paramedic for over 20 years. This person had also
instructed at the intermediate level. The licenses possessed at the time of the execution
were valid until 2015 and were from the Oklahoma State Department of Health and the
National Registry of Emergency Medical Technicians. The paramedic provided the prison
a copy of the above licenses in January or February 2014. The paramedic estimated
he/she had been involved in every lethal injection execution in Oklahoma, except for two.
His/her specific assignments were to start an IV, ensure a proper infusion of saline,
attach a cardiac monitor to Lockett and during the execution, make sure the executioners
did their part of the procedure aseptically, at the correct time and the correct speed.
       The IV access was completed by a physician licensed as a medical doctor. The
physician graduated medical school over 15 years ago, currently worked in emergency
medicine and was certified in family medicine. His license expires July 1 of each year and
was current at the time of the execution. He had not provided a current copy of his
license to DOC prior to April 29, but days later was called and asked for a copy. This was
his second execution with the first being four to five years earlier. The physician
understood his duties were to assess Lockett to determine if he was unconscious and
ultimately to pronounce his death. He was contacted two days prior to the execution date
and asked to fill in for another physician that had a scheduling conflict.
       Before Lockett was moved into the chamber, the paramedic prepared the IV lines
and available execution tools. He/she also verified the drugs were properly labeled and
were for Lockett. After Lockett was brought to the chamber and secured to the execution
table, the paramedic began to assess his veins. The paramedic first attempted access in
the left arm and found a vein with an 18-gauge needle/catheter and observed flashback,
a condition sought during IV placement. The paramedic did not have adhesive tape on

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his/her person to secure the catheter. Before the tape was retrieved, the vein became
unviable. The paramedic then attempted two additional IV insertions into the left arm
using the same type needles/catheters, but never observed flashback.
       After these attempts, the physician became involved and attempted IV access into
Lockett’s left, external jugular vein utilizing a 1¼ inch, 14-gauge needle/catheter. During
his interview, the physician stated he penetrated this vein and obtained flashback.
Seconds later, it became unviable and he was unable to continue with that vein. As the
physician was attempting this access, the paramedic was attempting IV access into
Lockett’s right arm. After three attempts, the paramedic was unable to start a viable IV
access point in this arm.
       Next, the physician attempted to locate the subclavian vein on Lockett’s left side
utilizing a central venous catheritization kit. During the attempt, the physician observed a
very small amount of flashback, but he was unable to repeat it. The physician believed
the needle was penetrating through the vein. He noted during his interview he did not
have access to an ultrasound machine, which is a commonly used tool to locate and
penetrate veins.
       As the physician attempted subclavian access, the paramedic attempted IV
access in two separate locations on Lockett’s right foot with 20 gauge needles/catheters.
The paramedic said the veins rolled and disappeared during those attempts. The
paramedic believed the needle penetrated the veins, but flashback was never observed.
The paramedic did not attempt access into any other veins because the physician made
the decision to attempt access into a femoral vein.
       The physician requested a longer needle/catheter for the femoral access. The
paramedic attempted to locate a 2 or 2½-inch, 14-gauge needle/catheter, but none were
readily available. The physician also asked for an intraosseous infusion needle, but was
told the prison did not have those either. Both agreed their preferred needle/catheter
length would have been 1¾ to 2½ inches. The physician had never attempted femoral
vein access with a 1¼ inch needle/catheter; however, it was the longest DOC had readily
available. An additional central venous catheterization kit was available, but the physician
did not think about utilizing one for femoral access.



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       Lockett’s scrub pants and underwear were cut in order to expose the femoral area.
The physician located the femoral vein and believed the vein was penetrated because he
observed good flashback. The paramedic taped the catheter to Lockett’s body, and
stated during his/her interview it became positional. The physician believed it was
bending because of its length. He and the paramedic positioned the catheter where they
were able to observe slow infusion of saline and secured it with adhesive tape. The
autopsy did not conclude the femoral vein was punctured. However, SWIFS personnel
indicated they only examined the portion of the femoral vein that had been dissected by
OCME and not the entire vein.
       The physician was asked about starting a second IV line. He stated he was not
going to make another attempt. The physician and paramedic were comfortable with the
IV placement and the infusion of saline through the line. This was not the first execution
in Oklahoma where only one IV access point had been obtained and protocol allowed for
only one access point.
       Warden Trammell decided to cover Lockett’s body with a sheet, including the IV
insertion area, which, according to her, was normal in all executions. Another reason for
her decision was to maintain Lockett’s dignity and keep his genital area covered. From
that time, no one had visual observation of the IV insertion point until it was determined
there was an issue and the physician raised the sheet. Warden Trammell acknowledged
it would be her normal duty to observe an IV insertion point for problems. She believed if
the IV insertion point had been viewed, the issue would have been detected earlier. The
physician added that an IV would normally be monitored by watching the flow of the IV
line and the area around the insertion point for any signs of infiltration. This investigation
found that neither of these observations occurred, which led to the issue being
discovered several minutes after the execution began.
       After the IV insertion was complete, the paramedic went into the executioners’
room and the physician remained in the execution chamber. Once Warden Trammell
announced it was time to begin the execution, the paramedic began the procedure to
administer the drugs. The paramedic first used a hemostat to clamp the IV line above the
access port, to stop the flow of execution drugs from going up the line. The IV drip was
never reestablished after that point. The midazolam and the appropriate flushes were

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administered into the single access port by the executioners in the order they were
presented by the paramedic. The paramedic and executioners were certain the drugs
were pushed steady and in the proper manner because of their past experiences in
performing the same roles. The DOC employee in the executioners’ room then began to
keep time using a stopwatch.
      According to execution protocol, the vecuronium bromide shall not be
administered until at least five minutes after the administration of midazolam. Prior to the
execution, DOC administration determined if Lockett was not unconscious after five
minutes, he would be checked every two minutes, until he was declared unconscious.
Five minutes after the administration of midazolam, the physician determined Lockett was
conscious. After an additional two minutes, the physician determined that Lockett was
unconscious.
      Warden Trammell signaled for the execution process to continue. The
executioners, with assistance from the paramedic, began administering the vecuronium
bromide, the potassium chloride and the appropriate saline flushes. Both syringes of the
vecuronium bromide, appropriate saline flushes, the first full syringe of potassium
chloride and a portion of the second syringe of potassium chloride were administered. At
some point during the administration of these two drugs, Lockett began to move and the
physician recognized there was a problem.
      The physician approached Lockett and indicated to Warden Trammell that
something was wrong. He looked under the sheet and recognized the IV had infiltrated.
At this same time, Warden Trammell viewed what appeared to be a clear liquid and blood
on Lockett’s skin in the groin area. The physician observed an area of swelling
underneath the skin and described it as smaller than a tennis ball, but larger than a golf
ball. The physician believed the swelling would have been noticeable if the access point
had been viewed during the process.
      The execution process was stopped as one of the executioners was administering
the second syringe of potassium chloride. The executioner immediately stopped pushing
the syringe with approximately 10 milliliters of potassium chloride remaining. The
remainder of the drug was later wasted into a bio-hazard bin by the paramedic.



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        The blinds to the execution chamber were lowered and the paramedic exited the
executioners’ room to assist the physician. The physician told the paramedic the catheter
dislodged. The paramedic observed the catheter was tilted to one side and believed it
was no longer penetrating the vein. The physician decided to attempt IV insertion into the
left-side femoral vein. The physician first penetrated Lockett’s femoral artery and another
access point into the vein was never completed because the physician believed the drugs
were being absorbed into his tissue.
        The physician and paramedic were unsure when the catheter became dislodged
and how much of each drug had made it into Lockett’s vein. The autopsy indicated
elevated concentrations of midazolam in the tissue near the insertion site in the right
groin area, which was indicative of the drugs not being administered into the vein as
intended. Thus, the IV access was not viable as early as the administration of the
midazolam.

           E. Toxicology Results of Femoral Blood Sample: Clayton D. Lockett
        On May 14 and May 19, OCME documented the toxicology results they received
from NMS Labs on an aliquot of the femoral blood sample they obtained from Lockett’s
body on April 30. The results indicated a midazolam concentration of 0.57 mcg/mL and a
vecuronium concentration of 320 ng/mL. On June 26, ExperTox completed toxicology
testing of an aliquot of the same femoral blood sample. The results of this test indicated a
potassium concentration of 0.74 mole/L. It should be noted that testing for the
concentration of potassium after death can be problematic due to the body’s natural
processes, which cause an increase in the concentrations of potassium in the blood over
time.

           F. Toxicology Results of Execution Supplies: Clayton D. Lockett
        On May 5, ExperTox completed testing of the execution supplies utilized during
Lockett’s execution. They analyzed the contents by liquid chromatography/triple quad
mass     spectrometry   (LC/MSMS)      and   inductively   coupled   argon    plasma-mass
spectrometry (ICP-MS) for the detection and quantitation of midazolam, vecuronium
bromide and potassium chloride. ExperTox reported the following:



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       1. The two syringes labeled midazolam contained residues consistent with the
          listed label content of 5 mg/mL.
       2. The two syringes labeled vecuronium bromide contained residues consistent
          with the listed label content of 1 mg/mL.
       3. The two syringes labeled potassium chloride contained residues consistent
          with the listed label content of 2 meq/mL.
       4. The IV Tubing connected to two 0.9% NaCl one liter IV bags contained sodium
          chloride, blood, residues of vecuronium bromide at the final concentration of
          0.013 g/mL and residues of potassium chloride at the final concentration of 1.3
          meq/mL.

          G. Toxicology Results of Execution Drugs: Charles Warner
       On May 5, ExperTox completed testing of the drugs intended for use during the
execution of Charles Warner. They analyzed the contents by LC/MSMS and ICP-MS for
the detection and quantitation of midazolam, vecuronium bromide and potassium
chloride. These tests were also utilized to determine drug agent potency. ExperTox
reported the following:
       1. The two 0.9% NaCl injection USP 1 liter IV bags tested consistent with the
          listed contents.
       2. The seven 0.9% NaCl 50 mL bags tested consistent with the listed contents.
       3. The two syringes labeled midazolam tested consistent with the listed label
          content of 5 mg/mL.
       4. The two syringes labeled vecuronium bromide tested consistent with the listed
          label content of 1 mg/mL.
       5. The two syringes labeled potassium chloride tested consistent with the listed
          label content of 2 meq/mL.

          H. Execution Protocol Training of Execution Team
       This investigation determined that DOC personnel did conduct training sessions as
required by the protocol in effect on April 29. The sessions were conducted during the
weeks and days leading up to the execution and consisted of planning meetings, on-the-
job training for each of the respective positions in the execution chamber and

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executioners’ room and walk-through training sessions for all involved staff members.
The paramedic, physician and the three executioners were not included in this training
prior to the day of the execution. The final training session included DOC administrative
staff reviewing the sequence of events with all parties in the execution chamber just prior
to the execution.
       Field Memorandum OSP-040301-01, Procedure for the Execution of Offenders
Sentenced to Death, outlines the training requirements that should occur prior to an
execution. The following is a summary of the training procedures that were conducted
prior to Lockett’s execution.
       1. A deputy warden or designee was required to review the sequence of events
          inside the executioners’ room with the executioners and paramedic prior to
          each execution. Documentation and interviews substantiated this requirement
          was completed on April 29 at 5:06 p.m.
       2. The paramedic was required to give the following instructions to the
          executioners, "Administer the drugs at a steady flow without pulling back on the
          plunger of the syringe.” The paramedic did not give this statement prior to this
          execution. However, the three involved executioners had been involved in
          multiple executions prior to Lockett’s and each acknowledged their roles and
          duties. The paramedic also acknowledged his/her role to ensure the
          executioners did their job aseptically, at the correct time, speed and dosage.
       3. The warden was required to review the sequence of events with the physician
          and other DOC personnel in the execution chamber prior to beginning the
          execution. Interviews and documentation indicated this occurred on April 29 at
          5:15 p.m.
       4. DOC protocol required the strap-down team to conduct a walk-through of the
          strap-down procedures no later than two weeks prior to the execution. There
          were multiple walk-through training sessions conducted prior to Lockett's
          execution. The last session was conducted within two weeks of Lockett’s
          execution, as required by protocol.




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      This investigation revealed areas of training that need to be addressed. It was
noted there was no formal training process involving the paramedic, the physician or the
executioners and their specific roles. They were not involved in any pre-execution training
or exercises to ensure they understood the overall process. For those individuals, the
current protocol had very minimal training requirements. The executioners only receive
formal training from the paramedic on the day of the execution and informal training from
previous executioners during actual executions.
      Warden Trammell and Director Patton both acknowledged the training DOC
personnel received prior to the execution was inadequate. Warden Trammell stated the
only training she received was on-the-job training and that DOC had no formalized
training procedures or processes concerning the duties of each specific position’s
responsibility. The warden and director both indicated DOC had no training protocols or
contingency plans on how to proceed with an execution if complications occur during the
process.

           I. Contingency Planning for Executions
      The DOC execution protocol in effect on April 29 had limited provisions for
contingencies once the execution process began. One contingency allowed the physician
to assist with initial IV access and the other concerned life-saving measures if a stay was
granted. After it was determined that problems were present during Lockett’s execution,
personnel involved with the execution were unaware of how to proceed due to the lack of
policies and/or protocols in place at that time. It was determined that no contingency
actions were taken inside the chamber other than the physician attempting to locate the
femoral vein on Lockett’s left side, which was never completed prior to his death.

           J. Cessation of Execution Protocols
      When an issue with the administration of execution drugs was discovered, the
blinds between the chamber and viewing room were lowered. Several conversations took
place inside and outside the chamber regarding how to proceed. The conversation
outside the chamber included whether to continue or how to stop the execution. The
conversations inside the chamber included whether to provide life-saving measures.



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       Outside the execution chamber, there were several conversations between
Director Patton, Secretary Thompson, OAG representatives at the execution and General
Counsel Steve Mullins with the Governor’s Office. It was determined between Director
Patton and General Counsel Mullins, who had conversed with the Governor, that the
execution would be stopped. Director Patton then relayed to the witnesses and the
personnel in the chamber that the execution was being stopped. In an additional
conversation, General Counsel Mullins further told Director Patton that they would begin
preparing a stay at the direction of the Governor. Lockett died prior to the order for a stay
being relayed to the personnel inside the execution chamber. There was conversation
inside the chamber about administering life-saving measures to Lockett, including
transporting him to the emergency room, but no order was given.

          K. Two Executions Scheduled on the Same Day
       It was apparent the stress level at OSP was raised because two executions had
been scheduled on the same day. This was the first time since 2000 two offenders were
scheduled to be executed the same day. Four days prior to the execution, the protocol
was revised to accommodate the logistics for two offenders.
       Several comments were made about the feeling of extra stress. Warden Trammell
believed this caused extra stress for all staff. The paramedic stated he/she felt stress and
a sense of urgency in the air. This was based on him/her having been involved in
numerous executions.

          L. Maintenance of Daily Logs
       In accordance with protocol, OSP staff maintained a daily log of events and
occurrences related to Lockett. Protocol stated, “Seven days prior to the execution of an
offender sentenced to death, a daily log will be kept regarding every aspect of the
proceedings except names.” This investigation determined the information recorded on
the logs was incomplete.




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          M. Use of Midazolam, Vecuronium Bromide and Potassium Chloride
      The new three drug protocol utilized in this execution included the administration
of midazolam, vecuronium bromide and potassium chloride. It was determined
vecuronium bromide and potassium chloride had both been used in previous executions
as the second and third drugs to be administered. This was the first Oklahoma execution
where midazolam was used.
      On April 14, midazolam was the newest drug added to the protocol after it was
determined pentobarbital was not available. Pursuant to the death warrant, a dosage of
100 mg was ordered and administered to Lockett. According to protocol, vecuronium
bromide was to be administered at a total quantity of 40 mg and the potassium chloride at
a total quantity of 200 meq. These dosages were equivalent to the quantities used in
other Oklahoma three-drug methods dating back to at least 2011.
      This investigation could not make a determination as to the effectiveness of the
drugs at the specified concentration and volume. They were independently tested and
found to be the appropriate potency as prescribed. The IV failure complicated the ability
to determine the effectiveness of the drugs.
      On the day of the execution, OAG representatives presented an affidavit to
Warden Trammell related to the execution drugs. The warden signed the affidavit and
attested that the drugs had been obtained legally from a licensed pharmacy and had
been handled appropriately, since their acquisition. Interviews of DOC and OAG staff
revealed this type of affidavit had been signed in the past, but never on the day of an
execution. According to OAG representatives, the affidavit was executed on the day of
the execution, due to ongoing litigation concerns regarding the drugs.

          N. Historical Incident Reports and Medical Records
      The investigation team obtained historical incident reports, emails and medical
records from OSP regarding Lockett. The incident reports included approximately 42
instances where Lockett was disciplined for behavioral issues and for contraband located
or suspected by DOC personnel. Examples include:

          1. A cellular telephone was discovered in Lockett’s cell several months prior to
             the execution;

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          2. DOC personnel suspected Lockett had been hoarding Vistaril (hydroxyzine)
              from a prescription that ended March 3;
          3. A homemade rope was discovered on the floor of Lockett’s cell during his
              extraction on the day of the execution;
          4. A razor blade from an issued, disposable shaving razor was discovered in
              Lockett’s cell on the day of the execution.

       The review of Lockett’s medical records by a medical professional indicated that
he had no past medical conditions or factors that would be considered problematic for IV
insertion or drug administration.

          O. Lockett’s Movements and Sounds after Drug Administration
       The description of Lockett’s movements and sounds varied among the witnesses.
The movement descriptions ranged from quivering to thrashing, but most agreed
Lockett’s head did rise off the table. There were differing recollections regarding whether
Lockett’s eyes opened after he was deemed unconscious. The sound descriptions varied
from mumbling to Lockett making statements. The recollections varied greatly; therefore
it was difficult to determine what was said, if anything.
       Several conclusions were made pursuant to the execution table assessment.
While strapped to the table, the team member made attempts to move all parts of his
body. He was able to rotate his feet inward and outward, move his shoulders slightly and
his head had a full range of motion. He was not able to bend or move his knees and had
minimal movement in his hips as he attempted to move from side to side. He could not
move his hips up and down. The hands had no movement and the arms had minimal
movement due to the elbow having limited motion. Based on what was observed,
witnesses would have a different perspective of the amount of movement depending on
where they were seated. Due to the restrictiveness of the straps, the movements were
minimal to non-existent with the exception of the head and feet.




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IV.     RECOMMENDATIONS
        Based on the findings, the following recommendations are made for future lethal
injection executions in Oklahoma. DOC, the Office of the Attorney General and any other
entity or individual responsible for execution protocols in this state are urged to
thoroughly research, review and deliberate these recommendations prior to their
implementation. Further, DOC should review and consider policies and protocols from
other states responsible for executions. Any changes to the current policies and protocols
should comply with Oklahoma and federal law.

             A. Observation of IV Insertion Point(s) and Infusion
        1.      The IV catheter insertion point(s) should remain visible during all phases of
                the execution and continuously observed by a person with proper medical
                training in assessing the ongoing viability of an IV. This person should
                remain inside the execution chamber during the entire process.
        2.      Once the appropriate saline infusion has started, it should not be stopped,
                except for the times that execution drugs are being administered. It should
                be continuously monitored to assist in ensuring IV viability in accordance
                with current medical practices and standards;
        3.      After one hour of unsuccessful IV attempts, DOC should contact the
                Governor to advise the status and potentially request a postponement of
                the execution.

             B. Training and Maintenance of Execution Log for Condemned
                Offenders
        1. Conduct formal, specific training related to information documented on all
             execution logs.
        2. The information to be recorded on execution logs should include, but not be
             limited to:
                a. all statements or behaviors that could be detrimental to completing an
                    execution;
                b. all meals provided to an offender and what portions of the meals the
                    offender consumed or refused;

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              c. all medication provided to an offender and the observations made by
                 personnel as to whether the offender ingested the medication as
                 prescribed;
              d. all liquids consumed by the offender.

          C. Additional Execution Supplies
       DOC should maintain and provide their own equipment and supplies ensuring their
operability prior to each execution.
       1. DOC should obtain from the selected pharmacist, one complete, additional set
          of each execution drug being utilized for an execution to be used in the event
          an issue arises with the primary set.
       2. DOC should consult with appropriate medical personnel to determine any and
          all supplies or equipment necessary including, but not limited to the following:
              a. Heart monitoring equipment;
              b. Venous ultrasound equipment;
              c. Appropriate needle/catheters to coincide with the IV access options
                 listed in protocol.

          D. Contingency Plans in Protocols/Policy
       DOC should evaluate and establish protocols and training for possible
contingencies if an issue arises during the execution procedure. DOC should consider
planning for contingencies including, but not limited to:
       1. Issues with execution equipment or supplies;
       2. Issues with offender IV access, including obtaining alternate IV access site(s);
       3. The offender is not rendered unconscious after execution drug administration;
       4. A combative offender;
       5. Unanticipated medical or other issues concerning the offender or an execution
          team member;
       6. Issues regarding order, security or facilities at OSP.




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          E. Formal and Continuing Training Program for Execution Personnel
       DOC should establish formal and continual training programs for all personnel
involved in the execution process. They should explore successful training procedures
used by other correctional institutions and implement accordingly.

          F. Formal After-Action Review of the Execution Processes
       At the conclusion of each execution, all personnel with assigned execution duties
should attend an after-action review. The review should be completed within five
business days and conducted by the director or his designee. The events that occurred
during the execution should be discussed in detail and each involved person should
discuss their responsibilities and observations. The review should serve as an
opportunity for all involved personnel to voice their opinions, concerns and/or
recommendations in order for continuous improvement to the process. The review should
be formally documented and retained for future reference.

          G. Defined Execution Terminology
       It was apparent during this investigation that specific terminology should be clearly
defined so they are understood by all personnel involved in the execution process. This
will allow DOC, OAG and Governor’s Office personnel to have a common understanding
of how each term affects the execution process and the actions that should take place, if
such terms are used. Defined terms should include, but are not limited to “stop,” “stay,”
and “halt”.

          H. Completion of One Execution per Seven Calendar Days
       Due to manpower and facility concerns, executions should not be scheduled within
seven calendar days of each other.

          I. Updated Methods of Communication
       The current communication methods used during the execution process are
antiquated and require unnecessary multi-tasking from key personnel in the execution
chamber. DOC should explore options on how to update the following:




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       1. Communication between the execution chamber and executioners’ room.
               a. DOC should research and implement modern methods that allow
                  personnel in these two areas to communicate clearly.
               b. The current processes, including the use of color pencils and hand
                  signals, could be used as a contingency if other modern methods fail.
       2. Communication between DOC and the Governor’s Office.
               a. DOC should research and implement methods to modernize the
                  communication link that would allow direct, constant contact between
                  the personnel in the execution chamber and the Governor’s Office.

          J. Disposition of Executed Offender’s Property
       DOC should explore maintaining an executed offender’s personal property and
any items removed from his/her cell until the autopsy report is completed. This would
allow DOC administrative personnel time to determine if such property should be
maintained for an additional period of time, if appropriate circumstances exist. In any
event, no property should be released until it has been properly searched and
inventoried.

          K. Execution Witness Briefing
       As a result of the changing execution protocols and procedures, DOC should
conduct a prepared pre-execution briefing with all attending witnesses. This briefing
should include, but not be limited to the following:

       1. An overview of the events the witnesses will view during the execution process,
          including an explanation that witnesses will not be allowed to view all aspects
          of the execution;
       2. Requirements regarding the conduct of witnesses throughout the process.




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                                                      Federal Bureau of Prisons




Office of' the Director                               Washington. D.C. 20534


                                                     November 27, 2017


MEMORANDUM FOR THE ATTORNEY GENERAL

THROUGH:                  THE DEPUTY ATTORNEY GENERAL

                          Robert K. Hur
                          Principal Associate Deputy Attorney General

                          James A. Crowell, IV
                          Chief of Staff and Associate Deputy Attorney General

FROM:                     Mark Inch    /J"'J () <            !/ 0
                          Director     / ~ ~ ~
                          Federal Bureau of Prisons

SUBJECT:                  Approval of Bureau of Prisons' Death Penalty Protocol Addendum

I.         Introduction

        The Federal Bureau of Prisons ("BOP"), along with the United States Marshals Service
("USMS"), is responsible for implementing federal death sentences. See 28 CFR Part 26. Those
regulations require BOP to use lethal injection as the method of execution. Prior to 2003, BOP's
lethal injection protocol consisted of three drugs: sodium pentothal, pancuronium bromide, and
potassium chloride. 1 No federal execution has occurred since 2003, in part, because of the
unavailability of sodium pentothal.

        BOP has studied the issue and now requests the approval of an Addendum to its Federal
Execution Protocol ("Addendum") that provides for the use of a single drug, pentobarbital
sodium ("pentobarbital"), as the lethal agent. See Tab 1, Addendum. This new Addendum will
replace the three-drug procedure previously used in federal executions.

        BOP believes it has a viable plan to obtain pentobarbital, which would allow it to resume
federal executions. This Memorandum discusses BOP's analysis underlying requested protocol
and its plan to implement the amended Protocol if approved.



1
 BOP carried out the executions of Timothy McVeigh (2001), Juan Garza (2001), and Louis
Jones (2003) using this drug compound.
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II.     Background

         Implementation of the federal death penalty is governed by 18 U.S.C. §§ 3596-3597.
These provisions require BOP to carry out death sentences "in the manner prescribed by the law
of the State in which the sentence is imposed." 18 U.S.C. § 3596(a). Federal regulation further
clarifies that BOP must implement death sentences "by intravenous injection of a lethal
substance or substances in a quantity sufficient to cause death." 28 C.F.R. § 26.2(3). 2 The
Director of BOP is charged with determining what "substance or substances" should be used in
federal executions. 28 C.F.R. § 26.3(4).

        A. Use of Pentobarbital

        All states use lethal injection as their primary method of execution. State protocols
comprise of one-, two-, and three-drug methods. The three-drug protocol typically involves an
anesthetic or sedative, followed by pancuronium bromide to paralyze the inmate, and finally
potassium chloride to stop the inmate's heart. The one- or two-drug protocols typically use a
lethal dose of an anesthetic or sedative.

        There has been much litigation regarding death penalty protocols. In Baze v. Rees, 553
U.S. 35 (2008), the Supreme Court upheld Kentucky's use (along with at least 30 other states) of
a three-drug combination, including sodium pentothal, pancuronium bromide, and potassium
chloride. 3 While Baze cleared legal obstacles that states faced in carrying out the death penalty,
practical obstacles soon emerged as pharmaceutical companies began refusing to supply the
drugs used to implement the death sentences. See Glossip v. Gross, 135 S.Ct. 2726, 2733
(2015). Specifically, the sole American manufacturer of sodium pentothal stopped producing the
drug because of its use in the death penalty. 4

        After the availability of sodium pentothal declined, states developed an alternative drug
combination that replaced sodium pentothal with pentobarbital, another barbiturate. Glossip, 135
S.Ct. at 2733. On December 16, 2010, Oklahoma was the first state to execute an inmate using
pentobarbital in place of sodium pentothal in its three-drug compound. Id. 5 The following year,


2
   All 31 states that currently permit the death penalty allow for lethal injection as the primary
execution method, which complies with 18 U.S.C. § 3596. See Death Penalty Information
Center, Authorized Methods, available at https://deathpenaltyinfo.org/methods-execution.
3
   Under the Court's precedent, to successfully challenge a state's lethal injection protocol under
the Eighth Amendment, a condemned prisoner must: (1) "establish[] that the State's lethal
injection protocol creates a demonstrated risk of severe pain[;]" and (2) "show that the risk is
substantial when compared to the known and available alternatives." Baze, 553 U.S. at 61
4
  Hospira, Press Release, Hospira Statement Regarding Pentothal (sodium thiopental) Market
Exit (Jan. 21, 2011).
5
  See also Divinda Mims, Death row inmate executed using pentobarbital in lethal injection,
CNN, December 16, 2010, available at http://
http://www.cnn.com/2010/CRIME/12/16/oklahoma.execution.
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Ohio used pentobarbital in a one-drug execution. 6 In the years since, many states incorporated
pentobarbital into their protocols. In fact, all 43 executions carried out in 2012 reportedly used
pentobarbital. 7

        Currently, fourteen states have used pentobarbital, either as part of a three-drug
combination or by itself, in executions. An additional five states have announced plans to use it. 8
Georgia, Idaho, Missouri, South Dakota, and Texas administer a single-drug pentobarbital
protocol, as BOP seeks to do, as the primary method of execution. Both Missouri and Texas
have extensive experience with this method, executing 20 and 60 inmates, respectively, with
single-drug pentobarbital since approximately 2012. 9 Eight of twenty-one executions in 2017
used single-drug pentobarbital. 10 Although various media outlets have reported complications
with lethal injection executions, none of those executions appear to have resulted from the use of
single-drug pentobarbital. 11

       B. Use of Compounded Pentobarbital

        The supply of pentobarbital significantly declined in 2011 after advocates lobbied its sole
worldwide producer of injectable pentobarbital to stop selling it for use in executions. Glossip,
135 S.Ct. at 2733. 12 Currently, pentobarbital's manufacturers place restrictions on its domestic
distribution to prevent it from being sold to departments of corrections for use in executions.

        With limited drug availability directly from the manufacturers, states began taking
alternative steps to secure lethal substances for their execution procedures. At least ten states
have either used, or intend to use, compounding pharmacies to obtain their drugs for lethal
injection. 13 In general, compounding pharmacies are entities where a licensed pharmacist or
physician combines, mixes, or alters ingredients of a drug to create a medication tailored to the
needs of an individual patient. In October 2012, South Dakota became the first state to carry out
an execution using compounded pentobarbital. 14 Missouri followed suit and used pentobarbital
from a compounding pharmacy in November 2013, and Texas did the same in October 2013. 15

       Circuit courts have consistently denied prisoners relief when challenging a compounded
pentobarbital lethal injection protocol. See Zink v. Lombardi, 783 F.3d 1089, 1102 (8th Cir.

6
  Deborah W. Denno, Lethal Injection Chaos Post-Baze, 102 GEO. L.J. 1331, 1382 (2014).
7
  Glossip, 135 S.Ct. 2733 (citing Death Penalty Institute, Execution List 2012, online at
www.deathpenaltyinfo.org/execution-list-2012).
8
  Death Penalty Information Center, State by State Lethal Injection, available at
www.deathpenaltyinfo.org/state-lethal-injection (last visited October 30, 2017).
9
  Death Penalty Information Center, supra note 9.
io Id.
11
   Death Penalty Information Center, Botched Executions, available at
https://deathpenaltyinfo.org/some-examples-post-furman-botched-executions.
12
   Eric Berger, Lethal Injection Secrecy and Eighth Amendment Due Process, 55 B.C. L. Rev.
1367, 1380 (2014).
13
   Death Penalty Information Center, supra note 9.
14 Id
15 Id
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2015); Whitaker v. Livingston, 732 F.3d 465, 468 (5th Cir. 2013); Wellons v. Comm 'r Ga. Dep't
ofCorr., 754 F.3d 1260, 1265 (I Ith Cir. 2014). See also Owens v. Hill, 758 S.E.2d 794, 802-03
(Ga. 2014); West v. Schofield, -- S.W.3d --. 2017 WL 1376946, at* 13 (Tenn. Mar. 28, 2017).

       C. Development of Addendum
       In 2011, BOP began exploring pentobarbital and other methods of conducting executions.
That year, BOP personnel visited several states to observe executions. Based upon research,
observation, and the opinion of medically trained personnel, BOP developed the single-drug
pentobarbital protocol.

        As part of its research and study, BOP examined a three-drug process using pentobarbital
as the first anesthetic. BOP disfavored this method because of the complications inherent in
obtaining multiple drugs. BOP also considered the use of midazolam as part of a three-drug
process. As stated earlier, several states experienced some complications with this drug during
executions. In the end, BOP determined that the single-drug pentobarbital protocol was the most
suitable method based on its widespread use by the states and its acceptance by many courts.

       The Addendum provides for the use of five grams of pentobarbital during executions.
The Addendum calls for three syringes to be prepared, with the first two containing 2.5 grams of
pentobarbital sodium (in diluent) and the final syringe containing 60 mL of saline flush.
Addendum ~ H (Tab 1). Supervisory personnel are then to direct the administration of each
syringe. Id.

       BOP's draft procedures are similar to execution protocols adopted by Georgia, Ohio,
Tennessee, Missouri, and Arizona. Texas's protocol utilizes one injection of 5 grams of
pentobarbital. 16

        BOP consulted with the USMS Office of General Counsel regarding the Addendum.
USMS concurred with the Addendum and noted their deference to BOP on all matters related to
the time, place, and manner of carrying out federal executions.

         BOP also retained a medical consulting firm to review the Addendum in anticipation of
litigation. If the Addendum is approved, BOP anticipates its protocol will be subject to vigorous
litigation. Currently, one federal case is pending in the District of Columbia challenging BO P's
method of execution and will be reopened upon the adoption of a protocol. See Roane, et al. v.
Gonzales, No. 05-2337 (D.D.C.). In May and October 2017, BOP, in connection with the U.S.
Attorney's Office in the District of Columbia consulted with Dr. Joseph F. Antognini, M.D., a
clinical professor of anesthesiology and pain medicine at University of California Davis School
of Medicine. Dr. Antognini concurs with the Addendum and is prepared to submit an expert
report in defense of the protocol.




16 State protocols can be found at Death Penalty Information Center, State by State Lethal

Injection, available at https://deathpenaltyinfo.org/state-lethal-injection.
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III. Implementation of Protocol

         Following approval of the Addendum, BOP is prepared to implement the amended
Protocol. BOP has the necessary facilities and staff to resume federal executions and is prepared
to conduct executions at its facilities in Terre Haute, Indiana. BOP, for example, regularly trains
staff in the execution Protocol and conducts training exercises. A training occurred as recently
as the week of October 23, 2017.

        BOP also believes it has a viable plan to obtain pentobarbital. BOP intends to import
powdered pentobarbital from a foreign FDA-registered facility. 17 Once inside the United States,
a compounding pharmacy will be used to modify the drug into an injectable solution. BOP plans
to have the compounded pentobarbital tested to ensure proper concentration. The shelf-life for
this pentobarbital is approximately two years.

       In preparation for this option, BOP consulted with the Drug Enforcement Administration
("DEA") Office of General Counsel. DEA foresees no issues arising from the transportation of
the compounded pentobarbital.

IV.    Pending Litigation and Death Penalty Eligible Inmates

        Once a protocol is adopted and BOP obtains pentobarbital, execution dates may be set for
ten of the 60 inmates with federal death sentences. Each one of the following ten inmates have
exhausted their appeals (although they may potentially file a collateral challenge once a date is
set):

             Inmate                 Supreme Ct. Cert. Pet. Denial              District
                                                 Date
         Brandon Bernard                  January 19, 2016                    W.D. Tex.
          Meier Brown              October 6, 2014 and December 1,            S.D. Ga.
                                           2014 (rehearing)
         Sherman Fields                      June 8, 2015                     W.D. Tex.
          Dustin Higgs                   December 10, 2012                     D.Md.
          Norris Holder                    October 5, 2015                    E.D.Mo.
         Dustin Honken                     October 5, 2015                    N.D. Iowa
         William Lecrov                     March 9, 2015                     N.D.Ga.
           Daniel Lee                       April 17, 2017                    E.D. Ark.
         Wesley Purkey                    October 14, 2014                    W.D.Mo.
        Christopher Vialva                February 29, 2016                   W.D. Tex.




17 In consultations with the FDA, the agency has stated that imported bulk pentobarbital from a
foreign FDA-registered facility would be subject to its enforcement discretion and that the
shipment should be allowed into the country.
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              ADDENDUM TO BOP EXECUTION PROTOCOL
        FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                          EFFECTIVE TBA

A.    Federal death sentences are implemented by an intravenous injection of a
      lethal substance or substances in a quantity sufficient to cause death, such
      substance or substances to be determined by the Director, Federal Bureau of
      Prisons (BOP) and to be administered by qualified personnel selected by the
      Warden and acting at the direction of the United States Marshal. 28 CFR 26.3.
      The procedures utilized by the BOP to implement federal death sentences shall
      be as follows unless modified at the discretion of the Director or his/her
      designee, as necessary to (1) comply with specific judicial orders; (2) based on
      the recommendation of on-site medical personnel utilizing their clinical judgment;
      or (3) as may be required by other circumstances.

B.    The identities of personnel considered for and/or selected to perform death
      sentence:-related functions, any documentation establishing their qualifications
      and the identities of personnel participating in federal judicial executions or
      training for such judicial executions shall be protected from disclosure to the
      fullest extent permitted by law.

C.    The lethal substances to be utilized in federal lethal injections shall be
      Pentobarbital Sodium.

D.    Not less than fourteen (14) days prior to a scheduled execution, the Director or
      designee, in conjunction with the United States Marshal Service, shall make a
      final selection of qualified personnel to serve as the executioner(s) and their
      alternates. See BOP Execution Protocol, Chap. 1, §§ Ill (F) and IV (B) & (E).
      Qualified personnel includes currently licensed physicians, nurses, EMTs,
      Paramedics, Phlebotomists, other medically trained personnel, including those
      trained in the United States Military having at least one year of professional
      experience and other personnel with necessary training and experience in a
      specific execution:-related function. Non-medically licensed or certified qualified
      personnel shall participate in a minimum of ten (10) execution rehearsals a year
      and shall have participated in at least two (2) execution rehearsals prior to
      participating in an actual execution. Any documentation establishing the
      qualifications, including training, of such personnel shall be maintained by the
      Director or designee.

E.    The Director or designee shall appoint a senior: level Bureau--BOP employee to
      assist the United States Marshal in implementing the federal death sentence.
      The Director or designee shall appoint an additional senior:-level BOPHreau
      employee to supervise the activities of personnel preparing and administering
      the lethal substances.
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                   ADDENDUM TO BOP EXECUTION PROTOCOL
            FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                              EFFECTIVE TBA

F.    The lethal substances shall be prepared by qualified personnel in the following
      manner unless otherwise directed by the Director, or designee, on the
      recommendation of medical personnel. The lethal substances shall be placed
      into three sets of numbered and labeled syringes. One of the sets of syringes is
      used in the implementation of the death sentence and two sets are available as
      a backup.

G.    Approximately thirty (30) minutes prior to the scheduled implementation of the
      death sentence, the condemned individual will be escorted into the execution
      room. The condemned individual will be restrained to the execution table. The
      leads of a cardiac monitor will be attached by qualified personnel. A suitable
      venous access line or lines will be inserted and inspected by qualified personnel
      and a slow rate flow of normal saline solution begun.

H.    Lethal substances shall be administered intravenously. The Director or designee
      shall determine the method of venous access (1) based on the training and
      experience of personnel establishing the intravenous access; (2) to comply with
      specific orders of federal courts; or (3) based upon a recommendation from
      qualified personnel.

      A set of syringes will consist of:

      Syringe #1 contains 2.5 grams of Pentobarbital Sodium in 50 ml of diluent
      Syringe #2 contains 2.5 grams of Pentobarbital Sodium in 50 ml of diluent
      Syringe #3 contains 60 ml of saline flush'",

      -Each syringe will be administered in the order set forth above when directed by
      supervisory personnel.

      If peripheral venous access is utilized, two separate lines shall be inserted in
      separate locations and determined to be patent by qualified personnel. A flow of
      saline shall be started in each line and administered at a slow rate to keep the
      line open. One line will be used to administer the lethal substances and the
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                                         U.S. Department of Justice        0862


                                                          Federal Bureau of Prisons




Office of the Director                                    Washington, DC 20534


Privileged and Confidential


                                                          March 7, 2018



MEMORANDUM FOR THE ATTORNEY GENERAL


THROUGH:                      THE DEPUTY ATTORNEY GENERAL




FROM:                         Mark S. Inch, Director
                              Federal Bureau of Prisons


SUBJECT:                      Use of Fentanyl in Executions


         I.        Introduction

The Federal Bureau of Prisons ("Bureau"), along with the United States Marshals Service, is
responsible for implementing federal death sentences. See 28 CFR Part 26. Under those
regulations, the Bureau is required to utilize lethal injection as the method of execution.
Recently, an inquiry was made to the Bureau regarding the use of the opiate fentanyl in
executions.

         II.       Fentanyl

Fentanyl (fentanyl citrate) is a synthetic narcotic introduced in 1960 to replace morphine for
cardiac surgery. Fentanyl was lauded for its much greater potency and margin of safety. Several
other members of the fentanyl class, each with unique characteristics, have been developed and
used over the years, including sufentanil, alfentanil, and remfentanil. These four drugs are the
most commonly used narcotics in clinical anesthesia. Fentanyl is approximately 50 to 100 times
stronger than morphine. 1 Fentanyl is commercially sold in the in the United States for
1
 Randall S. Glidden MD, The National Medical Series for Independent Study (NIMS): Anesthesiology (Neil
Marquardt ed., 2003 ) 31 .
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intravenous use by Janssen Pharmaceutical Company under the registered trademark name,
Sublimaze®. Janssen Pharmaceuticals (originally a Belgian company) was purchased by New
Jersey based Johnson & Johnson in 1961. However, numerous companies manufacture the
generic version of this drug.

        III.    States Using Fentanyl in Their Protocols

No known state or other entity has used fentanyl in any execution to date. However, in 2017,
two states promulgated execution protocols that include fentanyl.

                A. Nebraska

Nebraska's current protocol involves a complex four-drug method. First, the inmate is injected
intravenously with two-milligram doses of Diazepam (Valium) per kilogram of body weight.
These doses are followed with a 50 cc saline flush which is to be administered after each
injection until the inmate is unconscious. Second, the inmate is injected with 25 micrograms of
fentanyl citrate per kilogram of body weight, followed by a 50cc saline flush. Third, the inmate
is injected with 1.6 milligrams per kilogram of body weight with cisatracurium besylate
(paralytic) followed by a 50cc saline flush. Finally, the inmate is injected with 240
milliequivalents of potassium chloride (stops electrical activity in the heart) followed by a 50cc
saline flush.

We located two inmate death sentence enforcement notifications, dated November 9, 2017
(inmate Jose Sandovol #59147) and January 19, 2018 (inmate Carey Moore #32947), but to date,
no execution warrant has been set by the Nebraska Supreme Court in accordance state law, nor
could we locate a legal challenge to Nebraska's current protocol. Our assumption is the inmates
are waiting for an execution date to be set before filing an gth Amendment challenge to the new
protocol.

                B. Nevada

Nevada's current proposed three-drug execution protocol which includes fentanyl was developed
by Nevada's former chief medical officer in 2017 "in a matter of minutes." 2 Although the
protocol itself is currently under seal, a review of filings in Nevada's active litigation clearly
identifies the proposed protocol. Under the proposed protocol the process begins with the
administration of 50 milligrams of Diazepam (valium), followed by a verbal consciousness
check. If the inmate responds, a supplemental dose of 25 milligrams will be injected. Again, a
consciousness check will be administered and supplemental injection will be administered as
needed. Once the inmate fails to respond, the second drug, fentanyl, will be administered at
5000 micrograms over two minutes. At this point, the attending physician will administer
painful stimuli. If a response is noted another 2,500 micrograms of fentanyl will be
administered. This continues until no response is noted. Then the third drug, 100 milligrams of



2
 William Wan, "Execution drugs are scarce. Here's how one doctor decided to go with opioids," The Washington
Post 11 December 2017, Post Nation. The Chief resigned in October 2017.
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Cisatracurium (a paralytic), is to be administered. After five minutes, another 100 milligrams of
Cisatracurium is to be administered. This protocol is being challenged in court. 3

On December 15, 2017, Nevada Department of Corrections ("NDOC") filed a petition for writ of
mandamus in the Supreme Court of the State of Nevada. The NDOC challenged the Nevada
District Court's finding that NDOC's proposed use of the paralytic drug (Cisatracurim) presented
a substantial risk of harm in violation of the State and Federal constitution. The District Court
found the proposed use of Cisatracurium presented the risk that the inmate might suffer "air
hunger" if he is not sufficiently unconscious when the paralytic is injected. If that happened, the
inmate would be at risk of being aware, yet paralyzed and suffocating to death. The District
Court believed that the execution should still proceed with a proposed two-drug cocktail
consisting of diazepam and fentanyl. The NDOC rejected that proposal, requested a stay of the
execution. The petition is still currently pending. 4

           IV.      Availability of Fentanyl for Federal Executions

Commercial drug companies are ensuring distributors are not supplying states and the federal
government with execution drugs via contractual arrangements, purchase order verifications, etc.
Therefore, we can no longer obtain commercial drugs from third party distributers with our DEA
license.

However, we have located a compounding pharmacy who is willing to lawfully provide us with
commercially manufactured medications as they are available. This source is lawfully licensed,
is located in the United States, and appears to be able and willing to compound fentanyl as
needed, to the extent the dosage we need is not commercially available.

           V.       Issues with Obtaining Fentanyl

In accordance with the law of the state in which our current compounding pharmacy is located,
they must first provide us with commercially available fentanyl if it is available. On March 5,
2018, many different concentrations of injectable fentanyl are available for sale to us with our
current licensure. However, these drugs are made by manufacturers who would most likely take
action against the Bureau of Prisons if they discovered the drugs were used for the purpose of
execution, regardless of how we obtained them. Recently, various drug manufacturers having
begun sending correspondence to various departments of corrections, including the Federal
Bureau of Prisons, seeking assurance their drugs are not being used for executions. Some have
threatened to refuse to provide medications used for clinical treatment of inmates should they
find out their drugs are being used for executions. Obviously, we do not want to put the clinical
treatment of inmates under our care at risk.

Our current compounding pharmacy indicates if the specific concentration required by the client
is not commercially available, they can then legally manufacture (compound) the drug
themselves, without involving the larger drug manufacturers. Our preliminary research indicates
the ideal lethal concentration of fentanyl is not currently commercially manufactured. It appears

3
    Nev. Dep't of Corr. v. Eighth Jud. Dist. Ct. et al., No. 74679, at 14 (Nev. filed Dec. 15, 2017).
4Jd.
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we would be seeking to order concentrations of at least 5000 micrograms (mcg's) per 50
milliliters (ml). However, the solubility of fentanyl would need to be examined in consultation
with experts, to determine the appropriate dosage.

Additionally, there is an issue as to whether there is a need for a prescription. Our preliminary
determination is that a prescription is not needed; however, we would need to fill out appropriate
forms to purchase narcotics, which is permitted under our current DEA licensure.

The source indicates that it would take three to five weeks from the date of order to compound
and test an order for fentanyl similar to the one we would place.

Finally, costs do not appear to be a concern. No specific quote has been provided yet, but a 5ml
vial with a concentration of 50 mcg's per ml costs $56.75 at the commercial rate. We can
assume the cost to us will be somewhere in the same range.

       VI.    Other Considerations

Three possible negative factors should be considered with the use of fentanyl. First are the
potential side effects of an injection of a large dosage of fentanyl. According to the
manufacturer's product information sheet, the biggest risk for injection of a large dosage of
fentanyl may be muscle rigidity, which can be reduced with premedication with benzodiazepines
(valium is an example). This may explain Nebraska and Nevada's decision to use valium with
their protocols. We are not sure at this point if this step is necessary. Second, fentanyl has
never been used in an execution and has not been fully litigated. Finally, there may be negative
publicity associated with using a drug to which so many Americans are addicted to as an
execution drug.
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               ADDENDUM TO BOP EXECUTION PROTOCOL
         FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                           EFFECTIVE TBA

A.     Federal death sentences are implemented by an intravenous injection of a
       lethal substance or substances in a quantity sufficient to cause death, such
       substance or substances to be determined by the Director, Federal Bureau of
       Prisons (BOP) and to be administered by qualified personnel selected by the
       Warden and acting at the direction of the United States Marshal. 28 CFR 26.3.
       The procedures utilized by the BOP to implement federal death sentences shall
       be as follows unless modified at the discretion of the Director or his/her
       designee, as necessary to (1) comply with specific judicial orders; (2) based on
       the recommendation of on-site medical personnel utilizing their clinical judgment;
       or (3) as may be required by other circumstances.

B.     The identities of personnel considered for and/or selected to perform death
       sentence related functions, any documentation establishing their qualifications
       and the identities of personnel participating in federal judicial executions or
       training for such judicial executions shall be protected from disclosure to the
       fullest extent permitted by law.

C.     The lethal substances to be utilized in federal lethal injections shall be
       Pentobarbital Sodium.

D.     Not less than fourteen (14) days prior to a scheduled execution, the Director or
       designee, in conjunction with the United States Marshal Service, shall make a
       final selection of qualified personnel to serve as the executioner(s) and their
       alternates. See BOP Execution Protocol, Chap. 1, §§ III (F) and IV (B) & (E).
       Qualified personnel includes currently licensed physicians, nurses, EMTs,
       Paramedics, Phlebotomists, other medically trained personnel, including those
       trained in the United States Military having at least one year professional
       experience and other personnel with necessary training and experience in a
       specific execution related function. Non-medically licensed or certified qualified
       personnel shall participate in a minimum of ten (10) execution rehearsals a year
       and shall have participated in at least two (2) execution rehearsals prior to
       participating in an actual execution. Any documentation establishing the
       qualifications, including training, of such personnel shall be maintained by the
       Director or designee.

E.     The Director or designee shall appoint a senior level Bureau employee to assist
       the United States Marshal in implementing the federal death sentence. The
       Director or designee shall appoint an additional senior level Bureau employee to
       supervise the activities of personnel preparing and administering the lethal
       substances.
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                   ADDENDUM TO BOP EXECUTION PROTOCOL
             FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                               EFFECTIVE TBA

F.     The lethal substances shall be prepared by qualified personnel in the following
       manner unless otherwise directed by the Director, or designee, on the
       recommendation of medical personnel. The lethal substances shall be placed
       into three sets of numbered and labeled syringes. One of the sets of syringes is
       used in the implementation of the death sentence and two sets are available as
       a backup.

G.     Approximately thirty (30) minutes prior to the scheduled implementation of the
       death sentence, the condemned individual will be escorted into the execution
       room. The condemned individual will be restrained to the execution table. The
       leads of a cardiac monitor will be attached by qualified personnel. A suitable
       venous access line or lines will be inserted and inspected by qualified personnel
       and a slow rate flow of normal saline solution begun.

H.     Lethal substances shall be administered intravenously. The Director or designee
       shall determine the method of venous access (1) based on the training and
       experience of personnel establishing the intravenous access; (2) to comply with
       specific orders of federal courts; or (3) based upon a recommendation from
       qualified personnel.

       A set of syringes will consist of:

       Syringe #1 contains 2.5 grams of Pentobarbital Sodium in 50 mL of diluent
       Syringe #2 contains 2.5 grams of Pentobarbital Sodium in 50 mL of diluent
       Syringe #3 contains 60 mL of saline flush,

       Each syringe will be administered in the order set forth above when directed by
       supervisory personnel.

       If peripheral venous access is utilized, two separate lines shall be inserted in
       separate locations and determined to be patent by qualified personnel. A flow of
       saline shall be started in each line and administered at a slow rate to keep the
       line open. One line will be used to administer the lethal substances and the
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                 ADDENDUM TO BOP EXECUTION PROTOCOL
          FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                         EFFECTIVE JULY 25, 2019

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                     ADDENDUM TO BOP EXECUTION PROTOCOL
              FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                             EFFECTIVE JULY 25, 2019

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 ADMINISTRATIVE RECORD SUMMARY
 BOP USE OF SINGLE DRUG PROTOCOL

 Introduction

The Federal Bureau of Prisons ("BOP") is responsible for implementing federal death sentences.
See 28 C.F.R. Part 26. These regulations require the sentence be implemented by "intravenous
injection of a lethal substance or substances in a quantity sufficient to cause death, such
substance or substances to be determined by the Director of the Federal Bureau of Prisons .... "
See 28 C.F.R. § 26.3(a)(4).

The BOP carried out the executions of Timothy McVeigh (2001), Juan Garza (2001), and Louis
Jones (2003). At that time, the BOP lethal injection protocol consisted of three drugs: sodium
pentothal, pancuronium bromide, and potassium chloride. The BOP has since been unable to
acquire sodium pentothal.

In Baze v. Rees, 553 U.S. 35 (2008), the Supreme Court upheld Kentucky's use (along with at
least 30 other states) of a three-drug combination, including sodium pentothal, pancuronium
bromide, and potassium chloride. While Baze provided clear approval of a specific protocol for
states to carry out the death penalty, practical obstacles soon emerged as pharmaceutical
companies began refusing to supply the drugs used to implement the death sentences. See
Glossip v. Gross, 135 S.Ct. 2726, 2733 (2015). Specifically, the sole American manufacturer of
sodium pentothal stopped producing the drug because of its use in the death penalty. Id. Unable
to obtain sodium thiopental, states explored alternatives and adopted use of pentobarbital, which
was used in all of the 43 executions carried out by the states in 2012. Id. at 2733 (citing the
Death Penalty Information Center online site at www.deathpenaltyinfo.org). However,
pentobarbital also became difficult to obtain as anti-death-penalty advocates lobbied
manufacturers to stop selling it for use in executions. Id.

States are unwilling to discuss or reveal the identity of entities that supply their lethal injection
drugs because those entities often stop supplying the drugs once their identity is disclosed. See
In re: Missouri Department of Corrections, 839 F.3d 732, 736 (8th Cir. 2016). Further, many
states have enacted legislation precluding disclosure of entities that supply drugs necessary to
carry out an execution and/or the identity of individuals who participate in executions. See e.g.
Ga. Code Ann. § 42-5-36 (Georgia Lethal Injection Secrecy Act); Tex. Code Ann. § 552.1081
and Tex. Code Crim. Proc. Art. 43 .14(b ); Ark. Code Ann. § 5-4-617; Miss. Code Ann. § 99-19-
51; Mo. Rev. Stat.§ 546.720; Ohio Rev. Code Ann.§ 2949.221; Okla. Stat. Ann. Title 22, §
1015; Tenn. Code Ann.§ 10-7-504; S. D. Codified Laws§ 23A-27A-31.2; and Va. Code Ann.§
53.1-234.

As sodium pentothal became unavailable, the BOP explored alternative drugs. The BOP
benchmarked with state practices, reviewed case law, consulted with medical professionals, and
reviewed available professional literature in this area. As a result of this review, the BOP has
determined that a single-drug protocol, using pentobarbital, would be adopted as the execution
protocol.
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 Benchmark with States

BOP personnel visited several state execution sites and reviewed state lethal injection protocols.
The state lethal injection protocols were viewed on the corresponding state department of
corrections' web sites and/or the Death Penalty Information Center website.

After the availability of sodium pentothal declined, states developed alternative drug
combinations that replaced sodium pentothal with pentobarbital. Glossip, 135 S.Ct. at 2733.
Some states incorporated pentobarbital as a one-drug protocol, and some states used
pentobarbital in a three-drug protocol.

However, the availability of pentobarbital declined and states implemented other protocols. Due
to challenges with availability of sodium pentothal and pentobarbital, several states have
changed their protocols or adopted more than one lethal injection protocol to overcome shifting
availability of various drugs. For example:

    •    In 2017, the State of Nevada adopted a three-drug execution protocol that includes
         fentanyl, diazepam, and cisatracurium. In June 2018, Nevada revised the protocol and
         replaced diazepam with midazolam, reportedly because Nevada's inventory of diazepam
         expired.
    •    From 2011 to 2013, Florida executed 10 individuals using a three-drug protocol wherein
         pentobarbital was the first drug administered. However, pentobarbital became
         unavailable for use in executions. In October 2013, Florida became the first state to
         substitute midazolam for pentobarbital as part of a three-drug protocol. Glossip, 135
         S.Ct. at 2734. Florida executed 13 individuals using a lethal injection protocol with
         midazolam as the first drug without any reported problems. Arthur v. Alabama
         Department of Corrections, 840 F.3d 1268, 1304 (11th Cir. 2016). However, Florida
         encountered difficulties acquiring midazolam and in January 2017, Florida adopted a new
         three-drug protocol because it was unable to acquire midazolam. In that new protocol,
         Florida substituted etomidate for midazolam as the first drug, followed by rocuronium
         bromide and potassium acetate. The Florida Supreme Court upheld the use of etomidate
         as part of the lethal injection protocol. Asay v. State of Florida, 224 So.3d 695 (Fla.
         2017). Florida has executed two individuals using that protocol.

Fourteen states have used pentobarbital in their lethal injection protocol, either as part of a three-
drug combination or as a single-drug method. Georgia, Idaho, Missouri, South Dakota, and
Texas administer a single-drug pentobarbital protocol. Both Missouri and Texas have extensive
experience using the single-drug pentobarbital method, executing 20 and 78 inmates,
respectively, since approximately 2012. Since 2010, pentobarbital was used as part of a single or
three-drug combination in 208 executions. Of the ten executions in 2019, as of June 24, 2019,
five used a single-drug pentobarbital protocol. https://deathpenaltyinfo.org/executions/lethal-
injection/state-by-state-lethal-injection-protocols

Anticipating that the BOP would encounter the same obstacles that the states have encountered
in obtaining pentobarbital, it also considered other lethal injection protocols. One alternative
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protocol considered consists of three drugs: midazolam, sufentanil citrate, and potassium
chloride.

The BOP determined that a one-drug protocol is preferred for several reasons. First, there are
complications inherent in obtaining multiple drugs (availability obstacles) and navigating the
respective expiration dates. Second, acquiring and storing one drug is administratively more
efficient. Third, administering one drug reduces the risk of errors during administration, and
eliminates the need to orchestrate the pace and sequence of administering multiple drugs and IV
line management.

Professional Medical Expert Consultation

The BOP consulted with two medical experts to review whether the BOP's proposed
pentobarbital protocol will produce a humane death. Both concluded that the protocol would
produce a humane death.

Publically available expert testimony was also reviewed by the BOP. First, in January 2017, the
expert addressed Ohio's lethal injection protocol, which entails midazolam, pancuronium
bromide, and potassium chloride. Second, in February 2017, the expert provided testimony
addressing Missouri's one drug lethal injection of pentobarbital.

In the Missouri case, the expert testified for the state on the efficacy of pentobarbital, and
secondarily the use of nitrogen gas. When asked which option is better, the expert testified, "I
don't offer an opinion about one being better than the other." The reason advanced was that
medical ethics prevent him from so opining. Similarly, the inmate's expert declined to offer an
opinion in that regard.

In the Missouri case, the inmate's attorney explored the expert's prior testimony regarding the
efficacy ofmidazolam in the context of Ohio's 3-drug protocol. The inmate's attorney asked
questions about the effects of each drug without directly asking which is better (e.g., the 3-drug
protocol using midazolam vs pentobarbital). The expert testified that both are effective at
producing unconsciousness (the intended effect), and then stated that pentobarbital achieves
deeper levels of unconsciousness than midazolam.

In sum, the expert's prior testimony opined that both pentobarbital and midazolam in their
respective protocols work to have the intended effect in this setting. He also testified that the
properties of pentobarbital achieve a "deeper level" of unconsciousness than midazolam.

Review of After Action Report

The BOP reviewed the after action report of the widely publicized Oklahoma execution in 2015
involving state inmate Clayton Locket, which used a three drug protocol using midazolam, a
paralytic agent, and then potassium chloride. As summarized by the Supreme Court in Glossip,
135 S.Ct. at 2734-35, that investigation concluded that the viability of the IV access point was
the single greatest factor that contributed to the difficulty in administering the execution drugs.
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 Although various media outlets have reported complications with lethal injection executions,
 none of those executions appear to have resulted from the use of single-drug pentobarbital. This
 consideration included review of information provided by Death Penalty Information Center,
 Botched Executions, https://deathpenaltyinfo.org/some-examples-post-furman-botched-
 executions?scid=8&amp;did=4 78.

 Review of Case Law

The BOP reviewed case law addressing lethal injection protocols. Courts have held that the use
of pentobarbital in executions does not violate the Eighth Amendment. See, e.g., Ladd v.
Livingston, 777 F.3d 286 (5th Cir. 2015); Zinkv. Lombardi, 783 F.3d 1089, 1102 (8th Cir.
2015); Jackson v. Danberg, 656 F.3d 157 (3d Cir. 2011); De Young v. Owens, 646 F.3d 1319
(11th Cir. 2011); and Pavatt v. Jones, 627 F.3d 1336 (10th Cir. 2010). See also Bucklew, 139
S.Ct. at 1129-1132 (finding that death row inmate challenging Missouri's method of execution
using a single-drug pentobarbital protocol failed to show a feasible and readily implemented
alternative method of execution that would significantly reduce a substantial risk of severe pain).

 Challenges to state lethal injection protocols frequently propose a single dose of pentobarbital
rather than a three-drug protocol. See, e.g., McGehee v. Hutchinson, 854 F.3d 488 (8th Cir.
2017); In re Missouri Department of Corrections, 839 F.3d 732 (2016); Arthur v. Commissioner,
Alabama Department of Corrections, 840 F.3d 1268 (11th Cir. 2016); In re Ohio Execution
Protocol, 860 F.3d 881, 890-91 (6th Cir. 2017); and Glossip, 135 S.Ct. at 2738. The common
argument is that use of pentobarbital is an alternative method that would significantly reduce the
substantial risk of pain from the challenged method. Two U.S. Supreme Court Justices dissented
from denial of certirorari in two cases where the Petitioners' argued that state lethal injection
protocols violated the Eighth Amendment. In both cases, the dissenting opinions indicated that
the proposed alternative of a single-drug protocol consisting of pentobarbital did not carry the
risks of the protocols being challenged. See Zagorski v. Parker, 139 S.Ct. 11 (2018) (challenge
to the Tennessee lethal injection protocol consisting of midazolam, vecuronium bromide, and
potassium chloride); and Arthur v. Dunn, 137 S.Ct. 725 (2017) (challenge to the Alabama lethal
injection protocol consisting of midazolam, vecuronium bromide, and potassium chloride).

Based on review of case law, it is evident that use of pentobarbital is litigation tested, and courts
across the country have held that the use of pentobarbital in executions does not violate the
Eighth Amendment. Further, inmates and their advocates frequently cite to pentobarbital as a
method that would significantly reduce the substantial risk of pain compared to the challenged
method.

Source for Pentobarbital

The BOP has a viable source for obtaining pentobarbital. The manufacturer is properly
registered as a bulk manufacturer of the active pharmaceutical ingredient ("API") for
pentobarbital. The API was subjected to quality assurance testing, further supporting the
reliability and qualification of this manufacturer.
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The BOP has secured a compounding pharmacy to store the API and to convert the API into
injectable form as needed. The BOP conferred with DEA to ensure the compounding pharmacy
is properly registered. The compounding pharmacy has performed its own testing and the drug
further passed quality assurance testing conducted by two independent laboratories.

The BOP confirmed with DEA that the BOP facility in Terre Haute, Indiana, meets the
regulatory requirements for storage and handling of pentobarbital.

ATTACHMENTS

BENCHMARK

   •     Lethal Injection Protocol from:
            o Georgia
            o Idaho
            o Missouri
            o South Dakota
            o Texas

   •     State-by-state lethal injection summary from the Death Penalty Information Center
         website, https://deathpenaltyinfo.org/lethal-injection
   •     Internal talking points summarizing:
             o The State of Florida lethal injection protocol evolution
             o States that currently or previously used pentobarbital, and aggregated data.

CASE LAW

   • Bucklew v. Precythe, 139 S.Ct. 1112 (2019)
   • Zagorskiv. Parker, 139 S.Ct. 11 (2018)
   • Arthur v. Dunn, 137 S.Ct. 725 (2017)
  • Glossip v. Gross, 135 S.Ct. 2726 (2015)
  • Baze v. Rees, 553 U.S. 35 (2008)
  • Ladd v. Livingston, 777 F.3d 286 (5th Cir. 2015)
  • Zink v. Lombardi, 783 F.3d 1089 (8th Cir. 2015)
  • Jackson v. Danberg, 656 F.3d 157 (3d Cir. 2011)
  • DeYoung v. Owens, 646 F.3d 1319 (11th Cir. 2011)
  • Pavatt v. Jones, 627 F.3d 1336 (10th Cir. 2010)
  • Price v. Commissioner, Alabama Dep 't of Corrections, 920 F .3d 1317 (11th Cir.2019)
  • Arthur v. Commissioner, Alabama Dep 't of Corrections, 840 F.3d 1268 (11th Cir. 2016)
  • In Re: Ohio Execution Protocol, 860 F.3d 881 (6th Cir. 2017)
  • McGehee v. Hutchinson, 854 F.3d 488 (8th Cir. 2017)
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MEDICAL EXPERT DEPOSITIONS/REPORTS

  •     Rule 26(a)(2) Expert Report Declaration of Joseph F. Antoginini , M.D. (in the case of
        Bucklew v. Lombardi, 2016 WL 11258099 (W.D.Mo.))
  •     Expert Deposition of Joseph Antoginini, M.D. (2017 WL 9471457 (W.D. Mo.))
  •     Expert Report of Craig W. Lindsley, Ph.D., dated May 26, 2017
  •     Transcript of Preliminary Injunction Hearing dated January 5, 2017, in In re: Ohio
        Execution Protocol Litigation, in the U.S. District Court for the Southern District of
        Ohio.

JOURNALS, MEDIA, AND REPORTS

  •     Deborah W. Denno, Lethal Injection Chaos Post-Baze, 102 GEO. L.J. 1331 , 1382 (2014)
  •     Hospira, Press Release, Hospira Statement Regarding Pentothal (sodium thiopental)
        Market Exit (Jan. 21, 2011).
  •     CNN article - Death row inmate executed using pentobarbital in lethal injection,
        December 16, 2010, available at
        http://www.cnn.com/2010/CRIME/ 12/ 16/oklahoma.execution
  •     Death Penalty Information Center, Botched Executions,
        https://deathpenaltyinfo.org/some-examples-post-furman-botched-
        executions?scid=8&amp;did=4 78
  •     Oklahoma Department of Public Safety Report: The Execution of Clayton D. Lockett


BUREAU OF PRISONS AND DEPARTMENT OF JUSTICE CORRESPONDENCE

  •    November 27, 2017, memorandum from Director Mark S. Inch to the department
       (addressing proposed one-drug protocol).
  •    March 7, 2018, memorandum from Director Mark S. Inch to the department (addressing
       use of fentanyl).
  •    Addendum to BOP Execution Protocol (one drug pentobarbital).
  •    Draft memorandum from Acting Director to the department addressing anticipated
       adoption of one-drug protocol.
  •    Letter from various State Attorneys General dated January 25, 2011 , to Attorney General
       Eric Holder, and the response letter from Attorney General Eric Holder dated March 4,
       2011.
  •    Op. Off. Legal Counsel Volume 43 (May 3, 2019).
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       (Slip Opinion)

                   Whether the Food and Drug Administration
                   Has Jurisdiction over Articles Intended for
                           Use in Lawful Executions
                                                                                  May 3, 2019

       Articles intended for use in executions carried out by a State or the federal government
          cannot be regulated as “drugs” or “devices” under the Federal Food, Drug, and Cos-
          metic Act. The Food and Drug Administration therefore lacks jurisdiction to regulate
          articles intended for that use.

                MEMORANDUM OPINION FOR THE ATTORNEY GENERAL

          The Federal Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C.
       § 301 et seq., grants the Food and Drug Administration (“FDA”) the
       authority to regulate all “drugs” and “devices,” which include any “arti-
       cles (other than food) intended to affect the structure or any function of
       the body,” as well as any components of such articles. Id. § 321(g)(1)(C)–
       (D), (h)(3). Your office has asked us whether FDA has authority to regu-
       late articles used in historically accepted methods of execution. Some of
       those articles—like electric chairs and gas chambers—exist for the sole
       purpose of effectuating capital punishment. Others—like substances used
       in lethal-injection protocols and firearms used by firing squads—have
       other intended uses.
          FDA has not historically exercised jurisdiction over articles intended to
       carry out a lawful sentence of capital punishment. In connection with
       challenges to FDA’s regulatory inaction, the federal courts have addressed
       when the agency may lawfully decline to enforce the FDCA against such
       articles. See, e.g., Heckler v. Chaney, 470 U.S. 821 (1985); Cook v. FDA,
       733 F.3d 1 (D.C. Cir. 2013). Yet they have not squarely addressed
       whether FDA has administrative jurisdiction in the first place. Congress
       has repeatedly authorized the death penalty on the assumption that there
       are lawful means to carry it out, but the regulation of such articles under
       the FDCA would effectively require their prohibition because they could
       hardly be found “safe and effective” for such an intended use. See FDA
       v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 137–39 (2000).
       Consistent with the agency’s practice in this area for several decades
       before 2017, we thus conclude that, when an article’s intended use is to




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       effectuate capital punishment by a State or the federal government, it is
       not subject to regulation under the FDCA. 1

                                                  I.

          The FDCA was first enacted in 1938. Act of June 25, 1938, ch. 675, 52
       Stat. 1040. Then, as well as now, the United States and several States
       authorized the imposition of capital punishment for the most serious
       offenses. From the time of the FDCA’s enactment until very recently,
       FDA had never claimed authority over the methods by which the federal
       and state governments carry out executions. That is in no small part
       because one of the FDCA’s fundamental purposes is to ensure that drugs
       and devices marketed in interstate commerce are safe and effective for
       their intended uses—a goal that markedly conflicts with the purpose of an
       execution. In this Part, we summarize the regulatory structure of the
       FDCA and the history of its intersection with capital punishment.

                                                 A.

         The FDCA authorizes FDA to regulate drugs and devices. The FDCA
       defines “drug” to mean:
             (A) articles recognized in the official United States Pharmacopoeia,
               official Homeopathic Pharmacopoeia of the United States, or offi-
               cial National Formulary, or any supplement to any of them; and
             (B) articles intended for use in the diagnosis, cure, mitigation, treat-
               ment, or prevention of disease in man or other animals; and
             (C) articles (other than food) intended to affect the structure or any
               function of the body of man or other animals; and
             (D) articles intended for use as a component of any article specified
               in clause (A), (B), or (C).
       21 U.S.C. § 321(g)(1) (paragraph breaks added). Congress has made only
       superficial changes to this definition since 1938. Compare Act of June 25,
       1938, § 201(g), 52 Stat. at 1041.



           1 In reaching this conclusion, we have solicited and considered the views of FDA and

       of the Office of the Associate Attorney General.

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        Whether FDA Has Jurisdiction over Articles Intended for Use in Lawful Executions

          The FDCA defines “device” as any “instrument, apparatus, implement,
       machine, contrivance, implant, in vitro reagent, or other similar or related
       article” that does not “achieve its primary intended purposes through
       chemical action within or on the body”; is not “dependent upon being
       metabolized for the achievement” of those purposes; and is:
             (1) recognized in the official National Formulary, or the United
                States Pharmacopeia, or any supplement to them,
             (2) intended for use in the diagnosis of disease or other conditions,
                or in the cure, mitigation, treatment, or prevention of disease, in
                man or other animals, or
             (3) intended to affect the structure or any function of the body of
                man or other animals.
       21 U.S.C. § 321(h) (paragraph breaks added). The definition of “device”
       also includes “any component, part, or accessory” of such articles. Id. 2
          As the statutory definitions indicate, whether FDA may regulate an
       article as a “drug” or “device” often depends not just on that article’s
       effect on a human or animal body, but also on whether that effect is
       intended. Id. § 321(g)(1), (h). An article may be a “drug” or “device”
       for some uses but not for others, depending on the manufacturer’s or
       distributor’s intent. For instance, FDA regulates “medical gases,” but not
       chemically identical industrial gases. As FDA has explained, “industrial
       gases . . . are not drugs” because manufacturers and distributors of indus-
       trial gases do not intend their products to treat disease or other conditions,
       or to otherwise affect the structure or function of the body. Medical
       Gas Containers and Closures; Current Good Manufacturing Practice
       Requirements, 71 Fed. Reg. 18,039, 18,044 (Apr. 10, 2006); see 21 C.F.R.
       §§ 201.161, 211.94(e). In a similar vein, FDA considers hot tubs, saunas,
       and treadmills as “devices” only when they are “intended for medical
       purposes.” Physical Medicine Devices; General Provisions and Class-
       ification of 82 Devices, 48 Fed. Reg. 53,032, 53,034, 53,044, 53,051–52

          2 Initially, the FDCA defined “device” as “instruments, apparatus, and contrivances,

       including their components, parts, and accessories” if they were “intended” either “for use
       in the diagnosis, cure, mitigation, treatment, or prevention of disease in man or other
       animals” or “to affect the structure or any function of the body of man or other animals.”
       Act of June 25, 1938, § 201(h), 52 Stat. at 1041. In 1976, Congress expanded the defini-
       tion of “device” to its current scope. Medical Device Amendments of 1976, Pub. L. No.
       94-295, sec. 3(a)(1)(A), § 201(h), 90 Stat. 539, 575.

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       (Nov. 23, 1983); see 21 C.F.R. §§ 890.5100, 890.5250, 890.5380. Thus,
       powered treadmills intended “to redevelop muscles or restore motion
       to joints” are “devices,” but those sold solely for recreational purposes
       are not. 48 Fed. Reg. at 53,044, 53,052; 21 C.F.R. § 890.5380. Likewise,
       FDA considers tape recordings as “devices” when they are “intended
       for use in the mitigation, treatment, and cure of disease and other medical
       conditions” (as in hypnotherapy), but not when they are intended
       “for behavior modification, self-improvement, habit correction, learning
       techniques, and simple relaxation.” FDA, Compliance Policy Guide
       § 335.300.
          Many of the FDCA’s prohibitions are keyed to a product’s intended
       use. The FDCA prohibits distribution of a “new drug” that FDA has
       not approved as safe and effective for its intended use. See 21 U.S.C.
       § 355(a), (d)(1), (d)(5); United States v. Caronia, 703 F.3d 149, 152–53
       (2d Cir. 2012). Similarly, the FDCA prohibits distribution of certain
       devices that present “a potential unreasonable risk of illness or injury,”
       unless FDA has approved them as safe and effective for their intended
       uses. 21 U.S.C. § 360c(a)(1)(C); see id. §§ 331(a), 351(f )(1), 360e(a),
       (d)(2)(A)–(B). The FDCA also bars distribution of “misbranded” drugs
       and devices, including those whose labeling lacks adequate directions for
       their intended uses, id. § 352(f )(1), or adequate warnings against unsafe
       dosages or methods of administration for those uses, id. § 352(f )(2).
       Finally, the FDCA provides that FDA “shall” block the importation of
       drugs and devices that appear to be unapproved for their intended use or
       misbranded. Id. § 381(a)(3).
          Even if FDA has approved an article for one intended use, it still may
       not be imported, sold, or distributed for another, unapproved use. See
       Wash. Legal Found. v. Henney, 202 F.3d 331, 332–33 (D.C. Cir. 2000).
       FDA’s regulations define the “intended use” of a drug or device with
       reference to “the objective intent of the persons legally responsible for the
       labeling” of the article. 21 C.F.R. §§ 201.128 (drugs), 801.4 (devices).
       That intent “is determined by such persons’ expressions” or from “the
       circumstances surrounding the distribution of the article.” Id. §§ 201.128,
       801.4. The regulations emphasize that “[t]he intended uses of an article
       may change after it has been introduced into interstate commerce by its
       manufacturer.” Id. §§ 201.128, 801.4. “[F]or example, a packer, distribu-
       tor, or seller [may] intend[] an article for different uses than those intend-
       ed by the person from whom he received the” drug or device, in which
       case “such packer, distributor, or seller is required to supply adequate

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        Whether FDA Has Jurisdiction over Articles Intended for Use in Lawful Executions

       labeling in accordance with the new intended uses.” Id. §§ 201.128,
       801.4. Likewise, a manufacturer could lawfully distribute an article in-
       tending that it be used for an approved purpose, and then later violate the
       FDCA by distributing the same article intending that it be used for a
       different, unapproved purpose.
          As a general matter, FDA does not regulate the practice of medicine,
       which includes “off-label” prescribing—that is, when physicians prescribe
       FDA-approved drugs or devices for non-FDA-approved uses. 3 As the
       Supreme Court has explained in the context of medical devices, “‘off-
       label’ usage . . . (use of a device for some other purpose than that for
       which it has been approved by the FDA) is an accepted and necessary
       corollary of the FDA’s mission to regulate in this area without directly
       interfering with the practice of medicine.” Buckman Co. v. Plaintiffs’
       Legal Comm., 531 U.S. 341, 350 (2001); see also Caronia, 703 F.3d at
       153. Thus, while the FDCA bars a manufacturer or distributor from sell-
       ing any drug or device for an unapproved use, physicians may, with
       limited exceptions, prescribe and administer FDA-approved drugs and
       devices for unapproved uses.

                                                  B.

          Capital punishment in the United States predates the Republic. For
       most of the Nation’s history, the federal government and the States em-
       ployed the gallows. Starting in the late nineteenth century, States began
       using the electric chair and, to a lesser degree, the gas chamber. At least
       since Thomas Edison’s New Jersey laboratory supplied parts for New
       York’s first electric chair in 1890, prison authorities have used interstate
       suppliers to procure articles necessary for executions. 4 Today, every

          3 See Citizen Petition Regarding the Food and Drug Administration’s Policy on Promo-

       tion of Unapproved Uses of Approved Drugs and Devices; Request for Comments,
       59 Fed. Reg. 59,820, 59,821 (Nov. 18, 1994) (“‘[O]nce a [drug] product has been ap-
       proved for marketing, a physician may prescribe it for uses or in treatment regimens o[f ]
       patient populations that are not included in approved labeling.’”) (quoting 12 FDA Drug
       Bulletin 5 (Apr. 1982)); see also 21 U.S.C. § 396.
          4 See Stuart Banner, The Death Penalty: An American History 183, 197 (2002) (de-

       scribing New York’s purchase of electric-chair components, and Nevada’s purchase of
       hydrocyanic acid for use in the gas chamber from a California source); Scott Christianson,
       The Last Gasp: The Rise and Fall of the American Gas Chamber 6 (2010) (explaining that
       Eaton Metal Products in Colorado built gas chambers for most of the States that used
       them); Carol J. Williams, Maker of Anesthetic Used in Executions is Discontinuing Drug,

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       method of execution appears to involve some component that traveled in
       interstate or foreign commerce.
          Beginning in the late 1970s, many States and the federal government
       adopted lethal injection as the preferred method of execution. Those
       executions generally used sodium thiopental, a widely administrered
       surgical anaesthetic. Although patients typically received a dose of around
       300 milligrams of sodium thiopental during surgical procedures, the dose
       in a lethal injection was anywhere from “seven to sixteen times higher.”
       Mark Dershwitz & Thomas K. Henthorn, The Pharmacokinetics and
       Pharmacodynamics of Thiopental as Used in Lethal Injection, 35 Ford-
       ham Urb. L.J. 931, 932 (2008); see also Glossip v. Gross, 135 S. Ct. 2726,
       2742 (2015) (noting that the dose of midazolam in Oklahoma’s more
       recent execution protocol “is many times higher than a normal therapeutic
       dose”).
          In 1980, death-row inmates petitioned FDA to seize lethal-injection
       substances from several States, arguing that, although the substances were
       approved for other uses, their use in executions would violate the FDCA’s
       prohibitions against the distribution of unapproved new drugs and mis-
       branded drugs. FDA denied the petition, reasoning that it lacked authority
       to regulate States’ use of FDA-approved drugs in capital punishment.
       FDA also stated that, even if it had such authority, it would decline to
       regulate in its enforcement discretion. When the issue reached the Su-
       preme Court, the United States argued more broadly that FDA lacked
       jurisdiction over articles intended for use in capital punishment. See
       Heckler, 470 U.S. 821; Br. for Pet’r at 13–14, 44–46, Heckler v. Chaney,
       470 U.S. 821 (1985) (No. 83-1878) (“Heckler Pet’r Br.”). The Court
       found it “implausible . . . that the FDA is required to exercise its enforce-
       ment power to ensure that States only use drugs that are ‘safe and effec-
       tive’ for human execution.” 470 U.S. at 827. Rather than “address the
       thorny question of the FDA’s jurisdiction,” however, the Court held that
       FDA’s exercise of enforcement discretion is not subject to judicial review.
       Id. at 828.



       L.A. Times (Jan. 22, 2011), http://articles.latimes.com/2011/jan/22/local/la-me-execution-
       drug-20110122 (discussing California’s use of sodium thiopental produced in North
       Carolina); Deborah W. Denno, Getting to Death: Are Executions Constitutional?, 82 Iowa
       L. Rev. 319, 354 & n.207 (1997) (explaining that the sole commercial suppliers of
       electric-chair equipment were in Massachusetts and Arkansas).

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          In 2009, the sole American manufacturer of sodium thiopental ceased
       production. See Glossip, 135 S. Ct. at 2733. Since then, several States
       have imported sodium thiopental from foreign suppliers. Cook, 733 F.3d
       at 4. In 2012, however, the U.S. District Court for the District of Colum-
       bia held that, although FDA has unreviewable discretion when enforcing
       the FDCA’s domestic prohibitions, FDA’s discretion is more limited with
       respect to the Act’s importation provisions. The court issued a permanent
       injunction requiring FDA to block the importation of sodium thiopental
       on the grounds that it was unapproved and misbranded. See Beaty v. FDA,
       853 F. Supp. 2d 30 (D.D.C. 2012), aff ’d, Cook, 733 F.3d 1. Neither the
       parties nor the district court, however, addressed the government’s previ-
       ous argument in Heckler that FDA lacks jurisdiction over articles intended
       for use in capital punishment. See Beaty, 853 F. Supp. 2d at 34. Following
       the Beaty injunction, FDA expressly stated in a letter ruling, apparently
       for the first time, that it had jurisdiction over a substance intended for that
       use, though, significantly, the State seeking the ruling had conceded the
       point. See Letter from Todd W. Cato, Director, Southwest Import District
       Office at 5 (Apr. 20, 2017).
          As of December 31, 2016, there were over 2,750 inmates with state
       death sentences. Elizabeth Davis & Tracy L. Snell, Bureau of Justice
       Statistics, U.S. Dep’t of Justice, Capital Punishment, 2016, at 3 tbl.1
       (2018). And there are now approximately 62 civilian prisoners with feder-
       al death sentences. See Federal Bureau of Prisons, Statistics: Sentences
       Imposed, https://www.bop.gov/about/statistics/statistics_inmate_sentences.
       jsp (last updated Apr. 13, 2019). In response to difficulties in obtaining
       appropriate substances for lethal injection, some States are considering
       turning to different methods of execution, including the electric chair and
       nitrogen gas. Tom Barton, SC Senators Resurrect Bill to Bring Back the
       Electric Chair, Add Firing Squad, The State (Jan. 30, 2019), https://www.
       thestate.com/news/politics-government/article225312765.html; Denise
       Grady & Jan Hoffman, States Turn to an Unproven Method of Execution:
       Nitrogen Gas, N.Y. Times (May 7, 2018), https://www.nytimes.com/
       2018/05/07/health/death-penalty-nitrogen-executions.html.

                                              II.

          With this background in mind, we turn to whether FDA may regulate
       articles intended for use in capital punishment. The Supreme Court recog-
       nized some time ago that “Congress fully intended that the [FDCA]’s

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       coverage be as broad as its literal language indicates—and equally clearly,
       broader than any strict medical definition might otherwise allow.” United
       States v. Bacto-Unidisk, 394 U.S. 784, 798 (1969). Nevertheless, in Brown
       & Williamson, the Court recognized one limitation to such coverage in the
       context of reviewing FDA’s authority to regulate tobacco products.
          In Brown & Williamson, the Court considered whether FDA had
       properly determined that tobacco products as customarily marketed could
       be regulated as “drugs” or “devices” under the FDCA. FDA had conduct-
       ed a rulemaking in which it concluded that the definitional phrase, “in-
       tended to affect the structure or any function of the body,” is “broad in
       scope and encompass[es] a range of products wider than those ordinarily
       thought of as drugs or medical devices.” Analysis Regarding the Food and
       Drug Administration’s Jurisdiction over Nicotine-Containing Cigarettes
       and Smokeless Tobacco Products, 60 Fed. Reg. 41,453, 41,463 (Aug. 11,
       1995); Nicotine in Cigarettes and Smokeless Tobacco Is a Drug and These
       Products Are Nicotine Delivery Devices Under the Federal Food, Drug,
       and Cosmetic Act: Jurisdictional Determination, 61 Fed. Reg. 44,619,
       44,658 (Aug. 28, 1996). FDA deemed nicotine to be regulable as a “drug”
       because it was “intended” to have “psychoactive, or mood-altering, ef-
       fects on the brain” that foster addiction, stimulate and depress the nervous
       system, and suppress appetite, thus mirroring the effects of tranquilizers,
       stimulants, weight-loss drugs, and other articles long subject to FDA
       jurisdiction. 61 Fed. Reg. at 44,631–32.
          The Supreme Court rejected FDA’s conclusion, holding that the
       FDCA’s jurisdictional provisions must be read in the context of the entire
       statute, and of later-enacted laws, to ensure “a symmetrical and coherent
       regulatory scheme.” Brown & Williamson, 529 U.S. at 133. “Viewing the
       FDCA as a whole,” the Court concluded that it would “contravene[] the
       clear intent of Congress” to treat tobacco products as subject to FDA
       regulation. Id. at 132, 133. Were tobacco products regulated as “drugs” or
       “devices,” the FDCA would prohibit their sale, because they could not be
       “safe” or “effective” for their intended use. Id. at 134–37. Yet such “a ban
       would contradict Congress’s clear intent as expressed in its more recent,
       tobacco-specific legislation,” which reflected the “collective premise . . .
       that cigarettes and smokeless tobacco will continue to be sold in the
       United States.” Id. at 137, 139, 143–56. Furthermore, Congress had enact-
       ed this tobacco-specific legislation “against the background of the FDA
       repeatedly and consistently asserting that it lacks jurisdiction under the
       FDCA to regulate tobacco products as customarily marketed.” Id. at 155–

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       56. The Court concluded: “The inescapable conclusion is that there is no
       room for tobacco products within the FDCA’s regulatory scheme. If they
       cannot be used safely for any therapeutic purpose, and yet they cannot be
       banned, they simply do not fit.” Id. at 143. 5
          Congress subsequently ratified the Court’s conclusion in the Tobacco
       Control Act, 21 U.S.C. § 387 et seq., which confirmed that tobacco prod-
       ucts as customarily marketed are not regulable as “drugs” or “devices”
       under the FDCA. See id. § 321(rr)(1)–(2). At the same time, Congress
       granted FDA the authority to impose other regulations on tobacco prod-
       ucts. See id. § 387a(a) (“Tobacco products . . . shall be regulated . . .
       under this subchapter and shall not be subject to the [drug-and-device]
       provisions of subchapter V.”); Sottera, Inc. v. FDA, 627 F.3d 891, 898
       (D.C. Cir. 2010).
          Under Brown & Williamson, FDA lacks jurisdiction to regulate articles
       intended for a use not traditionally regulated by FDA, when those articles
       cannot be safe and effective for such intended use, and Congress has
       otherwise made clear its expectation that at least some of those articles
       shall remain lawful and available for that use. See Sottera, 627 F.3d at
       896 (interpreting Brown & Williamson); see also Massachusetts v. EPA,
       549 U.S. 497, 530–31 (2007) (explaining that Brown & Williamson rested
       on “the unlikel[ihood] that Congress meant to ban tobacco products” and
       “an unbroken series of congressional enactments that made sense only if
       adopted against the backdrop of the FDA’s consistent and repeated state-
       ments” disclaiming jurisdiction (internal quotation marks omitted));
       Verizon v. FCC, 740 F.3d 623, 638 (D.C. Cir. 2014) (similar).

                                                  III.

          Applying Brown & Williamson, we conclude that the FDCA does not
       allow FDA to regulate an article intended for use in capital punishment in
       the United States. The FDCA’s regulatory framework for “drugs” and

          5 The Brown & Williamson Court declined to give the agency deference under Chev-

       ron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984), because “Congress
       could not have intended to delegate a decision of such economic and political significance
       to an agency in so cryptic a fashion.” 529 U.S. at 160; see also King v. Burwell, 135 S. Ct.
       2480, 2489 (2015) (similarly concluding that “[w]hether [tax] credits are available on
       Federal [Health Insurance] Exchanges is . . . a question of deep ‘economic and political
       significance’” that Congress did not implicitly delegate to the agency) (quoting Brown &
       Williamson, 529 U.S. at 160)).

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       “devices” cannot sensibly be applied to such articles. If the FDCA applied
       to electric chairs, gallows, gas chambers, firearms used in firing squads,
       and substances used in lethal-injection protocols, the statute would effec-
       tively ban those articles. Yet the Constitution and laws of the United
       States presuppose the continued availability of capital punishment for the
       most heinous federal and state crimes. FDA did not expressly assert the
       authority to regulate articles intended for use in executions at any time
       before 2017, and we believe that such an assertion cannot be reconciled
       with the FDCA and other federal law.

                                             A.

          Articles used in capital punishment do literally “affect the structure or
       any function of the body” by causing all bodily functions to cease. 21
       U.S.C. § 321(g)(1)(C), (h)(3). Hanging, gas asphyxiation, a firing squad,
       lethal injection, and electrocution are all intended to achieve the same
       effect: they cause death. When a prison official seeks to purchase an
       article essential to one of these methods of execution, the seller will often
       know that the item will be used in an execution and is thus “intended”
       to affect the structure or any function of the body. Id.; see 21 C.F.R.
       § 201.128 (a drug’s “intended use” can “be shown by the circumstances
       surrounding the distribution of the article”); id. § 801.4 (same for devic-
       es); cf. United States v. Kaminski, 501 F.3d 655, 671 (6th Cir. 2007)
       (concluding that egg powders were “drugs” because defendants “distrib-
       uted them to consumers for the express purpose of treating and/or pre-
       venting diseases” as evidenced by, among other things, “the methods of
       sale and distribution”).
          Nevertheless, Brown & Williamson prevents us from interpreting the
       FDCA in a manner that would depart from its “symmetrical and coherent
       regulatory scheme,” 529 U.S. at 133, and interpreting the FDCA to au-
       thorize regulation of articles intended for use in executions would do
       exactly that. See also Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,
       139 S. Ct. 361, 368 (2018) (“[S]tatutory language cannot be construed in
       a vacuum . . . so we must also consider [the term] in its statutory context.”
       (internal quotation marks and citation omitted)). If such articles were
       regulated as “drugs” or “devices,” the FDCA would effectively ban them
       and FDA could seek fines or prosecutions against those involved in their
       sale or distribution. The FDCA “generally requires the FDA to prevent the
       marketing of any drug or device where the potential for inflicting death or

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       physical injury is not offset by the possibility of therapeutic benefit.”
       Brown & Williamson, 529 U.S. at 134 (internal quotation marks omitted).
       In the case of tobacco products, their short-term physiological effects
       were greatly outweighed by their demonstrated carcinogenic qualities.
       Id. at 134–35. Thus, if tobacco products had been regulated as “drugs”
       or “devices,” the FDCA would have effectively rendered them unlawful.
       Id. at 135–37.
          The same conclusion follows here, because the articles used in capital
       punishment are intended to cause death—for some articles that is their
       sole purpose. Under the FDCA, a “new drug” may not go to market unless
       FDA determines, based on “adequate and well-controlled investigations,”
       that the substance is “safe” and “effective[]” for the “use . . . prescribed,
       recommended, or suggested in the proposed labeling thereof.” 21 U.S.C.
       § 355(d)(1), (5); see also 21 C.F.R. § 314.50(d)(5). To approve a sub-
       stance for use in a lethal-injection protocol, then, FDA would have to find
       that clinical-trial data established that the substance was “safe” for execu-
       tions—that is, that the harm inflicted by the product would be “offset by
       the possibility of therapeutic benefit” to the inmate. Brown & Williamson,
       529 U.S. at 134. It would not be sufficient to show that the substance is
       safer or more effective than other means of execution. Brown & William-
       son dismissed such an interpretation of “safety” as involving a “qualita-
       tively different inquiry” from that required by the FDCA. Id. at 140.
       Instead, FDA must find “that the product itself is safe as used by con-
       sumers.” Id. But there is no way products intended to carry out capital
       punishment could ever satisfy that test, under which “a drug is unsafe
       if its potential for inflicting death . . . is not offset by the possibility of
       therapeutic benefit.” United States v. Rutherford, 442 U.S. 544, 556
       (1979).
          The same would be true if electric chairs, gallows, or firing squads’
       firearms were regulated as “devices.” Those articles would require pre-
       market approval because they “present[] a potential unreasonable risk of
       illness or injury.” 21 U.S.C. § 360c(a)(1)(C)(ii)(II). And FDA could
       approve them only if the applicant provided “reasonable assurance” that
       they were “safe” and “effective” for the intended use of carrying out
       capital punishment, id. § 360e(d)(1)(A), (2)(A)–(B), after “weighing any
       probable benefit to health from the use of the device against any probable
       risk of injury or illness from such use,” id. § 360c(a)(2)(C). Again, FDA



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       could not possibly approve “devices” that are intended to effectuate
       executions as “safe” and “effective.” 6
          Nor would it matter whether an article intended for use in capital pun-
       ishment was designed solely for that purpose or had other, FDA-approved
       uses. 7 Either way, whenever manufacturers or distributors intended that
       an article be used in capital punishment, the FDCA would prohibit dis-
       tributing it for that use. For example, FDA has approved midazolam for
       use as a sedative and anesthetic in certain procedures. But if a manufac-
       turer or distributor of midazolam sold it to prison officials specifically for
       use in capital punishment, the drug’s “intended use” would be different
       from any approved use. See 21 C.F.R. § 201.128. A drug’s labeling must
       bear adequate directions for use for all of its intended uses; otherwise it
       is misbranded. See 21 U.S.C. § 352(f )(1); 21 C.F.R. § 201.128. Accord-
       ingly, the manufacturer or distributor would violate the FDCA’s new drug
       prohibition where the product’s labeling suggested its use in capital
       punishment. Drugs intended for use in lethal injection that were FDA-
       approved only for other uses would also be misbranded because their
       FDA-approved labeling would, by definition, lack adequate warnings
       against unsafe dosages or methods of administration for use in capital
       punishment. See 21 U.S.C. § 352(f )(2). 8 In sum, if articles intended for


          6 Applications to market drugs and devices both require the submission of well-

       controlled clinical investigations. 21 U.S.C. §§ 355(d), 360c(a)(2), (3)(A)–(B); 21 C.F.R.
       § 860.7(c). Given that the articles at issue here are intended to cause death during lawful
       executions, it is difficult to envision how the articles could be studied in clinical investi-
       gations involving humans.
          7 The FDCA’s practice-of-medicine exception does not extend to articles used in exe-

       cutions. That exception applies only when an article is “prescribe[d] or administer[ed]” to
       treat a “condition or disease within a legitimate health care practitioner-patient relation-
       ship.” 21 U.S.C. § 396 (devices); see James M. Beck & Elizabeth D. Azari, FDA, Off-
       Label Use, and Informed Consent: Debunking Myths and Misconceptions, 53 Food &
       Drug L.J. 71, 77–78 (1998) (discussing history behind section 396, which shows it was
       enacted to extend to devices the practice-of-medicine exception that already applied to
       drugs).
          8 The law-enforcement exception in 21 C.F.R. § 201.125 exempts a drug from the

       requirement in section 502(f )(1) of the FDCA that labeling include “adequate directions
       for use.” 21 U.S.C. § 352(f )(1). That exception, however, does not extend to section
       502(f )(2), which requires “adequate warnings . . . against unsafe dosage or methods or
       duration of administration.” Id. § 352(f )(2). Thus, even if executions qualified as an
       excepted law-enforcement use, substances used in executions would be misbranded under
       subsection (f )(2).

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       use in capital punishment were regulated as “drugs” or “devices,” then the
       FDCA would prohibit them altogether.
          In the past, FDA has avoided such regulatory consequences by declin-
       ing to regulate the domestic sale and distribution of articles intended for
       use in executions as a matter of enforcement discretion. But the D.C.
       Circuit recently upheld a district court order enjoining FDA from permit-
       ting the importation of foreign-manufactured sodium thiopental, on the
       grounds that it was misbranded and unapproved. Cook, 733 F.3d 1. And
       the question now is whether FDA’s regulatory authority encompasses
       articles intended for use in lethal injection or other methods of capital
       punishment, not whether FDA may use its enforcement discretion to
       alleviate the regulatory consequences. FDA equally had discretion not to
       enforce the FDCA against domestic tobacco sales that, in FDA’s view,
       would have violated the FDCA’s prohibitions on misbranding or unap-
       proved new drugs or devices. What mattered in Brown & Williamson was
       that the FDCA would have rendered the sale of tobacco products per se
       unlawful, not that FDA could have tempered that ban by selectively
       sparing particular manufacturers from civil and criminal penalties. See,
       e.g., 529 U.S. at 136 (“[T]he Act admits no remedial discretion once it is
       evident that the device is misbranded.”). The prospect that articles intend-
       ed for use in capital punishment could be sold or distributed at FDA’s
       sufferance does not alter the fact that the FDCA, by its terms, would
       effectively require a ban of such articles if they were regulated under the
       FDCA as “drugs” or “devices.”

                                              B.

          Even if the FDCA could be interpreted to authorize regulation of arti-
       cles intended for use in executions without requiring them to be banned,
       any attempt to do so would create serious tension with other provisions of
       the Act. We do not conclude that, in order for FDA to have jurisdiction
       over an article as a “drug” or “device,” every drug- or device-related
       provision of the FDCA must apply neatly to the article’s intended use. But
       the sheer number of FDCA provisions here that would make no sense as
       applied reinforces the conclusion that FDA lacks jurisdiction over articles
       intended for use in capital punishment. For example, with respect to
       articles intended for use in capital punishment, FDA could not assess
       “[t]he seriousness of the disease or condition that is to be treated with the
       drug” or “[t]he expected benefit of the drug with respect to such disease

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       or condition.” 21 U.S.C. § 355-1(a)(1)(B)–(C). Execution drugs address
       no “condition” suffered by, and produce no “benefit” for, the end user;
       instead, they exclusively inflict harm upon that user. For the same reason,
       when reviewing a new drug application for an article intended for use
       in capital punishment, FDA could not provide for review of scientific
       disputes by a “panel[] of experts” that includes members with “expertise
       in the particular disease or condition for which the drug . . . is proposed
       to be indicated.” Id. § 355(n)(1), (3)(D) (emphasis added); see also id.
       § 360bbb-1; 8 C.F.R. § 10.75(b)(2). In the context of an execution, there
       is no applicable “disease or condition.”
          Further, with respect to articles intended for use in capital punishment,
       “patient experience data”—which includes “information about patients’
       experiences with a disease or condition,” such as “patient preferences
       with respect to treatment of such disease or condition”—would never be
       available. 21 U.S.C. § 360bbb-8c(b)(1), (c)(2). Other FDCA provisions
       treat death as a serious side effect that triggers mandatory reporting and
       FDA oversight. See, e.g., id. § 355(k)(3)(C)(i)(II) (requiring drug manu-
       facturers to “report[] . . . on all serious adverse drug experiences,” includ-
       ing death); 21 C.F.R. § 314.80 (detailing exhaustive reporting require-
       ments for each “adverse drug experience,” including those resulting in
       death). These provisions cannot sensibly be read to allow an article’s
       intended use to be the causing of death in an execution.
          Other provisions presuppose that an approved device may not be in-
       tended to effectuate an execution. A manufacturer’s application for FDA
       approval “shall include” a “description of any pediatric subpopulations
       that suffer from the disease or condition that the device is intended to
       treat, diagnose, or cure,” 21 U.S.C. § 360e-1(a)(2)(A), which suggests that
       a device must be intended to improve a patient’s circumstances. FDA
       must also submit any new device to a panel of experts with “adequate
       expertise . . . to assess . . . the disease or condition which the device is
       intended to cure, treat, mitigate, prevent, or diagnose.” Id. § 360c(b)(1),
       (5)(B)(i)(I). But again, it would make no sense to apply those provisions
       to articles for use in executions, which are not intended to produce any
       benefit for the end user.
          Congress has treated certain articles intended to cause death as falling
       outside FDA’s jurisdiction. For instance, the Federal Insecticide, Fungi-
       cide, and Rodenticide Act (“FIFRA”) expressly gives the Environmental
       Protection Agency rather than FDA jurisdiction over “pesticides,” which
       include “any substance . . . intended for preventing, destroying, repelling,
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       or mitigating any pest” but exclude “any article that is a ‘new animal
       drug’ within the meaning” of the FDCA. 7 U.S.C. § 136(u). FIFRA thus
       suggests that Congress generally views substances intended to harm or
       kill pests (such as mosquitos and rats, see id. § 136(t)) as outside FDA’s
       jurisdiction.
          Over the years, FDA has disclaimed jurisdiction over several other arti-
       cles intended to kill or harm humans or animals. In 1969, for instance,
       FDA’s Chief Counsel testified that even though “pistols and bullets are
       intended to affect the function or structure of the body in the same way”
       as mace, the agency “concluded that the products could not properly be
       classified as drugs under the definition” in the FDCA. Public Sale of
       Protective Chemical Sprays: Hearings Before the Consumer Subcomm. of
       the S. Comm. on Commerce, 91st Cong. 37 (1969) (statement of William
       Goodrich). FDA reiterated that position when asserting jurisdiction over
       tobacco products in 1996, explaining that it “has never construed the
       structure-function provision to include products such as guns, airbags, and
       chemical sprays,” despite their intended effects on the structure or func-
       tion of the body. 61 Fed. Reg. at 44,684. That same rationale extends to
       articles intended for use in executions. 9

            9 Since 1977, FDA has asserted jurisdiction over articles intended for animal euthana-

       sia. FDA first asserted jurisdiction over Beuthanasia-D. See United States v. Articles
       of Drug Beuthanasia-D Regular, Food Drug Cosm. L. Rep. (CCH) ¶ 38,265 (D. Neb.
       Aug. 1, 1979). A district court agreed that FDA had jurisdiction, both because Beutha-
       nasia-D’s two active ingredients were listed in the United States Pharmacopoeia (a
       different component of the FDCA’s definition of “drug”), id. ¶ 39,129 (citing 21 U.S.C.
       § 321(g)(1)(A) (1972)), and because “euthanasia—the cessation of all bodily functions—
       . . . constitute[s] an effect on the function, if not the structure, of the animal’s body,” id.
       ¶ 39,130 (citing 21 U.S.C. § 321(g)(1)(C) (1972)). In 1980, FDA issued a two-paragraph
       guidance statement, opining that “products intended for animal euthanasia . . . conform
       to the definition of a drug” under the FDCA “since they are clearly intended to affect
       the function of the body by inducing death.” FDA, Compliance Policy Guide § 650.100
       (Oct. 1, 1980). FDA’s guidance in this area predates Brown & Williamson, and no court
       has revisited the matter. Although it may be difficult to view animal-euthanasia articles as
       “safe” for their intended use (at least where such articles are used on healthy but unwant-
       ed animals), FDA has regulated such articles since 1977; it has approved five applications
       for these articles; its regulation does not raise constitutional concerns; and we are aware
       of no legislation that suggests FDA’s assertion of jurisdiction over articles intended for
       animal euthanasia is contrary to the intent of Congress. Additionally, animal euthanasia
       has long been an accepted part of veterinary practice, whereas capital punishment has not
       been a part of medical practice. Therefore, whether or not animal euthanasia may be
       distinguishable from executions, we do not view FDA’s practice of regulating the former

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                                                 C.

          The FDCA cannot be read as authorizing FDA to effectively ban capital
       punishment, because that reading would contravene or render moot a host
       of federal statutes that presuppose the lawfulness of capital punishment.
       In Brown & Williamson, the Court held that FDA was not authorized to
       prohibit tobacco products because Congress had repeatedly confirmed that
       such products would remain available. That reasoning applies equally
       well to articles intended for use in capital punishment. The Constitution
       and numerous federal statutes presuppose that capital punishment will
       remain available and that the federal government will defer to States over
       methods of execution. Interpreting the FDCA to bar the importation, sale,
       and distribution of articles intended for use in executions would conflict
       with that settled understanding. By contrast, the conclusion that articles
       intended for use in executions cannot be regulated under the FDCA would
       be consistent with how FDA has traditionally exercised its authority; and
       it would avoid the serious federalism concerns that would arise from a
       contrary interpretation.

                                                 1.

          As the Supreme Court recently observed, the Constitution expressly
       “allows capital punishment.” Bucklew v. Precythe, 139 S. Ct. 1112, 1122
       (2019). Indeed, “the Fifth Amendment, added to the Constitution at the
       same time as the Eighth, expressly contemplates that a defendant may be
       tried for a ‘capital’ crime and ‘deprived of life’ as a penalty, so long as
       proper procedures are followed.” Id. Federal law, accordingly, has au-
       thorized the imposition of the death penalty since 1790, when the First
       Congress mandated that several federal crimes, including treason and
       murder on federal land, be punished by death. Act of Apr. 30, 1790, ch. 9,
       §§ 1, 3, 33, 1 Stat. 112, 112, 113, 119. By 1938, federal statutes autho-
       rized the death penalty for dozens of offenses. And, in the decades since
       the FDCA’s enactment, Congress has acted numerous times to make
       additional federal crimes punishable by death. 10 In providing that the


       as sufficient to overcome the force of the arguments against FDA’s authority to regulate
       the latter.
          10 See, e.g., Act of June 8, 1940, ch. 286, 54 Stat. 255, 255–56 (authorizing capital

       punishment if anyone is killed by the willful derailment of any train in interstate com-
       merce); Uniform Code of Military Justice, Act of May 5, 1950, ch. 169, 64 Stat. 107,

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        Whether FDA Has Jurisdiction over Articles Intended for Use in Lawful Executions

       death penalty is an available punishment for dozens of federal crimes,
       Congress has presupposed there would be a lawful means for carrying out
       such a sentence.
          From 1790 until 1937, federal law prescribed hanging as the method of
       execution. Act of Apr. 30, 1790, § 33, 1 Stat. at 119; Andres v. United
       States, 333 U.S. 740, 745 n.6 (1948). Congress then mandated that each
       federal execution be carried out in “the manner prescribed by the laws of
       the State within which the sentence is imposed,” or, if that State did not
       have the death penalty, in accordance with the laws of another State
       designated by the sentencing court. Act of June 19, 1937, ch. 367, 50 Stat.
       304, 304 (repealed 1984). At the time, nearly 30 States were using cya-
       nide gas or the electric chair, but the States adopted at least six different
       methods of execution between then and the early 1980s. See Deborah A.
       Denno, Getting to Death: Are Executions Constitutional?, 82 Iowa L.
       Rev. 319, 439–64 (1997). After that provision was repealed in 1984,
       federal regulations required the government to propose to the sentencing
       court that any death sentence be carried out by lethal injection. 28 C.F.R.
       § 26.2(a)(2). Unless the court ordered otherwise, they required the Direc-
       tor of the Federal Bureau of Prisons to “determine[]” which “substance or
       substances” to use. Id. § 26.3(a)(4).
          Today, capital sentences imposed under the Federal Death Penalty Act
       of 1994 are again required to be implemented “in the manner prescribed
       by” either (i) “the law of the State in which the sentence is imposed,” or
       (ii) if that State does not have the death penalty, the law of another State
       designated by the sentencing court. 18 U.S.C. § 3596(a). The Army’s
       executions are by “intravenous administration of a lethal substance, or
       substances, in a quantity sufficient to cause death.” Army Regulation 190-
       55, U.S. Army Corrections System: Procedures for Military Executions
       § 3-1, -2 (Jan. 17, 2006).


       135–40 (articles 85, 90, 94, 99, 100, 101, 102, 104, 106, 110, 113, 118, and 120, estab-
       lishing 13 military offenses punishable by death); Organized Crime Control Act of 1970,
       Pub. L. No. 91-452, sec. 1102, § 844(d), 84 Stat. 922, 957 (authorizing capital punishment
       if death results from the use of explosives to maliciously destroy government property);
       Anti-Drug Abuse Act of 1988, Pub. L. No. 100-690, § 7001(a), 102 Stat. 4181, 4387–88
       (codified at 21 U.S.C. § 848(e)) (authorizing capital punishment for intentional killing
       while engaging in criminal enterprises or drug felonies); Federal Death Penalty Act of
       1994, Pub. L. No. 103-322, §§ 60001–60026, 108 Stat. 1796, 1959–82 (codifying proce-
       dures for federal death sentences and authorizing capital punishment for 60 offenses
       under 13 existing and 28 new federal statutes).

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          This extensive backdrop of legislative and regulatory action precludes
       any suggestion that the FDCA prohibits the importation, sale, or distribu-
       tion of articles intended for use in executions; to the contrary, these statu-
       tory and regulatory schemes unambiguously assume the continued availa-
       bility of such articles. Before and after the FDCA’s enactment, Congress
       extended the federal death penalty and required the federal government
       to adopt States’ preferences as to methods of execution. Such provisions
       would be nonsensical if the FDCA had rendered it a crime to distribute
       in interstate commerce, including through importation (see 21 U.S.C.
       § 321(b)), the very articles that States and the federal government need to
       effectuate capital sentences. By expressly recognizing States’ discretion to
       select methods of execution (subject to constitutional limits), Congress
       precluded any role for FDA in supplanting States’ judgments about those
       methods.

                                             2.

          In addition, as in Brown & Williamson, “[t]he consistency of the FDA’s
       prior position” concerning the absence of regulatory jurisdiction over
       methods of execution, coupled with a corresponding history of non-
       enforcement, “provides important context” for interpreting federal death-
       penalty legislation postdating the FDCA. 529 U.S. at 157. Just as FDA
       “asserted authority to regulate tobacco products as customarily marketed”
       only late in its history, id. at 146, FDA does not appear to have asserted
       jurisdiction to regulate articles intended for use in executions before 2017.
          Between 1981 and 1985, FDA directly addressed its jurisdiction in the
       proceedings associated with Heckler, 470 U.S. 821. The challenge in
       Heckler involved state lethal-injection protocols, which required the
       unapproved use of drugs that were FDA-approved for other purposes.
       Although the Heckler Court found it “implausible . . . that the FDA is
       required to exercise its enforcement power to ensure that States only use
       drugs that are ‘safe and effective’ for human execution,” id. at 827, the
       Court ultimately declined to resolve the “thorny question of the FDA’s
       jurisdiction” in that circumstance, id. at 828. Instead, the Court held
       that FDA’s decision not to enforce the FDCA was unreviewable. Id. at
       837–38. Even so, we find instructive FDA’s own statements about its
       jurisdiction in the Supreme Court and in the underlying administrative
       proceeding.


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          In 1981, FDA rejected a petition from death-row inmates asking FDA
       to adopt a procedure for the seizure and condemnation of drugs destined
       or held for use in executions. See Letter for David E. Kendall, from Ar-
       thur Hull Hayes, Commissioner of Food and Drugs at 1 (July 7, 1981)
       (“Heckler Petition Response”). The inmates contended that the States’
       acquisition of FDA-approved drugs for capital punishment constituted
       misbranding because the drugs lacked adequate directions or warnings
       for that use. Id. at 1–2. FDA denied the petition in the first instance be-
       cause “the use of lethal injection by State penal systems is a practice over
       which FDA has no jurisdiction.” Id. at 2. FDA concluded that the States’
       off-label use of FDA-approved drugs in lethal-injection protocols was
       sufficiently analogous to the practice of medicine, including physicians’
       lawful off-label use of FDA-approved drugs, to fall outside the FDCA’s
       ambit. Id. at 3–4. But FDA also emphasized that its lack of jurisdiction
       flowed from “a consideration of the proper role of the Federal Govern-
       ment with respect to the conduct of State criminal justice systems.” Id.
       at 2. FDA further recognized that, “[b]ecause . . . the [FDCA] does not
       provide us with authority to declare unlawful the use by State govern-
       ments of drugs for lethal injection,” concerns about the safety of lethal-
       injection protocols would “more appropriately [be] addressed to the State
       legislatures.” Id. at 4. 11


           11 FDA did contend that, “[u]nder the Supremacy Clause,” “a State could not legiti-

       mize the unlawful shipment of an unapproved new drug in interstate commerce or prevent
       its misbranding after shipment in interstate commerce by authorizing its use,” including
       for purposes of execution. Heckler Petition Response at 3. But that reflected a general
       observation that state law cannot trump the FDCA’s provisions to the extent they apply to
       a given drug or device, or effectively immunize prior conduct that violated the FDCA by
       approving a product’s use at a later time. The government’s opening brief in the Supreme
       Court also represented in a footnote that “[t]his case concerns the FDA’s authority to
       regulate the states’ use of drugs, lawfully in interstate commerce, for the unapproved
       purpose of causing death, and not the marketing of drugs for an unapproved use.” Heckler
       Pet’r Br. at 45–46 n.34; accord Reply Br. at 8, Heckler v. Chaney, 470 U.S. 821 (1985)
       (No. 83-1878) (“Heckler Reply Br.”) (“FDA lacks jurisdiction over the use of approved
       drugs by state authorities for capital punishment purposes.”). The brief asserted that an
       FDCA violation would occur “if a drug were marketed for the purpose of causing death
       without being approved for that use,” but it noted that no one was alleged to have “direct-
       ly or indirectly promote[d] the use of the drugs at issue” for executions. Heckler Pet’r Br.
       at 45–46 n.34. Those statements did not reserve FDA jurisdiction over unapproved
       articles used in executions because the government’s briefs categorically disclaimed FDA
       jurisdiction over any method of execution. See infra notes 12–13 and accompanying text.

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          In the resulting litigation, the D.C. Circuit divided over whether FDA
       had jurisdiction over drugs intended for use in executions. See Chaney v.
       Heckler, 718 F.2d 1174 (D.C. Cir. 1983), rev’d, 470 U.S. 821 (1985). The
       majority rejected FDA’s conclusions that administering capital punish-
       ment fell within the FDCA’s “practice of medicine” exception or, in the
       alternative, that actions taken by prison officials did not qualify as mis-
       branding under the Act. See id. at 1179, 1181. Then-Judge Scalia, in
       dissent, recognized the incongruity in treating “a law designed to protect
       consumers against drugs that are unsafe or ineffective for their represent-
       ed use” as “mandating federal supervision of the manner of state execu-
       tions.” Id. at 1192 (Scalia, J., dissenting). He would have held that FDA
       lacked jurisdiction because the drugs were not “held for sale” in interstate
       commerce. Id. at 1199–1200. Because FDA did not press the point, nei-
       ther opinion addressed whether “the unapproved use of drugs for lethal
       injection is outside the general jurisdictional provisions of the Act”—that
       is, whether drugs intended for use in lethal injection are subject to regula-
       tion under the FDCA. Id. at 1179.
          In the Supreme Court, the government contended that FDA categorical-
       ly lacked jurisdiction over articles used in capital punishment, and that
       FDA had denied the inmates’ petition because it had concluded “that it
       lacked authority under the FDCA to regulate the states’ use of lethal
       injections for capital punishment.” Heckler Pet’r Br. at 13; see id. at 4
       (similar). The government repeatedly asserted that “Congress did not
       intend the FDA to regulate capital punishment,” id. at 45, and emphasized
       that the assessment of lethal injections would be “far removed from
       [FDA’s] mission of protecting the consuming public from unsafe and
       improperly labeled drugs,” id. at 10; see id. at 45 (similar). 12 The govern-
       ment concluded that FDA jurisdiction over the unapproved use of FDA-


          12 See also Heckler Reply Br. at 8 (“[T]here is not a scintilla of evidence that Congress

       intended for the FDCA to regulate capital punishment.”); id. at 11 (“The FDA has no
       experience or particular expertise in making a comparative assessment of different
       methods of capital punishment, nor does it have a congressional mandate to venture into
       this field.”); Heckler Pet’r Br. at 13 (“[T]here is not a hint in the legislative history that
       Congress had any intention to regulate the methods used by states in carrying out lawful
       death sentences.”); id. at 44 (“Neither the court of appeals nor respondents have produced
       a shred of evidence that Congress wanted the FDA to regulate the methods of capital
       punishment used by the states.”); id. at 46 (“[T]here is absolutely no evidence that
       Congress intended to regulate the use of drugs or devices, pursuant to a lawful court
       order, for the purpose of capital punishment.”).

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       approved drugs in executions “would lead to the absurd result of requiring
       the FDA to regulate such traditional means of capital punishment as the
       gas chamber, electric chair, and gallows.” Heckler Reply Br. at 8. 13
          Although Heckler did not resolve the question of the agency’s jurisdic-
       tion, see 470 U.S. at 837–38, for more than three decades thereafter, FDA
       continued to avoid regulating drugs intended for use in capital punish-
       ment. In 2011, FDA explained that “[r]eviewing substances imported
       or used for the purpose of state-authorized lethal injection clearly falls
       outside of FDA’s explicit public health role,” and that as a matter of
       “longstanding policy,” FDA would “continue to defer to law enforcement
       on all matters involving lethal injection.” E-mail for Nathan Koppel, from
       Shelly Burgess, FDA Public Affairs Specialist (Jan. 4, 2011), Doc. 13-3,
       Beaty v. FDA, No. 11-cv-289 (D.D.C. Apr. 20, 2011).
          In 2012, a group of death-row inmates sued FDA, alleging that it had
       violated the FDCA by allowing shipments of a misbranded and unap-
       proved new drug from an unregistered foreign establishment to enter the
       United States. The U.S. District Court for the District of Columbia held
       that, unlike in the domestic context where FDA has unreviewable discre-
       tion when enforcing violations, the statutory scheme for imports under
       21 U.S.C. § 381(a) is different, and the court enjoined FDA from permit-
       ting entry of foreign-manufactured sodium thiopental, on the grounds that
       it was unapproved and misbranded. Beaty, 853 F. Supp. 2d at 37–41. The
       D.C. Circuit affirmed the injunction. Beaty and Cook, however, turned
       solely on whether FDA could exercise enforcement discretion over the
       imported sodium thiopental. Although the district court assumed that
       “thiopental is both ‘misbranded’ and an unapproved ‘new drug’ under the
       FDCA,” id. at 34 n.2, neither the district court, nor the D.C. Circuit,
       addressed the broader question of FDA’s jurisdiction.
          Following the Beaty injunction, in 2015, FDA blocked Texas’s attempt
       to import sodium thiopental for use in capital punishment. FDA’s South-
       west Import District Office detained and then refused the shipment on the


          13 See also Heckler Pet’r Br. at 13–14 (if FDA had jurisdiction over FDA-approved

       lethal-injection drugs, then the FDCA would also “encompass many of the paraphernalia
       traditionally used for executions, such as the gallows and the electric chair,” and would
       presumably oblige FDA “to regulate the use of these devices as well”); id. at 44 (“the
       state and federal governments regularly used” the electric chair and gallows in 1938, and
       “there is no indication that any member of Congress even considered the possibility that
       enactment of the FDCA might affect these practices”).

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       grounds that the drug was misbranded and unapproved. See Letter from
       Todd W. Cato, Director, Southwest Import District Office at 1–2 (Apr. 20,
       2017). FDA’s 2017 notice of final action appears to be the first instance
       in which FDA expressly asserted jurisdiction over a substance intended
       for use in capital punishment. Even then, Texas conceded that sodium
       thiopental “is a drug within the meaning of the [FDCA],” id. at 5, and
       FDA’s decision was based upon the premise that “FDA is bound by the
       terms of the order issued by the District Court” in Beaty, id. at 2; see also
       id. at 6–7, 23, 24.
          An agency may, of course, change its interpretation of an ambiguous
       statute when the new interpretation falls within the permissible scope of
       the agency’s discretion and the agency shows “that there are good reasons
       for the new policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502,
       515 (2009); see Brown & Williamson, 529 U.S. at 156–57. But for nearly
       80 years after the FDCA’s enactment, FDA had never asserted jurisdiction
       over articles intended for use in capital punishment, notwithstanding
       thousands of cases that would have implicated FDA’s enforcement discre-
       tion under such a theory. During that period, States carried out approxi-
       mately 3,700 executions, and the federal government carried out approxi-
       mately 192 civilian or military executions, employing a range of methods
       (hanging, the electric chair, firing squads, gas chambers, and lethal injec-
       tions). 14 FDA did not regulate the method of execution in any of those
       instances or assert the authority to do so.

                                                   3.

          Even if there were genuine ambiguity about whether FDA has jurisdic-
       tion over articles intended for use in capital punishment, serious constitu-
       tional concerns would arise if FDA could regulate and take enforcement
       action against (including seizing and destroying) such articles. See Jen-
       nings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (“When a serious doubt is
       raised about the constitutionality of an Act of Congress, it is a cardinal
       principle that this Court will first ascertain whether a construction of the

           14 See Glossip, 135 S. Ct. at 2732; Bureau of Justice Statistics, U.S. Dep’t of Justice,

       Publications & Products: Executions, https://www.bjs.gov/index.cfm?ty=pbtp&tid=
       182&iid=1 (last visited Apr. 29, 2019); M. Watt Espy & John Ortiz Smykla, Executions
       in the United States, 1608-2002: The ESPY File, Inter-university Consortium for Political
       and Social Research (July 20, 2016), https://www.icpsr.umich.edu/icpsrweb/NACJD/
       studies/8451.

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       statute is fairly possible by which the question may be avoided.” (internal
       quotation marks omitted)). As the Supreme Court recently explained,
       “because it is settled that capital punishment is constitutional, [i]t neces-
       sarily follows that there must be a [constitutional] means of carrying it
       out.” Glossip, 135 S. Ct. at 2732–33 (internal quotation marks omitted);
       see Bucklew, 139 S. Ct. at 1122–23 (similar). It would present a serious
       intrusion on state sovereignty if Congress sought, under the guise of drug-
       safety regulation, to bar States from effectuating otherwise-lawful death
       sentences.
          The Supreme Court requires an unambiguous statement of congression-
       al intent before it will construe a federal statute as effecting a significant
       intrusion into an area of traditional state responsibility. Courts must “be
       certain of Congress’ intent before finding that federal law overrides the
       usual constitutional balance of federal and state powers.” Bond v. United
       States, 572 U.S. 844, 858 (2014) (internal quotation marks omitted).
       When States choose to impose and effectuate death sentences, they are
       engaged in “the punishment of local criminal activity,” which is the
       “clearest example of traditional state authority.” Id. 15
          So long as a State employs a method of execution that comports with
       the Fourteenth Amendment’s incorporation of the Eighth Amendment’s
       Cruel and Unusual Punishments Clause, “the Constitution affords a
       ‘measure of deference to a State’s choice of execution procedures.’”
       Bucklew, 139 S. Ct. at 1125 (quoting Baze, 553 U.S. at 51 n.2). Thus,
       In re Kemmler, 136 U.S. 436 (1890), held that the New York statute
       requiring execution by electrocution was “within the legitimate sphere of
       the legislative power of the State.” Id. at 449. And the plurality opinion in
       Baze v. Rees, 553 U.S. 35 (2008), explained that “[o]ur society has . . .


          15 See also Danforth v. Minnesota, 552 U.S. 264, 280 (2008) (referring to “[t]he fun-

       damental interest in federalism that allows individual States to define crimes, punish-
       ments, rules of evidence, and rules of criminal and civil procedure in a variety of different
       ways—so long as they do not violate the Federal Constitution”); State Farm Mut. Auto.
       Ins. Co. v. Campbell, 538 U.S. 408, 422 (2003) (“A basic principle of federalism is that
       . . . each State alone can determine what measure of punishment, if any, to impose on a
       defendant who acts within its jurisdiction.”); Ewing v. California, 538 U.S. 11, 24 (2003)
       (plurality opinion) (“Though three strikes laws may be relatively new, our tradition of
       deferring to state legislatures in making and implementing such important policy deci-
       sions is longstanding.”); Patterson v. New York, 432 U.S. 197, 201 (1977) (“[W]e should
       not lightly construe the Constitution so as to intrude upon the administration of justice by
       the individual States.”).

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       steadily moved to more humane methods of carrying out capital punish-
       ment” because state legislatures have taken “the steps they deem appro-
       priate, in light of new developments, to ensure humane capital punish-
       ment.” Id. at 62 (opinion of Roberts, C.J.); accord Glossip, 135 S. Ct. at
       2731–32 (similar). The Court has never endorsed an Eighth Amendment
       standard that would “transform [federal] courts into boards of inquiry
       charged with determining ‘best practices’ for executions,” because that
       “would substantially intrude on the role of state legislatures in implement-
       ing their execution procedures.” Baze, 553 U.S. at 51 (opinion of Roberts,
       C.J.).
          The FDCA does not reflect any clear statement of congressional intent
       to regulate the States’ administration of capital punishment. Had Congress
       sought to enable FDA to prohibit articles that States have chosen to use
       for executions, it would have said so explicitly. But Congress did no such
       thing. The FDCA’s definitions of “drug” and “device” are broad, but
       breadth alone fails to manifest the intent needed to alter federal-state
       relations so dramatically with respect to capital punishment. See, e.g.,
       Bond, 572 U.S. at 860 (“insist[ing] on a clear indication that Congress
       meant to reach purely local crimes [in a statute implementing a chemical-
       weapons treaty] before interpreting the statute’s expansive language in a
       way that intrudes on [States’] police power”). This principle of federalism
       provides further support for the conclusion that the FDCA should not be
       read to regulate—and therefore, effectively prohibit—the States’ admin-
       istration of capital punishment.

                                             D.

          We emphasize the narrowness of our conclusion that articles intended
       for use in capital punishment may not be regulated under the FDCA. We
       are not concluding that the FDCA covers only “drugs” or “devices” that
       have a medical or therapeutic purpose. For example, FDA has consistently
       regulated other products that affect the structure or function of the human
       body for an aesthetic, rather than medical or therapeutic, purpose (e.g.,
       implants to augment breasts, dermal fillers to correct wrinkles, and sili-
       cone injections to augment buttocks and breasts). Likewise, FDA has long
       regulated drugs with non-therapeutic or recreational uses, including
       narcotics, street drugs, and their alternatives. See, e.g., FDA, Guidance for
       Industry: Street Drug Alternatives (Mar. 2000), https://www.fda.gov/
       downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/

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       ucm070343.pdf. Unlike with tobacco products or articles intended for
       use in capital punishment, however, federal statutes evince no “collective
       premise” that drugs intended to be used in achieving a recreational high
       “will continue to be sold in the United States.” Brown & Williamson, 529
       U.S. at 139. To the contrary, the manufacture and distribution of recrea-
       tional drugs is already highly restricted by other federal statutes, such as
       the Controlled Substances Act. See 21 U.S.C. § 812.
          Nor do we address whether FDA has jurisdiction over drugs intended
       for use in physician-assisted suicide. In marked contrast with capital
       punishment and tobacco products, at the time of the FDCA’s enactment,
       there was not—so far as we are aware—any history of federal or state
       laws authorizing human euthanasia. As with recreational drugs, there is no
       congressional determination that human-euthanasia drugs remain lawfully
       on the market, nor has FDA historically disclaimed jurisdiction over them.
       Cf. Brown & Williamson, 529 U.S. at 137–53. Accordingly, human-
       euthanasia drugs lack the historical backdrop that weighs heavily against
       FDA jurisdiction over capital punishment.
          We further note that a contrary conclusion regarding articles intended
       for use in capital punishment could sweep well beyond execution-related
       articles. If FDA had jurisdiction over such articles simply because they
       are “intended to affect the structure or any function of the body,” 21
       U.S.C. § 321(g)(1)(C), (h)(3), such reasoning would likely mean that FDA
       also had jurisdiction in a host of other areas that have long been consid-
       ered well beyond its purview. Any type of firearm, when used for hunting
       or by the military or law enforcement, is intended to affect the structure or
       function of the body by killing or disabling a person or animal. But FDA
       has never sought to regulate firearms when they are intended to be used
       for hunting, police operations, or military purposes, and such an implausi-
       ble interpretation of the FDCA would raise serious constitutional ques-
       tions of its own.
          Finally, there is nothing unusual about our conclusion that articles in-
       tended for use in capital punishment fall outside FDA’s jurisdiction, even
       though the same articles could be subject to regulation when intended for
       other uses. For example, as noted above, FDA has classified articles such
       as hot tubs, saunas, and treadmills as devices for some purposes, but not
       for others. See supra pp. 3–4. Therefore, finding that substances fall
       outside FDA’s jurisdiction when they are intended for use in capital
       punishment does not bear upon FDA’s potential jurisdiction over other
       intended uses of the same substances.
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                                            IV.

          We conclude that articles intended for use in capital punishment by a
       State or the federal government cannot be regulated as “drugs” or “devic-
       es” under the FDCA. FDA accordingly lacks jurisdiction to regulate such
       articles for that intended use.

                                             STEVEN A. ENGEL
                                           Assistant Attorney General
                                            Office of Legal Counsel




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                ADDENDUM TO BOP EXECUTION PROTOCOL
          FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                            EFFECTIVE TBA

A.     Federal death sentences are implemented by an intravenous injection of a
       lethal substance or substances in a quantity sufficient to cause death, such
       substance or substances to be determined by the Director, Federal Bureau of
       Prisons (BOP) and to be administered by qualified personnel selected by the
       Warden and acting at the direction of the United States Marshal. 28 CFR 26.3.
       The procedures utilized by the BOP to implement federal death sentences shall
       be as follows unless modified at the discretion of the Director or his/her
       designee, as necessary to (1) comply with specific judicial orders; (2) based on
       the recommendation of on-site medical personnel utilizing their clinical judgment;
       or (3) as may be required by other circumstances.

B.     The identities of personnel considered for and/or selected to perform death
       sentence related functions, any documentation establishing their qualifications
       and the identities of personnel participating in federal judicial executions or
       training for such judicial executions shall be protected from disclosure to the
       fullest extent permitted by law.

C.     The lethal substance to be utilized in federal lethal injections shall be propofol.

D.     Not less than fourteen (14) days prior to a scheduled execution, the Director or
       designee, in conjunction with the United States Marshal Service, shall make a
       final selection of qualified personnel to serve as the executioner(s) and their
       alternates. See BOP Execution Protocol, Chap. 1, §§ III (F) and IV (B) & (E).
       Qualified personnel includes currently licensed physicians, nurses, EMTs,
       Paramedics, Phlebotomists, other medically trained personnel, including those
       trained in the United States Military having at least one year professional
       experience and other personnel with necessary training and experience in a
       specific execution related function. Non-medically licensed or certified qualified
       personnel shall participate in a minimum of ten (10) execution rehearsals a year
       and shall have participated in at least two (2) execution rehearsals prior to
       participating in an actual execution. Any documentation establishing the
       qualifications, including training, of such personnel shall be maintained by the
       Director or designee.

E.     The Director or designee shall appoint a senior level Bureau employee to assist
       the United States Marshal in implementing the federal death sentence. The
       Director or designee shall appoint an additional senior level Bureau employee to
       supervise the activities of personnel preparing and administering the lethal
       substances.
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                   ADDENDUM TO BOP EXECUTION PROTOCOL
             FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                               EFFECTIVE TBA

F.     The lethal substances shall be prepared by qualified personnel in the following
       manner unless otherwise directed by the Director, or designee, on the
       recommendation of medical personnel. The lethal substances shall be placed
       into three sets of numbered and labeled syringes. One of the sets of syringes is
       used in the implementation of the death sentence and two sets are available as
       a backup.

G.     Approximately thirty (30) minutes prior to the scheduled implementation of the
       death sentence, the condemned individual will be escorted into the execution
       room. The condemned individual will be restrained to the execution table. The
       leads of a cardiac monitor will be attached by qualified personnel. A suitable
       venous access line or lines will be inserted and inspected by qualified personnel
       and a slow rate flow of normal saline solution begun.

H.     Lethal substances shall be administered intravenously. The Director or designee
       shall determine the method of venous access (1) based on the training and
       experience of personnel establishing the intravenous access; (2) to comply with
       specific orders of federal courts; or (3) based upon a recommendation from
       qualified personnel.

       A set of syringes will consist of:

       Syringe #1 contains 500 milligrams of propofol,
       Syringe #2 contains 500 milligrams of propofol,
       Syringe #3 contains 500 milligrams of propofol,
       Syringe #4 contains 500 milligrams of propofol and
       Syringe #5 contains 60 mL of saline flush.

       Each syringe will be administered in the order set forth above when directed by
       supervisory personnel.

       If peripheral venous access is utilized, two separate lines shall be inserted in
       separate locations and determined to be patent by qualified personnel. A flow of
       saline shall be started in each line and administered at a slow rate to keep the
       line open. One line will be used to administer the lethal substances and the
       second will be reserved in the event of the failure of the first line. Any failure of a
       venous access line shall be immediately reported to the Director or designee.
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               ADDENDUM TO BOP EXECUTION PROTOCOL
         FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                           EFFECTIVE TBA

A.     Federal death sentences are implemented by an intravenous injection of a
       lethal substance or substances in a quantity sufficient to cause death, such
       substance or substances to be determined by the Director, Federal Bureau of
       Prisons (BOP) and to be administered by qualified personnel selected by the
       Warden and acting at the direction of the United States Marshal. 28 CFR 26.3.
       The procedures utilized by the BOP to implement federal death sentences shall
       be as follows unless modified at the discretion of the Director or his/her
       designee, as necessary to (1) comply with specific judicial orders; (2) based on
       the recommendation of on-site medical personnel utilizing their clinical judgment;
       or (3) as may be required by other circumstances.

B.     The identities of personnel considered for and/or selected to perform death
       sentence related functions, any documentation establishing their qualifications
       and the identities of personnel participating in federal judicial executions or
       training for such judicial executions shall be protected from disclosure to the
       fullest extent permitted by law.

C.     The lethal substances to be utilized in federal lethal injections shall be
       midazolam, sufentanil citrate and potassium chloride.

D.     Not less than fourteen (14) days prior to a scheduled execution, the Director or
       designee, in conjunction with the United States Marshal Service, shall make a
       final selection of qualified personnel to serve as the executioner(s) and their
       alternates. See BOP Execution Protocol, Chap. 1, §§ III (F) and IV (B) & (E).
       Qualified personnel includes currently licensed physicians, nurses, EMTs,
       Paramedics, Phlebotomists, other medically trained personnel, including those
       trained in the United States Military having at least one year professional
       experience and other personnel with necessary training and experience in a
       specific execution related function. Non-medically licensed or certified qualified
       personnel shall participate in a minimum of ten (10) execution rehearsals a year
       and shall have participated in at least two (2) execution rehearsals prior to
       participating in an actual execution. Any documentation establishing the
       qualifications, including training, of such personnel shall be maintained by the
       Director or designee.

E.     The Director or designee shall appoint a senior level Bureau employee to assist
       the United States Marshal in implementing the federal death sentence. The
       Director or designee shall appoint an additional senior level Bureau employee to
       supervise the activities of personnel preparing and administering the lethal
       substances.
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                   ADDENDUM TO BOP EXECUTION PROTOCOL
             FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                               EFFECTIVE TBA

F.     The lethal substances shall be prepared by qualified personnel in the following
       manner unless otherwise directed by the Director, or designee, on the
       recommendation of medical personnel. The lethal substances shall be placed
       into three sets of numbered and labeled syringes. One of the sets of syringes is
       used in the implementation of the death sentence and two sets are available as
       a backup.

G.     Approximately thirty (30) minutes prior to the scheduled implementation of the
       death sentence, the condemned individual will be escorted into the execution
       room. The condemned individual will be restrained to the execution table. The
       leads of a cardiac monitor will be attached by qualified personnel. A suitable
       venous access line or lines will be inserted and inspected by qualified personnel
       and a slow rate flow of normal saline solution begun.

H.     Lethal substances shall be administered intravenously. The Director or designee
       shall determine the method of venous access (1) based on the training and
       experience of personnel establishing the intravenous access; (2) to comply with
       specific orders of federal courts; or (3) based upon a recommendation from
       qualified personnel.

       A set of syringes will consist of:

       Syringe #1 contains 250 milligrams of midazolam,
       Syringe #2 contains 250 milligrams of midazolam,
       Syringe #3 contains 60 mL of saline flush,
       Syringe #4 contains 2500 micrograms of sufentanil citrate,
       Syringe #5 contains 60 mL of saline flush,
       Syringe #6 contains 120 mEq of potassium chloride,
       Syringe #7 contains 120 mEq of potassium chloride and
       Syringe #8 contains 60 mL of saline flush.

       Each syringe will be administered in the order set forth above when directed by
       supervisory personnel.

       If peripheral venous access is utilized, two separate lines shall be inserted in
       separate locations and determined to be patent by qualified personnel. A flow of
       saline shall be started in each line and administered at a slow rate to keep the
       line open. One line will be used to administer the lethal substances and the
       second will be reserved in the event of the failure of the first line. Any failure of a
       venous access line shall be immediately reported to the Director or designee.
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               ADDENDUM TO BOP EXECUTION PROTOCOL
         FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                           EFFECTIVE TBA

A.     Federal death sentences are implemented by an intravenous injection of a
       lethal substance or substances in a quantity sufficient to cause death, such
       substance or substances to be determined by the Director, Federal Bureau of
       Prisons (BOP) and to be administered by qualified personnel selected by the
       Warden and acting at the direction of the United States Marshal. 28 CFR 26.3
       The procedures utilized by the BOP to implement federal death sentences shall
       be as follows unless modified at the discretion of the Director or his/her
       designee, as necessary to (1) comply with specific judicial orders; (2) based on
       the recommendation of on-site medical personnel utilizing their clinical judgment;
       or (3) as may be required by other circumstances.

B.     The identities of personnel considered for and/or selected to perform death
       sentence related functions, any documentation establishing their qualifications
       and the identities of personnel participating in federal judicial executions or
       training for such judicial executions shall be protected from disclosure to the
       fullest extent permitted by law.

C.     The lethal substances to be utilized in federal lethal injections shall be
       Midazolam and Hydromorphone.

D.     Not less than fourteen (14) days prior to a scheduled execution, the Director or
       designee, in conjunction with the United States Marshal Service, shall make a
       final selection of qualified personnel to serve as the executioner(s) and their
       alternates. See BOP Execution Protocol, Chap. 1 §§ III (F) and IV (B) & (E).
       Qualified personnel includes currently licensed physicians, nurses, EMTs,
       Paramedics, Phlebotomists, other medically trained personnel, including those
       trained in the United States Military having at least one year professional
       experience and other personnel with necessary training and experience in a
       specific execution related function. Non medically licensed or certified qualified
       personnel shall participate in a minimum of ten (10) execution rehearsals a year
       and shall have participated in at least two (2) execution rehearsals prior to
       participating in an actual execution. Any documentation establishing the
       qualifications, including training, of such personnel shall be maintained by the
       Director or designee.

E.     The Director or designee shall appoint a senior level Bureau employee to assist
       the United States Marshal in implementing the federal death sentence. The
       Director or designee shall appoint an additional senior level Bureau employee to
       supervise the activities of personnel preparing and administering the lethal
       substances.
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                ADDENDUM TO BOP EXECUTION PROTOCOL
          FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                            EFFECTIVE TBA

F.     The lethal substances shall be prepared by qualified personnel in the following
       manner unless otherwise directed by the Director, or designee, on the
       recommendation of medical personnel. The lethal substances shall be placed
       into two sets of numbered and labeled syringes. One of the sets of syringes is
       used in the implementation of the death sentence and one set is available as
       a backup.

G.     Approximately thirty (30) minutes prior to the scheduled implementation of the
       death sentence, the condemned individual will be escorted into the execution
       room. The condemned individual will be restrained to the execution table. The
       leads of a cardiac monitor will be attached by qualified personnel. A suitable
       venous access line or lines will be inserted and inspected by qualified personnel
       and a slow rate flow of normal saline solution begun.


H.     Lethal substances shall be administered intravenously. The Director or designee
       shall determine the method of venous access (1) based on the training and
       experience of personnel establishing the intravenous access; (2) to comply with
       specific orders of federal courts; or (3) based upon a recommendation from
       qualified personnel.
       A set of syringes will consist of:

       Syringe #1 contains 300 milligrams of Midazolam,
       Syringe #2 contains 500 milligrams of Hydromorphone,
       Syringe #3 contains 60 mL of saline flush.

       Each syringe will be administered in the order set forth above when directed by
       supervisory personnel.
       If peripheral venous access is utilized, two separate lines shall be inserted in
       separate locations and determined to be patent by qualified personnel. A flow of
       saline shall be started in each line and administered at a slow rate to keep the
       line open. One line will be used to administer the lethal substances and the
       second will be reserved in the event of the failure of the first line. Any failure of a
       venous access line shall be immediately reported to the Director or designee.
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                                         Certificate Of Analysis
CLIENT:




LOT #:
DESCRIPTION:                       Pentobarbital Sodium
DATE RECEIVED:                     10/26/2018
STORAGE:                           20°C to 25°C (68°F to 77°F)
CONTAINER:                         One amber container w/ 1g of powder in a clear bag

                                                      Test                                                            Date
                      Test                           Method             Limits                   Results             Tested
Identification B (HPLC - Retention                  USP 41          Conforms to USP              Conforms          11/06/2018
Time)                                                                Specifications
Loss on Drying <731>                                USP 41             NMT 3.5%                    1.6%            11/06/2018

Related Compounds (HPLC) <621>                      USP 41             see**Note                   Fail            11/06/2018

Assay (HPLC ) <621>                                 USP 41           98.0% - 102.0%               99.6%            11/06/2018

Assay: on the dried basis.
**Note: USP 41, Pentobarbital Sodium, Related compounds Results: 6-Imino-5-ethyl-5-(1-methyl-butyl)barbituric acid = 0.005%,
limit: NMT 0.2%; 5-Ethyl-5-(1-ethyl-propyl)barbituric acid = 0.259%, limit: 0.1%; 5-Ethyl-5-(1,3-dimethylbutyl)barbituric acid =
not detected, limit: NMT 0.3%. NMT 0.1% of unknown impurity; unknown impurity = 0.028%, unknown impurity = 0.003%,
unknown impurity = 0.006%. Total impurities = 0.3%, limit: NMT 0.5%.




                                                                                   11/19/2018

                                                                                 Date Reported
Results reported above relate only to the sample that was tested.
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                                           Certificate of Analysis
  Client:




  Lot Number:
  Description:                           Pentobarbital Sodium Powder


      Test / Specification                            Results                           Test Method                         Date Tested
  Completeness of
  Solution
                                                    Conforms                               USP <41>                          02/21/2019
  Conforms / does not
  conform
  pH <791>
                                                        10.3                               USP <41>                          02/21/2019
  9.8 – 11.0
  Loss on Drying <731>
                                                        1.0%                               USP <41>                          02/21/2019
  NMT 3.5%
  Related Compounds
  (HPLC) <621>                                          Pass                               USP <41>                          02/21/2019
  See ** note
  Assay (HPLC) <621>
                                                      101.2%                               USP <41>                          02/21/2019
  97.0% - 102.0%
**Note: USP 41, Pentobarbital Sodium, related compounds results: 6-Imino-5-ethyl-5-(1-methyl-butyl)barbituric acid = not detected, limit: NMT
0.2%; 5-ethyl-5-(1-ethyl-propyl)barbituric acid = not detected, limit: 0.1%; 5-ethyl-5-(1,3-dimethylbutyl) barbituric acid = 0.005%, limit: NMT 0.3%.
NMT 0.1% of unknown impurity; unknown impurity = 0.009%, unknown impurity = 0.02%, unknown impurity = 0.004%. Total impurities = 0.04%,
limit: NMT 0.5%.




Respectfully,
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                            Certificate of Analysis
 Client:




 Lot Number:
 Description:              Pentobarbital Sodium 50 mg/mL Injection Solution SDV – Room Temp


    Test / Specification           Results                Test Method             Date Tested

 Potency/Purity
                                    95.5%                    HPLC                 07/01/2019
 92 – 108%

 pH
                                    10.00                  USP <791>              07/08/2019
 Trend




Respectfully,
                                                                        1012
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                            Certificate of Analysis
 Client:




 Lot Number:
 Description:              Pentobarbital Sodium 50 mg/mL Injection Solution SDV – Elevated Temp


    Test / Specification            Results                Test Method             Date Tested

 Potency/Purity
                                    90.8%                     HPLC                  07/10/2019
 92 – 108%

 pH
                                     9.91                   USP <791>               07/03/2019
 Trend




Respectfully,
                                                                                         1014
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                            Certificate of Analysis
 Client:




 Lot Number:
 Description:              Pentobarbital Sodium 50 mg/mL Injection Solution SDV - Room Temp


    Test / Specification           Results                Test Method             Date Tested

 Potency/Purity
                                    94.6%                    HPLC                 08/21/2019
 92 – 108%

 pH
                                    10.03                  USP <791>              08/13/2019
 Trend




Respectfully,
                                                                                           1015
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                            Certificate of Analysis
 Client:




 Lot Number:
 Description:              Pentobarbital Sodium 50 mg/mL Injection Solution SDV – Elevated Temp


    Test / Specification            Results                Test Method             Date Tested

 Potency/Purity
                                    92.2%                     HPLC                  08/21/2019
 92 – 108%

 pH
                                     10.12                  USP <791>               08/14/2019
 Trend




Respectfully,
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                ADDENDUM TO BOP EXECUTION PROTOCOL
          FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
                         EFFECTIVE JULY 25, 2019

A.     Federal death sentences are implemented by an intravenous injection of a
       lethal substance or substances in a quantity sufficient to cause death, such
       substance or substances to be determined by the Director, Federal Bureau of
       Prisons (BOP) and to be administered by qualified personnel selected by the
       Warden and acting at the direction of the United States Marshal. 28 CFR 26.3.
       The procedures utilized by the BOP to implement federal death sentences shall
       be as follows unless modified at the discretion of the Director or his/her
       designee, as necessary to (1) comply with specific judicial orders; (2) based on
       the recommendation of on-site medical personnel utilizing their clinical judgment;
       or (3) as may be required by other circumstances.

B.     The identities of personnel considered for and/or selected to perform death
       sentence related functions, any documentation establishing their qualifications
       and the identities of personnel participating in federal judicial executions or
       training for such judicial executions shall be protected from disclosure to the
       fullest extent permitted by law.

C.     The lethal substances to be utilized in federal lethal injections shall be
       Pentobarbital Sodium.

D.     Not less than fourteen (14) days prior to a scheduled execution, the Director or
       designee, in conjunction with the United States Marshal Service, shall make a
       final selection of qualified personnel to serve as the executioner(s) and their
       alternates. See BOP Execution Protocol, Chap. 1, §§ III (F) and IV (B) & (E).
       Qualified personnel includes currently licensed physicians, nurses, EMTs,
       Paramedics, Phlebotomists, other medically trained personnel, including those
       trained in the United States Military having at least one year professional
       experience and other personnel with necessary training and experience in a
       specific execution related function. Non-medically licensed or certified qualified
       personnel shall participate in a minimum of ten (10) execution rehearsals a year
       and shall have participated in at least two (2) execution rehearsals prior to
       participating in an actual execution. Any documentation establishing the
       qualifications, including training, of such personnel shall be maintained by the
       Director or designee.

E.     The Director or designee shall appoint a senior level Bureau employee to assist
       the United States Marshal in implementing the federal death sentence. The
       Director or designee shall appoint an additional senior level Bureau employee to
       supervise the activities of personnel preparing and administering the lethal
       substances.
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                   ADDENDUM TO BOP EXECUTION PROTOCOL
             FEDERAL DEATH SENTENCE IMPLEMENTATION PROCEDURES
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F.     The lethal substances shall be prepared by qualified personnel in the following
       manner unless otherwise directed by the Director, or designee, on the
       recommendation of medical personnel. The lethal substances shall be placed
       into three sets of numbered and labeled syringes. One of the sets of syringes is
       used in the implementation of the death sentence and two sets are available as
       a backup.

G.     Approximately thirty (30) minutes prior to the scheduled implementation of the
       death sentence, the condemned individual will be escorted into the execution
       room. The condemned individual will be restrained to the execution table. The
       leads of a cardiac monitor will be attached by qualified personnel. A suitable
       venous access line or lines will be inserted and inspected by qualified personnel
       and a slow rate flow of normal saline solution begun.

H.     Lethal substances shall be administered intravenously. The Director or designee
       shall determine the method of venous access (1) based on the training and
       experience of personnel establishing the intravenous access; (2) to comply with
       specific orders of federal courts; or (3) based upon a recommendation from
       qualified personnel.

       A set of syringes will consist of:

       Syringe #1 contains 2.5 grams of Pentobarbital Sodium in 50 mL of diluent
       Syringe #2 contains 2.5 grams of Pentobarbital Sodium in 50 mL of diluent
       Syringe #3 contains 60 mL of saline flush,

       Each syringe will be administered in the order set forth above when directed by
       supervisory personnel.

       If peripheral venous access is utilized, two separate lines shall be inserted in
       separate locations and determined to be patent by qualified personnel. A flow of
       saline shall be started in each line and administered at a slow rate to keep the
       line open. One line will be used to administer the lethal substances and the
       second will be reserved in the event of the failure of the first line. Any failure of a
       venous access line shall be immediately reported to the Director or designee.
